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                    NO. ____________________
  ____________________________________________________________

          IN THE FIFTH CIRCUIT COURT OF APPEALS
  ____________________________________________________________
        IN RE HUNTER MOUNTAIN INVESTMENT TRUST,
                            Petitioner
  ____________________________________________________________
           Original Proceeding from the Bankruptcy Court
                      Northern District of Texas
                      Cause No. 19-34054-slg11
                   The Honorable Judge Jernigan
  ____________________________________________________________

APPENDIX TO EMERGENCY PETITION FOR WRIT OF MANDAMUS
  ____________________________________________________________
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      Petitioner Hunter Mountain Investment Trust (“Petitioner”) submits this

Appendix to its Emergency Petition for Writ of Mandamus:

Ex.                      Description                                 APPX.
1. Order Denying Application for Expedited Hearing [DE            Appx_0001
    #3700], dated March 31, 2023, Doc. 3713 in Case No. 19-       to
    34054-sgj-11                                                  Appx_0003

 2.   Hunter Mountain Investment Trust’s Emergency Motion         Appx_0004
      for Leave to File Adversary Proceeding, and attachments,    to
      dated March 28, 2023, Doc. 3699 in Case No. 19-34054-       Appx_0390
      sgj-11

 3.   Hunter Mountain Investment Trust’s Opposed Application Appx_0391
      for Expedited Hearing on Emergency Motion for Leave to to
      File Verified Adversary Proceeding, dated March 28,    Appx_0397
      2023, Doc. 3700 in Case No. 19-34054-sgj-11

 4.   Muck Holdings, LLC, Jessup Holdings, LLC, Farallon          Appx_0398
      Capital Management, LLC, and Stonehill Capital              to
      Management LLC’s Objection to Hunter Mountain               Appx_0402
      Investment Trust’s Opposed Application for Expedited
      Hearing on Emergency Motion for Leave to File Verified
      Adversary Proceeding, dated March 30, 2023, Doc. 3704
      in Case No. 19-34054-sgj-11.

 5.   Highland Capital Management, LP, the Highland Claimant Appx_0403
      Trust, and James P. Seery’s Objection to Hunter Mountain to
      Investment Trust’s Opposed Application for Expedited     Appx_0410
      Hearing on Emergency Motion for Leave to File Verified
      Adversary Proceeding, dated March 30, 2023, Doc. 3707
      in Case No. 19-34054-sgj-11.

 6.   Hunter Mountain Investment Trust’s Reply in Support of      Appx_0411
      its Opposed Application for Expedited Hearing and           to
      Response to Objections Filed by Respondents, dated          Appx_0417
      March 31, 2023, Doc. 3712 in Case No. 19-34054-sgj-11
       Case: 23-10376    Document: 5    Page: 3   Date Filed: 04/12/2023




7.   Hunter Mountain Investment Trust’s Notice of Appeal,       Appx_0418
     dated April 5, 2023, Doc. 3721 in Case No. 19-34054-sgj-   to
     11.                                                        Appx_0421

8.   Hunter Mountain Investment Trust’s Emergency Motion        Appx_0422
     for Leave to File Interlocutory Appeal, dated April 5,     to
     2023, Doc. 3721-1 in Case No. 19-34054-sgj-11 (Exhibit     Appx_0839
     B to Notice of Appeal).

9.   Bankruptcy Clerk of Court’s Notice of Transmittal, dated   Appx_0840
     April 6, 2023, Doc. 1 in Case No. 3:23-cv-00737-N.         to
                                                                Appx_0883

10. Hunter Mountain Investment Trust’s Opposed Motion for       Appx_0884
    Expedited Briefing Schedule on Motion for Interlocutory     to
    Appeal, dated April 6, 2023, Doc. 4 in Case No. 3:23-cv-    Appx_0890
    00737-N.

11. Order (I) Confirming the Fifth Amended Plan of              Appx_0891
    Reorganization of Highland Capital Management, LP (as       to
    Modified) and (II) Granting Related Relief dated February   Appx_1051
    22, 2021, Doc. 1943 in Case No. 19-34054-sgj-11.

12. Executed copy of the Claimant Trust Agreement, Doc.         Appx_1052
    3521-5 in Case No. 19-34054-sgj-11                          to
                                                                Appx_1090

13. Claim Purchasers’ Objection to Hunter Mountain              Appx_1091
    Investment Trust’s Opposed Motion for Expedited             to
    Briefing Schedule on Motion for Interlocutory Appeal,       Appx_1098
    dated April 10, 2023, Doc. 8 in Case No. 3:23-cv-00737-
    N.

14. Hunter Mount Investment Trust’s Combined Response to        Appx_1099
    (1) the “Highland Parties” Objection to Hunter Mountain     to
    Investment Trust’s Opposed Motion for Expedited             Appx_1104
    Briefing Schedule on Motion for Interlocutory Appeal,
    and (2) Claim Purchasers’ Objection to Hunter Mountain
    Investment Trust’s Opposed Motion for Expedited
        Case: 23-10376    Document: 5   Page: 4   Date Filed: 04/12/2023




      Briefing Schedule on Motion for Interlocutory Appeal,
      dated April 10, 2023, Doc. 9 in Case No. 3:23-cv-00737-
      N.

 15. Order (denying Hunter Mountain Investment Trust’s             Appx_1105
     Emergency Motion for Leave to File Interlocutory              to
     Appeal), dated April 11, 2023, Doc. 10 in Case No. 3:23-      Appx_1106
     cv-00737-N.


Dated April 11, 2023

                                         Respectfully Submitted,

                                         PARSONS MCENTIRE
                                         MCCLEARY PLLC

                                         By: _/s/ Sawnie A. McEntire
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              Case: 23-10376Doc 3713
      Case 19-34054-sgj11       Document:
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                                                          Date Filed: 04/12/2023
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                               Main Document      Page 1 of 3




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 31, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  §
      In re:                                                          Chapter 11
                                                                  §
                                                                  §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.          §
                                                                  §


           ORDER DENYING APPLICATION FOR EXPEDITED HEARING [DE # 3700]


               This Order is issued in response to the Application for Expedited Hearing on Emergency

     Motion for Leave to File Verified Adversary Proceeding (“Expedited Haring Request”) [DE #

     3700] filed by Hunter Mountain Investment Trust (“HMIT” or “Movant”) on March 28, 2023, at

     4:09 p.m. C.D.T. The Expedited Hearing Request seeks a hearing within three days, or as soon

     thereafter as counsel can be heard, on HMIT’s Emergency Motion for Leave to File Verified

     Adversary Proceeding (“Motion for Leave”) which was filed on March 28, 2023, at 4:02 p.m.

     C.D.T.



                                                      1

                                                                                            Appx_0001
        Case: 23-10376Doc 3713
Case 19-34054-sgj11       Document:
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        The court has concluded that no emergency or other good cause exists, pursuant to Fed.

R. Bankr. Proc. 9006, and the Expedited Hearing Request will be denied. The Motion for Leave

will be set in the ordinary course (after 21 days’ notice to affected parties)—i.e., after April 18,

2023.

        The Motion for Leave is 37 pages in length and contains 350 pages of attachments. It

seeks leave from the bankruptcy court—pursuant to the bankruptcy court’s “gatekeeping” role 1

under the confirmed Chapter 11 plan of Highland Capital Management, L.P. (“Highland” or

“Reorganized Debtor”)—to sue at least the following parties: Muck Holdings, LLC (“Muck”);

Jessup Holdings, LLC (“Jessup”); Farallon Capital Management, LLC (“Farallon”); Stonehill

Capital Management, LLC (“Stonehill”); James P. Seery, Jr. (“Seery”); and John Doe Defendant

Nos. 1-10 (collectively, the “Affected Parties”). The conduct that is described as a basis for the

desired lawsuit is certain trading of unsecured claims that occurred in 2021 during the Highland

bankruptcy case. 2 It appears that millions of dollars of damages are sought by Movant, who was

formerly the largest indirect (ultimate) equity holder of Highland. The legal theories (e.g.,

breaches of fiduciary duties; fraud; conspiracy; equitable disallowance) are novel in the

bankruptcy claims trading context. The bankruptcy court, pursuant to the Highland plan, will

need to analyze whether such claims are “colorable” such that leave to sue should be granted.

        The Affected Parties—and other parties in interest in the underlying bankruptcy case, for

that matter—should be afforded a reasonable opportunity to respond to the Motion for Leave.

While Movant, HMIT, has alleged that it may be facing a statute of limitations defense as to


1
  The bankruptcy court’s “gatekeeping” role was recently affirmed by the Fifth Circuit in In re Highland Capital
Management, L.P., 48 F.4th 419, 438 (5th Cir. 2022).
2
  Notice of the claims trading was provided in filings in Highland bankruptcy case, as follows: Claim No. 23 (DE ##
2211, 2212, and 2215), Claim Nos. 190 and 191 (DE ## 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153 and
154 (DE # 2263), Claim No. 81 (DE # 2262), Claim No. 72 (DE # 2261).

                                                         2

                                                                                                      Appx_0002
        Case: 23-10376Doc 3713
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some claims after April 16, 2023, it appears that Movant has known about the conduct

underlying the desired lawsuit for well over a year, based on activity that has occurred in the

bankruptcy court. See, e.g., Memorandum Opinion and Order Granting James Dondero’s

Motion to Remand Adversary Proceeding to State Court, Denying Fee Reimbursement Request,

and Related Rulings, Dondero v. Alvarez & Marsal CRF Management, LLC and Farallon

Capital Management LLC [DE # 22], in Adv. Proc. # 21-03051 (January 4, 2022). Thus, the

need for an emergency hearing is dubious. Accordingly

       IT IS ORDERED that the Expedited Hearing Request is denied.

       Counsel shall contact the Courtroom Deputy for a setting on the Motion for Leave, which

setting shall be no sooner than April 19, 2023.

                                      * * * END OF ORDER * * *




                                                  3

                                                                                         Appx_0003
        Case: 23-10376Doc 3699
Case 19-34054-sgj11       Document:
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                     §
                                            §
 HIGHLAND CAPITAL                           §    Chapter 11
 MANAGEMENT, L.P.                           §
                                            §    Case No. 19-34054-sgj11
          Debtor.                           §

  HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
          LEAVE TO FILE VERIFIED ADVERARY PROCEEDING

          Hunter Mountain Investment Trust (“HMIT”), Movant, files this Emergency

Motion for Leave to File Verified Adversary Proceeding (“Motion”), both in its individual

capacity and as a derivative action on behalf of the Reorganized Debtor, Highland Capital

Management, L.P. (“HCM” or “Reorganized Debtor”) and the Highland Claimant Trust

against Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon


                                           [1]
                                                                               Appx_0004
        Case: 23-10376Doc 3699
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Capital     Management,         LLC    (“Farallon”), Stonehill      Capital Management,          LLC

(“Stonehill”), James P. Seery, Jr. (“Seery”) and John Doe Defendant Nos. 1-10 (Muck,

Jessup, Stonehill, Farallon, Seery and the John Doe Defendant Nos. 11-10 are collectively

“Respondents” or “Proposed Defendants”).

                           I.         Good Cause for Expedited Relief

       1.      HMIT seeks leave to file an Adversary Proceeding pursuant to the Court’s

“gatekeeping” orders, as well as the injunction and exculpation provisions in the Fifth

Amended Plan of Reorganization of Highland Capital Management, L.P. (Doc. 1943), as

modified (the “Plan”). 1 A copy of HMIT’s proposed Verified Adversary Proceeding

(“Adversary Proceeding”) is attached as Exhibit 1 to this Motion. This Motion is

separately supported by objective evidence derived from historical filings in the

bankruptcy proceedings, 2 as well as the declarations of James Dondero, dated May 2022

(Ex. 2), James Dondero, dated February 2023 (Ex. 3), and Sawnie A. McEntire with

attached evidence (Ex. 4). 3




1The exculpation provisions were recently modified by a decision of the Fifth Circuit. Such provisions
apply to James P. Seery, Jr. only and are limited to his capacity as an Independent Director. Matter of
Highland Cap. Mgmt., L.P., 48 F.4th 419, 438 (5th Cir. 2022).
2 Unless otherwise referenced, all references to evidence involving documents filed in the Debtor’s
bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)) are cited by “Doc.” reference. HMIT
asks the Court to take judicial notice of the documents identified by such entries.
3The supporting declarations will be cited as Dondero 2022 Dec. (Ex. 2), Dondero 2023 Dec. (Ex. 3), and
McEntire Dec. (Ex. 4).



                                                  [2]
                                                                                           Appx_0005
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        2.       The expedited nature of this Motion is permitted under Fed. R. Bank P. 9006

(c)(1), which authorizes a shortened time for a response and hearing for good cause. For

the reasons set forth herein, HMIT has shown good cause and requests that the Court

schedule a hearing on this Motion on three (3) days’ notice, and that any responses be

filed no later than twenty-four hours before the scheduled hearing. 4

        3.       HMIT brings this Motion on behalf of itself and derivatively on behalf of

the Reorganized Debtor and the Highland Claimant Trust (“Claimant Trust”), as defined

in the Claimant Trust Agreement (Doc. 3521-5) (“CTA”). 5 Upon the Plan’s Effective Date,

Highland Capital Management, LP, as the original Debtor (“Original Debtor”),

transferred its assets, including its causes of action, to the Claimant Trust, including the

causes of action set forth in the attached Adversary Proceeding. The attached Adversary

Proceeding alleges claims which are substantially more than “colorable” based upon

plausible allegations that the Proposed Defendants, acting in concert, perpetrated a

fraud, 6 including a fraud upon innocent stakeholders, as well as breaches of fiduciary




4Expedited action on this Motion is also warranted to hasten Movants’ opportunity to file suit, pursue
prompt relevant discovery, and reduce the threat of loss of potentially key evidence. Upon information and
belief, Seery has been deleting text messages on his personal iPhone via a rolling, automatic deletion setting.
5Solely in the alternative, and in the unlikely event HMIT’s proposed causes of actions against Seery,
Stonehill, Farallon, Muck, and/or Jessup are considered to be “Estate Claims” as those terms are used and
defined within the CTA and Exhibit A to the Notice of Final Term Sheet [Docket No. 354] in HCM’s
bankruptcy (and without admitting the same), HMIT alternatively seeks standing to bring this action as a
derivative action on behalf of the Litigation Sub-Trust as appropriate.
6Neither this Motion nor the proposed Adversary Complaint seeks to challenge the Court’s Orders or the
Plan. In addition, neither this Motion nor the proposed Adversary Complaint seeks to redistribute the
assets of the Claimant Trust in a manner that would adversely impact innocent creditors. Rather, the


                                                      [3]
                                                                                                   Appx_0006
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duties and knowing participation in (or aiding and abetting) breaches of fiduciary duty.

The Adversary Proceeding also alleges that the Proposed Defendants did so collectively

by falsely representing the value of the Debtor’s Estate, failing to timely disclose accurate

values of the Debtor’s Estate, and trading on material non-public information regarding

such values. HMIT also alleges that the Proposed Defendants colluded to manipulate the

Debtor’s Estate—providing Seery the opportunity to plant close business allies into

positions of control to approve Seery’s compensation demands following the Effective

Date.

        4.       Emergency relief is needed because of a fast-approaching date (April 16,

2023) that one or more of the Proposed Defendants may argue, depending upon choice of

law, constitutes the expiration of the statute of limitations concerning some of the

common law claims available to the Claimant Trust, as well as to HMIT. 7 Although HMIT

offered to enter tolling agreements from each of the Proposed Defendants, they either

rejected HMIT’s requests or have not confirmed their willingness to do so, thereby

necessitating the expedited nature of this Motion. 8 Because this Motion is subject to the


proposed Adversary Proceeding seeks to benefit all innocent stakeholders while working within the terms
and provisions of the Plan, as well as the Claimant Trust Agreement.
7The first insider trade at issue involved the sale and transfer of Claim 23 in the amount of $23 million held
by ACMLD Claim, LLC to Muck on April 16, 2021 (Doc. 2215).
8HMIT has been diligent in its efforts to investigate the claims described in this Motion, including the filing
of a Tex. R. Civ. P. Rule 202 proceeding in January 2023, which was not adjudicated until recently in March
2023. Those proceeding were conducted in the 191st Judicial District Court in Dallas County, Texas, under
Cause DC-23-01004. See McEntire Dec. Ex. 4 and the attached Ex. 4-A. Farallon and Stonehill defended
those proceedings by aggressively arguing, in significant part, that the discovery issues were better
undertaken in this Court.8 The Rule 202 Petition was recently dismissed (necessarily without prejudice)


                                                      [4]
                                                                                                  Appx_0007
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Court’s “gatekeeping” orders and the injunction provisions of the Plan, emergency leave

is required.

          5.       This Motion will come as no surprise to the Proposed Defendants. Farallon

and Stonehill were involved in recent pre-suit discovery proceedings under Rule 202 of

the Texas Rules of Civil Procedure relating to the same insider trading allegations

described in this Motion. Muck and Jessup, special purpose entities created and

ostensibly controlled by Farallon and Stonehill, respectively, also were provided notice

of these Rule 202 Proceedings in February 2023. 9 Like this Motion, the Rule 202

Proceedings focused on Muck, Jessup, Farallon, and Stonehill and their wrongful

purchase of large, allowed claims in the Original Debtor’s bankruptcy based upon

material non-public information. Seery is also aware of these insider trading allegations

because of a prior written demand.

          6.       In light of the Proposed Defendants’ apparent refusal to enter tolling

agreements, or their failure to fully affirm their willingness to do so, HMIT is forced to

seek emergency relief from this Court to proceed timely with the proposed Adversary

Proceeding before the expiration of any arguable limitations period. 10



on March 8, 2023, ostensibly based on such arguments. However, it is telling that Stonehill and Farallon
admitted during the Rule 202 Proceedings to their “affiliation” with Muck and Jessup and that they bought
the Claims through these entities.
9   See Dec. of Sawnie McEntire, Ex. 4.
10HMIT respectfully requests that this Motion be addressed and decided on an expedited basis that
provides HMIT sufficient time to bring the proposed action timely. In the event the Court denies the
requested relief, HMIT respectfully requests prompt notice of the Court’s ruling to allow HMIT sufficient


                                                   [5]
                                                                                             Appx_0008
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                                    II.      Summary of Claims

        7.      HMIT requests leave to commence the proposed Adversary Proceeding,

attached as Exhibit 1, seeking redress for breaches of duty owed to HMIT, breaches of

duties owed to the Original Debtor’s Estate, aiding and abetting breaches of those

fiduciary duties, conspiracy, unjust enrichment, and fraud. HMIT also alleges several

viable remedies, including (i) imposition of a constructive trust; (ii) equitable

disallowance of any unpaid balance on the claims at issue; 11 (iii) disgorgement of ill-

gotten profits (received by Farallon, Stonehill, Muck and Jessup) to be restituted to the

Claimant Trust; (iv) disgorgement of ill-gotten compensation (received by Seery) to be

restituted to the Claimant Trust; (v) declaratory judgment relief; (vi) actual damages; and

(vii) punitive damages.

                                           III.    Standing

        8.      HMIT. Prior to the Plan’s Effective Date, HMIT was the largest equity

holder in the Original Debtor and held a 99.5% limited partnership interest. HMIT

currently holds a Class 10 Claim as a contingent Claimant Trust Interest under the CTA




time to seek, if necessary, appropriate relief in the United States District Court. In order to have a fair
opportunity to seek such relief on a timely basis and protect HMIT’s rights and the rights of the
Reorganized Debtor, HMIT will need to seek such relief on or before Wednesday, April 5, 2023, if this
Motion has not been resolved.
11In the alternative only, subordination of Muck’s and Jessup’s General Unsecured Claim Trust Interests
and Subordinated Claim Trust Interests to all other interests in the Claimant Trust, including HMIT’s
Contingent Trust Interest, is necessary and appropriate to remedy Muck’s and Jessup’s wrongful conduct,
and is also consistent with the purposes of the Bankruptcy Code.



                                                    [6]
                                                                                               Appx_0009
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(Doc. 3521-5). Upon information and belief, all conditions precedent to HMIT’s

certification as a vested Claimant Trust Beneficiary would be readily satisfied but for the

Defendants’ wrongful actions and conduct described in this Motion and the attached

Adversary Proceeding.

        9.      Reorganized Debtor. Although HMIT has standing as a former Class B/C

Equity Holder, Class 10 claimant, and now contingent Claimant Trust Interest under the

CTA, 12 this Motion separately seeks authorization to prosecute the Adversary Proceeding

derivatively on behalf of the Reorganized Debtor and Claimant Trust. All conditions

precedent to bringing a derivative action are satisfied.

        10.     Fed. R. Civ. P. 23.1 provides the procedural steps for “derivative actions,”

and applies to this proceeding pursuant to Fed. R. Bank. P. 7023.1. Applying Rule 7023.1,

the Proposed Defendants’ wrongful conduct occurred, and the improper trades

consummated, in the spring and early summer of 2021, before the Effective Date in

August 2021. During this period, HMIT was the 99.5% Class B/C limited partner in the

original Debtor. As such, HMIT has individual standing to bring this action because Seery

owed fiduciary duties directly to HMIT at that time, and the other Proposed Defendants

aided and abetted breaches of those duties at that time.




12The last transaction at issue involved Claim 190, the Notice for which was filed on August 9, 2021. (Doc.
2698).



                                                    [7]
                                                                                               Appx_0010
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              11.    The derivative nature of this proceeding is also appropriate because any

demand on Seery would be futile. 13 Seery is the Claimant Trustee under the terms of the

CTA. Furthermore, any demand on the Oversight Board to prosecute these claims would

be equally futile because Muck and Jessup, both of whom are Proposed Defendants,

dominate the Oversight Board. 14

              12.    The “classic example” of a proper derivative action is when a debtor-in-

possession is “unable or unwilling to fulfill its obligations” to prosecute an otherwise

colorable claim where a conflict of interest exists. Cooper, 405 B.R. at 815 (quoting Louisiana

World, 858 F.2d at 252). Here, because HMIT’s proposed Adversary Proceeding includes

claims against Seery, Muck, and Jessup, the conflicts of interest are undeniable. Seery is

the Trustee of the Claimant Trust Assets under the CTA, and he also serves as the “Estate

Representative.” 15 Muck and Jessup, as successors to Acis, the Redeemer Committee and

UBS, effectively control the Oversight Board, with the responsibility to “monitor and

oversee the administration of the Claimant Trust and the Claimant Trustee’s performance

. . . .” 16




13Any demand on the Litigation Sub-Trust would be equally futile for the same reasons addressed herein,
since the Litigation Trustee serves at the direction of the Oversight Board.
14See Footnote 8, infra. In December 2021, several stakeholders made a demand on the Debtor through
James Seery, in his capacity as Trustee to the Claimant Trust, to pursue claims related to these insider
trades.
15   See Claimant Trust Agreement (Doc. 3521-5), Sec. 3.11.
16   Id. at Sec. 4.2(a) and (b).



                                                      [8]
                                                                                            Appx_0011
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        13.      Creditors’ committees frequently bring suit on behalf of bankruptcy estates.

Yet, it is clear that any appropriately designated party also may bring derivative claims.

In re Reserve Prod., Inc., 232 B.R. 899, 902 (Bankr. E.D. Tex. 1999) (citations omitted); see In

re Enron Corp., 319 B.R. 128, 131 (Bankr. S.D. Tex. 2004). As this Court has held in In Re

Cooper:

        In Chapter 11 [cases], there is both a textual basis . . . and, frequently, a non-
        textual, equitable rationale for granting a creditor or creditors committee
        derivative standing to pursue estate actions (i.e., the equitable rationale
        coming into play when the debtor-in-possession has a conflict of interest in
        pursuing an action, such as in the situation of an insider-defendant).

In re Cooper, 405 B.R. 801, 803 (Bankr. N.D. Tex. 2009) (also noting that “[c]onflicts of

interest are, of course, frequently encountered in Chapter 11, where the metaphor of the

‘fox guarding the hen house’ is often apropos”); see also In re McConnell, 122 B.R. 41, 43-

44 (Bankr. S.D. Tex. 1989) (“[I]ndividual creditors can also act in lieu of the trustee or

debtor-in-possession . . . .”). Here, the Proposed Defendants are the “foxes guarding the hen

house,” and their conflicts of interest abound. 17 Proceeding in a derivative capacity is

necessary, if not critical.




17See Citicorp Venture Cap., Ltd. v. Comm. of Creditors Holding Unsecured Claims, 160 F.3d 982, 987 (3d Cir.
1998) (settlement noteholders purchased Debtors’ securities with “the benefit of non-public information
acquired as a fiduciary” for the “dual purpose of making a profit and influenc[ing] the reorganization in
[their] own self-interest.”), see also, Wolf v. Weinstein, 372 U.S. 633, 642, 83 S.Ct. 969, 10 L.Ed.2d 33 (1963)
(“Access to inside information or strategic position in a corporate reorganization renders the temptation to
profit by trading in the Debtor's stock particularly pernicious.”).



                                                      [9]
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        14.     The proposed Adversary Proceeding also sets forth claims that readily

satisfy the Court’s threshold standards requiring “colorable” claims, as well as the

requirements for a derivative action. This Motion, which is supported by objective

evidence contained in historical filings in the bankruptcy proceedings, also incorporates

sworn declarations. At the very least, this additional evidence satisfies the Court’s

threshold requirements of willful misconduct and fraud set forth in the “gatekeeping”

orders, as well as the injunction and exculpation provisions in the Plan. 18 This evidence

also supports well-pleaded allegations exempted from the scope of the releases included

in the Plan.

        15.     HMIT is an appropriate party to bring this action on behalf of the

Reorganized Debtor and the Claimant Trust. If successful, the Adversary Proceeding will

likely recover well over $100 million for the Claimant Trust, thereby enabling the

Reorganized Debtor and Claimant Trust to pay off any remaining innocent creditors and

make significant distributions to HMIT as a vested Claimant Trust Beneficiary.

        16.     As of December 31, 2022, the Claimant Trust had distributed 64.2% of the

total $397,485,568 par value of all Class 8 and Class 9 unsecured creditor claims. The




18HMIT recognizes that it is an “Enjoined Party” under the Plan. The Plan requires a showing, inter alia, of
bad faith, willful misconduct, or fraud against a “Protected Party.” Seery is a “Protected Party” and an
“Exculpated Party” in his capacity as an Independent Director. Muck and Jessup may be “Protected Parties”
as members of the Oversight Committee, but they were not “protected” when they purchased the Claims
before the Effective Date. While it is HMIT’s position that Farallon and Stonehill do not qualify as
“Protected Parties,” they are included in this Motion in the interest of judicial economy.



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Claims acquired by Muck and Jessup have an allowed par value of $365,000,000. Based

on these numbers, the innocent unsecured creditors hold approximately $32 million in

allowed claims. 19

           17.    As of December 31, 2022, the Claimant Trust has distributed $255,201,228. 20

On a pro rata basis, that means that innocent creditors have received approximately

$22,373,000 in distributions against the stated value of their allowed claims. That leaves

a remaining unpaid balance of approximately $9,627,000.

           18.    Muck and Jessup already have received approximately $232.8 million on

their Claims. Assuming and original investment of approximately $160 million, this

represents over $72 million in ill-gotten profits that, if disgorged, would be far more than

what is required to fully pay all other innocent creditors - immediately placing HMIT in

the status of a vested Claimant Trust Beneficiary. The benefits to the Reorganized Debtor,

the Claimant Trust and innocent stakeholders are undeniable. 21

           19.    Seery and the Oversight Board should be estopped from challenging

HMIT’s status to bring this derivative action on behalf of the Claimant Trust. Seery, Muck

and Jessup have committed fraud, acted in bad faith and have unclean hands, and they

should not be allowed to undermine the proposed Adversary Proceeding - which seeks



19   Doc. 3653.
20   Id.
21Further, under the present circumstances and time constraints, this Motion should be granted to avoid
the prospect of the loss of some of HMIT’s and the Claimant Trust’s claims and denial of due process.



                                                 [11]
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to rectify significant wrongdoing. To hold otherwise would allow Seery, Muck, Jessup,

Stonehill, and Farallon the opportunity to not just “guard the hen house,” but to also open

the door and take what they want. 22 HMIT seeks a declaratory judgment of its rights,

accordingly.

                                  IV.      The Proposed Defendants

        20.      Seery acted in several capacities during relevant times. He served as the

Debtor’s Chief Executive Officer (“CEO”) and Chief Restructuring Officer (“CRO”). He

also served as member of the Debtor’s Independent Board. 23 He currently serves as

Claimant Trustee under the CTA and remains the CEO of the Reorganized Debtor.

        21.      There is no doubt Seery owed the Original Debtor’s Estate, as well as equity,

fiduciary duties, including the duty of loyalty and the duty to avoid conflicts of interest.

See In re Xtreme Power Inc., 563 B.R. 614, 632-33 (Bankr. W.D. Tex. 2016) (detailing

fiduciary duties owed by corporate officers and directors under Delaware law); Louisiana

World, 858 F.2d at 245-46 (detailing duties owed by debtors-in-possession). 24


22“The doctrine of ‘unclean hands’ provides that “a litigant who engages in reprehensible conduct in
relation to the matter in controversy ... forfeits his right to have the court hear his claim, regardless of its
merit. [T]he purpose of the clean hands maxim is to protect the court against misuse by one who, because
of his conduct, has forfeited his right to have the court consider his claims, regardless of their merit. As
such it is not a matter of defense to be applied on behalf of a litigant; rather it is a rule of public policy.”
Portnoy v. Cryo-Cell Int'l, Inc., 940 A.2d 43, 80–81 (Del. Ch. 2008) (citations omitted) (internal quotations
omitted for clarity).
23Seery is the beneficiary of the Court’s “gatekeeping” orders and is an “exculpated” party in his capacity
as an Independent Director. He is also a “Protected Party.”
24The Internal Affairs Doctrine dictates choice of law. Here, the Debtor, Highland Capital Management,
was organized under the law of Delaware. As much, Seery’s fiduciary duties and claims involving breaches
of those duties will be governed by Delaware law.



                                                     [12]
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           22.      Farallon and Stonehill are capital management companies which manage

hedge funds; they are also Seery’s close business allies with a long history of business

ventures and close affiliation. Although they were strangers to the Original Debtor’s

bankruptcy on the petition date, and were not original creditors, they became entangled

in this bankruptcy at Seery’s invitation and encouragement—and then knowingly

participated in the wrongful insider trades at issue. By doing so, Seery was able to plant

friendly allies onto the Oversight Board to rubber stamp compensation demands. The

proposed Adversary Proceeding alleges that Farallon and Stonehill bargained to receive

handsome pay days in exchange.

           23.      Muck and Jessup are special purpose entities, admittedly created by

Farallon and Stonehill on the eve of the alleged insider trades, and they were used as

vehicles to assume ownership of the purchased claims. 25 The record is clear that Muck

and Jessup did not exist before confirmation of the Plan in February 2021. 26 Now,

however, Muck and Jessup serve on the Oversight Board with immense powers under

the CTA. 27 When they purchased the claims at issue, Muck and Jessup were not acting in

their official capacities on the Oversight Committee and, therefore, they were not

“Protected Persons” under the Plan.



25   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
26See McEntire Dec., Ex. 4, Ex. 4-D, Ex. 4-E. Muck was created on March 9, 2021 before the Effective Date.
Jessup was created on April 8, 2021, before the Effective Date.
27   See Doc. 3521-5, Sec. 4(a) and 4(b).



                                                     [13]
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           24.      By trading on the alleged material non-public information, Farallon,

Stonehill, Muck, and Jessup became non-statutory “insiders” with duties owed directly

to HMIT at a time when HMIT was the largest equity holder. 28 See S.E.C. v. Cuban, 620

F.3d 551, 554 (5th Cir. 2010) (“The corporate insider is under a duty to ‘disclose or

abstain’—he must tell the shareholders of his knowledge and intention to trade or abstain

from trading altogether.”). In this context, there is no credible doubt that Farallon’s and

Stonehill’s dealings with Seery were not arms-length. Again, Farallon and Stonehill were

Seery’s past business partners and close allies. 29 By virtue of the insider trades at issue,

Farallon and Stonehill acquired control (acting through Muck and Jessup) over the

Original Debtor and Reorganized Debtor through Seery’s compensation agreement and

awards, as well as supervisory powers over the Claimant Trust. This makes Farallon and

Stonehill paradigm non-statutory insiders.

           25.      HMIT also seeks recovery against John Doe Defendant Nos. 1 through 10. 30

It is clear Farallon and Stonehill refuse to disclose the precise details of their legal



28   Because of their “insider” status, this Court should closely scrutinize the transactions at issue.
29Farallon and Stonehill are two capital management firms (similar to HCM) with whom Seery has had
substantial business relationships. Also, Seery previously served as legal counsel to Farallon. Seery also has
a long-standing relationship with Stonehill. GCM Grosvenor, a global asset management firm, held four
seats on the Redeemer Committee (an original member of the Unsecured Creditors Committee in HCM’s
bankruptcy). Upon information and belief, GCM Grosvenor is a significant investor in Stonehill and
Farallon. GCM Grosvenor, through Redeemer, also played a large part in appointing Seery as a director of
Strand Advisors and approved his appointment as HCM’s CEO and CRO.
30Farallon and Stonehill consummated their trades concealing their actual involvement through Muck and
Jessup as shell companies. Farallon’s and Stonehill’s identities were not discovered until much later after
the fact.



                                                        [14]
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relationships with Muck and Jessup. They resisted such discovery in the prior Rule 202

Proceedings in state district court. 31 They also refused to disclose such details in response

to a prior inquiry to their counsel. 32 Furthermore, the corporate filings of both Muck and

Farallon conspicuously omit the identity of their respective members or managing

members. 33 Accordingly, HMIT intends to prosecute claims against John Doe Defendant

Nos. 1 -- 10 seeking equitable tolling pending further discovery whether Farallon and

Stonehill inserted intermediate corporate layers between themselves and the special

purpose entities (Muck and Jessup) they created. See In re ATP Oil & Gas Corp., No. 12-

36187, 2017 WL 2123867, *4 (Bankr. S.D. Tex. May 16, 2017) (lsgur .J.); see also In re IFS Fin.

Corp. No. 02-39553, 2010 WL 4614293, *3 (Bankr. S.D. Tex. No. 2, 2010) (“The identity of

the party concealing the fraud is immaterial, the critical factor is whether any of the

parties involved concealed property of the estate.” “In either case, the trustee must

demonstrate that despite exercising diligence, he could not have discovered the identity

of the [unnamed] defendants prior to the expiration of the limitations period.”) ATP Oil,

2017 WL 2123867 at *4. That burden is easily satisfied here.




31   See McEntire Dec., Ex. 4.
32   See McEntire Dec., Ex. 4, see also, Ex. 4-F.
33   See Ex. 4-D, Ex. 4-E.



                                                    [15]
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                                             V.      Background

           26.     As part of this Court’s Governance Order, an independent board of

directors—which included Seery as one of the selections of the Unsecured Creditor’s

Committee—was appointed to the Board of Directors (the “Board”) of Strand Advisors,

Inc., (“Strand Advisors”), the Original Debtor’s general partner. Following approval of

the Governance Order, the Board then appointed Seery as the Original Debtor’s CEO and

CRO. 34 Following the Effective Date of the Plan, Seery now serves as Trustee of the

Claimant Trust (the Reorganized Debtor’s sole post-reorganization limited partner), and

continues to serve as the Reorganized Debtor’s CEO. 35

           27.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained

bankruptcy court approval of several settlements prior to the Effective Date, resulting in

the following approximate allowed claims (hereinafter “Claims”): 36

                         Creditor            Class 8              Class 9
                         Redeemer            $137 mm              $0 mm
                         Acis                $23 mm               $0 mm
                         HarbourVest         $45 mm               $35 mm
                         UBS                 $65 mm               $60 mm
                         (Totals)            $270 mm              $95 mm




34   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
35   See Doc. 1943, Order Approving Plan, p. 34.
36   Orders Approving Settlements [Doc. 1273, Doc. 1302, Doc. 1788, Doc. 2389].



                                                     [16]
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Each of the settling parties curiously sold their Claims to Farallon or Stonehill (or their

affiliated special purpose entities) shortly after they obtained court approval of their

settlements. One of these “trades” occurred within just a few weeks before the Effective

Date. Farallon and Stonehill coordinated and controlled the purchase of these Claims

through Muck and Jessup, and they admitted in open court that Muck and Jessup were

created to allow their purchase of the Claims. 37

           28.      HMIT alleges that Seery filed (or caused to be filed) deflated, misleading

projections regarding the value of the Debtor’s Estate, 38 while inducing unsecured

creditors to discount and sell their Claims to Farallon and Stonehill. But as reflected in

the attached declarations, it is now known that Seery provided material, non-public

information to Farallon. The circumstantial evidence is also clear that both Farallon and

Stonehill had access to and used this non-public information in connection with their

purchase decisions.

           29.      Farallon and Stonehill are registered investment advisors who have their

own fiduciary duties to their investors, and they are acutely aware of what these duties

entail. Yet, upon information and belief, they collectively invested over $160 million

dollars to purchase the Claims in the absence of any publicly available information that




37   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
38The pessimistic projections were issued as part of the Plan Analysis on February 2, 2021. [Doc. 1875-1].
The Debtor projected 0% return on Class 9 claims and only 71.32% return on Class 8 Claims.



                                                     [17]
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could rationally justify such investments. These “trades” become even more suspect

because, at the time of confirmation, the Plan provided pessimistic projections advising

stakeholders that the Claim holders would never receive full satisfaction:

                      From October 2019, when the original Chapter 11 Petition was
                       filed, to January 2021, just before the Plan was confirmed, the
                       valuation of HCM’s assets dropped over $200 million from $566
                       million to $328.3 million. 39

                      HCM’s Disclosure Statement projected payment of 71.32% of
                       Class 8 claims, and 0% of claims in Classes 9-11; 40

                         o This meant that Farallon and Stonehill invested more than
                           $103 million in Claims when the publicly available
                           information indicated they would receive $0 in return on
                           their investment as Class 9 creditors and substantially less
                           than par on their Class 8 Claims.

                      In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                       the amount of Class 8 claims expected to be paid dropped even
                       further from 71% to 54%; 41

           30.     In the third financial quarter of 2021, just over $6 million of the projected

$205 million available to satisfy general unsecured creditors was disbursed. 42 No

additional distributions were made to the unsecured claimholders until, suddenly, in Q3

2022 almost $250 million was paid toward Class 8 general unsecured claims—$45 million

more than was ever projected. 43


39   Doc. 1473, Disclosure Statement, p. 18.
40   Doc. 1875-1, Plan Supplement, p. 4.
41   Doc 2949.
42   Doc 3200.
43   Doc 3582.



                                                [18]
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           31.       According to Highland Capital’s Motion for Exit Financing, 44 and a recent

motion filed by Dugaboy Investment Trust, 45 there remain substantial assets to be

monetized for the benefit of the Reorganized Debtor’s creditors. Thus, upon information

and belief, Stonehill and Farallon, stand to realize significant profits on their wrongful

investments. In turn, Stonehill and Farallon will garner (and already have garnered)

substantial fees – both base fees and performance fees – as the result of their acquiring

and/or managing the Claims. Upon information and belief, HMIT also alleges that Seery

has received excessive compensation and bonuses approved by Farallon (Muck) and

Stonehill (Jessup) as members of the Oversight Board.

           32.       As evidenced in the supporting declarations (Exs. 2 and 3):

                    Farallon admitted it conducted no due diligence and relied upon
                     Seery in making its multi-million-dollar investment decisions at
                     issue. 46

                    Farallon admitted it was unwilling to sell its stake in these Claims at
                     any price because Seery assured Farallon that the Claims were
                     tremendously valuable. 47

                    Farallon bragged about the value of its investment referencing non-
                     public information regarding Amazon, Inc.’s (“Amazon”) interest in
                     acquiring Metro-Goldwyn-Mayer Studios Inc. (“MGM”). 48




44   Doc 2229.
45   Doc 3382.
46   See Ex. 2, 2022 Dondero Declaration.
47   See Ex. 2, 2022 Dondero Declaration, Ex. 3, 2023 Dondero Declaration.
48   See Ex. 3, 2023 Dondero Declaration.



                                                     [19]
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                    Farallon was unwilling to sell its stake in the newly acquired Claims
                     even though publicly available information suggested that Farallon
                     would lose millions of dollars on its investment. 49

Farallon can offer no credible explanation to explain its significant investment, and its

refusal to sell at any price, except Farallon’s access to material non-public information. In

essence, Seery became the guarantor of Farallon’s significant investment. Farallon

admitted as much in its statements to James Dondero.

           33.       The same holds true for Stonehill. Given the negative, publicly available

information, Stonehill’s multi-million-dollar investments make no rational sense unless

Stonehill had access to material non-public information.

           34.       Fed. R. Bank. P. 2015.3 requires debtors to “file periodic financial reports of

the value, operations, and profitability of each entity that is not a publicly traded

corporation or a debtor in a case under title 11, and in which the estate holds a substantial

or controlling interest.” However, no public reports required by Rule 2015.3 were filed.

Seery testified they simply “fell through the cracks.” 50

           35.       Six days prior to the filing of the motion seeking approval of the

HarbourVest Settlement, Seery acquired material non-public information regarding

Amazon’s interest in acquiring MGM.51 Upon receipt of this material non-public




49   See Ex. 3, 2023 Dondero Declaration, see also Doc. 1875-1.
50   Doc. 1905, February 3, 2021, Hearing Transcript, 49:5-21.
51   See Adversary No. 20-3190-sgj11, Doc. 150-1.



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information, MGM should have been placed on the Original Debtor’s “restricted list,” but

Seery continued to move forward with deals that involved MGM stock and notes. 52

Because the Original Debtor additionally held direct interests in MGM, 53 the value of

MGM was of paramount importance to the value of the estate.

           36.     Armed with this and other insider information, Farallon—through Muck—

proceeded to invest in the Claims and, acting through Muck, acceded to a powerful

position on the Oversight Board to oversee future distributions to Muck and itself. It is

no coincidence Seery invited his business allies into these bankruptcy proceedings with

promises of great profits. Seery’s allies now oversee his compensation. 54

           37.     The Court also should be aware that the Texas States Securities Board

(“TSSB”) opened an investigation into the subject matter of the insider trades at issue,

and this investigation has not been closed. The continuing nature of this investigation




52As part of the HarbourVest Settlement, Seery negotiated the purchase of HarbourVest’s interest in
HCLOF for approximately $22.5 million as part of the transaction. Approximately 19.1% of HCLOF’s assets
were comprised of debt and equity in MGM. The HCLOF interest was not to be transferred to the Debtor
for distribution as part of the bankruptcy estate, but rather to “to an entity to be designated by the
Debtor”—i.e., one that was not subject to typical bankruptcy reporting requirements. Doc. 1625, p. 9, n. 5.
Doc. 1625.
53   See Doc. 2229, Motion for Exit Financing.
54 Amazon closed on its acquisition of MGM in March 2022, but the evidence strongly suggests that
agreements for the trades already had been reached - while announcement of the trades occurred
strategically after the MGM news became public. Now, as a result of their wrongful conduct, Stonehill and
Farallon profited significantly on their investments, and they stand to gain substantially more profits.




                                                   [21]
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underscores HMIT’s position that the claims described in the attached Adversary

Proceeding are plausible and certainly far more than merely “colorable.”

                                       VI.    Argument

       A.     HMIT has asserted Colorable Claims against Seery, Stonehill, Farallon,
              Muck, and Jessup.

       38.    Unlike the terms “Enjoined Party,” “Protected Party,” or “Exculpated

Party,” the Plan does not define what constitutes a “colorable” claim. Nor does the

Bankruptcy Code define the term. However, relevant authorities suggest that a Rule

12(b)(6) standard is an appropriate analogue.

       39.    The Fifth Circuit has held that a “colorable” claim standard is met if a

[movant], such as HMIT, has asserted claims for relief that, on appropriate proof, would

allow a recovery. A court need not and should not conduct an evidentiary hearing but

must ensure that the claims do not lack any merit whatsoever. Louisiana World Exposition

v. Fed. Ins. Co., 858 F.2d 233, 248 (5th Cir. 1988). Stated differently, the Court need not be

satisfied there is an evidentiary basis for the asserted claims but instead should allow the

claims if they appear to have some merit.

       40.    Other federal appellate courts have reached similar conclusions. For

example, the Eighth Circuit holds that “creditors’ claims are colorable if they would

survive a motion to dismiss.” In re Racing Services, Inc., 540 F.3d 892, 900 (8th Cir. 2008);

accord In Re Foster, 516 B.R. 537, 542 (B.A.P. 8th Cir. 2014), aff’d 602 Fed. Appx. 356 (8th

Cir. 2015) (per curiam). The Sixth Circuit has adopted a similar test requiring that the court


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look only to the face of the complaint to determine if claims are colorable. In re The Gibson

Group, Inc., 66 F.3d 1436, 1446 (6th Cir. 1995) (emphasis added).

       41.    Although there is a dearth of federal court authorities in Texas, other federal

courts have adopted the same standard—i.e., a claim is colorable if it is “plausible” and

could survive a motion to dismiss. See In re America’s Hobby Center, Inc., 223 B.R. 273, 282

(S.D.N.Y 1998). In addition, in the non-bankruptcy context, the District Court for the

Northern District of Texas explained that “[t]he requirement of a ‘colorable claim’ means

only that the plaintiff must have an ‘arguable claim’ and not that the plaintiff must be able

to succeed on that claim.” Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P.,

207 F. Supp. 2d 570, 577 (N.D. Tex. 2002) (Emphasis added).

       42.    Thus, in this instance, this Court’s gatekeeping inquiry is properly limited

to whether HMIT has stated a plausible claim on the face of the proposed pleadings

involving “bad faith,” “willful misconduct,” or “fraud.” Because the face of the

Adversary Complaint alleges plausible facts, HMIT’s Motion is properly granted.

Clearly, the attached Adversary Proceeding would survive a Rule 12(b)(6) challenge.

Furthermore, the supporting declarations and documentary evidence provide additional

support, and the circumstantial evidence proves that Farallon and Stonehill, strangers to

the bankruptcy on the petition date, would not have leaped into these proceedings

without undisclosed assurances of profit.




                                            [23]
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           B. Fraud

           43.     As set forth in the proposed Adversary Proceeding, HMIT alleges a

colorable claim for fraud—both fraud by knowing misrepresentation and fraud by

omission of material fact. Here, these allegations of fraud are appropriately governed by

Texas law under appropriate choice of law principals. 55

           44.     Seery had a duty to not provide material inside information to his business

allies. But, he did so. At the latest, Seery became aware of the potential sale of MGM in

December 2020 when he received an email from Jim Dondero. 56 Thus, Seery knew at that

time that this potential sale would likely yield significant value to the Original Debtor’s

Estate. Yet, the financial disclosures associated with the Plan’s confirmation, which were

provided only a month later, presented an entirely different outlook for both Class 8 and

Class 9 unsecured creditors. 57 Seery knew at that time that these pessimistic disclosures

were misleading, if not inaccurate.

           45.     There is no credible doubt Seery intended that innocent stakeholders would

rely upon the pessimistic projections set forth in the Plan Analysis. Indeed, the singular

purpose of the Plan Analysis was to advise stakeholders. As such, HMIT alleges that

Seery knowingly made misrepresentations with the intention that innocent stakeholders



55However, Delaware law is substantially similar on the elements of fraud. See Malinals v. Kramer, No.
CIV.A. CPU 6-11002145, 2012 WL 174958, at 2 (Del. Com. PI. Jan. 5, 2012)
56   See, Dondero 2022 Dec., Ex. 2-1.
57   See Doc. 1875-1, Plan Analysis, February 1, 2021.



                                                         [24]
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would rely, and that he failed to disclose material information concerning his

entanglements with Farallon and Stonehill, as well as the related negotiations that were

chock full of conflicts of interest.

           46.     On the flip side of this conspiracy coin, Farallon and Stonehill were engaged

in negotiations to acquire the Claims at discounted prices; and, they successfully did so.

HMIT alleges that their success was based on knowledge that the financial disclosures

associated with the Plan Analysis were significantly understated. Otherwise, it would

make no financial sense for Farallon and Stonehill to do the deals at issue. Indeed,

Farallon admitted that it would not sell the Claims at any price, expressing great

confidence in the substantial profits it expected even in the absence of any supporting,

publicly available information. 58

           47.     All of the Proposed Defendants had a duty of affirmative disclosure under

these circumstances. Seery always had this duty. Muck, Jessup, Farallon, and Stonehill

assumed this duty when they became non-statutory “insiders.” Thus, all of the Proposed

Defendants are liable for conspiring to perpetrate a fraud by omission of material facts.

           48.     HMIT also claims that Seery and the other Proposed Defendants failed to

disclose material information concerning Seery’s involvement in brokering the Claims in

exchange for quid pro quo assurances of enhanced compensation. Seery’s compensation




58   Ex. 3, 2023 Dondero Declaration.



                                                [25]
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should be disgorged or, alternatively, such compensation constitutes a damage

recoverable by the Reorganized Debtor and Claimant Trust as assignees (or transferees)

of the Original Debtor’s causes of action. This compensation was the product of the

alleged self-dealing, breaches of fiduciary duty, and fraud.

       C. Breaches and Aiding and Abetting Breaches of Fiduciary Duties

       49.     It is beyond dispute Seery owed fiduciary duties to the Estate. See Xtreme

Power, 563 B.R. at 632-33 (detailing fiduciary duties owed by corporate officers and

directors under Delaware law); 59 Louisiana World, 858 F.2d at 245-46 (5th Cir. 1988)

(detailing duties owed by debtors-in-possession). Although Seery did not buy the Claims

at issue, he stood to profit from these sales because his close business allies would do his

bidding after they had acceded to positions of power and control on the Oversight Board.

Muck and Jessup were essentially stepping into the shoes of three of the largest

unsecured creditors who were already slated to serve on the Oversight Board. Thus, by

acquiring their Claims, all of the Proposed Defendants knew that Muck and Jessup would

occupy these powerful oversight positions after the Effective Date.

       50.     Thus, the alleged conspiracy was successfully implemented before the

Effective Date. Farallon and Stonehill now occupy control positions through the shell



59 The Xtreme case also notes that “several Delaware courts have recognized that ‘directors who are
corporate employees lack independence because of their substantial interest in retaining their
employment.” 563 B.R. at 633-34. Because Muck and Jessup are now in control of Seery’s compensation, it
follows that Seery is beholden to them, and Seery’s disclosure of inside information to Stonehill and
Farallon confirms his conflict of interest.



                                                 [26]
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entities (Muck and Jessup) overseeing large compensation packages for Seery. Of course,

this control (and the opportunity to control) presented a patent conflict of interest which

Seery should have avoided, but instead knowingly created, fostered, and encouraged.

HMIT alleges that Seery breached his duty to avoid this conflict or otherwise disclose this

conflict and Farallon and Stonehill aided and abetted this breach.

            51.   The Original Debtor, as an investment adviser registered with the SEC, is

also required to make public disclosures on its Form ADV, the uniform registration form

for investment advisers required by the SEC. These Form ADV disclosures, which were

in effect at the time of the insider trades at issue, explicitly forbade “any access person

from trading either personally or on behalf of others . . . on material non-public

information or communicating material non-public information to others in violation of

the law or duty owed to another party.”60 It now appears these representations were false

when made. Seery’s alleged conduct also violated, at minimum, the duties Seery owed in

his various capacities with the Original Debtor under the Form ADV disclosures.

            52.   Although initially strangers to the original bankruptcy, by accepting and

using inside information, Farallon and Stonehill became “temporary insiders” and thus

owed separate duties to the Estate. See S.E.C. v. Cuban, 620 F.3d 551 (5th Cir. 2010) (“[E]ven




60   See, e.g.,
https://files.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRSN_ID=77
7026.



                                              [27]
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an individual who does not qualify as a traditional insider may become a ‘temporary

insider’ if by entering ‘into a special confidential relationship in the conduct of the

business of the enterprise [they] are given access to information solely for corporate

purposes.” In re Washington Mut., Inc., 461 B.R. 200 (Bankr. D. Del. 2011), vacated in

part, 08-12229 MFW, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (finding that equity

committee stated colorable claim for equitable disallowance against creditors who

“became temporary insiders of the Debtors when the Debtors gave them confidential

information and allowed them to participate in negotiations with JPMC for the shared

goal of reaching a settlement that would form the basis of a consensual plan of

reorganization”; vacated in part as a condition of settlement only); 61 See also, In re Smith,

415 B.R. 222, 232-33 (Bankr. N.D. Tex. 2009) (“[a]n insider is an entity or person with ‘a

sufficiently close relationship with the debtor that his conduct is made subject to closer

scrutiny than those dealing at arm’s length with the debtor.’ ‘Thus, the term “insider” is

viewed to encompass two classes: (1) per se insiders as listed in the Code and (2) extra-

statutory insiders that do not deal at arm’s length.’” (citations omitted)). Farallon,

Stonehill, Muck, and Jessup clearly fall into this latter category.



61Although the Washington Mutual case was subsequently vacated, the Court’s intellectual reasoning
remains valid because the vacatur was mandated by a mediated settlement, not because the court’s logic
was flawed or changed, and the court expressly noted that the parties’ settlement was conditioned on
vacatur. See In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24,
2012) (“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that
“absent the requested vacatur, the collapse of the Plan could result in the termination of the Global
Settlement Agreement.” (emphasis added)).



                                                     [28]
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       53.    Because Farallon and Stonehill (acting through Muck and Jessup) now hold

the majority of the seats on the Oversight Board, they, along with Seery, exercise control

of the reorganization proceedings. At no time were Farallon, Stonehill, or Seery’s plans

disclosed to the other creditors or equity. In fact, the only inference that can be reasonably

drawn is that Farallon and Stonehill brazenly sought to conceal their involvement by

establishing shell entities—Muck and Jessup—to nominally hold the Claims and create

an opaque barrier to any effort to identify the “Oz behind the curtain.” Such conduct aligns

precisely with the inequitable conduct detailed in Citicorp and Adelphia (discussed below).

       54.    In sum, the proposed Adversary Proceeding sets forth plausible allegations

that Stonehill and Farallon were aware of Seery’s fiduciary duties. Indeed, as registered

investment advisors, both Farallon and Stonehill were acutely aware of Seery’s fiduciary

obligations, including, without limitation, the duty to act in the best interests of the

Original Debtor’s Estate and the duty not to engage in insider trading that would benefit

Seery, as an insider, and themselves, as non-statutory insiders. By accepting and then

acting on material non-public information, Farallon and Stonehill (as well as Muck and

Jessup) aided and abetted breaches of these fiduciary duties. By placing themselves in

positions to control Seery’s compensation, Farallon and Stonehill (acting through Muck

and Jessup) induced, encouraged, aided and abetted Seery’s self-dealing.




                                             [29]
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           D. Equitable Disallowance is an Appropriate Remedy

           55.     HMIT also seeks equitable disallowance. Although the Fifth Circuit in

Matter of Mobile Steel Co. generally limited the court’s equitable powers to subordination

rather than disallowance, 62 the Fifth Circuit did not foreclose the viability of equitable

disallowance as a potential remedy. See 563 F.2d 692, 699 n. 10 (5th Cir. 1977). Binding U.S.

Supreme Court precedent in Pepper v. Litton also permits bankruptcy courts to fashion

disallowance remedies. 308 U.S. 295, 304-11 (1939). Bankruptcy Code § 510, which

supplies the authority for equitable subordination, was “intended to codify case law, such

as Pepper v. Litton . . . and is not intended to limit the court’s power in any way…. Nor does [it]

preclude a bankruptcy court from completely disallowing a claim in appropriate circumstances.”

In re Adelphia Commun. Corp., 365 B.R. 24, 71-72 (Bankr. S.D.N.Y. 2007), aff'd in part sub

nom. Adelphia Recovery Tr. v. Bank of Am., N.A., 390 B.R. 64 (S.D.N.Y. 2008), adhered to on

reconsideration, 05 CIV. 9050 (LMM), 2008 WL 1959542 (S.D.N.Y. May 5, 2008) (emphasis

and omissions in original). 63

           56.     The Fifth Circuit’s decision in Mobile Steel also was premised on the notion

that disallowance would not add to the quiver of defenses to fight unfairness because




62   Equitable subordination is an inadequate remedy in this instance.
63In Washington Mutual, the Court’s intellectual reasoning when imposing disallowance is instructive. See
In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24, 2012)
(“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that “absent
the requested vacatur, the collapse of the Plan could result in the termination of the Global Settlement
Agreement.” (emphasis added)).



                                                      [30]
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creditors “are fully protected by subordination” and “[i]f the misconduct directed against

the bankrupt is so extreme that disallowance might appear to be warranted, then surely

the claim is either invalid or the bankrupt possesses a clear defense against it.” Mobile

Steel, 563 F.2d at 699 n. 10 (emphasis added). Importantly, however, the factual scenarios

considered in Mobile Steel do not exist here.

       57.    Here, Muck and Jessup purchased both Class 8 and Class 9 Claims, and

they now effectively occupy more than 90% of the entire field of unsecured creditors in

these two claimant tiers. Thus, subordination cannot effectively address the current facts

where the Original Debtor’s CEO and CRO conspired directly with close business allies

who acquired the largest unsecured claims to the detriment of other innocent creditors

and former equity. The reasoning in published cases from other circuits supports this

conclusion. See Adelphia, 365 B.R. at 71-73; Citicorp Venture Capital, Ltd. v. Comm. of

Creditors Holding Unsecured Claims, 160 F.3d 982, 991 n. 7 (3d Cir. 1998).

       58.    The purpose of equitable subordination is to assure that the wrongdoer

does not profit from bad conduct. In the typical case, subordination to other creditors will

achieve this deterrence. But, it is clear that the Third Circuit’s decision in Citicorp was

structured to use subordination as just one tool in a larger tool box to make sure “at a

minimum, the remedy here should deprive – [the fiduciary] of its profit on the purchase

of the notes.” Id at 991. In Adelphia, the Southern District of New York also used equitable




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subordination as a remedy to address wrongs of non-insiders who aided and abetted

breaches a fiduciary duty by the debtor’s management. 365 B.R. at 32.

       59.    But subordination cannot adequately address the wrongful conduct at

issue. This is because subordination is typically limited to instances where one creditor is

subordinated to other creditors, not equity. Here, for all practical purposes, there are only

a few other unsecured creditors with relatively small stakes. Therefore, subordination as

a weapon of deterrence is neutered.

       60.    In sum, by engaging in the alleged wrongful acts, including aiding and

abetting Seery’s breaches of fiduciary duty, Farallon, Stonehill, Muck, and Jessup should

not be rewarded. The Proposed Defendants engaged in alleged conduct which damaged

the Original Debtor’s estate, including improper agreements to compensate Seery under

the terms of the CTA. Equitable disallowance is an appropriate remedy which, when

combined with disgorgement of all ill-gotten profits, will deprive the Proposed

Defendants of their ill-gotten gains.

       E. Disgorgement and Unjust Enrichment

       61.    The law is clear that disgorgement is an available remedy for breach of

fiduciary duty both under Texas Law, see Kinzbach Tool Co. v. Corbett-Wallace Corporation,

160 S.W. 2d 509 (Tex. 1942), and under Delaware law, see Metro Storage International, LLC

v. Harron, 275 A.3d 810 (Del. Ch. 2022). Disgorgement is also an appropriate remedy for

unjust enrichment under Texas law, Hunter v. Shell Oil Co., 198 F.2d 485 (5th Cir. 1952),



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and under Delaware law, In re Tyson Foods, Inc. Consolidated Shareholder Litigation, 919

A.2d 563 (Del. Ch. 2007). 64

        62.     Likewise, the imposition of a constructive trust is proper for addressing

unjust enrichment under both Delaware and Texas law, see Teacher’s Retirement System of

Louisiana v. Aidinoff, 900 A.2d 654 (Del. Ch. 2006) and Hsin-Chi-Su v. Vantage Drilling

Company, 474 S.W. 3d 384 (Tex. App. – 14th Dist. 2015), pet. denied. The elements of unjust

enrichment are: (1) the defendant must have gained a benefit (2) at the expense of

plaintiff, (3) and retention of that benefit must be shown to be unjust. See Restatement

(Third) of Restitution and Unjust Enrichment §321, cmt. e (2011).

        63.     Here, the imposition of a constructive trust and disgorgement are clearly

appropriate to provide redress for the alleged breaches of fiduciary duty and the knowing

participation in (or aiding and abetting) those breaches. Furthermore, the imposition of a

constructive trust and disgorgement are appropriate to disgorge the improper benefits

that all of the Proposed Defendants received by virtue of collusion and insider trading.

        64.     As set forth in the proposed Adversary Proceeding, Seery gained the

opportunity to have his compensation demands rubber stamped. The other Defendants

gained the opportunity to purchase valuable claims at a discount knowing that




64It is likely that the Internal Affairs Doctrine will dictate that Delaware choice of law governs the breach
of fiduciary duty claims.



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pessimistic financial projections were false and that the upside investment potential was

great. Retention of the benefits they received would be unjust and inequitable.

       65.    Clearly, the Debtor’s Estate was damaged by virtue of the claimed conduct.

Seery obtained profits and compensation to the detriment of that estate as well as the

estate of the Reorganized Debtor, other innocent creditors and HMIT, as former equity

and as a contingent Claimant Trust Beneficiary.

       F. Declaratory Relief

       66.    HMIT also seeks declaratory relief pursuant to Fed. R. Bank P. 7001(9).

Specifically, HMIT seeks a declaratory judgment that: (a) there is a ripe controversy

concerning HMIT’s rights and entitlements under the Claimant Trust Agreement; (b) as

a general matter, HMIT has standing to bring an action against a trustee even if its interest

is considered “contingent;” (c) HMIT’s status as a Claimant Trust Beneficiary is fully

vested upon disgorgement of the ill-gotten profits of Muck and Jessup, and by extension,

Farallon and Stonehill; (d) HMIT’s status as a Claimant Trust Beneficiary is fully vested

upon the equitable disallowance of the Claims held by Muck and Jessup over and above

their initial investments; (e) Seery is properly estopped from asserting that HMIT is not

an appropriate party to bring this derivative action on behalf of the Reorganized Debtor

and/or the Claimant Trust because of fraudulent conduct, bad faith, willful misconduct,

and unclean hands; (f) Muck and Jessup are properly estopped from asserting that HMIT

is not an appropriate party to bring this derivative action on behalf of the Reorganized



                                            [34]
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Debtor and the Claimant Trust because of their fraudulent conduct, bad faith, willful

misconduct, and unclean hands; and (g) all of the Proposed Defendants are estopped

from asserting that HMIT does not have standing in its individual capacity due to their

fraudulent conduct, bad faith, willful misconduct, and unclean hands.

       G. HMIT has Direct Standing.

       67.    The Texas Supreme Court recently held that “a partner or other stakeholder

in a business organization has constitutional standing to sue for an alleged loss in the

value of its interest in the organization.” Pike v. Texas EMC Mgt., LLC, 610 S.W.3d 763, 778

(Tex. 2020). In so holding, the Court considered federal law and found that the traditional

“incantation that a shareholder may not sue for the corporation’s injury” is really a

question of capacity, which goes to the merits of a claim, rather than an issue of standing

that would impact subject matter jurisdiction. Id. at 777 (noting that the 5th Circuit and

“[o]ther federal circuits agree that a plaintiff has standing to sue for the lost value of its

investment in a corporation”). Because Seery, Muck, Jessup, Stonehill, Farallon’s alleged

actions devalued HMIT’s interest in the Debtor’s Estate, including, without limitation,

payment of excessive compensation to Seery, HMIT has standing to pursue its common

law claims directly. HMIT also has direct standing to seek declaratory relief as set forth

in the proposed Adversary Proceeding.




                                             [35]
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                                      VII.     Prayer

      WHEREFORE, PREMISES CONSIDERED, Hunter Mountain Investment Trust

respectfully requests this Court grant HMIT leave authorizing it to file the Adversary

Complaint, attached as Exhibit 1, as an Adversary Proceeding in this United States

Bankruptcy Court for the Northern District of Texas, in its own name and as a derivative

action on behalf of the Debtor Highland Capital Management, L.P., against Muck

Holdings, LLC, Jessup Holdings, LLC, Farallon Capital Management, LLC, Stonehill

Capital Management, LLC, James P. Seery, Jr., and John Doe Defendants Nos. 1 – 10, and

further grant HMIT all such other and further relief to which HMIT may be justly entitled.

Dated: March 28, 2023

                                                Respectfully Submitted,
                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/ Sawnie A. McEntire
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                                                    Telephone: (713) 960-7315
                                                    Facsimile: (713) 960-7347

                                                    Attorneys for Hunter Mountain
                                                    Investment Trust

                           CERTIFICATE OF CONFERENCE

        Beginning on March 24, 2023, and also on March 27, 2023, the undersigned counsel
conferred either by telephone or via email with all counsel for all Respondents regarding
the relief requested in the foregoing Motion, including John A. Morris on behalf of James
P. Seery, and Brent McIlwain on behalf of Muck Holdings LLC, Jessup Holdings LLC,
Stonehill Capital Management, and Farallon Capital Management. Mr. Seery is opposed
to this Motion. Based upon all communications with Mr. McIlwain, it is reasonably
believed his clients are also opposed and we advised him that this recitation would be
placed in the certificate of conference.



                                               _/s/ Sawnie A. McEntire
                                                Sawnie A. McEntire



                              CERTIFICATE OF SERVICE

       I certify that on the 28th day of March 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire




                                            [37]
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                        Exhibit 1




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                            Exhibit 1 to Emergency Motion
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Attorneys for Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                            §
 In re:                                     §
                                            §    Chapter 11
 HIGHLAND CAPITAL                           §
 MANAGEMENT, L.P.                           §    Case No. 19-34054-sgj11
                                            §
          Debtor.                           §
                                            §
                                            §
 HUNTER MOUNTAIN INVESTMENT                 §
 TRUST, INDIVIDUALLY, AND ON                §
 BEHALF OF THE DEBTOR                       §
 HIGHLAND CAPITAL                           §
 MANAGEMENT, L.P. AND THE                   §    Adversary Proceeding No. _________
 HIGHLAND CLAIMANT TRUST                    §
                                            §
          PLAINTIFFS,                       §


                                           1
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                                             §
 v.                                          §
                                             §
 MUCK HOLDINGS, LLC, JESSUP                  §
 HOLDINGS, LLC, FARALLON                     §
 CAPITAL MANAGEMENT, LLC,                    §
 STONEHILL CAPITAL                           §
 MANAGEMENT, LLC, JAMES P.                   §
 SEERY, JR., AND JOHN DOE
 DEFENDANTS NOS. 1-10

        DEFENDANTS.



                       VERIFIED ADVERSARY COMPLAINT

       Hunter Mountain Investment Trust (“HMIT”) files this Verified Adversary

Complaint in its individual capacity and, as a derivative action on behalf of the

Reorganized Debtor, Highland Capital Management L.P. (“HCM” or “Reorganized

Debtor”) and the Highland Claimant Trust (collectively “Plaintiffs”), complaining of

Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital

Management, LLC (“Farallon”), Stonehill Capital Management, LLC (“Stonehill”), James

P. Seery, Jr., (“Seery”) and John Doe Defendant Nos. 1-10 (Muck, Jessup, Stonehill,

Farallon, Seery and the John Doe Defendants Nos. 1-10 are collectively “Defendants”),

and would show:

                                     I. Introduction

       1.    HMIT brings this Verified Adversary Complaint (“Complaint”) on behalf

of itself, individually, and as a derivative action benefitting the Reorganized Debtor and



                                            2
                                                                                Appx_0043
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on behalf of the Highland Claimant Trust (“Claimant Trust”), as defined in the Claimant

Trust Agreement (Doc. 3521-5) (“CTA”). 1 This derivative action is specifically brought

pursuant to Rule 23.1 of the Federal Rules of Civil Procedure and B. R. Rule 7023.1. At

the time of the transactions at issue, HMIT held a 99.5% limited partnership in Highland

Capital Management, LP, the Original Debtor, as described herein. This derivative action

is not a collusive effort to confer jurisdiction that the Court would otherwise lack.

        2.      Upon the Effective Date, the assets of the bankruptcy estate of Highland

Capital Management, L.P., as the Original Debtor (the “Debtor’s Estate”) were

transferred to the Highland Claimant Trust under the terms of the Fifth Amended Plan

of Reorganization of Highland Capital Management, L.P. (as Modified) [Doc. 1943,

Exhibit A] (the “Plan”) and as defined in the CTA. These assets include all “causes of

action” that the Debtor’s Estate had before the Effective Date including, without

limitation, the causes of action set forth in this Adversary Proceeding. Furthermore, the

Claimant Trust is managed by the Claimant Trustee, Seery. Therefore, any demand upon

Seery to prosecute the claims set forth in this Complaint would be futile because Seery is

a Defendant. Similarly, the Oversight Board exercises supervision over Seery as Claimant



1Solely in the alternative, and in the unlikely event HMIT’s proposed causes of actions against Seery,
Stonehill, Farallon, Muck, and/or Jessup are considered to be “Estate Claims” as those terms are used and
defined within the CTA and Exhibit A to the Notice of Final Term Sheet [Docket No. 354] in HCM’s
bankruptcy (and without admitting the same), HMIT alternatively seeks standing to bring this action as a
derivative action on behalf of the Litigation Sub-Trust as appropriate. Any demand on the Litigation Sub-
Trust would be equally futile for the same reasons addressed in HMIT’s Emergency Motion for Leave (Doc.
__).



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Trustee, and Muck and Jessup are members of the Oversight Board. Any demand upon

Muck and Jessup to prosecute these claims would be equally futile. All conditions

precedent to bringing this derivative action have otherwise been satisfied.

       3.    This action has become necessary because of Defendants’ tortious conduct.

This tortious conduct occurred before the Effective Date of the Plan, but its effects have

caused damage both before and after the Effective Date. Prior to the Effective Date, HMIT

owned 99.5% of the limited partnership interest in the Original Debtor and was the

beneficiary of fiduciary duties owed by Seery.

       4.    Seery, the Original Debtor’s CEO and former Chief Restructuring Officer

(“CRO”),
  --- wrongfully facilitated and promoted the sale of large unsecured creditor claims

to his close business allies and friends, Farallon and Stonehill. He did so by providing

material non-public information to them concerning the value of the Original Debtor’s

Estate that other stakeholders did not know. Farallon and Stonehill, who were otherwise

strangers to the bankruptcy proceedings, wrongfully purchased the claims through their

special purpose entities, Muck and Jessup, based upon this inside information, and they

are now profiting from their misconduct. Seery’s dealings with the other Defendants

were not arm’s length, but instead were covert, undisclosed, and collusive.

       5.    Motivated by corporate greed, the other Defendants aided and abetted or,

alternatively, knowingly participated in Seery’s wrongful conduct. They also breached

their own duties as “non-statutory insiders.” Because of their long-standing, historical



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relationships with Seery, and their use of material non-public information, Farallon,

Stonehill, Muck, and Jessup assumed positions of control over the affairs of the Debtor’s

bankruptcy, including compensation awards to Seery. As such, they became non-

statutory insiders.

       6.     HMIT was formerly the largest equity holder in the Debtor, holding a 99.5%

limited partnership interest. HMIT now holds an Allowed Class 10 Class B/C Limited

Partnership Interest and a Contingent Trust Interest under the CTA. Given HMIT’s’

position as former equity, HMIT’s right to recover from the Claimant Trust is junior to

the Reorganized Debtor’s unsecured creditors, now known as Claimant Trust

Beneficiaries. However, the vast majority of the approved unsecured claims superior to

HMIT’s interest are the claims wrongfully acquired by insider trading and the breaches

of duty at issue in this proceeding.

       7.     By wrongfully soliciting, fostering, and encouraging the wrongful insider

trades, Seery violated his fiduciary duties to the Debtor’s Estate, specifically his duty of

loyalty and his duty to maximize the value of the Estate with corresponding recovery by

legitimate creditors and former equity. Seery was motivated out of self-interest to garner

personal benefit (to the detriment of the Debtor’s Estate) by strategically benefitting his

business allies with non-public information. He then successfully “planted” his allies

onto the Oversight Board, which, as a consequence does not act as an independent board

in the exercise of its responsibilities. Rather, imbued with powers to oversee Seery’s



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future compensation, the other Defendants are postured to reward Seery financially

regarding Defendants’ illicit dealings and, upon information and belief, they have done

so.

       8.     By receiving and acting upon material non-public information concerning

the financial condition of the Debtor’s Estate, Stonehill and Farallon, acting individually

and through special purpose shell entities they created and controlled, directly or

indirectly, are also liable for aiding and abetting Seery’s breaches of fiduciary duties. By

acquiring the claims at issue, Muck and Jessup, the shell entities created and controlled

by Stonehill and Farallon, also became non-statutory insiders owing duties of disclosure

which they also breached.

       9.     HMIT separately seeks recovery against John Doe Defendant Nos. 1-10.

Farallon actively concealed the precise legal relationship between Farallon and Muck.

Stonehill actively concealed the precise legal relationship between Stonehill and Jessup.

What is known, however, is that Farallon and Stonehill created these special purpose

shell entities on the eve of the insider trades to acquire ownership of the claims and to

otherwise control the affairs of the Oversight Board. Both Farallon and Stonehill rejected

inquiries concerning the exact nature of their relationship with these special purpose

entities. Accordingly, HMIT seeks equitable tolling of any statute of limitations

concerning claims against unknown business entities that Farallon and Stonehill may

have created and inserted as intermediate corporate layers in the transactions at issue.



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       10.    HMIT seeks to disgorge all Defendants’ ill-gotten profits and equitable

disallowance of the remaining unpaid balances on the following allowed claims: Claim

Nos. 23, 72, 81, 143, 147, 149, 150, 153, 154, 190, and 191 (the “Claims”) currently held by

Muck and Jessup. Because Defendants received substantial distributions from the

Claimant Trust in connection with these Claims, HMIT seeks to disgorge all such

distributions above Defendants’ initial investment—compelling restitution of such funds

to the Claimant Trust for the benefit of innocent creditors and former equity pursuant to

the waterfall established under the Plan and the CTA. HMIT also seeks to disgorge

Seery’s compensation from the date his collusive conduct first occurred. Alternatively,

HMIT seeks damages on behalf of the Claimant Trust in an amount equal to all

compensation paid to Seery from the onset of his collusive conduct to present.

                               II. Jurisdiction and Venue

       11.    Pursuant to Misc. Order No. 33 Order of Reference of Bankruptcy Cases, U.S.

District Court for N.D. Texas (the “Order of Reference”), this Complaint is commenced in

the Bankruptcy Court because it is “related to a case under Title 11.” The filing of this

Complaint is expressly subject to and without waiver of Plaintiff’ rights and ability to

seek withdrawal of the reference pursuant to 28 U.S.C. § 157(d), FED. R. BANKR. P. 5011,

and Local Bankruptcy Rule 5011-1. Plaintiffs hereby demand a right to a trial by jury of

all claims asserted herein and nothing in this Complaint, nor Plaintiffs’ compliance with

the Order of Reference, shall be deemed a waiver of this right.



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        12.   This Court has jurisdiction of the subject matter and the parties as a “related

to” proceeding pursuant to 28 U.S.C. §§ 1334 and 157(a) and Articles IX.F, and XI. of the

Plan.

        13.   Pursuant to Rule 7008 of the Bankruptcy Rules, Plaintiffs do not consent to

the entry of final orders or judgment by the bankruptcy court.

        14.   Venue is proper in this district and division pursuant to 28 U.S.C. §§ 1408

and 1409, and Articles IX.F, and XI. of the Plan.

                                        III. Parties

        15.   HMIT is a Delaware statutory trust that was the largest equity holder in the

Original Debtor, holding a 99.5% limited partnership interest. HMIT is also the holder of

a Contingent Trust Interest in the Claimant Trust, but should be treated as a vested

Claimant Trust Beneficiary due to Defendants’ wrongful conduct.

        16.   Pursuant to the Plan and the CTA, the Claimant Trust holds the assets of

the Reorganized Debtor, including the causes of action that accrued to the Original

Debtor before the Effective Date. The Claimant Trust is established in accordance with

the Delaware Statutory Trust Act and Treasury Regulatory Section 301.7701-4(d).

        17.   Muck is a Delaware limited liability company, with its principal office in

California, and may be served with process at One Maritime Plaza, Suite 2100, San

Francisco, CA 94111. Muck has made prior appearances in the Debtor’s bankruptcy.




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      18.    Jessup is a Delaware limited liability company, with its principal office in

New York, and may be served with process via its registered agent, Vcorp Services, LLC,

at 108 W. 13th Street Suite 100, Wilmington, Delaware 19801. Jessup has made prior

appearances in the Debtor’s bankruptcy.

      19.    Farallon is a Delaware limited liability company, with its principal office in

California, and may be served with process at One Maritime Plaza, Suite 2100, San

Francisco, CA 94111. Farallon is a capital management company that manages hedge

funds and is a registered investment advisor. This Court has personal jurisdiction over

Farallon because Farallon’s conduct giving rise to or relating to the claims in this

Adversary Proceeding occurred in Texas, thereby satisfying all minimum contacts

requirements and due process considerations.

      20.    Stonehill is a Delaware limited liability company, with its principal office

in New York, and may be served with process at 320 Park Avenue, 26th Floor, New York,

NY 10022. Stonehill is a capital management company managing hedge funds and is a

registered investment advisor. This Court has personal jurisdiction over Stonehill

because Stonehill’s conduct giving rise to or relating to the claims in this Adversary

Proceeding occurred in Texas, thereby satisfying all minimum contacts and all due

process considerations.

      21.    Seery is an individual citizen and resident of the State of New York. Mr.

Seery may be served with process at 100 Crescent Court, Suite 1805, Dallas, Texas 75201.



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              22.   John Doe Defendant Nos. 1-10 are currently unknown individuals or

business entities who may be identified in discovery as involved in the wrongful

transactions at issue.

                                              IV. Facts

              A.    Procedural Background

              23.   On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in Delaware Bankruptcy Court, 2 which was later

transferred to the Northern District of Texas Bankruptcy Court, Dallas Division, on

December 4, 2019. 3

              24.   On October 29, 2019, the U.S. Trustee’s office appointed a four-member

Unsecured Creditors Committee (“UCC”) consisting of three judgment creditors—the

Redeemer Committee of the Highland Crusader Fund (“Redeemer”); Acis Capital

Management, L.P. and Acis Capital Management GP, LLC (collectively “Acis”); and UBS

Securities LLC and UBS AG London Branch (collectively “UBS”)—and an unpaid vendor,

Meta-E Discovery.

              25.   Following the venue transfer to Texas, on December 27, 2019, the Debtor

filed its Motion of the Debtor for Approval of Settlement with the Official Committee of




2Doc. 3. Unless otherwise referenced, all documents referencing “Doc.” refer to the docket maintained in
Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
3   Doc. 1.



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                                                                                            Appx_0051
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Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

Ordinary Course (“Governance Motion”). 4 On January 9, 2020, the Court signed a

Governance Order granting the Governance Motion. 5

          26.     As part of the Governance Order, an independent board of directors—

which included Seery as one of the selections of the Unsecured Creditors Committee—

was appointed to the Board of Directors (the “Board”) of Strand, the Original Debtor’s

general partner. The Board then appointed Seery as the Chief Executive Officer in place

of the previous CEO, Mr. James Dondero, as well as the CRO. 6 Seery currently serves as

Trustee of the Claimant Trust under the terms of the CTA and the CEO of the

Reorganized Debtor.7

          B.      The Targeted Claims

          27.     In his capacity as the Original Debtor’s CEO and CRO, Seery negotiated

and obtained court approval for settlements with several large unsecured creditors

including Redeemer, Acis, UBS, and another major unsecured creditor, HarbourVest

(Redeemer, Acis, UBS, and HarbourVest are collectively the “Settling Parties”), resulting

in the following allowed Claims:

                         Creditor            Class 8           Class 9
                         Redeemer            $137 mm           $0 mm

4   Doc. 281.
5   Doc. 339.
6   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
7   See Doc. 1943, Order Approving Plan, p. 34.



                                                  11
                                                                                 Appx_0052
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                        Acis             $23 mm            $0 mm
                        HarbourVest      $45 mm            $35 mm
                        UBS              $65 mm            $60 mm
                        (Totals)         $270 mm           $95 mm

As reflected in these settlements, HarbourVest and UBS owned Class 9 claims in addition

to Class 8 Claims. Class 9 Claims were subordinated to Class 8 Claims in the distribution

waterfall in the Plan.

          28.      Each of the Settling Parties sold their Claims to Farallon and Stonehill (or

affiliated special purpose entities) shortly after receiving court approval of the

settlements. One of these “trades” took place within just a few weeks before the Plan’s

Effective Date. 8 All of these trades occurred when HMIT held its 99.5% equity stake in

the Debtor. Notice of these trades was first provided in filings in the records of the

Original Debtor’s bankruptcy proceedings, as follows: Claim No. 23 (Doc. 2211, 2212, and

2215), Claim Nos. 190 and 191 (Doc. 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153

and 154 (Doc. 2263), Claim No. 81 (Doc. 2262), Claim No. 72 (Doc. 2261).

          29.      Farallon and Stonehill, both of whom are registered investment advisors

that manage hedge funds, have fiduciary duties to their own investors. As such, they are

acutely aware of their duties and obligation as fiduciaries. Yet, they both invested many

tens of millions of dollars, directly or indirectly, to acquire the Claims in the absence of




8   Docs. 2697, 2698.



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                                                                                     Appx_0053
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any publicly available information that could provide any economic justification for their

investment decisions.

           30.     Upon information and belief, Stonehill and Farallon collectively invested

an estimated $160 million to acquire the Claims with a face amount of $365 million, and

they did so in the absence of any meaningful due diligence. Indeed, Farallon has admitted

that it conducted no due diligence but relied on Seery’s guarantees.

           31.     Stonehill and Farallon’s investments become even more suspicious because

the Plan provided the only publicly available information, which, at the time, included

pessimistic projections that the Claims would ever receive full payment:

                   a. From October 2019, when the original Chapter 11 Petition was
                      filed, to January 2021, just before the Plan was confirmed, the
                      projected value of HCM’s assets dropped over $200 million from
                      $566 million to $364 million. 9

                   b. HCM’s Disclosure Statement projected payment of 71.32% of
                      Class 8 claims, and 0% of claims in Classes 9-11. 10

                         o This meant that Farallon and Stonehill invested more than
                           $163 million in Claims when the publicly available
                           information indicated they would receive $0 in return on
                           their investment as Class 9 creditors and substantially less
                           than par on their Class 8 Claims.

                   c. In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                      the amount of Class 8 claims expected to be paid dropped even
                      further from 71% to 54%.




9   Doc. 1473, Disclosure Statement, p. 18.
10   Doc. 1875-1, Plan Supplement, Ex. A, p. 4.



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                                                                                    Appx_0054
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                   d. Despite the stark decline in the value of the estate and in the
                      midst of substantial reductions in the percentage of Class 8
                      Claims expected to be satisfied, Stonehill, through Jessup, and
                      Farallon, through Muck, nevertheless purchased the four largest
                      bankruptcy claims from the Redeemer Committee/Crusader
                      Fund, Acis, HarbourVest, and UBS (collectively, again, the
                      “Claims”) in April and August of 2021 in the combined amount
                      of $163 million. 11

           32.     Upon information and belief, Stonehill, through its special purpose entity,

Jessup, acquired the Redeemer Committee’s claim for $78 million. 12 Upon information

and belief, the $23 million Acis claim 13 was sold to Farallon/Muck for $8 million. Upon

information and belief, HarbourVest sold its combined $80 million in claims to

Farallon/Muck for $27 million. UBS sold its combined $125 million in claims for $50

million to both Stonehill/Jessup and Farallon/Muck. In the instance of UBS, the total

projected payout was only $35 million. Indeed, as part of these transactions, both

Farallon and Stonehill purchased Class 9 Claims at a time when the Debtor’s Estate

projected a zero dollar return on all such Claims.




11Notices of Transfers [Docs. 2212, 2215, 2261, 2262, 2263, 2215, 2297, 2298]. The Acis claim was transferred
on April 16, 2021; the Redeemer, Crusader, and HarbourVest claims were transferred on April 30, 2021;
and the UBS claims were transferred on August 9, 2021.
12 July 6, 2021, letter from Alvarez & Marsal CRF Management, LLC to Highland Crusader Funds
Stakeholders.
13   Seery/HCM have argued that $10 million of the Acis claim is self-funding.



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           C.       Material Non-Public Information is Disclosed to Seery’s Affiliates at
                    Stonehill and Farallon.

           33.      One of the significant assets of the Debtor’s Estate was the Debtor’s direct

and indirect holdings in Metro-Goldwyn-Mayer Studios, Inc. (“MGM”). 14

           34.      On December 17, 2020, James Dondero, sent an email to Seery. At that time,

Dondero was a member of the MGM board, and the email contained material non-public

information regarding Amazon and Apple’s interest in acquiring MGM. 15 Of course, any

such sale would significantly enhance the value of the Original Debtor’s estate.

           35.      Upon receipt of this material non-public information, Seery should have

halted all transactions involving MGM stock, yet just six days later Seery filed a motion

in this Court seeking approval of the Original Debtor’s settlement with HarbourVest -

resulting in a transfer to the Original Debtor of HarbourVest’s interest in a Debtor-

advised fund, Highland CLO Funding, Ltd. (“HCLOF”), which held substantial MGM

debt and equity. 16 Conspicuously, the HCLOF interest was not transferred to the Original

Debtor for distribution as part of the bankruptcy estate, but rather to “to an entity to be

designated by the Debtor”—i.e., one that was not subject to typical bankruptcy reporting

requirements. 17




14   See Doc. 2229, p. 6.
15   See Adversary Case No. 20-3190-sgj11, Doc. 150-1, p. 1674.
16   Doc. 1625. Approximately 19.1% of HCLOF’s assets were comprised of debt and equity in MGM.
17   Doc. 1625.



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           36.     Upon information and belief, aware that the Debtor’s stake in MGM

afforded a new profit center, Seery saw an opportunity to increase his own compensation

and enlisted the help of Stonehill and Farallon to extract further value from the Original

Debtor’s Estate at the expense of other innocent creditors and equity. This quid pro quo

included, at a minimum, a tacit, if not express, understanding that Seery would be well-

compensated.

           37.     Until 2009, Seery was the Global Head of Fixed Income Loans at Lehman

Brothers 18 where, on information and belief, he conducted substantial business with

Farallon. Following the collapse of Lehman Brothers, Seery continued to work with, and

indeed represented Farallon as its legal counsel. Seery ultimately joined a hedge fund,

River Birch Capital, 19 which, along with Stonehill, served on the creditors committee in

other bankruptcy proceedings. GCM Grovesnor, a global asset management firm, held

four seats on the Redeemer Committee 20 and, upon information and belief, is a significant

investor in Stonehill and Farallon. Grovesnor, through Redeemer, played a large part in

appointing Seery as a director of Strand Advisors. Seery was beholden to Grovesnor from

the outset, and, by extension, Grovesnor’s affiliates Stonehill and Farallon.




18   Seery Resume [Doc. 281-2].
19   Id.
20   Declaration of John A. Morris [Doc. 1090], Ex. 1, pp. 15.



                                                        16
                                                                                Appx_0057
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       38.    As successful capital management firms, with advisory and fiduciary

duties to their own clients, Stonehill and Farallon typically engage in robust due diligence

before making significant investments. Yet, in this case, it would have been impossible for

Stonehill and Farallon to forecast any profit at the time of their multi-million-dollar

investments given the negative financial information disclosed by the Original Debtor’s

Estate. Seery, as the CEO, was aware of and involved in approving these negative

financial projections. In doing so, Seery intentionally caused the publication of

misleading, false information.

       39.    Seery shared with Stonehill and Farallon non-public information concerning

the value of the Original Debtor’s Estate which was higher than publicly available

information. Thus, the only logical conclusion is that all Defendants knew that the

publicly available projections, which accompanied the Plan, were understated, false, and

misleading. Otherwise, Farallon, Muck, Stonehill and Jessup would not have made their

multi-million-dollar investments. None of the Defendants disclosed their knowledge of

the misleading nature of these financial projections when they had a duty to do so. None

of the Defendants disclosed the nature of their dealings in acquiring the Claims.

       40.    By wrongfully exploiting non-public insider information, Stonehill and

Farallon—acting through Muck and Jessup—became the largest holders of unsecured

claims in the Debtor’s Estate with resulting control over the Oversight Board and a front

row seat to the reorganization and distribution of Claimant Trust Assets. As such, they



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were given control (through Muck and Jessup) to approve discretionary bonuses and

success fees for Seery from these assets.

           D.     Distributions

           41.    The MGM sale was ultimately consummated in March 2022 for $6.1 billion

in cash, plus $2.5 billion in debt that Amazon assumed and immediately repaid.21

           42.    By the end of Q3 2021, just over $6 million of the projected $205 million

available for general unsecured claimants had been disbursed. 22 No additional

distributions were made to general unsecured claimholders until, suddenly, in Q3 2022

almost $250 million was paid toward Class 8 general unsecured claims—$45 million more

than was ever projected. 23 Thus, Stonehill (Jessup) and Farallon (Muck) have already

received returns that far eclipse their investment. They also stand to make further

significant profits on their investments, including payments on Class 9 Claims.

           43.    As of December 31, 2022, the Claimant Trust has distributed $255,201,228.

On a pro rata basis, that means that innocent creditors have received approximately

$22,373,000 in distributions against the stated value of their allowed claims. That leaves

a remaining unpaid balance of approximately $9,627,000.




21   Amazon Q1 2022 10-Q.
22   Doc. 3200.
23   Doc. 3582.



                                              18
                                                                                  Appx_0059
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       44.     Muck and Jessup already have received approximately $232.8 million on

their Claims. Assuming and original investment of approximately $160 million, this

represents over $72 million in ill-gotten profits that, if disgorged, would be far more than

what is required to fully pay all other innocent creditors - immediately placing HMIT in

the status of a vested Claimant Trust Beneficiary.

       45.     It is clear Seery facilitated the sale of the Claims to Stonehill (Jessup) and

Farallon (Muck) at discounted prices and used misleading financial projections to

facilitate these trades. This was part of a larger strategy to install Stonehill (Jessup) and

Farallon (Muck), his business allies, onto the Oversight Board where they would oversee

lucrative bonuses and other compensation for Seery in exchange for hefty profits they

expected to receive.

                                    V. Causes of Action

       A.      Count I (against Seery): Breach of Fiduciary Duty

       46.     The allegations in paragraphs 1-45 above are incorporated herein as if set

forth verbatim.

       47.     As CEO and CRO of a debtor-in-possession, Seery owed fiduciary duties to

HMIT, as equity, and to the Debtor’s Estate, including, without limitation, the duty of

loyalty. Seery also was under a duty to avoid conflicts of interests, but Seery willfully and

knowingly engaged in conduct which conflicted with his fiduciary duties—and he did so

out of financial self-interest.



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                                                                                   Appx_0060
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       48.     By fraudulently providing and/or approving negative projections of the

Debtor’s Estate when he knew otherwise, Seery willfully and knowingly breached his

fiduciary duties.

       49.     By misusing and disclosing confidential, material non-public information

to Stonehill and Farallon, Seery willfully and knowingly breached his fiduciary duties.

       50.     By failing to disclose his role in the inside trades at issue, Seery willfully

and knowingly breached his fiduciary duties.

       51.     As a result of his willful misconduct, Seery was unfairly advantaged by

receiving additional undisclosed compensation and bonuses from the assets of the

Debtor’s Estate and from the Claimant Trust Assets—to the detriment of other innocent

stakeholders, including HMIT, as former equity and a contingent Claimant Trust

Beneficiary.

       52.     To remedy these breaches, Seery is liable for disgorgement of all

compensation he received since his collusion with Farallon and Stonehill first began.

Alternatively, Seery should be disgorged of all compensation paid to him under the terms

of the CTA since the Effective Date of the Plan in August 2021.

       53.     Alternatively, Plaintiffs are entitled to recover damages measured by all ill-

gotten compensation which Seery has received since his first collusive conduct began.




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                                                                                   Appx_0061
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      B.     Count II (against Stonehill, Farallon, Jessup and Muck): Breaches of
             Fiduciary Duty and Knowing Participation in Breach of Fiduciary Duty

      54.    The allegations in paragraphs 1-53 above are incorporated herein as if set

forth verbatim.

      55.    Seery owed fiduciary duties to HMIT and the Debtor’s Estate, and he

willfully and knowingly breached these duties. Without limiting the foregoing, Seery

owed a duty of loyalty which he willfully and knowingly breached. Seery also owed a

duty to not engage in self-interested conduct to the detriment of the Debtor’s Estate and

innocent stakeholders. Seery also willfully and knowingly breached this duty.

      56.    Stonehill and Farallon were aware of Seery’s fiduciary duties and, by

purchasing the Claims and approving bonuses and other compensation for Seery,

Stonehill (acting through Jessup) and Farallon (acting through Muck), willfully and

knowingly participated in Seery’s breaches or, alternatively, willfully aided and abetted

such breaches.

      57.    Stonehill (Jessup) and Farallon (Muck) unfairly received many millions of

dollars in profits and fees—and stand to earn even more profits and fees—to the

detriment of innocent stakeholders, including HMIT.

      58.    Stonehill and Farallon are liable for disgorgement of all profits earned from

their purchase of the Claims. In addition, they are liable in damages for excessive

compensation paid to Seery as part of the covert quid pro quo with Seery.




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                                                                                Appx_0062
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      C.     Count III (against all Defendants): Fraud by Misrepresentation and
             Material Nondisclosure

      59.    The allegations in paragraphs 1-58 above are incorporated herein as if set

forth verbatim.

      60.    Based on Seery’s duties as CEO and CRO of a debtor-in-possession, and the

other Defendants’ duties as non-statutory insiders, Seery, Stonehill (Jessup), and Farallon

(Muck) had a duty to disclose Stonehill and Farallon’s plans to purchase the Claims, but

they deliberately failed to do so. Seery also had a duty to disclose correct financial

projections but, rather, misrepresented such values or failed to correct false and

misleading projections. These factual misrepresentations and omissions were material.

      61.    The withheld financial information was material because it has had an

adverse impact on control over the eventual distributions to creditors and former equity,

as well as the right to control Seery’s compensation. By withholding such information,

Seery was able to plant friendly business allies on the Oversight Board to the detriment

of innocent stakeholders.

      62.    Defendants knew that HMIT and other creditors were ignorant of their

plans, and HMIT and other stakeholders did not have an equal opportunity to discover

their scheme. HMIT and the other innocent stakeholders justifiably relied on misleading

information relating to the value of the Original Debtor’s Estate.




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                                                                                 Appx_0063
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      63.    By failing to disclose material information, and by making or aiding and

abetting material misrepresentations, Seery, Stonehill, Farallon, Muck, and Jessup

intended to induce HMIT to take no affirmative action.

      64.    HMIT justifiably relied on Seery, Stonehill, Farallon, Muck, and Jessup’s

nondisclosures and representations, and HMIT was injured as a result and the Debtor’s

Estate was also injured.

      65.    As a result of their frauds, all Defendants should be disgorged of all profits

and ill-gotten compensation derived from their fraudulent scheme. Seery is also liable for

damages measured by excessive compensation he has received since he first engaged in

willful misconduct.

      D.     Count IV (against all Defendants): Conspiracy

      66.    The allegations in paragraphs 1-65 above are incorporated herein as if

incorporated herein verbatim.

      67.    Defendants conspired with each other to unlawfully breach fiduciary duties

to HMIT and the Debtor’s Estate, to conceal their fraudulent trades, and to interfere with

HMIT’s entitlement to the residual of the Claimant Trust Asset.

      68.    Seery’s disclosure of material non-public information to Stonehill and

Farallon, and Muck and Jessup’s purchase of the Claims, are each overt acts in

furtherance of the conspiracy.




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                                                                                 Appx_0064
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        69.   HMIT’s interest in the residual of the Claimant Trust Assets has been

adversely impacted by this conspiracy. The assets have been depleted by virtue of Seery’s

compensation awards.

        E.    Count V (against Muck and Jessup): Equitable Disallowance

        70.   The allegations in paragraphs 1-69 above are incorporated herein as if set

forth verbatim.

        71.   By purchasing the Claims based on material non-public information,

Stonehill and Farallon, through Jessup and Muck, engaged in inequitable conduct.

        72.   By earning significant profits on their purchases, Muck and Jessup have

been unfairly advantaged to the detriment of the remaining stakeholders, including

HMIT.

        73.   Given this inequitable conduct, equitable disallowance of Muck’s and

Jessup’s Claims to the extent over and above their initial investment is appropriate and

consistent with the purposes of the Bankruptcy Code.

        74.   Pleading in the alternative only, subordination of Muck’s and Jessup’s

General Unsecured Claim Trust Interests and Subordinated Claim Trust Interests to all

other interests in the Claimant Trust, including HMIT’s Contingent Trust Interest, is

necessary and appropriate to remedy Muck’s and Jessup’s wrongful conduct, and is also

consistent with the purposes of the Bankruptcy Code.




                                           24
                                                                               Appx_0065
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      F.     Count VI (against all Defendants): Unjust Enrichment and Constructive
             Trust

      75.    The allegations in paragraphs 1-74 above are incorporated herein as if set

forth verbatim.

      76.    By acquiring the Claims using material non-public information, Stonehill

and Farallon breached a relationship of trust with the Original Debtor’s Estate and other

innocent stakeholders and were unjustly enriched and gained an undue advantage over

other creditors and former equity.

      77.    Allowing Stonehill, Farallon, Muck and Jessup to retain their ill-gotten

benefits at the expense of other innocent stakeholders and HMIT, as former equity, would

be unconscionable.

      78.    Stonehill, Farallon, Muck, and Jessup should be forced to disgorge all

distributions over and above their original investment in the Claims as restitution for

their unjust enrichment.

      79.    The proceeds Stonehill, Farallon, Muck, and Jessup have received from the

Claimant Trust are traceable and identifiable. A constructive trust should be imposed on

such proceeds to secure the restitution of these improperly retained benefits.

      F.     Count VI (Against all Defendants): Declaratory Relief

      80.    The allegations in paragraphs 1-79 are incorporated herein as if set forth

verbatim.




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                                                                                 Appx_0066
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       81.    HMIT seeks declaratory relief. The Court has jurisdiction to provide

declaratory judgment relief when there is an actual controversy that has arisen and exists

relating to the rights and duties of the parties.

       82.    Bankruptcy Rule 7001 provides that “a proceeding to recover property or

money,” may include declaratory relief. See, Fed. R. Bank P. 7001(1), (9).

       83.    The Claimant Trust Agreement is governed under Delaware law. The

Claimant Trust Agreement incorporates and is subject to Delaware trust law. HMIT seeks

a declaration, as follows:

                  a. There is a ripe controversy concerning HMIT’s rights and
                     entitlements under the Claimant Trust Agreement;

                  b. As a general matter, HMIT has standing to bring an action
                     against a trustee even if its interest is considered contingent;

                  c. HMIT’s status as a Claimant Trust Beneficiary is fully vested
                     upon disgorgement of the ill-gotten profits of Muck and
                     Jessup, and by extension, Farallon and Stonehill;

                  d. HMIT’s status as a Claimant Trust Beneficiary is fully vested
                     upon the equitable disallowance of the Claims held by Muck
                     and Jessup over and above their initial investments.
                     Alternatively, HMIT’s status as a Claimant Trust Beneficiary
                     is fully vested when all of Muck’s and Jessup’s trust interests
                     are subordinated to the trust interests held by HMIT;

                  e. Seery is properly estopped from asserting that HMIT is not an
                     appropriate party to bring this derivative action on behalf of
                     the Reorganized Debtor and/or the Claimant Trust because of
                     Seery’s fraudulent conduct, bad faith, willful misconduct and
                     unclean hands;




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                                                                                  Appx_0067
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                 f. Muck and Jessup are properly estopped from asserting that
                    HMIT is not an appropriate party to bring this derivative
                    action on behalf of the Reorganized Debtor and the Claimant
                    Trust because of their fraudulent conduct, bad faith, willful
                    misconduct and unclean hands;

                 g. All Defendants are estopped from asserting that HMIT does
                    not have standing in its individual capacity due to their
                    fraudulent conduct, bad faith, willful misconduct and
                    unclean hands.

                                 VI. Punitive Damages

       84.    The allegations in paragraphs 1-74 are incorporated herein as if set forth

verbatim.

       85.    The Defendants’ misconduct was intentional, knowing, willful and

fraudulent and in total disregard of the rights of others. An award of punitive damages

is appropriate and necessary under the facts of this case.

       86.    All conditions precedent to recovery herein have been satisfied.

                                       VII. Prayer

       WHEREFORE, HMIT prays for judgment as follows:

       1.     Equitable disallowance of the Claims over and above Muck’s and Jessup’s
              original investments (or, alternatively, subordination of their Claimant
              Trust Interests, as addressed herein);

       2.     Disgorgement of all funds distributed from the Claimant Trust to Muck
              and/or Jessup over and above their original investments;

       3.     Disgorgement of compensation paid to Seery in managing or administering
              the Original and Reorganized Debtor’s Estate;

       4.     Imposition of a constructive trust;



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                                                                                 Appx_0068
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      5.     Declaratory relief as described herein;

      6.     An award of actual damages as described herein;

      7.     An award of exemplary damages as allowed by law;

      8.     Pre- and post-judgment interest; and,

      9.     All such other and further relief to which HMIT may be justly entitled.



                                                Respectfully Submitted,

                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/
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                                                    Attorneys for Hunter Mountain
                                                    Investment Trust




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                                                                                   Appx_0069
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                        Exhibit 2




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                                    CAUSE NO. DC-21-09534

 IN RE JAMES DONDERO,                                § IN THE DISTRICT COURT
                                                     §
       Petitioner.                                   § 95th JUDICIAL DISTRICT
                                                     §
                                                     § DALLASCOUNTY,TEXAS



                           DECLARATION OF JAMES DONDERO

COUNTY OF DALLAS               §
                               §
STATE OF TEXAS                 §


Mr. James Dondero provides this unswom declaration under TEXAS CIVIL PRACTICE & REMEDIES

CODE   § 132.001.


    1. My name is James Dondero. I declare under penalty of perjury that I am over the age of 18
and of sound mind and competent to make this declaration.

    2. Earlier this year I retained investigators to look into certain activities involving the
respondents in the above-styled case and the related bankruptcy proceedings. Last year, I called
Farallon's Michael Lin about purchasing their claims in the bankruptcy. I offered them 30% more
than what they paid. I was told by Michael Lin of Farallon that they purchased the interests without
doing any due diligence other than what Mr. James Seery-the CEO of Highland-told them, and
that he told them that the interests would be worth far more than what Farallon paid. Given the
value of those claims that Mr. Seery had testified in court, it made no sense to me that Mr. Lin
would think that the claims were worth more than what Mr. Seery testified under oath was the
value of the bankruptcy claims.

    3. In addition to my role as equity holder in the Crusader Funds, I have an interest in ensuring
that the claims purchased by Respondents are not used as a means to deprive the equity holders of
their share of the funds. It has become obvious that despite the fact that the bankrupt estate has
enough money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to
drain the bankrupt estate and deprive equity of their rights.

   4. Accordingly, I commissioned an investigation by counsel who have been in
communication with the Office of the United States Trustee. True and correct copies of the reports,
which were created in the ordinary course, and their attachments, are attached hereto as Exhibits
A and B. A true and correct copy of the letter I received from Alverez and Marsalis attached as
Exhibit C hereto.


Declaration of James Dondero                                                                Page 1

                                                                                         Appx_0071
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  My name is James Dondero, my birthday is on June 29, I962. My address is 300 Crescent Court,

  Suite 700, Dallas, Texas 7520 l. I declare under penalty of perjury that the foregoing testimony is

  true and correct and is within my personal knowledge.




                                                      James Dondero

                                                      ---·-=-1av:--1_,_, o.....2...2_   _____
                                                      Date




 Declaration of James Dondeto                                             Page 2

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                                          HELLER, DRAPER & HORN, L.L.C.
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Douglas S. Draper
Direct Dial: (504) 299-3333
E-mail: ddraper@hellerdraper.com                                                                                EDWARD M. HELLER
                                                                                                                    (1926-2013)




                                                              October 5, 2021


           Mrs. Nan R. Eitel
           Office of the General Counsel
           Executive Office for U.S. Trustees
           20 Massachusetts Avenue, NW
           8th Floor
           Washington, DC 20530
                      Re:          Highland Capital Management, L.P. - USBC Case No. 19-34054sgjll
           Dear Nan,
                    The purpose of this letter is to request that your office investigate the circumstances
           surrounding the sale of claims by members of the Official Committee of Unsecured Creditors
           ("Creditors' Committee") in the bankruptcy of Highland Capital Management, L.P. ("Highland"
           or "Debtor"). As described in detail below, there is sufficient evidence to warrant an immediate
           investigation into whether non-public inside information was furnished to claims purchasers.
           Further, there is reason to suspect that selling Creditors' Committee members may have violated
           their fiduciary duties to the estate by tying themselves to claims sales at a time when they should
           have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
           Committee members sold their claims without advance disclosure, in violation of applicable
           guidelines from the U.S. Trustee's Office. This letter contains a description of information and
           evidence we have been able to gather, and which we hope your office will take seriously.
                    By way of background, Highland, an SEC-registered investment adviser, filed for
           Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the District of
           Delaware on October 16, 2019, listing over $550 million in assets and net $110 million in
           liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
           G.C. Jernigan. Highland's decision to seek bankruptcy protection primarily was driven by an
           expected net $110 million arbitration award in favor of the "Redeemer Committee." 1 After
           nearly 30 years of successful operations, Highland and its co-founder, James Dondero, were
           advised by Debtor's counsel that a court-approved restructuring of the award in Delaware was in
           Highland's best interest.

           1
             The "Redeemer Committee" was a group of investors in a Debtor-managed fund called the "Crusader Fund" that
           sought to redeem their interests during the global financial crisis. To avoid a run on the fund at low-watermark
           prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
           the fund manager. The ultimate resolution involved the formation of the "Redeemer Committee" and an orderly
           liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
           the dollar they would have received had the fund been liquidated when the redemption requests were made.


                                                                                                                 EXHIBIT

           {00376610-1}
                                                                                                                     A
                                                                                                                     Appx_0073
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       I became involved in Highland's bankruptcy through my representation of The Dugaboy
Investment Trust ("Dugaboy"), an irrevocable trust of which Mr. Dondero is the primary
beneficiary. Although there were many issues raised by Dugaboy and others in the case where
we disagreed with the Court's rulings, we will address those issues through the appeals process.
       From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in
Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
the Creditors' Committee to resign as the sole director of the Debtor's general partner, on the
condition that he would be replaced by three independent directors who would act as fiduciaries
of the estate and work to restructure Highland's business so it could continue operating and
emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
Redeemer Committee each to choose one director and also established protocols for operations
going forward. Mr. Dondero chose The Honorable Former Jud¥e Russell F. Nelms, UBS chose
John Dubel, and the Redeemer Committee chose James Seery. It was expected that the new,
independent management would not only preserve Highland's business but would also preserve
jobs and enable continued collaboration with charitable causes supported by Highland and Mr.
Dondero.
        Judge Jernigan confirmed Highland's Fifth Amended Plan of Reorganization on February
22, 2021 (the "Plan"). We have appealed certain aspects of the Plan and will rely upon the Fifth
Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
to your attention the possible disclosure of non-public information by Committee members and
other insiders and to seek review of actions by Committee members that may have breached their
fiduciary duties-both serious abuses of process.

           1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                   Part To the Debtor's Failure To File Rule 2015.3 Reports
        Congress, when it drafted the Bankruptcy Code and created the Office of the United
States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
and guidelines in bankruptcy. Since that time, the Executive Office for United States Trustees
(the "EOUST") has issued guidance and published rules designed to effectuate that purpose. To
that end, EOUST recently published a final rule entitled "Procedures for Completing Uniform
Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title 11" (the
"Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's
financial condition and business activities" and "to inform creditors and other interested parties
of the debtor's financial affairs." 85 Fed. Reg. 82906. The goal of the Periodic Reporting
Requirements is to "assist the court and parties in interest in ascertaining, [among other things],
the following: (1) Whether there is a substantial or continuing loss to or diminution of the
bankruptcy estate; ... (3) whether there exists gross mismanagement of the bankruptcy estate; ..
. [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales
or otherwise .... " Id.
        Transparency has long been an important feature of federal bankruptcy proceedings. The
EOUST instructs that "Debtors-in-possession and trustees must account for the receipt,
administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and file periodic reports and summaries of a
debtor's business, including a statement of receipts and disbursements, and such other

2
    See Appendix, pp. A-3 - A-14.




{00376610-1}
                                                                                         Appx_0074
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information as the United States Trustee or the United States Bankruptcy Court requires." See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(l), 1107(a)). And
Federal Rule of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession
shall file periodic financial reports of the value, operations, and profitability of each entity that is
not a publicly traded corporation or a debtor in a case under title 11, and in which the estate
holds a substantial or controlling interest." This rule requires the trustee or a debtor in
possession to file a report for each non-debtor affiliate prior to the first meeting of creditors and
every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
effective date merely because a plan has become effective. 3 Notably, the U.S. Trustee has the
duty to ensure that debtors in possession properly and timely file all required reports. 28 U.S.C.
§ 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders
can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
requirements. In fact, 11 U.S.C. § 1102(b)(3) requires a creditors' committee to share
information it receives with those who "hold claims of the kind represented by the committee"
but who are not appointed to the committee. In the case of the Highland bankruptcy, the
transparency that the EOUST mandates and that creditors' committees are supposed to facilitate
has been conspicuously absent. I have been involved in a number of bankruptcy cases
representing publicly-traded debtors with affiliated non-debtor entities, much akin to Highland's
structure here. In those cases, when asked by third parties (shareholders or potential claims
purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015 .3
reports. In this case, however, no Rule 2015.3 reports were filed, and financial information that
might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
number of documents were filed under seal or heavily redacted. As a result, the only means to
make an informed decision as to whether to purchase creditor claims and what to pay for those
claims had to be obtained from non-public sources.
        It bears repeating that the Debtor and its related and affiliated entities failed to file any of
the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
reports filed on behalf of the Debtor and its affiliates during the bankruptcy proceedings. The
U.S. Trustee's Office in Dallas did nothing to compel compliance with the rule.
        The Debtor's failure to file the required Rule 2015.3 reports was brought to the attention
of the Debtor, the Bankruptcy Court, and the U.S. Trustee's Office. During the hearing on Plan
confirmation, the Debtor was questioned about the failure to file the reports. The sole excuse
offered by the Debtor's Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was
that the task "fell through the cracks." 4 This excuse makes no sense in light of the years of
bankruptcy experience of the Debtor's counsel and financial advisors. Nor did the Debtor or its
counsel ever attempt to show "cause" to gain exemption from the reporting requirement. That is
because there was no good reason for the Debtor's failure to file the required reports. In fact,
although the Debtor and the Creditors' Committee often refer to the Debtor's structure as a
"byzantine empire," the assets of the estate fall into a handful of discrete investments, most of
which have audited financials and/or are required to make monthly or quarterly net-asset-value
or fair-value determinations. 5 Rather than disclose financial information that was readily
3
  After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015 .3 disclosure requirement "for
cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[ e]
reporting requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Ban1cr.
2015.3(d).
4
  See Doc. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21).
5
  During a deposition, the Debtor's Chief Restructuring Officer, Mr. Seery, identified most of the Debtor's assets
"[ o ]ff the top of [his] head" and acknowledged that he had a subsidiary ledger that detailed the assets held by entities




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available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
and the U.S. Trustee's Office did nothing to rectify the problem.
         By contrast, the Debtor provided the Creditors' Committee with robust weekly
information regarding (i) transactions involving assets held directly on the Debtor's balance
sheet or the balance sheet of the Debtor's wholly owned subsidiaries, (ii) transactions involving
entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
transactions involving entities managed by the Debtor but in which the Debtor does not hold a
direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the Committee had
real-time, actual information with respect to the financial affairs of non-debtor affiliates, and this
is precisely the type of information that should have been disclosed to the public pursuant to
Rule 2015.3.
        After the claims at issue were sold, I filed a Motion to Compel compliance with the
reporting requirement. Judge Jernigan held a hearing on the motion on June 10, 2021.
Astoundingly, the U.S. Trustee's Office took no position on the Motion and did not even bother
to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as "moot"
because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
becoming effective does not alleviate the Debtor's burden of filing the requisite reports.
        The U.S. Trustee's Office also failed to object to the Court's order confirming the
Debtor's Plan, in which the Court appears to have released the Debtor from its obligation to file
any reports after the effective date of the Plan that were due for any period prior to the effective
date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
Trustee's failure to object to this portion of the Court's order is directly at odds with the spirit
and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee's duty to
ensure that debtors timely file all required reports.
        2.      There Was No Transparency Regarding The Financial Affairs Of Non-
                Debtor Affiliates Or Transactions Between The Debtor And Its Affiliates
        The Debtor's failure to file Rule 2015 .3 reports for affiliate entities created additional
transparency problems for interested parties and creditors wishing to evaluate assets held in non-
Debtor subsidiaries. In making an investment decision, it would be important to know if the
assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
businesses/other illiquid assets. The Debtor's failure to file Rule 2015.3 reports hid from public
view the composition of the assets and the corresponding liabilities at the subsidiary level.
During the course of proceedings, the Debtor sold $1 72 million in assets, which altered the asset
mix and liabilities of the Debtor's affiliates and controlled entities. Although Judge Jernigan
held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity.
In the Appendix, I have included a schedule of such sales.
       Of particular note, the Court authorized the Debtor to place assets that it acquired with
"allowed claim dollars" from HarbourVest (a creditor with a contested claim against the estate)
into a specially-created non-debtor entity ("SPE"). 6 The Debtor's motion to settle the

below the Debtor. See Appendix, p. A-19 (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
6
  Prior to Highland's bankruptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF"). A dispute later arose between HarbourVest




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HarbourVest claim valued the asset acquired (HarbourVest's interest in HCLOF) at $22 million.
In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
entity, its true value would have been reflected in the Debtor's subsequent reporting. By instead
placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
as information relating to its disposition; all the public saw was the filed valuation of the asset.
The U.S. Trustee did not object to the Debtor's placement of the HarbourVest assets into an SPE
and apparently just deferred to the judgment of the Creditors' Committee about whether this was
appropriate. 7 Again, when the U.S. Trustee's Office does not require transparency, lack of
transparency significantly increases the need for non-public information.             Because the
HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
insider information could possibly ascertain how the acquisition would impact the estate.
        3.       The Plan's Improper Releases And Exculpation Provisions Destroyed Third-
                 Party Rights
        In addition, the Debtor's Plan contains sweeping release, exculpation provisions, and a
channeling injunction requiring that any permitted causes of action to be vetted and resolved by
the Bankruptcy Court. On their face, these provisions violate Pacific Lumber, in with the United
States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
U.S. Trustee's Office in Dallas has, in all cases but this one, vigorously protected the rights of
third parties against such exculpation clauses. In this case, the U.S. Trustee's Office objected to
the Plan, but it did not pursue that objection at the confirmation hearing (nor even bother to
attend the first day of the hearing), 8 nor did it appeal the order of the Bankruptcy Court
approving the Plan and its exculpation clauses.
        As a result of this failure, third-party investors in entities managed by the Debtor are now
barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
Debtor or its management for transactions that occurred at the non-debtor affiliate level. Those
investors' claims are barred notwithstanding that they were not notified of the releases and have
never been given any information with which to evaluate their potential claims, nor given the
opportunity to "opt out." Conversely, the releases insulate claims purchasers from the risk of
potential actions by investors in funds managed by the Debtor (for breach of fiduciary duty,
diminution in value, or otherwise). These releases are directly at odds with investors'
expectations when they invest in managed funds-i.e., that fund managers will act in a fiduciary
capacity to maximize investors' returns and that investors will have recourse for any failure to do
so. While the agreements executed by investors may limit the exposure of fund managers,
typically those provisions require the fund manager to obtain a third-party fairness opinion where
there is a conflict between the manager's duty to the estate and his duty to fund investors.
       As an example, the Court approved the settlement of UBS' s claim against the Debtor and
two funds managed by the Debtor (collectively referred to as "MultiStrat"). Pursuant to that
settlement, MultiStrat agreed to pay UBS $18.5 million and represented that it was advised by
"independent legal counsel" in the negotiation of the settlement. 9 That representation is untrue;

and Highland, and HarbourVest filed claims in the Highland bankruptcy approximating $300 million in relation to
damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
HarbourVest's claim (the Debtor's monthly operating report for December 2020 indicated that HarbourVest's
allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVest-approved by the
Bankruptcy Court-which entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor's Plan.
7
  Dugaboy has appealed the Bankruptcy Court's ruling approving the placement of the HarbourVest assets into a
non-reporting SPE.
8
  See Doc. 1894 (Feb. 2, 2021 Hr'g Tr. at 10:7-14).
9
  See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch) at




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MultiStrat did not have separate legal counsel and instead was represented only by the Debtor's
counsel. 10 If that representation and/or the terms of the UBS/MultiStrat settlement in some way
unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The
release and exculpation provisions in Highland's Plan do not afford third parties any meaningful
recourse to third parties, even when they are negatively impacted by misrepresentations of the
type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
managers' failure to obtain fairness opinions to resolve conflicts of interest.
        The U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
Pharmaceuticals that release and exculpations clauses akin to those contained in Highland's Plan
violate both the Bankruptcy Code and the Due Process Clause of the United States
Constitution.11 It has been the U.S. Trustee's position that where, as here, third parties whose
claims are being released did not receive notice of the releases and had no way of knowing,
based on the Plan's language, what claims were extinguished, third-party releases are contrary to
law. 12 This position comports with Fifth Circuit case law, which makes clear that releases must
be consensual, and that the released party must make a substantial contribution in exchange for
any release.      Highland's Plan does not provide for consent by third parties (or an opt-out
provision), nor does it require that released parties provide value for their releases. Under these
circumstances, it is difficult to understand why the U.S. Trustee's Office in Dallas did not lodge
an objection to the Plan's release and exculpation provisions. Several parties have appealed this
issue to the Fifth Circuit.
        4.       The Lack Of Transparency Facilitated Potential Insider Trading
         The biggest problem with the lack of transparency at every step is that it created a need
for access to non-public confidential information. The Debtor (as well as its advisors and
professionals) and the Creditors' Committee (and its counsel) were the only parties with access
to critical information upon which any reasonable investor would rely. But the public did not.
        In the context of this non-transparency, it is notable that three of the four members of the
Creditors' Committee and one non-committee member sold their claims to two buyers, Muck
Holdings LLC ("Muck") and Jessup Holdings LLC ("Jessup"). The four claims that were sold
comprise the largest four claims in the Highland bankruptcy by a substantial mar~in, 13
collectively totaling almost $270 million in Class 8 claims and $95 million in Class 9 claims 4 :
  Claimant                         Class 8 Claim              Class 9 Claims            Date Claim Settled
  Redeemer Committee               $136,696,610              NIA                        October 28, 2020
  Acis Capital                     $23,000,000               NIA                        October 28, 2020
  HarbourVest                      $45,000,000               $35,000,000                January 21, 2021
  UBS                              $65,000,000               $60,000,000                May 27, 2021
  TOTAL:                           $269,6969,610             $95,000,000
       Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we
have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
("Stonehill"). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

Ex. 1, §§ l(b), 11; see Appendix, p. A-57.
10
   The Court's order approving the UBS settlement is under appeal in part based on MultiStrat's lack of independent
legal counsel.
11
   See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation
Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
12
   See id. at 22.
13
   See Appendix, p. A-25.
14
   Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.




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and Jessup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
over time to creditors who have not sold their claims.
        This is concerning because there is substantial evidence that Farallon and Stonehill may
have been provided material, non-public information to induce their purchase of these claims. 15
In particular, there are three primary reasons we believe that non-public information was made
available to facilitate these claims purchases:

         •        The scant publicly-available information regarding the Debtor's estate ordinarily
                  would have dissuaded sizeable investment in purchases of creditors' claims;

         •        The information that actually was publicly available ordinarily would have
                  compelled a prudent investor to conduct robust due diligence prior to purchasing
                  the claims;

         •        Yet these claims purchasers spent in excess of $100 million (and likely closer to
                  $150 million) on claims, ostensibly without any idea of what they were
                  purchasing.
         We believe the claims purchases of Stonehill and Farallon can be summarized as follows:

     Creditor              Class 8        Class 9         Purchaser                      Purchase Price
     Redeemer             $137.0         $0.0             Stonehill                     $78.0 10
     ACIS                 $23.0          $0.0             Farallon                      $8.0
     HarbourVest          $45.0          $35.0            Farallon                      $27.0
     UBS                  $65.0          $60.0            Stonehill and Farallon         $50.0 1 I


       To elaborate on our reasons for suspicion, an analysis of publicly-available information
would have revealed to any potential investor that:

         •        There was a $200 million dissipation in the estate's asset value, which started at a
                  scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                  million as of September 30, 2020, and then increased only slightly to $364 million
                  as of January 31, 2021. 18

15
   A timeline of relevant events can be found at Appendix, p. A-26.
16
   See Appendix, pp. A-70-A-71. Because the transaction included "the majority of the remaining investments held
by the Crusader Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.
17
   Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
Stonehill and Farallon had access to information that only came to light later-i.e., that the estate was actually worth
much, much more (between $472-600 million as opposed to $364 million)-then it makes sense that they would pay
what they did to buy the UBS claim.
18
   Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor's
settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which we believe was worth
approximately $44.3 million as ofJanuary 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021




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         •       The total amount of allowed claims against the estate increased by $23 6 million;
                 indeed, just between the time the Debtor's disclosure statement was approved on
                 November 24, 2020, and the time the Debtor's exhibits were introduced at the
                 confirmation hearing, the amount of allowed claims increased by $100 million.

         •       Due to the decrease in the value of the Debtor's assets and the increase in the
                 allowed claims amount, the ultimate projected recovery for creditors in
                 bankruptcy went from 87.44% to 62.99% in just a matter of months. 19
No prudent investor or hedge fund investing third-party money would purchase substantial
claims out of the Highland estate based on this publicly-available information without
conducting thorough due diligence to be satisfied that the assets of the estate would not continue
to deteriorate or that the allowed claims against the estate would not continue to grow.
        There are other good reasons to investigate whether Muck and Jessup (through Farallon
and Stonehill) had access to material, non-public information that influenced their claims
purchasing. In particular, there are close relationships between the claims purchasers, on the one
hand, and the selling Creditors' Committee members and the Debtor's management, on the other
hand. What follows is our understanding of those relationships:

         •       Farallon and Stonehill have long-standing, material, undisclosed relationships
                 with the members of the Creditors' Committee and Mr. Seery. 20 Mr. Seery
                 formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                 collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                 business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                 Austin as co-head of the corporate restructuring and bankruptcy group, where he
                 worked with Matt Clemente, counsel to the Creditors' Committee in these
                 bankruptcy proceedings.

         •       In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                 Redeemer Committee (which appointed Seery as its independent director) both
                 played a substantial role on the Creditors' Committee and is a large investor in
                 Farallon and Stonehill.

         •       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                 Seery represented Farallon in its acquisition of claims in the Lehman estate.

         •       Also while at Sidley, Mr. Seery represented the Steering Committee in the
                 Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                 Motulsky) was one of the five members of the Steering Committee.

         •       Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                 Partner of River Birch Capital, a hedge fund founded by his former Lehman
                 colleagues. He left River Birch in October 201 7 just before the fund imploded.
                 In 201 7, River Birch and Stonehill Capital were two of the biggest note holders in
                 the Toys R Us bankruptcy and were members of the Toys R Us creditors'


monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
$74 million in December 2020.
19 See Appendix, pp. A-25, A-28.
20
   See Appendix, pp. A-2; A-62 -A-69.




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                   committee.

It does not seem a coincidence that two firms with such significant ties to Mr. Seery have
purchased $365 million in claims. The nature of the relationships and the absence of public data
warrants an investigation into whether the claims purchasers may have had access to non-public
information.
         Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end '40 Act fund with
many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
registered investment adviser with $3 billion under management that has historically owned very
few equity interests, particularly equity interests in a closed-end fund. As disclosed in SEC
filings, Stonehill acquired enough stock in NHF during the second quarter of 2021 to make it
Stonehill's eighth largest equity position.
        The timing of the acquisitions of claims by Farallon and Stonehill also warrants
investigation. In particular, although notices of the transfer of the claims were filed immediately
after the confirmation of the Debtor's Plan and prior to the effective date of the Plan, it seems
likely that negotiations began much earlier. Transactions of this magnitude do not take place
overnight and typically require robust due diligence. We know, for example, that Muck was
formed on March 9, 2021, more than a month before it filed notice that it was purchasing the
Acis claim. If the negotiation or execution of a definitive agreement for the purchase began
before or contemporaneously with Muck's formation, then there is every reason to investigate
whether selling Creditors' Committee members and/or Debtor management provided Farallon
with critical non-public information well before the Creditors' Committee members sold their
claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
that they purchased the Acis and HarbourVest claims in late January or early February. We
believe an investigation will reveal whether negotiations of the sale and the purchase of claims
from Creditors' Committee members preceded the confirmation of the Debtor's Plan and the
resignation of those members from the Committee.
        Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
Crusader Fund and the Redeemer Committee had "consummated" the sale of the Redeemer
Committee's claims and other assets on Agril 30, 2021, "for $78 million in cash, which was paid
in full to the Crusader Funds at closing." 1 We also know that there was a written agreement
among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
affirmative and negative covenants upon the seller and grant the purchaser discretionary approval
rights during the pendency of the sale. An investigation by your office is necessary to determine
whether there were any such agreement, which would necessarily conflict with the Creditors'
Committee members' fiduciary obligations.
       The sale of the claims by the members of the Creditors' Committee also violates the
guidelines provided to committee members that require a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. The instructions
provided by the U.S. Trustee's Office (in this instance the Delaware Office) state:




21
     See Appendix, pp. A-70 - A-71.




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         In the event you are appointed to an official committee of creditors, the li nUed States Trustee may re,quire
 periodic certmca tions of your claims ":hile the bankruptcy case ;is pending. Creditors "~shing to serve as
                                              1




 fiduciaries on any official commiftct· ,ffe ad,·is,t•d that they may not purchase. sell or othcrwist• trnde i11 or transfer
 daims ag,i:linst the Debtor \\hile tlH·~- are committee members absent an order of the Court. By submitting ithc
 enclosed Question nairl' and accc1)fi11g mt:mbersf1i1J on an official committee of creditors. rou agree t o this
 prohibition. Tihe Lnited States Trustee resen-'es the dgh1t to taike appropriate action, 1indud1ing remo't ing a
                                                                                                              1



 creditor from any committee, if 1the informa1Non pro,-- ided in 1the Questionnai1re is inaceurnte, Uthe foregoing
 prohibition is vio laited , or for any other reason the United States Trush-e beliieves is proper ~n the exercise of her
 discretion. You are hereby notified that the United S1tates Trustee may shar,e th is information with the Securiities
 and Exchange Commission if deemed appropriate.
In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee's Office
took no action to enforce this guideline. The Creditors' Committee members were sophisticated
entities, and they were privy to inside information that was not available to other unsecured
creditors. For example, valuations of assets placed into a specially-created affiliated entities,
such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
entities owned or controlled by the Debtor, were available to the selling Creditors' Committee
members, but not other creditors or parties-in-interest.

       While claims trading itself is not necessarily prohibited, the circumstances surrounding
claims trading often times prompt investigation due to the potential for abuse. This case
warrants such an investigation due to the following:

          a)       The selling parties were three of the four Creditors' Committee members, and
                   each one had access to information they received in a fiduciary capacity;
          b)       Some of the information they received would have been available to other parties-
                   in-interest if Rule 2015.3 had been enforced;
          c)       The sales allegedly occurred after the Plan was confirmed, and certain other
                   matters immediately thereafter came to light, such as the Debtor's need for an exit
                   loan (although the Debtor testified at the confirmation hearing that no loan was
                   needed) and the inability of the Debtor to obtain Directors and Officer insurance;
          d)       The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
                   pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
                   to distributing those recoveries to creditors, and the Debtor used third-party assets
                   as consideration for the settlement22 ;
          e)       The projected recovery to creditors changed significantly between the approval of
                   the Disclosure Statement and the confirmation of the Debtor's Plan; and

          f)       There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   that is publicly traded on the New York stock exchange. The Debtor's assets and
                   the positions held by the closed-end fund are similar.
        Further, there is reason to believe that insider claims-trading negatively impacted the
estate's ultimate recovery. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr.
Dondero, through counsel, made numerous offers of settlement that would have maximized the
estate's recovery, even going so far as to file a proposed Plan of Reorganization. The Creditors'
Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors' Committee counsel that its




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members had a fiduciary duty to respond that a response was forthcoming. Mr. Dondero' s
proposed plan offered a greater recovery than what the Debtor had reported would be the
expected Plan recovery. The Creditors' Committee's failure to timely respond to that offer
suggests that some members may have been contractually constrained from doing so, which
itself warrants investigation.
        We encourage the EOUST to question and explore whether, at the time that Mr.
Dondero's proposed plan was filed, the Creditors' Committee members already had committed
to sell their claims and therefore were contractually restricted from accepting Mr. Dondero's
materially better offer. If that were the case, the contractual tie-up would have been a violation
of the Committee members' fiduciary duties. The reason for the U.S. Trustee's guideline
concerning the sale of claims by Committee members was to allow a public hearing on whether
Committee members were acting within the bounds of their fiduciary duties to the estate incident
to the sale of any claim. The failure to enforce this guideline has left open questions about sale
of Committee members' claims that should have been disclosed and vetted in open court.
        In summary, the failure of the U.S. Trustee's Office to demand appropriate reporting and
transparency created an environment where parties needed to obtain and use non-public
information to facilitate claims trading and potential violations of the fiduciary duties owed by
Creditors' Committee members. At the very least, there is enough credible evidence to warrant
an investigation. It is up to the bankruptcy bar to alert your office to any perceived abuses to
ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
Marcus should not be allowed to occur.
        We would appreciate a meeting with your office at your earliest possible convenience to
discuss the contents of this letter and to provide additional information and color that we believe
will be valuable in making a determination about whether and what to investigate. In the
interim, if you need any additional information or copies of any particular pleading, we would be
happy to provide those at your request.

                                                     Very truly yours,

                                                     ls/Douglas S. Draper

                                                     Douglas S. Draper

DSD:dh




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                                                                                                        Relationships Among Debtor's CEO/CRO, the UCC, and Claims Purchasers
                                                                                                        - Provided initial
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                                                                                                         Counsel to                 Counsel to UCC
                                                                                                                                   (Matt Clemente)




                                                                                                                                                                                                          *Is there an affiliate relationship
                                                                                                                                                                                                          between Stonehill, Grosvenor, and
                                                                                                                                                                                                          Farallon? Has it been adequately
                                                                                                                                                                                                          disclosed to the u:i.urt and iQvestors?
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                                Debtor Protocols [Doc. 466-1]

        I.    Definitions
              A.     "Court" means the United States Bankruptcy Court for the Northern District of
                     Texas.
              B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                     entity's assets less the value of its liabilities calculated as of the month end prior
                     to any Transaction~ and (B) with respect to a CLO, the CLO,s gross assets less
                     expenses calculated as of the quarter end prior to any Transaction.
              C.     "Non-Discretionary Account', means an accom1t that is managed by the Debtor
                     pursuant to the terms of an agreement providing, among other things, that the
                     ultimate investment discretion does not rest with the Debtor but with the entity
                     whose assets are being managed through the account.
              D.     "Related Entity,t means collectively (A)(i) any non-publicly traded third party in
                     which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                     respect to Messrs. Okada, Scott and Honis:o only to the extent known by the
                     Debtor) has any direct or indirect economic or ownership interest, including as a
                     beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                     Dondero, Mr. Okada:- Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
                     Okada, Scott and Honis:- only to the extent known by the Debtor); (iii) MGM
                     Holdings:- Inc.; (iv) any publicly traded company with respect to which the Debtor
                     or any Related Entity has filed a Form 13D or Form BG; (v) any relative (as
                     defined in Section IO I of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                     each sole]y to the extent reasonably knowable by the Debtor; (vi) the Hunter
                     Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                     person that is an insider of the Debtor under Section l 01 (31) the Bankruptcy
                     Code, including any ~·non-statutory'"' insider; and (viii) to the extent not included
                     in (A)(i)-(vii), any entity included in the Hsting of re1ated entities in Schedule B
                     hereto (the hRelated Entities Listing~'); and (B) the following Transactions,
                     (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                     16.a through 16.e of the Debtor's cash management motion [Del. Docket No. 7];
                     and (y) any Transactions with Charitable DAF Fund~ L.P. (provided, however,
                     that additional parties may be added to this subclause (y) with the mutual consent
                     of the Debtor and the Committee, such consent not to be unreasonably withheld).
              E.     "Stage r' means the time period from the date of execution of a term sheet
                     incorporating the protocols contained below the f'Term Sheef') by all applicable
                     parties until approval of the Tenn Sheet by the Court.
              F.     "Stage T' means the date from the appointment of a Board of Independent
                     Directors at Strand Advisors~ Inc. until 45 days after such appointment, such
                     appointment being effective upon Court approval.
                     ~'Stage r means any date after Stage 2 while there is a Board of Independent
                     Directors at Strand Advisors, Inc.
              H.     "Transactionn means (i) any purchase, sale'.' or exchange of assets, (ii) any lending
                     or borrowing of money, including the direct payment of any obligations of
                     another entity'.' (iii) the satisfaction of any capital call or other contractual



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                    requirement to pay money, including the satisfaction of any redemption requests~
                    (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
              1.     uordinary Course Transaction" means any transaction with any third party which
                     is not a Related Entity and that would otherwise constitute an ,;~ordinary course
                     transaction'.'' under section 363(c) of the Bankruptcy Code.
              J.     ',;Notice''.> means notification or communication in a written format and shall
                     include supporting documents necessary to evaluate the propriety of the proposed
                     transaction.
              K.     ',;Specified Entiti~ means any of the following entities: ACIS CLO 2017-7 Ltd.~
                     Brentwood CLO, Ltd., Gleneagles CLO, Ltd.~ Greenbriar CLO~ Ltd.~ Highland
                     CLO 2018-1 , Ltd.'.' Highland Legacy Limited, Highland Loan Funding V Ltd.,
                     Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.~
                     Rockwall COO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                     Ltd., Westchester CLO, Ltd.:- Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                     Ltd. Eastland CLO, Ltd., Grayson CLO:- Ltd., Highland Credit Opportunities
                     COO Ltd.~ Jasper CLO:- Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.t
                     Red River CLO, Ltd.:- Valhalla CLO, Ltd.
        II.   Transactions involving the (i) assets he]d directly on the Debtor's balance sheet or
              the balance sheet of the Debtor's wholJy-owned subsidiaries, including Jefferies
              Prime Account, and (ii) the Highland Select Equity Fund,. L.P ., Highland Multi
              Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
              A.     Covered Entities: N/ A (See entities above).
              B.     Operating Requirements
                     1.     Ordinary Course Transactions do not require Court approvaJ (All Stages).
                            a)     Stage l and Stage 2: ordinary course determined by the CRO.
                            b)     Stage 3: ordinary course determined by the Debtor.
                     2.     Related Entity Transac1ions
                            a)     Stage l and Stage 2: Transactions with Related Entities require
                                   prior approval of CRO and five business days advance notice to
                                   the Committee and if the Committee objects, the burden is on the
                                   Debtor to seek Court approval , which the Committee agrees may
                                   be sought on an expedited basis.
                            b)     Stage 3:
                                   (1)     Transactions with Related Entities greater than $1,000,000
                                           (either individually or in the aggregate basis on a rolling 30
                                           day period) require five business days advance notice to the
                                           Comm1ttee and if the Committee objects, the burden is on
                                           the Debtor to seek Court approval, which the Committee
                                           agrees may be sought on an expedited basis.




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                                             (2)      Transactions with Related Entities greater than $2,000,000
                                                      (either individually or in the aggregate basis on a rolling 30
                                                      day period) require Court approval, which the Committee
                                                      agrees may be sought on an expedited basis.
                           3.       Third Party Transactions (All Stages)
                                    a)       Except as set forth in (b) and (c) below, Transactions in excess of
                                             $2,000,000 (either individually or in the aggregate basis on a
                                             rolling 30 day period) require three business days advance notice
                                             to Committee and if the Committee objects, the burden is on the
                                             Debtor to seek Court approval, which the Committee agrees may
                                             be sought on an expedited basis.
                                    b)       The Debtor may satisfy any redemption requests from entities that
                                             are not Related Entities without advance notice so long as the
                                             Debtor provides notice of such Transactions to the Connnittee as
                                             soon as reasonably practicable. The Debtor will provide the
                                             Committee with five business days advance notice of any
                                             redemption requests made by and payable to a Related Entity, and
                                             if the Committee objects, the burden is on the Debtor to seek Court
                                             approval, which the Committee agrees may be sought on an
                                             expedited basis.
                                    c)       The Debtor may satisfy margin calls and short covers without
                                             providing the Committee advance notice if the exigencies do not
                                             allow advance notice so long as the Debtor provides notice of such
                                             Transactions to the Committee as soon as reasonably practicable.
                  C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                           showing all Transactions under this category.
          III.    Transactions involving entities the Debtor manages and in which the Debtor holds a
                  direct or indirect interest (other than the entities discussed in Section I above)
                  A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                           all entities the Debtor manages and in which the Debtor holds a direct or indirect
                           interest (other than the entities discussed in Section [ above). 1
                  B.       Operating Reg uirements
                            l.      Ordinary Course Transactions do not require Court approval (All Stages).
                                    a)       Stage l and Stage 2: ordinary course determined by the CRO.
                                    b)       Stage 3: ordinary course determined by the Debtor.
                           2.       Related Entity Transactions



          1
            The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
          entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably pral.--ticable to
          the extent necessary.




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                      a)     Stage 1 and Stage 2: Transactions with Related Entities require
                             prior approval of CRO and five business days advance notice to
                             the Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval~ which the Cammi ttee agrees may
                             be sought on an expedited basis.
                      b)     Stage 3:
                             ( 1)   Transactions with Related Entities greater than $1,000,000
                                    (either individually or in the aggregate basis on a rolling 30
                                    day period) require five business days advance notice to the
                                    Committee and if the Committee objects, the burden is on
                                    the Debtor to seek Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
                             (2)    Transactions with Related Entities greater than $2,000,000
                                    (either individually or in the aggregate basis on a rolling 30
                                    day period) require Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
                3.    Third Party Transactions (All Stages)
                      a)     Except as set forth in (b) and (c) below) Transactions in excess of
                             $2,000,000 (either individually or in the aggregate basis on a
                             rolling 30 day period) require three business days advance notice
                             to Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval, which the Committee agrees may
                             be sought on an expedited basis.
                      b)     The Debtor may satisfy any redemption requests from entities that
                             are not Related Entities without advance notice so long as the
                             Debtor provides notice of such Transactions to the Committee as
                             soon as reasonably practicable. The Debtor will provide the
                             Committee with five business days advance notice of any
                             redemption requests made by and payable to a Related Entity, and
                             if the Committee objects, the burden is on the Debtor to seek Court
                             approval, which the Committee agrees may be sought on an
                             expedited basis.
                      c)     The Debtor may satisfy margin calls and short covers without
                             providing the Committee advance notice if the exigencies do not
                             allow advance notice so long as the Debtor provides notice of such
                             Transactions to the Committee as soon as reasonably practicable.
         C.     Weekly Reporting: The Debtor will provide the Committee with weekly reports
                showing all Transactions under this category.




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   IV,      Transactions involving entities that the Debtor manage,s but in which the Debtor
            does not hold a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A inc1udes or will include
                     all entities that the Debtor manages but in which the Debtor does not hold a direct
                     or indirect interest. 2
            B.       Operating Requirements
                     l.       Ordinary Course Transactions do not require Court approval (All Stages).
                              a)       Stage 1 and Stage 2: ordinary course determined by the CRO.
                             b)        Stage 3: ordinary course determined by the Debtor.
                     2.       Related Entity Transactions
                              a)      Stage 1 and Stage 2: Transactions with Related Entities require
                                      prior approval of CRO and five business days advance notice to
                                      the Committee and if the Committee objects, the burden 1s on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                             b)        Stage 3:
                                       ( 1)    Transactions with Related Entities greater than $1,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require five business days advance notice to the
                                               Committee and if the Committee objects, the burden is on
                                               the Debtor to seek Court approvat which the Committee
                                               agrees may be sought on an expedited basis.
                                       (2)      Transactions with Related Entities greater than $2,000,000
                                                (either individua11y or in the aggregate basis on a ro1ling 30
                                                day period) require Court approval~ which the Committee
                                                agrees may be sought on an expedited basis.
                     3.       Third Party Transactions (All Stages):
                              a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                      Transaction involving a Specified Entity and the sale or purchase
                                      by such Specified Entity of an asset that is not an ob1igation or
                                      security issued or guaranteed by any of the Debtor, a Related
                                      Entity or a fund, account, portfolio company owned'" controlled or
                                      managed by the Debtor or a Related Entity, where such
                                      Transaction is effected in compliance with the collateral
                                      management agreement to which such Specified Entity is party,
                                      any Transaction that decreases the NA V of an entity managed by
                                      the Debtor in excess of the greater of (i) 10% of NA V or (ii)
                                      $3,000,000 requires five business days advance notice to

   2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities. shou]d be induded on Schedu1e A. The Debtor will update Schedu1e A as soon as reasonably pra(...-ticable to
   the extent necessary.




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                                       Committee and if the Committee objects, the burden is on the
                                       Debtor to seek Court approval, which the Committee agrees may
                                       be sought on an expedited basis.
                              b)       The Debtor may satisfy any redemption requests from entities that
                                       are not Related Entities without advance notice so long as the
                                       Debtor provides notice of such Transactions to the Committee as
                                       soon as reasonably practicable. The Debtor will provide the
                                       Committee with five business days advance notice of any
                                       redemption requests made by and payable to a Related Entity, and
                                       if the Committee objects, the burden is on the Debtor to seek Court
                                       approval, which the Committee agrees may be sought on an
                                       expedited basis.
                              c)       The Debtor may take such steps as may be reasonably necessary to
                                       winddown any managed entity and make distributions as may be
                                       required in connection with such winddown to any required
                                       parties. The Debtor will provide the Committee with five business
                                       days advance notice of any distributions to be made to a Related
                                       Entity) and if the Committee objects~ the burden is on the Debtor to
                                       seek Court approval, which the Committee agrees may be sought
                                       on an expedited basis.
            C.       Weekly Reporting: The Debtor wi11 provide the Committee with weekly reports
                     showing all Transactions under this category.       Such reports wi11 include
                     Transactions involving a Specified Entity un]ess the Debtor is prohibited from
                     doing so under applicable law or regu]ation or any agreement governing the
                     Debtor~s relationship with such Specified Entity.
    V.      Transactions involving entities that the Debtor does not manage but in which the
            Debtor holds a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                     entities that the Debtor does not manage but in which the Debtor holds a direct or
                     indirect interest. 3
            B.       Ordinary Course Transactions (All Stages): N/A
            C.       Operating Requirements: N/A
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.




    3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
    entities shou]d be inc1uded on Schedu]e A. The Debtor will update Schedu]e A as soon as reasonably pral,."ticable to
    the extent necessary.




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   VI.      Transactions involving entities that the Debtor does not manage and in which the
            Debtor does nol hold a direct or indirect interest
            A.      Covered Entities~ See Schedule A hereto. Schedu]e A includes or wi11 include a11
                    entities that the Debtor does not manage and in which the Debtor does not hold a
                    direct or indirect interest. 4
            B.       Ordinary Course Transactions (All Stages): N/A
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.
   VII.,    Transactions involving Non-Discretionary Accounts
           A.       Covered Entities: See Schedule A hereto. Schedule-A includes or will include all
                    non-discretionary accounts. 5
            B.       Ordinary Course Transactions (All Stages): NIA
            C.      Operating Requirements: NIA
            D.      Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                    Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                    a direct or indirect interest.
   VIII.    Additional Reporting Requirements - All Stages (to the extent applicable)
            A.      DSI will provide detai]ed lists and descriptions of interna] financial and
                    operational contro]s being applied on a dai]y basis for a full understanding by the
                    Committee and its professional advisors three (3) business days in advance of the
                    hearing on the approva] of the Tenn Sheet and detai]s of proposed amendments to
                    said financial and operationa] con1rols no later than seven (7) days prior to their
                    implementation.
            B.      The Debtor will continue to provide weekly budget to actuals reports referencing
                    their 13-week cash flow budget, such reports to be inclusive of all Transactions
                    with Related Entities.
   IX.      Shared Services
            A.       The Debtor shall not modify any shared services agreement without approval of
                     the CRO and Independent Directors and seven business days' advance notice to
                     counsel for the Committee.
            B.      The Debtor may otherwise continue satisfying its obligations under the shared
                    services agreements.

  4
     The Debtor is contjnuing to review the Related Entities List and to determine wheth.er any additional parties or
   entities. shou]d be included on SchcduJc A. The Debtor will update Schedule A as soon as reasonably practicable to
   the ex.tent necessary.
   5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities. shou]d be induded on ScheduJe A. The Debtor will update ScheduJe A as soon as reasonably pra(...ii.cable to
   th.e extent necessary.




                                                                                                                  Page A-9
                                                                                                                Appx_0092
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 X.    Representations and Warranties
       A.    The Debtor represents that the Related Entities Listing included as Schedule B
             attached hereto lists al1 known persons and entities other than natural persons
             included in the definitions of Related Entities covered by Section I.D parts A(i)-
             (vii) above at the time of the execution of the Term Sheet.
       B.    The Debtor represents that the list included as Schedule C attached hereto lists all
             known natural persons included in the definitions of Related Entities covered by
             Section I.D parts A(i)-(vii) above at the time of the execution of the Tenn Sheet.
       C.    The Debtor represents that, if at any time the Debtor becomes aware of any
             person or entity, including natural persons, meeting the definition of Related
             Entities covered by Section I.D parts A( l )-( vii) above that is not included in the
             Related Entities Listing or Schedule C, the Debtor shall update the Related
             Entities Listing or Schedule C, as appropriate, to 1nclude such entity or person and
             shall give notice to the Committee thereof.




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                                                                                        Appx_0093
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                                                     Schedule Al
  Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
               1. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
               2. Dynamic Income Fund (0.26% Ownership Interest)
  Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
  interest
               l. Highland Prometheus Master Fund L.P .
               2. NexAnnuity Life Insurance Company
               3. PensionDanmark
               4. Highland Argentina Regional Opportunity Fund
               5. Longhorn A
               6. Longhorn 8
               7. Collateralized Loan Obligations
                  a) Rockwall II CDO Ltd.
                  b) Grayson CLO Ltd.
                  c) Eastland CLO Ltd.
                  d) Westchester CLO) Ltd.
                  e) Brentwood CLO Ltd.
                  f) Greenbriar CLO Ltd.
                  g) Highland Park CDO Ltd.
                  h) Liberty CLO Ltd.
                  i) G1eneag1es CLO Ltd.
                  j) Stratford CLO Ltd.
                  k) Jasper CLO Ltd.
                  1) Rockwall DCO Ltd.
                  m) Red River CLO Ltd.
                  n) Hi V CLO Ltd.
                  o) Valha1la CLO Ltd.
                  p) Aberdeen CLO Ltd.
                  q) South Fork CLO Ltd.
                  r) Legacy CLO Ltd.
                  s) Pam Capital
                  t) Pamco Cayman
  Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
  interest
               l.   Highland Opportunistic Credit Fund
               2.   Highland Healthcare Opportunities Fund f/k/a Highland L ng/Short Healthcare Fund
               3.   NexPoint Real Estate Strategies Fund
               4.   Highland Merger Arbitrage Fund
               5.   NexPoint Strategic Opportunities Fund
               6.   Highland Small Cap Equity Fund
               7.   Highland Global Allocation Fund

  l'j.   NTD: Schedule A is work in process and may be supplemented or amended.




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         8. Highland Socially Responsible Equity Fund
         9. Highland Income Fund
         10. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
          11. SE Multifami1y, LLC
   Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
   indirect interest
         l.    The Dugaboy Investment Trust
         2.    NexPoint Capital LLC
         3.    NexPoint Capital, Inc.
         4.    Highland IBoxx Senior Loan ETF
         5.    Highland Long/Short Equity Fund
         6.    Highland Energy MLP Fund
         7.    Highland Fixed Income Fund
         8.    Highland Total Return Fund
          9. NcxPoint Advisors, LP.
          10. Highland Capital Management Services, Inc.
          11. Highland Capital Management Fund Advisors L.P.
          12. ACIS CLO Management LLC
          13. Governance RE Ltd
          14. PCMG Trading Partners XX:lll LP
          15. NexPoint Real Estate Partners~ LLC f/k/a HCRE Partners LLC
          16. NexPoint Real Estate Advisors I I LP
          17. NexPoint Healthcare Opportunities Fund
          l 8. NexPoint Securities
          l 9. Highland Diversified Credit Fund
          20. BB Votorantim High]and Infrastructure LLC
          21. ACIS CLO 2017 Ltd.
   Transactions invo]ving Non-Discretionary Accounts
          l. NexBank SSB Account
          2. Charitable OAF Fund LP




                                                                                     Page A-12
                                                                                     Appx_0095
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                                         Schedule B

                   Relat:ed lEntities Listing (other than. natura:t persons)




                                                                               Page A-13
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                                        Sc.h,ed.ul.e C

        1. James Don.dlero
        2.. Mark Okada
        3. Grant. Scott
        4:. John Honis
        S.. Nancy Dondero
        6.. Pamela Okada
        7~ Thomas Surgent
        8.. Scott EUington
        9.. ·Frank w ·aterhouse
        10. Lee (Trey) Parker




                                                                          Page A-14
                                                                         Appx_0097
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                            Seery Jan. 29, 2021 Testimony
                                                                          Page 1
    1   IN THE UNITED STATES BANKRUPTCY COURT

   2    FOR THE NORTHERN DISTRICT OF TEXAS

   3    DALLAS DIVISION

   4    ------------------------------ )

   5    In Re :                      Chapter 11

    6   HIGHLAND CAPITAL             Case No.

   7    MANAGEMENT, LP ,             19-34054-SGJ 11

   8

    9             Debtor

  10

  11

  12

  13      REMOTE DEPOSITION OF ,J AMES P.       SEERY ,     JR ..

  14                   January 29, 202 1

  15                    10:1 1 a . m~ EST

  16

  17



  19

  20

  21

  22

  23
        Reported by:
  24    Debra Stevens, RPR-CRR
        JOB NO . 189212
  25




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                                                           Page 2                                                                     fage 3
   l                         January :29, :20:21                     l   MMOTS APPSAFlANCES ~
   2                         9:00 a..m. &ST                          2
   3                                                                 3   Heller, Draper, Ha~den, Patric);,              &   Horn

   4               Remote Depo.si tion of JAMES p.                   4   Attorneys for The Dugaboy Inv·@ stment
   5    SEEEI.Y, JEI. . , held via Zoom                              5   Trust. and The Get. Good Tru,.t

   6    conference, before Oebra Stevens,                            6                650 Poydras Street
   "1   RPR/CRR a.nd         ,!.   Nota.ry Public of th@             7                N!!!>l Orl@&rlS, Louisi~n~ 70130

   8    St<1te of New York .                                         e
   9                                                                 9
 IO                                                                 10   BY:         DOUGLAS DRAPER, ESQ
 ll                                                                 11
 12                                                                 12

 u                                                                  13   !'11.CfHJLSKI STANG ZIEBL       i-   JONES
 14                                                                 14   For the Debtor and th@ Witn@ss H@r@in
 15                                                                 15                760 Third Avenue
 16                                                                 16                New 'iork, New 'iork 10017
 1'.l                                                               17   BY:          JOHN HORRIS, ESQ.

 18                                                                 18                JEl?l?RE'i E'CMEAANTZ, ESQ .
 19                                                                 19               GREGORY DEMO, ESQ.
 20                                                                 20                IRA KHARASCH, ESQ.

 :2l                                                                2l
 22                                                                 22

 23                                                                 23
 24                                                                 24                                 tContinu@d)
 25-                                                                25


                                                           Page 4                                                                     Page 5
   1    El.EMOTE APPEARANC&S:             (Continued)                1   REMOTE APPEARANCES:            !Continued!
   2                                                                 2   KING    &   Sl?ALDING
   3    LATHP.M     &    WATKINS                                     3   Attorneys for Highland CLO Funding, Ltd.
   4    Attorneye for UBS                                            4                500 l'le,:it. 2rn;I Street

   5                    885 Thi rd Avenue                            5               Austin, Texas 78701
   6,                   New York , New York 10022                    6   BY,         REBECCA MATSUMURA, ESQ.
   7    B't :           SHANNON McLAUGHLIN , ESQ ,                   7

   B                                                                 8   K&I, GATES

   9    JENNEil.    &    BLOCK                                       9   Attorney,. for Highland Capitoll Management
 10     Attorneys for Redeemer Commit tee of                        10   Fund Advisor:·s, L.I?., et al.:
 11     Hi ghl .!.nd crus .!.der Fund                               11                4350 La:s:site~ at. North Hilb

 1:2                    919' Thi ro;l Avem.1.e                      lZ                 Avenue
 13                     N~W York, N~W York 10022                    13               R!l.l@igh, North c~roliri~ 27609
 14     BY ,            MARC B . HANKIN, ESQ.                       14   BY;         EMILY MATHER, ESQ.

 15                                                                 15
 16,    SIDLEY AUSTIN                                               16   MUNSCH HARDT KOPP         &   HARR

 17     Attorneys for Creditors' Committee                          l7   At.t.ot:neys for Defendants Highland Capital
 18                     2021 McKinn!!'y AV!!'nU@                    18   Ma.na.'J~ment Fund Advisors, LP ; N@xPoint
 19                     Dallae, Texas 7 5201                        19   Advi,.or1;1, LP; Highland Ini;:ome Fund.;

 20     B'f :           PENN':!: P-E.IO , ESQ.                      20   NeK.E'oin t Strategic: Opportunities rund c1nd
 21                     MATTHEW CLF.ME~TE, ESQ.                     21   NeKPoinr. Capir.al, Inc.,

 22                     PAIGE MONTGOMERr , ESQ ,                    n                 500 N. Akat:d Street
 23                                                                 23               Dallas , Texas 75201-6659
 24                                      (Continued.)               24         BY~   DAVOR RUKAVINA, ESQ+

 25                                                                 25                                        (Continued)




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                                                                                                                                   Appx_0099
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                                                             Ps1ge 6                                                                                    Ps1ge 7
    L    ['.;EMOTE APP&AP-A.NCES (Continued )                           1    Il.EMOT£ MPEARANCES :           (Continued)
    2                                                                   2

    .3   BONDS ELLIS EPPICH SCHAFER JONES                               .3   WICK PHILLIPS

    4    Attorneys for Jlllll!tS Dondero ,                              4    Attorn@ ys for N@xPo in t R@11l Est11t@

    5    Party-in-Interest                                              5    Partner,.,, NexPoint Real Estate Entitie "'
    6              420 Throckmorton Street                              6    and r.exBank
    i                                                                   7                  100 Throckmorton strt!!t!!t
    a              Fort Worth , Texaa 76102                             8                   Fort Worth, Texa"' 16102

    9    BL        CLAY TAYLOR, ESQ.                                    9    B'n            IJHJREN DRAWHORN, ESQ.

  10               J OHN BONDS , ll.SQ .                               10

   ll              BP.'tAN A$SINK., ESQ.                               11    ~oss    ,5:   SMITH

  12                                                                   12    Atto-rnt!!y:!; for S@nior Employ@!!!:!; ,             Scott

   13                                                                  i:J   Ellington , Isaac Leventon , Tbomo1s Sui-gent,
  14     BAKER McKENZ I E                                              14    Frank wat@ rhouse
   15    Attorney~ for Senior Employee a                               15                   700 N. Pearl Street
   16              L<JOO North Fear l Street                           16                   Oall as, Texa 6 75201
  17                                                                   17    BYt           FRANCES SMITH , ESQ .

   HI              Dalla1a1 , rexa1a1 7520 L                           18
  19     BY:       MICHELLE. HARTMANN, ESQ.                            19
  20               DEBRA Di\NDEREAU, ll.SQ .                           20

  21                                                                   21
  22                                                                   22

  2.3                                                                  2:3
  24                               (Continued)                         24
  25                                                                   25


                                                             Page 8                                                                                     l'age 9
    1                                                                   1
    2             EX AM INATIONS
                                                                        2                     COURT REPORTER .      Hy n .-me is
    3    WITNESS                                  PAGE
    4    JAMES SEER'i                                                   3           Debra Stev@ns , court r@port@r for TSG
    5      By Mr. Draper                                 9              4           Reporting and notary public -of the
    6      By Mr. Taylor                             75
    7      By Mr. Rukavina                          165
                                                                        s           State of New York .          Due to the
    6      By Mr . Or aper                          2l7                 6           severity of the COVID- 19 pandemic and
    9
                                                                        7           fQ-llowing the pn11ctice 1:tf la'ocit11l
                            E X H I B I T S
  10     SEE['.;'t OW                                                   8           dis tancing, I will not. b@ in th@ sam-e
         E:<HIBIT         OESCP-.U'TION           FAG£                  9           r Q-l;III> with l;.he witneao1 but will rep-ort
  11
                                                                       10           this deposition remotely c11nd will
         Exhibit 1        January 2021 Material      1.1
  12                                                                   11           swear the witness in 1:-emct.-ely.                 I:f a.ny
         Exhibit 2        Disclosure Stat@m@nt       14
                                                                       12           party has any objection, ples11se :;,o
  13
         Exhibit 3       Notice of Depoai tion       74                13           !tat@ b@fo-r@     WI!!   proc@@d.
  14                                                                   14                     Whereupon,
   15
                                                                       15                          JAMES         SEERY.,
           INFORMATION/PRODUCTION REQUESTS
  H      DESCRIPTION                              PAGE                 16          having been first duly sworn/affirmed,
   17    Sut>1aiidiar:{ led9er 1aihowing- note       zz                17          wo1s ei-a1111ined. .11nd. testified.   iill"l    follow:;,;
         component ver1aiua hard a1aiaet
  LS     component                                                     18    EXAMINATION BY
   19    Amount of 0&0 coverage for                 131                19    MR. DRAPER;
         trustees
                                                                       20           Q.        Mr. Se ery, my nt11me is Douglas
  20
         Line item for D&O insurance                133                21    Dr1aper, rept:esent.ing t.he Dugaboy Trust:. .                      I
  21                                                                   22    h.ivce sede!:i of queo1ti<;1-no1 today in
  22                    MARKED FOR RULING
                           PAGE   LINE                                 23    connection with th@ 30 tbl Notic@ that w@
  23                         as        20                              24    filed.        The fir!;lt que,.,tion I have for you,
  24
                                                                       25    have you seen the Notice of Deposition
  25




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    1                    J. SEERY                        1                         J. SEERY
    2       the screen, please?                          2       A.    It says the percent distribution
    3       A.    Page what?                             3   to general unsecured creditors is
    4       Q.    I think it is page 174.                4   62.14 percent .
    5       A.    Of the PDF or of the docUiiilent?      5       Q.     H :
    6       Q.    Of the disclosure statement that                                    a
    7   was filed. It is up on the screen right                       to yesterday ?
    8   now.                                                             MR. MORRIS : Objection to the
    9               COURT PEPORTER: Do you intend                  form of the question.
   10         this as another exhibit for today's                  A.    I believe ger
   11         deposition?                                    don ' t know if we have a sp~c 1 t
   12               MR. DRAPER: We'll mark this              but generally yes.
   13         Exhibit 2 .                                        Q.
   14               (So marked for identification as         Creditors' Corrrnit
   15         Seery Exhibit 2. )                             information to?
   16         Q.    If you look to the recovery to               A.    Yes.
   17   Class 8 creditors in the November 2020                   Q.
   18   disclosure statement was a recovery of
   19   87 .4 4 percent?                                         A.     Yes .
   20        A.     That actually says the percent               a.     Who?
   21   distribution to general unsecured
   22   creditors was 87 .4 4 percent. Yes .
   23         Q.    And in the new document that was
   24   filed , given to us yesterday , the recovery
   25   is 62.5 percent?
                                              Page 16                                               Page 17
    l                    J. SEERY                        1                         J. SEERY
    2   anybody else?                                    2   not accurate?
    3       A.    I said Mr. Dohert y .                  3       A.     Yes . We secretly disclosed it
    4       Q.    In looking at the two elements,        4   to the Bankruptcy Court in open court
    5   and what I have asked you to look at is          5   hearings.
    6   the claims pool . If you look at the             6       Q.     But you never did bother to
    7   November disclosure statement, if you look       7   calculate the reduced recovery; you just
    8   down Class 8, unsecured claims ?                 8   increased
    9       A.    Yes.                                   9               (Reporter interruption.)
   10       Q.    You have 176, 000 roughly?            10       Q.     You just advised as to the
   11       A.    Million.                              11   increased claims poo l . Correct?
   12       Q.    176 million. I am sorry. And          12              MR. MORRIS: Objection to the
   13   the number in the new document is 313           13       form of the question.
   14   million?                                        14       A.     I don't understand your
   15       A.    Correct .                             15   question .
   16       Q.    What accounts for the                 16       Q.     What I am trying to get at is 1
   17   difference?                                     17   as you increase the claims pool, the
   18       A.    An increase in cla ims.               18   recovery reduces. Correct?
   19       Q.    When did those increases occur?       19       A.     No. That is not how a fraction
   20   Were they yesterday? A month ago? Two           20   works.
   21   months ago?                                     21       Q.     Well1 if the denominator
   22       A.    Over the last couple months.          22   increases, doesn't the recovery ultimately
   23       Q.    So in fact over the last couple       23   decrease if --
   24   months you knew in fact that the recovery       24       A.     No.
   25   in the November disclosure statement was        25       Q.     -- if the numerator stays the




                                                                                                Page A-18
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                                                                   Page   26                                                                              Page 27
                                    J . SEERY                                                                       J . SEERY
      2   were amended without consideration a few                              2          A.         le         o in , I sa i                 The y
      3   years ago .        S0 1   for our purposes we d idn ' t               3   defaulted on the note and we accelerated
      4   make the assumption 1          which I am sure will                   4   it .
      5   happen, a fraudulent conveyance claim on                              5          Q.         So there i s n o need to f i e a
      6   t hose notes, that a fraudulent conveyance                            6   fraudulent conveyance suit with respect t o
      7   action would be brought .               e jus      assumed            7   tha     note.          Correct 1               •       See ry?
      8   t hat we'd have to discount the notes                                 8                     MR . MORRI S :           Objection to the
      9   heavily to sell them because nobody would                             9           arm of t h e ques io .
  10      respect t h e abilit y of the counterparties                         10          A.          i sa ree .            Since it was l _ '·e l y
  11      to fairly pay .                                                      11   intentional fraud, there may be other
  12              Q.      And the same discount was                            12   r ecoveries on                     But to collect o n the
  13      applied in the liquidation analysis to                               13   note, n o .
  14      t hose notes?                                                        14          Q.          y question was with respect to
  15                      Yes .                                                15   tha     note .         Since you have accelerated                          t,
  16              Q.      Now                                                  16   you don't need to deal with the issue of
      7                   The difference -- there would be                      7   when - t •s due?
  18      a difference 1 though, because t h e y would                         18                     MR . MO         IS :     Objection to the
  19      pay      or a while because they wouldn ' t want                     19           arm of t h e             es      1.0       .
  20      to accelerate them .           So there would be                     20          A.         Tha         w sn '      your ques ion .               Bu t
  21      some collections on the notes for P and                              21   to tha          question, yes , I don't n eed to
  22              Q.      But in fact as of January you                        22   deal with when it ' s due.
  23      have accelerated those notes?                                        23          Q.         Let me go over certain assets .
  24                       Just one of them,        I bel    e •e.             24   I am        o    go ing to ask you fo r t h e
  25              Q.      Which note was that?                                 25   valuation of them but I am going to ask

                                                                   Page 28                                                                                Page 2 9
                                    J . S EE Y.                                                                     J . S EER'l
      2   you whether they are included in the asset
      3   portion of your $257 million number, all
      4   right?        Mr. Morris didn ' t       want me to go
      5   into specific asset value, and : don ' t
      6   intend to do that.
      7                   The first question I have for
      8   you is 1 the equity in Trustway Highland                              8                     There may be others off the top
      9   Ha ldi gs, is that included in t he                                   9   of my head .             I     o n 't ~eca                them .    I don ' t
  10      $257 mill1on nwnber?                                                 10   have a list 1n front of me .
  l                       The r e is no such e n t · t y .                                 Q.         Now, with r espect to those
                  Q.      Then I will do it in a different                          assets 1 have you started the sale proces s
          way .        In connection with the sale of the                           of those assets?
          hard assets, what assets are included in                                         A.         No .        Well 1 each asset is
          t here specifically ?                                                     different .            S0 1    the answer is, with
                                                                                    respect to any securities, we do seek to
                                                                                    sell those regularly and we do seek to
                                                                                    monetize those assets where we can
                                                                                    depending on whether there is a
                                                                                    restriction or not and whether t here is
                                                                                     i qu ·dity in the market.
                                                                                                      With respect to t he PE assets o r
                                                                               23   the companies I described -- Targa, CCS,
                                                                               24   Cornerstone , JHT -- we have not --
  25      t hat would flow from Cornerstone.                  It               25   Trustwa y.         We have not sought to sell




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                                                                        Page 38                                                Page   39
   1                    J. SEERY                                                   1                     J . SEERY
   2       A.    I don't recall the specific                                       2                                 ' .l
   3   limitation on the trust. But if there was                                                       counsel to determine what
   4   a reason to hold on to the asset, if there                                         would need depending    when
   5   is a limitation, we can seek an extension.
   6       Q.    Let me ask a question. With
   7   respect to these businesses, the Debtor
   8   merely owns an equity interest in them.
   9   Correct?
  10       A.    Which business?
  11       Q.    The ones you have identified as
  12   operating businesses earlier?
  13       A.    It depends on the business.
  14       Q.    Well, let me
  15   to be specific .


                                                                                       me finish,
                                                                                                                              10n


                                                                                  21       Q.    Now, in connection with your
                                                                                  22   differential between the liquidation of
  23             MR. MORRIS: Objection to the                                     23   what I will call the operating businesses
  24       form of the question .                                                 24   under the liquidation analysis and the
  25       A.             . .,_,------':------'---~---'-----------'--             25   plan analysis, who arrived at the discount
                                                                        Page 40                                                Page 41
   1                     J. SEERY                                                  1                     J. SEERY
   2   or determined the discount that has been                                    2   is different.
   3   placed between the two, plan analysis                                       3       Q.     Is the discount a function of
   4   versus liquidation analysis?                                                4   capability of a trustee versus your
   5              MR. MORRIS: Objection to form                                    5   capability, or is the discount a function
   6       of the question.                                                        6   of timing?
   7       A.     To which document are you                                        7              MR. MORRIS: Objection to form.
   8   referring?                                                                  8       A.     It could be a combination.
   9       Q.     Both the June -- the January and                                 9       Q.     So, let ' s -- let me walk through
  10   the November analysis has a different                                      10   this. Your plan analysis has an
  11   estimated proceeds for monetization for                                    11   assumption that everything is sold by
  12   the plan analysis versus the liquidation                                   12   December 2022. Correct?
  13   analysis. Do you see that?                                                 13       A.     Correct.
  14       A.     Yes.                                                            14       Q.     And the valuations that you have
  15       Q.     And there is a note under there.                                15   used here for the monetization assume a
  16   "Assumes Chapter 7 trustee will not be                                     16   sale between -- a sale prior to December
  17   able to achieve the same sales proceeds as                                 17   of 2022. Correct?
  18   Claimant trustee."                                                         18       A.     Sorry. I don't quite understand
  19       A.     I see that, yes.                                                19   your question.
  20       Q.     Do you see that note?                                           20       Q.     The 257 number, and then let's
  21       A.     Yes.                                                            21   take out the notes. Let's use the 210
  22       Q.     Who arrived at that discount?                                   22   number.
  23       A.     I did.                                                          23              MR. MORRIS: Can we put the
  24       Q.     What percentage did you use?                                    24       document back on the screen, please?
  25       A.     Depended on the asset. Each one                                 25       Sorry, Douglas, to interrupt, but it




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                                                                                                                            Appx_0103
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                                                                          Page 42                                                                Page 43
    l                             J . SEERY                                                                         J . SEERY
    2         would be helpful .                                                        2   a p l" ed?
    3                  MR. ORA.P E             That is fine,              John.         3                   Each of the assets is different .
    4                  ( Pau s e . )                                                    4                   l s there a general discount            h at
    5                  MR. MO          IS :    Tha nk yo u very                         5   you used?
    6         much .                                                                    6                    ot a general         scoun , no .     We
    7         Q.            . Seery , do you see the 257 ?                              7   looked at each individual asset and went
    8         A.           n t he one from yesterday?                                   8   through and made an assessment .
    9         Q.       Yes.                                                             9        Q.         Did you apply a discount for
 10                    Second line, 257,941.                       Yes.             10      your capability versus the capability of a
 11           Q.       That assumes a monetization of                               11      trustee?
 12       all assets by December of 20227                                           12           A.         No .
 13           A.       Cor e ct.                                                    13          Q.    So a trustee would be as capable
 14            Q.     And so everything has been sold                               14      as you are in mone iz     these assets?
 15       b y that t ime; correct?                                                  15                MR . 1-K)RRIS: Objection to the
 16           A.       Yes.                                                         16            form of t he ques        on .
    7         Q.       So, what I am    g o get at   ry                                 7        Q.         Excuse me?     The answer is?
 18       is, there is both the capability between                                  18           A.         The answer is maybe .
 19       you and a t stee, and then the second                                     19          Q.    Couldn't a tru stee hire somebody
 20       issue is t iming.  So, what discoun was                                   20      as capable as you are?
 21       put on for timing , Mr . Seer, between whe n                              21                      MR. MORRIS :    Objection to the
 22       a ru stee would sel l               it versus when y ou                   22            form of the ques         on .
 23       would sel  't ?                                                           23                      Perh ps .
 24                    MR. MO          IS :    Ob j ection.                         24           Q.         Sir, that is a yes or no
 25           Q.       What is the percentage you                                   25      question.        Could the tru s ee hire somebody

                                                                          Page 44                                                                Page 4 3
    1                                  • SEERY                                                                      J . SEERY
    2     as capab e as       ·ou ar e?                                                 2        Q.         Again, the discounts are a p l" e d
    3                  MR. MORRIS :            Ob j ection to the                       3   fort·         ng and capability?
    4         form of t h e       e s ion .                                             4        A.         Yes .
    5         A.       I    don't know .                                                5        Q.         Now, in looking at the November
    6         Q.       Is there anybody as capable as                                   6   plan analysis number of $190 million and
    7     you are?                                                                      7   t he January number of $257 million, what
    8                  MR . MORRIS :           Objection to the                         8   accounts for the increase be ween               he two
    9         form of the              e s io .                                         9   dates?        What assets specifically?
 10                    Cer ain y .                                                  10
 11           Q.       And they could be h ired .                                   11      Firstl:,• ,    ct e H~L:)F assets are a d ded .
 12       Correct?                                                                  1            Q.         Ho w much are t hose?
 ,:._ 3       A.       Perhaps .              don '        know.                    13                               a e l· 22 n d a half
 14           Q.       And if you go back to the
 15       November 2020 liquidation analysis versus                                 15
 16       plan ana     s s, i          is a s o the same n o t e                    16                                  , there is
 17       about that a trustee would bring less, and
 18       there is the same sort of discount between
 19       the estimated proceeds under the plan and
 20       under the liquidation analysis.
 21                    MR . MORRIS :            If        ha   is a
 22           question ,     o bje c
 23           Q.       Is that correct, Mr. Seery,                                  23           Q.         And what is the percentage
 24       looking at the document?                                                  24      increase from November            o January,
 25           A.       There are d i scounts, yes .                                 25      November of 2020 to January of 2021?




                                                                                                                                           Page A-21
                                                                                                                                         Appx_0104
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                                                          Page -9,6                                                                         Page 47
                                 J. SEERY                              1                           J. SEERY
   2           A.      Do you mean what is the                         2   markets; correct?
   3    percentage increase from 190 to 257?                           3       A.    No.
   4           Q.        o.    You jus     identified t h ree                  Q.    Those are operating businesses?
   5    assets.       MGM stock, we can go look at the                 5       A.    Correct .
   6    exchange and figure out what the price                         6
   7    i ncrease is; correct?
   8                    o.
   9           Q.      Why not?        Is the MGM stock
  10    publicly traded?
  11           A.      Yes.  I  doesn '        trade on - -
  12           Q.      Excuse me?                                              Q.    And the adjustment was up or
  13           A. .     I t does n '    trade on an exchange .             down?
  14        Q.    Is there a public ma rke t fo               the              A.    When ?
  15    MGM stock that we could calculate t h e                                Q.
  16    increase?
   7           A.      There is a semipublic market;
  18    yes.
  19          Q.        So it is a number that is                     19             MR.   MORRIS :          Ob j e c t i o        to form
  20    r e a ;1      available between the two dates?                20       of the question .
  21           A.       It's available.                               21       A.
  22           Q.      Now, you identified Targa and                                                 !"1C   :or Ja: .i.l:: : -~-    ·,,,;

  23    Trustway .       Correct?                                                                    I      on ' t   r ecall off the
  24           A.       Yes.
  25           Q.      Those are not readily available

                                                          Page 48                                                                           Page 49
                                 J .   SEERY                                                       J. SEERY
                                                                                      ,-_ :!IG~,-,:.-..id'? bei:,n rowr ·:,_;_ ·            60
                                                                                                   dollars.          Correct?




                                                                                                                                   to the
                                                                                                                                   is a
                                                                                              It    is accounted for.




  23
  2.;




                                                                                                                                        Page A-22
                                                                                                                                     Appx_0105
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                                                                           Page 50                                                                      Page 51
   1                                       . S       RY                                 1                                 •   S   ERY
                                                                                        2   HarbourVest se              erne n t,    ri gh?
                                                                                        3          A.      I believe that's correct .
                                                                                        4          Q.      Is that f ai r, Mr . Seery?
                                                                                        5                  I   lie v e th  is co rr ct , yes.
                                                                                        6       Q.         And a r t of that differentia l
                                                                                        7   are p ub      cl         raded or ascertainable
   8   aga n.         : n the liquidation analysis in                                   8   securities.             Correct?
   9   November of 2020, the liquidation value is                                       9                  Yes .
  10   $1 49        ·1_ o n .          Co r r ec?                                      10          Q.           d basically you can get, or
  11           A.          Yes .                                                       11   under the plan analys i s or tru stee
  12       Q.    And i n t he liquidat i on ana l s.!.s                                12   analysis, i f it is a marketable security
  13   in January of 2021, you h ave $ 1 91 mi llion?                                  ~3   or where there i s a ma _ke , the
  14       A.    Yes .                                                                 14   liquidation number should be the same fo r
  15       Q.    You see that number .     So there                                    15   both .      I s that fa i r?
  16   is $51 mi l            0        t here ,    r i h t?                            16          A.          o.
  _7           A.           o.                                                          7          Q.      And why not?
  18           Q.          What is the difference between                              18          A.      We might have a different pri ce
  19   191 and     so ry .    math may be a li tle                                     19   t a rge     for a particul ar security than the
  20   o _ f. What is the difference b e ween the                                      20   current       ra  ng value .
  21   two numbers,                   r . See r:·?                                     21          Q.      I understand t ha , but                    mean
  22           A.          Your math is off .                                          22   that is based upon the capability of the
  23           Q.          Sorr                   i s 41 mi l lion?                    23   person making the d ec ·sion as t o when to
  24           A.          Cor e ct.                                                   24   se ll .     Ca rree?
  25           Q.          $22 million of t h at i s the                               25                  MR . MORR S :            Objection to form

                                                                           Page   52                                                                    Page 53
   l                        J . SEERY                                                   1                              J. SEERY
   2           of the ques ion .                                                        2   $ 1 8 mill "o n .       How much o f        hat is p ub i c ly
   3                       .1r . See r y ,        yes or n o?                           3   tr aded or ascertainable assets versus
   4           A.          T sa i         no .                                          4   operating businesses?
   5           Q.          What is that base                  on,   t hen?              5                  I don ' t know off the t o p o f my
   6           A.          The person's abi_ "t y to assess                             6   h ea    the percentag es .
   7   t he market and timing .                                                         7          Q.    All r ' g h t. The same question
   8           Q.          Okay.                  again,                   a            8   fa     the plan an alysis where y o                 have the
   9   trustee hire somebody as capable as you to                                       9   differential between the November number
  10   bot h ,       , assess the market and, B, make a                                10   and the January number .                  How much of i t        is
  11   determination as to when to sel                                                      marketable securities versus a                      ope rating
  12                       MR . MORRIS :             Objection to form                 12   busine ss ?
  13           of the ques ion .                                                       13          A.      I do ' t      re c       1 o f the     o     of my
  14           A.          I suppose a trustee coul d .                                14   head .
  15       Q.    And there are bet e r: people or                                      15                MR . DRAP ER :             Le t me ake a
  16   people equally or better than you at                                            16          few-minute b reak .              Can we take a
  17   assessing a market .                       Correct?                             17          ten-minute break here?
  18                       Yes .                                                       18                  THE WITNESS :             Sure.
  19                       MR . MORR S :             Objection to fo rm                19                   (Recess . )
  20           of     he          e     ion .                                          20    'i MR . DRAPER :
  21           Q.          So, again,              et ' s go bac k     o               21                       . Seery , what I am go i ng to
  22   that .       We have accounted for , out of                                     22   show you and what I would ask you to look
  23   $41 million where the liquidation analysis                                      23   at is in the note E,                  in the statement of
  24   increases between the two dates,                                                24   assumptions for the November 2020
  25   $22 million of i t .                      That leaves                           25   disclosure statement .                  It discusses f i xed




                                                                                                                                                  Page A-23
                                                                                                                                                 Appx_0106
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                              Sale of Assets of Affiliates or Controlled Entities


    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


       •   These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
       •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery's Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                                                                                                  Appx_0107
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                                20 Largest Unsecured Creditors


 Name of Claimant                    Allowed Class 8    Allowed Class 9
 Redeemer Committee of the
 Highland Crusader Fund              $136,696,610.00
 UBS AG, London Branch and UBS
 Securities LLC
                                     $65,000,000.00     $60,000,000
 HarbourVest entities                $45,000,000.00     $35,000,000
 Acis Capital Management, L.P. and
 Acis Capital Management GP, LLC     $23,000,000.00
 CLO Holdco Ltd                      $11,340,751.26
 Patrick Daugherty
                                                        $2,750,000 (+$750,000 cash payment
                                     $8,250,000.00      on Effective Date of Plan)
 Todd Travers (Claim based on
 unpaid bonus due for Feb 2009)      $2,618,480.48
 McKool Smith PC                     $2,163,976.00
 Davis Deadman (Claim based on
 unpaid bonus due for Feb 2009)      $1,749,836.44
 Jack Yang (Claim based on unpaid
 bonus due for Feb 2009)             $1,731,813.00
 Paul Kauffman (Claim based on
 unpaid bonus due for Feb 2009)      $1,715,369.73
 Kurtis Plumer (Claim based on
 unpaid bonus due for Feb 2009)      $1,470,219.80
 Foley Gardere                       $1,446,136.66
 DLA Piper                           $1,318,730.36
 Brad Borud (Claim based on unpaid
 bonus due for Feb 2009)             $1,252,250.00
 Stinson LLP (successor to Lackey
 Hershman LLP)                       $895,714.90
 Meta-E Discovery LLC                $779,969.87
 Andrews Kurth LLP                   $677,075.65
 Markit WSO Corp                     $572,874.53
 Duff & Phelps, LLC                  $449,285.00
 Lynn Pinker Cox Hurst               $436,538.06
 Joshua and Jennifer Terry
                                     $425,000.00
 Joshua Terry
                                     $355,000.00
 CPCM LLC (bought claims of
 certain former HCMLP employees)     Several million
 TOTAL:                              $309,345,631.74    $95,000,000




                                                                                   Page A-25
                                                                                   Appx_0108
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                                   Timeline of Relevant Events


 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms "Muck Holdings LLC" in Delaware
 3/15/2021     Debtor files Jan. '21 monthly operating report indicating assets of $3 64 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.

 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms "Jessup Holdings LLC" in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim -Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

   •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
   •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
   •   The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                  Debtor's October 15, 2020 Liquidation Analysis [Doc. 1173-1]


                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [ 1] [2]         198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [ 1O]                               (1,237)           (1,237)
 Class 1 - Jefferies Secured Claim                               -                 -
 Class 2 - Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 - Priority non-tax claims [10]                          (16)              (16)
 Class 4 - Retained employee claims                              -                 -
 Class 5 - Convenience claims [6][10]                            (13,455)          -
 Class 6 - Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 - Convenience claims [8]                                -                 17,940
 Class 6 - Unpaid employee claims                                -                 3,940
 Class 7 - General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 - Subordinated claims                                   no distribution   no distribution
 Class 9 - Class B/C limited partnership interests               no distribution   no distribution
 Class 10 - Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

    •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                                                                                          Appx_0110
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                              Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [ 1] [2]        257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 - Jefferies Secured Claim                              -                  -
    Class 2 - Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 - Other Secured Claims                                 (62)               (62)
    Class 4 - Priority non-tax claims                              (16)               (16)
    Class 5 - Retained employee claims                             -                  -
    Class 6 - PTO Claims [5]                                       -                  -
    Class 7 - Convenience claims [7] [8]                           (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 - General unsecured claims [8] [10]                    273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 - Subordinated claims                                  no distribution    no distribution
    Class 10 - Class B/C limited partnership interests             no distribution    no distribution
    Class 11 - Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

      •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
      •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




2
    Doc. 1895.


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                 Summary of Debtor's January 31, 2021 Monthly Operating Report 3



                                                 10/15/2019            12/31/2020            1/31/2021
    Assets
    Cash and cash equivalents                       $2,529,000           $12,651,000          $10,651,000
    Investments, at fair value                    $232,620,000          $109,211,000        $142,976,000
    Equity method investees                       $161,819,000          $103,174,000        $105,293,000
    mgmt and incentive fee receivable               $2,579,000            $2,461,000           $2,857,000
    fixed assets, net                               $3,754,000            $2,594,000           $2,518,000
    due from affiliates                           $151 ,901,000         $152,449,000        $152,538,000
    reserve against notices receivable                                 ($61,039,000)        ($61,167,000)
    other assets                                   $11,311,000            $8,258,000           $8,651,000
                             Total Assets         $566,513,000         $329,759,000         $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1,176,000            $1,077,000           $1 ,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5 ,195,000          $5,195,000           $5,195,000
                                  Jefferies        $30,328,000                   $0                   $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims               $73,997,000          $73,997,000         $267,607,000
    Partners' Capital                             $396,614,000         $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital       $566,513,000         $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

      •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month's MOR
      •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
      •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


                                                                                                         Page A-29
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                                               Value of HarbourVest Claim



                                      HarbourVest Interest NAV by Month
  9/29/2020                                                                             $2.2.2

 10/31/2020                                                                             $2.4.2

 11/30/2020                                                                             $34.1

 12/31/2020                                                                             $39.3

  1/14/2021                                                                             $41.6

  1/31/2021                                                                             $44.3

  1/28/2021                                                                             $49.7

  3/31/2021                                                                             $50.3

  4/30/2021                                                                             $53.9

  5/31/2021                                                                             $55.9




                                   HarbourVest NAV Value v. Purchase Price
  $60.0



  $50.0



  $40.0



  $30.0



  $20.0



  $10.0



      $-
         C\,C)         C\,C)           C\,C)              C\,C)                Cl,'\,                     ~'\,             Cl,'\,                 ~'\,                 ~'\,
       ~C)           ~C)             ~C)                ~C)                 ~C)                        ~C)               ~C)               "::,."iv\)                ~C)
   ~C)O;         ~~            ~'\,'\,           ~'\,"iv                ~C)'\,                   ~C)r"\,;            \C)'?               C)~                    \C)'-J
  ~              ~             ~                ~                       ~                    ~'b                 '?'\,              '?C)'\                  '?'\,


                                                    ~             NAV   ~ Purchase Price




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                             Estate Value as of August 1, 2021 (in millions) 4
    Asset                                                              Low                        High
    Cash as of 6/30/2021                                               $17.9                      $17.9
                                                      Targa Sale       $37.0                      $37.0
                                                8/1 CLO Flows          $10.0                      $10.0
                                                Uchi Bldg. Sale        $9.0                       $9.0
                                                       Siepe Sale      $3.5                       $3.5
                                                  PetroCap Sale        $3.2                       $3.2
                                        HarbourVest trapped cash       $25.0                      $25.0
    Total Cash                                                         $105.6                     $105.6
    Trussway                                                           $180.0                     $180.0
    Cornerstone (125mm; 16%)                                           $18.0                      $18.0
    HarbourVest CLOs                                                   $40.0                      $40.0
    CCS Medical (in CLOs and Highland Restoration)                     $20.0                      $20.0
    MGM (direct ownership)                                             $32.0                      $32.0
    Multi-Strat (45% of 100mm; MGM; CCS)                               $45.0                      $45.0
    Korea Fund                                                         $18.0                      $18.0
    Celtic (in Credit-Strat)                                           $12.0                      $40.0
    SE Multifamily                                                     $0.0                       $20.0
    Affiliate Notes                                                    $0.0                       $70.0
    Other                                                              $2.0                       $10.0
    TOTAL                                                              $472.6                     $598.6



                                              Assets and Claims
    $700.0
    $600.0   ..   ........._,________

                                            • • • • ~•......•- ........
    $400.0
    $500.0
    $300.0
                     --.     e ~ - - -...~ - - - - -...
                                                                • a--....,,,- JJ:.~---------v
                                                                            -
    $200.0
    $100.0
        $-




4
  Values are based upon historical knowledge of the Debtor's assets (including cross-holdings) and publicly filed
information.


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                           HarbourVest Motion to Approve Settlement [Doc. 1625]
             LSKI ST ANG Z]EHL & JO1 ES LLP
               P rn               r . 143 17 , admit/ d pro /,ac i·ke
   lr .        r,n d     ar 1 • • 109084) admitre pr /we , i e
   J fol A. Jomis ( ·y Bar ·o. 26632 6) (admitredpro h ,"ice
   Gregory V. Demo (N Y Bar i o. 53 i 1992) (admitred pro hac rice)
   Hayl,c y R. Winograd (N'{ Bar , o. 56 J2569) (admirred pro lwc dee)
   10100 Santa foni ,ca Blvd .. 13th F loor
   Los Angeles. ( A 90067
   Telephone: (3 lO) 277-691
   Facsimde: 3 J0 ) 201-0760

   H       Y\! ARD.& ASS O C IA TES P'LLC
   r,,,,--folissa S. Ha)-'\Vard (TX Bar No. 24044908)
   MHayvvard(c"i Hav1,vardf ]nn.c0m
   Zachery Z. Annable {TX Bar No. 24053075)
   ZA n n alb le@, Ha y,vard Finn.com
   I 0501       . Centrn] Expy. Ste. 106
   Dallas, TX 752 31
   Telephone: (972} 755-7 JOO
   Facsim] le: (972) 755-7 11 0

       1111   el.for th D    f r II     Debt r-in -Po e


                             I!\ THE UNITED STATES BANKRUPTCY COURT
                               FOR THE ~ORTHER1"\I DISTRICT OF TEXAS
                                         OAlLAS OIVISlff\1


   ln re:                                                               §      hapt r 11

   HIGHLAND C APITAL r,.,--U.NAOEtv1ENT, LP .. 1                        § Case No. 19-34054-sgj 1 1

                                           D bt ·.


             DEBTOR S l\·IOTION FOR ENTRY OF AN ORDER APPROVING
                               1



       SETTLEi\·IENT \VITH HARBOURVEST (,ClAii\--1 ·os. 143-. 147. 14'9, 150. 153-, 154)
                ANO AUTHORIZI · -G ACTIONS CONSISTE!\T THEREWITH


   TO THE HO ·oRABLE STACEY . C. JER ·1OAN.
   U [TED STATES BA 1 KRU PTCY J   E:



   L Th    I I ~ ur di i           Debt r·s taxpa 1,,; r idemificartun trn mb r r1r-- 725. Th h adqunrt rs nd   ~   rYice dd   s
   fi r lh [kbt r is               nt urt, Sutte 7 , Dall TX 7520 1.




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              Highland Capital Management, LP., the above-captioned debtor and debtor-in-

      possession (.. Highland" or the .. Debtor"), files this motion (the .. Motion") for entry of an order,

      substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

      Rules of Bankruptcy Procedure (the "Bankruptcy Rules''), approving a settlement agreement (the

      "Settlement Agreement"), 2 a copy of which is attached as Exhibit 1 to the Declaration ofJohn A.

      Morris in Support of the Debtor's Motion for Enfl)' of an Order Approving Settlement with

      HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent

      Therewith being filed simultaneously with this Motion ('•Morris Dec."). that. among other things.

      fully and finally resolves the proofs of claim filed by HarbourVest 2017 Global Fund LP ..

      HarbourVest 2017 Global AIF LP .. HarbourVest Dover Street IX Investment LP .. HV

      International VIII Secondary LP., HarbourVest Skew Base AIF LP .• and HarbourVest Partners

      LP. (collectively, .. HarbourVesf'). In support of this Motion, the Debtor represents as follows:

                                                 JURISDICTIO~

                      I.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

      and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

      in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                      2.      The statutory predicates for the relief sought herein are sections 105(a)

      and 363 of title 11 of the United States Code (the ••Bankruptcy Code"). and Rule 9019 of the

      Bankruptcy Rules.




      2
       All capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
      Agreement.

                                                          2



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                                          RELEVANT BACKGROUND

            Procedural Background

                     3.        On October ] 6, 2019 Uhe "Petiition Date' ). the Debtor filed ,a oluntary

  petition for re1 1ief under chapter 1 I of the Bankrnptcy Code frll the Bankrnptcy Court for the

  Di.strict of Delawme, Case          o. 19- 12239 ( CSS) (the ·'Delm~'ar,e Courf').

                     4.        On     t ber 29. 20 J 9. the official committ e fun      ur d r dit        the

  • Committee'') was appointed by the U.S. Trnstee in the Deb,..var,e Court.

                     5.        On Dec,ember 4. 2019. the Defa,vare Court entered an order trnns1Ferring

  venue of the Debtor's case to this Court [Docket No. 186]1. ·'

                               On December 27, 2019. the Debtor fr! d that c rt in 1otion            the D bwr

  or      ppr wd          · Sett! ment H"ith the    1cial Commirtee        Uns    ured Credirors Re ardin

  G01·er1wnce          tit    e I r nd Proo! lures      r Op rations in rhe      rdinary Course [Docket No.

  281] {the ··settlement i\.fotion''). This Court npproved the SetHement J\foti.on on January 9. 10:20

  [Docket    I   o. 339] hhe ··sett]ement Order'') .

                     7.         In conneietion with the 8ettlement Order. an Bndependern: board of

  dir t rs was            n tituted at th,e Debt r's gener I p rtner. Str nd       d is rs. In ..    nd    ertain

  operat ing protocols were instituted.

                     8.        On J u]y 16. 1020. this Court ,entered an order appointing J.ames P. Seery.

  Jr .., as the Debtor' s clhief ex,ecutive offic,er and chi,e f restruduring officer [Docket No. 854].

                               The Debtor h          ntinu d in the p                                     nd h

  continued to operate and manage its business -as a debtor-in-possession pursuant to sections

  l 107(a) and 1108 of the Bankruptcy Code.              1o trustee or e,xmniner has been appoimed in this

  drnpter 1 I case .


  1
      AJI d k l numb                                    lhi   urt.




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 R.             OwrvieYf of HarbourVeSit's Claims

                       J 0.             HarbourVesfs daims against the Debtor's estate arise from its S80 miU1on

  jnves tment in Highland CLO Funding, Dk/a Acis Loan FurTI.d ]ng. Ltd , f 'HCLOF'').. pursuant to

 1,vh1ch Harbo ur Vest obtained a 49 percent interest in HCLOF (the "Investment''). .

                       11 .             ffin brief HarbourVest contends that it vras :frrn1.Jduientiy induced ]nto

 enterlng into the Jnvestment based o n 1he Debtor's m isrepresentat ions and omissions concerning

 cert,ain material facts , indurhng that the D bt r: ( l } faiilled 1o disclose 11:mt it never intended to

 pay       11   arbitration av,,:·md obtained b · a former portfoli o rnanager, 0 .                   iled to disdose that ]t

 engaged in a series of fraudule nt 1nmst~ers for the purpose of preventii.ng the fom1er portfo]io

 manager fr m oil                      tin    n his rbitrati n

       rtf Ii manag,er        f◄   r HCLOF Ilrn.rnediate]y pri r         the ln e tment, ( ) in icat d that the dispute

       ith the      m r p rtfi li             manager      uld n t imp     t in     tmenl actiYitDes,           1d (.4) e. pr       d

 confiderwe in the ability of HClOF to reset or redeem the collaternl]ze·d loan obl igations

 cc LOs' ) under its contirol.
                       12 .             HarbourVest seeks to rescind its Investment and claims damages in excess

                                             n the ries   f fr ud. fr udul,ent inducement, fr udulenl c nc,ealment.

 fraudu l,ent n11sre-present~tDon. negHgernt m isrepresentatDon. and breach of fiduci~ry duty {under

 Guernsey ]mv). and on s]leged viohitions of state securit]es Jmvs '1nd the Rack,eteer lnflruenced

 Corrupt Organizat ion Act ·'RICO') .

                       13 .             Harbour\les.fs aUegations are s.umrrnuized below.-t-




  -1S I I fo r pmpos                             and        an             . th fa ~t • s t fi rth h r in are            ·      ·
  the Harbourl ·"c t R             1             r'         mi            II I Cert in (A) upli ale Cl
 Claim ; C Late-                   ·              ati       in            ability Oaim : and (F) In 11 1
 Cl ims   ck t 1 ·      •




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 C.      Summary of HarbourVest's Factual Allegations

                14.     At the time HarbourVest made its Investment, the Debtor was embroiled

 in an arbitration against Joshua Terry ("'Mr. Terry'"), a former employee of the Debtor and

 limited partner of Acis Capital Management, LP. (''Acis LP"). Through Acis LP. Mr. Terry

 managed Highland's CLO business, including CLO-related investments held by Acis Loan

 Funding, Ltd. (..Acis Funding'').

                15.     The litigation between Mr. Terry and the Debtor began in 2016. after the

 Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

 Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

 ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

 he obtained an award of approximately $8 million (the ·'Arbitration Award") on October 20.

 2017.

                16.     HarbourVest alleges that the Debtor responded to the Arbitration Award

 by engaging in a series of fraudulent transfers and corporate restmcturings. the true purposes of

 which were fraudulently concealed from HarbourVest.

                17.     For example. according to HarbourVest. the Debtor changed the name of

 the target fund from Acis Funding to '"Highland CLO Funding. Ltd." ("'HCLOF'') and ..swapped

 out" Acis LP for Highland HCF Advisor, Ltd. as portfolio manager ( the .. Structural Changes").

 The Debtor allegedly told HarbourVest that it made these changes because of the "reputational

 harm" to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

 that in lieu of redemptions, resetting the CLOs was necessary. and that it would be easier to reset

 them under the .. Highland" CLO brand instead of the Acis CLO brand.

                18.     In addition. HarbourVest also alleges that the Debtor had no intention of

 allowing Mr. Terry to collect on his Arbitration Award. and orchestrated a scheme to '"denude"


                                                 5


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                                                                                              Appx_0119
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  Acis of assets by fraudu ]ently mmsforring virtuaUy alll of its assets and attempting to trnnsfer its

  profitable portfolio rnanage1me11t contracts fo non-Ac1s, Debtor-related entit ies.

                    19 .    Unaware of the fraudulent trnnsfers or the true purposes of the Structural

  Changes. and Jn reliance on representations made by the Debtor, HarbourVest dosed on its

  fowstment in HCILOF on ·overnber 15.2017.

                    20.     Af1ier discovering the transfers that o,cct1rr,e d behveen Highbnd and Acis

    t een           er n De     rnber 20 J7 ti II   ing the .tubitr ti n         ard the "Transfrrs~). n

  January 24,2018- Teny rno,ved for a tiempornry restrn.]n1ng order (the ''TRO') from the Texas

  st tri: c urt n the ground th t the Trn n fi      \ ere pursued fi r the purp se fr ndering               ci LP

  j udgment-proof. T he state court granted the TRO, ernj oin]ng the Debtor from transferring alily

  CLO management contracts or o ther assets a'-'vay from Ac1s LP.

                    21 .    On January 30, 2018, rvk "ferry fi led ]nvo.luntary bankruptcy petitions

  agsililst Acrs LP an d .its general partner. Acis ( ap1ital f'vlanagernent GP. LLC.                 See In re Acis

   apil l Man        em 111, L.P., Case       18-30264-sgj 11 Bank.r.      1   ·,o.   T · . 20 J 8}    nd 111 re    i

    apital       anagem m    P, LLC., Ca      o. l 8-30265 =sgj] 1 ( Banh. N.D. Tex. 2018) c lie ti el ,

  the ·Acis Bankruptcv ( ase' ). The Bankrupt cy Corurt overrnled the Debtor's objection, granted
                                                     1




  the invo]unta ry petitions. and appointed a chapter ] J trustee (the 'Acis Trustee·· ..                    A lkmg

  sequence of events subs,e quent ly transpired. a]] of which rdate to HarbourVest's dairns.

  indudin :

             •   On -f     3 I 201 8. the C urt jssued a u :p me TRO preventing n acti n                            m
                 furtherance of the optional redemptions or other h qu ,idation. of the Ads C LOs.

             •   On June 14. 2018. HCLOF withdre\V opt]onai redemption notices.

             •   The TRO expfred on June 15. 201 . and HClOF not1oed the Acis Trus tee that fr was
                 requesting ' ffll optio n J redemption .




                                                                                                               Page A-37
                                                                                                               Appx_0120
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           •   HCLOF's request was withdrawn on July 6, 2018, and on June 21, 2018, the Acis
               Trustee sought an injunction preventing Highland/HCLOF from seeking further
               redemptions (the .. Preliminary Injunction").

           •   The Court granted the Preliminary Injunction on July 10, 2018, pending the Acis
               Trustee's attempts to confinn a plan or resolve the Acis Bankruptcy.

           •   On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
               for Acis, and held that the Preliminary Injunction must stay in place on the ground
               that the "evidence thus far has been compelling that numerous transfers after the Josh
               Terry judgment denuded Acis of value."

           •   After the Debtor made various statements implicating HarbourVest in the Transfers,
               the Acis Trustee investigated HarbourVest's involvement in such Transfers, including
               extensive discovery and taking a 30(b)(6) deposition of HarbourVest's managing
               director, Michael Pugatch, on November 17, 201 8.

           •   On March 20, 2019. HCLOF sent a letter to Acis LP stating that it was not interested
               in pursuing, or able to pursue, a CLO reset transaction.

   D.      The Parties' Pleadings and Positions Concerning HarbourVest's
           Proofs of Claim

                   22.     On April 8, 2020. HarbourVest filed proofs of claim against Highland that

   were subsequently denoted by the Debtor's claims agents as claim numbers 143, 147, 149, 150,

    153, and I 54, respectively ( collectively. the ""Proofs of Claim"). Morris Dec. Exhibits 2-7.

                   23.     The Proofs of Claim assert, among other things. that HarbourVest suffered

   significant ham1 due to conduct undertaken by the Debtor and the Debtor's employees, including

   "financial harm resulting from (i) court orders in the Acis Bankruptcy that prevented certain

   CLOs in which HCLOF was invested from being refinanced or reset and court orders that

   otherwise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; and (ii) significant

   fees and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g .•

   Morris Dec. Exhibit 2 ~3.

                   24.     HarbourVest also asserted "any and all of its right to payment, remedies.

   and other claims (including contingent or unliquidated claims) against the Debtor in connection

   with and relating to the forgoing hann, including for any amounts due or owed under the various

                                                     7



                                                                                                     Page A-38
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  agreements with the Debtor in corrnectiion with relati.ng to·• the Operat]ve Documents --and any

  and an legal and equitable daims or i:auses of -action relat]ng to the forgoirni harm.'' See. e.g..

  r,,,,forris Dec. Exhibit 2 ~4.

                      25.         Highland subsequent! obj e t d to Ha rbour              t"s Pr ofs o Claim on .the

  grounds drnt they \1'.'ere no-liability d ai ms. [Docket        I   o. 906] (the ·•c ]aim Objection").

                      26.         On September 11. 2020. HarbourVest filedi its Re.sponse. The Response

      rti ul ted pecified laim under U.S . fodernl and s,tate and Gu,e msey law. jnducfo1g cla]m                     ~   r

  fraud. frnudu]ent concealme·nt fraudul ent inducement. fraudul ,ent rnisrepr,esenhHion. negligeilt

  m]srepresemation {coUect]ve ly, the ··Fraud Claims''). U.S. State and Federn[ Securities Law

  Claims Uhe ··securit]es C ]aims"'). viola tions of the Federn] Racketeer Influenced and Corm pt

  Organ]zations Act {"RJCO''). breach of fiduciary duty and misuse of fund assets. and an unfair

  pr,ejiudi,ce dairn under Guerns.-ey la'w {collective]y. \.Vith the Proofs of Claim. the "HarbourVest

  Cl ims'').

                      27.         On October l 8~ 2020~ HarbourVe·st filed tts lvforiott of HarbourVes t

  Fur u nr t Ruf             Of        rhe Fed ral Rules o Bm,/..Tupr y Procedure or T mporm:v                lfmnm e

  o      !aims .for Pwposes o Voting ro             c ept or Reject the Plan [Oode·t           I   o. 1207]1 (the "3018

  ri..fotion   l In ,its   3018 ivlot]on. HarbourVest sought for its Claims to be temporari]y allmved for

      oting purpos,es 1n the -ammrnt of more than $300 mil]ion (based fargely on a theorv of treble

  damages ,1 .

  E.           Settlement mscussfons

                      28 .        ln    t ber. the parti   di cu s,ed the p      ibilit    f resolving the Ru le 3

  Motion .

                      29.         In   ovember. ithe parti,e br       d ned the dis u i ns in n att mpt t re ch

  a global resolut ion of the HarbomVest Claims.                  ht the pursuit thereoC the p,arties and their


                                                             8




                                                                                                                     Page A-39
                                                                                                                     Appx_0122
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        un el part]ctpated in several conference cal]s '-Vhere they engaged in a spirited exchange o

   perspectives concerning the facts and the law.

                        30.      During foHo"v up meet~ngs . the JWrt]es· interests became m r defined.

   Spec]fi,caUy, HarbourV,est sought to maximize its recovery \i,,;·bile fully extracting jtself from the

   Investment ,vhile the Debtor sought to minimize the Harbom\test Cb]nr1s consistent with jts

   percep tions of the facts and lmv.

                          I.       ft r h p rti       ' interests.        me m re          m     • the princi      Is engaged in

   a series of d]r,e ct arrn"s-]ength, telephonic negotiations that u]timately lead to the seUlemem.

   ,:i..-·hose f,erms are sw1rnrnrized be]ow.

   F.        Summarv of SeUfornent T,erms

                        32.      The Settlement A2:reem nt              nt m the follmv]ng m teri l tern, . among

    thers:

             •   H rb urVest sh U tran fer it entire int rest in H( LOF t an enti                                     designated
                 by the Debtor~ 5

             •    H r       t shall receive an allowed. general unsecured, non-pr]ority claim jn the
                           urV
                  am unt f $45 milli n nd hall te it Class 8 )aim in th t m unt t upp rt the
                  Plan~

             •   HarbourVest shall recemve a subordinated. a]imved general unsecured. non-priority
                  I im in the m unt f D5 milli n an sh II te it CI       9 I im in th t m unt t
                 support the Plan:

             •   HarbourVest wiU support confirmat:ion of the Debtor's Plan, ]11cludi11g. but n t
                 li1rut d t . voting it claims in upp rt f the lPlan~

             •   The H r urVest Cl,aims. shall be all \Jed in the aggregate m unt                               $45 milli n f r
                 voting purposes:

             •   Harbour Vest ,..vil] support the Debtor's pursuit of 1ts pending Plan of R,eorgrmization:
                  an

             •   The parties shn]i exchange mutual releases.

   s Thoe N.-' \\' fo r lbrb,)ur -csl· i, -49.9, ., i1 Hnc~t un Il ClUF was cstim.l tcd to lb~ ~lppn.)xim,Hc ly '.L 2 mi llion as   ~)r
   D~a mb r I . 1020.




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  See general(r Morris Dec. Exhibit 1.

                                  BASIS FOR RELIEF REQUESTED

                 33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

  a settlement. providing that:

           On motion by the trustee and after notice and a hearing. the court may
           approve a compromise or settlement. Notice shall be given to creditors. the
           United States trustee. the debtor. and indenture trustees as provided in Rule
           2002 and to any other entity as the court may direct.

  FED. R. BANKR. P. 90 19(a).

                 34.     Settlements in bankruptcy are favored as a means of minimizing litigation,

  expediting the administration of the bankruptcy estate, and providing for the efficient resolution

  of bankruptcy cases. See Myers v. Martin (In re Martin). 91 F.3d 389. 393 (3d Cir. 1996);

  Rivercity v. Herpel (In re Jackson Brewing Co.). 624 F.2d 599. 602 (5th Cir. 1980). Pursuant to

  Bankruptcy Rule 9019(a). a bankruptcy court may approve a compromise or settlement as long

  as the proposed settlement is fair. reasonable. and in the best interest of the estate. See In re Age

  Ref. Inc.. 801 F.3d 530. 540 (5th Cir. 2015). Ultimately...approval of a compromise is within

  the sound discretion of the bankruptcy court." See United States v. A WECO, Inc. (In re A WECO,

  Inc.). 725 F.2d 293. 297 (5th Cir. 1984); Jackson Brewing. 624 F.2d at 602-03.

                 35.     In making this determination. the United States Court of Appeals for the

  Fifth Circuit applies a three-part test. '"with a focus on comparing "the terms of the compromise

  with the rewards of litigation.··· Official Comm. of Unsecured Creditors v. Cajun Elec. Power

  Coop. (In re Cajun Elec. Power Coop.). 119 F.3d 349. 356 (5th Cir. 1997) (citing Jackson

  Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the following

  factors: ""( 1) The probability of success in the litigation. with due consideration for the

  uncertainty of law and fact. (2) The complexity and likely duration of the litigation and any



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  attendant e ' pense inconvenience and d lay. and {3 All other facwrs bearing n the v i d m

  the comprom]se. ,. id. Under the rubr1ic of the third facto r referen,ced • bove. the f]fth Cirieuit ,has

  specified h-vo additional factors drnt bear on the decision to approve a proposed sdt]eme-nt. First.

  the court should consider --rhe paramount i nterest of creditors ,v1ith proper deference to the]r

  reasonable      iews:' Id.: Conn . Gen. L ife ins. Co. v. United Cm. Fin. Corp . (in re                osrer

  lvfortgage Cmp. , 68 f.3d 914. 917 (5th Cir. 1995).. Second. the court should consider the

  "extent to which the settlement JS truly the product of arms-]engtl1 bargaiiJ1ing. nd n t of fraud r

    llusi   n:   Age R . . Inc .. 801 F.     t 540: Fi        / r Mi rt    e   rp. , 8 F. d 11 t 9 J

  omitted).

                    36 .    There js mnplle basis to approv,e the prop sed S,ettlem.e-nt Agree-ment based

   n the Rule 9 19 ti          set fi rth b the ifth Cir uit.

                    3 7.    First. ahhough the De-btor lbel]eves that 1t has valid defonses to the.

  HarbourVest C]ajms. ther is n guarnntee that the Debtor \.vould s1mce-ed in its htigat]on ...vith

  HarbourVest. Indeed. to establish Jts de-fenses . the De-btor would be required to rely, at least in

  part. n the er dibili                                ra    I   h   air d b n ailed int que ti n b U1i

  Court.      J\foreover. it ,.vill be difficult       d]spute that the Transt~ers prec]pitated the Ac~s

  Bankruptc . and. ultimatel , the imp             iti n     f the Bankrnptcy Court's TRO that restri ted

  HC LOFs abiht t reset r r deem the C'L                   and that i at the     f tbe- Harb urV e- t Cl ims.

                    38 .    The econd factor-the complexity. duration. and costs oflitigation-also

  weighs heavily in favor of approv]ng the Settleme-nt Agreement. As this Court is av,,.'ar,e-. the.

  events forming the bas is of the HarbomVest Claims-including the Terry Lit]gation and Ac]s

  8 nkruptcy- pr ce,eded         r •e . r in this C urt and in multiple ther           rum , and h     Ire      y

  cost the Debtor's estate rniHions of do1lars in legal fees. [f the Settlement Agreement is not

   pproved then the, parti,es ·wtlil expend significant resources litigating a host of fact-intensiYe


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  fr udulent statements     nd     m · si ns and whether Harb urV,e t reasonably rel ied on th                 e

  statements and omissions.

                  39 .    Third. approval of the Settlement Agreement is justified by the parnrnmrnt

  interest of er d]tor . Specificall     the settlement \ iH en ble the Debtor t : (a}         id incurrin2'

  substantial litigation costs~ {b) 1n'oid the litigation risk assoc]ated ,..vith HarbomVesf s S300

  mini.on claim: and c through the pfan support pr visions. incr a e the likelih                   d th t th

  Debtor's pending plan of reorganization ;,vii 11 be confirmed .

                 40 .     FinaUy. the Settlement Agr,e ement \Vas unquestionably negotiated at

  ann · -length. The t m1s of the ettlement are the result          f nmner u . ongoing di cu si n and

  negotiations between the parties and their counsel and r,e present ni::ither party's ··best c

  scenario.'' [ndeed . t he Settllernent Agreernent should be approved as a rational exercise of the

  Debtor's business judgment made after due ddiberntion of the facts and cincumstances

  concerning HarbomVesfs CJaims.

                                          NO PRIOR REO UE.ST

                  41 .     o prev1 us reqitest fi r the· re]ief sought here]n has been made to this. r

  any other Court.

                                                 \i OT ICE


                  42 .    Notice       thjs               e ~] en t     the fi H     ing parties    r. in neu

  thereof. to their counsel. jf knmYrn : (a counsel for HarbourVest (b) the Office of the United

  States Trustee; tc) the Office of the United States Attorney for the    I   orthern District of Texas: (d)

  the Debtor'   prin ip l secured parties~ e c un el t the C mmittee: snd (t) partj                requesting

  noli]ce pmsuant to Bankruptcy Ru]e 2002. The Debtor submits that. in light of the nature of the

  relief requested. no other or further notice need be given.

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          WHEREFORE. the Debtor respectfully requests entry of an order. substantially in the

   form attached hereto as Exhibit A. (a) granting the relief requested herein. and (b) granting such

  other relief as is just and proper.



   Dated: December 23. 2020.                 PACHULSKI STANG ZIEHL & JONES LLP

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                                 UBS Settlement [Doc. 2200-1]
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                                        Exhib1t 1
                             Settlement Agreement




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                                    SETTLElvlENT AGREEl\'.IENT

           This Settlement Agreement (the "Agreemenf'') is entered into as of March 30, 2021 ~ by
   and among (i) Highland Capital Management, L.P. CHCMLP't or the "Debtor'~), (ii) Highland
   Credit Opportunities CDO, LP. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
   Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
   the "MSCF Parties,t), (iii) Strand Advisors, Inc. ("Strand~). and (iv) UBS Securities LLC and
   UBS AG London Branch (collectively, ''UBSH).

           Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
   collectively as the "Parties~' and individually as a "Party.n

                                            RECITALS

          WHEREAS~ in 2007, UBS entered into certain contracts with HCMLP and two funds
   managed by HCMLP-Highland CDO Opportunity Master Fund~ L.P. ('~coo Fund~') and
   Highland Special Opportunities Holding Company c~soHC,'~ and together with CDO Fund~ the
   ~~Funds~') related to a securitization transaction (the HKnox Agreemenf');

         WHEREAS~ in 2008, the parties to the Knox Agreement restructured the Knox
   Agreement;

           WHEREAS~ UBS terminated the Knox Agreement and. on February 24~ 2009, UBS
   filed a complaint in the Supreme Court of the State of New York~ County of New York (the
   ustate Court'') against HCMLP and the Funds seeking to recover damages related to the Knox
   Agreementt in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
   L.P., et al., Index No. 650097/2009 (N.Y. Sup. Ct.) (the '~2009 Action");

          WHEREAS,. UBS's lone claim against HCMLP in the 2009 Action for indemnification
   was dismissed in early 2010, and thereafter UBS amended its complaint in the 2009 Action to
   add five new defendants, Highland Financial Partners, L.P. e HFP'.''), Highland Credit Strategies
   Master Funds, L.P. ("Credit-Straf')1 Highland Crusader Offshore Partners, L.P. ("Crusader'.''))
   Muhl-Strat, and Strand1 and to add new c1a1ms for fraudu1ent inducement, fraudulent
   conveyance~tortious interference with contract~alter ego, and general partner l1ability;

           WHEREAS,. UBS filed a new, separate action against HCMLP on June 28, 2010, for,
   inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
   dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P., Index No.
   65075 2/2010 (N.Y. Sup. Ct.) (the ''2010 Action~');

          WHEREAS,. in November 2010, the State Court consolidated the 2009 Action and the
   2010 Action (hereafter referred to as the "State Court Actiont'.'), and on May 11, 2011 ,. UBS filed
   a Second Amended Complaint in the 2009 Action;

           WHEREAS, in 2015'.' UBS entered into settlement agreements with Crusader and Credit-
   Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
   its claims against Crusader and Credit-Strat;




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            WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
     purposes of trial, with the Phase I bench trial deciding UBS ts breach of contract claims against
     the Funds and HCMLP's counterclaims against UBS;

             WHEREAS, on August 7, 20 17, the Funds, along with Highland CDO Opportunity
     Fund, Ltd., Highland CDO Holding Company~ Highland Financial Corp., and HFP, purportedly
     sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
     Assets'~) and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
     ("Sentinel'~) pursuant to a purported asset purchase agreement (the "Purchase Agreemenf');

           WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
     premium on a document entitled "Legal Liability Insurance Polici' (the "Insurance Polici');

           WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
     $100,000,000 for any legal liability resulting from the State Court Action (the ~'Insurance
     Proceeds..);

            WHEREAS, one of the Transferred Assets COO Fund transferred to Sentinel was CDO
     Fund;s limited partnership interests in Multi-Strat (the ''CDOF Interests;t);

             WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
     Multi-Strat for certain cash consideration (together with the CDOF Interests, the '~MSCF
     Interests'')~

            WHEREAS~ the existence of the Purchase Agreement and Insurance Policy were
     unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
     January 2021;

           WHEREAS~ in early February 2021, the Debtor disc1osed the existence of the Purchase
     Agreement and Insurance Policy to UBS;

            WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
     were unknown to UBS;

             WHEREAS, on November 14, 2019 ~ following the Phase I tria], the State Court issued
     its decision determining that the Funds breached the Knox Agreement on December 5~ 2008 and
     dismissing HCMLP~s counterclaims;

            WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
     the redeemed MSCF Interests are currently valued at approximately $32,823 ,423 .50 (the
     "Sentinel RedemptionH);

            WHEREAS, on February 10, 2020~ the State Court entered a Phase I trial judgment
     against the Funds in the amount of $1 ,039,957,799.44 as of January 22, 2020 (the "Phase I
     Judgment");

            WHEREAS, Phase II of the trial of the State Court Action~ includes, inter alia , UBS ts
     claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS's




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                                                                         EXECUTION VERSION

    fraudulent transfer claims against HCMLP~ HFP, and Multi-Strat, and UBS's general partner
    claim against Strand;

           WHEREAS~ on October 16, 2019 ~ HCMLP filed a voluntary petition for relief under
    chapter l l of title 11 of the United States Code (the "Bankruptcy Code") in the United States
    Bankruptcy Court for the District of Delaware (the •~Bankruptcy Case'"). The Bankruptcy Case
    was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
    "Bankruptcy Courtn) on December 4, 2019;

        WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
    HCMLP by HCMLPts bankruptcy filing;

           WHEREAS, on May 11, 2020, UBS~ Multi-Strat, Highland Credit Opportunities CDO,
    Ltd.• and Highland Credit Opporhmities COO Asset Holdings, L.P. (collectively, the ~1May
    Settlement Parties~'), entered into a Settlement Agreement (the -~May Settlement..) pursuant to
    which the May Settlement Parties agreed to the allocation of the proceeds of certain sales of
    assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
    Multi-Straf s actions;

            WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
    the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
    filed by UBS AG London Branch (hereinafter collectively referred to as the "'UBS Claim"). The
    UBS Claim asserts a general unsecured claim against HCMLP for $1,039,957,799.40;

           WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order Directing
    Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
    directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
    Retired Judge A1lan Gropper and Sylvia Mayer (together, the ;·Mediators'~). HCMLP and UBS
    fonna1ly met with the Mediators together and separately on numerous occasions. including on
    August 27, September 2, 3. and 4. and December 17. 2020, and had numerous other informal
    discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

           WHEREAS, on August 7. 2020, HCMLP filed an objec1ion to the UBS Claim [Docket
    No. 928]. Also on August 7, 2020, the Redeemer Committee of the High]and Crusader Fund,
    and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, L1d., and Highland
    Crusader Fund II, Ltd. (collectively, the ~;Redeemer Committee")1 objected to the UBS Claim
    [Docket No. 933]. On September 25, 2020, UBS filed its response to these objections [Docket
    No. 1105]~

            WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
    for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
    on November 6, 2020, UBS opposed these motions [Docket No. 1337];

            WHEREAS~ by Order dated December 9 1 2020, the Bankruptcy Court granted, as set
    forth therein, the motions for partia] summary judgment filed by HCMLP and the Redeemer
    Committee and denied UBS' s request for leave to file an amended proof of claim [Docket No.
    1526];




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           WHEREAS~ on November 6., 2020~ UBS filed UBS's Motion for Temporary Allowance
    of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
    No. 1338] (the "3018 Motion")., and on November 16, 2020, HCMLP and the Redeemer
    Committee each opposed the 3018 Motion [Docket Nos. 1404 and 1409, respectively];

          WHEREAS~ by Order dated December 8, 2020~ the Bankruptcy Court granted the 3018
    Motion and allowed the UBS Claim~ on a temporary basis and for voting purposes only~ in the
    amount of$94,761,076 [Docket No. 1518];

          WHEREAS~ on January 22, 2021, the Debtor filed the Fifth Amended Plan of
    Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
    amended, and as may be further amended, supplemented, or otherwise modified, the "Plan,t);

           WHEREAS~ on March 29, 2021~ the Debtor caused COO Fund to make a claim on the
    Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

            WHEREAS~ on March 29~ 2021) UBS filed an adversary proceeding seeking injunctive
    relief and a motion for a temporary restraining order and preliminary injunction to~ among other
    things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
    Sentinel or any transferee of Sentinel (the ~·Multi-Strat Proceeding'~)) which relief the Debtor, in
    its capacity as Multi-Strat's investment manager and general partner, does not oppose~

           WHEREAS, the Parties wish to enter into this Agreement to settle a11 claims and
    disputes between and among themt to the extent and on the terms and conditions set forth herein,
    and to exchange the mutua] re1eases set forth herein without any admission of fau]t, Jiability or
                                                                      1                                            1

    wrongdoing on the part of any Party~ and

           WHEREAS, this Agreement wi11 be presented to the Bankruptcy Court for approva]
    pursuant to Federal Rule of Bankruptcy Procedure 90 19 C'Ru]e 9019~') and section 363 of the
    Bankruptcy Code;

           NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
    and promises made herein, and other good and valuable consideration, the receipt of which is
    hereby acknow1edged, the Parties agree as follows:

                                                    AGREEMENT

               l,  Settlement of Claims. In full and complete satisfaction of the UBS Released
    Claims (as defined below):

                 (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
    the amount of $65,000,000 against HCMLP~ which sha11 be treated as a Class 8 General
    Unsecured Claim under the Plan; 1 and (ii) a single~subordinated unsecured claim in the amount
    of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
    Unsecured Claim under the Plan.




    l   Capitalized terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                     (b)    Multi-Strat will pay UBS the sum of $18~500~000 (the "Multi-Strat
     PaymenC~) as follows: (i) within two (2) business days after the Order Date~ the May Settlement
     Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
     of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
     in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
     following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
     Payment in immediately available funds on the date that is ten ( 10) business days following the
     Order Date, provided thal for the avoidance of doubt, the amounts held in the Escrow Account
     will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                     (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
     COO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
     within 5 business days of COO Fund actually receiving the Insurance Proceeds from or on behalf
     of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds) take legal action reasonably
     designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
     Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
     assistance to UBS in connection with any legal action UBS takes to recover the Insurance
     Proceeds or to return the Transferred Assets to the Funds to satisfy 1he Phase I Judgment or
     obtain rights to the MSCF interests, including but not limited to the redemption payments in
     connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
     the investigation or prosecution of claims or requests for injunctive relief against the Funds)
     Multi-Strat, Sentinel, James Donderot Isaac Leventon, Scott Ellington, Andrew Dean,
     Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving, and/or any other current or
     fonner employee or director of the Funds or Sentinel and/or any other fonner employee or
     fonner director of any of the HCMLP Parties that is believed to be involved with the Purchase
     Agreementt Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
     potentially fraudulent transfer of assets from the FWlds to Sentinel, excluding the individuals
     listed on the schedule provided to UBS on March 25, 2021 (the ..HCMLP Excluded
     Employees'•)~ (iv) as soon as reasonably practicable, provide UBS with al1 business and trustee
     contacts at the FW1ds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
     Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
     if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
     practicable, provide UBS with a copy of the governing documents, prospectuses~ and indenture
     agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
     Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
     as applicable~ that are in the Debtor's actual possession, custody, or control, (vi) as soon as
     reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
     the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp.~ Aberdeen Loan Funding Ltd,
     Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
     applicable. including information regarding the location and amount of any cash related to those
     entitiest holdings~ in each case only to the extent actually known by the Debtor after reasonable
     inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
     1(c)(vi) or any other assets owned or controlled by the Funds and/or HFP~ including for
     avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
     discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
     reasonably possible to requests by UBS for access to relevant documents and approve as
     promptly as reasonably possible requests for access to relevant documents from third parties as
     needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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     MSCF Interests and any other assets currently or formerly held by the Funds or HFP. including
     without limitation the requests listed in Appendix A (provided. however~ that the provision of
     any such documents or access will be subject to the common interest privilege and will not
     constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
     Debtor's actual possession, custody~ or control; (ix) preserve all documents in HCMLP's
     possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
     Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
     not limited to the documents requested in Appendix A, from 2016 to present, and issue a
     litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
     otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
     and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
     ahead of all other creditors of the Funds and HFP; provided. however~ that~ from and after the
     date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses~ including,
     but not limited to, those fees and expenses for outside consultants and professionals (the
     ~'Reimbursable Expenses•~), in connection with any provision of this Section l(c) in excess of
     $3,000,000 (the '~Expense Cap~~)~ and provided further that, for every dollar UBS recovers from
     the Funds (other than the assets ifelated to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
     Sentinel~ Multi-Strat (other than the amounts set forth in Section l(b) hereof)~ or any other
     person or entity described in Section l(c)(iii) in connection with any claims UBS has that arise
     out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
     Transferred Assets, the MSCF Interests, or the Inslllclnce Proceeds (the '~UBS Recovery~•), UBS
     will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
     incurred by HCMLPt subject to: (I) the occurrence of the Agreement Effective Date and (2)
     UBS~s receipt and review of invoices and time records (which may be redacted as reasonably
     necessary) for outside consultants and professionals in connection with such efforts described in
     this Section I (c), up to but not exceeding the Expense Cap after any disputes regarding the
     Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
     an agreement~ in a manner directed by the Bankruptcy Court; and provided further that in any
     proceeding over the reasonableness of the Reimbursable Expenses~ the losing party shall be
     obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
     that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
     beha]f of or for UBS's benefit pursuant to this Section 1(c) shall be conducted in consultation
     with UBS. including but not limited to the selection of necessary outside consultants and
     professionals to assist in such litigation; and provided further that UBS shall have the right to
     approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
     which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
     UBS's benefit pursuant to this Section 1(c).

                   (d)     Redeemer Appeal.

                           (i)   On the Agreement Effective Date; provided that neither the
     Redeemer Committee nor any entities acting on its behalf or with any assistance from or
     coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
     (as defined below). UBS shall withdraw with prejudice its appeal of the Order Approving
     Debtor ·s Settlement with (A) the Redeemer Committee of the Highland Crwwder Fund (Claim
     No. 72) and (B) the Highland Crusader Funds (Claim No. 81). and Authorizing Actions
     Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                            (ii)    The Parties have stipulated to extend the deadline for the filing of
    any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
    necessary to facilitate this Settlement Agreement.

                   (e)     As of the Agreement Effective Date, the restrictions and obligations set
    forth in the May Settlement~ other than those in Section 7 thereof, shall be extinguished in their
    entirety and be of no further force or effect.

                   (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
    agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                   (g)     On the Agreement Effective Date~ any claim the Debtor may have against
    Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
    shall be automatically transferred to UBS, without any further action required by the Debtor. For
    the avoidance of doubt) the Debtor shall retain any and all other claims it may have against
    Sentinel or any other party~and the recovery related thereto, unrelated to the MSCF Interests.

           2.      Definitions~

                   (a)   ~4Agreement Effective DateH shall mean the date the full amount of the
    Multi-Strat Payment defined in Section 1(b) above, including without limitation the amounts
    held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

                 (b)    HHCM LP Parties~~ shall mean (a) HCMLPi in its individual capacity; (b)
    HCM LPt as manager of Multi-Strat; and (c) Strand.

                  (c)    ..Order Date'~ shall m ean the date of an order entered by the Bankruptcy
    Court approving this Agreement pursuant to a motion filed under Rule 9019 and section 363 of
    the Bankruptcy Code.

                   (d)     .. UBS Parties~' shall mean UBS Securities LLC and UBS AG London
    Branch.

           3.      Releases.

                     (a)    UBS Releases~ Upon the occurrence of the Agreement Effective Date.
    and to the maximum extent pemiitted by law, each of the UBS Parties hereby forever, finally.
    fully, unconditionally, irrevocably, and completely releases. relieves, acquits~ remises,
    exonerates~ forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
    their current and former advisors, attorneys, trustees, directors~ officers, managers, members,
    partners, employees, beneficiariesi shareholders~ agents, participants, subsidiaries, parents,
    affiliatesi successorsi designees, and assigns (each in their capacities as such), except as
    expressly set forth below, and (B) the MSCF Parties and each of their current and former
    advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
    beneficiaries, shareholders, agents~ participants, subsidiaries, parents, affiliates, successors,
    designees, and assigns (each in their capacities as such), except as expressly set forth below, for
    and from any and all claims~ debts, liabilities~ demands, obligations~ promises 1 acts, agreements,
    liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
    damages, injuries~ suits~ actions~ and causes of action of whatever kind or nature, whether known


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     or unknown, suspected or unsuspected, matured or unmatured~ liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation~
     any claims, defenses, and affinnative defenses, whether known or unknown~ including~ without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "UBS Released Claims..)~ provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to ( l) the
     obligations of the HCMLP Parties and MSCF Parties under this Agreement~ including without
     limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
     described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
     respect to the prosecution, enforcement~ collection, or defense of the Phase I Judgment, Purchase
     Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
     the Phase I Judgment, Purchase Agreement~ and/or Insurance Policy by UBS; (3) James Dondero
     or Mark Okada, or any entities~ including without limitation Hunter Mountain Investment Trust,
     Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
     than the HCMLP Parties and MSCF Parties (but for the avoidance of doub~ such releases of the
     HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
     extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
     capacity, including but not limited to as an investor, officer~ trustee~ or director in the HCMLP
     Parties or MSCF Parties)~ (4) Sentinel or its subsidiaries, parents, affiliates, successors,
     designees, assigns, employees~ or directors, including James Dondero, Isaac Leventon, Scott
     Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevill~ Matthew DiOrio, Katie Irving~
     and/or any other current or former employee or director of the Funds or Sentinel and/or any other
     former employee or former director of any of the HCMLP Parties that is believed to be involved
     with the Purchase Agreement~ Insurance Po1icy. MSCF Interests. or Transferred Assets.
     including for any liability with respect to the prosecution 1 enforcement. collection, or defense of
     the Phase I Judgmen4 Purchase Agreement, the MSCF Interests, any potentia11y fraudulent
     transfer of assets from the Funds to Sentinel and/or Insurance Policy~ excluding the HCMLP
     Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
     directly or indirectly (including in its capacity as an investment manager and/or investment
     advisor)~ in any HCMLP-affiliated entity, including without limitation in the Redeemer
     Committee and Credit Strat, and/or in such en1ities' past, present or future subsidiaries and
     feeders funds (the ·'UBS Unrelated Tnves1ments")~ and (6) any actions taken by UBS against any
     person or entity, including any HCMLP Party or MSCF Party~ to enjoin a distribution on the
     Sentinel Redemption or the transfer of any assets currently held by or within the control of COO
     Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
     or entity has standing to pursue or authorize in order to pennit UBS to recover the Insurance
     Proceeds. Transferred Assets, the Phase l Judgment or any recovery against HFP; provided.
     however, that, from and after the date hereof. any out-of-pocket fees or expenses incurred by
     HCMLP in connection with this Section 3(a)(6) wi11 be considered Reimbursable Expenses and
     shall be subject to, and applied against~ the Expense Cap as if they were incurred by HCMLP
     pursuant to Section l (c) subject to the occurrence of the Agreement Effective Date and after any
     disputes regarding such Reimbursable Expenses have been resolved in the manner described in
     Section 1(c).

                    (b)     HCMLP Release. Upon the occurrence of the Agreement Effective Date,
     and to the maximum extent permitted by law. each of the HCMLP Parties hereby forever, finally~
     fully 1 unconditionally, irrevocably, and completely releases. relievesi acquits, remises,
     exonerates~ forever discharges~ and covenants never to sue any of the UBS Parties and each of


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     their current and former advisors, attorneys, trustees, directorsi officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents~ participantsi subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities~ demands, obligationsi promises, acts, agreements, Liens~ losses,
     costs and expenses (including, without limitation, attorneys~ fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether knmvn or
     unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed~ at law or in equity, or statutory or otherwise~ including, without limitation,
     any claims~ defenses, and affirmative defenses, whether known or unknovm, including, without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the '"HCMLP Released Claims,J, provided. however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
     of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
     obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                     (c)     Multi-Strat Release. Upon the occurrence of 1he Agreement Effective
     Date, and to the maximum extent permitted by law~ each of the MSCF Parties hereby forever,
     finally, fully, unconditionally, irrevocably, and completely releases~ relieves, acquits, remises,
     exonerates~ forever discharges~ and covenants never to sue any of the UBS Parties and each of
     their cmrent and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners~ employees, beneficiaries, shareholders~ agents~ participants, subsidiaries, parents,
     affiliates, successors. designees, and assigns (each in their capacities as such), for and from any
     and all claims. debts. liabilities. demands. obligations. promises~ acts. agreements, liens. Josses.
     costs and expenses (inc1uding, without ]imitation~ attorneys' fees and related costs), damages.
     injuries, suits, actions, and causes of action of whatever kind or nature. whether known or
     unknown, suspected or unsuspected, matured or unmatured. liquidated or unliquidated,
     contingent or fixed~ at law or in equity, or statutory or otherwise~ including, without limitation,
     any claims~ defenses, and affirmative defenses ~ whether known or unknown, including~ without
     limitation, those that have been or could have been alleged or asserted in the St.ate Court Action
     or the Bankruptcy Case (collectively. the ~~Multi-Strat Released Claims',), provided. however.
     that notwithstanding anything to the contrary herein, such releases shall not apply to the
     obligations of the UBS Parties tmder this Agreement or Section 7 of the May Settlement.

           4.    No Third Party Beneficiaries. Except for the parties released by this
     Agreement, no other person or entity shall be deemed a third-party beneficiary of this
     Agreement.

             5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
     Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
     by virtue of the prosecution, enforcement, or collection of the Phase I Judgment (collectively, the
     "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
     State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
     assert or pursue any claims that any Controlled State Court Defendant has or may have against
     any of the HCMLP Parties; provided. however. that nothing shall prohibit UBS or a Controlled
     State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
     further~ however~ if and to the extent UBS receives any distribution from any Controlled State
     Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
     Debtor~ subject to the exceptions set forth in Section 3(a)t which distribution is directly


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    attributable to any property the Controlled State Court Defendant receives from the Debtor and
    separate and distinct from property owned or controlled by CDO Fund, SOHC or Multi-Strat,
    then such recovery shall be credited against all amounts due from the Debtor's estate on account
    of the UBS Claim allowed pursuant to Section l(a) of this Agreement~ or if such claim has been
    paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

           6.      Agreement Subiect to Bankruptcy Court Approval.

                    (a)    The force and effect of this Agreement and the Parties' obligations
    hereunder are conditioned in all respects on the approval of this Agreement and the releases
    herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
    Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
    and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
    filed by the Debtor no later than five business days after execution of this Agreement by all
    Parties unless an extension is agreed to by both parties.

           7.      Representations and Warranties.

                    (a)   Each UBS Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the UBS Released Claims and has not soldt transferred~
    or assigned any UBS Released Claim to any other person or entityt and (ii) no person or entity
    other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
    UBS Released C1aim on behalf of~ for the benefit of, or in the name of (whether direct1y or
    derivatively) such UBS Party.

                    (b)    Each HCMLP Party represents and warrants that (i) it has fu11 authority to
    enter into this Agreement and to release the HCMLP Released C1aims and has not so1d,
    transferredt or assigned any HCMLP Released Claim to any other person or entityt and (ii) no
    person or entity other than such HCMLP Party has been1 is~ or will be authorized to bring,
    pursue~ or enforce any HCMLP Released Claim on behalf of, for the benefit of1 or in the name of
    (whether directly or derivatively) such HCMLP Party.

                    (c)    Each MSCF Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the M ulti-Strat Released Claims and has not sold1
    transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
    person or entity other than such MSCF Party has been, is1 or will be authorized to bring~ pursue,
    or enforce any Multi-Strat Re1eased C1aim on beha]f of1 for the benefit of~ or in the name of
    (whether direct1y or derivatively) such MSCF Party.




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             8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
     dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
     or by implication~ as an admission of liabilityi fault~ or wrongdoing by HCMLP, the MSCF
     Parties, Strand~ UBS~ or any other person1 and the execution of this Agreement does not
     constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
     Parties~ Strand, UBS, or any other person.

            9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
     the benefit of each of the Parties and their representatives, successors, and assigns.

             10.     Notice. Each notice and other communication hereunder shall be in writing and
     will, unless otherwise subsequently directed in writing, be delivered by email and overnight
     delivery, as set forth below, and will be deemed to have been given on the date following such
     mailing.

            HCMLP Parties or the MSCF Parties

            Highland Capital Management, L.P.
            300 Crescent Court, Suite 700
            Dallas~ Texas 75201
            Attention: General Counsel
            Telephone No.: 972-628-4100
            E-mail: notices@HighlandCapital.com

            with a copy (which shall not constitute notice) to:

            Pachulski Stang Ziehl & Jones LLP
            Attention: Jeffrey Pomerantz. Esq.
            10100 Santa Monica Blvd .• 13th Floor
            Los Angelest CA 90067
            Telephone No.: 310-277-6910
            E-mai1: jpomerantz@pszjlaw.com

            UBS

            UBS Securities LLC
            UBS AG London Branch
            Attention: Elizabeth Kozlowski, Executive Director and Counsel
            1285 Avenue of the Americas
            New York~ NY 10019
            Telephone No.: 212-713-9007
            E-mail: elizabeth.kozlowski@ubs.com

            UBS Securities LC
            UBS AG London Branch
            Attention: John Lantz, Executive Director
            1285 Avenue of the Americas
            New York~ NY 10019



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             Telephone No.: 212-713-1371
             E-mail: john.lantz@ubs.com

             with a copy {which shall not constitute notice} to:

             Latham & Watkins LLP
             Attention: Andrew Clubok
                         Sarah Tomkowiak
             555 Eleventh Street, NW~ Suite 1000
             Washington, D.C. 20004-1304
             Telephone No.: 202-637-3323
             Email: andrew .clubok@lw.com
                     sarah. tomkowiak.@lw.com

             11.     Advice of Counsel. Each of the Parties represents that such Party has: (a) been
      adequately represented by independent legal counsel of its own choice, throughout all of the
      negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
      the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
      and conditions contained herein without any reservations; and (d) had the opportunity to have
      this Agreement and all the terms and conditions contained herein explained by independent
      connsel, who has answered any and all questions asked of such connsel, or which could have
      been asked of such counsel. including. but not limited to. with regard to the meaning and effect
      of any of the provisions of this Agreement.

              12,    Entire Agreement. This Agreement contains the entire agreement and
      understanding concerning the subject matter of this Agreement, and supersedes and replaces all
      prior negotiations and agreements, written or oral and executed or unexecuted, concerning such
      subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
      attorney for any such Partyt has made any promise, representation, or warranty, express or
      implied, written or oral, not otherwise contained in this Agreement to induce any Party to
      execute this Agreement. The Parties further acknowledge that they are not executing this
      Agreement in reliance on any promise~ representation, or warranty not contained in this
      Agreement, and that any such reliance would be unreasonable. This Agreement wil1 not be
      waived or modified except by an agreement in writing signed by each Party or duly authorized
      representative of each Party.

              13,    No Party Deemed Drafter. The Parties acknowledge that the terms of this
      Agreement are contractual and are the result of ann' s-length negotiations between the Parties
      and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
      of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
      construed against any Party.

            14.    Future Cooperation. The Parties agree to cooperate and execute such further
      documentation as is reasonably necessary to effectuate the intent of this Agreement.

              15.    Counterparts. This Agreement may be executed in counterparts with the same
      force and effect as if executed in one complete document. Each Party's signature hereto will
      signify acceptance of, and agreement to ~ the terms and provisions contained in this Agreement.


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    Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
    originals of this Agreement for any purpose.

            16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
    Agreement will be governed by and will be construed according to the laws of the State of New
    York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
    exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
    thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
    Manhattan, New York~ with respect to any disputes arising from or out of this Agreement. In
    any action to enforce this Agreement, the prevailing party shall be entitled to recover its
    reasonable and necessary attorneys' fees and costs (including experts).

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   IT IS HEREBY AGREED ..

                                     HIGHLAND CAPITAL MANAGEMENT, LP.


                                     By:
                                     Name: _        _,_---=.111~"-"'---'C----"-'----""=-"o~---"'-'--'----,--- -~ -

                                     Its:


                                     HIGHLAND ~-tuLTI STRATEGY CREDIT
                                     FUND,     LP~    ( f/k/a Highland Credit
                                     Opportunities COO, LP.)


                                     By~
                                     Name: _ _ _----=-:~-=-----'----C----'""=c..!.....4---+-=~      - --

                                     Its:


                                     HIGHLAND CRF:OIT OPPORTUNITIES CDO,
                                     Ltd.


                                     8 y;                                                            ~
                                     Name: _ _,_ _ :Lr
                                                   _ w-J.J
                                                       _                  __.._•-----=-----+--'-' - - - --
                                     Its:


                                     HIGHLAND CREDIT OPPORTU~ITIES CDO
                                     ASSET HOLDINGS, L.P.


                                     By;
                                     Name:
                                     Its:
                                                       ~                                         ,0
                                     STRAND ADVISORS, INC.


                                     By:
                                     Name: _ _-1-- - - . . , _ . . ; . . - ~ . . ; , , - i . . . . . . . - - - - -
                                     lts:




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                                     UBS SECURITIES LLC

                                     By:
                                     Name: ::....::....:::=-=-====------------
                                     Its:        Authorized Signatory
                                                   r"J           "-7£   ~
                                     By:         4.~<d/,./( 1-NI~~d~
                                     Name: ~izalieth Kozlowski "
                                     Its:        Authorized Signatory

                                      UBS AG LONDON BRANCH


                                     By:
                                     Name: William Chandler
                                     Its:  Authorized Signatory
                                                    -,
                                     By:     (.., .:,tJi
                                                    ;.;. . =------'_J;_--.........,__ _ __
                                     Name: ~lizahcth Kozlows 1
                                     Its:  Authorized Signatory




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                                                                     EXECUTION VERSION

                                       APPENDIX A
   •    The search parameters (custodians, date ranges, search terms) used to locate the
        documents produced to UBS on February 27, 2021 (and any additional parameters used
        for the previous requests from UBS);
   •    Identity of counsel to, and trustees of, CDO Fund or SOHC;
   •    Current or last effective investment manager agreements for COO FWld and SOHC,
        including any management fee schedulet and any documentation regarding the
        termination of those agreements;
   •    The tax returns for the CDO Fund and SOHC from 2017-present;
   •    Communications between any employees of Sentinel (or its affiliates) and any
        employees of the HCMLP Parties, CDO Fund, SOHC'.> or any of Dondero'.> Leventon'.> or
        Ellington from 2017-present;
   •    Documents or communications regarding or relating to the Purchase Agreement,
        Insurance Policy, or June 30, 2018 Memorandum entitled "Tax Consequences of
        Sentinel Acquisition of HFP/CDO Opportunity Assetf' (the ''Tax Memo'.>')~ including
        without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
        these documents" (iii) board minutes or resolutions regarding or relating to these
        documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
        regarding the asset transfer pursuant to these documents; and (vi) any similar asset
        purchase agreements, capital transfer agreements, or similar agreements;
   •    Documents or communications regarding or relating to the value of any assets
        transferred pursuant to the Insurance Policy or Purchase Agreement, including without
        limitation those assets listed in Schedule A to the Purchase Agreementt from 2017 to
        present, including documentation supporting the $105,6471679 value of those assets as
        listed in the Tax Memo;
   •    Documents showing the organizational structure of Sentinel and its affiliated entities,
        including information on Dondero:os relationship to Sentinel;
   •    Any factual infonnation provided by current or former employees of the HCM LP
        Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
        Agreement, Insurance Policy~ Tax Memo1 and/or transfer of assets pursuant to those
        documents;
   •    Debtor~s settlement agreements with Ellington and Leventon;
   •    Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
        Indenture, dated as of December 20~ 2007, among Greenbriar CLO Ltd., Greenbriar
        CLO Corp., and State Street Bank and Trust Company); and
   •    Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
        those creditors by CDO Fund'.> SOHC, or HFP, including without limitation any debts
        owed to the Debtor.




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                                     Hellman & Friedman Seeded Farallon Capital Management
 OUR FOUNDER



      AETUAN TO ABOUT (/ABOUT/)




 Warren Hellman: One of the good guys

 Warren Hellman was a devoted family man, highly successful businessman, active philanthropist, dedicated musician, arts patron,
 endurance athlete and all-around good guy. Born in New York City in 1934, he grew up in the Bay Area, graduating from the University of
 California at Berkeley. After serving in the U.S. Army and attending Harvard Business School, Warren began his finance career at Lehman
 Brothers, becoming the youngest partner in the firm's history at age 26 and subsequently serving as President. After a distinguished
 career on Wall Street, Warren moved back west and co-founded Hellman & Friedman, building it into one of the industry's leading private
 equity firms.



 Warren deeply believed in the power of people to accomplish incredible things and used his success to improve and enrich the lives of
 countless people. Throughout his career, Warren helped found or seed many successful businesses including Matrix Partners, Jordan
 Management Company, Farallon Capital Management and Hall Capital Partners.



 Within the community, Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
 education, civic life, and public health, including creating and running the San Francisco Free Clinic. Later in life, Warren became an
 accomplished 5-string banjo player and found great joy in sharing the love of music with others. In true form, he made something larger of
 this avocation to benefit others by founding the Hardly Strictly Bluegrass Festival, an annual three-day, free music festival that draws
 hundreds of thousands of people together from around the Bay Area.



 An accomplished endurance athlete, Warren regularly completed 100-mile runs, horseback rides and combinations of the two. He also
 was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 1970s. and is credited with
 helping revitalize the Sugar Bowl ski resort in the California Sierras.



 In short, Warren Hellman embodied the ideal of living life to the fullest. He had an active mind and body, and a huge heart. We are lucky
 to call him our founder. Read more about Warren. (https://hf.com/wp-content/uploads/2015/09/Warren-Hellman-News-Release.pdf)




 SfCl'lfoniCle/SFGate/1.lz Hafalla                      Robert ttol,,.,.,n                                   no . .lOfl


 https://hf.corn/warren-hellman/                                                                                                                     1/2




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                              Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                            Grosvenor Capital Management
      ■ GROSV E NOR




                                                     In 2007, H&F invested in Grosvenor, one of the worfd's l(;lrgesr and most divers1fiedl iildependem
                                                     alt ernative ,3sset manBgement firms The Company offers comprehensive publfc and private markets
                                                     solutions and a broad suite of in11estment and advisory choices that span hedge funds. private equfty,
                                                     and various credit and specialty strategies. Grosvenor specializes in developing customized
                                                     investment programs tailored to each client's speciflic investment goals.



                                                     SfCTOR

                                                     Financial Services



                                                     STATUS

                                                     Past



                                                     www.gcmlp.com (http:t/www.gcmlp.com)




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                                     CORNER OFFICE



                 0
                Julie Segal
                                     ICM Grosvenor to lo Pablic
                                     The SS7 billion alternatives manager ,viii become a public company after merging with a SP,\C backed by
                                     Cantor Fitzgerald.

                                     August 03, 2020




                                                                                                                         Chicago, IL mm Boyle/Bloomberg)




                                     In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                     The Chicago-based alternative investments firm is planning to go public by merging with a
                                     special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                     $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                     investments.


                                     "We have long valued having external shareholders and we wanted to preserve the
                                     accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                     and CEO, said in a statement.


                                     GCM Grosvenor will combine with CF Finance Special Acquisition Corp, a SPAC backed by
                                     Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                     the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                     management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                     has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
 https://www.Tnstltutionalinvestor.com/article/b 1msBf4rt98f1 g/GCM-Grosvenor-to-Go-Publ ic                                                                       1/3




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                                                             Farallon was a Significant Borrower for Lehman



     Case Study - Large Loan Origination
     Debt origination for an affiliate of Simon Property Group Inc. and Farallon Capital Management
                                                                                                                    I ransaction O\'crvicn
         Date                                                       Junt! 2007
                                                                                   ♦   rn June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $32 1
         Asset Class                                                      Retail       million (Lehman portion: $121 million) with JP Morgan to a special purpose affiliate of
         Asset Size                                       1,808,506 Sq. Ft.            a joint venture between Simon Property Group fnc ("Simon") and Farallon Capital
                                                                                       t-..,1anag1:ment ("Farnllo11··1 secured by the shopping center known as Gurnee Mi lls Mall
         Sponsor                    Simon Property Group rnc. /
                                                                                       (the "Property") located in Gurnee, IL
                                  F arallon Capital Management
                                                                                   ♦   The Property consists of a one-story, 200 store discount mega-mall comprised of
         Transaction                                            Refinance
         Type                                                                          1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                                                       Beyond and Kohls among other national retailers. Built in 1991 , the Property underwent
         Total Debt             Lehman Brothtm: $121 million                           a $5 million interior renovation in addition to a $71 million redevelopment between 2004
         Amount                                  JP Morgan: $200 million               and 2005. As of March 2007, the Property had a in-line occupancy of 99.5%.


                                                                                                                    Lehman Brnthers Role
                                                                                   ♦   Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                                                       Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                                                       transaction was approximately $1.64 billion for all of the outstanding common stock, and
                                                                                       approximately $7.9 billion including asswned debt and preferred equity.
                                                                                   ♦   L,:hman and JP l\forg;in ;;ubseqw~ntly co-originated $321 mill ion loan at 79.2% LTV
                                                                                       based on an appraisal completed in March by Cushman & \\iakcfield. Toe Loan was
                                                                                       used to refinance the indebtedness secured by the Property.
 :       .         .   ~    .                         -
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     •   .      ·, ·   '.       : ..- ··,-1- =
                                                                .
                                                                                                                    Sponsorship 0Hn,iew
                                                                      >      .     ♦   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                                                       a diversified portfolio of retail destinations including regional shopping malls and
                                                                                       entertainment centers. They currently own 38 prope rties in the United States totaling 4 7
                                                                                       m illion square feet.



     LEHMAN BROTHERS                                                                                    32




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                                Mr. Seery Represented Stonehill While at Sidley


 Jamt-s P. Seery. Jir.
 John G. Hutch inson
 John J. Lavelle
 Man in 8. Jackson
 I   .              •   LP




     !lorn .l s . or the 1eeri11        roup

 U_ ff OS ATE.SBA KRUPTCYC OURT
 SOUTHER, DlSTR1CT                            "EW YORK


 [n      re;                                                        ha t r 11

 BLOCKBUSTER I               l (.   et al..                       Case       o. 10-14997 ( BRL}

                                          Debtors .                Jtointl     dmini t r d

 ..........- - - - ~ - - - - - - - - - - ~ - - X


      THE BACKSTOP LENDERS~ OBJECTION TO THE i\-IOTION OF L\'l\'llE REGIS TO
     ABANDON CERTAIN CAUSES OF ACTION OR~I~ THE AL TER.t~A TIVE" TO GR,\NT
      STA~DING TO LYi\--IE REGIS TO PURSUE CLAil\·IS ON BEHALiF OF THE ESTA TE

               i.       The Steerlng Group of Sern]or Secured Noteholders \Vho are Backstop Lenders --

 kahn Cap]ta] LP, Monarch Alternative Capital LP. Ow·l Creek A sset tvfanagement LP ..




 Lenders'·} -- hereby file this obj ection (the '·Objection'·) to the rvfotion of Lyme Regis Partners ,

 LLC <''Lyme Regis' '} t                 nd n     rtain Causes   ti n r. in the Ahernative.   t   rant

 Stand]ng to Lyme Regis to Pursue Claims on Behaff of the Estate Hhe " f\-fotion'·) [Docket No .

 593].




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 Stonehill Founder (Motulsky) and Grosvenor's G.C. (Nesler) Were Law School Classmates




                  Over 25 years earlier, here is a group at a
                     party. From the left, Bob Zinn, Dave
                    Lowenthal, Rory Little,      c) ,   J',1{~1   Jon
                   Polansky (in front of Joe), John          o t ii~ ky
                     and Mark Windfeld-Hansen (behind
                  bottle!) Motulsky circulated this photo at
                           the reunion. Thanks John!




                                                                              Page A-67
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         Joseph IH . Nesler (He/ Him)
         General Coum el




             Joseph H~ Nesller {He/ Him).                                Ya lie l aw Sch ool
              3rd
              Ge neral Counsel
              Winnetka, Il linois, United States ·
              Contact info
              500 + connections

             ( 8 Mes sage ) ("Mo:;)


                Open to work
                Chief Compliance Officer and Genera l Co unsel roles.
                See all detai Is




              About
              I have over 38 yea rs of experience represent ing participants in t he investment
              management industry w it h resp ect t o a wid e ran g e of legal an d r,egulatory matters,
              including SEC, DOL, FINRA, and N FA regu lations an d examinations.              ... see more




              Activity
              522 fo llowers

              Posts Joseph H. created, shared, or com mented on in the last 90 days are displayed
              here.




                                                                                                              Page A-68
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                                                                                                            ... ,   - • --- • - •• -



          Joseph !-1. Nes ler (He/ Him)
          General Counsel
                                                                                                ( More) (              8       Message )



                                           Gerrueral Counse l
                                           Dalph a Capita l M ana g em ent, LLC
                                           Aug 2020 -Jul 2021 - 1 yr



                                           Of Cournsel
                                           Wi nsto n & Strawn ILLP
                                           Sep 20 18 - Jul 2020 • 1 yr 11 mos
                                           Greater Chicago Area



                                           Pr1iincipal
                                           The Law Offi ces of Joseph H. Nesler, LLC
                                           Fe b 2016-Aug 2018 • 2 yrs 7 mos



                                           Grosvenor Capital Management, LP.
               ■ • 11()8.'li"E:t,. L.lh'
                                           11 yrs 9 mos


                                           !I ndependent Consultant to, Grosveno,r Capita l! Managiement,
                                           LP.
                                           May 2015 - Dec 2015 • 8 mos
                                           Chicago, Illinois


                                           Genera l Counsel
                                           Apr 2004-Apr 2015 • 11 yrs 1 mo
                                           Ch icago, Illinois

                                           Managing Director, General Counsel nd Chief ComQliance
                                           Officer {April 2004 - April 2015)




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              Investor Communication to Highland Crusader Funds Stakeholders
                                                                                                  Alvarez & Marsal
                                                                                         Manage,im ent. LLC 2 0 29 Ce1
                                                                                                  P ar k East S ui te 2 0 6 (
                                                                                                          A ngeles . CA ·&




      Jul    : 20C1


      Re: Update & Notke of Distribution


      Dear Highland Crusader Funds Stakeholder,

              As     u kn \l. in          er 2020. the B nkru tc Court appr ved a settlem nt                   the·
      R,e deemer Committee's and the Crusmier Funds' claims against Hi £1:hland Capital !\.--fanagement
                                                                                     1




      LP. f" HCJ\.-f ). as a result of which the Redeemer Committee ,vas allowed a genera] unse,cured
      claim of$137 ,       , 1 gains,t Hcr,,,--i nd th Crusader Fun s           r~ allowed a gener I unse-cur d
      claim of $.50.000 against HCJ\.·1 i( collectively. the ··c !aims· ). h1 addition. as part of the sett1ement.
      various interests in ithe C ru der Funds held             HCM and cert in of its affi]i ates r to be
      extinguished (the '·Extinguished [nterests'' . and the Redeemer C ornm]Uee and the Crusader Funds
      r i         g,en ra l r l    from H(        nd       i r b HC          f n claim t distributi n r tees
      that it might othen.vis-e receive from the Crusader Funds (the '·Re·lea5ed Claims" and. collecti vel ..
      w ith the Extinguished Interests., the ' Retained R,ights.· ).

             A timely appea1of the settlement was ta ken lby UBS (the ··UBS Appeal) in the United States
      District our for the orthern Di s.tiri1ct of T exas. Dallas Di is ion. Hov ev r. the B nkrupt  urt
      subseguentily approved a s.ettlemenc bt:"tween HC ,t and UBS. resulting: in dismissal of the UBS
      Appeal with prejudice on June 14. 20:!L

               On April JO. 2( 2 I. th e Crusader Fund~ and the Redeemer C ommiltcc t.:onsummatcd the sale
      o f th1: Claims against HCI\--[ mid lhi.: majority of tiw remaining invesitment.-. held by the Crus~der
      Funds 1t0 Jessup Ho ldings LLC r·Jcssu p·· ) fo r S/ S nnillion in cash. which was Jaid in full lo the
      Crus ader Funds nt c lo3 inr:.      he sale specificall., excluded the rusader Fund in stm nt in
      ' ornerstone Healthcare roup Hold ing Inc. a nd excluded certain sp ified, pm is.ions of the
      settlement agreement 1,,vith HC i\--1 (the ··settlement Agreement"). indud ing. but not limited to. the
      R,i:tained R1ights. The sale fthe Cl ims nd im estments as made ith no hold backs or es cr \i s.

             Th1: salt: lo .le~sup rrc.s ultcd from ~l so l ii.:iWlio n of offors lo rurc huse the C ]aims commenced
      by Al n m.:7 & 1\--fors a I CR F \-'1anag:1:11rie· nt LLC ("A& ---1 CRF.). as Investme nt lvfon ciger uf th e
      Crusad~r Funds . in con~rnhatio n \vith the Rcdc~mer Commilk~. Ultim,itcly. thl' Crus::ide r Funds
      and the R1:d1:1:mer Committee e ntered excl us ive n1:::o li~1lions \i..·ith ks:sup. culminati tlll in th1: sal1:
      to Jessup.

             A&i\--1 C RF. pursuan t t the Phn and Sch me nd \ ]th th                f H use H
      R,e deemer C mmitt and the Board f th                     :l. n              distribul t
       r m the, Jessup tran cti n          8 mil n .             pplic           · hh ·       and ,, ith n
      reserves f◄ r the Extiru.1:u ish ed Claims  the Rdease,d Claims. l n additi n.         tributi n ~ ill
      jnclude apprnxirnately S9.4 million 1n proceeds that ha e been r di tribut d du t th can elfation



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             and ,e, tingl.!l ishm ent th e int r st an shar s in the C ru sad r unds held b HCf\-t Charitabl
             OAF and :E.ames. in connecti on \cV tth 1he- Sett lement Agreement, result ing jn a total gross
             distri bution of $87 .4 million . Distributi ons ,vi H be based on net asset value as. of June 30 . 202 l .

                    Please note that A& ·1 CRF inte nds w mak,e the di stribut,ion b 1 , ire tr nsfer n
             Ju ly 1. 2021 . Plea e nfi rm our , ire ins tructions on or be fo re JiuJy 20, 2021. If th
             re isions to our , ir infonrnnion, pie e u e the att ch d template to pr vide SEI and                    CRF
             your updated infornrn:t ion o n investo r letterhead. Th is ]nformat ion shou [d be sent o n ci r before July
             20 2021 to Alvarez & J\.,fa rsal CRF and SE] at CRFinvestor@alvarezandmarsal.com and AIFS-
             1S Crusader(aJseic.corn. spec ti el .

                    The ,;,,·ire payments wi 11be- made to the- inv es tor bank account o n fi]e "\.Vtt h. an effe ctive- and record
             date of Ju ly L 20~ ] . Should you hav e any questi ons.. please co ntact SEJ or A&M CRiF at th e e- nrni I
             addresses listed abo ve.



   Sin r I ,


   Alvarez & [\-farsal CRF Management. LLC


   By : _    ~ -          -
        St            ner
        i\-fa na ging Director




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                                                                                                                                Ross Tower
            MUN SCH /                                                                                 500 N. Akard Street. Suite 3800
                                                                                                            Dallas. Texas 75201~6659

            HAR DT/                                                                                               Main 214.855.7500
                                                                                                                    Fax 214.855.7584
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                                                                                                                 Direct Dial 214.855.7587
                                                                                                                 Direct Fax 214.978.5359
                                                                                                                 drukavina@munsch.com



                                                              November 3, 2021

            Via E-Mail and Federal Express
            Ms. Nan R. Eitel
            Office of the General Counsel
            Executive Office for U.S. Trustees
            20 Massachusetts Avenue, NW
            8th Floor
            Washington, DC 20530
            Nan.r.Eitel@usdoj.gov

                               Re:   Highland Capital Management, L. P. Bankruptcy Case
                                     Case No. 19-34054 (SGJ) Bankr. N.D. Tex.

            Dear Ms. Eitel:

                     I am a senior bankruptcy practitioner who has worked closely with Douglas Draper (representing
            separate, albeit aligned, clients) in the above-referenced Chapter 11 case. I have represented debtors-
            in-possession on multiple occasions, have served as an adjunct professor of law teaching advanced
            corporate restructuring, and consider myself not only a bankruptcy expert, but an expert on the
            practicalities and realities of how estates and cases are administered and, therefore, how they could be
            manipulated for personal interests. I write to follow up on the letter that Douglas sent to your offices on
            October 4, 2021, on account of additional information my clients have learned in this matter. So that
            you understand, my clients in the case are NexPoint Advisors, L.P. and Highland Capital Management
            Fund Advisors L.P., both of whom are affiliated with and controlled by James Dondero and I write this
                                     1                                                                           1

            letter on their behalf and based on information they have obtained.

                    I share Douglas' view that serious abuses of the bankruptcy process occurred during the
            bankruptcy of Texas-headquartered Highland Capital Management, LP. ("Highland" or the "Debtor'')
            which, left uninvestigated and unaddressed, may represent a systemic issue that I believe would be of
            concern to your office and within your office's sphere of authority. Those abuses include potential insider
            trading and breaches of fiduciary duty by those charged with protecting creditors, understated
            estimations of estate value seemingly designed to benefit insiders and management, gross mistreatment
            of employees who were key to the bankruptcy process, and ultimately a plan aimed at liquidating an
            otherwise viable estate, to the detriment of third-party investors in Debtor-managed funds. To be clear,
            I recognize that the Bankruptcy Court has ruled the way that it has and I am not criticizing the Bankruptcy
            Court or seeking to attack any of its orders. Rather, as has been and will be shown, the Bankruptcy
            Court acted on misinformation presented to it, intentional lack of transparency, and manipulation of the
            facts and circumstances by the fiduciaries of the estate. I therefore wish to add my voice to Douglas'
            aforementioned letter, provide additional information, encourage your investigation, and offer whatever
            information or assistance I can.

                   The abuses here are akin to the type of systemic abuse of process that took place in the
            bankruptcy of Neiman Marcus (in which a core member of the creditors' committee admittedly attempted
            to perpetrate a massive fraud on creditors), and which is something that lawmakers should be concerned

                                                                                                                 EXHIBIT
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Ms. Nan R. Eitel
November 3, 2021
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about, particularly to the extent that debtor management and creditors' committee members are using
the federal bankruptcy process to shield themselves from liability for otherwise harmful, illegal, or
fraudulent acts.

                                                   BACKGROUND

Highland Capital Management and its Founder, James Dondero

        Highland Capital Management, L.P. is an SEC-registered investment advisor co-founded by
James Dondero in 1993. A graduate of the University of Virginia with highest honors, Mr. Dondero has
over thirty years of experience successfully overseeing investment and business activities across a
range of investment platforms. Of note, Mr. Dondero is chiefly responsible for ensuring that Highland
weathered the global financial crisis, evolving the firm's focus from high-yield credit to other areas,
including real estate, private equity, and alternative investments. Prior to its bankruptcy, Highland served
as advisor to a suite of registered funds, including open-end mutual funds, closed-end funds, and an
exchange-traded fund.

       In addition to managing Highland, Mr. Dondero is a dedicated philanthropist who has actively
supported initiatives in education, veterans' affairs, and public policy. He currently serves as a member
of the Executive Board of the Southern Methodist University Cox School of Business and sits on the
Executive Advisory Council of the George W. Bush Presidential Center.

Circumstances Precipitating Bankruptcy

         Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
like many other investment platforms-suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved a group of investors who had
                                                                         11
invested in Highland-managed funds collectively termed the Crusader Funds." During the financial
crisis, to avoid a run on the Crusader Funds at low-watermark prices., the funds' manager temporarily
suspended redemptions, leading investors to sue. That dispute resolved with the formation of an investor
                                 11
committee self-named the Redeemer Committee" and the orderly liquidation of the Crusader Funds,
which resulted in investors' receiving a return of their investments plus a return, as opposed to the 20
cents on the dollar they would have received had their redemption requests been honored when made.

         Despite this successful liquidation, the Redeemer Committee sued Highland again several years
later, claiming that Highland had improperly delayed the liquidation and paid itself fees not authorized
under the parties' earlier settlement agreement. The dispute went to arbitration, ultimately resulting in
an arbitration award against Highland of $189 million (of which Highland expected to make a net
payment of $110 million once the award was confirmed).

        Believing that a restructuring of its judgment liabilities was in Highland's best interest, on October
16, 2019, Highland-a Delaware limited partnership-filed a voluntary petition for relief under Chapter
11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware. 1

       On October 29, 2019, the Bankruptcy Court appointed the Official Committee of Unsecured
Creditors ("Creditors' Committee"). The Creditors' Committee Members (and the contact individuals for
those members) are: (1) The Redeemer Committee of the Highland Crusader Fund (Eric Felton), (2)
Meta a-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch (Elizabeth

1   In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case11 ) 1 Dkt. 1.




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Kozlowski), and (4) Acis Capital Management LP. and Acis Capital Management GP, LLP (Joshua
                                                  1

Terry) .2 At the time of their appointment, creditors agreeing to serve on the Creditors' Committee were
given an Instruction Sheet by the Office of the United States Trustee, instructing as follows:

          Creditors wishing to serve as fiduciaries on any official committee are advised that
          they may not purchase, sell or otherwise trade in or transfer claims against the
          Debtor while they are committee members absent an order of the Court. By
          submitting the enclosed Questionnaire and accepting membership on an official
          committee of creditors, you agree to this prohibition. The United States Trustee
          reserves the right to take appropriate action, including removing the creditor from
          any committee, if the information provided in the Questionnaire is inaccurate, if the
          foregoing prohibition is violated, or for any other reason the United States Trustee
          believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

      In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
Bankruptcy Court unexpectedly transferred the bankruptcy case to the Northern District of Texas, to
Judge Stacey G.C. Jernigan's court.3

           SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                              ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

        From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
pushed to replace Mr. Dondero as the sole director of the Debtor's general partner, Strand Advisors,
Inc. ("Strand"). To avoid a protracted dispute and to facilitate the restructuring, on January 9, 2020, Mr.
Dondero agreed to resign as the sole director, on the condition that he would be replaced by three
independent directors who would act as fiduciaries of the estate and work to restructure Highland's
business so it could continue operating and emerge from bankruptcy as a going concern. As Mr. Draper
previously has explained, the agreement approved by the Bankruptcy Court allowed Mr. Dondero, UBS
(which held one of the largest claims against the estate), and the Redeemer Committee each to choose
one director, and also established protocols for operations going forward. Mr. Dondero chose The
Honorable Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee
chose James Seery. 4

         In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months, but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfortunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland's management was being dominated by one of the

2
    Del. Case, Dkt. 65.
3
  See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket
references are to the docket of the Bankruptcy Court for the Northern District of Texas.
4 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of

Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course,
Dkt. 338; Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of
the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 339.



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independent directors, Mr. Seery (as will be seen, for his self-gain). Shortly after his placement on the
Board, on March 15, 2020, Mr. Seery became de facto Chief Executive Officer, after which he
immediately took steps to freeze Mr. Dondero out of operations completely, to the detriment of
Highland's business and its employees. The Bankruptcy Court formally approved Mr. Seery's
appointment as CEO and Chief Restructuring Officer on July 14, 2020. 5 Although Mr. Seery publicly
represented that his goal was to restructure the Debtors business and enable it to emerge as a going
concern, privately he was engineering a much different plan. Less than two months after Mr. Seery1s
appointment as CEO/CRO, the Debtor filed its initial plan of reorganization, disclosing for the first time
its intention to terminate substantially all employees by the end of 2020 and to liquidate Highland's assets
by 2022. 6

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan"). 7 There
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Court and the Court of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings

        The Regulatory Framework

         As you are aware, one of the most important features of federal bankruptcy proceedings is
                                                  11
transparency. The EOUST instructs that Debtors-in-possession and trustees must account for the
receipt, administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and file periodic reports and summaries of a
debtors business, including a statement of receipts and disbursements, and such other information as
the United States Trustee or the United States Bankruptcy Court requires." See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And Federal Rule
of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession shall file periodic
financial reports of the value, operations, and profitability of each entity that is not a publicly traded
corporation or a debtor in a case under title 11, and in which the estate holds a substantial or controlling
interest." This rule requires the trustee or a debtor in possession to file a report for each non-debtor
affiliate prior to the first meeting of creditors and every six months thereafter until the effective date of a
plan of reorganization. Fed R. Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from
filing reports due prior to the effective date merely because a plan has become effective. 8 Notably, the
U.S. Trustee has the duty to ensure that debtors in possession properly and timely file all required
reports. 28 U.S.C. § 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their

5 See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention
of James P. Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc
Pro Tune to March 15, 2020, Dkt. 854.
6 See Plan of Reorganization of Highland Capital Management, LP. dated August 12, 2020, Dkt. 944.
7 See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

Modified); and (II) Granting Related Relief, Dkt. 1943.
8 After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015. 3 disclosure requirement "for

cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Bankr.
2015.3(d).



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management, and representatives on creditors committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
benefit of the estate.

        In Highland's Bankruptcy, the Regulatory Framework Is Ignored

       Against this regulatory backdrop and on the heels of high-profile bankruptcy abuses like those
                                            1

that occurred in the context of the Neiman Marcus bankruptcy, the Highland bankruptcy offered almost
no transparency to stakeholders. Traditional reporting requirements were ignored. This opened the door
to numerous abuses of process and potential violations of federal law, as detailed below.

        As Mr. Draper already has highlighted, one significant problem in Highland's bankruptcy was the
Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf of itself
or its affiliated entities. Typically, such reports would include information like asset value, income from
financial operations, profits, and losses for each non-publicly traded entity in which the estate has a
substantial or controlling interest. This was very important here, where the Debtor held the bulk of its
value-hundreds of millions of dollars-in non-debtor subsidiaries. The Debtors failure to file the
required Rule 2015.3 reports was brought to the attention of the Debtor, the Bankruptcy Court, and the
U.S. Trustee's Office. During the hearing on Plan confirmation, the Debtor was questioned about the
                                                                     1
failure to file the reports. The sole excuse offered by the Debtor s Chief Restructuring Officer and Chief
Executive Officer, Mr. Seery, was that the task "fell through the cracks. 119 Nor did the Debtor or its counsel
ever attempt to show "cause'} to gain exemption from the reporting requirement. That is because there
was no good reason for the Debtor's failure to file the required reports. In fact, although the Debtor and
the Creditors' Committee often refer to the Debtors structure as a "byzantine empire." the assets of the
estate fall into a handful of discrete investments, most of which have audited financials and/or are
required to make monthly or quarterly net-asset-value or fair-value determinations. 10 Rather than
disclose financial information that was readily available, the Debtor appears to have taken deliberate
and strategic steps to avoid transparency.
                                                                                                                1
        In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly-owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
Committee member had real-time financial information with respect to the affairs of non-debtor affiliates,
which is precisely the type of information that should have been disclosed to the public pursuant to Rule
2015.3. Yet, the fact that the Committee members alone had this information enabled some of them to
trade on it, for their personal benefit.

       The Debtor's management failed and refused to make other critical disclosures as well. As
explained in detail below, during the bankruptcy proceedings, the Debtor sold off sizeable assets without
any notice and without seeking Bankruptcy Court approval. The Debtor characterized these transactions
       11
as the ordinary course of business" (allowing it to avoid the Bankruptcy Court approval process), but

9See Dkt. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21).
10 During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ff the top of [his] head" and
acknowledged that he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh.
A (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).




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they were anything but ordinary. In addition, the Debtor settled the claims of at least one creditor-
former Highland employee Patrick Daugherty-without seeking court approval of the settlement
pursuant to Federal Rule of Bankruptcy Procedure 9019. We understand that the Debtor paid Mr.
                                                                            11
Daugherty $750,000 in cash as part of that settlement, done as a "settlement to obtain Mr. Daugherty's
withdrawal of his objection to the Debtor's plan.

        Despite all of these transparency problems, the Debtor's confirmed Plan contains provisions that
effectively release the Debtor from its obligation to file any of the reports due for any period prior to the
effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court's order of confirmation, which is directly at odds with the
spirit and mandate of the Periodic Reporting Requirements recently adopted by the EOUST and
historical rules mandating transparency. 11

       As will become apparent, because neither the federal Bankruptcy Court nor the U.S. Trustee
advocated or demanded compliance with the rules, the Debtor, its newly-appointed management, and
the Creditors' Committee charged with protecting the interests of all creditors were able to manipulate
the estate for the benefit of a handful of insiders, seemingly in contravention of law.

Debtor And Debtor-Affiliate Assets Were Deliberately Hidden and Mischaracterized

         Largely because of the Debtor's failure to file Rule 2015.3 reports for affiliate entities, interested
parties and creditors wishing to evaluate the worth and mix of assets held in non-Debtor affiliates could
not do so. This is particularly problematic, because during proceedings, the Debtor sold $172 million in
assets, which altered the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In
addition, the estate's asset value decreased by approximately $200 million in a matter of months. Absent
financial reporting, it was impossible for stakeholders to determine whether the $200 impairment in asset
value reflected actual realized losses or merely temporary mark-downs precipitated by problems
experienced by certain assets during the pandemic (including labor shortages, supply-chain issues,
travel interruptions, and the like). Although the Bankruptcy Court held that such sales did not require
Court approval, a Rule 2015.3 report would have revealed the mix of assets and the corresponding
reduction in liabilities of the affiliated or controlled entity-information that was critical in evaluating the
worth of claims against the estate or future investments into it.

        One transaction that was particularly problematic involved alleged creditor HarbourVest, a
private equity fund with approximately $75 billion under management. Prior to Highland's bankruptcy,
HarbourVest had invested $80 million into (and obtained 49.98% of the outstanding shares of) a
Highland fund called Acis Loan Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF''). A
charitable fund called Charitable OAF Fund, LP. f'DAF") held 49.02% member interests in HCLOF, and
the remaining □ 2.00% was held by Highland and certain of its employees. Prior to Highland's bankruptcy
proceedings, a dispute arose between HarbourVest and Highland, in which HarbourVest claimed it was
duped into making the investment because Highland allegedly failed to disclose key facts relating to the
investment (namely, that Highland was engaged in ongoing litigation with former employee, Josh Terry,




11See "Procedures for Completing Uniform Periodic Reports in Non~Smal/ Business Cases Filed Under Chapter
11 of Title 11" (the "Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's financial condition and
business activities" and "to inform creditors and other interested parties of the debtor's financial affairs." 85 Fed.
Reg. 82906.



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which would result in HCLOF's incurring legal fees and costs). HarbourVest alleged that, as a result of
the Terry lawsuit, HCLOF incurred approximately $15 million in legal fees and costs. 12

         In the context of Highland's bankruptcy, however, HarbourVest filed a proof of claim alleging that
it was due over $300 million in damages in the dispute, a claim that bore no relationship to economic
reality. As a result, Debtor management initially valued HarbourVest's claims at $0 a value consistently
                                                                                        1

reflected in the Debtor's publicly-filed financial statements, up through and including its December 2020
Monthly Operating Report. 13 Eventually, however, the Debtor announced a settlement with HarbourVest
which entitled HarbourVest to $45 million in Class 8 claims and $35 million in Class 9 claims. 14 At the
time, the Debtor's public disclosures reflected that Class 8 creditors could expect to receive
approximately 70% payout on their claims, and Class 9 creditors could expect 0.00%. In other words,
HarbourVest's total $80 million in allowed claims would allow HarbourVest to realize a $31.5 million
retum. 15

         As consideration for this potential payout, HarbourVest agreed to convey its interest in HCLOF
to a special-purpose entity ("SPE") designated by the Debtor (a transaction that involved a trade of
securities) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in support of the
settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was $22.5 million.
It later came to light, however, that the actual value of that asset was at least $44 million.

         There are numerous problems with this transaction which may not have occurred with the
requisite transparency. As a registered investment advisor, the Debtor had a fiduciary obligation to
disclose the true value of HarbourVesfs interest in HCLOF to investors in that fund. The Debtor also
had a fiduciary obligation to offer the investment opportunity to the other investors prior to purchasing
HarbourVest's interest for itself. Mr. Seery has acknowledged that his fiduciary duties to the Debtor's
managed funds and investors supersedes any fiduciary duties owed to the Debtor and its creditors in
bankruptcy. Nevertheless, the Debtor and its management appear to have misrepresented the value of
the HarbourVest asset, brokered a purchase of the asset without disclosure to investors, and thereafter
placed the HarbourVest interest into a non-reporting SPE. 16 This meant that no outside stakeholder had
any ability to assess the value of that interest, nor could any outsider possibly ascertain how the
acquisition of that interest impacted the bankruptcy estate. In the absence of Rule 2015.3 reports or
listing of the HCLOF interest on the Debtor's balance sheet, it was impossible to determine at the time
of the HarbourVest settlement (or thereafter) whether the Debtor properly accounted for the asset on its
balance sheet.

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opportunity to purchase the assets. For example:



12 Assuming that HarbourVest were entitled to fraud damages as it claimed, the true amount of its damages was
less than $7.5 million (because HarbourVest only would have borne 49.98% of the $15 million in legal fees).
13 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt.

1949.
14 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
15 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to
Farallon Capital Management-an SEC-registered investment advisor-for approximately $28 million.
16 Even former Highland employee Patrick Daugherty recognized the problematic nature of asset dispositions like

the one involving HarbourVest, commenting that such transactions "have left [Mr. Seery] and Highland vulnerable
to a counter-attack under the [Investment] Advisors Act.» See Ex. B.




                                                                                                Appx_0161
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        •      The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
               today are valued at over $70 million; the Debtor likewise sold $6 million of PTLA shares
               that were taken over less than 60 days later for $18 million.

        •      The Debtor divested interests worth $145 million held in certain life settlements (which
               paid on the death of the individuals covered, whose average age was 90) for $35 million
               rather than continuing to pay premiums on the policies, and did so without obtaining
               updated estimates of the life settlements' value, to the detriment of the fund and investors
               (today two of the covered individuals have a life expectancy of less than one year);

        •      The Debtor sold interests in OmniMax without informing the Bankruptcy Court, without
               engaging in a competitive bidding process, and without cooperating with other funds
               managed by Mr. Dondero, resulting in what we believe is substantially lesser value to
               investors;

        •      The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
               (worth $37 million), again without any process or notice to the Bankruptcy Court or outside
               stakeholders, resulting in what we believe is diminished value for the estate and
               investors.

Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
business," the Debtor's management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors.

       In summary, the consistent lack of transparency throughout bankruptcy proceedings facilitated
sales and deal-making that failed to maximize value for the estate and precluded outside stakeholders
from evaluating or participating in asset purchases or claims trading that might have benefitted the estate
and outside investors in Debtor-managed funds.

The Debtor Reneged on Its Promise to Pay Key Employees, Contrary to Sworn Testimony

        Highland's bankruptcy also diverges from the norm in its treatment of key employees who      1

usually can expect to be fairly compensated for pre-petition work and post-petition work done for the
benefit of the estate. That did not happen here, despite the Debtor's representation to the Bankruptcy
Court that it would.

        By way of background, prior to its bankruptcy, Highland offered employees two bonus plans: an
Annual Bonus Plan and a Deferred Bonus Plan. Under the Annual Bonus Plan, all of Highland's
employees were eligible for a yearly bonus payable in up to four equal installments, at six-month
intervals, on the last business day of each February and August. Under the Deferred Bonus Plan,
Highland's employees were awarded shares of a designated publicly traded stock, the right to which
vested 39 months later. Under both bonus plans, the only condition to payment was that the employee
be employed by Highland at the time the award (or any portion of it) vested.

       At the outset of the bankruptcy proceedings, the Debtor promised that pre-petition bonus plans
would be honored. Specifically, in its Motion For Entry of an Order Authorizing the Debtor to Pay and
Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief, the
Debtor informed the Court that employee bonuses "continue[d] to be earned on a post-petition basis, "
and that "employee compensation under the Bonus Plans [was] critical to the Debtor's ongoing




                                                                                              Appx_0162
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operations and that any threat of nonpayment under such plans would have a potentially catastrophic
impact on the Debtor's reorganization efforts. "17 Significantly, the Debtor explained to the Court that its
operations were leanly staffed, such that all employees were critical to ongoing operations and such that
it expected to compensate all employees. As a result of these representations, key employees continued
to work for the Debtor, some of whom invested significant hours at work ensuring that the Debtor's new
management had access to critical information for purposes of reorganizing the estate.

         Having induced Highland's employees to continue their employment, the Debtor abruptly
changed course, refusing to pay key employees awards earned pre-petition under the Annual Bonus
Plan and bonuses earned pre-petition under the Deferred Bonus Plan that vested post-petition. In fact,
Mr. Seery chose to terminate four key employees just before the vesting date in an effort to avoid
payment, despite his repeated assurances to the employees that they would be "made whole." Worse
still, notwithstanding the Debtor's failure and refusal to pay bonuses earned and promised to these
terminated employees, in Monthly Operating Reports signed by Mr. Seery under penalty of perjury, the
Debtor continued to treat the amounts owed to the employees as post-petition obligations, which the
Debtor continued to accrue as post-petition liabilities even after termination of their employment.

        The Debtors misrepresentations to the Bankruptcy Court and to the employees themselves fly
in the face of usual bankruptcy procedure. As the Fifth Circuit has explained, administrative expenses
                                   111                            11
like key employee salaries are an actual and necessary cost' that provides a "benefit to the state and
               18
its creditors." It is undisputed that these employees continued to work for the Debtor, providing an
unquestionable benefit to the estate post-petition, but were not provided the promised compensation ,
for reasons known only to the Debtor.

        Again, this is not business as usual in bankruptcy proceedings, and if we are to ensure the
continued success of debtors in reorganization proceedings, it is important that key employees be paid
in the ordinary course for their efforts in assisting debtors and that debtor management be made to live
up to promises made under penalty of perjury to the bankruptcy courts.

There Is Substantial Evidence that Insider Trading Occurred

         Perhaps one of the biggest problems with the lack of transparency at every step is that it
facilitated potential insider trading . The Debtor (as well as its advisors and professionals) and the
Creditors' Committee (and its counsel) had access to critical information upon which any reasonable
investor would rely. But because of the lack of reporting, the public did not.

       Mr. Draper's October 4, 2021 letter sets forth in detail the reasons for suspecting that insider
trading occurred, but his explanation bears repeating here. In the context of a non-transparent
bankruptcy proceeding, three of the four members of the Creditors' Committee and one non-committee
member sold their claims to two buyers, Muck Holdings LLC ("Muck") and Jessup Holdings LLC
("Jessup"). The four claims sold comprise the largest four claims in the Highland bankruptcy by a
substantial margin,19 collectively totaling almost $270 million in Class 8 claims and $95 million in Class
9 claims:




17 See Dkt. 177, ,r 25 (emphasis added).
18 Texas v. Lowe (In re H.L.S. Energy Co.), 151 F.3d 434,437 (5th Cir. 1998) (quoting Transamerican Natural
Gas Corp., 978 F .2d 1409, 1416 (5th Cir. 1992)).
19 See Ex. C.




                                                                                                Appx_0163
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     Claimant                        Class 8 Claim     Class 9 Claims         Date Claim Settled
     Redeemer Committee              $136,696,610      N/A                    October 28, 2020
     Acis Capital                    $23,000,000       NIA                    October 28, 2020
     HarbourVest                     $45,000,000       $35,000,000            January 21, 2021
     UBS                             $65,000,000       $60,000,000            May 27, 2021
     TOTAL:                          $269,6969,610     $95,000,000

        Muck is owned and controlled by Farallon Capital Management ciFarallon"), and we believe
Jessup is owned and controlled by Stonehill Capital Management ("Stonehill"). As the purchasers of the
four largest claims in the bankruptcy, Muck (Farallon) and Jessup (Stonehill) will oversee the liquidation
of the reorganized Debtor and the payment over time to creditors who have not sold their claims. These
two hedge funds also will determine the performance bonus due to Mr. Seery for liquidating the estate.
As set forth in the attached balance sheet dated August 31 , 2021, we estimate that the estate today is
worth nearly $600 million, 20 which could result in Mr. Seery's receipt of a performance bonus
approximating $50 million.

       This is concerning because there is substantial evidence that Farallon and Stonehill may have
been provided material, non-public information to induce their purchase of these claims. We agree with
Mr. Draper that there are three primary reasons to believe that non-public information was made
available to facilitate these claims purchases:

         •         The scant publicly-available information regarding the Debtor's estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors' claims;

         •         The information that actually was publicly available ordinarily would have compelled a
                   prudent investor to conduct robust due diligence prior to purchasing the claims;

         •         Yet these claims purchasers spent in excess of $100 million (and likely closer to $150
                   million) on claims, ostensibly without any idea of what they were purchasing.

     Credible information indicates that the claims purchases of Stonehill and Farallon can be
summarized as follows:

        Creditor             Class 8       Class 9    Purchaser                 Purchase Price
        Redeemer            $137.0         $0.0      Stonehill                 $78.021
        ACIS                $23.0          $0.0      Farallon                  $8 .0
        HarbourVest         $45.0          $35.0     Farallon                  $27.0
        UBS                , $65.0         $60.0     Stonehill and Farallon    $50.0




20See Ex. D.
21
  See Ex. E. Because the transaction included "the majority of the remaining investments held by the Crusader
Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.




                                                                                                 Appx_0164
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        An analysis of publicly-available information would have revealed to any potential investor that:

        •       The estate's asset value had decreased by $200 million, from $556 million on October
                16, 2019, to $328 million as of September 30, 2020 (increasing only slightly to $364
                million as of January 31, 2021). 22

        •       Allowed claims against the estate increased by a total amount of $236 million.

        •       Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                claims amount, the ultimate projected recovery for creditors in bankruptcy decreased
                from 87.44% to 62.99% in just a matter of months. 23

No prudent investor or hedge fund investing third-party money would purchase substantial claims out of
the Highland estate based on this publicly-available information absent robust due diligence
demonstrating that the investment was sound.

       As discussed by Mr. Draper, the very close relationships between the claims purchasers, on the
one hand, and the selling Creditors' Committee members and the Debtor's management, on the other
hand also raise red flags. In particular:

        •       Farallon and Stonehill have long-standing, material relationships with the members of the
                Creditors' Committee and Mr. Seery. Mr. Seery formerly was the Global Head of Fixed
                Income Loans at Lehman Bros. until its collapse in 2009. While Mr. Seery was Global
                Head, Lehman Bros. did substantial business with Farallon. After Lehman's collapse, Mr.
                Seery joined Sidley & Austin as co-head of the corporate restructuring and bankruptcy
                group, where he worked with Matt Clemente, counsel to the Creditors' Committee in
                Highland's bankruptcy proceedings.

        •       In addition, Grovesnor, one of the lead investors in the Crusader Funds from the
                Redeemer Committee (which appointed Seery as its independent director) both played a
                substantial role on the Creditors' Committee and is a large investor in Farallon and
                Stonehill. It is unclear whether Grovesnor, a registered investment advisor, notified
                minority investors in the Crusader Funds or Farallon and Stonehill of these facts.

        •       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr. Seery
                assisted Farallon in its acquisition of claims in the Lehman estate, and Farallon realized
                more than $100 million in claims on those trades.




22 Compare Jan. 31, 2021 Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov.
24, 2020) {Dkt. 1473]. The increase in value between September 2020 and January 2021 is attributable to the
Debtor's settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9
Claim of $35 million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which in reality was
worth approximately $44.3 million as of January 31, 2021. See Ex. C. It is also notable that the January 2021
monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value
of $74 million in December 2020.
23
   See Ex. F.



                                                                                                    Appx_0165
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          •           Also while at Sidley, Mr. Seery represented the Steering Committee in the Blockbuster
                      Video bankruptcy; Stonehill (through its Managing Member, John Motulsky) was one of
                      the five members of the Steering Committee.

          •           Mr. Seery left Sidley in 2013 to become the President and Senior Investment Partner of
                      River Birch Capital, a hedge fund founded by his former Lehman colleagues. He left River
                      Birch in October 2017 just before the fund imploded. In 2017, River Birch and Stonehill
                      Capital were two of the biggest note holders in the Toys R Us bankruptcy and were
                      members of the Toys R Us creditors' committee.

I strongly agree with Mr. Draper that it is suspicious that two firms with such significant ties to Mr. Seery
have purchased $365 million in claims. The aggregate $150 million purchase price paid by Farallon and
Stonehill is 56% of all Class 8 claims, virtually the full plan value expected to be realized after two years.
We believe it is worth investigating whether these claims buyers had access to material, non-public
information regarding the actual value of the estate.

        Other transactions occurring during the Highland bankruptcy also reinforce the suspicion that
insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill, used non-public
information obtained incident to the bankruptcy to purchase stock in NexPoint Strategic Opportunities
Fund (NYSE: NHF). a publicly traded, closed-end '40 Act fund with many holdings in common with
assets held in the Highland estate outlined above. Stonehill is a registered investment adviser with $3
billion under management that has historically owned very few equity interests, particularly equity
interests in a closed-end fund. As disclosed in SEC filings, Stonehill acquired enough stock in NHF
during the second quarter of 2021 to make it Stonehill's eighth largest equity position.

         The timing of the acquisitions of claims by Farallon and Stonehill also raises suspicion. For
example, although notices of the transfer of the claims were filed immediately after the confirmation of
the Debtor's Plan and prior to the effective date of the Plan, it seems likely that negotiations began much
earlier. Transactions of this magnitude do not take place overnight and typically require robust due
diligence. Muck was formed on March 9, 2021, more than a month before it filed notice that it was
purchasing the Acis claim. If the negotiation or execution of a definitive agreement for the purchase
began before or contemporaneously with Muck's formation, then there is every reason to believe that
selling Creditors' Committee members and/or Debtor management provided Farallon with critical non-
public information well before the Creditors' Committee members sold their claims and withdrew from
the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others that they purchased the Acis and
HarbourVest claims in late January or early February. This is strong evidence that negotiation and/or
agreements relating to the purchase of claims from Creditors' Committee members preceded the
confirmation of the Debtor's Plan and the resignation of those members from the Committee.

       Likewise, correspondence from the fund adviser to the Crusader Funds indicates that the
Crusader Funds and the Redeemer Committee had "consummated" the sale of the Redeemer
Committee's claims and other assets on April 30 2021, "for $78 million in cash, which was paid in full to
                                                       1

the Crusader Funds at closing." 24 In addition, that there was a written agreement among Stonehill, the
Crusader Funds, and the Redeemer Committee that sources indicate dates back to the fourth quarter
of 2020. That agreement presumably imposed affirmative and negative covenants upon the seller and
granted the purchaser discretionary approval rights during the pendency of the sale. Such an agreement
would necessarily conflict with the Creditors' Committee members' fiduciary obligations.


24   See Ex. E.




                                                                                                 Appx_0166
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        The sale of the claims by the members of the Creditors' Committee also violates the instructions
provided to committee members by the U.S. Trustee that required a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. No such Court approval
                                                                  1
was ever sought or obtained, and the Dallas U.S. Trustee s Office took no action to enforce this
guideline. The Creditors' Committee members were sophisticated entities, and they were privy to inside
information that was not available to other unsecured creditors. For example, valuations of assets placed
into a specially-created affiliated entities such as the assets acquired in the HarbourVest settlement,
                                             1

and valuations of assets held by other entities owned or controlled by the Debtor, were available to the
selling Creditors' Committee members, but not to other creditors or parties-in-interest.

       While claims trading itself is not prohibited, there is reason to believe that the claims trading that
occurred in the Highland bankruptcy violated federal law:

            a)     The selling parties were three of the four Creditors Committee members, and each one
                                                                      1



                   had access to information they received in a fiduciary capacity;

            b)     Some of the information they received would have been available to other parties-in-
                   interest if Rule 2015.3 had been enforced;

            c)     The projected recovery to creditors decreased significantly between the approval of the
                   Disclosure Statement and the confirmation of the Debtor's Plan; and

            d)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   previously affiliated with Highland (and now managed by NexPoint Advisors, L.P.) that is
                   publicly traded on the New York stock exchange.The Debtor's assets and the positions
                   held by the closed-end fund are similar.

Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of the
Estate and Assets of the Estate

        An additional problem in Highland's bankruptcy is that Mr. Seery, as an Independent Director
as well as the Debtor's CEO and CRO, received financial incentives that encouraged claims trading and
dealing in insider information.
                                                                                             1
       Mr. Seery received sizeable compensation for his heavy-handed role in Highland s bankruptcy.
Upon his appointment as an Independent Director in January 2020, Mr. Seery received compensation
from the Debtor of $60,000 per month for the first three months, $50,000 per month for the following
three months, and $30,000 per month for remaining months, subject to adjustment by agreement with
the Debtor. 25 When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he
received additional compensation, including base compensation of $150,000 per month retroactive to
March 2020 and for so long as he served in those roles, as well as a "Restructuring Fee."26 Mr. Seery's
employment agreement contemplated that the Restructuring Fee could be calculated in one of two ways:

          (1)      If Mr. Seery were able to resolve a material amount of outstanding claims against the
                   estate, he would be entitled to $1 million on confirmation of what the Debtor termed a




25
     See Dkt. 339, 1J 3.
26   See Dkt. 854, Ex. 1.




                                                                                                 Appx_0167
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                  "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                  $750,000 upon completion of distributions to creditors under the plan.

          (2)     If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                  "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                  Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                                                     1
                  importantly-a to-be-determined ' contingent restructuring fee" based on "performance
                  under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and provided a powerful economic incentive for Mr. Seery to resolve
creditor claims in any way possible. Notably, at the time of Mr. Seery's formal appointment as CEO/CRO,
he had already negotiated settlements in principle with Acis and the Redeemer Committee, leaving only
the HarbourVest and UBS claims to resolve.

        Further, after the Plan's effective date, as appointed Claimant Trustee, Mr. Seery was promised
compensation of $150,000 per month (termed his "Base Salary"), subject to the negotiation of additional
 90-forward" compensation, including a success fee'' and severance pay. 27 Mr. Seery's success fee
11                                             11



presumably will be based on whether the Plan outperforms what was disclosed in the Plan Analysis. In
other words, Mr. Seery had a financial incentive to grossly understate the value of the estate in public
disclosures, not only to facilitate claims trading and resolution of the biggest claims in bankruptcy (for
purposes of obtaining the larger Case Resolution Fee) but also to ensure that he eventually receives a
large "success fee." Again, we estimate that, based on the estate's nearly $600 million value today, Mr.
Seery's success fee could approximate $50 million.

         One excellent example of the way in which Mr. Seery facilitated claims trading and thereby lined
his own pockets is the sale of UBS's claim. Based on the publicly-available information at the time
Stonehill and Farallon purchased the UBS claim, the purchase made no economic sense. At the time,
the publicly-disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8
creditors and a 0.00% distribution to Class 9 creditors, which would mean believe is that, at the time of
their claims purchase, the estate actually was worth much, much more (between $472-$600 million). If,
prior to their claims purchases, Mr. Seery (or others in the Debtor's management) apprised Stonehill
and Farallon of the true estate value (which was material, non-public information at the time), then the
value they paid for the UBS claim made sense, because they would have known they were likely to
recover close to 100% on Class 8 and Class 9 claims.

        But perhaps the most important evidence of mismanagement of this bankruptcy proceeding and
misalignment of financial incentives is the Debtor's repeated refusal to resolve the estate in full despite
dozens of opportunities to do so. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr. Dondero,
through counsel, already had made 35 offers of settlement that would have maximized the estate's
recovery, even going so far as to file a proposed plan of reorganization. Some of these offers were
valued between $150 and $232 million. And we now believe that as of August 1, 2020, the Debtor's
estate had an actual value of at least $460 million, including $105 million in cash and a $50 million
revolving credit facility. With Mr. Dondero's offer, the Debtor's cash and the credit facility could have
resolved the estate, which would have enabled the Debtor to pay all proofs of claim, leave a residual
estate intact for equity holders, and allow the company to continue to operate as a going concern.


27   See Plan Supplement, 0kt. 1875, § 3.13(a)(i).




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        Nonetheless, neither the Debtor nor the Creditors' Committee responded to Mr. Dondero's offers.
It was not until The Honorable Former Judge D. Michael Lynn, counsel for Mr. Dondero, reminded the
Creditors' Committee counsel that its members had a fiduciary duty to respond that a response was
forthcoming. We believe Mr. Dondero's proposed plan offered a materially greater recovery than what
the Debtor had reported would be the expected Plan recovery. The Creditors' Committee's failure to
timely respond to that offer suggests that Debtor management, the Creditors' Committee, or both were
financially disincentivized from accepting a case resolution offer and that some members of the
Creditors' Committee were contractually constrained from doing so.

        What happened instead was that the Debtor, its management, and the Creditors' Committee
brokered deals that allowed grossly inflated claims and sales of those claims to a small group of investors
with significant ties to Debtor management. In a transparent bankruptcy proceeding, we question
whether any of this could have happened. What we do know is that the Debtor's non-transparent
bankruptcy has ensured there will be nothing left for residual stakeholders, while enriching a handful of
intimately connected individuals and investors.

The Debtor1s Management and Advisors Are Almost Totally Insulated From Liability

        Despite the mismanagement of bankruptcy proceedings, the Bankruptcy Court has issued a
series of orders ensuring that the Debtor and its management cannot not be held liable for their actions
in bankruptcy.

       In particular, the Court issued a series of orders protecting Mr. Seery from potential liability for
any act undertaken in the management of the Debtor or the disposition of its assets:

        •      In its order approving the settlement between the Creditors' Committee and Mr. Dondero,
                                                     11
               the Court barred any Debtor entity from commenc[ing] or pursu[ing] a claim or cause of
               action of any kind against any Independent Director, any Independent Director's agents,
               or any Independent Director's advisors relating in any way to the Independent Director's
               role as an independent director'' unless the Court first (1) determined the claim was a
               "colorable" claim for willful misconduct or gross negligence, and (2) authorized an entity
               to bring the claim. The Court also retained "sole jurisdiction" over any such claim. 28

        •      In its order approving the Debtor's retention of Mr. Seery as its Chief Executive Officer
               and Chief Restructuring Officer, the Court issued an identical injunction barring any
               claims against Mr. Seery in his capacity as CEO/CRO without prior court approval. 29 The
               same order authorized the Debtor to indemnify Mr. Seery for any claims or losses arising
               out of his engagement as CEO/CR0. 30

       Worse still, the Plan approved by the Bankruptcy Court contains sweeping release and
exculpation provisions that make it virtually impossible for third parties, including investors in the
Debtor's managed funds, to file claims against the Debtor, its related entities, or their management. The
Plan's exculpation provisions contain also contain a requirement that any potential claims be vetted and
approved by the Bankruptcy Court. As Mr. Draper already explained, these provisions violate the holding

28 Dkt. 339, ,r 10.
29 Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of
James P. Seery, Jr. as Chief Executive Office, Chief Restructuring Officer, and Foreign Representative Nunc Pro
Tune to March 15, 2020 1 Dkt. 854, 1J 5.
30 Dkt. 854, 1J 4 & Exh. 1.




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of In re Pacific Lumber Co., in which the United States Court of Appeals for the Fifth Circuit rejected
similarly broad exculpation clauses. 31

         The fundamental problem with the Plan's broad exculpation and release provisions has been
brought into sharp focus in recent days, with the filing of a lawsuit by the Litigation Trustee against Mr.
Dondero, other individuals formerly affiliated with Highland, and several trusts and entities affiliated with
Mr. Dondero. 32 Among other false accusations, that lawsuit alleges that the aggregate amount of allowed
claims in bankruptcy was high because the Debtor and its management were forced to settle with various
purported judgment creditors who had engaged in pre-petition litigation with Mr. Dondero and Highland.
But it was Mr. Seery and Debtor's management, not Mr. Dondero and the other defendants, who
negotiated those settlements with creditors in bankruptcy and who decided what value to assign to their
claims. Ordinarily, Mr. Dondero and the other defendants could and would file compulsory counterclaims
against the Debtor and its management for their role in brokering and settling claims in bankruptcy. But
the Bankruptcy Court has effectively precluded such counterclaims (absent the defendants obtaining
the Court's advance permission to assert them) by releasing the Debtor and its management from
virtually all liability in relation to their roles in the bankruptcy case. That is a violation of due process.

        Notably, the U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
Pharma that release and exculpations clauses akin to those contained in Highland's Plan violate both
the Bankruptcy Code and the Due Process Clause of the United States Constitution. 33 In addition, the
U.S. Trustee explained that the bankruptcy courts lack constitutional authority to release state-law
causes of action against debtor management and non-debtor entities. 34 Indeed, it has been the U.S.
Trustee's position that where, as here, third parties whose claims are being released did not receive
notice of the releases and had no way of knowing, based on the applicable plan's language, what claims
were extinguished third-party releases are contrary to law. 35 This position comports with Fifth Circuit
                       1

case law, which makes clear that releases must be consensual, and that the released party must make
a substantial contribution in exchange for any release.

         As a result of the release and exculpation provisions of the Plan, employees and third-party
investors in entities managed by the Debtor who are harmed by actions taken by the Debtor and its
management in bankruptcy are barred from asserting their claims without prior Bankruptcy Court
approval. Those third parties' claims are barred notwithstanding that they were not notified of the
releases and have never been given any information with which to evaluate their potential claims (as
mentioned, the Debtor has not disclosed several major assets sales, nor does the Plan require the
Debtor to disclose post-confirmation asset sales). Conversely, the releases insulate claims purchasers
from the risk of potential actions by investors in funds managed by the Debtor (for breach of fiduciary
                                                                                                1
duty, diminution in value, or otherwise). These releases are directly at odds with investors expectations
and the written documents delivered to and approved by investors when they invest in managed funds-
i.e., that fund managers will act in a fiduciary capacity to maximize investors' returns and that investors
will have recourse for any failure to do so.




31   584 F.3d 229 (5th Cir. 2009).
32 The Plan created a Litigation Sub-Trust to be managed by a Litigation Trustee, whose sole mandate is to file
lawsuits in an effort to realize additional value for the estate.
33 See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation Order,
In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
34 Id. at 26-28.
35 See id. at 22.




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         As an example, the Court approved the settlement of UBS's claim against the Debtor and two
funds managed by the Debtor (collectively referred to as "MultiStrat"). Pursuant to that settlement,
MultiStrat agreed to pay UBS $18.5 million. But the settlement made no sense for several reasons. First,
Highland owns approximately 48% of MultiStrat, so causing MultiStrat to make such a substantial
payment to settle a claim in Highland's bankruptcy necessarily negatively impacted its other non-Debtor
investors. Second, in its lawsuit, UBS alleged that MultiStrat wrongfully received a $6 million payment,
but MultiStrat paid more than three times this amount to settle allegations against it-a deal that made
little economic sense. Finally, as part of the settlement, MultiStrat represented that it was advised by
                               1
"independent legal counsel' in the negotiation of the settlement, a representation that was patently
untrue. 36 In reality, the only legal counsel advising MultiStrat was the Debtor's counsel, who had
economic incentives to broker the deal in a manner that benefited the Debtor rather than MultiStrat and
its investors. 37 If (as it seems) that representation and/or the terms of the UBS/MultiStrat settlement
unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The release and
exculpation provisions in Highland's Plan do not afford third parties any meaningful recourse, even when
they are negatively impacted by misrepresentations of the type contained in the UBS/MultiStrat
                                                                        1
settlement or when their interests are impaired by fund managers failure to obtain fairness opinions to
resolve conflicts of interest.

Bankruptcy Proceedings Are Used As an End-Run Around Applicable Legal Duties

        The UBS deal is but one example of how Highland's bankruptcy proceedings, including the
settlement of claims and claims trading that occurred, seemingly provided a safe harbor for violations of
multiple state and federal laws. For example, the Investment Advisors Act of 1940 requires registered
investment advisors like the Debtor to act as fiduciaries of the funds that they manage. Indeed, the Act
             11
imposes an affirmative duty of 'utmost good faith' and full and fair disclosure of material facts" as part
of advisors' duties of loyalty and care to investors. See 17 C.F.R. Part 275. Adherence to these duties
means that investment advisors cannot buy securities for their account prior to buying them for a client,
cannot make trades that may result in higher commissions for the advisor or their investment firm, and
cannot trade using material, non-public information. In addition, investment advisors must ensure that
they provide investors with full and accurate information regarding the assets managed.

        State blue sky laws similarly prohibit firms holding themselves out as investment advisors from
breaching these core fiduciary duties to investors. For example, the Texas Securities Act prohibits any
registered investment advisor from trading on material, non-public information. The Act also conveys a
private right of action to investors harmed by breaches of an investment advisor's fiduciary duties.

       As explained above, Highland executed numerous transactions during its bankruptcy that may
have violated the Investment Advisors Act and state blue sky laws. Among other things:

        •         Highland facilitated the purchase of HarbourVest's interest in HCLOF (placing that
                  interest in an SPE designated by the Debtor) without disclosing the true value of the
                  interest and without first offering it to other investors in the fund;




36 See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch)
at Ex. 1, §§ 1(b), 11 ; see Appendix, p. A-57.
37
  The Court's order approving the UBS settlement is under appeal in part based on MultiStrat's lack of independent
legal counsel.




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       •       Highland concealed the estate's true value from investors in its managed funds, making
               it impossible for those investors to fairly evaluate the estate or its assets during
               bankruptcy;

       •       Highland facilitated the settlement of UBS's claim by causing MultiStrat, a non-Debtor
               managed entity, to pay $18.5 million to the Debtor, to the detriment of MultiStrat's
               investors; and

       •       Highland and its CEO/CRO, Mr. Seery, brokered deals between three of four Creditors'
               Committee members and Farallon and Stonehill--deals that made no sense unless
               Farallon and Stonehill were supplied material, non-public information regarding the true
               value of the estate.

In short, Mr. Seery effectuated trades that seemingly lined his own pockets, in transactions that we
believe detrimentally impacted investors in the Debtor's managed funds.

                                            CONCLUSION

         The Highland bankruptcy is an example of the abuses that can occur if the Bankruptcy Code and
Bankruptcy Rules are not enforced and are allowed to be manipulated, and if federal law enforcement
and federal lawmakers abdicate their responsibilities. Bankruptcy should not be a safe haven for perjury,
breaches of fiduciary duty, and insider trading, with a plan containing third-party releases and sweeping
exculpation sweeping everything under the rug. Nor should it be an avenue for opportunistic venturers
to prey upon companies, their investors, and their creditors to the detriment of third-party stakeholders
and the bankruptcy estate. My clients and I join Mr. Draper in encouraging your office to investigate,
fight, and ultimately eliminate this type of abuse, now and in the future.

                                                    Best regards,

                                                                        KOPF & HARR, P.C.




                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                             Davor Rukavina, Esq.

DR:pdm




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                                                                                                        Relationships Among Debtor's CEO/CRO, the UCC, and Claims Purchasers
                                                                                                          Provided initial
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                                                                                                          Counsel to                  Counsel to UCC
                                                                                                                                     (Matt Cl eme nte)




                                                                                                                                                                                *Is there an affiliate relationship
                                                                                                                                                                                between Stonehill, Grosvenor, and
                                                                                                                                                                                Farallon? Has it been adequately
                                                                                                                                                                                disclosed to the Court and iQ.vestors?
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                                Debtor Protocols [Doc. 466-1]

        I.    Definitions
              A.     "Court" means the United States Bankruptcy Court for the Northern District of
                     Texas.
              B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                     entity's assets less the value of its liabilities calculated as of the month end prior
                     to any Transaction~ and (B) with respect to a CLO, the CLO,s gross assets less
                     expenses calculated as of the quarter end prior to any Transaction.
              C.     "Non-Discretionary Account', means an accom1t that is managed by the Debtor
                     pursuant to the terms of an agreement providing, among other things, that the
                     ultimate investment discretion does not rest with the Debtor but with the entity
                     whose assets are being managed through the account.
             D.      "Related Entity,t means collectively (A)(i) any non-publicly traded third party in
                     which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                     respect to Messrs. Okada, Scott and Honis:o only to the extent known by the
                     Debtor) has any direct or indirect economic or ownership interest, including as a
                     beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                     Dondero, Mr. Okada:- Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
                     Okada, Scott and Honis:- only to the extent known by the Debtor); (iii) MGM
                     Holdings:- Inc.; (iv) any publicly traded company with respect to which the Debtor
                     or any Related Entity has filed a Form 13D or Form BG; (v) any relative (as
                     defined in Section IO I of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                     each sole]y to the extent reasonably knowable by the Debtor; (vi) the Hunter
                     Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                     person that is an insider of the Debtor under Section l 01 (31) the Bankruptcy
                     Code, including any ~·non-statutory'"' insider; and (viii) to the extent not included
                     in (A)(i)-(vii), any entity included in the Hsting of re1ated entities in Schedule B
                     hereto (the hRelated Entities Listing~'); and (B) the following Transactions,
                     (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                     16.a through 16.e of the Debtor's cash management motion [Del. Docket No. 7];
                     and (y) any Transactions with Charitable DAF Fund~ L.P. (provided, however,
                     that additional parties may be added to this subclause (y) with the mutual consent
                     of the Debtor and the Committee, such consent not to be unreasonably withheld).
              E.     "Stage r' means the time period from the date of execution of a term sheet
                     incorporating the protocols contained below the f'Term Sheef') by all applicable
                     parties until approval of the Tenn Sheet by the Court.
              F.     "Stage T' means the date from the appointment of a Board of Independent
                     Directors at Strand Advisors~ Inc. until 45 days after such appointment, such
                     appointment being effective upon Court approval.
                     ~'Stage r means any date after Stage 2 while there is a Board of Independent
                     Directors at Strand Advisors, Inc.
             H.      "Transactionn means (i) any purchase, sale'.' or exchange of assets, (ii) any lending
                     or borrowing of money, including the direct payment of any obligations of
                     another entity'.' (iii) the satisfaction of any capital call or other contractual



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                    requirement to pay money, including the satisfaction of any redemption requests~
                    (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
              1.     uordinary Course Transaction" means any transaction with any third party which
                     is not a Related Entity and that would otherwise constitute an ,;~ordinary course
                     transaction'.'' under section 363(c) of the Bankruptcy Code.
              J.     ',;Notice''.> means notification or communication in a written format and shall
                     include supporting documents necessary to evaluate the propriety of the proposed
                     transaction.
              K.     ',;Specified Entiti~ means any of the following entities: ACIS CLO 2017-7 Ltd.~
                     Brentwood CLO, Ltd., Gleneagles CLO, Ltd.~ Greenbriar CLO~ Ltd.~ Highland
                     CLO 2018-1 , Ltd.'.' Highland Legacy Limited, Highland Loan Funding V Ltd.,
                     Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.~
                     Rockwall COO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                     Ltd., Westchester CLO, Ltd.:- Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                     Ltd. Eastland CLO, Ltd., Grayson CLO:- Ltd., Highland Credit Opportunities
                     COO Ltd.~ Jasper CLO:- Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.t
                     Red River CLO, Ltd.:- Valhalla CLO, Ltd.
        II.   Transactions involving the (i) assets he]d directly on the Debtor's balance sheet or
              the balance sheet of the Debtor's wholJy-owned subsidiaries, including Jefferies
              Prime Account, and (ii) the Highland Select Equity Fund,. L.P ., Highland Multi
              Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
              A.     Covered Entities: N/ A (See entities above).
              B.     Operating Requirements
                     1.     Ordinary Course Transactions do not require Court approvaJ (All Stages).
                            a)     Stage l and Stage 2: ordinary course determined by the CRO.
                            b)     Stage 3: ordinary course determined by the Debtor.
                     2.     Related Entity Transac1ions
                            a)     Stage l and Stage 2: Transactions with Related Entities require
                                   prior approval of CRO and five business days advance notice to
                                   the Committee and if the Committee objects, the burden is on the
                                   Debtor to seek Court approval , which the Committee agrees may
                                   be sought on an expedited basis.
                            b)     Stage 3:
                                   (1)     Transactions with Related Entities greater than $1,000,000
                                           (either individually or in the aggregate basis on a rolling 30
                                           day period) require five business days advance notice to the
                                           Comm1ttee and if the Committee objects, the burden is on
                                           the Debtor to seek Court approval, which the Committee
                                           agrees may be sought on an expedited basis.




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                                             (2)      Transactions with Related Entities greater than $2,000,000
                                                      (either individually or in the aggregate basis on a rolling 30
                                                      day period) require Court approval, which the Committee
                                                      agrees may be sought on an expedited basis.
                           3.       Third Party Transactions (All Stages)
                                    a)       Except as set forth in (b) and (c) below, Transactions in excess of
                                             $2,000,000 (either individually or in the aggregate basis on a
                                             rolling 30 day period) require three business days advance notice
                                             to Committee and if the Committee objects, the burden is on the
                                             Debtor to seek Court approval, which the Committee agrees may
                                             be sought on an expedited basis.
                                    b)       The Debtor may satisfy any redemption requests from entities that
                                             are not Related Entities without advance notice so long as the
                                             Debtor provides notice of such Transactions to the Connnittee as
                                             soon as reasonably practicable. The Debtor will provide the
                                             Committee with five business days advance notice of any
                                             redemption requests made by and payable to a Related Entity, and
                                             if the Committee objects, the burden is on the Debtor to seek Court
                                             approval, which the Committee agrees may be sought on an
                                             expedited basis.
                                    c)       The Debtor may satisfy margin calls and short covers without
                                             providing the Committee advance notice if the exigencies do not
                                             allow advance notice so long as the Debtor provides notice of such
                                             Transactions to the Committee as soon as reasonably practicable.
                  C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                           showing all Transactions under this category.
          III.    Transactions involving entities the Debtor manages and in which the Debtor holds a
                  direct or indirect interest (other than the entities discussed in Section I above)
                  A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                           all entities the Debtor manages and in which the Debtor holds a direct or indirect
                           interest (other than the entities discussed in Section [ above). 1
                  B.       Operating Reg uirements
                            l.      Ordinary Course Transactions do not require Court approval (All Stages).
                                    a)       Stage l and Stage 2: ordinary course determined by the CRO.
                                    b)       Stage 3: ordinary course determined by the Debtor.
                           2.       Related Entity Transactions



          1
            The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
          entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably pral.--ticable to
          the extent necessary.




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                      a)     Stage 1 and Stage 2: Transactions with Related Entities require
                             prior approval of CRO and five business days advance notice to
                             the Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval~ which the Cammi ttee agrees may
                             be sought on an expedited basis.
                      b)     Stage 3:
                             ( 1)   Transactions with Related Entities greater than $1,000,000
                                    (either individually or in the aggregate basis on a rolling 30
                                    day period) require five business days advance notice to the
                                    Committee and if the Committee objects, the burden is on
                                    the Debtor to seek Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
                             (2)    Transactions with Related Entities greater than $2,000,000
                                    (either individually or in the aggregate basis on a rolling 30
                                    day period) require Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
               3.     Third Party Transactions (All Stages)
                      a)     Except as set forth in (b) and (c) below) Transactions in excess of
                             $2,000,000 (either individually or in the aggregate basis on a
                             rolling 30 day period) require three business days advance notice
                             to Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval, which the Committee agrees may
                             be sought on an expedited basis.
                      b)     The Debtor may satisfy any redemption requests from entities that
                             are not Related Entities without advance notice so long as the
                             Debtor provides notice of such Transactions to the Committee as
                             soon as reasonably practicable. The Debtor will provide the
                             Committee with five business days advance notice of any
                             redemption requests made by and payable to a Related Entity, and
                             if the Committee objects, the burden is on the Debtor to seek Court
                             approval, which the Committee agrees may be sought on an
                             expedited basis.
                      c)     The Debtor may satisfy margin calls and short covers without
                             providing the Committee advance notice if the exigencies do not
                             allow advance notice so long as the Debtor provides notice of such
                             Transactions to the Committee as soon as reasonably practicable.
         C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
               showing all Transactions under this category.




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   IV,      Transactions involving entities that the Debtor manage,s but in which the Debtor
            does not hold a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A inc1udes or will include
                     all entities that the Debtor manages but in which the Debtor does not hold a direct
                     or indirect interest. 2
            B.       Operating Requirements
                     l.       Ordinary Course Transactions do not require Court approval (All Stages).
                              a)       Stage 1 and Stage 2: ordinary course determined by the CRO.
                             b)        Stage 3: ordinary course determined by the Debtor.
                     2.       Related Entity Transactions
                              a)      Stage 1 and Stage 2: Transactions with Related Entities require
                                      prior approval of CRO and five business days advance notice to
                                      the Committee and if the Committee objects, the burden 1s on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                             b)        Stage 3:
                                       ( 1)    Transactions with Related Entities greater than $1,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require five business days advance notice to the
                                               Committee and if the Committee objects, the burden is on
                                               the Debtor to seek Court approvat which the Committee
                                               agrees may be sought on an expedited basis.
                                       (2)      Transactions with Related Entities greater than $2,000,000
                                                (either individua11y or in the aggregate basis on a ro1ling 30
                                                day period) require Court approval~ which the Committee
                                                agrees may be sought on an expedited basis.
                     3.       Third Party Transactions (All Stages):
                              a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                      Transaction involving a Specified Entity and the sale or purchase
                                      by such Specified Entity of an asset that is not an ob1igation or
                                      security issued or guaranteed by any of the Debtor, a Related
                                      Entity or a fund, account, portfolio company owned'" controlled or
                                      managed by the Debtor or a Related Entity, where such
                                      Transaction is effected in compliance with the collateral
                                      management agreement to which such Specified Entity is party,
                                      any Transaction that decreases the NA V of an entity managed by
                                      the Debtor in excess of the greater of (i) 10% of NA V or (ii)
                                      $3,000,000 requires five business days advance notice to

   2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities. shou]d be induded on Schedu1e A. The Debtor will update Schedu1e A as soon as reasonably pra(...-ticable to
   the extent necessary.




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                                       Committee and if the Committee objects, the burden is on the
                                       Debtor to seek Court approval, which the Committee agrees may
                                       be sought on an expedited basis.
                              b)       The Debtor may satisfy any redemption requests from entities that
                                       are not Related Entities without advance notice so long as the
                                       Debtor provides notice of such Transactions to the Committee as
                                       soon as reasonably practicable. The Debtor will provide the
                                       Committee with five business days advance notice of any
                                       redemption requests made by and payable to a Related Entity, and
                                       if the Committee objects, the burden is on the Debtor to seek Court
                                       approval, which the Committee agrees may be sought on an
                                       expedited basis.
                              c)       The Debtor may take such steps as may be reasonably necessary to
                                       winddown any managed entity and make distributions as may be
                                       required in connection with such winddown to any required
                                       parties. The Debtor will provide the Committee with five business
                                       days advance notice of any distributions to be made to a Related
                                       Entity) and if the Committee objects~ the burden is on the Debtor to
                                       seek Court approval, which the Committee agrees may be sought
                                       on an expedited basis.
            C.       Weekly Reporting: The Debtor wi11 provide the Committee with weekly reports
                     showing all Transactions under this category.       Such reports wi11 include
                     Transactions involving a Specified Entity un]ess the Debtor is prohibited from
                     doing so under applicable law or regu]ation or any agreement governing the
                     Debtor~s relationship with such Specified Entity.
    V.      Transactions involving entities that the Debtor does not manage but in which the
            Debtor holds a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                     entities that the Debtor does not manage but in which the Debtor holds a direct or
                     indirect interest. 3
            B.       Ordinary Course Transactions (All Stages): N/A
            C.       Operating Requirements: N/A
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.




    3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
    entities shou]d be inc1uded on Schedu]e A. The Debtor will update Schedu]e A as soon as reasonably pral,."ticable to
    the extent necessary.




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   VI.      Transactions involving entities that the Debtor does not manage and in which the
            Debtor does nol hold a direct or indirect interest
            A.      Covered Entities~ See Schedule A hereto. Schedu]e A includes or wi11 include a11
                    entities that the Debtor does not manage and in which the Debtor does not hold a
                    direct or indirect interest. 4
            B.       Ordinary Course Transactions (All Stages): N/A
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.
   VII.,    Transactions involving Non-Discretionary Accounts
           A.       Covered Entities: See Schedule A hereto. Schedule-A includes or will include all
                    non-discretionary accounts. 5
            B.       Ordinary Course Transactions (All Stages): NIA
            C.      Operating Requirements: NIA
            D.      Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                    Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                    a direct or indirect interest.
   VIII.    Additional Reporting Requirements - All Stages (to the extent applicable)
            A.      DSI will provide detai]ed lists and descriptions of interna] financial and
                    operational contro]s being applied on a dai]y basis for a full understanding by the
                    Committee and its professional advisors three (3) business days in advance of the
                    hearing on the approva] of the Tenn Sheet and detai]s of proposed amendments to
                    said financial and operationa] con1rols no later than seven (7) days prior to their
                    implementation.
            B.      The Debtor will continue to provide weekly budget to actuals reports referencing
                    their 13-week cash flow budget, such reports to be inclusive of all Transactions
                    with Related Entities.
   IX.      Shared Services
            A.       The Debtor shall not modify any shared services agreement without approval of
                     the CRO and Independent Directors and seven business days' advance notice to
                     counsel for the Committee.
            B.      The Debtor may otherwise continue satisfying its obligations under the shared
                    services agreements.

  4
     The Debtor is contjnuing to review the Related Entities List and to determine wheth.er any additional parties or
   entities. shou]d be included on SchcduJc A. The Debtor will update Schedule A as soon as reasonably practicable to
   the ex.tent necessary.
   5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities. shou]d be induded on ScheduJe A. The Debtor will update ScheduJe A as soon as reasonably pra(...ii.cable to
   th.e extent necessary.




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 X.    Representations and Warranties
       A.    The Debtor represents that the Related Entities Listing included as Schedule B
             attached hereto lists al1 known persons and entities other than natural persons
             included in the definitions of Related Entities covered by Section I.D parts A(i)-
             (vii) above at the time of the execution of the Term Sheet.
       B.    The Debtor represents that the list included as Schedule C attached hereto lists all
             known natural persons included in the definitions of Related Entities covered by
             Section I.D parts A(i)-(vii) above at the time of the execution of the Tenn Sheet.
       C.    The Debtor represents that, if at any time the Debtor becomes aware of any
             person or entity, including natural persons, meeting the definition of Related
             Entities covered by Section I.D parts A( l )-( vii) above that is not included in the
             Related Entities Listing or Schedule C, the Debtor shall update the Related
             Entities Listing or Schedule C, as appropriate, to 1nclude such entity or person and
             shall give notice to the Committee thereof.




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                                                     Schedule Al
  Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
               1. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
               2. Dynamic Income Fund (0.26% Ownership Interest)
  Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
  interest
               l. Highland Prometheus Master Fund L.P .
               2. NexAnnuity Life Insurance Company
               3. PensionDanmark
               4. Highland Argentina Regional Opportunity Fund
               5. Longhorn A
               6. Longhorn 8
               7. Collateralized Loan Obligations
                  a) Rockwall II CDO Ltd.
                  b) Grayson CLO Ltd.
                  c) Eastland CLO Ltd.
                  d) Westchester CLO) Ltd.
                  e) Brentwood CLO Ltd.
                  f) Greenbriar CLO Ltd.
                  g) Highland Park CDO Ltd.
                  h) Liberty CLO Ltd.
                  i) G1eneag1es CLO Ltd.
                  j) Stratford CLO Ltd.
                  k) Jasper CLO Ltd.
                  1) Rockwall DCO Ltd.
                  m) Red River CLO Ltd.
                  n) Hi V CLO Ltd.
                  o) Valha1la CLO Ltd.
                  p) Aberdeen CLO Ltd.
                  q) South Fork CLO Ltd.
                  r) Legacy CLO Ltd.
                  s) Pam Capital
                  t) Pamco Cayman
  Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
  interest
               l.   Highland Opportunistic Credit Fund
               2.   Highland Healthcare Opportunities Fund f/k/a Highland L ng/Short Healthcare Fund
               3.   NexPoint Real Estate Strategies Fund
               4.   Highland Merger Arbitrage Fund
               5.   NexPoint Strategic Opportunities Fund
               6.   Highland Small Cap Equity Fund
               7.   Highland Global Allocation Fund

  l'j.   NTD: Schedule A is work in process and may be supplemented or amended.




                                                                                                Page A-11
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         8. Highland Socially Responsible Equity Fund
         9. Highland Income Fund
         10. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
          11 . SE Multifami1y, LLC
   Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
   indirect interest
         l.    The Dugaboy Investment Trust
         2.    NexPoint Capital LLC
         3.    NexPoint Capital, Inc.
         4.    Highland IBoxx Senior Loan ETF
         5.    Highland Long/Short Equity Fund
         6.    Highland Energy MLP Fund
         7.    Highland Fixed Income Fund
         8.    Highland Total Return Fund
          9. NcxPoint Advisors, LP.
          10. Highland Capital Management Services, Inc.
          11. Highland Capital Management Fund Advisors L.P.
          12. ACIS CLO Management LLC
          13. Governance RE Ltd
          14. PCMG Trading Partners XX:lll LP
          15. NexPoint Real Estate Partners~ LLC f/k/a HCRE Partners LLC
          16. NexPoint Real Estate Advisors I I LP
          17. NexPoint Healthcare Opportunities Fund
          l 8. NexPoint Securities
          l 9. Highland Diversified Credit Fund
          20. BB Votorantim High]and Infrastructure LLC
          2 1. ACIS CLO 20 17 Ltd.
   Transactions invo]ving Non-Discretionary Accounts
          l . NexBank SSB Account
          2. Charitable OAF Fund LP




                                                                                     Page A-12
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                                         Schedule B

                   Relat:ed lEntities Listing (other than. natura:t persons)




                                                                               Page A-13
                                                                               Appx_0185
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                                        Sc.h,ed.ul.e C

        1. James Don.dlero
        2.. Mark Okada
        3. Grant. Scott
        4:. John Honis
        S.. Nancy Dondero
        6.. Pamela Okada
        7~ Thomas Surgent
        8.. Scott EUington
        9.. ·Frank w ·aterhouse
        10. Lee (Trey) Parker




                                                                          Page A-14
                                                                         Appx_0186
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                            Seery Jan. 29, 2021 Testimony
                                                                          Page 1
    1   IN THE UNITED STATES BANKRUPTCY COURT

   2    FOR THE NORTHERN DISTRICT OF TEXAS

   3    DALLAS DIVISION

   4    ------------------------------ )

   5    In Re :                      Chapter 11

    6   HIGHLAND CAPITAL             Case No.

   7    MANAGEMENT, LP ,             19-34054-SGJ 11

   8

    9             Debtor

  10

  11

  12

  13      REMOTE DEPOSITION OF ,J AMES P.       SEERY ,     JR ..

  14                   January 29, 202 1

  15                    10:1 1 a . m~ EST

  16

  17



  19

  20

  21

  22

  23
        Reported by:
  24    Debra Stevens, RPR-CRR
        JOB NO . 189212
  25




                                                                          Page A-15
                                                                         Appx_0187
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                                                           Page 2                                                                     fage 3
   l                         January :29, :20:21                     l   MMOTS APPSAFlANCES :
   2                         9:00 a..m. &ST                          2
   3                                                                 3   Heller, Draper, Ha~den, Patric);,              &   Horn

   4               Remote Depo.si tion of JAMES p.                   4   Attorneys for The Dugaboy Inv·@ stment
   5    SEEEI.Y, JEI. . , held via Zoom                              5   Trust. and The Get. Good Tru,.t

   6    conference, before Oebra Stevens,                            6                650 Poydras Street
   "1   RPR/CRR a.nd         ,!.   Nota.ry Public of th@             7                N!!!>l Orl@&rlS, Louisi~n~ 70130

   8    St<1te of New York .                                         e
   9                                                                 9
 IO                                                                 10   BY:         DOUGLAS DRAPER, ESQ
 ll                                                                 11
 12                                                                 12

 u                                                                  13   !'11.CfHJLSKI STANG ZIEBL       i-   JONES
 14                                                                 14   For the Debtor and th@ Witn@ss H@r@in
 15                                                                 15                760 Third Avenue
 16                                                                 16                New 'iork, New 'iork 10017
 1'.l                                                               17   BY:          JOHN HORRIS, ESQ.

 18                                                                 18                JEl?l?RE'i E'CMEAANTZ, ESQ .
 19                                                                 19               GREGORY DEMO, ESQ.
 20                                                                 20                IRA KHARASCH, ESQ.

 :2l                                                                2l
 22                                                                 22

 23                                                                 23
 24                                                                 24                                 tContinu@d)
 25-                                                                25


                                                           Page 4                                                                     Page 5
   1    El.EMOTE APPEARANC&S:             (Continued)                1   REMOTE APPEARANCES:            !Continued!
   2                                                                 2   KING    &   Sl?ALDING
   3    LATHP.M     &    WATKINS                                     3   Attorneys for Highland CLO Funding, Ltd.
   4    Attorneye for UBS                                            4                500 l'le,:it. 2rn;I Street

   5                    885 Thi rd Avenue                            5               Austin, Texas 78701
   6,                   New York , New York 10022                    6   BY,         REBECCA MATSUMURA, ESQ.
   7    B't :           SHANNON McLAUGHLIN , ESQ ,                   7

   B                                                                 8   K&I, GATES

   9    JENNEil.    &    BLOCK                                       9   Attorney,. for Highland Capitoll Management
 10     Attorneys for Redeemer Commit tee of                        10   Fund Advisor:·s, L.I?., et al.:
 11     Hi ghl .!.nd crus .!.der Fund                               11                4350 La:s:site~ at. North Hilb

 1:2                    919' Thi ro;l Avem.1.e                      lZ                 Avenue
 13                     N~W York, N~W York 10022                    13               R!l.l@igh, North c~roliri~ 27609
 14     BY ,            MARC B . HANKIN, ESQ.                       14   BY;         EMILY MATHER, ESQ.

 15                                                                 15
 16,    SIDLEY AUSTIN                                               16   MUNSCH HARDT KOPP         &   HARR

 17     Attorneys for Creditors' Committee                          l7   At.t.ot:neys for Defendants Highland Capital
 18                     2021 McKinn!!'y AV!!'nU@                    18   Ma.na.'J~ment Ptmd Advisors, LP ; N@xPoint
 19                     Dallal;l, Texal;l 7 5201                    19   Advi,.or,., LP; Highland Ini;ome Fund.;

 20     B'f :           PENN':!: P-E.IO , ESQ.                      20   NeK.E'oin t Strategic Opportunities rund c1nd
 21                     MATTHEW CLF.ME~TE, ESQ.                     21   NeKPoinr. Capir.al, I nc.,

 22                     PAIGE MONTGOMERr , ESQ,                     n                 500 N. Akat:d Street
 23                                                                 23               Dallas , Texas 75201-6659
 24                                      (Continued.)               24         BY~   DAVOR RUKAVINA, ESQ+

 25                                                                 25                                        (Continued)




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                                                             Ps1ge 6                                                                                    Ps1ge 7
    L    ['.;EMOTE APP&AP-A.NCES (Continued )                           1    Il.EMOT£ MPEARANCES :           (Continued)
    2                                                                   2

    .3   BONDS ELLIS EPPICH SCHAFER JONES                               .3   WICK PHILLIPS

    4    Attorneys for Jlllll!tS Dondero ,                              4    Attorn@ ys for N@xPo in t R@11l Est11t@

    5    Party-in-Interest                                              5    Partner,.,, NexPoint Real Estate Entitie "'
    6              420 Throckmorton Street                              6    and r.exBank
    i                                                                   7                  100 Throckmorton strt!!t!!t
    a              Fort Worth , Texaa 76102                             8                   Fort Worth, Texa"' 16102

    9    BL        CLAY TAYLOR, ESQ.                                    9    B'n            IJHJREN DRAWHORN, ESQ.

  10               J OHN BONDS , ll.SQ .                               10

   ll              BP.'tAN A$SINK., ESQ.                               11    ~oss    ,5:   SMITH

  12                                                                   12    Atto-rnt!!y:!; for S@nior Employ@!!!:!; ,             Scott

   13                                                                  i:J   Ellington , Isaac Leventon , Tbomo1s Sui-gent,
  14     BAKER McKENZ I E                                              14    Frank wat@ rhouse
   15    Attorney~ for Senior Employee a                               15                   700 N. Pearl Street
   16              L<JOO North Fear l Street                           16                   Oall as, Texa 6 75201
  17                                                                   17    BYt           FRANCES SMITH , ESQ .

   HI              Dalla1a1 , rexa1a1 7520 L                           18
  19     BY:       MICHELLE. HARTMANN, ESQ.                            19
  20               DEBRA Di\NDEREAU, ll.SQ .                           20

  21                                                                   21
  22                                                                   22

  2.3                                                                  2:3
  24                               (Continued)                         24
  25                                                                   25


                                                             Page 8                                                                                     l'age 9
    1                                                                   1
    2             EX AM INATIONS
                                                                        2                     COURT REPORTER .      Hy n .-me is
    3    WITNESS                                  PAGE
    4    JAMES SEER'i                                                   3           Debra Stev@ns , court r@port@r for TSG
    5      By Mr. Draper                                 9              4           Reporting and notary public -of the
    6      By Mr. Taylor                             75
    7      By Mr. Rukavina                          165
                                                                        s           State of New York .          Due to the
    6      By Mr . Or aper                          2l7                 6           severity of the COVID- 19 pandemic and
    9
                                                                        7           fQ-llowing the pn11ctice 1:tf la'ocit11l
                            E X H I B I T S
  10     SEE['.;'t OW                                                   8           dis tancing, I will not. b@ in th@ sam-e
         E:<HIBIT         OESCP-.U'TION           FAG£                  9           r Q-l;III> with l;.he witneao1 but will rep-ort
  11
                                                                       10           this deposition remotely c11nd will
         Exhibit 1        January 2021 Material      1.1
  12                                                                   11           swear the witness in 1:-emct.-ely.                 I:f a.ny
         Exhibit 2        Disclosure Stat@m@nt       14
                                                                       12           party has any objection, ples11se :;,o
  13
         Exhibit 3       Notice of Depoai tion       74                13           !tat@ b@fo-r@     WI!!   proc@@d.
  14                                                                   14                     Whereupon,
   15
                                                                       15                          JAMES         SEERY.,
           INFORMATION/PRODUCTION REQUESTS
  H      DESCRIPTION                              PAGE                 16          having been first duly sworn/affirmed,
   17    Sut>1aiidiar:{ led9er 1aihowing- note       zz                17          wo1s ei-a1111ined. .11nd. testified.   iill"l    follow:;,;
         component ver1aiua hard a1aiaet
  LS     component                                                     18    EXAMINATION BY
   19    Amount of 0&0 coverage for                 131                19    MR. DRAPER;
         trustees
                                                                       20           Q.        Mr. Se ery, my nt11me is Douglas
  20
         Line item for D&O insurance                133                21    Dr1aper, rept:esent.ing t.he Dugaboy Trust:. .                      I
  21                                                                   22    h.ivce sede!:i of queo1ti<;1-no1 today in
  22                    MARKED FOR RULING
                           PAGE   LINE                                 23    connection with th@ 30 tbl Notic@ that w@
  23                         as        20                              24    filed.        The fir!;lt que,.,tion I have for you,
  24
                                                                       25    have you seen the Notice of Deposition
  25




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                                                                                                          Page 1$
    1                      J. SEERY                        1                    J . SEERY
    2       the screen, please?                            2       A.    It says the percent distribution
    3       A.    Page what?                               3   to general unsecured creditors is
    4       Q.    I think it is page 174.                  4   62.14 percent .
    5       A.    Of the PDF or of the document?           5       Q.       H ·•       yo
    6       Q.    Of the disclosure statement that                      e    r,, • _   y       ar
    7   was filed. It is up on t he screen right                        to yesterday?
    8   now.                                                                MR. MORRIS :
    9               COURT PEPORTER: Do you intend                  form of the question.
   10       this as another exhibit for today's                    A.    I believe general_ ,
   11       deposition?                                        don't know if we have asp
   12              MR. DRAPER : We'll mark this           12   but generally yes.
   13       Exhibit 2.                                    13       Q.
   14               (So marked for ident i fication as         Creditors' Commit
   15       Seery Exhibit 2 .)                                 information to?
   16       Q.      If you look to the recovery t o                A.    Yes.
   17   Class 8 creditors in th~ November 2020                     Q.       Did
   18   disclosure statement was a recovery of                 than members
   19   87.44 percent?                                             A.   Ye
   20       A.      That actually says the percent                 Q.   Who?
   21   distribution to general unsecured
   22   creditors was 87 . 44 percent. Yes .
   23       Q.     And in the new document that was
   24   filed , given to us yesterday , the recovery
   25   is 62. 5 pe rce nt?
                                                Page Hi                                                   Page 17
    l                      J. SEERY                        1                                J. SEERY
    2                                                      2   not accurate?
    3                                                      3         A.    Yes . We secretly d i sclosed it
    4             tn looking at the two elem€nts,          4   to the Bankruptcy Court in open court
    5   and what I have asked you to look at is            5   hearings .
    6   the claims poo l. I f you look a t t he            6         Q.    But y ou never d i d bother to
    7   November disclosure statement , if you look        7   calculate the reduced recovery; you just
    8   down Class 8, unsecured claims ?                   8   increased
    9          A.   Yes.                                   9                (Reporter i nterruption.)
   10          Q.  You have 176,000 roughly?              10         Q.    You just advised as to the
   11       A.     Million.                               11   i ncr eased c laims poo l . Corrsct?
   12       Q.     176 million. I am so~ry. And           12               MR. MORRIS: Objection to the
   13   the number in the new docwnent is 313             13         form of the question.
   14   million?                                          14         A.    l don't understand your
   15       A.     Correct.                               15   question .
   16       Q.     What accounts for the                  16         Q.    What I am trying to get at is 1
   17   difference?                                       17   as you increase the claims pool, the
   18       A.     An increase in cla i ms.               18   recovery rsduces. Correct ?
   19       Q.     When did those increases occur?        19         A.    No. That is not how a fraction
   20   Were they yes terday? A month ago? Two            20   works.
   21   months a go?                                      21         Q.    Well1 i f the denominat or
   22       A.     Over the last couple months.           22   increases, doesn't the recovery ultimately
   23       Q.     So in fact over the last couple        23   decrease if ~-
   24   months you knew in fact that the recovery         24       A.       No.
   25   in the Novembe r d isclosure statement was        25       Q.       -- if the n ume rator stays the




                                                                                                       Page A-18
                                                                                                       Appx_0190
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                                                  Page 215                                                  Page 27
   l                          J. SEERY                         l                      J. SEERY
   2   were amended without consideration a few                2       A.    NexPoint, I said . They
   3   years ago,  So, for our purpo-ses we didn't             3   defaulted on the note and we accelerated
   4   make the assumption, which I am sure will               4   it.
   5   happen, a fraudulent conveyance claim on                5       Q.     So there is no need to file a
   6   those notes, that a fraudulent conveyance               6   fraudulent conveyance suit with respect to
   7   action would be brought. We just assumed                7   that note.   Correct, Mr. Seery?
   8   that we'd have to discount the notes                    8             MR. MORRIS : Objection to the
   9   heavily to sell them because nobody would               9       form of the question.
  10   respect the ability of the counterparties              10       A.    Disagree. Since it was likely
  11   to fairly pay.                                         11   intentional fraud, there may be other
  12       Q.    And the same discount was                    12   recoveries on it. But to collect on the
  13   applied in the liquidation analysis to                 13   note, no.
  14   those notes?                                           14       Q.     My question was with respect to
  15       A.    Yes.                                         15   that note.   Since you have accelerated its
  16          Q.      Now                                     16   you don't need to deal with the issue of
  17          A.      The difference -- there would ba        17   when it's due?
  18   a difference, though, because they would               18             MR. MORRIS:  Objection to the
  19   pay for a while because they wauldn 1 t want           19       form of the question.
  20   to accelerate them . So there would be                 20       A.    That wasn't your question.   But
  21   some collections on the notes for P and I.             21   to that question, yes, I don't need to
  22       Q.    But in fact as of January you                22   deal with when it 1 s due.
  23   have accelerated those notes?                          23       Q.    Let me go over certain assets.
  24          A.       Just one of them, I believe.           24   I am not going to ask you for the
  25          Q.      Which note was that?                    25   valuation of them but I am going to ask

                                                  Page 28                                                   Page 2'9
   l                          J. SEERY                         l                      J,   SEERY
   2   you whether they are included in the asset              2
   3   portion of your $257 million number, all
   4   right? Mr. Morris didn't want me to go
   5   into specific asset value, and I don't
   6   intend to do that.
   7             The first question I have for
   8   you is, the equity in Trustway Highland                 8               There may be others off the top
   9   Holdings, is that included in the                       9   of my head.  I don't recall them.    I don't
  10   $257 million nurnbeL?                                  10   have a list in front of me .
  11          A.       There is no such entity.               11       Q.    Now, with respect to those
  12          Q.       Then I will do it in a different       12   assets, have you started the sale process
  13   way.        In connection with the sale of the         13   of those assets?



                                                             I;~
  14   hard assets, what assets are included in                        A.     No . Well, each asset is
  15   there specifically?                                         different.   So, the answer is, with
  16          A.                                      s            respect to any securities, we do seek to
                                                              17   sell those regularly and we do seek to
                     Holdings and all                         18   monetize those assets where we can
                      from Trustway Holdings.                 19   depending on whether there is a
       includes Targa and all the value that                  20   restriction or not and whether there is
       flows up from Targa.  It includes v~~                  21   liquidity in the market.
       Medical and all the value that wo ,~~                  22             With respect to the PE assets or
                           from CCS Medical .                 23   the companies I described -- Targa, CCS,
                                                              24   Cornerstone, JHT -- we have not --
                                                              25   Trustway.   We have not sought to sell




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   1                     J. SEERY                               1                                   J.   SEERY
   2       A.    I don't recall the specific                    2
   3   limitation on the trust. But if there was
   4   a reason to hold on to the asset, if there                      would need
   5   is a limitation, we can seek an extension .              5   going to happen
   6       Q.    Let me ask a question. With                    6   either under the
   7   respect to these businesses, the Debtor                       lan.
   8   me~ely owns an equity interest i~ them.
   9   Correct ?
  10       A.    Which business?
  11       Q.    The ones you have identified as
  12   operating businesses earlier?                           12                       MR . MORRIS:       Objection to form
  13       A.    It depends on the bus i~ess.                  13          of
  14       Q.    Well , let me                 try             14          A.
  15   to be specific .
  1·

             A.       !hat's correct.
             Q.       Which                                                                P    e                       ion
         us. re s ses l .at                                            t    I   -'lrl   l ' '

       l   n l       i,                                        21       Q.    Now, in connection with your
       for a 5 l.e .                                           22   differential between the liquidation of
  23                  MR. MORRIS: Objection to the             23   what I will call the operat i ng businesses
  24         form of the question .                            24   under the l i quidation analysis and the
  25       A,                                                       plan analysis, who arrived at the discount
                                                     Page 40                                                             Page ~1
   l                        J . SEERY                           1                                   J . SEERY
   2   or determined the discount that has been                 2   is different.
   3   placed between the two, plan analysis                    3       Q.      Is the discount a function of
   4   ve~sus liquidation analysis?                             4   capability of a trustee versus your
   5              MR. MORRIS : Objection to form                5   capability, or is the discount a function
   6       of the question.                                     6   of timi ng?
   7       A.     To which document are you                     7               MR. MORRIS: Objection to form.
   8   referring?                                               8       A.      It could be a combination.
   9       Q.     Both the ,June -- t~'le Janua:i;;y <;1.r.d    9       Q.      So, lfct.'s -- let me w<;1.lk through
  10   the November analysis has a different                   10   this. Your plan analysis has an
  11   estimated proceeds for monet i zation for               11   assumption that everything is sold by
  12   the plan analysis versus the l iquidation               12   December 2022. Correct?
  13   analysis . Do you see that?                             13       A.      Correct .
  14        A.     Yes.                                        14       Q.      And the valuations that you have
  15         Q.    And there is a note under there.            15   used here for the monetization assume a
  16   ''Assumes Chapter 7 trustee will not be                 16   sale between -- a sale prior to December
  17   ab l e to achieve the same sales proceeds as            17   of 2022. Correct?
  18   Claimant trustee."                                      18       A.      Sorry. I dontt quite understand
  19         A.    I see that, y~s.                            19   your q'.Je5:.ion.
  20         Q.    Do you see that note?                       20       Q.      The 257 number , and then let's
  21       A.      Yes.                                        21   take out the notes. Let Ts use the 210
  22       Q.      Who arrived at that discount?               22   number.
  23       A.      I did.                                      23             MR. MORRIS: Can we put the
  24       Q.      What pe~centage did you use?                24       document back on the screen 1 please?
  25       A.      Depended on the asset. Each one             25       Sorry, Douglas, to interrupt T but it




                                                                                                                     Page A-20
                                                                                                                     Appx_0192
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                                                         Page 42                                                              Page 4)
  l                        J . SEERY                                1                                 J. SEERY
  2       would be helpful.                                         2   applied?
  3              MR. DRAPER:         That is fine, John.            3        A.      Each of the assets is different .
  4              (Pause.}                                           4        Q.       Is there a general discount that
  5              MR. MORRIS:         Thank you very                 5   you used?
  6       much.                                                     6        A.      Not a general discount, no.                We
  7       Q.    Mr . Seery 1 do you see the 257 ?                   7   looked at each individual asset and went
  8       A.     In the one from yesterday?                         8   through and made an assessment.
  9       Q.     Yes.                                               9        Q.      Did you apply a discount for
 10       A.     Second linet 257t941 .           Yes.             10   your capability versus the capability of a
 11       Q.     That assumes a monetization of                    11   trustee?
 12   all assets by December of 2022?                              12        A.      No.
 13       A.     Correct.                                          13        Q.      So a trustee would be as capable
 14       Q.    And so everything has been sold                    14   as you are in monetizing these assets?
 15   by that time; correct?                                       15                MR . l"K:lRRIS:         Objection to the
 16       A.     Yes.                                              16        form of the question.
 17       Q.     So, what I am trying to get at                    17        Q.      Excuse me?              The answer is?
 18   is, there is both the capability between                     18       A.    The answer is maybe .
 19   you and a trusteet and then the second                       19       Q.    Couldn't a trustee hire somebody
 20   issue is timing.      So, what discount was                  20   as capable as you are?
 21   put on far timing, Mr . Seery 1 between when                 21             MR . MOBRIS: Objection to the
 22   a trustee would sell it versus when you                      22        form of the question.
 23   would sell it?                                               23        A.    Perhaps.
 24              MR. r«)RRIS:        Objection.                    24        Q.      Sirt that is a yes or no
 25       Q.     What is the percentage you                        25   question.      Could the trustee hire somebody

                                                         Page 44                                                              P age 45
  1                    J. SEERY                                     l                                 J. SEERY
  2   as capable as you are?                                        2        Q.      Again, the discounts are applied
  3              MR. MOBRIS:         Objection to the               3   for timing and capability?
  4       form of the question.                                     4        A.      Yes.
  5       A.     I   don't know.                                    5        Q.      Now, in looking at the November
  6       Q.     Is there anybody as capable as                     6   plan analysis number of $190 million and
  7   you are?                                                      7   the January number of $257 million, what
  8              MR. MORRIS:         Objection to the               8   accounts for the increase between the two
  9       form of the question.                                     9   dates?     What assets specifically?
 10       A.    Certainly.                                                   A.      'fire-te          rc.
 11       Q.     And they could be hired .                              First.ly , :. .. e H':LOF
 12   Correct?                                                                       How          uct'.
 13       A.     Perhaps.     I don't know.                                  A.
 14       Q.     And if you go back to the                              million dollars.
 15   November 2020 liquidation analysis versus                              Q.      Okay .
 16   plan a.nal ysist it is also the same note                              A.      Secon dly,
 17   about that a trustee would bring less, and                        incr ease in the value
 18   there is the same sort of discount between                        assets over this time
 19   the estimated proceeds under the plan and                              Q.      Wh i ch
 20   under the liquidation analysis.                              20        A.      There ar
 21              MR. MOFRIS:         If that is a                  21                   ~       ,:;c,k ,
 22       question,     I object .                                                          ~     r
 23       Q.    Is that correct,         Mr.   Seery,              23       Q.    And what is the percentage
 24   looking at the document?                                     24   increase from November to January,
 25       A.     There are discounts, yes.                         25   November of 2020 to January of 2021?




                                                                                                                        Page A-21
                                                                                                                        Appx_0193
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                                                          Page 4-ti                                                                                           Pa ge 47
   l                               J. SEERY                            l                                                J. SEERY
   2          A.          Do you mean what is the                      2   markets; correct?
   3   percentage increase from 190 to 257?                            3          A.             No.
   4       Q.    No. You just identified three                         4          Q.             Those are operating businesses?
   5   assets. MGM stock, we can go look at the                        5          A.             Correct.
   6   exchange and figure out what the price                          6          Q.
   7   increase is; correct?
   8      A.     No.
   9       Q.    Why not?              Is the MGM stock                    val
  10   publicly traded?
  11          A.          Yes .   It doesn't t rade on --             _1
  12          Q.          Excuse me?                                  12          Q.                                      adjustment was up or
  13       A.    It doesn't trade on an exchange.                     13   down?
  14       Q.    Is there a. public market for the                    14       A.                When ?
  15   MGM stock that we could calculate the                          15
  16   increase?
  17          A.          There is a semipublic market;
  18   yes.                                                                       _dJu:'::
  19          Q.          So it is a. number that is                                             MR. ½OP.F.IS :                Objection to form
  20   readily available between the two dates?                                          the question .
  21          A.          It's available.
  22          Q.          Now, you identified Targa and
  23   Trust way.          Correct?                                                             it down .                   do,, ' t   recall off the ,
  24          A.          Yes.                                                             J     ~ ·"=   .:i   J L ·J .
  25          Q.          Those are not readily available

                                                          Page 48                                                                                             Page 49
   l                               J . SEERY                                                                            J . SEERY
   2



                                                                                                                        ~c:_u~t     !~~   ~~-      ~~-11~G

                                                                           ____-=-_Fi-~          I:; ,           ri h·,
   7                      MR. MORRIS:    Ob jection to form            7                         MR . MORRIS :                 Objection to form.
   8          of the question.                                         8
   9          A.          I didn't say that.                           9
  10          Q.                                                           set.
  •1      l    0      L                                                           l'i   l '..            I   If l 1 •

                   fied three                                                                    MR . MOFRIS :                 Objection to the
                        which has,      I can guess,                              form of the question if that is a
       have said, a readily ascertainable                                         question .                        It is accounted for .
       Then you identified two others that
                                                                                                                                               ---~-
                                                                                                                                          ·! : t .- t·,--:--. :- ,- ,
       valuation is ba3ed upon something
       L key        rovided you. Correct?
              A.       I gave you three exarnpl,_
       neve r said "readily." That is
       n~ t mine. And I didn't say · ha
         d a signi£icant change i n
        aluation .




                                                                                                                                                        Page A-22
                                                                                                                                                       Appx_0194
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                                                    Page 50                                                    P age 51
   l                        J.   SEERY                         l                        J. SEERY
   2   for one . On _r.c.                                      2   HarbourVest settlement, right?
        ooked a~                                               3       A.    I believe that's correct.
        ssessmen base                                          4       Q.    Is that fair, Mr. Seery?
                                                               5       A.       I believe that is correct, yes.
   6                  se                                       6        Q.     And part of that differential
   7       Q.     Let me look at some numbers                  7   are publicly traded or ascertainable
   8   again.   In the liquidation analysis in                 8   securities.     Correct?
   9   November of 2020, the liquidation value is              9       A.       Yes.
  10   $149 million. Correct?                                 10        Q.      And basically you can get, or
  11       A.     Yes .                                       11   under the plan analysis or trustee
  12       Q.     And in the liquidation analysis             12   analysis, if it is a marketable security
  13   in January of 2021, you have $191 million ?            13   or where there is a market, the
  14       A.     Yes.                                        14   liquidation number should be the same for
  15       Q.     You see that number.         So there       15   both.  Is that fair?
  16   is $51 million there, right?                           16       A.       No.
  17       A.    No.                                          17        Q.      And why not?
  18       Q.    What is the difference between               18       A.    We might have a different price
  19   191 and -- sorry. My math may be a little              19   target for a particular security than the
  20   off. What is the difference between the                20   current trading value.
  21   two numbers, Mr. Seery?                                21        Q.      I understand that, but I mean
  22       A.     Your math is off.                           22   that is based upon the capability of the
  23       Q.     Sorry.  It is 41 million?                   23   person making the decision as to when to
  24       A.     Correct.                                    24   sell .    Correct?
  25       Q.     $22 million of that is the                  25                MR. MORRIS:    Objection to form

                                                    Page 52                                                    Page 5~
   l                        J . SEERY                          l                       J. SEERY
   2       of the question.                                    2   $18 million.     How much of that is publicly
   3       Q.     Mr. Seery, yes or no?                        3   traded or ascertainable assets versus
   4       A.     I said no.                                   4   operating businesses?
   5       Q.     What is that based on, then?                 5       A.       I don't know off the top of my
   6       A.    The person's ability to assess                6   head the percentages.
   7   the market and timing .                                 7       Q.    All right. The same question
   8       Q.    Okay. And again, couldn't a                   8   for the plan analysis where you have the
   9   trustee hire somebody as capable as you to              9   differential between the November number
  10   botht A, assess the market andt B, make a              10   and the January nwuber.  How much of it is
  11   determination as to when to sell?                      11   marketable securities versus an operating
  12             MR. MORRIS:  Objection to form               12   business?
  13       of the question.                                   13       A.       I don't recall off the top of my
  14       A.    I suppose a trustee could.                   14   head.
  15       Q.    And there are better people or               15             MR. OBA.PER:      Let me take a
  16   people equally or better than you at                   16        few-minute break.      Can we take a
  17   assessing a market.       Correct?                     17        ten-minute break here?
  18       A.    Yes.                                         18              THE WIT:'iESS : Sure.
  19             MR. MORRIS: Objection to form                19                (Recess.)
  20       of the question.                                   20   BY MR. DRAPER:
  21       Q.    So, again, let's go back to                  21        Q.      Mr. Seery, what I am going to
  22   that . We have accounted for, out of                   22   show you and what I would ask you to look
  23   $41 million where the liquidation analysis             23   at is in the note E, in the statement of
  24   increases between the two dates,                       24   assumptions for the November 2020
  25   $22 million of it .       That leaves                  25   disclosure statement.       It discusses fixed




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                              Sale of Assets of Affiliates or Controlled Entities


    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


       •   These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
       •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery's Jan. 29, 2021 deposition testimony, Appendix p. A-20.


                                                                                                   Page A-24
                                                                                                  Appx_0196
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                                20 Largest Unsecured Creditors


 Name of Claimant                    Allowed Class 8    Allowed Class 9
 Redeemer Committee of the
 Highland Crusader Fund              $136,696,610.00
 UBS AG, London Branch and UBS
 Securities LLC
                                     $65,000,000.00     $60,000,000
 HarbourVest entities                $45,000,000.00     $35,000,000
 Acis Capital Management, L.P. and
 Acis Capital Management GP, LLC     $23,000,000.00
 CLO Holdco Ltd                      $11,340,751.26
 Patrick Daugherty
                                                        $2,750,000 (+$750,000 cash payment
                                     $8,250,000.00      on Effective Date of Plan)
 Todd Travers (Claim based on
 unpaid bonus due for Feb 2009)      $2,618,480.48
 McKool Smith PC                     $2,163,976.00
 Davis Deadman (Claim based on
 unpaid bonus due for Feb 2009)      $1,749,836.44
 Jack Yang (Claim based on unpaid
 bonus due for Feb 2009)             $1,731,813.00
 Paul Kauffman (Claim based on
 unpaid bonus due for Feb 2009)      $1,715,369.73
 Kurtis Plumer (Claim based on
 unpaid bonus due for Feb 2009)      $1,470,219.80
 Foley Gardere                       $1,446,136.66
 DLA Piper                           $1,318,730.36
 Brad Borud (Claim based on unpaid
 bonus due for Feb 2009)             $1,252,250.00
 Stinson LLP ( successor to Lackey
 Hershman LLP)                       $895,714.90
 Meta-E Discovery LLC                $779,969.87
 Andrews Kurth LLP                   $677,075.65
 Markit WSO Corp                     $572,874.53
 Duff & Phelps, LLC                  $449,285.00
 Lynn Pinker Cox Hurst               $436,538.06
 Joshua and Jennifer Terry
                                     $425,000.00
 Joshua Terry
                                     $355,000.00
 CPCM LLC (bought claims of
 certain former HCMLP employees)     Several million
 TOTAL:                              $309,345,631.74    $95,000,000




                                                                                   Page A-25
                                                                                   Appx_0197
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                                   Timeline of Relevant Events


 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms "Muck Holdings LLC" in Delaware
 3/15/2021     Debtor files Jan. '21 monthly operating report indicating assets of $364 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.

 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms "Jessup Holdings LLC" in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim -Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

   •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
   •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
   •   The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                  Debtor's October 15, 2020 Liquidation Analysis [Doc. 1173-1]


                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [ 1] [2]         198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
 Class 1 - Jefferies Secured Claim                               -                 -
 Class 2 - Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 - Priority non-tax claims [10]                          (16)              (16)
 Class 4 - Retained employee claims                              -                 -
 Class 5 - Convenience claims [6] [ 1O]                          (13,455)          -
 Class 6 - Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 - Convenience claims [8]                                -                 17,940
 Class 6 - Unpaid employee claims                                -                 3,940
 Class 7 - General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 - Subordinated claims                                   no distribution   no distribution
 Class 9 - Class B/C limited partnership interests               no distribution   no distribution
 Class 10 - Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

    •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                              Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [ 1] [2]        257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 - Jefferies Secured Claim                              -                  -
    Class 2 - Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 - Other Secured Claims                                 (62)               (62)
    Class 4 - Priority non-tax claims                              (16)               (16)
    Class 5 - Retained employee claims                             -                  -
    Class 6 - PTO Claims [5]                                       -                  -
    Class 7 - Convenience claims [7][8]                            (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 - General unsecured claims [8] [ 1O]                   273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 - Subordinated claims                                  no distribution    no distribution
    Class 10 - Class B/C limited partnership interests             no distribution    no distribution
    Class 11 - Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

      •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
      •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




2
    Doc. 1895.


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                                                                                              Appx_0200
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                 Summary of Debtor's January 31, 2021 Monthly Operating Report 3



                                                 10/15/2019            12/31/2020            1/31/2021
    Assets
    Cash and cash equivalents                       $2,529,000           $12,651,000          $10,651,000
    Investments, at fair value                    $232,620,000         $109,211,000         $142,976,000
    Equity method investees                       $161,819,000         $103,174,000         $105,293,000
    mgmt and incentive fee receivable               $2,579,000            $2,461,000           $2,857,000
    fixed assets, net                               $3,754,000            $2,594,000           $2,518,000
    due from affiliates                           $151 ,901 ,000       $152,449,000         $152,538,000
    reserve against notices receivable                                 ($61,039,000)        ($61,167,000)
    other assets                                   $11,311,000            $8,258,000           $8,651,000
                             Total Assets         $566,513,000         $329,759,000         $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1 ,176,000           $1,077,000           $1,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5,195,000           $5,195,000           $5 ,195,000
                                  Jefferies        $30,328,000                   $0                    $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims               $73,997,000          $73,997,000         $267,607,000
    Partners' Capital                             $396,614,000         $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital       $566,513,000         $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

      •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month's MOR
      •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
      •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


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                                      Value of HarbourVest Claim



                                HarbourVest Interest NAV by Month
  9/29/2020                                                 $2.2.2

 10/31/2020                                                 $2.4.2

 11/30/2020                                                 $34.1

 12/31/2020                                                 $39.3

  1/14/2021                                                 $41.6

  1/31/2021                                                 $44.3

  1/28/2021                                                 $49.7

  3/31/2021                                                 $50.3

  4/30/2021                                                 $53.9

  5/31/2021                                                 $55.9




                              HarbourVest NAV Value v. Purchase Price
  $60.0



  $50.0



  $40.0



  $30.0



  $20.0



  $10.0



    $-
     9/29/2020   10/29/2020   11/29/2020   12/29/2020   1/29/2021    2/28/2021   3/31/2021   4/30/2021    5/31/20

                                           ~    NAV     ~   Purchase Price




                                                                                                 Page A-30
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                                       Estate Value as of August 1, 2021 (in millions)4
    Asset                                                                         Low                           High
    Cash as of 6/30/2021                                                          $17.9                         $17.9
                                                              Targa Sale          $37.0                         $37.0
                                                        8/1 CLO Flows             $10.0                         $10.0
                                                        U chi Bldg. Sale          $9.0                          $9.0
                                                               Siepe Sale         $3.5                          $3.5
                                                          PetroCap Sale           $3.2                          $3.2
                                                HarbourVest trapped cash          $25.0                         $25.0
    Total Cash                                                                    $105.6                        $105.6
    Trussway                                                                      $180.0                        $180.0
    Cornerstone (125mm; 16%)                                                      $18.0                         $18.0
    HarbourVest CLOs                                                              $40.0                         $40.0
    CCS Medical (in CLOs and Highland Restoration)                                $20.0                         $20.0
    MGM (direct ownership)                                                        $32.0                         $32.0
    Multi-Strat (45% of 100mm; MGM; CCS)                                          $45.0                         $45.0
    Korea Fund                                                                    $18.0                         $18.0
    Celtic (in Credit-Strat)                                                      $12.0                         $40.0
    SE Multifamily                                                                $0.0                          $20.0
    Affiliate Notes                                                               $0.0                          $70.0
    Other                                                                         $2.0                          $10.0
    TOTAL                                                                         $472.6                        $598.6



                                                       Assets and Claims
    $700.0

                  ..
    $600.0 . . . , . . , _ ~


    $400.0
    $500.0
                               .,.,_
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    $300.0                                           • • • • • • •                     -       a           JJ:.~---------
    $200.0
    $100.0
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                  - - Total Assets       - - Class 8 Claims       - - Class 9 Claims       - - Unsecured Creditors' Claims           J
4
  Values are based upon historical knowledge of the Debtor's assets (including cross-holdings) and publicly filed
information.


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                       HarbourVest Motion to Approve Settlement [Doc. 1625]
   PACHULSKI STANG ZIEHL & JONES LLP
   Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac Pice)
   lrn D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
   John A. Morris (NY Bar No. 266326) (admirted pro hac vice)
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   Counsel.for the Debtor and Debtor-in-Possession


                           IN THE U~ITED STATES BANKRUPTCY COURT
                             FOR THE ~ORTHER.i~ DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                   §
   In re:                                                          §    Chapter 11
                                                                   §
   HIGHLAND CAPITAL MANAGEMENT, L.P .• 1                           §    Case No. 19-34054-sgj 1 l
                                                                   §
                       __e_ht_o_r._ _ _ _ _ §
  _ _ _ _ _ _ _ _ _ __ D


             DEBTOR'S MOTION FOR ENTRY OF AN ORDER APPROVING
       SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143,147, 149,150,153, 154)
              AND AUTHORIZING ACTIONS CONSISTENT THEREWITH


   TO THE HONORABLE STACEY G. C. JERNIGAN.
   UNIT ED ST A T ES BANKRUPTCY JUDGE;



   1
     The last four digits of the Debtor's taxpayer identificatjon number are 6725. The headquarters and service address
   for the Debtor is 300 Crescent Coun. Suite 700. Dallas. TX 75201 .




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              Highland Capital Management~ LP.~ the above-captioned debtor and debtor-in-

      possessjon ('"Highland'" or the ·"Debtor"). files this motion (the ··Motion"} for entry of an order.

      substantiaUy jn the form attached hereto as Exhibit A. pursuant to Ru le 90 l 9 of the Federal

      Rules of Bankruptcy Procedure (the "Bankruptcy Ru ]esn}, approving a sett]ement agreement (the

      "Settlement Agreement''),2 a copy of which is attached as Exhibit 1 to the Declaration qfJohn A.

      Morris in Support of the Debtor 's Morion for Enhy of an Order Approving Settlement with

      HarbourVesr (Claim Nos. 143, 14 7, 149, 150, 153, 154) and Authorizing Actions Consistenf

      Therewith being filed simultaneously with this Motion ('"Morris Dec."), that, among other things.

      fully and finally resolves the proofs of claim filed by HarbourVest 2017 Global Fund L.P.,

      HarbourVest 2017 Global AIF L.P.~ HarbourVest Dover Street JX Investment LP .. HY

      International VIII Secondary LP .. HarbourVest Skew Base Alf LP., and HarbourVest Partners

      LP. (coHectively, '"HarbourVest''). In supprn1 of this Motion, the Debtor represents as follows:

                                                 JURISDICTION

                      1.      This Court has jurisdiction over this matter pursuant to 28 U .S .C. §§ 157

      and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

      in this District is proper pursuantto 2 8 U. S.C. § ~ 1408 and 1409.

                      2.      The statutory predicates for the reJief sought herein are sections 105(a)

      and 363 of title l 1 of the United States Code (the '·Bankruptcy Code'"). and Rule 9019 of the

      Bankruptcy Rules.




      2
       All capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
      Agreement.

                                                          2



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                                           RELEVANT BACKGROUND

             Procedural Background

                      3.       On October 16~ 2019 (the ·'Petition Date'·). the Debtor filed a voluntary

  petition for re]ief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

  District of De]aware, Case No. I 9-12239 (CSS) (the "Delaware Court"').

                      4.       On October 29.2019. the official committee of unsecured creditors (the

  '·Committee") was appointed by the U.S. Trustee in the Delaware Court.

                      5.       On December 4, 20 19, the Delaware Court entered an order transferring

  venue of the Debtor·s case to this Court [Docket No. l 86]. 3

                      6.       On December 27. 2019~ the Debtor fi]ed that certain Motion qf the Debtor

  for Approval qf Settlement with the Qt]icial Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in lhe Ordinmy Course [Docket No.

  281] (the ··sett]ement Motion'"). This Court approved the Sett]ement Motion on January 9, 2020

  [Docket No. 339] (the ·'Sett]ement Order~·).

                      7.       In connection with the Sett]ement Order. an independent board of

  directors was constituted at the Debtor's general partner, Strand Advisors. Inc .. and certain

  operating protocols were instituted.

                      8.       On Ju]y 16. 2020, this Court entered an order appointing James P. Seery,

  Jr., as the Debtor~s chief executive officer and chief restructuring officer [Docket No. 854].

                      9.       The Debtor has continued in the possession of its property and has

  continued to operate and manage its business as a debtor-in-possession pu rsuant to sections

  1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

  chapter 11 case_



  J   All docket numbers refer to the docket maintained by this Court.

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  B..     Overview of Harbour Vest's Claims

                   10.      HarbourVesfs claims against the Debtor's estate arise from jts S80 mil1ion

  investment in High]and CLO Funding. f/k/a Acis Loan Funding, Ltd. {'"HCLOF'")., pursuant to

  which HarbourVest obtained a 49 percen t interest in HCLOF (the -~investment,,).

                   11.      ·in brief. HarbourVest contends that it was fraudulently induced into

 entering jnto the Investment based on the Debtor's misrepresentations and omissions concerning

 certain materjal facts. induding that the Debtor: ( 1) failed to disclose that it never intended to

  pay an arbitration award obtained by a former portfo1io manager, (2} failed to disclose that it

 engaged in a series of fraudulent transfors for the purpose of preventing the fom1er portfo] io

  manager from co1lecting on his arbitration award and mjsrepresented the reasons changing the

  portfo]io manager for HCLOF immediate]y prior to the Investment. (3) indicated that the dispute

  with the former portfolio manager would not impact investment activities. and (4) expressed

  confidence in the ability of HC LOF to reset or redeem the col]atern lized 1oan obligations

 ("CLOs'') under its control.

                   12.      HarbourVest seeks to rescind its Investment and claims damages in excess

 of S300 mi]hon based on theories of fraud. fraudulent inducement. fraudulent concealment

 fraudulent misrepresentation. neg]igent misrepresentation. and breach of fiduciary duty (under

  Guernsey law), and on alleged violations of state securities laws and the Racketeer Influenced

 Corrupt Organizatjon Act (""R ICO'").

                   13.      HarbourVest·s allegations are summarjzed below.4




 4
   Solely for purposes of this Motion. and not for any other reason, the facts set forth herein are adopted largely fro m
 the Harboud- est' Response lo Debtor's First Omn ibus Objection to Certain (.4.) Duplicate Claims: (B) Overstated
 Claims: (C) Late-Filed Cla ims; (D) Satisfied Claims; (E ) No-Liability Claims; and (FJ fo st!ffh:ient-Documenration
 Claims [Docket J\ o. I057] (the "R~sponse''}.




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 C.      Summary of HarbourVest'" s Factual AHegations

                14.     At the time HarbourVest made its Investment, the Debtor was embroiled

 m an arbitration against Joshua Terry ("~Mr. Te rry',). a fonner employee of the Debtor and

 Jimited partner of Acis Capital Management, LP. ('"Acis LP''). Through Acjs LP, Mr. Terry

 managed Highland 's CLO business, inc1ud ing CLO-related investments held by Ac is Loan

 Fundjng, Ltd. c·Acis Funding'·).

                15.     The litigation between Mr. Terry and the Debtor began in 2016. after the

 Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

 Terry asserted counterc laims for wrongfu l termination and for the wrongfu] taking of his

 ownership interest in Ac is LP and subsequently had certain claims referred to arbitration where

 he obtained an award of approximately $8 mil1ion (the ""Arbitration Award'') on October 20.

 2017.

                16.     HarbourVest aJJeges that the Debtor responded to the Arbitration Award

 by engaging in a series of fraudu]ent transfers and corporate restructurings, the true purposes of

 which were frnudu]ent]y concealed from HarbourVest.

                17.     For examp]e. according to HarbourVest the Debtor changed the name of

 the target fund from Acis Funding to "'Highland CLO Funding. Ltd:· (""HCLOF') and ·~swapped

 ouf' Acis LP for Highland HCF Advisor. Ltd. as portfolio manager (the .. Structurn] Changes',) .

 The Debtor a1leged]y told HarbourVest that it made these changes because of the ··reputational

 hann'' to Acis LP resu1ting from the Arbitration Award. The Debtor further told HarbourVest

 that in lieu of redemptions~ resetting the CLOs was necessary. and that it would be easier to reset

 them under the ·•High]and,. CLO brand instead of the Acis CLO brand.

                18.     In addition, HarbourVest also a1leges that the Debtor had no intention of

 a1lowing Mr. Terry to co1lect on hjs Arbitration Award, and orchestrated a scheme to ··denude"


                                                  5


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  Acis of assets by frnudu]ently transferring v irtual1y aU of its assets and attempting to transfer its

  profitable portfolio management contracts to non-Acis, Debtor-related entities.

                  19.    Unaware of the fraudulent transfers or the true purposes of the Strucntral

  Changes. and in reliance on representations made by the Debtor. HarbourVest closed on its

  Investment in HCLOF on November 15. 2017.

                  20 .   After discovering the transfers that occurred between Highland and Acis

  between October and December 2017 foHowing the Arbitration Award (the -~Transfers'')~ on

  January 24. 2018. Terry moved for a temporary restraining order (the ''TRO'') from the Texas

  state court on the grou nds that the Transfers were pursued for the purpose of rendering Acis LP

  judgment-proof. The state court granted the TRO~enjoining the Debtor from transferring any

  CLO management contracts or other as.sets away from Acis LP.

                  2L     On January 30. 2018. Mr. Terry fi]ed involuntary bankruptcy petitions

  against Acis LP and its general partner. Acis Capital Management GP. LLC.             See In re Ads

  Capital Management, L. P .. Case No. 18-30264-sgj 1 1 (Bankr. N. D. Tex. 2018) and In re Acis

  Capital Management GP, LLC. Case No. i 8=30265-sgj 11 (Bankr. N.D. Tex. 2018) (coHectively.

  the ··Acis Bankruptcy Case''). The Bankrnptcy Court ovemJled the Debtor"s objection. granted

  the invo]untary petitions. and appoin ted a chapter 1 1 trustee (the ··Acjs Trustee"~).       A long

  sequence of events subsequently transpired, a11 of which relate to HarbourVesf s c1aims.

  including:

         •     On May 31, 2018 ~ the Court jssued a sua sponte TRO preventing any actions m
               furtherance of the optional redemptions or other Jiquidation of the Acis. CLOs.

         •     On June 14, 2018 , HCLOF withdrew optional redemption notices.

         •     The TRO expired on June 15. 2018. and HCLOF noticed the Ac1s Trustee that it was
               requesting an optionaJ redemption.




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           •   HCLOF' s request was wjthdrawn on July 6. 2018, and on June 21 ~ 2018, the Acis
               Trustee sought an injunction preventing High]and/HCLOF from seeking further
               redemptions (the .. Preljminary Injunction'').

           •   The Court granted the Prelimjnary Injunction on Ju]y 10. 2018, pendjng the Acis
               Trnstee ·s attempts to confinn plan or resolve the Acis Bankruptcy.

           •   On August 30. 2018. the Court denied confinnation of the First Amended Joint P]an
               for Acis, and held that the Preliminary Injunction must stay in place on the ground
               that the ·'evjdence thus far has been compel1ing that numerous transfers afiter the Josh
               Terry judgment denuded Acis of va]ue.'·

           •   After the Debtor made various statements imp]icating HarbourVest in the Transfers.
               the Acis Trustee investigated HarbourVest" s invo]vement in such Transfers. inc1uding
               extensive discovery and taking a 30(b)(6) deposition of HarbourVesfs managing
               director. Michael Pugatch, on November 17, 2018.

           •   On March 20. 2019. HC LOF sent a letter to Acis LP stating that it was not interested
               in pursujng, or able to pursue, a CLO reset transaction.

   D.      The Parties .. Pleadings, and Positions Concerning HarbourVest's
           Proofs of Claim

                   22.     On April 8, 2020. HarbourVest filed proofs of daim against Highland that

   were subsequently denoted by the Debtor~s clajms agents as c1aim numbers 143. 147. 149. 150,

    153. and 154~ respectively (col1ective]y, the -~Proofs of Claim''.). Morris Dec. Exhibits 2~ 7.

                   23.     The Proofs of C]aim assert, among other thjngs, that HarbourVest suffered

   significant harm due to conduct undertaken by the Debtor and the Debtor's employees. including

   '·financial hann resu]ting from (i) court orders in the Acis Bankruptcy that prevented certain

   CLOs in which HCLOF was invested from being refinanced or reset and court orders tha t

   otherwise relegated the activity of HCLOF [i.e., the Pre]iminary Injunction]: and (ii) significant

   foes and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g..

   Morris Dec. Exhibit 2 ~3.

                   24.     HarbourVest also asserted '·any and air of its right to payment, remedies,

   and other claims (including contingent or unliquidated c]aims) against the Debtor in connection

   with and relating to the forgoing harm. inc1uding for any amounts due or owed under the various

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  agreements with the Debtor in connection with relating to,. the Operative Documents ·'and any

  and all legal and equitable cJajms or causes of action relating to the forgoing hann." See. e.g.,

  Morris Dec. Exhibit 2 ~4.

                 25.    Highland subsequently objected to HarbourVesf s Proofs of Claim on the

  grounds that they were no-liabiJi ty claims. [Docket No. 906] (the ·•c]ajm Objection").

                 26 .   On September 1 L 2020, HarbourVest filed its Response. The Response

  artjcu lated specified claims under U.S. federal and state and Guernsey law. including claims for

  fraud. frnudu]ent concealment fraudulent inducement fraudulent misrepresentation, negligent

  misrepresentation {collectively. the ··Fraud Claims'"). U.S. State and Federal Securities Law

  Claims (the "Securities Claims''). violations of the Federal Racketeer Influenced and Corrupt

  Organizations Act (''RICO,,). breach of fiduciary duty and misuse of fund assets, and an unfair

  prejudice claim under Guernsey law (collective]y. with the Proofs of C ]aim. the '~HarbourVest

  Claims'").

                 27.    On October 18, 2020. HarbourVest filed its Motion of HarbourVest

  Pursuant to Rule 30/8 of the Federal Rules of Bankruptcy Procedure for Temporary Allowance

  of Claims for Pwposes qf Voting to Accept or Reject the Plan [Docket No. 1207] (the ••301 8

  Motion"). In its 301 8 Motion. HarbourVest sought for its C]aims to be temporari]y allowed for

  voting purposes in the amount of more than $300 million (based ]argely on a theory of treble

  damages).

  K      Settlement Discussions

                 28 .   In October, the parties djscussed the possibi]ity of resolving the Rule 3018

  Motion.

                 29.    In November. the parties broadened the discussions in an attempt to reach

  a global reso]ution of the HarbourVest Claims.      In the pursuit thereof. the parties and their


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   counsel participated in several conference cal1s where they engaged jn a spjrited exchange of

   perspectives concerning the facts and the law.

                    30 .    During fo1low up meetings. the part ies ' interests became more defined.

   Specifically~ HarbourVest sought to maximize its recovery whi]e fuHy extracting itself from the

   Investment while the Debtor sought to minimize the HarbourVest Claims consistent with its

   perceptions of the facts and law.

                    31 .    After the parties• interests became more defined, the principals engaged in

   a series of direct. am1·s~]ength. telephonic negotiations that u]timately ]ead to the settlement.

   whose terms are summarized below.

   F.        Summary of Settlement Terms

                    32.     The Settlement Agreement contains the following material tenns,. among

   others:

             •   HarbourVest shal1 transfer its entire interest in HCLOF to an entity to be desjgnated
                 by the Debtoc 5

             •   HarbourVest shaH receive an allowed. general unsecured, non-priority claim in the
                 amount of $45 rni11ion and shaH vote its Class 8 dajm in that amount to support the
                 Plan~

             •   HarbourVest shaH receive a subordinated. aHowed. genera] unsecured. non~priority
                 daim in the amount of $35 million and shaH vote its Class 9 claim in that amounli to
                 support the P?an~

             •   HarbourVest wil1 support confomation of the Debtor's Plan. inc]uding. but not
                 limited to. voting its claims in support of the Plan:

             •   The HarbourVest Claims shaH be aHowed in the aggregate amount of $45 miHion for
                 voting purposes~

             •   HarbourVest wil1 support the Debtor's pursuit of its pending Plan of Reorganization~
                 and

             •   The parties shaH exchange murua] releases.


                                       ·o mkn.: t 111   H 'L       \\   t1mat "d to b    __ m1lli n   f
   December 1. 20 20.

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  See general~r Morris Dec. Exhibit 1.

                                   BASIS FOR RELIEF REQUESTED

                  33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

  a setit]ement. providing that:

            On motion by the trustee and after notice and a hearing. the court may
            approve a compromise or settlement. Notice shal1 be given to creditors. the
            United States trustee. the debtor. and indenture trustees as provided in Rule
            2002 and to any other entity as the court may direct.

  FED. R. BANKR. P. 9019(a).

                  34.     Settlements in bankruptcy are favored as a means of minimizjng ]itigation.

  expediting the administration of the bankruptcy estate~ and providing for the efficient resolution

  of bankruptcy cases. See Myers v. Martin (In re Marrin). 91 F.3d 389, 393 (3d Cir. 1996}~

  Rivercity \'. He,pel (In re Jackson Brewing Co.), 624 F.2d 599. 602 (5th Cir. 1980). Pursuant to

  Bankruptcy Rule 9019(a). a bankruptcy court may approve a compromise or settlement as long

  c1s the proposed settlement is fair. reasonable. and in the best interest of the estate. See In re Age

  Ref Inc.. 801 F.3d 530~ 540 (5th Cir. 2015). Ultimate]y. "approval of a compromise is within

  the sound discretion of the bankruptcy court.'' See United States   l-'.   AWECO, In c. (In re A WECO,

  Inc.). 725 F.2d 293. 297 (5th Cir. 1984)~ Jackson Brewing. 624 F.2d at 602---03.

                  35.     [n making this detennination. the United States Court of Appeals for the

  Fifth Circuit app]ies a three-part test. •with a focus on comparing 'the tenns of the compromise

  with the rewards of foigation. "" O.fficial Comm. q.f Umecured Creditors v. Cajun Elec. Pm-1--er

  Coop. (In re Cajun Elec. Power Coop.), 119 F.Jd 349. 356 (5th Cir. 1997) (citing Jackson

  Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the foHowing

  factors: ''( 1) The probability of success in the litjgation. with due consideration for the

  uncertainty of law and fact~ (2) The complexity and Jikely duration of the litigation and any




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  attendant expense. jnconvenience and de]ay. and (3) AlJ other factors bearing on the wisdom of

  the compromise." Id. Under the rubric of the third factor referenced above. the Fifth Circuit has

  specified two additiona] factors that bear on the decision to ap prove a proposed settlement. First,

  the court should consider ··the paramount interest of creditors wit h proper deference to their

  reasonable views." Id.~ Conn. Gen. Ltfe Ins. Co.             l'.   United Cos. Fin. Corp. (In re Foster

  Mortgage Corp .).. 68 F.3d 914, 917 (5th Cir. t 995) . Second, the court shou]d consider the

  ··extent to which the settlement is truly the product of am1s-]ength bargaining, and not of fraud or

  collusion." Age Ref Inc .. 801 F.3d at 540~ Foster Mortgage Corp .• 68 F.3d at 918 (citations

  omitted).

                   3 6.   There is ample basis to approve the proposed Sen]ement Agreement based

  on the Ru]e 901 9 factors set forth by the F jfth Circuit.

                   37 .   F jrst. although the Debtor believes that it has valid defenses to the

  HarbourVest Claims. there is no guarantee that the Debtor would succeed in its litigation with

  HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

  part. on the credibility of witnesses whose veracity has already been called into question by this

  Court.      Moreover, it wj]l be difficult to dispute that the Transfers precipitated the Acis

  Bankruptcy. and .. u]timately. the imposition of the Bankruptcy Court's TRO that restrjcted

  HCLOF"s abi lity to reset or redeem the CLOs and that is at the core of the HarbourVest Claims.

                   38.    The second factor-the complexity. duration. and costs of ]itigation-also

  weighs heavily jn favor of approving the Settlement Agreement. As thjs Court is aware, the

  events forming the basis of the HarbourVest Claims- including the Terry Litigation and Acis

  Bankruptcy-proceeded f or years in this Court and in multiple other forums. and has a]ready

  cost the Debtor's estate mjllions of doilars in legal fees.           If the Settlement Agreement js not

  approved. then the parties wiH expend significant resources litigating a host of fact-intensive


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  fraudulent statements and omissions and whether HarbourVest reasonab]y relied on those

  statements and omissjons.

                           39.        Third, approval of the Settlement Agreement is justified by the paramount

  interest of creditors. Specifica1ly. the settlement wiH enable the Debtor to: (a) avoid incurring

  substantial litigation costs~ (b) avoid the litigation risk associated with HarbourVesfs S300

  mil1ion cJajm~ and (c) through the p]an support provisions, increase the ljkelihood that the

  Debtor's pending plan of reorganization wil1 be confirmed.

                           40.        Finally~ the Settlement Agreement was unquestionably negotiated at

  ann ·s~length. The tenns of the settlement are the resuh of numerous. ongoing discussions and

  negotiations betv1een the parties and their counsel and represent neither party"s ··best case

  scenario." Indeed~ the Settlement Agreement should be approved as a rational exercise of the

  Debtor's business judgment made after due de]iberation of the facts and circumstances

  concernjng HarbourVest·s Claims.

                                                           NO PRIOR REQUEST

                           41.        No previous request for the re]ief sought herein has been made to this. or

  any other~Court.

                                                                          N OTICE


                           42.        Notjce of this Motion shal1 be given to the fo] lowing parties or. in lieu

  thereof~ to their counseL if known: (a) counse] for HarbourVest~ (b) the Office of the United

  States Trnstee~ (c) the Office of the Unjted States Attorney for the Northern District of Texas~ (d)

  the Debtor's principa] secured parties~ (e) counsel to the Committee~ and (f) parties requesting

  notice pursuant to Bankruptcy Rule 2002. The Debtor submits that. in light of the nature of the

  relief requested. no other or further notice need be given.

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           WHEREFORE. the Debtor respectfully requests entry of an order. substantiaHy jn the

   form attached hereto as Exhibit A. (a) granting the relief requested herein. and (h) granting such

   other reljef as is just and proper.




   Dated: December 23, 2020.                 PACHULSKI STANG ZIEHL & JONES LLP

                                             Jeffrey N. Pomerantz (CA Bar No. 143717)
                                             Ira D. Kharasch ( CA Bar No. 109084)
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                                             -and-

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                                             Counsel for the Debtor and Debtor-in-Possession




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                                        Exhib1t 1
                             Settlement Agreement




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                                    SETTLElvlENT AGREEl\'.IENT

           This Settlement Agreement (the "Agreemenf'') is entered into as of March 30, 2021 ~ by
   and among (i) Highland Capital Management, L.P. CHCMLP't or the "Debtor'~), (ii) Highland
   Credit Opportunities CDO, LP. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
   Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
   the "MSCF Parties,t), (iii) Strand Advisors, Inc. ("Strand~). and (iv) UBS Securities LLC and
   UBS AG London Branch (collectively, ''UBSH).

           Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
   collectively as the "Parties~' and individually as a "Party.n

                                            RECITALS

          WHEREAS~ in 2007, UBS entered into certain contracts with HCMLP and two funds
   managed by HCMLP-Highland CDO Opportunity Master Fund~ L.P. ('~coo Fund~') and
   Highland Special Opportunities Holding Company c~soHC,'~ and together with CDO Fund~ the
   ~~Funds~') related to a securitization transaction (the HKnox Agreemenf');

         WHEREAS~ in 2008, the parties to the Knox Agreement restructured the Knox
   Agreement;

           WHEREAS~ UBS terminated the Knox Agreement and. on February 24~ 2009, UBS
   filed a complaint in the Supreme Court of the State of New York~ County of New York (the
   ustate Court'') against HCMLP and the Funds seeking to recover damages related to the Knox
   Agreementt in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
   L.P., et al., Index No. 650097/2009 (N.Y. Sup. Ct.) (the '~2009 Action");

          WHEREAS,. UBS's lone claim against HCMLP in the 2009 Action for indemnification
   was dismissed in early 2010, and thereafter UBS amended its complaint in the 2009 Action to
   add five new defendants, Highland Financial Partners, L.P. e HFP'.''), Highland Credit Strategies
   Master Funds, L.P. ("Credit-Straf')1 Highland Crusader Offshore Partners, L.P. ("Crusader'.''))
   Muhl-Strat, and Strand1 and to add new c1a1ms for fraudu1ent inducement, fraudulent
   conveyance~tortious interference with contract~alter ego, and general partner l1ability;

           WHEREAS,. UBS filed a new, separate action against HCMLP on June 28, 2010, for,
   inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
   dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P., Index No.
   65075 2/2010 (N.Y. Sup. Ct.) (the ''2010 Action~');

          WHEREAS,. in November 2010, the State Court consolidated the 2009 Action and the
   2010 Action (hereafter referred to as the "State Court Actiont'.'), and on May 11, 2011 ,. UBS filed
   a Second Amended Complaint in the 2009 Action;

           WHEREAS, in 2015'.' UBS entered into settlement agreements with Crusader and Credit-
   Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
   its claims against Crusader and Credit-Strat;




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            WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
     purposes of trial, with the Phase I bench trial deciding UBS ts breach of contract claims against
     the Funds and HCMLP's counterclaims against UBS;

             WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
     Fund, Ltd., Highland CDO Holding Company~ Highland Financial Corp., and HFP, purportedly
     sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
     Assets'~) and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
     ("Sentinel'~) pursuant to a purported asset purchase agreement (the "Purchase Agreemenf');

           WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
     premium on a document entitled "Legal Liability Insurance Polici' (the "Insurance Polici');

           WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
     $100,000,000 for any legal liability resulting from the State Court Action (the ~'Insurance
     Proceeds..);

            WHEREAS, one of the Transferred Assets COO Fund transferred to Sentinel was CDO
     Fund;s limited partnership interests in Multi-Strat (the ''CDOF Interests;t);

             WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
     Multi-Strat for certain cash consideration (together with the CDOF Interests, the '~MSCF
     Interests'')~

            WHEREAS~ the existence of the Purchase Agreement and Insurance Policy were
     unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
     January 2021;

           WHEREAS~ in early February 2021, the Debtor disc1osed the existence of the Purchase
     Agreement and Insurance Policy to UBS;

            WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
     were unknown to UBS;

             WHEREAS, on November 14, 2019 ~ following the Phase I tria], the State Court issued
     its decision determining that the Funds breached the Knox Agreement on December 5~ 2008 and
     dismissing HCMLP~s counterclaims;

            WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
     the redeemed MSCF Interests are currently valued at approximately $32,823,423.50 (the
     "Sentinel RedemptionH);

            WHEREAS, on February 10, 2020~ the State Court entered a Phase I trial judgment
     against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the "Phase I
     Judgment");

            WHEREAS, Phase II of the trial of the State Court Action~ includes, inter alia , UBS ts
     claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS's




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    fraudulent transfer claims against HCMLP~ HFP, and Multi-Strat, and UBS's general partner
    claim against Strand;

           WHEREAS~ on October 16, 2019 ~ HCMLP filed a voluntary petition for relief under
    chapter l l of title 11 of the United States Code (the "Bankruptcy Code") in the United States
    Bankruptcy Court for the District of Delaware (the •~Bankruptcy Case'"). The Bankruptcy Case
    was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
    "Bankruptcy Courtn) on December 4, 2019;

        WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
    HCMLP by HCMLPts bankruptcy filing;

           WHEREAS, on May 11, 2020, UBS~ Multi-Strat, Highland Credit Opportunities CDO,
    Ltd.• and Highland Credit Opporhmities COO Asset Holdings, L.P. (collectively, the ~1May
    Settlement Parties~'), entered into a Settlement Agreement (the -~May Settlement..) pursuant to
    which the May Settlement Parties agreed to the allocation of the proceeds of certain sales of
    assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
    Multi-Straf s actions;

            WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
    the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
    filed by UBS AG London Branch (hereinafter collectively referred to as the "'UBS Claim"). The
    UBS Claim asserts a general unsecured claim against HCMLP for $1,039,957,799.40;

           WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order Directing
    Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
    directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
    Retired Judge A1lan Gropper and Sylvia Mayer (together, the ;·Mediators'~). HCMLP and UBS
    fonna1ly met with the Mediators together and separately on numerous occasions. including on
    August 27, September 2, 3. and 4. and December 17. 2020, and had numerous other informal
    discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

           WHEREAS, on August 7. 2020, HCMLP filed an objec1ion to the UBS Claim [Docket
    No. 928]. Also on August 7, 2020, the Redeemer Committee of the High]and Crusader Fund,
    and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, L1d., and Highland
    Crusader Fund II, Ltd. (collectively, the ~;Redeemer Committee")1 objected to the UBS Claim
    [Docket No. 933]. On September 25, 2020, UBS filed its response to these objections [Docket
    No. 1105]~

            WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
    for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
    on November 6, 2020, UBS opposed these motions [Docket No. 1337];

            WHEREAS~ by Order dated December 9 1 2020, the Bankruptcy Court granted, as set
    forth therein, the motions for partia] summary judgment filed by HCMLP and the Redeemer
    Committee and denied UBS' s request for leave to file an amended proof of claim [Docket No.
    1526];




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           WHEREAS~ on November 6., 2020~ UBS filed UBS's Motion for Temporary Allowance
    of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
    No. 1338] (the "3018 Motion")., and on November 16, 2020, HCMLP and the Redeemer
    Committee each opposed the 3018 Motion [Docket Nos. 1404 and 1409, respectively];

          WHEREAS~ by Order dated December 8, 2020~ the Bankruptcy Court granted the 3018
    Motion and allowed the UBS Claim~ on a temporary basis and for voting purposes only~ in the
    amount of$94,761,076 [Docket No. 1518];

          WHEREAS~ on January 22, 2021, the Debtor filed the Fifth Amended Plan of
    Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
    amended, and as may be further amended, supplemented, or otherwise modified, the "Plan,t);

           WHEREAS~ on March 29, 2021~ the Debtor caused COO Fund to make a claim on the
    Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

            WHEREAS~ on March 29~ 2021) UBS filed an adversary proceeding seeking injunctive
    relief and a motion for a temporary restraining order and preliminary injunction to~ among other
    things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
    Sentinel or any transferee of Sentinel (the ~·Multi-Strat Proceeding'~)) which relief the Debtor, in
    its capacity as Multi-Strat's investment manager and general partner, does not oppose~

           WHEREAS, the Parties wish to enter into this Agreement to settle a11 claims and
    disputes between and among themt to the extent and on the terms and conditions set forth herein,
    and to exchange the mutua] re1eases set forth herein without any admission of fau]t, Jiability or
                                                                      1                                            1

    wrongdoing on the part of any Party~ and

           WHEREAS, this Agreement wi11 be presented to the Bankruptcy Court for approva]
    pursuant to Federal Rule of Bankruptcy Procedure 90 19 C'Ru]e 9019~') and section 363 of the
    Bankruptcy Code;

           NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
    and promises made herein, and other good and valuable consideration, the receipt of which is
    hereby acknow1edged, the Parties agree as follows:

                                                    AGREEMENT

               l,  Settlement of Claims. In full and complete satisfaction of the UBS Released
    Claims (as defined below):

                 (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
    the amount of $65,000,000 against HCMLP~ which sha11 be treated as a Class 8 General
    Unsecured Claim under the Plan; 1 and (ii) a single~subordinated unsecured claim in the amount
    of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
    Unsecured Claim under the Plan.




    l   Capitalized terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                     (b)    Multi-Strat will pay UBS the sum of $18~500~000 (the "Multi-Strat
     PaymenC~) as follows: (i) within two (2) business days after the Order Date~ the May Settlement
     Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
     of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
     in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
     following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
     Payment in immediately available funds on the date that is ten ( 10) business days following the
     Order Date, provided thal for the avoidance of doubt, the amounts held in the Escrow Account
     will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                     (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
     COO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
     within 5 business days of COO Fund actually receiving the Insurance Proceeds from or on behalf
     of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds) take legal action reasonably
     designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
     Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
     assistance to UBS in connection with any legal action UBS takes to recover the Insurance
     Proceeds or to return the Transferred Assets to the Funds to satisfy 1he Phase I Judgment or
     obtain rights to the MSCF interests, including but not limited to the redemption payments in
     connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
     the investigation or prosecution of claims or requests for injunctive relief against the Funds)
     Multi-Strat, Sentinel, James Donderot Isaac Leventon, Scott Ellington, Andrew Dean,
     Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving, and/or any other current or
     fonner employee or director of the Funds or Sentinel and/or any other fonner employee or
     fonner director of any of the HCMLP Parties that is believed to be involved with the Purchase
     Agreementt Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
     potentially fraudulent transfer of assets from the FWlds to Sentinel, excluding the individuals
     listed on the schedule provided to UBS on March 25, 2021 (the ..HCMLP Excluded
     Employees'•)~ (iv) as soon as reasonably practicable, provide UBS with al1 business and trustee
     contacts at the FW1ds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
     Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
     if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
     practicable, provide UBS with a copy of the governing documents, prospectuses~ and indenture
     agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
     Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
     as applicable~ that are in the Debtor's actual possession, custody, or control, (vi) as soon as
     reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
     the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp.~ Aberdeen Loan Funding Ltd,
     Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
     applicable. including information regarding the location and amount of any cash related to those
     entitiest holdings~ in each case only to the extent actually known by the Debtor after reasonable
     inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
     1(c)(vi) or any other assets owned or controlled by the Funds and/or HFP~ including for
     avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
     discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
     reasonably possible to requests by UBS for access to relevant documents and approve as
     promptly as reasonably possible requests for access to relevant documents from third parties as
     needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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     MSCF Interests and any other assets currently or formerly held by the Funds or HFP. including
     without limitation the requests listed in Appendix A (provided. however~ that the provision of
     any such documents or access will be subject to the common interest privilege and will not
     constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
     Debtor's actual possession, custody~ or control; (ix) preserve all documents in HCMLP's
     possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
     Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
     not limited to the documents requested in Appendix A, from 2016 to present, and issue a
     litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
     otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
     and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
     ahead of all other creditors of the Funds and HFP; provided. however~ that~ from and after the
     date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses~ including,
     but not limited to, those fees and expenses for outside consultants and professionals (the
     ~'Reimbursable Expenses•~), in connection with any provision of this Section l(c) in excess of
     $3,000,000 (the '~Expense Cap~~)~ and provided further that, for every dollar UBS recovers from
     the Funds (other than the assets ifelated to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
     Sentinel~ Multi-Strat (other than the amounts set forth in Section l(b) hereof)~ or any other
     person or entity described in Section l(c)(iii) in connection with any claims UBS has that arise
     out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
     Transferred Assets, the MSCF Interests, or the Inslllclnce Proceeds (the '~UBS Recovery~•), UBS
     will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
     incurred by HCMLPt subject to: (I) the occurrence of the Agreement Effective Date and (2)
     UBS~s receipt and review of invoices and time records (which may be redacted as reasonably
     necessary) for outside consultants and professionals in connection with such efforts described in
     this Section I (c), up to but not exceeding the Expense Cap after any disputes regarding the
     Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
     an agreement~ in a manner directed by the Bankruptcy Court; and provided further that in any
     proceeding over the reasonableness of the Reimbursable Expenses~ the losing party shall be
     obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
     that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
     beha]f of or for UBS's benefit pursuant to this Section 1(c) shall be conducted in consultation
     with UBS. including but not limited to the selection of necessary outside consultants and
     professionals to assist in such litigation; and provided further that UBS shall have the right to
     approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
     which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
     UBS's benefit pursuant to this Section 1(c).

                   (d)     Redeemer Appeal.

                           (i)   On the Agreement Effective Date; provided that neither the
     Redeemer Committee nor any entities acting on its behalf or with any assistance from or
     coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
     (as defined below). UBS shall withdraw with prejudice its appeal of the Order Approving
     Debtor ·s Settlement with (A) the Redeemer Committee of the Highland Crwwder Fund (Claim
     No. 72) and (B) the Highland Crusader Funds (Claim No. 81). and Authorizing Actions
     Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                            (ii)    The Parties have stipulated to extend the deadline for the filing of
    any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
    necessary to facilitate this Settlement Agreement.

                   (e)     As of the Agreement Effective Date, the restrictions and obligations set
    forth in the May Settlement~ other than those in Section 7 thereof, shall be extinguished in their
    entirety and be of no further force or effect.

                   (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
    agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                   (g)     On the Agreement Effective Date~ any claim the Debtor may have against
    Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
    shall be automatically transferred to UBS, without any further action required by the Debtor. For
    the avoidance of doubt) the Debtor shall retain any and all other claims it may have against
    Sentinel or any other party~ and the recovery related thereto, unrelated to the MSCF Interests.

           2.      Definitions~

                   (a)   ~4Agreement Effective DateH shall mean the date the full amount of the
    Multi-Strat Payment defined in Section 1(b) above, including without limitation the amounts
    held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

                (b)    HHCMLP Parties~~ shall mean (a) HCMLPi in its individual capacity; (b)
    HCMLPt as manager of Multi-Strat; and (c) Strand.

                  (c)    ..Order Date'~ shall mean the date of an order entered by the Bankruptcy
    Court approving this Agreement pursuant to a motion filed under Rule 901 9 and section 363 of
    the Bankruptcy Code.

                   (d)     .. UBS Parties~' shall mean UBS Securities LLC and UBS AG London
    Branch.

           3.      Releases.

                     (a)    UBS Releases~ Upon the occurrence of the Agreement Effective Date.
    and to the maximum extent pemiitted by law, each of the UBS Parties hereby forever, finally.
    fully, unconditionally, irrevocably, and completely releases. relieves, acquits~ remises,
    exonerates~ forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
    their current and former advisors, attorneys, trustees, directors~ officers, managers, members,
    partners, employees, beneficiariesi shareholders~ agents, participants, subsidiaries, parents,
    affiliatesi successorsi designees, and assigns (each in their capacities as such), except as
    expressly set forth below, and (B) the MSCF Parties and each of their current and former
    advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
    beneficiaries, shareholders, agents~ participants, subsidiaries, parents, affiliates, successors,
    designees, and assigns (each in their capacities as such), except as expressly set forth below, for
    and from any and all claims~debts, liabilities~ demands, obligations~ promises 1 acts, agreements,
    liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
    damages, injuries~ suits~ actions~ and causes of action of whatever kind or nature, whether known


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     or unknown, suspected or unsuspected, matured or unmatured~ liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation~
     any claims, defenses, and affinnative defenses, whether known or unknown~ including~ without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "UBS Released Claims..)~ provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to ( l) the
     obligations of the HCMLP Parties and MSCF Parties under this Agreement~ including without
     limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
     described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
     respect to the prosecution, enforcement~ collection, or defense of the Phase I Judgment, Purchase
     Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
     the Phase I Judgment, Purchase Agreement~ and/or Insurance Policy by UBS; (3) James Dondero
     or Mark Okada, or any entities~ including without limitation Hunter Mountain Investment Trust,
     Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
     than the HCMLP Parties and MSCF Parties (but for the avoidance of doub~ such releases of the
     HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
     extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
     capacity, including but not limited to as an investor, officer~ trustee~ or director in the HCMLP
     Parties or MSCF Parties)~ (4) Sentinel or its subsidiaries, parents, affiliates, successors,
     designees, assigns, employees~ or directors, including James Dondero, Isaac Leventon, Scott
     Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevill~ Matthew DiOrio, Katie Irving~
     and/or any other current or former employee or director of the Funds or Sentinel and/or any other
     former employee or former director of any of the HCMLP Parties that is believed to be involved
     with the Purchase Agreement~ Insurance Po1icy. MSCF Interests. or Transferred Assets.
     including for any liability with respect to the prosecution 1 enforcement. collection, or defense of
     the Phase I Judgmen4 Purchase Agreement, the MSCF Interests, any potentia11y fraudulent
     transfer of assets from the Funds to Sentinel and/or Insurance Policy~ excluding the HCMLP
     Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
     directly or indirectly (including in its capacity as an investment manager and/or investment
     advisor)~ in any HCMLP-affiliated entity, including without limitation in the Redeemer
     Committee and Credit Strat, and/or in such en1ities' past, present or future subsidiaries and
     feeders funds (the ·'UBS Unrelated Tnves1ments")~ and (6) any actions taken by UBS against any
     person or entity, including any HCMLP Party or MSCF Party~ to enjoin a distribution on the
     Sentinel Redemption or the transfer of any assets currently held by or within the control of COO
     Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
     or entity has standing to pursue or authorize in order to pennit UBS to recover the Insurance
     Proceeds. Transferred Assets, the Phase l Judgment or any recovery against HFP; provided.
     however, that, from and after the date hereof. any out-of-pocket fees or expenses incurred by
     HCMLP in connection with this Section 3(a)(6) wi11 be considered Reimbursable Expenses and
     shall be subject to, and applied against~ the Expense Cap as if they were incurred by HCMLP
     pursuant to Section l (c) subject to the occurrence of the Agreement Effective Date and after any
     disputes regarding such Reimbursable Expenses have been resolved in the manner described in
     Section 1(c).

                    (b)     HCMLP Release. Upon the occurrence of the Agreement Effective Date,
     and to the maximum extent permitted by law. each of the HCMLP Parties hereby forever, finally~
     fully 1 unconditionally, irrevocably, and completely releases. relievesi acquits, remises,
     exonerates~ forever discharges~ and covenants never to sue any of the UBS Parties and each of


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     their current and former advisors, attorneys, trustees, directorsi officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents~ participantsi subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities~ demands, obligationsi promises, acts, agreements, Liens~ losses,
     costs and expenses (including, without limitation, attorneys~ fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether knmvn or
     unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed~ at law or in equity, or statutory or otherwise~ including, without limitation,
     any claims~ defenses, and affirmative defenses, whether known or unknovm, including, without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the '"HCMLP Released Claims,J, provided. however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
     of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
     obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                     (c)     Multi-Strat Release. Upon the occurrence of 1he Agreement Effective
     Date, and to the maximum extent permitted by law~ each of the MSCF Parties hereby forever,
     finally, fully, unconditionally, irrevocably, and completely releases~ relieves, acquits, remises,
     exonerates~ forever discharges~ and covenants never to sue any of the UBS Parties and each of
     their cmrent and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners~ employees, beneficiaries, shareholders~ agents~ participants, subsidiaries, parents,
     affiliates, successors. designees, and assigns (each in their capacities as such), for and from any
     and all claims. debts. liabilities. demands. obligations. promises~ acts. agreements, liens. Josses.
     costs and expenses (inc1uding, without ]imitation~ attorneys' fees and related costs), damages.
     injuries, suits, actions, and causes of action of whatever kind or nature. whether known or
     unknown, suspected or unsuspected, matured or unmatured. liquidated or unliquidated,
     contingent or fixed~ at law or in equity, or statutory or otherwise~ including, without limitation,
     any claims~ defenses, and affirmative defenses ~ whether known or unknown, including~ without
     limitation, those that have been or could have been alleged or asserted in the St.ate Court Action
     or the Bankruptcy Case (collectively. the ~~Multi-Strat Released Claims',), provided. however.
     that notwithstanding anything to the contrary herein, such releases shall not apply to the
     obligations of the UBS Parties tmder this Agreement or Section 7 of the May Settlement.

           4.    No Third Party Beneficiaries. Except for the parties released by this
     Agreement, no other person or entity shall be deemed a third-party beneficiary of this
     Agreement.

             5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
     Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
     by virtue of the prosecution, enforcement, or collection of the Phase I Judgment (collectively, the
     "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
     State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
     assert or pursue any claims that any Controlled State Court Defendant has or may have against
     any of the HCMLP Parties; provided. however. that nothing shall prohibit UBS or a Controlled
     State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
     further~ however~ if and to the extent UBS receives any distribution from any Controlled State
     Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
     Debtor~ subject to the exceptions set forth in Section 3(a)t which distribution is directly


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    attributable to any property the Controlled State Court Defendant receives from the Debtor and
    separate and distinct from property owned or controlled by CDO Fund, SOHC or Multi-Strat,
    then such recovery shall be credited against all amounts due from the Debtor's estate on account
    of the UBS Claim allowed pursuant to Section l(a) of this Agreement~ or if such claim has been
    paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

           6.      Agreement Subiect to Bankruptcy Court Approval.

                    (a)    The force and effect of this Agreement and the Parties' obligations
    hereunder are conditioned in all respects on the approval of this Agreement and the releases
    herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
    Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
    and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
    filed by the Debtor no later than five business days after execution of this Agreement by all
    Parties unless an extension is agreed to by both parties.

           7.      Representations and Warranties.

                    (a)   Each UBS Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the UBS Released Claims and has not soldt transferred~
    or assigned any UBS Released Claim to any other person or entityt and (ii) no person or entity
    other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
    UBS Released C1aim on behalf of~ for the benefit of, or in the name of (whether direct1y or
    derivatively) such UBS Party.

                    (b)    Each HCMLP Party represents and warrants that (i) it has fu11 authority to
    enter into this Agreement and to release the HCMLP Released C1aims and has not so1d,
    transferredt or assigned any HCMLP Released Claim to any other person or entityt and (ii) no
    person or entity other than such HCMLP Party has been1 is~ or will be authorized to bring,
    pursue~ or enforce any HCMLP Released Claim on behalf of, for the benefit of1 or in the name of
    (whether directly or derivatively) such HCMLP Party.

                    (c)    Each MSCF Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the M ulti-Strat Released Claims and has not sold1
    transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
    person or entity other than such MSCF Party has been, is1 or will be authorized to bring~ pursue,
    or enforce any Multi-Strat Re1eased C1aim on beha]f of1 for the benefit of~ or in the name of
    (whether direct1y or derivatively) such MSCF Party.




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             8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
     dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
     or by implication~ as an admission of liabilityi fault~ or wrongdoing by HCMLP, the MSCF
     Parties, Strand~ UBS~ or any other person1 and the execution of this Agreement does not
     constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
     Parties~ Strand, UBS, or any other person.

            9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
     the benefit of each of the Parties and their representatives, successors, and assigns.

             10.     Notice. Each notice and other communication hereunder shall be in writing and
     will, unless otherwise subsequently directed in writing, be delivered by email and overnight
     delivery, as set forth below, and will be deemed to have been given on the date following such
     mailing.

            HCMLP Parties or the MSCF Parties

            Highland Capital Management, L.P.
            300 Crescent Court, Suite 700
            Dallas~ Texas 75201
            Attention: General Counsel
            Telephone No.: 972-628-4100
            E-mail: notices@HighlandCapital.com

            with a copy (which shall not constitute notice) to:

            Pachulski Stang Ziehl & Jones LLP
            Attention: Jeffrey Pomerantz. Esq.
            10100 Santa Monica Blvd .• 13th Floor
            Los Angelest CA 90067
            Telephone No.: 310-277-6910
            E-mai1: jpomerantz@pszjlaw.com

            UBS

            UBS Securities LLC
            UBS AG London Branch
            Attention: Elizabeth Kozlowski, Executive Director and Counsel
            1285 Avenue of the Americas
            New York~NY 10019
            Telephone No.: 212-713-9007
            E-mail: elizabeth.kozlowski@ubs.com

            UBS Securities LC
            UBS AG London Branch
            Attention: John Lantz, Executive Director
            1285 Avenue of the Americas
            New York~ NY 10019



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             Telephone No.: 212-713-1371
             E-mail: john.lantz@ubs.com

             with a copy {which shall not constitute notice} to:

             Latham & Watkins LLP
             Attention: Andrew Clubok
                         Sarah Tomkowiak
             555 Eleventh Street, NW~ Suite 1000
             Washington, D.C. 20004-1304
             Telephone No.: 202-637-3323
             Email: andrew .clubok@lw.com
                     sarah. tomkowiak.@lw.com

             11.     Advice of Counsel. Each of the Parties represents that such Party has: (a) been
      adequately represented by independent legal counsel of its own choice, throughout all of the
      negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
      the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
      and conditions contained herein without any reservations; and (d) had the opportunity to have
      this Agreement and all the terms and conditions contained herein explained by independent
      connsel, who has answered any and all questions asked of such connsel, or which could have
      been asked of such counsel. including. but not limited to. with regard to the meaning and effect
      of any of the provisions of this Agreement.

              12,    Entire Agreement. This Agreement contains the entire agreement and
      understanding concerning the subject matter of this Agreement, and supersedes and replaces all
      prior negotiations and agreements, written or oral and executed or unexecuted, concerning such
      subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
      attorney for any such Partyt has made any promise, representation, or warranty, express or
      implied, written or oral, not otherwise contained in this Agreement to induce any Party to
      execute this Agreement. The Parties further acknowledge that they are not executing this
      Agreement in reliance on any promise~ representation, or warranty not contained in this
      Agreement, and that any such reliance would be unreasonable. This Agreement wil1 not be
      waived or modified except by an agreement in writing signed by each Party or duly authorized
      representative of each Party.

              13,    No Party Deemed Drafter. The Parties acknowledge that the terms of this
      Agreement are contractual and are the result of ann' s-length negotiations between the Parties
      and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
      of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
      construed against any Party.

            14.    Future Cooperation. The Parties agree to cooperate and execute such further
      documentation as is reasonably necessary to effectuate the intent of this Agreement.

              15.    Counterparts. This Agreement may be executed in counterparts with the same
      force and effect as if executed in one complete document. Each Party's signature hereto will
      signify acceptance of, and agreement to ~ the terms and provisions contained in this Agreement.


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    Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
    originals of this Agreement for any purpose.

            16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
    Agreement will be governed by and will be construed according to the laws of the State of New
    York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
    exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
    thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
    Manhattan, New York~ with respect to any disputes arising from or out of this Agreement. In
    any action to enforce this Agreement, the prevailing party shall be entitled to recover its
    reasonable and necessary attorneys' fees and costs (including experts).

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   IT IS HEREBY AGREED ..

                                     HIGHLAND CAPITAL MANAGEMENT, LP.


                                     By:
                                     Name: _        _,_---=.111~"-"'---'C----"-'----""=-"o~---"'-'--'----,--- -~ -

                                     Its:


                                     HIGHLAND ~-tuLTI STRATEGY CREDIT
                                     FUND,     LP~    ( f/k/a Highland Credit
                                     Opportunities COO, LP.)


                                     By~
                                     Name: _ _ _----=-:~-=-----'----C----'""=c..!.....4---+-=~      - --

                                     Its:


                                     HIGHLAND CRF:OIT OPPORTUNITIES CDO,
                                     Ltd.


                                     8 y;                                                            ~
                                     Name: _ _,_ _ :Lr
                                                   _ w-J.J
                                                       _                  __.._•-----=-----+--'-' - - - --
                                     Its:


                                     HIGHLAND CREDIT OPPORTU~ITIES CDO
                                     ASSET HOLDINGS, L.P.


                                     By;
                                     Name:
                                     Its:
                                                       ~                                         ,0
                                     STRAND ADVISORS, INC.


                                     By:
                                     Name: _ _-1-- - - . . , _ . . ; . . - ~ . . ; , , - i . . . . . . . - - - - -
                                     lts:




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                                      UBS SECURITIES LLC

                                     By:
                                     Name:~=-=-====------------
                                     Its:        Au~orized Signat~ory
                                                 u~·aul f-·
                                                                        ,t



                                     By:                                ~.;.
                                     Name: .Elizab'eth Kozlows~
                                     Its:  Authorized Signatory

                                      UBS AG LONDON BRANCH


                                     By:
                                     Name: William Chandler
                                     Its:  Authorized Signatory

                                     By:
                                     Name: ]izabcth Knzlnws i
                                     Its:  Authorized Signatory




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                                       APPENDIX A
   •    The search parameters (custodians, date ranges, search terms) used to locate the
        documents produced to UBS on February 27, 2021 (and any additional parameters used
        for the previous requests from UBS);
   •    Identity of counsel to, and trustees of, CDO Fund or SOHC;
   •    Current or last effective investment manager agreements for COO FWld and SOHC,
        including any management fee schedulet and any documentation regarding the
        termination of those agreements;
   •    The tax returns for the CDO Fund and SOHC from 2017-present;
   •    Communications between any employees of Sentinel (or its affiliates) and any
        employees of the HCMLP Parties, CDO Fund, SOHC'.> or any of Dondero'.> Leventon'.> or
        Ellington from 2017-present;
   •    Documents or communications regarding or relating to the Purchase Agreement,
        Insurance Policy, or June 30, 2018 Memorandum entitled "Tax Consequences of
        Sentinel Acquisition of HFP/CDO Opportunity Assetf' (the ''Tax Memo'.>')~ including
        without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
        these documents" (iii) board minutes or resolutions regarding or relating to these
        documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
        regarding the asset transfer pursuant to these documents; and (vi) any similar asset
        purchase agreements, capital transfer agreements, or similar agreements;
   •    Documents or communications regarding or relating to the value of any assets
        transferred pursuant to the Insurance Policy or Purchase Agreement, including without
        limitation those assets listed in Schedule A to the Purchase Agreementt from 2017 to
        present, including documentation supporting the $105,6471679 value of those assets as
        listed in the Tax Memo;
   •    Documents showing the organizational structure of Sentinel and its affiliated entities,
        including information on Dondero:os relationship to Sentinel;
   •    Any factual infonnation provided by current or former employees of the HCM LP
        Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
        Agreement, Insurance Policy~ Tax Memo1 and/or transfer of assets pursuant to those
        documents;
   •    Debtor~s settlement agreements with Ellington and Leventon;
   •    Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
        Indenture, dated as of December 20~ 2007, among Greenbriar CLO Ltd., Greenbriar
        CLO Corp., and State Street Bank and Trust Company); and
   •    Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
        those creditors by CDO Fund'.> SOHC, or HFP, including without limitation any debts
        owed to the Debtor.




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                                 Hellman & Friedman Seeded Farallon Capital Management
 OUR FOUNDER



     RETU~N TO ABOUT c/ABOUT/)




 Warren Hellman: One of the good guys

 Warren Hellman was a devoted famlly man, highly successful businessman, active philanthropist, dedicated musician, arts patron,
 endurance athlete and all-around good guy. Born in New York City in 1934, he grew up in the Bay Area, graduating from the University of
 California at Berkeley. After serving in the U.S. Army and attendin,g Harvard Business Sthaol, Warren began his finance ci'!reer at Lehman
 Brothers, becoming the youngest partner in the firm's histof)' at age 26 and subsequently serving as President After a distinguished
 career on Wall Street, Warren moved back west and co-founded Hellman & Friedman, building it into one of the industry's leading prfvate
 equity firms.



 Warren deeply believl!!d in the power of people to accomp Iis h i ncredi bl e things and used his success to fm prove and enrich the Iives of
 countless people. Throughout his career, Warren helped found or seed ma11y successful businesses including Matrix Partners.Jordan
 Management Comp.any, Fo1rallor, Capital Monagement and Hall Capital P.irtners,



 Within the community. Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
 education, civic lrfe. and public health, including creating and running the San Francisco Free Clink. Later in life. Warren became an
 accom p!ish ed S•stri ng banjo player and foll nd great joy in sharing the Iove of mu sic with others. in true form. he made something Ia rge r of
 this avocatton to benefit others by founding the Hardly Strictly Bluegrass Festival. an annual three--day. free music festival that draws
 hundreds of thousands of people togetner from around the Bay Area .



 An ac:com plished endurance athlete. Warren regularly completed 100-mile runs. horseback rides and combinations of the two. He also
 wa~ an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 1970s• .ind is credited with
 hetping revitalize the Sugar Bowl ski resort in the C.i(ifornia Sierras.



 In short, Warren Hellman embodied the ideal of living life to the fullest. He had an active mind and body. and a huge heart. We are lucky
 to call him our founder. Read more about Warren. (https://hf.com/wp<ontent/uploads/2015/09/Warre-n-Hellman-News-Release.pdf)




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 https:1/hLcom/warren-hellman/                                                                                                                        112




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                                    Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                                        Grosvenor Capital Management
                     GROSVENOr~




                                                                In 2007. H&F invested in Grosvenor, one of the worfd's largest t,nd mos1 diversified independent
                                                                  lternative asset        m-:rnagement firms The Company offers comprehensi\/'e publk and private markets
                                                                solutions and a broad suite of investment and advisory choices that span hedge funds, private equlty,
                                                                and various credit and specialty strategies. Gros\/'enor specializes in developing customized
                                                                tnvestment programs tailored to each cHent's specific investment goals.



                                                                SECTOR:

                                                                Financial Service~



                                                                STATUS

                                                                Past



                                                                www.gcmlp.com (llttp:/lwww.gcmlp.com)




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                       Exhibit Exhibit 2 Page 167 of 177


                                     CORNER OFFICE



                 0
                Julle Segal
                                     GCII Grosvenor to Go Pablic
                                     The SS7 billion alternatives manager will become a publlc company after merging with a SPAC backed by
                                     Cantor Fitzgerald.

                                     August 03, 2020




                                                                                                                       Chicago, IL (Tim Boyle/Bloomberg]




                                     In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                     The Chicago-based alternative investments firm is planning to go public by merging with a
                                     special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                     $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                     investments.


                                     "We have long valued having external shareholders and we wanted to preserve the
                                     accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                     and CEO, said in a statement.


                                     GCM Grosvenor will combine with CF Finance Special Acquisition Corp, a SPAC backed by
                                     Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                     the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                     management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                     has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
 https:/lwww.lnsfltutlanalinvestor.oom/article/1>1 ms8f4rt98f1 g/GCM-Gmsvenor-to-Go-Pul>llc                                                                       1/3




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                                  Farallon was a Significant Borrower for Lehman



  Case Study - Large Loan Origination
 Debt origination for an affiliate of Simon Property Group Inc. and Farallon Capital Management
                                                                                   I ransaction O\'crvicn
   Date                              Junt! 2007
                                                   •   In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $32 1
   Asset Class                            Retail       million (Lehman portion: $121 million) with JP Morgan to a special purpose affiliate of
   Asset Size                  1,808,506 Sq. Ft.       a joint venture between Simon Property Group Im: (''Simon") and rarallon Capital
                                                       i\-1anal!~men1 ("Farallon-·) se ured by the shopping center known as Gurnee Mills Mall
   Sponsor         Simon Property Group Inc./
                                                       (the "Property") located in Gurnee, IL .
                  Farallon Capit.al Management
                                                   ♦   The Property consist5 of a one-story, 200 store discount mega-mall comprised of
   Transaction                       Refinance
   Type                                                1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                       Beyond and Kohls among other national retailers. Built in I 991, the Property underwent
   Total Debt    Lehman Brothers: $121 million         a $5 million interior renovation in addition to a $71 million redevelopment between 2004
   Amount              JP Morgan: $200 million         and 2005. As of March 2007, the Property had a in~line occupancy of 99.5%.


                                                                                   Lehman Brothers Role
                                                   ♦   Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                       Corporation in early 2007 for $25 .25 per common share in cash. The total value of the
                                                       transaction was arprnximatdy $1.64 billion for all of the outstanding common stock, and
                                                       approximately $7.9 billion including asswned debt and preferred equity.
                                                   ♦   Lehman and JP Morgan subsequently co-originated $321 million loan at 79.2% LTV

          .,..                                         based on an appraisal completed in March by Cushman & Wakefield. 'lbe Loan was
                                                       used to refinance the indebtedness secured by the Property.

                                                                                   Sponsorship Oven,iew
                                                   ♦   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                       a diversified portfolio of retail destinations including regional shopping malls and
                                                       entertainment centers. They currently own 38 properties in the United States totaling 47
                                                       million square feet.



  LEHlvtAN BROTHERS                                                     32




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                                                                                                                                     Appx_0237
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                                       Mr. Seery Represented Stonehill While at Sidley


 James P. Seery. Jr.
 John G. Hutchinson
 John J. LaveHe
 Martin B. Jackson
 Sjd]ey Austjn LLP
 787 Seventh A venue
 New York. New York 10019
 (212) 839~5300 (tel)
 (212) 839-5599 (fax)

 Attorneys.for the Steering Group

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 - - --- - ~- - =   ·- ----- -- -- =------ --- -- -- -- --- -~------- ~~=~ - -- - --   X

 In re:                                                                                    Chapter 11

 BLOCKBUSTER INC. . et al ..                                                               Case No. 10-14997 (BRL)

                                                 Debtors.                                  (Jointly Adrnj nistered)

 ------ -------- -------------------------------------- X


   THE BACKSTOP LENDERS' OBJECTION TO THE ~10TION OF LYME REGIS TO
  ABANDON CERTAIN CAUSES OF ACTION OR, IN THE ALTERNATIVE, TO GRANT
   STANDING TO LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE

           1.             The Steering Group of Senior Secured Noteholders who are Backstop Lenders ~-

 kahn Capita] LP. Monarch Alternative Capjta] LP. Owl Creek Asset Management. LP.,

 Stonehi11 Capita] Management LLC. and Yarde Partners, Inc . (collectively. the ""Backstop

 Lenders'.'") ~- hereby fi]e thjs objection {the '"Objection") to the Motion of Lyme Regis Partners,

 LLC ("Lyme Regis'') to Abandon Certain Causes of Action or, in the Ahernative, to Grant

 Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the ··Motion"'} [Docket No.

 593].




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 Stonehill Founder (Motulsky) and Grosvenor's G.C. (Nesler) Were Law School Classmates




                  Over 25 years earller_ here is a group at a
                     party. From the left Bob Zinnt Dave
                    Lowentha t Rory Little, Joe Nesler Jon
                   Polansky (in front of Joe John Motul·:=.ky
                     and Mark Windfeld-Hansen {behind
                  bottle!) Motulsky circulated this photo at
                           the reunion. ThanksJohnI




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                 Joseph H. Nesler (He/Him)
                 General Cou nse l
                                                                                             ( More ) (     ii   Message )




                        Joseph H. Nesller (He/Him)'                              Ya le Law School

                        3rd
                        General Counsel
                        Winnetka, Illinois, United States -
                        Con t act info

                        S00-1-- connections


                       ( 8 Message)           (More)
                          Open to wo rk
                          Chief Compliance Officer and General Counsel roles
                          See arl details




                        About
                        l have over 38 years of experience represent ing participant s in t he investment
                        management industry with respect to a wide range of legal and regulatory matters,
                        including SEC, DOL, FlNRA, and NFA regulations and examinations.        ... see more




                        Activity
                        522 followers

                        Posts Joseph H. created, shared, or commented on in the last 90 days are displayed
                        here.

https:/Iwww_11 nke din_ mmlini]m;ephneslerr




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                       Exhibit Exhibit 2 Page 172 of 177



          Joseph H. Nesler (He/Him)
          General Counsel
                                                                                            CMore) (   a Message)
               ...,. I'""" - •• - • ' -- ....


                                         General Counsel
                                         Dalpha Capital Management LLC
                                         Aug 2020 -Ju1 2021 · 1 yr



                                         Of Counsel
                                         W1 nston & Strawn LLP
                                         Sep 2018-Jul 2020 · 1 yr 11 mos
                                         Greater Chicago Area



                                         Principal
                                         The Law Offices of Joseph H. Nesler, LLC
                                         Feb 2016-Aug 2018 • 2 yrs 7 mos



                                         Grosvenor Capital Management, LP.
                                         11 yrs 9 mos


                                         Independent Consultant to Grosvenor Capital Management,
                                         LP.
                                         May 2015- Dec 2015 · B mos
                                         Chicago, Illinois


                                         GeneraJ Counsel
                                         Apr 2004 - Apr 2015 • 11 yrs 1 mo
                                         Chicago, Illinois

                                            anagrng Director. Gener I Counsel and Chief ComQliance
                                         Officer (Aoril 2004 - Apri l 2015)




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             Investor Communication to Highland Crusader Funds Stakeholders
                                                                                      A Iv a rez & Ma rsa I
                                                                               Management, LLC 2029 Ce1
                                                                                       Park Easl Su i te 20 6 (
                                                                                              Angeles . CA 9




      July 6. 2021


      Re: Update & Notice of Distribution


      Dear Highland Crusader Funds Stakeholder.

              As you know. in October 2020. the Bankruptcy Court approved a settlement of the
      Redeemer Committee's and the Crusader Funds" claims against HighJand Capital Management
      LP. ('·HCM"·). as a resu1t of whjch the Redeemer Committee was allowed a genera] unsecured
      claim of $137,696,610 against HCM and the Crusader Funds were allowed a genera] unsecured
      claim of $50,000 against HCM (co11ectively, the ··claims,.). In addition, as part of the sett]ement,
      various interests in the Crusader Funds held by HCM and certain of its affiliates are to be
      extinguished (the ··Extinguished Interests"'). and the Redeemer Committee and the Crusader Funds
      received a general release from H CM and a waiver by H CM of any claim to distributions or fees
      that it might otherwise receive from the Crusader Funds (the ··Released Claims" and, collectiveJy
      with the Extinguished Interests. the ··Retained Rights"').

             A timely appea] of the settlement was taken by UBS (the -~uss Appeal) jn the United States
      District Court for the Northern District ofTexas~ DaJlas Division. However, the Bankruptcy Cou11
      subsequently approved a settlement betw"een HCM and UBS, resuJting in dismissal of the UBS
      Appeal with prejudice on June 14, 2021.

             On April 30t 2021. the Crusader Funds and the Redeemer Committee consummated the sa]e
      of the Claims against HCM and the majority of the remaining investments held by the Crusader
      Funds to Jessup Ho]dings LLC ("Jessup'") for S78 mil1ion tn cash. which was paid in full to the
      Crusader Funds at closjng. The sale specifically excluded the Crusader Funds 1 investment in
      Cornerstone Healthcare Group Holdjng Inc. and excluded certain specified provisions of the
      settlement agreement with HCM (the '"Settlement Agreement"). including, but not limited to, the
      Retaj ned Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

             The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
      by Alvarez & Marsa] CRF Management LLC r·A&M CR.F''). ns Investment Manager of the
      Crusader Funds. in consultation with the Redeemer Committee. Ulttmately. the Crusader Funds
      and the Redeemer Committee entered exclusive negotiations with Jessup. cuJminating in the sale
      to Jessup.

             A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
      Redeemer Comminee and the Board of the Master Fund, now intends to distrjbute the proceeds
      from the Jessup transaction ( $ 78 mill ion), ne t of any applicable tax withho]dings and with no
      reserves for the Extinguished Claims or the Released Claims. In addition. the distribution wilJ
      include approximately $9 .4 million in proceeds that have been redistributed due to the cancel1ation



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            and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
            OAF and Eames in connection with the Settlement Agreement, resulting in a total gross
            distribution of$87.4 million. Distributions wiH be based on net asset value as of June 30. 2021.

                   P]ease note that A&M CRF intends to make the distributions by wire transfer no later than
            July 31. 2021. Please confirm your wire instructions on or before Juh· 20. 2021. If there are ,my
            revisions to your wire information, please use the attached template to provide SEI and A&M CRF
            your updated information on investor letterhead. This infonnation should be sent on or before July
            20, 2021 to Alvarez & Marsa l CRF and SEI at CRFinvestor(dalvarezandmarsal.com and AIFS-
            1S Cmsader@seic.com. respectively.

                  The wire payments will be made to the investor bank account on file with an effective and record
           date of July 1, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
           addresses listed above.




   Sincerely.


   Alvarez & Marsal CRF Management LLC




        Steven Varner
        Managing Director




                                                                                                           Page A-71
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                                                                             Alvarez & Marsal CRF
                                                                       Management, LLC 2029 Century
                                                                                Park East Su i te 2060 Los
                                                                                      Angeles, CA 90067




July 6, 2021


Re: Update & Notice of Distribution


Dear Highland Crusader Funds Stakeholder,

        As you know, in October 2020, the Bankruptcy Court approved a settlement of the
Redeemer Committee's and the Crusader Funds' claims against Highland Capital Management
L.P. ("HCM"), as a result of which the Redeemer Committee was allowed a general unsecured
claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
claim of $50,000 against HCM (collectively, the "Claims"). In addition, as part of the settlement,
various interests in the Crusader Funds held by HCM and certain of its affiliates are to be
extinguished (the "Extinguished Interests"), and the Redeemer Committee and the Crusader Funds
received a general release from HCM and a waiver by HCM of any claim to distributions or fees
that it might otherwise receive from the Crusader Funds (the "Released Claims" and, collectively
with the Extinguished Interests, the "Retained Rights").

       A timely appeal of the settlement was taken by UBS (the "UBS Appeal) in the United States
District Court for the Northern District of Texas, Dallas Division. However, the Bankruptcy Court
subsequently approved a settlement between HCM and UBS, resulting in dismissal of the UBS
Appeal with prejudice on June 14, 2021.

       On April 30, 2021, the Crusader Funds and the Redeemer Committee consummated the sale
of the Claims against HCM and the majority of the remaining investments held by the Crusader
Funds to Jessup Holdings LLC ("Jessup") for $78 million in cash, which was paid in full to the
Crusader Funds at closing. The sale specifically excluded the Crusader Funds' investment in
Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
Retained Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

       The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
by Alvarez & Marsal CRF Management LLC ("A&M CRF"), as Investment Manager of the
Crusader Funds, in consultation with the Redeemer Committee. Ultimately, the Crusader Funds
and the Redeemer Committee entered exclusive negotiations with Jessup, culminating in the sale
to Jessup.

       A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
reserves for the Extinguished Claims or the Released Claims. In addition, the distribution will
include approximately $9 .4 million in proceeds that have been redistributed due to th     ·
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        and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
        DAF and Eames in connection with the Settlement Agreement, resulting in a total gross
        distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 2021.

               Please note that A&M CRF intends to make the distributions by wire transfer no later than
        July 31, 2021. Please confirm your wire instructions on or before July 20, 2021. If there are any
        revisions to your wire information, please use the attached template to provide SEI and A&M CRF
        your updated information on investor letterhead. This information should be sent on or before July
        20, 2021 to Alvarez & Marsal CRF and SEI at CRFinvestor@alvarezandmarsal.com and AIFS-
        IS Crusader@seic.com, respectively.

              The wire payments will be made to the investor bank account on file with an effective and record
       date of July 1, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
       addresses listed above.



Sincerely,


Alvarez & Marsal CRF Management, LLC



By:=---~===
 Steven Varner
 Managing Director




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On investor letterhead, please use the template below to provide Alvarez & Marsal CRF
Management, LLC and SEI your updated wire information.


  Information Needed                                  Wire Information Input
  Investor name (as it reads on monthly statements)

  Fund( s) Invested

  Contact Information (Phone No. and Email)

  Updated Wire Information
   • Beneficiary Bank
   • Bank Address
   • Beneficiary (Account) Name
   • ABA/Routing #
   • Account#
   • SWIFT Code
  International Wires
    • Correspondent Bank
    • ABA/Routing #
    • SWIFT Code




Signed By:   --------------
                                                                  Date:




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                        Exhibit 3




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                              CAUSE NO. DC-23-01004

 IN RE:                                     §            IN THE DISTRICT COURT
                                            §
 HUNTER MOUNTAIN                            §
 INVESTMENT TRUST                           §             191ST JUDICIAL DISTRICT
                                            §
       Petitioner,                          §
                                            §            DALLAS COUNTY, TEXAS


                      DECLARATION OF JAMES DONDERO

STATE OF TEXAS            §
                          §
COUNTY OF DALLAS          §

       The undersigned provides this Declaration pursuant to Texas Civil Practice &

Remedies Code § 132.001 and declares as follows:

   1. My name is James Dondero. I am over twenty-one (21) years of age. I am of sound
      mind and body, and I am competent to make this declaration. The facts stated
      within this declaration are based upon my personal knowledge and are true and
      correct.

   2. I previously served as the Chief Executive Officer (“CEO”) of Highland Capital
      Management, L.P. (“HCM”). Jim Seery succeeded me in this capacity following
      the entry of various orders in the bankruptcy proceedings styled In re Highland
      Capital Management, L.P., Case No. 19-34054 (“HCM Bankruptcy Proceedings”).

   3. On December 17, 2020, I sent an email to employees at HCM, including the then
      Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
      public information regarding Amazon and Apple’s interest in acquiring MGM. I
      became aware of this information due to my involvement as a member of the
      board of MGM. My purpose was to alert Mr. Seery and others that MGM stock,
      which was owned either directly or indirectly by HCM, should be on a restricted
      list and not be involved in any trades. A true and correct copy of this email is
      attached hereto as Exhibit “1”.




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                                                                              Appx_0248
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   4. In late Spring of 2021, I had phone calls with two principals at Farallon Capital
      Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
      calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
      purchase the Acis and HarbourVest claims, which I understood to refer to claims
      that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
      Mr. Linn stated that Farallon agreed to purchase these claims based solely on
      conversations with Mr. Seery because they had made significant profits when Mr.
      Seery told them to purchase other claims in the past. They also stated they were
      particularly optimistic because of the expected sale of MGM.

   5. During one of these calls involving Mr. Linn, I asked whether they would sell the
      claims for 30% more than they had paid. Mr. Linn said no because Mr. Seery said
      they were worth a lot more. I asked Mr. Linn if he would sell at any price and he
      said that he was unwilling to do so. I believe these conversations with Farallon
      were taped by Farallon.

   6. My name is James Dondero, my date of birth is June 29, 1962, and my address is
      3807 Miramar Ave., Dallas, Texas 75205, United States of America. I declare under
      penalty of perjury that the foregoing is true and correct.




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                                                                             Appx_0249
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                                                    Exhibit Exhibit 3 Page 4 of 6




                         FURTHER DECLARANT SAYETH NOT.

                              Executed in Dallas County, State of Texas, o   \S~ay of February 2023.

                                                              \
Date Filed: 04/12/2023




                                                        JAMES DONDERO
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                     Exhibit 1




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       From: Jim Dondero <JDondero@highlandcapital.com>
          To: Thomas Surgent <TSurgent@HighlandCapital.com>, Jim Seery <jpseeryjr@gmail.com>,
              Scott Ellington <SEllington@HighlandCapital.com>, "Joe Sowin"
              <JSowin@HighlandCapital.com>, Jason Post <JPost@NexpointAdvisors.com>
          Cc: "D. Lynn (\"Judge Lynn\")" <michael.lynn@bondsellis.com>, Bryan Assink
              <bryan.assink@bondsellis.com>
     Subject: Trading restriction re MGM - material non public information
        Date: Thu, 17 Dec 2020 14:14:39 -0600
  Importance: Normal



Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and Apple actively diligencing
in Data Room. Both continue to express material interest.
Probably first quarter event, will update as facts change. Note also any sales are subject to a shareholder
agreement.

Sent from my iPhone




                                                                                               Appx_0252
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                        Exhibit 4




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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 Inre:                                        §
                                              §
 HIGHLAND CAPITAL                             §   Chapterll
 MANAGEMENT, L.P.                             §
                                              §   Case No. 19-34054-sgjll
 Debtor.                                      §



                      DECLARATION OF SAWNIE A. MCENTIRE

STATE OF TEXAS               §
                             §
COUNTY OF DALLAS             §

         The undersigned provides this Declaration pursuant to 28 U.S.C. 1746 and declares

as follows:

   1. My name is Sawnie A. McEntire. I am over 21 years of age. I am of sound mind
      and body and I am competent to make this declaration. Unless otherwise,
      indicated, the facts stated within this declaration are based upon my personal
      knowledge and are true and correct.

   2. I am a licensed attorney in good standing with the State Bar of Texas. I am a
      Director and Shareholder at the firm Parsons McEntire McCleary PLLC. I serve as
      lead counsel for Hunter Mountain Investment Trust ("HMIT") in these
      proceedings in regard to the motion described in Paragraph 3 below. I also served
      as lead counsel for HMIT in Rule 202 Proceedings filed in the 191 st District Court
      of Dallas County, Texas, Cause No. DC-23-01004 ("Rule 202 Proceedings").

   3. I submit this declaration in support of HMIT' s Emergency Motion for Leave to File
      Adversary Proceeding ("Emergency Motion") to which this Declaration is
      attached.




                                              1
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      4. On January 20, 2023, HMIT filed its Verified Rule 202 Petition in the 191 st District
         Court of Dallas County, Texas, Cause No. DC-23-01004. A true and correct copy
         of HMIT' s Verified Rule 202 Petition, with accompanying exhibits, is attached
         to this declaration as Exhibit 4-A.

      5. HMIT served notice of the Rule 202 Petition and hearing on Farallon Capital
         Management, LLC ("Farallon"), Stonehill Capital Management, LLC ("Stonehill"),
         Muck Holdings LLC ("Muck"), and Jessup Holdings LLC ("Jessup") in February
         2023. Farallon and Stonehill entered an appearance, responded to the proceedings,
         and were represented by David Shulte of the law firm of Holland & Knight.
         Among other things, the Rule 202 Petition sought discovery related to Farallon
         and Stonehill' s due diligence, if any, concerning the sale and transfer of four
         allowed bankruptcy claims in the above-referenced bankruptcy proceedings from
         the Redeemer Committee/Crusader Fund, Acis, HarbourVest, and UBS
         (collectively the "Claims") in April and August of 2021. 1

      6.    On February 22, 2023, HMIT's Verified Rule 202 Petition was heard by the
           Honorable Gena Slaughter of the 191 st District Court of Dallas County, Texas. A
           true and correct copy of the Hearing Transcript of the Rule 202 Proceedings on
           February 22, 2023, is attached to this declaration as Exhibit 4-B ("Transcript'). At
           this hearing, I argued on behalf of HMIT and Mr. Shulte argued on behalf of
           Farallon and Stonehill. During this hearing, Farallon and Stonehill admitted they
           acquired the Claims through their respective "special purpose entities," as
           reflected in the Transcript. Farallon resisted the requested discovery in the state
           district court.

      7. A true and correct copy of a certified copy of Muck's formation papers in the State
         of Delaware, showing Muck was created on March 9, 2021, is attached to this
         Declaration as Exhibit 4-D. A true and correct copy of a certified copy of Jessup's
         formation papers in Delaware, showing Jessup was created on April 8, 2021, is
         attached to this Declaration as Exhibit 4-E. Muck and Jessup' s corporate formation
         documents do not identify their respective members or managing members. See
         Exhibit 4-D and 4-E.

      8. On March 8, 2023, the state district court denied and dismissed HMIT' s Verified
         Rule 202 Petition. This ruling was necessarily without prejudice. A true and correct
         copy of the related Order, dated March 8, 2023, is attached to this declaration as
         Exhibit 4-C.



1   See Notices of Transfers [Docs. 2211, 2212, 2261, 2262, 2263, 2215, 2697, 2698].


                                                         2
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   9. On March 9, 2023, my law partner, Roger McCleary sent correspondence to Mr.
      Schulte, as Farallon and Stonehill's counsel, requesting disclosure of the details of
      their respective legal relationships to Muck and Jessup. Farallon and Stonehill
      never responded to this inquiry. A true and correct copy of this email
      correspondence, dated March 9, 2023, is attached to this declaration as Exhibit 4-
      F.

   10. I declare under the penalty of perjury that the foregoing is true and correct.
       Executed on March 27, 2023.

FURTHER DECLARANT SAYETH NOT.                                 -.t~

      Executed in Dallas County, State of Texas, on the ---2.Gay of March 2023.




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                     Exhibit 4-A




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                         Exhibit Exhibit 4 Page 6 of 136                                  DISTRICT CLERK
                                                                                       DALLAS CO., TEXAS
                                                                                    Stephanie Clark DEPUTY
                                      DC-23-01004
                           CAUSE NO. ___________________

 IN RE:                                     §             IN THE DISTRICT COURT
                                            §        191st
 HUNTER MOUNTAIN                            §
 INVESTMENT TRUST                           §            ____th JUDICIAL DISTRICT
                                            §
        Petitioner,                         §
                                            §              DALLAS COUNTY, TEXAS

            PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST’S
                        VERIFIED RULE 202 PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Petitioner, Hunter Mountain Investment Trust (“HMIT”), files this Verified

Petition (“Petition”) pursuant to Rule 202 of the Texas Rules of Civil Procedure, seeking

pre-suit discovery from Respondent Farallon Capital Management, LLC (“Farallon”) and

Respondent     Stonehill   Capital   Management,     LLC     (“Stonehill”)   (collectively

“Respondents”), to allow HMIT to investigate potential claims against Respondents and

other potentially adverse entities, and would respectfully show:

                                       PARTIES

       1.    HMIT is a Delaware statutory trust that was the largest equity holder in

Highland Capital Management, L.P. (“HCM”), holding a 99.5% limited partnership

interest. HCM filed chapter 11 bankruptcy proceedings in 2019 and, as a result of these




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proceedings, 1 HMIT held a Class 10 claim which, post-confirmation, was converted to a

Contingent Trust Interest in HCM’s post-reorganization sole limited partner.

        2.      Farallon is a Delaware limited liability company with its principal office in

California, which is located at One Maritime Plaza, Suite 2100, San Francisco, CA 94111.

        3.      Stonehill is a Delaware limited liability company with its principal office in

New York, which is located at 320 Park Avenue, 26th Floor, New York, NY 10022.

                                  VENUE AND JURISDICTION

        4.      Venue is proper in Dallas County, Texas, because all or substantially all of

the events or omissions giving rise to HMIT’s potential common law claims occurred in

Dallas County, Texas. In the event HMIT elects to proceed with a lawsuit against Farallon

and Stonehill, venue of such proceedings will be proper in Dallas County, Texas.

        5.      This Court has jurisdiction over the subject matter of this Petition pursuant

to Texas Rule of Civil Procedure 202. 2 The amount in controversy of any potential claims

against Farallon or Stonehill far exceeds this Court’s minimum jurisdictional

requirements. Without limitation, HMIT specifically seeks to investigate potentially

actionable claims for unjust enrichment, imposition of a constructive trust with




1 These proceedings were initially filed in Delaware but were ultimately transferred to and with venue in
the U.S. Bankruptcy Court for the Northern District of Texas.
2 The discovery relief requested in this Petition does not implicate the HCM bankruptcy court’s jurisdiction.

Furthermore, this Rule 202 Petition is not subject to removal because there is no amount in actual
controversy and there is no cause of action currently asserted.


                                                     2
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disgorgement, knowing participation in breaches of fiduciary duty, and tortious

interference with business expectancies.

       6.    This Court has personal jurisdiction over the Respondents from which

discovery is sought because both Farallon and Stonehill are doing business in Texas

under Texas law including, without limitation, TEX. CIV. PRAC. & REM. CODE §17.042.

Consistent with due process, Respondents have established minimum contacts with

Texas, and the assertion of personal jurisdiction over Respondents complies with

traditional notions of fair play and substantial justice. HMIT’s potential claims against

Respondents arise from and/or relate to Farallon’s and Stonehill’s contacts in Texas.

Respondents also purposefully availed themselves of the privilege of conducting

business activities within Texas, thus invoking the benefits and protections of Texas law.

                                      SUMMARY

       7.    HMIT seeks to investigate potential claims relating to the sale and transfer

of large, unsecured creditors’ claims in HCM’s bankruptcy to special purpose entities

affiliated with and/or controlled by Farallon and Stonehill (the “Claims”). Upon

information and belief, Farallon and Stonehill historically had and benefited from close

relationships with James Seery (“Seery”), who was serving as HCM’s Chief Executive

Officer (“CEO”) and Chief Restructuring Officer (“CRO”) at the time of the Claims

purchases. Furthermore, still upon information and belief, because Farallon and Stonehill

acquired or controlled the acquisition of the Claims under highly questionable



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circumstances. HMIT seeks to investigate whether Respondents received material non-

public information and were involved in insider trading in connection with the

acquisition of the Claims.

       8.     The pre-suit discovery which HMIT seeks is directly relevant to potential

claims, and it is clearly appropriate under Rule 202.1(b). HMIT anticipates the institution

of a future lawsuit in which it may be a party due to its status as a stakeholder as former

equity in HCM or in its current capacity as a Contingent Trust Interest holder, as well as

under applicable statutory and common law principles relating to the rights of trust

beneficiaries. In this context, HMIT may seek damages on behalf of itself or, alternatively,

in a derivative capacity and without limitation, for damages or disgorgement of monies

for the benefit of the bankruptcy estate.

       9.     HMIT currently anticipates a potential lawsuit against Farallon and

Stonehill as defendants and, as such, Farallon and Stonehill have adverse interests to

HMIT in connection with the anticipated lawsuit. The addresses and telephone numbers

are as follows: Farallon Capital Management LLC, One Maritime Plaza, Suite 2100, San

Francisco, CA 94111, Telephone: 415-421-2132; Stonehill Capital Management, LLC, 320

Park Avenue, 26th Floor, New York, NY 10022, 212-739-7474 . Additionally, the following

parties also may be parties with adverse interests in any potential lawsuit: Muck

Holdings LLC, c/o Crowell & Moring LLP, Attn: Paul B. Haskel, 590 Madison Avenue,

New York, NY 10022, 212-530-1823; Jessup Holdings LLC, c/o Mandel, Katz and Brosnan



                                             4
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LLP, Attn: John J. Mandler, 100 Dutch Hill Road, Suite 390, Orangeburg, NY 10962, 845-

6339-7800.

                                          BACKGROUND 3

A.      Procedural Background

        10.     On or about October 16, 2019, HCM filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code in Delaware Bankruptcy Court, which was later

transferred to the Northern District of Texas Bankruptcy Court, Dallas Division, on

December 4, 2019.

        11.     On October 29, 2019, the U.S. Trustee’s office appointed a four-member

Unsecured Creditors Committee (“UCC”) consisting of three judgment creditors—the

Redeemer Committee, which is a committee of investors in an HCM-affiliated fund

known as the Crusader Fund that obtained an arbitration award against HCM in the

hundreds of millions of dollars; Acis Capital Management, L.P. and Acis Capital

Management GP LLC (collectively “Acis”); and UBS Securities LLC and UBS AG London

Branch (collectively “UBS”) - and an unpaid vendor, Meta-E Discovery.

        12.     Following the venue transfer to Texas on December 27, 2019, HCM filed its

Motion of the Debtor for Approval of Settlement with the Official Committee of Unsecured

Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary



3All footnote references to evidence involve documents filed in the HCM bankruptcy proceedings and are
cited by “Dkt.” reference. HMIT asks the Court to take judicial notice of the documents identified by these
docket entries.


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                                                                                               Appx_0262
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Course (“HCM’s Governance Motion”). 4 On January 9, 2020, the Court signed an order

approving HCM’s Settlement Motion (the “Governance Order”). 5

       13.     As part of the Governance Order, an independent board of directors—

which included Seery as one of the UCC’s selections—was appointed to the Board of

Directors (the “Board”) of Strand Advisors, Inc., (“Strand Advisors”) HCM’s general

partner. Following the approval of the Governance Order, the Board then appointed

Seery as HCM’s Chief Executive Officer (“CEO”) and Chief Restructuring Officer

(“CRO”) in place of the previous CEO. 6 Seery currently serves as Trustee of the Claimant

Trust (HCM’s sole post-reorganization limited partner) and, upon information and belief,

continues to serve as CEO of HCM following the effective date of the HCM bankruptcy

reorganization plan (“Plan”). 7

B.     Seery’s Relationships with Stonehill and Farallon

       14.     Farallon and Stonehill are two capital management firms (similar to HCM)

that, upon information belief, have long-standing relationships with Seery. Upon

information and belief, they eventually participated in, directed and/or controlled the

acquisition of hundreds of millions of dollars of unsecured Claims in HCM’s bankruptcy

on behalf of funds which they manage. It appears they did so without any meaningful




4 Dkt. 281.
5 Dkt. 339.
6 Dkt. 854, Order Approving Retention of Seery as CEO/CRO.

7 See Dkt. 1943, Order Approving Plan, p. 34.




                                                 6
                                                                               Appx_0263
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due diligence, much less reasonable due diligence, and ostensibly based their investment

decisions only on Seery’s input.

       15.     Upon information and belief, Seery historically has had a substantial

business relationship with Farallon and he previously served as legal counsel to Farallon

in other matters. Upon information and belief, Seery also has had a long-standing

relationship with Stonehill. GCM Grosvenor, a global asset management firm, held four

seats on the Redeemer Committee 8 (an original member of the Unsecured Creditors

Committee in HCM’s bankruptcy). Upon information and belief, GCM Grosvenor is a

significant investor in Stonehill and Farallon. Grosvenor, through Redeemer, also played

a large part in appointing Seery as a director of Strand Advisors and approved his

appointment as HCM’s CEO and CRO.

C.     Claims Trading

       16.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained

bankruptcy court approval of settlements with Redeemer, Acis, UBS, and another major

creditor, HarbourVest 9 (the “Settlements”) (Redeemer, Acis, UBS, and HarbourVest are

collectively the “Settling Parties”), resulting in the following allowed claims: 10




8 Declaration of John A. Morris [Dkt. 1090], Ex. 1, pp. 15.
9 “HarbourVest” collectively refers to HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF
L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest
Skew Base AIF L.P., and HarbourVest Partners L.P.
10 Orders Approving Settlements [Dkt. 1273, Dkt. 1302, Dkt. 1788, Dkt. 2389].




                                                 7
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                       Creditor             Class 8       Class 9
                       Redeemer             $137 mm       $0 mm
                       Acis                 $23 mm        $0 mm
                       HarbourVest          $45 mm        $35 mm
                       UBS                  $65 mm        $60 mm

        17.     Although these Settlements were achieved after years of hard-fought

litigation, 11 each of the Settling Parties curiously sold their claims to Farallon or Stonehill

(or affiliated special purpose entities) shortly after they obtained court approval of their

Settlements. One of these “trades” occurred within just a few weeks before the Plan’s

Effective Date. 12 Upon information and belief, Farallon and Stonehill coordinated and

controlled the purchase of these Claims through special purpose entities, Muck Holdings,

LLC (“Muck”) and Jessup Holdings, LLC (“Jessup”) (collectively “SPEs”). 13 Upon

information and belief, both of these SPEs were created on the eve of the Claims

purchases for the ostensible purpose of taking and holding title to the Claims.

        18.     Upon information and belief, Farallon and Stonehill directed and controlled

the investment of over $160 million dollars to acquire the Claims in the absence of any

publicly available information that could rationally justify this substantial investment.

These “trades” are even more surprising because, at the time of the confirmation of

HCM’s Plan, the Plan provided only pessimistic estimates that these Claims would ever

receive full satisfaction:



11 Order Confirming Plan, pp. 9-11.
12 Dkt. 2697, 2698.
13 See Notice of Removal [Dkt 2696], ¶ 4.




                                                 8
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             a. HCM’s Disclosure Statement projected payment of 71.32% of
                Class 8 claims, and 0% of claims in Classes 9-11; 14

                 i. This meant that Farallon and Stonehill invested more than
                    $163 million in Claims when the publicly available
                    information indicated they would receive $0 in return on their
                    investment as Class 9 creditors and substantially less than
                    par on their Class 8 Claims.

             b. In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                the amount of Class 8 claims expected to be paid dropped even
                further from 71% to 54% (down approximately $328.3 million); 15

             c. From October 2019, when the original Chapter 11 Petition was
                filed, to January 2021, just before the Plan was confirmed, the
                valuation of HCM’s assets dropped over $200 million from $566
                million to $328.3 million; 16

             d. Despite the stark decline in the valuation of the HCM bankruptcy
                estate and reduction in percentage of Class 8 Claims expected to
                be satisfied, Stonehill, through Jessup, and Farallon, through
                Muck, nevertheless purchased the four largest bankruptcy claims
                from the Redeemer Committee/Crusader Fund, Acis,
                HarbourVest, and UBS (collectively the “Claims”) in April and
                August of 2021 17 in the combined amount of approximately $163
                million; and

             e. Upon information and belief:

                 i. Stonehill, through an SPE, Jessup, acquired the Redeemer
                    Committee’s claim for approximately $78 million; 18




14 Dkt. 1875-1, Plan Supplement, Exh. A, p. 4.
15 Dkt. 2949.
16 Dkt 1473, Disclosure Statement, p. 18.

17 Notices of Transfers [Dkt. 2211, 2212, 2261, 2262, 2263, 2215, 2697, 2698].

18 July 6, 2021 Letter from Alvarez & Marsal CRF Management, LLC to Highland Crusader Funds

Stakeholders.


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                   ii. The $23 million Acis claim 19 was sold to Farallon/Muck for
                       approximately $8 million;

                  iii. HarbourVest sold its combined approximately $80 million in
                       claims to Farallon/Muck for approximately $27 million; and

                  iv. UBS sold its combined approximately $125 million in claims
                      for approximately $50 million to both Stonehill/Jessup and
                      Farallon/Muck at a time when the total projected payout was
                      only approximately $35 million.

       19.     In Q3 2021, just over $6 million of the projected $205 million available to

satisfy general unsecured claims was disbursed. 20 No additional distributions were made

to general unsecured claimholders until, suddenly, in Q3 2022 almost $250 million was

paid toward Class 8 general unsecured claims—$45 million more than was ever

projected. 21 According to HCM’s Motion for Exit Financing, 22 and a recent motion filed

by Dugaboy Investment Trust, 23 there remain substantial assets to be monetized for the

benefit of HCM’s creditors. Thus, upon information and belief, the funds managed by

Stonehill and Farallon stand to realize significant profits on their Claims purchases. In

turn, upon information and belief, Stonehill and Farallon will garner (or already have

garnered) substantial fees – both base fees and performance fees – as the result of their

acquiring and/or managing the purchase of the Claims.



19 Seery/HCM have argued that $10 million of the Acis claim is self-funding. Dkt. 1271, Transcript of
Hearing on Motions to Compromise Controversy with Acis Capital Management [1087] and the Redeemer
Committee of the Highland Crusader Fund [1089], p. 197.
20 Dkt. 3200.

21 Dkt. 3582.

22 Dkt. 2229.

23 Dkt. 3382.




                                                 10
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D.      Material Information is Not Disclosed

        20.     Bankruptcy Rule 2015.3 requires debtors to “file periodic financial reports

of the value, operations, and profitability of each entity that is not a publicly traded

corporation or a debtor in a case under title 11, and in which the estate holds a substantial

or controlling interest.” No public reports required by Rule 2015.3 were filed. Seery

testified they simply “fell through the cracks.” 24

        21.     As part of the HarbourVest Settlement, Seery negotiated the purchase of

HarbourVest’s interest in HCLOF for approximately $22.5 million as part of the

transaction. 25 Approximately 19.1% of HCLOF’s assets were comprised of debt and

equity in Metro-Goldwyn-Mayer Studios, Inc. (“MGM”). The HCLOF interest was not to

be transferred to HCM for distribution as part of the bankruptcy estate, but rather to “to

an entity to be designated by the Debtor”—i.e., one that was not subject to typical

bankruptcy reporting requirements. 26

        22.     Six days prior to the filing of the motion seeking approval of the

HarbourVest Settlement, upon information and belief, it appears that Seery may have

acquired material non-public information regarding Amazon’s now-consummated

interest in acquiring MGM, 27 yet there is no record of Seery’s disclosure of such




24 Dkt. 1905, February 3, 2021 Hearing Transcript, 49:5-21.
25 Dkt. 1625, p. 9, n. 5.
26 Dkt. 1625.

27 Dkt. 150-1.




                                                     11
                                                                                  Appx_0268
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information to the Court, HCM’s creditors, or otherwise. Upon the receipt of this material

non-public information, HMIT understands, upon information and belief, that MGM was

supposed to be placed on HCM’s “restricted list,” but Seery nonetheless continued to

move forward with deals that involved MGM assets. 28

        23.     As HCM additionally held its own direct interest in MGM, 29 the value of

MGM was of paramount importance to the value of HCM’s bankruptcy estate. HMIT

believes, upon information and belief, that Seery conveyed material non-public

information regarding MGM to Stonehill and Farallon as inducement to purchase the

Claims.

E.      Seery’s Compensation

        24.     Upon information and belief, a component of Seery’s compensation is a

“success fee” that depends on the actual liquidation of HCM’s bankruptcy estate assets

versus the Plan projections. As current holders of the largest claims against the HCM

estate, Muck and Jessup, the SPEs apparently created and controlled by Stonehill and

Farallon, were installed as two of the three members of an Oversight Board in charge of

monitoring the activities of HCM, as the Reorganized Debtor, and the Claimant Trust. 30

Thus, along with a single independent restructuring professional, Farallon and




28 See Dkt. 1625, Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim
Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith, filed December 23, 2020
29 Motion for Exit Financing.[Dkt.2229]

30 Dkt. 2801.




                                                  12
                                                                                            Appx_0269
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Stonehill’s affiliates oversee Seery’s go-forward compensation, including any “success”

fee. 31

                                     DISCOVERY REQUESTED

          25.      HMIT seeks to investigate whether Farallon and Stonehill received material

non-public information in connection with, and as inducement for, the negotiation and

sale of the claims to Farallon and Stonehill or its affiliated SPEs. Discovery is necessary to

confirm or deny these allegations and expose potential abuses and unjust enrichment.

          26.      The requested discovery from Farallon is attached as Exhibit “A”, and

includes the deposition of one or more of its corporate representatives and the production

of documents. The requested discovery from Stonehill is attached as Exhibit “B”, and

includes the deposition of Stonehill’s corporate representative(s) and the production of

documents.

          27.      Pursuant to Rule 202.2(g), the requested discovery will include matters that

will allow HMIT to evaluate and determine, among other things:

                a. The substance and types of information upon which Stonehill
                   and Farallon relied in making their respective decisions to
                   invest in or acquire the Claims;

                b. Whether Farallon and Stonehill conducted due diligence, and
                   the substance of any due diligence when evaluating the
                   Claims;




31   Claimant Trust Agreement [Dkt. 1656-2].


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          c. The extent to which Farallon and Stonehill controlled the
             SPEs, Muck and Jessup, in connection with the acquisition of
             the Claims;

          d. The creation and organizational structure of Farallon,
             Stonehill, Muck, and Jessup, as well as the purpose of creating
             Muck and Jessup as SPEs to hold the Claims;

          e. Any internal valuations of Muck or Jessup’s net asset value
             (NAV);

          f. Any external valuation or audits of the NAV attributable to
             the Claims;

          g. Any documents reflecting expected profits from the purchase
             of the Claims;

          h. All communications between Farallon and Seery concerning
             the value and purchase of the Claims;

          i. All communications between Stonehill and Seery concerning
             the value and purchase of the Claims;

          j.   All documents reflecting the expected payout on the Claims;

          k. All communications between Farallon or Stonehill and
             HarbourVest concerning the purchase of the Claims;

          l. All communications between Farallon or Stonehill and Acis
             regarding the purchase of the Claims;

          m. All communications between Farallon or Stonehill and UBS
             regarding the purchase of the Claims;

          n. All communications between Farallon or Stonehill and The
             Redeemer Committee regarding the purchase of the Claims;

          o. All communications between Farallon            and   Stonehill
             regarding the purchase of the Claims;



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            p. All communications between Farallon and Stonehill and
               investors in their respective funds regarding purchase of the
               Claims or valuation of the Claims;

            q. All communications between Seery and Stonehill or Farallon
               regarding Seery’s compensation as the Trustee of the
               Claimant Trust;

            r. All documents relating to, regarding, or reflecting any
               agreements between Seery and the Oversight Committee
               regarding compensation;

            s. All documents reflecting the base fees and performance fees
               which Stonehill has received or may receive in connection
               with management of the Claims;

            t. All documents reflecting the base fees and performance fees
               which Farallon has received or may receive in connection
               with management of the Claims;

            u. All monies received by and distributed by Muck in
               connection with the Claims;

            v. All monies received by and distributed by Jessup in
               connection with the Claims;

            w. All documents reflecting whether Farallon is a co-investor in
               any fund which holds an interest in Muck; and

            x. All documents reflecting whether Stonehill is a co-investor in
               any fund which holds an interest in Jessup.

                         BENEFIT OUTWEIGHS THE BURDEN

      28.      The beneficial value of the requested discovery greatly outweighs any

conceivable burden that could be placed on the Respondents. The requested information




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also should be readily available because the Respondents have been engaged in the

bankruptcy proceedings relating to the matters at issue for several years.

       29.    The important benefit associated with this requested discovery is also clear

– it is reasonably calculated to determine whether the Respondents have unjustly

garnered tens of millions of dollars of benefit based upon insider information. If this

occurred, the monies received as a result of such conduct are properly subject to a

constructive trust and disgorged. This would result in substantial funds available for

other creditors, including those creditors in Class 10, which includes HMIT as a

beneficiary. This significant benefit, in addition to the value of bringing proper light to

the activities of Farallon and Stonehill as discussed in this petition, far outweighs any

purported burden associated with requiring Respondents to sit for focused depositions

concerning the topics and documents identified in Exhibits A and B.

                       REQUEST FOR HEARING AND ORDER

       30.    After service of this Petition and notice, Rule 202.3(a) requires the Court to

hold a hearing on this Petition.

                                   PRAYER FOR RELIEF

       31.    Petitioner Hunter Mountain Investment Trust respectfully requests that the

Court issue an order pursuant to Texas Rule of Civil Procedure 202 authorizing HMIT to

take a deposition of designated representatives of Farallon Capital Management, LLC

and Stonehill Capital Management, LLC. HMIT additionally requests authorization to



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issue subpoenas duces tecum compelling the production of documents in connection

with the depositions in compliance with Tex. R. Civ. P. 205, and asks that the Court grant

HMIT all such other and further relief to which it may be justly entitled.

                                                 Respectfully Submitted,

                                                 PARSONS MCENTIRE MCCLEARY
                                                 PLLC

                                                 By: _/s/ Sawnie A. McEntire
                                                      Sawnie A. McEntire
                                                     State Bar No. 13590100
                                                     smcentire@pmmlaw.com
                                                     Ian B. Salzer
                                                     State Bar No. 24110325
                                                     isalzer@pmmlaw.com
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                                                     Houston, Texas 77056
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                                                     Facsimile: (713) 960-7347

                                                     Attorneys for Petitioner Hunter
                                                     Mountain Investment Trust




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                                    VERIFICATION

STATE OF TEXAS              §
                            §
COUNTY OF DALLAS            §

Before me, the undersigned notary, on this day personally appeared Mark Patrick, the
affiant, whose identity is known to me. After I administered an oath, affiant testified as
follows:

       "My name is Mark Patrick. I am the Administrator of Hunter Mountain
       Investment Trust, and I am authorized and capable of making this verification. I
       have read Petitioner Hunter Mountain Investment Trust's Verified Rule 202
       Petition ("Petition"). The facts as stated in the Petition are true and correct based



                                                          z •
       on my personal knowledge and review of relevant documents in the proceedings
       styled In re Highland Capital Management, L.P., Case No. 19-34054, in the United
       States Bankruptcy Court in the No~                                  Division."


                                          Mark Patrick



Sworn to and subscribed before me by Mark Patr·          n January .2JL 2023.


                                                                                        DEBORAH COLE
                                          Notary Public in and for                 Notary ID #134079165
                                                                                   My Commission Expires
                                          the State of Texas                        Nov~mber 23, 2026




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                                      EXHIBIT “A”

                            CAUSE NO. ___________________

 IN RE:                                      §             IN THE DISTRICT COURT
                                             §
 HUNTER MOUNTAIN                             §
 INVESTMENT TRUST                            §            ____th JUDICIAL DISTRICT
                                             §
         Petitioner,                         §
                                             §             DALLAS COUNTY, TEXAS

      NOTICE OF DEPOSITION OF FARALLON CAPITAL MANAGEMENT, LLC

TO:     Farallon Capital Management, LLC, by and through its attorney of record
        _________________.

        PLEASE TAKE NOTICE that, pursuant to Tex. R. Civ. P. 199, 202, and 205,

Petitioner Hunter Mountain Investment Trust (“HMIT”) will take the deposition on oral

examination under oath of Farallon Capital Management, LLC (“Farallon”) on

___________, 2023 at _____ _.m. before a notary public or other person authorized to

administer a proper oath and will be recorded by stenographic means. The deposition

will take place at _________________ before a court reporter and videographer and will

continue from day to day until completed. The deposition may also be recorded by non-

stenographic (videotape) means.

        Please take further notice that, pursuant to Tex. R. Civ. P. 199.2(b), Farallon is

requested to designate one or more person(s) most knowledgeable and prepared to testify

on behalf of Farallon concerning the topics identified on Exhibit “1”, and to produce the

documents described in Exhibit “2”, attached hereto.



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                                          Respectfully submitted,



                                          Sawnie A. McEntire
                                          State Bar No. 13590100
                                          smcentire@pmmlaw.com
                                          Ian B. Salzer
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                                          State Bar No. 13393700
                                          rmccleary@pmmlaw.com
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                                          Houston, Texas 77056
                                          Telephone: (713) 960-7315
                                          Facsimile: (713) 960-7347

                                          Attorneys for Petitioner Hunter Mountain
                                          Investment Trust




                              CERTIFICATE OF SERVICE

       I hereby certify that, on January ___, 2023, a true and correct copy of the foregoing
document was served on all known counsel of record in accordance with the Texas Rules
of Civil Procedure.



                                          Sawnie A. McEntire




                                             2                                    Appx_0277
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                              EXHIBIT “A”
     TO NOTICE OF DEPOSITION OF FARALLON CAPITAL MANAGEMENT, LLC

       For purposes of the attached Exhibits “1” and “2”, the following rules and
definitions shall apply.

                             RULES OF CONSTRUCTION

1.      The terms “all” and “each” shall be construed as all and each.

2.      The terms “all” and “any” shall be construed as all and any.

3.      The connectives “and” and “or” shall be construed either disjunctively or
        conjunctively as necessary to bring within the scope of the discovery request all
        responses that might otherwise be construed to be outside of its scope.

4.      The use of the singular form of any word includes the plural and vice versa.

                                     DEFINITIONS
       The terms used herein shall have the following meanings unless the context
requires otherwise:

     Acis. The term “Acis” refers to Acis Capital Management, L.P. and Acis Capital
Management GP LLC, collectively.

        Any and all. The terms “any” and “all” should be understood in either the most or
the least inclusive sense as necessary to bring within the scope of the discovery request
all responses that might otherwise be construed to be outside its scope. “Any” includes
the word “all,” and “all” includes the term “any.”

      Bankruptcy Case. The term “Bankruptcy Case” shall mean the Chapter 11
Bankruptcy of Debtor Highland Capital Management, L.P., Case No. 19-34054 in the
United States Bankruptcy Court for the Northern District of Texas.

       Claims. The term “Claims” shall mean the claims against Highland’s Estate
transferred to/acquired by Muck and/or Jessup as evidenced by Bankruptcy Case Dkt.
Nos. 2215, 2261, 2262, 2263, 2697, 2698.

      Communication. The term “communication” means any manner in which the
mental processes of one individual are related to another, including without limitation,
any verbal utterance, correspondence, email, text message, statement, transmission of
information by computer or other device, letters, telegrams, telexes, cables, telephone


                                             3                                  Appx_0278
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conversations, and records or notations made in connection therewith, notes,
memoranda, sound recordings, electronic data storage devices, and any other reported,
recorded or graphic matter or document relating to any exchange of information.

       Concerning. The term “concerning” means reflecting, regarding, relating to,
referring to, describing, evidencing, or constituting.

       Document or documents. The terms “document” or “documents” shall mean
anything that may be considered to be a document or tangible thing within the meaning
of the TEXAS RULES OF CIVIL PROCEDURE, including (without limitation)
Electronically Stored Information and the originals and all copies of any correspondence,
memoranda, handwritten or other notes, letters, files, records, papers, drafts and prior
versions, diaries, calendars, telephone or other message slips, invoices, files, statements,
books, ledgers, journals, work sheets, inventories, accounts, calculations, computations,
studies, reports, indices, summaries, facsimiles, telegrams, telecopied matter,
publications, pamphlets, brochures, periodicals, sound recordings, surveys, statistical
compilations, work papers, photographs, videos, videotapes, drawings, charts, graphs,
models, contracts, illustrations, tabulations, records (including tape recordings and
transcriptions thereof) of meetings, conferences and telephone or other conversations or
communications, financial statements, photostats, e-mails, microfilm, microfiche, data
sheets, data processing cards, computer tapes or printouts, disks, word processing or
computer diskettes, computer software, source and object codes, computer programs and
other writings, or recorded, transcribed, punched, taped and other written, printed,
recorded, digital, or graphic matters and/or electronic data of any kind however
produced or reproduced and maintained, prepared, received, or transmitted, including
any reproductions or copies of documents which are not identical duplicates of the
original and any reproduction or copies of documents of which the originals are not in
your possession, custody or control.

       Electronically Stored Information or ESI. The terms “Electronically Stored Information”
or “ESI” shall mean and include all documents, notes, photographs, images, digital, analog or
other information stored in an electronic medium. Please produce all Documents/ESI in .TIF
format (OCR text, single page). Please also provide a Summation Pro Load File (.dii) respect to all
such Documents/ESI

       Estate. The term “Estate” means HCM’s bankruptcy estate.

        Farallon, you, and your. The terms “Farallon,” “you,” and “your” shall mean
Farallon Capital Management, LLC and its corporate parent, subsidiaries, or affiliates and
entities it manages or operates, including, but not limited to, Muck Holdings, LLC. These
terms also include any owners, partners, shareholders, agents, employees,



                                                4                                       Appx_0279
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representatives, attorneys, predecessors, successors, assigns, related entities, parent
companies, subsidiaries, and/or entities in which Farallon is a general partner or owns an
entities’ general partner, or anyone else acting on Farallon’s behalf, now or at any time
relevant to the response.

      Grosvenor. The term “Grosvenor” refers to Grosvenor Capital Management, L.P.

       HarbourVest. The term “HarbourVest” refers to HarbourVest 2017 Global Fund
L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
Partners L.P., collectively.

      HCM. The term “HCM” refers to debtor Highland Capital Management, L.P.

      Jessup. The term “Jessup” refers to Jessup Holdings, LLC.

      MGM. The term “MGM” refers to Metro-Goldwyn-Mayer Studios, Inc.

      Muck. The term “Muck” shall refer to Muck Holdings, LLC.

      NAV. The term “NAV” means net asset value.

       Oversight Board. The term “Oversight Board” refers to the Claimant Trust
Oversight Committee (a/k/a the Oversight Board of the Highland Claimant Trust) as
identified in Bankruptcy Case Dkt. No. 2801.

      Person. The term “person” is defined as any natural person or any business, legal,
or governmental entity or association.

      Plan. The term “Plan” refers to the Fifth Amended Plan of Reorganization of
Highland Capital Management, L.P. (as Modified).

      Redeemer. The term “Redeemer” means the Redeemer Committee of the Highland
Crusader Funds.

      Seery. The term “Seery” refers to James P. (“Jim”) Seery.

     Settling Parties. The term “Settling Parties” refers to Redeemer, Acis, HarbourVest,
and UBS, collectively.

      Stonehill. The term “Stonehill” refers to Stonehill Capital Management, LLC.

      Strand. The term “Strand” refers to Strand Advisors, Inc.



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        UBS. The term “UBS” refers to UBS Securities LLC and UBS AG London Branch,
collectively.




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                                       EXHIBIT “1”

                                  TOPIC CATEGORIES

        The witness(es) designated by Farallon to testify on its behalf is (are) requested to
testify concerning the following Topic Categories:

       a. The substance, types, and sources of information Farallon
          considered in making any decision to invest in any of the Claims
          on behalf of itself, Muck, and/or any fund with which Farallon is
          connected;

       b. Whether Farallon conducted due diligence, and the substance
          and identification of any due diligence (including associated
          documents), when evaluating any of the Claims;

       c. Any and all communications with James Dondero;

       d. The extent to which Farallon was involved in creating and
          organizing Muck in connection with the acquisition of any of the
          Claims;

       e. The organizational structure of Muck (including identification of
          all members, managing members), as well as the purpose for
          creating Muck, including, but not limited to, regarding holding
          title to any of the Claims;

       f. Any internal valuations of Muck’s Net Asset Value (NAV), as
          well as all assets owned by Muck;

       g. Any external valuation or audits of the NAV attributable to any
          of the Claims;

       h. Any documents reflecting profit forecasts relating to any of the
          Claims;

       i. All communications between Farallon and Seery relating to any
          of the Claims;




                                             7                                    Appx_0282
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      j.   All forecasted payout(s) on any of the Claims and all documents
           including or reflecting the same;

      k. All communications between Farallon and any of the Settling
         Parties concerning any of the Claims;

      l. Any negotiations between Farallon and any of the Settling Parties
         concerning any of the Claims;

      m. All communications between Farallon and Stonehill regarding
         any of the Claims;

      n. All communications between Farallon and any investors in any
         fund managed by Farallon regarding any of the Claims or
         valuation of the Claims;

      o. All communications between Seery and Farallon regarding
         Seery’s compensation as Trustee of the Claimant Trust;

      p. All agreements and other communications between Seery and
         the Oversight Committee regarding Seery’s compensation and
         all documents relating to, regarding, or reflecting such
         agreements and other communications;

      q. All base fees and performance fees which Farallon has received
         or may receive in connection with the Claims and all documents
         relating to, regarding, or reflecting the same;

      r. All monies received by Muck in connection with any of the
         Claims and any distributions made by Muck to any members of
         Muck relating to such Claims;

      s. Whether Farallon is a co-investor in any fund which holds an
         interest in Muck or otherwise holds a direct interest in Muck and
         all documents reflecting the same;

      t. All communications between Farallon and any of the following
         entities concerning any of the Claims:

                i.   UCC;


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               ii.   Highland;
              iii.   Grosvenor;
              iv.    Muck;
               v.    the Oversight Board.
      u. The sources of funds used by Muck for the acquisition of any of
         the Claims;

      v. The terms and conditions of any agreements governing the
         transfers of any of the Claims to Muck;

      w. Representations made by Farallon, Muck, Seery, and/or the
         Settling Parties in connection with the transfer of any of the
         Claims;

      x. Farallon’s valuation or evaluation of HCM’s Estate;

      y. Information learned regarding MGM during the pendency of the
         negotiations relating to the Claims;

      z. The appointment of Muck to the Oversight Board;

      aa. Farallon’s historical relationships and business dealings with
          Seery and Grovesnor;

      bb. Representations made to the bankruptcy court in connection with
          the transfer of any of the Claims to Muck.




                                            9                               Appx_0284
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                                       EXHIBIT “2”

                               DOCUMENT REQUESTS

   1. Any and all documents created by, prepared for, or received by Farallon
      concerning any of the following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;
          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Farallon or Muck prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   2. Any and all communications between Farallon, on the one hand, and any of the
      following individuals or entities: (i) Seery, (ii) the UCC, (iii) the Settling Parties,
      (iv) Stonehill, (vi) Grosvenor, or, (vii) the Oversight Board, concerning any of the
      following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;




                                             10                                   Appx_0285
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          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Farallon or Muck prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   3. All correspondence and/or other documents by or between Farallon and/or Muck
      and any investors in any fund regarding the Claims and/or the acquisition or
      transfer of the Claims.
   4. Any and all documents reflecting the sources of funding used by Muck to acquire
      any of the Claims.
   5. Organizational and formation documents relating to Muck including, but not
      limited to, Muck’s certificate of formation, company agreement, bylaws, and the
      identification of all members and managing members.
   6. Company resolutions prepared by or on behalf of Muck approving the acquisition
      of any of the Claims.
   7. Any and all documents reflecting any internal or external audits regarding Muck’s
      NAV.
   8. Agreements between Farallon and Muck regarding management, advisory, or
      other services provided to Muck by Farallon.
   9. Any and all documents reviewed by Farallon as part of its evaluation and due
      diligence regarding any of the Claims.
   10. Any documents reflecting any communications with James Dondero;
   11. Annual fund audits relating to Muck.



                                           11                                 Appx_0286
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   12. Muck’s NAV Statements.
   13. Documents reflecting the fees or other compensation earned by Farallon in
       connection with the investment in, acquisition of, transfer of, and/or management
       of any of the Claims.




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                                          12                                  Appx_0287
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                                     EXHIBIT “B”

                           CAUSE NO. ___________________

 IN RE:                                      §             IN THE DISTRICT COURT
                                             §
 HUNTER MOUNTAIN                             §
 INVESTMENT TRUST                            §            ____th JUDICIAL DISTRICT
                                             §
       Petitioner,                           §
                                             §             DALLAS COUNTY, TEXAS

   NOTICE OF DEPOSITION OF STONEHILL CAPITAL MANAGEMENT, LLC

TO:   Stonehill Capital Management, LLC, by and through its attorney of record
      _________________.

      PLEASE TAKE NOTICE that, pursuant to Tex. R. Civ. P. 199, 202, and 205,

Petitioner Hunter Mountain Investment Trust (“HMIT”) will take the deposition on oral

examination under oath of Stonehill Capital Management, LLC (“Stonehill”) on

___________, 2023 at _____ _.m. before a notary public or other person authorized to

administer a proper oath and will be recorded by stenographic means. The deposition

will take place at _________________ before a court reporter and videographer and will

continue from day to day until completed. The deposition may also be recorded by non-

stenographic (videotape) means.

      Please take further notice that, pursuant to Tex. R. Civ. P. 199.2(b), Stonehill is

requested to designate one or more person(s) most knowledgeable and prepared to testify

on behalf of Stonehill concerning the topics identified on Exhibit “1”, and to produce the

documents described in Exhibit “2”, attached hereto.



                                                                                Appx_0288
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                                          Respectfully submitted,



                                          Sawnie A. McEntire
                                          State Bar No. 13590100
                                          smcentire@pmmlaw.com
                                          Ian B. Salzer
                                          State Bar No. 24110325
                                          isalzer@pmmlaw.com
                                          1700 Pacific Avenue, Suite 4400
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                                          Roger L. McCleary
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                                          rmccleary@pmmlaw.com
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                                          Houston, Texas 77056
                                          Telephone: (713) 960-7315
                                          Facsimile: (713) 960-7347

                                          Attorneys for Petitioner Hunter Mountain
                                          Investment Trust




                              CERTIFICATE OF SERVICE

       I hereby certify that, on January ___, 2023, a true and correct copy of the foregoing
document was served on all known counsel of record in accordance with the Texas Rules
of Civil Procedure.



                                          Sawnie A. McEntire




                                             2                                    Appx_0289
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                            EXHIBIT “A”
  TO NOTICE OF DEPOSITION OF STONEHILL CAPITAL MANAGEMENT, LLC

       For purposes of the attached Exhibits “1” and “2”, the following rules and
definitions shall apply.

                            RULES OF CONSTRUCTION

1.    The terms “all” and “each” shall be construed as all and each.

2.    The terms “all” and “any” shall be construed as all and any.

3.    The connectives “and” and “or” shall be construed either disjunctively or
      conjunctively as necessary to bring within the scope of the discovery request all
      responses that might otherwise be construed to be outside of its scope.

4.    The use of the singular form of any word includes the plural and vice versa.

                                    DEFINITIONS
       The terms used herein shall have the following meanings unless the context
requires otherwise:

     Acis. The term “Acis” refers to Acis Capital Management, L.P. and Acis Capital
Management GP LLC, collectively.

        Any and all. The terms “any” and “all” should be understood in either the most or
the least inclusive sense as necessary to bring within the scope of the discovery request
all responses that might otherwise be construed to be outside its scope. “Any” includes
the word “all,” and “all” includes the term “any.”

      Bankruptcy Case. The term “Bankruptcy Case” shall mean the Chapter 11
Bankruptcy of Debtor Highland Capital Management, L.P., Case No. 19-34054 in the
United States Bankruptcy Court for the Northern District of Texas.

       Claims. The term “Claims” shall mean the claims against Highland’s Estate
transferred to/acquired by Muck and/or Jessup as evidenced by Bankruptcy Case Dkt.
Nos. 2215, 2261, 2262, 2263, 2697, 2698.

      Communication. The term “communication” means any manner in which the
mental processes of one individual are related to another, including without limitation,
any verbal utterance, correspondence, email, text message, statement, transmission of
information by computer or other device, letters, telegrams, telexes, cables, telephone


                                           3                                   Appx_0290
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conversations, and records or notations made in connection therewith, notes,
memoranda, sound recordings, electronic data storage devices, and any other reported,
recorded or graphic matter or document relating to any exchange of information.

       Concerning. The term “concerning” means reflecting, regarding, relating to,
referring to, describing, evidencing, or constituting.

       Document or documents. The terms “document” or “documents” shall mean
anything that may be considered to be a document or tangible thing within the meaning
of the TEXAS RULES OF CIVIL PROCEDURE, including (without limitation)
Electronically Stored Information and the originals and all copies of any correspondence,
memoranda, handwritten or other notes, letters, files, records, papers, drafts and prior
versions, diaries, calendars, telephone or other message slips, invoices, files, statements,
books, ledgers, journals, work sheets, inventories, accounts, calculations, computations,
studies, reports, indices, summaries, facsimiles, telegrams, telecopied matter,
publications, pamphlets, brochures, periodicals, sound recordings, surveys, statistical
compilations, work papers, photographs, videos, videotapes, drawings, charts, graphs,
models, contracts, illustrations, tabulations, records (including tape recordings and
transcriptions thereof) of meetings, conferences and telephone or other conversations or
communications, financial statements, photostats, e-mails, microfilm, microfiche, data
sheets, data processing cards, computer tapes or printouts, disks, word processing or
computer diskettes, computer software, source and object codes, computer programs and
other writings, or recorded, transcribed, punched, taped and other written, printed,
recorded, digital, or graphic matters and/or electronic data of any kind however
produced or reproduced and maintained, prepared, received, or transmitted, including
any reproductions or copies of documents which are not identical duplicates of the
original and any reproduction or copies of documents of which the originals are not in
your possession, custody or control.

       Electronically Stored Information or ESI. The terms “Electronically Stored Information”
or “ESI” shall mean and include all documents, notes, photographs, images, digital, analog or
other information stored in an electronic medium. Please produce all Documents/ESI in .TIF
format (OCR text, single page). Please also provide a Summation Pro Load File (.dii) respect to all
such Documents/ESI

       Estate. The term “Estate” means HCM’s bankruptcy estate.

      Farallon. The term “Farallon,” refers to Farallon Capital Management, LLC and its
corporate parent, subsidiaries, or affiliates and entities it manages or operates, including,
but not limited to, Muck Holdings, LLC. These terms also include any owners, partners,
shareholders, agents, employees, representatives, attorneys, predecessors, successors,



                                                4                                       Appx_0291
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assigns, related entities, parent companies, subsidiaries, and/or entities in which Farallon
is a general partner or owns an entities’ general partner, or anyone else acting on
Farallon’s behalf, now or at any time relevant to the response.

       Grosvenor. The term “Grosvenor” refers to Grosvenor Capital Management, L.P.

       HarbourVest. The term “HarbourVest” refers to HarbourVest 2017 Global Fund
L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
Partners L.P., collectively.

       HCM. The term “HCM” refers to debtor Highland Capital Management, L.P.

       Jessup. The term “Jessup” refers to Jessup Holdings, LLC.

       MGM. The term “MGM” refers to Metro-Goldwyn-Mayer Studios, Inc.

       Muck. The term “Muck” shall refer to Muck Holdings, LLC.

       NAV. The term “NAV” means net asset value.

       Oversight Board. The term “Oversight Board” refers to the Claimant Trust
Oversight Committee (a/k/a the Oversight Board of the Highland Claimant Trust) as
identified in Bankruptcy Case Dkt. No. 2801.

      Person. The term “person” is defined as any natural person or any business, legal,
or governmental entity or association.

      Plan. The term “Plan” refers to the Fifth Amended Plan of Reorganization of
Highland Capital Management, L.P. (as Modified).

      Redeemer. The term “Redeemer” means the Redeemer Committee of the Highland
Crusader Funds.

       Seery. The term “Seery” refers to James P. (“Jim”) Seery.

     Settling Parties. The term “Settling Parties” refers to Redeemer, Acis, HarbourVest,
and UBS, collectively.

      Stonehill,” “you,” and “your.” The terms “Stonehill”, “you,” and “your” shall mean
Stonehill Capital Management, LLC and its corporate parent, subsidiaries, or affiliates
and entities it manages or operates, including, but not limited to Jessup Holdings, LLC.
These terms also include any owners, partners, shareholders, agents, employees,



                                             5                                    Appx_0292
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representatives, attorneys, predecessors, successors, assigns, related entities, parent
companies, subsidiaries, and/or entities in which Stonehill is a general partner or owns
an entities’ general partner, or anyone else acting on Stonehill’s behalf, now or at any time
relevant to the response .

       Strand. The term “Strand” refers to Strand Advisors, Inc.

        UBS. The term “UBS” refers to UBS Securities LLC and UBS AG London Branch,
collectively.




                                             6                                    Appx_0293
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                                       EXHIBIT “1”

                                  TOPIC CATEGORIES

        The witness(es) designated by Stonehill to testify on its behalf is (are) requested to
testify concerning the following Topic Categories:

       a. The substance, types, and sources of information Stonehill
          considered in making any decision to invest in any of the Claims
          on behalf of itself, Jessup, and/or any fund with which Stonehill
          is connected;

       b. Whether Stonehill conducted due diligence, and the substance
          and identification of any due diligence (including associated
          documents), when evaluating any of the Claims;

       c. Any and all communications with James Dondero;

       d. The extent to which Stonehill was involved in creating and
          organizing Jessup in connection with the acquisition of any of the
          Claims;

       e. The organizational structure of Jessup (including identification
          of all members, managing members), as well as the purpose for
          creating Jessup, including, but not limited to, regarding holding
          title to any of the Claims;

       f. Any internal valuations of Jessup’s Net Asset Value (NAV), as
          well as all assets owned by Jessup;

       g. Any external valuation or audits of the NAV attributable to any
          of the Claims;

       h. Any documents reflecting profit forecasts relating to any of the
          Claims;

       i. All communications between Stonehill and Seery relating to any
          of the Claims;




                                              7                                    Appx_0294
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      j.   All forecasted payout(s) on any of the Claims and all documents
           including or reflecting the same;

      k. All communications between Stonehill and any of the Settling
         Parties concerning any of the Claims;

      l. Any negotiations between Stonehill and any of the Settling
         Parties concerning any of the Claims;

      m. All communications between Stonehill and Farallon regarding
         any of the Claims;

      n. All communications between Stonehill and any investors in any
         fund managed by Stonehill regarding any of the Claims or
         valuation of the Claims;

      o. All communications between Seery and Stonehill regarding
         Seery’s compensation as Trustee of the Claimant Trust;

      p. All agreements and other communications between Seery and
         the Oversight Committee regarding Seery’s compensation and
         all documents relating to, regarding, or reflecting such
         agreements and other communications;

      q. All base fees and performance fees which Stonehill has received
         or may receive in connection with the Claims and all documents
         relating to, regarding, or reflecting the same;

      r. All monies received by Jessup in connection with any of the
         Claims and any distributions made by Jessup to any members of
         Jessup relating to such Claims;

      s. Whether Stonehill is a co-investor in any fund which holds an
         interest in Jessup or otherwise holds a direct interest in Jessup
         and all documents reflecting the same;

      t. All communications between Stonehill and any of the following
         entities concerning any of the Claims:

                i.   UCC;


                                           8                                 Appx_0295
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               ii.   Highland;
              iii.   Grosvenor;
              iv.    Jessup;
               v.    the Oversight Board.
      u. The sources of funds used by Jessup for the acquisition of any of
         the Claims;

      v. The terms and conditions of any agreements governing the
         transfers of any of the Claims to Jessup;

      w. Representations made by Stonehill, Jessup, Seery, and/or the
         Settling Parties in connection with the transfer of any of the
         Claims;

      x. Stonehill’s valuation or evaluation of HCM’s Estate;

      y. Information learned regarding MGM during the pendency of the
         negotiations relating to the Claims;

      z. The appointment of Jessup to the Oversight Board;

      aa. Stonehill’s historical relationships and business dealings with
          Seery and Grovesnor;

      bb. Representations made to the bankruptcy court in connection with
          the transfer of any of the Claims to Jessup.




                                            9                                Appx_0296
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                                       EXHIBIT “2”

                               DOCUMENT REQUESTS

   1. Any and all documents created by, prepared for, or received by Stonehill
      concerning any of the following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;
          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Stonehill or Jessup prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   2. Any and all communications between Stonehill, on the one hand, and any of the
      following individuals or entities: (i) Seery, (ii) the UCC, (iii) the Settling Parties,
      (iv) Farallon, (vi) Grosvenor, or, (vii) the Oversight Board, concerning any of the
      following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;




                                             10                                   Appx_0297
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          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Stonehill or Jessup prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   3. All correspondence and/or other documents by or between Stonehill and/or Jessup
      and any investors in any fund regarding the Claims and/or the acquisition or
      transfer of the Claims.
   4. Any and all documents reflecting the sources of funding used by Jessup to acquire
      any of the Claims.
   5. Organizational and formation documents relating to Jessup including, but not
      limited to, Jessup’s certificate of formation, company agreement, bylaws, and the
      identification of all members and managing members.
   6. Company resolutions prepared by or on behalf of Jessup approving the acquisition
      of any of the Claims.
   7. Any and all documents reflecting any internal or external audits regarding
      Jessup’s NAV.
   8. Agreements between Stonehill and Jessup regarding management, advisory, or
      other services provided to Jessup by Stonehill.
   9. Any and all documents reviewed by Stonehill as part of its evaluation and due
      diligence regarding any of the Claims.
   10. Any documents reflecting any communications with James Dondero;
   11. Annual fund audits relating to Jessup.



                                           11                                 Appx_0298
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   12. Jessup’s NAV Statements.
   13. Documents reflecting the fees or other compensation earned by Stonehill in
       connection with the investment in, acquisition of, transfer of, and/or management
       of any of the Claims.




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                                          12                                  Appx_0299
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                     Exhibit 4-B




                                                                         Appx_0300
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                                                                                      1

      1
                                     REPORTER'S RECORD
      2
                                        VOLUME 1 OF 1
      3

      4             COURT OF APPEALS CAUSE NO. 00-00-00000-CV

      5                  TRIAL COURT CAUSE NO. DC-23-01004-J

      6
          IN RE:                                    ) IN THE DISTRICT COURT
      7                                             )
                                                    )
      8   HUNTER MOUNTAIN                           )
          INVESTMENT TRUST,                         ) OF DALLAS COUNTY, TEXAS
      9                                             )
                                                    )
     10            Petitioner.                      ) 191ST JUDICIAL DISTRICT

     11

     12

     13           PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST'S

     14                              RULE 202 PETITION

     15                              which was heard on

     16                       Wednesday, February 22, 2023

     17

     18

     19            On the 22nd day of February 2023, the following

     20   proceedings came on to be heard in the above-entitled

     21   and numbered cause before the Honorable Gena Slaughter,

     22   Judge Presiding, held in Dallas, Dallas County, Texas,

     23   and the following proceedings were had, to wit:

     24                Proceedings reported by machine shorthand

     25   utilizing computer-assisted realtime transcription.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0301
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                                           Appearances                                2

      1   APPEARANCES:

      2

      3   MR. SAWNIE A. McENTIRE                       ATTORNEYS FOR PETITIONER
          State Bar No. 13590100                       Hunter Mountain
      4   PARSONS McENTIRE                             Investment Trust
              McCLEARY, PLLC
      5   1700 Pacific Avenue
          Suite 4400
      6   Dallas, Texas 75201
          Telephone: (214) 237-4300
      7   Facsimile: (214) 237-4340
          Email: smcentire@pmmlaw.com
      8
          and
      9
          MR. ROGER L. McCLEARY
     10   State Bar No. 13393700
          PARSONS McENTIRE
     11       McCLEARY, PLLC
          One Riverway
     12   Suite 1800
          Houston, Texas 77056
     13   Telephone: (713) 960-7315
          Facsimile: (713) 960-7347
     14   Email: rmccleary@pmmlaw.com

     15

     16

     17   MR. DAVID C. SCHULTE                         ATTORNEY FOR RESPONDENTS
          State Bar No. 24037456                       Farallon Capital
     18   HOLLAND & KNIGHT, LLP                        Management, LLC, and
          1722 Routh Street                            Stonehill Capital
     19   Suite 1500                                   Management LLC
          Dallas, Texas 75201
     20   Telephone: (214) 964-9500
          Facsimile: (214) 964-9501
     21   Email: david.schulte@hklaw.com

     22

     23

     24                               *          *          *

     25


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0302
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      1

      2

      3                                 VOLUME 1 INDEX

      4

      5           PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST'S

      6                              RULE 202 PETITION

      7                              which was heard on

      8                       Wednesday, February 22, 2023

      9

     10   PROCEEDINGS:                                                         Page    Vol

     11   Proceedings on the record......................                        8         1

     12   Argument by Mr. Sawnie A. McEntire.............                        9         1

     13   Response by Mr. David C. Schulte............... 37                               1

     14   Response by Mr. Sawnie A. McEntire............. 65                               1

     15   Response by Mr. David C. Schulte............... 73                               1

     16   Response by Mr. Sawnie A. McEntire............. 76                               1

     17   The court takes the matter under consideration. 77                               1

     18   Adjournment.................................... 78                               1

     19   Reporter's Certificate......................... 79                               1

     20

     21

     22

     23

     24

     25


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0303
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                                Petitioner's Exhibits Index                            4

      1                       PETITIONER'S EXHIBITS INDEX

      2
                                                                   (Excluded)
      3   Number       Description                          Offered Admitted Vol

      4

      5    P-1         Declaration of                             36           42          1
                       Mark Patrick
      6

      7   P1-A         Claimant                                   36           42          1
                       Trust Agreement
      8

      9   P1-B         Division of                                36           42          1
                       Corporations - Filing
     10

     11   P1-C         Division of                                36           42          1
                       Corporations - Filing
     12

     13   P1-D         Order Approving                            36           42          1
                       Debtor's Settlement
     14

     15   P1-E         Order Approving                            36           42          1
                       Debtor's Settlement
     16

     17   P1-F         Order Approving                            36           42          1
                       Debtor's Settlement
     18

     19   P1-G         Order Approving                            36           42          1
                       Debtor's Settlement
     20

     21   P1-H         July 6, 2021, Alvarez                      36           41          1
                       & Marsal letter to                         --           42          1
     22                Highland Crusader
                       Funds Stakeholder
     23

     24   P1-I         United States Bankruptcy                   36           42          1
                       Court Case No. 19-34054
     25


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0304
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      1                PETITIONER'S EXHIBITS INDEX             continued

      2
                                                                   (Excluded)
      3   Number       Description                          Offered Admitted Vol

      4

      5   PI-J         Exhibit A                                  36           42          1
                       Highland Capital
      6                Management, L.P.
                       Disclaimer for
      7                Financial Projections

      8
          PI-K         United States Bankruptcy                   36           42          1
      9                Court Case No. 19-34054

     10
           P-2         Declaration of                             36           42          1
     11                James Dondero

     12
          P2-1         Jim Dondero email                          36      (41)             1
     13                dated Thursday,
                       December 2020
     14

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                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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       Case: 23-10376Doc Document:
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      1                       RESPONDENT'S EXHIBITS INDEX

      2
                                                                   (Excluded)
      3   Number       Description                          Offered Admitted Vol

      4

      5    R-1         Cause No. DC-21-09543                      41           44          1
                       Verified Amended Petition
      6

      7    R-2         Cause No. DC-21-09543                      41           44          1
                       Order
      8

      9    R-3         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     10

     11    R-4         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     12

     13    R-5         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     14

     15    R-6         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     16

     17    R-7         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     18

     19    R-8         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     20

     21    R-9         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     22

     23   R-10         United States Bankruptcy                   41           44          1
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                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0306
       Case: 23-10376Doc Document:
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      1                RESPONDENT'S EXHIBITS INDEX continued

      2
                                                                   (Excluded)
      3   Number       Description                          Offered Admitted Vol

      4

      5   R-11         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
      6

      7   R-12         United State Bankruptcy                    41           44          1
                       Court Case No. 19-12239
      8

      9   R-13         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     10

     11   R-14         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     12

     13   R-15         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     14

     15   R-16         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
     16

     17   R-17         United States Bankruptcy                   41           44          1
                       Court Case No. 19-34054
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                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0307
       Case: 23-10376Doc Document:
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                             February 22, 2023, Proceedings                           8

      1                           P R O C E E D I N G S

      2

      3                       THE COURT:      Okay.     Good morning, Counsel.

      4                       We are here in DC-23-01004, In re:

      5   Hunter Mountain Investment Trust.

      6                       And who is here for the plaintiff?

      7                       MR. McENTIRE:       For the petitioner,

      8   Your Honor, Sawnie McEntire and my partner

      9   Roger McCleary.

     10                       THE COURT:      Okay.     And then for Farallon?

     11                       MR. SCHULTE:       My name is David Schulte and

     12   I represent both of the respondents.                 It's Farallon

     13   Capital Management, LLC, and Stonehill Capital

     14   Management, LLC.

     15                       THE COURT:      We are here today on a request

     16   for a 202 petition.          I know one of the issues is the

     17   related suit, but let's just plow into it and we'll

     18   go from there.

     19                       Okay.    Counsel?

     20                       MR. McENTIRE:       May I approach the bench?

     21                       THE COURT:      Yes, you may.

     22                       MR. McENTIRE:       And I've given Mr. Schulte

     23   copies of all these materials.

     24                       In the interest of time, I have all the

     25   key pleadings here, which I will give you a copy of.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0308
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                                  Argument by Mr. McEntire                            9

      1                       THE COURT:      Thank you.

      2                       MR. McENTIRE:       And this is the evidentiary

      3   submission that we submitted about a week ago.

      4                       THE COURT:      Right.

      5                       MR. McENTIRE:       To the extent you are

      6   interested, it is cross-referenced by exhibit number

      7   to the references in our petition to the docket in the

      8   bankruptcy court.

      9                       THE COURT:      I appreciate that.          Otherwise,

     10   I go hunting for stuff.

     11                       MR. McENTIRE:       This is a PowerPoint.

     12                       THE COURT:      Okay.

     13                       MR. McENTIRE:       And, lastly, a proposed

     14   order.

     15                       THE COURT:      Wonderful.

     16                       MR. McENTIRE:       And Mr. Schulte has copies

     17   of it all.

     18                       THE COURT:      Okay.

     19                       MR. McENTIRE:       May I proceed, Your Honor?

     20                       THE COURT:      You may.

     21                       MR. McENTIRE:       All right.       Your Honor,

     22   we are here for leave of court to conduct discovery

     23   under Rule 202 to investigate potential claims.

     24                       The issue before the court is not whether

     25   we have an actual claim.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       THE COURT:      Right.

      2                       MR. McENTIRE:       We do not even need to

      3   state a cause of action.            It is simply the investigation

      4   of potential claims.

      5                       Mr. Mark Patrick is here with us today.

      6   He's behind me.         Mr. Patrick is the administrator of

      7   Hunter Mountain, which is a Delaware trust.

      8                       THE COURT:      Okay.

      9                       MR. McENTIRE:       He is the manager of

     10   Rand Advisors, which is also an investment manager

     11   of the trust.        And, in effect, for all intents and

     12   purposes, Mr. Patrick manages the assets of the trust on

     13   a daily basis.

     14                       THE COURT:      Okay.

     15                       MR. McENTIRE:       There are potential claims

     16   that we're investigating.             And I'll go through some

     17   of these because I know opposing counsel has raised

     18   standing issues.

     19                       THE COURT:      Right.

     20                       MR. McENTIRE:       And I think we can address

     21   all those standing issues.

     22                       Insider trading is in itself a wrong

     23   as recognized by courts.            And I'll refer you to the

     24   opinions.      We believe there's a breach of fiduciary

     25   duties, and that may take a little explanation.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       At the time that Farallon and Stonehill

      2   acquired these claims, through their special purpose

      3   entities Muck and Jessup, they were outsiders.

      4                       THE COURT:      Right.

      5                       MR. McENTIRE:       But by acquiring the

      6   information in the manner in which we believe they did,

      7   they became insiders.           And when they became insiders,

      8   under relevant authorities they owe fiduciary duties.

      9                       And at the time they acquired the claims,

     10   my client Hunter Mountain Investment Trust was the

     11   99.5 percent interest holder or stakeholder in

     12   Highland Capital.

     13                       THE COURT:      Right.

     14                       MR. McENTIRE:       We also believe a knowing

     15   participation of breach of fiduciary duties under

     16   another name, aiding and abetting.                But Texas recognizes

     17   it as knowing participation.              Unjust enrichment,

     18   constructive trust, and tortious interference.

     19                       THE COURT:      Okay.

     20                       MR. McENTIRE:       Farallon and Stonehill are

     21   effectively hedge funds.            And so is Highland Capital.

     22                       They were created.         They actually did

     23   create Muck and Jessup.            Those are the two entities

     24   that actually are titled with the claims.                   They

     25   acquired it literally days before the transfers.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0311
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      1                       So the reason we're focusing our discovery

      2   effort on Farallon and Stonehill, we are confident

      3   that any meaningful discovery -- emails, letters,

      4   correspondence, document drafts, things of that

      5   nature -- probably predated the existence of

      6   Muck and Jessup.

      7                       THE COURT:      Right.

      8                       MR. McENTIRE:       That's why we're focusing

      9   our discovery effort on Farallon and on Stonehill.

     10                       But, needless to say, Farallon, Stonehill,

     11   Muck and Jessup, having all participated in this

     12   acquisition, they're all insiders for purposes

     13   of assuming fiduciary duties.

     14                       And as I said, outsiders become insiders

     15   under the relevant authority.               And one key case is the

     16   Washington Mutual case --

     17                       THE COURT:      Right.

     18                       MR. McENTIRE:       -- which we cited in our

     19   materials.

     20                       I would also just let you know, this is

     21   not something in total isolation.                We understand we're

     22   not privy to the details.             But we understand the Texas

     23   State Security Board also has an open investigation that

     24   has not been closed.

     25                       THE COURT:      Okay.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0312
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      1                       MR. McENTIRE:       And that's by way of

      2   background.

      3                       202 allows presuit discovery for a couple

      4   of reasons.       And I won't belabor the point.               One is to

      5   investigate potential claims.

      6                       There is no issue of notice or service

      7   here.     There's no issue of personal jurisdiction.

      8   Farallon and Stonehill made a general appearance.

      9                       THE COURT:      Right.

     10                       MR. McENTIRE:       There's no issue concerning

     11   subject-matter jurisdiction.              They actually concede that

     12   the court has jurisdiction on page 8 of their response.

     13                       The court's inquiry today is a limited

     14   judicial inquiry.          There are really two avenues which

     15   I'll explain, but, first, I think the salient avenue

     16   is does the benefit of the discovery outweigh the

     17   burden.

     18                       And I think as I will hopefully

     19   demonstrate, I think that we clearly do.

     20                       THE COURT:      Okay.

     21                       MR. McENTIRE:       The merits of a potential

     22   claim, the case law is clear, is not before the court.

     23                       Much of their brief and their response

     24   is devoted to trying to attack the fact that there

     25   is no duty or things such as standing.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0313
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      1                       But the reality of it is we are not

      2   required to actually prove up a cause of action to

      3   this court although I think I can.                In this process,

      4   I probably certainly can identify a potential cause of

      5   action.      That's not our obligation to carry our burden.

      6                       There was an issue about timely submission

      7   of evidence they raised in a footnote, but I think that

      8   was resolved before the court took the bench.

      9                       THE COURT:      Okay.

     10                       MR. McENTIRE:       I've handed you a binder

     11   with Mr. Mark Patrick's affidavit and Jim Dondero's

     12   affidavit.

     13                       As I understand it, correct me if I'm

     14   wrong, you're not objecting to the submission of that

     15   evidence.      Is that correct?

     16                       MR. SCHULTE:       Almost.

     17                       THE COURT:      Okay.

     18                       MR. SCHULTE:       Your Honor, I do object

     19   to the two declarations that were submitted I believe

     20   five days before the hearing.

     21                       THE COURT:      Okay.

     22                       MR. SCHULTE:       As Your Honor is aware,

     23   Rule 202 contemplates 15 days' notice.                  The petition

     24   itself was required to be verified.                 It was verified

     25   and then new substance was added by way of these


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1   declarations five days before the hearing.

      2                       And so we would argue that that has the

      3   effect of amending or supplementing the petition within

      4   that 15-day notice period.

      5                       All that said, I don't have any issue with

      6   the majority of the documents attached to Mr. Patrick's

      7   declaration.

      8                       THE COURT:      Okay.

      9                       MR. SCHULTE:       So I do object on the

     10   grounds of hearsay and timeliness to the declarations.

     11                       On Exhibit H to Mr. Patrick's declaration,

     12   I object to that document on the grounds of hearsay.

     13                       THE COURT:      Okay.     Which one?

     14                       MR. SCHULTE:       Exhibit H to Mr. Patrick's

     15   declaration on the basis of hearsay.

     16                       All the other documents are I believe

     17   file-stamped copies of the pleadings filed in the

     18   bankruptcy, which I don't have any issue with that.

     19                       And then the exhibit to Mr. Dondero's

     20   declaration is an email that's objected to on the basis

     21   of hearsay.       And it hasn't been proven up as a business

     22   record or any other way that will get past hearsay.

     23                       THE COURT:      Okay.

     24                       MR. SCHULTE:       So those are the limited

     25   objections I have to what's in that filing, Your Honor.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       MR. McENTIRE:       And I will address those

      2   objections.       And we're prepared to put Mr. Patrick on

      3   the stand, if necessary.

      4                       I would point out that the case law is

      5   very clear that there's no 15-day rule here.

      6                       THE COURT:      Okay.

      7                       MR. McENTIRE:       We have asked the court

      8   to take judicial notice of all of our evidence in our

      9   petition itself.

     10                       The 15 days is the amount of time you have

     11   to give notice before the hearing --

     12                       THE COURT:      Right.

     13                       MR. McENTIRE:       -- but the case law

     14   is clear that I can put live testimony on, I can

     15   put affidavit testimony on.

     16                       THE COURT:      This is an evidentiary

     17   hearing.

     18                       MR. McENTIRE:       That's correct.

     19                       And that includes affidavits.              And

     20   affidavits are routinely accepted in these types of

     21   proceedings and I have the case law I can cite to the

     22   court.

     23                       MR. SCHULTE:       Your Honor, in contrast,

     24   I think if this were, for example, an injunction

     25   hearing, I don't believe that an affidavit would be


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1   the substitute in an injunction hearing for live

      2   testimony.

      3                       And so if this is an evidentiary standard,

      4   I don't think that these affidavits should come in for

      5   the truth of the matter asserted.                The witnesses should

      6   testify to the facts that they want to prove up.

      7                       MR. McENTIRE:       I could give the court a

      8   cite.

      9                       THE COURT:      Okay.

     10                       MR. McENTIRE:       It's Glassdoor, Inc. versus

     11   Andra Group.

     12                       THE COURT:      What was the name of it?

     13                       MR. McENTIRE:       Glassdoor, Inc. versus

     14   Andra Group.        It is 560 S.W.3d 281.           It specifically

     15   addresses the use and relies upon affidavits in the

     16   record for purposes of a Rule 202.

     17                       So, with that said, I will address it in

     18   more detail in a moment.            The evidentiary rule, to be

     19   clear, is it has to be supported by evidence.                        Seven

     20   days was the date that I picked because it was well

     21   in advance.       It's the standard rule that's used for

     22   discovery issues.          It's seven days before a hearing.

     23                       So I picked it.         He's had it for seven

     24   days.     He's never filed any written objections to my

     25   evidence.      None.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       And under the Local Rules I would think

      2   he would have objected within three business days.

      3   He did not do that, and so I'm a little surprised

      4   by the objection.

      5                       THE COURT:      Okay.

      6                       MR. McENTIRE:       All right.       We do have

      7   copies of all the certified records, but I gave you

      8   the agenda on that.          And we talked about the two

      9   declarations.

     10                       So the limited judicial inquiry is the

     11   only issue before the district court.                 It's whether

     12   or not to allow the discovery, not the merits of any

     13   claim yea or nay.

     14                       THE COURT:      Right.

     15                       MR. McENTIRE:       There's no need for us to

     16   even plead a cause of action, although we did.

     17                       Mr. Schulte goes to great length in

     18   his response to take issue with our cause of action,

     19   suggesting we had none.            We do.     But we're not even

     20   under an obligation to plead it; nevertheless, we did.

     21                       This is actually a two-part test.                The

     22   first part was allowing the petitioner -- in this case,

     23   Hunter Mountain -- to take the requested deposition may

     24   prevent a failure or delay of justice, or the likely

     25   benefit outweighs the burden.               Both apply here.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       These trades took place in April of 2021,

      2   three of the four.          The fourth I think took place in the

      3   summer.

      4                       And our goal is to obtain the discovery

      5   in a timely manner so we do not have any argument, valid

      6   or invalid, that there's a limitations issue.

      7                       THE COURT:      Okay.

      8                       MR. McENTIRE:       And so any further delay,

      9   such as transferring this to another court or back to

     10   the bankruptcy court, which it does not have

     11   jurisdiction, would cause tremendous delay.

     12                       THE COURT:      Okay.

     13                       MR. McENTIRE:       Hunter Mountain, a little

     14   bit of background.          It is an investment trust.               When

     15   it has money, it participates directly in funding the

     16   Dallas Foundation --

     17                       THE COURT:      Okay.

     18                       MR. McENTIRE:       -- which is a very I think

     19   well-respected and recognized charitable foundation.

     20                       Certain individuals and pastors from

     21   various churches are actually here because Hunter

     22   Mountain indirectly, but ultimately, provides a

     23   significant source of funding for their outreach

     24   programs and their charitable functions and programs.

     25                       THE COURT:      Okay.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       MR. McENTIRE:       The empirical evidence in

      2   the documents that are before the court, regardless of

      3   what's in the affidavits, just screams that there was

      4   no due diligence here.

      5                       Now, we know in Mr. Dondero's affidavit

      6   he had a conversation with representatives of Farallon,

      7   which would be admissions against interest.                    They're

      8   admissions basically against interest that they

      9   effectively did no due diligence.

     10                       Yet we believe, upon information and

     11   belief, that they invested over $167 million.                        There

     12   are two sets of claims.            There's a Class 8 claim and

     13   a Class 9 creditor claim.

     14                       THE COURT:      Right.

     15                       MR. McENTIRE:       Their expectations at the

     16   time that they acquired these claims was that Class 9

     17   would get zero recovery.

     18                       So who spends $167 million when their

     19   expectation on return of investment is zero?                    Who spends

     20   $167 million even in Class 8 when the expected return is

     21   just 71 percent and is actually declining?                   And I think

     22   it's actually admitted in the affidavit that Mr. Dondero

     23   provided.

     24                       So without being hyperbolic or

     25   exaggerating, the data that was available publicly


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1   was extremely pessimistic and doubtful that there would

      2   be any recovery.

      3                       We have direct information -- admissions,

      4   frankly -- that Farallon had access to non-public

      5   material, non-public information.                And that was

      6   the fact that MGM Studios was up for sale.

      7                       Mr. Dondero was on the board of directors.

      8                       THE COURT:      Okay.

      9                       MR. McENTIRE:       He communicated, because

     10   of his responsibilities, this information to Mr. Seery.

     11                       And Mr. Seery, apparently, would have been

     12   restricted.       He couldn't use it or distribute it.

     13                       THE COURT:      Right.

     14                       And I don't know a lot about securities

     15   law but, yeah, that would be insider information.

     16   Right?

     17                       MR. McENTIRE:       Yes.

     18                       And it appears from the affidavit that

     19   Mr. Dondero submitted that Farallon was aware of the

     20   information before the sale closed, before they closed

     21   their acquisitions.

     22                       And Mr. Dondero asked the question are

     23   you willing to even sell your claims and they said no.

     24   Or even 30 percent more and they said no.                   We're told

     25   that they're going to be very valuable.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0321
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                                  Argument by Mr. McEntire                            22

      1                       Well, no one else had this information, so

      2   we have a problem here that we have two outsiders who

      3   are now insiders.          They've acquired potentially very

      4   valuable claims with the sale of MGM.

      5                       They also acquired information concerning

      6   the portfolios of these companies over which Highland

      7   Capital managed and had ownership interests, so we're

      8   talking about having access to information that any

      9   other bidder or suitor would not have.

     10                       So this is how they were divided up.

     11   $270 million in Class 8.            Each of the creditors

     12   right here are the unsecured creditors who sold.

     13   They were the sellers.

     14                       THE COURT:      Right.

     15                       MR. McENTIRE:       And these are the claims in

     16   the Class 9.

     17                       So you have $95 million in Class 9 claims

     18   that are being acquired when the expectation is that

     19   there will be zero return on investment.                   You have

     20   $270 million where the expectation was extremely

     21   low and pessimistic.

     22                       And here are the documents.             And

     23   Mr. Schulte has not objected to these.                  This particular

     24   document is Exhibit 1-J to Mr. Patrick's affidavit.

     25                       THE COURT:      Okay.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0322
       Case: 23-10376Doc Document:
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                                  Argument by Mr. McEntire                            23

      1                       MR. McENTIRE:       This came out of the plan.

      2   So when the bankruptcy plan was confirmed in February

      3   2021, Farallon, Stonehill, Muck and Jessup, the latter

      4   two weren't even in existence.

      5                       THE COURT:      Right.

      6                       MR. McENTIRE:       Farallon and Stonehill were

      7   complete strangers to the bankruptcy proceedings, yet

      8   they come in in the wake of this information and

      9   they invest tens if not hundreds of millions of

     10   dollars with no apparent due diligence.

     11                       The situation gets even worse.              And this

     12   is Exhibit 1-I to Mr. Patrick's affidavit.                   And as

     13   I understand, Mr. Schulte does not object to these

     14   documents.       It's declining.        And then, suddenly,

     15   they're in the money.

     16                       And at the end of the third quarter last

     17   year, they're already making 255 million bucks.                       And

     18   that's a far cry from the original investment.                       This

     19   is for both Class 8 and Class 9.

     20                       So Mr. Patrick states the purpose of

     21   this is to seek cancellation.              Another word for it

     22   in bankruptcy-ese would be disallowance.                   But the

     23   cancellation of these claims and disgorgement.

     24                       If these are ill-gotten gains, regardless

     25   of the rubric or the monicker that you place on it --


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0323
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                                  Argument by Mr. McEntire                             24

      1   breach of fiduciary duty as insiders, aiding and

      2   abetting or knowing participation in fiduciary duties,

      3   because a lot of people have fiduciary duties on this

      4   stuff.     No matter what you call it, disgorgement is a

      5   remedy.

      6                       Wrongdoers should not be entitled to

      7   profit from their wrongdoing.

      8                       Mr. Schulte makes a big point that we

      9   can't prove damages.           Well, first of all, I don't agree

     10   with the conclusion.

     11                       THE COURT:      Right.

     12                       MR. McENTIRE:       But even if he was right,

     13   disgorgement is a proxy for damages.                 And we have an

     14   entitlement and a right to explore how much they have

     15   actually received, when did they receive it.

     16                       The weathervane is tilting in one

     17   direction here, Judge.

     18                       Clearly, there is a creditor trust

     19   agreement.       That's a very important document.                   It spells

     20   out rights and obligations.             It's part of the plan.

     21                       There's a waterfall.          And on page 27 of

     22   the creditor trust agreement a waterfall is exactly

     23   what it suggests.          You have one bucket gets full,

     24   you go to the next bucket all the way down.

     25                       THE COURT:      Class 1 or tier 1.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0324
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                                  Argument by Mr. McEntire                            25

      1                       I can't remember the category.              I don't

      2   do bankruptcy.        But, yeah, those get paid, then the

      3   next level, then the next level.

      4                       So by the time you get down to

      5   level 10, which I think is what Hunter Mountain was,

      6   theoretically, there wouldn't have been anything left.

      7                       MR. McENTIRE:       That's correct.

      8                       But here, if Class 8 and Class 9 -- and

      9   I will say the big elephant in those two classes are

     10   Farallon and Stonehill or their special purpose entity

     11   bucket Jessup -- they have 95 percent of that category.

     12                       And suddenly they're not entitled to keep

     13   what they've got, and suddenly there's a disallowance,

     14   or suddenly a cancellation regardless of the theory

     15   or the cause of action -- and we have several avenues

     16   here -- a lot of money is going to flow into the

     17   coffers of Hunter Mountain, and a lot of money will flow

     18   into the Dallas Foundation, and a lot of money will flow

     19   into the coffers of charities.

     20                       So there is standing here.             Standing

     21   requires the existence of a duty.                We think we have

     22   duties.

     23                       And a concrete injury.           And if these

     24   claims were manipulated, we have a concrete injury

     25   and our proxy is disgorgement.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0325
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                                  Argument by Mr. McEntire                            26

      1                       We've been deprived of an opportunity to

      2   share in category 10 or as we just described it in the

      3   waterfall under the creditor trust agreement.

      4                       THE COURT:      Right.

      5                       MR. McENTIRE:       Their burden is to show

      6   that this discovery has no benefit.                 No.    That's my

      7   burden to show benefit.            But their burden would be

      8   to show that it's overly burdensome to them.

      9                       And I find that difficult to understand

     10   since part of their response is devoted to the fact

     11   that, hey, judge in Dallas County, you should turn

     12   this over to Judge Jernigan in the bankruptcy court.

     13                       THE COURT:      Because it's bankruptcy,

     14   you know.

     15                       MR. McENTIRE:       In bankruptcy, that's their

     16   invitation.

     17                       THE COURT:      Right.

     18                       MR. McENTIRE:       Well, if they're inviting

     19   us to go do the discovery in bankruptcy court, it

     20   doesn't seem to be that burdensome because it's

     21   going to be the same discovery.

     22                       And, by the way, Judge Jernigan actually

     23   does not have jurisdiction over these proceedings.

     24   The other earlier proceeding, as you know, they

     25   attempted to remove it to her court and it was remanded.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0326
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                                  Argument by Mr. McEntire                            27

      1   Clearly, she does not have jurisdiction.

      2                       The problem with bankruptcy involved,

      3   in addition, if I wanted to do Rule 2004 discovery like

      4   they're suggesting, that's their invitation.                    They would

      5   like you to push us down the road.

      6                       Well, we can't afford to push it down the

      7   road.     Because if they push it down the road, I've got

      8   to go file a motion with Judge Jernigan, get leave to

      9   issue subpoenas.

     10                       THE COURT:      Right.

     11                       MR. McENTIRE:       They have 14 days to file

     12   a motion to quash, then I have to file another motion.

     13   And it's 21 days before their response is even filed.

     14   And there's another 14 or 15 days before the reply is

     15   filed.     We're looking at 60, 70 days.              And that's one

     16   of the reasons we selected this procedure.

     17                       And, by the way, you hear the phrase forum

     18   shopping a lot.         Well, without engaging in the negative

     19   inference that that term suggests, a plaintiff, a

     20   petitioner, has the right to select its venue for a

     21   variety of reasons.

     22                       Our venue is the state district courts

     23   of Texas because it has an accelerated procedure.                      And

     24   that's why we're here.

     25                       THE COURT:      Right.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0327
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      1                       MR. McENTIRE:       I've identified the

      2   potential causes of action.             Entities or people that

      3   breach fiduciary duties and receive ill-gotten gains

      4   a constructive trust may be imposed, disgorgement.

      5   Then we do run into bankruptcy concepts.

      6                       But it's important to know that some of

      7   these are not bankruptcy.             Some of these are common law.

      8                       I suggest to the court, I don't have to

      9   go get Judge Jernigan's permission to sue Farallon or

     10   Stonehill for breach of fiduciary duties.                   I don't have

     11   to get her permission to sue for knowing participation.

     12                       If I'm actually looking for equitable

     13   disallowance, probably, maybe.               But I can do the

     14   discovery here and then make that decision whether

     15   I need to go back to bankruptcy court.

     16                       I'm not foolish.         I'm not going to run

     17   afoul of Judge Jernigan's orders.                If I have to go back

     18   to Judge Jernigan to get permission, I will do it.

     19                       THE COURT:      Right.     Because only an

     20   idiot runs afoul of the bankruptcy court.

     21                       MR. McENTIRE:       Hopefully, I'm not that.

     22                       So I clearly understand what both my

     23   ethical and lawyer obligations are.                 And I'm not

     24   going to run afoul of any court orders.

     25                       But some of these remedies don't require


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0328
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                                  Argument by Mr. McEntire                            29

      1   an overview by Judge Jernigan or the bankruptcy court.

      2                       THE COURT:      Okay.

      3                       MR. McENTIRE:       They have a duty not to

      4   commit fraud, whether it's commit fraud against us or

      5   commit fraud against the estate.

      6                       They have a duty not to interfere with

      7   the expectancies that we have as a B/C beneficiary.

      8   That's a code name for a former Class 10 creditor.

      9                       They have a duty not to trade on inside

     10   information, and that's the Washington Mutual case.

     11                       And I've just already mentioned that

     12   because they were outsiders, they're insiders now.

     13                       These are their arguments.             Our evidence

     14   is timely.       It's not untimely.          It's not speculative.

     15   It's not speculative because the events have already

     16   taken place.        I'm not talking about something

     17   hypothetical.

     18                       THE COURT:      Right.

     19                       MR. McENTIRE:       My remedy flows from that.

     20                       So we're not projecting that I might have

     21   a claim later on.          I have a claim today.           If I have a

     22   claim today, I have it today.               I have it and I want to

     23   confirm it by this discovery.               Because their wrongdoing

     24   has already taken place, it's not hypothetical, it's not

     25   futuristic, it's already occurred.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0329
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                                  Argument by Mr. McEntire                            30

      1                       When they say they have no duty to us,

      2   they're just wrong.          They have duties not to breach

      3   fiduciary duties.          We have direct standing I believe to

      4   bring a claim in that regard.

      5                       We have a right to bring direct standing

      6   under the Washington Mutual case, which I'll discuss.

      7                       And we also have a right to bring a

      8   derivative action.

      9                       THE COURT:      Right.

     10                       MR. McENTIRE:       And I notice that

     11   they made a comment about that in their response.

     12   But I can sue individually.

     13                       And I can also bring an action in the

     14   alternative as a derivative action for the estate.

     15   And these are all valid claims for the estate.

     16                       THE COURT:      Okay.

     17                       MR. McENTIRE:       Transfer.       This is not a

     18   related case because it's not the litigation.

     19                       So if you just go to the very first

     20   instance and you look at the Local Rule, it talks

     21   about litigation and causes of action.

     22                       THE COURT:      Right.

     23                       MR. McENTIRE:       We don't have a cause

     24   of action.       We're not asserting one in this petition.

     25   So this is not a related case that falls within the


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0330
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                                  Argument by Mr. McEntire                            31

      1   four corners of the Local Rule.

      2                       THE COURT:      Well, I guess the thing

      3   is it's still a related case.              Like if you file a 202

      4   and then you file a lawsuit, that would be considered

      5   related.

      6                       I looked at it and you're right.

      7   Technically, it's different parties.                 I'll just say it's

      8   a grey zone at best.

      9                       MR. McENTIRE:       That's correct.

     10                       This is not a lawsuit in terms of causes

     11   of action.       It might be a related case if Mr. Dondero

     12   had come in and filed a lawsuit.               That would be a

     13   related case.        Mr. Dondero is not involved in this

     14   process, other than as a fact witness.

     15                       These are all the evidentiary issues

     16   that perhaps he's raised.             Live testimony, affidavit

     17   testimony is admissible.

     18                       The court considered numerous affidavits

     19   filed with the court.           And that's as recently as 2017.

     20   These are all good cases, good law.

     21                       Equitable disallowance.           It's kind of a

     22   fuzzy image.        This is a bankruptcy court case, but this

     23   is simply to underscore the fact that in addition to

     24   my common law remedies there is a very substantial

     25   remedy in bankruptcy court.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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                                  Argument by Mr. McEntire                             32

      1                       It's not one I necessarily have to pursue,

      2   but if I wanted to I could.             But what it does do is it

      3   helps to find some duties.

      4                       And here, the court has the right

      5   to disallow a claim on equitable grounds in extreme

      6   instances, perhaps very rare, where it is necessary

      7   as a remedy.        And they did it in this case.

      8                       THE COURT:      Okay.

      9                       MR. McENTIRE:       This is simply an analogy

     10   to securities fraud and the 10b-5 statute.

     11                       Insiders of a corporation are not limited

     12   to officers and directors, but may include temporary

     13   insiders who have entered into a special confidential

     14   relationship in the conduct of the business of the

     15   enterprise and are given access to information solely

     16   for corporate purposes.

     17                       Well, what about the MGM stock?                  The court

     18   finds that the Equity Committee -- so here's the

     19   equity -- has stated a colorable claim.                  We were

     20   99.5 percent equity.

     21                       The Equity Committee has stated a

     22   colorable claim that the settlement noteholders became

     23   temporary insiders because they acquired information

     24   that was not of public knowledge in connection with

     25   their acquisition.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0332
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                                  Argument by Mr. McEntire                            33

      1                       And allowed them to participate in

      2   negotiations with JPMC -- JPMorgan Chase -- for the

      3   shared goal of reaching a settlement.

      4                       So these were outsiders that suddenly

      5   became temporary insiders because of access to inside

      6   information.

      7                       This is not a new concept.             It comes

      8   from the United States Supreme Court.                 Fiduciaries

      9   cannot utilize inside information.

     10                       THE COURT:      Right.

     11                       MR. McENTIRE:       And we believe we

     12   have enough before the court to support and justify

     13   a further investigation that this may have occurred.

     14                       THE COURT:      Okay.

     15                       MR. McENTIRE:       Now, not a related case.

     16   The Jim Dondero case is actually closed.

     17                       THE COURT:      Right.

     18                       MR. McENTIRE:       And I'll be frank with you.

     19   In all candor, I never thought this was a possible

     20   related case.

     21                       THE COURT:      I mean, we're talking about

     22   the same events, but there are differences, I agree.

     23                       MR. McENTIRE:       We're talking about one

     24   similar event dealing with Farallon.                 Other events

     25   are different.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0333
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                                  Argument by Mr. McEntire                            34

      1                       THE COURT:      Okay.

      2                       MR. McENTIRE:       So we have different dates.

      3                       THE COURT:      Right.

      4                       MR. McENTIRE:       Different parties on the

      5   petitioner's side, different law firms.

      6                       The only common party is Farallon.

      7   Alvarez & Marsal are not parties to this but Stonehill

      8   is.    Stonehill was not a party to the prior proceedings.

      9                       And the standing is manifest.              With no

     10   criticism of Mr. Dondero's lawyer, I searched in his

     11   argument where he was articulating standing.

     12                       And without going further, I will tell

     13   you I think our standing is clear.                We're in the money.

     14                       THE COURT:      Okay.

     15                       MR. McENTIRE:       We are in the money if

     16   there's a disgorgement or a disallowance.

     17                       THE COURT:      Okay.

     18                       MR. McENTIRE:       We have all types of

     19   claims, including insider trading and a creation of

     20   fiduciary duties.

     21                       Our remedies, as far as I can tell, he

     22   didn't identify any.           We have several.         Disgorgement,

     23   disallowance, subordination, a variety.                  And damages.

     24                       So we suggest strongly that it is not a

     25   related case.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0334
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                                  Argument by Mr. McEntire                            35

      1                       And I must tell you, the reference

      2   to say send this to bankruptcy court or defer to the

      3   bankruptcy court or send us over to Judge Purdy, with

      4   all due respect to opposing counsel, it's really just

      5   a delay mechanism.

      6                       And what they're seeking to do through

      7   their invective, their criticisms, the references to

      8   these other courts, is seeking an opportunity to push us

      9   down the road and put us in a bad position potentially

     10   and a not enviable position in connection with statute

     11   of limitations.

     12                       Your Honor, we would offer the binder

     13   of exhibits that we submitted on February 15, 2022,

     14   including the affidavits and all the attached exhibits.

     15                       I would ask the court to take judicial

     16   notice of all the exhibits that we referred to in our

     17   petition, which I think is appropriate since we were

     18   specifying with particularity what we were requesting

     19   the court to take judicial notice of.                 And that's the

     20   large index, that's the list.

     21                       THE COURT:      Obviously, I can take

     22   judicial notice of any kind of court pleadings,

     23   whether they're state or federal.

     24                       MR. McENTIRE:       That's correct.

     25                       THE COURT:      That's clear.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0335
       Case: 23-10376Doc Document:
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                                  Argument by Mr. McEntire                            36

      1                       MR. McENTIRE:       We would offer both

      2   affidavits and all the attachments into evidence

      3   at this time.

      4                       THE COURT:      Okay.      Do you have exhibit

      5   numbers for them?

      6                       MR. McENTIRE:       Yes.     It's Exhibit 1 with

      7   attachments.        1-A, 1-B, 1-C, 1-D, 1-E, 1-F and then

      8   Exhibit 1-G, Exhibit 1-H, Exhibit 1-J, Exhibit 1-K.

      9                       Everything in the binder, Your Honor.

     10   It's Exhibit 1 and Exhibit 2 with the attachments.

     11                       THE COURT:      Okay.

     12                       MR. McENTIRE:       I believe they're all

     13   identified.       I can put a sticker on them, if you'd like.

     14                       THE COURT:      Yeah.      To admit them, it will

     15   need a sticker.

     16                       So I'm going to hold off on admitting

     17   them for just a minute because I do want to hear his

     18   objections and then we can go back to it.                   So just make

     19   sure we do that.

     20                       I'm not trying to not admit them, but I do

     21   want to let him have his objections.

     22                       Okay.    Anything else, Counsel?

     23                       MR. McENTIRE:       That's all I have right

     24   now, Judge.

     25                       THE COURT:      Okay.      Counsel?


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0336
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                                  Response by Mr. Schulte                             37

      1                       MR. SCHULTE:       Should I start with those

      2   exhibits, Your Honor?

      3                       THE COURT:      Why don't you do that.            That's

      4   probably the easiest way.

      5                       MR. SCHULTE:       In light of the authorities

      6   that Mr. McEntire shared about the affidavits, I'll

      7   withdraw the objections to the affidavits or the

      8   declarations.

      9                       THE COURT:      Okay.

     10                       MR. SCHULTE:       I'm taking Mr. McEntire's

     11   word that those cases say what he says they say.

     12                       THE COURT:      I'll tell you because 202

     13   is not a lawsuit, you don't necessarily have a right

     14   to cross-examine, et cetera.              So, yeah, affidavits are

     15   frequently used on 202s.

     16                       MR. SCHULTE:       And that's fine, Your Honor.

     17   I'll take Mr. McEntire's word what those cases say.

     18                       But I will maintain the objection to

     19   Exhibit H -- it's the declaration of Mr. Patrick --

     20   on the grounds of hearsay.             That is not a court record

     21   or a file-stamped pleading from federal or state court.

     22   It's just a letter.          So that's hearsay.          And it hasn't

     23   been properly authenticated.

     24                       The other issue is the exhibit to

     25   Mr. Dondero's declaration.             That's just an email


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0337
       Case: 23-10376Doc Document:
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                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             38

      1   from Mr. Dondero, so I object on the grounds of hearsay.

      2                       THE COURT:      Mr. McEntire, what's your

      3   response specifically to Exhibit H as attached to

      4   the Patrick declaration and then the attachment

      5   to the Dondero declaration?

      6                       MR. McENTIRE:       Exhibit H to Mr. Patrick's

      7   affidavit would be hearsay, but there's an exception

      8   that it's not controversial.

      9                       THE COURT:      Okay.

     10                       MR. McENTIRE:       And there's no indication

     11   that there's any challenge of the reliability of the

     12   document.

     13                       THE COURT:      What is the exhibit?

     14   I'm trying to pull it up.             Sorry.

     15                       MR. McENTIRE:       It's Exhibit 1-H.            It is

     16   a letter from Alvarez & Marsal simply indicating what

     17   they paid for the claim.

     18                       THE COURT:      Is it the July 6th, 2021,

     19   letter?

     20                       MR. McENTIRE:       Yes, Your Honor.

     21                       THE COURT:      I've got it.

     22                       MR. McENTIRE:       And the exhibit to

     23   Mr. Dondero's is not being offered for the truth of

     24   the matter asserted, just the state of mind of Farallon.

     25                       THE COURT:      Okay.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0338
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 343 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             39

      1                       MR. McENTIRE:       He has proved it up

      2   that it's authentic.           It's a true and accurate copy.

      3                       And it goes to the state of mind of

      4   Farallon and it goes to the state of mind of Mr. Seery

      5   as well who are basically individuals who are trading on

      6   inside information.

      7                       And Mr. Seery would not have known about

      8   the MGM sale but for that email.               And Farallon and

      9   Stonehill would not know about MGM but for Mr. Seery.

     10                       THE COURT:      Okay.     So the response to

     11   hearsay is that it goes to state of mind.

     12                       MR. McENTIRE:       It goes to state of mind.

     13                       THE COURT:      Okay, Counsel.         How do you

     14   respond to that?

     15                       MR. SCHULTE:       I'll start with the last

     16   one, Your Honor.         I think that's the definition of

     17   hearsay, is that you're purporting to establish the

     18   state of mind of the parties who are not before the

     19   court.

     20                       It's been emphasized that Mr. Dondero has

     21   no relation to HMIT.           And none of the recipients of the

     22   email are parties to this proceeding.

     23                       This purports to establish the state of

     24   mind of Mr. Seery, who is not before the court, and the

     25   state of mind of Farallon, just based on the say so of


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0339
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 344 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
                        Exhibit Exhibit 4 Page 88 of 136
                                  Response by Mr. Schulte                             40

      1   Mr. Dondero in this email.             That's hearsay.

      2                       And as for the first letter, this is a

      3   letter on the letterhead of A&M which, by the way, is

      4   one of the parties in the Dondero Rule 202 petition.

      5                       And it's not on the letterhead of any of

      6   the parties to this case so the letter isn't properly

      7   authenticated.

      8                       And I'm not aware of the not controversial

      9   exception to hearsay.

     10                       THE COURT:      Well, there is a thing that

     11   talks about if you're admitting something that's just

     12   not controverted.          Right?     It's everybody agrees "X"

     13   happened.      We're just admitting evidence to have that.

     14   So what this basically is is just showing the claim of

     15   the funds.

     16                       And I guess my question is what's the

     17   objection.       Is there an objection to the substance of

     18   it?

     19                       MR. SCHULTE:       I don't think there's any

     20   dispute that Farallon and Stonehill, through their

     21   respective special purpose entities, purchased the

     22   claims that are at issue here.

     23                       And if that's the sole purpose

     24   of admitting this letter into evidence, I don't

     25   think that's a matter that's genuinely in dispute.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0340
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 345 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             41

      1                       THE COURT:      Okay.

      2                       MR. SCHULTE:       So if that's the only issue

      3   as raised by this letter, I don't know that there's a

      4   dispute there.

      5                       THE COURT:      Right.     Well, that's the whole

      6   thing.

      7                       MR. McENTIRE:       I think we're almost

      8   solving the issue on the fact of how much they paid,

      9   $75 million.

     10                       THE COURT:      Okay.     So I will sustain the

     11   objection to the email to Mr. Dondero's declaration,

     12   Exhibit P 2-1.

     13                       I am going to overrule the objection

     14   to -- I don't know what the letter is of the attachment.

     15                       MR. McENTIRE:       It's Exhibit P 1-H to

     16   Mr. Patrick's affidavit.

     17                       THE COURT:      Correct.      Sorry.

     18                       Okay, Counsel.        If you'll proceed.

     19                       MR. SCHULTE:       May I approach the bench,

     20   Your Honor?       I have a binder of exhibits also.

     21                       THE COURT:      Yes, you may.

     22                       MR. SCHULTE:       These have all been

     23   marked with exhibit stickers already.                 There are tabs

     24   for each of the exhibits.             They're marked R1 through 17,

     25   I believe.       And "R," of course, stands for Respondents.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0341
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 346 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             42

      1                       THE COURT:      I take the shortcut of calling

      2   everybody "Plaintiff" and "Defendant" just because

      3   I'm so used to using that language in court.

      4                       But I do agree.         It's Petitioner

      5   and Respondent.         You're not technically a defendant.

      6                       Okay.    So, first of all, I'm going to

      7   admit Plaintiff's Exhibit 1 and Plaintiff's Exhibit 2,

      8   with the sole exception of the email to Mr. Dondero's

      9   declaration that I sustained.

     10                       And then are there objections to the

     11   respondent's exhibits?

     12                       MR. McENTIRE:       Very few.

     13                       I object to Exhibit No. 1 and

     14   Exhibit No. 2 as irrelevant.

     15                       THE COURT:      What's the objection to 1?

     16                       MR. McENTIRE:       They're offering the order

     17   from Judge Purdy.

     18                       THE COURT:      Okay.     I can take judicial

     19   notice of that.         I mean, it's a court record from

     20   Dallas County.        So I don't think that that's

     21   particularly relevant.

     22                       To be bluntly honest, I looked at it last

     23   night.     Right?     Because of the issue that there's

     24   a related case, I pulled that file too and looked

     25   at everything.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0342
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 347 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23    Desc
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                                  Response by Mr. Schulte                              43

      1                       So I can take judicial notice of that.

      2   Whether it's relevant or not, I can look at it.                        And,

      3   obviously, if it's not relevant, I'll disregard it.

      4                       MR. McENTIRE:       Fair enough.

      5                       THE COURT:      I'll overrule that objection.

      6                       What's next?

      7                       MR. McENTIRE:       The only other objections

      8   are Exhibit 12 and 13.            I just don't know what they

      9   are or for what purpose they would be offered.

     10                       THE COURT:      Okay.     So 12 is a notice of

     11   appearance and request for service in the bankruptcy

     12   court on behalf of Hunter Mountain Trust.

     13                       So what's the issue, Counsel?

     14                       MR. SCHULTE:       Your Honor, these are

     15   notices of appearance filed by Hunter Mountain in the

     16   bankruptcy court.

     17                       And the purpose of these notices is simply

     18   to show -- and maybe this is not genuinely in dispute --

     19   that Hunter Mountain, through its counsel, would have

     20   received notice of all the activity that was going on

     21   in the bankruptcy court.

     22                       THE COURT:      It's the same issue I've

     23   got with everything that Plaintiff submitted.                        It's a

     24   bankruptcy pleading.           I can take notice of it.               If it's

     25   irrelevant, I'll disregard it.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0343
       Case: 23-10376Doc Document:
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                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             44

      1                       So I'll overrule that objection.

      2                       And then what's 13?

      3                       MR. McENTIRE:       The same objection.

      4                       THE COURT:      I'll overrule it because

      5   again, I can take judicial notice of those.

      6                       MR. McENTIRE:       No other objections,

      7   Your Honor.

      8                       THE COURT:      So Respondent's Exhibits

      9   1 through 17 are so admitted.

     10                       MR. SCHULTE:       May I proceed, Your Honor?

     11                       THE COURT:      Yes, you may.

     12                       MR. SCHULTE:       HMIT -- Hunter Mountain --

     13   races into this court seeking extensive and burdensome

     14   presuit discovery about claims trading that took place

     15   in the Highland bankruptcy two years ago.

     16                       Mr. McEntire has talked about the harm

     17   that would result from delay if a different court were

     18   to consider this request for presuit discovery.                      That is

     19   a function of waiting two years after the subject claims

     20   transfers to seek relief in this court.

     21                       The exact same allegations of claims

     22   trading and misconduct by Jim Seery -- those allegations

     23   are not on the slides that you looked at.                   But those

     24   allegations are common in Mr. Dondero's Rule 202

     25   petition and this petition.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0344
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 349 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             45

      1                       THE COURT:      Right.     They're common.

      2                       I know you make the allegation that

      3   Dondero is related to Hunter Mountain, but I guess

      4   I don't have any evidence of that.

      5                       Or do you have evidence of that?                 Because

      6   otherwise, while it involves some of the same issues in

      7   the sense of the underlying facts, technically Farallon

      8   is the common respondent.

      9                       But there's a different respondent and

     10   there's a different petitioner in that case.

     11                       MR. SCHULTE:       Yes.    That's true,

     12   Your Honor.       And we've said that on information and

     13   belief.

     14                       THE COURT:      Okay.

     15                       MR. SCHULTE:       That's our suspicion.

     16                       We believe that to be the case, but

     17   I don't have evidence of it.              I didn't hear a denial

     18   of it, but, nevertheless, that is where things stand.

     19                       But what's important about the case is

     20   even if this court and Judge Purdy determined that the

     21   cases are not related, what is important is that the

     22   same allegations related to this claims trading and the

     23   same allegations of inside information being shared by

     24   Mr. Seery, those were front and center in the July 2021

     25   petition filed by Mr. Dondero.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0345
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 350 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             46

      1                       Even if there are other dissimilarities

      2   between the cases, those are issues that are common.

      3                       THE COURT:      Okay.

      4                       MR. SCHULTE:       And it's important to note

      5   that as HMIT has filed this petition, it has glossed

      6   over issues of its own standing and the assertion of

      7   viable claims that will justify this discovery.

      8                       Now, I know that HMIT has cited these

      9   cases that say, Your Honor, I don't have to state a

     10   really specific claim right now.

     11                       But you do have to articulate some ground

     12   for relief, some theory, that would justify the expense

     13   and the burden that you're trying to put the respondents

     14   to in responding to all this discovery.

     15                       And this isn't simple discovery.

     16   We're talking about deposition topics with I believe

     17   29 topics each and 13 sets of really broad discovery

     18   requests with a bunch of subcategories.

     19                       THE COURT:      Right.

     20                       MR. SCHULTE:       We're not talking about some

     21   minimal burden here.           This is an intrusion into entities

     22   that are not parties to a lawsuit, but rather this

     23   investigation.

     24                       And HMIT has ignored that there is

     25   a specific mechanism in the bankruptcy court that's


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0346
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             47

      1   available to it under federal bankruptcy Rule 2004 and

      2   that the substance of HMIT's petition, which is claims

      3   trading and bankruptcy, falls squarely within the

      4   expertise of Judge Jernigan, the presiding bankruptcy

      5   judge.

      6                       THE COURT:      And I agree.        You could do

      7   this in federal court.            But there's a lot of things

      8   that can be done in state court or done in federal

      9   court.

     10                       They get to choose the method of getting

     11   the information, so why should I say, theoretically,

     12   yes, this is a good thing, I should do it, but, hey,

     13   send it to bankruptcy.            Why?

     14                       MR. SCHULTE:         The bankruptcy judge has

     15   actually answered that question directly.

     16                       THE COURT:      Okay.

     17                       MR. SCHULTE:         It is true, as HMIT

     18   has said, the federal bankruptcy court doesn't have

     19   jurisdiction over a Rule 202 proceeding.                   That's not in

     20   dispute.

     21                       THE COURT:      Right.

     22                       MR. SCHULTE:         We tried to remove the

     23   last case to federal bankruptcy court and it was a state

     24   claim.

     25                       But what the bankruptcy judge pointed out


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0347
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             48

      1   when she remanded the case back to Judge Purdy, who

      2   ended up dismissing Dondero's petition, is it pointed

      3   out, one, there's this mechanism in bankruptcy where

      4   they can do the exact same thing, Rule 2004.

      5                       And the bankruptcy judge pointed out that

      6   it is in the best position to consider Hunter Mountain's

      7   request.

      8                       It pointed out when it remanded the

      9   case that it had grave misgivings about doing so.

     10   It confirmed that it is in the best position to

     11   consider this presuit discovery.

     12                       THE COURT:      Okay.     This is part of one of

     13   the exhibits?

     14                       MR. SCHULTE:       Yes, Your Honor.         This is

     15   in one of the opinions that I included in the binder,

     16   a courtesy copy of one of those opinions.

     17                       THE COURT:      Oh, at the back?

     18                       MR. SCHULTE:       Yes, Your Honor.

     19                       THE COURT:      Okay.

     20                       MR. SCHULTE:       It's 2022 Bankruptcy

     21   Lexis 5.

     22                       THE COURT:      Okay.     I got it.

     23                       And real quick, for the record,

     24   it's Dondero versus Alvarez & Marsal.                 It's

     25   2022 Bankruptcy Lexis 5.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0348
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             49

      1                       MR. SCHULTE:       Right.

      2                       And in particular, Your Honor, I'm looking

      3   at pages 31 to 32 of that order.

      4                       THE COURT:      Okay.

      5                       MR. SCHULTE:       What the judge is pointing

      6   out here is it has grave misgivings about remanding the

      7   case because it knows a thing or two about the Highland

      8   bankruptcy, having presided over the case and all the

      9   related litigation for over what's now three years.

     10                       And it's familiar with the legal

     11   and factual issues.          It's familiar with the parties.

     12   It's familiar with claims trading in a bankruptcy case,

     13   which was the very crux of the Dondero petition.                      It's

     14   also the crux of this petition by Hunter Mountain.

     15                       And it observed, the bankruptcy court

     16   did, that any case that could be fashioned from the

     17   investigation would end up in bankruptcy court anyway

     18   because it would be related to the Highland bankruptcy.

     19                       So you ask a really good question,

     20   Your Honor.       Why should I ship it off to the bankruptcy

     21   court.     The answer is Judge Jernigan is in a position

     22   to efficiently and practically deal with this request

     23   because she deals with it all the time and she is

     24   intimately familiar with the legal and factual

     25   issues and with claims trading.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0349
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             50

      1                       It's not like Hunter Mountain gets poured

      2   out if it goes to bankruptcy court.                 It has a mechanism

      3   to seek the exact same discovery from Judge Jernigan who

      4   is very familiar with these very particular issues.

      5                       Now, Hunter Mountain says, well,

      6   bankruptcy court is too time-consuming and cumbersome.

      7   It's going to take 60 days to even get this before the

      8   bankruptcy court.

      9                       Well, we're talking about the fact that

     10   they've waited two years to file this proceeding related

     11   to these claims transfers that took place in 2021.

     12                       So, again, what HMIT is asking this court

     13   to do is inefficient and is impractical.                   This court

     14   would need to devote a lot of resources to understand

     15   what the proper scope of any discovery should be,

     16   whether the claims are cognizable.

     17                       And that's just a tall order, Your Honor.

     18   The request is more appropriately dealt with by the

     19   bankruptcy judge, according to a proper bankruptcy

     20   filing.

     21                       It's undisputed that while the bankruptcy

     22   court doesn't have jurisdiction over a 202 petition,

     23   there's no question that it has jurisdiction over a Rule

     24   2004 request for discovery, which is the counterpart

     25   for this type of discovery in bankruptcy court.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0350
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
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                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                                  Response by Mr. Schulte                             51

      1                       THE COURT:      Right.

      2                       MR. SCHULTE:       The real issue, Your Honor,

      3   and this is the part that Hunter Mountain is dancing

      4   around, is that Hunter Mountain doesn't want to be

      5   in front of Judge Jernigan.

      6                       Judge Jernigan held Mark Patrick --

      7   that is HMIT's principal who verified this petition.

      8   She held him along with Dondero and Dondero's counsel

      9   and others in civil contempt and sanctioned them nearly

     10   $240,000 for trying to join Seery to a lawsuit in

     11   violation of Judge Jernigan's gatekeeping orders.

     12                       HMIT is trying to dodge the bankruptcy

     13   court and its scrutiny of what HMIT is doing as this

     14   petition also targets Seery and the inside information

     15   that he purportedly gave to Farallon and Stonehill.

     16                       This is forum shopping, plain and simple.

     17   And the court should dismiss the petition so that HMIT

     18   can seek this discovery in bankruptcy court.

     19                       Now, I don't want to spend a lot of time

     20   on the related case, but I will emphasize just what I've

     21   mentioned, which is while some of the parties may be

     22   different, we're still talking about the same claims

     23   trading activity that took place in 2021 and the same

     24   allegations of insider dealing by Seery.

     25                       And Judge Purdy, on remand, dismissed


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0351
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             52

      1   that petition where some of the same arguments were made

      2   about judicial efficiency and that the case should be

      3   filed in bankruptcy court.

      4                       And it bears noting, by the way, that

      5   after Judge Purdy dismissed Dondero's Rule 202 petition,

      6   where we had argued that this ought to be in the

      7   bankruptcy court, Dondero didn't file in the bankruptcy

      8   court, which sort of makes the point that they didn't

      9   want to be in front of Judge Jernigan on this either.

     10                       Okay.    Now let's turn to the merits,

     11   Your Honor.       While Mr. McEntire has gone to great

     12   lengths to say we don't have to state claims, he stated

     13   five or six on that PowerPoint presentation of claims

     14   that he envisions.

     15                       But what made it all really crystal clear

     16   is in that notice of supplemental evidence, and that

     17   includes the declaration of Mr. Patrick, there in

     18   paragraphs 15 and 16 it's made clear what Hunter

     19   Mountain really wants.

     20                       THE COURT:      Okay.

     21                       MR. SCHULTE:       What the goal of this

     22   discovery is is to invalidate the claims that Farallon

     23   and Stonehill's entities purchased.

     24                       So let's unpack what it is they purchased.

     25                       THE COURT:      Okay.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0352
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             53

      1                       MR. SCHULTE:       These are claims that were

      2   not ever held by Hunter Mountain.                These are claims

      3   that were held by Redeemer, Acis, UBS, and HarbourVest.

      4                       THE COURT:      Right.     They were the Class 8

      5   and 9.     Right?

      6                       MR. SCHULTE:       I believe that's correct.

      7                       THE COURT:      Okay.

      8                       MR. SCHULTE:       Those claims were always

      9   superior to whatever it was that Hunter Mountain held.

     10                       So Redeemer, Acis, UBS, and HarbourVest

     11   held those claims.          The parties in the bankruptcy had

     12   the opportunity to file objections to those claims.

     13   And they did.

     14                       And Seery, on behalf of the debtor,

     15   negotiated with Redeemer, Acis, UBS, and HarbourVest

     16   and reached settlements that resolved the priority and

     17   amounts of those claims.

     18                       THE COURT:      Right.

     19                       MR. SCHULTE:       And then filed what's

     20   referred to -- and I'm sure Your Honor knows this --

     21   as a Rule 9019 motion to approve those settlements in

     22   the bankruptcy court.

     23                       THE COURT:      Actually, I don't.          I've never

     24   done bankruptcy but I read it.               I know the general

     25   process and I did read it.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0353
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      1                       MR. SCHULTE:       All right.

      2                       THE COURT:      Just FYI, I've never done

      3   bankruptcy law.         They've got their own rules.

      4                       MR. SCHULTE:       Well, the parties in

      5   the bankruptcy had the opportunity to object to those

      6   settlements and some did so.

      7                       And after evidentiary hearings, the

      8   bankruptcy court granted those motions and allowed

      9   and approved those claims.

     10                       That is really important, Your Honor.

     11                       THE COURT:      Okay.

     12                       MR. SCHULTE:       That's Exhibits 14 through

     13   17 in the binder that I handed you.

     14                       And these are the same exhibits that are

     15   referenced in Hunter Mountain's petition.                   And it bears

     16   noting that the U.S. District Court affirmed those

     17   orders after appeals were taken.

     18                       But the bankruptcy court's approval of

     19   the very same claims that Hunter Mountain now seeks to

     20   investigate and invalidate is entitled to res judicata.

     21                       HMIT can't now second-guess the bankruptcy

     22   court's orders approving those very same claims.                      That's

     23   the effect of the investigation that Hunter Mountain

     24   seeks, the invalidation of claims that are already

     25   bankruptcy court approved.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0354
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                                  Response by Mr. Schulte                             55

      1                       And it bears noting that each of those

      2   four orders, Exhibits 14 through 17, provides the

      3   following:       quote, "The court" -- the bankruptcy

      4   court -- "shall retain exclusive jurisdiction to

      5   hear and determine all matters arising from the

      6   implementation of this order."

      7                       This would include HMIT's stated goal

      8   of conducting discovery to try to invalidate these

      9   very claims.

     10                       This is yet another reason, Your Honor, to

     11   answer your question earlier of why this request for

     12   discovery should be posed to the bankruptcy court.

     13                       Judge Jernigan, I suspect, would have

     14   views on whether her own orders authorizing these claims

     15   should be overturned.

     16                       Okay.    So HMIT -- Hunter Mountain --

     17   alleges that after the bankruptcy court approved these

     18   claims, Seery disclosed inside information to Farallon

     19   and to Stonehill to encourage them to buy these claims

     20   from the original claimants.              Again, UBS, Redeemer,

     21   Acis, and HarbourVest.

     22                       Farallon, through Muck, which is its

     23   special purpose entity, and Stonehill through Jessup,

     24   which is Stonehill's special purpose entity, acquired

     25   those transferred claims in 2021.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0355
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                                  Response by Mr. Schulte                             56

      1                       And there's no magic in bankruptcy court

      2   to claims transfers.           It's a contractual matter between

      3   the transferors and the transferees.                 It's strictly

      4   between them.

      5                       THE COURT:      Okay.

      6                       MR. SCHULTE:       And there's no bankruptcy

      7   court approval that's even required.

      8                       The transferee, so in this case Muck and

      9   Jessup, had simply to file under federal bankruptcy

     10   Rule 3001(e) a notice saying these claims were

     11   transferred to us.          And they did so.

     12                       Your Honor, that's Exhibit 6 through 11 in

     13   the binder that I handed to you.

     14                       THE COURT:      Okay.

     15                       MR. SCHULTE:       The filings evidencing those

     16   claims transfers were public.               And Hunter Mountain

     17   received the claims transfer notices.

     18                       And that's the exhibits that we were

     19   talking about, Exhibits 12 through 13, where Hunter

     20   Mountain's lawyers had appeared in the case before those

     21   claims transfer notices were filed.

     22                       So not surprisingly, Hunter Mountain did

     23   not file any objections to those claims transfers.                          And

     24   that's not surprising because under Rule 3001, the only

     25   party that could object to the claims transfers were


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0356
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                                  Response by Mr. Schulte                             57

      1   the transferors themselves.

      2                       THE COURT:      Right.

      3                       MR. SCHULTE:       Essentially saying, hold on.

      4   We didn't transfer these claims.               But of course there's

      5   no dispute that the transfers were made.

      6                       Here, HMIT was neither the transferor nor

      7   the transferee of the claims.              It had no interest in

      8   these claims.        It never did.        It didn't before the

      9   claims transfers and it didn't after the claims

     10   transfers.

     11                       The claims originally belonged to

     12   Redeemer, Acis, UBS, and HarbourVest, and they were then

     13   transferred to Muck and Jessup, which are Farallon's and

     14   Stonehill's entities.

     15                       THE COURT:      Right.

     16                       MR. SCHULTE:       So why does that matter?

     17   That matters because these claims were approved by the

     18   bankruptcy court.          The claims didn't change or become

     19   more valuable after they were transferred.                   The only

     20   difference is who is holding the claims.

     21                       So Hunter Mountain says, hold on.                What

     22   we're alleging here is that the claims that Farallon and

     23   Stonehill purchased with the benefit of this purported

     24   inside information from Mr. Seery, they're secretly

     25   worth more than expected.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       Those allegations, they're disputed, to be

      2   sure.     But let's assume they're true.              That situation

      3   has zero impact on Hunter Mountain.

      4                       THE COURT:      Okay.

      5                       MR. SCHULTE:       And that's because this is a

      6   matter that's strictly between the parties to the claims

      7   transfers.       Again, Redeemer, Acis, UBS, and HarbourVest

      8   on the one hand and Farallon and Stonehill on the other.

      9                       And the way we know this is let's

     10   pretend that Muck and Jessup didn't buy these claims,

     11   Your Honor, and that the claims instead have remained

     12   with UBS, HarbourVest, Acis, and whatever the other

     13   one I'm forgetting.          The claims wouldn't have been

     14   transferred, and they would have remained with those

     15   entities.

     16                       In that case, the original claimants would

     17   have held those claims for longer than they wanted.                         And

     18   if HMIT is right, then the claims would have ended up

     19   being worth more than even they expected.

     20                       So why does that matter?            Well, that

     21   matters because if that is all true, Hunter Mountain

     22   would be in the exact same place today.                  Neither better

     23   nor worse off, it would be in the exact same place.

     24                       Either Farallon and Stonehill's entities

     25   are gaining more on these claims than they expected


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0358
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                                  Response by Mr. Schulte                             59

      1   or UBS, HarbourVest, Acis, and Redeemer, they are

      2   realizing more on these claims than they expected.

      3                       But Hunter Mountain never stood to be paid

      4   on these claims to which it was a stranger.                    These are

      5   claims in which Hunter Mountain never had any interest.

      6                       THE COURT:      So presuming that Hunter

      7   Mountain had expressed interest in buying these claims

      8   and there was insider trading, you don't think that

      9   would be a tortious interference in a potential

     10   contract?

     11                       MR. SCHULTE:       If there was insider trading

     12   of the type that Hunter Mountain alleges in this case,

     13   it would have no impact on the rights of Hunter

     14   Mountain.

     15                       If that's true, maybe there was a fraud on

     16   the bankruptcy court.           The bankruptcy court would surely

     17   be interested in that.            Maybe there was a fraud on the

     18   transferors.        I mean, maybe UBS, Redeemer, Acis -- why

     19   do I always forget the third one? -- and HarbourVest.

     20                       THE COURT:      Like I said, I had a chart

     21   last night of all the names.              Obviously, I haven't been

     22   involved in this case up until now, and there's a lot of

     23   names.

     24                       MR. SCHULTE:       Yes.

     25                       The transferors of the claims might say,


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0359
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      1   well, wait a minute.           I wish I would have known this

      2   inside information.          I'm the one that was really injured

      3   here.

      4                       Because if there was really meat on this

      5   bone, Your Honor, then the injured parties would be

      6   the transferors of the claims:               Redeemer, Acis, UBS,

      7   and HarbourVest.

      8                       Because the crux of HMIT's petition is

      9   that those entities, the transferors, were duped into

     10   selling their claims for too little when the claims were

     11   secretly worth more.

     12                       Well, if that's true, you would expect

     13   that the transferors would be screaming up and down

     14   the hallway, saying we didn't get paid enough.

     15                       THE COURT:      Right.

     16                       MR. SCHULTE:       We are the injured parties

     17   here, we are the ones with damages, we want to unwind

     18   these claims transfers, or we want to be paid more on

     19   these claims transfers.

     20                       But the rights of those entities,

     21   the transferors, to complain about these allegations

     22   doesn't mean that Hunter Mountain can also stand up and

     23   say, well, I want to complain too.                Because Hunter

     24   Mountain never stood to be paid on these claims.

     25                       The question is if somebody was duped,


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0360
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                                  Response by Mr. Schulte                             61

      1   if somebody was injured, if anybody it was the

      2   transferors, not Hunter Mountain.                The transferors would

      3   be the only real parties in interest that would have

      4   been injured by what Hunter Mountain alleges.

      5                       But it's notable that none of those

      6   transferors has filed an objection to these transfers.

      7                       THE COURT:      Right.

      8                       MR. SCHULTE:       None of them has filed a

      9   Rule 202 proceeding.           None of them has filed a Rule 2004

     10   proceeding seeking discovery about inside information

     11   that Farallon and Stonehill allegedly had.                   It is

     12   Hunter Mountain who is an absolute stranger to

     13   these claims trading transactions.

     14                       And so HMIT is trying to inject itself

     15   into a transaction to which it was never a party and

     16   which it never had any interest.

     17                       The sellers were entitled to sell those

     18   claims to any buyer they wanted to on whatever terms

     19   they agreed to.

     20                       And if there was some information that

     21   they didn't have the benefit of that the buyers did,

     22   you would expect the transferors, if anyone at all,

     23   to be the ones complaining about it.                 But that's not

     24   what we have here.

     25                       THE COURT:      Okay.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0361
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                                  Response by Mr. Schulte                             62

      1                       MR. SCHULTE:       All right.       Another note

      2   that Hunter Mountain glosses over is duty.

      3                       So all the claims that were listed on

      4   the PowerPoint all require that there must have been

      5   some kind of a duty owed by Farallon and Stonehill to

      6   Hunter Mountain.         But there's no duty owed to a stranger

      7   to a claims trading transaction.

      8                       Yet again, if anybody were to have a

      9   duty owed to it, I guess it would be the transferors

     10   of the claims even though that was an arm's length

     11   transaction.

     12                       But it's not a stranger to the transaction

     13   and a stranger that has no interest in the claims that

     14   we're talking about here.

     15                       THE COURT:      Okay.

     16                       MR. SCHULTE:       Nor has Hunter Mountain

     17   identified any authority for a private cause of action

     18   belonging to Hunter Mountain related to these claims

     19   transfers.

     20                       Hunter Mountain doesn't have the right to

     21   assert claims on behalf of other parties.                   It only has

     22   the right to assert claims on behalf of itself when it

     23   has been personally aggrieved.

     24                       I heard Mr. McEntire say several times

     25   during his presentation that Hunter Mountain had a


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0362
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                                  Response by Mr. Schulte                              63

      1   99.5 percent equity interest in Highland Capital.

      2                       THE COURT:      Right.

      3                       MR. SCHULTE:       I think it's important to

      4   point out that that equity interest was completely

      5   extinguished by the confirmed plan in the bankruptcy

      6   case.

      7                       As Your Honor pointed out, we have the

      8   waterfall, and Classes 1 through 9 have to be paid in

      9   full.     And you know what Classes 8 and 9 are?                     General

     10   unsecured claims and subordinated claims.

     11                       And the only way that Hunter Mountain

     12   is ever in the money, as Mr. McEntire was saying, with

     13   its Class 10 claim is if Seery, the claimant trustee,

     14   certifies that all claims in 1 through 9 are paid in

     15   full 100 percent with interest and all indemnity claims

     16   are satisfied.

     17                       There has been no such certification by

     18   Mr. Seery, and there may never be such a certification

     19   by Mr. Seery.

     20                       THE COURT:      Okay.

     21                       MR. SCHULTE:       So that is real important

     22   because the idea that Hunter Mountain stands to somehow

     23   gain from this transaction is flawed for the reasons

     24   we've already talked about.

     25                       But it's also flawed because they have


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1   what is, at best, a contingent interest.                   It's

      2   contingent on things that have not yet occurred.                      And

      3   under the case law, they don't have standing conferred

      4   on them in that interest.

      5                       THE COURT:      Okay.

      6                       MR. SCHULTE:       So for all those reasons why

      7   there is no interest in the claims, no legal damages, no

      8   duty owed to it, no private cause of action belonging

      9   to it and a hypothetical and contingent interest, HMIT

     10   lacks standing to investigate or challenge these claims

     11   and claims transfers to which it was not a party and in

     12   which it had zero interest.

     13                       And for any or all of the reasons

     14   we've talked about, Your Honor, their petition should be

     15   dismissed.       I welcome any questions the court may have.

     16                       THE COURT:      No.     My head is kind of

     17   spinning.      Like I said, I spent all day yesterday

     18   reading stuff.        As I said, I will admit I've never

     19   practiced bankruptcy law.

     20                       I mean, my joking statement is I pretty

     21   much know enough to not be in contempt of bankruptcy

     22   court.     Because I have cases where one of the defendants

     23   or one of the parties ends up in bankruptcy court and

     24   whether or not I can proceed with my case, et cetera.

     25   That's my whole goal is not to be in contempt of court.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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                                 Response by Mr. McEntire                             65

      1                       MR. SCHULTE:       That should be the goal, is

      2   to not be in contempt of the bankruptcy court.

      3                       MR. McENTIRE:       May I have just five or ten

      4   minutes?

      5                       THE COURT:      I don't have another hearing,

      6   so we're fine on time.

      7                       MR. McENTIRE:       All right.       In all due

      8   deference to Mr. Schulte, the last 15 minutes of his

      9   argument misstates the law.

     10                       THE COURT:      Okay.

     11                       MR. McENTIRE:       The Washington Mutual case

     12   addresses almost 90 percent of what he just talked

     13   about.     Their equity was entitled to bring an action

     14   to basically disallow an interest that was acquired by

     15   inside information.

     16                       Okay.    And so he has not addressed the

     17   Washington Mutual case at all.

     18                       THE COURT:      Well, okay.       So my question

     19   is let's say that the insider trading didn't happen.

     20                       I mean, when I was playing with the

     21   numbers last night, it doesn't appear that Hunter

     22   Mountain, being Class 10, would have gotten anything

     23   anyways even if.         Right?

     24                       Like I said, I did a lot of reading last

     25   night, so I want to make sure I understand.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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                                 Response by Mr. McEntire                             66

      1                       MR. McENTIRE:       Fair enough.        I think I can

      2   address that.

      3                       The bottom line is a wrongdoer should

      4   not be entitled to profit from his wrong.                   That's

      5   the fundamental premise behind the restatement on

      6   restitution.        That's the fundamental purpose of

      7   the Washington Mutual case.

      8                       You have remedies, including disgorgement,

      9   disallowance or subordination.

     10                       THE COURT:      I'm just trying to be devil's

     11   advocate because I'm trying to work through this.

     12                       So let's say it did happen and the court

     13   ordered disgorgement and invalidated these transfers,

     14   then the money would just go to the Class 8 and

     15   Class 9.      Right?     To Acis, UBS, HarbourVest, etc.

     16                       MR. McENTIRE:       No, they would not.

     17   Because those claims have already been traded.

     18                       THE COURT:      Okay.     Well, that's

     19   what I'm saying.

     20                       If the court said there was insider

     21   trading and to disallow the transfer and ordered

     22   disgorgement, theoretically, back to Highland Capital,

     23   then the money is there.

     24                       Okay.    So then it would just go to Acis

     25   and UBS.      Right?


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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                                 Response by Mr. McEntire                              67

      1                       MR. McENTIRE:       The remedy here is to

      2   subordinate their claims.             HarbourVest, UBS, Acis, and

      3   the Redeemer committee have sold their claims.                        They can

      4   intervene if they want and that's up to them.                        If they

      5   want to take the position that they were defrauded,

      6   that's up to them.

      7                       THE COURT:      Okay.

      8                       MR. McENTIRE:       Otherwise, the remedy is to

      9   disgorge the proceeds and put them back into the coffers

     10   of the bankruptcy court in which case Category 8 and 9

     11   would be brimful, overflowing, and flow directly into

     12   the coffers in Class 10.

     13                       And that's the purpose of 15 and 16 in

     14   Mr. Patrick's affidavit.

     15                       THE COURT:      Okay.

     16                       MR. McENTIRE:       I find it amazing that he

     17   refers to Judge Jernigan's orders where he said anything

     18   dealing with these claims must come back to me.                        I have

     19   exclusive jurisdiction.            I recall that argument.

     20                       THE COURT:      Right.

     21                       MR. McENTIRE:       Well, she could have

     22   accepted the removal of Mr. Dondero in that other

     23   proceeding.       She didn't.       She said I don't have

     24   jurisdiction over this.            I'm sending it back to

     25   the state court.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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      1                       THE COURT:      Okay.     Because it was filed

      2   as a 202.      If it had been filed as a Rule 404, then she

      3   would have had jurisdiction because you're specifically

      4   invoking a state court process.               Right?

      5                       MR. McENTIRE:       I'm invoking exclusively

      6   a state court process because of the benefit it

      7   provides.      That is a strategic choice that this

      8   petitioner has elected.            It has nothing to do with

      9   bankruptcy court, other than bankruptcy court is too

     10   slow.

     11                       All the invective about the prior contempt

     12   order has nothing to do with these proceedings.

     13   Mr. Dondero is not involved in these proceedings.

     14                       If HarbourVest and UBS want to intervene

     15   in some subsequent lawsuit, they have a right to do so.

     16   I can't stop them.

     17                       But until then, we have stated a cause

     18   of action or at least a potential cause of action which

     19   is insider trading.          That from an outsider makes them an

     20   insider that owes fiduciary duties to the equity.

     21                       Washington Mutual allowed equity to come

     22   in and disallow those claims.               And if those claims are

     23   disallowed, the Class 10 is going to be overflowing on

     24   the waterfall.        And that's my client.

     25                       A couple of other things.            Hunter Mountain


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
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                                 Response by Mr. McEntire                             69

      1   is not a stranger.          Hunter Mountain was the big elephant

      2   in the room until the effective date of the plan.

      3                       We held 99.5 percent of the equity stake

      4   and when all of these wrongdoings occurred, Hunter

      5   Mountain was still the 99.5 percent equity stakeholder.

      6                       It's only after the bankruptcy plan had

      7   gone effective, after these claims had already been --

      8                       THE COURT:      Wait.     The insider trading

      9   happened after the bankruptcy had been filed but before

     10   the bankruptcy was resolved.

     11                       So it's during that process.             Right?

     12                       MR. McENTIRE:       You have filing a

     13   bankruptcy.       You have a bankruptcy plan.              You have

     14   confirmation of the plan, but it doesn't go effective

     15   until six months later.

     16                       THE COURT:      Right.

     17                       MR. McENTIRE:       After the bankruptcy

     18   plan was confirmed and they had dismal estimates of

     19   recovery -- 71 percent on Class 8, zero percent on

     20   Class 9 -- that's when Farallon and Stonehill purchased

     21   the claims.

     22                       But they purchased the claims at a time

     23   before the bankruptcy wasn't effective.                  And so the

     24   so-called claimant trust agreement had not gone into

     25   effect until several months later.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0369
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
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                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
                       Exhibit Exhibit 4 Page 118 of 136
                                 Response by Mr. McEntire                             70

      1                       THE COURT:      Okay.

      2                       MR. McENTIRE:       And during this period of

      3   time Hunter Mountain was the very, very largest

      4   stakeholder.

      5                       THE COURT:      Okay.

      6                       MR. McENTIRE:       And so to call it a

      7   stranger is just not right and it's not fair because

      8   we're anything but a stranger.

      9                       They make an argument that Hunter Mountain

     10   didn't object to the settlements.                Well, so what?

     11   I'm not attacking the underlying settlements.

     12   I'm attacking the claims transfers.

     13                       And then he says, well, why didn't they

     14   object to the claims transfers.               Well, he finally

     15   conceded that the claims transfers are not actually

     16   subject to a judicial scrutiny by the bankruptcy court.

     17                       This court is uniquely qualified to

     18   review these claims transfers as is Judge Jernigan.

     19   Insider information is insider information as a rose

     20   is a rose is a rose.           And any court of law is qualified

     21   to determine whether insider information was used.

     22                       Judge Jernigan did not say, okay,

     23   Farallon, you can buy this claim.                There was no

     24   judicial process here.

     25                       THE COURT:      Right.     I mean, it's a motion.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0370
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 375 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
                       Exhibit Exhibit 4 Page 119 of 136
                                 Response by Mr. McEntire                             71

      1   We want to do this, just get approval.

      2                       MR. McENTIRE:       They don't even have to get

      3   approval.

      4                       THE COURT:      Okay.

      5                       MR. McENTIRE:       All they have to do is file

      6   notice.

      7                       THE COURT:      Okay.     File the notice.

      8                       MR. McENTIRE:       Judge Jernigan was not

      9   involved at all.

     10                       We had no reason to object.             All we know

     11   there's a claims transfer.             It's not until later that

     12   we discover that inside information was used and that's

     13   why we're here.

     14                       So we didn't object to the original

     15   claims.      There was no need to.           The original settlements

     16   rather.      There was no need to.           There was no objection

     17   to the claims transfers.

     18                       There was no mechanism to object, other

     19   than what we're doing here today.                This is our

     20   objection.       This is our attempt to object.

     21                       Because we believe that they have acquired

     22   hundreds of millions of dollars of ill-gotten gain and

     23   if that is true, not only will Hunter Mountain be

     24   benefited tremendously, but other unsecured creditors.

     25   They are very few but they will be also benefited.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0371
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 376 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
                       Exhibit Exhibit 4 Page 120 of 136
                                 Response by Mr. McEntire                             72

      1                       Frankly, Judge Jernigan may want that to

      2   happen.

      3                       THE COURT:      Okay.

      4                       MR. McENTIRE:       But we're here to get the

      5   discovery so I can pull it all together within the next

      6   30 days or 40 days.          So I can make decisions before

      7   somebody might suggest, hey, well, you should have

      8   filed this a little bit earlier.

      9                       And so, Judge, that's why we're here,

     10   in the interest of time.            And that was my decision.

     11   That was my strategic decision to bring it here.

     12                       THE COURT:      Right.

     13                       MR. McENTIRE:       He says that Rule 3001 is

     14   the exclusive remedy.           Only transferors can complain

     15   about transferees or vice versa.

     16                       THE COURT:      You're not necessarily

     17   complaining about the actual transfer.                  It's how

     18   the transfer came about.

     19                       MR. McENTIRE:       That's right.

     20                       And to suggest that that is the governing

     21   principle that this court should consider is an absolute

     22   contradiction to the Washington Mutual case.

     23                       Because if fraud is in play, if inside

     24   information is in play, then it impacts everyone who

     25   is a stakeholder.          Everyone.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0372
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 377 Entered
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                                                           03/28/23 16:02:23   Desc
                       Exhibit Exhibit 4 Page 121 of 136
                                  Response by Mr. Schulte                             73

      1                       THE COURT:      Okay.

      2                       MR. McENTIRE:       And we are one of the

      3   largest stakeholders in the bankruptcy proceedings,

      4   even today.       So that's all I have.

      5                       I thank you for your attention,

      6   Your Honor.       Clearly, the benefit here is we get to

      7   uncover some things that need to be uncovered.                       And

      8   we'd like to do it so in a timely fashion.

      9                       And if we don't have a claim, we don't

     10   have a claim.        If we have a claim, then we may file it

     11   in a state district court.

     12                       And if Judge Jernigan and her gate-keeping

     13   orders require us to go there, we'll go there.                       I'm not

     14   going to run afoul of any rule she has, but we need to

     15   get this underway.

     16                       THE COURT:      Okay.

     17                       MR. SCHULTE:       Your Honor, may I make some

     18   rifle-shot responses?

     19                       THE COURT:      Yeah.      That's fine.

     20                       MR. SCHULTE:       Okay.     Mr. McEntire has said

     21   that they are one of the largest stakeholders in the

     22   Highland bankruptcy based on this 99.5 percent equity.

     23   That equity was extinguished in the fifth amended plan.

     24                       That's Exhibit 3 that I handed you,

     25   Your Honor.       That plan was filed in January of 2021


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0373
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                             74

      1   before any of these claims transfers took place.

      2   The equity was extinguished by virtue of the plan.

      3                       THE COURT:      Okay.

      4                       MR. SCHULTE:       Mr. McEntire was talking

      5   about this Washington Mutual case.                I read the case.

      6                       But what he said repeatedly, and I think

      7   it's really important to listen to what Mr. McEntire

      8   said about this case, is that that court allowed the

      9   equity to come in and talk about these transfers.

     10                       Hunter Mountain doesn't have any equity.

     11   That equity was extinguished in the plan for reasons

     12   I just discussed.          So for being the largest stakeholder,

     13   according to Mr. McEntire, in the bankruptcy what does

     14   Hunter Mountain have to show for that?                  A Class 10.

     15                       As Your Honor pointed out, a Class 10

     16   interest, that is below everybody else.                  And that's

     17   where they've been relegated.

     18                       And to answer your question, Your Honor,

     19   that you posed to Mr. McEntire that I'm not sure was

     20   ever answered, HMIT -- Hunter Mountain -- at Class 10

     21   stood to gain nothing when the plan was put together.

     22   So the largest stakeholder stood to gain nothing.

     23                       I've pointed to the language in the

     24   court's order about how the court has exclusive

     25   jurisdiction.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0374
       Case: 23-10376Doc Document:
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                                  Response by Mr. Schulte                              75

      1                       And Your Honor nailed the answer to the

      2   concern raised by Mr. McEntire, which is the bankruptcy

      3   court didn't have jurisdiction over a 202 proceeding.

      4   But it unquestionably has authority over the

      5   counterpart, 2004 in bankruptcy court.

      6                       THE COURT:      Right.

      7                       MR. SCHULTE:       Finally, I have never argued

      8   and if I did say this, I apologize.                 I have never argued

      9   that Hunter Mountain is somehow a stranger to the

     10   bankruptcy.

     11                       THE COURT:      Right.     They were obviously

     12   involved in the bankruptcy, but they're a stranger to

     13   these transfers.

     14                       MR. SCHULTE:       Exactly.      They were a

     15   stranger to these transactions.               They didn't have any

     16   interest in these claims.

     17                       They don't stand to gain anything if

     18   the claims are either rescinded or if the claims are

     19   invalidated or the transfers are invalidated.                        They

     20   don't stand to get anything because they never had

     21   any interest in these claims.

     22                       The claims are the claims and either UBS,

     23   Redeemer, Acis, and HarbourVest stood to gain more than

     24   expected or Farallon and Stonehill stand to gain more

     25   than expected.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0375
       Case: 23-10376Doc Document:
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                                                           03/28/23 16:02:23   Desc
                       Exhibit Exhibit 4 Page 124 of 136
                                 Response by Mr. McEntire                             76

      1                       And if anybody is really injured here,

      2   it's not Hunter Mountain.             It's the transferors who

      3   were duped into these transfers, according to Hunter

      4   Mountain.      And they would be the ones that would have

      5   damage and have a claim along the lines of what

      6   Hunter Mountain is trying to assert on behalf

      7   of all stakeholders.

      8                       Your Honor, I have a proposed order, as

      9   Mr. McEntire does.

     10                       May I bring it up?

     11                       THE COURT:      Yes, you may.

     12                       Okay, Mr. McEntire.          Anything else?

     13                       MR. McENTIRE:       His last few statements are

     14   inconsistent with the law, Your Honor.

     15                       THE COURT:      Okay.

     16                       MR. McENTIRE:       Because the law clearly,

     17   clearly indicates that we are a beneficiary.                    And

     18   that's what the Washington Mutual case stands for.

     19                       THE COURT:      Okay.     Wait.     Let me make sure

     20   I know which one.

     21                       Do you have a cite for that case?

     22                       MR. McENTIRE:       Yes, ma'am.        It's in the

     23   PowerPoint.

     24                       THE COURT:      That's fine.        I just wanted

     25   to make sure I could find it.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0376
       Case: 23-10376Doc Document:
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                                                           03/28/23 16:02:23   Desc
                       Exhibit Exhibit 4 Page 125 of 136
                                 Response by Mr. McEntire                             77

      1                       MR. McENTIRE:       There's also a Fifth

      2   Circuit case that talks about subordination where

      3   a Class 8 and Class 9 would actually be subordinated,

      4   Your Honor, to our claim.

      5                       So that's another approach to this, is

      6   subordination.

      7                       THE COURT:      Okay.

      8                       MR. McENTIRE:       And that's the In re Mobile

      9   Steel case out of the Fifth Circuit.                 I think there's a

     10   cite in our brief.

     11                       THE COURT:      Okay.

     12                       MR. McENTIRE:       I acknowledge that

     13   we're now classified with a different name.                    We're

     14   a B/C limited partner.            And we're, in effect, a Class 10

     15   beneficial interest.

     16                       But we're there having been a 99.5.                And

     17   the lion share of any money, 99.5 percent of any money

     18   that overflows into bucket No. 10 is ours.

     19                       THE COURT:      Right.

     20                       Okay.    I am processing.         Obviously, I need

     21   to take this into consideration.               I haven't had a chance

     22   to go through Respondent's exhibits.

     23                       I've looked through the plaintiff's

     24   exhibits, but now I have much more of a focus of what

     25   I'm doing.


                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0377
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
                         3699-4 Filed    Page: 382 Entered
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                       Exhibit Exhibit 4 Page 126 of 136
                                           Adjournment                                78

      1                       So I will try to get you all a ruling

      2   by the end of next week.            I apologize.        I've got a

      3   special setting next week that's going to be kind

      4   of crazy, but I will do everything I can.

      5                       If you all haven't heard from me by next

      6   Friday afternoon, call my coordinator Texxa and tell

      7   her to bug me.

      8                       MR. McENTIRE:       Thank you for your time.

      9                       THE COURT:      You all are excused.             Have

     10   a great day.

     11

     12

     13                      (This completes the Reporter's Record,

     14                      Petitioner Hunter Mountain Investment

     15                      Trust's Rule 202 Petition, which was

     16                      heard on Wednesday, February 22, 2023.)

     17

     18

     19

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                                GINA M. UDALL, CSR, RPR
                        Official Reporter, 191st District Court
                                                                         Appx_0378
       Case: 23-10376Doc Document:
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                                   Reporter's Certificate                             79

      1   STATE     OF     TEXAS   )

      2   COUNTY OF DALLAS         )

      3                  I, Gina M. Udall, Official Court Reporter

      4   in and for the 191st District Court of Dallas County,

      5   State of Texas, do hereby certify that the above and

      6   foregoing contains a true and correct transcription of

      7   all portions of evidence and other proceedings requested

      8   in writing by counsel for the parties to be included in

      9   this volume of the Reporter's Record in the above-styled

     10   and numbered cause, all of which occurred in open court

     11   and were reported by me.

     12                  I further certify that this Reporter's Record

     13   of the proceedings truly and correctly reflects the

     14   exhibits, if any, offered by the respective parties.

     15                  I further certify that the total cost for the

     16   preparation of this Reporter's Record is $750.00 and was

     17   paid by the attorney for Respondents.

     18                  WITNESS MY OFFICIAL HAND on this the 1st day of

     19   March 2023.

     20

     21                                    /S/    Gina M. Udall
                                       Gina M. Udall, Texas CSR #6807
     22                                Certificate Expires: 10-31-2024
                                       Official Reporter, 191st District
     23                                Court of Dallas County, Texas
                                       George Allen Sr. Courts Building
     24                                600 Commerce St., 7th Floor
                                       Dallas, Texas 75202
     25                                Telephone: (214) 653-7146


                                  GINA M. UDALL, CSR, RPR
                          Official Reporter, 191st District Court
                                                                         Appx_0379
       Case: 23-10376Doc Document:
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                     Exhibit 4-C




                                                                         Appx_0380
       Case: 23-10376Doc Document:
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                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23                   Desc
                       Exhibit Exhibit 4 Page 129 of 136



                                      CAUSE No. DC-23-0 I 004

                                                  §
  INRE:                                           §             IN THE DISTRICT COURT
                                                  §
  HUNTER MOUNTAIN INVESTMENT TRUST,               §             DALLAS COUNTY, TEXAS
                                                  §
          Petitioner.                                           J91 ST JUDICIAL DISTRICT
                                                  §
                                                  §

                                              ORDER

          Came on for consideration Petitioner Hunter Mountain Investment Trust's Ver/fied Rule

  202 Petition ("Petition") filed by petitioner Hunter Mountain Investment Trust ("HMIT"). The

  Court, having considered the Petition, the joint verified response in opposition filed by

  respondents    Farallon   Capital Management,       L.L.C.   ("Farallon") and   Stonehill Capital

  Management LLC ("Stonehill"), HMIT's reply, the evidence admitted during the hearing

  conducted on February 22, 2023, the argument of counsel during that hearing, Farallon's and

  Stonehill's post-hearing brief, the record, and applicable authorities, concludes that HMIT's

  Petition should be denied and that this case should be dismissed. Therefore,

          The Court ORDERS that HMIT's Petition be, and is hereby, DENIED, and that this case

  be, and is hereby, DISMISSED.

          THE COURtO ORDERS.

          Signed this       day of March, 2023.




                                                                             AUGHTER




                                                                                           Appx_0381
       Case: 23-10376Doc Document:
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                     Exhibit 4-D




                                                                         Appx_0382
       Case: 23-10376Doc Document:
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                         3699-4 Filed    Page: 387 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23                     Desc
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                                                                                  State of Delaware
                                                                                  Secretary of State
                                                                               Division of Corporations
                                                                            Delivered 09:24 AM 03/09/2021
                                                                             FILED 09:24 AM 03/09/2021
                                                                        SR 20210838989 - FileNumber 5421257



                                 CERTIFICATE OF FORMATION

                                                 OF

                                       Muck Holdings, LLC

        FIRST: The name of the limited liability company is:

                                       Muck Holdings, LLC

        SECOND: Its registered office in the State of Delaware is to be located at 251 Little
    Falls Drive, in the City of Wilmington, Delaware, 19808, and its registered agent at such
    address is CORPORATION SERVICE COMPANY.


        IN WITNESS WHEREOF, the undersigned, being the individual forming the Company,
    has executed, signed and acknowledged this Certificate of Formation this 9 th day of March,
    2021.




                                                 By: /s/Hanchang Sohn
                                                     Name: Hanchang Sohn
                                                     Title: Authorized Person




6109645v.1 344/05975
                                                                                          Appx_0383
       Case: 23-10376Doc Document:
Case 19-34054-sgj11                 5 03/28/23
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                     Exhibit 4-E




                                                                         Appx_0384
                   Case: 23-10376Doc Document:
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                                     3699-4 Filed    Page: 389 Entered
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                                   Exhibit Exhibit 4 Page 133 of 136



                                              CERTIFICATE OF FORMATION

                                                                 OF

                                                      Jessup Holdings LLC

                  FIRST:               The name of the limited liability company is Jessup Holdings LLC.

                  SECOND:              The address of its registered office in the State of Delaware is 1013
                                       Centre Road, Suite 403-B in the City of Wilmington, Delaware
                                       19805, in the County of New Castle. The name of its registered
                                       agent at such address is V corp Services, LLC.

                  THIRD:               Members may be admitted in accordance with the terms of the
                                       Operating Agreement of the limited liability company.

                        IN WITNESS WHEREOF, the undersigned has executed this Certificate
                  of Formation on April 08, 2021.


                                                                          ls/Taylor Lolya
                                                                         Taylor Lolya, Authorized Person




          State of Delaware
          Secretary of State
       Division of Corporations
    Delivered 01:10 PM 04/08/2021
     FILED 01:10 PM 04/08/2021
SR 20211222936 - File Number 5822640                                                                   Appx_0385
       Case: 23-10376Doc Document:
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                         3699-4 Filed    Page: 390 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23   Desc
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                     Exhibit 4-F




                                                                         Appx_0386
       Case: 23-10376Doc Document:
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                         3699-4 Filed    Page: 391 Entered
                                                     Date Filed: 04/12/2023
                                                           03/28/23 16:02:23                       Desc
                       Exhibit Exhibit 4 Page 135 of 136

 From:             Roger L. McCleary
 To:               Schulte, David C (DAL - X59419)
 Cc:               Sawnie A. McEntire
 Subject:          HMIT — court’s order/HMIT"s request for information
 Date:             Thursday, March 9, 2023 3:46:00 PM


 David,

             Thank you. This ruling denies Hunter Mountain Investment Trust (“HMIT”) the
 investigatory discovery sought from Farallon Capital Management, LLC (“Farallon”) and
 Stonehill Capital Management, LLC (“Stonehill”) under Tex. R. Civ. P. 202. Accordingly,
 HMIT requests that Farallon and Stonehill advise whether they will voluntarily provide some
 or all of the information and documents requested in HMIT’s Rule 202 Petition and, if so,
 under what terms. Please let us know by Tuesday, March 14th, whether Farallon and Stonehill
 will consider doing so. If so, we are available to discuss this at your earliest convenience.

      In any event, HMIT also requests that Farallon and Stonehill voluntarily respond to the
 following two specific requests, which they can answer in a matter of minutes:

      1. A simple description of the legal relationship: a) between Farallon and Muck Holdings,
         LLC (“Muck”), and b) between Stonehill and Jessup Holdings, LLC (“Jessup”).
      2. Whether: a) Farallon is a co-investor in any fund in which Muck holds an interest
         related to the Claims at issue in the Rule 202 Petition; b) Stonehill is a co-investor in
         any fund which Jessup holds an interest related to the Claims at issue in the Rule 202
         Petition.    

 We would also appreciate prompt written responses to these two specific requests. To the
 extent we do not receive written responses to these two requests by close of business on
 Tuesday, March 14th, this will be taken as Farallon and Stonehill’s refusal to provide the
 requested responses. Similarly, to the extent we do not receive a written confirmation of
 Farallon and Stonehill’s willingness to discuss voluntary production of more of the
 information and documents requested in HMIT’s Rule 202 Petition by then, this will be taken
 as their refusal to consider doing so.

             Please let us know if you or your clients have any questions about this request. Thank
 you.

 Regards, Roger.

 Roger L. McCleary
 Parsons McEntire McCleary PLLC
 One Riverway, Suite 1800
 Houston, TX 77056
 Tel: (713) 960-7305
 Fax: (832) 742-7387
 www.pmmlaw.com

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                                                                                             Appx_0387
       Case: 23-10376Doc Document:
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                         3699-4 Filed    Page: 392 Entered
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                                                           03/28/23 16:02:23                                          Desc
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 From: Schulte, David C (DAL - X59419) <David.Schulte@hklaw.com>
 Sent: Wednesday, March 8, 2023 9:08 PM
 To: Sawnie A. McEntire <smcentire@pmmlaw.com>; Roger L. McCleary <rmccleary@pmmlaw.com>
 Cc: Timothy J. Miller <tmiller@pmmlaw.com>
 Subject: [EXTERNAL] HMIT — court’s order

 Counsel--attached is a copy of the court's order in this case.

 Dave

 David C. Schulte | Holland & Knight
 Partner
 Holland & Knight LLP
 1722 Routh St., Suite 1500 | Dallas, TX 75201
 Cell 214-274-4141
 Phone 214-964-9419
 Fax 214-964-9501
 david.schulte@hklaw.com | www.hklaw.com


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                   Proposed Order Proposed Order Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                         §
                                                §
 HIGHLAND CAPITAL                               §    Chapter 11
 MANAGEMENT, L.P.                               §
                                                §    Case No. 19-34054-sgj11
           Debtor.                              §

 ORDER GRANTING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
        MOTION FOR LEAVE TO FILE ADVERSARY PROCEEDING
          Upon consideration of the Emergency Motion for Leave to File Adversary Proceeding

[Dkt. __] (the “Motion”) filed by Hunter Mountain Investment Trust (“HMIT”), and having

considered any responses thereto, the Court finds that: (1) the claims alleged in HMIT’s Proposed

Adversary Complaint [Dkt. __-1] against James P. Seery (“Seery”), Stonehill Capital

Management, LLC, Farallon Capital Management, LLC, Muck Holdings, LLC, and Jessup

Holdings, LLC (the “Claims”) are colorable; (2) any demand on any other persons or entities to



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       Case: 23-10376Doc Document:
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prosecute the Claims would be futile; (3) HMIT is an appropriate party to bring the Claims on

behalf of the Reorganized Debtor and the Highland Claimant Trust; and (4) HMIT’s Motion should

be granted.

       It is therefore ORDERED THAT:

       1.     The Motion is GRANTED.

       2.     HMIT is granted leave to file its Proposed Adversary Complaint [Dkt. __-1] as an

adversary proceeding in this Court.

                                      ###END OF ORDER###



Submitted by:
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Counsel for Hunter Mountain Investment Trust




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                                                                                   Appx_0390
      Case: 23-10376 DocDocument:
Case 19-34054-sgj11               5 03/28/23
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Attorneys for Petitioner Hunter Mountain Investment Trust

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                       §
                                              §
 HIGHLAND CAPITAL                             §   Chapter 11
 MANAGEMENT, L.P.                             §
                                              §   Case No. 19-34054-sgj11
          Debtor.                             §

 HUNTER MOUNTAIN INVESTMENT TRUST’S OPPOSED APPLICATION FOR
      EXPEDITED HEARING ON EMERGENCY MOTION FOR LEAVE
             TO FILE VERIFIED ADVERARY PROCEEDING

          Hunter Mountain Investment Trust (“HMIT”), both in its individual capacity and

as a derivative action on behalf of the Reorganized Debtor, Highland Capital

Management, L.P. (“Reorganized Debtor”) and the Highland Claimant Trust (collectively

“Movant”), submits this Application for an Expedited Hearing (“Application”) on its


                                            [1]
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Case 19-34054-sgj11               5 03/28/23
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Emergency Motion for Leave to File Verified Adversary Proceeding (“Emergency

Motion”). In support of this Application, Movant states the following:

          1.       All respondents have received notice of this Application. This Application

and the Emergency Motion are opposed.

          2.      The Emergency Motion 1 seeks leave to file an Adversary Proceeding in

accordance with the Court’s “gatekeeping” orders, as well as the injunction and

exculpation provisions in the Fifth Amended Plan of Reorganization of Highland Capital

Management, L.P. (Doc. 1943), as modified (the “Plan”).

          3.      An expedited hearing is permitted under Fed. R. Bank P. 9006 (c)(1), which

authorizes a shortened time for a response and hearing for good cause. For the reasons

set forth fully in the Emergency Motion, and as set forth herein, Movant has shown good

cause and requests that the Court schedule a hearing on the Emergency Motion on three

(3) days’ notice, and that any responses be filed no later than twenty-four hours before

the scheduled hearing.

          4.      Good cause exists because of a fast-approaching date (April 16, 2023) that

one or more of the Respondents, as identified in the Emergency Motion, may argue

constitutes the expiration of the statute of limitations concerning some of the common




1   A copy of the Emergency Motion is filed simultaneously with this Application for Expedited Hearing.


                                                    [2]
                                                                                              Appx_0392
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law claims available to Movant.2 Although HMIT offered to enter tolling agreements with

each of the Proposed Defendants with whom they have successfully contacted, this offer

was either rejected or HMIT did not receive an affirmative agreement to do so.

Accordingly, this Application has become necessary. Because the Emergency Motion is

subject to the Court’s “gatekeeping” orders and the injunction provisions of the Plan,

emergency leave is required. Expedited consideration of the Emergency Motion is

necessary and appropriate to protect and preserve the rights of the Reorganized Debtor,

the Highland Claimant Trust, and HMIT.

        5.      Movant requests that the Emergency Motion be scheduled for an expedited

hearing within (3) days of the filing of this Application. Alternatively, if such a setting is

not possible, Movant requests that the Emergency Motion be scheduled for an expedited

hearing on the Court’s earliest available date, and that any responses be filed no later

than twenty-four hours before the scheduled hearing. Movant requests a 90-minute

hearing.

        WHEREFORE, Hunter Mountain Investment Trust, as Movant, respectfully

requests this Court (i) grant this Application for Expedited Hearing, (ii) set an expedited

hearing on the Emergency Motion within three (3) days of the filing of this Application

for Expedited Hearing and set a response and objection deadline no later than twenty-



2 The statute of limitations issue is also dependent upon the resolution of state choice of law issues. The
first insider trade at issue involved the sale and transfer of Claim 23 in the amount of $23 million held by
ACMLD Claim, LLC to Muck on April 16, 2021 (Doc. 2215).


                                                    [3]
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four hours before the scheduled hearing or as set by the Court; (iii) in the event such a

setting is not possible, and in the alternative, set an expedited hearing on the Emergency

Motion on the Court’s earliest available date and time thereafter, and that any responses

be filed no later than twenty-four hours before the scheduled hearing, and (iv) grant such

other and further relief as is just and proper.

DATED: March 28, 2023

                                                   Respectfully Submitted,

                                                   PARSONS MCENTIRE MCCLEARY
                                                   PLLC

                                                   By: _/s/ Sawnie A. McEntire
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                                                       Facsimile: (713) 960-7347

                                                       Attorneys for Hunter Mountain
                                                       Investment Trust




                                             [4]
                                                                                   Appx_0394
      Case: 23-10376 DocDocument:
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                           CERTIFICATE OF CONFERENCE

       Beginning on March 24, 2023, and also on March 27, 2023, the undersigned counsel
conferred either by telephone or via email with all counsel for all Respondents regarding
the relief requested in the foregoing application, including John A. Morris on behalf of
James P. Seery, and Brent McIlwain on behalf of Muck Holdings LLC, Jessup Holdings
LLC, Stonehill Capital Management, and Farallon Capital Management. Counsel for
James P. Seery has advised that it opposes an expedited hearing on the Emergency
Motion and also opposes the Emergency Motion. Based upon all communications with
Mr. McIlwain, it is reasonably believed his clients are also opposed and we advised him
that this recitation would be placed in the certificate of conference.



                                                   _/s/ Sawnie A. McEntire
                                                    Sawnie A. McEntire



                              CERTIFICATE OF SERVICE



       I certify that on the 28th day of March 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                          _ /s/ Sawnie A. McEntire___________________
                                          Sawnie A. McEntire




                                             [5]
                                                                                  Appx_0395
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                   Proposed Order Proposed Order Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                          §
                                                 §
 HIGHLAND CAPITAL                                §    Chapter 11
 MANAGEMENT, L.P.                                §
                                                 §    Case No. 19-34054-sgj11
          Debtor.                                §

             ORDER GRANTING APPLICATION FOR EXPEDITED HEARING
                     ON EMERGENCY MOTION FOR LEAVE
                  TO FILE VERIFIED ADVERSARY PROCEEDING

          Upon the Application for Expedited Hearing on Emergency Motion for Leave to File

Verified Adversary Proceeding (“Application for Expedited Hearing”), filed by Hunter Mountain

Investment Trust (“HMIT”), both in its individual capacity and as a derivative action on behalf of

the Reorganized Debtor, Highland Capital Management, L.P. (“Reorganized Debtor”) and the

Highland Claimant Trust, requesting expedited and emergency consideration of the Emergency



                                               [1]
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Case 19-34054-sgj11                 5 03/28/23
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Motion for Leave to File Verified Adversary Proceeding (“Emergency Motion”), and the Court,

having reviewed the Application for Expedited Hearing, finds that proper notice was given and

that good cause exists for entry of this Order. It is therefore:

        ORDERED that the Application for Expedited Hearing is GRANTED; and

        IT IS FURTHER ORDERED that the hearing on the Emergency Motion shall be held on

____________________, 2023, at _________ _.m. (Central Time) before the Honorable Stacey

G. C. Jernigan. Any responses to the Emergency Motion shall be filed by _________________, at

____________.

                                       ### End of Order ###


Submitted by:
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Counsel for Hunter Mountain Investment Trust




                                                  [2]
                                                                                  Appx_0397
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Case 19-34054-sgj11               5 03/30/23
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          ZAnnable@HaywardFirm.com

 Counsel for Highland Capital Management, L.P., the Highland
 Claimant Trust, and James P. Seery, Jr., solely in his capacity
 as Chief Executive Officer of Highland Capital Management,
 L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                                      Chapter 11

 HIGHLAND CAPITAL MANAGEMENT, L.P., Case No. 19-34054-sgj

                              Reorganized Debtor.




                THE HIGHLAND PARTIES’ OBJECTION
 TO HUNTER MOUNTAIN INVESTMENT TRUST’S OPPOSED APPLICATION FOR
    EXPEDITED HEARING ON EMERGENCY MOTION FOR LEAVE TO FILE
                 VERIFIED ADVERSARY PROCEEDING

          Highland Capital Management, L.P. (“HCMLP”), the reorganized debtor in the above-

referenced bankruptcy case, the Highland Claimant Trust (the “Trust”), and James P. Seery, Jr.,

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Case 19-34054-sgj11               5 03/30/23
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COUNSEL TO MUCK HOLDINGS, LLC,
JESSUP HOLDINGS LLC,
FARALLON CAPITAL MANAGEMENT, L.L.C., AND
STONEHILL CAPITAL MANAGEMENT LLC

                          UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 In re:                                              Case No. 19-34054 (SGJ)

        Highland Capital Management, L.P.1           Chapter 11

                         Debtor.                     (Jointly Administered)



     MUCK HOLDINGS, LLC, JESSUP HOLDINGS LLC, FARALLON CAPITAL
   MANAGEMENT, L.L.C., AND STONEHILL CAPITAL MANAGEMENT LLC’S
    OBJECTION TO HUNTER MOUNTAIN INVESTMENT TRUST’S OPPOSED
   APPLICATION FOR EXPEDITED HEARING ON EMERGENCY MOTION FOR
           LEAVE TO FILE VERIFIED ADVERSARY PROCEEDING

          Muck Holdings, LLC (“Muck”), Jessup Holdings LLC (“Jessup”), Farallon Capital

Management, L.L.C. (“Farallon”), and Stonehill Capital Management LLC (“Stonehill”, and

collectively, with Muck, Jessup, and Farallon, the “Claims Purchasers”) hereby file this Objection



    1
        The last four digits of Debtor’s taxpayer identification number are (6725). The headquarters and
service address for Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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to Hunter Mountain Investment Trust’s Opposed Application for Expedited Hearing on Emergency

Motion for Leave to File Verified Adversary Proceeding (the “Objection”).2 In further support of

the Objection, the Claims Purchasers respectfully state as follows:

                                             OBJECTION

        1.      This proceeding is yet another attempt by James Dondero (“Dondero”) and his

affiliates to exact revenge on any person or entity that obtains a recovery from the company he

sought to destroy as his control was wrested away. In the process, he has wasted countless judicial

resources as he forum shopped to try and find any court but this Court to address his complaints.

Now, without any further options, Dondero, through HMIT, seeks to burden this Court with an

emergency hearing that deprives the Claims Purchasers of their procedural rights.

        2.      Dondero’s first attempt began in July 2021 with a pre-suit discovery request,

targeting Farallon and Alvarez & Marsal, under Texas Rule of Civil Procedure 202 (“Rule 202”):

In Re: James Dondero, Cause No. DC-21-09534, in the 95th Judicial District Court of Dallas

County Texas (the “First 202”). This Court is well aware of the First 202, as Farallon and Alvarez

& Marsal removed the case to this Court. After extensive briefing and a hearing, due to

misalignment of the caselaw to the uniqueness of a Rule 202 proceeding as applied to a bankruptcy

case, the Court remanded the First 202 to the Texas state court “with grave misgivings.” The state

court ultimately denied and dismissed the First 202 on June 1, 2022.




    2
         Hunter Mountain Investment Trust (“HMIT”) filed its Emergency Motion for Leave to File Verified
Adversary Proceeding [Dkt. No. 3699] (the “Motion for Leave”) on March 28, 2023. The Motion for Leave
was coupled with HMIT’s Opposed Application for Expedited Hearing on Emergency Motion for Leave to
file Verified Adversary Proceed [Dkt. No. 3700] (the “Motion to Expedite”). This Objection is limited to
the Motion to Expedite and will not address in detail the substantive issues raised in the Motion for Leave.
Rather, as explained below, the Claims Purchasers should have a reasonable period of time, on a normal
briefing schedule, to fully address the Motion for Leave.

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        3.     Rather than come back to this Court to seek pre-suit discovery under Rule 2004,

Dondero waited more than six months and filed a new Rule 202 petition through his affiliate

HMIT—raising the exact same issues related to claims trading as in the First 202, based on the

same allegations of misconduct by Seery—but now in a different Texas state court: In re: Hunter

Mountain Investment Trust, Cause No. DC-23-01004, in the 191st Judicial District of Dallas

County Texas (the “Second 202”). The target of the Second 202 was once again Farallon, with the

addition of Stonehill. HMIT, undeterred by the dismissal of the First 202, carefully avoided not

only this Court (through a proper request for discovery under Rule 2004), but also the 95th

Judicial District Court that dismissed the First 202, and sought to convince yet another state court

judge that it had a valid basis to “investigate” claims purchases in a bankruptcy proceeding. The

Second 202 met the same fate as the first: it was denied and dismissed on March 8, 2023.

        4.     It is against this backdrop that now, after more than a year from the date this Court

issued its opinion on the First 202, stating that “[t]his court is not only familiar with the facts and

parties, but there is a mechanism in the bankruptcy rules (Fed. R. Bankr. Pro. 2004; see also Fed.

R. Civ. Pro. 27) to seek pre-suit discovery,” and further stated that “Dondero’s standing in filing

the Rule 202 Proceeding would appear to be highly questionable and his motives highly suspect,”3

HMIT is requesting that this Court treat its Motion for Leave as an emergency. It simply is not.

        5.     The Motion for Leave is hundreds of pages long (inclusive of exhibits), with

detailed, self-serving affidavits and reports from lawyers who Dondero and his affiliates have

employed in his solipsistic effort to resurrect a recovery from the company he destroyed. But the




    3
        Memorandum Opinion and Order Granting James Dondero’s Motion to Remand Adversary
Proceeding to State Court, Denying Fee Reimbursement Request, and Related Rulings, Dondero v. Alvarez
& Marsal CRF Management, LLC and Farallon Capital Management LLC, Dkt. No. 22, 21-03051 (January
4, 2022), pg. 21 [emphasis added].

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only emergency here is one of Dondero and HMIT’s own making. They had every opportunity to

seek discovery in this Court, and file the Motion for Leave on a reasonable timeframe. Instead,

fixated on avoiding the scrutiny that this Court would apply, and the warranted skepticism as to

the potential merits of the claims that this Court has already expressed, they “ran out the clock”

and now seek to burden Claims Purchasers, the other targets, and this Court with an “emergency.”

As but one recent example of this approach, HMIT waited 20 days after the dismissal of the Second

202 to file the Motion for Leave, seeking expedited consideration on an “emergency” basis.

        6.       The Claims Purchasers are entitled to a reasonable opportunity to respond to the

Motion for Leave. While HMIT’s allegations are baseless,4 responding to the scattershot Motion

for Leave will require substantial time. Indeed, the standard under the “Gatekeeper Order” for a

“colorable claim” requires a more detailed analysis than would be required by a typical motion

heard on an emergency basis. While perhaps not perfectly analogous, the response will be similar

to motion to dismiss under Fed. R. Civ. 12(b)(6). Requiring the Claims Purchasers to prepare and

argue what is tantamount to a dispositive motion on anything less than regular notice would be

prejudicial to the Claims Purchasers. Prejudice is exactly what Dondero and HMIT are seeking.

They should not be rewarded for their obstreperous behavior.

        WHEREFORE, the Claims Purchasers respectfully request that the Court deny the Motion

to Expedite and grant the Claims Purchasers such other and further relief as is just and proper.




    4
         While the underlying allegations of HMIT’s Motion for Leave will be addressed by separate
pleading, the Claims Purchasers will demonstrate that the factual predicates for the allegations are
objectively false. Moreover, the “evidence” that forms the basis for the Motion for Leave and its associated
verified pleading is largely based upon affidavits from Dondero and his counsel, which on its face should
call into question the credibility of the assertions. Finally, it should be noted that the Office of the United
States Trustee has had the allegations of Dondero—now HMIT—in the form of an alleged “investigatory”
letter for more than a year, and no action has been taken.

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                        Main Document    Page 5 of 5



Dated: March 30, 2023                        HOLLAND & KNIGHT LLP

                                             By: /s/ Christopher A. Bailey
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                                             David C. Schulte, TSB 24037456
                                             Christopher Bailey, TSB 24104598
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                                             COUNSEL TO MUCK HOLDINGS, LLC,
                                             JESSUP HOLDINGS LLC, FARALLON
                                             CAPITAL MANAGEMENT, L.L.C., AND
                                             STONEHILL CAPITAL MANAGEMENT LLC



                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was electronically filed with the Clerk

of Court using the CM/ECF system, and served upon all parties receiving notice pursuant to the

CM/ECF system on this the 30th day of March, 2023.


                                                     /s/ Christopher A. Bailey
                                                     Chris Bailey




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Case 19-34054-sgj11               5 03/30/23
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solely in his capacities as Chief Executive Officer of HCMLP and the Claimant Trustee (“Mr.

Seery”, and together with HCMLP and the Trust, the “Highland Parties”), by and through their

undersigned counsel, hereby submit this response (the “Response”) to the Application for

Expedited Hearing on Emergency Motion for Leave to File Verified Adversary Proceeding

[Docket No. 3700] (the “Motion to Expedite”) filed by Hunter Mountain Investment Trust

(“HMIT”). In support of the Response, the Highland Parties represents as follows:

                                                  OBJECTION

         1.       Through its Motion to Expedite, HMIT desperately seeks a lifeline, asking this

Court to (a) hold a hearing on three days’ notice (or as soon thereafter as counsel can be heard) of

its separate motion for leave to commence an adversary proceeding, 1 and (b) require the putative

defendants to provide substantive responses to the Underlying Motion twenty-four hours before

the hearing. Given that the so-called “emergency” is entirely of HMIT’s own making and the

putative defendants would be severally prejudiced by the granting of the Motion to Expedite, the

Court should enforce Rule 7007-1(e) of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (“Local Rule 7007-1”), grant defendants 21

days (i.e., until April 18, 2023) to respond to the Underlying Motion, and otherwise deny the

Motion to Expedite. 2

         2.       HMIT baldly contends that “[g]ood cause exists because of a fast-approaching date

(April 16, 2023) that one or more of the Respondents, as identified in the Emergency Motion, may

argue constitutes the expiration of the statute of limitation concerning some of the common law


1
 See Hunter Mountain Investment Trust’s Emergency Motion for Leave to File an Adversary Proceeding [Docket No.
2699] (the “Underlying Motion”).
2
 Given the scope of the pleadings (and attachments), allegations, and claims, the Highland Parties reserve the right to
seek additional time beyond that provided under Local Rule 7007-1 and to seek discovery prior to any hearing on the
Underlying Motion pursuant to Rule 9014 of the Federal Rules of Bankruptcy Procedure (collectively, the
“Reservations”).



                                                          2
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claims available to the Movant.” Motion to Expedite ¶ 4 (emphasis in original, footnote omitted).

But courts do not exist to protect litigants from the consequences of their own considered,

deliberate decisions.

        3.       Here, it is indisputable that by June 2021, Mark Patrick (HMIT’s titular head) and

James Dondero (HMIT’s actual control person) knew that gatekeeping orders existed because they

were held in contempt of court at that time for violating them. 3 Thus, Messrs. Patrick and Dondero

have known for nearly two years that obtaining leave of court is a prerequisite to pursuing claims

against Mr. Seery.

        4.       It is also indisputable that Mr. Dondero and his myriad lawyers 4 had all the alleged

“information” and formed all the supposed “beliefs” needed to prepare the proposed Complaint

attached to the Underlying Motion because they were the foundation of (a) two self-serving and

materially false letters sent in 2021 to the Executive Office for U.S. Trustees in Washington, D.C.,

and (b) separate petitions filed by Mr. Dondero and HMIT pursuant to Texas Rule of Civil

Procedure 202, each of which was denied.

        5.       In light of the forgoing, the so-called “emergency” is entirely of Mr. Dondero’s

(and HMIT’s) own making. He decided to “commission investigations,” send irresponsible and

false letters to the U.S. Trustee’s office, and file petitions in Texas state court rather than timely

seeking leave of this Court under the “gatekeeper” to pursue claims against Mr. Seery. The Court




3
  HMIT is a supposed investment trust created by Mr. Dondero in 2015 and effectively controlled by him since that
time. HMIT was created to, among other things, accept the transfer of Mr. Dondero and Mark Okada’s interests in
HCMLP and shield the former HCMLP partners from substantial tax liabilities. HMIT is a defendant in the
Litigation Trustee’s action and owes the estate more than $90 million.
4
  Parsons McEntire McCleary PLLC is the third law firm to appear on behalf of HMIT in just the last four months,
following Kelly Hart Pitre [see, e.g., Docket No. 3638] and Mr. Dondero’s long-time personal counsel at Stinson LLP
[see, e.g., Docket No. 3662].



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should not save Mr. Dondero, Mr. Patrick, and HMIT from the consequences of their own

deliberate, strategic decisions.

        6.       To do so would be highly prejudicial to the putative defendants for two simple

reasons. First, because the Underlying Motion is voluminous and seeks permission to assert

numerous and significant (although meritless) claims, the putative defendants should not be

deprived of their rights under Local Rule 7007-1 to have adequate time to analyze the issues and

consider and prepare their responses on the “colorability” issues, and those responses are expected

to be significant. Second, and more fundamentally, the putative defendants would be severely

prejudiced if this Court effectively interfered with affirmative defenses that will ripen shortly.

        7.        For the forgoing reasons, and those set forth below, the Highland Parties

respectfully request that the Court enter an order enforcing Local Rule 7007-1 and denying the

Motion to Expedite, subject to the Reservations.

                                               ARGUMENT

A.      Messrs. Dondero and Patrick Have Long Known of the Gatekeeper

        8.       Messrs. Dondero and Patrick have long known that “gatekeeping” provisions exist

requiring leave of this Court before claims can be pursued against Mr. Seery because:

        •    In June 2021, each of them was found in contempt of court for violating “gatekeeper”
             provisions; 5 and

        •    Entities controlled by Mr. Dondero are using all available means to overturn the
             “gatekeeper” provision in Highland’s Plan. 6




5
  See Memorandum Opinion and Order Holding Certain Parties and Their Attorneys in Civil Contempt of Court for
Violation of Bankruptcy Court Orders [Docket No. 2660], aff’d, Case No. 3:21-cv-01974-X [Docket No. 49] (N.D.
Tex. 2022).
6
 See, e.g., Statement by NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors, L.P. of Issues on
Appeal [Docket No. 3693] ¶3. See generally NexPoint Advisors, L.P. v. Highland Cap. Mgmt., L.P., No. 22-669 (U.S.
Sup. Ct.).



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        9.       Consequently, HMIT cannot claim that it was unaware of the need to seek leave of

this Court before pursuing claims against Mr. Seery.

B.      HMIT’s Alleged “Information and Beliefs” Have Long Been Known

        10.      HMIT’s alleged “information and beliefs” that are the foundation of the Complaint

subject of the Underlying Motion have been known since 2021:

        •     On December 17, 2020, in violation of an existing temporary restraining order, Mr.
              Dondero (then no longer an employee of HCMLP) sent an unsolicited email to Mr.
              Seery (and others) disclosing what he claims was “material, non-public inside
              information” that he obtained in his capacity as a member of the MGM board; 7

        •     In July 2021, Mr. Dondero personally verified a petition in Texas state court in which
              he baselessly alleged that Mr. Seery used material, non-public information to entice his
              “age-old” friends at Farallon to unlawfully purchase claims in order to enrich himself
              [Morris Dec. Ex. A ¶¶20-23];

        •     In October 2021, Douglas Draper sent a 12-page letter (with dozens of pages of
              attachments) to the Executive Office of U.S. Trustees requesting an investigation into,
              among other things, “the circumstances surrounding the sale of claims” by UCC
              members and whether “non-public inside information was furnished to claims
              purchasers” [Morris Dec. Ex. D];

        •     In November 2021, Davor Rukavina sent a 19-page letter (with dozens of pages of
              attachments) to the Executive Office of U.S. Trustee providing more “information”
              about alleged unlawful claims trading, insider trading, and breaches of fiduciary duties
              [Morris Dec. Ex. E];

        •     In May 2022, Mr. Dondero personally verified an amended petition (the “First 202
              Petition”) which added more baseless allegations of supposed wrongdoing that
              ultimately formed the basis for the Complaint subject to the Underlying Motion
              [Morris Dec. Ex. B ¶¶ 17-29];

        •     On June, 1, 2022, the First 202 Petition was denied and the case was dismissed [Morris
              Dec. Ex. C];

        •     In January 2023, HMIT filed a petition (verified by Mr. Patrick) in Texas state court
              (the “Second 202 Petition”) that laid out even more allegations of unlawful claims


7
  See Declaration of James Dondero, sworn to February 15, 2023 [¶ 3, Ex. 1] attached as Exhibit G to the Declaration
of John A. Morris in Support of the Highland Parties’ Objection to Hunter Mountain Investment Trust’s Application
for Expedited Hearing on Emergency Motion for Leave to File Verified Adversary Proceeding (“Morris Dec.”) being
filed simultaneously with this Response.



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               trading, insider trading, and breaches of fiduciary duties that formed the basis for the
               Complaint subject to the Underlying Motion [Morris Dec. Ex. F ¶¶16-24];

         •     In January 2023, Mr. Dondero filed a declaration in support of the Second 202 Petition
               in which he swore under oath to seemingly significant facts that were curiously omitted
               from his original verified petition or his verified amended petition [Compare Morris
               Dec. Ex. G with Morris Dec. Exs. A and B]; and

         •     On March, 8, 2023, the Second 202 Petition was denied and the case was dismissed
               [Morris Dec. Ex. C].

         11.      Based on the forgoing, it is indisputable that Mr. Dondero knew of the bases of

HMIT’s alleged claims no later than 2021. Rather than seeking leave to pursue claims against Mr.

Seery, Mr. Dondero knowingly and intentionally chose to press his allegations to the Executive

Office of the U.S. Trustees and before two different state courts, albeit to no avail. 8

C.       The Defendants Would Be Severely Prejudiced if the Motion to Expedite
         Were Granted

         12.      The putative defendants would be severely prejudiced if the Motion to Expedite

were granted because it would (a) deprive them of the time needed to prepare, and (b) would likely

impair what will otherwise be valid affirmative defenses.

         1.       The Underlying Motion Is Substantial

         13.      While baseless, the Underlying Motion is substantial, with the main pleading

measuring 36 pages long, including 61 footnotes. There are approximately 350 pages of exhibits,

including the draft Verified Adversary Complaint (the “Complaint”).

         14.      The Complaint itself is 28 pages long and purports to assert six causes against five

different defendants. For added measure, HMIT seeks punitive damages and purports to bring

claims derivatively on behalf of HCMLP and the Trust.



8
  To date, the Highland Parties have never received any communications or requests for information from the
Executive Office of the U.S. Trustees or any other branch or office of the United States Trustee concerning any of the
false allegations at issue.



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       15.     The “gatekeeper” exists for a reason. It is intended to prevent third parties from

bringing frivolous claims. The purpose of the “gatekeeper” will be eviscerated if the Highland

Parties are not given adequate time to analyze the potential claims and provide a detailed response.

The Highland Parties will be severely prejudiced if forced to respond on a tightened time frame—

prejudice that cannot possibly be justified under “emergency” circumstances of HMIT’s own

making.

       2.      The Defendants Will Be Prejudiced if the Court Effectively
               Strips an Affirmative Defense from Them

       16.     The sole basis for the Motion to Expedite is that HMIT’s failure to timely bring its

action will supposedly cause the statute of limitations to run on certain causes of action. The Court

should decline HMIT’s plea for a lifeline.

       17.     According to HMIT, the statute of limitations may run on certain causes of action

if the Motion to Expedite is not granted. It is hard to imagine a greater prejudice that could be

imposed on a putative defendant than a court intervening to thwart a complete and valid affirmative

defense that is on the cusp of ripening—particularly where, as here, the “emergency” is of the

plaintiff’s own doing.

                                         CONCLUSION

       WHEREFORE, the Highland Parties respectfully request that the Court enter an order

enforcing Local Rule 7007-1 and denying the Motion to Expedite, subject to the Reservations.




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Dated: March 30, 2023          PACHULSKI STANG ZIEHL & JONES LLP

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                               John A. Morris (NY Bar No. 2405397)
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                               -and-
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                               Counsel for the Highland Parties




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Attorneys for Petitioner Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                      §
                                             §
 HIGHLAND CAPITAL                            §   Chapter 11
 MANAGEMENT, L.P.                            §
                                             §   Case No. 19-34054-sgj11
          Debtor.                            §

   HUNTER MOUNTAIN INVESTMENT TRUST’S REPLY IN SUPPORT OF ITS
   OPPOSED APPLICATION FOR EXPEDITED HEARING AND RESPONSE TO
                OBJECTIONS FILED BY RESPONDENTS

          Hunter Mountain Investment Trust (“HMIT”), Movant, on behalf of itself and

derivatively on behalf of the Reorganized Debtor and the Highland Capital Trust, files

this Reply in Support of its Opposed Application for Expedited Hearing and Response to

the Objections filed by Respondents (“Reply”), which responds to the (1) Objection to


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Hunter Mountain Investment Trust’s Opposed Application for Expedited Hearing on

Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3704) filed by

Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital

Management, LLC (“Farallon”), and Stonehill Capital Management, LLC (“Stonehill”)

(collectively the “Muck/Jessup Objection”) and (2) Objection to Hunter Mountain

Investment Trust’s Opposed Application for Expedited Hearing on Emergency Motion

for Leave to File Verified Adversary Proceeding (Doc. 3707) which states that it is filed

by Highland Capital Management, L.P. (“HCMLP”), the Reorganized Debtor, and the

Highland Claimant Trust (the “Trust”), as well as James P. Seery, Jr. solely in his

capacities as Chief Executive Officer of HCMLP and the Claimant Trustee (“Seery”)

(collectively, the “Objection”). 1 By this Reply in Support of its Opposed Application for

Expedited Hearing (“Application”) (Doc. 3700), HMIT seeks an accelerated hearing on its

Emergency Motion for Leave to File Verified Adversary Proceeding (“Motion”) (Doc.

3699), and states as follows:

A.      Objection Filed by The “Highland Parties”

        1.      The Objection filed on behalf of the so-called “Highland Parties” distorts

the reality and nature of the proposed Adversary Proceeding. HMIT seeks leave to

represent the Reorganized Debtor, Highland Capital Management, L.P. (“Reorganized




1The Objection incorrectly and expediently attempts to recharacterize or limit the capacity in which Mr.
Seery may be sued in the proposed Adversary Proceedings.

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Debtor”) and the Highland Capital Trust (“Claimant Trust”) in a derivative capacity.

They are not defendants against whom any relief is sought; rather, HMIT seeks damages

and other relief on behalf of both the Reorganized Debtor and the Claimant Trust.

       2.     Mr. Morris and the Pachulski law firm should consider whether they have

an apparent conflict in their attempt to represent the Reorganized Debtor and the

Claimant Trust while concurrently representing Mr. Seery in proceedings relating to the

proposed Adversary Proceeding. To the extent Mr. Morris seeks to represent the

Reorganized Debtor and the Claimant Trust in these current proceedings, his attempt to

do so confirms the futility of any further demand to the representatives of the Claimant

Trust or the Reorganized Debtor to prosecute the claims (as set forth in the proposed

Adversary Proceeding) against Mr. Seery and others. No further proof of futility is

needed. The Objection, on its face, reinforces and further confirms the need and propriety

of HMIT’s request to bring this action as a derivative action against Mr. Seery and others.

B.     Weaponized Gatekeeping Order

       3.     One of the principal arguments advanced in the Objection is stunning. The

Objection urges this Court to delay a ruling on HMIT’s Application so Mr. Seery can

develop a potential statute of limitations defense. In essence, counsel is using the Court’s

Gatekeeping orders as a sword to create an opportunity (where none currently exists) to

assert that one or more of the proposed claims are time-barred. To be clear, HMIT is




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seeking to comply with the Court’s Gatekeeping orders, and counsel seeks to punish

HMIT for doing so.

       4.      There should be no doubt that HMIT’s proposed Adversary Proceeding

would be filed already but for HMIT’s efforts to comply with the Court’s Gatekeeping

requirements and the injunction provisions of the Plan. 2 Thus, the Objection is attempting

to abuse the Court’s gatekeeping procedures in a way that betrays any concept of fairness

and justice.

       5.      Furthermore, the Objection, if indulged, will potentially injure the

Reorganized Debtor and the Claimant Trust further indicating an apparent conflict of

interest.

       6.      Mr. Seery’s Objection also continues to distort the relationship between Mr.

Dondero and HMIT. Mr. Dondero is a fact witness in HMIT’s proposed Adversary

Proceeding. The rhetoric about Mr. Dondero and Mr. Patrick is irrelevant and a mere

distraction in the context of the pending Application.

C.     The “Muck, Jessup” Objection

       7.      The Muck/Jessup Objection consists of four pages, three of which are

devoted to rhetoric regarding Jim Dondero that is irrelevant to the issues before the

Court. The Muck/Jessup Objection also states that HMIT’s Rule 202 Proceedings should




2Doc. 1943, The Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as
Modified).

                                             4

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not have been filed, and that HMIT should have requested discovery in these bankruptcy

proceedings. However, as reflected in the transcript attached to HMIT’s Motion for

Leave, at Exhibit 4-B, the decision to pursue Rule 202 discovery in Texas state court was

based on the notion that the process and procedures in state court would be

comparatively less time consuming. Now, Muck, Jessup, Farallon, and Stonehill seek

further unwarranted, self-serving delays.

      8.     Muck, Jessup, Farallon, and Stonehill are familiar with the exhibits attached

to HMIT’s Motion; they are also acutely familiar with the claims identified in HMIT’s

Motion and the proposed Adversary Proceeding. This is because they defended the

recent Rule 202 Proceedings which involved many of the same issues and exhibits. Any

suggestion they need substantially more time to respond is yet another thinly veiled

attempt to fabricate a statute of limitations defense—where none should exist.

D.    Good Cause for an Expedited Hearing

As outlined in the Application and Motion, good causes exists under Rule 9006 of the

Federal Rules of Bankruptcy Procedure to authorize a shortened time for a response and

hearing. The objections focus on criticisms rather than providing the Court with any

compelling arguments against an expedited hearing. Again, an expedited hearing is

intended to benefit the Reorganized Debtor and the Claimant Trust.




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E.    Request for Expedited Hearing

      HMIT again requests that the Court schedule HMIT’s Motion for Leave for the

earliest time convenient to the Court during the week of April 3. HMIT’s request is

reasonable, and it seeks an expedited hearing to avoid creating a potential defense that

would not otherwise exist. Accordingly, HMIT requests its Application be granted.

DATED: March 31, 2023.                         Respectfully Submitted,

                                               PARSONS MCENTIRE MCCLEARY
                                               PLLC

                                               By: /s/ Sawnie A. McEntire
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                                                  Attorneys for Hunter Mountain
                                                  Investment Trust




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                              CERTIFICATE OF SERVICE

     I certify that on the 31st day of March 2023, a true and correct copy of the foregoing
Amended Certificate of Conference was served on all counsel of record via the Court’s
CM/ECF system or, as appropriate, on the Respondents directly.

                                         /s/ Sawnie A. McEntire___________________
                                         Sawnie A. McEntire




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Attorneys for Hunter Mountain Investment Trust
                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
 In re:                                          §
                                                 §
 HIGHLAND CAPITAL                                §   Chapter 11
 MANAGEMENT, L.P.                                §
                                                 §   Case No. 19-34054-sgj11
          Debtor.                                §


           HUNTER MOUNTAIN INVESTMENT TRUST’S NOTICE OF APPEAL
TO THE HONORABLE COURT:

          NOTICE IS HEREBY GIVEN that, pursuant to 28 U.S.C. § 158(a) and Rules 8002,

8003, and 8004 of the Federal Rules of Bankruptcy Procedure, Hunter Mountain Investment Trust

(“HMIT”) hereby appeals to the United States District for the Northern District of Texas from the

Order Denying Opposed Application for Expedited Hearing on its Emergency Motion for Leave

to File Verified Adversary Proceeding [DE #3700] (Doc. 3713) (the “Order”), entered by the

United States Bankruptcy Court for the Northern District on March 31, 2023. A true and correct




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copy of the Order is attached hereto as Exhibit A. Pursuant to Rule 8004, HMIT’s Emergency

Motion for Leave to File Interlocutory Appeal is attached hereto as Exhibit B.

To comply with Official Form 417A, HMIT submits the following:

Part 1: Identify the appellant(s)

      1. Name(s) of appellants:

         Hunter Mountain Investment Trust

      2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject

         of this appeal:

         HMIT is a former equity owner in Debtor and a contingent Claimant Trust Interest

         holder.

Part 2: Identify the subject of this appeal

      1. Describe the judgment, order, or decree appealed from:

         Order Denying Opposed Application for Expedited Hearing on its Emergency Motion

         for Leave to File Verified Adversary Proceeding [DE #3700] (Doc. 3713).

      2. State the date on which the judgment, order, or decree was entered:

         March 31, 2023

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names,

addresses, and telephone numbers of their attorneys (attach additional pages if necessary):

 1.     Party:                             Attorney:

        APPELLEES

        Muck Holdings, LLC, Jessup    HOLLAND & KNIGHT LLP
        Holdings, LLC, Farallon        Brent R. McIlwain, TSB 24013140
        Capital Management, LLC,       David C. Schulte, TSB 24037456
        Stonehill Capital Management, Christopher Bailey, TSB 24104598
        LLC                            Holland & Knight LLP
                                                  2

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       Highland Capital Management,            PACHULSKI STANG ZIEHL & JONES LLP
       L.P., the Highland Claimant             Jeffrey N. Pomerantz (CA Bar No. 143717)
       Trust, and James P. Seery, Jr.,         John A. Morris (NY Bar No. 2405397)
       solely in his capacity as Chief         Gregory V. Demo (NY Bar No. 5371992)
       Executive Officer of Highland           Hayley R. Winograd (NY Bar No. 5612569)
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Part 4: Optional election to have appeal heard by District Court (applicable only in certain
districts)

Not applicable.




1
 The law firm of Pachulski Stang Ziehl & Jones LLP claims to represent Highland Capital Management, LP and
Highland Claimant Trust. However, given the nature of the proceedings at issue, Appellant disagrees and does not
admit that any such representation is substantively or procedurally appropriate in this appeal.

                                                       3

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Part 5: Sign below


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Attorneys for Hunter Mountain Investment Trust



                               CERTIFICATE OF SERVICE

       I, undersigned counsel, hereby certify that a true and correct copy of the above and
foregoing document and all attachments thereto were sent via electronic mail via the Court’s ECF
system to all parties authorized to receive electronic notice in this case on this April 5, 2023.

                                                           /s/ Sawnie A. McEntire
                                                           Sawnie A. McEntire




                                               4

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                        Exhibit B




                                                                          Appx_0422
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Attorneys for Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                     §
                                            §
 HIGHLAND CAPITAL                           §    Chapter 11
 MANAGEMENT, L.P.                           §
                                            §    Case No. 19-34054-sgj11
          Debtor.                           §

   HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
              LEAVE TO FILE INTERLOCUTORY APPEAL

          Hunter Mountain Investment Trust (“HMIT” or “Movant”) files this Emergency

Motion for Leave to File Interlocutory Appeal (“Emergency Motion”) of this Court’s

orders: (1) denying Hunter Mountain Investment Trust’s Opposed Application for

Expedited Hearing on its Emergency Motion for Leave to File Verified Adversary




                                          [1]
                                                                           Appx_0423
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Proceeding (Doc. 3700) 1 (“Expedited Hearing Request”), and (2) requiring HMIT to

contact the Court’s clerk to set a hearing no sooner than April 19, 2023, both of which are

contained in the “Order Denying Application for Expedited Hearing [DE #3700]” (Doc.

3713) (“Order”) entered in this matter on March 31, 2023, 2 and respectfully shows as

follows:

                                         BACKGROUND

          1.   Under the Fifth Amended Plan of Reorganization of Highland Capital

Management, the Bankruptcy Court holds a gatekeeping role with exclusive authority to

predetermine the colorability of any civil action to be brought against “Protected Parties”

(as defined in the confirmed Plan) before such an action can be filed (“Gatekeeping

Order”). 3 The gatekeeping protocol requires the Bankruptcy Court, after notice, to

conduct a hearing upon a motion for leave to file an action, if there is a dispute. 4

          2.   After first attempting to conduct related discovery on an expedited basis in

Texas state court, which was denied, on March 8, 2023, HMIT filed its Emergency Motion




1 Unless otherwise referenced, all references to evidence involving documents filed in the Debtor’s
bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)) are cited by “Doc.” reference. HMIT
asks the Court to take judicial notice of the documents identified by such entries.

2
 A true and correct copy of the Order Denying Application for Expedited Hearing [DE #3700] is attached
hereto as Exhibit 1.

3
 Fifth Amended Plan of Reorganization of Highland Capital Management (Doc. 1808) at Article IX(F), pp.
51-52.

4
    Id.



                                                  [2]
                                                                                           Appx_0424
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for Leave to File Verified Adversary Proceeding (Doc. 3699) (“Emergency Motion For

Leave”), attaching thereto the proposed Verified Adversary Proceeding as Exhibit 1 (Doc.

3699-1) (the “Adversary Proceeding”). 5 The Emergency Motion For Leave and proposed

Adversary Proceeding included lengthy and detailed allegations and evidence

supporting HMIT’s proposed claims. In the proposed Adversary Proceeding, HMIT

seeks to sue in its individual capacity and in a derivative capacity on behalf of the

Reorganized Debtor, Highland Capital Management, L.P. (“HCM” or “Reorganized

Debtor”) and the Highland Claimant Trust (“Claimant Trust”) against Muck Holdings,

LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital Management, LLC

(“Farallon”), Stonehill Capital Management, LLC (“Stonehill”), James P. Seery, Jr.

(“Seery”) and John Doe Defendant Nos. 1-10 (Muck, Jessup, Stonehill, Farallon, Seery and

the John Doe Defendant Nos. 1-10 (collectively, “Proposed Defendants”) asserting, inter

alia, breach of fiduciary duty, aiding and abetting breach of fiduciary duty, unjust

enrichment, and fraud. 6

          3.      On March 28, 2023, HMIT filed its Application for Expedited Hearing on

the Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3700)

(“Application”). The principal justification for the emergency hearing requested in the



5
 A true and correct copy of HMIT’s Emergency Motion for Leave to File Verified Adversary Proceeding
(Doc. 3699), and all attachments, including the proposed Verified Adversary Proceeding attached as Exhibit
1 (Doc. 3699-1) to that motion, is attached hereto as Exhibit 4.

6   See the proposed Adversary Proceeding.



                                                   [3]
                                                                                              Appx_0425
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Application was because of a fast-approaching date (April 16, 2023) that one or more of

the Proposed Defendants will argue constitutes the expiration of the statute of limitations

concerning some of the common law claims available to Movant. Although HMIT

previously offered to enter into tolling agreements with each of the Proposed Defendants

with whom they have successfully contacted, this offer was either rejected or HMIT did

not receive an affirmative agreement to do so. While conferring regarding this Emergency

Motion and HMIT’s related application for expedited hearing on Monday, April 3, 2023,

HMIT reiterated its request for a tolling agreement – but the Proposed Defendants have

either rejected this request or not responded (and are presumed to have rejected it per the

related correspondence) as of the filing of this Emergency Motion. See e-mail

correspondence from Mr. John Morris dated April 2, 2023, with included e-mail chain, a

true and correct copy of which is attached to and incorporated in this Emergency Motion

as Exhibit 2; 7 see also e-mail correspondence from HMIT counsel Roger McCleary to

counsel for Farallon, Stonehill, Muck, and Jessup, dated April 2, 2023, with included e-

mail chain, a true and correct copy of which is attached to and incorporated in this

Emergency Motion as Exhibit 3.



7
 In light of the nature of the proposed proceedings, whereby HMIT proposes to represent the Reorganized
Debtor or the Highland Claimant Trust derivatively, HMIT does not agree with (and does not admit) the
propriety of, the substantive content of, or any procedural need for Mr. Morris’s request to be identified as
counsel for the Reorganized Debtor and Highland Claimant Trust in the certificate of conference related to
this Emergency Motion. Exhibit 2 is attached for the limited purposes of this Emergency Motion and HMIT
makes no admission of any kind in this regard to Exhibit 2.




                                                     [4]
                                                                                                 Appx_0426
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        4.      Accordingly, this Emergency Motion has become necessary. Because the

Emergency Motion For Leave is necessary, given the Bankruptcy Court’s Gatekeeping

Order and the injunction provisions of the Plan, emergency leave is required. Expedited

consideration of the Emergency Motion For Leave and of this Emergency Motion seeking

interlocutory appeal is necessary and appropriate to protect and preserve the rights of

the Reorganized Debtor, the Highland Claimant Trust, and HMIT. 8

        5.      On March 30, 2023, Muck, Jessup, Farallon, and Stonehill filed objections

claiming they needed time to evaluate the claims. The Objection filed on behalf of Mr.

Seery argued that the Court should not grant the Application or agree to an expedited

hearing on the Emergency Motion for Leave, and invited the Court to allow an argument

that limitations bars some of HMIT’s claims without considering the merits (together,

“Objections”). 9

        6.      On March 31, 2023, HMIT filed its Reply In Support of Its Opposed

Application for Expedited Hearing and Response to Objections Filed by Respondents



8  HMIT respectfully requests that this Emergency Motion be addressed and decided on an expedited basis
that provides HMIT sufficient time to bring the proposed action or to seek review/relief timely. In the event
the Court denies the requested relief, HMIT respectfully requests prompt notice of the Court’s ruling to
allow HMIT sufficient time to seek, if necessary, appropriate review/relief. In order to have a fair
opportunity to seek such relief on a timely basis and protect HMIT’s rights and the rights of the
Reorganized Debtor, HMIT anticipates it will need to seek review/relief as soon as possible in the event
HMIT’s application for expedited hearing on this Emergency Motion is not granted on or before April 5,
2023, or in the event this Emergency Motion has not been or cannot be resolved by on or before Monday,
April 10, 2023. However, HMIT reserves its rights to pursue appropriate review/relief at any time.
9
 As stated, despite claiming that they needed more time to evaluate the claims, the Proposed Defendants
refused to enter into a tolling agreement.



                                                     [5]
                                                                                                 Appx_0427
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(Doc. 3712) (“Reply”), stating in reply to the Objections that the Proposed Defendants had

ample notice of the proposed claims because they were the subject of pre-litigation

discovery requests and that the Proposed Defendants should not be allowed to

weaponize the Gatekeeping Order and gatekeeping protocol to fashion a possible

limitations defense (as an attempt to avoid a merits-based consideration of the claims). 10

           7.      Within an hour after HMIT filed its Reply, the Bankruptcy Court entered

the Order denying HMIT’s emergency request and sua sponte ordering HMIT to contact

the Court’s clerk to schedule the hearing no sooner than April 19, 2023. 11

                                     PRELIMINARY STATEMENT

           8.      Since the filing of the Emergency Motion for Leave, HMIT has become

aware of authority holding that the filing of the Emergency Motion for Leave, with the

attached proposed Adversary Proceeding, likely tolls the applicable statutes of

limitations as to at least one of the Proposed Defendants, so that the hearing date set by

the Bankruptcy Court may be irrelevant as to that Proposed Defendant. However, it is

also clear that at least one of the Proposed Defendants does not agree. HMIT still has a

valid concern about the need for an expedited hearing because counsel for Mr. Seery is

aggressively arguing that all Proposed Defendants should be given the advantage of an




10
     HMIT’s Reply is incorporated herein by reference in its entirety.

11
  As stated, one or more of the Proposed Defendants will argue that HMIT’s claims will be barred by
limitations as of April 16, 2023.



                                                       [6]
                                                                                        Appx_0428
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opportunity to argue the running of the applicable statute of limitations. 12 It is also clear

that all of the Proposed Defendants have refused HMIT’s request for a tolling agreement

or refused to respond to the request to do so.

        9.      HMIT therefore finds itself in an incongruous situation. On the one hand,

the filing of the Emergency Motion for Leave likely tolls the running of any applicable

limitations periods as to at least one of the Proposed Defendants. On the other hand,

HMIT’s concerns about the limitations defense are clearly well founded, as Proposed

Defendants’ counsel is otherwise arguing that the Bankruptcy Court should provide all

Proposed Defendants the affirmative defense of limitations by scheduling the

gatekeeping hearing on a date that they claim constitutes the expiration of the limitations

period on various common law claims.

                                   QUESTIONS PRESENTED

        10.     Does the threat of a potential limitations defense potentially barring some

of HMIT’s proposed Adversary Proceeding claims justify an interlocutory appeal of the

Order denying an expedited hearing upon the HMIT Motion for Leave?

        11.     Does the threat of a potential limitations defense potentially barring some

of HMIT’s proposed Adversary Proceeding claims justify an interlocutory appeal of the

Bankruptcy Court’s Order requiring that a hearing be set no sooner than April 19, 2023,



12
  This argument could be extended, of course, to include the assertion that the Bankruptcy Court should
withhold ruling on the Emergency Motion for Leave until all applicable limitations periods have run, and
then deny leave to file the proposed Adversary Proceeding due to the running of the limitations period.


                                                  [7]
                                                                                             Appx_0429
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when it is clear that the Proposed Defendants will argue that at least certain of the claims

in the proposed Adversary Proceeding must be dismissed because of the running of

applicable statutes of limitations as of April 16, 2023 (three days before the Bankruptcy

Court’s scheduled hearing date)?

       12.    Does Newby v. Enron Corp., 542 F.3d 463, 470 (5th Cir. 2008) require a finding

by the Honorable District Court that the filing of the Motion for Leave tolled the

applicable statutes of limitations so that (i) the date of the Bankruptcy Court’s scheduled

hearing on the Emergency Motion for Leave is irrelevant and (ii) therefore, this

Emergency Motion for leave to appeal should be denied?

                                       STANDARD

       13.    An appeal from an interlocutory order or decree of a bankruptcy court is

governed by 28 U.S.C. §158(a)(3). Section 158(a)(3) does not articulate the standard a

district court must use in deciding whether to grant leave in its discretion, but “[c]ourts

in the Fifth Circuit ... have applied 28 U.S.C. § 1292(b), the standard governing

interlocutory appeals generally.” In re Hallwood Energy, L.P., Civ. Action No. 3:12-CV-

1902-G, 2013 WL 524418, at *2 (N.D. Tex. Feb. 11, 2013)(citing In re Ichinose, 946 F.2d 1169,

1177 (5th Cir. 1991)). The decision whether to grant an interlocutory appeal is firmly

within the district court’s discretion. Id.; Ryan v. Flowserve Corp., 444 F.Supp.2d 718, 723-

24 (N.D. Tex. 2006) (internal citation omitted).




                                             [8]
                                                                                  Appx_0430
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       14.     “Section 1292(b) expressly permits a district court to certify an order for

interlocutory appeal only if it ‘involves a controlling question of law as to which there is

substantial ground for difference of opinion and that an immediate appeal from the order

may materially advance the ultimate termination of the litigation.’ 28 U.S.C.A. § 1292(b)

(1994 & Supp. 2005). This terminology was intended to restrict the category of cases

suitable for permissive appeal, but courts have not always agreed on the contours of the

stated limitations. See 16 CHARLES A. WRIGHT, ARTHUR R. MILLER & EDWARD H. COOPER,

FEDERAL PRACTICE AND PROCEDURE § 3929 at 366–67 (2d ed.1996). See generally Ahrenholz

v. Bd. of Trustees of the Univ. of Illinois, 219 F.3d 674, 676 (7th Cir. 2000) (“The [§ 1292(b)

criteria, unfortunately, are not as crystalline as they might be....”). For example, at times,

courts including the Fifth Circuit have held that § 1292(b) appeals are appropriate under

only “exceptional” circumstances or in “big” cases. Clark–Dietz and Associates-Engineers v.

Basic Constr. Co., 702 F.2d 67, 69 (5th Cir.1983) (explaining that interlocutory appeals are

permitted only under “exceptional” circumstances); see Gottesman v. Gen. Motors

Corp., 268 F.2d 194, 196 (2d Cir.1959) (clarifying that certification should be “strictly

limited to the precise conditions stated in the law”); WRIGHT & MILLER, supra, § 3929 at

365 & n. 10 (internal citations omitted) (collecting cases holding interlocutory appeal

appropriate only in “big” or “exceptional” cases). Conversely, at other times courts—the

Fifth Circuit included—have employed a more flexible approach to § 1292(b) appeals.”

Ryan, 444 F. Supp. at 721.



                                              [9]
                                                                                    Appx_0431
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       15.    For more clarification, courts have found substantial ground for difference

of opinion (justifying an interlocutory appeal) where a court order determines a matter

which appears contrary to the rulings of Courts of Appeals which have reached the issue,

if the circuits are in dispute on the question and the Court of Appeals of the circuit has

not yet spoken on the point, if complicated questions arise under foreign law, or if novel

and difficult questions of first impression are presented. Id. at 723-24 (internal citation

omitted). Here, in a case substantially similar to this case, the Fifth Circuit has found that

a court order which requires a proposed claim to be filed more than 21-days in advance

of the limitations date is improper. See, e.g., Newby v. Enron Corp., 542 F.3d 463, 470 (5th

Cir. 2008).

    RELIEF REQUESTED: RIGHT TO INTERLOCUTORY APPEAL SHOULD BE
     GRANTED, OR, ALTERNATIVELY, SHOULD BE DENIED BASED UPON
            NEWBY v. ENRON CORP., 542 F.3d 463, 470 (5th Cir. 2008)

       16.    The controlling issue of law is whether good cause exists to require an

emergency hearing on HMIT’s proposed Adversary Proceeding. Fed. R. Bank P. 9006

(c)(1) authorizes a shortened time for a response and hearing for good cause. As set forth

in its Application seeking an expedited hearing upon its Emergency Motion For Leave,

in addition to a potential limitations consideration, good cause exists and separately

justifies expedited action on the Emergency Motion For Leave, to hasten HMIT’s right to




                                             [10]
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pursue prompt relevant discovery (which the Proposed Defendants refused in pre-

litigation), and reduce the threat of loss of potentially key evidence. 13

        17.     The proposed Adversary Proceeding alleges claims which are substantially

more than “colorable” based upon plausible allegations that the Proposed Defendants,

acting in concert, perpetrated a fraud, including a fraud upon innocent stakeholders, as

well as breaches of fiduciary duties and knowing participation in (or aiding and abetting)

breaches of fiduciary duty. The proposed Adversary Proceeding also alleges that the

Proposed Defendants did so collectively by falsely representing the value of the Debtor’s

Estate, failing to timely disclose accurate values of the Debtor’s Estate, and trading on

material non-public information regarding such values. HMIT also alleges that the

Proposed Defendants colluded to manipulate the Debtor’s Estate—providing Seery the

opportunity to plant close business allies into positions of control to approve Seery’s

compensation demands following the Effective Date.

        18.     Relief upon this Emergency Motion is justified because it is now clear that

one or more of the Proposed Defendants will argue, depending upon choice of law, that

the statute of limitations may bar some of the common law claims, and further that the

Bankruptcy Court should act to assist them in creating a statute of limitations defenses. 14



13
  Upon information and belief, Proposed Defendant Seery has been deleting text messages on his personal
iPhone via a rolling, automatic deletion setting.

14The first insider trade at issue involved the sale and transfer of Claim 23 in the amount of $23 million
held by ACMLD Claim, LLC to Muck on April 16, 2021 (Doc. 2215).



                                                   [11]
                                                                                              Appx_0433
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The proposed Adversary Proceeding seeks to benefit all innocent stakeholders while

working within the terms and provisions of the Plan. Allowing any potential limitations

to bar any of the claims would result in a substantial injustice which far outweighs any

potential harm to the Proposed Defendants. 15 See Newby, 542 F.3d at 470.

          19.     Newby v. Enron held that the district court erred when finding it would not

adjudicate a motion for leave before the applicable statute of limitations ran. In other

words, as shown below, Newby v. Enron held that a motion for leave should be heard

prior to any applicable limitations deadline. While HMIT is under no illusion that the

Bankruptcy Court grounded its ruling in Newby, it is the position of HMIT that perhaps,

in fact, the scheduled hearing date is irrelevant. Counsel for Proposed Defendants has

clearly threatened (i) that the running of the limitations periods continues and (ii) that

Proposed Defendants should be given access to the affirmative defenses through

scheduling (which as stated could easily extend to date of ruling).16




15
  As of December 31, 2022, the Claimant Trust has distributed $255,201,228.15 On a pro rata basis, that means
that innocent creditors have received approximately $22,373,000 in distributions against the stated value of
their allowed claims. That leaves a remaining unpaid balance of approximately $9,627,000. Muck and
Jessup already have received approximately $232.8 million on their Claims. Assuming and original
investment of approximately $160 million, this represents over $72 million in ill-gotten profits that, if
disgorged, would be far more than what is required to fully pay all other innocent creditors - immediately
placing HMIT in the status of a vested Claimant Trust Beneficiary. The benefits to the Reorganized Debtor,
the Claimant Trust and innocent stakeholders are undeniable. Further, under the present circumstances
and time constraints, an interlocutory appeal should be granted to avoid the prospect of the loss of some
of HMIT’s and the Claimant Trust’s claims and denial of due process.

16
     See Highland Parties’ Objection to Expedited Hearing on the Emergency Motion for Leave (Doc. 3707).


                                                    [12]
                                                                                                 Appx_0434
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       20.    Therefore, HMIT briefs the issue of whether the Bankruptcy Court could

facilitate a defendant’s affirmative defense of statute of limitations by delaying

adjudication of HMIT’s motion.

       21.    In Newby v. Enron, a district court enjoined a law firm from filing any new

actions related to a Chapter 11 debtor without leave of court. The law firm then moved

to file 34 lawsuits in state court. There, the motion for leave was filed on October 14, 2005

and the statute of limitations of some of the claims expired on October 17, 2005. The

district court denied the motion, in part finding that these claims would be barred by the

applicable statute of limitations by the time the motion was considered on November 3,

2005. The law firm appealed. The Fifth Circuit explained that:

       The district court was incorrect, however, in denying the motion for leave
       to file suit for the claims that have a four-year statute of limitations. The
       court did not cite any authority for using its own local rules to dictate the
       state’s filing date for purposes of Texas's relation-back principle. In effect,
       the district court was requiring the Fleming Firm either to file a motion for
       leave at least twenty days before the statute of limitations expired—or
       perhaps even earlier if the district court did not rule on the motion in time—
       or to violate the injunction by filing in state court within the limitations
       period. Cf. Schillinger v. Union Pac. R.R. Co., 425 F.3d 330, 334 (7th Cir. 2005)
       (“The logic underlying [using the date of filing for limitations purposes as
       opposed to the date the court rules on the motion] is that defendants are on
       notice of the amendment when the motion is filed and it would be unfair to
       plaintiffs if a trial court waited months or years to rule.”). Thus, the district
       court should have allowed the Texas state courts to decide whether the
       filing of the state petitions relates back to the filing of the motion for leave
       to file suit (for the claims that have a four-year statute of limitations),
       meaning that these claims might not be futile. Because the Fleming Firm
       sought to file these claims before the statute of limitations expired, it is up
       to the state court to determine how to proceed. In sum, the district court
       improperly denied the motion for leave to file the claims involving common


                                             [13]
                                                                                    Appx_0435
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
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                                                         Date Filed: 04/12/2023
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 Exhibit HMIT Emergency Motion for Leave to File Interlocutory Appeal Page 15 of 418



       law fraud and fraud-on-the-market (Count I), statutory fraud (Count III),
       and aiding and abetting common law fraud (Count VI), because these
       claims all have a four-year statute of limitations, and the Fleming Firm
       submitted its motion for leave to file suit before that limitations period
       expired.

Newby v. Enron Corp., 542 F.3d at 470.

       24.        Despite binding precedent that precludes a Bankruptcy Court from

effectively shortening a state law statute of limitations based on its local practice for

setting motions, this is exactly what the Proposed Defendants have asked the Bankruptcy

Court to do (in fact, arguing that if the Bankruptcy Court did not do so, it would

fundamentally prejudice the Proposed Defendants). The Bankruptcy Court did what the

Proposed Defendants asked of it, and therefore, this raises the issue of whether an

interlocutory appeal should be granted to correct any assertion that the Bankruptcy Court

could provide an affirmative defense of statute of limitations through its local motion

practice, or, should be denied on the basis that the Fifth Circuit has already instructed

that it cannot.

                                         PRAYER

       WHEREFORE, PREMISES CONSIDERED, Hunter Mountain Investment Trust

respectfully requests this Court grant HMIT leave to file an interlocutory appeal of the

Order, and all such other and further relief to which HMIT may be justly entitled.

Dated: April 5, 2023.




                                          [14]
                                                                               Appx_0436
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
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                                           Respectfully Submitted,

                                           PARSONS MCENTIRE MCCLEARY
                                           PLLC

                                           By: /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire
                                               Texas State Bar No. 13590100
                                               smcentire@pmmlaw.com
                                               1700 Pacific Avenue, Suite 4400
                                               Dallas, Texas 75201
                                               Telephone: (214) 237-4300
                                               Facsimile: (214) 237-4340

                                               Roger L. McCleary
                                               Texas State Bar No. 13393700
                                               rmccleary@pmmlaw.com
                                               One Riverway, Suite 1800
                                               Houston, Texas 77056
                                               Telephone: (713) 960-7315
                                               Facsimile: (713) 960-7347

                                               Attorneys for Hunter Mountain
                                               Investment Trust




                                        [15]
                                                                              Appx_0437
         Case: 23-10376Doc Document:
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                           CERTIFICATE OF CONFERENCE

        Counsel for Mr. Seery, who also claims to represent the Reorganized Debtor and
the Highland Claimant Trust in these instant proceedings, states that he is opposed to
this Emergency Motion. In light of the nature of the proposed proceedings, whereby
HMIT proposes to represent the Reorganized Debtor and the Highland Claimant Trust
derivatively, HMIT does not agree with (and does not admit) the propriety of or the
substantive content of Mr. Mr. Morris’s requested identification as counsel for the
Reorganized Debtor and the Highland Claimant Trust, but HMIT is filing this certificate
in this manner solely to accommodate Mr. Morris’s request.

      Although we conferred with counsel for the other respondents on April 3, 2023,
we were told they would try to respond by the afternoon of April 3, 2023, but they have
not done so. We, therefore, assume they are opposed to this Emergency Motion.



                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire



                              CERTIFICATE OF SERVICE

       I certify that on the 5th day of April 2023, a true and correct copy of the foregoing
motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire




                                            [16]
                                                                                  Appx_0438
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
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                        Exhibit 1




                                                                           Appx_0439
    Case     Case: 23-10376Doc
     Case19-34054-sgj11
           19-34054-sgj11   DocDocument:
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                                                                           CLERK, U.S. BANKRUPTCY COURT
                                                                            NORTHERN DISTRICT OF TEXAS


                                                                             ENTERED
                                                                             THE DATE OF ENTRY IS ON
                                                                              THE COURT'S DOCKET


The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 31, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  §
      In re:                                                          Chapter 11
                                                                  §
                                                                  §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.          §
                                                                  §


           ORDER DENYING APPLICATION FOR EXPEDITED HEARING [DE # 3700]


               This Order is issued in response to the Application for Expedited Hearing on Emergency

     Motion for Leave to File Verified Adversary Proceeding (“Expedited Haring Request”) [DE #

     3700] filed by Hunter Mountain Investment Trust (“HMIT” or “Movant”) on March 28, 2023, at

     4:09 p.m. C.D.T. The Expedited Hearing Request seeks a hearing within three days, or as soon

     thereafter as counsel can be heard, on HMIT’s Emergency Motion for Leave to File Verified

     Adversary Proceeding (“Motion for Leave”) which was filed on March 28, 2023, at 4:02 p.m.

     C.D.T.



                                                      1

                                                                                            Appx_0440
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 Case19-34054-sgj11
       19-34054-sgj11   DocDocument:
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        The court has concluded that no emergency or other good cause exists, pursuant to Fed.

R. Bankr. Proc. 9006, and the Expedited Hearing Request will be denied. The Motion for Leave

will be set in the ordinary course (after 21 days’ notice to affected parties)—i.e., after April 18,

2023.

        The Motion for Leave is 37 pages in length and contains 350 pages of attachments. It

seeks leave from the bankruptcy court—pursuant to the bankruptcy court’s “gatekeeping” role 1

under the confirmed Chapter 11 plan of Highland Capital Management, L.P. (“Highland” or

“Reorganized Debtor”)—to sue at least the following parties: Muck Holdings, LLC (“Muck”);

Jessup Holdings, LLC (“Jessup”); Farallon Capital Management, LLC (“Farallon”); Stonehill

Capital Management, LLC (“Stonehill”); James P. Seery, Jr. (“Seery”); and John Doe Defendant

Nos. 1-10 (collectively, the “Affected Parties”). The conduct that is described as a basis for the

desired lawsuit is certain trading of unsecured claims that occurred in 2021 during the Highland

bankruptcy case. 2 It appears that millions of dollars of damages are sought by Movant, who was

formerly the largest indirect (ultimate) equity holder of Highland. The legal theories (e.g.,

breaches of fiduciary duties; fraud; conspiracy; equitable disallowance) are novel in the

bankruptcy claims trading context. The bankruptcy court, pursuant to the Highland plan, will

need to analyze whether such claims are “colorable” such that leave to sue should be granted.

        The Affected Parties—and other parties in interest in the underlying bankruptcy case, for

that matter—should be afforded a reasonable opportunity to respond to the Motion for Leave.

While Movant, HMIT, has alleged that it may be facing a statute of limitations defense as to


1
  The bankruptcy court’s “gatekeeping” role was recently affirmed by the Fifth Circuit in In re Highland Capital
Management, L.P., 48 F.4th 419, 438 (5th Cir. 2022).
2
  Notice of the claims trading was provided in filings in Highland bankruptcy case, as follows: Claim No. 23 (DE ##
2211, 2212, and 2215), Claim Nos. 190 and 191 (DE ## 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153 and
154 (DE # 2263), Claim No. 81 (DE # 2262), Claim No. 72 (DE # 2261).

                                                         2

                                                                                                      Appx_0441
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 Exhibit HMIT Emergency Motion
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some claims after April 16, 2023, it appears that Movant has known about the conduct

underlying the desired lawsuit for well over a year, based on activity that has occurred in the

bankruptcy court. See, e.g., Memorandum Opinion and Order Granting James Dondero’s

Motion to Remand Adversary Proceeding to State Court, Denying Fee Reimbursement Request,

and Related Rulings, Dondero v. Alvarez & Marsal CRF Management, LLC and Farallon

Capital Management LLC [DE # 22], in Adv. Proc. # 21-03051 (January 4, 2022). Thus, the

need for an emergency hearing is dubious. Accordingly

       IT IS ORDERED that the Expedited Hearing Request is denied.

       Counsel shall contact the Courtroom Deputy for a setting on the Motion for Leave, which

setting shall be no sooner than April 19, 2023.

                                      * * * END OF ORDER * * *




                                                  3

                                                                                         Appx_0442
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
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                         Exhibit 2




                                                                           Appx_0443
Case 19-34054-sgj11
         Case: 23-10376Doc Document:
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                                          Page: 448 Entered    04/05/23
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 Exhibit HMIT Emergency Motion for Leave to File Interlocutory Appeal Page 23 of 418


  From:                     John A. Morris
  To:                       Roger L. McClea,y
  Cc:                       Jeff Pomerantz; Greqo,y V. Demo; Sawnie A. McEntire
  Subject:                  [EXTERNAL] RE: Meet and Confer on HMIT Emergency Motion/Application and follow-up request for tolling
                            agreement
  Date:                     Monday, April 3, 2023 12:54:54 PM
  Attachments:              imaqe002.pnq


  Roger,


  Highland Capital Management, L.P. ("HCMLP"), the Highland Claimant Trust (the "Trust"), and Mr.
  Seery, in his capacity as CEO of Highland and Claimant Trustee (together, the "Highland Parties"), all
  oppose the relief requested in item 1 below.


  To eliminate any question, HCMLP and the Trust (like all parties in interest) had the right to be heard
  on the underlying Emergency Motion pursuant to 11 U.S.C. §1109(b), and have the right to be heard
  on the matters referenced below. We therefore request that you inform the Court in your
  certificate of conference that HCM LP and the Trust are opposed to the relief to be requested.


  Finally, the Highland Parties decline to agree to toll any statutes of limitation.


  Regards,


  John
  John A. Morris
  Pachulski Stang Ziehl & Jones LLP
  Direct Dial: 212.561.7760
  Tel: 212.561.7700 I Fax: 212.561.7777
  jmorris@pszjlaw.com
  vCard    I Bio I Linkedln

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  I


  I


  Los Angeles   I San   Francisco   I Wilmington,   DE   I New York I Houston


  From: Roger L. McCleary [mailto:rmccleary@pmmlaw.com]
  Sent: Monday, April 3, 2023 1:19 PM
  To: John A. Morris <jmorris@pszjlaw.com>
  Cc: Jeff Pomerantz <jpomerantz@pszjlaw.com>; Gregory V. Demo <GDemo@pszjlaw.com>; Sawnie
  A.McEntire<smcentire@pmmlaw.com>
  Subject: Meet and Confer on HMIT Emergency Motion/Application and follow-up request for tolling
  agreement




                                                                                                                              Appx_0444
Case 19-34054-sgj11
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 Exhibit HMIT Emergency Motion for Leave to File Interlocutory Appeal Page 24 of 418


  John,


            In follow-up to our phone call and conference this morning, we look forward to
   hearing from you regarding:


      1. Whether Mr. Seery is opposed, regarding Judge Jernigan's Order Denying Application
          for Expedited Hearing (Doc. 3713} late Friday afternoon, to (a) an emergency motion for
          expedited leave for interlocutory appeal; and, (b) a related emergency application for
          expedited hearing on the same (collectively "Emergency Motion/Application");


      2. Whether Mr. Seery will agree to a tolling agreement regarding all claims and causes of
          action asserted in or related to the claims, causes of action, and matters that are the
          subject of the proposed adversary complaint (Doc. 3699-1}, attached as Exhibit 1 to
          Hunter Mountain Investment Trust's Emergency Motion for Leave to File Verified
          Adversary Proceeding (Doc. 3699} ("Motion for Leave to File Adversary Proceeding"},
          until 14 days (we propose) after a final ruling on the Motion for Leave to File Adversary
          Proceeding and exhaustion of all related appeal(s) and/or mandamus(es).


      We understand you are attempting to contact Mr. Seery regarding the above and to
   respond by mid-afternoon today, if possible. If we have not heard from you before we file the
   Emergency Motion/Application, we will note in the certificate of conference that we reached
   out to you; we have not heard back from you; and we presume Mr. Seery is opposed - as you
   suggested.


   Thank you, Roger.

   Roger L. McCleary
   Parsons McEntire McCleary PLLC
   One Riverway, Suite 1800
   Houston, TX 77056
   Tel: (713) 960-7305
   Fax: (832) 742-7387
   www.pmmclaw.com

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                         Exhibit 3




                                                                           Appx_0446
Case 19-34054-sgj11
         Case: 23-10376Doc Document:
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                                          Page: 451 Entered    04/05/23
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 Exhibit HMIT Emergency Motion for Leave to File Interlocutory Appeal Page 26 of 418


  From:                Roger L. McCleary
  To:                  Mcilwain. Brent R (DAL - X59481); Schulte. David C (DAL - X59419)
  Cc:                  Sawnie A. McEntire
  Subject:             Meet and Confer on HMIT Emergency Motion/Application and follow-up request for tolling agreement and
                       information
   Date:               Monday, April 3, 2023 2:44:09 PM


  Brent and David,


              This follows our conversation this morning and addresses some of the topics we
  addressed. We request that you respond as soon as possible today regarding the following:


             1.   Please let us know if your clients will voluntarily identify and provide service of
                  process information for any and all affiliates, if any, of Farallon Capital
                  Management, LLC ("Farallon"), Stonehill Capital Management, LLC ("Stonehill"),
                  Muck Holdings, LLC ("Muck"); and/or Jessup Holdings, LLC ("Jessup"), in the chain
                  of sale or other transfer of one or more of the Claims that are the subject of and
                  described in Hunter Mountain Investment Trust's proposed adversary complaint
                  (Doc. 3699-1), attached as Exhibit 1 to Hunter Mountain Investment Trust's
                  Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3699)
                  ("Motion for Leave to File Adversary Proceeding"). If so, we request that easily
                  provided information be provided to us by return e-mail as soon as possible. If
                  there are none, we request that you confirm this on behalf of your clients by return
                  e-mail as soon as possible;


             2.   Whether Farallon, Stonehill, Muck, Jessup, and/or John Does 1-10 (to the extent
                  they exist and may be applicable) are opposed, regarding Judge Jernigan's Order
                  Denying Application for Expedited Hearing (Doc. 3713) late Friday afternoon, to (a)
                  an emergency motion for expedited leave for interlocutory appeal; and, (b) a
                  related emergency application for expedited hearing on the same (collectively
                  "Emergency Motion/Application");


             3.   Whether Farallon, Stonehill, Muck, Jessup, and/or John Does 1-10 (to the extent
                  they exist and may be applicable) will agree to a tolling agreement regarding all
                  claims and causes of action asserted in or related to the claims, causes of action,
                  and matters that are the subject of the proposed adversary complaint (Doc. 3699-
                  1), attached as Exhibit 1 to the Motion for Leave to File Adversary Proceeding, until
                  14 days (we propose) after a final ruling on the Motion for Leave to File Adversary
                  Proceeding and exhaustion of all related appeal(s) and/or mandamus(es).


             We understand you will attempt to respond by this afternoon today, if possible. If we
   have not heard from you before we file the Emergency Motion/Application, we will note in the
   certificate of conference that we reached out to you; we have not heard back from you; and




                                                                                                                          Appx_0447
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  we presume your clients are opposed to the Emergency Motion/Application; that they do not
  agree to a tolling agreement of any kind regarding item 3 above, and that they do not agree to
  provide the information requested in item 1 above.


  Thank you, Roger.

  Roger L. McCleary
  Parsons McEntire McCleary PLLC
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  Houston, TX 77056
  Tel: (713) 960-7305
  Fax: (832) 742-7387
  www.pmmclaw.com

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                        Exhibit 4




                                                                           Appx_0449
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Facsimile: (713) 960-7347
Attorneys for Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                     §
                                            §
 HIGHLAND CAPITAL                           §    Chapter 11
 MANAGEMENT, L.P.                           §
                                            §    Case No. 19-34054-sgj11
          Debtor.                           §

   HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
           LEAVE TO FILE VERIFIED ADVERARY PROCEEDING

          Hunter Mountain Investment Trust (“HMIT”), Movant, files this Emergency

Motion for Leave to File Verified Adversary Proceeding (“Motion”), both in its individual

capacity and as a derivative action on behalf of the Reorganized Debtor, Highland Capital

Management, L.P. (“HCM” or “Reorganized Debtor”) and the Highland Claimant Trust

against Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon


                                           [1]
                                                                               Appx_0450
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                            3699 Filed 5 03/28/23
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Capital     Management,         LLC    (“Farallon”), Stonehill      Capital Management,          LLC

(“Stonehill”), James P. Seery, Jr. (“Seery”) and John Doe Defendant Nos. 1-10 (Muck,

Jessup, Stonehill, Farallon, Seery and the John Doe Defendant Nos. 11-10 are collectively

“Respondents” or “Proposed Defendants”).

                           I.         Good Cause for Expedited Relief

       1.      HMIT seeks leave to file an Adversary Proceeding pursuant to the Court’s

“gatekeeping” orders, as well as the injunction and exculpation provisions in the Fifth

Amended Plan of Reorganization of Highland Capital Management, L.P. (Doc. 1943), as

modified (the “Plan”). 1 A copy of HMIT’s proposed Verified Adversary Proceeding

(“Adversary Proceeding”) is attached as Exhibit 1 to this Motion. This Motion is

separately supported by objective evidence derived from historical filings in the

bankruptcy proceedings, 2 as well as the declarations of James Dondero, dated May 2022

(Ex. 2), James Dondero, dated February 2023 (Ex. 3), and Sawnie A. McEntire with

attached evidence (Ex. 4). 3




1The exculpation provisions were recently modified by a decision of the Fifth Circuit. Such provisions
apply to James P. Seery, Jr. only and are limited to his capacity as an Independent Director. Matter of
Highland Cap. Mgmt., L.P., 48 F.4th 419, 438 (5th Cir. 2022).
2 Unless otherwise referenced, all references to evidence involving documents filed in the Debtor’s
bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)) are cited by “Doc.” reference. HMIT
asks the Court to take judicial notice of the documents identified by such entries.
3The supporting declarations will be cited as Dondero 2022 Dec. (Ex. 2), Dondero 2023 Dec. (Ex. 3), and
McEntire Dec. (Ex. 4).



                                                  [2]
                                                                                           Appx_0451
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       19-34054-sgj11   DocDocument:
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                            3699 Filed 5 03/28/23
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                                                      3 of 37 Appeal Page 31 of 418



        2.       The expedited nature of this Motion is permitted under Fed. R. Bank P. 9006

(c)(1), which authorizes a shortened time for a response and hearing for good cause. For

the reasons set forth herein, HMIT has shown good cause and requests that the Court

schedule a hearing on this Motion on three (3) days’ notice, and that any responses be

filed no later than twenty-four hours before the scheduled hearing. 4

        3.       HMIT brings this Motion on behalf of itself and derivatively on behalf of

the Reorganized Debtor and the Highland Claimant Trust (“Claimant Trust”), as defined

in the Claimant Trust Agreement (Doc. 3521-5) (“CTA”). 5 Upon the Plan’s Effective Date,

Highland Capital Management, LP, as the original Debtor (“Original Debtor”),

transferred its assets, including its causes of action, to the Claimant Trust, including the

causes of action set forth in the attached Adversary Proceeding. The attached Adversary

Proceeding alleges claims which are substantially more than “colorable” based upon

plausible allegations that the Proposed Defendants, acting in concert, perpetrated a

fraud, 6 including a fraud upon innocent stakeholders, as well as breaches of fiduciary




4Expedited action on this Motion is also warranted to hasten Movants’ opportunity to file suit, pursue
prompt relevant discovery, and reduce the threat of loss of potentially key evidence. Upon information and
belief, Seery has been deleting text messages on his personal iPhone via a rolling, automatic deletion setting.
5Solely in the alternative, and in the unlikely event HMIT’s proposed causes of actions against Seery,
Stonehill, Farallon, Muck, and/or Jessup are considered to be “Estate Claims” as those terms are used and
defined within the CTA and Exhibit A to the Notice of Final Term Sheet [Docket No. 354] in HCM’s
bankruptcy (and without admitting the same), HMIT alternatively seeks standing to bring this action as a
derivative action on behalf of the Litigation Sub-Trust as appropriate.
6Neither this Motion nor the proposed Adversary Complaint seeks to challenge the Court’s Orders or the
Plan. In addition, neither this Motion nor the proposed Adversary Complaint seeks to redistribute the
assets of the Claimant Trust in a manner that would adversely impact innocent creditors. Rather, the


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duties and knowing participation in (or aiding and abetting) breaches of fiduciary duty.

The Adversary Proceeding also alleges that the Proposed Defendants did so collectively

by falsely representing the value of the Debtor’s Estate, failing to timely disclose accurate

values of the Debtor’s Estate, and trading on material non-public information regarding

such values. HMIT also alleges that the Proposed Defendants colluded to manipulate the

Debtor’s Estate—providing Seery the opportunity to plant close business allies into

positions of control to approve Seery’s compensation demands following the Effective

Date.

        4.       Emergency relief is needed because of a fast-approaching date (April 16,

2023) that one or more of the Proposed Defendants may argue, depending upon choice of

law, constitutes the expiration of the statute of limitations concerning some of the

common law claims available to the Claimant Trust, as well as to HMIT. 7 Although HMIT

offered to enter tolling agreements from each of the Proposed Defendants, they either

rejected HMIT’s requests or have not confirmed their willingness to do so, thereby

necessitating the expedited nature of this Motion. 8 Because this Motion is subject to the


proposed Adversary Proceeding seeks to benefit all innocent stakeholders while working within the terms
and provisions of the Plan, as well as the Claimant Trust Agreement.
7The first insider trade at issue involved the sale and transfer of Claim 23 in the amount of $23 million held
by ACMLD Claim, LLC to Muck on April 16, 2021 (Doc. 2215).
8HMIT has been diligent in its efforts to investigate the claims described in this Motion, including the filing
of a Tex. R. Civ. P. Rule 202 proceeding in January 2023, which was not adjudicated until recently in March
2023. Those proceeding were conducted in the 191st Judicial District Court in Dallas County, Texas, under
Cause DC-23-01004. See McEntire Dec. Ex. 4 and the attached Ex. 4-A. Farallon and Stonehill defended
those proceedings by aggressively arguing, in significant part, that the discovery issues were better
undertaken in this Court.8 The Rule 202 Petition was recently dismissed (necessarily without prejudice)


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Court’s “gatekeeping” orders and the injunction provisions of the Plan, emergency leave

is required.

          5.       This Motion will come as no surprise to the Proposed Defendants. Farallon

and Stonehill were involved in recent pre-suit discovery proceedings under Rule 202 of

the Texas Rules of Civil Procedure relating to the same insider trading allegations

described in this Motion. Muck and Jessup, special purpose entities created and

ostensibly controlled by Farallon and Stonehill, respectively, also were provided notice

of these Rule 202 Proceedings in February 2023. 9 Like this Motion, the Rule 202

Proceedings focused on Muck, Jessup, Farallon, and Stonehill and their wrongful

purchase of large, allowed claims in the Original Debtor’s bankruptcy based upon

material non-public information. Seery is also aware of these insider trading allegations

because of a prior written demand.

          6.       In light of the Proposed Defendants’ apparent refusal to enter tolling

agreements, or their failure to fully affirm their willingness to do so, HMIT is forced to

seek emergency relief from this Court to proceed timely with the proposed Adversary

Proceeding before the expiration of any arguable limitations period. 10



on March 8, 2023, ostensibly based on such arguments. However, it is telling that Stonehill and Farallon
admitted during the Rule 202 Proceedings to their “affiliation” with Muck and Jessup and that they bought
the Claims through these entities.
9   See Dec. of Sawnie McEntire, Ex. 4.
10HMIT respectfully requests that this Motion be addressed and decided on an expedited basis that
provides HMIT sufficient time to bring the proposed action timely. In the event the Court denies the
requested relief, HMIT respectfully requests prompt notice of the Court’s ruling to allow HMIT sufficient


                                                   [5]
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                                    II.      Summary of Claims

        7.      HMIT requests leave to commence the proposed Adversary Proceeding,

attached as Exhibit 1, seeking redress for breaches of duty owed to HMIT, breaches of

duties owed to the Original Debtor’s Estate, aiding and abetting breaches of those

fiduciary duties, conspiracy, unjust enrichment, and fraud. HMIT also alleges several

viable remedies, including (i) imposition of a constructive trust; (ii) equitable

disallowance of any unpaid balance on the claims at issue; 11 (iii) disgorgement of ill-

gotten profits (received by Farallon, Stonehill, Muck and Jessup) to be restituted to the

Claimant Trust; (iv) disgorgement of ill-gotten compensation (received by Seery) to be

restituted to the Claimant Trust; (v) declaratory judgment relief; (vi) actual damages; and

(vii) punitive damages.

                                           III.    Standing

        8.      HMIT. Prior to the Plan’s Effective Date, HMIT was the largest equity

holder in the Original Debtor and held a 99.5% limited partnership interest. HMIT

currently holds a Class 10 Claim as a contingent Claimant Trust Interest under the CTA




time to seek, if necessary, appropriate relief in the United States District Court. In order to have a fair
opportunity to seek such relief on a timely basis and protect HMIT’s rights and the rights of the
Reorganized Debtor, HMIT will need to seek such relief on or before Wednesday, April 5, 2023, if this
Motion has not been resolved.
11In the alternative only, subordination of Muck’s and Jessup’s General Unsecured Claim Trust Interests
and Subordinated Claim Trust Interests to all other interests in the Claimant Trust, including HMIT’s
Contingent Trust Interest, is necessary and appropriate to remedy Muck’s and Jessup’s wrongful conduct,
and is also consistent with the purposes of the Bankruptcy Code.



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(Doc. 3521-5). Upon information and belief, all conditions precedent to HMIT’s

certification as a vested Claimant Trust Beneficiary would be readily satisfied but for the

Defendants’ wrongful actions and conduct described in this Motion and the attached

Adversary Proceeding.

        9.      Reorganized Debtor. Although HMIT has standing as a former Class B/C

Equity Holder, Class 10 claimant, and now contingent Claimant Trust Interest under the

CTA, 12 this Motion separately seeks authorization to prosecute the Adversary Proceeding

derivatively on behalf of the Reorganized Debtor and Claimant Trust. All conditions

precedent to bringing a derivative action are satisfied.

        10.     Fed. R. Civ. P. 23.1 provides the procedural steps for “derivative actions,”

and applies to this proceeding pursuant to Fed. R. Bank. P. 7023.1. Applying Rule 7023.1,

the Proposed Defendants’ wrongful conduct occurred, and the improper trades

consummated, in the spring and early summer of 2021, before the Effective Date in

August 2021. During this period, HMIT was the 99.5% Class B/C limited partner in the

original Debtor. As such, HMIT has individual standing to bring this action because Seery

owed fiduciary duties directly to HMIT at that time, and the other Proposed Defendants

aided and abetted breaches of those duties at that time.




12The last transaction at issue involved Claim 190, the Notice for which was filed on August 9, 2021. (Doc.
2698).



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              11.    The derivative nature of this proceeding is also appropriate because any

demand on Seery would be futile. 13 Seery is the Claimant Trustee under the terms of the

CTA. Furthermore, any demand on the Oversight Board to prosecute these claims would

be equally futile because Muck and Jessup, both of whom are Proposed Defendants,

dominate the Oversight Board. 14

              12.    The “classic example” of a proper derivative action is when a debtor-in-

possession is “unable or unwilling to fulfill its obligations” to prosecute an otherwise

colorable claim where a conflict of interest exists. Cooper, 405 B.R. at 815 (quoting Louisiana

World, 858 F.2d at 252). Here, because HMIT’s proposed Adversary Proceeding includes

claims against Seery, Muck, and Jessup, the conflicts of interest are undeniable. Seery is

the Trustee of the Claimant Trust Assets under the CTA, and he also serves as the “Estate

Representative.” 15 Muck and Jessup, as successors to Acis, the Redeemer Committee and

UBS, effectively control the Oversight Board, with the responsibility to “monitor and

oversee the administration of the Claimant Trust and the Claimant Trustee’s performance

. . . .” 16




13Any demand on the Litigation Sub-Trust would be equally futile for the same reasons addressed herein,
since the Litigation Trustee serves at the direction of the Oversight Board.
14See Footnote 8, infra. In December 2021, several stakeholders made a demand on the Debtor through
James Seery, in his capacity as Trustee to the Claimant Trust, to pursue claims related to these insider
trades.
15   See Claimant Trust Agreement (Doc. 3521-5), Sec. 3.11.
16   Id. at Sec. 4.2(a) and (b).



                                                      [8]
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        13.      Creditors’ committees frequently bring suit on behalf of bankruptcy estates.

Yet, it is clear that any appropriately designated party also may bring derivative claims.

In re Reserve Prod., Inc., 232 B.R. 899, 902 (Bankr. E.D. Tex. 1999) (citations omitted); see In

re Enron Corp., 319 B.R. 128, 131 (Bankr. S.D. Tex. 2004). As this Court has held in In Re

Cooper:

        In Chapter 11 [cases], there is both a textual basis . . . and, frequently, a non-
        textual, equitable rationale for granting a creditor or creditors committee
        derivative standing to pursue estate actions (i.e., the equitable rationale
        coming into play when the debtor-in-possession has a conflict of interest in
        pursuing an action, such as in the situation of an insider-defendant).

In re Cooper, 405 B.R. 801, 803 (Bankr. N.D. Tex. 2009) (also noting that “[c]onflicts of

interest are, of course, frequently encountered in Chapter 11, where the metaphor of the

‘fox guarding the hen house’ is often apropos”); see also In re McConnell, 122 B.R. 41, 43-

44 (Bankr. S.D. Tex. 1989) (“[I]ndividual creditors can also act in lieu of the trustee or

debtor-in-possession . . . .”). Here, the Proposed Defendants are the “foxes guarding the hen

house,” and their conflicts of interest abound. 17 Proceeding in a derivative capacity is

necessary, if not critical.




17See Citicorp Venture Cap., Ltd. v. Comm. of Creditors Holding Unsecured Claims, 160 F.3d 982, 987 (3d Cir.
1998) (settlement noteholders purchased Debtors’ securities with “the benefit of non-public information
acquired as a fiduciary” for the “dual purpose of making a profit and influenc[ing] the reorganization in
[their] own self-interest.”), see also, Wolf v. Weinstein, 372 U.S. 633, 642, 83 S.Ct. 969, 10 L.Ed.2d 33 (1963)
(“Access to inside information or strategic position in a corporate reorganization renders the temptation to
profit by trading in the Debtor's stock particularly pernicious.”).



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        14.     The proposed Adversary Proceeding also sets forth claims that readily

satisfy the Court’s threshold standards requiring “colorable” claims, as well as the

requirements for a derivative action. This Motion, which is supported by objective

evidence contained in historical filings in the bankruptcy proceedings, also incorporates

sworn declarations. At the very least, this additional evidence satisfies the Court’s

threshold requirements of willful misconduct and fraud set forth in the “gatekeeping”

orders, as well as the injunction and exculpation provisions in the Plan. 18 This evidence

also supports well-pleaded allegations exempted from the scope of the releases included

in the Plan.

        15.     HMIT is an appropriate party to bring this action on behalf of the

Reorganized Debtor and the Claimant Trust. If successful, the Adversary Proceeding will

likely recover well over $100 million for the Claimant Trust, thereby enabling the

Reorganized Debtor and Claimant Trust to pay off any remaining innocent creditors and

make significant distributions to HMIT as a vested Claimant Trust Beneficiary.

        16.     As of December 31, 2022, the Claimant Trust had distributed 64.2% of the

total $397,485,568 par value of all Class 8 and Class 9 unsecured creditor claims. The




18HMIT recognizes that it is an “Enjoined Party” under the Plan. The Plan requires a showing, inter alia, of
bad faith, willful misconduct, or fraud against a “Protected Party.” Seery is a “Protected Party” and an
“Exculpated Party” in his capacity as an Independent Director. Muck and Jessup may be “Protected Parties”
as members of the Oversight Committee, but they were not “protected” when they purchased the Claims
before the Effective Date. While it is HMIT’s position that Farallon and Stonehill do not qualify as
“Protected Parties,” they are included in this Motion in the interest of judicial economy.



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Claims acquired by Muck and Jessup have an allowed par value of $365,000,000. Based

on these numbers, the innocent unsecured creditors hold approximately $32 million in

allowed claims. 19

           17.    As of December 31, 2022, the Claimant Trust has distributed $255,201,228. 20

On a pro rata basis, that means that innocent creditors have received approximately

$22,373,000 in distributions against the stated value of their allowed claims. That leaves

a remaining unpaid balance of approximately $9,627,000.

           18.    Muck and Jessup already have received approximately $232.8 million on

their Claims. Assuming and original investment of approximately $160 million, this

represents over $72 million in ill-gotten profits that, if disgorged, would be far more than

what is required to fully pay all other innocent creditors - immediately placing HMIT in

the status of a vested Claimant Trust Beneficiary. The benefits to the Reorganized Debtor,

the Claimant Trust and innocent stakeholders are undeniable. 21

           19.    Seery and the Oversight Board should be estopped from challenging

HMIT’s status to bring this derivative action on behalf of the Claimant Trust. Seery, Muck

and Jessup have committed fraud, acted in bad faith and have unclean hands, and they

should not be allowed to undermine the proposed Adversary Proceeding - which seeks



19   Doc. 3653.
20   Id.
21Further, under the present circumstances and time constraints, this Motion should be granted to avoid
the prospect of the loss of some of HMIT’s and the Claimant Trust’s claims and denial of due process.



                                                 [11]
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to rectify significant wrongdoing. To hold otherwise would allow Seery, Muck, Jessup,

Stonehill, and Farallon the opportunity to not just “guard the hen house,” but to also open

the door and take what they want. 22 HMIT seeks a declaratory judgment of its rights,

accordingly.

                                  IV.      The Proposed Defendants

        20.      Seery acted in several capacities during relevant times. He served as the

Debtor’s Chief Executive Officer (“CEO”) and Chief Restructuring Officer (“CRO”). He

also served as member of the Debtor’s Independent Board. 23 He currently serves as

Claimant Trustee under the CTA and remains the CEO of the Reorganized Debtor.

        21.      There is no doubt Seery owed the Original Debtor’s Estate, as well as equity,

fiduciary duties, including the duty of loyalty and the duty to avoid conflicts of interest.

See In re Xtreme Power Inc., 563 B.R. 614, 632-33 (Bankr. W.D. Tex. 2016) (detailing

fiduciary duties owed by corporate officers and directors under Delaware law); Louisiana

World, 858 F.2d at 245-46 (detailing duties owed by debtors-in-possession). 24


22“The doctrine of ‘unclean hands’ provides that “a litigant who engages in reprehensible conduct in
relation to the matter in controversy ... forfeits his right to have the court hear his claim, regardless of its
merit. [T]he purpose of the clean hands maxim is to protect the court against misuse by one who, because
of his conduct, has forfeited his right to have the court consider his claims, regardless of their merit. As
such it is not a matter of defense to be applied on behalf of a litigant; rather it is a rule of public policy.”
Portnoy v. Cryo-Cell Int'l, Inc., 940 A.2d 43, 80–81 (Del. Ch. 2008) (citations omitted) (internal quotations
omitted for clarity).
23Seery is the beneficiary of the Court’s “gatekeeping” orders and is an “exculpated” party in his capacity
as an Independent Director. He is also a “Protected Party.”
24The Internal Affairs Doctrine dictates choice of law. Here, the Debtor, Highland Capital Management,
was organized under the law of Delaware. As much, Seery’s fiduciary duties and claims involving breaches
of those duties will be governed by Delaware law.



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           22.      Farallon and Stonehill are capital management companies which manage

hedge funds; they are also Seery’s close business allies with a long history of business

ventures and close affiliation. Although they were strangers to the Original Debtor’s

bankruptcy on the petition date, and were not original creditors, they became entangled

in this bankruptcy at Seery’s invitation and encouragement—and then knowingly

participated in the wrongful insider trades at issue. By doing so, Seery was able to plant

friendly allies onto the Oversight Board to rubber stamp compensation demands. The

proposed Adversary Proceeding alleges that Farallon and Stonehill bargained to receive

handsome pay days in exchange.

           23.      Muck and Jessup are special purpose entities, admittedly created by

Farallon and Stonehill on the eve of the alleged insider trades, and they were used as

vehicles to assume ownership of the purchased claims. 25 The record is clear that Muck

and Jessup did not exist before confirmation of the Plan in February 2021. 26 Now,

however, Muck and Jessup serve on the Oversight Board with immense powers under

the CTA. 27 When they purchased the claims at issue, Muck and Jessup were not acting in

their official capacities on the Oversight Committee and, therefore, they were not

“Protected Persons” under the Plan.



25   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
26See McEntire Dec., Ex. 4, Ex. 4-D, Ex. 4-E. Muck was created on March 9, 2021 before the Effective Date.
Jessup was created on April 8, 2021, before the Effective Date.
27   See Doc. 3521-5, Sec. 4(a) and 4(b).



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           24.      By trading on the alleged material non-public information, Farallon,

Stonehill, Muck, and Jessup became non-statutory “insiders” with duties owed directly

to HMIT at a time when HMIT was the largest equity holder. 28 See S.E.C. v. Cuban, 620

F.3d 551, 554 (5th Cir. 2010) (“The corporate insider is under a duty to ‘disclose or

abstain’—he must tell the shareholders of his knowledge and intention to trade or abstain

from trading altogether.”). In this context, there is no credible doubt that Farallon’s and

Stonehill’s dealings with Seery were not arms-length. Again, Farallon and Stonehill were

Seery’s past business partners and close allies. 29 By virtue of the insider trades at issue,

Farallon and Stonehill acquired control (acting through Muck and Jessup) over the

Original Debtor and Reorganized Debtor through Seery’s compensation agreement and

awards, as well as supervisory powers over the Claimant Trust. This makes Farallon and

Stonehill paradigm non-statutory insiders.

           25.      HMIT also seeks recovery against John Doe Defendant Nos. 1 through 10. 30

It is clear Farallon and Stonehill refuse to disclose the precise details of their legal



28   Because of their “insider” status, this Court should closely scrutinize the transactions at issue.
29Farallon and Stonehill are two capital management firms (similar to HCM) with whom Seery has had
substantial business relationships. Also, Seery previously served as legal counsel to Farallon. Seery also has
a long-standing relationship with Stonehill. GCM Grosvenor, a global asset management firm, held four
seats on the Redeemer Committee (an original member of the Unsecured Creditors Committee in HCM’s
bankruptcy). Upon information and belief, GCM Grosvenor is a significant investor in Stonehill and
Farallon. GCM Grosvenor, through Redeemer, also played a large part in appointing Seery as a director of
Strand Advisors and approved his appointment as HCM’s CEO and CRO.
30Farallon and Stonehill consummated their trades concealing their actual involvement through Muck and
Jessup as shell companies. Farallon’s and Stonehill’s identities were not discovered until much later after
the fact.



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relationships with Muck and Jessup. They resisted such discovery in the prior Rule 202

Proceedings in state district court. 31 They also refused to disclose such details in response

to a prior inquiry to their counsel. 32 Furthermore, the corporate filings of both Muck and

Farallon conspicuously omit the identity of their respective members or managing

members. 33 Accordingly, HMIT intends to prosecute claims against John Doe Defendant

Nos. 1 -- 10 seeking equitable tolling pending further discovery whether Farallon and

Stonehill inserted intermediate corporate layers between themselves and the special

purpose entities (Muck and Jessup) they created. See In re ATP Oil & Gas Corp., No. 12-

36187, 2017 WL 2123867, *4 (Bankr. S.D. Tex. May 16, 2017) (lsgur .J.); see also In re IFS Fin.

Corp. No. 02-39553, 2010 WL 4614293, *3 (Bankr. S.D. Tex. No. 2, 2010) (“The identity of

the party concealing the fraud is immaterial, the critical factor is whether any of the

parties involved concealed property of the estate.” “In either case, the trustee must

demonstrate that despite exercising diligence, he could not have discovered the identity

of the [unnamed] defendants prior to the expiration of the limitations period.”) ATP Oil,

2017 WL 2123867 at *4. That burden is easily satisfied here.




31   See McEntire Dec., Ex. 4.
32   See McEntire Dec., Ex. 4, see also, Ex. 4-F.
33   See Ex. 4-D, Ex. 4-E.



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                                             V.      Background

           26.     As part of this Court’s Governance Order, an independent board of

directors—which included Seery as one of the selections of the Unsecured Creditor’s

Committee—was appointed to the Board of Directors (the “Board”) of Strand Advisors,

Inc., (“Strand Advisors”), the Original Debtor’s general partner. Following approval of

the Governance Order, the Board then appointed Seery as the Original Debtor’s CEO and

CRO. 34 Following the Effective Date of the Plan, Seery now serves as Trustee of the

Claimant Trust (the Reorganized Debtor’s sole post-reorganization limited partner), and

continues to serve as the Reorganized Debtor’s CEO. 35

           27.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained

bankruptcy court approval of several settlements prior to the Effective Date, resulting in

the following approximate allowed claims (hereinafter “Claims”): 36

                         Creditor            Class 8              Class 9
                         Redeemer            $137 mm              $0 mm
                         Acis                $23 mm               $0 mm
                         HarbourVest         $45 mm               $35 mm
                         UBS                 $65 mm               $60 mm
                         (Totals)            $270 mm              $95 mm




34   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
35   See Doc. 1943, Order Approving Plan, p. 34.
36   Orders Approving Settlements [Doc. 1273, Doc. 1302, Doc. 1788, Doc. 2389].



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Each of the settling parties curiously sold their Claims to Farallon or Stonehill (or their

affiliated special purpose entities) shortly after they obtained court approval of their

settlements. One of these “trades” occurred within just a few weeks before the Effective

Date. Farallon and Stonehill coordinated and controlled the purchase of these Claims

through Muck and Jessup, and they admitted in open court that Muck and Jessup were

created to allow their purchase of the Claims. 37

           28.      HMIT alleges that Seery filed (or caused to be filed) deflated, misleading

projections regarding the value of the Debtor’s Estate, 38 while inducing unsecured

creditors to discount and sell their Claims to Farallon and Stonehill. But as reflected in

the attached declarations, it is now known that Seery provided material, non-public

information to Farallon. The circumstantial evidence is also clear that both Farallon and

Stonehill had access to and used this non-public information in connection with their

purchase decisions.

           29.      Farallon and Stonehill are registered investment advisors who have their

own fiduciary duties to their investors, and they are acutely aware of what these duties

entail. Yet, upon information and belief, they collectively invested over $160 million

dollars to purchase the Claims in the absence of any publicly available information that




37   See Ex. 4-B, Rule 202 Transcript at 55:22-25.
38The pessimistic projections were issued as part of the Plan Analysis on February 2, 2021. [Doc. 1875-1].
The Debtor projected 0% return on Class 9 claims and only 71.32% return on Class 8 Claims.



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could rationally justify such investments. These “trades” become even more suspect

because, at the time of confirmation, the Plan provided pessimistic projections advising

stakeholders that the Claim holders would never receive full satisfaction:

                      From October 2019, when the original Chapter 11 Petition was
                       filed, to January 2021, just before the Plan was confirmed, the
                       valuation of HCM’s assets dropped over $200 million from $566
                       million to $328.3 million. 39

                      HCM’s Disclosure Statement projected payment of 71.32% of
                       Class 8 claims, and 0% of claims in Classes 9-11; 40

                         o This meant that Farallon and Stonehill invested more than
                           $103 million in Claims when the publicly available
                           information indicated they would receive $0 in return on
                           their investment as Class 9 creditors and substantially less
                           than par on their Class 8 Claims.

                      In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                       the amount of Class 8 claims expected to be paid dropped even
                       further from 71% to 54%; 41

           30.     In the third financial quarter of 2021, just over $6 million of the projected

$205 million available to satisfy general unsecured creditors was disbursed. 42 No

additional distributions were made to the unsecured claimholders until, suddenly, in Q3

2022 almost $250 million was paid toward Class 8 general unsecured claims—$45 million

more than was ever projected. 43


39   Doc. 1473, Disclosure Statement, p. 18.
40   Doc. 1875-1, Plan Supplement, p. 4.
41   Doc 2949.
42   Doc 3200.
43   Doc 3582.



                                                [18]
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           31.       According to Highland Capital’s Motion for Exit Financing, 44 and a recent

motion filed by Dugaboy Investment Trust, 45 there remain substantial assets to be

monetized for the benefit of the Reorganized Debtor’s creditors. Thus, upon information

and belief, Stonehill and Farallon, stand to realize significant profits on their wrongful

investments. In turn, Stonehill and Farallon will garner (and already have garnered)

substantial fees – both base fees and performance fees – as the result of their acquiring

and/or managing the Claims. Upon information and belief, HMIT also alleges that Seery

has received excessive compensation and bonuses approved by Farallon (Muck) and

Stonehill (Jessup) as members of the Oversight Board.

           32.       As evidenced in the supporting declarations (Exs. 2 and 3):

                    Farallon admitted it conducted no due diligence and relied upon
                     Seery in making its multi-million-dollar investment decisions at
                     issue. 46

                    Farallon admitted it was unwilling to sell its stake in these Claims at
                     any price because Seery assured Farallon that the Claims were
                     tremendously valuable. 47

                    Farallon bragged about the value of its investment referencing non-
                     public information regarding Amazon, Inc.’s (“Amazon”) interest in
                     acquiring Metro-Goldwyn-Mayer Studios Inc. (“MGM”). 48




44   Doc 2229.
45   Doc 3382.
46   See Ex. 2, 2022 Dondero Declaration.
47   See Ex. 2, 2022 Dondero Declaration, Ex. 3, 2023 Dondero Declaration.
48   See Ex. 3, 2023 Dondero Declaration.



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                    Farallon was unwilling to sell its stake in the newly acquired Claims
                     even though publicly available information suggested that Farallon
                     would lose millions of dollars on its investment. 49

Farallon can offer no credible explanation to explain its significant investment, and its

refusal to sell at any price, except Farallon’s access to material non-public information. In

essence, Seery became the guarantor of Farallon’s significant investment. Farallon

admitted as much in its statements to James Dondero.

           33.       The same holds true for Stonehill. Given the negative, publicly available

information, Stonehill’s multi-million-dollar investments make no rational sense unless

Stonehill had access to material non-public information.

           34.       Fed. R. Bank. P. 2015.3 requires debtors to “file periodic financial reports of

the value, operations, and profitability of each entity that is not a publicly traded

corporation or a debtor in a case under title 11, and in which the estate holds a substantial

or controlling interest.” However, no public reports required by Rule 2015.3 were filed.

Seery testified they simply “fell through the cracks.” 50

           35.       Six days prior to the filing of the motion seeking approval of the

HarbourVest Settlement, Seery acquired material non-public information regarding

Amazon’s interest in acquiring MGM.51 Upon receipt of this material non-public




49   See Ex. 3, 2023 Dondero Declaration, see also Doc. 1875-1.
50   Doc. 1905, February 3, 2021, Hearing Transcript, 49:5-21.
51   See Adversary No. 20-3190-sgj11, Doc. 150-1.



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information, MGM should have been placed on the Original Debtor’s “restricted list,” but

Seery continued to move forward with deals that involved MGM stock and notes. 52

Because the Original Debtor additionally held direct interests in MGM, 53 the value of

MGM was of paramount importance to the value of the estate.

           36.     Armed with this and other insider information, Farallon—through Muck—

proceeded to invest in the Claims and, acting through Muck, acceded to a powerful

position on the Oversight Board to oversee future distributions to Muck and itself. It is

no coincidence Seery invited his business allies into these bankruptcy proceedings with

promises of great profits. Seery’s allies now oversee his compensation. 54

           37.     The Court also should be aware that the Texas States Securities Board

(“TSSB”) opened an investigation into the subject matter of the insider trades at issue,

and this investigation has not been closed. The continuing nature of this investigation




52As part of the HarbourVest Settlement, Seery negotiated the purchase of HarbourVest’s interest in
HCLOF for approximately $22.5 million as part of the transaction. Approximately 19.1% of HCLOF’s assets
were comprised of debt and equity in MGM. The HCLOF interest was not to be transferred to the Debtor
for distribution as part of the bankruptcy estate, but rather to “to an entity to be designated by the
Debtor”—i.e., one that was not subject to typical bankruptcy reporting requirements. Doc. 1625, p. 9, n. 5.
Doc. 1625.
53   See Doc. 2229, Motion for Exit Financing.
54 Amazon closed on its acquisition of MGM in March 2022, but the evidence strongly suggests that
agreements for the trades already had been reached - while announcement of the trades occurred
strategically after the MGM news became public. Now, as a result of their wrongful conduct, Stonehill and
Farallon profited significantly on their investments, and they stand to gain substantially more profits.




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underscores HMIT’s position that the claims described in the attached Adversary

Proceeding are plausible and certainly far more than merely “colorable.”

                                       VI.    Argument

       A.     HMIT has asserted Colorable Claims against Seery, Stonehill, Farallon,
              Muck, and Jessup.

       38.    Unlike the terms “Enjoined Party,” “Protected Party,” or “Exculpated

Party,” the Plan does not define what constitutes a “colorable” claim. Nor does the

Bankruptcy Code define the term. However, relevant authorities suggest that a Rule

12(b)(6) standard is an appropriate analogue.

       39.    The Fifth Circuit has held that a “colorable” claim standard is met if a

[movant], such as HMIT, has asserted claims for relief that, on appropriate proof, would

allow a recovery. A court need not and should not conduct an evidentiary hearing but

must ensure that the claims do not lack any merit whatsoever. Louisiana World Exposition

v. Fed. Ins. Co., 858 F.2d 233, 248 (5th Cir. 1988). Stated differently, the Court need not be

satisfied there is an evidentiary basis for the asserted claims but instead should allow the

claims if they appear to have some merit.

       40.    Other federal appellate courts have reached similar conclusions. For

example, the Eighth Circuit holds that “creditors’ claims are colorable if they would

survive a motion to dismiss.” In re Racing Services, Inc., 540 F.3d 892, 900 (8th Cir. 2008);

accord In Re Foster, 516 B.R. 537, 542 (B.A.P. 8th Cir. 2014), aff’d 602 Fed. Appx. 356 (8th

Cir. 2015) (per curiam). The Sixth Circuit has adopted a similar test requiring that the court


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look only to the face of the complaint to determine if claims are colorable. In re The Gibson

Group, Inc., 66 F.3d 1436, 1446 (6th Cir. 1995) (emphasis added).

       41.    Although there is a dearth of federal court authorities in Texas, other federal

courts have adopted the same standard—i.e., a claim is colorable if it is “plausible” and

could survive a motion to dismiss. See In re America’s Hobby Center, Inc., 223 B.R. 273, 282

(S.D.N.Y 1998). In addition, in the non-bankruptcy context, the District Court for the

Northern District of Texas explained that “[t]he requirement of a ‘colorable claim’ means

only that the plaintiff must have an ‘arguable claim’ and not that the plaintiff must be able

to succeed on that claim.” Gonzales v. Columbia Hosp. at Med. City Dallas Subsidiary, L.P.,

207 F. Supp. 2d 570, 577 (N.D. Tex. 2002) (Emphasis added).

       42.    Thus, in this instance, this Court’s gatekeeping inquiry is properly limited

to whether HMIT has stated a plausible claim on the face of the proposed pleadings

involving “bad faith,” “willful misconduct,” or “fraud.” Because the face of the

Adversary Complaint alleges plausible facts, HMIT’s Motion is properly granted.

Clearly, the attached Adversary Proceeding would survive a Rule 12(b)(6) challenge.

Furthermore, the supporting declarations and documentary evidence provide additional

support, and the circumstantial evidence proves that Farallon and Stonehill, strangers to

the bankruptcy on the petition date, would not have leaped into these proceedings

without undisclosed assurances of profit.




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           B. Fraud

           43.     As set forth in the proposed Adversary Proceeding, HMIT alleges a

colorable claim for fraud—both fraud by knowing misrepresentation and fraud by

omission of material fact. Here, these allegations of fraud are appropriately governed by

Texas law under appropriate choice of law principals. 55

           44.     Seery had a duty to not provide material inside information to his business

allies. But, he did so. At the latest, Seery became aware of the potential sale of MGM in

December 2020 when he received an email from Jim Dondero. 56 Thus, Seery knew at that

time that this potential sale would likely yield significant value to the Original Debtor’s

Estate. Yet, the financial disclosures associated with the Plan’s confirmation, which were

provided only a month later, presented an entirely different outlook for both Class 8 and

Class 9 unsecured creditors. 57 Seery knew at that time that these pessimistic disclosures

were misleading, if not inaccurate.

           45.     There is no credible doubt Seery intended that innocent stakeholders would

rely upon the pessimistic projections set forth in the Plan Analysis. Indeed, the singular

purpose of the Plan Analysis was to advise stakeholders. As such, HMIT alleges that

Seery knowingly made misrepresentations with the intention that innocent stakeholders



55However, Delaware law is substantially similar on the elements of fraud. See Malinals v. Kramer, No.
CIV.A. CPU 6-11002145, 2012 WL 174958, at 2 (Del. Com. PI. Jan. 5, 2012)
56   See, Dondero 2022 Dec., Ex. 2-1.
57   See Doc. 1875-1, Plan Analysis, February 1, 2021.



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would rely, and that he failed to disclose material information concerning his

entanglements with Farallon and Stonehill, as well as the related negotiations that were

chock full of conflicts of interest.

           46.     On the flip side of this conspiracy coin, Farallon and Stonehill were engaged

in negotiations to acquire the Claims at discounted prices; and, they successfully did so.

HMIT alleges that their success was based on knowledge that the financial disclosures

associated with the Plan Analysis were significantly understated. Otherwise, it would

make no financial sense for Farallon and Stonehill to do the deals at issue. Indeed,

Farallon admitted that it would not sell the Claims at any price, expressing great

confidence in the substantial profits it expected even in the absence of any supporting,

publicly available information. 58

           47.     All of the Proposed Defendants had a duty of affirmative disclosure under

these circumstances. Seery always had this duty. Muck, Jessup, Farallon, and Stonehill

assumed this duty when they became non-statutory “insiders.” Thus, all of the Proposed

Defendants are liable for conspiring to perpetrate a fraud by omission of material facts.

           48.     HMIT also claims that Seery and the other Proposed Defendants failed to

disclose material information concerning Seery’s involvement in brokering the Claims in

exchange for quid pro quo assurances of enhanced compensation. Seery’s compensation




58   Ex. 3, 2023 Dondero Declaration.



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should be disgorged or, alternatively, such compensation constitutes a damage

recoverable by the Reorganized Debtor and Claimant Trust as assignees (or transferees)

of the Original Debtor’s causes of action. This compensation was the product of the

alleged self-dealing, breaches of fiduciary duty, and fraud.

       C. Breaches and Aiding and Abetting Breaches of Fiduciary Duties

       49.     It is beyond dispute Seery owed fiduciary duties to the Estate. See Xtreme

Power, 563 B.R. at 632-33 (detailing fiduciary duties owed by corporate officers and

directors under Delaware law); 59 Louisiana World, 858 F.2d at 245-46 (5th Cir. 1988)

(detailing duties owed by debtors-in-possession). Although Seery did not buy the Claims

at issue, he stood to profit from these sales because his close business allies would do his

bidding after they had acceded to positions of power and control on the Oversight Board.

Muck and Jessup were essentially stepping into the shoes of three of the largest

unsecured creditors who were already slated to serve on the Oversight Board. Thus, by

acquiring their Claims, all of the Proposed Defendants knew that Muck and Jessup would

occupy these powerful oversight positions after the Effective Date.

       50.     Thus, the alleged conspiracy was successfully implemented before the

Effective Date. Farallon and Stonehill now occupy control positions through the shell



59 The Xtreme case also notes that “several Delaware courts have recognized that ‘directors who are
corporate employees lack independence because of their substantial interest in retaining their
employment.” 563 B.R. at 633-34. Because Muck and Jessup are now in control of Seery’s compensation, it
follows that Seery is beholden to them, and Seery’s disclosure of inside information to Stonehill and
Farallon confirms his conflict of interest.



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entities (Muck and Jessup) overseeing large compensation packages for Seery. Of course,

this control (and the opportunity to control) presented a patent conflict of interest which

Seery should have avoided, but instead knowingly created, fostered, and encouraged.

HMIT alleges that Seery breached his duty to avoid this conflict or otherwise disclose this

conflict and Farallon and Stonehill aided and abetted this breach.

            51.   The Original Debtor, as an investment adviser registered with the SEC, is

also required to make public disclosures on its Form ADV, the uniform registration form

for investment advisers required by the SEC. These Form ADV disclosures, which were

in effect at the time of the insider trades at issue, explicitly forbade “any access person

from trading either personally or on behalf of others . . . on material non-public

information or communicating material non-public information to others in violation of

the law or duty owed to another party.”60 It now appears these representations were false

when made. Seery’s alleged conduct also violated, at minimum, the duties Seery owed in

his various capacities with the Original Debtor under the Form ADV disclosures.

            52.   Although initially strangers to the original bankruptcy, by accepting and

using inside information, Farallon and Stonehill became “temporary insiders” and thus

owed separate duties to the Estate. See S.E.C. v. Cuban, 620 F.3d 551 (5th Cir. 2010) (“[E]ven




60   See, e.g.,
https://files.adviserinfo.sec.gov/IAPD/Content/Common/crd_iapd_Brochure.aspx?BRCHR_VRSN_ID=77
7026.



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an individual who does not qualify as a traditional insider may become a ‘temporary

insider’ if by entering ‘into a special confidential relationship in the conduct of the

business of the enterprise [they] are given access to information solely for corporate

purposes.” In re Washington Mut., Inc., 461 B.R. 200 (Bankr. D. Del. 2011), vacated in

part, 08-12229 MFW, 2012 WL 1563880 (Bankr. D. Del. Feb. 24, 2012) (finding that equity

committee stated colorable claim for equitable disallowance against creditors who

“became temporary insiders of the Debtors when the Debtors gave them confidential

information and allowed them to participate in negotiations with JPMC for the shared

goal of reaching a settlement that would form the basis of a consensual plan of

reorganization”; vacated in part as a condition of settlement only); 61 See also, In re Smith,

415 B.R. 222, 232-33 (Bankr. N.D. Tex. 2009) (“[a]n insider is an entity or person with ‘a

sufficiently close relationship with the debtor that his conduct is made subject to closer

scrutiny than those dealing at arm’s length with the debtor.’ ‘Thus, the term “insider” is

viewed to encompass two classes: (1) per se insiders as listed in the Code and (2) extra-

statutory insiders that do not deal at arm’s length.’” (citations omitted)). Farallon,

Stonehill, Muck, and Jessup clearly fall into this latter category.



61Although the Washington Mutual case was subsequently vacated, the Court’s intellectual reasoning
remains valid because the vacatur was mandated by a mediated settlement, not because the court’s logic
was flawed or changed, and the court expressly noted that the parties’ settlement was conditioned on
vacatur. See In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24,
2012) (“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that
“absent the requested vacatur, the collapse of the Plan could result in the termination of the Global
Settlement Agreement.” (emphasis added)).



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       53.    Because Farallon and Stonehill (acting through Muck and Jessup) now hold

the majority of the seats on the Oversight Board, they, along with Seery, exercise control

of the reorganization proceedings. At no time were Farallon, Stonehill, or Seery’s plans

disclosed to the other creditors or equity. In fact, the only inference that can be reasonably

drawn is that Farallon and Stonehill brazenly sought to conceal their involvement by

establishing shell entities—Muck and Jessup—to nominally hold the Claims and create

an opaque barrier to any effort to identify the “Oz behind the curtain.” Such conduct aligns

precisely with the inequitable conduct detailed in Citicorp and Adelphia (discussed below).

       54.    In sum, the proposed Adversary Proceeding sets forth plausible allegations

that Stonehill and Farallon were aware of Seery’s fiduciary duties. Indeed, as registered

investment advisors, both Farallon and Stonehill were acutely aware of Seery’s fiduciary

obligations, including, without limitation, the duty to act in the best interests of the

Original Debtor’s Estate and the duty not to engage in insider trading that would benefit

Seery, as an insider, and themselves, as non-statutory insiders. By accepting and then

acting on material non-public information, Farallon and Stonehill (as well as Muck and

Jessup) aided and abetted breaches of these fiduciary duties. By placing themselves in

positions to control Seery’s compensation, Farallon and Stonehill (acting through Muck

and Jessup) induced, encouraged, aided and abetted Seery’s self-dealing.




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           D. Equitable Disallowance is an Appropriate Remedy

           55.     HMIT also seeks equitable disallowance. Although the Fifth Circuit in

Matter of Mobile Steel Co. generally limited the court’s equitable powers to subordination

rather than disallowance, 62 the Fifth Circuit did not foreclose the viability of equitable

disallowance as a potential remedy. See 563 F.2d 692, 699 n. 10 (5th Cir. 1977). Binding U.S.

Supreme Court precedent in Pepper v. Litton also permits bankruptcy courts to fashion

disallowance remedies. 308 U.S. 295, 304-11 (1939). Bankruptcy Code § 510, which

supplies the authority for equitable subordination, was “intended to codify case law, such

as Pepper v. Litton . . . and is not intended to limit the court’s power in any way…. Nor does [it]

preclude a bankruptcy court from completely disallowing a claim in appropriate circumstances.”

In re Adelphia Commun. Corp., 365 B.R. 24, 71-72 (Bankr. S.D.N.Y. 2007), aff'd in part sub

nom. Adelphia Recovery Tr. v. Bank of Am., N.A., 390 B.R. 64 (S.D.N.Y. 2008), adhered to on

reconsideration, 05 CIV. 9050 (LMM), 2008 WL 1959542 (S.D.N.Y. May 5, 2008) (emphasis

and omissions in original). 63

           56.     The Fifth Circuit’s decision in Mobile Steel also was premised on the notion

that disallowance would not add to the quiver of defenses to fight unfairness because




62   Equitable subordination is an inadequate remedy in this instance.
63In Washington Mutual, the Court’s intellectual reasoning when imposing disallowance is instructive. See
In re Washington Mut., Inc., No. 08-12229 MFW, 2012 WL 1563880, *8 (Bankr. D. Del. Feb. 24, 2012)
(“grant[ing] partial vacatur . . . in furtherance of the settlement embodied in the Plan,” and noting that “absent
the requested vacatur, the collapse of the Plan could result in the termination of the Global Settlement
Agreement.” (emphasis added)).



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creditors “are fully protected by subordination” and “[i]f the misconduct directed against

the bankrupt is so extreme that disallowance might appear to be warranted, then surely

the claim is either invalid or the bankrupt possesses a clear defense against it.” Mobile

Steel, 563 F.2d at 699 n. 10 (emphasis added). Importantly, however, the factual scenarios

considered in Mobile Steel do not exist here.

       57.    Here, Muck and Jessup purchased both Class 8 and Class 9 Claims, and

they now effectively occupy more than 90% of the entire field of unsecured creditors in

these two claimant tiers. Thus, subordination cannot effectively address the current facts

where the Original Debtor’s CEO and CRO conspired directly with close business allies

who acquired the largest unsecured claims to the detriment of other innocent creditors

and former equity. The reasoning in published cases from other circuits supports this

conclusion. See Adelphia, 365 B.R. at 71-73; Citicorp Venture Capital, Ltd. v. Comm. of

Creditors Holding Unsecured Claims, 160 F.3d 982, 991 n. 7 (3d Cir. 1998).

       58.    The purpose of equitable subordination is to assure that the wrongdoer

does not profit from bad conduct. In the typical case, subordination to other creditors will

achieve this deterrence. But, it is clear that the Third Circuit’s decision in Citicorp was

structured to use subordination as just one tool in a larger tool box to make sure “at a

minimum, the remedy here should deprive – [the fiduciary] of its profit on the purchase

of the notes.” Id at 991. In Adelphia, the Southern District of New York also used equitable




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subordination as a remedy to address wrongs of non-insiders who aided and abetted

breaches a fiduciary duty by the debtor’s management. 365 B.R. at 32.

       59.    But subordination cannot adequately address the wrongful conduct at

issue. This is because subordination is typically limited to instances where one creditor is

subordinated to other creditors, not equity. Here, for all practical purposes, there are only

a few other unsecured creditors with relatively small stakes. Therefore, subordination as

a weapon of deterrence is neutered.

       60.    In sum, by engaging in the alleged wrongful acts, including aiding and

abetting Seery’s breaches of fiduciary duty, Farallon, Stonehill, Muck, and Jessup should

not be rewarded. The Proposed Defendants engaged in alleged conduct which damaged

the Original Debtor’s estate, including improper agreements to compensate Seery under

the terms of the CTA. Equitable disallowance is an appropriate remedy which, when

combined with disgorgement of all ill-gotten profits, will deprive the Proposed

Defendants of their ill-gotten gains.

       E. Disgorgement and Unjust Enrichment

       61.    The law is clear that disgorgement is an available remedy for breach of

fiduciary duty both under Texas Law, see Kinzbach Tool Co. v. Corbett-Wallace Corporation,

160 S.W. 2d 509 (Tex. 1942), and under Delaware law, see Metro Storage International, LLC

v. Harron, 275 A.3d 810 (Del. Ch. 2022). Disgorgement is also an appropriate remedy for

unjust enrichment under Texas law, Hunter v. Shell Oil Co., 198 F.2d 485 (5th Cir. 1952),



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and under Delaware law, In re Tyson Foods, Inc. Consolidated Shareholder Litigation, 919

A.2d 563 (Del. Ch. 2007). 64

        62.     Likewise, the imposition of a constructive trust is proper for addressing

unjust enrichment under both Delaware and Texas law, see Teacher’s Retirement System of

Louisiana v. Aidinoff, 900 A.2d 654 (Del. Ch. 2006) and Hsin-Chi-Su v. Vantage Drilling

Company, 474 S.W. 3d 384 (Tex. App. – 14th Dist. 2015), pet. denied. The elements of unjust

enrichment are: (1) the defendant must have gained a benefit (2) at the expense of

plaintiff, (3) and retention of that benefit must be shown to be unjust. See Restatement

(Third) of Restitution and Unjust Enrichment §321, cmt. e (2011).

        63.     Here, the imposition of a constructive trust and disgorgement are clearly

appropriate to provide redress for the alleged breaches of fiduciary duty and the knowing

participation in (or aiding and abetting) those breaches. Furthermore, the imposition of a

constructive trust and disgorgement are appropriate to disgorge the improper benefits

that all of the Proposed Defendants received by virtue of collusion and insider trading.

        64.     As set forth in the proposed Adversary Proceeding, Seery gained the

opportunity to have his compensation demands rubber stamped. The other Defendants

gained the opportunity to purchase valuable claims at a discount knowing that




64It is likely that the Internal Affairs Doctrine will dictate that Delaware choice of law governs the breach
of fiduciary duty claims.



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pessimistic financial projections were false and that the upside investment potential was

great. Retention of the benefits they received would be unjust and inequitable.

       65.    Clearly, the Debtor’s Estate was damaged by virtue of the claimed conduct.

Seery obtained profits and compensation to the detriment of that estate as well as the

estate of the Reorganized Debtor, other innocent creditors and HMIT, as former equity

and as a contingent Claimant Trust Beneficiary.

       F. Declaratory Relief

       66.    HMIT also seeks declaratory relief pursuant to Fed. R. Bank P. 7001(9).

Specifically, HMIT seeks a declaratory judgment that: (a) there is a ripe controversy

concerning HMIT’s rights and entitlements under the Claimant Trust Agreement; (b) as

a general matter, HMIT has standing to bring an action against a trustee even if its interest

is considered “contingent;” (c) HMIT’s status as a Claimant Trust Beneficiary is fully

vested upon disgorgement of the ill-gotten profits of Muck and Jessup, and by extension,

Farallon and Stonehill; (d) HMIT’s status as a Claimant Trust Beneficiary is fully vested

upon the equitable disallowance of the Claims held by Muck and Jessup over and above

their initial investments; (e) Seery is properly estopped from asserting that HMIT is not

an appropriate party to bring this derivative action on behalf of the Reorganized Debtor

and/or the Claimant Trust because of fraudulent conduct, bad faith, willful misconduct,

and unclean hands; (f) Muck and Jessup are properly estopped from asserting that HMIT

is not an appropriate party to bring this derivative action on behalf of the Reorganized



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Debtor and the Claimant Trust because of their fraudulent conduct, bad faith, willful

misconduct, and unclean hands; and (g) all of the Proposed Defendants are estopped

from asserting that HMIT does not have standing in its individual capacity due to their

fraudulent conduct, bad faith, willful misconduct, and unclean hands.

       G. HMIT has Direct Standing.

       67.    The Texas Supreme Court recently held that “a partner or other stakeholder

in a business organization has constitutional standing to sue for an alleged loss in the

value of its interest in the organization.” Pike v. Texas EMC Mgt., LLC, 610 S.W.3d 763, 778

(Tex. 2020). In so holding, the Court considered federal law and found that the traditional

“incantation that a shareholder may not sue for the corporation’s injury” is really a

question of capacity, which goes to the merits of a claim, rather than an issue of standing

that would impact subject matter jurisdiction. Id. at 777 (noting that the 5th Circuit and

“[o]ther federal circuits agree that a plaintiff has standing to sue for the lost value of its

investment in a corporation”). Because Seery, Muck, Jessup, Stonehill, Farallon’s alleged

actions devalued HMIT’s interest in the Debtor’s Estate, including, without limitation,

payment of excessive compensation to Seery, HMIT has standing to pursue its common

law claims directly. HMIT also has direct standing to seek declaratory relief as set forth

in the proposed Adversary Proceeding.




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                                      VII.     Prayer

       WHEREFORE, PREMISES CONSIDERED, Hunter Mountain Investment Trust

respectfully requests this Court grant HMIT leave authorizing it to file the Adversary

Complaint, attached as Exhibit 1, as an Adversary Proceeding in this United States

Bankruptcy Court for the Northern District of Texas, in its own name and as a derivative

action on behalf of the Debtor Highland Capital Management, L.P., against Muck

Holdings, LLC, Jessup Holdings, LLC, Farallon Capital Management, LLC, Stonehill

Capital Management, LLC, James P. Seery, Jr., and John Doe Defendants Nos. 1 – 10, and

further grant HMIT all such other and further relief to which HMIT may be justly entitled.

Dated: March 28, 2023

                                                Respectfully Submitted,
                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/ Sawnie A. McEntire
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                                                    Texas State Bar No. 13393700
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                                                    Houston, Texas 77056


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                                                    Telephone: (713) 960-7315
                                                    Facsimile: (713) 960-7347

                                                    Attorneys for Hunter Mountain
                                                    Investment Trust

                           CERTIFICATE OF CONFERENCE

        Beginning on March 24, 2023, and also on March 27, 2023, the undersigned counsel
conferred either by telephone or via email with all counsel for all Respondents regarding
the relief requested in the foregoing Motion, including John A. Morris on behalf of James
P. Seery, and Brent McIlwain on behalf of Muck Holdings LLC, Jessup Holdings LLC,
Stonehill Capital Management, and Farallon Capital Management. Mr. Seery is opposed
to this Motion. Based upon all communications with Mr. McIlwain, it is reasonably
believed his clients are also opposed and we advised him that this recitation would be
placed in the certificate of conference.



                                               _/s/ Sawnie A. McEntire
                                                Sawnie A. McEntire



                              CERTIFICATE OF SERVICE

       I certify that on the 28th day of March 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire




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                            Exhibit 1 to Emergency Motion
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Attorneys for Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                            §
 In re:                                     §
                                            §    Chapter 11
 HIGHLAND CAPITAL                           §
 MANAGEMENT, L.P.                           §    Case No. 19-34054-sgj11
                                            §
          Debtor.                           §
                                            §
                                            §
 HUNTER MOUNTAIN INVESTMENT                 §
 TRUST, INDIVIDUALLY, AND ON                §
 BEHALF OF THE DEBTOR                       §
 HIGHLAND CAPITAL                           §
 MANAGEMENT, L.P. AND THE                   §    Adversary Proceeding No. _________
 HIGHLAND CLAIMANT TRUST                    §
                                            §
          PLAINTIFFS,                       §


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                                             §
 v.                                          §
                                             §
 MUCK HOLDINGS, LLC, JESSUP                  §
 HOLDINGS, LLC, FARALLON                     §
 CAPITAL MANAGEMENT, LLC,                    §
 STONEHILL CAPITAL                           §
 MANAGEMENT, LLC, JAMES P.                   §
 SEERY, JR., AND JOHN DOE
 DEFENDANTS NOS. 1-10

        DEFENDANTS.



                       VERIFIED ADVERSARY COMPLAINT

       Hunter Mountain Investment Trust (“HMIT”) files this Verified Adversary

Complaint in its individual capacity and, as a derivative action on behalf of the

Reorganized Debtor, Highland Capital Management L.P. (“HCM” or “Reorganized

Debtor”) and the Highland Claimant Trust (collectively “Plaintiffs”), complaining of

Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital

Management, LLC (“Farallon”), Stonehill Capital Management, LLC (“Stonehill”), James

P. Seery, Jr., (“Seery”) and John Doe Defendant Nos. 1-10 (Muck, Jessup, Stonehill,

Farallon, Seery and the John Doe Defendants Nos. 1-10 are collectively “Defendants”),

and would show:

                                     I. Introduction

       1.    HMIT brings this Verified Adversary Complaint (“Complaint”) on behalf

of itself, individually, and as a derivative action benefitting the Reorganized Debtor and



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on behalf of the Highland Claimant Trust (“Claimant Trust”), as defined in the Claimant

Trust Agreement (Doc. 3521-5) (“CTA”). 1 This derivative action is specifically brought

pursuant to Rule 23.1 of the Federal Rules of Civil Procedure and B. R. Rule 7023.1. At

the time of the transactions at issue, HMIT held a 99.5% limited partnership in Highland

Capital Management, LP, the Original Debtor, as described herein. This derivative action

is not a collusive effort to confer jurisdiction that the Court would otherwise lack.

        2.      Upon the Effective Date, the assets of the bankruptcy estate of Highland

Capital Management, L.P., as the Original Debtor (the “Debtor’s Estate”) were

transferred to the Highland Claimant Trust under the terms of the Fifth Amended Plan

of Reorganization of Highland Capital Management, L.P. (as Modified) [Doc. 1943,

Exhibit A] (the “Plan”) and as defined in the CTA. These assets include all “causes of

action” that the Debtor’s Estate had before the Effective Date including, without

limitation, the causes of action set forth in this Adversary Proceeding. Furthermore, the

Claimant Trust is managed by the Claimant Trustee, Seery. Therefore, any demand upon

Seery to prosecute the claims set forth in this Complaint would be futile because Seery is

a Defendant. Similarly, the Oversight Board exercises supervision over Seery as Claimant



1Solely in the alternative, and in the unlikely event HMIT’s proposed causes of actions against Seery,
Stonehill, Farallon, Muck, and/or Jessup are considered to be “Estate Claims” as those terms are used and
defined within the CTA and Exhibit A to the Notice of Final Term Sheet [Docket No. 354] in HCM’s
bankruptcy (and without admitting the same), HMIT alternatively seeks standing to bring this action as a
derivative action on behalf of the Litigation Sub-Trust as appropriate. Any demand on the Litigation Sub-
Trust would be equally futile for the same reasons addressed in HMIT’s Emergency Motion for Leave (Doc.
__).



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Trustee, and Muck and Jessup are members of the Oversight Board. Any demand upon

Muck and Jessup to prosecute these claims would be equally futile. All conditions

precedent to bringing this derivative action have otherwise been satisfied.

       3.    This action has become necessary because of Defendants’ tortious conduct.

This tortious conduct occurred before the Effective Date of the Plan, but its effects have

caused damage both before and after the Effective Date. Prior to the Effective Date, HMIT

owned 99.5% of the limited partnership interest in the Original Debtor and was the

beneficiary of fiduciary duties owed by Seery.

       4.    Seery, the Original Debtor’s CEO and former Chief Restructuring Officer

(“CRO”),
  --- wrongfully facilitated and promoted the sale of large unsecured creditor claims

to his close business allies and friends, Farallon and Stonehill. He did so by providing

material non-public information to them concerning the value of the Original Debtor’s

Estate that other stakeholders did not know. Farallon and Stonehill, who were otherwise

strangers to the bankruptcy proceedings, wrongfully purchased the claims through their

special purpose entities, Muck and Jessup, based upon this inside information, and they

are now profiting from their misconduct. Seery’s dealings with the other Defendants

were not arm’s length, but instead were covert, undisclosed, and collusive.

       5.    Motivated by corporate greed, the other Defendants aided and abetted or,

alternatively, knowingly participated in Seery’s wrongful conduct. They also breached

their own duties as “non-statutory insiders.” Because of their long-standing, historical



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relationships with Seery, and their use of material non-public information, Farallon,

Stonehill, Muck, and Jessup assumed positions of control over the affairs of the Debtor’s

bankruptcy, including compensation awards to Seery. As such, they became non-

statutory insiders.

       6.     HMIT was formerly the largest equity holder in the Debtor, holding a 99.5%

limited partnership interest. HMIT now holds an Allowed Class 10 Class B/C Limited

Partnership Interest and a Contingent Trust Interest under the CTA. Given HMIT’s’

position as former equity, HMIT’s right to recover from the Claimant Trust is junior to

the Reorganized Debtor’s unsecured creditors, now known as Claimant Trust

Beneficiaries. However, the vast majority of the approved unsecured claims superior to

HMIT’s interest are the claims wrongfully acquired by insider trading and the breaches

of duty at issue in this proceeding.

       7.     By wrongfully soliciting, fostering, and encouraging the wrongful insider

trades, Seery violated his fiduciary duties to the Debtor’s Estate, specifically his duty of

loyalty and his duty to maximize the value of the Estate with corresponding recovery by

legitimate creditors and former equity. Seery was motivated out of self-interest to garner

personal benefit (to the detriment of the Debtor’s Estate) by strategically benefitting his

business allies with non-public information. He then successfully “planted” his allies

onto the Oversight Board, which, as a consequence does not act as an independent board

in the exercise of its responsibilities. Rather, imbued with powers to oversee Seery’s



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future compensation, the other Defendants are postured to reward Seery financially

regarding Defendants’ illicit dealings and, upon information and belief, they have done

so.

       8.     By receiving and acting upon material non-public information concerning

the financial condition of the Debtor’s Estate, Stonehill and Farallon, acting individually

and through special purpose shell entities they created and controlled, directly or

indirectly, are also liable for aiding and abetting Seery’s breaches of fiduciary duties. By

acquiring the claims at issue, Muck and Jessup, the shell entities created and controlled

by Stonehill and Farallon, also became non-statutory insiders owing duties of disclosure

which they also breached.

       9.     HMIT separately seeks recovery against John Doe Defendant Nos. 1-10.

Farallon actively concealed the precise legal relationship between Farallon and Muck.

Stonehill actively concealed the precise legal relationship between Stonehill and Jessup.

What is known, however, is that Farallon and Stonehill created these special purpose

shell entities on the eve of the insider trades to acquire ownership of the claims and to

otherwise control the affairs of the Oversight Board. Both Farallon and Stonehill rejected

inquiries concerning the exact nature of their relationship with these special purpose

entities. Accordingly, HMIT seeks equitable tolling of any statute of limitations

concerning claims against unknown business entities that Farallon and Stonehill may

have created and inserted as intermediate corporate layers in the transactions at issue.



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       10.    HMIT seeks to disgorge all Defendants’ ill-gotten profits and equitable

disallowance of the remaining unpaid balances on the following allowed claims: Claim

Nos. 23, 72, 81, 143, 147, 149, 150, 153, 154, 190, and 191 (the “Claims”) currently held by

Muck and Jessup. Because Defendants received substantial distributions from the

Claimant Trust in connection with these Claims, HMIT seeks to disgorge all such

distributions above Defendants’ initial investment—compelling restitution of such funds

to the Claimant Trust for the benefit of innocent creditors and former equity pursuant to

the waterfall established under the Plan and the CTA. HMIT also seeks to disgorge

Seery’s compensation from the date his collusive conduct first occurred. Alternatively,

HMIT seeks damages on behalf of the Claimant Trust in an amount equal to all

compensation paid to Seery from the onset of his collusive conduct to present.

                               II. Jurisdiction and Venue

       11.    Pursuant to Misc. Order No. 33 Order of Reference of Bankruptcy Cases, U.S.

District Court for N.D. Texas (the “Order of Reference”), this Complaint is commenced in

the Bankruptcy Court because it is “related to a case under Title 11.” The filing of this

Complaint is expressly subject to and without waiver of Plaintiff’ rights and ability to

seek withdrawal of the reference pursuant to 28 U.S.C. § 157(d), FED. R. BANKR. P. 5011,

and Local Bankruptcy Rule 5011-1. Plaintiffs hereby demand a right to a trial by jury of

all claims asserted herein and nothing in this Complaint, nor Plaintiffs’ compliance with

the Order of Reference, shall be deemed a waiver of this right.



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        12.   This Court has jurisdiction of the subject matter and the parties as a “related

to” proceeding pursuant to 28 U.S.C. §§ 1334 and 157(a) and Articles IX.F, and XI. of the

Plan.

        13.   Pursuant to Rule 7008 of the Bankruptcy Rules, Plaintiffs do not consent to

the entry of final orders or judgment by the bankruptcy court.

        14.   Venue is proper in this district and division pursuant to 28 U.S.C. §§ 1408

and 1409, and Articles IX.F, and XI. of the Plan.

                                        III. Parties

        15.   HMIT is a Delaware statutory trust that was the largest equity holder in the

Original Debtor, holding a 99.5% limited partnership interest. HMIT is also the holder of

a Contingent Trust Interest in the Claimant Trust, but should be treated as a vested

Claimant Trust Beneficiary due to Defendants’ wrongful conduct.

        16.   Pursuant to the Plan and the CTA, the Claimant Trust holds the assets of

the Reorganized Debtor, including the causes of action that accrued to the Original

Debtor before the Effective Date. The Claimant Trust is established in accordance with

the Delaware Statutory Trust Act and Treasury Regulatory Section 301.7701-4(d).

        17.   Muck is a Delaware limited liability company, with its principal office in

California, and may be served with process at One Maritime Plaza, Suite 2100, San

Francisco, CA 94111. Muck has made prior appearances in the Debtor’s bankruptcy.




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       18.   Jessup is a Delaware limited liability company, with its principal office in

New York, and may be served with process via its registered agent, Vcorp Services, LLC,

at 108 W. 13th Street Suite 100, Wilmington, Delaware 19801. Jessup has made prior

appearances in the Debtor’s bankruptcy.

       19.   Farallon is a Delaware limited liability company, with its principal office in

California, and may be served with process at One Maritime Plaza, Suite 2100, San

Francisco, CA 94111. Farallon is a capital management company that manages hedge

funds and is a registered investment advisor. This Court has personal jurisdiction over

Farallon because Farallon’s conduct giving rise to or relating to the claims in this

Adversary Proceeding occurred in Texas, thereby satisfying all minimum contacts

requirements and due process considerations.

       20.   Stonehill is a Delaware limited liability company, with its principal office

in New York, and may be served with process at 320 Park Avenue, 26th Floor, New York,

NY 10022. Stonehill is a capital management company managing hedge funds and is a

registered investment advisor. This Court has personal jurisdiction over Stonehill

because Stonehill’s conduct giving rise to or relating to the claims in this Adversary

Proceeding occurred in Texas, thereby satisfying all minimum contacts and all due

process considerations.

       21.   Seery is an individual citizen and resident of the State of New York. Mr.

Seery may be served with process at 100 Crescent Court, Suite 1805, Dallas, Texas 75201.



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              22.   John Doe Defendant Nos. 1-10 are currently unknown individuals or

business entities who may be identified in discovery as involved in the wrongful

transactions at issue.

                                              IV. Facts

              A.    Procedural Background

              23.   On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in Delaware Bankruptcy Court, 2 which was later

transferred to the Northern District of Texas Bankruptcy Court, Dallas Division, on

December 4, 2019. 3

              24.   On October 29, 2019, the U.S. Trustee’s office appointed a four-member

Unsecured Creditors Committee (“UCC”) consisting of three judgment creditors—the

Redeemer Committee of the Highland Crusader Fund (“Redeemer”); Acis Capital

Management, L.P. and Acis Capital Management GP, LLC (collectively “Acis”); and UBS

Securities LLC and UBS AG London Branch (collectively “UBS”)—and an unpaid vendor,

Meta-E Discovery.

              25.   Following the venue transfer to Texas, on December 27, 2019, the Debtor

filed its Motion of the Debtor for Approval of Settlement with the Official Committee of




2Doc. 3. Unless otherwise referenced, all documents referencing “Doc.” refer to the docket maintained in
Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
3   Doc. 1.



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Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the

Ordinary Course (“Governance Motion”). 4 On January 9, 2020, the Court signed a

Governance Order granting the Governance Motion. 5

          26.     As part of the Governance Order, an independent board of directors—

which included Seery as one of the selections of the Unsecured Creditors Committee—

was appointed to the Board of Directors (the “Board”) of Strand, the Original Debtor’s

general partner. The Board then appointed Seery as the Chief Executive Officer in place

of the previous CEO, Mr. James Dondero, as well as the CRO. 6 Seery currently serves as

Trustee of the Claimant Trust under the terms of the CTA and the CEO of the

Reorganized Debtor.7

          B.      The Targeted Claims

          27.     In his capacity as the Original Debtor’s CEO and CRO, Seery negotiated

and obtained court approval for settlements with several large unsecured creditors

including Redeemer, Acis, UBS, and another major unsecured creditor, HarbourVest

(Redeemer, Acis, UBS, and HarbourVest are collectively the “Settling Parties”), resulting

in the following allowed Claims:

                         Creditor            Class 8           Class 9
                         Redeemer            $137 mm           $0 mm

4   Doc. 281.
5   Doc. 339.
6   Doc. 854, Order Approving Retention of Seery as CEO/CRO.
7   See Doc. 1943, Order Approving Plan, p. 34.



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                        Acis             $23 mm            $0 mm
                        HarbourVest      $45 mm            $35 mm
                        UBS              $65 mm            $60 mm
                        (Totals)         $270 mm           $95 mm

As reflected in these settlements, HarbourVest and UBS owned Class 9 claims in addition

to Class 8 Claims. Class 9 Claims were subordinated to Class 8 Claims in the distribution

waterfall in the Plan.

          28.      Each of the Settling Parties sold their Claims to Farallon and Stonehill (or

affiliated special purpose entities) shortly after receiving court approval of the

settlements. One of these “trades” took place within just a few weeks before the Plan’s

Effective Date. 8 All of these trades occurred when HMIT held its 99.5% equity stake in

the Debtor. Notice of these trades was first provided in filings in the records of the

Original Debtor’s bankruptcy proceedings, as follows: Claim No. 23 (Doc. 2211, 2212, and

2215), Claim Nos. 190 and 191 (Doc. 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153

and 154 (Doc. 2263), Claim No. 81 (Doc. 2262), Claim No. 72 (Doc. 2261).

          29.      Farallon and Stonehill, both of whom are registered investment advisors

that manage hedge funds, have fiduciary duties to their own investors. As such, they are

acutely aware of their duties and obligation as fiduciaries. Yet, they both invested many

tens of millions of dollars, directly or indirectly, to acquire the Claims in the absence of




8   Docs. 2697, 2698.



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any publicly available information that could provide any economic justification for their

investment decisions.

           30.     Upon information and belief, Stonehill and Farallon collectively invested

an estimated $160 million to acquire the Claims with a face amount of $365 million, and

they did so in the absence of any meaningful due diligence. Indeed, Farallon has admitted

that it conducted no due diligence but relied on Seery’s guarantees.

           31.     Stonehill and Farallon’s investments become even more suspicious because

the Plan provided the only publicly available information, which, at the time, included

pessimistic projections that the Claims would ever receive full payment:

                   a. From October 2019, when the original Chapter 11 Petition was
                      filed, to January 2021, just before the Plan was confirmed, the
                      projected value of HCM’s assets dropped over $200 million from
                      $566 million to $364 million. 9

                   b. HCM’s Disclosure Statement projected payment of 71.32% of
                      Class 8 claims, and 0% of claims in Classes 9-11. 10

                         o This meant that Farallon and Stonehill invested more than
                           $163 million in Claims when the publicly available
                           information indicated they would receive $0 in return on
                           their investment as Class 9 creditors and substantially less
                           than par on their Class 8 Claims.

                   c. In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                      the amount of Class 8 claims expected to be paid dropped even
                      further from 71% to 54%.




9   Doc. 1473, Disclosure Statement, p. 18.
10   Doc. 1875-1, Plan Supplement, Ex. A, p. 4.



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                   d. Despite the stark decline in the value of the estate and in the
                      midst of substantial reductions in the percentage of Class 8
                      Claims expected to be satisfied, Stonehill, through Jessup, and
                      Farallon, through Muck, nevertheless purchased the four largest
                      bankruptcy claims from the Redeemer Committee/Crusader
                      Fund, Acis, HarbourVest, and UBS (collectively, again, the
                      “Claims”) in April and August of 2021 in the combined amount
                      of $163 million. 11

           32.     Upon information and belief, Stonehill, through its special purpose entity,

Jessup, acquired the Redeemer Committee’s claim for $78 million. 12 Upon information

and belief, the $23 million Acis claim 13 was sold to Farallon/Muck for $8 million. Upon

information and belief, HarbourVest sold its combined $80 million in claims to

Farallon/Muck for $27 million. UBS sold its combined $125 million in claims for $50

million to both Stonehill/Jessup and Farallon/Muck. In the instance of UBS, the total

projected payout was only $35 million. Indeed, as part of these transactions, both

Farallon and Stonehill purchased Class 9 Claims at a time when the Debtor’s Estate

projected a zero dollar return on all such Claims.




11Notices of Transfers [Docs. 2212, 2215, 2261, 2262, 2263, 2215, 2297, 2298]. The Acis claim was transferred
on April 16, 2021; the Redeemer, Crusader, and HarbourVest claims were transferred on April 30, 2021;
and the UBS claims were transferred on August 9, 2021.
12 July 6, 2021, letter from Alvarez & Marsal CRF Management, LLC to Highland Crusader Funds
Stakeholders.
13   Seery/HCM have argued that $10 million of the Acis claim is self-funding.



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           C.       Material Non-Public Information is Disclosed to Seery’s Affiliates at
                    Stonehill and Farallon.

           33.      One of the significant assets of the Debtor’s Estate was the Debtor’s direct

and indirect holdings in Metro-Goldwyn-Mayer Studios, Inc. (“MGM”). 14

           34.      On December 17, 2020, James Dondero, sent an email to Seery. At that time,

Dondero was a member of the MGM board, and the email contained material non-public

information regarding Amazon and Apple’s interest in acquiring MGM. 15 Of course, any

such sale would significantly enhance the value of the Original Debtor’s estate.

           35.      Upon receipt of this material non-public information, Seery should have

halted all transactions involving MGM stock, yet just six days later Seery filed a motion

in this Court seeking approval of the Original Debtor’s settlement with HarbourVest -

resulting in a transfer to the Original Debtor of HarbourVest’s interest in a Debtor-

advised fund, Highland CLO Funding, Ltd. (“HCLOF”), which held substantial MGM

debt and equity. 16 Conspicuously, the HCLOF interest was not transferred to the Original

Debtor for distribution as part of the bankruptcy estate, but rather to “to an entity to be

designated by the Debtor”—i.e., one that was not subject to typical bankruptcy reporting

requirements. 17




14   See Doc. 2229, p. 6.
15   See Adversary Case No. 20-3190-sgj11, Doc. 150-1, p. 1674.
16   Doc. 1625. Approximately 19.1% of HCLOF’s assets were comprised of debt and equity in MGM.
17   Doc. 1625.



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           36.     Upon information and belief, aware that the Debtor’s stake in MGM

afforded a new profit center, Seery saw an opportunity to increase his own compensation

and enlisted the help of Stonehill and Farallon to extract further value from the Original

Debtor’s Estate at the expense of other innocent creditors and equity. This quid pro quo

included, at a minimum, a tacit, if not express, understanding that Seery would be well-

compensated.

           37.     Until 2009, Seery was the Global Head of Fixed Income Loans at Lehman

Brothers 18 where, on information and belief, he conducted substantial business with

Farallon. Following the collapse of Lehman Brothers, Seery continued to work with, and

indeed represented Farallon as its legal counsel. Seery ultimately joined a hedge fund,

River Birch Capital, 19 which, along with Stonehill, served on the creditors committee in

other bankruptcy proceedings. GCM Grovesnor, a global asset management firm, held

four seats on the Redeemer Committee 20 and, upon information and belief, is a significant

investor in Stonehill and Farallon. Grovesnor, through Redeemer, played a large part in

appointing Seery as a director of Strand Advisors. Seery was beholden to Grovesnor from

the outset, and, by extension, Grovesnor’s affiliates Stonehill and Farallon.




18   Seery Resume [Doc. 281-2].
19   Id.
20   Declaration of John A. Morris [Doc. 1090], Ex. 1, pp. 15.



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       38.    As successful capital management firms, with advisory and fiduciary

duties to their own clients, Stonehill and Farallon typically engage in robust due diligence

before making significant investments. Yet, in this case, it would have been impossible for

Stonehill and Farallon to forecast any profit at the time of their multi-million-dollar

investments given the negative financial information disclosed by the Original Debtor’s

Estate. Seery, as the CEO, was aware of and involved in approving these negative

financial projections. In doing so, Seery intentionally caused the publication of

misleading, false information.

       39.    Seery shared with Stonehill and Farallon non-public information concerning

the value of the Original Debtor’s Estate which was higher than publicly available

information. Thus, the only logical conclusion is that all Defendants knew that the

publicly available projections, which accompanied the Plan, were understated, false, and

misleading. Otherwise, Farallon, Muck, Stonehill and Jessup would not have made their

multi-million-dollar investments. None of the Defendants disclosed their knowledge of

the misleading nature of these financial projections when they had a duty to do so. None

of the Defendants disclosed the nature of their dealings in acquiring the Claims.

       40.    By wrongfully exploiting non-public insider information, Stonehill and

Farallon—acting through Muck and Jessup—became the largest holders of unsecured

claims in the Debtor’s Estate with resulting control over the Oversight Board and a front

row seat to the reorganization and distribution of Claimant Trust Assets. As such, they



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were given control (through Muck and Jessup) to approve discretionary bonuses and

success fees for Seery from these assets.

           D.     Distributions

           41.    The MGM sale was ultimately consummated in March 2022 for $6.1 billion

in cash, plus $2.5 billion in debt that Amazon assumed and immediately repaid.21

           42.    By the end of Q3 2021, just over $6 million of the projected $205 million

available for general unsecured claimants had been disbursed. 22 No additional

distributions were made to general unsecured claimholders until, suddenly, in Q3 2022

almost $250 million was paid toward Class 8 general unsecured claims—$45 million more

than was ever projected. 23 Thus, Stonehill (Jessup) and Farallon (Muck) have already

received returns that far eclipse their investment. They also stand to make further

significant profits on their investments, including payments on Class 9 Claims.

           43.    As of December 31, 2022, the Claimant Trust has distributed $255,201,228.

On a pro rata basis, that means that innocent creditors have received approximately

$22,373,000 in distributions against the stated value of their allowed claims. That leaves

a remaining unpaid balance of approximately $9,627,000.




21   Amazon Q1 2022 10-Q.
22   Doc. 3200.
23   Doc. 3582.



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       44.     Muck and Jessup already have received approximately $232.8 million on

their Claims. Assuming and original investment of approximately $160 million, this

represents over $72 million in ill-gotten profits that, if disgorged, would be far more than

what is required to fully pay all other innocent creditors - immediately placing HMIT in

the status of a vested Claimant Trust Beneficiary.

       45.     It is clear Seery facilitated the sale of the Claims to Stonehill (Jessup) and

Farallon (Muck) at discounted prices and used misleading financial projections to

facilitate these trades. This was part of a larger strategy to install Stonehill (Jessup) and

Farallon (Muck), his business allies, onto the Oversight Board where they would oversee

lucrative bonuses and other compensation for Seery in exchange for hefty profits they

expected to receive.

                                    V. Causes of Action

       A.      Count I (against Seery): Breach of Fiduciary Duty

       46.     The allegations in paragraphs 1-45 above are incorporated herein as if set

forth verbatim.

       47.     As CEO and CRO of a debtor-in-possession, Seery owed fiduciary duties to

HMIT, as equity, and to the Debtor’s Estate, including, without limitation, the duty of

loyalty. Seery also was under a duty to avoid conflicts of interests, but Seery willfully and

knowingly engaged in conduct which conflicted with his fiduciary duties—and he did so

out of financial self-interest.



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       48.     By fraudulently providing and/or approving negative projections of the

Debtor’s Estate when he knew otherwise, Seery willfully and knowingly breached his

fiduciary duties.

       49.     By misusing and disclosing confidential, material non-public information

to Stonehill and Farallon, Seery willfully and knowingly breached his fiduciary duties.

       50.     By failing to disclose his role in the inside trades at issue, Seery willfully

and knowingly breached his fiduciary duties.

       51.     As a result of his willful misconduct, Seery was unfairly advantaged by

receiving additional undisclosed compensation and bonuses from the assets of the

Debtor’s Estate and from the Claimant Trust Assets—to the detriment of other innocent

stakeholders, including HMIT, as former equity and a contingent Claimant Trust

Beneficiary.

       52.     To remedy these breaches, Seery is liable for disgorgement of all

compensation he received since his collusion with Farallon and Stonehill first began.

Alternatively, Seery should be disgorged of all compensation paid to him under the terms

of the CTA since the Effective Date of the Plan in August 2021.

       53.     Alternatively, Plaintiffs are entitled to recover damages measured by all ill-

gotten compensation which Seery has received since his first collusive conduct began.




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       B.    Count II (against Stonehill, Farallon, Jessup and Muck): Breaches of
             Fiduciary Duty and Knowing Participation in Breach of Fiduciary Duty

       54.   The allegations in paragraphs 1-53 above are incorporated herein as if set

forth verbatim.

       55.   Seery owed fiduciary duties to HMIT and the Debtor’s Estate, and he

willfully and knowingly breached these duties. Without limiting the foregoing, Seery

owed a duty of loyalty which he willfully and knowingly breached. Seery also owed a

duty to not engage in self-interested conduct to the detriment of the Debtor’s Estate and

innocent stakeholders. Seery also willfully and knowingly breached this duty.

       56.   Stonehill and Farallon were aware of Seery’s fiduciary duties and, by

purchasing the Claims and approving bonuses and other compensation for Seery,

Stonehill (acting through Jessup) and Farallon (acting through Muck), willfully and

knowingly participated in Seery’s breaches or, alternatively, willfully aided and abetted

such breaches.

       57.   Stonehill (Jessup) and Farallon (Muck) unfairly received many millions of

dollars in profits and fees—and stand to earn even more profits and fees—to the

detriment of innocent stakeholders, including HMIT.

       58.   Stonehill and Farallon are liable for disgorgement of all profits earned from

their purchase of the Claims. In addition, they are liable in damages for excessive

compensation paid to Seery as part of the covert quid pro quo with Seery.




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       C.    Count III (against all Defendants): Fraud by Misrepresentation and
             Material Nondisclosure

       59.   The allegations in paragraphs 1-58 above are incorporated herein as if set

forth verbatim.

       60.   Based on Seery’s duties as CEO and CRO of a debtor-in-possession, and the

other Defendants’ duties as non-statutory insiders, Seery, Stonehill (Jessup), and Farallon

(Muck) had a duty to disclose Stonehill and Farallon’s plans to purchase the Claims, but

they deliberately failed to do so. Seery also had a duty to disclose correct financial

projections but, rather, misrepresented such values or failed to correct false and

misleading projections. These factual misrepresentations and omissions were material.

       61.   The withheld financial information was material because it has had an

adverse impact on control over the eventual distributions to creditors and former equity,

as well as the right to control Seery’s compensation. By withholding such information,

Seery was able to plant friendly business allies on the Oversight Board to the detriment

of innocent stakeholders.

       62.   Defendants knew that HMIT and other creditors were ignorant of their

plans, and HMIT and other stakeholders did not have an equal opportunity to discover

their scheme. HMIT and the other innocent stakeholders justifiably relied on misleading

information relating to the value of the Original Debtor’s Estate.




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       63.   By failing to disclose material information, and by making or aiding and

abetting material misrepresentations, Seery, Stonehill, Farallon, Muck, and Jessup

intended to induce HMIT to take no affirmative action.

       64.   HMIT justifiably relied on Seery, Stonehill, Farallon, Muck, and Jessup’s

nondisclosures and representations, and HMIT was injured as a result and the Debtor’s

Estate was also injured.

       65.   As a result of their frauds, all Defendants should be disgorged of all profits

and ill-gotten compensation derived from their fraudulent scheme. Seery is also liable for

damages measured by excessive compensation he has received since he first engaged in

willful misconduct.

       D.    Count IV (against all Defendants): Conspiracy

       66.   The allegations in paragraphs 1-65 above are incorporated herein as if

incorporated herein verbatim.

       67.   Defendants conspired with each other to unlawfully breach fiduciary duties

to HMIT and the Debtor’s Estate, to conceal their fraudulent trades, and to interfere with

HMIT’s entitlement to the residual of the Claimant Trust Asset.

       68.   Seery’s disclosure of material non-public information to Stonehill and

Farallon, and Muck and Jessup’s purchase of the Claims, are each overt acts in

furtherance of the conspiracy.




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        69.   HMIT’s interest in the residual of the Claimant Trust Assets has been

adversely impacted by this conspiracy. The assets have been depleted by virtue of Seery’s

compensation awards.

        E.    Count V (against Muck and Jessup): Equitable Disallowance

        70.   The allegations in paragraphs 1-69 above are incorporated herein as if set

forth verbatim.

        71.   By purchasing the Claims based on material non-public information,

Stonehill and Farallon, through Jessup and Muck, engaged in inequitable conduct.

        72.   By earning significant profits on their purchases, Muck and Jessup have

been unfairly advantaged to the detriment of the remaining stakeholders, including

HMIT.

        73.   Given this inequitable conduct, equitable disallowance of Muck’s and

Jessup’s Claims to the extent over and above their initial investment is appropriate and

consistent with the purposes of the Bankruptcy Code.

        74.   Pleading in the alternative only, subordination of Muck’s and Jessup’s

General Unsecured Claim Trust Interests and Subordinated Claim Trust Interests to all

other interests in the Claimant Trust, including HMIT’s Contingent Trust Interest, is

necessary and appropriate to remedy Muck’s and Jessup’s wrongful conduct, and is also

consistent with the purposes of the Bankruptcy Code.




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       F.    Count VI (against all Defendants): Unjust Enrichment and Constructive
             Trust

       75.   The allegations in paragraphs 1-74 above are incorporated herein as if set

forth verbatim.

       76.   By acquiring the Claims using material non-public information, Stonehill

and Farallon breached a relationship of trust with the Original Debtor’s Estate and other

innocent stakeholders and were unjustly enriched and gained an undue advantage over

other creditors and former equity.

       77.   Allowing Stonehill, Farallon, Muck and Jessup to retain their ill-gotten

benefits at the expense of other innocent stakeholders and HMIT, as former equity, would

be unconscionable.

       78.   Stonehill, Farallon, Muck, and Jessup should be forced to disgorge all

distributions over and above their original investment in the Claims as restitution for

their unjust enrichment.

       79.   The proceeds Stonehill, Farallon, Muck, and Jessup have received from the

Claimant Trust are traceable and identifiable. A constructive trust should be imposed on

such proceeds to secure the restitution of these improperly retained benefits.

       F.    Count VI (Against all Defendants): Declaratory Relief

       80.   The allegations in paragraphs 1-79 are incorporated herein as if set forth

verbatim.




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       81.    HMIT seeks declaratory relief. The Court has jurisdiction to provide

declaratory judgment relief when there is an actual controversy that has arisen and exists

relating to the rights and duties of the parties.

       82.    Bankruptcy Rule 7001 provides that “a proceeding to recover property or

money,” may include declaratory relief. See, Fed. R. Bank P. 7001(1), (9).

       83.    The Claimant Trust Agreement is governed under Delaware law. The

Claimant Trust Agreement incorporates and is subject to Delaware trust law. HMIT seeks

a declaration, as follows:

                  a. There is a ripe controversy concerning HMIT’s rights and
                     entitlements under the Claimant Trust Agreement;

                  b. As a general matter, HMIT has standing to bring an action
                     against a trustee even if its interest is considered contingent;

                  c. HMIT’s status as a Claimant Trust Beneficiary is fully vested
                     upon disgorgement of the ill-gotten profits of Muck and
                     Jessup, and by extension, Farallon and Stonehill;

                  d. HMIT’s status as a Claimant Trust Beneficiary is fully vested
                     upon the equitable disallowance of the Claims held by Muck
                     and Jessup over and above their initial investments.
                     Alternatively, HMIT’s status as a Claimant Trust Beneficiary
                     is fully vested when all of Muck’s and Jessup’s trust interests
                     are subordinated to the trust interests held by HMIT;

                  e. Seery is properly estopped from asserting that HMIT is not an
                     appropriate party to bring this derivative action on behalf of
                     the Reorganized Debtor and/or the Claimant Trust because of
                     Seery’s fraudulent conduct, bad faith, willful misconduct and
                     unclean hands;




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                 f. Muck and Jessup are properly estopped from asserting that
                    HMIT is not an appropriate party to bring this derivative
                    action on behalf of the Reorganized Debtor and the Claimant
                    Trust because of their fraudulent conduct, bad faith, willful
                    misconduct and unclean hands;

                 g. All Defendants are estopped from asserting that HMIT does
                    not have standing in its individual capacity due to their
                    fraudulent conduct, bad faith, willful misconduct and
                    unclean hands.

                                 VI. Punitive Damages

       84.    The allegations in paragraphs 1-74 are incorporated herein as if set forth

verbatim.

       85.    The Defendants’ misconduct was intentional, knowing, willful and

fraudulent and in total disregard of the rights of others. An award of punitive damages

is appropriate and necessary under the facts of this case.

       86.    All conditions precedent to recovery herein have been satisfied.

                                       VII. Prayer

       WHEREFORE, HMIT prays for judgment as follows:

       1.     Equitable disallowance of the Claims over and above Muck’s and Jessup’s
              original investments (or, alternatively, subordination of their Claimant
              Trust Interests, as addressed herein);

       2.     Disgorgement of all funds distributed from the Claimant Trust to Muck
              and/or Jessup over and above their original investments;

       3.     Disgorgement of compensation paid to Seery in managing or administering
              the Original and Reorganized Debtor’s Estate;

       4.     Imposition of a constructive trust;



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       5.    Declaratory relief as described herein;

       6.    An award of actual damages as described herein;

       7.    An award of exemplary damages as allowed by law;

       8.    Pre- and post-judgment interest; and,

       9.    All such other and further relief to which HMIT may be justly entitled.



                                                Respectfully Submitted,

                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/
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                                                     smcentire@pmmlaw.com
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                                                     Dallas, Texas 75201
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                                                     Facsimile: (214) 237-4340

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                                                    Facsimile: (713) 960-7347

                                                    Attorneys for Hunter Mountain
                                                    Investment Trust




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                         Exhibit 2




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                                    CAUSE NO. DC-21-09534

  IN RE JAMES DONDERO,                               § IN THE DISTRICT COURT
                                                     §
       Petitioner.                                   § 95th JUDICIAL DISTRICT
                                                     §
                                                     § DALLAS COUNTY, TEXAS



                           DECLARATION OF JAMES DONDERO

COUNTY OF DALLAS               §
                               §
STATE OF TEXAS                 §


Mr. James Dondero provides this unswom declaration under TEXAS CIVIL PRACTICE & REMEDIES

CODE§ 132.001.


   1. My name is James Dondero. I declare under penalty of perjury that I am over the age of 18
and of sound mind and competent to make this declaration.

    2. Earlier this year I retained investigators to look into certain activities involving the
respondents in the above-styled case and the related bankruptcy proceedings. Last year, I called
Farallon's Michael Lin about purchasing their claims in the bankruptcy. I offered them 30% more
than what they paid. I was told by Michael Lin ofFarallon that they purchased the interests without
doing any due diligence other than what Mr. James Seery-the CEO of Highland-told them, and
that he told them that the interests would be worth far more than what Farallon paid. Given the
value of those claims that Mr. Seery had testified in court, it made no sense to me that Mr. Lin
would think that the claims were worth more than what Mr. Seery testified under oath was the
value of the bankruptcy claims.

    3. In addition to my role as equity holder in the Crusader Funds, I have an interest in ensuring
that the claims purchased by Respondents are not used as a means to deprive the equity holders of
their share of the funds. It has become obvious that despite the fact that the bankrupt estate has
enough money to pay all claimants 100 cents on the dollar, there is plainly a movement afoot to
drain the bankrupt estate and deprive equity of their rights.

   4. Accordingly, I commissioned an investigation by counsel who have been in
communication with the Office of the United States Trustee. True and correct copies of the reports,
which were created in the ordinary course, and their attachments, are attached hereto as Exhibits
A and B. A true and correct copy of the letter I received from Alverez and Marsal is attached as
Exhibit C hereto.


Declaration of James Dondero                                                                Page I

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  My name is James Dondero, my birthday is on June 29, 1962. My address is 300 Crescent Court,

  Suite 700, Dallas, Texas 75201. I declare under penalty of perjury that the foregoing testimony is

  true and correct and is within my personal knowledge.




                                              ~OJ-u   James Dondero

                                                     ---~fav 3 l 7022
                                                      Date




 Declaration of James Dondero                                       Page 2

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                                                    NEW ORLEANS, LOUISIANA 70130-6103
                                                 TELEPHONE: (504) 299-3300 FAX: (504) 299-3399

Douglas S. Draper
Direct Dial: (504) 299-3333
E-mail: ddraper@hellerdraper.com                                                                                EDWARD M. HELLER
                                                                                                                    (1926-2013)




                                                              October 5, 2021


           Mrs. Nan R. Eitel
           Office of the General Counsel
           Executive Office for U.S. Trustees
           20 Massachusetts Avenue, NW
           8th Floor
           Washington, DC 20530
                      Re:          Highland Capital Management, L.P. - USBC Case No. 19-34054sgjll
           Dear Nan,
                    The purpose of this letter is to request that your office investigate the circumstances
           surrounding the sale of claims by members of the Official Committee of Unsecured Creditors
           ("Creditors' Committee") in the bankruptcy of Highland Capital Management, L.P. ("Highland"
           or "Debtor"). As described in detail below, there is sufficient evidence to warrant an immediate
           investigation into whether non-public inside information was furnished to claims purchasers.
           Further, there is reason to suspect that selling Creditors' Committee members may have violated
           their fiduciary duties to the estate by tying themselves to claims sales at a time when they should
           have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
           Committee members sold their claims without advance disclosure, in violation of applicable
           guidelines from the U.S. Trustee's Office. This letter contains a description of information and
           evidence we have been able to gather, and which we hope your office will take seriously.
                    By way of background, Highland, an SEC-registered investment adviser, filed for
           Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the District of
           Delaware on October 16, 2019, listing over $550 million in assets and net $110 million in
           liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
           G.C. Jernigan. Highland's decision to seek bankruptcy protection primarily was driven by an
           expected net $110 million arbitration award in favor of the "Redeemer Committee." 1 After
           nearly 30 years of successful operations, Highland and its co-founder, James Dondero, were
           advised by Debtor's counsel that a court-approved restructuring of the award in Delaware was in
           Highland's best interest.

           1
             The "Redeemer Committee" was a group of investors in a Debtor-managed fund called the "Crusader Fund" that
           sought to redeem their interests during the global financial crisis. To avoid a run on the fund at low-watermark
           prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
           the fund manager. The ultimate resolution involved the formation of the "Redeemer Committee" and an orderly
           liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
           the dollar they would have received had the fund been liquidated when the redemption requests were made.


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       I became involved in Highland's bankruptcy through my representation of The Dugaboy
Investment Trust ("Dugaboy"), an irrevocable trust of which Mr. Dondero is the primary
beneficiary. Although there were many issues raised by Dugaboy and others in the case where
we disagreed with the Court's rulings, we will address those issues through the appeals process.
       From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in
Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
the Creditors' Committee to resign as the sole director of the Debtor's general partner, on the
condition that he would be replaced by three independent directors who would act as fiduciaries
of the estate and work to restructure Highland's business so it could continue operating and
emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
Redeemer Committee each to choose one director and also established protocols for operations
going forward. Mr. Dondero chose The Honorable Former Jud~e Russell F. Nelms, UBS chose
John Dubel, and the Redeemer Committee chose James Seery. It was expected that the new,
independent management would not only preserve Highland's business but would also preserve
jobs and enable continued collaboration with charitable causes supported by Highland and Mr.
Dondero.
        Judge Jernigan confirmed Highland's Fifth Amended Plan of Reorganization on February
22, 2021 (the "Plan"). We have appealed certain aspects of the Plan and will rely upon the Fifth
Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
to your attention the possible disclosure of non-public information by Committee members and
other insiders and to seek review of actions by Committee members that may have breached their
fiduciary duties-both serious abuses of process.

           1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                   Part To the Debtor's Failure To File Rule 2015.3 Reports
        Congress, when it drafted the Bankruptcy Code and created the Office of the United
States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
and guidelines in bankruptcy. Since that time, the Executive Office for United States Trustees
(the "EOUST") has issued guidance and published rules designed to effectuate that purpose. To
that end, EOUST recently published a final rule entitled "Procedures for Completing Uniform
Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title 11" (the
"Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's
financial condition and business activities" and "to inform creditors and other interested parties
of the debtor's financial affairs." 85 Fed. Reg. 82906. The goal of the Periodic Reporting
Requirements is to "assist the court and parties in interest in ascertaining, [among other things],
the following: (1) Whether there is a substantial or continuing loss to or diminution of the
bankruptcy estate; ... (3) whether there exists gross mismanagement of the bankruptcy estate; ..
. [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales
or otherwise .... " Id.
        Transparency has long been an important feature of federal bankruptcy proceedings. The
EOUST instructs that "Debtors-in-possession and trustees must account for the receipt,
administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and file periodic reports and summaries of a
debtor's business, including a statement of receipts and disbursements, and such other

2
    See Appendix, pp. A-3 - A-14.




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information as the United States Trustee or the United States Bankruptcy Court requires." See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(l), 1107(a)). And
Federal Rule of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession
shall file periodic financial reports of the value, operations, and profitability of each entity that is
not a publicly traded corporation or a debtor in a case under title 11, and in which the estate
holds a substantial or controlling interest." This rule requires the trustee or a debtor in
possession to file a report for each non-debtor affiliate prior to the first meeting of creditors and
every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
effective date merely because a plan has become effective. 3 Notably, the U.S. Trustee has the
duty to ensure that debtors in possession properly and timely file all required reports. 28 U.S.C.
§ 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders
can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
requirements. In fact, 11 U.S.C. § 1102(b)(3) requires a creditors' committee to share
information it receives with those who "hold claims of the kind represented by the committee"
but who are not appointed to the committee. In the case of the Highland bankruptcy, the
transparency that the EOUST mandates and that creditors' committees are supposed to facilitate
has been conspicuously absent. I have been involved in a number of bankruptcy cases
representing publicly-traded debtors with affiliated non-debtor entities, much akin to Highland's
structure here. In those cases, when asked by third parties (shareholders or potential claims
purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015 .3
reports. In this case, however, no Rule 2015.3 reports were filed, and financial information that
might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
number of documents were filed under seal or heavily redacted. As a result, the only means to
make an informed decision as to whether to purchase creditor claims and what to pay for those
claims had to be obtained from non-public sources.
        It bears repeating that the Debtor and its related and affiliated entities failed to file any of
the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
reports filed on behalf of the Debtor and its affiliates during the bankruptcy proceedings. The
U.S. Trustee's Office in Dallas did nothing to compel compliance with the rule.
        The Debtor's failure to file the required Rule 2015.3 reports was brought to the attention
of the Debtor, the Bankruptcy Court, and the U.S. Trustee's Office. During the hearing on Plan
confirmation, the Debtor was questioned about the failure to file the reports. The sole excuse
offered by the Debtor's Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was
that the task "fell through the cracks." 4 This excuse makes no sense in light of the years of
bankruptcy experience of the Debtor's counsel and financial advisors. Nor did the Debtor or its
counsel ever attempt to show "cause" to gain exemption from the reporting requirement. That is
because there was no good reason for the Debtor's failure to file the required reports. In fact,
although the Debtor and the Creditors' Committee often refer to the Debtor's structure as a
"byzantine empire," the assets of the estate fall into a handful of discrete investments, most of
which have audited financials and/or are required to make monthly or quarterly net-asset-value
or fair-value determinations. 5 Rather than disclose financial information that was readily
3
  After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015 .3 disclosure requirement "for
cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[ e]
reporting requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Banla.
2015.3(d).
4
  See Doc. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21).
5
  During a deposition, the Debtor's Chief Restructuring Officer, Mr. Seery, identified most of the Debtor's assets
"[ o ]ff the top of [his] head" and acknowledged that he had a subsidiary ledger that detailed the assets held by entities




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available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
and the U.S. Trustee's Office did nothing to rectify the problem.
         By contrast, the Debtor provided the Creditors' Committee with robust weekly
information regarding (i) transactions involving assets held directly on the Debtor's balance
sheet or the balance sheet of the Debtor's wholly owned subsidiaries, (ii) transactions involving
entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
transactions involving entities managed by the Debtor but in which the Debtor does not hold a
direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the Committee had
real-time, actual information with respect to the financial affairs of non-debtor affiliates, and this
is precisely the type of information that should have been disclosed to the public pursuant to
Rule 2015.3.
        After the claims at issue were sold, I filed a Motion to Compel compliance with the
reporting requirement. Judge Jernigan held a hearing on the motion on June 10, 2021.
Astoundingly, the U.S. Trustee's Office took no position on the Motion and did not even bother
to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as "moot"
because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
becoming effective does not alleviate the Debtor's burden of filing the requisite reports.
        The U.S. Trustee's Office also failed to object to the Court's order confirming the
Debtor's Plan, in which the Court appears to have released the Debtor from its obligation to file
any reports after the effective date of the Plan that were due for any period prior to the effective
date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
Trustee's failure to object to this portion of the Court's order is directly at odds with the spirit
and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee's duty to
ensure that debtors timely file all required reports.
        2.      There Was No Transparency Regarding The Financial Affairs Of Non-
                Debtor Affiliates Or Transactions Between The Debtor And Its Affiliates
        The Debtor's failure to file Rule 2015 .3 reports for affiliate entities created additional
transparency problems for interested parties and creditors wishing to evaluate assets held in non-
Debtor subsidiaries. In making an investment decision, it would be important to know if the
assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
businesses/other illiquid assets. The Debtor's failure to file Rule 2015.3 reports hid from public
view the composition of the assets and the corresponding liabilities at the subsidiary level.
During the course of proceedings, the Debtor sold $1 72 million in assets, which altered the asset
mix and liabilities of the Debtor's affiliates and controlled entities. Although Judge Jernigan
held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity.
In the Appendix, I have included a schedule of such sales.
       Of particular note, the Court authorized the Debtor to place assets that it acquired with
"allowed claim dollars" from HarbourVest (a creditor with a contested claim against the estate)
into a specially-created non-debtor entity ("SPE"). 6 The Debtor's motion to settle the

below the Debtor. See Appendix, p. A-19 (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
6
  Prior to Highland's bankruptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF"). A dispute later arose between HarbourVest




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HarbourVest claim valued the asset acquired (HarbourVest's interest in HCLOF) at $22 million.
In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
entity, its true value would have been reflected in the Debtor's subsequent reporting. By instead
placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
as information relating to its disposition; all the public saw was the filed valuation of the asset.
The U.S. Trustee did not object to the Debtor's placement of the HarbourVest assets into an SPE
and apparently just deferred to the judgment of the Creditors' Committee about whether this was
appropriate. 7 Again, when the U.S. Trustee's Office does not require transparency, lack of
transparency significantly increases the need for non-public information.             Because the
HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
insider information could possibly ascertain how the acquisition would impact the estate.
        3.       The Plan's Improper Releases And Exculpation Provisions Destroyed Third-
                 Party Rights
        In addition, the Debtor's Plan contains sweeping release, exculpation provisions, and a
channeling injunction requiring that any permitted causes of action to be vetted and resolved by
the Bankruptcy Court. On their face, these provisions violate Pacific Lumber, in with the United
States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
U.S. Trustee's Office in Dallas has, in all cases but this one, vigorously protected the rights of
third parties against such exculpation clauses. In this case, the U.S. Trustee's Office objected to
the Plan, but it did not pursue that objection at the confirmation hearing (nor even bother to
attend the first day of the hearing), 8 nor did it appeal the order of the Bankruptcy Court
approving the Plan and its exculpation clauses.
        As a result of this failure, third-party investors in entities managed by the Debtor are now
barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
Debtor or its management for transactions that occurred at the non-debtor affiliate level. Those
investors' claims are barred notwithstanding that they were not notified of the releases and have
never been given any information with which to evaluate their potential claims, nor given the
opportunity to "opt out." Conversely, the releases insulate claims purchasers from the risk of
potential actions by investors in funds managed by the Debtor (for breach of fiduciary duty,
diminution in value, or otherwise). These releases are directly at odds with investors'
expectations when they invest in managed funds-i.e., that fund managers will act in a fiduciary
capacity to maximize investors' returns and that investors will have recourse for any failure to do
so. While the agreements executed by investors may limit the exposure of fund managers,
typically those provisions require the fund manager to obtain a third-party fairness opinion where
there is a conflict between the manager's duty to the estate and his duty to fund investors.
       As an example, the Court approved the settlement of UBS' s claim against the Debtor and
two funds managed by the Debtor (collectively referred to as "MultiStrat"). Pursuant to that
settlement, MultiStrat agreed to pay UBS $18.5 million and represented that it was advised by
"independent legal counsel" in the negotiation of the settlement. 9 That representation is untrue;

and Highland, and HarbourVest filed claims in the Highland bankruptcy approximating $300 million in relation to
damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
HarbourVest's claim (the Debtor's monthly operating report for December 2020 indicated that HarbourVest's
allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVest-approved by the
Bankruptcy Court-which entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor's Plan.
7
  Dugaboy has appealed the Bankruptcy Court's ruling approving the placement of the HarbourVest assets into a
non-reporting SPE.
8
  See Doc. 1894 (Feb. 2, 2021 Hr'g Tr. at 10:7-14).
9
  See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch) at




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MultiStrat did not have separate legal counsel and instead was represented only by the Debtor's
counsel. 10 If that representation and/or the terms of the UBS/MultiStrat settlement in some way
unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The
release and exculpation provisions in Highland's Plan do not afford third parties any meaningful
recourse to third parties, even when they are negatively impacted by misrepresentations of the
type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
managers' failure to obtain fairness opinions to resolve conflicts of interest.
        The U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
Pharmaceuticals that release and exculpations clauses akin to those contained in Highland's Plan
violate both the Bankruptcy Code and the Due Process Clause of the United States
Constitution.11 It has been the U.S. Trustee's position that where, as here, third parties whose
claims are being released did not receive notice of the releases and had no way of knowing,
based on the Plan's language, what claims were extinguished, third-party releases are contrary to
law. 12 This position comports with Fifth Circuit case law, which makes clear that releases must
be consensual, and that the released party must make a substantial contribution in exchange for
any release.      Highland's Plan does not provide for consent by third parties (or an opt-out
provision), nor does it require that released parties provide value for their releases. Under these
circumstances, it is difficult to understand why the U.S. Trustee's Office in Dallas did not lodge
an objection to the Plan's release and exculpation provisions. Several parties have appealed this
issue to the Fifth Circuit.
        4.       The Lack Of Transparency Facilitated Potential Insider Trading
         The biggest problem with the lack of transparency at every step is that it created a need
for access to non-public confidential information. The Debtor (as well as its advisors and
professionals) and the Creditors' Committee (and its counsel) were the only parties with access
to critical information upon which any reasonable investor would rely. But the public did not.
        In the context of this non-transparency, it is notable that three of the four members of the
Creditors' Committee and one non-committee member sold their claims to two buyers, Muck
Holdings LLC ("Muck") and Jessup Holdings LLC ("Jessup"). The four claims that were sold
comprise the largest four claims in the Highland bankruptcy by a substantial mar~in, 13
collectively totaling almost $270 million in Class 8 claims and $95 million in Class 9 claims 4 :
  Claimant                         Class 8 Claim              Class 9 Claims             Date Claim Settled
  Redeemer Committee               $136,696,610               NIA                        October 28, 2020
  Acis Capital                     $23,000,000                NIA                        October 28, 2020
  HarbourVest                      $45,000,000                $35,000,000                January 21, 2021
  UBS                              $65,000,000                $60,000,000                May 27, 2021
  TOTAL:                           $269,6969,610              $95,000,000
       Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we
have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
("Stonehill"). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

Ex. 1, §§ l(b), 11; see Appendix, p. A-57.
10
   The Court's order approving the UBS settlement is under appeal in part based on MultiStrat' s lack of independent
legal counsel.
11
   See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation
Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
12
   See id. at 22.
13
   See Appendix, p. A-25.
14
   Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.




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and Jessup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
over time to creditors who have not sold their claims.
        This is concerning because there is substantial evidence that Farallon and Stonehill may
have been provided material, non-public information to induce their purchase of these claims. 15
In particular, there are three primary reasons we believe that non-public information was made
available to facilitate these claims purchases:

         •        The scant publicly-available information regarding the Debtor's estate ordinarily
                  would have dissuaded sizeable investment in purchases of creditors' claims;

         •        The information that actually was publicly available ordinarily would have
                  compelled a prudent investor to conduct robust due diligence prior to purchasing
                  the claims;

         •        Yet these claims purchasers spent in excess of $100 million (and likely closer to
                  $150 million) on claims, ostensibly without any idea of what they were
                  purchasing.
         We believe the claims purchases of Stonehill and Farallon can be summarized as follows:

     Creditor              Class 8        Class 9         Purchaser                      Purchase Price
     Redeemer             $137.0         $0.0             Stonehill                     $78.0 10
     ACIS                 $23.0          $0.0             Farallon                      $8.0
     HarbourVest          $45.0          $35.0            Farallon                      $27.0
     UBS                  $65.0          $60.0            Stonehill and Farallon         $50.0 1 I


       To elaborate on our reasons for suspicion, an analysis of publicly-available information
would have revealed to any potential investor that:

         •        There was a $200 million dissipation in the estate's asset value, which started at a
                  scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                  million as of September 30, 2020, and then increased only slightly to $364 million
                  as of January 31, 2021. 18

15
   A timeline of relevant events can be found at Appendix, p. A-26.
16
   See Appendix, pp. A-70-A-71. Because the transaction included "the majority of the remaining investments held
by the Crusader Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.
17
   Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
Stonehill and Farallon had access to information that only came to light later-i.e., that the estate was actually worth
much, much more (between $472-600 million as opposed to $364 million)-then it makes sense that they would pay
what they did to buy the UBS claim.
18
   Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor's
settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which we believe was worth
approximately $44.3 million as ofJanuary 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021




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         •       The total amount of allowed claims against the estate increased by $236 million;
                 indeed, just between the time the Debtor's disclosure statement was approved on
                 November 24, 2020, and the time the Debtor's exhibits were introduced at the
                 confirmation hearing, the amount of allowed claims increased by $100 million.

         •       Due to the decrease in the value of the Debtor's assets and the increase in the
                 allowed claims amount, the ultimate projected recovery for creditors in
                 bankruptcy went from 87.44% to 62.99% in just a matter of months. 19
No prudent investor or hedge fund investing third-party money would purchase substantial
claims out of the Highland estate based on this publicly-available information without
conducting thorough due diligence to be satisfied that the assets of the estate would not continue
to deteriorate or that the allowed claims against the estate would not continue to grow.
        There are other good reasons to investigate whether Muck and Jessup (through Farallon
and Stonehill) had access to material, non-public information that influenced their claims
purchasing. In particular, there are close relationships between the claims purchasers, on the one
hand, and the selling Creditors' Committee members and the Debtor's management, on the other
hand. What follows is our understanding of those relationships:

         •       Farallon and Stonehill have long-standing, material, undisclosed relationships
                 with the members of the Creditors' Committee and Mr. Seery. 20 Mr. Seery
                 formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                 collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                 business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                 Austin as co-head of the corporate restructuring and bankruptcy group, where he
                 worked with Matt Clemente, counsel to the Creditors' Committee in these
                 bankruptcy proceedings.

         •       In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                 Redeemer Committee (which appointed Seery as its independent director) both
                 played a substantial role on the Creditors' Committee and is a large investor in
                 Farallon and Stonehill.

         •       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                 Seery represented Farallon in its acquisition of claims in the Lehman estate.

         •       Also while at Sidley, Mr. Seery represented the Steering Committee in the
                 Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                 Motulsky) was one of the five members of the Steering Committee.

         •       Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                 Partner of River Birch Capital, a hedge fund founded by his former Lehman
                 colleagues. He left River Birch in October 201 7 just before the fund imploded.
                 In 201 7, River Birch and Stonehill Capital were two of the biggest note holders in
                 the Toys R Us bankruptcy and were members of the Toys R Us creditors'


monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
$74 million in December 2020.
19 See Appendix, pp. A-25, A-28.
20
   See Appendix, pp. A-2; A-62 -A-69.




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                   committee.

It does not seem a coincidence that two firms with such significant ties to Mr. Seery have
purchased $365 million in claims. The nature of the relationships and the absence of public data
warrants an investigation into whether the claims purchasers may have had access to non-public
information.
         Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end '40 Act fund with
many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
registered investment adviser with $3 billion under management that has historically owned very
few equity interests, particularly equity interests in a closed-end fund. As disclosed in SEC
filings, Stonehill acquired enough stock in NHF during the second quarter of 2021 to make it
Stonehill's eighth largest equity position.
        The timing of the acquisitions of claims by Farallon and Stonehill also warrants
investigation. In particular, although notices of the transfer of the claims were filed immediately
after the confirmation of the Debtor's Plan and prior to the effective date of the Plan, it seems
likely that negotiations began much earlier. Transactions of this magnitude do not take place
overnight and typically require robust due diligence. We know, for example, that Muck was
formed on March 9, 2021, more than a month before it filed notice that it was purchasing the
Acis claim. If the negotiation or execution of a definitive agreement for the purchase began
before or contemporaneously with Muck's formation, then there is every reason to investigate
whether selling Creditors' Committee members and/or Debtor management provided Farallon
with critical non-public information well before the Creditors' Committee members sold their
claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
that they purchased the Acis and HarbourVest claims in late January or early February. We
believe an investigation will reveal whether negotiations of the sale and the purchase of claims
from Creditors' Committee members preceded the confirmation of the Debtor's Plan and the
resignation of those members from the Committee.
        Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
Crusader Fund and the Redeemer Committee had "consummated" the sale of the Redeemer
Committee's claims and other assets on Agril 30, 2021, "for $78 million in cash, which was paid
in full to the Crusader Funds at closing." 1 We also know that there was a written agreement
among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
affirmative and negative covenants upon the seller and grant the purchaser discretionary approval
rights during the pendency of the sale. An investigation by your office is necessary to determine
whether there were any such agreement, which would necessarily conflict with the Creditors'
Committee members' fiduciary obligations.
       The sale of the claims by the members of the Creditors' Committee also violates the
guidelines provided to committee members that require a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. The instructions
provided by the U.S. Trustee's Office (in this instance the Delaware Office) state:




21
     See Appendix, pp. A-70 - A-71.




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         In the event you are appointed to an offidal committee of creditors,, the UnUed States Trustee may require
 periodic certH"ications of your claims whi ~e, th e bankruptcy case ,is pending. Crtditors w~shing to serve as
 fiduciaries on any offkial commiftct· are advis,t•d that thty may not purchase. sell or othcrwist• trnde i11 or transfer
 claims ag,i:linst the Debtor \\hile tlH·~· a,re committee members absent an order of the Court. By submitting thc1




 enclosed Questfonnain' and accepting 11Mnbcrshi1J on an official committee of cn-ditors. rou agree to this
 prohibition. The Lnited States Trustee reser-res the dgh1t to, bike appropriate action, indud,ing removing a
 creditor from any committee, if the information pro,-- ided in the Questionnai1re is inaccurate, if the foregoing
 prohibition is vio la,ted , or for any otiher reason the United States Trustee bel,ieves is proper in the exercise of her
 discretion. You are hereby notified that the United S,ta tes Trustee may share th is information with the Securiities
 and Excham1ge Commission tf deemed appropriate.
In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee's Office
took no action to enforce this guideline. The Creditors' Committee members were sophisticated
entities, and they were privy to inside information that was not available to other unsecured
creditors. For example, valuations of assets placed into a specially-created affiliated entities,
such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
entities owned or controlled by the Debtor, were available to the selling Creditors' Committee
members, but not other creditors or parties-in-interest.

       While claims trading itself is not necessarily prohibited, the circumstances surrounding
claims trading often times prompt investigation due to the potential for abuse. This case
warrants such an investigation due to the following:

          a)       The selling parties were three of the four Creditors' Committee members, and
                   each one had access to information they received in a fiduciary capacity;
          b)       Some of the information they received would have been available to other parties-
                   in-interest if Rule 2015.3 had been enforced;
          c)       The sales allegedly occurred after the Plan was confirmed, and certain other
                   matters immediately thereafter came to light, such as the Debtor's need for an exit
                   loan (although the Debtor testified at the confirmation hearing that no loan was
                   needed) and the inability of the Debtor to obtain Directors and Officer insurance;
          d)       The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
                   pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
                   to distributing those recoveries to creditors, and the Debtor used third-party assets
                   as consideration for the settlement22 ;
          e)       The projected recovery to creditors changed significantly between the approval of
                   the Disclosure Statement and the confirmation of the Debtor's Plan; and

          f)       There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   that is publicly traded on the New York stock exchange. The Debtor's assets and
                   the positions held by the closed-end fund are similar.
        Further, there is reason to believe that insider claims-trading negatively impacted the
estate's ultimate recovery. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr.
Dondero, through counsel, made numerous offers of settlement that would have maximized the
estate's recovery, even going so far as to file a proposed Plan of Reorganization. The Creditors'
Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors' Committee counsel that its




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members had a fiduciary duty to respond that a response was forthcoming. Mr. Dondero' s
proposed plan offered a greater recovery than what the Debtor had reported would be the
expected Plan recovery. The Creditors' Committee's failure to timely respond to that offer
suggests that some members may have been contractually constrained from doing so, which
itself warrants investigation.
        We encourage the EOUST to question and explore whether, at the time that Mr.
Dondero's proposed plan was filed, the Creditors' Committee members already had committed
to sell their claims and therefore were contractually restricted from accepting Mr. Dondero's
materially better offer. If that were the case, the contractual tie-up would have been a violation
of the Committee members' fiduciary duties. The reason for the U.S. Trustee's guideline
concerning the sale of claims by Committee members was to allow a public hearing on whether
Committee members were acting within the bounds of their fiduciary duties to the estate incident
to the sale of any claim. The failure to enforce this guideline has left open questions about sale
of Committee members' claims that should have been disclosed and vetted in open court.
        In summary, the failure of the U.S. Trustee's Office to demand appropriate reporting and
transparency created an environment where parties needed to obtain and use non-public
information to facilitate claims trading and potential violations of the fiduciary duties owed by
Creditors' Committee members. At the very least, there is enough credible evidence to warrant
an investigation. It is up to the bankruptcy bar to alert your office to any perceived abuses to
ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
Marcus should not be allowed to occur.
        We would appreciate a meeting with your office at your earliest possible convenience to
discuss the contents of this letter and to provide additional information and color that we believe
will be valuable in making a determination about whether and what to investigate. In the
interim, if you need any additional information or copies of any particular pleading, we would be
happy to provide those at your request.

                                                     Very truly yours,

                                                     ls/Douglas S. Draper

                                                     Douglas S. Draper

DSD:dh




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                                                                                                  Relationships Among Debtor's CEO/CRO, the UCC, and Claims Purchasers
                                                                                                   Provided initial
                                                                                                    seed capital
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                                                                                                   Counsel to                Counsel to UCC
                                                                                                                            (Matt Clemente)




                                                                                                                                                                           *Is there an affiliate relationship
                                                                                                                                                                           between Stonehill, Grosvenor, and
                                                                                                                                                                           Farallon? Has it been adequately
                                                                                                                                                                           disclosed to the u:iurt and ir.i.vestors?
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                                Debtor Protocols [Doc. 466-1]

        I.    Definitions
              A.     "Court" means the United States Bankruptcy Court for the Northern District of
                     Texas.
              B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                     entity's assets less the value of its liabilities calculated as of the month end prior
                     to any Transaction; and (B) with respect to a CLO, the CLO's gross assets less
                     expenses calculated as of the quarter end prior to any Transaction.
              C.     "Non-Discretionary Account" means an account that is managed by the Debtor
                     pursuant to the terms of an agreement providing, among other things, that the
                     ultimate investment discretion does not rest with the Debtor but with the entity
                     whose assets are being managed through the accowtt.
              D.     "Related Entity" means collectively (A)(i) any non-publicly traded third party in
                     which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                     respect to Messrs. Okada, Scott and Honis, only to the extent known by the
                     Debtor) has any direct or indirect economic or ownership interest, including as a
                     beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                     Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
                     Okada, Scott and Houis, only to the extent known by the Debtor); (iii) MGM
                     Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor
                     or any Related Entity has filed a Form 13D or Form BG; (v) any relative (as
                     defined in Section IO I of the Bankrnptcy Code) of Mr. Dondero or Mr. Okada
                     each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                     Mountain Investment Trnst and Dugaboy Investment Trust; (vii) any entity or
                     person that is an insider of the Debtor under Section 101 (31) the Bankruptcy
                     Code, including any "non-statutory" insider; and (viii) to the extent not included
                     in (A)(i)-(vii), any entity included in the listing of related entities in Schedule B
                     hereto (the "Related Entities Listing"); and (B) the following Transactions,
                     (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                     16.a through 16.e of the Debtor's cash management motion [Del. Docket No. 7];
                     and (y) any Transactions with Charitable DAF Fund. L.P. (provided, however,
                     that additional parties may be added to this subclause (y) with the mutual consent
                     of the Debtor and the Committee, such consent not to be unreasonably withheld).
              E.     "Stage l" means the time period from the date of execution of a term sheet
                     incorporating the protocols contained below the ("Term Sheet") by all applicable
                     parties until approval of the Tenn Sheet by the Court.
              F.     "Stage 2" means the date from the appointment of a Board of Independent
                     Directors at Strand Advisors, Inc. until 45 days after such appointment, such
                     appointment being effective upon Court approval.
              G.     "Stage 3" means any date after Stage 2 while there is a Board of Independent
                     Directors at Strand Advisors, lnc.
              H.     "Transaction" means (i) any purchase, sale, or exchange of assets, (ii) any lending
                     or borrowing of money, including the direct payment of any obligations of
                     another entity, (iii) the satisfaction of any capital calJ or other contractual



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                     requirement to pay money, including the satisfaction of any redemption requests,
                     (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
               1.     "Ordinary Course Transaction" means any transaction with any third party which
                      is not a Related Entity and that would otherwise constitute an "ordinary course
                      transaction" under section 363(c) of the Bankruptcy Code.
               J.     "Notice" means notification or communication in a written format and shall
                      include supporting documents necessary to evaluate the propriety of the proposed
                      transaction.
               K.     "Specified Entity" means any of the following entities: AClS CLO 2017-7 Ltd.,
                      Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                      CLO 2018-1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                      Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd. ,
                      Rockwall COO I1 Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                      Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                      Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                      CDO Ltd. , Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd. , Liberty CLO, Ltd.,
                      Red River CLO, Ltd., Valhalla CLO, Ltd.
         II.   Transactions invoJving the (i) assets he]d directly on the Debtor's balance sheet or
               the balance sheet of the Debtor's wholJy-owned subsidiaries, including Jefferies
               Prime Account, and (ii) the Highland SeJect Equity Fund, L.P., Highland Multi
               Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
               A.     Covered Entities: NIA (See entities above).
               B.     Operating Requirements
                      I.     Ordinary Course Transactions do not require Court approval ( Al 1 Stages).
                             a)     Stage 1 and Stage 2: ordinary course determined by the CRO.
                             b)     Stage 3: ordinary course determined by the Debtor.
                      2.     Related Entity Transactions
                             a)     Stage 1 and Stage 2: Transactions with Related Entities require
                                    prior approval of CRO and five business days advance notice to
                                    the Committee and if the Committee objects, the burden is on the
                                    Debtor to seek Court approval, which the Committee agrees may
                                    be sought on an expedited basis.
                             b)     Stage 3:
                                    (1)     Transactions with Related Entities greater than $1,000,000
                                            (either individually or in the aggregate basis on a rolling 30
                                            day period) require five business days advance notice to the
                                            Committee and if the Committee objects, the burden is on
                                            the Debtor to seek Court approval, which the Committee
                                            agrees may be sought on an expedited basis.




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                                             (2)      Transactions with Related Entities greater than $2,000,000
                                                      (either individually or in the aggregate basis on a rolling 30
                                                      day period) require Court approval, which the Committee
                                                      agrees may be sought on an expedited basis.
                            3.       Third Party Transactions (All Stages)
                                     a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                             $2,000,000 (either individually or in the aggregate basis on a
                                             rolling 30 day period) require three business days advance notice
                                             to Committee and if the Committee objects, the burden is on the
                                             Debtor to seek Court approval, which the Committee agrees may
                                             be sought on an expedited basis.
                                     b)      The Debtor may satisfy any redemption requests from entities that
                                             are not Related Entities without advance notice so long as the
                                             Debtor provides notice of such Transactions to the Committee as
                                             soon as reasonably practicable. The Debtor will provide the
                                             Committee with five business days advance notice of any
                                             redemption requests made by and payable to a Related Entity, and
                                             if the Committee objects, the burden is on the Debtor to seek Court
                                             approval, which the Committee agrees may be sought on an
                                             expedited basis.
                                     c)      The Debtor may satisfy margin calls and short covers without
                                             providing the Committee advance notice if the exigencies do not
                                             allow advance notice so long as the Debtor provides notice of such
                                             Transactions to the Committee as soon as reasonably practicable.
                   C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                            showing all Transactions under this category.
           III.    Transactions involving entities the Debtor manages and in which the Debtor holds a
                   direct or indirect interest (other than the entities discussed in Section I above)
                   A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                            all entities the Debtor manages and in which the Debtor holds a direct or indirect
                            interest (other than the entities discussed in Section I above). 1
                   B.       Operating Requirements
                            I.       Ordinary Course Transactions do not require Court approval (All Stages).
                                     a)      Stage l and Stage 2: ordinary course determined by the CRO.
                                    b)       Stage 3: ordinary course determined by the Debtor.
                            2.       Related Entity Transactions



           1 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
           entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
           the extent necessary.




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                      a)      Stage 1 and Stage 2: Transactions with Related Entities require
                              prior approval of CRO and five business days advance notice to
                              the Committee and if the Committee objects, the burden is on the
                              Debtor to seek Court approval~ which the Committee agrees may
                              be sought on an expedited basis.
                      b)      Stage 3:
                              (1)    Transactions with Related Entities greater than $1,000,000
                                     (either individually or in the aggregate basis on a rolling 30
                                     day period) require ft ve business days advance notice to the
                                     Committee and if the Committee objects, the burden is on
                                     the Debtor to seek Court approval, which the Committee
                                     agrees may be sought on an expedited basis.
                              (2)    Transactions with Related Entities greater than $2,000,000
                                     (either individually or in the aggregate basis on a rolling 30
                                     day period) require Court approval, which the Committee
                                     agrees may be sought on an expedited basis.
                3.     Third Party Transactions (All Stages)
                       a)     Except as set forth in (b) and (c) below, Transactions in excess of
                              $2,000,000 (either individually or in the aggregate basis on a
                              rolling 30 day period) require three business days advance notice
                              to Committee and if the Committee objects, the burden is Olil the
                              Debtor to seek Court approval, which the Committee agrees may
                              be sought on an expedited basis.
                      b)      The Debtor may satisfy any redemption requests from entities that
                              are not Related Entities without advance notice so long as the
                              Debtor provides notice of such Transactions to the Committee as
                              soon as reasonably practicable. The Debtor will provide the
                              Committee with five business days advance notice of any
                              redemption requests made by and payable to a Related Entity, and
                              if the Committee objects, the burden is on the Debtor to seek Court
                              approval, which the Committee agrees may be sought on an
                              expedited basis.
                       c)     The Debtor may satisfy margin calls and short covers without
                              providing the Commiuee advance notice if the exigencies do not
                              allow advance notice so long as the Debtor provides notice of Slich
                              Transactions to the Committee as soon as reasonably practicable.
          C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
                showing all Transactions under this category.




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   IV.     Transactions involving entities that the Debtor manages but in which the Debtor
           does not hold a direct or indirect interest
           A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                    al1 entities that the Debtor manages but in which the Debtor does not hold a direct
                    or indirect interest. 2
           B.       Operating Requirements
                     1.      Ordinary Course Transactions do not require Court approval (All Stages).
                             a)       Stage 1 and Stage 2: ordinary course determined by the CRO.
                             b)       Stage 3: ordinary course determined by the Debtor.
                    2.       Related Entity Transactions
                             a)       Stage 1 and Stage 2: Transactions with Related Entities require
                                      prior approval of CRO and five business days advance notice to
                                      the Committee and if the Committee objects, the burden is on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                             b)       Stage 3:
                                      ( l)     Transactions with Related Entities greater than $1,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require five business days advance notice to the
                                               Committee and if the Committee objects, the burden is on
                                               the Debtor to seek Court approval, which the Committee
                                               agrees may be sought on an expedited basis.
                                      (2)      Transactions with Related Entities greater than $2,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require Court approval. which the Committee
                                               agrees may be sought on an expedited basis.
                    3.       Third Party Transactions (All Stages):
                             a)       Except (x) as set forth in (b) and (c) below and (y) for any
                                      Transaction involving a Specified Entity and the sale or purchase
                                      by such Specified Entity of an asset that is not an obligation or
                                      security issued or guaranteed by any of the Debtor, a Related
                                      Entity or a fund, account, portfolio company owned, controlled or
                                      managed by the Debtor or a Related Entity, where such
                                      Transaction is effected in compliance with the collateral
                                      management agreement to which such Specified Entity is party,
                                      any Transaction that decreases the NA V of an entity managed by
                                      the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                      $3,000,000 requires five business days advance notice to

   2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably prru.."ticable to
   the extent necessary.




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                                      Committee and if the Committee objects, the burden is on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                              b)       The Debtor may satisfy any redemption requests from entities that
                                       are not Related Entities without advance notice so long as the
                                       Debtor provides notice of such Transactions to the Committee as
                                       soon as reasonably practicable. The Debtor will provide the
                                       Committee with five business days advance notice of any
                                       redemption requests made by and payable to a Related Entity, and
                                       if the Committee objects, the burden is on the Debtor to seek Court
                                       approval, which the Committee agrees may be sought on an
                                       expedited basis.
                              c)      The Debtor may take such steps as may be reasonably necessary to
                                      winddown any managed entity and make distributions as may be
                                      required in connection with such winddown to any required
                                      parties. The Debtor will provide the Committee with five business
                                      days advance notice of any distributions to be made to a Related
                                      Entity, and if the Committee objects, the burden is on the Debtor to
                                      seek Court approval, which the Committee agrees may be sought
                                      on an expedited basis.
            C.       Weekly Reporting: The Debtor wil1 provide the Committee with weekly reports
                     showing all Transactions under this category. Such reports wil1 include
                     Transactions involving a Specified Entity unless the Debtor is prohibited from
                     doing so under applicable law or regulation or any agreement governing the
                     Debtor's relationship with such Specified Entity.
    V.      Transactions involving entities that the Debtor does not manage but in which the
            Debtor holds a direct or indirect interest
            A.       Covered Entities; See Schedule A hereto. Schedule A includes or will include all
                     entities that the Debtor does not manage but in which the Debtor holds a direct or
                     indirect interest. 3
            B.       Ordinary Course Transactions (All Stages): NIA
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.




    3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
    entities should be included on Schedule A. The Debtor will update Schedule A as soon llS reasonably practicable to
    the extent necessary.




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   VI.      Transactions involving entities that the Debtor does not manage and in which the
            Debtor does nol hold a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                     entities that the Debtor does not manage and in which the Debtor does not hold a
                     direct or indirect interest. 4
            B.       Ordinary Course Transactions (All Stages): NIA
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.
   VII.     Transactions involving Non-Discretionary Actounts
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                     non-discretionary accounts. 5
            B.       Ordinary Course Transactions (All Stages): NIA
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of aJl cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.

   VIII. Additional Reporting Requirements - All Stages (to the extent applicable)
            A.       OSI will provide detailed lists and descriptions of internal financial and
                     operational controls being applied on a daily basis for a full understanding by the
                     Committee and its professional advisors three (3) business days in advance of the
                     hearing on the approval of the Tenn Sheet and details of proposed amendments to
                     said financial and operational controls no later than seven (7) days prior to their
                     implementation.
            B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                     their 13-week cash flow budget, such reports to be inclusive of all Transactions
                     with Related Entities.
   IX.      Shared Services
            A.       The Debtor shall not modify any shared services agreement without approval of
                     the CRO and Independent Directors and seven business days' advance notice to
                     counsel for the Committee.
            B.       The Debtor may otheiwise continue satisfying its obligations under the shared
                     services agreements.

   4The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   lhe exlent necessary,
   5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   th.e extent necessary.




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 X.    Representations and Warranties
       A.    The Debtor represents that the Related Entities Listing included as Schedule B
             attached hereto lists all known persons and entities other than natural persons
             included in the definitions of Related Entities covered by Section I.D parts AO)·
             (vii) above at the time of the execution of the Term Sheet.
       B.    The Debtor represents that the list included as Schedule C attached hereto lists all
             known natural persons included in the definitions of Related Entities covered by
             Section I.D parts A(i)-(vii) above at the time of the execution of the Tenn Sheet.
       C.    The Debtor represents that, if at any time the Debtor becomes aware of any
             person or entity, including natural persons, meeting the definition of Related
             Entities covered by Section I.D parts A(l)-(vii) above that is not included in the
             Related Entities Listing or Schedule C, the Debtor shall update the Related
             Entities Listing or Schedule C, as appropriate, to include such entity or person and
             shall give notice to the Committee thereof.




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                                                  Schedule A!!:
  Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
            I. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
            2. Dynamic Income Fund (0.26% Ownership Interest)
  Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
  interest
            l. Highland Prometheus Master Fund LP.
            2. NexAnnuity Life Insurance Company
            3. PensionDanmark
            4. Highland Argentina Regional Opportunity Fund
            5. LonghomA
            6. Longhorn 8
            7. Collateralized Loan Obligations
               a) Rockwall II CDO Ltd.
               b) Grayson CLO Ltd.
               c) Eastland CLO Ltd.
               d) Westchester CLO, Ltd.
               e) Brentwood CLO Ltd.
               f) Greenbriar CLO Ltd.
               g) Highland Park CDO Ltd.
               h) Liberty CLO Ltd.
               i) Gleneagles CLO Ltd.
               j) Stratford CLO Ltd.
               k) Jasper CLO Ltd.
               l) Rockwall DCO Ltd.
               m) Red River CLO Ltd.
               n) Hi V CLO Ltd.
               o) Valhalla CLO Ltd.
               p) Aberdeen CLO Ltd.
               q) South Fork CLO Ltd.
               r) Legacy CLO Ltd.
               s) Pam Capital
               t) Pamco Cayman
  Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
  interest
            l. Highland Opportunistic Credit Fund
            2. Highland Healthcare Opportunities Fund f/k/a Highland Long/Short Healthcare Fund
            3. NexPoint Real Estate Strategies Fund
            4. Highland Merger Arbitrage Fund
            5. NexPoint Strategic Opportunities Fund
            6. Highland Small Cap Equity Fund
            7. Highland Global Allocation Fund

  ~   NTD: Schedule A is work in process and may be supplemented or amended.




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         8. Highland Socially Responsible Equity Fund
         9. Highland Income Fund
         l 0. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
          11. SE Multifamily, LLC
   Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
   indirect interest
         1. The Dugaboy Investment Trust
         2. NexPoint Capital LLC
         3. NexPoint Capital, Inc.
         4. Highland IBoxx Senior Loan ETF
         5. Highland Long/Short Equity Fund
         6. Highland Energy MLP Fund
         7. Highland Fixed Income Fund
         8. Highland Total Return Fund
         9. NexPoint Advisors, L.P.
         10. Highland Capital Management Services, Inc.
         11 . Highland Capital Management Fund Advisors: L.P.
         12. ACIS CLO Management LLC
         13. Governance RE Ltd
         14. PCMG Trading Partners XXlll LP
         15. NexPoint Real Estate Partners:, LLC f/k/a HCRE Partners LLC
         l 6. NexPoint Real Estate Advisors II LP
         l 7. NexPoint Healthcare Opportunities Fund
         18. NexPoint Securities
         19. Highland Diversified Credit Fund
         20. BB Votorantim Highland Infrastructure LLC
         21. ACIS CLO 2017 Ltd.
   Transactions involving Non-Discretionary Accounts
          1. NexBank SSB Account
          2. Charitable DAF Fund LP




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                                        Schedule B

                    Related Entities Listing (other than natural persons)




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                                         Schedule C

        1.   James Dondero
        2.   Mark Okada
        3.   Grant Scott
        4.   John Honis
        5.   Nancy Dondero
        6.   Pamela Okada
         7. Thomas Surgent
         8. Scott Ellington
         9. Frank Waterhouse
         10. Lee (Trey) Parker




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                             Seery Jan. 29, 2021 Testimony
                                                                             Pagel
    1    IN THE UNITED STATES BANKRUPTCY COURT

    2    FOR THE NORTHERN DISTRICT OF TEXAS

    3    DALLAS DIVISION

    4    ------------------------------)

    5    In Re:                       Chapter 11

    6    HIGHLAND CAPITAL             Case No.
    7    MANAGEMENT, LP,              19-34054-SGJ 11

    8

    9              Debtor

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  12

  13      REMOTE DEPOSITION OF JAMES P. SEERY, JR.

  14                    January 29, 2021

  15                     10:11 a.m. EST

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  23
         Reported by:
  24     Debra Stevens, RPR-CRR
         JOB NO. 189212
  25




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  l                         January 29, 202l                              l    RSMOTS Al'FSARANCSS:
  2                         9:00 A.m. EST                                 2
  3                                                                       3    Heller, Draper., Hayden., Patrick., , Horn
  4               Remote D@-posi tiori. of JAMES P.                       4    Attorneys for The Dug.ahoy Inv-estmEint.
  5-   SEENY,      JI\., held viiil Z1;:ii;m1                             S    T=•t ;,.n<i n,., G..t G<><><I T=•t
  6    con:ference, he:fore Debra Stevens ,                               6                 650 Foydras Street
  7    RPR/CRR And._ NotAry Public of tho                                 'T                Nflw Orll!lan~, Loui:!ii.an.a '70130

  8    St~te o:f New York,                                                e
  9                                                                       9

 10                                                                      10    BY:          DOUGLAS DRAPER, ESQ

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 14                                                                      14    For t.he Debt.or and t.h@ Kit.n@ss H@r@in

 15                                                                      15                 780 Third Aven~e
 16                                                                      16                New York, New York 10017

 17                                                                      17    BY:          JOHN HORRIS, ESQ.
 18                                                                      16                 JEFFREY PCMERANTZ, ESQ.
 19                                                                      19                 GREGORY DEMO, ESQ.
 20                                                                      20                 IRA KHARASCH, ESQ.

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       REMOTE APPEl\1\1\NC&S:          (Continued)                        1    RE.MOTE     APPEARANCES:       (Continued)
  2                                                                       2    KING • SPAI..DING

  3    LATl!l\M    &    WATKINS                                           3    Att<>rn@ys for Highland CI.O Funding, l.td.
  4    Attorneya :foe UBS                                                 4                 500 H.,ot 2nd Str.,et
  5                    885 Tl:tird Avenue                                 5                 Aust.in, Texas ?8?01
  6                 New York, New York 10022                              6    BY:          REBECCA MATSUMURA, ESQ.

       BY:             SHI\NNON McLi\UGHLIN, ESQ.
  8                                                                       8    K&I. GATES

  9    JENNER ,; BLOCK                                                    9    Atto-rneya for Highland capital Management
 10    Attorneys for 12.edeerne:r Co:mrni t tee of                       10    Fund Adviso~s, L.P., et al.:
 11    Highland cru• ader Fund                                           11                 4350 r.assiter at North Hills
 12                    'n!'I Tlli:nl Avenue                              lZ                  Avenue

 13                 "'"" York, "'"" York 10022                           13                 Ral.,igh, North carolina 27609
 14    BY:          MARC B, HI\NKIN, l!.SQ,                              H     BY:          EMILY MATHER, ESQ.

 15                                                                      15
 16    SIDLEY AUSTIN                                                     16    MUNSCH HARDT KOPF         &   HARR
 l?    Attorneys :for Credi tor-,         1     COl!D!li ttee            l7    lltt,nwayo tozc Detendanta Highland Capita l
 18                    2021 :McKinn&y Av@nu@                             18    Management Fund Advisors, LP j NeXPoint

 19                    Dallao, Texao 7 0201                              19    Advi1;1or1;1, LP i Highland Inc-orne F\,llldi

 20    BY:             PENN~ REID, ESQ .                                 20    NeJC.E:'oint St.:ategic Oppoi-tunities Fund and
 21                 MATTHEW CLEMENTE,            ESQ .                   21    NeXPoint. ca.pit.al, Inc.       !

 22                                                                      22                 ~00 N. l\l;azcd Street
 23                                                                      23                 Dallas, Texas 75201 - 0059
 24                                   (Continue~)                        24          BY:    DAVOR RUKAVINA, ESQ.

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     3    IIQNDS l<LLIS RPPICH &CHAFRI< JONRS                                        )    WICK PHILLIPS

     4    Attorn&ys. for Jam@-g Dond@-ro,                                            4    Attol"."n@ys fol"." N@x.Point. R@al Estat."8

     5    Party-in-Interest                                                          5    Pactnera, NexP-oint Real Estate Entitie:'3
     6                   420 'rhrockmorton Street                                    6    and Nex.Ba.nk

                                                                                     7                 100 Throckmorton Stre..t
                         Fort Worth, Texa1:1 761(12                                  a                  Fo-ct W-o-rth., T-e.>L;11a 1El02
                         CLAY TAYLOR,         ESQ.                                   9    BY!          !.11.!JREN DRAKHORN, ESQ.

   IO                    JOITTI IIOND&,      11.SQ •                                10
   11                    BRYAN ASSil-ll(,       BSQ.                                ll    ROSS Ii SMITB

   12                                                                               12    Attorney:!! for senior Employt!le:!I,. sooti:.

   IJ                                                                               IJ    Ellington, I3G1-G1c Lever.iton, Thomaia: S1.1.-ger.it.,
   14     lll\llER Mcll&NZ IE                                                       14    Frank Nat@rhou:s,e
   I.;,   AttOr~s'y$ f<:,r Se~i,:,r Etnpl,:>y$$$                                    15                 700 N. Pe;>.rl Street
   l&                    1'900 t,1orth Fearl Street                                 16                 0-allas, Texas 7!5201

   17                                                                               17    BY!          FRANCES SHITH, ESQ.

   jij                   OQllrii.o, Ie-K~e 75:20l                                   18
   H      l!Y:           M.ICKl::LLE. HARTMANN,          ESQ.                       19
   20                    DEBRA DANDER&ll(J,            ESQ.                         20
   :ll                                                                              21
   22                                                                               22
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     3    WITNESS                                               FAGR
     4    JJ,MES SEER~                                                               3           Debra St.ev-ens, court. r@porter for TSG
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            By Mr, Draper
            By Mr , Taylor                                         1,g.              4

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   22                       M!IRKED f"-OR RULING
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   23                                   S5        20                                24    filed.       The firl;lt qi.isel:ltion I miVE' f,or y-ov,
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                                                                                    :15   have you seen the Notice of Deposition
   25




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    1                      J. SEERY                      1                           J. SEERY
    2        the screen, please?                         2         A.      It says the percent distribution
    3        A.     Page what?                           3     to general unsecured credito~s is
    4        Q.     I think it is page 17 4.             4     62. 14 percent.
    5        A.     Ot the PDF or ot the document?       5           Q.    h      ~•JU  )lm\'lln' " l e · he
    6        Q.     Of the disclosure statement that     b      .,:1uced      -~ r t an•,1 dy pr. r t ti
                                                                          "''
    7   was filed. It is up on the screen right                          to yesterday?
    8   now.                                                               MR. MORRIS: Objection to the
    9               COURT REPORTER: Do you intend                    form of the question .
   10        this as another exhibit for today's                     A.    I believe gen ~al.y, , s.
   11        deposition?                                       don't know if we have a spe. !.~ numbe,
   12               MR. DRAPER: We'll mark this                but ge1\erally yes.
   13        Exhibit 2.                                1 '           Q.    And woul- th
   14               (So marked for identification as           Creditors' Comnittee
   15        Seery Exhibit 2. )                          5     information to?
   16        Q.     If you look to the recovery to                 A.
   17   Class B creditors in the November 2020                     Q.
   18   disclosure statement was a recovery of         :8      than meme:.s oI
   19   87. 44. percent?                                 9         A..   Yes.
   20        A.     That actually says the percent     20          Q.    Who?
   21   distribution to general unsecured                          A.    ~arbourVest .
   22   creditors was 87.44 percent . Yes .                        Q.    And when
   23        Q.     And in t.he new document t.hat was ~ ·         A.    Wi thin • . .-
   24   filed, given to us yesterday , the recovery      4         Q.    Y U di I
   25   is 62.5 percent?                                 5

                                                Page lo                                               Fage 17
    l                     J, SEERY                         l                     J. SEERY
    2   anylx>dy else?                                     2   not accurate?
    3        A.    I said Mr. Doherty .                    3        A.    Yes . We secretly disclosed it
    4        Q.    In looking at the two element s ,       4   to the Bankruptcy Court in open court
    5   and what I have asked you to look at is            5   hearings.
    6   the claims pool . If you look at the               6        Q.    But you never did bother to
    7   November disclosure statement, if you look         7   calculate the reduced recovery; you just
    8   down Class 8, unsecured claims ?                   8   increased
    9        A.    Yes.                                    9               (Reporter interruption.)
   10        Q.    You have 176,000 roughly?              10        Q.    You just advised as to the
   11        A.    Million .                              11   increased claims pool . Correct?
   12        Q.    176 million. I am sorry. And           12              MR. OORRIS: Objection to the
   13   the number in the new document is 313             13        form of the quest i on.
   14   million?                                          14        A.    l don't understand your
   15        A.    Correct.                               15   question.
   16        Q.    What accounts for the                  16        Q.    What I am trying to get at is,
   17   difference?                                       17   as you increase the claims pool, the
   18        A.    An increase in claims.                 18   recovery reduces. Correct?
   19        Q.    When did those increases occur?        19        A.    No. That is not how a fraction
   20   Were they yesterday? A month ago? Two             20   works.
   21   months ago?                                       21        Q.    Well, if the denominator
   22        A.    Over the last couple months.           22   i ncreases, doesn't the recovery ultimately
   23        Q.    So in fact over the last couple        23   decrease if --
   24   months you knew in fact that the recovery         24        A.    No.
   25   in the November disclosure statement was          25        Q.    - - if the numerator stays the




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      1                              J. SEERY                                 1                           J. SEERY
      2   were amended without consideration a few                            2         A.     NexPoint, I sa id.            They
      3   years ago.         so,    for our purposes we didn't                3   defaulted on the note and we accelerated
      4   make the assumption, which I am sure will                           4   it.
      5   happen, a fraudulent conveyance claim on                            5       Q.    So there is no need to f ile a
      6   those notes, that a fraudulent conveyance                           6   fraudulent conveyance suit with respect to
      7   action would be brought.              We just assumed               7   that note.     Correct, Mr. Seery?
      8   that we'd have to discount the notes                                8                MR. MORRIS:         Objection to the
      9   heavily to sell them because nobody would                           9         form of the question.
  10      respect the ability of the counterparties                          10         A.     Disagree.         Since i t    was likely
  11      to fairly pay .                                                    11   intentional fraud, there may be other
  12             Q.      And the same discount was                           12   recoveries on it.          But to collect on the
  13      applied in the liquidation analysis to                             13   note, no.
  14      those notes?                                                       14         Q.     My question was with respect to
  15             A.      Yes.                                                15   that note.     Since you have accelerated ~t ,
  16             Q.      Now                                                 16   you don't need to deal with the issue of
  .. 7           A.      The difference -- there would be                    17   when it' s due?
  18      a difference, though, because they would                           18                MR. MORRIS:         Objection to the
  19      pay for a while because they wouldn ' t want                       19         f orm of the question.
  20      to accelerate them.            So there would be                   20         A.     That wasn't your question.               But
  21      some collections on the notes for P and I.                         21   to that question,         yes, I don' t need to
  22             Q.      But in fact as of January you                       22   deal with when it's due.
  23      have accelerated those notes?                                      23         Q.     Let me go over certain assets .
  24             A.       Just one of them,       I believe.                 24   I am not going to ask you for the
  25             Q.      Which note was that?                                25   valuation of them but I am going to ask

                                                                  Pa.ge 28                                                             Page 2'9
      1                    J. SEERY                                           l                           J . SEERY
      2   you whether they are included in the asset                          2   includes any other securitle. and all the
      3   portion of your $257 million number, all                                va.u,e ~hat would tlow :rem Cornerstone.
      4   right?       Mr. Morris didn ' t want me to go                          I~ includes HCLOF and all
      5   into specific asset value, and I don't                                  wou.ld flow up frCMn HCLOF .
      6   intend to do that.
      7                  The first question I have for                            from Korea.
      8   you is, the equity in Trustway Highland                             8                There may be others off the top
      9   Holdings, is that included in the                                   9   of my head.         I don' t   recall them.        I don' t
  10      $257 million nwnber?                                               10   have a list in front of me .
  11             A.      There is no such entit y.                           11         Q.     Now, with respect to those
  12             Q.      Then I will do it in a different                    12   assets, have you started the sale proces s
  13      way.        In connection with the sale of the                     13   of those assets?
  14      hard assets, what assets are included in                           14         A.     No .     Well, each asset is
  15      there specifically?                                                15   different.     So, the answer is, with
  16             A.      0         he top of my head          i      .:..s   16   respect to any securities, we do seek to
                                                                             17   sell those regularly and we do seek to
          Trus way Holdings and                  he 110.lue thot             18   monetize those assets where we can
          flows JP from Trustwa , H                      I                   19   depending on whether there is a
                                                                             20   restriction or not and whether there is
          flows up from Targa.            It includes CCS                    21   liquidity in the market.
                                                                             22                With respect to the PE assets or
  2           he Oe ·- r rom        Medi- 1 . It                             23   the companies I described -- Targa, CCS,
  2 ..    1ncJ.udes Cornerst ne e..nd ell the ·.ra ... ue                    24   Cornerstone, JHT -- we have not --
  25      that would flow from Cornerstone .                 It              25   Trustway .    We have not sought to sell




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                                                     Page 38                                                                            Page 39
      1                      J. SEERY                          1                                                 J . SEERY
      2       A.     I don't recall the specific               2                                                             I   1
      3   limitation on the trust. But if there was                  1 ·,    bankruptcy counsel to determine what
      4   a reason to hold on to the asset, if there                                                               on when
                                                                                 _.;.;;,.;...,;;;:.,;,;;;...-~--=-..
      5   is a limitation, we can seek an extension.
      6       Q.     Let me ask a question. With                    either under the code are or under ·h~
      7   respect to these businesses, the Debtor                   plan.
      8   merely owns an equity interest in them.
      9   Correct?
  10          A.     Which business?
  11          Q.     The ones you have identified as
  12      operating businesses earlier?                       12                  MR . MORRIS: Objection to form
  13          A.     It depends on the business.              13            of the question.
  14          Q.     Well, let me -- again, let ' s try 14                  A.        • I ,, I. IUtitJ

  15      to be s pecific .         _ •;,f.-       •. F,               :     1\    •. l         f    •


          ,.  J• .•           t 11 • /       1. ·" • n              - · . ictures of the code an 1 • ..
                  r· ~~. roval for the sale .            t. ? 17    but there would l no prohitl l' ~lo~n~ ~
  18          A.     That's correct.                                me finish, please.
  I   >       Q.     Which one of the                                                               i'    ....

                                                                       •     I            ,-.   l   f (

                                                               21       Q.    Now, in connection with your
                                                               22   differential between the liquidation of
  23                MR. MORRIS: Objection to the               23   what I will call the operating businesses
  24          form of the question .                           24   under the liquidation analysis and the
  25          A.                          'r,:.            I   25   plan analysis, who arrived at the discount
                                                     Page 40                                                                            Page 41
      1                     J. SEERY                            1                                                J. SEERY
      2   or determined the discount that has been              2   is different.
      3   placed between the two, plan analysis                 3        Q.    Is the discount a function of
      4   versus liquidation analysis?                          4   capability of a trustee versus your
      5              MR. MORRIS: Objection to form              5   capability, or is the discount a function
      6       of the question.                                  6   of timing?
      7       A.     To which docwnent are you                  7              MR. MORRIS: Objection to form.
      8   referring?                                            8       A.     It could be a combination.
      9       Q.     Both the June -- the January and           9        Q.    So, let's -- let me walk through
  10      the November analysis has a different                10   this. Your plan analysis has an
  11      estimated proceeds for monetization for              11   assumption that everything is sold by
  12      the plan analysis versus the liquidation             12   December 2022. Correct?
  13      analysis. Do you see that?                           13       A.     Correct.
  14          A.     Yes.                                      14        Q.    And the valuations that you have
  15          Q.     And there is a note under there.          15   used here for the monetization assume a
  16      "Asswnes Chapter 7 trustee will not be               16   sale between -- a sale prior to December
  17      able to achieve the same sales proceeds as           17   of 2022. Correct?
  18      Claimant trustee."                                   18       A.     Sorry. I don't quite understand
  19          A.     I see that, yes.                          19   your question.
  20          Q.     Do you see that note?                     20        Q.    The 257 number, and then let's
  21          A.     Yes.                                      21   take out the notes. Let's use the 210
  22          Q.     Who arrived at that discount?             22   number .
  23          A.     I did.                                    23              MR. MORRIS: Can we put the
  24          Q.     What percentage did you use?              24        document back on the screen, please?
  25          A.     Depended on the asset. Each one           25       Sorry, Douglas, to interrupt, but it




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  1                     J. SEERY                                  1                            J. SEERY
  2       would be helpful.                                      2    a p p l ied ]
  3             MR . DRAPER:   That is fine, John .               3         A.          Each or the assets is different.
  4             (Pause.)                                         4          Q.          Is there a general discount that
  5             MR. MORRIS: Thank you very                       5    you used?
  6       much.                                                  6        A.    Not a general di s count, no. we
  7       Q.    Mr. Seery, do you see the 2577                   7    looked at each individual asset and went
  8       A.     In the one from yesterday?                      8    through and made an assessment.
  9       Q.     Yes.                                            9        Q.    Did you apply a discount for
 10       A.     Second line, 257,941.  Yes .                   10    your capability versus the capability of a
 11       Q.    That assumes a monetization of                  11    trustee?
 12   all assets by December or 2022?                           12        A.            No .
 13       A.     Cor-rect.                                      13        Q.    So a trustee would be as capable
 14       Q.     And so everyt hing has been sold               14    as you are in monetizing these assets?
 15   by that t ime1 correct?                                   15              MR. MORRIS: Objection to the
 16       A.    Yes.                                            16          form of t he question.
 17       Q.    So, what I am trying to get at                  17          Q.    Excuse me? The answer is?
 18   is, there is both the capability between                  18          A.          The answer is maybe .
 19   you and a trustee, and t hen the second                   19        Q.    Couldn't a t rustee hire somebody
 20   issue is t l..llllllg. So, what discount was              20    as capable as you are?
 21   put on for timing , Hr. Seery, between when               21              MR . MORRIS: Objection to the
 22   a trust ee would sell it versus when you                  22          form of the question.
 23   would sell i t 7                                          23          A.    Perhaps.
 24              MR . MORRIS: Objection.                        24        Q.     Sir, that is a yes or no
 25       Q.     What is the percentage you                     25    question . could the trustee hire somebody
                                                Page -4-4                                                               Page 45
  1                    J. SEERY                                   1                            J .   SEERY
  2   as capable as you a re ?                                   2          Q.          Again, the discounts are applied
  3              MR. MORRIS:  Objection to the                   J    fo r timing and capability?
  4       form of the question.                                  4          A.          Yes.
  5       A.    I don't know.                                    5          Q.          Now, in looking at the November
  6       Q.     Is there anybody as capable as                  6    plan analysis number of $190 million and
  7   you are?                                                   7    the January number or $257 million, what
  8              MR. MORRIS:   Objection to the                  8    accounts for the increase between the two
  9       form of the question.                                  9    dates?          What assets specifically?
 10       A.    Certainly.                                      10          A.          There are a n~Tb-. r   ~   assets .
 11       Q.    And they could be hired.                        11    Firstly, the HCLOF assets are added .
 12   Correct?                                              1
                                                                '12       Q.    How much are thosei
  3       A.    Perhaps.    don't know .                        13        A.    App r ,x imately 22 and a half
 14       Q.    And ir you go back to the                       )4    ll\ill1 n clolla~s .
 15   November 2020 liquidation analysis versus                 15          Q.    Ok~.
 16   plan analysis, it is also the same note                   16          A.          Secondly, there is a si gni f icant
 17   about that a trustee would bring less, and
 18   there is the same sort or discount bet ween               ~8    a.sse s o•.,er this • ime eriod.
 19   the estimated proceeds under the plan and                            Q.      Which assets, Mr . ~eery ,
 20   under the liquidation analysis.                                      A.      There are a nunber. They
 21             MR. MORRIS:  If t ha t is a                           include foCM t ck , th   iJlclude Trustw-oy ,
 22       question, I object.                                          bey inc.ude Taxga.
 23       Q.    Is that correct, Mr . Seery,                    23        Q.     And what is the percentage
 24   looking at the document?                                  24    increase from November t o January,
 25       A.     There are discounts, yes.                      25    November of 2020 to January or 2021?




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      1                                       J. SEERY                                       1                                  J. SEERY
      2        A.    Do you mean what is the                                                 2   markets; correct?
      3    percentage increase £ram 190 to 257?                                              3      A.     No.
      4        Q.    No. You just identified t hree                                          4       Q.    Those are operating businesses?
      5    assets. MGM stock, we can go look at the                                                        A.         Corre ct .
      6    exchange and figure out what the price
      7    increase is; correct?
      8           A.          No.
   9           Q.    Why not?                      I s the       M:;M    stock
  10       publicly traded?
  11              A.          Yes . It doesn ' t trade on - -
  12              Q.          Excuse me?                                                    12             Q.         And the adjustment was up or
  13              A.           I t doesn' t trade on an exchange.                           13   down?
  14           Q.              Is there a public llll!lrket for the                         14             A.         When?
  15       MGM stock that we cou ld calculate the                                           15             Q.
  16       increase?
  17              A.           There is a semipublic market;                                     ad~ust.ec!
  18       yes.                                                                              8   ~    u adjus           t. dawn
  19              Q.  So it is a number that is                                             19                        MR . MORRIS :       Ob jection to form
  20       re adily available between the two dates?                                        20             of the question.
  21            A.    It's available.                                                       21             A.
  22           Q.    Now, you identified Targa and                                               adju- 0 ed ·• down, ano ~or Janua::                   we
  23       Trustway. Correct?                                                               23   ad juste d tt down.                I don 't recall off t he
  24              A.          Ye s .
  25              Q.          Those are not readily available

                                                                                 Page 4 8                                                                    Page 49
      1                                       J. SEERY                                       1                             J. SEERY
      2           Q.                                                                         2            20'"1 " the DWlgni. ude being r-         ~     i
                                                                                             3   some odd million dollars.                    Correct?
      'I                                                                                     4             A.           .:.r   t.
                   ~1 .!: '   can     incr     ~                                             5             Q.         we can

      7                 MR. MORRI S:                         Objection to form               7                        MR, MORRIS :        Ob jection to form.
      8           of the question.                                                           8                          rrect.
      9           A.           I didn't say that.                                            9
  10              Q.           I am try1ng               ~     acc:ou.

  12       1denLified thl:ee assets .                           Yu -dentlfied               12                    MR. MORRIS : Object ion to the
  1        '.Q1   stock, wh~ch has                       T    can guess, as you             13             fo rm of the question if that is a
                                                                                            14             question .          It is accounted for.
           Then y    ~dentified t~                                                          15             Q.         Wha.t makes up tha        dHferen-
           valuation 1 b     d upon                                                                              .,
  11       Lolcey provided you .                                                                           A.         A change in the
  18            A.                                                                                   he    asse~s.
                                                                                                           Q.         Oka       Which assets-      Let's sort

            od o                                                                            21             A.         There
           falua ' ion .                                                                         plan formulat _ n ,                  g
              Q.                    .:.et '     now                                                                                   t
            ue 1                The                OCI




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   1                              J. SEERY                                  l                          J. SEERY
   2   for one . On the operating businesses, we                            2   HarbourVest settlement, right?
       looked at eoch of .::hem llnd rMde an                                J       A.    I believe that's correct.
       11.ssessmen b11Sed ~n wher,. •he rMrket s                            4        Q.      Is that fair, Mr. Seery?
                                         _ ,,        ----J
                                                                            5        A.      I believe tlust is correct, yes .
   6   have moved those v&lws.tions.                                        6        Q.      And part of that differential
   7            Q.       Let me look at some numbers                        7   are publicly t raded or ascertainable
   8   again.          In the liquidation analysis in                       8   securities.      Correct?
   9   November of 2020, the liquidation value is                           9        A.      Yes.
  10   $1 49 million .           Correct?                                  10        Q.      And basica l ly you can get, or
  11            A.       Yes.                                              11   under the plan analysis or trustee
  12            Q.       And in the liquidation analysis                   12   analysis, i f it is a marketable security
  13   in January of 2021, you have $191 million?                          13   or where there i s a market, the
  14            A.       Yes.                                              14   liquidation number should be the same for
  15            Q.       You see that number.             So there         15   both .    I s that fai r?
  16   is $51 mi llion there , right ,                                     16        A.      No.
  17            A.       No.                                               17        Q.      And why not?
  1B       Q.    What is the difference between                            18       A.    We might have a different price
  19   191 and -- sorry. My math may be a lit tle                          19   target for a particular security than the
  20   o f f.        What is t he difference bet ween the                  20   current     rading value .
  21   two numbers, Mr. See ry?                                            21        Q.      I understand t lust , but I mean
  22            A.       Your math is off.                                 22   that is based upon the capability of the
  23            Q.       Sorry.     It is 41 million?                      23   person making the decision as to when to
  24            A.       Correct.                                          24   sell.     Con::ect?
  25            Q.       $22 million of that is the                        25                MR. MORRIS:     Objection to form

                                                                Page 52                                                         Page 53
   1                          J. SEERY                                      1                          J. SEERY
   2            of the question.                                            2   $1 3 million.       How much o f that is public ly
   3            Q.    Mr . Seery, yes or no?                                3   traded or ascertainable assets versus
   4            A.    I sa id no.                                           4   operating businesses?
   5            Q.       What is that based           on, then?             5        A.      I don' t know off the t op of my
   6            A.       The person's abilit y to assess                    6   head the percentages.
   7   the market and timing.                                               7       Q.    Al l r ight. The same question
   8            Q.       Okay.    And again, couldn ' t a                   8   for t he plan analysis where you have t he
   9   trustee hire somebody as capable as you to                           9   differential between the November number
  10   bo t h, A, assess the market and, B, make a                         10   and the January number.           How much of i t   is
  11   determinat ion as to when to sell,                                  11   marketable securities versus an operating
  12                     MR. MORRIS:            Obje c tion to form        12   business?
  13            of the question.                                           13        A.      I d on't recall off the top of my
  14            A.       I suppose a trustee could.                        14   head.
  15       Q.    And there are better people or                            15              MR. DRAPER:       t,et me   take a
  16   people equally or better than y o u at                              16        few-minute break.       Can we take a
  17   assessing a market.               Correct?                          17        ten-minute break here?
  1B            A.       Yes .                                             18                THE WITNESS:     Sure .
  19                     MR. MORRI S :          Objection to fo rm         19                (Re c ess .)
  20            o f r he question.                                         20   BY MR. DRAPER:
  21            Q.       so, again, l et 's go b a ck to                   21        Q.      Mr . Seery, what I am going to
  22   that.          We have accounted for,           out of              22   show you and what I would ask you to look
  23   $41 million where the liquidation analysis                          23   at is in the note E, in the statement of
  24   increases between the two dates,                                    24   assumptions for the Noverrber 2020
  25   $22 million of it.             That leaves                          25   disclosure statement.        It discusses fixed




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                              Sale of Assets of Affiliates or Controlled Entities


    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


       •   These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
       •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery's Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                                20 Largest Unsecured Creditors


 Name of Claimant                    Allowed Class 8    Allowed Class 9
 Redeemer Committee of the
 Highland Crusader Fund              $136,696,610.00
 UBS AG, London Branch and UBS
 Securities LLC
                                     $65,000,000.00     $60,000,000
 HarbourVest entities                $45,000,000.00     $35,000,000
 Acis Capital Management, L.P. and
 Acis Capital Management GP, LLC     $23,000,000.00
 CLO Holdco Ltd                      $11,340,751.26
 Patrick Daugherty
                                                        $2,750,000 (+$750,000 cash payment
                                     $8,250,000.00      on Effective Date of Plan)
 Todd Travers (Claim based on
 unpaid bonus due for Feb 2009)      $2,618,480.48
 McKool Smith PC                     $2,163,976.00
 Davis Deadman (Claim based on
 unpaid bonus due for Feb 2009)      $1,749,836.44
 Jack Yang (Claim based on unpaid
 bonus due for Feb 2009)             $1,731,813.00
 Paul Kauffman (Claim based on
 unpaid bonus due for Feb 2009)      $1,715,369.73
 Kurtis Plumer (Claim based on
 unpaid bonus due for Feb 2009)      $1,470,219.80
 Foley Gardere                       $1,446,136.66
 DLA Piper                           $1,318,730.36
 Brad Borud (Claim based on unpaid
 bonus due for Feb 2009)             $1,252,250.00
 Stinson LLP (successor to Lackey
 Hershman LLP)                       $895,714.90
 Meta-E Discovery LLC                $779,969.87
 Andrews Kurth LLP                   $677,075.65
 Markit WSO Corp                     $572,874.53
 Duff & Phelps, LLC                  $449,285.00
 Lynn Pinker Cox Hurst               $436,538.06
 Joshua and Jennifer Terry
                                     $425,000.00
 Joshua Terry
                                     $355,000.00
 CPCM LLC (bought claims of
 certain former HCMLP employees)     Several million
 TOTAL:                              $309,345,631.74    $95,000,000




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                                   Timeline of Relevant Events


 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms "Muck Holdings LLC" in Delaware
 3/15/2021     Debtor files Jan. '21 monthly operating report indicating assets of $3 64 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.

 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms "Jessup Holdings LLC" in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim -Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

   •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
   •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
   •   The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                  Debtor's October 15, 2020 Liquidation Analysis [Doc. 1173-1]


                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [ 1] [2]         198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [ 1O]                               (1,237)           (1,237)
 Class 1 - Jefferies Secured Claim                               -                 -
 Class 2 - Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 - Priority non-tax claims [10]                          (16)              (16)
 Class 4 - Retained employee claims                              -                 -
 Class 5 - Convenience claims [6][10]                            (13,455)          -
 Class 6 - Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 - Convenience claims [8]                                -                 17,940
 Class 6 - Unpaid employee claims                                -                 3,940
 Class 7 - General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 - Subordinated claims                                   no distribution   no distribution
 Class 9 - Class B/C limited partnership interests               no distribution   no distribution
 Class 10 - Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

    •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                              Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [ 1] [2]        257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 - Jefferies Secured Claim                              -                  -
    Class 2 - Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 - Other Secured Claims                                 (62)               (62)
    Class 4 - Priority non-tax claims                              (16)               (16)
    Class 5 - Retained employee claims                             -                  -
    Class 6 - PTO Claims [5]                                       -                  -
    Class 7 - Convenience claims [7] [8]                           (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 - General unsecured claims [8] [10]                    273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 - Subordinated claims                                  no distribution    no distribution
    Class 10 - Class B/C limited partnership interests             no distribution    no distribution
    Class 11 - Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

      •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
      •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




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                 Summary of Debtor's January 31, 2021 Monthly Operating Report 3



                                                 10/15/2019            12/31/2020            1/31/2021
    Assets
    Cash and cash equivalents                       $2,529,000           $12,651,000          $10,651,000
    Investments, at fair value                    $232,620,000          $109,211,000        $142,976,000
    Equity method investees                       $161,819,000          $103,174,000        $105,293,000
    mgmt and incentive fee receivable               $2,579,000            $2,461,000           $2,857,000
    fixed assets, net                               $3,754,000            $2,594,000           $2,518,000
    due from affiliates                           $151,901,000          $152,449,000        $152,538,000
    reserve against notices receivable                                 ($61,039,000)        ($61,167,000)
    other assets                                   $11,311,000            $8,258,000           $8,651,000
                             Total Assets         $566,513,000         $329,759,000         $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5,195,000           $5,195,000           $5,195,000
                                  Jefferies        $30,328,000                   $0                   $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims               $73,997,000          $73,997,000         $267,607,000
    Partners' Capital                             $396,614,000         $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital       $566,513,000         $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

      •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month's MOR
      •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
      •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


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                                                            Value of HarbourVest Claim



                                                     HarbourVest Interest NAV by Month
  9/29/2020                                                                                         $2.2.2

 10/31/2020                                                                                         $2.4.2
                                                     I

 11/30/2020                                                                                         $34.1

 12/31/2020                                                                                         $39.3

  1/14/2021                                                                                         $41.6

  1/31/2021                            I                                                            $44.3
                                                                                                                                                                                         I
  l/28/2021                                                                                         $49.7
                             -   -


  3/31/2021                                                                                         $50.3

  4/30/2021                                                                                         $53.9

  5/31/2021                                                                                         $55.9




                                                 HarbourVest NAV Value v. Purchase Price
  $60.0


  $50.0


  $40.0


  $30.0


  $20.0


  $10.0


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                                                                   ....... NAV     .....,. Purchase Price




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                                Estate Value as of August 1, 2021 (in millions) 4
    Asset                                                                 Low                         High
    Cash as of 6/30/2021                                                  $17.9                       $17.9
                                                        Targa Sale        $37.0                       $37.0
                                                  8/ 1 CLO Flows          $10.0                       $10.0
                                                  Uchi Bldg. Sale         $9.0                        $9.0
                                                         Siepe Sale       $3.5                        $3.5
                                                    PetroCap Sale         $3.2                        $3.2
                                          HarbourVest trapped cash        $25 .0                      $25.0
    Total Cash                                                            $105.6                      $105.6
    Trussway                                                              $180.0                      $180.0
    Cornerstone (125mm; 16%)                                              $18.0                       $18.0
    HarbourVest CLOs                                                      $40.0                       $40.0
    CCS Medical (in CLOs and Highland Restoration)                        $20.0                       $20.0
    MGM (direct ownership)                                                $32.0                       $32.0
    Multi-Strat (45% of 100mm; MGM; CCS)                                  $45.0                       $45.0
    Korea Fund                                                            $18.0                       $18.0
    Celtic (in Credit-Strat)                                              $12.0                       $40.0
    SE Multifamily                                                        $0.0                        $20.0
    Affiliate Notes                                                       $0.0                        $70.0
    Other                                                                 $2.0                        $10.0
    TOTAL                                                                 $472.6                      $598.6



                                                 Assets and Claims




           - . - Total Assets     - . - Class 8 Claims   - . - class 9 Claims   - . - u nsecured Creditors' Claims




4 Values are based upon historical knowledge of the Debtor' s assets (including cross-holdings) and publicly filed
information.


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                       HarbourVest Motion to Approve Settlement [Doc. 1625]
   PACH ULSKJ STANG ZIEHL & JONES LLP
   Jeffrey N. Pomerantz (CA Bar No. 1437 17) (admilled pro hac 11ice)
   Ira D. Kharnsch (CA Bar No. 109084) (admitted pro hac vice)
   John A. Morris {NY 'Bar No. 266326} (admilted pro hac vice)
   Grego ry V. Demo {NY Bar No. 53 7 1992 ) (admitted pro hac vice )
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   Dallas, TX 75231
   Telephone: (972) 755 -7 100
   Fac simile: (972 ) 755- 7 110

   Counsel for the Debtor and Debtor-in-Possession


                           IN THE UNITED STATES BA~KRUPTCY COURT
                             FOR THE ~ORTHER.l'i DISTRICT OF TEXAS
                                       DALLAS DIVISIO~

                                                                   §
   In re:                                                          §   Chapter 1 L
                                                                   §
   HIGHLAND CAPITAL MANAGEMENT, LP .. 1                            §   Case No. ! 9-340541-sgj I l
                                                                   §
                                      Debtor.                      §
  --------------------------------




            DEBTOR'S l\·IOTION FOR ENTRY OF AN ORDER APPROVING
      SETTLE!\.IENT WITH HARBOURVEST (CLAIM NOS. 143. 147. 149, 150. 153, 154)
              AND AUTHORIZING ACTIONS ,C ONSISTENT THEREWITH


   TO THE HONORAB LE STACEY G. C. JERNIGAN.
   UNITED STATES BANKRUPTCY JUDGE :



   1 The las! four digits of the Debtor's taxpayer identification number arc 6725. The headquarters and service address

   for the Debtor is 300 Crescent Coun, Suite 700, Dallas, TX 75201.




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                                                                                                                Appx_0561
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              Highland Capital Management. LP.. the above-captioned debtor and debtor-in-

      possession (..Highland" or the "Debtor"). files this motion (the "Motion") for entry of an order.

      substantially in the fonn attached hereto as Exhibit A. pursuant to Rule 9019 of the Federal

      Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), approving a settlement agreement (the

      "Settlement Agreement"), 2 a copy of which is attached as Exhibit I to the Declaration ofJohn A.

      Morris in Support of the Debtor's Motion for Enr,y of an Order Approving Settlement with

      HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent

      Therewith being filed simultaneously with this Motion ("Morris Dec."). that. among other things.

      fully and finally resolves the proofs of claim filed by HarbourVest 2017 Global Fund LP ..

      HarbourVest 2017 Global Alf LP .. HarbourVest Dover Street IX Investment LP.. HV

      International VIII Secondary LP .. HarbourVest Skew Base Alf L P., and HarbourVest Partners

      LP. (collectively. "HarbourVest"). In support of this Motion. the Debtor represents as follows:

                                                 JlJRISDICTIO'.'l

                      I.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

      and 1334. This matter is a core proceeding within the meaning of28 U.S.C. § 157(b)(2). Venue

      in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                      2.      The statutory predicates for the relief sought herein are sections I 0S(a)

      and 363 of title 11 of the United States Code (the "Bankruptcy Code"). and Rule 9019 of the

      Bankruptcy Rules.




      2
       All capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
      Agreement.

                                                          2


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                                         RELEVANT BACKGROU. D

  A.       Procedural Ba ckgro und

                    3.       On October 16, 2019 (the " Petition Date.,), the Debtor filed a vol untary

  petition for relief under chapter 1 I of the Bankruptcy Code in 1he Bankruptcy Court for the

  District of Delaware, Case No. 19-12239 (CSS) (the "Delaware Court").

                   4.       On October 29, 20 I 9, the official committee of unsec ured creditors (the

  ..Committee'') was appointed by the U.S. Trustee in the Delaware Court.

                   5.        On December 4. 2019. the Delaware Court entered an order transfe1Ting

  venue of the Debtor's case to this Court [Docket No. 186]. 3

                    6.      On December 27, 20 19 . the Debtor filed that certain Motion of the Debtor

  for Approval of Settlement with lhe Official Committee of Unsecured Creditors Regarding

  Gorernance of the Debtor and Procedures for Operations in the Ordina.ry Course [Docket No.

  28 l] (the "Settlement Motion''). This Court approved the Settlement Motton on January 9. 2020

  [Docket No. 339] (the "Settlemen t Order'').

                    7.       In connection with the Settlement Order, an independent board of

  directors was constituted at the Debtor's general partner. Strand Advisors. Inc .. and certain

  operating protocols were 1nstituted.

                   8,        On July 16. 2020, this Court entered an order appointing James P. Seery,

  Jr., as the Debtor' s chief executive officer and chief restructuring officer [Docket No. 8S4].

                   9.        The Debtor has continued in the possession of its property and has

  continued to operate and manage its business as a debtor-in-possession pursuant to sections

  I l07(a) and 1108 of1he Bankruptcy Code. No trU5tee or examiner has been appointed in this

  chapter 1 I case.


  , All docket numbers refer to the docket maintained by this Court.

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  B.      0Yerview of Harbour Vest' s Claims

                    l 0.     HarbourVest ' s clai ms against the Debto r' s estate arise from its $80 million

  investment in Highland CLO Funding, Ok/a Acis loan Funding, Ltd . ("HCLOF'"), pursuant to

 which HarbourVest obtained a 49 percent interest in HCLOF (the " Investment").

                    11.      In bri ef, HarbourVest contends that it was fraudulently induced into

 entering into the Investment based on 1he Debtor' s misrepresentations and omissions concerning

 certain material facts, including that the Debtor: (I) failed to disclose 1hat jt never jntended to

  pay an arbitration award obtained by a former portfolio manager, (2 ) failed to disclose 1hat it

 engaged jn a series of fraudulent transfers for the purpose of preventing the former portfolio

 manager from collecting on his arbitration award and misrepresented the reasons changing the

  portfolio manager for HCLOF immediately prior to the Investment. (3) indicated that the dispute

  with the former portfolio manager would not impact investment activities, and (4) expressed

 confidence in the ability of HCLOF to reset or redeem the collaternlized loan obligations

 ("CLOs") under its control.

                    12.     HarbourVest seeks to rescind its Investment and claims damages in excess

  of $300 million based on theories of fraud fraudulent inducement, fraudule nt concealment.

  fraudulent misrepresento,tion, negligent misrepresentation, and breach of fiduciary duty (under

 Guernsey Jaw). and on alleged violations of state securities laws and the Racketeer Influenced

 Corrupt Organization Act {"RICO").

                    13.     HarbourVest' s allegations are summarized below. 4




  4Solely for pwposes of this Motion. and nol for any other reason. the facts sci forth herein are adopted largely from
  the HarbourVest Response to Debtor's First Omnibus Objection to Certain (A) D11plicate Claims; (8) ~-erstated
  Claims; (C) Late-Filed Claims: (D) Satisfied Claims: (E) No-Uabilily Claims: and (F) Insufficient-Documentation
  Claims (Docket No. 1057] (the ..Response").



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 C.      Summary of HarbourVest's Factual Allegations

                14.     At the time HarbourVest made its Investment, the Debtor was embroiled

 m an arbitration against Joshua Terry ("Mr. Terry"), a former employee of the Debtor and

 limited partner of Acis Capital Management, L.P. ("Acis LP''). Through Acis LP, Mr. Terry

 managed Highland's CLO business. including CLO-related investments held by Acis Loan

 Funding. Ltd. ("Acis Funding").

                15.    The litigation between Mr. Terry and the Debtor began in 2016. after the

 Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

 Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

 ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

 he obtained an award of approximately $8 million (the ''Arbitration Award") on October 20,

 2017.

                16.     HarbourVest alleges that the Debtor responded to the Arbitration Award

 by engaging in a series of fraudulent transfers and corporate restructurings, the true purposes of

 which were fraudulently concealed from HarbourVest.

                17.     For example. according to HarbourVest. the Debtor changed the name of

 the target fund from Acis Funding to "Highland CLO Funding. Ltd." ("HCLOF") and "swapped

 out" Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the "Structural Changes").

 The Debtor allegedly told HarbourVest that it made these changes because of the "reputational

 harm" to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

 that in lieu of redemptions. resetting the CLOs was necessary, and that it would be easier to reset

 them under the "Highland" CLO brand instead of the Acis CLO brand.

                18.     In addition, HarbourVest also alleges that the Debtor had no intention of

 allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to "denude"


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  Acis of assets by fraudulently transferring virtually all of its assets and attempting to tra11sfer its

  profitable portfolio management contracts to non-Aci s, Debtor-related entit ies.

                  19 .   Unaware of the fraudu lent transfers or the true purposes of the Structural

  Changes, and in reliance on re presentations made by the Debtor, H arbourVest closed on its

  lnvestment in HCLOF on November 15, 20 17.

                  20,    After d iscovering the transfers that occurred between Highland and A cis

  between October and December 20 I 7 following the Arbitration Award (the "'Transfers,.), on

  January 24, 20 l 8, Terry moved for a temporary restraining order (the ' 'TRO" ) from the Texas

  state court on the grounds that the Transfers were pursued for the purpose of rendering Acis LP

  j udgment-proof. The state court granted the TRO, enj oin ing the Debtor from transferring any

  CLO management contracts or other assets away from Aci s. LP.

                  21.    On January 30 , 201 8, Mr. Terry filed invo luntary bankruptcy petitions

  again.st Acis LP and its general partner, Acis Capital Management G P, LLC. See In re Acis

  Capital Management, LP.. C ase No. 18-30264-sgjl I (Bankr. N. D . Tex. 2018 ) and In re Acis

  Capital Management GP, LLC, Case No. 18-30265-sgj I I ( Bankr. N .D. Tex. 2018 ) (collectively,

  the " Acis Bankruptcy Case"). The Bankruptcy Court overruled the Debtor' s objection, granted

  the invo luntary petitions. and appointed a chapter I I trustee (the " Acis. Trustee'").       A long

  sequence of events subsequently transpired, al l of which relate to Har bourVest's claims,

  including:

          •    On May 3 1, 20 18, the C ourt issued a sua sponte TRO preventi ng any actions in
               furtherance of the opt ional redemptions. or other Ii qui dation of the Ads CLOs.

          •    On June 14, 2018, HCLOF wi thdrew optional redemption notices.

          •    The TRO expired on June 15, 20 18, and H CLOF noticed the Acis Trustee that it w as
               requesti ng an optional redemption.




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           •   HCLOF's request was withdrawn on July 6, 2018, and on June 21. 2018. the Acis
               Trustee sought an injunction preventing Highland/HCLOF from seeking further
               redemptions (the "Preliminary Injunction" ).

           •   The Court granted the Preliminary Injunction on July 10, 2018, pending the Acis
               Trustee's attempts to confinn a plan or resolve the Acis Bankruptcy.

           •   On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
               for Acis. and held that the Preliminary Injunction must stay in place on the ground
               that the "evidence thus far has been compelling that numerous transfers after the Josh
               Terry judgment denuded Acis of value."

           •   After the Debtor made various statements implicating HarbourVest in the Transfers,
               the Acis Trustee investigated HarbourVest's involvement in such Transfers, including
               extensive discovery and taking a 30(b)(6) deposition of HarbourVest's managing
               director, Michael Pugatch, on November 17, 201 8.

           •   On March 20, 2019. HCLOF sent a letter to Acis LP stating that it was not interested
               in pursuing, or able to pursue, a CLO reset transaction.

    D.     The Parties' Pleadings and Positions Concerning HarbourVest's
           Proofs of Claim

                  22.     On April 8, 2020. HarbourVest filed proofs of claim against Highland that

   were subsequently denoted by the Debtor's claims agents as claim numbers 143, 147. 149, 150,

    153, and 154, respectively ( collectively, the "Proofs of Claim"). Morris Dec. Exhibits 2-7.

                  23.     The Proofs of Claim assert, among other things. that HarbourVest suffered

   significant ham1 due to conduct undertaken by the Debtor and the Debtor's employees, including

   "financial harm resulting from (i) court orders in the Acis Bankruptcy that prevented certain

   CLOs in which HCLOF was invested from being refinanced or reset and court orders that

   otherwise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; and (ii) significant

    fees and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g .•

    Morris Dec. Exhibit 2 13.

                  24.     HarbourVest also asserted '"any and all of its right to payment, remedies,

   and other claims (including contingent or unliquidated claims) against the Debtor in connection

   with and relating to the forgoing hann, including for any amounts due or owed under the various

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  agreements with the Debtor 1n connection with relating to'' the Operative Documents "and any

  and all legal and equitable c1aims or causes of action relating to the forgoing ham1.'" See, e.g. ,

  Morris Dec. Exhibit 2   ,4.
                 25.      Highland subsequently objected to HarbourVest's Proofs of Claim on the

  groW1ds that they were no-liability claims. [Docket No. 906] ( the "Claim Objection").

                 26.      On September 11 , 2020. HarbourVest filed its Response. The Response

  articulated specified claims under U.S. federal and state and Guernsey law, including claims for

  fraud. fraudulent concealment. fraudulent inducement, fraudulent misrepree.entation. neglige·nt

  misrepresentation (collectively, the "Fraud Claims"), U.S. State and Federal Securities Law

  Claims (the "Secu.rities Claims"). violations of the Federal Racketeer Influenced and Corrupt

  Organizations Act (" RICO"). breach of fiduciary dllty and misuse of fund assets, and an unfair

  prejudice claim under Guernsey law (collectively . with the Proofs of Claim . the "HarbourVest

  C laims").

                 27.      On October 18, 2020, HarbourVest filed its Motion of HarbourVest

  Pursuant to Rule 30/ 8 of the Federal R~les of Bankruptcy Procedure for Temporary Allowance

  of Claims for Purposes of Voting to Accept or Reject the Plan [ Docket No. 1207] ( the "30 I 8

  Motion,.). In its 3018 Motion, HarbourV est sought for its Claims to be temporarily allowed for

  voting purposes :in the amount of more than $300 million (based largel y on a t heory of 1reble

  damages).

  E.     Settlement Discussions

                 28.      ln O ctober. the parties discussed the possibility ofresolving the Rule 30 18

  Motion.

                 29 .     In November. the parties broadened the discussions in an attempt to reach

  a global resolution of the HarbourVest Claims.        In the pursuit thereof. the parties and their


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   counsel participated in several conference calls where they engaged in a spirited exchange of

   perspectives concerning the facts and the law.

                       30.    During follow up meetings. the parties' 1nterests became more defined.

   Specifically, HorbourVest sought to maximize its recovery while fully extracting itself from the

   Investment. while the Debtor sought to minimize the HarbourVest Claims consistent with its

   perceptions of the facts .and law.

                       31 .   After the parties' interests became more defined. the principals engaged in

   a series of direct. arm"s.Jength, telephonic negotiations that ultimately lead to the settlement,

   whose tenns are s ummarized below.

   F.        Summary of Settlement Terms

                       32.    The Settlement Agreement contains the following material tenns. among

   others:

             •   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
                 by the Debtor: 5

             •   HarbourVest shall receive an allowed. general unsecured, non-priority claim in the
                 amount of $45 million and shall vote its Class 8 claim in that amount to support the
                 Plan:

             •   HarbourVest shall receive a subordinated. allowed, general unsecured, non~priority
                 claim in the amount of $35 million and shall vote its Class 9 claim in that amount to
                 support the Plan;

             •   HarbourVest will support confirmation of the Debtor's Plan. :including. but not
                 limited to. voting its claims in support of the Plan;

             •   The HarbourVest Claims shall be allowed in the aggregate amount of$45 million for
                 voting purposes:

             •   Harbour Vest will support the Debtor's pursuit of:its pending Plan of Reorganization:
                 and

             •   The parties shall exchange mutual releases.


   jThe NA.V for HarbourVest s 4Q.98~. iL~tcresJ: rn HCLOF was c$1imatcd lo be appmxim:itcly $22 mi llion as of
   December I, 2020,

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  See general(y Morris Dec. Exhibit I.

                                  BASIS FOR RELIEF REQUESTED

                 33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

  a settlement. providing that:

           On motion by the trustee and after notice and a hearing. the court may
           approve a compromise or settlement. Notice shall be given to creditors. the
           United States trustee. the debtor. and indenture trustees as provided in Rule
           2002 and to any other entity as the court may direct.

  FED. R. BANKR. P. 90 19(a).

                 34.     Settlements in bankruptcy are favored as a means of minimizing litigation,

  expediting the administration of the bankruptcy estate, and providing for the efficient resolution

  of bankruptcy cases. See Myers v. Martin (In re Martin). 9 1 F.3d 389. 393 (3d Cir. 1996);

  Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599. 602 (5th Cir. 1980). Pursuant to

  Bankruptcy Rule 9019(a), a bankruptcy court may approve a compromise or settlement as long

  as the proposed settlement is fair. reasonable. and in the best interest of the estate. See In re Age

  Ref Inc .. 80 I F.3d 530. 540 (5th Cir. 20 I 5). Ultimately. "approval of a compromise is within

  the sound discretion of the bankruptcy court." See United States v. AWECO, Inc. (In re AWECO,

  Inc.), 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing, 624 F.2d at 602-03.

                 35.     In making this determination. the United States Court of Appeals for the

  Fifth Circuit applies a three-part test, "with a focus on comparing •the terms of the compromise

  with the rewards of litigation .... Official Comm. of Unsecured Creditors v. Caj1111 £lee. Power

  Coop. (In re Cajun £lee. Power Coop.). 119 F.3d 349. 356 (5th Cir. 1997) (citing Jackson

  Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the following

  factors: "(I) The probability of success in the litigation. with due consideration for the

  uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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  attendant expense, inconvenience and delay. and (3) All other factors bearing on the wisdom of

  the compromise.·· Jd. Under the rubric of the third factor referenced above, 1he Fifth Circui t has

  specified two additional factors that bear on the decision 1o approve a proposed settlement. First,

  the court should consider "the paramo unt jnterest of creditors with proper deference to their

  reasonable views:' Jd.; Conn. Gen. Life ins. Co. v. United Cos. Fin. Corp. (In re Foster

  Mortgage Corp.), 68 F.3d 91 4. 917 {5th Cir. 1995). Second. the court should consider the

  '·extent to which the settlement is truly the product of arm.s-length bargaining, and not of fraud or

  collusion." Age Ref Inc., 801 F.3d at 540; Foster Mortgage Corp., 68 F.3d at 9 18 ( citations

  omitted ).

                    36.    There is ample basis to approve the proposed Settlement Agreement based

  on the Rule 9019 factors set forth by the Fifth Circuit.

                    37.    First. although the Debtor believes that jt has valid defenses to the

  HarbourVest Claims. there 1s no guarantee that the Debtor would succeed 1n its lit igation with

  HarbourVest. Jndeed. to establish its defenses, the Debtor would be required to rely, at least in

  part, on the credibility of witnesses whose veracity bas already been called into question by this

  Court.       Moreover. it will be difficult to dispute that the Transfers precipitated the Acis

  Bankruptcy. and. ultimately, the imposition of the Bankruptcy Court's TRO that restricted

  HCLOF's ability to reset or redeem the CLOs and that is at the core of the HarbourVest Claims.

                    38.    The second factor--the complexity. duration, and costs of li tigation- also

  weighs heavily in favor of approving the Settlement Agreement As this Court is awure. the

  events forming the basis of the HarbourVest Claims-including the Terry Litigation and Acis

  Bankruptcy-proceeded for years in this Court and in multiple other forums, and has already

  cost the Debtor's estate millions of dollars in Jegal feee1.   If the Settlement Agreement is not

  approved. then the parties will expend significant resources li tigating a host of fact-intensive


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  fraudulent statements and omissions and whether HarbourVest reasonab ly relied on those

  statements and omissions.

                         39.         Third. approval of the Settlement Agreement is justified by 1he paramount

  interest of creditors. Specifically. the settlement                               will enable the Debtor to: (a) avoid jncurring

  substantial litigation costs; (b) avoid the litigation risk associated with H arbourVest's $300

  million claim~ and {c) through the plan support provisions, increase the likelihood that the

  Debtor's pending plan of reorganization will be confirmed.

                         40.         FinalJy, the Settlement Agreement was u1,_questionably negotiated at

  arm's-length. The terms of the settlement are the result of numerous. ongoing discussions and

  negotiations between the parties and their counsel and represent neither party's "best case

  scenario.'' Indeed . the Settlement Agreement should be a pproved as a rational exercise of 1he

  Debtor's business judgment made after due deliberation of the facts and circumstances

  concerning H arbourVesfs Claims.

                                                           NO PRIOR REQUEST

                         41 .        No previous request for the relief sought herein has been made 1o this. or

  any other, Court.

                                                                         NOTICE


                         42 .        Notice of this Motion shall be given to the following parties or, in lieu

  thereof. to their counsel, if known: (a) counsel for HarbourVest: (b) the Office of the llnited

  States Trustee; (c) the Office of the United States Attorney for the                                             orthern D istrict of Texas; (d)

  the Debtor's principal secured parties: (e) counsel to the Committee; and (f} parties requesting

  not ice pursuant to Bankruptcy Ru.le 2002. The Debtor submits that, in light of the nature of the

  relief requested, no other or further notice need be given.

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           WHEREFORE. the Debtor respectfully requests entry of an order. substantially in the

   fonn attached hereto as Exhibit A. (a) granting the relief requested herein. and (b) granting such

   other relief as is just and proper.



   Dated: December 23. 2020.                 PACHULSKI STANG ZIEHL & JONES LLP

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                                       Exhibit 1
                             Settlement Agreement




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                                    SETTLEJ\IENT AGREEMENT

           This Settlement Agreement (the "'Agreement") is entered into as of March 30, 2021, by
   and among (i) Highland Capital Management, L.P. ("HCMLP" or the "Debtor"), (ii) Highland
   Credit Opportunities COO, L.P. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
   Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
   the "MSCF Parties"), (iii) Strand Advisors, Inc. ("Strand"), and (iv) UBS Securities LLC and
   UBS AG London Branch (collectively, "UBS'').

           Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
   collectively as the "Parties" and individually as a "Party."

                                            RECITALS

          WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and tvvo funds
   managed by HCMLP-Highland CDO Opportunity Master Fund, L.P. ("COO Fund") and
   Highland Special Opportunities Holding Company (''SOHC," and together with CDO Fund, the
   ..Funds") related to a securitization transaction (the "Knox Agreement");

         WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
   Agreement;

           WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
   filed a complaint in the Supreme Court of the State of New York, County of New York (the
   "State Court") against HCMLP and the Funds seeking to recover damages related to the Knox
   Agre-ement, in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
   L.P.. et al., Index No. 650097/2009 (N.Y. Sup. Ct.) (the "2009 Action'');

          WHEREAS, UBS's lone claim against HCMLP in the 2009 Action for indemnification
   was dismissed in early 2010, and thereafter UBS amended its complaint in the 2009 Action to
   add five new defendants, Highland Financial Partners, L.P. ("HFP"), Highland Credit Strategies
   Master Funds, L.P. ("Credit-Strat"), Highland Crusader Offshore Partners, L.P. ("Crusader"),
   Multi-Strat, and Strand, and to add new c1aims for fraudulent inducement, fraudulent
   conveyance, tortious interference with contract, alter ego, and general partner liability;

           WHEREAS, UBS filed a new, separate action against HCMLP on June 28, 20 l 0, for,
   inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
   dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P., lndex No.
   650752/2010 (N.Y. Sup. Ct.) (the "2010 Action");

          WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
   20 l OAction (hereafter referred to as the "State Court Action"), and on May l l 2011, UBS fi1ed
                                                                                    j


   a Second Amended Complaint in the 2009 Action;

           WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
   Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
   its claims against Crusader and Credit-Strat;




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                                                                          EXECUTION VERSION

            WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
     purposes of trial, with the Phase I bench trial deciding UBS's breach of contract claims against
     the Funds and HCMLP's counterclaims against UBS;

            WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
     Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and HFP, purportedly
     sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
     Assets") and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
     ("Sentinel") pursuant to a purported asset purchase agreement (the "Purchase Agreement");

           WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
     premium on a document entitled "Legal Liability Insurance Policy" (the "Insurance Policy");

            WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
     $100,000,000 for any legal liability resulting from the State Court Action (the ''Insurance
     Proceeds");

            WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
     Fund's Limited partnership interests in Multi-Strat (the "CDOF Interests");

             WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
     Multi-Strat for certain cash consideration (together with the CDOF Interests, the "MSCF
     Interests'');

            WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
     unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
     January 202 l;

           WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
     Agreement and Insurance Policy to UBS;

            WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
     were unknown to UBS;

             WHEREAS, on November 14, 2019, following the Phase T trial, the State Court issued
     its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
     dismissing HCMLP's counterclaims;

            WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
     the redeemed MSCF Interests are currently valued at approximately $32,823,423.50 (the
     "Sentinel Redemption");

            WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
     against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the "Phase I
     Judgment");

            WHEREAS, Phase II of the trial of the State Court Action, includes, inter alia, UBS 's
     claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS 's




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     fraudulent transfer claims against HCMLP, HFP, and Multi-Strat, and UBS's general partner
     claim against Strand;

            WHEREAS, on October 16, 2019, HCMLP filed a voluntary petition for relief under
     chapter LL of title 11 of the United States Code (the "Bankruptcy Code") in the United States
     Bankruptcy Court for the District of Delaware (the '"Bankruptcy Case"). The Bankruptcy Case
     was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
     "Bankruptcy Court") on December 4, 2019;

         WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
     HCMLP by HCMLP's bankruptcy filing;

            WHEREAS, on May 11, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
     Ltd., and Highland Credit Opportunities COO Asset Holdings, L.P. (collectively, the "May
     Settlement Parties"), entered into a Settlement Agreement (the "May Settlement") pursuant to
     which the May Settlement Parties agreed to the allocation of the proceeds of certain sales of
     assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
     Multi-Strat's actions;

             WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
     the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
     filed by UBS AG London Branch (hereinafter collectively referred to as the "UBS Claim"). The
     UBS Claim asserts a general unsecured claim against HCMLP for $1,039,957,799.40;

             WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order Directing
     Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
     directed to mediate their Bankmptcy Case disputes before two experienced third-party mediators,
     Retired Judge Allan Gropper and Sylvia Mayer (together, the "Mediators"). HCMLP and UBS
     formally met with the Mediators together and separately on numerous occasions, including on
     August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
     discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

           WHEREAS, on August 7, 2020, HCMLP filed an objection to the UBS Claim [Docket
     No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
     and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd., and Highland
     Crusader Fund II, Ltd. (collectively, the "Redeemer Committee"), objected to the UBS Claim
     [Docket No. 933]. On September 25, 2020, UBS filed its respom,e to these objections [Docket
     No. 1105];

             WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
     for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
     on November 6, 2020, UBS opposed these mo1ions [Docket No. l 337];

             WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
     forth therein, the motions for partial summary judgment filed by HCMLP and the Redeemer
     Committee and denied UBS's request for leave to file an amended proof of claim [Docket No.
     1526];




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           WHEREAS, on November 6, 2020, UBS filed UBS 's Motion for Temporary Allowance
    of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
    No. 1338] (the "3018 Motion"), and on November 16, 2020, HCMLP and the Redeemer
    Committee each opposed the 3018 Motion [Docket Nos. 1404 and 1409, respectively];

          WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
    Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
    amount of$94,761,076 [Docket No. 1518];

          WHEREAS, on January 22, 2021, the Debtor filed the Fifth Amended Plan of
    Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
    amended, and as may be further amended, supplemented, or otherwise modified, the "Plan");

           WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
    Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

            WHEREAS, on March 29, 2021, UBS filed an adversary proceeding seeking injunctive
    relief and a motion for a temporary restraining order and preliminary injW1ction to, among other
    things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
    Sentinel or any transferee of Sentinel (the "Multi-Strat Proceeding"), which relief the Debtor, in
    its capacity as Multi-Strat's investment manager and general partner, does not oppose;

           WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
    disputes between and among them, to the extent and on the terms and conditions set forth herein,
    and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
    wrongdoing on the part of any Party; and

           WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
    pursuant to Federal Rule of Bankruptcy Procedure 9019 ("Rule 9019") and section 363 of the
    Bankruptcy Code;

           NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
    and promises made herein, and other good and valuable consideration, the receipt of which is
    hereby acknowledged, the Parties agree as follows:

                                                     AGREEMENT

           1.      Settlement of Claims. In ful 1 and complete satisfaction of the UBS Released
    Claims (as defined below):

                 (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
    the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
    Unsecured Claim under the Plan; 1 and (H) a single, subordinated unsecured claim in the amount
    of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
    Unsecured Claim under the Plan.




    1 Capitalizerl   terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                      (b)     Multi-Strat will pay UBS the sum of $18,500,000 (the "Multi-Strat
      Payment") as follows: (i) within two (2) business days after the Order Date, the May Settlement
      Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
      of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
      in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
      following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
      Payment in immediately available funds on the date that is ten ( I 0) business days following the
      Order Date, provided that, for the avoidance of doubt, the amounts held in the Escrow Account
      will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                      (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
      CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
      within 5 business days ofCDO Fund actually receiving the Insurance Proceeds from or on behalf
      of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
      designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
      Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
      assistance to UBS in connection with any legal action UBS takes to recover the Insurance
      Proceeds or to retwn the Transferred Assets to the Funds to satisfy the Phase I Judgment or
      obtain rights to the MSCF interests, including hut not limited to the redemption payments in
      connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
      the investigation or prosecution of claims or requests for injunctive relief against the Funds,
      Multi-Strat, Sentinel, James Dondero, Isaac Leventon, Scott Ellington, Andrew Dean,
      Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie [rving, and/or any other current or
      fonner employee or director of the Funds or Sentinel and/or any other fonner employee or
      fonner director of any of the HCMLP Parties that is believed to be involved with the Purchase
      Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
      potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
      listed on the schedule provided to UBS on March 25, 2021 (the "HCMLP Excluded
      Employees''); (iv) as soon as reasonably practicable, provide UBS with al1 business and trustee
      contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
      Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
      if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
      practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
      agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
      Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valihalla CLO Ltd, and Governance Re Ltd,
      as applicable, that are in the Debtor's actual possession, custody, or control, (vi) as soon as
      reasonably practicable, provide, to the extent possible, any CUSTP numbers of the securities of
      the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd,
      Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
      applicable, including infonnation regarding the location and amount of any cash related to those
      entities' holdings, in each case on]y to the extent actually known by the Debtor after reasonable
      inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
       l (c)(vi) or any other assets owned or controlled by the Funds and/or HFP, including for
      avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
      discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
      reasonably possible to requests by UBS for access to relevant documents and approve as
      promptly as reasonably possible requests for access to relevant documents from third parties as
      needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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     MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
     without limitation the requests listed in Appendix A (provided, however, that the provision of
     any such documents or access will be subject to the common interest privilege and will not
     constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
     Debtor's actual possession, custody, or control; (ix) preserve all documents in HCMLP's
     possess.ion, custody, or control regarding or relating to the Purchase Agreement, the Insurance
     Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
     not limited to the documents requested in Appendix A, from 2016 to present, and issue a
     litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
     otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
     and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
     ahead of all other creditors of the Funds and HFP: provided, however, that, from and after the
     date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
     hut not Limited to, those fees and expenses for outside consultants and professionals (the
     "Reimbursable Expenses"), in connection with any provision of this Section l(c) in excess of
     $3,000,000 (the "Expense Cap"), and provided further that, for every dollar UBS recovers from
     the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
     Sentinel, Multi-Strat (other than the amounts set forth in Section l(b) hereof), or any other
     person or entity described in Section l(c)(iii) in connection with any claims UBS has that arise
     out of or relate to the Phase I Judgment, the Purchase Agreement, the Insmance Policy, the
     Transferred Assets, the MSCF Interests, or the Insurance Proceeds (the ''UBS Recovery"), UBS
     will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
     incurred by HCMLP, subject to: ( l) the occurrence of the Agreement Effective Date and (2)
     UBS's receipt and review of invoices and time records (which may be redacted as reasonably
     necessary) for outside consultants and professionals in connection with such efforts described in
     this Section I (c), up to but not exceeding the Expense Cap after any disputes regarding the
     Reimbursable Expenses have been reso~ved pursuant to procedures to be agreed upon, or absent
     an agreement. in a manner directed by the Bankruptcy Court; and provided further that in any
     proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
     obligated to pay the reasonable fees and expenses of the prevailing party~ and provided further
     that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
     behalf of or for UBS's benefit pursuant to this Section 1(c) shall be conducted in consultation
     with UBS, inc1uding but not limited to the selection of necessary outside consultants and
     professionals to assist in such litigation; and provided further that UBS shall have the right to
     approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
     which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
     UBS's benefit pursuant to this Section l(c).

                   (d)     Redeemer Appeal.

                           (i)    On the Agreement Effective Date, provided that neither the
     Redeemer Committee nor any entities acting on its behalf or with any assistance from or
     coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
     (as defined below), UBS shall withdraw with prejudice its appeal of the Order Approving
     Debtor's Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
     No. 72) and (BJ the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
     Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                            (ii)    The Parties have stipulated to extend the deadline for the filing of
    any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
    necessary to facilitate this Settlement Agreement.

                   (e)     As of the Agreement Effective Date, the restrictions and obligations set
    forth in the May Settlement, other than those in Section 7 thereof, shall be extinguished in their
    entirety and be of no further force or effect.

                   (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
    agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                   (g)     On the Agreement Effective Date, any claim the Debtor may have against
    Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
    shall be automatically transferred to UBS, without any further action required by the Debtor. For
    the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
    Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

            2.     Definitions.

                   (a)   "Agreement Effective Date" shall mean the date the full amount of the
    Multi-Strat Payment defined in Section I(b) above, including without limitation the amounts
    held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

               (b)     "HCMLP Parties" shall mean (a) HCMLP, in its individual capacity; (b)
    HCMLP, as manager of Multi-Strat; and ( c) Strand.

                  (c)    "Order Date" shall mean the date of an order entered by the Bankruptcy
    Court approving this Agreement pursuant to a motion filed under Rule 901 9 and section 363 of
    the Bankruptcy Code.

                   (d)     "UBS Parties" shall mean UBS Securities LLC and UBS AG London
    Branch.

           3.      Releases.

                     (n)    UBS Releases. Upon the occurrence of the Agreemen1 Effective Date,
    and to the maximum extent pennitted by law, each of 1he UBS Parties hereby forever, finally,
    fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
    exonerates. forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
    their current and fonTJer advisors, attorneys, trustees, directors. officers, managers, members,
    partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
    affiliates, successors, designees, and assigns (each in their capacities as such), except as
    expressly set forth below, and (B) the MSCF Parties and each of their current and former
    advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
    beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates, successors,
    designees, and assigns (each in their capacities as such), except as expressly set forth below, for
    and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
    liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
    damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known


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     or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affinnative defenses, whether known or unknown, including, without
     limitation, those that have been or could have been alleged or asserted in the S,tate Court Action
     or the Bankruptcy Case (collectively, the "UBS Released Claims"). provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to (l) the
     obligations of the HCMLP Parties and MSCF Parties under this Agreement. including without
     limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
     described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
     respect to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
     Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
     the Phase I Judgment, Purchase Agreement. and/or Insurance Policy by UBS; (3) James Dondero
     or Mark Okada, or any entities, including without limitation Hunter Mountain Investment Trust,
     Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
     than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
     HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
     extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
     capacity, including but not limited to as an investor, officer, trustee, or director in the HCMLP
     Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, affiliates, successors,
     designees, assigns, employees. or directors, including James Dondero, Isaac Leventon, Scott
     Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
     and/or any other current or former employee or director of the Funds or Sentinel and/or any other
     former employee or fonner director of any of the HCMLP Parties that is believed to be involved
     with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
     including for any liability with respect to the prosecution, enforcement, collection, or defense of
     the Phase I Judgment. Purchase Agreement, the MSCF Interests, any potentially fraudulent
     transfer of assets from the Funds to Sentinel and/or Insurance Policy, excluding the HCMLP
     Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
     directly or indirectly (including in its capacity as an investment manager and/or investment
     advisor), in any HCMLP-affiliated entity, including without limitation in the Redeemer
     Committee and Credit Strat, and/or in such entities' past, present or future subsidiaries and
     feeders funds (the "UBS Unrelated Investments")~ and (6) any actions taken by UBS against any
     person OT entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
     Sentinel Redemption or the transfer of any assets currently held by or within the control of COO
     Fund to Sentinel OT a subsequent transferee or to seek to compel any action that on1y such person
     or entity has standing to pursue or authorize in order to pennit UBS to recover the Insurance
     Proceeds, Transferred Assets, the Phase 1 Judgment or any recovery against HFP; provided,
     however, that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
     HCMLP in connection with this Section 3(a)(6) wi1l be considered Reimbursable Expenses and
     shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
     pursuant to Section l(c) subject to the occurrence of the Agreement Effective Date and after any
     disputes regarding such Reimbursable Expenses have been resolved in the manner described in
     Section l(c).

                    (b)    HCMLP Release. Upon the occurrence of the Agreement Effective Date,
     and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, finally,
     fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
     exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of


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     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
     costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
     unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affirmative defenses, whether known or unknown, including, without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "HCMLP Released Claims''), provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
     of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
     obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                     (c)     Multi-Strat Release. Upon the occurrence of the Agreement Effective
     Date, and to the maximum extent permitted by law, each of the MSCF Parties hereby forever,
     finally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
     exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiJiates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities, demands, obligations, promises. acts, agreements, liens, losses,
     costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
     unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affirmative defenses, whether known or unknown, including, without
     limi1ation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "Multi-Strat Released Claims"). provided, however,
     that notwithstanding anything to the contrary herein, such releases shall not apply to the
     obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

           4.    No Third Party Beneficiaries. Except for the parties released by this
     Agreement, no other person or entity shall be deemed a third-party beneficiary of this
     Agreement.

             5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
     Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
     by virtue of the prosecution, enforcement, or collection of the Phase I Judgment (collectively, the
     "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
     State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
     assert or pursue any claims that any Controlled State Court Defendant has or may have against
     any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
     State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
     further, however, if and to the extent UBS receives any distribution from any Controlled State
     Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
     Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly


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    attributable to any property the Controlled State Court Defendant receives from the Debtor and
    separate and distinct from property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
    then such recovery shall be credited against all amounts due from the Debtor's estate on account
    of the UBS Claim allowed pursuant to Section l(a) of this Agreement, or if such claim has been
    paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

           6.      Agreement Subject to Bankruptcy Court Approval.

                    (a)    The force and effect of this Agreement and the Parties' obligations
    hereunder are conditioned in all respects on the approval of this Agreement and the releases
    herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
    Agreement expeditiously approved lby the Bankruptcy Court by cooperating in the preparation
    and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
    filed by the Debtor no later than five business days after execution of this Agreement by all
    Parties unless an extension is agreed to by both parties.

           7.      Representations and Warranties.

                    (a)   Each UBS Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
    or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
    other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
    UBS Released Claim on behalf of, for the benefit of, or in the name of (whether directly or
    derivatively) such UBS Party.

                    (b)    Each HCMLP Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the HCMLP Released Claims and has not sold,
    transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
    person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
    pursue, or enforce any HCMLP Released Cfaim on behalf of, for the benefit of, or in the name of
    (whether directly or derivatively) such HCMLP Party.

                    (c)    Each MSCF Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to Telease the Multi-Strat Released Claims and has not sold,
    transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
    person OT entity other than such MSCF Party has been, is, or will be authorized to bring, pursue,
    or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
    (whether directly or derivatively) such MSCF Party.




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             8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
     dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
     or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
     Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
     constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
     Parties, Strand, UBS, or any other person.

            9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
     the benefit of each of the Parties and their representatives, successors, and assigns.

             10.     Notice. Each notice and other communication hereunder shall be in writing and
     will, unless otherwise subsequently directed in writing, be delivered by email and overnight
     delivery, as set forth below, and will be deemed to have been given on the date following such
     mailing.

            HCMLP Parties or the MSCF Parties

            Highland Capital Management, L.P.
            300 Crescent Court, Suite 700
            Dallas, Texas 75201
            Attention: General Counsel
            Telephone No.: 972-628-4100
            E-mail: notices@HighlandCapital.com

            with a copy (which shall not constitute notice) to:

            Pachulski Stang Ziehl & Jones LLP
            Attention: Jeffrey Pomerantz, Esq.
            l Ol 00 Santa Monica Blvd., 13th Floor
            Los Angeles, CA 90067
            Telephone No.: 310-277-6910
            E-mail: jpomerantz@pszjlaw.com

            UBS

            UBS Securities LLC
            UBS AG London Branch
            Attention: Elizabeth Kozlowski, Executive Director and Counsel
            1285 Avenue of the Americas
            New York, NY 10019
            Telephone No.: 212-713-9007
            E-mail: elizabeth.kozlowski@ubs.com

            UBS Securities LLC
            UBS AG London Branch
            Attention: John Lantz, Executive Director
            1285 Avenue of the Americas
            New York, NY 10019



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             Telephone No.: 212-713-1371
             E-mail: john.lantz@ubs.com

             with a copy (which shall not constitute notice) to:

             Latham & Watkins LLP
             Attention: Andrew Clubok
                         Sarah Tomkowiak
             555 Eleventh Street, NW, Suite 1000
             Washington, D.C. 20004-1304
             Telephone No.: 202-637-3323
             Email: andrew.clubok@lw.com
                     sarah.tomkowiak.@lw.com

             11.     Advice of Counsel. Each of the Parties represents that such Party has: (a) been
      adequately represented by independent legal counsel of its own choice, throughout all of the
      negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
      the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
      and conditions contained herein without any reservations; and (d) had the opportunity to have
      this Agreement and all the terms and conditions contained herein explained by independent
      counsel, who has answered any and all questions asked of such coW1Sel, or which could have
      been asked of such counsel, including, but not limited to, with regard to the meaning and effect
      of any of the provisions of this Agreement.

              12.     Entire Agreement. This Agreement contains the entire agreement and
      understanding concerning the subject matter of this Agreement, and supersedes and replaces all
      prior negotiations and agreements, written or ora1 and executed or unexecuted, concerning such
      subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
      attorney for any such Party, has made any promise, representation, or warranty, express or
      implied, written or oral, not otherwise contained in this Agreement to induce any Party to
      execute this Agreement. The Parties further acknowledge that they are not executing this
      Agreement in reliance on any promise, representation, or warranty not contained in this
      Agreement, and that any such reliance would be unreasonable. This Agreement wm not be
      waived or modified except by an agreement in writing signed by each Party or duly authorized
      representative of each Party.

              13.    No Party Deemed Drafter. The Parties acknowledge that the terms of this
      Agreement are contractual and are the result of arm's-length negotiations between the Parties
      and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
      of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
      construed against any Party.

            14.    Future Cooperation. The Parties agree to cooperate and execute such further
      documentation as is reasonably necessary to effectuate the intent of this Agreement.

              15.    Counterparts. This Agreement may be executed in counterparts with the same
      force and effect as if executed in one complete document. Each Party's signature hereto will
      signify acceptance of, and agreement to, the terms and provisions contained ie this Agreement.


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    Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
    originals of this Agreement for any purpose.

            16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
    Agreement will be governed by and will be construed according to the laws of the State of New
    York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
    exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
    thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
    Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
    any action to enforce this Agreement, the prevailing party shall be entitled to recover its
    reasonable and necessary attorneys' fees and costs (including experts).

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   IT IS HEREBY AGREED.

                                      HIGHLAND CAPITAL MANAGEMENT, L.P.


                                      By:
                                      Name:   -----1----~"'-="'--"---"'---ll...!...___.,e__i:""-'-">----"'-'---~ ~
                                      Its:


                                      HIGHLAND '.\1t:LT1 STRATEGY CREDIT
                                      FUND,     L.P.   (f/k/a Highland Credit
                                      Opportunities CDO, LP.)


                                      By:
                                      Name:   ----=----===----'--''--""'"'-'---4--+-"'-'------,, - - --
                                      Its:


                                      HIGHLAND CRF:DIT OPPORTUNITIES COO,
                                      Ltd.




                                      HIGHLAI\D CREDIT OPPORTV'llTIES CDO
                                      ASSET HOLDII\GS, L.P.


                                      By:
                                      Name:
                                      Its:             ~~
                                      STRAND ADVISORS, JNC.


                                      By:
                                      Name: - --1-~=---.-.--::=----==-==+.:i,.,...::' - - - - - - -
                                      Its:




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                                       UBS SECURITIES LLC

                                       By·        ~
                                       Na~e: :rorn1zt~
                                       Its:  Authorized Signatory

                                       By         ~.M.'1~
                                       Name: ~eth Kozlowski
                                       Its:  Authorized Signatory

                                       UBS AG LONDON BRANCH


                                       By:        {MJ~-At,          -
                                       Name: William Chandler
                                       Its:  Authorized Signatory

                                       By          2 J.J(ll(/ ¥~
                                       Name: .liza eth Km:lmvsi
                                       Its:  Authorized Signatory




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                                       APPENDIX A
    •   The search parameters (custodians, date ranges, search terms) used to locate the
        documents produced to UBS on February 27, 2021 (and any additional parameters used
        for t!he previous requests from UBS)~
    •   Identity of counsel to, and trustees of, CDO Fund or SOHC;
    •   Current or last effective investment manager agreements for CDO Fund and SOHC,
        including any management fee schedule, and any documentation regarding the
        termination of those agreements;
    •   The tax returns for the CDO Fund and SOHC from 2017-present;
    •   Communications between any employees of Sentinel (or its affiliates) and any
        employees of the HCMLP Parties, CDO Fnnd, SOHC, or any of Dondero, Leventon, or
        Ellington from 2017-present;
    •   Documents or communications regarding or relating to the Purchase Agreement,
        Insurance Policy, or June 30, 2018 Memorandum entitled "Tax Consequences of
        Sentinel Acquisition of HFP/CDO Opportunity Assets" (the "Tax Memo"), including
        without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
        these documents, (iii) board minutes or resolutions regarding or relating to these
        documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
        regarding the asset transfer pursuant to these documents; and (vi) any similar asset
        purchase agreements, capital transfer agreements, or similar agreements;
    •   Documents or communications regarding or relating to the value of any assets
        transferred pursuant to the Insurance Policy or Purchase Agreement, including without
        limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
        present, including documentation supporting the $105,647,679 value of those assets as
        listed in the Tax Memo;
    •   Documents showing the organizational structure of Sentinel and its affiliated entities,
        including information on Dondero' s relationship to Sentinel;
    •   Any factual information provided by current or former employees of the HCMLP
        Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
        Agreement, Insurance Policy. Tax Memo, and/or transfer of assets pursuant to those
        documents;
    •   Debtor's settlement agreements with Ellington and Leventon;
    •   Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
        Indenture, dated as of December 20. 2007, among Greenbriar CLO Ltd., Greenbriar
        CLO Corp., and St.ate Street Bank and Trust Company); and
    •   Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
        those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
        owed to the Debtor.




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                                Hellman & Friedman Seeded Farallon Capital Management
 OUR FOUNDER



     RETURN TO ABOUT (/ABOUT/)




 Warren Hellman: One of the good guys

 Warren Hellman was a devoted family man, highly successful businessman, active philanthropist, dedicated musician, arts patron,
 endurance athlete and all-around good guy. Born in New York City in 1934, he grew up in the Bay Area, graduating from the University of
 California at Berkeley. After serving in the U.S. Army and attending Harvard Business School, Warren began his finance career at Lehman
 Brothers, becoming the youngest partner in the firm's history at age 26 and subsequently serving as President. After a distinguished
 career on Wall Street, Warren moved back west and co-founded Hellman & Friedman, building it into one of the industry's leading private
 equity firms.



 Warren deeply believed In the power of people to accomplish incredible things and used his success to improve and enrich the lives of
 countless people. Throughout his career, Warren helped found or seed many successful businesses including Matrix Partners, Jordan
 Management Company, Farallon Capital Management and Hall Capital Partners.



 Within the community, Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
 education, civic life, and public health, including creating and running the San Francisco Free Clinic. Later in life, Warren became an
 accomplished 5-string banjo player and found great joy in sharing the love of music with others. In true form, he made something larger of
 this avocation to benefit others by founding the Hardly Strictly Bluegrass Festival, an annual three-day, free music festival that draws
 hundreds of thousands of people together from around the Bay Area.



 An accomplished endurance athlete, Warren regularly completed 100-mile runs, horseback rides and combinations of the two. He also
 was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 1970s, and is credited with
 helping revitalize the Sugar Bowl ski resort in the California Sierras.



 In shon, Warren Hellman embodied the ideal of living life to the fullest. He had an active mind and body, and a huge heart. We are lucky
 to call him our founder. Read more about Warren. (https://hf.com/wp-<:ontent/uploads/2015/09/Warren-Hellman-News-Release.pdf)




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                             Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                          Grosvenor Capital Management
                 GROSV ENOR




                                                   In 2007, H&f' investoo in Grosverior. one of the worli;l's largest and most diversified           ctependem
                                                   alternative asset management firm!i. The Comp,my offers comprehensive public arid private markets
                                                   solutions and a broad suite of investment and advisory choices tliat sp,,n hedge funds. private equity.
                                                   and v.irious credit and sped.ilty strategies. Grosverior specializes in developing customized
                                                   investment programs tailored to e.ich ctienrs specific investment goals.


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                                                   www.gcmlp.com(http://www.gcmlp.com)




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                                    CORNER OFFICE




                 0
               Julie Segal
                                    ICM Grosvenor ta la Public
                                    The S57 bllllon alternatives manager wlll become a publlc company after merging wlth a SPAC backed by
                                    cantor Fitzgerald.

                                    August 03, 2020




                                                                                                                      Chicago, IL (Tim Boyle/Bloomberg)




                                    In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                    The Chicago-based alternative investments firm is planning to go public by merging with a
                                    special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                    $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                    investments.


                                    "We have long valued having external shareholders and we wanted to preserve the
                                    accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                    and CEO, said in a statement.


                                    GCM Grosvenor will combine with CF Finance Special Acquisition Corp, a SPAC backed by
                                    Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                    the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                    management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                    has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
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                                 Fara IIon was a Significant Borrower for Lehman


  Case Study - Large Loan Origination
  Debt origination for an affiliate of Simon Property Group Inc. and Fa rallon Capital Ma nagement
                                                                                   'I ransaction O\crvic,,
   Date                              Jun~ 2007
                                                  ♦   In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $321
   Asset Class                           Retail       million (Lehman portion: $1 2 1 million) with JP Morgan to a special purpose affiliate of
   Asset Size                 1,808,506 Sq. Ft.       a joint venture between Simon Property Group Inc ("Simon") and Farallon Capital
                                                      Management ("Farnl lon·•1 secured by the shopping center known as Gurnee Mills Mall
   Sponsor         Simon Property Group Inc. I        (the "Property'') located in Gurnee, IL •
                  Farallon Capital Management
   Transaction                      Refinance     ♦ The Property consists of a one-story, 200 store discount mega-mall comprised of
   Type
                                                      1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                      Beyond and Kohls among other national retailers. Built in 1991, the Property underwent
   Total Debt    Lehman Broth,m: $121 million         a $5 million interior renovation in addition to a $71 million redevelopment between 2004
   Amount
                      JP Morgan: $200 million         and 2005. As of March 2007, the Property had a in-line occupancy of99.5%.


                                                                                   LC'h111an Rruth,•rs Role
                                                  ♦   Simon and Farallon comprised the sponsorship which eventuall y merged with The Mills
                                                      Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                      transaction was approximately $ I .64 billion for all of the outstanding common stock, and
                                                      approximately $7. 9 billion including assumed debt and preferred equity.
                                                  ♦   Lehman and .IP t-.forgan suhseyuently c<1-originated $321 mi llion loan al 79.2.% I.T V
                                                      bas~d on an appraisal completed in March by Cushman & Wakefield. Toe Loan was
                                                      used to refinance the indebtedness secured by the Property.


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           .·. '. .- :~'11
                        ..·• ♦                        The Mills Corporation, based in Che vy Chase MD is a developer owner and manager of
                                                      a diversified portfolio of retail destinations including regional shopping malls and
                                                      entertainment centers. They currently own 38 properties in the United States totaling 4 7
                                                      million square feet.



  LEHMAN BROTHERS                                                      32




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                        Mr. Seery Represented Stonehill While at Sidley


 James P Seery. Jr,
 John G. Hutchinson
 John J. Lavelle
 Martin B. Jackson
 Sidley Austin LLP
 787 Seventh A venue
 New Y ork. New York 100 19
 (2 12) 839-5300 (tel)
 (2 12) 839-5599 (fax)

 Anomeys for the Steering Group

 UNlTED STATES B AN K RUPTCY COURT
 SOUTH ERN D ISTRICT OF N EW YORK


 In re:                                                    Chapter 11

 BLOCKBUSTER INC'., et al..                                Case No. 10•14997 (BRL )

                               Debtors.                    (Jointly Administered)

 --------------- X
   THE BACKSTOP LENOERS 1 OBJECTION TO THE MOTION OF LYl\·1E REGI S TO
  ABA'.'IDON CE RTAIN C AUSES OF ACTION OR, IN THE A'LTERL'IA TIVE, TO GR,\NT
   STANDING TO LYi\lE REGIS TO PURS UE CLAIMS ON BEHALF OF THE ESTATE

          1.    The Steering Group of Senior Secured Noteholders who are Backstop Lenders --

 Icahn Capita~ LP, Monarch Alternative Capital LP. Owl Creek Asset Management. L. P ..

 Stoneh.ilJ Capital Management LLC'. and Varde Partners, Inc. (collectively. the "Backstop

 Lenders") -- hereby file this objection (the ·•objection") to the Motlon of Lyme Regis Partners ,

 LLC ("'Lyme Regis' ') to Abandon Certain Causes of Action or. in the A lternative. to Grant

 Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the "Motion"') [Docket No.

 593].




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  Stonehill Founder (Motulsky) and Grosvenor's G.C. (Nesler) Were Law School Classmates




                   Over 25 years earlier, here is a group at a
                      party. From the left, Bob Zinn, Dave
                     Lowenthal, Rory Little,            , I   I   Jon
                    Polansky (in front of Joe I       ~ r   Mo    11I(

                      and Mark Windfeld-Hansen (behind
                   bottle!) Motulsky circulated this photo at
                            the reunion. Thanks John!




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                Joseph H. Nesler (He/Him)
                Genernl Counsel
                                                                                           ( More ) (     8   Message )




                       Joseph H. Nesler (He/Him) ·                             Yale Law School

                       3rd
                       General Counsel
                       Winnetka, Illinois, United States·
                       Contact info
                       500-1- connections

                      ( a Message )         CMore )
                         Open to work
                         Chief Compliance Officer and Ge neral Counsel roles
                         See all details




                       About
                       I have over 38 years of experie nce representing participants in the investment
                       management industry with respect to a wide range of legal and regulatory matters,
                       including SEC, DOL. FINRA, and NFA regulations and examinations.            ... see more




                       Activity
                       522 followers

                       Posts Joseph H. created, shared, or commented on in the last 90 days are displayed
                       here.

htlpl:/IWWW.llnkeclkl.comlln/JOMphneslerl




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          Joseph H. Nesler (He/Him)
          General Counsel
                                                                             ( More ) ( 8 Message )
               -,~,., -··-· ·--
                            General Counse l
                            Dalpha Capital Management, lLC
                            Aug 2020 -Jul 2021 · 1   yr




              II            Of Counsel
                            Winston & Strawn LLP
                            Sep 20 18 - Jul 2020 • 1 yr 11 mos
                            Greater Chicago Area



                            Principal
                            The Law Offices of Joseph H. Nesler, LLC
                            Feb 2016-Aug 2018 • 2 yrs 7 mos



                            Grosvenor Capital Management, LP.
                            11    yrs 9 mos

                            Ind ependent Consultant to Grosvenor Capital Management,
                            LP.
                            May 2015- Dec 2015 • 8 mos
                            Chicago, Illinois


                            Genera l Counsel
                            Apr 2004 - Apr 2015    11 yrs 1 mo
                            Chicago, Illinois

                            Managing Director. General Counsel and Chief Compliance
                            Officer (April 2004 -April 2015)




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             Investor Communication to Highland Crusader Funds Stakeholders
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                                                                                     Manage m e nt , LLC 2029 C e 1
                                                                                              Pa r k East S ui t e 206 (
                                                                                                      Ange l e s, CA 9




      July 6, 2021


      Re: Update & Notice of Distribution


      Dear Highland Crusader Funds Stakeholder,

              As you know, in October 2020, the Bankruptcy Court opproved a settlement of the
      Redeemer Committee's and the Crusader Funds' claims against High land Capital Management
      L P. ("HC M''). as a result of which the Redeemer Committee was allowed a general unsecured
      claim of$137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
      claim of $50,000 against HCM (collectively, the "Claims"). In add ition, as part of the settlement,
      various interests in the Crusader Funds held by HC'M and certain of its affiliates are to be
      exti nguished (t he "Extinguished ~nterests"), and the Redeemer Commiltee and the Crusader Funds
      received a general release from HCM and a waiver by HCM of any claim to distributions or fees
      1hat it might otherw'ise receive from the Crusader Funds (the '"'Released Claims" and, collectively
      with the Extinguished Interests, the "Retained Rights").

              A timely appeal of the sett lement was taken by UBS (the "UBS Appea l) in the United States
      D istrict Court for the Northern District ofTexas. Dallas Divisio n. However. the Bankruptcy Court
      subsequently approved a settlement between HCM and UBS, treSulting in dismissal of the UBS
      Appeal with prejudice on June 14, 2021.

             On April 30, 2021, the Crusader Funds and tl1e Redeemer Committee consummated the sale
      of the C laims again,;t HCM and the majority of the remaining investrnenL'> held by the C rusader
      Fund.5 to Jessup Holdings LLC ("Jessup") for $78 millioo in cash. which was paid in full to the
      Crusader Funds at clos ing. The sale specifically excluded the Crusader Funds' investment in
      Cornerstone Healthcare roup Holding Inc. and excluded certain spedfied provisions of the
      settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
      Retained Ri ghts. The sale of the Claims and investments was made with no hold backs or escrows.

             The sa le to Jessup re·sulte-d fi-om a s.olicitation of offers to purchase the Clatn"ls com1111e.11ced
      by Alvarez & Marsa l C RF Management LLC ("A&M CRF"}, as Investment Manager of the·
      Crusader Funds. in co11sulta tio11 with the Redeemer Commitiee. Ult imately, t11e Crusader Fw1ds
      and the Redeemer Committee e ntered exc lusive negotiations with Jessup. cu lminating in the sa le
      to Jessup.

             A&M CRF. pursuant to the Pla n and Scheme and with the approval of House Hano er. the
      Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
      from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
      reserves for the Extinguished Claims or the Released Claims. In addition, the distribution will
      include approximately $9 .4 million in proceeds that have been redistributed due to the cancellation



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           and extinguishment of the interests and shares in the Crusader Funds held by HCM . Charitable
           OAF and Eame,. in connectjon with the Settlement Agreement, re,.ulting in a totul gros,;
           distribution of $87 .4 million . Distributions will be based on net asset value as of June 30, 2021.

                  Please note that A&M C:RF intends to make the distributions by wire transfer no later than
           July 3 1. 202 l. Please confirm your wire instructions on or before J ulv 20. 2021. If there arc any
           revisions to your wire information. please use the attached template to provide SEJ and A&M CRF
           your updated infommtion on investor letterhead, This infommtion should be sent on or before July
           20, 202 1 to Alvarez & Marsal CRF and SEJ at CRFinvestor@alvarezandmar:;.al.com and AIFS-
           1S Crusader(alseic.com. respe.ctively.

                 The wire payments will be made to the investor bank account on file with an efTective and record
          date of Ju ly I. 2021. Should you have any questions. please contact SEJ or A&M CRF at the e-mail
          addresses listed above.



   Sincerely.


   Alvarez & Marsal CRF Management, LLC'


           ~
   By:--- - -- - -
       Steven Vamer
       Managing Director




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                                                                                                            Appx_0600
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        MUN SCH /                                                                                    500 N. Akard Street. Suite 3800
                                                                                                           Dallas. Texas 75201~6659

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                                                                                                                        munsch.com
        DALLAS/ HOUSTON/ AUSTIN
                                                                                                             Direct Dial 214.855.7587
                                                                                                             Direct Fax 214.978.5359
                                                                                                             drukavina@munsch.com



                                                                November 3, 2021

        Via E-Mail and Federal Express
        Ms. Nan R. Eitel
        Office of the General Counsel
        Executive Office for U.S. Trustees
        20 Massachusetts Avenue, NW
        8th Floor
        Washington, DC 20530
        Nan.r.Eitel@usdoj.gov

                             Re:   Highland Capital Management, L. P. Bankruptcy Case
                                   Case No. 19-34054 (SGJ) Bankr. N.D. Tex.

        Dear Ms. Eitel:

                 I am a senior bankruptcy practitioner who has worked closely with Douglas Draper (representing
        separate, albeit aligned, clients) in the above-referenced Chapter 11 case. I have represented debtors-
        in-possession on multiple occasions, have served as an adjunct professor of law teaching advanced
        corporate restructuring, and consider myself not only a bankruptcy expert, but an expert on the
        practicalities and realities of how estates and cases are administered and, therefore, how they could be
        manipulated for personal interests. I write to follow up on the letter that Douglas sent to your offices on
        October 4, 2021, on account of additional information my clients have learned in this matter. So that
        you understand, my clients in the case are NexPoint Advisors, LP. and Highland Capital Management
        Fund Advisors L.P., both of whom are affiliated with and controlled by James Dondero and I write this
                                   1                                                                          1

        letter on their behalf and based on information they have obtained.

                I share Douglas' view that serious abuses of the bankruptcy process occurred during the
        bankruptcy of Texas-headquartered Highland Capital Management, LP. ("Highland" or the "Debtor'')
        which, left uninvestigated and unaddressed, may represent a systemic issue that I believe would be of
        concern to your office and within your office's sphere of authority. Those abuses include potential insider
        trading and breaches of fiduciary duty by those charged with protecting creditors, understated
        estimations of estate value seemingly designed to benefit insiders and management, gross mistreatment
        of employees who were key to the bankruptcy process, and ultimately a plan aimed at liquidating an
        otherwise viable estate, to the detriment of third-party investors in Debtor-managed funds. To be clear,
        I recognize that the Bankruptcy Court has ruled the way that it has and I am not criticizing the Bankruptcy
        Court or seeking to attack any of its orders. Rather, as has been and will be shown, the Bankruptcy
        Court acted on misinformation presented to it, intentional lack of transparency, and manipulation of the
        facts and circumstances by the fiduciaries of the estate. I therefore wish to add my voice to Douglas'
        aforementioned letter, provide additional information, encourage your investigation, and offer whatever
        information or assistance I can.

               The abuses here are akin to the type of systemic abuse of process that took place in the
        bankruptcy of Neiman Marcus (in which a core member of the creditors' committee admittedly attempted
        to perpetrate a massive fraud on creditors), and which is something that lawmakers should be concerned

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about, particularly to the extent that debtor management and creditors' committee members are using
the federal bankruptcy process to shield themselves from liability for otherwise harmful, illegal, or
fraudulent acts.

                                                   BACKGROUND

Highland Capital Management and its Founder, James Dondero

        Highland Capital Management, L.P. is an SEC-registered investment advisor co-founded by
James Dondero in 1993. A graduate of the University of Virginia with highest honors, Mr. Dondero has
over thirty years of experience successfully overseeing investment and business activities across a
range of investment platforms. Of note, Mr. Dondero is chiefly responsible for ensuring that Highland
weathered the global financial crisis, evolving the firm's focus from high-yield credit to other areas,
including real estate, private equity, and alternative investments. Prior to its bankruptcy, Highland served
as advisor to a suite of registered funds, including open-end mutual funds, closed-end funds, and an
exchange-traded fund.

       In addition to managing Highland, Mr. Dondero is a dedicated philanthropist who has actively
supported initiatives in education, veterans' affairs, and public policy. He currently serves as a member
of the Executive Board of the Southern Methodist University Cox School of Business and sits on the
Executive Advisory Council of the George W. Bush Presidential Center.

Circumstances Precipitating Bankruptcy

         Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
like many other investment platforms-suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved a group of investors who had
                                                                         11
invested in Highland-managed funds collectively termed the Crusader Funds." During the financial
crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager temporarily
suspended redemptions, leading investors to sue. That dispute resolved with the formation of an investor
                                 11
committee self-named the Redeemer Committee" and the orderly liquidation of the Crusader Funds,
which resulted in investors' receiving a return of their investments plus a return, as opposed to the 20
cents on the dollar they would have received had their redemption requests been honored when made.

         Despite this successful liquidation, the Redeemer Committee sued Highland again several years
later, claiming that Highland had improperly delayed the liquidation and paid itself fees not authorized
under the parties' earlier settlement agreement. The dispute went to arbitration, ultimately resulting in
an arbitration award against Highland of $189 million (of which Highland expected to make a net
payment of $110 million once the award was confirmed).

        Believing that a restructuring of its judgment liabilities was in Highland's best interest, on October
16, 2019, Highland-a Delaware limited partnership-filed a voluntary petition for relief under Chapter
11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware. 1

       On October 29, 2019, the Bankruptcy Court appointed the Official Committee of Unsecured
Creditors ("Creditors' Committee"). The Creditors' Committee Members (and the contact individuals for
those members) are: (1) The Redeemer Committee of the Highland Crusader Fund (Eric Felton), (2)
Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch (Elizabeth

1   In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case11 ) 1 Dkt. 1.




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Kozlowski), and (4) Acis Capital Management LP. and Acis Capital Management GP, LLP (Joshua
                                                  1

Terry). 2 At the time of their appointment, creditors agreeing to serve on the Creditors' Committee were
given an Instruction Sheet by the Office of the United States Trustee, instructing as follows:

          Creditors wishing to serve as fiduciaries on any official committee are advised that
          they may not purchase, sell or otherwise trade in or transfer claims against the
          Debtor while they are committee members absent an order of the Court. By
          submitting the enclosed Questionnaire and accepting membership on an official
          committee of creditors, you agree to this prohibition. The United States Trustee
          reserves the right to take appropriate action, including removing the creditor from
          any committee, if the information provided in the Questionnaire is inaccurate, if the
          foregoing prohibition is violated, or for any other reason the United States Trustee
          believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

      In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
Bankruptcy Court unexpectedly transferred the bankruptcy case to the Northern District of Texas, to
Judge Stacey G.C. Jernigan's court. 3

           SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                              ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

        From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
pushed to replace Mr. Dondero as the sole director of the Debtor's general partner, Strand Advisors,
Inc. ("Strand"). To avoid a protracted dispute and to facilitate the restructuring, on January 9, 2020, Mr.
Dondero agreed to resign as the sole director, on the condition that he would be replaced by three
independent directors who would act as fiduciaries of the estate and work to restructure Highland's
business so it could continue operating and emerge from bankruptcy as a going concern. As Mr. Draper
previously has explained, the agreement approved by the Bankruptcy Court allowed Mr. Dondero, UBS
(which held one of the largest claims against the estate), and the Redeemer Committee each to choose
one director, and also established protocols for operations going forward. Mr. Dondero chose The
Honorable Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee
chose James Seery. 4

         In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months, but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfortunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland's management was being dominated by one of the

2
    Del. Case, Dkt. 65.
3
  See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket
references are to the docket of the Bankruptcy Court for the Northern District of Texas.
4 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of

Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course,
Dkt. 338; Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of
the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 339.



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independent directors, Mr. Seery (as will be seen, for his self-gain). Shortly after his placement on the
Board, on March 15, 2020, Mr. Seery became de facto Chief Executive Officer, after which he
immediately took steps to freeze Mr. Dondero out of operations completely, to the detriment of
Highland's business and its employees. The Bankruptcy Court formally approved Mr. Seery's
appointment as CEO and Chief Restructuring Officer on July 14, 2020. 5 Although Mr. Seery publicly
represented that his goal was to restructure the Debtors business and enable it to emerge as a going
concern, privately he was engineering a much different plan. Less than two months after Mr. Seery1s
appointment as CEO/CRO, the Debtor filed its initial plan of reorganization, disclosing for the first time
its intention to terminate substantially all employees by the end of 2020 and to liquidate Highland's assets
by 2022. 6

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan"). 7 There
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Court and the Court of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings

        The Regulatory Framework

         As you are aware, one of the most important features of federal bankruptcy proceedings is
                                                  11
transparency. The EOUST instructs that Debtors-in-possession and trustees must account for the
receipt, administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and file periodic reports and summaries of a
debtors business, including a statement of receipts and disbursements, and such other information as
the United States Trustee or the United States Bankruptcy Court requires." See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And Federal Rule
of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession shall file periodic
financial reports of the value, operations, and profitability of each entity that is not a publicly traded
corporation or a debtor in a case under title 11, and in which the estate holds a substantial or controlling
interest." This rule requires the trustee or a debtor in possession to file a report for each non-debtor
affiliate prior to the first meeting of creditors and every six months thereafter until the effective date of a
plan of reorganization. Fed R. Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from
filing reports due prior to the effective date merely because a plan has become effective. 8 Notably, the
U.S. Trustee has the duty to ensure that debtors in possession properly and timely file all required
reports. 28 U.S.C. § 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their

5 See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention
of James P. Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc
Pro Tune to March 15, 2020, Dkt. 854.
6 See Plan of Reorganization of Highland Capital Management, LP. dated August 12, 2020, Dkt. 944.
7 See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

Modified); and (II) Granting Related Relief, Dkt. 1943.
8 After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015. 3 disclosure requirement "for

cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Bankr.
2015.3(d).




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management, and representatives on creditors' committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
benefit of the estate.

        In Highland's Bankruptcy, the Regulatory Framework Is Ignored

       Against this regulatory backdrop, and on the heels of high-profile bankruptcy abuses like those
that occurred in the context of the Neiman Marcus bankruptcy, the Highland bankruptcy offered almost
no transparency to stakeholders. Traditional reporting requirements were ignored. This opened the door
to numerous abuses of process and potential violations of federal law, as detailed below.

         As Mr. Draper already has highlighted, one significant problem in Highland's bankruptcy was the
Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf of itself
or its affiliated entities. Typically, such reports would include information like asset value, income from
financial operations, profits, and losses for each non-publicly traded entity in which the estate has a
substantial or controlling interest. This was very important here, where the Debtor held the bulk of its
value-hundreds of millions of dollars-in non-debtor subsidiaries. The Debtors failure to file the
required Rule 2015.3 reports was brought to the attention of the Debtor, the Bankruptcy Court, and the
U.S. Trustee's Office. During the hearing on Plan confirmation, the Debtor was questioned about the
failure to file the reports. The sole excuse offered by the Debtor's Chief Restructuring Officer and Chief
Executive Officer, Mr. Seery, was that the task "fell through the cracks." 9 Nor did the Debtor or its counsel
ever attempt to show "cause" to gain exemption from the reporting requirement. That is because there
was no good reason for the Debtor's failure to file the required reports. In fact, although the Debtor and
the Creditors' Committee often refer to the Debtors structure as a "byzantine empire/' the assets of the
estate fall into a handful of discrete investments, most of which have audited financials and/or are
required to make monthly or quarterly net-asset-value or fair-value determinations. 10 Rather than
disclose financial information that was readily available, the Debtor appears to have taken deliberate
and strategic steps to avoid transparency.
                                                                                                                1
        In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly-owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
Committee member had real-time financial information with respect to the affairs of non-debtor affiliates,
which is precisely the type of information that should have been disclosed to the public pursuant to Rule
2015.3. Yet, the fact that the Committee members alone had this information enabled some of them to
trade on it, for their personal benefit.

       The Debtor's management failed and refused to make other critical disclosures as well. As
explained in detail below, during the bankruptcy proceedings, the Debtor sold off sizeable assets without
any notice and without seeking Bankruptcy Court approval. The Debtor characterized these transactions
as the "ordinary course of business" (allowing it to avoid the Bankruptcy Court approval process), but

9See Dkt. 1905 {Feb. 3, 2021 Hr'g Tr. at 49:5-21).
10 During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ff the top of [his] head" and
acknowledged that he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh.
A (Jan. 291 2021 Dep. Tr. at 22:4-10; 23:1-29:10).




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they were anything but ordinary. In addition, the Debtor settled the claims of at least one creditor-
former Highland employee Patrick Daugherty-without seeking court approval of the settlement
pursuant to Federal Rule of Bankruptcy Procedure 9019. We understand that the Debtor paid Mr.
                                                                            11
Daugherty $750,000 in cash as part of that settlement, done as a "settlement to obtain Mr. Daugherty's
withdrawal of his objection to the Debtor's plan.

        Despite all of these transparency problems, the Debtor's confirmed Plan contains provisions that
effectively release the Debtor from its obligation to file any of the reports due for any period prior to the
effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court's order of confirmation, which is directly at odds with the
spirit and mandate of the Periodic Reporting Requirements recently adopted by the EOUST and
historical rules mandating transparency. 11

       As will become apparent, because neither the federal Bankruptcy Court nor the U.S. Trustee
advocated or demanded compliance with the rules, the Debtor, its newly-appointed management, and
the Creditors' Committee charged with protecting the interests of all creditors were able to manipulate
the estate for the benefit of a handful of insiders, seemingly in contravention of law.

Debtor And Debtor-Affiliate Assets Were Deliberately Hidden and Mischaracterized

        Largely because of the Debtor's failure to file Rule 2015.3 reports for affiliate entities, interested
parties and creditors wishing to evaluate the worth and mix of assets held in non-Debtor affiliates could
not do so. This is particularly problematic, because during proceedings, the Debtor sold $172 million in
assets, which altered the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In
addition, the estate's asset value decreased by approximately $200 million in a matter of months. Absent
financial reporting, it was impossible for stakeholders to determine whether the $200 impairment in asset
value reflected actual realized losses or merely temporary mark-downs precipitated by problems
experienced by certain assets during the pandemic (including labor shortages, supply-chain issues,
travel interruptions, and the like). Although the Bankruptcy Court held that such sales did not require
Court approval, a Rule 2015.3 report would have revealed the mix of assets and the corresponding
reduction in liabilities of the affiliated or controlled entity-information that was critical in evaluating the
worth of claims against the estate or future investments into it.

        One transaction that was particularly problematic involved alleged creditor HarbourVest, a
private equity fund with approximately $75 billion under management. Prior to Highland's bankruptcy,
HarbourVest had invested $80 million into (and obtained 49.98% of the outstanding shares of) a
Highland fund called Acis Loan Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF''). A
charitable fund called Charitable OAF Fund, LP. f'DAF") held 49.02% member interests in HCLOF, and
the remaining ~2.00% was held by Highland and certain of its employees. Prior to Highland's bankruptcy
proceedings, a dispute arose between HarbourVest and Highland, in which HarbourVest claimed it was
duped into making the investment because Highland allegedly failed to disclose key facts relating to the
investment (namely, that Highland was engaged in ongoing litigation with former employee, Josh Terry,




11See "Procedures for Completing Uniform Periodic Reports in Non~Sma/1 Business Cases Filed Under Chapter
11 of Title 11" (the "Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's financial condition and
business activities" and "to inform creditors and other interested parties of the debtor's financial affairs." 85 Fed.
Reg. 82906.



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which would result in HCLOF's incurring legal fees and costs). HarbourVest alleged that, as a result of
the Terry lawsuit, HCLOF incurred approximately $15 million in legal fees and costs. 12

         In the context of Highland's bankruptcy, however, HarbourVest filed a proof of claim alleging that
it was due over $300 million in damages in the dispute, a claim that bore no relationship to economic
reality. As a result, Debtor management initially valued HarbourVest's claims at $0 a value consistently
                                                                                        1

reflected in the Debtor's publicly-filed financial statements, up through and including its December 2020
Monthly Operating Report. 13 Eventually, however, the Debtor announced a settlement with HarbourVest
which entitled HarbourVest to $45 million in Class 8 claims and $35 million in Class 9 claims. 14 At the
time, the Debtor's public disclosures reflected that Class 8 creditors could expect to receive
approximately 70% payout on their claims, and Class 9 creditors could expect 0.00%. In other words,
HarbourVest's total $80 million in allowed claims would allow HarbourVest to realize a $31.5 million
retum. 15

         As consideration for this potential payout, HarbourVest agreed to convey its interest in HCLOF
to a special-purpose entity ("SPE") designated by the Debtor (a transaction that involved a trade of
securities) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in support of the
settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was $22.5 million.
It later came to light, however, that the actual value of that asset was at least $44 million.

         There are numerous problems with this transaction which may not have occurred with the
requisite transparency. As a registered investment advisor, the Debtor had a fiduciary obligation to
disclose the true value of HarbourVest's interest in HCLOF to investors in that fund. The Debtor also
had a fiduciary obligation to offer the investment opportunity to the other investors prior to purchasing
HarbourVest's interest for itself. Mr. Seery has acknowledged that his fiduciary duties to the Debtor's
managed funds and investors supersedes any fiduciary duties owed to the Debtor and its creditors in
bankruptcy. Nevertheless, the Debtor and its management appear to have misrepresented the value of
the HarbourVest asset, brokered a purchase of the asset without disclosure to investors, and thereafter
placed the HarbourVest interest into a non-reporting SPE. 16 This meant that no outside stakeholder had
any ability to assess the value of that interest, nor could any outsider possibly ascertain how the
acquisition of that interest impacted the bankruptcy estate. In the absence of Rule 2015.3 reports or
listing of the HCLOF interest on the Debtor's balance sheet, it was impossible to determine at the time
of the HarbourVest settlement (or thereafter) whether the Debtor properly accounted for the asset on its
balance sheet.

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opportunity to purchase the assets. For example:



12 Assuming that HarbourVest were entitled to fraud damages as it claimed, the true amount of its damages was
less than $7.5 million (because HarbourVest only would have borne 49.98% of the $15 million in legal fees).
13 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt.

1949.
14 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
15 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to
Farallon Capital Management-an SEC-registered investment advisor-for approximately $28 million.
16
   Even former Highland employee Patrick Daugherty recognized the problematic nature of asset dispositions like
the one involving HarbourVest, commenting that such transactions "have left [Mr. Seery] and Highland vulnerable
to a counter-attack under the [Investment] Advisors Act.» See Ex. B.




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       •       The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
               today are valued at over $70 million; the Debtor likewise sold $6 million of PTLA shares
               that were taken over less than 60 days later for $18 million.

       •       The Debtor divested interests worth $145 million held in certain life settlements (which
               paid on the death of the individuals covered, whose average age was 90) for $35 million
               rather than continuing to pay premiums on the policies, and did so without obtaining
               updated estimates of the life settlements' value, to the detriment of the fund and investors
               (today two of the covered individuals have a life expectancy of less than one year);

       •       The Debtor sold interests in OmniMax without informing the Bankruptcy Court, without
               engaging in a competitive bidding process, and without cooperating with other funds
               managed by Mr. Dondero, resulting in what we believe is substantially lesser value to
               investors;

       •       The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
               (worth $37 million), again without any process or notice to the Bankruptcy Court or outside
               stakeholders, resulting in what we believe is diminished value for the estate and
               investors.

Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
business," the Debtor's management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors.

       In summary, the consistent lack of transparency throughout bankruptcy proceedings facilitated
sales and deal-making that failed to maximize value for the estate and precluded outside stakeholders
from evaluating or participating in asset purchases or claims trading that might have benefitted the estate
and outside investors in Debtor-managed funds.

The Debtor Reneged on Its Promise to Pay Key Employees, Contrary to Sworn Testimony

        Highland 1s bankruptcy also diverges from the norm in its treatment of key employees, who
usually can expect to be fairly compensated for pre-petition work and post-petition work done for the
benefit of the estate. That did not happen here, despite the Debtor's representation to the Bankruptcy
Court that it would.

        By way of background, prior to its bankruptcy, Highland offered employees two bonus plans: an
Annual Bonus Plan and a Deferred Bonus Plan. Under the Annual Bonus Plan, all of Highland's
employees were eligible for a yearly bonus payable in up to four equal installments, at six-month
intervals, on the last business day of each February and August. Under the Deferred Bonus Plan,
Highland's employees were awarded shares of a designated publicly traded stock, the right to which
vested 39 months later. Under both bonus plans, the only condition to payment was that the employee
be employed by Highland at the time the award (or any portion of it) vested.

       At the outset of the bankruptcy proceedings, the Debtor promised that pre-petition bonus plans
would be honored. Specifically, in its Motion For Entry of an Order Authorizing the Debtor to Pay and
Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief, the
Debtor informed the Court that employee bonuses '1continue[d] to be earned on a post-petition basis,"
and that "employee compensation under the Bonus Plans [was] critical to the Debtor's ongoing




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operations and that any threat of nonpayment under such plans would have a potentially catastrophic
impact on the Debtor's reorganization efforts. "17 Significantly, the Debtor explained to the Court that its
operations were leanly staffed, such that all employees were critical to ongoing operations and such that
it expected to compensate all employees. As a result of these representations, key employees continued
to work for the Debtor, some of whom invested significant hours at work ensuring that the Debtor's new
management had access to critical information for purposes of reorganizing the estate.

         Having induced Highland's employees to continue their employment, the Debtor abruptly
changed course, refusing to pay key employees awards earned pre-petition under the Annual Bonus
Plan and bonuses earned pre-petition under the Deferred Bonus Plan that vested post-petition. In fact,
Mr. Seery chose to terminate four key employees just before the vesting date in an effort to avoid
payment despite his repeated assurances to the employees that they would be "made whole." Worse
still, notwithstanding the Debtor's failure and refusal to pay bonuses earned and promised to these
terminated employees, in Monthly Operating Reports signed by Mr. Seery under penalty of perjury, the
Debtor continued to treat the amounts owed to the employees as post-petition obligations, which the
Debtor continued to accrue as post-petition liabilities even after termination of their employment.

        The Debtors misrepresentations to the Bankruptcy Court and to the employees themselves fly
in the face of usual bankruptcy procedure. As the Fifth Circuit has explained, administrative expenses
                                       11
like key employee salaries are an 'actual and necessary cost"' that provides a "benefit to the state and
               1118
its creditors.      It is undisputed that these employees continued to work for the Debtor, providing an
unquestionable benefit to the estate post-petition, but were not provided the promised compensation,
for reasons known only to the Debtor.

        Again, this is not business as usuaf in bankruptcy proceedings, and if we are to ensure the
continued success of debtors in reorganization proceedings, it is important that key employees be paid
in the ordinary course for their efforts in assisting debtors and that debtor management be made to live
up to promises made under penalty of perjury to the bankruptcy courts.

There Is Substantial Evidence that Insider Trading Occurred

         Perhaps one of the biggest problems with the lack of transparency at every step is that it
facilitated potential insider trading. The Debtor (as well as its advisors and professionals) and the
Creditors' Committee (and its counsel) had access to critical information upon which any reasonable
investor would rely. But because of the lack of reporting, the public did not.

       Mr. Drapers October 4, 2021 letter sets forth in detail the reasons for suspecting that insider
trading occurred, but his explanation bears repeating here. In the context of a non-transparent
bankruptcy proceeding, three of the four members of the Creditors' Committee and one non-committee
member sold their claims to two buyers, Muck Holdings LLC ("Muck") and Jessup Holdings LLC
("Jessup"). The four claims sold comprise the largest four claims in the Highland bankruptcy by a
substantial margin, 19 collectively totaling almost $270 million in Class 8 claims and $95 million in Class
9 claims:




17
   See Dkt. 177, 1J 25 (emphasis added).
18 Texas v. Lowe (In re HLS. Energy Co.). 151 F.3d 434,437 (5th Cir. 1998) (quoting Transamerican Natural
Gas Corp., 978 F.2d 14091 1416 (5th Cir. 1992)}.
19 See Ex. C.




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     Claimant                       Class 8 Claim      Class 9 Claims         Date Claim Settled
     Redeemer Committee             $136,6961610       N/A                    October 28, 2020
     Acis Capital                   $23,000,000        NIA                    October 28, 2020
     HarbourVest                    $45,000,000        $35,000,000            January 21, 2021
     UBS                            $65,000,000        $60,000.000            May 27. 2021
     TOTAL:                         $289,6969,610      $95,000,000

        Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we believe
Jessup is owned and controlled by Stonehill Capital Management ("Stonehill"). As the purchasers of the
four largest claims in the bankruptcy, Muck (Farallon) and Jessup (Stonehill) will oversee the liquidation
of the reorganized Debtor and the payment over time to creditors who have not sold their claims. These
two hedge funds also will determine the performance bonus due to Mr. Seery for liquidating the estate.
As set forth in the attached balance sheet dated August 31, 2021, we estimate that the estate today is
worth nearly $600 million, 20 which could result in Mr. Seery's receipt of a performance bonus
approximating $50 million.

       This is concerning because there is substantial evidence that Farallon and Stonehill may have
been provided material, non-public information to induce their purchase of these claims. We agree with
Mr. Draper that there are three primary reasons to believe that non-public information was made
available to facilitate these claims purchases:

         •         The scant publicly-available information regarding the Debtors estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors' claims;

         •         The information that actually was publicly available ordinarily would have compelled a
                   prudent investor to conduct robust due diligence prior to purchasing the claims;

         •         Yet these claims purchasers spent in excess of $100 million (and likely closer to $150
                   million) on claims, ostensibly without any idea of what they were purchasing.

     Credible information indicates that the claims purchases of Stonehill and Farallon can be
summarized as follows:

        Creditor            Class 8        Class 9    Purchaser                 Purchase Price
        Redeemer            $137.0        $0.0       Stonehill                 $78.021
        ACIS                $23.0         $0.0       Farallon                  $8.0
        HarbourVest         $45.0         $35.0      Farallon                  $27.0
        UBS                 $65.0         $60.0      Stonehill and Farallon    $50.0




20See Ex. D.
21See Ex. E. Because the transaction included "the majority of the remaining investments held by the Crusader
Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.



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           An analysis of publicly-available information would have revealed to any potential investor that:

           •      The estate's asset value had decreased by $200 million, from $556 million on October
                  16, 2019, to $328 million as of September 30, 2020 (increasing only slightly to $364
                  million as of January 31, 2021). 22

           •      Allowed claims against the estate increased by a total amount of $236 million.

           •      Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                  claims amount, the ultimate projected recovery for creditors in bankruptcy decreased
                  from 87.44% to 62.99% in just a matter of months. 23

No prudent investor or hedge fund investing third-party money would purchase substantial claims out of
the Highland estate based on this publicly-available information absent robust due diligence
demonstrating that the investment was sound.

       As discussed by Mr. Draper, the very close relationships between the claims purchasers, on the
one hand, and the selling Creditors' Committee members and the Debtor's management, on the other
hand also raise red flags. In particular:

           •      Farallon and Stonehill have long-standing, material relationships with the members of the
                  Creditors' Committee and Mr. Seery. Mr. Seery formerly was the Global Head of Fixed
                  Income Loans at Lehman Bros. until its collapse in 2009. While Mr. Seery was Global
                  Head, Lehman Bros. did substantial business with Farallon. After Lehman's collapse, Mr.
                  Seery joined Sidley & Austin as co-head of the corporate restructuring and bankruptcy
                  group, where he worked with Matt Clemente, counsel to the Creditors' Committee in
                  Highland's bankruptcy proceedings.

           •      In addition, Grovesnor, one of the lead investors in the Crusader Funds from the
                  Redeemer Committee (which appointed Seery as its independent director) both played a
                  substantial role on the Creditors' Committee and is a large investor in Farallon and
                  Stonehill. It is unclear whether Grovesnor, a registered investment advisor, notified
                  minority investors in the Crusader Funds or Farallon and Stonehill of these facts.

           •      According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr. Seery
                  assisted Farallon in its acquisition of claims in the Lehman estate, and Farallon realized
                  more than $100 million in claims on those trades.




22 Compare Jan. 31, 2021 Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov.
24, 2020) {Dkt. 1473]. The increase in value between September 2020 and January 2021 is attributable to the
Debtor's settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9
Claim of $35 million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which in reality was
worth approximately $44.3 million as of January 31, 2021. See Ex. C. It is also notable that the January 2021
monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value
of $74 million in December 2020.
23
     See Ex. F.



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          •       Also while at Sidley, Mr. Seery represented the Steering Committee in the Blockbuster
                  Video bankruptcy; Stonehill (through its Managing Members John Motulsky) was one of
                  the five members of the Steering Committee.

          •       Mr. Seery left Sidley in 2013 to become the President and Senior Investment Partner of
                  River Birch Capital, a hedge fund founded by his former Lehman colleagues. He left River
                  Birch in October 2017 just before the fund imploded. In 2017, River Birch and Stonehill
                  Capital were two of the biggest note holders in the Toys R Us bankruptcy and were
                  members of the Toys R Us creditors' committee.

I strongly agree wrth Mr. Draper that it is suspicious that two firms with such significant ties to Mr. Seery
have purchased $365 million in claims. The aggregate $150 million purchase price paid by Farallon and
Stonehill is 56% of all Class 8 claims 1 virtually the full plan value expected to be realized after two years.
We believe it is worth investigating whether these claims buyers had access to material, non-public
information regarding the actual value of the estate.

        Other transactions occurring during the Highland bankruptcy also reinforce the suspicion that
insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill, used non-public
information obtained incident to the bankruptcy to purchase stock in NexPoint Strategic Opportunities
Fund (NYSE: NHF), a publicly traded, closed-end '40 Act fund with many holdings in common with
assets held in the Highland estate outlined above. Stonehill is a registered investment adviser with $3
billion under management that has historically owned very few equity interests particularly equity
                                                                                         1

interests in a closed-end fund. As disclosed in SEC filings, Stonehill acquired enough stock in NHF
during the second quarter of 2021 to make it Stonehill's eighth largest equity position.

         The timing of the acquisitions of claims by Farallon and Stonehill also raises suspicion. For
example, although notices of the transfer of the claims were filed immediately after the confirmation of
the Debtor's Plan and prior to the effective date of the Plan, it seems likely that negotiations began much
earlier. Transactions of this magnitude do not take place overnight and typically require robust due
diligence. Muck was formed on March 9, 2021, more than a month before it filed notice that it was
purchasing the Acis claim. If the negotiation or execution of a definitive agreement for the purchase
                                                   1
began before or contemporaneously with Muck s formation, then there is every reason to believe that
selling Creditors' Committee members and/or Debtor management provided Farallon with critical non-
public information well before the Creditors' Committee members sold their claims and withdrew from
the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others that they purchased the Acis and
HarbourVest claims in late January or early February. This is strong evidence that negotiation and/or
agreements relating to the purchase of claims from Creditors' Committee members preceded the
confirmation of the Debtor's Plan and the resignation of those members from the Committee.

       Likewise, correspondence from the fund adviser to the Crusader Funds indicates that the
Crusader Funds and the Redeemer Committee had "consummated" the sale of the Redeemer
Committee's claims and other assets on April 30, 2021, "for $78 million in cash, which was paid in full to
the Crusader Funds at closing." 24 In addition, that there was a written agreement among Stonehill, the
Crusader Funds, and the Redeemer Committee that sources indicate dates back to the fourth quarter
of 2020. That agreement presumably imposed affirmative and negative covenants upon the seller and
granted the purchaser discretionary approval rights during the pendency of the sale. Such an agreement
would necessarily conflict with the Creditors' Committee members' fiduciary obligations.


24   See Ex. E.




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        The sale of the claims by the members of the Creditors' Committee also violates the instructions
provided to committee members by the U.S. Trustee that required a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. No such Court approval
was ever sought or obtained, and the Dallas U.S. Trustee's Office took no action to enforce this
guideline. The Creditors' Committee members were sophisticated entities, and they were privy to inside
information that was not available to other unsecured creditors. For example, valuations of assets placed
into a specially-created affiliated entities, such as the assets acquired in the HarbourVest settlement,
and valuations of assets held by other entities owned or controlled by the Debtor, were available to the
selling Creditors' Committee members, but not to other creditors or parties-in-interest.

       While claims trading itself is not prohibitedf there is reason to believe that the claims trading that
occurred in the Highland bankruptcy violated federal law:

            a)     The selling parties were three of the four Creditors' Committee members, and each one
                   had access to information they received in a fiduciary capacity;

            b)     Some of the information they received would have been available to other parties~in-
                   interest if Rule 2015.3 had been enforced;

            c)     The projected recovery to creditors decreased significantly between the approval of the
                   Disclosure Statement and the confirmation of the Debtor's Plan; and

            d)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   previously affiliated with Highland (and now managed by NexPoint Advisors, LP.) that is
                   publicly traded on the New York stock exchange.The Debtor's assets and the positions
                   held by the closed-end fund are similar.

Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of the
Estate and Assets of the Estate

        An additional problem in Highland's bankruptcy is that Mr. Seery, as an Independent Director
as well as the Debtor's CEO and CRO, received financial incentives that encouraged claims trading and
dealing in insider information.

       Mr. Seery received sizeable compensation for his heavy-handed role in Highland's bankruptcy.
Upon his appointment as an Independent Director in January 2020, Mr. Seery received compensation
from the Debtor of $60,000 per month for the first three months, $50,000 per month for the following
three months, and $30,000 per month for remaining months, subject to adjustment by agreement with
the Debtor. 25 When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he
received additional compensation, including base compensation of $150,000 per month retroactive to
March 2020 and for so long as he served in those roles, as well as a "Restructuring Fee."26 Mr. Seery's
employment agreement contemplated that the Restructuring Fee could be calculated in one of two ways:

           (1)     If Mr. Seery were able to resolve a material amount of outstanding claims against the
                   estate, he would be entitled to $1 million on confirmation of what the Debtor termed a




25   See Dkt. 339, 1T 3.
2s   See □ kt. 854, Ex. 1.



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                  "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                  $750,000 upon completion of distributions to creditors under the plan.

          (2)     If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                  "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                  Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                  importantly-a to-be-determined "contingent restructuring fee" based on "performance
                  under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and provided a powerful economic incentive for Mr. Seery to resolve
creditor claims in any way possible. Notably, at the time of Mr. Seery's formal appointment as CEO/CRO,
he had already negotiated settlements in principle with Acis and the Redeemer Committee, leaving only
the HarbourVest and UBS claims to resolve.

        Further, after the Plan's effective date, as appointed Claimant Trustee, Mr. Seery was promised
compensation of $150,000 per month (termed his "Base Salary"), subject to the negotiation of additional
"go-forward" compensation 1 including a success fee" and severance pay. 27 Mr. Seery's success fee
                                            11



presumably will be based on whether the Plan outperforms what was disclosed in the Plan Analysis. In
other words, Mr. Seery had a financial incentive to grossly understate the value of the estate in public
disclosures. not only to facilitate claims trading and resolution of the biggest claims in bankruptcy (for
purposes of obtaining the larger Case Resolution Fee) but also to ensure that he eventually receives a
large "success fee." Again, we estimate that, based on the estate's nearly $600 million value today, Mr.
Seery's success fee could approximate $50 million.

         One excellent example of the way in which Mr. Seery facilitated claims trading and thereby lined
his own pockets is the sale of UBS's claim. Based on the publicly-available information at the time
Stonehill and Farallon purchased the UBS claim, the purchase made no economic sense. At the time,
the publicly-disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8
creditors and a 0.00% distribution to Class 9 creditors, which would mean believe is that, at the time of
their claims purchase, the estate actually was worth much, much more {between $472-$600 million). If,
prior to their claims purchases, Mr. Seery (or others in the Debtor's management) apprised Stonehill
and Farallon of the true estate value (which was material, non-public information at the time), then the
value they paid for the UBS claim made sense, because they would have known they were likely to
recover close to 100% on Class 8 and Class 9 claims.

        But perhaps the most important evidence of mismanagement of this bankruptcy proceeding and
misalignment of financial incentives is the Debtor's repeated refusal to resolve the estate in full despite
dozens of opportunities to do so. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr. Dondero,
through counsel, already had made 35 offers of settlement that would have maximized the estate's
recovery, even going so far as to file a proposed plan of reorganization. Some of these offers were
valued between $150 and $232 million. And we now believe that as of August 1. 2020, the Debtor's
estate had an actual value of at least $460 million, including $105 million in cash and a $50 million
revolving credit facility. With Mr. Dondero's offer, the Debtor's cash and the credit facility could have
resolved the estate, which would have enabled the Debtor to pay all proofs of claim, leave a residual
estate intact for equity holders, and allow the company to continue to operate as a going concern.


27   See Plan Supplement, Dkt 1875, § 3.13(a)(i).



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        Nonetheless, neither the Debtor nor the Creditors' Committee responded to Mr. Dondero's offers.
It was not until The Honorable Former Judge D. Michael Lynn, counsel for Mr. Dondero, reminded the
Creditors' Committee counsel that its members had a fiduciary duty to respond that a response was
forthcoming. We believe Mr. Dondero's proposed plan offered a materially greater recovery than what
the Debtor had reported would be the expected Plan recovery. The Creditors' Committee's failure to
timely respond to that offer suggests that Debtor management, the Creditors' Committee, or both were
financially disincentivized from accepting a case resolution offer and that some members of the
Creditors' Committee were contractually constrained from doing so.

        What happened instead was that the Debtor, its management, and the Creditors' Committee
brokered deals that allowed grossly inflated claims and sales of those claims to a small group of investors
with significant ties to Debtor management. In a transparent bankruptcy proceeding, we question
whether any of this could have happened. What we do know is that the Debtor's non-transparent
bankruptcy has ensured there will be nothing left for residual stakeholders, while enriching a handful of
intimately connected individuals and investors.

The Debtor1s Management and Advisors Are Almost Totally Insulated From Liability

        Despite the mismanagement of bankruptcy proceedings, the Bankruptcy Court has issued a
series of orders ensuring that the Debtor and its management cannot not be held liable for their actions
in bankruptcy.

       In particular, the Court issued a series of orders protecting Mr. Seery from potential liability for
any act undertaken in the management of the Debtor or the disposition of its assets:

        •      In its order approving the settlement between the Creditors' Committee and Mr. Dondero,
                                                     11
               the Court barred any Debtor entity from commenc[ing] or pursu[ing] a claim or cause of
               action of any kind against any Independent Director, any Independent Director's agents,
               or any Independent Director's advisors relating in any way to the Independent Director's
               role as an independent director'' unless the Court first (1) determined the claim was a
               "colorable" claim for willful misconduct or gross negligence, and (2) authorized an entity
               to bring the claim. The Court also retained "sole jurisdiction" over any such claim. 28

        •      In its order approving the Debtor's retention of Mr. Seery as its Chief Executive Officer
               and Chief Restructuring Officer, the Court issued an identical injunction barring any
               claims against Mr. Seery in his capacity as CEO/CRO without prior court approval. 29 The
               same order authorized the Debtor to indemnify Mr. Seery for any claims or losses arising
               out of his engagement as CEO/CR0. 30

       Worse still, the Plan approved by the Bankruptcy Court contains sweeping release and
exculpation provisions that make it virtually impossible for third parties, including investors in the
Debtor's managed funds, to file claims against the Debtor, its related entities, or their management. The
Plan's exculpation provisions contain also contain a requirement that any potential claims be vetted and
approved by the Bankruptcy Court. As Mr. Draper already explained, these provisions violate the holding

28 Dkt. 339, ,r 10.
29 Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of
James P. Seery, Jr. as Chief Executive Office, Chief Restructuring Officer, and Foreign Representative Nunc Pro
Tune to March 15, 2020 1 Dkt. 854, 1J 5.
30
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of In re Pacific Lumber Co., in which the United States Court of Appeals for the Fifth Circuit rejected
similarly broad exculpation clauses. 31

         The fundamental problem with the Plan's broad exculpation and release provisions has been
brought into sharp focus in recent days, with the filing of a lawsuit by the Litigation Trustee against Mr.
Dondero, other individuals formerly affiliated with Highland, and several trusts and entities affiliated with
Mr. Dondero. 32 Among other false accusations, that lawsuit alleges that the aggregate amount of allowed
claims in bankruptcy was high because the Debtor and its management were forced to settle with various
purported judgment creditors who had engaged in pre-petition litigation with Mr. Dondero and Highland.
But it was Mr. Seery and Debtor's management, not Mr. Dondero and the other defendants, who
negotiated those settlements with creditors in bankruptcy and who decided what value to assign to their
claims. Ordinarily, Mr. Dondero and the other defendants could and would file compulsory counterclaims
against the Debtor and its management for their role in brokering and settling claims in bankruptcy. But
the Bankruptcy Court has effectively precluded such counterclaims (absent the defendants obtaining
the Court's advance permission to assert them) by releasing the Debtor and its management from
virtually all liability in relation to their roles in the bankruptcy case. That is a violation of due process.

        Notably, the U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
Pharma that release and exculpations clauses akin to those contained in Highland's Plan violate both
the Bankruptcy Code and the Due Process Clause of the United States Constitution. 33 In addition, the
U.S. Trustee explained that the bankruptcy courts lack constitutional authority to release state-law
causes of action against debtor management and non-debtor entities. 34 Indeed, it has been the U.S.
Trustee's position that where, as here, third parties whose claims are being released did not receive
notice of the releases and had no way of knowing, based on the applicable plan's language, what claims
were extinguished third-party releases are contrary to law. 35 This position comports with Fifth Circuit
                       1

case law, which makes clear that releases must be consensual, and that the released party must make
a substantial contribution in exchange for any release.

         As a result of the release and exculpation provisions of the Plan, employees and third-party
investors in entities managed by the Debtor who are harmed by actions taken by the Debtor and its
management in bankruptcy are barred from asserting their claims without prior Bankruptcy Court
approval. Those third parties' claims are barred notwithstanding that they were not notified of the
releases and have never been given any information with which to evaluate their potential claims (as
mentioned, the Debtor has not disclosed several major assets sales, nor does the Plan require the
Debtor to disclose post-confirmation asset sales). Conversely, the releases insulate claims purchasers
from the risk of potential actions by investors in funds managed by the Debtor (for breach of fiduciary
                                                                                                1
duty, diminution in value, or otherwise). These releases are directly at odds with investors expectations
and the written documents delivered to and approved by investors when they invest in managed funds-
i.e., that fund managers will act in a fiduciary capacity to maximize investors' returns and that investors
will have recourse for any failure to do so.




31   584 F.3d 229 (5th Cir. 2009).
32 The Plan created a Litigation Sub-Trust to be managed by a Litigation Trustee, whose sole mandate is to file
lawsuits in an effort to realize additional value for the estate.
33 See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation Order,
In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
34 Id. at 26-28.
35 See id. at 22.




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         As an example, the Court approved the settlement of UBS's claim against the Debtor and two
funds managed by the Debtor (collectively referred to as "MultiStrat'} Pursuant to that settlement,
MultiStrat agreed to pay UBS $18.5 million. But the settlement made no sense for several reasons. First,
Highland owns approximately 48% of MultiStrat, so causing MultiStrat to make such a substantial
payment to settle a claim in Highland's bankruptcy necessarily negatively impacted its other non-Debtor
investors. Second, in its lawsuit, UBS alleged that MultiStrat wrongfully received a $6 million payment,
but MultiStrat paid more than three times this amount to settle allegations against it-a deal that made
little economic sense. Finally, as part of the settlement. MultiStrat represented that it was advised by
"independent legal counsel" in the negotiation of the settlement, a representation that was patently
untrue. 38 In reality, the only legal counsel advising MultiStrat was the Debtor's counsel, who had
economic incentives to broker the deal in a manner that benefited the Debtor rather than MultiStrat and
its investors. 37 If (as it seems) that representation and/or the terms of the UBS/MultiStrat settlement
unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The release and
exculpation provisions in Highland's Plan do not afford third parties any meaningful recourse, even when
they are negatively impacted by misrepresentations of the type contained in the UBS/MultiStrat
settlement or when their interests are impaired by fund managers' failure to obtain fairness opinions to
resolve conflicts of interest.

Bankruptcy Proceedings Are Used As an End-Run Around Applicable Legal Duties

        The UBS deal is but one example of how Highland's bankruptcy proceedings, including the
settlement of claims and claims trading that occurred, seemingly provided a safe harbor for violations of
multiple state and federal laws. For example, the Investment Advisors Act of 1940 requires registered
investment advisors like the Debtor to act as fiduciaries of the funds that they manage. Indeed, the Act
imposes an "affirmative duty of 'utmost good faith' and full and fair disclosure of material factsJJ as part
of advisors' duties of loyalty and care to investors. See 17 C.F.R. Part 275. Adherence to these duties
means that investment advisors cannot buy securities for their account prior to buying them for a client,
cannot make trades that may result in higher commissions for the advisor or their investment firm, and
cannot trade using material, non-public information. In addition, investment advisors must ensure that
they provide investors with full and accurate information regarding the assets managed.

        State blue sky laws similarly prohibit firms holding themselves out as investment advisors from
breaching these core fiduciary duties to investors. For example, the Texas Securities Act prohibits any
registered investment advisor from trading on material, non-public information. The Act also conveys a
private right of action to investors harmed by breaches of an investment advisor's fiduciary duties.

       As explained above, Highland executed numerous transactions during its bankruptcy that may
have violated the Investment Advisors Act and state blue sky laws. Among other things:

        •        Highland facilitated the purchase of HarbourVest's interest in HCLOF (placing that
                 interest in an SPE designated by the Debtor) without disclosing the true value of the
                 interest and without first offering it to other investors in the fund;




36 See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch)
at Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
37
   The Court's order approving the UBS settlement is under appeal in part based on MultiStrat's lack of independent
legal counser.




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       •       Highland concealed the estate's true value from investors in its managed funds, making
               it impossible for those investors to fairly evaluate the estate or its assets during
               bankruptcy;

       •       Highland facilitated the settlement of UBS's claim by causing MultiStrat, a non-Debtor
               managed entity, to pay $18.5 million to the Debtor, to the detriment of MultiStrat's
               investors; and

       •       Highland and its CEO/CRO, Mr. Seery, brokered deals between three of four Creditors'
               Committee members and Farallon and Stonehill--deals that made no sense unless
               Farallon and Stonehill were supplied material, non-public information regarding the true
               value of the estate.

In short, Mr. Seery effectuated trades that seemingly lined his own pockets, in transactions that we
believe detrimentally impacted investors in the Debtor's managed funds.

                                            CONCLUSION

         The Highland bankruptcy is an example of the abuses that can occur if the Bankruptcy Code and
Bankruptcy Rules are not enforced and are allowed to be manipulated, and if federal law enforcement
and federal lawmakers abdicate their responsibilities. Bankruptcy should not be a safe haven for perjury,
breaches of fiduciary duty, and insider trading, with a plan containing third-party releases and sweeping
exculpation sweeping everything under the rug. Nor should it be an avenue for opportunistic venturers
to prey upon companies, their investors, and their creditors to the detriment of third-party stakeholders
and the bankruptcy estate. My clients and I join Mr. Draper in encouraging your office to investigate,
fight, and ultimately eliminate this type of abuse, now and in the future.

                                                    Best regards,

                                                                        KOPF & HARR, P.C.




                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ __
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                                                                                                            Counsel to                                            Counsel to UCC
                                                                                                                                                                 (Matt Clemente)                                                                                              Committee
                                                                                                                                                                                                                                                                               Member




                                                                                                                                                                                                                                                                                           *Is there an affiliate relationship
                                                                                                                                                                                                                                                                                           between Stone hill, Grosvenor, and
                                                                                                                                                                                                                                                                                          Farallon? Has it been adequately
                                                                                                                                                                                                                                                                                          disclosed to the Court and iQvestors?
                                                                                                                                                                                                                                                                                                              t'age A-~
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                                Debtor Protocols [Doc. 466-1]

        I.    Definitions
              A.     "Court" means the United States Bankruptcy Court for the Northern District of
                     Texas.
              B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                     entity's assets less the value of its liabilities calculated as of the month end prior
                     to any Transaction; and (B) with respect to a CLO, the CLO's gross assets less
                     expenses calculated as of the quarter end prior to any Transaction.
              C.     "Non-Discretionary Account" means an account that is managed by the Debtor
                     pursuant to the terms of an agreement providing, among other things, that the
                     ultimate investment discretion does not rest with the Debtor but with the entity
                     whose assets are being managed through the accowtt.
              D.     "Related Entity" means collectively (A)(i) any non-publicly traded third party in
                     which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                     respect to Messrs. Okada, Scott and Honis, only to the extent known by the
                     Debtor) has any direct or indirect economic or ownership interest, including as a
                     beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                     Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Honis (with respect to Messrs.
                     Okada, Scott and Houis, only to the extent known by the Debtor); (iii) MGM
                     Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor
                     or any Related Entity has filed a Form 13D or Form BG; (v) any relative (as
                     defined in Section IO I of the Bankrnptcy Code) of Mr. Dondero or Mr. Okada
                     each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                     Mountain Investment Trnst and Dugaboy Investment Trust; (vii) any entity or
                     person that is an insider of the Debtor under Section 101 (31) the Bankruptcy
                     Code, including any "non-statutory" insider; and (viii) to the extent not included
                     in (A)(i)-(vii), any entity included in the listing of related entities in Schedule B
                     hereto (the "Related Entities Listing"); and (B) the following Transactions,
                     (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                     16.a through 16.e of the Debtor's cash management motion [Del. Docket No. 7];
                     and (y) any Transactions with Charitable DAF Fund. L.P. (provided, however,
                     that additional parties may be added to this subclause (y) with the mutual consent
                     of the Debtor and the Committee, such consent not to be unreasonably withheld).
              E.     "Stage l" means the time period from the date of execution of a term sheet
                     incorporating the protocols contained below the ("Term Sheet") by all applicable
                     parties until approval of the Tenn Sheet by the Court.
              F.     "Stage 2" means the date from the appointment of a Board of Independent
                     Directors at Strand Advisors, Inc. until 45 days after such appointment, such
                     appointment being effective upon Court approval.
              G.     "Stage 3" means any date after Stage 2 while there is a Board of Independent
                     Directors at Strand Advisors, lnc.
              H.     "Transaction" means (i) any purchase, sale, or exchange of assets, (ii) any lending
                     or borrowing of money, including the direct payment of any obligations of
                     another entity, (iii) the satisfaction of any capital calJ or other contractual



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                     requirement to pay money, including the satisfaction of any redemption requests,
                     (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
               1.     "Ordinary Course Transaction" means any transaction with any third party which
                      is not a Related Entity and that would otherwise constitute an "ordinary course
                      transaction" under section 363(c) of the Bankruptcy Code.
               J.     "Notice" means notification or communication in a written format and shall
                      include supporting documents necessary to evaluate the propriety of the proposed
                      transaction.
               K.     "Specified Entity" means any of the following entities: AClS CLO 2017-7 Ltd.,
                      Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                      CLO 2018-1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                      Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd. ,
                      Rockwall COO I1 Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                      Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                      Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                      CDO Ltd. , Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd. , Liberty CLO, Ltd.,
                      Red River CLO, Ltd., Valhalla CLO, Ltd.
         II.   Transactions invoJving the (i) assets he]d directly on the Debtor's balance sheet or
               the balance sheet of the Debtor's wholJy-owned subsidiaries, including Jefferies
               Prime Account, and (ii) the Highland SeJect Equity Fund, L.P., Highland Multi
               Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
               A.     Covered Entities: NIA (See entities above).
               B.     Operating Requirements
                      I.     Ordinary Course Transactions do not require Court approval ( Al 1 Stages).
                             a)     Stage 1 and Stage 2: ordinary course determined by the CRO.
                             b)     Stage 3: ordinary course determined by the Debtor.
                      2.     Related Entity Transactions
                             a)     Stage 1 and Stage 2: Transactions with Related Entities require
                                    prior approval of CRO and five business days advance notice to
                                    the Committee and if the Committee objects, the burden is on the
                                    Debtor to seek Court approval, which the Committee agrees may
                                    be sought on an expedited basis.
                             b)     Stage 3:
                                    (1)     Transactions with Related Entities greater than $1,000,000
                                            (either individually or in the aggregate basis on a rolling 30
                                            day period) require five business days advance notice to the
                                            Committee and if the Committee objects, the burden is on
                                            the Debtor to seek Court approval, which the Committee
                                            agrees may be sought on an expedited basis.




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                                             (2)      Transactions with Related Entities greater than $2,000,000
                                                      (either individually or in the aggregate basis on a rolling 30
                                                      day period) require Court approval, which the Committee
                                                      agrees may be sought on an expedited basis.
                            3.       Third Party Transactions (All Stages)
                                     a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                             $2,000,000 (either individually or in the aggregate basis on a
                                             rolling 30 day period) require three business days advance notice
                                             to Committee and if the Committee objects, the burden is on the
                                             Debtor to seek Court approval, which the Committee agrees may
                                             be sought on an expedited basis.
                                     b)      The Debtor may satisfy any redemption requests from entities that
                                             are not Related Entities without advance notice so long as the
                                             Debtor provides notice of such Transactions to the Committee as
                                             soon as reasonably practicable. The Debtor will provide the
                                             Committee with five business days advance notice of any
                                             redemption requests made by and payable to a Related Entity, and
                                             if the Committee objects, the burden is on the Debtor to seek Court
                                             approval, which the Committee agrees may be sought on an
                                             expedited basis.
                                     c)      The Debtor may satisfy margin calls and short covers without
                                             providing the Committee advance notice if the exigencies do not
                                             allow advance notice so long as the Debtor provides notice of such
                                             Transactions to the Committee as soon as reasonably practicable.
                   C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                            showing all Transactions under this category.
           III.    Transactions involving entities the Debtor manages and in which the Debtor holds a
                   direct or indirect interest (other than the entities discussed in Section I above)
                   A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                            all entities the Debtor manages and in which the Debtor holds a direct or indirect
                            interest (other than the entities discussed in Section I above). 1
                   B.       Operating Requirements
                            I.       Ordinary Course Transactions do not require Court approval (All Stages).
                                     a)      Stage l and Stage 2: ordinary course determined by the CRO.
                                    b)       Stage 3: ordinary course determined by the Debtor.
                            2.       Related Entity Transactions



           1 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
           entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
           the extent necessary.




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                       a)     Stage 1 and Stage 2: Transactions with Related Entities require
                              prior approval of CRO and five business days advance notice to
                              the Committee and if the Committee objects, the burden is on the
                              Debtor to seek Court approval~ which the Committee agrees may
                              be sought on an expedited basis.
                      b)      Stage 3:
                              (1)    Transactions with Related Entities greater than $1,000,000
                                     (either individually or in the aggregate basis on a rolling 30
                                     day period) require ft ve business days advance notice to the
                                     Committee and if the Committee objects, the burden is on
                                     the Debtor to seek Court approval, which the Committee
                                     agrees may be sought on an expedited basis.
                              (2)    Transactions with Related Entities greater than $2,000,000
                                     (either individually or in the aggregate basis on a rolling 30
                                     day period) require Court approval, which the Committee
                                     agrees may be sought on an expedited basis.
                3.     Third Party Transactions (All Stages)
                       a)     Except as set forth in (b) and (c) below, Transactions in excess of
                              $2,000,000 (either individually or in the aggregate basis on a
                              rolling 30 day period) require three business days advance notice
                              to Committee and if the Committee objects, the burden is Olil the
                              Debtor to seek Court approval, which the Committee agrees may
                              be sought on an expedited basis.
                      b)      The Debtor may satisfy any redemption requests from entities that
                              are not Related Entities without advance notice so long as the
                              Debtor provides notice of such Transactions to the Committee as
                              soon as reasonably practicable. The Debtor will provide the
                              Committee with five business days advance notice of any
                              redemption requests made by and payable to a Related Entity, and
                              if the Committee objects, the burden is on the Debtor to seek Court
                              approval, which the Committee agrees may be sought on an
                              expedited basis.
                       c)     The Debtor may satisfy margin calls and short covers without
                              providing the Commiuee advance notice if the exigencies do not
                              allow advance notice so long as the Debtor provides notice of Slich
                              Transactions to the Committee as soon as reasonably practicable.
          C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
                showing all Transactions under this category.




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   IV.     Transactions involving entities that the Debtor manages but in which the Debtor
           does not hold a direct or indirect interest
           A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                    al1 entities that the Debtor manages but in which the Debtor does not hold a direct
                    or indirect interest. 2
           B.       Operating Requirements
                     1.      Ordinary Course Transactions do not require Court approval (All Stages).
                             a)       Stage 1 and Stage 2: ordinary course determined by the CRO.
                             b)       Stage 3: ordinary course determined by the Debtor.
                    2.       Related Entity Transactions
                             a)       Stage 1 and Stage 2: Transactions with Related Entities require
                                      prior approval of CRO and five business days advance notice to
                                      the Committee and if the Committee objects, the burden is on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                             b)       Stage 3:
                                      ( l)     Transactions with Related Entities greater than $1,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require five business days advance notice to the
                                               Committee and if the Committee objects, the burden is on
                                               the Debtor to seek Court approval, which the Committee
                                               agrees may be sought on an expedited basis.
                                      (2)      Transactions with Related Entities greater than $2,000,000
                                               (either individually or in the aggregate basis on a rolling 30
                                               day period) require Court approval. which the Committee
                                               agrees may be sought on an expedited basis.
                    3.       Third Party Transactions (All Stages):
                             a)       Except (x) as set forth in (b) and (c) below and (y) for any
                                      Transaction involving a Specified Entity and the sale or purchase
                                      by such Specified Entity of an asset that is not an obligation or
                                      security issued or guaranteed by any of the Debtor, a Related
                                      Entity or a fund, account, portfolio company owned, controlled or
                                      managed by the Debtor or a Related Entity, where such
                                      Transaction is effected in compliance with the collateral
                                      management agreement to which such Specified Entity is party,
                                      any Transaction that decreases the NA V of an entity managed by
                                      the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                      $3,000,000 requires five business days advance notice to

   2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably prru.."ticable to
   the extent necessary.




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                                      Committee and if the Committee objects, the burden is on the
                                      Debtor to seek Court approval, which the Committee agrees may
                                      be sought on an expedited basis.
                              b)       The Debtor may satisfy any redemption requests from entities that
                                       are not Related Entities without advance notice so long as the
                                       Debtor provides notice of such Transactions to the Committee as
                                       soon as reasonably practicable. The Debtor will provide the
                                       Committee with five business days advance notice of any
                                       redemption requests made by and payable to a Related Entity, and
                                       if the Committee objects, the burden is on the Debtor to seek Court
                                       approval, which the Committee agrees may be sought on an
                                       expedited basis.
                              c)       The Debtor may take such steps as may be reasonably necessary to
                                      winddown any managed entity and make distributions as may be
                                      required in connection with such winddown to any required
                                      parties. The Debtor will provide the Committee with five business
                                      days advance notice of any distributions to be made to a Related
                                      Entity, and if the Committee objects, the burden is on the Debtor to
                                      seek Court approval, which the Committee agrees may be sought
                                      on an expedited basis.
            C.       Weekly Reporting: The Debtor wil1 provide the Committee with weekly reports
                     showing all Transactions under this category.       Such reports wil1 include
                     Transactions involving a Specified Entity unless the Debtor is prohibited from
                     doing so under applicable law or regulation or any agreement governing the
                     Debtor's relationship with such Specified Entity.
    V.      Transactions involving entities that the Debtor does not manage but in which the
            Debtor holds a direct or indirect interest
            A.       Covered Entities; See Schedule A hereto. Schedule A includes or will include all
                     entities that the Debtor does not manage but in which the Debtor holds a direct or
                     indirect interest. 3
            B.       Ordinary Course Transactions (All Stages): NIA
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.




    3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
    entities should be included on Schedule A. The Debtor will update Schedule A as soon llS reasonably practicable to
    the extent necessary.




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   VI.      Transactions involving entities that the Debtor does not manage and in which the
            Debtor does nol hold a direct or indirect interest
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                     entities that the Debtor does not manage and in which the Debtor does not hold a
                     direct or indirect interest. 4
            B.       Ordinary Course Transactions (All Stages): NIA
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.
   VII.     Transactions involving Non-Discretionary Actounts
            A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                     non-discretionary accounts. 5
            B.       Ordinary Course Transactions (All Stages): NIA
            C.       Operating Requirements: NIA
            D.       Weekly Reporting: Debtor will provide weekly reports of aJl cross-held asset
                     Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                     a direct or indirect interest.

   VIII. Additional Reporting Requirements - All Stages (to the extent applicable)
            A.       OSI will provide detailed lists and descriptions of internal financial and
                     operational controls being applied on a daily basis for a full understanding by the
                     Committee and its professional advisors three (3) business days in advance of the
                     hearing on the approval of the Tenn Sheet and details of proposed amendments to
                     said financial and operational controls no later than seven (7) days prior to their
                     implementation.
            B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                     their 13-week cash flow budget, such reports to be inclusive of all Transactions
                     with Related Entities.
   IX.      Shared Services
            A.       The Debtor shall not modify any shared services agreement without approval of
                     the CRO and Independent Directors and seven business days' advance notice to
                     counsel for the Committee.
            B.       The Debtor may otheiwise continue satisfying its obligations under the shared
                     services agreements.

   4The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   lhe exlent necessary,
   5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   th.e extent necessary.




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 X.    Representations and Warranties
       A.    The Debtor represents that the Related Entities Listing included as Schedule B
             attached hereto lists all known persons and entities other than natural persons
             included in the definitions of Related Entities covered by Section I.D parts AO)·
             (vii) above at the time of the execution of the Term Sheet.
       B.    The Debtor represents that the list included as Schedule C attached hereto lists all
             known natural persons included in the definitions of Related Entities covered by
             Section I.D parts A(i)-(vii) above at the time of the execution of the Tenn Sheet.
       C.    The Debtor represents that, if at any time the Debtor becomes aware of any
             person or entity, including natural persons, meeting the definition of Related
             Entities covered by Section I.D parts A(l)-(vii) above that is not included in the
             Related Entities Listing or Schedule C, the Debtor shall update the Related
             Entities Listing or Schedule C, as appropriate, to include such entity or person and
             shall give notice to the Committee thereof.




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                                                  Schedule A!!:
  Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
            I. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
            2. Dynamic Income Fund (0.26% Ownership Interest)
  Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
  interest
            l. Highland Prometheus Master Fund LP.
            2. NexAnnuity Life Insurance Company
            3. PensionDanmark
            4. Highland Argentina Regional Opportunity Fund
            5. LonghomA
            6. Longhorn 8
            7. Collateralized Loan Obligations
               a) Rockwall II CDO Ltd.
               b) Grayson CLO Ltd.
               c) Eastland CLO Ltd.
               d) Westchester CLO, Ltd.
               e) Brentwood CLO Ltd.
               f) Greenbriar CLO Ltd.
               g) Highland Park CDO Ltd.
               h) Liberty CLO Ltd.
               i) Gleneagles CLO Ltd.
               j) Stratford CLO Ltd.
               k) Jasper CLO Ltd.
               l) Rockwall DCO Ltd.
               m) Red River CLO Ltd.
               n) Hi V CLO Ltd.
               o) Valhalla CLO Ltd.
               p) Aberdeen CLO Ltd.
               q) South Fork CLO Ltd.
               r) Legacy CLO Ltd.
               s) Pam Capital
               t) Pamco Cayman
  Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
  interest
            l. Highland Opportunistic Credit Fund
            2. Highland Healthcare Opportunities Fund f/k/a Highland Long/Short Healthcare Fund
            3. NexPoint Real Estate Strategies Fund
            4. Highland Merger Arbitrage Fund
            5. NexPoint Strategic Opportunities Fund
            6. Highland Small Cap Equity Fund
            7. Highland Global Allocation Fund

  ~   NTD: Schedule A is work in process and may be supplemented or amended.




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         8. Highland Socially Responsible Equity Fund
         9. Highland Income Fund
         l 0. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
          11. SE Multifamiily, LLC
   Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
   indirect interest
         1. The Dugaboy Investment Trust
         2. NexPoint Capital LLC
         3. NexPoint Capital, Inc.
         4. Highland IBoxx Senior Loan ETF
         5. Highland Long/Short Equity Fund
         6. Highland Energy MLP Fund
         7. Highland Fixed Income Fund
         8. Highland Total Return Fund
         9. NexPoint Advisors, L.P.
         10. Highland Capital Management Services, Inc.
         11 . Highland Capital Management Fund Advisors: L.P.
         12. ACIS CLO Management LLC
         13. Governance RE Ltd
         14. PCMG Trading Partners XXlll LP
         15. NexPoint Real Estate Partners:, LLC f/k/a HCRE Partners LLC
         l 6. NexPoint Real Estate Advisors II LP
         l 7. NexPoint Healthcare Opportunities Fund
         18. NexPoint Securities
         19. Highland Diversified Credit Fund
         20. BB Votorantim Highland Infrastructure LLC
         21. ACIS CLO 2017 Ltd.
   Transactions involving Non-Discretionary Accounts
          1. NexBank SSB Account
          2. Charitable DAF Fund LP




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                                        Schedule B

                    Related Entities Listing (other than natural persons)




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                                         Schedule C

        1.   James Dondero
        2.   Mark Okada
        3.   Grant Scott
        4.   John Honis
        5.   Nancy Dondero
        6.   Pamela Okada
         7. Thomas Surgent
         8. Scott Ellington
         9. Frank Waterhouse
         10. Lee (Trey) Parker




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                            Seery Jan. 29, 2021 Testimony
                                                                             Pagel
    1    IN THE UNITED STATES BANKRUPTCY COURT

    2    FOR THE NORTHERN DISTRICT OF TEXAS

    3    DALLAS DIVISION

    4    ------------------------------)

    5    In Re:                       Chapter 11

    6    HIGHLAND CAPITAL             Case No.
    7    MANAGEMENT, LP,              19-34O54-SGJ 11

    8

    9              Debtor

  10

  11

  12

  13      REMOTE DEPOSITION OF JAMES P. SEERY,              JR.

  14                    January 29, 2021

  15                     10:11 a . m. EST

  16

  17

  18

  19

  20

  21

  22

  23
         Reported by:
  24     Debra Stevens, RPR-CRR
         JOB NO. 189212
  25




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  l                           January 29, 202l                             l    RSMOTS Al'FSARANCSS:
  2                           9:00 A.m. EST                                2
  3                                                                        3    Heller, Draper., Hayden., Patrick., , Horn
  4                 Remote D@-posi tiori. of JAMES P.                      4    Attorneys for The Dug.ahoy Inv-estmEint.
  5-   SEENY,        JR., held viiil Z1;:ii;m1                             S    T=•t ;,.n<i n,., G..t G<><><I T=•t
  6    con:ference, he:fore Debra StevensJ                                 6                650 Foydras Street
  7    RPR/CRR And._ NotAry Public of tho                                  'T               Nl!lw Orll!lan~, Loui:!ii.an.a '70130

  8    St~te o:f New York,                                                 e
  9                                                                        9

 10                                                                       10    BY:         DOUGLAS DR.!IPER, ESQ

 11                                                                       ll

 12                                                                       12

 lJ                                                                       lJ    l'IICH\II.SKI ST/ING ZIEHI.    ~    JONES
 14                                                                       14    For t.he Debt.or and t.h@ Kit.ness H@r@in
 15                                                                       15                780 Third Avenue
 16                                                                       16                New York, New York 10017

 17                                                                       17    BY:         JOHN HORRIS, ESQ.
 18                                                                       16                JEFFREY PCMERANTZ, ESQ.
 19                                                                       19                GREGORY DEMO, ESQ.
 20                                                                       20                IRA KHARASCH, ESQ.
 2l                                                                       2l
 22                                                                       22

 2J                                                                       2J
 24                                                                       24                                 ICont inu@dl
 25                                                                       2S

                                                                 Page 4                                                                Page 5
       PEMOTE APPEl\1\1\NC&S:             (Continued)                      1    RE.MOTE APPEARANCES:          (Continued)

  2                                                                        2    KING • SPAI..DING

  3    LATl!lll-l    &    WATKINS                                          3    Att<>rn@ys for Highland CI.O Funding, l.td.

  4    Attorneya :foe UBS                                                  4                500 H"'ot 2nd Str.,et
  5                      885 Tl:tird Avenue                                5                Aust.in, Texas ?8?01
  6                   New York, New York 10022                             6    BY:         REBECCA MATSUMURA, ESQ.

       BY:               SHI\NNON McLi\UGHLIN, ESQ.
  8                                                                        8    K&I. GATES

  9    JENNER ,; BLOCK                                                     9    Atto-rneya for Highland capital Management
 10    Attorneys for 12.edeerne:r Co:mrni t tee of                        10    Fund Adviso~s, L.P., et al.:
 11    Highland cru• ader Fund                                            11                4350 r.assiter at North Hills

 12                      lll!'I Tlli:nl Avenue                            lZ                 Avenue

 13                   "'"" York, "'"" York 10022                          13                Ral.,igh, North carolina 27609
 14    BY:            MARC B, HI\NKIN, 11.SQ,                             H     BY:         EMILY MATHER, ESQ.

 15                                                                       15
 16    SIDLEY AUSTIN                                                      16    MUNSCH HARDT KOPF        &   HARR

 l?    Attorneys :for Credi tor-,            1   COl!D!li ttee            l7    lltt,nwayo tozc Detendanta Highland Capital
 18                      2021 :McKinn&y Av@nu@                            18    Management Fund Advisors, LP j NeXPoint

 1~                      Dallao, Texao 7 0201                             19    Advi1;1or1;1, LP i Highland Inc-orne F\,lrldi

 20    BY:               PENN~ REID, ESQ .                                20    NeJC.E:'oint St.:ategic Oppoi-tunities Fund and
 21                   MATTHEW CLEMENTE,           ESQ .                   21    NeXPoint. ca.pit.al, Inc.      !

 22                                                                       22                ~00 N. l\l;azcd Street
 23                                                                       23                Dallas, Texas 75201 - 0059
 24                                      (Continue~)                      24          BY:   DAVOR Rl.lKAVINA, ESQ.

                                                                          25                                       (Cont1nued)




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                                                                                    2
     3    IIQNDS l<LLIS EPPICH &CHAFRI< JONRS                                       )    WICK PHILLIPS

     4    Attorn&ys. for Jam@-g Dond@-ro,                                           4    Attol"."n@ys fol"." N@x.Point. R@al Estat."8

     5    Party-in-Interest                                                         5    Pactnera, NexP-oint Real Estate Entitie:'3
     6                  420 'rhrockmorton Street                                    6    and Nex.Ba.nk

                                                                                    7                 100 Throckmorton Stre..t
                        Fort Worth, Texa1:1 761(12                                  a                  F'o-ct W-o-rth., T-elLclla 1El02

                        CLAY TAYLOR,         ESQ.                                   9    BY!          !.11.!JREN DRAKHORN, ESQ.

   IO                   JOHN IIOND&,        11.SQ •                                10
   11                   BRYAN ASSil-ll(, BSQ.                                      ll    ROSS Ii SMITB
   12                                                                              12    Attorney:!! for senior Employt!!le:!I,. sooti:.

   IJ                                                                              IJ    Ellington, I3G1-G1c Lever.iton, Thomaia: S1.1.-ger.it.,
   14     lll\llER Mcll&NZ IE                                                      14    Frank Nat@rhou:s,e
   I.;,   AttOr~s'y$ f<:,r Se~i,:,r Etnpl,:>y$$$                                   15                 700 N. Pe;>.rl Street
   l&                   1'900 t,1orth Fearl Street                                 16                 0-allas, Texas 7!5201

   17                                                                              17    BY!          FRANCES SHITH, ESQ.

   jij                  D~llrii.o, Ie-K~e 75:20l                                   18
   H      l!Y:          MICKl::LLE. HARTMANN,           ESQ.                       19
   20                   DEBRA Dl\NDER&II(],           ESQ.                         20
   :ll                                                                             21
   22                                                                              22
   ,J                                                                              2J

   24                                       (Continu,.dl                           24

   25                                                                              25


                                                                         Page 8                                                                             Page 9
     1                                                                              1
     2              EXAM ! N A T I O N S
                                                                                    2                   COURT REPORTER:          My   n on,e i •
     3    WITNESS                                              PAGE
     4    JJ,MES SEER~                                                              3           Debra St.ev-ens, court. r@port.er for TSG
     .;
     ~
            By Mr, Draper
            By Mr , Taylor                                        1,g.              •           Reporting and. notary public of the

     1       By Mr, ft\lkavina                                   10,                5           State of N-ew York.         :Due to the
     a       By Mr. Oz-aper                                      2l7                6           :!leverity of the COVID-19 p.andamic and
     ~
                                                                                    7           fQllQ'tring the p.-..-i;tii;e Qf i;:QciiJll
                                  r.    X I! I B I T S
   10     SEER"l D"lD                                                               8           distancing, I will not           b@   in th@ same
          EXl!IBIT              DESCI\IPTION                   PAGE                 9           room with the wi tne a e but wi 11 report
   11
                                                                                   10           t.hia dcpooition remotely and will
          ICMhibit 1            Jan.uar-y 2021 Ma.t&rial          11
   12                                                                              11           r:rweat" t.h-e wit.ne:a:a in r(:!mo-t.-aly.    It: any
          ICMhibit 2            Diselosure sr.ateml!!-nt          14
                                                                                   IZ           ~rty hiil:5 ~Y obj,e~tioo, pleaee et;1
   13
          E,s:hi.bit 3        Notioe of Depo~i tion.              74               13           state before w-e proceed~
   14                                                                              H
   15
                                                                                   15                      JAME S            S E E R Y,
             INFOlitMATION/PRODrJCTION tu!.QUl!.STS
   H      D~SCIU PTI ON                                        PAGR                16          havi.n.g been firl!lt. duly !lworn/.a~~irrr.ed,
   11     SIJtillJidi~;r;y ledg-~r ~howing- not~                  22               l7          w-aa -e~in-ed a.nd t,e~tified ~s fcillt;1we:
          component versu-, hard a-,"3et
   H      COJt1Ponent                                                              18    EX!IMINATION BY

   H      Amount of       o,o    coverage for                    131               19    MR. DRA»li.R:
          ti:ustee:::
                                                                                   :w           Q..     Mr .. Seery, my naime is Douglas
   20
          Line item for D&O insurance                            133               21    Draper, rep,re!lent.i.n.g t.he Dugaho-y Trtl:!rt:.         I
   21                                                                              22    have l9eriel9 of qu.eetio:nl!3 today in
   22                      M!IRKED F-OR RULING
                                 PAGE        LINt:.                                23    connect.ion with the :30 OH Not.ice that we
   23                                  S5        20                                2<    filed.       The firl;lt qi.isel:ltion I mive f,or yov,
   24
                                                                                   :15   have you seen the Notice of Deposition
   25




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                                                  Pa.9-e 14                                                                    PaQe 15
       1                    J . SEERY                          1                     J. SEERY
       2       the screen, please?                             2        A.    It says the percent distribution
       3       A.     Page what?                               3    to general unsecured creditors is
       4       Q.     I think it is page 174.                  4    62.14 percent.
       5       A.     Of the PDF or ot the document?           5           Q•        ·o -.   1 IU      )IIITIU!   " .   e
       6        Q.    Of the disclosure statement that              H:lu       e o • '\ • an· t 1.• pc
                                                                                :l
       7   was filed. It is up on the screen right                      e     to yesterday?
       8   now.                                                8                MR. MORRIS:          i on to the
       9              COURT REPORTER: Do you intend            3          form of the question.
  110           this as another exhibit for today's           10          A.    I believe general. 1 , y s.
      11        deposition?                                         don ' t know if we have a spe.. · c ll.llllD<..,
    12                MR. DRAPER: We'll mark this                   but generally yes.
    13          Exhibit 2.                                                Q.    And                     .t•
    14                (So marked for identification as              Creditors' Commit
  · 15          Seery Exhibit 2 .)                                  i nformation to?
  I   16        Q.    If you look to the recovery to          16        JI. .        Yes.
  I
      17   Class 8 creditors i n t he November 2020                        Q.        Did      J     , 1 ·•    t
  I   1a   disclosure statement was a recovery of             .8    than menwers            -... J
  I 19     87. 44 percent?                                              A.    Ye
  I 20          A.    That actually says the percent          20        Q.    Who?
  : 21     distribution to general unsecured                            A.    ttarbourVes •
    22     creditors was 87.44 percent. Yes.                            Q.    And when ,I
  I   23        Q.    And in the new document that was                  A.    Within tl,.e
  I   24   filed, given to us yesterday , the recovery
  : 25     is 62.5 percent?

       l                     J , SEERY                         1                       J. SEERY
       2                                                       2    not accurate?
       3       A.     I s~,_i Mr. ~Jc.er:>                     3         A.    Yes. We secretly disclosed it
       4       Q.     rnlooking at the two elements ,          <I   to the Bankruptcy Court in open court
       5   and what I have asked you to look at is             5    hearings.
       6   the claims pool . If you look a t the               6         Q.    But you never did bother to
       7   November disclosure statement , if you look         7    calculate the reduced recovery; you just
       8   down Class 8, unsecured claims ?                    8    increased
       9       A.    Yes.                                      9                (Reporter inte rrllfltion.)
  I   10       Q.    You have 176,000 roughly?                10         Q.    You just advised as to the
      11       A.    Million.                                 11    increased claims pool . Correct?
      12       Q.    176 million. I am sorry. And             12               MR. MORRIS: Objection to the
      13   the number in the new document is 313              13         form of the question.
  114      million?                                           14         A.    I don't understand your
      15       A.    Correct.                                 15    question.
      16       Q.    What accounts for the                    16         Q.    What I am trying to get at is,
      17   difference?                                        17    as you increase the claims pool, the
      18       A.    An increase in claims.                   18    recovery reduces. Correct?
      19       Q.    When di.d those inc r eases occur?       19         A.    No. That is not how a fraction
      20   Were they yesterday? A month ago? Two              20    works.
      21   months ago?                                        21         Q.    Well, if the denominator
  i   22       A.    Over the last couple months.             22    i ncreases, doesn't the recovery ultimately
  I   23       Q.    So in fact over the last couple          23    decrease if - -
      24   months you knew in fact that the recovery          24         A.    No.
      25   in the November disclosure statement was           25         Q.    -- if the numerator stays the




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                                                       Page 2£                                                                Page 27
   1                          J. SEERY                            1                                  J. SEERY
   2   were amended without consideration a few                   2           A,           NexPoint, I said.        They
   3   years ago.       so, for our purposes we didn't            3   defaulted on the note and we accelerated
   4   make the assumption, which I am sure will                  4   it.
   5   happen, a fraudulent conveyance c l aim on                 5           Q.           So there is no need to file a
   6   those notes, that a fraudulent conveyance                  6   fraudulent conveyance suit with respect to
   7   action would be brought.          We just assumed          7   that note.             Correct, Mr. Seery?
   8   that we'd have to discount the notes                       8                 MR. MORRIS: Objection to the
   9   heavily to sell them because nobody would                  9           form of the question.
  10   respect the ability of the counterparties                 10           A.           Disagree.     Since it was likely
  11   to fairly pay.                                            11   intentional fraud, there may be other
  12          Q.      And the same discount was                  12   recoveries on it.                But to collect on the
  13   applied in the liquidation analysis to                    13   note, no.
  14   those notes?                                              14           Q.           My question was with respect to
  15          A.      Yes.                                       15   that note.             Since you have accelerated it,
  16          Q.      Now                                        16   you don't need to deal with the issue of
  17          A.      The difference -- there would be           17   when it's due?
  18   a difference, though, because they would                  18                        MR. MORRIS:     objection to the
  19   pay for a while because they wouldn't want                19           form of the question.
  20   to accelerate them.        So there would be              20           A.           That wasn't your question.          But
  21   some collections on the notes for P and I.                21   to that question, yes, I don't need to
  22          Q.      But in fact as of January you              22   deal with when it's due.
  23   have accelerated those notes?                             23           Q.           Let me go over certain assets.
  24          A.       Just one of them, I believe.              24   I am not going to ask you for the
  25          Q.      Which note was that?                       25   valuation of them but I am going to ask


   1                          J. SEERY                            1                                  J . SEERY
   2   you whether they are included in the asset                 2   ~rlul            ,r        or hersectlrl'H!    anJ,llt.!1
   3   portion of your $2 57 million number, all                      va.lJ        rhat.    w uld flow ~rom ~orner-t n< .
   4   right?       Mr. Morris didn't want me to go                         includes HCLOF and all c re val~•- · ha;c
   5   into specific asset value, and I don't                         wo uld flow up from ,;_t..., •           1  J.ncluae~
   6   intend to do that.                                             Korea ana al_ the val                 that woul :.ow up
   7                  The first question I have for                   from Kor,
   8   you is, the equity in Trustway Highland                    8                        There may be others off the top
   9   Holdings, is that included in the                          9   of my head.                I don't recall them.       I don't
  10   $257 million number?                                      10   have a list in front of me.
  11          A.      There is no such entity.                   11           Q.           Now, with respect to those
  12          Q.      Then I will do it in a different           12   assets, have you started the sale process
  13   way.        In connection with the sale of the            13   of those assets:
  14   hard assets, what assets are included in                  14           A.           No.     Well, each asset is
  15   there specifically?                                       15   different.             So, the answer is, with
  16       A.     !!: •· . . ,p                                  16   respect to any securities, we do seek to
       all         the_ Jet ,    ut -~                           17   sell those regularly and we do seek to
  lB   .ru ·way Holdings and all                                 18   monetize those assets where we can
       · lows up from Trustway Holdings.                         19   depending on whether there is a
  20   includes Targa and all the value that                     20   restriction or not and whether there is
       flows up from Targa.        It includes -   r             21   liquidity in the market.
       Medical and all the value that wou              flow      22                        With respect to the PE assets or
             the Debtor from CCS Medi c a l .                    23   the companies I described -- Targa, CCS,
                                                                 24   Cornerstone, JHT -- we have not --
                                                                 25   Trnstway.             We have not sought to sell




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      1                    J. SEERY                                             1                                            J. SEERY
      2       A.    I don't recall the specific                                 2                                  ;.y   •     . t" .1L
      3   limitation on the trust. But if there was                                                    counsel t o
      4   a reason to hold on to the asset, if there                                     would need    pe ndi '1
      5   is a limitation, we can seek an extension.                                going to happen and what the
      6       Q.    Let me ask a question. With                                 0   either under the code are or u
      7   respect to these businesses, the Debtor                                   r I an .
      8   merely owns an equity interest in them.                                         Q.    . s • er my:tl. . ~.g
      9   Correct?                                                                  s• ! Y           l r                 •    lr\O        I
  10
  11
              A.
              Q.
                    Which business?
                    The ones you have identified as                                              -------------'!
  12      operating businesses earlier?                                                               MR . MORRIS:                        Objection to form
  13          A.    It depends on the business.                                            of the question.
  14          Q.    Well, let me -- again, let's try                                       A.       · l r • 1r                            h 1n J t.h       WO    d
  15      to be specific .    n 0.::. i: ~                                                  rTi' ;         •   I                                       L
              ,r ,.-             l   t   d                                          st ictures of the code and · he pr                                          CO L ,
  1                Jcapproval for the sale.                                ?        but there would be no pron b1t . ~n
  18          A.     That's correct.                                                _ _ _ _ _, please.
  l·          Q.    Which one of th,      r  fig                                9                                                                 r r ib
              nesses t1dt .• e he e, I at   u raave                                    t    ! U T l l ,<           fo

                   :I,     ..,               ~                                 21       Q.    Now, in connection with your
                                                                               22   differential between the l i quidation of
  23                    MR. MORRIS:              Objection to the              23   what I will call the operating businesses
  24          form of the                                                      24   under the liquidation analysis and the
  25          A.                                           .,, __ l l:r.       25   plan analysis, who arrived at the discount
                                                                  Page 40
      l                     J. SEERY                                            1                        J, SEERY
      2   or determined the discount that has been                              2   is different.
      3   placed between the two, plan analysis                                 3          Q.    Is the discount a function of
      4   versus liquidation analysis?                                          4   capability of a trustee versus your
      5              MR. MORRIS:  Obj0ction to form                             5   capability, or is the discount a function
      6       of the question.                                                  6   of timing?
      7       A.     To which document are you                                  7                MR. MORRIS: Objection to form.
      8   referring?                                                            8          A.    It could be a combination.
   9          Q.     Both the June -- the Januai;y and                          9          Q.    So, l et's -- let me walk th:cough
  10      the November analysis has a different                                10   this. Your plan analysis has an
  11      estimated proceeds for monetization for                              11   assumption that everything is sold by
  12      the plan analysis versus the liquidation                             12   December 2022. Correct?
  13      analysis. Do you see that?                                           13          A.    Correct.
  14          A.     Yes.                                                      14          Q.    And the valuations that you have
  15          Q.        And there is a note under there.                       15   used here for the monetization assume a
  16      "Assumes Chapter 7 trustee will not be                               16   sale between-~ a sale prior to December
  17      able to achieve the same sales proceeds as                           17   of 2022. Correct?
  18      Claimant trustee."                                                   18          A.    Sorry. I don't quite understand
  19          A.    I see that, yes .                                          19   your question .
  20          Q.    Do you see that note?                                      20          Q.    Ihe 257 number, and then let's
  21          A.    Yes.                                                       21   take out the notes. Let's use the 210
  22          Q.    Who arrived at that discount?                              22   n\.llllber.
  23          A.        I did.                                                 23                MR. MORRIS: Can we put the
  24          Q.        What percentage did you use?                           24          document back on the screen, pl ease?
  25          A.        Depended on the asset.  Each one                       25          Sorry, Douglas, to interrupt , but it




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                                              Page -42                                                               Page 4:3
  l                     J. SEERY                           1                                    J. SEERY
  2       would be helpful.                               2      applied?
  3             MR. DRAPER:    That is fine, John.         3         A.             Each of the assets is different.
  4             (Pause.)                                   4         Q.             Is there a general discount that
  5             MR. MORRIS: Thank you very                 5     you used?
  6       much.                                            6         A.    Not a general discount, no. we
  7       Q.    Mr. Seery, do you see the 257?             7     looked at each individual asset and went
  a       A.     In the one from yesterday?                8     through and made an assessment.
  9       Q.     Yes.                                      9         Q.    Did you apply a discount for
 10       A.     Second line, 257,941. Yes.              10      your capability versus the capability of a
 11       Q.    That assumes a monetization of           11      trustee?
 12   all assets by December of 2022?                    12          A.             No.
 13       A,    Correct.                                 13          Q.    So a trustee would be as capable
 14       Q.    And so everything has been sold          14      as you are in monetizing these assets?
 15   by that time; correct?                             15                MR. MORRIS:  Objection to the
 16       A.     Yes.                                    16                  form of the question.
 17       Q.     So, what I am trying to get at          17                  Q.    Excuse me? The answer is?
 18   is, there is both the capability between           18                The answer is maybe .
                                                                             A.
 19   you and a trustee, and then the second             19          Q.    Couldn't a trustee hire somebody
 20   issue is timing.  So, what discount was            20      as capable as you are?
 21   put on for timing, Mr . Seery, between when        21                MR . MORRIS: Objection to the
 22   a trustee would sell it versus when you            22          form of the question.
 23   would sell it?                                     23          A.    Perhaps.
 24             MR. MORRIS: Objection,                   24          Q.    Sir, that is a yes or no
 25       Q.     What is the percentage you              25      question. Could the trustee hire somebody
                                              Page 44                                                                Page 45
  1                     J, SEERY                           1                               J. SEERY
  2   as capable as you are?                              2                  Q.     Again, the discounts are applied
  3              MR. MORRIS:  Objection to the             3     for timing and capability?
  4       form of the question.                            4         A.    Yes .
  5       A.    I don't know.                              5         Q.    Now, in looking at the November
  6       Q,     Is there anybody as capable as            6     plan analysis number of $190 million and
  7   you are?                                             7     the January number of $257 million, what
  a              MR. MORRIS:   Objection to the            8     accounts for the increase between the two
  9       form of the question.                           9      dates?           What assets specifically?
 10       A.    Certainly.                               10                  A.     'Theta are o number Gf a
 11       Q.     And they could be hired.                11      F1rst.ly,         t.n    HCI.OF e1sset- c?ir
 12   Correct?                                            ..t.               Q•     How IIUlCh ~r
 13       A.     Perhaps.   I don't know.                  3                 A.     Appr.oxiITldte
 14       Q.    And if you go back to the                        mill ion dollars.
 15   November 2020 liquidation analysis versus          ;_5          Q.    Okay.
 16   plan dilalysis, it is also the same note                       A.     Secondly ,
 17   about that a trustee would bring less, and                 increase in the value f
 18   there is the same sort of discount between         -8      assets over this time period.
 19   the estimated proceeds under the plan and            9                 Q.     Which       ssets, Mr. ,e, zy7
 20   under the liquidation analysis.                    20                  A.     There       r a number. T cy
 21             MR. MORRIS:  If that is a                .c.l    1       - ,oe    K;M     L   ck,    '!I 1nclud Tcustway,
 22       question, I object .                                       h   ~
                                                                      incl1de Targ,.
 23       Q.    Is that correct, Mr. Seery,              23          Q.    And what is the percentage
 24   looking at the document?                           24      increase from November to January,
 25       A.     There are discounts, yes.               25      November of 2020 to January of 2021?




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     l                                          J. SEERY                                         l                                         J. SEERY
     2       A.    Do you mean what is the                                                       2   markets; correct?
     3   percentage increase from 190 to 257?                                                    3      A.     No.
     4       Q.    No. You just identified three                                                 4       Q.    Those are operating businesses?
     5   assets.        MGM stock, we can go look at the                                         5             A.         Correct.
     6   exchange and figure out what the price                                                  6             Q.                                            lu-,r       r   f r
     7   increase is; correct?
     B           A.No.                                                                                         A.       We use a combination                     f the
     9       Q.    Why not?                           Is the MGM stock                               ve             that we get                                      ,Jtay
  10     publicly traded?                                                                            mark purp                       arr
  11             A.      Yes . It doesn't trade on --                                            1   12!        p rp
  12             Q.      Excuse me?                                                             12             Q.    And the adjustment was up or
  13             A.      It doesn't trade on an exchange.                                       13   down?
  14             Q.      Is there a public rru,.rket for the                                    14             A.         When?
  15     MGM stock that we could calculate the                                                  15             Q.         ,-:::- t-~th NcJe:rb;,,!'." ~n:::
  16     increase?                                                                                             g
  17             A.      There is a semipublic market;
  18     yes.
  19         Q.    So it is a number that is                                                    19                   MR . OORRIS: Objection to form
  20     readily available between the two dates?                                               20             of the que stio n .
  21             A.      It 's available.                                                   I   21             A.     .- . . . . ,.~-'r            -
  22         Q.      Now, you identified Targa and
  23     Trust way . Correct?                                                                        ad"iusted it down.                         don ' t   recall off the i
  24             A.      Yes.                                                                                      ( .    LectJ t•_r
  25             Q.      Those are not readily available

                                                                                  Page 48                                                                                    Page 49
     l                                          J . SEERY                                        l                                         J . SEERY
     2           Q.      P..n,::          1:: .   :.nc":'rst :1:--.d io,'hat i' :···
                                                  1                                              2   ~f .:0~ 1,          cr.e rn.:i•       :tuje be1n .:i r      ah~,· 6
         j        s.i                                         H"~' ihan         I, vy                30ffiE'       odd mi~-- n doll-1!'."~- -             Corr-=-ct-:'
     4       al..i,:.i n f    L           ti,                                                    4             A.         .:r.:.:..re,_t,
               ,.gn1f.car,                                                                                     Q.
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 r            _ J a-   Ja.n        ,.:1    ,.                                                        ofir:-;-a.s:1            1      ri?lt~
     7                   MR. MORRIS:                    Objection to form                        7                        MR. MORRIS:              Objection to form.
     B           of the question.                                                                8             A.             rre,
     9          A.       I didn't say that.                                                      9             Q.
  10             Q.           =.
                               ryi.ng . J .wunt                                                            t:tlent                     h      1 .::iv     %01.lgh!y
     1                                                       1<1 ,        ,nd                   ]I             "_ l l.
         4dent. fied three assets.                            You i , ent. fie                  12                   MR. MORRIS : Objection to the
                                               y u
                 stock, which has, I can guess, o                                               13             form of the question if that is a
         have said, a readily ascertainable · lue.                                              14             question .             It is accounted for.
  15     Then you identified two others that • t.                                               15             Q.         ,~ h =i·
         valuation is based upon something H      h                                                  Ml .
         L key provided you.                          Correct?                                  17
  18            A.       I gave you three examples.                                    I
              ver said "readi 1 y. "
                                   That is ) ur , ord,                                                   Q.
                mine . And I didn't say · hci Houl1. ..an                                            o: g b-               to where we were.
             ad a significant change in thei                                                             A.               There are numerous
             aluation.
  23             Q.
                  i




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                                                         Page    :50                                                    Pa.ge 51
   1                             J. SEERY                               1                        J.   SEERY
   2    for one .    On      h   opera ing bus nesses , WP              2   HarbourVest settlement, right?
   3     coked a     each of them and made an)                          3       A.       I believe that's correct.
                                                     ~--~
 ) q    assessment. based upon where r.he marke             !s          4        Q.      Is that fair, Mr. Seery?
 ~ 'i   and wha     .,.., tJ...lleve the va~ues !lre ,   ond we         5       A.    I believe that is correct, yes.
   6    have m rea     hose va uat.ions .                               6       Q.    And part of that differential
   7        Q.       Let me look at some nwnbers                        7   are publicly traded or ascertainable
   B    again.      In the liquidation analysis in                      8   securities.     correct?
   9    November of 2020, the liquidation value is                      9       A.       Yes.
  10    $149 million. Correct?                                         10        Q.      And basically you can get, or
  11        A.       Yes .                                             11   under the plan analysis or trustee
  12        Q.       And in the liquidation analysis                   12   analysis, if it is a marketable security
  13    in January of 2021, you have $191 million?                     13   or where there is a market, the
  14        A.       Yes.                                              14   liquidation number should be the same for
  15        Q.       You see that number.         So there             15   both.     Is that fair?
  16    is $51 million there, right?                                   Hi       A.       No.
  17        A.       No.                                               17        Q.      And why not?
  1B        Q.    What is the difference between                       18       A.    We might have a different price
  19    191 and -- sorry. My math may be a little                      19   target for a particular security than the
  20    off. What is the difference between the                        20   current trading value.
  21    two numbers, Mr. Seery?                                        21        Q.      I understand that, but I mean
  22        A.       Your math is off.                                 22   that is based upon the capability of the
  23        Q.       Sorry.  It is 41 million?                         23   person making the decision as to when to
  24        A.       Correct.                                          24   sell .    Correct?
  25        Q.       $22 million of that is the                        25                MR. MORRIS:    Objection to form

                                                         Page :52                                                       Page 5.J
   1                             J. SEERY                               1                        J. SEERY
   2        of the question.                                            2   $18 million.      How much of that is publicly
   3        Q.       Mr. Seery, yes or no?                              3   traded or ascertainable assets versus
   4        A.       I said no.                                         4   operating businesses?
   5        Q.       What is that based on, then?                       5       A.       I don't know off the top of my
   6        A.       The person's ability to assess                     6   head the percentages.
   7    the market and timing.                                          7       Q.    All right. The same question
   B        Q.    Okay. And again, couldn't a                           8   for the plan analysis where you have the
   9    trustee hire somebody as capable as you to                      9   differential between the November number
  10    both, A, assess the market and, B, make a                      10   and the January number.       How much of it is
  11    determination as to when to sell?                              11   marketable securities versus an operating
  12              MR. MORRIS: Objection to form                        12   business?
  13        of the question.                                           13       A.       I don't recall off the top of my
  14        A.        I suppose a trustee could.                       14   head.
  15        Q.    And there are better people or                       15             MR. DRAPER:       Let me take a
  16    people equally or better than you at                           16        few-minute break.      Can we take a
  17    assessing a market.          Correct?                          17        ten-minute break here?
  18        A.    Yes.                                                 18              IHE WITNESS:  Sure.
  19                 MR. MORRIS:       Objection to form               19                (Recess.)
  20        of the question.                                           20   BY MR . DRAPER:
  21        Q.    So, again, let's go back to                          21        Q.      Mr. Seery, what I am going to
  22    that.     We have accounted for,        out of                 22   show you and what I would ask you to look
  23    $41 million where the liquidation analysis                     23   at is in the note E, in the statement of
  24    increases between the two dates,                               24   assumptions for the November 2020
  25    $22 million of i t .        That leaves                        25   disclosure statement.        It discusses fixed




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                              Sale of Assets of Affiliates or Controlled Entities


    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


       •   These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
       •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery's Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                                20 Largest Unsecured Creditors


 Name of Claimant                    Allowed Class 8    Allowed Class 9
 Redeemer Committee of the
 Highland Crusader Fund              $136,696,610.00
 UBS AG, London Branch and UBS
 Securities LLC
                                     $65,000,000.00     $60,000,000
 HarbourVest entities                $45,000,000.00     $35,000,000
 Acis Capital Management, L.P. and
 Acis Capital Management GP, LLC     $23,000,000.00
 CLO Holdco Ltd                      $11,340,751.26
 Patrick Daugherty
                                                        $2,750,000 (+$750,000 cash payment
                                     $8,250,000.00      on Effective Date of Plan)
 Todd Travers (Claim based on
 unpaid bonus due for Feb 2009)      $2,618,480.48
 McKool Smith PC                     $2,163,976.00
 Davis Deadman (Claim based on
 unpaid bonus due for Feb 2009)      $1,749,836.44
 Jack Yang (Claim based on unpaid
 bonus due for Feb 2009)             $1,731,813.00
 Paul Kauffman (Claim based on
 unpaid bonus due for Feb 2009)      $1,715,369.73
 Kurtis Plumer (Claim based on
 unpaid bonus due for Feb 2009)      $1,470,219.80
 Foley Gardere                       $1,446,136.66
 DLA Piper                           $1,318,730.36
 Brad Borud (Claim based on unpaid
 bonus due for Feb 2009)             $1,252,250.00
 Stinson LLP ( successor to Lackey
 Hershman LLP)                       $895,714.90
 Meta-E Discovery LLC                $779,969.87
 Andrews Kurth LLP                   $677,075.65
 Markit WSO Corp                     $572,874.53
 Duff & Phelps, LLC                  $449,285.00
 Lynn Pinker Cox Hurst               $436,538.06
 Joshua and Jennifer Terry
                                     $425,000.00
 Joshua Terry
                                     $355,000.00
 CPCM LLC (bought claims of
 certain former HCMLP employees)     Several million
 TOTAL:                              $309,345,631.74    $95,000,000




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                                   Timeline of Relevant Events


 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms "Muck Holdings LLC" in Delaware
 3/15/2021     Debtor files Jan. '21 monthly operating report indicating assets of $364 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.

 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms "Jessup Holdings LLC" in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim -Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

   •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
   •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
   •   The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                  Debtor's October 15, 2020 Liquidation Analysis [Doc. 1173-1]


                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [ 1] [2]         198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
 Class 1 - Jefferies Secured Claim                               -                 -
 Class 2 - Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 - Priority non-tax claims [10]                          (16)              (16)
 Class 4 - Retained employee claims                              -                 -
 Class 5 - Convenience claims [6] [ 1O]                          (13,455)          -
 Class 6 - Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 - Convenience claims [8]                                -                 17,940
 Class 6 - Unpaid employee claims                                -                 3,940
 Class 7 - General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 - Subordinated claims                                   no distribution   no distribution
 Class 9 - Class B/C limited partnership interests               no distribution   no distribution
 Class 10 - Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

    •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                              Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [ 1] [2]        257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 - Jefferies Secured Claim                              -                  -
    Class 2 - Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 - Other Secured Claims                                 (62)               (62)
    Class 4 - Priority non-tax claims                              (16)               (16)
    Class 5 - Retained employee claims                             -                  -
    Class 6 - PTO Claims [5]                                       -                  -
    Class 7 - Convenience claims [7][8]                            (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 - General unsecured claims [8] [ 1O]                   273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 - Subordinated claims                                  no distribution    no distribution
    Class 10 - Class B/C limited partnership interests             no distribution    no distribution
    Class 11 - Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

      •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
      •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




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                 Summary of Debtor's January 31, 2021 Monthly Operating Report 3



                                                 10/15/2019            12/31/2020            1/31/2021
    Assets
    Cash and cash equivalents                       $2,529,000           $12,651,000          $10,651,000
    Investments, at fair value                    $232,620,000         $109,211,000         $142,976,000
    Equity method investees                       $161,819,000         $103,174,000         $105,293,000
    mgmt and incentive fee receivable               $2,579,000            $2,461,000           $2,857,000
    fixed assets, net                               $3,754,000            $2,594,000           $2,518,000
    due from affiliates                           $151,901,000         $152,449,000         $152,538,000
    reserve against notices receivable                                 ($61,039,000)        ($61,167,000)
    other assets                                   $11,311,000            $8,258,000           $8,651,000
                             Total Assets         $566,513,000         $329,759,000         $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5,195,000           $5,195,000           $5,195,000
                                  Jefferies        $30,328,000                   $0                   $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims               $73,997,000          $73,997,000         $267,607,000
    Partners' Capital                             $396,614,000         $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital       $566,513,000         $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

      •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month's MOR
      •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
      •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


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                                      Value of HarbourVest Claim


                                HarbourVest Interest NAV by Month
  9/29/2020                                                      $2.2.2

 10/31/2020                                                      $2.4.2

 11/30/2020                                                      $34.1

 12/31/2020                                                      $39.3

  1/14/2021                                                     $41.6
                       I
  1/31/2021                                                     $44.3
                                                                                                               I
  2/28/2021                                                     $49.7
                   -


  3/31/2021                                                     $50.3

  4/30/2021                                                     $53.9

  5/31/2021                                                     $55.9




                              HarbourVest NAV Value v. Purchase Price
  $60.0



  $50.0



  $40.0



  $30.0



  $20.0



  $10 .0



     $-
     9/29/2020   10/29/2020   11/29/2020   12/29/2020      1/29/2021       2/28/2021   3/31/2021   4/30/2021       5/31/20

                                           .....,. NAV   .....,. Pu rchase Price




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                                   Estate Value as of August 1, 2021 (in millions)4
    Asset                                                                    Low                         High
    Cash as of 6/30/2021                                                     $17.9                       $17.9
                                                           Targa Sale        $37.0                       $37.0
                                                     8/1 CLO Flows           $10.0                       $10.0
                                                     Uchi Bldg. Sale         $9.0                        $9.0
                                                            Siepe Sale       $3.5                        $3.5
                                                       PetroCap Sale         $3.2                        $3.2
                                             HarbourVest trapped cash        $25 .0                      $25 .0
    Total Cash                                                               $105.6                      $105.6
    Trussway                                                                 $180.0                      $180.0
    Cornerstone (125mm; 16%)                                                 $18 .0                      $18.0
    HarbourVest CLOs                                                         $40.0                       $40.0
    CCS Medical (in CLOs and Highland Restoration)                           $20.0                       $20.0
    MGM (direct ownership)                                                   $32.0                       $32.0
    Multi-Strat (45% of 100mm; MGM; CCS)                                     $45.0                       $45.0
    Korea Fund                                                               $18.0                       $18.0
    Celtic (in Credit-Strat)                                                 $12.0                       $40.0
    SE Multifamily                                                           $0.0                        $20.0
    Affiliate Notes                                                          $0.0                        $70.0
    Other                                                                    $2.0                        $10.0
    TOTAL                                                                    $472.6                      $598.6



                                                    Assets and Claims
    $700.0
    $600.0
    $500.0
              ••
    $400.0
    $300.0
    $200 .0
    $100 .0
        $-




              ..... Total Assets     ..... Class 8 Claims   ..... Class 9 Claims   ..... u nsecured Creditors' Claims




4 Values are based upon historical knowledge of the Debtor' s assets (including cross-holdings) and publicly filed
information.


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                       HarbourVest Motion to Approve Settlement [Doc. 1625]
   PAC HULSKI STANG ZIEHL & JONES LLP
   Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
   Ira D. Kharasch (CA Bar No. 109084} (admitted pro hac vice)
   John A. Morris (NY Bar No. 266326} (admitted pro hac vice)
   Gregory V. Demo (NY Bar No. 53 71992} (admitted pro hac vice)
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   10100 Santa Monica Blvd., 13th Floor
   Los Angeleg, CA 90067
   Telephone: (310) 277-69 I 0
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   Facsimile: (972) 755-7110

   Counsel.for the Debtor and Debtor-in-Possession


                           IN THE U~ITED ST ATES BANKRUPTCY COURT
                             FOR THE ~ORTHERi~ DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                   §
   In re:                                                          §    Chapter 11
                                                                   §
   HIGHLAND CA PITAL MANAGEMENT, L.P., 1                           § Case No. ! 9-34054-sgj I 1
                                                                   §
                                      Debtor.                      §
  ----------------------------------




            DEBTOR'S MOTIO~ FOR ENTRY OF AN ORDER APPROVING
      SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143, 147, 149, 150, 153, 154)
             AND AUTHORIZING ACTIONS CONSISTENT THEREWITH


   TO THE HONORABLE STACEY G. C. JERNIGAN.
   UNITED ST A TES BANKRUPTCY JUDGE;



   1 The last four digits of the Debtor's taxpayer identification number are 6725. The headquarters and service address

   for the Debtor is 300 Cresc-ent Court. Suite 700. Dallas, TX 7520 I.




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              Highland Capital Management, LP.. the above-captioned debtor and debtor-in-

      possession ("Highland" or the ·'Debtor"). files this motion (the "Motion'') for entry of an order.

      substantially in the form attached hereto as Exhibit A. pursuant to Rule 90 l 9 of the Federal

      Rules of Bankruptcy Procedure (the "Bankruptcy Ru les"}, approving a settlement agreement (the

      "Settlement Agreement''), 2 a copy of which is attached as Exhibit 1 to the Declaration ({,(John A.

      Morris in Support of the Debtor '.'i Motion for Entry of an Order Approving Settlement with

      HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent

      Therewith being filed simultaneously with this Motion (''Morri5 Dec."). that, among other things.

      fully and finally resolves the proofs of claim filed by HarbourVest 2017 Global Fund LP.,

      HarbourVest 2017 Global AIF L.P .• HarbourVest Dover Street IX Investment L.P .. HY

      International VIII Secondary LP., HarbourVest Skew Base Alf L.P., and HarbourVest Partners

      LP . (collectively, '"HarbourVest"). In support of this Motion, the Debtor represents as follows:

                                                 JURISDICTION

                      l.      This Court has jurisdiction over this matter pursuant to 28 U .S.C. §§ l 57

      and 1334. This matter is a core proceeding within the meaning of28 U.S.C. § l57(b)(2). Venue

      in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                      2.      The statutory predicates for the relief sought herein are sections 105(a)

      and 363 of title 11 of the United States Code (the '"Bankruptcy Code'"). and Rule 9019 of the

      Bankruptcy Rules.




      2All capitalized terms used but not defined herein shall have the meani ngs given to them in the Settlement
      Agreement.

                                                          2



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                                           RELEVANT BACKGROUND

  A.         Procedural Background
                      3.       On October 16, 2019 (the "Petition Date''). the Debtor filed a voluntary

  petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

  District of Delaware, Case No. 19-12239 (CSS) (the "Delaware Court").

                      4.       On October 29.2019, the official committee of unsecured creditors (the

  "Committee"} was appointed by the U.S. Trustee in the Delaware Court.

                      5.       On December 4, 2019, the Delaware Court entered an order transferring

  venue of the Debtor's case to this Court [Docket No. 186]. 3

                      6.       On December 27, 2019, the Debtor filed that certain Motion of the Debtor

  for Approval of Settlement with !he Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

  28 1] (the "Settlement Motion") . This Court approved the Settlement Motion on January 9, 2020

  (Docket No. 339] {the ''Settlement Order").

                      7.       In connection with the Settlement Order. an independent board of

  directors was constituted at the Debtor's general partner, Strand Advisors, Inc .. and certain

  operating protocols were instituted.

                      8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

  Jr.. as the Debtor's chief executive officer and chief restructuring officer [Docket No. 8S4].

                      9.       The Debtor has continued in the possession of its property and has

  continued to operate and manage its business as a debtor-in-possession pursuant to sections

  l 107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

  chapter 11 case.


  J   All docket numbers refer to the docket maintained by this Court.

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  B.       Overview of HarbourVest' s Claims

                    10.      Harbour Vest's claims against the Debtor's estate arise from its $80 million

  investment in Highland CLO Funding, f/k/a Acis Loan Funding, Ltd. (" HCLOF"): pursuant to

  which HarbourVest obtained a 49 percent interest in HCLOF (the ·'Investment").

                    11.      fo brief. HarbourVest contends that it was fraudulently induced into

  entering into the Investment based on the Debtor's misrepresentations and omissions concerning

  certain material facts, including that the Debtor: ( I) failed to disclose that it never intended to

  pay an arbitration award obtained by a former portfolio manager, (2} failed to disclose that it

  engaged in a series of fraudulent transfers for the purpose of preventing the fom1er portfolio

  manager from collecting on his arbitration award and misrepresented the reasons changing the

  portfolio manager for HCLOF immediately prior to the Investment. (3) indicated that the dispute

  with the former portfolio manager would not impact investment activities. and (4) expressed

  confidence in the ability of HCLOF to reset or redeem the collateralized loan obligations

  ("CLOs") under its control.

                    12.      HarbourVest seeks to rescind its Investment and claims damages in excess

  of S300 million based on theories of fraud. fraudulent inducement. fraudulent concealment.

  fraudulent misrepresentation, negligent misrepresentation. and breach of fiduciary duty <under

  Guernsey law), and on alleged violations of state securities laws and the Racketeer Influenced

  Corrupt Organization Act {"'RICO'").

                    13.      HarbourVest's allegations are summarized below.4




 4  Solely for purposes of this Motion. and not for any other reason. the facts set forth herein are ad.opted largely from
  lhe HarbourVest Response to Debtor's First Omnibus Objection to Cerlain (,4.) Duplicate Claims: (Bj Overstated
  Claims; (C) Late-Filed Claims; (D) Sati~fied Claims; (E) No-Liability Claims; and (FJ l,m!fjicient-Documentation
  Claims [Docket No. I 057] (the "Response'').




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 C.      Summary of HarbourVest~s Factual Al1egations

                14,     At the time HarbourVest made its Investment, the Debtor was embroiled

 m an arbitration against Joshua Terry ("Mr. Terry"). a fom1er employee of the Debtor and

 limited partner of Acis Capital Management, LP. ("Acis LP"). Through Acis LP, Mr. Terry

 managed Highland's CLO business, includ ing CLO-related investments held by Acis Loan

 Funding, Ltd. ("Acis Funding'').

                15.     The litigation between Mr. Terry and the Debtor began in 2016, after the

 Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

 Terry asserted counterclaims for wrongfu l termination and for the wrongful taking of his

 ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

 he obtained an award of approximately $8 million (the "Arbitration Award") on October 20,

 2017.

                16.     HarbourVest alleges that the Debtor responded to the Arbitration Award

 by engaging in a series of fraudulent transfers and corporate restructurings, the true purposes of

 which were fraudulently concealed from HarbourVest.

                17.     For example. according to HarbourVest. the Debtor changed the name of

 the target fund from Acis Funding to "Highland CLO Funding. Ltd." ("HCLOF") and "swapped

 out" Acis LP for Highland HCF Advisor. Ltd. as portfolio manager (the "Structural Changes'').

 The Debtor allegedly told Harbour Vest that it made these changes because of the "reputational

 hann" to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

 that in lieu of redemptions, resetting the CLOs was necessary. and that it would be e.isier to reset

 them under the "Highland" CLO brand instead of the Acis CLO brand.

                18.     In addition, HarbourVest also alleges that the Debtor had no intention of

 allowing Mr. Terry to collect on his Arbitration Award. and orchestrated .i scheme to "denude"


                                                  5



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  Acis of assets by fraudulently transferring virtually all of its assets and attempting to transfer its

  profitable portfolio management contracts to non-Acis, Debtor-related entities.

                  19.    Unaware of the fraudulent transfers or the true purposes of the Strucn1ral

  Changes, and in reliance on representations made by the Debtor. HarbourVest closed on its

  Investment in HCLOF on November 15, 2017.

                  20 .   After discovering the transfers that occurred between Highland and Acis

  between October and December 2017 following the Arbitration Award (the "Transfers"), on

  January 24.2018, Terry moved for a temporary restraining order (the "TRO'') from the Texas

  state court on the grounds that the Transfers were pursued for the purpose of rendering Acis LP

  judgment-proof. The state court granted the TRO, enjoining the Debtor from transferring any

  CLO management contracts or other assets away from Acis LP.

                  2L     On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

  against Acis LP and its general partner, Acis Capital Management GP. LLC. See In re Acis

  Capital Management, L.P.. Case No. 18-30264-sgjll (Bankr. N.D. Tex. 2018) and In re Acis

  Capital Management GP, LLC. C:ise No. 18-30265-sgj 11 (Bankr. N .D. Tex. 2018) (collectively.

  the ·'Acis Bankruptcy Case''). The Bankmptcy Court overruled the Debtor's objection. granted

  the involuntary petitions. and appointed a chapter 11 trustee (the "Acis Trustee").           A long

  sequence of events subsequently transpired, all of which relate to HarbourVest's claims.

  including:

         •     On May 31, 2018, the Court issue.d a sua sponte TRO preventing any actions             111
               furtherance of the optional redemptions or other liquidation of the Acis CLOs.

         •     On June 14, 2018, HCLOF withdrew optional redemption notices.

         •     The TRO expired on June 15, 2018, and HCLOF noticed the Acis Trustee that it was
               requesting an optional redemption.




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           •   HCLOF's request was withdrawn on July 6. 2018, and on June 21 , 2018, the Acis
               Trustee sought an injunction prevent1ng Highland/HCLOF from seeking further
               redemptions (the "Preliminary Injunction").

           •   The Court granted the Preliminary Injunction on July l 0. 2018, pending the Acis
               Trustee's attempts to confinn a plan or resolve the Acis Bankruptcy.

           •   On August 30. 2018. the Court denied confirmation of the First Amended Joint Plan
               for Acis, and held that the Preliminary Injunction must stay in place on the ground
               that the "evidence thus far has been compelling that numerous transfers after the Josh
               Terry judgment denuded Acis of value.''

           •   After the Debtor made various statements implicating HarbourVest in the Transfers.
               the Acis Trustee investigated HarbourVest's involvement in such Transfers, including
               extensive discovery and taking a 30(b)(6) deposition of HarbourVest's managing
               director. Michael Pugatch, on November 17, 20! 8.

           •   On March 20. 2019. HCLOF sent a letter to Acis LP stating that it was not interested
               in pursuing, or able to pursue, a CLO reset transaction.

    D.     The Parties' Pleadings and Positions Concerning HarbourVest's
           Proofs of Claim

                   22.    On April 8, 2020. Harbour Vest filed proofs of claim against Highland that

   were subsequently denoted by the Debtor's claims agents as claim numbers 143 , 147. 149. 150,

    153. and 154, respectively (collectively, the ''Proofs of Claim'"). Mon-is Dec. Exhibits 2-7.

                   23.    The Proofs of Claim assert, among other things, that HarbourVest suffered

    significant harm due to conduct undertaken by the Debtor and the Debtor"s employees, including

    '·financial harm resulting from ( i) court orders in the Acis Bankruptcy that prevented certain

    CLOs in which HCLOF was invested from being refinanced or reset and court orders that

    otherwise relegated the activity of HC'LOF [i.e., the Preliminary Injunction]: and (ii} significant

    fees and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g..

    Morris Dec. Exhibit 2 ~3.

                   24.    HarbourVest also asserted "any and all of its right to payment, remedies,

    and other claims (including contingent or unliquidated claims) against ,the Debtor in connection

    with and relating to the forgoing harm. including for any amounts due or owed under the various

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  agreements with the Debtor in connection with relating to" the Operative Documents "and any

  and all legal and equitable claims or causes of action relating to the forgoing hmm." See, e.g.,

  Morris Dec. Exhibit 2   ,4.
                 25 .     Highland subsequently objected to HarbourVest's Proofs of Claim on the

  grounds that they were no-liability claims. [Docket No. 906] (the "Claim Objection''}.

                26 .      On September 11, 2020, HarbourVest filed its Response. The Response

  articulated specified claims under U.S. federal and state and Guernsey law, including claims for

  fraud. fraudulent concealment, fraudulent inducement. fraudulent misrepresentation, negligent

  misrepresentation {collectively, the «Fraud Claims"). U.S. State and Federal Securities Law

  Claims (the "Securities Claims"). violations of the Federal Racketeer Influenced and Corrupt

  Organizations Act ("RICO"). breach of fiduciary duty and misuse of fund assets, and an unfair

  prejudice claim under Guernsey law (collectively. with the Proofs of Claim. the '·HarbourVest

  Claims").

                27.       On October 18, 2020, HarbourVest filed its Motion of HarbourVest

  Pursuant to Rule 30/8 ~{ the Federal Rules of Bankruptcy Procedure f or Temporary· Aflowance

  of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the "3018

  Motion"). In its 3018 Motion. HarbourVest sought for its Claims to be temporarily allowed for

  voting purposes in the amount of more tha11 $300 million (based largely on a theory of treble

  damages).

  E.     Sett]ement Discussions

                 28 .     ln October, the parties discussed the possibility of resolving the Rule 3018

  Motion.

                 29 .     ln November. the parties broadened the discussions in an attempt to reach

  a global resolution of the HarbourVest Claims.        In the pursuit thereof, the parties and their


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   counsel participated in several conference calls where they engaged in a spirited exchange of

   perspectives concerning the facts and the law.

                     30.     During follow up meetings. the parties ' interests became more defined.

   Specifically, HarbourVest sought to maximize its recovery while fully extracting itself from the

   Investment while the Debtor sought to minimize the HarbourVest Claims consistent with its

   perceptions of the facts and law.

                     31.     After the parties' interests became more defined, the principals engaged in

   a series of direct. am1 ' s-length. te lephonic negotiations that ultimately lead to the settlement,

   whose terms are summarized below.

   F.        Summary of Settlement Terms

                     32.     The Settlement Agreement contains the following material tenns, among

   others:

             •   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
                 by the Debtor: 5

             •   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
                 amount of $45 million and shall vote its Class 8 claim in that amount to support the
                 Plan;

             •   HarbourVest shall receive a subordinated. allowed, general unsecured. non~priority
                 claim in the amount of $35 million and shall vote its Class 9 claim in that amount to
                 support the Plan~

             •   HarbourVest will support confomation of the Debtor"s Plan, including. but not
                 limited to. voting its claims in support of the Plan:

             •   The Harbour Vest Claims shall be allowed in the aggregate amount of $45 million for
                 voting purposes;

             •   Harbour Vest will support the Debtor's pursuit of its pending Plan of Reorganization;
                 and

             •   The parties shall exchange mutual releases.

   5   The NAV for HarbourVcst's 49.98-i-o interest m HCLOF was estimated to be approximately 522 million as of
   December I. 2020.

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  See general~v Morris Dec. Exhibit l .

                                  BASIS FOR RELIEF REQUESTED

                 33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

  a settlement. providing that:


           On motion by the trustee and after notice and a hearing. the court may
           approve a compromise or settlement. Notice shall be given to creditors. the
           United States trustee, the debtor. and indenture trustees as provided in Rule
           2002 and to any other entity as the court may direct.

  FED. R. BANKR. P. 9019(a).

                 34.     Settlements in bankruptcy are favored as a means of minimizing litigation.

  expediting the administration of the bankruptcy estate. and providing for the efficient resolution

  of bankruptcy cases. See Myers v. Martin (/11 re Martin). 91 F.3d 389, 393 (3d Cir. 1996);

  Rivercity v. Herpe/ (In re Jackson Brewing Co.), 624 F.2d 599. 602 (5th Cir. 1980). Pursuant to

  Bankruptcy Rule 9019(a). a bankruptcy court may approve a compromise or settlement as long

  as the proposed settlement is fair. reasonable. and in the best interest of the estate. See In re Age

  Rt:f Inc.. 801 F.3d 530. 540 (5th Cir. 2015). Ultimately. "approval of a compromise is within

  the sound discretion of the bankruptcy court." See United States v. AJVECO, Inc. (In re AWECO,

  Inc.). 725 F.2d 293. 297 (5th Cir. 1984): Jackson Brew;ng. 624 F.2d at 602-03.

                 35.     In making this detennination, the United States Court of Appeals for the

  Fifth Circuit applies a three-part test. "with a focus on comparing 'the terms of the compromise

  with the rewards of litigation. " ' Q_[licial Comm. ~f Unsecured Creditors v. Cajun E/ec. PoHw

  Coop. (In re Cajun Elec. Power Coop.), 119 F.3d 349. 356 (5th Cir. 1997) (citing Jackson

  Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the following

  factors: "(I) The probability of success in the litigation. with due consideration for the

  uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any




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  attendant expense. inconvenience and delay. and (3) All other factors bearing on the wisdom of

  the compromise." Id. Under the rubric of the third factor referenced above. the Fifth Circuit has

  specified two additional factors that bear on the decision to approve a proposed settlement. First,

  the court should consider "the paramount interest of creditors with proper deference to their

  reasonable views." Id.; Conn. Gen. life Ins. Co.           i·.   United Cos. Fin. Corp. (In re Foster

  Mortgage Corp .), 68 F.3d 914, 917 {5th Cir. 1995). Second, the court should consider the

  "extent to which the settlement is truly the product of arms-length bargaining, and not of fraud or

  collusion." Age Ref. Inc .. 801 F.3d at 540; Foster Mortgage C01p., 68 F.3d at 918 (citations

  omitted).

                   36.    There is ample basis to approve the proposed Settlement Agreement based

  on the Rule 9019 factors set forth by the Fifth Circuit.

                   37.    First, although the Debtor believes that it has valid defenses to the

  HarbourVest Claims. there is no guarantee that the Debtor would succeed in its litigation with

  HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

  part. on the credibility of witnesses whose veracity has already been called into question by this

  Court.      Moreover, it will be difficult to dispute that the Transfers precipitated the Acis

  Bankruptcy. and. ultimately. the imposition of the Bankruptcy Court's TRO that restricted

  HCLOF's ability to reset or redeem the CLOs and that is at the core of the HarbourVest Claims.

                   38.    The second factor-the complexity. duration. and costs of litigation-also

  weighs heavily in favor of approving the Settlement Agreement. As this Court is aware, the

  events forming the basis of the HarbourVest Claims-including the Terry Litigation and Acis

  Bankruptcy-proceeded for years in this Court and in multiple other forums, and has already

  cost the Debtor's estate millions of dollars in legal fees.         If the Settlement Agreement is not

  approved. then the parties will expend significant resources litigating a host of fact-intensive


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  fraudulent statements and omissions and whether HarbourVest reasonably relied on those

  statements and omissions.

                 39.     Third, approval of the Settlement Agreement is justified by the paramount

  interest of creditors. Specifically, the settlement will enable the Debtor to: (a) avoid incurring

  substantial litigation costs; (b) avoid the litigation risk associated witb HarbourVest's S300

  million claim; and (c) through the plan support provisions, increase the likelihood that the

  Debtor's pending plan of reorganization will be confirmed.

                 40.     Finally, the Settlement Agreement was unquestionably negotiated at

  arm's-length. The tenns of the settlement are the result of numerous, ongoing discussions and

  negotiations between the parties and their counsel and represent neither party's "best case

  scenario." Indeed, the Settlement Agreement should be approved as a rational exercise of the

  Debtor's business judgment made after due deliberation of the facts and circumstances

  concerning HarbourVesfs Claims.

                                       NO PRIOR REQUEST

                 41.     No previous request for the relief sought herein has been made to this. or

  any other, Court.

                                               NOTICE


                 42.     Notice of this Motion shall be given to the following parties or. in lieu

  thereof, to their counseL if known: (a) counsel for HarbourVest; (b) the Office of the United

  States Trnstee; (c) the Office of the United States Attorney for the Northern District of Texas; (d)

  the Debtor's principal secured parties; (e) counsel to the Committee; and (f) parties requesting

  notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of the nature of the

  reliefrequested, no other or further notice need be given.

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           WHEREFORE. the Debtor respectfully requests entry of an order, substantially in the

   form attached hereto as Exhibit A (a} granting the relief requested herein. and (b) granting such

   other relief as is just and proper.



   Dated: December 23, 2020.                 PACHULSKI STANG ZIEHL & JONES LLP

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                                       Exhibit 1
                             Settlement Agreement




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                                    SETTLEJ\IENT AGREEMENT

           This Settlement Agreement (the "'Agreement") is entered into as of March 30, 2021, by
   and among (i) Highland Capital Management, L.P. ("HCMLP" or the "Debtor"), (ii) Highland
   Credit Opportunities COO, L.P. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
   Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
   the "MSCF Parties"), (iii) Strand Advisors, Inc. ("Strand"), and (iv) UBS Securities LLC and
   UBS AG London Branch (collectively, "UBS'').

           Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
   collectively as the "Parties" and individually as a "Party."

                                            RECITALS

          WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and tvvo funds
   managed by HCMLP-Highland CDO Opportunity Master Fund, L.P. ("COO Fund") and
   Highland Special Opportunities Holding Company (''SOHC," and together with CDO Fund, the
   ..Funds") related to a securitization transaction (the "Knox Agreement");

         WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
   Agreement;

           WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
   filed a complaint in the Supreme Court of the State of New York, County of New York (the
   "State Court") against HCMLP and the Funds seeking to recover damages related to the Knox
   Agre-ement, in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
   L.P.. et al., Index No. 650097/2009 (N.Y. Sup. Ct.) (the "2009 Action'');

          WHEREAS, UBS's lone claim against HCMLP in the 2009 Action for indemnification
   was dismissed in early 2010, and thereafter UBS amended its complaint in the 2009 Action to
   add five new defendants, Highland Financial Partners, L.P. ("HFP"), Highland Credit Strategies
   Master Funds, L.P. ("Credit-Strat"), Highland Crusader Offshore Partners, L.P. ("Crusader"),
   Multi-Strat, and Strand, and to add new c1aims for fraudulent inducement, fraudulent
   conveyance, tortious interference with contract, alter ego, and general partner liability;

           WHEREAS, UBS filed a new, separate action against HCMLP on June 28, 20 l 0, for,
   inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
   dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P., lndex No.
   650752/2010 (N.Y. Sup. Ct.) (the "2010 Action");

           WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
   20 l O Action (hereafter referred to as the "State Court Action"), and on May l l 2011, UBS fi1ed
                                                                                    j


   a Second Amended Complaint in the 2009 Action;

           WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
   Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
   its claims against Crusader and Credit-Strat;




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            WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
     purposes of trial, with the Phase I bench trial deciding UBS's breach of contract claims against
     the Funds and HCMLP's counterclaims against UBS;

            WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
     Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and HFP, purportedly
     sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
     Assets") and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
     ("Sentinel") pursuant to a purported asset purchase agreement (the "Purchase Agreement");

           WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
     premium on a document entitled "Legal Liability Insurance Policy" (the "Insurance Policy");

            WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
     $100,000,000 for any legal liability resulting from the State Court Action (the ''Insurance
     Proceeds");

            WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
     Fund's Limited partnership interests in Multi-Strat (the "CDOF Interests");

             WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
     Multi-Strat for certain cash consideration (together with the CDOF Interests, the "MSCF
     Interests'');

            WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
     unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
     January 202 l;

           WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
     Agreement and Insurance Policy to UBS;

            WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
     were unknown to UBS;

             WHEREAS, on November 14, 2019, following the Phase T trial, the State Court issued
     its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
     dismissing HCMLP's counterclaims;

            WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
     the redeemed MSCF Interests are currently valued at approximately $32,823,423.50 (the
     "Sentinel Redemption");

            WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
     against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the "Phase I
     Judgment");

            WHEREAS, Phase II of the trial of the State Court Action, includes, inter alia, UBS 's
     claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS 's




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     fraudulent transfer claims against HCMLP, HFP, and Multi-Strat, and UBS's general partner
     claim against Strand;

            WHEREAS, on October 16, 2019, HCMLP filed a voluntary petition for relief under
     chapter LL of title 11 of the United States Code (the "Bankruptcy Code") in the United States
     Bankruptcy Court for the District of Delaware (the '"Bankruptcy Case"). The Bankruptcy Case
     was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
     "Bankruptcy Court") on December 4, 2019;

         WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
     HCMLP by HCMLP's bankruptcy filing;

            WHEREAS, on May 11, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
     Ltd., and Highland Credit Opportunities COO Asset Holdings, L.P. (collectively, the "May
     Settlement Parties"), entered into a Settlement Agreement (the "May Settlement") pursuant to
     which the May Settlement Parties agreed to the allocation of the proceeds of certain sales of
     assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
     Multi-Strat's actions;

             WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
     the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
     filed by UBS AG London Branch (hereinafter collectively referred to as the "UBS Claim"). The
     UBS Claim asserts a general unsecured claim against HCMLP for $1,039,957,799.40;

             WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order Directing
     Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
     directed to mediate their Bankmptcy Case disputes before two experienced third-party mediators,
     Retired Judge Allan Gropper and Sylvia Mayer (together, the "Mediators"). HCMLP and UBS
     formally met with the Mediators together and separately on numerous occasions, including on
     August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
     discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

           WHEREAS, on August 7, 2020, HCMLP filed an objection to the UBS Claim [Docket
     No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
     and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd., and Highland
     Crusader Fund II, Ltd. (collectively, the "Redeemer Committee"), objected to the UBS Claim
     [Docket No. 933]. On September 25, 2020, UBS filed its respom,e to these objections [Docket
     No. 1105];

             WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
     for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
     on November 6, 2020, UBS opposed these motions [Docket No. l 337];

             WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
     forth therein, the motions for partial summary judgment filed by HCMLP and the Redeemer
     Committee and denied UBS's request for leave to file an amended proof of claim [Docket No.
     1526];




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           WHEREAS, on November 6, 2020, UBS filed UBS 's Motion for Temporary Allowance
    of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
    No. 1338] (the "3018 Motion"), and on November 16, 2020, HCMLP and the Redeemer
    Committee each opposed the 3018 Motion [Docket Nos. 1404 and 1409, respectively];

          WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
    Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
    amount of$94,761,076 [Docket No. 1518];

          WHEREAS, on January 22, 2021, the Debtor filed the Fifth Amended Plan of
    Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
    amended, and as may be further amended, supplemented, or otherwise modified, the "Plan");

           WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
    Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

            WHEREAS, on March 29, 2021, UBS filed an adversary proceeding seeking injunctive
    relief and a motion for a temporary restraining order and preliminary injW1ction to, among other
    things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
    Sentinel or any transferee of Sentinel (the "Multi-Strat Proceeding"), which relief the Debtor, in
    its capacity as Multi-Strat's investment manager and general partner, does not oppose;

           WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
    disputes between and among them, to the extent and on the terms and conditions set forth herein,
    and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
    wrongdoing on the part of any Party; and

           WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
    pursuant to Federal Rule of Bankruptcy Procedure 9019 ("Rule 9019") and section 363 of the
    Bankruptcy Code;

           NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
    and promises made herein, and other good and valuable consideration, the receipt of which is
    hereby acknowledged, the Parties agree as follows:

                                                     AGREEMENT

           1.      Settlement of Claims. In ful 1 and complete satisfaction of the UBS Released
    Claims (as defined below):

                 (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
    the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
    Unsecured Claim under the Plan; 1 and (H) a single, subordinated unsecured claim in the amount
    of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
    Unsecured Claim under the Plan.




    1 Capitalizerl   terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                      (b)     Multi-Strat will pay UBS the sum of $18,500,000 (the "Multi-Strat
      Payment") as follows: (i) within two (2) business days after the Order Date, the May Settlement
      Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
      of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
      in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
      following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
      Payment in immediately available funds on the date that is ten ( I 0) business days following the
      Order Date, provided that, for the avoidance of doubt, the amounts held in the Escrow Account
      will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                      (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
      CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
      within 5 business days ofCDO Fund actually receiving the Insurance Proceeds from or on behalf
      of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
      designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
      Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
      assistance to UBS in connection with any legal action UBS takes to recover the Insurance
      Proceeds or to retwn the Transferred Assets to the Funds to satisfy the Phase I Judgment or
      obtain rights to the MSCF interests, including hut not limited to the redemption payments in
      connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
      the investigation or prosecution of claims or requests for injunctive relief against the Funds,
      Multi-Strat, Sentinel, James Dondero, Isaac Leventon, Scott Ellington, Andrew Dean,
      Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie [rving, and/or any other current or
      fonner employee or director of the Funds or Sentinel and/or any other fonner employee or
      fonner director of any of the HCMLP Parties that is believed to be involved with the Purchase
      Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
      potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
      listed on the schedule provided to UBS on March 25, 2021 (the "HCMLP Excluded
      Employees''); (iv) as soon as reasonably practicable, provide UBS with al1 business and trustee
      contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
      Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
      if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
      practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
      agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
      Funding Ltd, Eastland CLO Ltd, Grayson CLO Ltd, Valihalla CLO Ltd, and Governance Re Ltd,
      as applicable, that are in the Debtor's actual possession, custody, or control, (vi) as soon as
      reasonably practicable, provide, to the extent possible, any CUSTP numbers of the securities of
      the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd,
      Eastland CLO Ltd, Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
      applicable, including infonnation regarding the location and amount of any cash related to those
      entities' holdings, in each case on]y to the extent actually known by the Debtor after reasonable
      inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
       l (c)(vi) or any other assets owned or controlled by the Funds and/or HFP, including for
      avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
      discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
      reasonably possible to requests by UBS for access to relevant documents and approve as
      promptly as reasonably possible requests for access to relevant documents from third parties as
      needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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     MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
     without limitation the requests listed in Appendix A (provided, however, that the provision of
     any such documents or access will be subject to the common interest privilege and will not
     constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
     Debtor's actual possession, custody, or control; (ix) preserve all documents in HCMLP's
     possess.ion, custody, or control regarding or relating to the Purchase Agreement, the Insurance
     Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
     not limited to the documents requested in Appendix A, from 2016 to present, and issue a
     litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
     otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
     and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
     ahead of all other creditors of the Funds and HFP: provided, however, that, from and after the
     date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
     hut not Limited to, those fees and expenses for outside consultants and professionals (the
     "Reimbursable Expenses"), in connection with any provision of this Section l(c) in excess of
     $3,000,000 (the "Expense Cap"), and provided further that, for every dollar UBS recovers from
     the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
     Sentinel, Multi-Strat (other than the amounts set forth in Section l(b) hereof), or any other
     person or entity described in Section l(c)(iii) in connection with any claims UBS has that arise
     out of or relate to the Phase I Judgment, the Purchase Agreement, the Insmance Policy, the
     Transferred Assets, the MSCF Interests, or the Insurance Proceeds (the ''UBS Recovery"), UBS
     will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
     incurred by HCMLP, subject to: ( l) the occurrence of the Agreement Effective Date and (2)
     UBS's receipt and review of invoices and time records (which may be redacted as reasonably
     necessary) for outside consultants and professionals in connection with such efforts described in
     this Section I (c), up to but not exceeding the Expense Cap after any disputes regarding the
     Reimbursable Expenses have been reso~ved pursuant to procedures to be agreed upon, or absent
     an agreement. in a manner directed by the Bankruptcy Court; and provided further that in any
     proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
     obligated to pay the reasonable fees and expenses of the prevailing party~ and provided further
     that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
     behalf of or for UBS's benefit pursuant to this Section 1(c) shall be conducted in consultation
     with UBS, inc1uding but not limited to the selection of necessary outside consultants and
     professionals to assist in such litigation; and provided further that UBS shall have the right to
     approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
     which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
     UBS's benefit pursuant to this Section l(c).

                   (d)     Redeemer Appeal.

                           (i)    On the Agreement Effective Date, provided that neither the
     Redeemer Committee nor any entities acting on its behalf or with any assistance from or
     coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
     (as defined below), UBS shall withdraw with prejudice its appeal of the Order Approving
     Debtor's Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
     No. 72) and (BJ the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
     Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                            (ii)    The Parties have stipulated to extend the deadline for the filing of
    any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
    necessary to facilitate this Settlement Agreement.

                   (e)     As of the Agreement Effective Date, the restrictions and obligations set
    forth in the May Settlement, other than those in Section 7 thereof, shall be extinguished in their
    entirety and be of no further force or effect.

                   (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
    agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                   (g)     On the Agreement Effective Date, any claim the Debtor may have against
    Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
    shall be automatically transferred to UBS, without any further action required by the Debtor. For
    the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
    Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

           2.      Definitions.

                   (a)   "Agreement Effective Date" shall mean the date the full amount of the
    Multi-Strat Payment defined in Section I(b) above, including without limitation the amounts
    held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

               (b)     "HCMLP Parties" shall mean (a) HCMLP, in its individual capacity; (b)
    HCMLP, as manager of Multi-Strat; and ( c) Strand.

                  (c)    "Order Date" shall mean the date of an order entered by the Bankruptcy
    Court approving this Agreement pursuant to a motion filed under Rule 901 9 and section 363 of
    the Bankruptcy Code.

                   (d)     "UBS Parties" shall mean UBS Securities LLC and UBS AG London
    Branch.

           3.      Releases.

                     (n)    UBS Releases. Upon the occurrence of the Agreemen1 Effective Date,
    and to the maximum extent pennitted by law, each of 1he UBS Parties hereby forever, finally,
    fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
    exonerates. forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
    their current and fonTJer advisors, attorneys, trustees, directors. officers, managers, members,
    partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
    affiliates, successors, designees, and assigns (each in their capacities as such), except as
    expressly set forth below, and (B) the MSCF Parties and each of their current and former
    advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
    beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates, successors,
    designees, and assigns (each in their capacities as such), except as expressly set forth below, for
    and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
    liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
    damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known


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     or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affinnative defenses, whether known or unknown, including, without
     limitation, those that have been or could have been alleged or asserted in the S,tate Court Action
     or the Bankruptcy Case (collectively, the "UBS Released Claims"). provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to (l) the
     obligations of the HCMLP Parties and MSCF Parties under this Agreement. including without
     limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
     described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
     respect to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
     Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
     the Phase I Judgment, Purchase Agreement. and/or Insurance Policy by UBS; (3) James Dondero
     or Mark Okada, or any entities, including without limitation Hunter Mountain Investment Trust,
     Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
     than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
     HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
     extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
     capacity, including but not limited to as an investor, officer, trustee, or director in the HCMLP
     Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, affiliates, successors,
     designees, assigns, employees. or directors, including James Dondero, Isaac Leventon, Scott
     Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
     and/or any other current or former employee or director of the Funds or Sentinel and/or any other
     former employee or former director of any of the HCMLP Parties that is believed to be involved
     with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
     including for any liability with respect to the prosecution, enforcement, collection, or defense of
     the Phase I Judgment. Purchase Agreement, the MSCF Interests, any potentially fraudulent
     transfer of assets from the Funds to Sentinel and/or Insurance Policy, excluding the HCMLP
     Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
     directly or indirectly (including in its capacity as an investment manager and/or investment
     advisor), in any HCMLP-affiliated entity, including without limitation in the Redeemer
     Committee and Credit Strat, and/or in such entities' past, present or future subsidiaries and
     feeders funds (the "UBS Unrelated Investments")~ and (6) any actions taken by UBS against any
     person OT entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
     Sentinel Redemption or the transfer of any assets currently held by or within the control of COO
     Fund to Sentinel OT a subsequent transferee or to seek to compel any action that on1y such person
     or entity has standing to pursue or authorize in order to pennit UBS to recover the Insurance
     Proceeds, Transferred Assets, the Phase 1 Judgment or any recovery against HFP; provided,
     however, that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
     HCMLP in connection with this Section 3(a)(6) wi1l be considered Reimbursable Expenses and
     shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
     pursuant to Section l(c) subject to the occurrence of the Agreement Effective Date and after any
     disputes regarding such Reimbursable Expenses have been resolved in the manner described in
     Section l(c).

                    (b)    HCMLP Release. Upon the occurrence of the Agreement Effective Date,
     and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, finally,
     fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
     exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of


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     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
     costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
     unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affirmative defenses, whether known or unknown, including, without
     limitation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "HCMLP Released Claims''), provided, however, that
     notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
     of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
     obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                     (c)     Multi-Strat Release. Upon the occurrence of the Agreement Effective
     Date, and to the maximum extent permitted by law, each of the MSCF Parties hereby forever,
     finally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
     exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
     their current and former advisors, attorneys, trustees, directors, officers, managers, members,
     partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
     affiJiates, successors, designees, and assigns (each in their capacities as such), for and from any
     and all claims, debts, liabilities, demands, obligations, promises. acts, agreements, liens, losses,
     costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
     injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
     unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
     contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
     any claims, defenses, and affirmative defenses, whether known or unknown, including, without
     limi1ation, those that have been or could have been alleged or asserted in the State Court Action
     or the Bankruptcy Case (collectively, the "Multi-Strat Released Claims"). provided, however,
     that notwithstanding anything to the contrary herein, such releases shall not apply to the
     obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

           4.    No Third Party Beneficiaries. Except for the parties released by this
     Agreement, no other person or entity shall be deemed a third-party beneficiary of this
     Agreement.

             5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
     Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
     by virtue of the prosecution, enforcement, or collection of the Phase I Judgment (collectively, the
     "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
     State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
     assert or pursue any claims that any Controlled State Court Defendant has or may have against
     any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
     State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
     further, however, if and to the extent UBS receives any distribution from any Controlled State
     Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
     Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly


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    attributable to any property the Controlled State Court Defendant receives from the Debtor and
    separate and distinct from property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
    then such recovery shall be credited against all amounts due from the Debtor's estate on account
    of the UBS Claim allowed pursuant to Section l(a) of this Agreement, or if such claim has been
    paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

           6.      Agreement Subject to Bankruptcy Court Approval.

                    (a)    The force and effect of this Agreement and the Parties' obligations
    hereunder are conditioned in all respects on the approval of this Agreement and the releases
    herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
    Agreement expeditiously approved lby the Bankruptcy Court by cooperating in the preparation
    and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
    filed by the Debtor no later than five business days after execution of this Agreement by all
    Parties unless an extension is agreed to by both parties.

           7.      Representations and Warranties.

                    (a)   Each UBS Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
    or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
    other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
    UBS Released Claim on behalf of, for the benefit of, or in the name of (whether directly or
    derivatively) such UBS Party.

                    (b)    Each HCMLP Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to release the HCMLP Released Claims and has not sold,
    transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
    person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
    pursue, or enforce any HCMLP Released Cfaim on behalf of, for the benefit of, or in the name of
    (whether directly or derivatively) such HCMLP Party.

                    (c)    Each MSCF Party represents and warrants that (i) it has full authority to
    enter into this Agreement and to Telease the Multi-Strat Released Claims and has not sold,
    transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
    person OT entity other than such MSCF Party has been, is, or will be authorized to bring, pursue,
    or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
    (whether directly or derivatively) such MSCF Party.




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             8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
     dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
     or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
     Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
     constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
     Parties, Strand, UBS, or any other person.

            9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
     the benefit of each of the Parties and their representatives, successors, and assigns.

             10.     Notice. Each notice and other communication hereunder shall be in writing and
     will, unless otherwise subsequently directed in writing, be delivered by email and overnight
     delivery, as set forth below, and will be deemed to have been given on the date following such
     mailing.

            HCMLP Parties or the MSCF Parties

            Highland Capital Management, L.P.
            300 Crescent Court, Suite 700
            Dallas, Texas 75201
            Attention: General Counsel
            Telephone No.: 972-628-4100
            E-mail: notices@HighlandCapital.com

            with a copy (which shall not constitute notice) to:

            Pachulski Stang Ziehl & Jones LLP
            Attention: Jeffrey Pomerantz, Esq.
            l Ol 00 Santa Monica Blvd., 13th Floor
            Los Angeles, CA 90067
            Telephone No.: 310-277-6910
            E-mail: jpomerantz@pszjlaw.com

            UBS

            UBS Securities LLC
            UBS AG London Branch
            Attention: Elizabeth Kozlowski, Executive Director and Counsel
            1285 Avenue of the Americas
            New York, NY 10019
            Telephone No.: 212-713-9007
            E-mail: elizabeth.kozlowski@ubs.com

            UBS Securities LLC
            UBS AG London Branch
            Attention: John Lantz, Executive Director
            1285 Avenue of the Americas
            New York, NY 10019



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             Telephone No.: 212-713-1371
             E-mail: john.lantz@ubs.com

             with a copy (which shall not constitute notice) to:

             Latham & Watkins LLP
             Attention: Andrew Clubok
                         Sarah Tomkowiak
             555 Eleventh Street, NW, Suite 1000
             Washington, D.C. 20004-1304
             Telephone No.: 202-637-3323
             Email: andrew.clubok@lw.com
                     sarah.tomkowiak.@lw.com

             11.     Advice of Counsel. Each of the Parties represents that such Party has: (a) been
      adequately represented by independent legal counsel of its own choice, throughout all of the
      negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
      the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
      and conditions contained herein without any reservations; and (d) had the opportunity to have
      this Agreement and all the terms and conditions contained herein explained by independent
      counsel, who has answered any and all questions asked of such coW1Sel, or which could have
      been asked of such counsel, including, but not limited to, with regard to the meaning and effect
      of any of the provisions of this Agreement.

              12.     Entire Agreement. This Agreement contains the entire agreement and
      understanding concerning the subject matter of this Agreement, and supersedes and replaces all
      prior negotiations and agreements, written or ora1 and executed or unexecuted, concerning such
      subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
      attorney for any such Party, has made any promise, representation, or warranty, express or
      implied, written or oral, not otherwise contained in this Agreement to induce any Party to
      execute this Agreement. The Parties further acknowledge that they are not executing this
      Agreement in reliance on any promise, representation, or warranty not contained in this
      Agreement, and that any such reliance would be unreasonable. This Agreement wm not be
      waived or modified except by an agreement in writing signed by each Party or duly authorized
      representative of each Party.

              13.    No Party Deemed Drafter. The Parties acknowledge that the terms of this
      Agreement are contractual and are the result of arm's-length negotiations between the Parties
      and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
      of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
      construed against any Party.

            14.    Future Cooperation. The Parties agree to cooperate and execute such further
      documentation as is reasonably necessary to effectuate the intent of this Agreement.

              15.    Counterparts. This Agreement may be executed in counterparts with the same
      force and effect as if executed in one complete document. Each Party's signature hereto will
      signify acceptance of, and agreement to, the terms and provisions contained ie this Agreement.


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    Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
    originals of this Agreement for any purpose.

            16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
    Agreement will be governed by and will be construed according to the laws of the State of New
    York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
    exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
    thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
    Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
    any action to enforce this Agreement, the prevailing party shall be entitled to recover its
    reasonable and necessary attorneys' fees and costs (including experts).

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   IT IS HEREBY AGREED.

                                      HIGHLAND CAPITAL MANAGEMENT, L.P.


                                      By:
                                      Name:   -----1----~"'-="'--"---"'---ll...!...___.,e__i:""-'-">----"'-'---~ ~
                                      Its:


                                      HIGHLAND '.\1t:LT1 STRATEGY CREDIT
                                      FUND,     L.P.   (f/k/a Highland Credit
                                      Opportunities CDO, LP.)


                                      By:
                                      Name:   ----=----===----'--''---""'"'-'--4--+-"'-'------,,----
                                      Its:


                                      HIGHLAND CRF:DIT OPPORTUNITIES COO,
                                      Ltd.




                                      By:
                                      Name:
                                      Its:


                                      STRAND ADVISORS, JNC.


                                      By:
                                      Name: _ _-1-~=---.-.--::=----==-==+~'--- - - - -
                                      Its:




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                                                                  EXECUTION VERSION

                                       UBS SECURITIES LLC


                                       ~~~e: ~
                                       Its:       Authorized Signatory
                                                       r                 •
                                                   ~               .
                                       By:
                                       Name: Eliza eth Kozlows ·
                                       Its:       Authorized Signatory

                                       UBS AG LONDON BRANCH


                                       By;        W~.w, -
                                       Name: William Chandler
                                       Its:  Authorized Signatory

                                       By         {b,",k/1..'!!1i-_,L
                                       Name: ~ e t h Km:lowsi
                                       Its:  Authorized Signatory




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                                                                     EXECUTION VERSION

                                       APPENDIX A
    •   The search parameters (custodians, date ranges, search terms) used to locate the
        documents produced to UBS on February 27, 2021 (and any additional parameters used
        for t!he previous requests from UBS)~
    •   Identity of counsel to, and trustees of, CDO Fund or SOHC;
    •   Current or last effective investment manager agreements for CDO Fund and SOHC,
        including any management fee schedule, and any documentation regarding the
        termination of those agreements;
    •   The tax returns for the CDO Fund and SOHC from 2017-present;
    •   Communications between any employees of Sentinel (or its affiliates) and any
        employees of the HCMLP Parties, CDO Fnnd, SOHC, or any of Dondero, Leventon, or
        Ellington from 2017-present;
    •   Documents or communications regarding or relating to the Purchase Agreement,
        Insurance Policy, or June 30, 2018 Memorandum entitled "Tax Consequences of
        Sentinel Acquisition of HFP/CDO Opportunity Assets" (the "Tax Memo"), including
        without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
        these documents, (iii) board minutes or resolutions regarding or relating to these
        documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
        regarding the asset transfer pursuant to these documents; and (vi) any similar asset
        purchase agreements, capital transfer agreements, or similar agreements;
    •   Documents or communications regarding or relating to the value of any assets
        transferred pursuant to the Insurance Policy or Purchase Agreement, including without
        limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
        present, including documentation supporting the $105,647,679 value of those assets as
        listed in the Tax Memo;
    •   Documents showing the organizational structure of Sentinel and its affiliated entities,
        including information on Dondero's relationship to Sentinel;
    •   Any factual information provided by current or former employees of the HCMLP
        Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
        Agreement, Insurance Policy. Tax Memo, and/or transfer of assets pursuant to those
        documents;
    •   Debtor's settlement agreements with Ellington and Leventon;
    •   Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
        Indenture, dated as of December 20. 2007, among Greenbriar CLO Ltd., Greenbriar
        CLO Corp., and St.ate Street Bank and Trust Company); and
    •   Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
        those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
        owed to the Debtor.




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                                       Hellman & Friedman Seeded Farallon Capital Management
 OUR FOU N DER



      RCTUA'N TO ABOUT (/ABOUT/)




 Warren Hellman: One of the good guys

 Warren Hellman was a devoted family man, highly successful businessman, active philanthropist, dedicated musician, arts patron,
 endurance athlete and all-around good guy. Born in New York City in 1934, he grew up in the Bc1y Area, graduating from the University of
 Californ ia at Berkeley. After serving in the U.S. Army and attending Harvard Business School, Warren began his finance ccreer at Lehman
 Brothers, becoming the youngest partner in the firm's history at age 26 and subsequently serving as President. After a distinguished
 career on Wa ll Street, Warren moved back west and co-founded Hellm,m & Friedman, building it into one of the industry's leading private
 equity firms.



 Warren deeply believed in the power of people to accomp lish incredible thing'> and used his success to improve and enrich the lives of
 countless people. Throughout his 0reer, W;,rren helped found or seed many successful businesses including Matrix Pc1rtners,Jordan
 Management ComF)<lny, Farallon Capital Management and Hall Capital Partners.



 Within the community, Warren and his family were generous supporters of dozens of organizations and 0uses in the arts, public
 education , civic life, and pub lic he;;ilth, induding creating and running the San Francisco Free CHnk. Later in life, Warren became an
 accomp lished 5•string banjo player and found great joy in sharing the love of mu5ic with others. In true form. he made something larger of
 this avocation to benefit others by founding the Hardly Strictly Bluegrass Festival, an aonual three-day, free music festival that draws
 hundred5 of thousands of people together from around the Bay Area.



 An accompll5hed endurance athlete. Warren regularly completed 100-mile runs. horseback rides and combinations of the two. He also
 was an avid skier and national ca liber master ski racer and served as president of the U.S . Ski Team in the late 197Os, and is credited with
 hetping revitalize the sugar Bowl skl resort in the California 5ienras.


 In short, Warren Hellman embodied the ideal of living life to the fullest. He had an active mind and body, and a huge heart. We are lucky
 to call him our founder. Read more about Warren. (https:f/hf.com/wp<ontent/uploads/2O15/O9/Warren-Hellman-News-Release.pdf)




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 https:I/hf.com/Warren-hellmanl                                                                                                                        112




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                                       Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                                             Grosvenor Capital Management




                                                                     In 2007. H&F invested in Grosvenor. one of the worfd's largest c111d mos! diversified independent
                                                                       lternative asset mariagemefllt firms The Com pany offers comprehensi\/'e pub lk and private markets
                                                                    solutions and a broad suite of investment and advisory choices that span hedge funds, private equlty,
                                                                    and various credit and specialty strategies. Gros\/'enor specializes in developing customized
                                                                     tnvestment programs tailored to each cHent's specific investment goals.



                                                                     SECTOR:

                                                                     Financial Services



                                                                    STATUS

                                                                     Past



                                                                     www.gcmlp.com (llttp:/lwww.gcmlp.com)




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                                   CORNER OFFICE



                0                  ICM Grosvenor to Go Public
               Julie Segal         The SS7 bllllon alternatives manager will become a publlc company after merging with a SPAC backed by
                                   Cantor Fitzgerald.

                                   August 03, 2020




                                                                                                                     Chicago, IL !Tim Boyle/Bloombe,gJ




                                   In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                   The Chicago-based alternative investments firm is planning to go public by merging with a
                                   special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                   $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                   investments.


                                   "We have long valued having external shareholders and we wanted to preserve the
                                   accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                   and CEO, said in a statement.


                                   GCM Grosvenor will combine with CF Finance Special Acquisition Corp, a SPAC backed by
                                   Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                   the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                   management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                   has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
 https:f/www.lnsutuUanalinvestor.com/article/h1ms8f4rt98f1g/GCM-Grosvenor-to-Go-Publlc                                                                      1/3




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                                  Fara IIon was a Significant Borrower for Lehman


  Case Study- Large Loan Origination
  Debt origination for an affiliate of Simon Property Group Inc. and Farallon Capital Management

   Date                              Jun~ 2007
                                                   ♦   In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $321
   Asset Class                _ _ _ _R
                                     _e_ta_i_l         million (Lehman portion: $121 million) with JP Morgan to a special purpose affiliate of
   Asset Size                  1,808,506 Sq. Ft.       a joint venture between Simon Property Group Inc ("S imon·') and Farnllon Capital
                                                       1'·1an,,geme111 ("Farallo1i"' ) secured by the shopping center known as Gurnee Mills Mall
   Sponsor         Simon Property Group Inc./
                                                       (the "Property") located in Gurnee, IL .
                  Farallon Capital Management
                                                       The Property consists of a one-story, 200 store discount mega-mall comprised of
   Tnu1saction                       Refinance     •
   Type                                                1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                       Beyond and Kohls among other national retailers. Built in I 991, the Property underwent
   Total Debt    Lehman Brothers: $121 miltion         a $5 million interior renovation in addition to a $71 million redevelopment between 2004
   Amount
                       JP Morgan: $200 million         and 2005. As of March 2007, the Property had a in-line occupancy of 99.5%.


                                                                                   Lehman Brothers Role
                                                   ♦   Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                       Corporation in early 2007 for $25 .25 per common share in cash. The total value of the
                                                       transaction was approximately $1 .64 billion for all of the outstanding common stock, and
                                                       approximately $7.9 billion including asswned debt and preferred equity.
                                                   ♦   Lehman and JP Morgan subsequently co-originated $321 million loan at 79.2% LTV
                                                       based on an appraisal completed in March by Cushman & Wakefield . The Loan was
                                                       used to refinance the indebtedness secured by the Property.

                                                                                   Sponsorship OHnic-w
                                                   ♦   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                       a diversified portfolio of retail destinations including regional shopping malls and
                                                       entertainment centers. They currently own 38 properties in the United States totaling 47
                                                       million square feet.




  LEHMAN BROTHERS                                                       32




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                           Mr. Seery Represented Stonehill While at Sidley


 James P. Seery, Jr.
 John G . Hutchinson
 John 1. Lavelle
 Martin B. Jackson
 Sidley Austin LLP
 787 Seventh A venue
 New York, New York 10019
 (212) 839-5300 (tel)
 (212) 839-5599 (fox)

 Attorneys.for the Steering Group

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- X
 ln re:                                                            Chapter 11

 BLOCKBUSTER INC. , et al.,                                        Case No. 10-14997 (BRL)

                                  Debtors.                         (Jointly Administered)

 --------------------------------------------------- X

   THE BACKSTOP LENDERS' OBJECTION TO THE ~10T ION OF LYME REGIS TO         1




  ABANDON CERTAIN CAUSES OF ACTION OR, IN THE ALTERNATIVE, TO GRANT
   STANDING TO LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE

          1.      The Steering Group of Senior Secured NotehoJders who are Backstop Lenders --

 Icahn Capital LP. Monarch Alternative Capital LP, Owl Creek Asset Management, L.P.,

 Stonehill Capital Management LLC. and Yarde Partners, Inc . (col1ective1y, the "Backstop

 Lenders") -- hereby file this objection (the "Objection") to the Motion of Lyme Regis Partners,

 LLC ("Lyme Regi s") to Abandon Certain Causes of Action or, in the Alternative, to Grant

 Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the "Motion") [Docket No .

 593] .




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  Stonehill Founder (Motulsky) and Grosvenor's G.C. (Nesler) Were Law School Classmates




                   Over 25 years earller_ here is a group at a
                      party. From the left Bob Zinnt Dave
                     Lowenthal, Rory Little, Joe Nesler Jon
                    Polonsky (in front of Joe . John Motul ky
                      and Mark Windfeld-Hansen {behind
                   bottle!) Motulsky circulated this photo at
                            the reunion. Thanks JohnI




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                 Joseph H. Nesler (He/H im)
                 General Counsel
                                                                                           ~e) (           ii   Message )




                        Joseph H. Nesler (He/Him)'                             Ya le Law School

                        3rd
                        General Counsel
                        Wlnnetk       II n JIS     ted Statt:
                        Con t act info

                        500       Jn ect; .... n

                        ( 8 Message )              (More)
                          Open to work
                          Chief Compliance Officer and General Counsel roles
                          See arl details




                        About
                        l have over 38 years of experience representing participants in the investment
                        manag ement industry with resp ect to a wide range of legal and reg ulatory matters,
                        including SEC, DOL, FlNRA, and NFA regulations and examinations.           ... see more




                        Activity
                        522 followers

                        Posts Joseph H. created, shared, or commented on in the last 90 days are displayed
                        here.

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          Joseph H. Nesler (He/Him)
                                                                             (More) ( 6 Message )
          General Counsel
               ---r-~· ·~·. --
                            General Counsel
                            Dalpha Capital Management lLC
                            Aug 2020-Jul 2021 · 1 yr



                            Of Counsel
                            Winston & Strawn LLP
                            Sep 2018- Jul 2020 • 1 yr 11 mos
                            Greater Chicago Area



                            Principal
                            The Law Offices of Joseph H. Nesler, LLC
                            Feb 2016 - Aug 2018 • 2 yrs 7 mos



                            Grosvenor Capital Management, LP.
                            11 yrs 9 mos


                            Independent Consultant to Grosvenor Capital Management,
                            LP.
                            May 2015 - Dec 2015 • 8 mos
                            Chicago, IHinois


                            General Counsel
                            Apr 2004 - Apr 2015 • 11 yrs 1 mo
                            Chicago, Illinois

                            Managing Director. General Counsel and Chief Compliance
                            Officer (April 2004 - April 2015)




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             Investor Communication to Highland Crusader Funds Stakeholders
                                                                                     Alvarez & Marsal
                                                                              Management, LLC 2029 ce,
                                                                                       Pa,k East Su i te 206(
                                                                                             Angeles . CA 9




      July 6. 2021


      Re: Update & Notice of Distribution


      Dear Highland Crusader Funds Stakeholder.

               As you know. in October 2020, the Bankruptcy Court approved a settlement of the
      Redeemer Committee's and the Crusader Funds' claims against Highland Capital Management
      L. P. (''HCM''). as a result of which the Redeemer Committee was allowed a general unsecured
      claim of $137,696.610 against HCM and the Crusader Funds were allowed a general unsecured
      claim of$50,000 against HCM (collectively, the "Claims"). ln addition, as part of the settlement,
      various interests in the Crusader Funds held by HCM and certain of its affiliates are to be
      extinguished (the "Extinguished Interests"). and the Redeemer Committee and the Crusader Funds
      received a general release from HCM and a waiver by HCM of any claim to distributions or fees
      that it might otherwise receive from the Crusader Funds (the "Released Claims" and, collectively
      with the Extinguished Interests. the "Retained Rights").

             A timely appeal of the settlement was taken by UBS (the "UBS Appeal) in the United States
      District Court for the Northern District ofT exas, Dallas Di vision. However. the Bankruptcy Court
      subsequently approved a settlement between HCM and UBS, resulting in dismissal of the UBS
      Appeal with prejudice on June 14, 2021.

             On April 30, 2021 , the Crusader Funds and the Redeemer Committee consummated the sale
      of the Claims against HCM and the majority of the remaining investments held by the Crusader
      Funds to Jessup Holdings LLC ("Jessup") for $78 million in cash. which was paid in full to the
      Crusader Funds at closing. The sale specifically excluded the Crusader Funds' investment in
      Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
      settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
      Retained Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

             The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
      by Alvarez & Marsal CRF Management LLC ("A&M CRF'), as Investment Manager of the
      Crusader Funds, in consultation with the Redeemer Committee. Ultimately, the Crusader Funds
      and the Redeemer Committee entered exclusive negotiations with Jessup. culminating in the sale
      to Jessup.

             A&M CRF. pu rsuant to the Plan and Scheme and with the approval of House Hanover, the
      Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
      from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
      reserves for the Extinguished Claims or the Released Claims. In addition. the distribution will
      include approximately $9.4 million in proceeds that have been redistributed due to the cancellation



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            and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
            OAF and Eames in connection with the Settlement Agreement, resulting in a total gross
            distribution of$87.4 million. Distributions will be based on net asset value as of June 30. 2021.

                   P]ease note that A&M CRF intends to make the distributions by wire transfer no later than
            July 31. 2021. Please confirm your wire instructions on or before J11h· 20. 2021. If there are nny
            revisions to your wire information, please use the attached template to provide SEI and A&M CRF
            your updated information on investor letterhead. This infonnation should be sent on or before July
            20, 2021 to Alvarez & Marsal CRF and SEI at CRFinvestor(dalvarezandmarsal.com and AIFS-
            1S Cmsader@seic.com. respectively.

                  The wire payments will be made to the investor bank account on file with an effective and record
           date of July 1, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
           addresses listed above.




   Sincerely.


   Alvarez & Marsal CRF Management LLC




        Steven Varner
        Managing Director




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                                                                             Alvarez & Marsal CRF
                                                                       Management, LLC 2029 Century
                                                                                Park East Suite 2060 Los
                                                                                      Angeles, CA 90067




July 6, 2021


Re: Update & Notice of Distribution


Dear Highland Crusader Funds Stakeholder,

        As you know, in October 2020, the Bankruptcy Court approved a settlement of the
Redeemer Committee's and the Crusader Funds' claims against Highland Capital Management
L.P. ("HCM"), as a result of which the Redeemer Committee was allowed a general unsecured
claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
claim of $50,000 against HCM (collectively, the "Claims"). In addition, as part of the settlement,
various interests in the Crusader Funds held by HCM and certain of its affiliates are to be
extinguished (the "Extinguished Interests"), and the Redeemer Committee and the Crusader Funds
received a general release from HCM and a waiver by HCM of any claim to distributions or fees
that it might otherwise receive from the Crusader Funds (the "Released Claims" and, collectively
with the Extinguished Interests, the "Retained Rights").

       A timely appeal of the settlement was taken by UBS (the "UBS Appeal) in the United States
District Court for the Northern District of Texas, Dallas Division. However, the Bankruptcy Court
subsequently approved a settlement between HCM and UBS, resulting in dismissal of the UBS
Appeal with prejudice on June 14, 2021.

       On April 30, 2021, the Crusader Funds and the Redeemer Committee consummated the sale
of the Claims against HCM and the majority of the remaining investments held by the Crusader
Funds to Jessup Holdings LLC ("Jessup") for $78 million in cash, which was aid in full to the
Crusader Funds at closing. The sale specifically excluded the Crusader Funds' investment in
Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
Retained Rights. The sale of the Claims and investments was made with no holdbacks or escrows.

       The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
by Alvarez & Marsal CRF Management LLC ("A&M CRF"), as Investment Manager of the
Crusader Funds, in consultation with the Redeemer Committee. Ultimately, the Crusader Funds
and the Redeemer Committee entered exclusive negotiations with Jessup, culminating in the sale
to Jessun .

       A&M CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
from the Jessup transaction ($78 million), net of any applicable tax withholdings and with no
reserves for the Extinguished Claims or the Released Claims. In addition, the distribution will
include approximately $9.4 million in proceeds that have been redistributed due to th      ·
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        and extinguishment of the interests and shares in the Crusader Funds held by HCM, Charitable
        DAF and Eames in connection with the Settlement Agreement, resulting in a total gross
        distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 2021.

               Please note that A&M CRF intends to make the distributions by wire transfer no later than
        July 31, 2021. Please confirm your wire instructions on or before July 20, 2021. If there are any
        revisions to your wire information, please use the attached template to provide SEI and A&M CRF
        your updated information on investor letterhead. This information should be sent on or before July
        20, 2021 to Alvarez & Marsal CRF and SEI at CRFinvestor@alvarezandmarsal.com and AIFS-
        IS Crusader@seic.com, respectively.

              The wire payments will be made to the investor bank account on file with an effective and record
       date of July 1, 2021. Should you have any questions, please contact SEI or A&M CRF at the e-mail
       addresses listed above.



Sincerely,


Alvarez & Marsal CRF Management, LLC


By:=--~===
 Steven Varner
 Managing Director




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On investor letterhead, please use the template below to provide Alvarez & Marsal CRF
Management, LLC and SEI your updated wire information.


  Information Needed                                  Wire Information Input
  Investor name (as it reads on monthly statements)

  Fund( s) Invested

  Contact Information (Phone No. and Email)

  Updated Wire Information
   • Beneficiary Bank
   • Bank Address
   • Beneficiary (Account) Name
   • ABA/Routing #
   • Account#
   • SWIFT Code
  International Wires
    • Correspondent Bank
    • ABA/Routing #
    • SWIFT Code




Signed By: _ _ _ _ _ _ _ _ _ _ _ __                               Date:




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                         Exhibit 3




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                               CAUSE NO. DC-23-01004

 IN RE:                                     §            IN THE DISTRICT COURT
                                            §
 HUNTER MOUNTAIN                            §
 INVESTMENT TRUST                           §             191ST JUDICIAL DISTRICT
                                            §
        Petitioner,                         §
                                            §            DALLAS COUNTY, TEXAS


                      DECLARATION OF JAMES DONDERO

STATE OF TEXAS             §
                           §
COUNTY OF DALLAS           §

       The undersigned provides this Declaration pursuant to Texas Civil Practice &

Remedies Code § 132.001 and declares as follows:

   1. My name is James Dondero. I am over twenty-one (21) years of age. I am of sound
      mind and body, and I am competent to make this declaration. The facts stated
      within this declaration are based upon my personal knowledge and are true and
      correct.

   2. I previously served as the Chief Executive Officer (“CEO”) of Highland Capital
      Management, L.P. (“HCM”). Jim Seery succeeded me in this capacity following
      the entry of various orders in the bankruptcy proceedings styled In re Highland
      Capital Management, L.P., Case No. 19-34054 (“HCM Bankruptcy Proceedings”).

   3. On December 17, 2020, I sent an email to employees at HCM, including the then
      Chief Executive Officer and Chief Restructuring Officer Jim Seery, containing non-
      public information regarding Amazon and Apple’s interest in acquiring MGM. I
      became aware of this information due to my involvement as a member of the
      board of MGM. My purpose was to alert Mr. Seery and others that MGM stock,
      which was owned either directly or indirectly by HCM, should be on a restricted
      list and not be involved in any trades. A true and correct copy of this email is
      attached hereto as Exhibit “1”.




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   4. In late Spring of 2021, I had phone calls with two principals at Farallon Capital
      Management, LLC (“Farallon”), Raj Patel and Michael Linn. During these phone
      calls, Mr. Patel and Mr. Linn informed me that Farallon had a deal in place to
      purchase the Acis and HarbourVest claims, which I understood to refer to claims
      that were a part of settlements in the HCM Bankruptcy Proceedings. Mr. Patel and
      Mr. Linn stated that Farallon agreed to purchase these claims based solely on
      conversations with Mr. Seery because they had made significant profits when Mr.
      Seery told them to purchase other claims in the past. They also stated they were
      particularly optimistic because of the expected sale of MGM.

   5. During one of these calls involving Mr. Linn, I asked whether they would sell the
      claims for 30% more than they had paid. Mr. Linn said no because Mr. Seery said
      they were worth a lot more. I asked Mr. Linn if he would sell at any price and he
      said that he was unwilling to do so. I believe these conversations with Farallon
      were taped by Farallon.

   6. My name is James Dondero, my date of birth is June 29, 1962, and my address is
      3807 Miramar Ave., Dallas, Texas 75205, United States of America. I declare under
      penalty of perjury that the foregoing is true and correct.




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                         FURTHER DECLARANT SAYETH NOT.

                               Executed in Dallas County, State of Texas, o   \S~ay of February 2023.
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                                                          JAMES DONDERO
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       From: Jim Dondero <JDondero@higblandcapital.com>
          To: Thomas Surgent <TSurgent@HigblandCapital.com>~ Jim Seery <jpseeryjr@gmail.com>,
              Scott Ellington <SEllington@HighlandCapital.com>, "Joe Sowint'
              <JSowin@HigblandCapital.com>, Jason Post <JPost@NexpointAdvisors.com>
          Cc: "D. Lynn (\"Judge Lynn\")" <michael.lynn@bondsellis.com>, Bryan Assink
              <bryan.assink@bondsellis.com>
     Subject: Trading restriction re MGM - material non public information
        Date: Thu, 17 Dec 2020 14:14:39 -0600
  Importance: Normal



Just got off a pre board call, board call at 3:00. Update is as follows: Amazon and Apple actively diligencing
in Data Room. Both continue to express material interest.
Probably first quarter event, will update as facts change. Note also any sales are subject to a shareholder
agreement.

Sent from my iPhone




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                         Exhibit 4




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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 Inre:                                        §
                                              §
 HIGHLAND CAPITAL                             §   Chapterll
 MANAGEMENT, L.P.                             §
                                              §   Case No. 19-34054-sgjll
 Debtor.                                      §



                      DECLARATION OF SAWNIE A. MCENTIRE

STATE OF TEXAS               §
                             §
COUNTY OF DALLAS             §


         The undersigned provides this Declaration pursuant to 28 U.S.C. 1746 and declares

as follows:

   1. My name is Sawnie A. McEntire. I am over 21 years of age. I am of sound mind
      and body and I am competent to make this declaration. Unless otherwise,
      indicated, the facts stated within this declaration are based upon my personal
      knowledge and are true and correct.

   2. I am a licensed attorney in good standing with the State Bar of Texas. I am a
      Director and Shareholder at the firm Parsons McEntire McCleary PLLC. I serve as
      lead counsel for Hunter Mountain Investment Trust ("HMIT") in these
      proceedings in regard to the motion described in Paragraph 3 below. I also served
      as lead counsel for HMIT in Rule 202 Proceedings filed in the 191 st District Court
      of Dallas County, Texas, Cause No. DC-23-01004 ("Rule 202 Proceedings").

   3. I submit this declaration in support of HMIT' s Emergency Motion for Leave to File
      Adversary Proceeding ("Emergency Motion") to which this Declaration is
      attached.




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      4. On January 20, 2023, HMIT filed its Verified Rule 202 Petition in the 191 st District
         Court of Dallas County, Texas, Cause No. DC-23-01004. A true and correct copy
         of HMIT' s Verified Rule 202 Petition, with accompanying exhibits, is attached
         to this declaration as Exhibit 4-A.

      5. HMIT served notice of the Rule 202 Petition and hearing on Farallon Capital
         Management, LLC ("Farallon"), Stonehill Capital Management, LLC ("Stonehill"),
         Muck Holdings LLC ("Muck"), and Jessup Holdings LLC ("Jessup") in February
         2023. Farallon and Stonehill entered an appearance, responded to the proceedings,
         and were represented by David Shulte of the law firm of Holland & Knight.
         Among other things, the Rule 202 Petition sought discovery related to Farallon
         and Stonehill' s due diligence, if any, concerning the sale and transfer of four
         allowed bankruptcy claims in the above-referenced bankruptcy proceedings from
         the Redeemer Committee/Crusader Fund, Ads, HarbourVest, and UBS
         (collectively the "Claims") in April and August of 2021. 1

      6.    On February 22, 2023, HMIT's Verified Rule 202 Petition was heard by the
           Honorable Gena Slaughter of the 191 st District Court of Dallas County, Texas. A
           true and correct copy of the Hearing Transcript of the Rule 202 Proceedings on
           February 22, 2023, is attached to this declaration as Exhibit 4-B ("Transcript'). At
           this hearing, I argued on behalf of HMIT and Mr. Shulte argued on behalf of
           Farallon and Stonehill. During this hearing, Farallon and Stonehill admitted they
           acquired the Claims through their respective "special purpose entities," as
           reflected in the Transcript. Farallon resisted the requested discovery in the state
           district court.

      7. A true and correct copy of a certified copy of Muck's formation papers in the State
         of Delaware, showing Muck was created on March 9, 2021, is attached to this
         Declaration as Exhibit 4-D. A true and correct copy of a certified copy of Jessup's
         formation papers in Delaware, showing Jessup was created on April 8, 2021, is
         attached to this Declaration as Exhibit 4-E. Muck and Jessup' s corporate formation
         documents do not identify their respective members or managing members. See
         Exhibit 4-D and 4-E.

      8. On March 8, 2023, the state district court denied and dismissed HMIT' s Verified
         Rule 202 Petition. This ruling was necessarily without prejudice. A true and correct
         copy of the related Order, dated March 8, 2023, is attached to this declaration as
         Exhibit 4-C.



1   See Notices of Transfers [Docs. 2211, 2212, 2261, 2262, 2263, 2215, 2697, 2698].


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   9. On March 9, 2023, my law partner, Roger McCleary sent correspondence to Mr.
      Schulte, as Farallon and Stonehill's counsel, requesting disclosure of the details of
      their respective legal relationships to Muck and Jessup. Farallon and Stonehill
      never responded to this inquiry. A true and correct copy of this email
      correspondence, dated March 9, 2023, is attached to this declaration as Exhibit 4-
      F.

   10. I declare under the penalty of perjury that the foregoing is true and correct.
       Executed on March 27, 2023.

FURTHER DECLARANT SAYETH NOT.                                 ~~

      Executed in Dallas County, State of Texas, on the X<lay of March 2023.




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                      Exhibit 4-A




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                                                     6 of 136 Appeal Page 283        of 418DISTRICT CLERK
                                                                                        DALLAS CO., TEXAS
                                                                                     Stephanie Clark DEPUTY
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                           CAUSE NO. ___________________

 IN RE:                                     §             IN THE DISTRICT COURT
                                            §        191st
 HUNTER MOUNTAIN                            §
 INVESTMENT TRUST                           §            ____th JUDICIAL DISTRICT
                                            §
        Petitioner,                         §
                                            §              DALLAS COUNTY, TEXAS

            PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST’S
                        VERIFIED RULE 202 PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       Petitioner, Hunter Mountain Investment Trust (“HMIT”), files this Verified

Petition (“Petition”) pursuant to Rule 202 of the Texas Rules of Civil Procedure, seeking

pre-suit discovery from Respondent Farallon Capital Management, LLC (“Farallon”) and

Respondent     Stonehill   Capital   Management,     LLC     (“Stonehill”)   (collectively

“Respondents”), to allow HMIT to investigate potential claims against Respondents and

other potentially adverse entities, and would respectfully show:

                                       PARTIES

       1.     HMIT is a Delaware statutory trust that was the largest equity holder in

Highland Capital Management, L.P. (“HCM”), holding a 99.5% limited partnership

interest. HCM filed chapter 11 bankruptcy proceedings in 2019 and, as a result of these




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proceedings, 1 HMIT held a Class 10 claim which, post-confirmation, was converted to a

Contingent Trust Interest in HCM’s post-reorganization sole limited partner.

        2.      Farallon is a Delaware limited liability company with its principal office in

California, which is located at One Maritime Plaza, Suite 2100, San Francisco, CA 94111.

        3.      Stonehill is a Delaware limited liability company with its principal office in

New York, which is located at 320 Park Avenue, 26th Floor, New York, NY 10022.

                                  VENUE AND JURISDICTION

        4.      Venue is proper in Dallas County, Texas, because all or substantially all of

the events or omissions giving rise to HMIT’s potential common law claims occurred in

Dallas County, Texas. In the event HMIT elects to proceed with a lawsuit against Farallon

and Stonehill, venue of such proceedings will be proper in Dallas County, Texas.

        5.      This Court has jurisdiction over the subject matter of this Petition pursuant

to Texas Rule of Civil Procedure 202. 2 The amount in controversy of any potential claims

against Farallon or Stonehill far exceeds this Court’s minimum jurisdictional

requirements. Without limitation, HMIT specifically seeks to investigate potentially

actionable claims for unjust enrichment, imposition of a constructive trust with




1 These proceedings were initially filed in Delaware but were ultimately transferred to and with venue in
the U.S. Bankruptcy Court for the Northern District of Texas.
2 The discovery relief requested in this Petition does not implicate the HCM bankruptcy court’s jurisdiction.

Furthermore, this Rule 202 Petition is not subject to removal because there is no amount in actual
controversy and there is no cause of action currently asserted.


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disgorgement, knowing participation in breaches of fiduciary duty, and tortious

interference with business expectancies.

       6.    This Court has personal jurisdiction over the Respondents from which

discovery is sought because both Farallon and Stonehill are doing business in Texas

under Texas law including, without limitation, TEX. CIV. PRAC. & REM. CODE §17.042.

Consistent with due process, Respondents have established minimum contacts with

Texas, and the assertion of personal jurisdiction over Respondents complies with

traditional notions of fair play and substantial justice. HMIT’s potential claims against

Respondents arise from and/or relate to Farallon’s and Stonehill’s contacts in Texas.

Respondents also purposefully availed themselves of the privilege of conducting

business activities within Texas, thus invoking the benefits and protections of Texas law.

                                      SUMMARY

       7.    HMIT seeks to investigate potential claims relating to the sale and transfer

of large, unsecured creditors’ claims in HCM’s bankruptcy to special purpose entities

affiliated with and/or controlled by Farallon and Stonehill (the “Claims”). Upon

information and belief, Farallon and Stonehill historically had and benefited from close

relationships with James Seery (“Seery”), who was serving as HCM’s Chief Executive

Officer (“CEO”) and Chief Restructuring Officer (“CRO”) at the time of the Claims

purchases. Furthermore, still upon information and belief, because Farallon and Stonehill

acquired or controlled the acquisition of the Claims under highly questionable



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circumstances. HMIT seeks to investigate whether Respondents received material non-

public information and were involved in insider trading in connection with the

acquisition of the Claims.

       8.     The pre-suit discovery which HMIT seeks is directly relevant to potential

claims, and it is clearly appropriate under Rule 202.1(b). HMIT anticipates the institution

of a future lawsuit in which it may be a party due to its status as a stakeholder as former

equity in HCM or in its current capacity as a Contingent Trust Interest holder, as well as

under applicable statutory and common law principles relating to the rights of trust

beneficiaries. In this context, HMIT may seek damages on behalf of itself or, alternatively,

in a derivative capacity and without limitation, for damages or disgorgement of monies

for the benefit of the bankruptcy estate.

       9.     HMIT currently anticipates a potential lawsuit against Farallon and

Stonehill as defendants and, as such, Farallon and Stonehill have adverse interests to

HMIT in connection with the anticipated lawsuit. The addresses and telephone numbers

are as follows: Farallon Capital Management LLC, One Maritime Plaza, Suite 2100, San

Francisco, CA 94111, Telephone: 415-421-2132; Stonehill Capital Management, LLC, 320

Park Avenue, 26th Floor, New York, NY 10022, 212-739-7474 . Additionally, the following

parties also may be parties with adverse interests in any potential lawsuit: Muck

Holdings LLC, c/o Crowell & Moring LLP, Attn: Paul B. Haskel, 590 Madison Avenue,

New York, NY 10022, 212-530-1823; Jessup Holdings LLC, c/o Mandel, Katz and Brosnan



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LLP, Attn: John J. Mandler, 100 Dutch Hill Road, Suite 390, Orangeburg, NY 10962, 845-

6339-7800.

                                          BACKGROUND 3

A.      Procedural Background

        10.     On or about October 16, 2019, HCM filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code in Delaware Bankruptcy Court, which was later

transferred to the Northern District of Texas Bankruptcy Court, Dallas Division, on

December 4, 2019.

        11.     On October 29, 2019, the U.S. Trustee’s office appointed a four-member

Unsecured Creditors Committee (“UCC”) consisting of three judgment creditors—the

Redeemer Committee, which is a committee of investors in an HCM-affiliated fund

known as the Crusader Fund that obtained an arbitration award against HCM in the

hundreds of millions of dollars; Acis Capital Management, L.P. and Acis Capital

Management GP LLC (collectively “Acis”); and UBS Securities LLC and UBS AG London

Branch (collectively “UBS”) - and an unpaid vendor, Meta-E Discovery.

        12.     Following the venue transfer to Texas on December 27, 2019, HCM filed its

Motion of the Debtor for Approval of Settlement with the Official Committee of Unsecured

Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary



3All footnote references to evidence involve documents filed in the HCM bankruptcy proceedings and are
cited by “Dkt.” reference. HMIT asks the Court to take judicial notice of the documents identified by these
docket entries.


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Course (“HCM’s Governance Motion”). 4 On January 9, 2020, the Court signed an order

approving HCM’s Settlement Motion (the “Governance Order”). 5

       13.     As part of the Governance Order, an independent board of directors—

which included Seery as one of the UCC’s selections—was appointed to the Board of

Directors (the “Board”) of Strand Advisors, Inc., (“Strand Advisors”) HCM’s general

partner. Following the approval of the Governance Order, the Board then appointed

Seery as HCM’s Chief Executive Officer (“CEO”) and Chief Restructuring Officer

(“CRO”) in place of the previous CEO. 6 Seery currently serves as Trustee of the Claimant

Trust (HCM’s sole post-reorganization limited partner) and, upon information and belief,

continues to serve as CEO of HCM following the effective date of the HCM bankruptcy

reorganization plan (“Plan”). 7

B.     Seery’s Relationships with Stonehill and Farallon

       14.     Farallon and Stonehill are two capital management firms (similar to HCM)

that, upon information belief, have long-standing relationships with Seery. Upon

information and belief, they eventually participated in, directed and/or controlled the

acquisition of hundreds of millions of dollars of unsecured Claims in HCM’s bankruptcy

on behalf of funds which they manage. It appears they did so without any meaningful




4 Dkt. 281.
5 Dkt. 339.
6 Dkt. 854, Order Approving Retention of Seery as CEO/CRO.

7 See Dkt. 1943, Order Approving Plan, p. 34.




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due diligence, much less reasonable due diligence, and ostensibly based their investment

decisions only on Seery’s input.

       15.     Upon information and belief, Seery historically has had a substantial

business relationship with Farallon and he previously served as legal counsel to Farallon

in other matters. Upon information and belief, Seery also has had a long-standing

relationship with Stonehill. GCM Grosvenor, a global asset management firm, held four

seats on the Redeemer Committee 8 (an original member of the Unsecured Creditors

Committee in HCM’s bankruptcy). Upon information and belief, GCM Grosvenor is a

significant investor in Stonehill and Farallon. Grosvenor, through Redeemer, also played

a large part in appointing Seery as a director of Strand Advisors and approved his

appointment as HCM’s CEO and CRO.

C.     Claims Trading

       16.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained

bankruptcy court approval of settlements with Redeemer, Acis, UBS, and another major

creditor, HarbourVest 9 (the “Settlements”) (Redeemer, Acis, UBS, and HarbourVest are

collectively the “Settling Parties”), resulting in the following allowed claims: 10




8 Declaration of John A. Morris [Dkt. 1090], Ex. 1, pp. 15.
9 “HarbourVest” collectively refers to HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF
L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest
Skew Base AIF L.P., and HarbourVest Partners L.P.
10 Orders Approving Settlements [Dkt. 1273, Dkt. 1302, Dkt. 1788, Dkt. 2389].




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                       Creditor             Class 8       Class 9
                       Redeemer             $137 mm       $0 mm
                       Acis                 $23 mm        $0 mm
                       HarbourVest          $45 mm        $35 mm
                       UBS                  $65 mm        $60 mm

        17.     Although these Settlements were achieved after years of hard-fought

litigation, 11 each of the Settling Parties curiously sold their claims to Farallon or Stonehill

(or affiliated special purpose entities) shortly after they obtained court approval of their

Settlements. One of these “trades” occurred within just a few weeks before the Plan’s

Effective Date. 12 Upon information and belief, Farallon and Stonehill coordinated and

controlled the purchase of these Claims through special purpose entities, Muck Holdings,

LLC (“Muck”) and Jessup Holdings, LLC (“Jessup”) (collectively “SPEs”). 13 Upon

information and belief, both of these SPEs were created on the eve of the Claims

purchases for the ostensible purpose of taking and holding title to the Claims.

        18.     Upon information and belief, Farallon and Stonehill directed and controlled

the investment of over $160 million dollars to acquire the Claims in the absence of any

publicly available information that could rationally justify this substantial investment.

These “trades” are even more surprising because, at the time of the confirmation of

HCM’s Plan, the Plan provided only pessimistic estimates that these Claims would ever

receive full satisfaction:



11 Order Confirming Plan, pp. 9-11.
12 Dkt. 2697, 2698.
13 See Notice of Removal [Dkt 2696], ¶ 4.




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             a. HCM’s Disclosure Statement projected payment of 71.32% of
                Class 8 claims, and 0% of claims in Classes 9-11; 14

                 i. This meant that Farallon and Stonehill invested more than
                    $163 million in Claims when the publicly available
                    information indicated they would receive $0 in return on their
                    investment as Class 9 creditors and substantially less than
                    par on their Class 8 Claims.

             b. In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                the amount of Class 8 claims expected to be paid dropped even
                further from 71% to 54% (down approximately $328.3 million); 15

             c. From October 2019, when the original Chapter 11 Petition was
                filed, to January 2021, just before the Plan was confirmed, the
                valuation of HCM’s assets dropped over $200 million from $566
                million to $328.3 million; 16

             d. Despite the stark decline in the valuation of the HCM bankruptcy
                estate and reduction in percentage of Class 8 Claims expected to
                be satisfied, Stonehill, through Jessup, and Farallon, through
                Muck, nevertheless purchased the four largest bankruptcy claims
                from the Redeemer Committee/Crusader Fund, Acis,
                HarbourVest, and UBS (collectively the “Claims”) in April and
                August of 2021 17 in the combined amount of approximately $163
                million; and

             e. Upon information and belief:

                 i. Stonehill, through an SPE, Jessup, acquired the Redeemer
                    Committee’s claim for approximately $78 million; 18




14 Dkt. 1875-1, Plan Supplement, Exh. A, p. 4.
15 Dkt. 2949.
16 Dkt 1473, Disclosure Statement, p. 18.

17 Notices of Transfers [Dkt. 2211, 2212, 2261, 2262, 2263, 2215, 2697, 2698].

18 July 6, 2021 Letter from Alvarez & Marsal CRF Management, LLC to Highland Crusader Funds

Stakeholders.


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                   ii. The $23 million Acis claim 19 was sold to Farallon/Muck for
                       approximately $8 million;

                  iii. HarbourVest sold its combined approximately $80 million in
                       claims to Farallon/Muck for approximately $27 million; and

                  iv. UBS sold its combined approximately $125 million in claims
                      for approximately $50 million to both Stonehill/Jessup and
                      Farallon/Muck at a time when the total projected payout was
                      only approximately $35 million.

       19.     In Q3 2021, just over $6 million of the projected $205 million available to

satisfy general unsecured claims was disbursed. 20 No additional distributions were made

to general unsecured claimholders until, suddenly, in Q3 2022 almost $250 million was

paid toward Class 8 general unsecured claims—$45 million more than was ever

projected. 21 According to HCM’s Motion for Exit Financing, 22 and a recent motion filed

by Dugaboy Investment Trust, 23 there remain substantial assets to be monetized for the

benefit of HCM’s creditors. Thus, upon information and belief, the funds managed by

Stonehill and Farallon stand to realize significant profits on their Claims purchases. In

turn, upon information and belief, Stonehill and Farallon will garner (or already have

garnered) substantial fees – both base fees and performance fees – as the result of their

acquiring and/or managing the purchase of the Claims.



19 Seery/HCM have argued that $10 million of the Acis claim is self-funding. Dkt. 1271, Transcript of
Hearing on Motions to Compromise Controversy with Acis Capital Management [1087] and the Redeemer
Committee of the Highland Crusader Fund [1089], p. 197.
20 Dkt. 3200.

21 Dkt. 3582.

22 Dkt. 2229.

23 Dkt. 3382.




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D.      Material Information is Not Disclosed

        20.     Bankruptcy Rule 2015.3 requires debtors to “file periodic financial reports

of the value, operations, and profitability of each entity that is not a publicly traded

corporation or a debtor in a case under title 11, and in which the estate holds a substantial

or controlling interest.” No public reports required by Rule 2015.3 were filed. Seery

testified they simply “fell through the cracks.” 24

        21.     As part of the HarbourVest Settlement, Seery negotiated the purchase of

HarbourVest’s interest in HCLOF for approximately $22.5 million as part of the

transaction. 25 Approximately 19.1% of HCLOF’s assets were comprised of debt and

equity in Metro-Goldwyn-Mayer Studios, Inc. (“MGM”). The HCLOF interest was not to

be transferred to HCM for distribution as part of the bankruptcy estate, but rather to “to

an entity to be designated by the Debtor”—i.e., one that was not subject to typical

bankruptcy reporting requirements. 26

        22.     Six days prior to the filing of the motion seeking approval of the

HarbourVest Settlement, upon information and belief, it appears that Seery may have

acquired material non-public information regarding Amazon’s now-consummated

interest in acquiring MGM, 27 yet there is no record of Seery’s disclosure of such




24 Dkt. 1905, February 3, 2021 Hearing Transcript, 49:5-21.
25 Dkt. 1625, p. 9, n. 5.
26 Dkt. 1625.

27 Dkt. 150-1.




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information to the Court, HCM’s creditors, or otherwise. Upon the receipt of this material

non-public information, HMIT understands, upon information and belief, that MGM was

supposed to be placed on HCM’s “restricted list,” but Seery nonetheless continued to

move forward with deals that involved MGM assets. 28

        23.     As HCM additionally held its own direct interest in MGM, 29 the value of

MGM was of paramount importance to the value of HCM’s bankruptcy estate. HMIT

believes, upon information and belief, that Seery conveyed material non-public

information regarding MGM to Stonehill and Farallon as inducement to purchase the

Claims.

E.      Seery’s Compensation

        24.     Upon information and belief, a component of Seery’s compensation is a

“success fee” that depends on the actual liquidation of HCM’s bankruptcy estate assets

versus the Plan projections. As current holders of the largest claims against the HCM

estate, Muck and Jessup, the SPEs apparently created and controlled by Stonehill and

Farallon, were installed as two of the three members of an Oversight Board in charge of

monitoring the activities of HCM, as the Reorganized Debtor, and the Claimant Trust. 30

Thus, along with a single independent restructuring professional, Farallon and




28 See Dkt. 1625, Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim
Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith, filed December 23, 2020
29 Motion for Exit Financing.[Dkt.2229]

30 Dkt. 2801.




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Stonehill’s affiliates oversee Seery’s go-forward compensation, including any “success”

fee. 31

                                     DISCOVERY REQUESTED

          25.      HMIT seeks to investigate whether Farallon and Stonehill received material

non-public information in connection with, and as inducement for, the negotiation and

sale of the claims to Farallon and Stonehill or its affiliated SPEs. Discovery is necessary to

confirm or deny these allegations and expose potential abuses and unjust enrichment.

          26.      The requested discovery from Farallon is attached as Exhibit “A”, and

includes the deposition of one or more of its corporate representatives and the production

of documents. The requested discovery from Stonehill is attached as Exhibit “B”, and

includes the deposition of Stonehill’s corporate representative(s) and the production of

documents.

          27.      Pursuant to Rule 202.2(g), the requested discovery will include matters that

will allow HMIT to evaluate and determine, among other things:

                a. The substance and types of information upon which Stonehill
                   and Farallon relied in making their respective decisions to
                   invest in or acquire the Claims;

                b. Whether Farallon and Stonehill conducted due diligence, and
                   the substance of any due diligence when evaluating the
                   Claims;




31   Claimant Trust Agreement [Dkt. 1656-2].


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          c. The extent to which Farallon and Stonehill controlled the
             SPEs, Muck and Jessup, in connection with the acquisition of
             the Claims;

          d. The creation and organizational structure of Farallon,
             Stonehill, Muck, and Jessup, as well as the purpose of creating
             Muck and Jessup as SPEs to hold the Claims;

          e. Any internal valuations of Muck or Jessup’s net asset value
             (NAV);

          f. Any external valuation or audits of the NAV attributable to
             the Claims;

          g. Any documents reflecting expected profits from the purchase
             of the Claims;

          h. All communications between Farallon and Seery concerning
             the value and purchase of the Claims;

          i. All communications between Stonehill and Seery concerning
             the value and purchase of the Claims;

          j.   All documents reflecting the expected payout on the Claims;

          k. All communications between Farallon or Stonehill and
             HarbourVest concerning the purchase of the Claims;

          l. All communications between Farallon or Stonehill and Acis
             regarding the purchase of the Claims;

          m. All communications between Farallon or Stonehill and UBS
             regarding the purchase of the Claims;

          n. All communications between Farallon or Stonehill and The
             Redeemer Committee regarding the purchase of the Claims;

          o. All communications between Farallon            and   Stonehill
             regarding the purchase of the Claims;



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             p. All communications between Farallon and Stonehill and
                investors in their respective funds regarding purchase of the
                Claims or valuation of the Claims;

             q. All communications between Seery and Stonehill or Farallon
                regarding Seery’s compensation as the Trustee of the
                Claimant Trust;

             r. All documents relating to, regarding, or reflecting any
                agreements between Seery and the Oversight Committee
                regarding compensation;

             s. All documents reflecting the base fees and performance fees
                which Stonehill has received or may receive in connection
                with management of the Claims;

             t. All documents reflecting the base fees and performance fees
                which Farallon has received or may receive in connection
                with management of the Claims;

             u. All monies received by and distributed by Muck in
                connection with the Claims;

             v. All monies received by and distributed by Jessup in
                connection with the Claims;

             w. All documents reflecting whether Farallon is a co-investor in
                any fund which holds an interest in Muck; and

             x. All documents reflecting whether Stonehill is a co-investor in
                any fund which holds an interest in Jessup.

                          BENEFIT OUTWEIGHS THE BURDEN

       28.      The beneficial value of the requested discovery greatly outweighs any

conceivable burden that could be placed on the Respondents. The requested information




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also should be readily available because the Respondents have been engaged in the

bankruptcy proceedings relating to the matters at issue for several years.

       29.    The important benefit associated with this requested discovery is also clear

– it is reasonably calculated to determine whether the Respondents have unjustly

garnered tens of millions of dollars of benefit based upon insider information. If this

occurred, the monies received as a result of such conduct are properly subject to a

constructive trust and disgorged. This would result in substantial funds available for

other creditors, including those creditors in Class 10, which includes HMIT as a

beneficiary. This significant benefit, in addition to the value of bringing proper light to

the activities of Farallon and Stonehill as discussed in this petition, far outweighs any

purported burden associated with requiring Respondents to sit for focused depositions

concerning the topics and documents identified in Exhibits A and B.

                       REQUEST FOR HEARING AND ORDER

       30.    After service of this Petition and notice, Rule 202.3(a) requires the Court to

hold a hearing on this Petition.

                                   PRAYER FOR RELIEF

       31.    Petitioner Hunter Mountain Investment Trust respectfully requests that the

Court issue an order pursuant to Texas Rule of Civil Procedure 202 authorizing HMIT to

take a deposition of designated representatives of Farallon Capital Management, LLC

and Stonehill Capital Management, LLC. HMIT additionally requests authorization to



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issue subpoenas duces tecum compelling the production of documents in connection

with the depositions in compliance with Tex. R. Civ. P. 205, and asks that the Court grant

HMIT all such other and further relief to which it may be justly entitled.

                                                 Respectfully Submitted,

                                                 PARSONS MCENTIRE MCCLEARY
                                                 PLLC

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                                                     Attorneys for Petitioner Hunter
                                                     Mountain Investment Trust




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                                    VERIFICATION

STATE OF TEXAS              §
                            §
COUNTY OF DALLAS            §

Before me, the undersigned notary, on this day personally appeared Mark Patrick, the
affiant, whose identity is known to me. After I administered an oath, affiant testified as
follows:

       "My name is Mark Patrick. I am the Administrator of Hunter Mountain
       Investment Trust, and I am authorized and capable of making this verification. I
       have read Petitioner Hunter Mountain Investment Trust's Verified Rule 202
       Petition ("Petition"). The facts as stated in the Petition are true and correct based
       on my personal knowledge and review of relevant documents in the proceedings


       States Bankruptcy Court in the No~ . . . . /      z as
       styled In re Highland Capital Management, L.P., Case No. 19-34054, in the United
                                                                           Division."


                                          Mark Patrick



Sworn to and subscribed before me by Mark Patr·


                                                                                        DEBORAH COLE
                                          Notary Public in and for                 Notary 10 #134079165
                                                                                   My Commission Expires
                                          the State of Texas                        November 23, 2026




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         Case: 23-10376Doc Document:
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                                      EXHIBIT “A”

                            CAUSE NO. ___________________

 IN RE:                                      §             IN THE DISTRICT COURT
                                             §
 HUNTER MOUNTAIN                             §
 INVESTMENT TRUST                            §            ____th JUDICIAL DISTRICT
                                             §
         Petitioner,                         §
                                             §             DALLAS COUNTY, TEXAS

      NOTICE OF DEPOSITION OF FARALLON CAPITAL MANAGEMENT, LLC

TO:     Farallon Capital Management, LLC, by and through its attorney of record
        _________________.

        PLEASE TAKE NOTICE that, pursuant to Tex. R. Civ. P. 199, 202, and 205,

Petitioner Hunter Mountain Investment Trust (“HMIT”) will take the deposition on oral

examination under oath of Farallon Capital Management, LLC (“Farallon”) on

___________, 2023 at _____ _.m. before a notary public or other person authorized to

administer a proper oath and will be recorded by stenographic means. The deposition

will take place at _________________ before a court reporter and videographer and will

continue from day to day until completed. The deposition may also be recorded by non-

stenographic (videotape) means.

        Please take further notice that, pursuant to Tex. R. Civ. P. 199.2(b), Farallon is

requested to designate one or more person(s) most knowledgeable and prepared to testify

on behalf of Farallon concerning the topics identified on Exhibit “1”, and to produce the

documents described in Exhibit “2”, attached hereto.



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         Case: 23-10376Doc Document:
Case 19-34054-sgj11                   5 04/05/23
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                                          Respectfully submitted,



                                          Sawnie A. McEntire
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                                          Ian B. Salzer
                                          State Bar No. 24110325
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                                          Roger L. McCleary
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                                          Houston, Texas 77056
                                          Telephone: (713) 960-7315
                                          Facsimile: (713) 960-7347

                                          Attorneys for Petitioner Hunter Mountain
                                          Investment Trust




                              CERTIFICATE OF SERVICE

       I hereby certify that, on January ___, 2023, a true and correct copy of the foregoing
document was served on all known counsel of record in accordance with the Texas Rules
of Civil Procedure.



                                          Sawnie A. McEntire




                                             2                                    Appx_0723
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                   5 04/05/23
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                              EXHIBIT “A”
     TO NOTICE OF DEPOSITION OF FARALLON CAPITAL MANAGEMENT, LLC

       For purposes of the attached Exhibits “1” and “2”, the following rules and
definitions shall apply.

                             RULES OF CONSTRUCTION

1.      The terms “all” and “each” shall be construed as all and each.

2.      The terms “all” and “any” shall be construed as all and any.

3.      The connectives “and” and “or” shall be construed either disjunctively or
        conjunctively as necessary to bring within the scope of the discovery request all
        responses that might otherwise be construed to be outside of its scope.

4.      The use of the singular form of any word includes the plural and vice versa.

                                     DEFINITIONS
       The terms used herein shall have the following meanings unless the context
requires otherwise:

     Acis. The term “Acis” refers to Acis Capital Management, L.P. and Acis Capital
Management GP LLC, collectively.

        Any and all. The terms “any” and “all” should be understood in either the most or
the least inclusive sense as necessary to bring within the scope of the discovery request
all responses that might otherwise be construed to be outside its scope. “Any” includes
the word “all,” and “all” includes the term “any.”

      Bankruptcy Case. The term “Bankruptcy Case” shall mean the Chapter 11
Bankruptcy of Debtor Highland Capital Management, L.P., Case No. 19-34054 in the
United States Bankruptcy Court for the Northern District of Texas.

       Claims. The term “Claims” shall mean the claims against Highland’s Estate
transferred to/acquired by Muck and/or Jessup as evidenced by Bankruptcy Case Dkt.
Nos. 2215, 2261, 2262, 2263, 2697, 2698.

      Communication. The term “communication” means any manner in which the
mental processes of one individual are related to another, including without limitation,
any verbal utterance, correspondence, email, text message, statement, transmission of
information by computer or other device, letters, telegrams, telexes, cables, telephone


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         Case: 23-10376Doc Document:
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conversations, and records or notations made in connection therewith, notes,
memoranda, sound recordings, electronic data storage devices, and any other reported,
recorded or graphic matter or document relating to any exchange of information.

       Concerning. The term “concerning” means reflecting, regarding, relating to,
referring to, describing, evidencing, or constituting.

       Document or documents. The terms “document” or “documents” shall mean
anything that may be considered to be a document or tangible thing within the meaning
of the TEXAS RULES OF CIVIL PROCEDURE, including (without limitation)
Electronically Stored Information and the originals and all copies of any correspondence,
memoranda, handwritten or other notes, letters, files, records, papers, drafts and prior
versions, diaries, calendars, telephone or other message slips, invoices, files, statements,
books, ledgers, journals, work sheets, inventories, accounts, calculations, computations,
studies, reports, indices, summaries, facsimiles, telegrams, telecopied matter,
publications, pamphlets, brochures, periodicals, sound recordings, surveys, statistical
compilations, work papers, photographs, videos, videotapes, drawings, charts, graphs,
models, contracts, illustrations, tabulations, records (including tape recordings and
transcriptions thereof) of meetings, conferences and telephone or other conversations or
communications, financial statements, photostats, e-mails, microfilm, microfiche, data
sheets, data processing cards, computer tapes or printouts, disks, word processing or
computer diskettes, computer software, source and object codes, computer programs and
other writings, or recorded, transcribed, punched, taped and other written, printed,
recorded, digital, or graphic matters and/or electronic data of any kind however
produced or reproduced and maintained, prepared, received, or transmitted, including
any reproductions or copies of documents which are not identical duplicates of the
original and any reproduction or copies of documents of which the originals are not in
your possession, custody or control.

       Electronically Stored Information or ESI. The terms “Electronically Stored Information”
or “ESI” shall mean and include all documents, notes, photographs, images, digital, analog or
other information stored in an electronic medium. Please produce all Documents/ESI in .TIF
format (OCR text, single page). Please also provide a Summation Pro Load File (.dii) respect to all
such Documents/ESI

       Estate. The term “Estate” means HCM’s bankruptcy estate.

        Farallon, you, and your. The terms “Farallon,” “you,” and “your” shall mean
Farallon Capital Management, LLC and its corporate parent, subsidiaries, or affiliates and
entities it manages or operates, including, but not limited to, Muck Holdings, LLC. These
terms also include any owners, partners, shareholders, agents, employees,



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         Case: 23-10376Doc Document:
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representatives, attorneys, predecessors, successors, assigns, related entities, parent
companies, subsidiaries, and/or entities in which Farallon is a general partner or owns an
entities’ general partner, or anyone else acting on Farallon’s behalf, now or at any time
relevant to the response.

       Grosvenor. The term “Grosvenor” refers to Grosvenor Capital Management, L.P.

       HarbourVest. The term “HarbourVest” refers to HarbourVest 2017 Global Fund
L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
Partners L.P., collectively.

       HCM. The term “HCM” refers to debtor Highland Capital Management, L.P.

       Jessup. The term “Jessup” refers to Jessup Holdings, LLC.

       MGM. The term “MGM” refers to Metro-Goldwyn-Mayer Studios, Inc.

       Muck. The term “Muck” shall refer to Muck Holdings, LLC.

       NAV. The term “NAV” means net asset value.

       Oversight Board. The term “Oversight Board” refers to the Claimant Trust
Oversight Committee (a/k/a the Oversight Board of the Highland Claimant Trust) as
identified in Bankruptcy Case Dkt. No. 2801.

      Person. The term “person” is defined as any natural person or any business, legal,
or governmental entity or association.

      Plan. The term “Plan” refers to the Fifth Amended Plan of Reorganization of
Highland Capital Management, L.P. (as Modified).

      Redeemer. The term “Redeemer” means the Redeemer Committee of the Highland
Crusader Funds.

       Seery. The term “Seery” refers to James P. (“Jim”) Seery.

     Settling Parties. The term “Settling Parties” refers to Redeemer, Acis, HarbourVest,
and UBS, collectively.

       Stonehill. The term “Stonehill” refers to Stonehill Capital Management, LLC.

       Strand. The term “Strand” refers to Strand Advisors, Inc.



                                            5                                   Appx_0726
         Case: 23-10376Doc Document:
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        UBS. The term “UBS” refers to UBS Securities LLC and UBS AG London Branch,
collectively.




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         Case: 23-10376Doc Document:
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                                       EXHIBIT “1”

                                  TOPIC CATEGORIES

        The witness(es) designated by Farallon to testify on its behalf is (are) requested to
testify concerning the following Topic Categories:

       a. The substance, types, and sources of information Farallon
          considered in making any decision to invest in any of the Claims
          on behalf of itself, Muck, and/or any fund with which Farallon is
          connected;

       b. Whether Farallon conducted due diligence, and the substance
          and identification of any due diligence (including associated
          documents), when evaluating any of the Claims;

       c. Any and all communications with James Dondero;

       d. The extent to which Farallon was involved in creating and
          organizing Muck in connection with the acquisition of any of the
          Claims;

       e. The organizational structure of Muck (including identification of
          all members, managing members), as well as the purpose for
          creating Muck, including, but not limited to, regarding holding
          title to any of the Claims;

       f. Any internal valuations of Muck’s Net Asset Value (NAV), as
          well as all assets owned by Muck;

       g. Any external valuation or audits of the NAV attributable to any
          of the Claims;

       h. Any documents reflecting profit forecasts relating to any of the
          Claims;

       i. All communications between Farallon and Seery relating to any
          of the Claims;




                                             7                                    Appx_0728
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       j.   All forecasted payout(s) on any of the Claims and all documents
            including or reflecting the same;

       k. All communications between Farallon and any of the Settling
          Parties concerning any of the Claims;

       l. Any negotiations between Farallon and any of the Settling Parties
          concerning any of the Claims;

       m. All communications between Farallon and Stonehill regarding
          any of the Claims;

       n. All communications between Farallon and any investors in any
          fund managed by Farallon regarding any of the Claims or
          valuation of the Claims;

       o. All communications between Seery and Farallon regarding
          Seery’s compensation as Trustee of the Claimant Trust;

       p. All agreements and other communications between Seery and
          the Oversight Committee regarding Seery’s compensation and
          all documents relating to, regarding, or reflecting such
          agreements and other communications;

       q. All base fees and performance fees which Farallon has received
          or may receive in connection with the Claims and all documents
          relating to, regarding, or reflecting the same;

       r. All monies received by Muck in connection with any of the
          Claims and any distributions made by Muck to any members of
          Muck relating to such Claims;

       s. Whether Farallon is a co-investor in any fund which holds an
          interest in Muck or otherwise holds a direct interest in Muck and
          all documents reflecting the same;

       t. All communications between Farallon and any of the following
          entities concerning any of the Claims:

                 i.   UCC;


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               ii.   Highland;
              iii.   Grosvenor;
              iv.    Muck;
               v.    the Oversight Board.
       u. The sources of funds used by Muck for the acquisition of any of
          the Claims;

       v. The terms and conditions of any agreements governing the
          transfers of any of the Claims to Muck;

       w. Representations made by Farallon, Muck, Seery, and/or the
          Settling Parties in connection with the transfer of any of the
          Claims;

       x. Farallon’s valuation or evaluation of HCM’s Estate;

       y. Information learned regarding MGM during the pendency of the
          negotiations relating to the Claims;

       z. The appointment of Muck to the Oversight Board;

       aa. Farallon’s historical relationships and business dealings with
           Seery and Grovesnor;

       bb. Representations made to the bankruptcy court in connection with
           the transfer of any of the Claims to Muck.




                                            9                                Appx_0730
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                                       EXHIBIT “2”

                               DOCUMENT REQUESTS

   1. Any and all documents created by, prepared for, or received by Farallon
      concerning any of the following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;
          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Farallon or Muck prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   2. Any and all communications between Farallon, on the one hand, and any of the
      following individuals or entities: (i) Seery, (ii) the UCC, (iii) the Settling Parties,
      (iv) Stonehill, (vi) Grosvenor, or, (vii) the Oversight Board, concerning any of the
      following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;




                                             10                                   Appx_0731
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          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Farallon or Muck prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   3. All correspondence and/or other documents by or between Farallon and/or Muck
      and any investors in any fund regarding the Claims and/or the acquisition or
      transfer of the Claims.
   4. Any and all documents reflecting the sources of funding used by Muck to acquire
      any of the Claims.
   5. Organizational and formation documents relating to Muck including, but not
      limited to, Muck’s certificate of formation, company agreement, bylaws, and the
      identification of all members and managing members.
   6. Company resolutions prepared by or on behalf of Muck approving the acquisition
      of any of the Claims.
   7. Any and all documents reflecting any internal or external audits regarding Muck’s
      NAV.
   8. Agreements between Farallon and Muck regarding management, advisory, or
      other services provided to Muck by Farallon.
   9. Any and all documents reviewed by Farallon as part of its evaluation and due
      diligence regarding any of the Claims.
   10. Any documents reflecting any communications with James Dondero;
   11. Annual fund audits relating to Muck.



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   12. Muck’s NAV Statements.
   13. Documents reflecting the fees or other compensation earned by Farallon in
       connection with the investment in, acquisition of, transfer of, and/or management
       of any of the Claims.




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                                     EXHIBIT “B”

                           CAUSE NO. ___________________

 IN RE:                                      §             IN THE DISTRICT COURT
                                             §
 HUNTER MOUNTAIN                             §
 INVESTMENT TRUST                            §            ____th JUDICIAL DISTRICT
                                             §
        Petitioner,                          §
                                             §             DALLAS COUNTY, TEXAS

    NOTICE OF DEPOSITION OF STONEHILL CAPITAL MANAGEMENT, LLC

TO:    Stonehill Capital Management, LLC, by and through its attorney of record
       _________________.

       PLEASE TAKE NOTICE that, pursuant to Tex. R. Civ. P. 199, 202, and 205,

Petitioner Hunter Mountain Investment Trust (“HMIT”) will take the deposition on oral

examination under oath of Stonehill Capital Management, LLC (“Stonehill”) on

___________, 2023 at _____ _.m. before a notary public or other person authorized to

administer a proper oath and will be recorded by stenographic means. The deposition

will take place at _________________ before a court reporter and videographer and will

continue from day to day until completed. The deposition may also be recorded by non-

stenographic (videotape) means.

       Please take further notice that, pursuant to Tex. R. Civ. P. 199.2(b), Stonehill is

requested to designate one or more person(s) most knowledgeable and prepared to testify

on behalf of Stonehill concerning the topics identified on Exhibit “1”, and to produce the

documents described in Exhibit “2”, attached hereto.



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         Case: 23-10376Doc Document:
Case 19-34054-sgj11                   5 04/05/23
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                                          Respectfully submitted,



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                                          Roger L. McCleary
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                                          Houston, Texas 77056
                                          Telephone: (713) 960-7315
                                          Facsimile: (713) 960-7347

                                          Attorneys for Petitioner Hunter Mountain
                                          Investment Trust




                              CERTIFICATE OF SERVICE

       I hereby certify that, on January ___, 2023, a true and correct copy of the foregoing
document was served on all known counsel of record in accordance with the Texas Rules
of Civil Procedure.



                                          Sawnie A. McEntire




                                             2                                    Appx_0735
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                   5 04/05/23
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                            EXHIBIT “A”
  TO NOTICE OF DEPOSITION OF STONEHILL CAPITAL MANAGEMENT, LLC

       For purposes of the attached Exhibits “1” and “2”, the following rules and
definitions shall apply.

                            RULES OF CONSTRUCTION

1.     The terms “all” and “each” shall be construed as all and each.

2.     The terms “all” and “any” shall be construed as all and any.

3.     The connectives “and” and “or” shall be construed either disjunctively or
       conjunctively as necessary to bring within the scope of the discovery request all
       responses that might otherwise be construed to be outside of its scope.

4.     The use of the singular form of any word includes the plural and vice versa.

                                    DEFINITIONS
       The terms used herein shall have the following meanings unless the context
requires otherwise:

     Acis. The term “Acis” refers to Acis Capital Management, L.P. and Acis Capital
Management GP LLC, collectively.

        Any and all. The terms “any” and “all” should be understood in either the most or
the least inclusive sense as necessary to bring within the scope of the discovery request
all responses that might otherwise be construed to be outside its scope. “Any” includes
the word “all,” and “all” includes the term “any.”

      Bankruptcy Case. The term “Bankruptcy Case” shall mean the Chapter 11
Bankruptcy of Debtor Highland Capital Management, L.P., Case No. 19-34054 in the
United States Bankruptcy Court for the Northern District of Texas.

       Claims. The term “Claims” shall mean the claims against Highland’s Estate
transferred to/acquired by Muck and/or Jessup as evidenced by Bankruptcy Case Dkt.
Nos. 2215, 2261, 2262, 2263, 2697, 2698.

      Communication. The term “communication” means any manner in which the
mental processes of one individual are related to another, including without limitation,
any verbal utterance, correspondence, email, text message, statement, transmission of
information by computer or other device, letters, telegrams, telexes, cables, telephone


                                            3                                  Appx_0736
         Case: 23-10376Doc Document:
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conversations, and records or notations made in connection therewith, notes,
memoranda, sound recordings, electronic data storage devices, and any other reported,
recorded or graphic matter or document relating to any exchange of information.

       Concerning. The term “concerning” means reflecting, regarding, relating to,
referring to, describing, evidencing, or constituting.

       Document or documents. The terms “document” or “documents” shall mean
anything that may be considered to be a document or tangible thing within the meaning
of the TEXAS RULES OF CIVIL PROCEDURE, including (without limitation)
Electronically Stored Information and the originals and all copies of any correspondence,
memoranda, handwritten or other notes, letters, files, records, papers, drafts and prior
versions, diaries, calendars, telephone or other message slips, invoices, files, statements,
books, ledgers, journals, work sheets, inventories, accounts, calculations, computations,
studies, reports, indices, summaries, facsimiles, telegrams, telecopied matter,
publications, pamphlets, brochures, periodicals, sound recordings, surveys, statistical
compilations, work papers, photographs, videos, videotapes, drawings, charts, graphs,
models, contracts, illustrations, tabulations, records (including tape recordings and
transcriptions thereof) of meetings, conferences and telephone or other conversations or
communications, financial statements, photostats, e-mails, microfilm, microfiche, data
sheets, data processing cards, computer tapes or printouts, disks, word processing or
computer diskettes, computer software, source and object codes, computer programs and
other writings, or recorded, transcribed, punched, taped and other written, printed,
recorded, digital, or graphic matters and/or electronic data of any kind however
produced or reproduced and maintained, prepared, received, or transmitted, including
any reproductions or copies of documents which are not identical duplicates of the
original and any reproduction or copies of documents of which the originals are not in
your possession, custody or control.

       Electronically Stored Information or ESI. The terms “Electronically Stored Information”
or “ESI” shall mean and include all documents, notes, photographs, images, digital, analog or
other information stored in an electronic medium. Please produce all Documents/ESI in .TIF
format (OCR text, single page). Please also provide a Summation Pro Load File (.dii) respect to all
such Documents/ESI

       Estate. The term “Estate” means HCM’s bankruptcy estate.

      Farallon. The term “Farallon,” refers to Farallon Capital Management, LLC and its
corporate parent, subsidiaries, or affiliates and entities it manages or operates, including,
but not limited to, Muck Holdings, LLC. These terms also include any owners, partners,
shareholders, agents, employees, representatives, attorneys, predecessors, successors,



                                                4                                       Appx_0737
         Case: 23-10376Doc Document:
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assigns, related entities, parent companies, subsidiaries, and/or entities in which Farallon
is a general partner or owns an entities’ general partner, or anyone else acting on
Farallon’s behalf, now or at any time relevant to the response.

       Grosvenor. The term “Grosvenor” refers to Grosvenor Capital Management, L.P.

       HarbourVest. The term “HarbourVest” refers to HarbourVest 2017 Global Fund
L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
Partners L.P., collectively.

       HCM. The term “HCM” refers to debtor Highland Capital Management, L.P.

       Jessup. The term “Jessup” refers to Jessup Holdings, LLC.

       MGM. The term “MGM” refers to Metro-Goldwyn-Mayer Studios, Inc.

       Muck. The term “Muck” shall refer to Muck Holdings, LLC.

       NAV. The term “NAV” means net asset value.

       Oversight Board. The term “Oversight Board” refers to the Claimant Trust
Oversight Committee (a/k/a the Oversight Board of the Highland Claimant Trust) as
identified in Bankruptcy Case Dkt. No. 2801.

      Person. The term “person” is defined as any natural person or any business, legal,
or governmental entity or association.

      Plan. The term “Plan” refers to the Fifth Amended Plan of Reorganization of
Highland Capital Management, L.P. (as Modified).

      Redeemer. The term “Redeemer” means the Redeemer Committee of the Highland
Crusader Funds.

       Seery. The term “Seery” refers to James P. (“Jim”) Seery.

     Settling Parties. The term “Settling Parties” refers to Redeemer, Acis, HarbourVest,
and UBS, collectively.

      Stonehill,” “you,” and “your.” The terms “Stonehill”, “you,” and “your” shall mean
Stonehill Capital Management, LLC and its corporate parent, subsidiaries, or affiliates
and entities it manages or operates, including, but not limited to Jessup Holdings, LLC.
These terms also include any owners, partners, shareholders, agents, employees,



                                             5                                    Appx_0738
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representatives, attorneys, predecessors, successors, assigns, related entities, parent
companies, subsidiaries, and/or entities in which Stonehill is a general partner or owns
an entities’ general partner, or anyone else acting on Stonehill’s behalf, now or at any time
relevant to the response .

       Strand. The term “Strand” refers to Strand Advisors, Inc.

        UBS. The term “UBS” refers to UBS Securities LLC and UBS AG London Branch,
collectively.




                                             6                                    Appx_0739
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                                       EXHIBIT “1”

                                  TOPIC CATEGORIES

        The witness(es) designated by Stonehill to testify on its behalf is (are) requested to
testify concerning the following Topic Categories:

       a. The substance, types, and sources of information Stonehill
          considered in making any decision to invest in any of the Claims
          on behalf of itself, Jessup, and/or any fund with which Stonehill
          is connected;

       b. Whether Stonehill conducted due diligence, and the substance
          and identification of any due diligence (including associated
          documents), when evaluating any of the Claims;

       c. Any and all communications with James Dondero;

       d. The extent to which Stonehill was involved in creating and
          organizing Jessup in connection with the acquisition of any of the
          Claims;

       e. The organizational structure of Jessup (including identification
          of all members, managing members), as well as the purpose for
          creating Jessup, including, but not limited to, regarding holding
          title to any of the Claims;

       f. Any internal valuations of Jessup’s Net Asset Value (NAV), as
          well as all assets owned by Jessup;

       g. Any external valuation or audits of the NAV attributable to any
          of the Claims;

       h. Any documents reflecting profit forecasts relating to any of the
          Claims;

       i. All communications between Stonehill and Seery relating to any
          of the Claims;




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       j.   All forecasted payout(s) on any of the Claims and all documents
            including or reflecting the same;

       k. All communications between Stonehill and any of the Settling
          Parties concerning any of the Claims;

       l. Any negotiations between Stonehill and any of the Settling
          Parties concerning any of the Claims;

       m. All communications between Stonehill and Farallon regarding
          any of the Claims;

       n. All communications between Stonehill and any investors in any
          fund managed by Stonehill regarding any of the Claims or
          valuation of the Claims;

       o. All communications between Seery and Stonehill regarding
          Seery’s compensation as Trustee of the Claimant Trust;

       p. All agreements and other communications between Seery and
          the Oversight Committee regarding Seery’s compensation and
          all documents relating to, regarding, or reflecting such
          agreements and other communications;

       q. All base fees and performance fees which Stonehill has received
          or may receive in connection with the Claims and all documents
          relating to, regarding, or reflecting the same;

       r. All monies received by Jessup in connection with any of the
          Claims and any distributions made by Jessup to any members of
          Jessup relating to such Claims;

       s. Whether Stonehill is a co-investor in any fund which holds an
          interest in Jessup or otherwise holds a direct interest in Jessup
          and all documents reflecting the same;

       t. All communications between Stonehill and any of the following
          entities concerning any of the Claims:

                 i.   UCC;


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               ii.   Highland;
              iii.   Grosvenor;
              iv.    Jessup;
               v.    the Oversight Board.
       u. The sources of funds used by Jessup for the acquisition of any of
          the Claims;

       v. The terms and conditions of any agreements governing the
          transfers of any of the Claims to Jessup;

       w. Representations made by Stonehill, Jessup, Seery, and/or the
          Settling Parties in connection with the transfer of any of the
          Claims;

       x. Stonehill’s valuation or evaluation of HCM’s Estate;

       y. Information learned regarding MGM during the pendency of the
          negotiations relating to the Claims;

       z. The appointment of Jessup to the Oversight Board;

       aa. Stonehill’s historical relationships and business dealings with
           Seery and Grovesnor;

       bb. Representations made to the bankruptcy court in connection with
           the transfer of any of the Claims to Jessup.




                                            9                                 Appx_0742
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                                       EXHIBIT “2”

                               DOCUMENT REQUESTS

   1. Any and all documents created by, prepared for, or received by Stonehill
      concerning any of the following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;
          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Stonehill or Jessup prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   2. Any and all communications between Stonehill, on the one hand, and any of the
      following individuals or entities: (i) Seery, (ii) the UCC, (iii) the Settling Parties,
      (iv) Farallon, (vi) Grosvenor, or, (vii) the Oversight Board, concerning any of the
      following topics:
          a. the transfer of the Claims;
          b. negotiation and/or consummation of any agreement regarding the transfer
             of the Claims;
          c. valuation of the Claims or the assets underlying the Claims;




                                             10                                   Appx_0743
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          d. promises and representations made in connection with the transfer of the
             Claims;
          e. any due diligence undertaken by Stonehill or Jessup prior to acquiring the
             Claims;
          f. consideration for the transfer of the Claims;
          g. the value of HCM’s Estate;
          h. the projected future value of HCM’s Estate;
          i. past distributions and projected distributions from HCM’s Estate;
          j.   compensation earned by or paid to Seery in connection with or relating to
               the Claims;
          k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
             Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
             and/or Independent Director of Strand; and
          l. any future compensation to be paid to Seery as Trustee of the Highland
             Claimant Trust.
   3. All correspondence and/or other documents by or between Stonehill and/or Jessup
      and any investors in any fund regarding the Claims and/or the acquisition or
      transfer of the Claims.
   4. Any and all documents reflecting the sources of funding used by Jessup to acquire
      any of the Claims.
   5. Organizational and formation documents relating to Jessup including, but not
      limited to, Jessup’s certificate of formation, company agreement, bylaws, and the
      identification of all members and managing members.
   6. Company resolutions prepared by or on behalf of Jessup approving the acquisition
      of any of the Claims.
   7. Any and all documents reflecting any internal or external audits regarding
      Jessup’s NAV.
   8. Agreements between Stonehill and Jessup regarding management, advisory, or
      other services provided to Jessup by Stonehill.
   9. Any and all documents reviewed by Stonehill as part of its evaluation and due
      diligence regarding any of the Claims.
   10. Any documents reflecting any communications with James Dondero;
   11. Annual fund audits relating to Jessup.



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   12. Jessup’s NAV Statements.
   13. Documents reflecting the fees or other compensation earned by Stonehill in
       connection with the investment in, acquisition of, transfer of, and/or management
       of any of the Claims.




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                      Exhibit 4-B




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      1
                                       REPORTER'S RECORD
      2
                                         VOLUME 1 OF 1
      3

      4              COURT OF APPEALS CAUSE NO. 00-00-00000-CV

      5                  TRIAL COURT CAUSE NO. DC-23-01004-J

      6
          IN RE:                                      ) IN THE DISTRICT COURT
      7                                               )
                                                      )
      8   HUNTER MOUNTAIN                             )
          INVESTMENT TRUST,                           ) OF DALLAS COUNTY, TEXAS
      9                                               )
                                                      )
     10            Petitioner.                        ) 191ST JUDICIAL DISTRICT

     11

     12

     13           PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST'S

     14                                RULE 202 PETITION

     15                               which was heard on

     16                        Wednesday, February 22, 2023

     17

     18

     19            On the 22nd day of February 2023, the following

     20   proceedings came on to be heard in the above-entitled

     21   and numbered cause before the Honorable Gena Slaughter,

     22   Judge Presiding, held in Dallas, Dallas County, Texas,

     23   and the following proceedings were had, to wit:

     24                Proceedings reported by machine shorthand

     25   utilizing computer-assisted realtime transcription.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                            Appx_0747
         Case: 23-10376Doc Document:
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                                             Appearances                               2

      1   APPEARANCES:

      2

      3   MR. SAWNIE A. McENTIRE                         ATTORNEYS FOR PETITIONER
          State Bar No. 13590100                         Hunter Mountain
      4   PARSONS McENTIRE                               Investment Trust
              McCLEARY, PLLC
      5   1700 Pacific Avenue
          Suite 4400
      6   Dallas, Texas 75201
          Telephone: (214) 237-4300
      7   Facsimile: (214) 237-4340
          Email: smcentire@pmmlaw.com
      8
          and
      9
          MR. ROGER L. McCLEARY
     10   State Bar No. 13393700
          PARSONS McENTIRE
     11       McCLEARY, PLLC
          One Riverway
     12   Suite 1800
          Houston, Texas 77056
     13   Telephone: (713) 960-7315
          Facsimile: (713) 960-7347
     14   Email: rmccleary@pmmlaw.com

     15

     16

     17   MR. DAVID C. SCHULTE                           ATTORNEY FOR RESPONDENTS
          State Bar No. 24037456                         Farallon Capital
     18   HOLLAND & KNIGHT, LLP                          Management, LLC, and
          1722 Routh Street                              Stonehill Capital
     19   Suite 1500                                     Management LLC
          Dallas, Texas 75201
     20   Telephone: (214) 964-9500
          Facsimile: (214) 964-9501
     21   Email: david.schulte@hklaw.com

     22

     23

     24                                *           *          *

     25


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                            Appx_0748
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      3                                  VOLUME 1 INDEX

      4

      5           PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST'S

      6                                RULE 202 PETITION

      7                               which was heard on

      8                        Wednesday, February 22, 2023

      9

     10   PROCEEDINGS:                                                        Page      Vol

     11   Proceedings on the record......................                        8         1

     12   Argument by Mr. Sawnie A. McEntire.............                        9         1

     13   Response by Mr. David C. Schulte............... 37                               1

     14   Response by Mr. Sawnie A. McEntire............. 65                               1

     15   Response by Mr. David C. Schulte............... 73                               1

     16   Response by Mr. Sawnie A. McEntire............. 76                               1

     17   The court takes the matter under consideration. 77                               1

     18   Adjournment.................................... 78                               1

     19   Reporter's Certificate......................... 79                               1

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                         Official Reporter, 191st District Court
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      1                        PETITIONER'S EXHIBITS INDEX

      2
                                                                     (Excluded)
      3   Number       Description                            Offered Admitted Vol

      4

      5     P-1        Declaration of                               36        42           1
                       Mark Patrick
      6

      7   P1-A         Claimant                                     36        42           1
                       Trust Agreement
      8

      9   P1-B         Division of                                  36        42           1
                       Corporations - Filing
     10

     11   P1-C         Division of                                  36        42           1
                       Corporations - Filing
     12

     13   P1-D         Order Approving                              36        42           1
                       Debtor's Settlement
     14

     15   P1-E         Order Approving                              36        42           1
                       Debtor's Settlement
     16

     17   P1-F         Order Approving                              36        42           1
                       Debtor's Settlement
     18

     19   P1-G         Order Approving                              36        42           1
                       Debtor's Settlement
     20

     21   P1-H         July 6, 2021, Alvarez                        36        41           1
                       & Marsal letter to                           --        42           1
     22                Highland Crusader
                       Funds Stakeholder
     23

     24   P1-I         United States Bankruptcy                     36        42           1
                       Court Case No. 19-34054
     25


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                         Official Reporter, 191st District Court
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      1                PETITIONER'S EXHIBITS INDEX               continued

      2
                                                                     (Excluded)
      3   Number       Description                            Offered Admitted Vol

      4

      5   PI-J         Exhibit A                                    36        42           1
                       Highland Capital
      6                Management, L.P.
                       Disclaimer for
      7                Financial Projections

      8
          PI-K         United States Bankruptcy                     36        42           1
      9                Court Case No. 19-34054

     10
            P-2        Declaration of                               36        42           1
     11                James Dondero

     12
          P2-1         Jim Dondero email                            36       (41)          1
     13                dated Thursday,
                       December 2020
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                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                        RESPONDENT'S EXHIBITS INDEX

      2
                                                                     (Excluded)
      3   Number       Description                            Offered Admitted Vol

      4

      5     R-1        Cause No. DC-21-09543                        41        44           1
                       Verified Amended Petition
      6

      7     R-2        Cause No. DC-21-09543                        41        44           1
                       Order
      8

      9     R-3        United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
     10

     11     R-4        United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
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     13     R-5        United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
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     15     R-6        United States Bankruptcy                     41        44           1
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     17     R-7        United States Bankruptcy                     41        44           1
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     19     R-8        United States Bankruptcy                     41        44           1
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     21     R-9        United States Bankruptcy                     41        44           1
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     23   R-10         United States Bankruptcy                     41        44           1
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                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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         Case: 23-10376Doc Document:
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      1                 RESPONDENT'S EXHIBITS INDEX continued

      2
                                                                     (Excluded)
      3   Number       Description                            Offered Admitted Vol

      4

      5   R-11         United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
      6

      7   R-12         United State Bankruptcy                      41        44           1
                       Court Case No. 19-12239
      8

      9   R-13         United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
     10

     11   R-14         United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
     12

     13   R-15         United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
     14

     15   R-16         United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
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     17   R-17         United States Bankruptcy                     41        44           1
                       Court Case No. 19-34054
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                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                             P R O C E E D I N G S

      2

      3                        THE COURT:       Okay.     Good morning, Counsel.

      4                        We are here in DC-23-01004, In re:

      5   Hunter Mountain Investment Trust.

      6                        And who is here for the plaintiff?

      7                        MR. McENTIRE:        For the petitioner,

      8   Your Honor, Sawnie McEntire and my partner

      9   Roger McCleary.

     10                        THE COURT:       Okay.     And then for Farallon?

     11                        MR. SCHULTE:        My name is David Schulte and

     12   I represent both of the respondents.                   It's Farallon

     13   Capital Management, LLC, and Stonehill Capital

     14   Management, LLC.

     15                        THE COURT:       We are here today on a request

     16   for a 202 petition.            I know one of the issues is the

     17   related suit, but let's just plow into it and we'll

     18   go from there.

     19                        Okay.     Counsel?

     20                        MR. McENTIRE:        May I approach the bench?

     21                        THE COURT:       Yes, you may.

     22                        MR. McENTIRE:        And I've given Mr. Schulte

     23   copies of all these materials.

     24                        In the interest of time, I have all the

     25   key pleadings here, which I will give you a copy of.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                        THE COURT:       Thank you.

      2                        MR. McENTIRE:        And this is the evidentiary

      3   submission that we submitted about a week ago.

      4                        THE COURT:       Right.

      5                        MR. McENTIRE:        To the extent you are

      6   interested, it is cross-referenced by exhibit number

      7   to the references in our petition to the docket in the

      8   bankruptcy court.

      9                        THE COURT:       I appreciate that.           Otherwise,

     10   I go hunting for stuff.

     11                        MR. McENTIRE:        This is a PowerPoint.

     12                        THE COURT:       Okay.

     13                        MR. McENTIRE:        And, lastly, a proposed

     14   order.

     15                        THE COURT:       Wonderful.

     16                        MR. McENTIRE:        And Mr. Schulte has copies

     17   of it all.

     18                        THE COURT:       Okay.

     19                        MR. McENTIRE:        May I proceed, Your Honor?

     20                        THE COURT:       You may.

     21                        MR. McENTIRE:        All right.        Your Honor,

     22   we are here for leave of court to conduct discovery

     23   under Rule 202 to investigate potential claims.

     24                        The issue before the court is not whether

     25   we have an actual claim.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       THE COURT:        Right.

      2                       MR. McENTIRE:         We do not even need to

      3   state a cause of action.              It is simply the investigation

      4   of potential claims.

      5                       Mr. Mark Patrick is here with us today.

      6   He's behind me.          Mr. Patrick is the administrator of

      7   Hunter Mountain, which is a Delaware trust.

      8                       THE COURT:        Okay.

      9                       MR. McENTIRE:         He is the manager of

     10   Rand Advisors, which is also an investment manager

     11   of the trust.         And, in effect, for all intents and

     12   purposes, Mr. Patrick manages the assets of the trust on

     13   a daily basis.

     14                       THE COURT:        Okay.

     15                       MR. McENTIRE:         There are potential claims

     16   that we're investigating.              And I'll go through some

     17   of these because I know opposing counsel has raised

     18   standing issues.

     19                       THE COURT:        Right.

     20                       MR. McENTIRE:         And I think we can address

     21   all those standing issues.

     22                       Insider trading is in itself a wrong

     23   as recognized by courts.              And I'll refer you to the

     24   opinions.       We believe there's a breach of fiduciary

     25   duties, and that may take a little explanation.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       At the time that Farallon and Stonehill

      2   acquired these claims, through their special purpose

      3   entities Muck and Jessup, they were outsiders.

      4                       THE COURT:        Right.

      5                       MR. McENTIRE:         But by acquiring the

      6   information in the manner in which we believe they did,

      7   they became insiders.            And when they became insiders,

      8   under relevant authorities they owe fiduciary duties.

      9                       And at the time they acquired the claims,

     10   my client Hunter Mountain Investment Trust was the

     11   99.5 percent interest holder or stakeholder in

     12   Highland Capital.

     13                       THE COURT:        Right.

     14                       MR. McENTIRE:         We also believe a knowing

     15   participation of breach of fiduciary duties under

     16   another name, aiding and abetting.                  But Texas recognizes

     17   it as knowing participation.                Unjust enrichment,

     18   constructive trust, and tortious interference.

     19                       THE COURT:        Okay.

     20                       MR. McENTIRE:         Farallon and Stonehill are

     21   effectively hedge funds.              And so is Highland Capital.

     22                       They were created.           They actually did

     23   create Muck and Jessup.             Those are the two entities

     24   that actually are titled with the claims.                     They

     25   acquired it literally days before the transfers.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       So the reason we're focusing our discovery

      2   effort on Farallon and Stonehill, we are confident

      3   that any meaningful discovery -- emails, letters,

      4   correspondence, document drafts, things of that

      5   nature -- probably predated the existence of

      6   Muck and Jessup.

      7                       THE COURT:        Right.

      8                       MR. McENTIRE:         That's why we're focusing

      9   our discovery effort on Farallon and on Stonehill.

     10                       But, needless to say, Farallon, Stonehill,

     11   Muck and Jessup, having all participated in this

     12   acquisition, they're all insiders for purposes

     13   of assuming fiduciary duties.

     14                       And as I said, outsiders become insiders

     15   under the relevant authority.                 And one key case is the

     16   Washington Mutual case --

     17                       THE COURT:        Right.

     18                       MR. McENTIRE:         -- which we cited in our

     19   materials.

     20                       I would also just let you know, this is

     21   not something in total isolation.                  We understand we're

     22   not privy to the details.              But we understand the Texas

     23   State Security Board also has an open investigation that

     24   has not been closed.

     25                       THE COURT:        Okay.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0758
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      1                       MR. McENTIRE:         And that's by way of

      2   background.

      3                       202 allows presuit discovery for a couple

      4   of reasons.        And I won't belabor the point.                One is to

      5   investigate potential claims.

      6                       There is no issue of notice or service

      7   here.     There's no issue of personal jurisdiction.

      8   Farallon and Stonehill made a general appearance.

      9                       THE COURT:        Right.

     10                       MR. McENTIRE:         There's no issue concerning

     11   subject-matter jurisdiction.                They actually concede that

     12   the court has jurisdiction on page 8 of their response.

     13                       The court's inquiry today is a limited

     14   judicial inquiry.           There are really two avenues which

     15   I'll explain, but, first, I think the salient avenue

     16   is does the benefit of the discovery outweigh the

     17   burden.

     18                       And I think as I will hopefully

     19   demonstrate, I think that we clearly do.

     20                       THE COURT:        Okay.

     21                       MR. McENTIRE:         The merits of a potential

     22   claim, the case law is clear, is not before the court.

     23                       Much of their brief and their response

     24   is devoted to trying to attack the fact that there

     25   is no duty or things such as standing.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       But the reality of it is we are not

      2   required to actually prove up a cause of action to

      3   this court although I think I can.                  In this process,

      4   I probably certainly can identify a potential cause of

      5   action.      That's not our obligation to carry our burden.

      6                       There was an issue about timely submission

      7   of evidence they raised in a footnote, but I think that

      8   was resolved before the court took the bench.

      9                       THE COURT:        Okay.

     10                       MR. McENTIRE:         I've handed you a binder

     11   with Mr. Mark Patrick's affidavit and Jim Dondero's

     12   affidavit.

     13                       As I understand it, correct me if I'm

     14   wrong, you're not objecting to the submission of that

     15   evidence.       Is that correct?

     16                       MR. SCHULTE:         Almost.

     17                       THE COURT:        Okay.

     18                       MR. SCHULTE:         Your Honor, I do object

     19   to the two declarations that were submitted I believe

     20   five days before the hearing.

     21                       THE COURT:        Okay.

     22                       MR. SCHULTE:         As Your Honor is aware,

     23   Rule 202 contemplates 15 days' notice.                    The petition

     24   itself was required to be verified.                   It was verified

     25   and then new substance was added by way of these


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   declarations five days before the hearing.

      2                       And so we would argue that that has the

      3   effect of amending or supplementing the petition within

      4   that 15-day notice period.

      5                       All that said, I don't have any issue with

      6   the majority of the documents attached to Mr. Patrick's

      7   declaration.

      8                       THE COURT:        Okay.

      9                       MR. SCHULTE:         So I do object on the

     10   grounds of hearsay and timeliness to the declarations.

     11                       On Exhibit H to Mr. Patrick's declaration,

     12   I object to that document on the grounds of hearsay.

     13                       THE COURT:        Okay.     Which one?

     14                       MR. SCHULTE:         Exhibit H to Mr. Patrick's

     15   declaration on the basis of hearsay.

     16                       All the other documents are I believe

     17   file-stamped copies of the pleadings filed in the

     18   bankruptcy, which I don't have any issue with that.

     19                       And then the exhibit to Mr. Dondero's

     20   declaration is an email that's objected to on the basis

     21   of hearsay.        And it hasn't been proven up as a business

     22   record or any other way that will get past hearsay.

     23                       THE COURT:        Okay.

     24                       MR. SCHULTE:         So those are the limited

     25   objections I have to what's in that filing, Your Honor.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       MR. McENTIRE:         And I will address those

      2   objections.        And we're prepared to put Mr. Patrick on

      3   the stand, if necessary.

      4                       I would point out that the case law is

      5   very clear that there's no 15-day rule here.

      6                       THE COURT:        Okay.

      7                       MR. McENTIRE:         We have asked the court

      8   to take judicial notice of all of our evidence in our

      9   petition itself.

     10                       The 15 days is the amount of time you have

     11   to give notice before the hearing --

     12                       THE COURT:        Right.

     13                       MR. McENTIRE:         -- but the case law

     14   is clear that I can put live testimony on, I can

     15   put affidavit testimony on.

     16                       THE COURT:        This is an evidentiary

     17   hearing.

     18                       MR. McENTIRE:         That's correct.

     19                       And that includes affidavits.                And

     20   affidavits are routinely accepted in these types of

     21   proceedings and I have the case law I can cite to the

     22   court.

     23                       MR. SCHULTE:         Your Honor, in contrast,

     24   I think if this were, for example, an injunction

     25   hearing, I don't believe that an affidavit would be


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   the substitute in an injunction hearing for live

      2   testimony.

      3                       And so if this is an evidentiary standard,

      4   I don't think that these affidavits should come in for

      5   the truth of the matter asserted.                  The witnesses should

      6   testify to the facts that they want to prove up.

      7                       MR. McENTIRE:         I could give the court a

      8   cite.

      9                       THE COURT:        Okay.

     10                       MR. McENTIRE:         It's Glassdoor, Inc. versus

     11   Andra Group.

     12                       THE COURT:        What was the name of it?

     13                       MR. McENTIRE:         Glassdoor, Inc. versus

     14   Andra Group.        It is 560 S.W.3d 281.             It specifically

     15   addresses the use and relies upon affidavits in the

     16   record for purposes of a Rule 202.

     17                       So, with that said, I will address it in

     18   more detail in a moment.              The evidentiary rule, to be

     19   clear, is it has to be supported by evidence.                       Seven

     20   days was the date that I picked because it was well

     21   in advance.        It's the standard rule that's used for

     22   discovery issues.           It's seven days before a hearing.

     23                       So I picked it.           He's had it for seven

     24   days.     He's never filed any written objections to my

     25   evidence.       None.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       And under the Local Rules I would think

      2   he would have objected within three business days.

      3   He did not do that, and so I'm a little surprised

      4   by the objection.

      5                       THE COURT:        Okay.

      6                       MR. McENTIRE:         All right.       We do have

      7   copies of all the certified records, but I gave you

      8   the agenda on that.            And we talked about the two

      9   declarations.

     10                       So the limited judicial inquiry is the

     11   only issue before the district court.                    It's whether

     12   or not to allow the discovery, not the merits of any

     13   claim yea or nay.

     14                       THE COURT:        Right.

     15                       MR. McENTIRE:         There's no need for us to

     16   even plead a cause of action, although we did.

     17                       Mr. Schulte goes to great length in

     18   his response to take issue with our cause of action,

     19   suggesting we had none.             We do.      But we're not even

     20   under an obligation to plead it; nevertheless, we did.

     21                       This is actually a two-part test.                  The

     22   first part was allowing the petitioner -- in this case,

     23   Hunter Mountain -- to take the requested deposition may

     24   prevent a failure or delay of justice, or the likely

     25   benefit outweighs the burden.                 Both apply here.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       These trades took place in April of 2021,

      2   three of the four.           The fourth I think took place in the

      3   summer.

      4                       And our goal is to obtain the discovery

      5   in a timely manner so we do not have any argument, valid

      6   or invalid, that there's a limitations issue.

      7                       THE COURT:        Okay.

      8                       MR. McENTIRE:         And so any further delay,

      9   such as transferring this to another court or back to

     10   the bankruptcy court, which it does not have

     11   jurisdiction, would cause tremendous delay.

     12                       THE COURT:        Okay.

     13                       MR. McENTIRE:         Hunter Mountain, a little

     14   bit of background.           It is an investment trust.               When

     15   it has money, it participates directly in funding the

     16   Dallas Foundation --

     17                       THE COURT:        Okay.

     18                       MR. McENTIRE:         -- which is a very I think

     19   well-respected and recognized charitable foundation.

     20                       Certain individuals and pastors from

     21   various churches are actually here because Hunter

     22   Mountain indirectly, but ultimately, provides a

     23   significant source of funding for their outreach

     24   programs and their charitable functions and programs.

     25                       THE COURT:        Okay.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           20

      1                       MR. McENTIRE:         The empirical evidence in

      2   the documents that are before the court, regardless of

      3   what's in the affidavits, just screams that there was

      4   no due diligence here.

      5                       Now, we know in Mr. Dondero's affidavit

      6   he had a conversation with representatives of Farallon,

      7   which would be admissions against interest.                      They're

      8   admissions basically against interest that they

      9   effectively did no due diligence.

     10                       Yet we believe, upon information and

     11   belief, that they invested over $167 million.                       There

     12   are two sets of claims.             There's a Class 8 claim and

     13   a Class 9 creditor claim.

     14                       THE COURT:        Right.

     15                       MR. McENTIRE:         Their expectations at the

     16   time that they acquired these claims was that Class 9

     17   would get zero recovery.

     18                       So who spends $167 million when their

     19   expectation on return of investment is zero?                       Who spends

     20   $167 million even in Class 8 when the expected return is

     21   just 71 percent and is actually declining?                      And I think

     22   it's actually admitted in the affidavit that Mr. Dondero

     23   provided.

     24                       So without being hyperbolic or

     25   exaggerating, the data that was available publicly


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           21

      1   was extremely pessimistic and doubtful that there would

      2   be any recovery.

      3                       We have direct information -- admissions,

      4   frankly -- that Farallon had access to non-public

      5   material, non-public information.                  And that was

      6   the fact that MGM Studios was up for sale.

      7                       Mr. Dondero was on the board of directors.

      8                       THE COURT:        Okay.

      9                       MR. McENTIRE:         He communicated, because

     10   of his responsibilities, this information to Mr. Seery.

     11                       And Mr. Seery, apparently, would have been

     12   restricted.        He couldn't use it or distribute it.

     13                       THE COURT:        Right.

     14                       And I don't know a lot about securities

     15   law but, yeah, that would be insider information.

     16   Right?

     17                       MR. McENTIRE:         Yes.

     18                       And it appears from the affidavit that

     19   Mr. Dondero submitted that Farallon was aware of the

     20   information before the sale closed, before they closed

     21   their acquisitions.

     22                       And Mr. Dondero asked the question are

     23   you willing to even sell your claims and they said no.

     24   Or even 30 percent more and they said no.                     We're told

     25   that they're going to be very valuable.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           22

      1                       Well, no one else had this information, so

      2   we have a problem here that we have two outsiders who

      3   are now insiders.           They've acquired potentially very

      4   valuable claims with the sale of MGM.

      5                       They also acquired information concerning

      6   the portfolios of these companies over which Highland

      7   Capital managed and had ownership interests, so we're

      8   talking about having access to information that any

      9   other bidder or suitor would not have.

     10                       So this is how they were divided up.

     11   $270 million in Class 8.              Each of the creditors

     12   right here are the unsecured creditors who sold.

     13   They were the sellers.

     14                       THE COURT:        Right.

     15                       MR. McENTIRE:         And these are the claims in

     16   the Class 9.

     17                       So you have $95 million in Class 9 claims

     18   that are being acquired when the expectation is that

     19   there will be zero return on investment.                     You have

     20   $270 million where the expectation was extremely

     21   low and pessimistic.

     22                       And here are the documents.               And

     23   Mr. Schulte has not objected to these.                    This particular

     24   document is Exhibit 1-J to Mr. Patrick's affidavit.

     25                       THE COURT:        Okay.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0768
         Case: 23-10376Doc Document:
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                                    Argument by Mr. McEntire                           23

      1                       MR. McENTIRE:         This came out of the plan.

      2   So when the bankruptcy plan was confirmed in February

      3   2021, Farallon, Stonehill, Muck and Jessup, the latter

      4   two weren't even in existence.

      5                       THE COURT:        Right.

      6                       MR. McENTIRE:         Farallon and Stonehill were

      7   complete strangers to the bankruptcy proceedings, yet

      8   they come in in the wake of this information and

      9   they invest tens if not hundreds of millions of

     10   dollars with no apparent due diligence.

     11                       The situation gets even worse.                 And this

     12   is Exhibit 1-I to Mr. Patrick's affidavit.                      And as

     13   I understand, Mr. Schulte does not object to these

     14   documents.        It's declining.         And then, suddenly,

     15   they're in the money.

     16                       And at the end of the third quarter last

     17   year, they're already making 255 million bucks.                        And

     18   that's a far cry from the original investment.                        This

     19   is for both Class 8 and Class 9.

     20                       So Mr. Patrick states the purpose of

     21   this is to seek cancellation.                Another word for it

     22   in bankruptcy-ese would be disallowance.                     But the

     23   cancellation of these claims and disgorgement.

     24                       If these are ill-gotten gains, regardless

     25   of the rubric or the monicker that you place on it --


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           24

      1   breach of fiduciary duty as insiders, aiding and

      2   abetting or knowing participation in fiduciary duties,

      3   because a lot of people have fiduciary duties on this

      4   stuff.      No matter what you call it, disgorgement is a

      5   remedy.

      6                       Wrongdoers should not be entitled to

      7   profit from their wrongdoing.

      8                       Mr. Schulte makes a big point that we

      9   can't prove damages.            Well, first of all, I don't agree

     10   with the conclusion.

     11                       THE COURT:        Right.

     12                       MR. McENTIRE:         But even if he was right,

     13   disgorgement is a proxy for damages.                   And we have an

     14   entitlement and a right to explore how much they have

     15   actually received, when did they receive it.

     16                       The weathervane is tilting in one

     17   direction here, Judge.

     18                       Clearly, there is a creditor trust

     19   agreement.        That's a very important document.                 It spells

     20   out rights and obligations.               It's part of the plan.

     21                       There's a waterfall.            And on page 27 of

     22   the creditor trust agreement a waterfall is exactly

     23   what it suggests.           You have one bucket gets full,

     24   you go to the next bucket all the way down.

     25                       THE COURT:        Class 1 or tier 1.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0770
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                                    Argument by Mr. McEntire                           25

      1                       I can't remember the category.                 I don't

      2   do bankruptcy.         But, yeah, those get paid, then the

      3   next level, then the next level.

      4                       So by the time you get down to

      5   level 10, which I think is what Hunter Mountain was,

      6   theoretically, there wouldn't have been anything left.

      7                       MR. McENTIRE:         That's correct.

      8                       But here, if Class 8 and Class 9 -- and

      9   I will say the big elephant in those two classes are

     10   Farallon and Stonehill or their special purpose entity

     11   bucket Jessup -- they have 95 percent of that category.

     12                       And suddenly they're not entitled to keep

     13   what they've got, and suddenly there's a disallowance,

     14   or suddenly a cancellation regardless of the theory

     15   or the cause of action -- and we have several avenues

     16   here -- a lot of money is going to flow into the

     17   coffers of Hunter Mountain, and a lot of money will flow

     18   into the Dallas Foundation, and a lot of money will flow

     19   into the coffers of charities.

     20                       So there is standing here.               Standing

     21   requires the existence of a duty.                  We think we have

     22   duties.

     23                       And a concrete injury.             And if these

     24   claims were manipulated, we have a concrete injury

     25   and our proxy is disgorgement.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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         Case: 23-10376Doc Document:
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                                    Argument by Mr. McEntire                           26

      1                       We've been deprived of an opportunity to

      2   share in category 10 or as we just described it in the

      3   waterfall under the creditor trust agreement.

      4                       THE COURT:        Right.

      5                       MR. McENTIRE:         Their burden is to show

      6   that this discovery has no benefit.                   No.    That's my

      7   burden to show benefit.             But their burden would be

      8   to show that it's overly burdensome to them.

      9                       And I find that difficult to understand

     10   since part of their response is devoted to the fact

     11   that, hey, judge in Dallas County, you should turn

     12   this over to Judge Jernigan in the bankruptcy court.

     13                       THE COURT:        Because it's bankruptcy,

     14   you know.

     15                       MR. McENTIRE:         In bankruptcy, that's their

     16   invitation.

     17                       THE COURT:        Right.

     18                       MR. McENTIRE:         Well, if they're inviting

     19   us to go do the discovery in bankruptcy court, it

     20   doesn't seem to be that burdensome because it's

     21   going to be the same discovery.

     22                       And, by the way, Judge Jernigan actually

     23   does not have jurisdiction over these proceedings.

     24   The other earlier proceeding, as you know, they

     25   attempted to remove it to her court and it was remanded.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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         Case: 23-10376Doc Document:
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                                    Argument by Mr. McEntire                           27

      1   Clearly, she does not have jurisdiction.

      2                       The problem with bankruptcy involved,

      3   in addition, if I wanted to do Rule 2004 discovery like

      4   they're suggesting, that's their invitation.                       They would

      5   like you to push us down the road.

      6                       Well, we can't afford to push it down the

      7   road.     Because if they push it down the road, I've got

      8   to go file a motion with Judge Jernigan, get leave to

      9   issue subpoenas.

     10                       THE COURT:        Right.

     11                       MR. McENTIRE:         They have 14 days to file

     12   a motion to quash, then I have to file another motion.

     13   And it's 21 days before their response is even filed.

     14   And there's another 14 or 15 days before the reply is

     15   filed.      We're looking at 60, 70 days.                And that's one

     16   of the reasons we selected this procedure.

     17                       And, by the way, you hear the phrase forum

     18   shopping a lot.          Well, without engaging in the negative

     19   inference that that term suggests, a plaintiff, a

     20   petitioner, has the right to select its venue for a

     21   variety of reasons.

     22                       Our venue is the state district courts

     23   of Texas because it has an accelerated procedure.                         And

     24   that's why we're here.

     25                       THE COURT:        Right.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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         Case: 23-10376Doc Document:
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                                    Argument by Mr. McEntire                           28

      1                       MR. McENTIRE:         I've identified the

      2   potential causes of action.               Entities or people that

      3   breach fiduciary duties and receive ill-gotten gains

      4   a constructive trust may be imposed, disgorgement.

      5   Then we do run into bankruptcy concepts.

      6                       But it's important to know that some of

      7   these are not bankruptcy.              Some of these are common law.

      8                       I suggest to the court, I don't have to

      9   go get Judge Jernigan's permission to sue Farallon or

     10   Stonehill for breach of fiduciary duties.                     I don't have

     11   to get her permission to sue for knowing participation.

     12                       If I'm actually looking for equitable

     13   disallowance, probably, maybe.                 But I can do the

     14   discovery here and then make that decision whether

     15   I need to go back to bankruptcy court.

     16                       I'm not foolish.           I'm not going to run

     17   afoul of Judge Jernigan's orders.                  If I have to go back

     18   to Judge Jernigan to get permission, I will do it.

     19                       THE COURT:        Right.     Because only an

     20   idiot runs afoul of the bankruptcy court.

     21                       MR. McENTIRE:         Hopefully, I'm not that.

     22                       So I clearly understand what both my

     23   ethical and lawyer obligations are.                   And I'm not

     24   going to run afoul of any court orders.

     25                       But some of these remedies don't require


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           29

      1   an overview by Judge Jernigan or the bankruptcy court.

      2                       THE COURT:        Okay.

      3                       MR. McENTIRE:         They have a duty not to

      4   commit fraud, whether it's commit fraud against us or

      5   commit fraud against the estate.

      6                       They have a duty not to interfere with

      7   the expectancies that we have as a B/C beneficiary.

      8   That's a code name for a former Class 10 creditor.

      9                       They have a duty not to trade on inside

     10   information, and that's the Washington Mutual case.

     11                       And I've just already mentioned that

     12   because they were outsiders, they're insiders now.

     13                       These are their arguments.               Our evidence

     14   is timely.        It's not untimely.           It's not speculative.

     15   It's not speculative because the events have already

     16   taken place.        I'm not talking about something

     17   hypothetical.

     18                       THE COURT:        Right.

     19                       MR. McENTIRE:         My remedy flows from that.

     20                       So we're not projecting that I might have

     21   a claim later on.           I have a claim today.            If I have a

     22   claim today, I have it today.                 I have it and I want to

     23   confirm it by this discovery.                 Because their wrongdoing

     24   has already taken place, it's not hypothetical, it's not

     25   futuristic, it's already occurred.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           30

      1                       When they say they have no duty to us,

      2   they're just wrong.            They have duties not to breach

      3   fiduciary duties.           We have direct standing I believe to

      4   bring a claim in that regard.

      5                       We have a right to bring direct standing

      6   under the Washington Mutual case, which I'll discuss.

      7                       And we also have a right to bring a

      8   derivative action.

      9                       THE COURT:        Right.

     10                       MR. McENTIRE:         And I notice that

     11   they made a comment about that in their response.

     12   But I can sue individually.

     13                       And I can also bring an action in the

     14   alternative as a derivative action for the estate.

     15   And these are all valid claims for the estate.

     16                       THE COURT:        Okay.

     17                       MR. McENTIRE:         Transfer.       This is not a

     18   related case because it's not the litigation.

     19                       So if you just go to the very first

     20   instance and you look at the Local Rule, it talks

     21   about litigation and causes of action.

     22                       THE COURT:        Right.

     23                       MR. McENTIRE:         We don't have a cause

     24   of action.        We're not asserting one in this petition.

     25   So this is not a related case that falls within the


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           31

      1   four corners of the Local Rule.

      2                       THE COURT:        Well, I guess the thing

      3   is it's still a related case.                Like if you file a 202

      4   and then you file a lawsuit, that would be considered

      5   related.

      6                       I looked at it and you're right.

      7   Technically, it's different parties.                   I'll just say it's

      8   a grey zone at best.

      9                       MR. McENTIRE:         That's correct.

     10                       This is not a lawsuit in terms of causes

     11   of action.        It might be a related case if Mr. Dondero

     12   had come in and filed a lawsuit.                 That would be a

     13   related case.         Mr. Dondero is not involved in this

     14   process, other than as a fact witness.

     15                       These are all the evidentiary issues

     16   that perhaps he's raised.              Live testimony, affidavit

     17   testimony is admissible.

     18                       The court considered numerous affidavits

     19   filed with the court.            And that's as recently as 2017.

     20   These are all good cases, good law.

     21                       Equitable disallowance.              It's kind of a

     22   fuzzy image.        This is a bankruptcy court case, but this

     23   is simply to underscore the fact that in addition to

     24   my common law remedies there is a very substantial

     25   remedy in bankruptcy court.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           32

      1                       It's not one I necessarily have to pursue,

      2   but if I wanted to I could.               But what it does do is it

      3   helps to find some duties.

      4                       And here, the court has the right

      5   to disallow a claim on equitable grounds in extreme

      6   instances, perhaps very rare, where it is necessary

      7   as a remedy.        And they did it in this case.

      8                       THE COURT:        Okay.

      9                       MR. McENTIRE:         This is simply an analogy

     10   to securities fraud and the 10b-5 statute.

     11                       Insiders of a corporation are not limited

     12   to officers and directors, but may include temporary

     13   insiders who have entered into a special confidential

     14   relationship in the conduct of the business of the

     15   enterprise and are given access to information solely

     16   for corporate purposes.

     17                       Well, what about the MGM stock?                 The court

     18   finds that the Equity Committee -- so here's the

     19   equity -- has stated a colorable claim.                    We were

     20   99.5 percent equity.

     21                       The Equity Committee has stated a

     22   colorable claim that the settlement noteholders became

     23   temporary insiders because they acquired information

     24   that was not of public knowledge in connection with

     25   their acquisition.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                    Argument by Mr. McEntire                           33

      1                       And allowed them to participate in

      2   negotiations with JPMC -- JPMorgan Chase -- for the

      3   shared goal of reaching a settlement.

      4                       So these were outsiders that suddenly

      5   became temporary insiders because of access to inside

      6   information.

      7                       This is not a new concept.               It comes

      8   from the United States Supreme Court.                    Fiduciaries

      9   cannot utilize inside information.

     10                       THE COURT:        Right.

     11                       MR. McENTIRE:         And we believe we

     12   have enough before the court to support and justify

     13   a further investigation that this may have occurred.

     14                       THE COURT:        Okay.

     15                       MR. McENTIRE:         Now, not a related case.

     16   The Jim Dondero case is actually closed.

     17                       THE COURT:        Right.

     18                       MR. McENTIRE:         And I'll be frank with you.

     19   In all candor, I never thought this was a possible

     20   related case.

     21                       THE COURT:        I mean, we're talking about

     22   the same events, but there are differences, I agree.

     23                       MR. McENTIRE:         We're talking about one

     24   similar event dealing with Farallon.                   Other events

     25   are different.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       THE COURT:        Okay.

      2                       MR. McENTIRE:         So we have different dates.

      3                       THE COURT:        Right.

      4                       MR. McENTIRE:         Different parties on the

      5   petitioner's side, different law firms.

      6                       The only common party is Farallon.

      7   Alvarez & Marsal are not parties to this but Stonehill

      8   is.    Stonehill was not a party to the prior proceedings.

      9                       And the standing is manifest.                With no

     10   criticism of Mr. Dondero's lawyer, I searched in his

     11   argument where he was articulating standing.

     12                       And without going further, I will tell

     13   you I think our standing is clear.                  We're in the money.

     14                       THE COURT:        Okay.

     15                       MR. McENTIRE:         We are in the money if

     16   there's a disgorgement or a disallowance.

     17                       THE COURT:        Okay.

     18                       MR. McENTIRE:         We have all types of

     19   claims, including insider trading and a creation of

     20   fiduciary duties.

     21                       Our remedies, as far as I can tell, he

     22   didn't identify any.            We have several.          Disgorgement,

     23   disallowance, subordination, a variety.                    And damages.

     24                       So we suggest strongly that it is not a

     25   related case.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       And I must tell you, the reference

      2   to say send this to bankruptcy court or defer to the

      3   bankruptcy court or send us over to Judge Purdy, with

      4   all due respect to opposing counsel, it's really just

      5   a delay mechanism.

      6                       And what they're seeking to do through

      7   their invective, their criticisms, the references to

      8   these other courts, is seeking an opportunity to push us

      9   down the road and put us in a bad position potentially

     10   and a not enviable position in connection with statute

     11   of limitations.

     12                       Your Honor, we would offer the binder

     13   of exhibits that we submitted on February 15, 2022,

     14   including the affidavits and all the attached exhibits.

     15                       I would ask the court to take judicial

     16   notice of all the exhibits that we referred to in our

     17   petition, which I think is appropriate since we were

     18   specifying with particularity what we were requesting

     19   the court to take judicial notice of.                    And that's the

     20   large index, that's the list.

     21                       THE COURT:        Obviously, I can take

     22   judicial notice of any kind of court pleadings,

     23   whether they're state or federal.

     24                       MR. McENTIRE:         That's correct.

     25                       THE COURT:        That's clear.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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         Case: 23-10376Doc Document:
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      1                       MR. McENTIRE:         We would offer both

      2   affidavits and all the attachments into evidence

      3   at this time.

      4                       THE COURT:        Okay.      Do you have exhibit

      5   numbers for them?

      6                       MR. McENTIRE:         Yes.     It's Exhibit 1 with

      7   attachments.        1-A, 1-B, 1-C, 1-D, 1-E, 1-F and then

      8   Exhibit 1-G, Exhibit 1-H, Exhibit 1-J, Exhibit 1-K.

      9                       Everything in the binder, Your Honor.

     10   It's Exhibit 1 and Exhibit 2 with the attachments.

     11                       THE COURT:        Okay.

     12                       MR. McENTIRE:         I believe they're all

     13   identified.        I can put a sticker on them, if you'd like.

     14                       THE COURT:        Yeah.      To admit them, it will

     15   need a sticker.

     16                       So I'm going to hold off on admitting

     17   them for just a minute because I do want to hear his

     18   objections and then we can go back to it.                     So just make

     19   sure we do that.

     20                       I'm not trying to not admit them, but I do

     21   want to let him have his objections.

     22                       Okay.      Anything else, Counsel?

     23                       MR. McENTIRE:         That's all I have right

     24   now, Judge.

     25                       THE COURT:        Okay.      Counsel?


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0782
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      1                       MR. SCHULTE:         Should I start with those

      2   exhibits, Your Honor?

      3                       THE COURT:        Why don't you do that.            That's

      4   probably the easiest way.

      5                       MR. SCHULTE:         In light of the authorities

      6   that Mr. McEntire shared about the affidavits, I'll

      7   withdraw the objections to the affidavits or the

      8   declarations.

      9                       THE COURT:        Okay.

     10                       MR. SCHULTE:         I'm taking Mr. McEntire's

     11   word that those cases say what he says they say.

     12                       THE COURT:        I'll tell you because 202

     13   is not a lawsuit, you don't necessarily have a right

     14   to cross-examine, et cetera.                So, yeah, affidavits are

     15   frequently used on 202s.

     16                       MR. SCHULTE:         And that's fine, Your Honor.

     17   I'll take Mr. McEntire's word what those cases say.

     18                       But I will maintain the objection to

     19   Exhibit H -- it's the declaration of Mr. Patrick --

     20   on the grounds of hearsay.               That is not a court record

     21   or a file-stamped pleading from federal or state court.

     22   It's just a letter.            So that's hearsay.          And it hasn't

     23   been properly authenticated.

     24                       The other issue is the exhibit to

     25   Mr. Dondero's declaration.               That's just an email


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   from Mr. Dondero, so I object on the grounds of hearsay.

      2                       THE COURT:        Mr. McEntire, what's your

      3   response specifically to Exhibit H as attached to

      4   the Patrick declaration and then the attachment

      5   to the Dondero declaration?

      6                       MR. McENTIRE:         Exhibit H to Mr. Patrick's

      7   affidavit would be hearsay, but there's an exception

      8   that it's not controversial.

      9                       THE COURT:        Okay.

     10                       MR. McENTIRE:         And there's no indication

     11   that there's any challenge of the reliability of the

     12   document.

     13                       THE COURT:        What is the exhibit?

     14   I'm trying to pull it up.              Sorry.

     15                       MR. McENTIRE:         It's Exhibit 1-H.           It is

     16   a letter from Alvarez & Marsal simply indicating what

     17   they paid for the claim.

     18                       THE COURT:        Is it the July 6th, 2021,

     19   letter?

     20                       MR. McENTIRE:         Yes, Your Honor.

     21                       THE COURT:        I've got it.

     22                       MR. McENTIRE:         And the exhibit to

     23   Mr. Dondero's is not being offered for the truth of

     24   the matter asserted, just the state of mind of Farallon.

     25                       THE COURT:        Okay.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0784
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      1                       MR. McENTIRE:         He has proved it up

      2   that it's authentic.            It's a true and accurate copy.

      3                       And it goes to the state of mind of

      4   Farallon and it goes to the state of mind of Mr. Seery

      5   as well who are basically individuals who are trading on

      6   inside information.

      7                       And Mr. Seery would not have known about

      8   the MGM sale but for that email.                 And Farallon and

      9   Stonehill would not know about MGM but for Mr. Seery.

     10                       THE COURT:        Okay.     So the response to

     11   hearsay is that it goes to state of mind.

     12                       MR. McENTIRE:         It goes to state of mind.

     13                       THE COURT:        Okay, Counsel.         How do you

     14   respond to that?

     15                       MR. SCHULTE:         I'll start with the last

     16   one, Your Honor.          I think that's the definition of

     17   hearsay, is that you're purporting to establish the

     18   state of mind of the parties who are not before the

     19   court.

     20                       It's been emphasized that Mr. Dondero has

     21   no relation to HMIT.            And none of the recipients of the

     22   email are parties to this proceeding.

     23                       This purports to establish the state of

     24   mind of Mr. Seery, who is not before the court, and the

     25   state of mind of Farallon, just based on the say so of


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   Mr. Dondero in this email.               That's hearsay.

      2                       And as for the first letter, this is a

      3   letter on the letterhead of A&M which, by the way, is

      4   one of the parties in the Dondero Rule 202 petition.

      5                       And it's not on the letterhead of any of

      6   the parties to this case so the letter isn't properly

      7   authenticated.

      8                       And I'm not aware of the not controversial

      9   exception to hearsay.

     10                       THE COURT:        Well, there is a thing that

     11   talks about if you're admitting something that's just

     12   not controverted.           Right?     It's everybody agrees "X"

     13   happened.       We're just admitting evidence to have that.

     14   So what this basically is is just showing the claim of

     15   the funds.

     16                       And I guess my question is what's the

     17   objection.        Is there an objection to the substance of

     18   it?

     19                       MR. SCHULTE:         I don't think there's any

     20   dispute that Farallon and Stonehill, through their

     21   respective special purpose entities, purchased the

     22   claims that are at issue here.

     23                       And if that's the sole purpose

     24   of admitting this letter into evidence, I don't

     25   think that's a matter that's genuinely in dispute.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       THE COURT:        Okay.

      2                       MR. SCHULTE:         So if that's the only issue

      3   as raised by this letter, I don't know that there's a

      4   dispute there.

      5                       THE COURT:        Right.     Well, that's the whole

      6   thing.

      7                       MR. McENTIRE:         I think we're almost

      8   solving the issue on the fact of how much they paid,

      9   $75 million.

     10                       THE COURT:        Okay.     So I will sustain the

     11   objection to the email to Mr. Dondero's declaration,

     12   Exhibit P 2-1.

     13                       I am going to overrule the objection

     14   to -- I don't know what the letter is of the attachment.

     15                       MR. McENTIRE:         It's Exhibit P 1-H to

     16   Mr. Patrick's affidavit.

     17                       THE COURT:        Correct.      Sorry.

     18                       Okay, Counsel.          If you'll proceed.

     19                       MR. SCHULTE:         May I approach the bench,

     20   Your Honor?        I have a binder of exhibits also.

     21                       THE COURT:        Yes, you may.

     22                       MR. SCHULTE:         These have all been

     23   marked with exhibit stickers already.                    There are tabs

     24   for each of the exhibits.              They're marked R1 through 17,

     25   I believe.        And "R," of course, stands for Respondents.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                        THE COURT:       I take the shortcut of calling

      2   everybody "Plaintiff" and "Defendant" just because

      3   I'm so used to using that language in court.

      4                        But I do agree.          It's Petitioner

      5   and Respondent.          You're not technically a defendant.

      6                        Okay.     So, first of all, I'm going to

      7   admit Plaintiff's Exhibit 1 and Plaintiff's Exhibit 2,

      8   with the sole exception of the email to Mr. Dondero's

      9   declaration that I sustained.

     10                        And then are there objections to the

     11   respondent's exhibits?

     12                        MR. McENTIRE:        Very few.

     13                        I object to Exhibit No. 1 and

     14   Exhibit No. 2 as irrelevant.

     15                        THE COURT:       What's the objection to 1?

     16                        MR. McENTIRE:        They're offering the order

     17   from Judge Purdy.

     18                        THE COURT:       Okay.     I can take judicial

     19   notice of that.          I mean, it's a court record from

     20   Dallas County.         So I don't think that that's

     21   particularly relevant.

     22                        To be bluntly honest, I looked at it last

     23   night.      Right?     Because of the issue that there's

     24   a related case, I pulled that file too and looked

     25   at everything.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       So I can take judicial notice of that.

      2   Whether it's relevant or not, I can look at it.                        And,

      3   obviously, if it's not relevant, I'll disregard it.

      4                       MR. McENTIRE:         Fair enough.

      5                       THE COURT:        I'll overrule that objection.

      6                       What's next?

      7                       MR. McENTIRE:         The only other objections

      8   are Exhibit 12 and 13.             I just don't know what they

      9   are or for what purpose they would be offered.

     10                       THE COURT:        Okay.     So 12 is a notice of

     11   appearance and request for service in the bankruptcy

     12   court on behalf of Hunter Mountain Trust.

     13                       So what's the issue, Counsel?

     14                       MR. SCHULTE:         Your Honor, these are

     15   notices of appearance filed by Hunter Mountain in the

     16   bankruptcy court.

     17                       And the purpose of these notices is simply

     18   to show -- and maybe this is not genuinely in dispute --

     19   that Hunter Mountain, through its counsel, would have

     20   received notice of all the activity that was going on

     21   in the bankruptcy court.

     22                       THE COURT:        It's the same issue I've

     23   got with everything that Plaintiff submitted.                       It's a

     24   bankruptcy pleading.            I can take notice of it.              If it's

     25   irrelevant, I'll disregard it.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       So I'll overrule that objection.

      2                       And then what's 13?

      3                       MR. McENTIRE:         The same objection.

      4                       THE COURT:        I'll overrule it because

      5   again, I can take judicial notice of those.

      6                       MR. McENTIRE:         No other objections,

      7   Your Honor.

      8                       THE COURT:        So Respondent's Exhibits

      9   1 through 17 are so admitted.

     10                       MR. SCHULTE:         May I proceed, Your Honor?

     11                       THE COURT:        Yes, you may.

     12                       MR. SCHULTE:         HMIT -- Hunter Mountain --

     13   races into this court seeking extensive and burdensome

     14   presuit discovery about claims trading that took place

     15   in the Highland bankruptcy two years ago.

     16                       Mr. McEntire has talked about the harm

     17   that would result from delay if a different court were

     18   to consider this request for presuit discovery.                        That is

     19   a function of waiting two years after the subject claims

     20   transfers to seek relief in this court.

     21                       The exact same allegations of claims

     22   trading and misconduct by Jim Seery -- those allegations

     23   are not on the slides that you looked at.                     But those

     24   allegations are common in Mr. Dondero's Rule 202

     25   petition and this petition.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       THE COURT:        Right.     They're common.

      2                       I know you make the allegation that

      3   Dondero is related to Hunter Mountain, but I guess

      4   I don't have any evidence of that.

      5                       Or do you have evidence of that?                  Because

      6   otherwise, while it involves some of the same issues in

      7   the sense of the underlying facts, technically Farallon

      8   is the common respondent.

      9                       But there's a different respondent and

     10   there's a different petitioner in that case.

     11                       MR. SCHULTE:         Yes.    That's true,

     12   Your Honor.        And we've said that on information and

     13   belief.

     14                       THE COURT:        Okay.

     15                       MR. SCHULTE:         That's our suspicion.

     16                       We believe that to be the case, but

     17   I don't have evidence of it.                I didn't hear a denial

     18   of it, but, nevertheless, that is where things stand.

     19                       But what's important about the case is

     20   even if this court and Judge Purdy determined that the

     21   cases are not related, what is important is that the

     22   same allegations related to this claims trading and the

     23   same allegations of inside information being shared by

     24   Mr. Seery, those were front and center in the July 2021

     25   petition filed by Mr. Dondero.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0791
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      1                       Even if there are other dissimilarities

      2   between the cases, those are issues that are common.

      3                       THE COURT:        Okay.

      4                       MR. SCHULTE:         And it's important to note

      5   that as HMIT has filed this petition, it has glossed

      6   over issues of its own standing and the assertion of

      7   viable claims that will justify this discovery.

      8                       Now, I know that HMIT has cited these

      9   cases that say, Your Honor, I don't have to state a

     10   really specific claim right now.

     11                       But you do have to articulate some ground

     12   for relief, some theory, that would justify the expense

     13   and the burden that you're trying to put the respondents

     14   to in responding to all this discovery.

     15                       And this isn't simple discovery.

     16   We're talking about deposition topics with I believe

     17   29 topics each and 13 sets of really broad discovery

     18   requests with a bunch of subcategories.

     19                       THE COURT:        Right.

     20                       MR. SCHULTE:         We're not talking about some

     21   minimal burden here.            This is an intrusion into entities

     22   that are not parties to a lawsuit, but rather this

     23   investigation.

     24                       And HMIT has ignored that there is

     25   a specific mechanism in the bankruptcy court that's


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   available to it under federal bankruptcy Rule 2004 and

      2   that the substance of HMIT's petition, which is claims

      3   trading and bankruptcy, falls squarely within the

      4   expertise of Judge Jernigan, the presiding bankruptcy

      5   judge.

      6                       THE COURT:        And I agree.        You could do

      7   this in federal court.             But there's a lot of things

      8   that can be done in state court or done in federal

      9   court.

     10                       They get to choose the method of getting

     11   the information, so why should I say, theoretically,

     12   yes, this is a good thing, I should do it, but, hey,

     13   send it to bankruptcy.             Why?

     14                       MR. SCHULTE:          The bankruptcy judge has

     15   actually answered that question directly.

     16                       THE COURT:        Okay.

     17                       MR. SCHULTE:          It is true, as HMIT

     18   has said, the federal bankruptcy court doesn't have

     19   jurisdiction over a Rule 202 proceeding.                     That's not in

     20   dispute.

     21                       THE COURT:        Right.

     22                       MR. SCHULTE:          We tried to remove the

     23   last case to federal bankruptcy court and it was a state

     24   claim.

     25                       But what the bankruptcy judge pointed out


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   when she remanded the case back to Judge Purdy, who

      2   ended up dismissing Dondero's petition, is it pointed

      3   out, one, there's this mechanism in bankruptcy where

      4   they can do the exact same thing, Rule 2004.

      5                       And the bankruptcy judge pointed out that

      6   it is in the best position to consider Hunter Mountain's

      7   request.

      8                       It pointed out when it remanded the

      9   case that it had grave misgivings about doing so.

     10   It confirmed that it is in the best position to

     11   consider this presuit discovery.

     12                       THE COURT:        Okay.     This is part of one of

     13   the exhibits?

     14                       MR. SCHULTE:         Yes, Your Honor.          This is

     15   in one of the opinions that I included in the binder,

     16   a courtesy copy of one of those opinions.

     17                       THE COURT:        Oh, at the back?

     18                       MR. SCHULTE:         Yes, Your Honor.

     19                       THE COURT:        Okay.

     20                       MR. SCHULTE:         It's 2022 Bankruptcy

     21   Lexis 5.

     22                       THE COURT:        Okay.     I got it.

     23                       And real quick, for the record,

     24   it's Dondero versus Alvarez & Marsal.                    It's

     25   2022 Bankruptcy Lexis 5.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0794
         Case: 23-10376Doc Document:
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      1                       MR. SCHULTE:         Right.

      2                       And in particular, Your Honor, I'm looking

      3   at pages 31 to 32 of that order.

      4                       THE COURT:        Okay.

      5                       MR. SCHULTE:         What the judge is pointing

      6   out here is it has grave misgivings about remanding the

      7   case because it knows a thing or two about the Highland

      8   bankruptcy, having presided over the case and all the

      9   related litigation for over what's now three years.

     10                       And it's familiar with the legal

     11   and factual issues.            It's familiar with the parties.

     12   It's familiar with claims trading in a bankruptcy case,

     13   which was the very crux of the Dondero petition.                        It's

     14   also the crux of this petition by Hunter Mountain.

     15                       And it observed, the bankruptcy court

     16   did, that any case that could be fashioned from the

     17   investigation would end up in bankruptcy court anyway

     18   because it would be related to the Highland bankruptcy.

     19                       So you ask a really good question,

     20   Your Honor.        Why should I ship it off to the bankruptcy

     21   court.      The answer is Judge Jernigan is in a position

     22   to efficiently and practically deal with this request

     23   because she deals with it all the time and she is

     24   intimately familiar with the legal and factual

     25   issues and with claims trading.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       It's not like Hunter Mountain gets poured

      2   out if it goes to bankruptcy court.                   It has a mechanism

      3   to seek the exact same discovery from Judge Jernigan who

      4   is very familiar with these very particular issues.

      5                       Now, Hunter Mountain says, well,

      6   bankruptcy court is too time-consuming and cumbersome.

      7   It's going to take 60 days to even get this before the

      8   bankruptcy court.

      9                       Well, we're talking about the fact that

     10   they've waited two years to file this proceeding related

     11   to these claims transfers that took place in 2021.

     12                       So, again, what HMIT is asking this court

     13   to do is inefficient and is impractical.                     This court

     14   would need to devote a lot of resources to understand

     15   what the proper scope of any discovery should be,

     16   whether the claims are cognizable.

     17                       And that's just a tall order, Your Honor.

     18   The request is more appropriately dealt with by the

     19   bankruptcy judge, according to a proper bankruptcy

     20   filing.

     21                       It's undisputed that while the bankruptcy

     22   court doesn't have jurisdiction over a 202 petition,

     23   there's no question that it has jurisdiction over a Rule

     24   2004 request for discovery, which is the counterpart

     25   for this type of discovery in bankruptcy court.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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         Case: 23-10376Doc Document:
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                                     Response by Mr. Schulte                           51

      1                       THE COURT:        Right.

      2                       MR. SCHULTE:         The real issue, Your Honor,

      3   and this is the part that Hunter Mountain is dancing

      4   around, is that Hunter Mountain doesn't want to be

      5   in front of Judge Jernigan.

      6                       Judge Jernigan held Mark Patrick --

      7   that is HMIT's principal who verified this petition.

      8   She held him along with Dondero and Dondero's counsel

      9   and others in civil contempt and sanctioned them nearly

     10   $240,000 for trying to join Seery to a lawsuit in

     11   violation of Judge Jernigan's gatekeeping orders.

     12                       HMIT is trying to dodge the bankruptcy

     13   court and its scrutiny of what HMIT is doing as this

     14   petition also targets Seery and the inside information

     15   that he purportedly gave to Farallon and Stonehill.

     16                       This is forum shopping, plain and simple.

     17   And the court should dismiss the petition so that HMIT

     18   can seek this discovery in bankruptcy court.

     19                       Now, I don't want to spend a lot of time

     20   on the related case, but I will emphasize just what I've

     21   mentioned, which is while some of the parties may be

     22   different, we're still talking about the same claims

     23   trading activity that took place in 2021 and the same

     24   allegations of insider dealing by Seery.

     25                       And Judge Purdy, on remand, dismissed


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   that petition where some of the same arguments were made

      2   about judicial efficiency and that the case should be

      3   filed in bankruptcy court.

      4                       And it bears noting, by the way, that

      5   after Judge Purdy dismissed Dondero's Rule 202 petition,

      6   where we had argued that this ought to be in the

      7   bankruptcy court, Dondero didn't file in the bankruptcy

      8   court, which sort of makes the point that they didn't

      9   want to be in front of Judge Jernigan on this either.

     10                       Okay.      Now let's turn to the merits,

     11   Your Honor.        While Mr. McEntire has gone to great

     12   lengths to say we don't have to state claims, he stated

     13   five or six on that PowerPoint presentation of claims

     14   that he envisions.

     15                       But what made it all really crystal clear

     16   is in that notice of supplemental evidence, and that

     17   includes the declaration of Mr. Patrick, there in

     18   paragraphs 15 and 16 it's made clear what Hunter

     19   Mountain really wants.

     20                       THE COURT:        Okay.

     21                       MR. SCHULTE:         What the goal of this

     22   discovery is is to invalidate the claims that Farallon

     23   and Stonehill's entities purchased.

     24                       So let's unpack what it is they purchased.

     25                       THE COURT:        Okay.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0798
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      1                        MR. SCHULTE:        These are claims that were

      2   not ever held by Hunter Mountain.                  These are claims

      3   that were held by Redeemer, Acis, UBS, and HarbourVest.

      4                        THE COURT:       Right.     They were the Class 8

      5   and 9.      Right?

      6                        MR. SCHULTE:        I believe that's correct.

      7                        THE COURT:       Okay.

      8                        MR. SCHULTE:        Those claims were always

      9   superior to whatever it was that Hunter Mountain held.

     10                        So Redeemer, Acis, UBS, and HarbourVest

     11   held those claims.           The parties in the bankruptcy had

     12   the opportunity to file objections to those claims.

     13   And they did.

     14                        And Seery, on behalf of the debtor,

     15   negotiated with Redeemer, Acis, UBS, and HarbourVest

     16   and reached settlements that resolved the priority and

     17   amounts of those claims.

     18                        THE COURT:       Right.

     19                        MR. SCHULTE:        And then filed what's

     20   referred to -- and I'm sure Your Honor knows this --

     21   as a Rule 9019 motion to approve those settlements in

     22   the bankruptcy court.

     23                        THE COURT:       Actually, I don't.           I've never

     24   done bankruptcy but I read it.                 I know the general

     25   process and I did read it.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       MR. SCHULTE:         All right.

      2                       THE COURT:        Just FYI, I've never done

      3   bankruptcy law.          They've got their own rules.

      4                       MR. SCHULTE:         Well, the parties in

      5   the bankruptcy had the opportunity to object to those

      6   settlements and some did so.

      7                       And after evidentiary hearings, the

      8   bankruptcy court granted those motions and allowed

      9   and approved those claims.

     10                       That is really important, Your Honor.

     11                       THE COURT:        Okay.

     12                       MR. SCHULTE:         That's Exhibits 14 through

     13   17 in the binder that I handed you.

     14                       And these are the same exhibits that are

     15   referenced in Hunter Mountain's petition.                     And it bears

     16   noting that the U.S. District Court affirmed those

     17   orders after appeals were taken.

     18                       But the bankruptcy court's approval of

     19   the very same claims that Hunter Mountain now seeks to

     20   investigate and invalidate is entitled to res judicata.

     21                       HMIT can't now second-guess the bankruptcy

     22   court's orders approving those very same claims.                        That's

     23   the effect of the investigation that Hunter Mountain

     24   seeks, the invalidation of claims that are already

     25   bankruptcy court approved.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                      Response by Mr. Schulte                          55

      1                       And it bears noting that each of those

      2   four orders, Exhibits 14 through 17, provides the

      3   following:        quote, "The court" -- the bankruptcy

      4   court -- "shall retain exclusive jurisdiction to

      5   hear and determine all matters arising from the

      6   implementation of this order."

      7                       This would include HMIT's stated goal

      8   of conducting discovery to try to invalidate these

      9   very claims.

     10                       This is yet another reason, Your Honor, to

     11   answer your question earlier of why this request for

     12   discovery should be posed to the bankruptcy court.

     13                       Judge Jernigan, I suspect, would have

     14   views on whether her own orders authorizing these claims

     15   should be overturned.

     16                       Okay.      So HMIT -- Hunter Mountain --

     17   alleges that after the bankruptcy court approved these

     18   claims, Seery disclosed inside information to Farallon

     19   and to Stonehill to encourage them to buy these claims

     20   from the original claimants.                Again, UBS, Redeemer,

     21   Acis, and HarbourVest.

     22                       Farallon, through Muck, which is its

     23   special purpose entity, and Stonehill through Jessup,

     24   which is Stonehill's special purpose entity, acquired

     25   those transferred claims in 2021.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0801
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      1                       And there's no magic in bankruptcy court

      2   to claims transfers.            It's a contractual matter between

      3   the transferors and the transferees.                   It's strictly

      4   between them.

      5                       THE COURT:        Okay.

      6                       MR. SCHULTE:         And there's no bankruptcy

      7   court approval that's even required.

      8                       The transferee, so in this case Muck and

      9   Jessup, had simply to file under federal bankruptcy

     10   Rule 3001(e) a notice saying these claims were

     11   transferred to us.           And they did so.

     12                       Your Honor, that's Exhibit 6 through 11 in

     13   the binder that I handed to you.

     14                       THE COURT:        Okay.

     15                       MR. SCHULTE:         The filings evidencing those

     16   claims transfers were public.                 And Hunter Mountain

     17   received the claims transfer notices.

     18                       And that's the exhibits that we were

     19   talking about, Exhibits 12 through 13, where Hunter

     20   Mountain's lawyers had appeared in the case before those

     21   claims transfer notices were filed.

     22                       So not surprisingly, Hunter Mountain did

     23   not file any objections to those claims transfers.                           And

     24   that's not surprising because under Rule 3001, the only

     25   party that could object to the claims transfers were


                                 GINA M. UDALL, CSR, RPR
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                                      Response by Mr. Schulte                          57

      1   the transferors themselves.

      2                       THE COURT:        Right.

      3                       MR. SCHULTE:         Essentially saying, hold on.

      4   We didn't transfer these claims.                 But of course there's

      5   no dispute that the transfers were made.

      6                       Here, HMIT was neither the transferor nor

      7   the transferee of the claims.                It had no interest in

      8   these claims.         It never did.         It didn't before the

      9   claims transfers and it didn't after the claims

     10   transfers.

     11                       The claims originally belonged to

     12   Redeemer, Acis, UBS, and HarbourVest, and they were then

     13   transferred to Muck and Jessup, which are Farallon's and

     14   Stonehill's entities.

     15                       THE COURT:        Right.

     16                       MR. SCHULTE:         So why does that matter?

     17   That matters because these claims were approved by the

     18   bankruptcy court.           The claims didn't change or become

     19   more valuable after they were transferred.                      The only

     20   difference is who is holding the claims.

     21                       So Hunter Mountain says, hold on.                  What

     22   we're alleging here is that the claims that Farallon and

     23   Stonehill purchased with the benefit of this purported

     24   inside information from Mr. Seery, they're secretly

     25   worth more than expected.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       Those allegations, they're disputed, to be

      2   sure.     But let's assume they're true.                 That situation

      3   has zero impact on Hunter Mountain.

      4                       THE COURT:        Okay.

      5                       MR. SCHULTE:         And that's because this is a

      6   matter that's strictly between the parties to the claims

      7   transfers.        Again, Redeemer, Acis, UBS, and HarbourVest

      8   on the one hand and Farallon and Stonehill on the other.

      9                       And the way we know this is let's

     10   pretend that Muck and Jessup didn't buy these claims,

     11   Your Honor, and that the claims instead have remained

     12   with UBS, HarbourVest, Acis, and whatever the other

     13   one I'm forgetting.            The claims wouldn't have been

     14   transferred, and they would have remained with those

     15   entities.

     16                       In that case, the original claimants would

     17   have held those claims for longer than they wanted.                          And

     18   if HMIT is right, then the claims would have ended up

     19   being worth more than even they expected.

     20                       So why does that matter?              Well, that

     21   matters because if that is all true, Hunter Mountain

     22   would be in the exact same place today.                    Neither better

     23   nor worse off, it would be in the exact same place.

     24                       Either Farallon and Stonehill's entities

     25   are gaining more on these claims than they expected


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                      Response by Mr. Schulte                          59

      1   or UBS, HarbourVest, Acis, and Redeemer, they are

      2   realizing more on these claims than they expected.

      3                       But Hunter Mountain never stood to be paid

      4   on these claims to which it was a stranger.                      These are

      5   claims in which Hunter Mountain never had any interest.

      6                       THE COURT:        So presuming that Hunter

      7   Mountain had expressed interest in buying these claims

      8   and there was insider trading, you don't think that

      9   would be a tortious interference in a potential

     10   contract?

     11                       MR. SCHULTE:         If there was insider trading

     12   of the type that Hunter Mountain alleges in this case,

     13   it would have no impact on the rights of Hunter

     14   Mountain.

     15                       If that's true, maybe there was a fraud on

     16   the bankruptcy court.            The bankruptcy court would surely

     17   be interested in that.             Maybe there was a fraud on the

     18   transferors.        I mean, maybe UBS, Redeemer, Acis -- why

     19   do I always forget the third one? -- and HarbourVest.

     20                       THE COURT:        Like I said, I had a chart

     21   last night of all the names.                Obviously, I haven't been

     22   involved in this case up until now, and there's a lot of

     23   names.

     24                       MR. SCHULTE:         Yes.

     25                       The transferors of the claims might say,


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0805
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      1   well, wait a minute.            I wish I would have known this

      2   inside information.            I'm the one that was really injured

      3   here.

      4                       Because if there was really meat on this

      5   bone, Your Honor, then the injured parties would be

      6   the transferors of the claims:                 Redeemer, Acis, UBS,

      7   and HarbourVest.

      8                       Because the crux of HMIT's petition is

      9   that those entities, the transferors, were duped into

     10   selling their claims for too little when the claims were

     11   secretly worth more.

     12                       Well, if that's true, you would expect

     13   that the transferors would be screaming up and down

     14   the hallway, saying we didn't get paid enough.

     15                       THE COURT:        Right.

     16                       MR. SCHULTE:         We are the injured parties

     17   here, we are the ones with damages, we want to unwind

     18   these claims transfers, or we want to be paid more on

     19   these claims transfers.

     20                       But the rights of those entities,

     21   the transferors, to complain about these allegations

     22   doesn't mean that Hunter Mountain can also stand up and

     23   say, well, I want to complain too.                  Because Hunter

     24   Mountain never stood to be paid on these claims.

     25                       The question is if somebody was duped,


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   if somebody was injured, if anybody it was the

      2   transferors, not Hunter Mountain.                  The transferors would

      3   be the only real parties in interest that would have

      4   been injured by what Hunter Mountain alleges.

      5                       But it's notable that none of those

      6   transferors has filed an objection to these transfers.

      7                       THE COURT:        Right.

      8                       MR. SCHULTE:         None of them has filed a

      9   Rule 202 proceeding.            None of them has filed a Rule 2004

     10   proceeding seeking discovery about inside information

     11   that Farallon and Stonehill allegedly had.                      It is

     12   Hunter Mountain who is an absolute stranger to

     13   these claims trading transactions.

     14                       And so HMIT is trying to inject itself

     15   into a transaction to which it was never a party and

     16   which it never had any interest.

     17                       The sellers were entitled to sell those

     18   claims to any buyer they wanted to on whatever terms

     19   they agreed to.

     20                       And if there was some information that

     21   they didn't have the benefit of that the buyers did,

     22   you would expect the transferors, if anyone at all,

     23   to be the ones complaining about it.                   But that's not

     24   what we have here.

     25                       THE COURT:        Okay.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       MR. SCHULTE:         All right.       Another note

      2   that Hunter Mountain glosses over is duty.

      3                       So all the claims that were listed on

      4   the PowerPoint all require that there must have been

      5   some kind of a duty owed by Farallon and Stonehill to

      6   Hunter Mountain.          But there's no duty owed to a stranger

      7   to a claims trading transaction.

      8                       Yet again, if anybody were to have a

      9   duty owed to it, I guess it would be the transferors

     10   of the claims even though that was an arm's length

     11   transaction.

     12                       But it's not a stranger to the transaction

     13   and a stranger that has no interest in the claims that

     14   we're talking about here.

     15                       THE COURT:        Okay.

     16                       MR. SCHULTE:         Nor has Hunter Mountain

     17   identified any authority for a private cause of action

     18   belonging to Hunter Mountain related to these claims

     19   transfers.

     20                       Hunter Mountain doesn't have the right to

     21   assert claims on behalf of other parties.                     It only has

     22   the right to assert claims on behalf of itself when it

     23   has been personally aggrieved.

     24                       I heard Mr. McEntire say several times

     25   during his presentation that Hunter Mountain had a


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                                      Response by Mr. Schulte                          63

      1   99.5 percent equity interest in Highland Capital.

      2                       THE COURT:        Right.

      3                       MR. SCHULTE:         I think it's important to

      4   point out that that equity interest was completely

      5   extinguished by the confirmed plan in the bankruptcy

      6   case.

      7                       As Your Honor pointed out, we have the

      8   waterfall, and Classes 1 through 9 have to be paid in

      9   full.     And you know what Classes 8 and 9 are?                    General

     10   unsecured claims and subordinated claims.

     11                       And the only way that Hunter Mountain

     12   is ever in the money, as Mr. McEntire was saying, with

     13   its Class 10 claim is if Seery, the claimant trustee,

     14   certifies that all claims in 1 through 9 are paid in

     15   full 100 percent with interest and all indemnity claims

     16   are satisfied.

     17                       There has been no such certification by

     18   Mr. Seery, and there may never be such a certification

     19   by Mr. Seery.

     20                       THE COURT:        Okay.

     21                       MR. SCHULTE:         So that is real important

     22   because the idea that Hunter Mountain stands to somehow

     23   gain from this transaction is flawed for the reasons

     24   we've already talked about.

     25                       But it's also flawed because they have


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      1   what is, at best, a contingent interest.                     It's

      2   contingent on things that have not yet occurred.                        And

      3   under the case law, they don't have standing conferred

      4   on them in that interest.

      5                       THE COURT:        Okay.

      6                       MR. SCHULTE:         So for all those reasons why

      7   there is no interest in the claims, no legal damages, no

      8   duty owed to it, no private cause of action belonging

      9   to it and a hypothetical and contingent interest, HMIT

     10   lacks standing to investigate or challenge these claims

     11   and claims transfers to which it was not a party and in

     12   which it had zero interest.

     13                       And for any or all of the reasons

     14   we've talked about, Your Honor, their petition should be

     15   dismissed.        I welcome any questions the court may have.

     16                       THE COURT:        No.     My head is kind of

     17   spinning.       Like I said, I spent all day yesterday

     18   reading stuff.         As I said, I will admit I've never

     19   practiced bankruptcy law.

     20                       I mean, my joking statement is I pretty

     21   much know enough to not be in contempt of bankruptcy

     22   court.      Because I have cases where one of the defendants

     23   or one of the parties ends up in bankruptcy court and

     24   whether or not I can proceed with my case, et cetera.

     25   That's my whole goal is not to be in contempt of court.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       MR. SCHULTE:         That should be the goal, is

      2   to not be in contempt of the bankruptcy court.

      3                       MR. McENTIRE:         May I have just five or ten

      4   minutes?

      5                       THE COURT:        I don't have another hearing,

      6   so we're fine on time.

      7                       MR. McENTIRE:         All right.       In all due

      8   deference to Mr. Schulte, the last 15 minutes of his

      9   argument misstates the law.

     10                       THE COURT:        Okay.

     11                       MR. McENTIRE:         The Washington Mutual case

     12   addresses almost 90 percent of what he just talked

     13   about.      Their equity was entitled to bring an action

     14   to basically disallow an interest that was acquired by

     15   inside information.

     16                       Okay.      And so he has not addressed the

     17   Washington Mutual case at all.

     18                       THE COURT:        Well, okay.        So my question

     19   is let's say that the insider trading didn't happen.

     20                       I mean, when I was playing with the

     21   numbers last night, it doesn't appear that Hunter

     22   Mountain, being Class 10, would have gotten anything

     23   anyways even if.          Right?

     24                       Like I said, I did a lot of reading last

     25   night, so I want to make sure I understand.


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                         Official Reporter, 191st District Court
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      1                       MR. McENTIRE:         Fair enough.        I think I can

      2   address that.

      3                       The bottom line is a wrongdoer should

      4   not be entitled to profit from his wrong.                     That's

      5   the fundamental premise behind the restatement on

      6   restitution.        That's the fundamental purpose of

      7   the Washington Mutual case.

      8                       You have remedies, including disgorgement,

      9   disallowance or subordination.

     10                       THE COURT:        I'm just trying to be devil's

     11   advocate because I'm trying to work through this.

     12                       So let's say it did happen and the court

     13   ordered disgorgement and invalidated these transfers,

     14   then the money would just go to the Class 8 and

     15   Class 9.       Right?     To Acis, UBS, HarbourVest, etc.

     16                       MR. McENTIRE:         No, they would not.

     17   Because those claims have already been traded.

     18                       THE COURT:        Okay.     Well, that's

     19   what I'm saying.

     20                       If the court said there was insider

     21   trading and to disallow the transfer and ordered

     22   disgorgement, theoretically, back to Highland Capital,

     23   then the money is there.

     24                       Okay.      So then it would just go to Acis

     25   and UBS.       Right?


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      1                       MR. McENTIRE:         The remedy here is to

      2   subordinate their claims.              HarbourVest, UBS, Acis, and

      3   the Redeemer committee have sold their claims.                        They can

      4   intervene if they want and that's up to them.                       If they

      5   want to take the position that they were defrauded,

      6   that's up to them.

      7                       THE COURT:        Okay.

      8                       MR. McENTIRE:         Otherwise, the remedy is to

      9   disgorge the proceeds and put them back into the coffers

     10   of the bankruptcy court in which case Category 8 and 9

     11   would be brimful, overflowing, and flow directly into

     12   the coffers in Class 10.

     13                       And that's the purpose of 15 and 16 in

     14   Mr. Patrick's affidavit.

     15                       THE COURT:        Okay.

     16                       MR. McENTIRE:         I find it amazing that he

     17   refers to Judge Jernigan's orders where he said anything

     18   dealing with these claims must come back to me.                        I have

     19   exclusive jurisdiction.             I recall that argument.

     20                       THE COURT:        Right.

     21                       MR. McENTIRE:         Well, she could have

     22   accepted the removal of Mr. Dondero in that other

     23   proceeding.        She didn't.        She said I don't have

     24   jurisdiction over this.             I'm sending it back to

     25   the state court.


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                         Official Reporter, 191st District Court
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      1                       THE COURT:        Okay.     Because it was filed

      2   as a 202.       If it had been filed as a Rule 404, then she

      3   would have had jurisdiction because you're specifically

      4   invoking a state court process.                 Right?

      5                       MR. McENTIRE:         I'm invoking exclusively

      6   a state court process because of the benefit it

      7   provides.       That is a strategic choice that this

      8   petitioner has elected.             It has nothing to do with

      9   bankruptcy court, other than bankruptcy court is too

     10   slow.

     11                       All the invective about the prior contempt

     12   order has nothing to do with these proceedings.

     13   Mr. Dondero is not involved in these proceedings.

     14                       If HarbourVest and UBS want to intervene

     15   in some subsequent lawsuit, they have a right to do so.

     16   I can't stop them.

     17                       But until then, we have stated a cause

     18   of action or at least a potential cause of action which

     19   is insider trading.            That from an outsider makes them an

     20   insider that owes fiduciary duties to the equity.

     21                       Washington Mutual allowed equity to come

     22   in and disallow those claims.                 And if those claims are

     23   disallowed, the Class 10 is going to be overflowing on

     24   the waterfall.         And that's my client.

     25                       A couple of other things.              Hunter Mountain


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      1   is not a stranger.           Hunter Mountain was the big elephant

      2   in the room until the effective date of the plan.

      3                       We held 99.5 percent of the equity stake

      4   and when all of these wrongdoings occurred, Hunter

      5   Mountain was still the 99.5 percent equity stakeholder.

      6                       It's only after the bankruptcy plan had

      7   gone effective, after these claims had already been --

      8                       THE COURT:        Wait.     The insider trading

      9   happened after the bankruptcy had been filed but before

     10   the bankruptcy was resolved.

     11                       So it's during that process.                Right?

     12                       MR. McENTIRE:         You have filing a

     13   bankruptcy.        You have a bankruptcy plan.               You have

     14   confirmation of the plan, but it doesn't go effective

     15   until six months later.

     16                       THE COURT:        Right.

     17                       MR. McENTIRE:         After the bankruptcy

     18   plan was confirmed and they had dismal estimates of

     19   recovery -- 71 percent on Class 8, zero percent on

     20   Class 9 -- that's when Farallon and Stonehill purchased

     21   the claims.

     22                       But they purchased the claims at a time

     23   before the bankruptcy wasn't effective.                    And so the

     24   so-called claimant trust agreement had not gone into

     25   effect until several months later.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       THE COURT:        Okay.

      2                       MR. McENTIRE:         And during this period of

      3   time Hunter Mountain was the very, very largest

      4   stakeholder.

      5                       THE COURT:        Okay.

      6                       MR. McENTIRE:         And so to call it a

      7   stranger is just not right and it's not fair because

      8   we're anything but a stranger.

      9                       They make an argument that Hunter Mountain

     10   didn't object to the settlements.                  Well, so what?

     11   I'm not attacking the underlying settlements.

     12   I'm attacking the claims transfers.

     13                       And then he says, well, why didn't they

     14   object to the claims transfers.                 Well, he finally

     15   conceded that the claims transfers are not actually

     16   subject to a judicial scrutiny by the bankruptcy court.

     17                       This court is uniquely qualified to

     18   review these claims transfers as is Judge Jernigan.

     19   Insider information is insider information as a rose

     20   is a rose is a rose.            And any court of law is qualified

     21   to determine whether insider information was used.

     22                       Judge Jernigan did not say, okay,

     23   Farallon, you can buy this claim.                  There was no

     24   judicial process here.

     25                       THE COURT:        Right.     I mean, it's a motion.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   We want to do this, just get approval.

      2                       MR. McENTIRE:         They don't even have to get

      3   approval.

      4                       THE COURT:        Okay.

      5                       MR. McENTIRE:         All they have to do is file

      6   notice.

      7                       THE COURT:        Okay.     File the notice.

      8                       MR. McENTIRE:         Judge Jernigan was not

      9   involved at all.

     10                       We had no reason to object.               All we know

     11   there's a claims transfer.               It's not until later that

     12   we discover that inside information was used and that's

     13   why we're here.

     14                       So we didn't object to the original

     15   claims.      There was no need to.            The original settlements

     16   rather.      There was no need to.            There was no objection

     17   to the claims transfers.

     18                       There was no mechanism to object, other

     19   than what we're doing here today.                  This is our

     20   objection.        This is our attempt to object.

     21                       Because we believe that they have acquired

     22   hundreds of millions of dollars of ill-gotten gain and

     23   if that is true, not only will Hunter Mountain be

     24   benefited tremendously, but other unsecured creditors.

     25   They are very few but they will be also benefited.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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                                     Response by Mr. McEntire                          72

      1                       Frankly, Judge Jernigan may want that to

      2   happen.

      3                       THE COURT:        Okay.

      4                       MR. McENTIRE:         But we're here to get the

      5   discovery so I can pull it all together within the next

      6   30 days or 40 days.            So I can make decisions before

      7   somebody might suggest, hey, well, you should have

      8   filed this a little bit earlier.

      9                       And so, Judge, that's why we're here,

     10   in the interest of time.              And that was my decision.

     11   That was my strategic decision to bring it here.

     12                       THE COURT:        Right.

     13                       MR. McENTIRE:         He says that Rule 3001 is

     14   the exclusive remedy.            Only transferors can complain

     15   about transferees or vice versa.

     16                       THE COURT:        You're not necessarily

     17   complaining about the actual transfer.                    It's how

     18   the transfer came about.

     19                       MR. McENTIRE:         That's right.

     20                       And to suggest that that is the governing

     21   principle that this court should consider is an absolute

     22   contradiction to the Washington Mutual case.

     23                       Because if fraud is in play, if inside

     24   information is in play, then it impacts everyone who

     25   is a stakeholder.           Everyone.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       THE COURT:        Okay.

      2                       MR. McENTIRE:         And we are one of the

      3   largest stakeholders in the bankruptcy proceedings,

      4   even today.        So that's all I have.

      5                       I thank you for your attention,

      6   Your Honor.        Clearly, the benefit here is we get to

      7   uncover some things that need to be uncovered.                        And

      8   we'd like to do it so in a timely fashion.

      9                       And if we don't have a claim, we don't

     10   have a claim.         If we have a claim, then we may file it

     11   in a state district court.

     12                       And if Judge Jernigan and her gate-keeping

     13   orders require us to go there, we'll go there.                        I'm not

     14   going to run afoul of any rule she has, but we need to

     15   get this underway.

     16                       THE COURT:        Okay.

     17                       MR. SCHULTE:         Your Honor, may I make some

     18   rifle-shot responses?

     19                       THE COURT:        Yeah.      That's fine.

     20                       MR. SCHULTE:         Okay.     Mr. McEntire has said

     21   that they are one of the largest stakeholders in the

     22   Highland bankruptcy based on this 99.5 percent equity.

     23   That equity was extinguished in the fifth amended plan.

     24                       That's Exhibit 3 that I handed you,

     25   Your Honor.        That plan was filed in January of 2021


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1   before any of these claims transfers took place.

      2   The equity was extinguished by virtue of the plan.

      3                       THE COURT:        Okay.

      4                       MR. SCHULTE:         Mr. McEntire was talking

      5   about this Washington Mutual case.                  I read the case.

      6                       But what he said repeatedly, and I think

      7   it's really important to listen to what Mr. McEntire

      8   said about this case, is that that court allowed the

      9   equity to come in and talk about these transfers.

     10                       Hunter Mountain doesn't have any equity.

     11   That equity was extinguished in the plan for reasons

     12   I just discussed.           So for being the largest stakeholder,

     13   according to Mr. McEntire, in the bankruptcy what does

     14   Hunter Mountain have to show for that?                    A Class 10.

     15                       As Your Honor pointed out, a Class 10

     16   interest, that is below everybody else.                    And that's

     17   where they've been relegated.

     18                       And to answer your question, Your Honor,

     19   that you posed to Mr. McEntire that I'm not sure was

     20   ever answered, HMIT -- Hunter Mountain -- at Class 10

     21   stood to gain nothing when the plan was put together.

     22   So the largest stakeholder stood to gain nothing.

     23                       I've pointed to the language in the

     24   court's order about how the court has exclusive

     25   jurisdiction.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
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      1                       And Your Honor nailed the answer to the

      2   concern raised by Mr. McEntire, which is the bankruptcy

      3   court didn't have jurisdiction over a 202 proceeding.

      4   But it unquestionably has authority over the

      5   counterpart, 2004 in bankruptcy court.

      6                       THE COURT:        Right.

      7                       MR. SCHULTE:         Finally, I have never argued

      8   and if I did say this, I apologize.                   I have never argued

      9   that Hunter Mountain is somehow a stranger to the

     10   bankruptcy.

     11                       THE COURT:        Right.     They were obviously

     12   involved in the bankruptcy, but they're a stranger to

     13   these transfers.

     14                       MR. SCHULTE:         Exactly.      They were a

     15   stranger to these transactions.                 They didn't have any

     16   interest in these claims.

     17                       They don't stand to gain anything if

     18   the claims are either rescinded or if the claims are

     19   invalidated or the transfers are invalidated.                       They

     20   don't stand to get anything because they never had

     21   any interest in these claims.

     22                       The claims are the claims and either UBS,

     23   Redeemer, Acis, and HarbourVest stood to gain more than

     24   expected or Farallon and Stonehill stand to gain more

     25   than expected.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0821
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
                                            Page: 826 Entered
                                           03/28/23       Date Filed: 04/12/2023
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                                             File Interlocutory
                                                    124 of 136 Appeal Page 401 of 418
                                     Response by Mr. McEntire                          76

      1                       And if anybody is really injured here,

      2   it's not Hunter Mountain.              It's the transferors who

      3   were duped into these transfers, according to Hunter

      4   Mountain.       And they would be the ones that would have

      5   damage and have a claim along the lines of what

      6   Hunter Mountain is trying to assert on behalf

      7   of all stakeholders.

      8                       Your Honor, I have a proposed order, as

      9   Mr. McEntire does.

     10                       May I bring it up?

     11                       THE COURT:        Yes, you may.

     12                       Okay, Mr. McEntire.            Anything else?

     13                       MR. McENTIRE:         His last few statements are

     14   inconsistent with the law, Your Honor.

     15                       THE COURT:        Okay.

     16                       MR. McENTIRE:         Because the law clearly,

     17   clearly indicates that we are a beneficiary.                       And

     18   that's what the Washington Mutual case stands for.

     19                       THE COURT:        Okay.     Wait.     Let me make sure

     20   I know which one.

     21                       Do you have a cite for that case?

     22                       MR. McENTIRE:         Yes, ma'am.        It's in the

     23   PowerPoint.

     24                       THE COURT:        That's fine.        I just wanted

     25   to make sure I could find it.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0822
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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                                     Response by Mr. McEntire                          77

      1                       MR. McENTIRE:         There's also a Fifth

      2   Circuit case that talks about subordination where

      3   a Class 8 and Class 9 would actually be subordinated,

      4   Your Honor, to our claim.

      5                       So that's another approach to this, is

      6   subordination.

      7                       THE COURT:        Okay.

      8                       MR. McENTIRE:         And that's the In re Mobile

      9   Steel case out of the Fifth Circuit.                   I think there's a

     10   cite in our brief.

     11                       THE COURT:        Okay.

     12                       MR. McENTIRE:         I acknowledge that

     13   we're now classified with a different name.                      We're

     14   a B/C limited partner.             And we're, in effect, a Class 10

     15   beneficial interest.

     16                       But we're there having been a 99.5.                   And

     17   the lion share of any money, 99.5 percent of any money

     18   that overflows into bucket No. 10 is ours.

     19                       THE COURT:        Right.

     20                       Okay.      I am processing.          Obviously, I need

     21   to take this into consideration.                 I haven't had a chance

     22   to go through Respondent's exhibits.

     23                       I've looked through the plaintiff's

     24   exhibits, but now I have much more of a focus of what

     25   I'm doing.


                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0823
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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                                              Adjournment                              78

      1                       So I will try to get you all a ruling

      2   by the end of next week.              I apologize.        I've got a

      3   special setting next week that's going to be kind

      4   of crazy, but I will do everything I can.

      5                       If you all haven't heard from me by next

      6   Friday afternoon, call my coordinator Texxa and tell

      7   her to bug me.

      8                       MR. McENTIRE:         Thank you for your time.

      9                       THE COURT:        You all are excused.            Have

     10   a great day.

     11

     12

     13                       (This completes the Reporter's Record,

     14                       Petitioner Hunter Mountain Investment

     15                       Trust's Rule 202 Petition, which was

     16                       heard on Wednesday, February 22, 2023.)

     17

     18

     19

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                                 GINA M. UDALL, CSR, RPR
                         Official Reporter, 191st District Court
                                                                           Appx_0824
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
                                            Page: 829 Entered
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                                                    127 of 136 Appeal Page 404 of 418
                                      Reporter's Certificate                           79

      1   STATE     OF     TEXAS    )

      2   COUNTY OF DALLAS          )

      3                  I, Gina M. Udall, Official Court Reporter

      4   in and for the 191st District Court of Dallas County,

      5   State of Texas, do hereby certify that the above and

      6   foregoing contains a true and correct transcription of

      7   all portions of evidence and other proceedings requested

      8   in writing by counsel for the parties to be included in

      9   this volume of the Reporter's Record in the above-styled

     10   and numbered cause, all of which occurred in open court

     11   and were reported by me.

     12                  I further certify that this Reporter's Record

     13   of the proceedings truly and correctly reflects the

     14   exhibits, if any, offered by the respective parties.

     15                  I further certify that the total cost for the

     16   preparation of this Reporter's Record is $750.00 and was

     17   paid by the attorney for Respondents.

     18                  WITNESS MY OFFICIAL HAND on this the 1st day of

     19   March 2023.

     20

     21                                     /S/    Gina M. Udall
                                        Gina M. Udall, Texas CSR #6807
     22                                 Certificate Expires: 10-31-2024
                                        Official Reporter, 191st District
     23                                 Court of Dallas County, Texas
                                        George Allen Sr. Courts Building
     24                                 600 Commerce St., 7th Floor
                                        Dallas, Texas 75202
     25                                 Telephone: (214) 653-7146


                                  GINA M. UDALL, CSR, RPR
                          Official Reporter, 191st District Court
                                                                           Appx_0825
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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                      Exhibit 4-C




                                                                            Appx_0826
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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                                      CAUSE No. DC-23-01004

                                                  §
  INRE:                                           §           IN THE DISTRICT COURT
                                                  §
  HUNTER MOUNTAIN INVESTMENT TRUST,               §           DALLAS COUNTY, TEXAS
                                                  §
          Petitioner.                             §           J9] ST JUDICIAL DISTRICT
                                                  §

                                              ORDER

          Came on for consideration Petitioner Hunter Mountain Investment Trust's Ver/fied Rule

  202 Petition ("Petition") filed by petitioner Hunter Mountain Investment Trust ("HMIT"). The

  Court, having considered the Petition, the joint verified response in opposition filed by

  respondents Farallon Capital Management, L.L.C. ("Farallon") and Stonehill Capital

  Management LLC ("Stonehill"), HMIT's reply, the evidence admitted during the hearing

  conducted on February 22, 2023, the argument of counsel during that hearing, Farallon's and

  Stonehill's post-hearing brief, the record, and applicable authorities, concludes that HMIT's

  Petition should be denied and that this case should be dismissed. Therefore,

          The Court ORDERS that HMIT's Petition be, and is hereby, DENIED, and that this case

  be, and is hereby, DISMISSED.

          THE COURtO ORDERS.

          Signed this     day of March, 2023.




                                                                             AUGHTER




                                                                                         Appx_0827
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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                      Exhibit 4-D




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         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
                                            Page: 833 Entered
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                                                                                  State of Delaware
                                                                                  Secretary of State
                                                                               Division of Corporations
                                                                            Delivered 09:24 AM 03/09/2021
                                                                             FILED 09:24 AM 03/09/2021
                                                                        SR 20210838989 - FileNumber 5421257



                                 CERTIFICATE OF FORMATION

                                                 OF

                                       Muck Holdings, LLC

        FIRST: The name of the limited liability company is:

                                       Muck Holdings, LLC

        SECOND: Its registered office in the State of Delaware is to be located at 251 Little
    Falls Drive, in the City of Wilmington, Delaware, 19808, and its registered agent at such
    address is CORPORATION SERVICE COMPANY.


        IN WITNESS WHEREOF, the undersigned, being the individual forming the Company,
    has executed, signed and acknowledged this Certificate of Formation this 9 th day of March,
    2021.




                                                 By: /s/ Hanchang Sohn
                                                     Name: Hanchang Sohn
                                                     Title: Authorized Person




6109645v.1 344/05975
                                                                                          Appx_0829
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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                                           03/28/23       Date Filed: 04/12/2023
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                      Exhibit 4-E




                                                                            Appx_0830
                     Case: 23-10376Doc Document:
            Case 19-34054-sgj11        3699-4 Filed
                                       3721-2      5 04/05/23
                                                        Page: 835 Entered
                                                       03/28/23       Date Filed: 04/12/2023
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                                              CERTIFICATE OF FORMATION

                                                                 OF

                                                      Jessup Holdings LLC

                  FIRST:               The name of the limited liability company is Jessup Holdings LLC.

                  SECOND:              The address of its registered office in the State of Delaware is 1013
                                       Centre Road, Suite 403-B in the City of Wilmington, Delaware
                                       19805, in the County of New Castle. The name of its registered
                                       agent at such address is V cotp Services, LLC.

                  THIRD:               Members may be admitted in accordance with the terms of the
                                       Operating Agreement of the limited liability company.

                        IN WITNESS WHEREOF, the undersigned has executed this Certificate
                  of Formation on April 08, 2021.


                                                                          ls/Taylor Lolya
                                                                         Taylor Lolya, Authorized Person




          State of Delaware
          Secretary of State
       Division of Corporations
    Delivered 01:10 PM 04/08/2021
     FILED 01:10 PM 04/08/2021
SR 20211222936 - File Number 5822640                                                                   Appx_0831
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
                                            Page: 836 Entered
                                           03/28/23       Date Filed: 04/12/2023
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                      Exhibit 4-F




                                                                            Appx_0832
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
                                            Page: 837 Entered
                                           03/28/23       Date Filed: 04/12/2023
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Exhibit HMIT Emergency Motion
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                                             File Interlocutory
                                                    135 of 136 Appeal Page 412 of 418

  From:            Roger L. McCleary
  To:              Schulte, David C (DAL - X59419)
  Cc:              Sawnie A. McEntire
  Subject:         HMIT — court’s order/HMIT"s request for information
  Date:            Thursday, March 9, 2023 3:46:00 PM


 David,

             Thank you. This ruling denies Hunter Mountain Investment Trust (“HMIT”) the
 investigatory discovery sought from Farallon Capital Management, LLC (“Farallon”) and
 Stonehill Capital Management, LLC (“Stonehill”) under Tex. R. Civ. P. 202. Accordingly,
 HMIT requests that Farallon and Stonehill advise whether they will voluntarily provide some
 or all of the information and documents requested in HMIT’s Rule 202 Petition and, if so,
 under what terms. Please let us know by Tuesday, March 14th, whether Farallon and Stonehill
 will consider doing so. If so, we are available to discuss this at your earliest convenience.

      In any event, HMIT also requests that Farallon and Stonehill voluntarily respond to the
 following two specific requests, which they can answer in a matter of minutes:

       1. A simple description of the legal relationship: a) between Farallon and Muck Holdings,
          LLC (“Muck”), and b) between Stonehill and Jessup Holdings, LLC (“Jessup”).
       2. Whether: a) Farallon is a co-investor in any fund in which Muck holds an interest
          related to the Claims at issue in the Rule 202 Petition; b) Stonehill is a co-investor in
          any fund which Jessup holds an interest related to the Claims at issue in the Rule 202
          Petition.    

 We would also appreciate prompt written responses to these two specific requests. To the
 extent we do not receive written responses to these two requests by close of business on
 Tuesday, March 14th, this will be taken as Farallon and Stonehill’s refusal to provide the
 requested responses. Similarly, to the extent we do not receive a written confirmation of
 Farallon and Stonehill’s willingness to discuss voluntary production of more of the
 information and documents requested in HMIT’s Rule 202 Petition by then, this will be taken
 as their refusal to consider doing so.

             Please let us know if you or your clients have any questions about this request. Thank
 you.

 Regards, Roger.

 Roger L. McCleary
 Parsons McEntire McCleary PLLC
 One Riverway, Suite 1800
 Houston, TX 77056
 Tel: (713) 960-7305
 Fax: (832) 742-7387
 www.pmmlaw.com

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                                                                                             Appx_0833
         Case: 23-10376Doc Document:
Case 19-34054-sgj11        3699-4 Filed
                           3721-2      5 04/05/23
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 the original message.

 From: Schulte, David C (DAL - X59419) <David.Schulte@hklaw.com>
 Sent: Wednesday, March 8, 2023 9:08 PM
 To: Sawnie A. McEntire <smcentire@pmmlaw.com>; Roger L. McCleary <rmccleary@pmmlaw.com>
 Cc: Timothy J. Miller <tmiller@pmmlaw.com>
 Subject: [EXTERNAL] HMIT — court’s order

 Counsel--attached is a copy of the court's order in this case.

 Dave

 David C. Schulte | Holland & Knight
 Partner
 Holland & Knight LLP
 1722 Routh St., Suite 1500 | Dallas, TX 75201
 Cell 214-274-4141
 Phone 214-964-9419
 Fax 214-964-9501
 david.schulte@hklaw.com | www.hklaw.com


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         Case: 23-10376Doc Document:
Case 19-34054-sgj11                   5 04/05/23
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Exhibit HMIT Emergency
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                                                 Interlocutory
                                                        Page 1Appeal
                                                                of 2    Page 414 of 418




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                         §
                                                §
 HIGHLAND CAPITAL                               §    Chapter 11
 MANAGEMENT, L.P.                               §
                                                §    Case No. 19-34054-sgj11
           Debtor.                              §

 ORDER GRANTING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
        MOTION FOR LEAVE TO FILE ADVERSARY PROCEEDING
          Upon consideration of the Emergency Motion for Leave to File Adversary Proceeding

[Dkt. __] (the “Motion”) filed by Hunter Mountain Investment Trust (“HMIT”), and having

considered any responses thereto, the Court finds that: (1) the claims alleged in HMIT’s Proposed

Adversary Complaint [Dkt. __-1] against James P. Seery (“Seery”), Stonehill Capital

Management, LLC, Farallon Capital Management, LLC, Muck Holdings, LLC, and Jessup

Holdings, LLC (the “Claims”) are colorable; (2) any demand on any other persons or entities to



                                               1
                                                                                      Appx_0835
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                   5 04/05/23
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Exhibit HMIT Emergency
                    Proposed
                        MotionOrder
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                                    Proposed
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                                                 Interlocutory
                                                        Page 2Appeal
                                                                of 2    Page 415 of 418



prosecute the Claims would be futile; (3) HMIT is an appropriate party to bring the Claims on

behalf of the Reorganized Debtor and the Highland Claimant Trust; and (4) HMIT’s Motion should

be granted.

       It is therefore ORDERED THAT:

       1.     The Motion is GRANTED.

       2.     HMIT is granted leave to file its Proposed Adversary Complaint [Dkt. __-1] as an

adversary proceeding in this Court.

                                      ###END OF ORDER###



Submitted by:
Parsons McEntire McCleary PLLC

/s/ Sawnie A. McEntire______
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Counsel for Hunter Mountain Investment Trust




                                               2
                                                                                   Appx_0836
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
                           3721-2 Filed  Page: 841 Entered
                                                        Date Filed: 04/12/2023
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Exhibit HMIT Emergency Motion for Leave to File Interlocutory Appeal Page 416 of 418




           Proposed Order




                                                                          Appx_0837
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
                           3721-2 Filed  Page: 842 Entered
                                                        Date Filed: 04/12/2023
                                                              04/05/23 11:56:10 Desc
Exhibit HMIT Emergency Motion for Leave to File Interlocutory Appeal Page 417 of 418




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                        §
                                               §
 HIGHLAND CAPITAL                              §    Chapter 11
 MANAGEMENT, L.P.                              §
                                               §    Case No. 19-34054-sgj11
           Debtor.                             §

 ORDER GRANTING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
         MOTION FOR LEAVE TO FILE INTERLOCUTORY APPEAL

          Upon consideration of the Emergency Motion for Leave to File Interlocutory Appeal

(“Motion”), filed by Hunter Mountain Investment Trust (“HMIT”), and the Court’s Order Denying

Application for Expedited Hearing [DE #3700] (Doc. 3713) (“Order”) and the specific orders: (1)

denying Hunter Mountain Investment Trust’s Opposed Application for Expedited Hearing on its

Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3700), and (2) requiring

HMIT to contact the Court’s clerk to set a hearing no sooner than April 19, 2023, both of which




                                              1
                                                                                    Appx_0838
         Case: 23-10376Doc Document:
Case 19-34054-sgj11                  5 04/05/23
                           3721-2 Filed  Page: 843 Entered
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orders are contained in the Order, and having considered any responses thereto, the Court finds

that Motion should be granted. It is therefore:

       ORDERED that the Motion is GRANTED; and

       IT IS FURTHER ORDERED that HMIT is granted leave to file an interlocutory appeal

of the Order and the included orders: (1) denying Hunter Mountain Investment Trust’s Opposed

Application for Expedited Hearing on its Emergency Motion for Leave to File Verified Adversary

Proceeding (Doc. 3700), and (2) requiring HMIT to contact the Court’s clerk to set a hearing no

sooner than April 19, 2023.

                                      ### End of Order ###


Submitted by:
PARSONS MCENTIRE MCCLEARY PLLC

/s/ Sawnie A. McEntire______
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Counsel for Hunter Mountain Investment Trust
3118994.1




                                                  2
                                                                                    Appx_0839
                 Case: 23-10376    Document: 5 Page: 844 Date Filed: 04/12/2023
               Case 3:23-cv-00737-N Document 1 Filed 04/06/23 Page 1 of 4 PageID 1
BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §
                                                             §    Case No.: 19−34054−sgj11
                                           Debtor(s)         §    Chapter No.: 11
Hunter Mountain Investment Trust                             §
                                           Appellant(s)      §
     vs.                                                     §
Muck Holdings, LLC, et al.                                   §
                                           Appellee(s)       §
                                                             §
                                                             §
                                                             §
                                                             §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other
                Copies of: Notice of appeal, appealed order [3713] and supporting documents

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (214) 753−2200.


DATED: 4/6/23                                     FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/Sheniqua Whitaker, Deputy Clerk




                                                                                                       Appx_0840
                 Case: 23-10376    Document: 5 Page: 845 Date Filed: 04/12/2023
               Case 3:23-cv-00737-N Document 1 Filed 04/06/23 Page 2 of 4 PageID 2
BTXN 116 (rev. 07/08)
                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS




                        WITHDRAWAL OF REFERENCE SERVICE LIST
                                       Transmission of the Record
BK Case No.: 19−34054−sgj11

Received in District Court by:

Date:

Volume Number(s):

cc: Stacey G Jernigan
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    Caroline Nowlin
    Attorney(s) for Appellant
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Appellee Highland Capital Management, L.P., the Highland Claimant Trust, and James P. Seery, Jr., solely in his
capacity as Chief Executive Officer of Highland Capital Management, L.P.

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             Case: 23-10376    Document: 5 Page: 846 Date Filed: 04/12/2023
           Case 3:23-cv-00737-N Document 1 Filed 04/06/23 Page 3 of 4 PageID 3
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                                                                          Appx_0842
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                  Case 3:23-cv-00737-N Document 1 Filed 04/06/23 Page 4 of 4 PageID 4
BTXN 150 (rev. 11/10)
In Re:                                                                                  §
Highland Capital Management, L.P.                                                       §           Case No.: 19−34054−sgj11
                                                                                        §           Chapter No.: 11
                                                            Debtor(s)                   §



                                                               CIVIL CASE COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet.

             I. (a) APPELLANT                                                                       APPELLEE
                    Hunter Mountain Investment Trust                                                Muck Holdings, LLC, et al.
                 (b) County of Residence of First Listed Party:                                     County of Residence of First Listed Party:
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                               (IN U.S. PLAINTIFF CASES ONLY)
                 (c) Attorney's (Firm Name, Address, and Telephone Number)                          Attorney's (If Known)
                     See Service List                                                               See Service List


             II. BASIS OF JURISDICTION
                                                                                                        Federal Question                     Diversity
                          U.S. Government                    U.S. Government
                                                                                                        (U.S. Government                     (Indicate Citizenship
                  1       Plaintiff                  2       Defendant                          3                                     4
                                                                                                        Not a Party)                         of Parties in Item III)


             III. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                     Incorporated or Principal Place
             Citizen of This State
                                                      1                 1            of Business In This State                              4                     4
                                                                                     Incorporated and Principal Place
             Citizen of Another State
                                                      2                 2            of Business In Another State                           5                     5
             Citizen or Subject of a
                                                                                     Foreign Nation
             Foreign Country                          3                 3                                                                   6                     6


             IV. NATURE OF SUIT

                  422 Appeal 28 USC 158                       423 Withdrawal 28 USC 157                              890 Other Statutory Actions


             V. ORIGIN
                                                            Removed from State                                                                         Reinstated or
                        Original Proceeding                                                         Remanded from Appellate Court
                  1                                  2      Court                           3                                                    4     Reopened
                        Transferred from                    Multidistrict                           Appeal to District Judge from
                  5     another district             6      Litigation                      7       Magistrate Judgment


             VI. CAUSE OF ACTION
             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
             422 Appeal 28 USC 158
             Brief description of cause:
             Notice of appeal of a bankruptcy court order


             VII. REQUESTED IN COMPLAINT:
                                                                                                                     CHECK YES only if demanded in complaint:
                        CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23                            DEMAND $
                                                                                                                     JURY DEMAND:                Yes         No


            VIII. RELATED CASE(S) IF ANY
                                                                                         Docket Number: 3:21−cv−00261−L, 3:21−cv−00538−N,
                                                                                         3:21−cv−00539−N, 3:21−cv−00546−L,
                                                                                         3:21−cv−00550−L,3:21−cv−01295−X, 3:21−cv−01585−S,
            Judge: Lindsay, Godbey, Starr, Scholer, Kinkeade, Boyle, and Brown
                                                                                         3:21−cv−01895−D, 3:21−cv−01979−S, 3:21−cv−02268−S,
                                                                                         3:21−cv−03086−K, 3:22−cv−00335−L, 3:22−cv−02051−B, and
                                                                                         3:23−cv−00573−E


             DATED: 4/6/23                                                  FOR THE COURT:
                                                                            Robert P. Colwell, Clerk of Court
                                                                            by: /s/Sheniqua Whitaker, Deputy Clerk




                                                                                                                                                              Appx_0843
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                     §
                                            §
 HIGHLAND CAPITAL                           §    Chapter 11
 MANAGEMENT, L.P.                           §
                                            §    Case No. 19-34054-sgj11
          Debtor.                           §

  HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY MOTION FOR
             LEAVE TO FILE INTERLOCUTORY APPEAL

          Hunter Mountain Investment Trust (“HMIT” or “Movant”) files this Emergency

Motion for Leave to File Interlocutory Appeal (“Emergency Motion”) of this Court’s

orders: (1) denying Hunter Mountain Investment Trust’s Opposed Application for

Expedited Hearing on its Emergency Motion for Leave to File Verified Adversary




                                          [1]
                                                                           Appx_0844
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Proceeding (Doc. 3700) 1 (“Expedited Hearing Request”), and (2) requiring HMIT to

contact the Court’s clerk to set a hearing no sooner than April 19, 2023, both of which are

contained in the “Order Denying Application for Expedited Hearing [DE #3700]” (Doc.

3713) (“Order”) entered in this matter on March 31, 2023, 2 and respectfully shows as

follows:

                                             BACKGROUND

             1.    Under the Fifth Amended Plan of Reorganization of Highland Capital

Management, the Bankruptcy Court holds a gatekeeping role with exclusive authority to

predetermine the colorability of any civil action to be brought against “Protected Parties”

(as defined in the confirmed Plan) before such an action can be filed (“Gatekeeping

Order”). 3 The gatekeeping protocol requires the Bankruptcy Court, after notice, to

conduct a hearing upon a motion for leave to file an action, if there is a dispute. 4

             2.    After first attempting to conduct related discovery on an expedited basis in

Texas state court, which was denied, on March 8, 2023, HMIT filed its Emergency Motion

for Leave to File Verified Adversary Proceeding (Doc. 3699) (“Emergency Motion For


1 Unless otherwise referenced, all references to evidence involving documents filed in the Debtor’s
bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.)) are cited by “Doc.” reference. HMIT
asks the Court to take judicial notice of the documents identified by such entries.

2
    A copy of the Order is attached hereto as an exhibit to the Notice of Appeal attached hereto as Exhibit 1.

3
 Fifth Amended Plan of Reorganization of Highland Capital Management (Doc. 1808) at Article IX(F), pp.
51-52.

4
    Id.



                                                       [2]
                                                                                                   Appx_0845
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Leave”), attaching thereto the proposed Verified Adversary Proceeding as Exhibit 1 (Doc.

3699-1) (the “Adversary Proceeding”). 5 The Emergency Motion For Leave and proposed

Adversary Proceeding included lengthy and detailed allegations and evidence

supporting HMIT’s proposed claims. In the proposed Adversary Proceeding, HMIT

seeks to sue in its individual capacity and in a derivative capacity on behalf of the

Reorganized Debtor, Highland Capital Management, L.P. (“HCM” or “Reorganized

Debtor”) and the Highland Claimant Trust (“Claimant Trust”) against Muck Holdings,

LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital Management, LLC

(“Farallon”), Stonehill Capital Management, LLC (“Stonehill”), James P. Seery, Jr.

(“Seery”) and John Doe Defendant Nos. 1-10 (Muck, Jessup, Stonehill, Farallon, Seery and

the John Doe Defendant Nos. 1-10 (collectively, “Proposed Defendants”)) asserting, inter

alia, breach of fiduciary duty, aiding and abetting breach of fiduciary duty, unjust

enrichment, and fraud. 6

          3.      On March 28, 2023, HMIT filed its Application for Expedited Hearing on

the Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3700)

(“Application”). The principal justification for the emergency hearing requested in the

Application was because of a fast-approaching date (April 16, 2023) that one or more of



5
 HMIT’s Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3699), including the
proposed Verified Adversary Proceeding attached as Exhibit 1 (Doc. 3699-1) to that motion, are on file in
this matter and are incorporated herein by reference.

6   See the proposed Adversary Proceeding.



                                                   [3]
                                                                                              Appx_0846
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the Proposed Defendants will argue constitutes the expiration of the statute of limitations

concerning some of the common law claims available to Movant. Although HMIT

previously offered to enter into tolling agreements with each of the Proposed Defendants

with whom they have successfully contacted, this offer was either rejected or HMIT did

not receive an affirmative agreement to do so. While conferring regarding this Emergency

Motion and HMIT’s related application for expedited hearing on Monday, April 3, 2023,

HMIT reiterated its request for a tolling agreement – but the Proposed Defendants have

either rejected this request or not responded (and are presumed to have rejected it per the

related correspondence) as of the filing of this Emergency Motion. See e-mail

correspondence from Mr. John Morris dated April 2, 2023, with included e-mail chain, a

true and correct copy of which is attached to and incorporated in this Emergency Motion

as Exhibit 2; 7 see also e-mail correspondence from HMIT counsel Roger McCleary to

counsel for Farallon, Stonehill, Muck, and Jessup, dated April 2, 2023, with included e-

mail chain, a true and correct copy of which is attached to and incorporated in this

Emergency Motion as Exhibit 3.




7
 In light of the nature of the proposed proceedings, whereby HMIT proposes to represent the Reorganized
Debtor or the Highland Claimant Trust derivatively, HMIT does not agree with (and does not admit) the
propriety of, the substantive content of, or any procedural need for Mr. Morris’s request to be identified as
counsel for the Reorganized Debtor and Highland Claimant Trust in the certificate of conference related to
this Emergency Motion. Exhibit 2 is attached for the limited purposes of this Emergency Motion and HMIT
makes no admission of any kind in this regard to Exhibit 2.




                                                     [4]
                                                                                                 Appx_0847
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        4.      Accordingly, this Emergency Motion has become necessary. Because the

Emergency Motion For Leave is necessary, given the Bankruptcy Court’s Gatekeeping

Order and the injunction provisions of the Plan, emergency leave is required. Expedited

consideration of the Emergency Motion For Leave and of this Emergency Motion seeking

interlocutory appeal is necessary and appropriate to protect and preserve the rights of

the Reorganized Debtor, the Highland Claimant Trust, and HMIT. 8

        5.      On March 30, 2023, Muck, Jessup, Farallon, and Stonehill filed objections

claiming they needed time to evaluate the claims. The Objection filed on behalf of Mr.

Seery argued that the Court should not grant the Application or agree to an expedited

hearing on the Emergency Motion for Leave, and invited the Court to allow an argument

that limitations bars some of HMIT’s claims without considering the merits (together,

“Objections”). 9

        6.      On March 31, 2023, HMIT filed its Reply In Support of Its Opposed

Application for Expedited Hearing and Response to Objections Filed by Respondents



8  HMIT respectfully requests that this Emergency Motion be addressed and decided on an expedited basis
that provides HMIT sufficient time to bring the proposed action or to seek review/relief timely. In the event
the Court denies the requested relief, HMIT respectfully requests prompt notice of the Court’s ruling to
allow HMIT sufficient time to seek, if necessary, appropriate review/relief. In order to have a fair
opportunity to seek such relief on a timely basis and protect HMIT’s rights and the rights of the
Reorganized Debtor, HMIT anticipates it will need to seek review/relief as soon as possible in the event
HMIT’s application for expedited hearing on this Emergency Motion is not granted on or before April 5,
2023, or in the event this Emergency Motion has not been or cannot be resolved by on or before Monday,
April 10, 2023. However, HMIT reserves its rights to pursue appropriate review/relief at any time.
9
 As stated, despite claiming that they needed more time to evaluate the claims, the Proposed Defendants
refused to enter into a tolling agreement.



                                                     [5]
                                                                                                 Appx_0848
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(Doc. 3712) (“Reply”), stating in reply to the Objections that the Proposed Defendants had

ample notice of the proposed claims because they were the subject of pre-litigation

discovery requests and that the Proposed Defendants should not be allowed to

weaponize the Gatekeeping Order and gatekeeping protocol to fashion a possible

limitations defense (as an attempt to avoid a merits-based consideration of the claims). 10

           7.      Within an hour after HMIT filed its Reply, the Bankruptcy Court entered

the Order denying HMIT’s emergency request and sua sponte ordering HMIT to contact

the Court’s clerk to schedule the hearing no sooner than April 19, 2023. 11

                                     PRELIMINARY STATEMENT

           8.      Since the filing of the Emergency Motion for Leave, HMIT has become

aware of authority holding that the filing of the Emergency Motion for Leave, with the

attached proposed Adversary Proceeding, likely tolls the applicable statutes of

limitations as to at least one of the Proposed Defendants, so that the hearing date set by

the Bankruptcy Court may be irrelevant as to that Proposed Defendant. However, it is

also clear that at least one of the Proposed Defendants does not agree. HMIT still has a

valid concern about the need for an expedited hearing because counsel for Mr. Seery is

aggressively arguing that all Proposed Defendants should be given the advantage of an




10
     HMIT’s Reply is incorporated herein by reference in its entirety.

11
  As stated, one or more of the Proposed Defendants will argue that HMIT’s claims will be barred by
limitations as of April 16, 2023.



                                                       [6]
                                                                                        Appx_0849
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opportunity to argue the running of the applicable statute of limitations. 12 It is also clear

that all of the Proposed Defendants have refused HMIT’s request for a tolling agreement

or refused to respond to the request to do so.

        9.      HMIT therefore finds itself in an incongruous situation. On the one hand,

the filing of the Emergency Motion for Leave likely tolls the running of any applicable

limitations periods as to at least one of the Proposed Defendants. On the other hand,

HMIT’s concerns about the limitations defense are clearly well founded, as Proposed

Defendants’ counsel is otherwise arguing that the Bankruptcy Court should provide all

Proposed Defendants the affirmative defense of limitations by scheduling the

gatekeeping hearing on a date that they claim constitutes the expiration of the limitations

period on various common law claims.

                                   QUESTIONS PRESENTED

        10.     Does the threat of a potential limitations defense potentially barring some

of HMIT’s proposed Adversary Proceeding claims justify an interlocutory appeal of the

Order denying an expedited hearing upon the HMIT Motion for Leave?

        11.     Does the threat of a potential limitations defense potentially barring some

of HMIT’s proposed Adversary Proceeding claims justify an interlocutory appeal of the

Bankruptcy Court’s Order requiring that a hearing be set no sooner than April 19, 2023,



12
  This argument could be extended, of course, to include the assertion that the Bankruptcy Court should
withhold ruling on the Emergency Motion for Leave until all applicable limitations periods have run, and
then deny leave to file the proposed Adversary Proceeding due to the running of the limitations period.


                                                  [7]
                                                                                             Appx_0850
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when it is clear that the Proposed Defendants will argue that at least certain of the claims

in the proposed Adversary Proceeding must be dismissed because of the running of

applicable statutes of limitations as of April 16, 2023 (three days before the Bankruptcy

Court’s scheduled hearing date)?

       12.    Does Newby v. Enron Corp., 542 F.3d 463, 470 (5th Cir. 2008) require a finding

by the Honorable District Court that the filing of the Motion for Leave tolled the

applicable statutes of limitations so that (i) the date of the Bankruptcy Court’s scheduled

hearing on the Emergency Motion for Leave is irrelevant and (ii) therefore, this

Emergency Motion for leave to appeal should be denied?

                                       STANDARD

       13.    An appeal from an interlocutory order or decree of a bankruptcy court is

governed by 28 U.S.C. §158(a)(3). Section 158(a)(3) does not articulate the standard a

district court must use in deciding whether to grant leave in its discretion, but “[c]ourts

in the Fifth Circuit ... have applied 28 U.S.C. § 1292(b), the standard governing

interlocutory appeals generally.” In re Hallwood Energy, L.P., Civ. Action No. 3:12-CV-

1902-G, 2013 WL 524418, at *2 (N.D. Tex. Feb. 11, 2013)(citing In re Ichinose, 946 F.2d 1169,

1177 (5th Cir. 1991)). The decision whether to grant an interlocutory appeal is firmly

within the district court’s discretion. Id.; Ryan v. Flowserve Corp., 444 F.Supp.2d 718, 723-

24 (N.D. Tex. 2006) (internal citation omitted).




                                             [8]
                                                                                  Appx_0851
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       14.     “Section 1292(b) expressly permits a district court to certify an order for

interlocutory appeal only if it ‘involves a controlling question of law as to which there is

substantial ground for difference of opinion and that an immediate appeal from the order

may materially advance the ultimate termination of the litigation.’ 28 U.S.C.A. § 1292(b)

(1994 & Supp. 2005). This terminology was intended to restrict the category of cases

suitable for permissive appeal, but courts have not always agreed on the contours of the

stated limitations. See 16 CHARLES A. WRIGHT, ARTHUR R. MILLER & EDWARD H. COOPER,

FEDERAL PRACTICE AND PROCEDURE § 3929 at 366–67 (2d ed.1996). See generally Ahrenholz

v. Bd. of Trustees of the Univ. of Illinois, 219 F.3d 674, 676 (7th Cir. 2000) (“The [§ 1292(b)

criteria, unfortunately, are not as crystalline as they might be....”). For example, at times,

courts including the Fifth Circuit have held that § 1292(b) appeals are appropriate under

only “exceptional” circumstances or in “big” cases. Clark–Dietz and Associates-Engineers v.

Basic Constr. Co., 702 F.2d 67, 69 (5th Cir.1983) (explaining that interlocutory appeals are

permitted only under “exceptional” circumstances); see Gottesman v. Gen. Motors

Corp., 268 F.2d 194, 196 (2d Cir.1959) (clarifying that certification should be “strictly

limited to the precise conditions stated in the law”); WRIGHT & MILLER, supra, § 3929 at

365 & n. 10 (internal citations omitted) (collecting cases holding interlocutory appeal

appropriate only in “big” or “exceptional” cases). Conversely, at other times courts—the

Fifth Circuit included—have employed a more flexible approach to § 1292(b) appeals.”

Ryan, 444 F. Supp. at 721.



                                              [9]
                                                                                    Appx_0852
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       15.    For more clarification, courts have found substantial ground for difference

of opinion (justifying an interlocutory appeal) where a court order determines a matter

which appears contrary to the rulings of Courts of Appeals which have reached the issue,

if the circuits are in dispute on the question and the Court of Appeals of the circuit has

not yet spoken on the point, if complicated questions arise under foreign law, or if novel

and difficult questions of first impression are presented. Id. at 723-24 (internal citation

omitted). Here, in a case substantially similar to this case, the Fifth Circuit has found that

a court order which requires a proposed claim to be filed more than 21-days in advance

of the limitations date is improper. See, e.g., Newby v. Enron Corp., 542 F.3d 463, 470 (5th

Cir. 2008).

       RIGHT TO INTERLOCUTORY APPEAL SHOULD BE GRANTED, OR,
           ALTERNATIVELY, SHOULD BE DENIED BASED UPON
           NEWBY v. ENRON CORP., 542 F.3d 463, 470 (5th Cir. 2008)

       16.    The controlling issue of law is whether good cause exists to require an

emergency hearing on HMIT’s proposed Adversary Proceeding. Fed. R. Bank P. 9006

(c)(1) authorizes a shortened time for a response and hearing for good cause. As set forth

in its Application seeking an expedited hearing upon its Emergency Motion For Leave,

in addition to a potential limitations consideration, good cause exists and separately

justifies expedited action on the Emergency Motion For Leave, to hasten HMIT’s right to




                                             [10]
                                                                                   Appx_0853
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pursue prompt relevant discovery (which the Proposed Defendants refused in pre-

litigation), and reduce the threat of loss of potentially key evidence. 13

         17.    The proposed Adversary Proceeding alleges claims which are substantially

more than “colorable” based upon plausible allegations that the Proposed Defendants,

acting in concert, perpetrated a fraud, including a fraud upon innocent stakeholders, as

well as breaches of fiduciary duties and knowing participation in (or aiding and abetting)

breaches of fiduciary duty. The proposed Adversary Proceeding also alleges that the

Proposed Defendants did so collectively by falsely representing the value of the Debtor’s

Estate, failing to timely disclose accurate values of the Debtor’s Estate, and trading on

material non-public information regarding such values. HMIT also alleges that the

Proposed Defendants colluded to manipulate the Debtor’s Estate—providing Seery the

opportunity to plant close business allies into positions of control to approve Seery’s

compensation demands following the Effective Date.

         18.    Relief upon this Emergency Motion is justified because it is now clear that

one or more of the Proposed Defendants will argue, depending upon choice of law, that

the statute of limitations may bar some of the common law claims, and further that the

Bankruptcy Court should act to assist them in creating a statute of limitations defenses. 14



13
  Upon information and belief, Proposed Defendant Seery has been deleting text messages on his personal
iPhone via a rolling, automatic deletion setting.

14The first insider trade at issue involved the sale and transfer of Claim 23 in the amount of $23 million
held by ACMLD Claim, LLC to Muck on April 16, 2021 (Doc. 2215).



                                                   [11]
                                                                                              Appx_0854
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The proposed Adversary Proceeding seeks to benefit all innocent stakeholders while

working within the terms and provisions of the Plan. Allowing any potential limitations

to bar any of the claims would result in a substantial injustice which far outweighs any

potential harm to the Proposed Defendants. 15 See Newby, 542 F.3d at 470.

          19.     Newby v. Enron held that the district court erred when finding it would not

adjudicate a motion for leave before the applicable statute of limitations ran. In other

words, as shown below, Newby v. Enron held that a motion for leave should be heard

prior to any applicable limitations deadline. While HMIT is under no illusion that the

Bankruptcy Court grounded its ruling in Newby, it is the position of HMIT that perhaps,

in fact, the scheduled hearing date is irrelevant. Counsel for Proposed Defendants has

clearly threatened (i) that the running of the limitations periods continues and (ii) that

Proposed Defendants should be given access to the affirmative defenses through

scheduling (which as stated could easily extend to date of ruling).16




15
  As of December 31, 2022, the Claimant Trust has distributed $255,201,228.15 On a pro rata basis, that means
that innocent creditors have received approximately $22,373,000 in distributions against the stated value of
their allowed claims. That leaves a remaining unpaid balance of approximately $9,627,000. Muck and
Jessup already have received approximately $232.8 million on their Claims. Assuming and original
investment of approximately $160 million, this represents over $72 million in ill-gotten profits that, if
disgorged, would be far more than what is required to fully pay all other innocent creditors - immediately
placing HMIT in the status of a vested Claimant Trust Beneficiary. The benefits to the Reorganized Debtor,
the Claimant Trust and innocent stakeholders are undeniable. Further, under the present circumstances
and time constraints, an interlocutory appeal should be granted to avoid the prospect of the loss of some
of HMIT’s and the Claimant Trust’s claims and denial of due process.

16
     See Highland Parties’ Objection to Expedited Hearing on the Emergency Motion for Leave (Doc. 3707).


                                                    [12]
                                                                                                 Appx_0855
       Case: 23-10376   Document: 5 Page: 860 Date Filed: 04/12/2023
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       20.    Therefore, HMIT briefs the issue of whether the Bankruptcy Court could

facilitate a defendant’s affirmative defense of statute of limitations by delaying

adjudication of HMIT’s motion.

       21.    In Newby v. Enron, a district court enjoined a law firm from filing any new

actions related to a Chapter 11 debtor without leave of court. The law firm then moved

to file 34 lawsuits in state court. There, the motion for leave was filed on October 14, 2005

and the statute of limitations of some of the claims expired on October 17, 2005. The

district court denied the motion, in part finding that these claims would be barred by the

applicable statute of limitations by the time the motion was considered on November 3,

2005. The law firm appealed. The Fifth Circuit explained that:

       The district court was incorrect, however, in denying the motion for leave
       to file suit for the claims that have a four-year statute of limitations. The
       court did not cite any authority for using its own local rules to dictate the
       state’s filing date for purposes of Texas's relation-back principle. In effect,
       the district court was requiring the Fleming Firm either to file a motion for
       leave at least twenty days before the statute of limitations expired—or
       perhaps even earlier if the district court did not rule on the motion in time—
       or to violate the injunction by filing in state court within the limitations
       period. Cf. Schillinger v. Union Pac. R.R. Co., 425 F.3d 330, 334 (7th Cir. 2005)
       (“The logic underlying [using the date of filing for limitations purposes as
       opposed to the date the court rules on the motion] is that defendants are on
       notice of the amendment when the motion is filed and it would be unfair to
       plaintiffs if a trial court waited months or years to rule.”). Thus, the district
       court should have allowed the Texas state courts to decide whether the
       filing of the state petitions relates back to the filing of the motion for leave
       to file suit (for the claims that have a four-year statute of limitations),
       meaning that these claims might not be futile. Because the Fleming Firm
       sought to file these claims before the statute of limitations expired, it is up
       to the state court to determine how to proceed. In sum, the district court
       improperly denied the motion for leave to file the claims involving common


                                             [13]
                                                                                    Appx_0856
       Case: 23-10376   Document: 5 Page: 861 Date Filed: 04/12/2023
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       law fraud and fraud-on-the-market (Count I), statutory fraud (Count III),
       and aiding and abetting common law fraud (Count VI), because these
       claims all have a four-year statute of limitations, and the Fleming Firm
       submitted its motion for leave to file suit before that limitations period
       expired.

Newby v. Enron Corp., 542 F.3d at 470.

       24.        Despite binding precedent that precludes a Bankruptcy Court from

effectively shortening a state law statute of limitations based on its local practice for

setting motions, this is exactly what the Proposed Defendants have asked the Bankruptcy

Court to do (in fact, arguing that if the Bankruptcy Court did not do so, it would

fundamentally prejudice the Proposed Defendants). The Bankruptcy Court did what the

Proposed Defendants asked of it, and therefore, this raises the issue of whether an

interlocutory appeal should be granted to correct any assertion that the Bankruptcy Court

could provide an affirmative defense of statute of limitations through its local motion

practice, or, should be denied on the basis that the Fifth Circuit has already instructed

that it cannot.

                                         PRAYER

       WHEREFORE, PREMISES CONSIDERED, Hunter Mountain Investment Trust

respectfully requests this Court grant HMIT leave to file an interlocutory appeal of the

Order, and all such other and further relief to which HMIT may be justly entitled.

Dated: April 4, 2023.




                                          [14]
                                                                               Appx_0857
     Case: 23-10376   Document: 5 Page: 862 Date Filed: 04/12/2023
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                                     Respectfully Submitted,

                                     PARSONS MCENTIRE MCCLEARY
                                     PLLC

                                     By: /s/ Sawnie A. McEntire
                                         Sawnie A. McEntire
                                         Texas State Bar No. 13590100
                                         smcentire@pmmlaw.com
                                         1700 Pacific Avenue, Suite 4400
                                         Dallas, Texas 75201
                                         Telephone: (214) 237-4300
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                                         Roger L. McCleary
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                                         rmccleary@pmmlaw.com
                                         One Riverway, Suite 1800
                                         Houston, Texas 77056
                                         Telephone: (713) 960-7315
                                         Facsimile: (713) 960-7347

                                         Attorneys for Hunter Mountain
                                         Investment Trust




                                  [15]
                                                                        Appx_0858
       Case: 23-10376   Document: 5 Page: 863 Date Filed: 04/12/2023
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                           CERTIFICATE OF CONFERENCE

        Counsel for Mr. Seery, who also claims to represent the Reorganized Debtor and
the Highland Claimant Trust in these instant proceedings, states that he is opposed to
this Emergency Motion. In light of the nature of the proposed proceedings, whereby
HMIT proposes to represent the Reorganized Debtor and the Highland Claimant Trust
derivatively, HMIT does not agree with (and does not admit) the propriety of or the
substantive content of Mr. Mr. Morris’s requested identification as counsel for the
Reorganized Debtor and the Highland Claimant Trust, but HMIT is filing this certificate
in this manner solely to accommodate Mr. Morris’s request.

      Although we conferred with counsel for the other respondents on April 3, 2023,
we were told they would try to respond by the afternoon of April 3, 2023, but they have
not done so. We, therefore, assume they are opposed to this Emergency Motion.



                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire



                              CERTIFICATE OF SERVICE

       I certify that on the 4th day of April 2023, a true and correct copy of the foregoing
motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                               /s/ Sawnie A. McEntire
                                               Sawnie A. McEntire




                                            [16]
                                                                                  Appx_0859
     Case: 23-10376   Document: 5 Page: 864 Date Filed: 04/12/2023
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                    Exhibit 1




                                                                 Appx_0860
       Case: 23-10376   Document: 5 Page: 865 Date Filed: 04/12/2023
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rmccleary@pmmlaw.com
One Riverway, Suite 1800
Houston, Texas 77056
Telephone: (713) 960-7315
Facsimile: (713) 960-7347
Attorneys for Hunter Mountain Investment Trust
                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                          §
                                                 §
 HIGHLAND CAPITAL                                §   Chapter 11
 MANAGEMENT, L.P.                                §
                                                 §   Case No. 19-34054-sgj11
          Debtor.                                §


           HUNTER MOUNTAIN INVESTMENT TRUST’S NOTICE OF APPEAL
TO THE HONORABLE COURT:

          NOTICE IS HEREBY GIVEN that, pursuant to 28 U.S.C. § 158(a) and Rules 8002 and

8003 of the Federal Rules of Bankruptcy Procedure, Hunter Mountain Investment Trust (“HMIT”)

hereby appeals to the United States District for the Northern District of Texas from the Order

Denying Opposed Application for Expedited Hearing on its Emergency Motion for Leave to File

Verified Adversary Proceeding [DE #3700] (Doc. 3713) (the “Order”), entered by the United

States Bankruptcy Court for the Northern District on March 31, 2023. A true and correct copy of

the Order is attached hereto as Exhibit A.

                                              1

                                                                                    Appx_0861
       Case: 23-10376   Document: 5 Page: 866 Date Filed: 04/12/2023
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To comply with Official Form 417A, HMIT submits the following:

Part 1: Identify the appellant(s)

      1. Name(s) of appellants:

         Hunter Mountain Investment Trust

      2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject

         of this appeal:

         HMIT is a former equity owner in Debtor and a contingent Claimant Trust Interest

         holder.

Part 2: Identify the subject of this appeal

      1. Describe the judgment, order, or decree appealed from:

         Order Denying Opposed Application for Expedited Hearing on its Emergency Motion

         for Leave to File Verified Adversary Proceeding [DE #3700] (Doc. 3713)

      2. State the date on which the judgment, order, or decree was entered:

         March 31, 2023

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment, order, or decree appealed from and the names,

addresses, and telephone numbers of their attorneys (attach additional pages if necessary):

 1.     Party:                             Attorney:

        APPELLEES

        Muck Holdings, LLC, Jessup    HOLLAND & KNIGHT LLP
        Holdings, LLC, Farallon        Brent R. McIlwain, TSB 24013140
        Capital Management, LLC,       David C. Schulte, TSB 24037456
        Stonehill Capital Management, Christopher Bailey, TSB 24104598
        LLC                            Holland & Knight LLP
                                       1722 Routh Street, Suite 1500
                                       Dallas, TX 75201
                                       Tel.: (214) 964-9500
                                       Fax: (214) 964-9501
                                                  2

                                                                                         Appx_0862
         Case: 23-10376   Document: 5 Page: 867 Date Filed: 04/12/2023
    Case 3:23-cv-00737-N Document 1-1 Filed 04/06/23 Page 20 of 33 PageID 24



                                               brent.mcilwain@hklaw.com
                                               david.schulte@hklaw.com
                                               chris.bailey@hklaw.com

       Highland Capital Management,            PACHULSKI STANG ZIEHL & JONES LLP
       L.P., the Highland Claimant             Jeffrey N. Pomerantz (CA Bar No. 143717)
       Trust, and James P. Seery, Jr.,         John A. Morris (NY Bar No. 2405397)
       solely in his capacity as Chief         Gregory V. Demo (NY Bar No. 5371992)
       Executive Officer of Highland           Hayley R. Winograd (NY Bar No. 5612569)
       Capital Management, L.P. 1              10100 Santa Monica Blvd., 13th Floor
                                               Los Angeles, CA 90067
                                               Telephone: (310) 277-6910
                                               Facsimile: (310) 201-0760
                                               Email: jpomerantz@pszjlaw.com
                                               jmorris@pszjlaw.com
                                               gdemo@pszjlaw.com
                                               hwinograd@pszjlaw.com
                                               -and-
                                               HAYWARD PLLC
                                               Melissa S. Hayward (Texas Bar No. 24044908)
                                               Zachery Z. Annable (Texas Bar No. 24053075)
                                               10501 N. Central Expy., Ste. 106
                                               Dallas, Texas 75231
                                               Telephone: (972) 755-7100
                                               Facsimile: (972) 755-7110
                                               Email: MHayward@HaywardFirm.com
                                               ZAnnable@HaywardFirm.com


Part 4: Optional election to have appeal heard by District Court (applicable only in certain
districts)

Not applicable




1
 The law firm of Pachulski Stang Ziehl & Jones LLP claims to represent Highland Capital Management, LP and
Highland Claimant Trust. However, given the nature of the proceedings at issue, Appellant disagrees and does not
admit that any such representation is substantively or procedurally appropriate in this appeal.

                                                       3

                                                                                                   Appx_0863
       Case: 23-10376   Document: 5 Page: 868 Date Filed: 04/12/2023
  Case 3:23-cv-00737-N Document 1-1 Filed 04/06/23 Page 21 of 33 PageID 25



Part 5: Sign below


/s/ Sawnie A. McEntyre
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One Riverway, Suite 1800
Houston, Texas 77056
Telephone: (713) 960-7315
Facsimile: (713) 960-7347
Attorneys for Hunter Mountain Investment Trust



                               CERTIFICATE OF SERVICE

       I, undersigned counsel, hereby certify that a true and correct copy of the above and
foregoing document and all attachments thereto were sent via electronic mail via the Court’s ECF
system to all parties authorized to receive electronic notice in this case on this April 4, 2023.

                                                           /s/ Sawnie A. McEntyre
                                                           Sawnie A. McEntyre




                                               4

                                                                                      Appx_0864
     Case: 23-10376   Document: 5 Page: 869 Date Filed: 04/12/2023
Case 3:23-cv-00737-N Document 1-1 Filed 04/06/23 Page 22 of 33 PageID 26




                    Exhibit A




                                                                 Appx_0865
            Case: 23-10376 DocDocument:
      Case 19-34054-sgj11               5 03/31/23
                               3713 Filed  Page: 870Entered
                                                         Date03/31/23
                                                              Filed: 04/12/2023
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                              Main Document
                                      1-1 Filed Page
                                                04/06/23
                                                     1 of 3Page 23 of 33 PageID 27




The following constitutes the ruling of the court and has the force and effect therein described.




Signed March 31, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  §
      In re:                                                          Chapter 11
                                                                  §
                                                                  §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                  §   Case No. 19-34054-sgj11
                                     Reorganized Debtor.          §
                                                                  §


           ORDER DENYING APPLICATION FOR EXPEDITED HEARING [DE # 3700]


               This Order is issued in response to the Application for Expedited Hearing on Emergency

     Motion for Leave to File Verified Adversary Proceeding (“Expedited Haring Request”) [DE #

     3700] filed by Hunter Mountain Investment Trust (“HMIT” or “Movant”) on March 28, 2023, at

     4:09 p.m. C.D.T. The Expedited Hearing Request seeks a hearing within three days, or as soon

     thereafter as counsel can be heard, on HMIT’s Emergency Motion for Leave to File Verified

     Adversary Proceeding (“Motion for Leave”) which was filed on March 28, 2023, at 4:02 p.m.

     C.D.T.



                                                      1

                                                                                            Appx_0866
      Case: 23-10376 DocDocument:
Case 19-34054-sgj11               5 03/31/23
                         3713 Filed  Page: 871Entered
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                                                        Filed: 04/12/2023
                                                                 16:43:55 Desc
 Case 3:23-cv-00737-N Document
                        Main Document
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                                          04/06/23
                                               2 of 3Page 24 of 33 PageID 28



        The court has concluded that no emergency or other good cause exists, pursuant to Fed.

R. Bankr. Proc. 9006, and the Expedited Hearing Request will be denied. The Motion for Leave

will be set in the ordinary course (after 21 days’ notice to affected parties)—i.e., after April 18,

2023.

        The Motion for Leave is 37 pages in length and contains 350 pages of attachments. It

seeks leave from the bankruptcy court—pursuant to the bankruptcy court’s “gatekeeping” role 1

under the confirmed Chapter 11 plan of Highland Capital Management, L.P. (“Highland” or

“Reorganized Debtor”)—to sue at least the following parties: Muck Holdings, LLC (“Muck”);

Jessup Holdings, LLC (“Jessup”); Farallon Capital Management, LLC (“Farallon”); Stonehill

Capital Management, LLC (“Stonehill”); James P. Seery, Jr. (“Seery”); and John Doe Defendant

Nos. 1-10 (collectively, the “Affected Parties”). The conduct that is described as a basis for the

desired lawsuit is certain trading of unsecured claims that occurred in 2021 during the Highland

bankruptcy case. 2 It appears that millions of dollars of damages are sought by Movant, who was

formerly the largest indirect (ultimate) equity holder of Highland. The legal theories (e.g.,

breaches of fiduciary duties; fraud; conspiracy; equitable disallowance) are novel in the

bankruptcy claims trading context. The bankruptcy court, pursuant to the Highland plan, will

need to analyze whether such claims are “colorable” such that leave to sue should be granted.

        The Affected Parties—and other parties in interest in the underlying bankruptcy case, for

that matter—should be afforded a reasonable opportunity to respond to the Motion for Leave.

While Movant, HMIT, has alleged that it may be facing a statute of limitations defense as to


1
  The bankruptcy court’s “gatekeeping” role was recently affirmed by the Fifth Circuit in In re Highland Capital
Management, L.P., 48 F.4th 419, 438 (5th Cir. 2022).
2
  Notice of the claims trading was provided in filings in Highland bankruptcy case, as follows: Claim No. 23 (DE ##
2211, 2212, and 2215), Claim Nos. 190 and 191 (DE ## 2697 and 2698), Claim Nos. 143, 147, 149, 150, 153 and
154 (DE # 2263), Claim No. 81 (DE # 2262), Claim No. 72 (DE # 2261).

                                                         2

                                                                                                      Appx_0867
      Case: 23-10376 DocDocument:
Case 19-34054-sgj11               5 03/31/23
                         3713 Filed  Page: 872Entered
                                                   Date03/31/23
                                                        Filed: 04/12/2023
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                        Main Document
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                                          04/06/23
                                               3 of 3Page 25 of 33 PageID 29



some claims after April 16, 2023, it appears that Movant has known about the conduct

underlying the desired lawsuit for well over a year, based on activity that has occurred in the

bankruptcy court. See, e.g., Memorandum Opinion and Order Granting James Dondero’s

Motion to Remand Adversary Proceeding to State Court, Denying Fee Reimbursement Request,

and Related Rulings, Dondero v. Alvarez & Marsal CRF Management, LLC and Farallon

Capital Management LLC [DE # 22], in Adv. Proc. # 21-03051 (January 4, 2022). Thus, the

need for an emergency hearing is dubious. Accordingly

       IT IS ORDERED that the Expedited Hearing Request is denied.

       Counsel shall contact the Courtroom Deputy for a setting on the Motion for Leave, which

setting shall be no sooner than April 19, 2023.

                                      * * * END OF ORDER * * *




                                                  3

                                                                                         Appx_0868
     Case: 23-10376   Document: 5 Page: 873 Date Filed: 04/12/2023
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                    Exhibit 2




                                                                 Appx_0869
     Case: 23-10376   Document: 5 Page: 874 Date Filed: 04/12/2023
Case 3:23-cv-00737-N Document 1-1 Filed 04/06/23 Page 27 of 33 PageID 31


 From:                 John A. Morris
 To:                   Roger L. McCleary
 Cc:                   Jeff Pomerantz; Gregory V. Demo; Sawnie A. McEntire
 Subject:              [EXTERNAL] RE: Meet and Confer on HMIT Emergency Motion/Application and follow-up request for tolling
                       agreement
 Date:                 Monday, April 3, 2023 12:54:54 PM
 Attachments:          imageoo2.png


 Roger,


 Highland Capital Management, L.P. ("HCMLP"), the Highland Claimant Trust (the "I.r!ill."), and Mr.
 Seery, in his capacity as CEO of Highland and Claimant Trustee (together, the "Hi~hland Parties"), all
 oppose the relief requested in item 1 below.


 To eliminate any question, HCMLP and the Trust (like all parties in interest) had the right to be heard
 on the underlying Emergency Motion pursuant to 11 U.S.C. §1109(b), and have the right to be heard
 on the matters referenced below. We therefore request that you inform the Court in your
· certificate of conference that HCMLP and the Trust are opposed to the relief to be requested.


 Finally, the Highland Parties decline to agree to toll any statutes of limitation.


 Regards,


 John
 John A. Morris
 Pachulski Stang Ziehl & Jones LLP
 Direct Dial: 212.561.7760
 Tel: 212.561.7700 I Fax: 212.561.7777
 jmorris@pszjlaw.com
 .llCar.d. I Bio I Linkedln

 'r  SZJlogo                      JPSZJ2023


                IJ
                                  I         •
 !
 Los Angeles I San Francisco I Wilmington, DE   I New York I Houston


 From: Roger L. McCleary [mailto:rmccleary@pmmlaw.com]
 Sent: Monday, April 3, 2023 1:19 PM
 To: John A. Morris <jmorris@pszjlaw.com>
 Cc: Jeff Pomerantz <jpomerantz@pszjlaw.com>; Gregory V. Demo <GDemo@pszjlaw.com>; Sawnie
 A. McEntire <smcentire@pmmlaw.com>
 Subject: Meet and Confer on HMIT Emergency Motion/Application and follow-up request for tolling
 agreement




                                                                                                                         Appx_0870
     Case: 23-10376   Document: 5 Page: 875 Date Filed: 04/12/2023
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John,


          In follow-up to our phone call and conference this morning, we look forward to
hearing from you regarding:


   1. Whether Mr. Seery is opposed, regarding Judge Jernigan's Order Denying Application
        for Expedited Hearing (Doc. 3713) late Friday afternoon, to (a) an emergency motion for
        expedited leave for interlocutory appeal; and, (b) a related emergency application for
        expedited hearing on the same (collectively "Emergency Motion/Application");


   2. Whether Mr. Seery will agree to a tolling agreement regarding all claims and causes of
        action asserted in or related to the claims, causes of action, and matters that are the
        subject of the proposed adversary complaint (Doc. 3699-1), attached as Exhibit 1 to
        Hunter Mountain Investment Trust's Emergency Motion for Leave to File Verified
        Adversary Proceeding (Doc. 3699) ("Motion for Leave to File Adversary Proceeding;'),
        until 14 days (we propose) after a final ruling on the Motion for Leave to File Adversary
        Proceeding and exhaustion of all related appeal(s) and/or mandamus(es).


   We understand you are attempting to contact Mr. Seery regarding the above and to
respond by mid-afternoon today, if possible. If we have not heard from you before we file the
Emergency Motion/Application, we will note in the certificate of conference that we reached
out to you; we have not heard back from you; and we presume Mr. Seery is opposed - as you
suggested.


Thank you, Roger.

Roger L. McCleary
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Tel: (713) 960-7305
Fax: (832) 742-7387
www.prnmclaw.com

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                                                                                              Appx_0871
     Case: 23-10376   Document: 5 Page: 876 Date Filed: 04/12/2023
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                    Exhibit 3




                                                                 Appx_0872
     Case: 23-10376   Document: 5 Page: 877 Date Filed: 04/12/2023
Case 3:23-cv-00737-N Document 1-1 Filed 04/06/23 Page 30 of 33 PageID 34


From:                Roger L. McCleary
To:                  Mcilwain. Brent R <DAL - X59481): Schulte. David C <DAL- X59419)
Cc:                  Sawnie A. McEntire
Subject:             Meet and Confer on HMIT Emergency Motion/Application and follow-up request for tolling agreement and
                     information
Date:                Monday, April 3, 2023 2:44:09 PM


Brent and David,


            This follows our conversation this morning and addresses some of the topics we
addressed. We request that you respond as soon as possible today regarding the following:


           1.   Please let us know if your clients will voluntarily identify and provide service of
                process information for any and all affiliates, if any, of Farallon Capital
                Management, LLC ("Farallon"}, Stonehill Capital Management, LLC ("Stonehill"),
                Muck Holdings, LLC ("Muck"); and/or Jessup Holdings, LLC ("Jessup"), in the chain
                of sale or other transfer of one or more of the Claims that are the subject of and
                described in Hunter Mountain Investment Trust's proposed adversary complaint
                (Doc. 3699-1}, attached as Exhibit 1 to Hunter Mountain Investment Trust's
                Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3699}
                ("Motion for Leave to File Adversary Proceeding"). If so, we request that easily
                provided information be provided to us by return e-mail as soon as possible. If
                there are none, we request that you confirm this on behalf of your clients by return
                e-mail as soon as possible;


           2.   Whether Farallon, Stonehill, Muck, Jessup, and/or John Does 1-10 (to the extent
                they exist and may be applicable) are opposed, regarding Judge Jernigan's Order
                Denying Application for Expedited Hearing (Doc. 3713) late Friday afternoon, to (a)
                an emergency motion for expedited leave for interlocutory appeal; and, (b) a
                related emergency application for expedited hearing on the same (collectively
                "Emergency Motion/Application");


           3. Whether Farallon, Stonehill, Muck, Jessup, and/or John Does 1-10 (to the extent
                they exist and may be applicable) will agree to a tolling agreement regarding all
                claims and causes of action asserted in or related to the claims, causes of action,
                and matters that are the subject of the proposed adversary complaint (Doc. 3699-
                1), attached as Exhibit 1 to the Motion for Leave to File Adversary Proceeding, until
                14 days (we propose) after a final ruling on the Motion for Leave to File Adversary
                Proceeding and exhaustion of all related appeal(s) and/or mandamus(es).


           We understand you will attempt to respond by this afternoon today, if possible. If we
have not heard from you before we file the Emergency Motion/Application, we will note in the
certificate of conference that we reached out to you; we have not heard back from you; and




                                                                                                                        Appx_0873
     Case: 23-10376   Document: 5 Page: 878 Date Filed: 04/12/2023
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we presume your clients are opposed to the Emergency Motion/Application; that they do not
agree to a tolling agreement of any kind regarding item 3 above, and that they do not agree to
provide the information requested in item 1 above.


Thank you, Roger.

Roger L. McCleary
Parsons McEntire McCleary PLLC
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Tel: (713) 960-7305
Fax: (832) 742-7387
www.pmmclaw.com

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                                                                                              Appx_0874
       Case: 23-10376   Document: 5 Page: 879 Date Filed: 04/12/2023
  Case 3:23-cv-00737-N Document 1-1 Filed 04/06/23 Page 32 of 33 PageID 36




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                        §
                                               §
 HIGHLAND CAPITAL                              §    Chapter 11
 MANAGEMENT, L.P.                              §
                                               §    Case No. 19-34054-sgj11
           Debtor.                             §

 ORDER GRANTING HUNTER MOUNTAIN INVESTMENT TRUST’S EMERGENCY
         MOTION FOR LEAVE TO FILE INTERLOCUTORY APPEAL

          Upon consideration of the Emergency Motion for Leave to File Interlocutory Appeal

(“Motion”), filed by Hunter Mountain Investment Trust (“HMIT”), and the Court’s Order Denying

Application for Expedited Hearing [DE #3700] (Doc. 3713) (“Order”) and the specific orders: (1)

denying Hunter Mountain Investment Trust’s Opposed Application for Expedited Hearing on its

Emergency Motion for Leave to File Verified Adversary Proceeding (Doc. 3700), and (2) requiring

HMIT to contact the Court’s clerk to set a hearing no sooner than April 19, 2023, both of which




                                              1
                                                                                    Appx_0875
       Case: 23-10376   Document: 5 Page: 880 Date Filed: 04/12/2023
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orders are contained in the Order, and having considered any responses thereto, the Court finds

that Motion should be granted. It is therefore:

       ORDERED that the Motion is GRANTED; and

       IT IS FURTHER ORDERED that HMIT is granted leave to file an interlocutory appeal

of the Order and the included orders: (1) denying Hunter Mountain Investment Trust’s Opposed

Application for Expedited Hearing on its Emergency Motion for Leave to File Verified Adversary

Proceeding (Doc. 3700), and (2) requiring HMIT to contact the Court’s clerk to set a hearing no

sooner than April 19, 2023.

                                      ### End of Order ###


Submitted by:
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                                                  2
                                                                                    Appx_0876
       Case: 23-10376   Document: 5 Page: 881 Date Filed: 04/12/2023
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Attorneys for Petitioner Hunter Mountain Investment Trust

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                      §
                                             §
 HIGHLAND CAPITAL                            §    Chapter 11
 MANAGEMENT, L.P.                            §
                                             §    Case No. 19-34054-sgj11
          Debtor.                            §

 HUNTER MOUNTAIN INVESTMENT TRUST’S OPPOSED APPLICATION FOR
      EXPEDITED HEARING ON EMERGENCY MOTION FOR LEAVE
                 TO FILE INTERLOCUTORY APPEAL

          Hunter Mountain Investment Trust (“HMIT” or “Movant”), submits this

Application for an Expedited Hearing (“Application for Expedited Hearing”) on its

Emergency Motion for Leave to File Interlocutory Appeal (“Emergency Motion”). In

support of this Application, Movant states the following:


                                            [1]
                                                                            Appx_0877
       Case: 23-10376   Document: 5 Page: 882 Date Filed: 04/12/2023
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      1.      All respondents have received notice of this Application. This Application

for Expedited Hearing and the Emergency Motion are opposed.

      2.     The Emergency Motion seeks leave to file an appeal from an interlocutory

order or decree of a bankruptcy court under 28 U.S.C. §158(a)(3) and pursuant to the

Court’s “gatekeeping” orders, as well as the injunction and exculpation provisions in the

Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (Doc.

1943), as modified (the “Plan”).

      3.     An expedited hearing is permitted under Fed. R. Bank P. 9006 (c)(1), which

authorizes a shortened time for a response and hearing for good cause. For the reasons

set forth fully in the Emergency Motion, and as set forth herein, Movant has shown good

cause and requests that the Court schedule a hearing on the Emergency Motion on three

(3) days’ notice, and that any responses be filed no later than twenty-four hours before

the scheduled hearing.

      4.     Good cause exists because of a fast-approaching date (April 16, 2023) that

at least one of the Proposed Defendants will argue, depending upon choice of law, that

the statute of limitations may bar some of the common law claims. Although HMIT

offered to enter tolling agreements with each of the Proposed Defendants with whom

they have successfully contacted, this offer was either rejected or HMIT did not receive

an affirmative agreement to do so. Accordingly, this Application for Expedited Hearing

has become necessary. Expedited consideration of the Emergency Motion is necessary



                                           [2]
                                                                               Appx_0878
       Case: 23-10376   Document: 5 Page: 883 Date Filed: 04/12/2023
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and appropriate to protect and preserve the rights of the Reorganized Debtor, the

Highland Claimant Trust, and HMIT.

       5.     Movant requests that the Emergency Motion be scheduled for an expedited

hearing within (3) days of the filing of this Application for Expedited Hearing.

Alternatively, if such a setting is not possible, Movant requests that the Emergency

Motion be scheduled for an expedited hearing on the Court’s earliest available date, and

that any responses be filed no later than twenty-four hours before the scheduled hearing.

Movant requests a 30-minute hearing.

       WHEREFORE, Hunter Mountain Investment Trust, as Movant, respectfully

requests this Court (i) grant this Application for Expedited Hearing, (ii) set an expedited

hearing on the Emergency Motion within three (3) days of the filing of this Application

for Expedited Hearing and set a response and objection deadline no later than twenty-

four hours before the scheduled hearing or as set by the Court; (iii) in the event such a

setting is not possible, and in the alternative, set an expedited hearing on the Emergency

Motion on the Court’s earliest available date and time thereafter, and that any responses

be filed no later than twenty-four hours before the scheduled hearing, and (iv) grant such

other and further relief as is just and proper.

DATED: April 4, 2023




                                             [3]
                                                                                 Appx_0879
       Case: 23-10376   Document: 5 Page: 884 Date Filed: 04/12/2023
   Case 3:23-cv-00737-N Document 1-2 Filed 04/06/23 Page 4 of 7 PageID 41



                                                 Respectfully Submitted,

                                                 PARSONS MCENTIRE MCCLEARY
                                                 PLLC

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                                                     Attorneys for Hunter Mountain
                                                     Investment Trust



                          CERTIFICATE OF CONFERENCE

       Counsel for Mr. Seery, who also claims to represent the Reorganized Debtor, and
the Highland Claimant Trust (together, the ‘Highland Defendants’), states that he is
opposed to this Application. In light of the nature of the proposed proceedings, whereby
HMIT proposes to represent the Reorganized Debtor and the Highland Claimant Trust
derivatively, HMIT does not agree with (and does not admit) the propriety of, the
substantive content of, or any procedural need for Mr. Morris’s request to be identified
as counsel for the Reorganized Debtor and the Highland Capital Trust, but HMIT is filing
this certificate solely to accommodate Mr. Morris’s request. Although we specifically
conferred with counsel for all other respondents on April 3, 2023, they have not confirmed



                                           [4]
                                                                                 Appx_0880
       Case: 23-10376   Document: 5 Page: 885 Date Filed: 04/12/2023
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their position related to this Application. We, therefore, assume they are opposed to the
Application.

                                                  _/s/ Sawnie A. McEntire
                                                   Sawnie A. McEntire



                              CERTIFICATE OF SERVICE

       I certify that on the 4th day of April 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                          _ /s/ Sawnie A. McEntire___________________
                                          Sawnie A. McEntire




                                            [5]
                                                                                  Appx_0881
       Case: 23-10376   Document: 5 Page: 886 Date Filed: 04/12/2023
   Case 3:23-cv-00737-N Document 1-2 Filed 04/06/23 Page 6 of 7 PageID 43




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 In re:                                       §
                                              §
 HIGHLAND CAPITAL                             §    Chapter 11
 MANAGEMENT, L.P.                             §
                                              §    Case No. 19-34054-sgj11
          Debtor.                             §

             ORDER GRANTING APPLICATION FOR EXPEDITED HEARING
                     ON EMERGENCY MOTION FOR LEAVE
                      TO FILE INTERLOCUTORY APPEAL

          Upon the Application for Expedited Hearing on Emergency Motion for Leave to File

Verified Adversary Proceeding (“Application for Expedited Hearing”), filed by Hunter Mountain

Investment Trust (“HMIT”), requesting expedited and emergency consideration of the Emergency

Motion for Leave to File Interlocutory Appeal (“Emergency Motion”), and the Court, having




                                             [1]
                                                                                  Appx_0882
       Case: 23-10376   Document: 5 Page: 887 Date Filed: 04/12/2023
   Case 3:23-cv-00737-N Document 1-2 Filed 04/06/23 Page 7 of 7 PageID 44



reviewed the Application for Expedited Hearing, finds that proper notice was given and that good

cause exists for entry of this Order. It is therefore:

        ORDERED that the Application for Expedited Hearing is GRANTED; and

        IT IS FURTHER ORDERED that the hearing on the Emergency Motion shall be held on

____________________, 2023, at _________ _.m. (Central Time) before the Honorable Stacey

G. C. Jernigan. Any responses to the Emergency Motion shall be filed by _________________, at

____________.

                                        ### End of Order ###


Submitted by:
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Counsel for Hunter Mountain Investment Trust




                                                   [2]
                                                                                     Appx_0883
       Case: 23-10376   Document: 5 Page: 888 Date Filed: 04/12/2023
    Case 3:23-cv-00737-N Document 4 Filed 04/06/23 Page 1 of 5 PageID 48



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Attorneys for Petitioner Hunter Mountain Investment Trust

                IN THE UNITED STATES DISTRICT COURT
                 IN THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION
 HUNTER MOUNTAIN                  §
 INVESTMENT TRUST                 §
                                  §
      Appellant                   § Case No. 3:23-cv-00737-N
                                  §
 MUCK HOLDINGS, LLC, et al        §
                                  §
      Appellees                   §

    HUNTER MOUNTAIN INVESTMENT TRUST’S OPPOSED MOTION FOR
                 EXPEDITED BRIEFING SCHEDULE
             ON MOTION FOR INTERLOCUTORY APPEAL

      Hunter Mountain Investment Trust (“HMIT” or “Movant”), submits this Opposed

Motion for Expedited Briefing Schedule (“Motion for Expedited Schedule”) on its




                                            [1]
                                                                        Appx_0884
       Case: 23-10376   Document: 5 Page: 889 Date Filed: 04/12/2023
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Emergency Motion for Leave to File Interlocutory Appeal (“Emergency Motion”). In

support of this Motion, Movant states the following:

      1.      All Respondents to this Motion have received notice of this Motion for

Expedited Briefing Schedule, which is opposed.

      2.     The Emergency Motion seeks leave to file an appeal from an interlocutory

order or decree of a Bankruptcy Court under 28 U.S.C. §158(a)(3) and pursuant to the

Bankruptcy Court’s “gatekeeping” orders, as well as the injunction and exculpation

provisions in the Fifth Amended Plan of Reorganization of Highland Capital

Management, L.P. (Doc. 1943), as modified (the “Plan”).

      3.     Pursuant to Fed. R. Bank P. 8004(b)(2), a party may file with the district

clerk a response in opposition or a cross-motion on appeal with fourteen (14) days after

the motion for leave to file interlocutory appeal is served—this Rule applies in non-

emergency cases.

      4.     Fed. R. Bank P. 9006 (c)(1) authorizes a shortened time for a response under

certain circumstances. For the reasons set forth fully in the Emergency Motion, and as set

forth herein, Movant has established good cause and requests that the Court schedule an

expedited response deadline on the Emergency Motion of April 10. 2023.

      5.     Good cause exists because of a fast-approaching date (April 16, 2023) that

one or more of the Proposed Defendants, the Respondents herein, will argue constitutes

the expiration of the statute of limitations as to some of the common law claims which



                                           [2]
                                                                                Appx_0885
       Case: 23-10376   Document: 5 Page: 890 Date Filed: 04/12/2023
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Movant seeks to assert. It is now clear that Respondents seek to weaponize the

Bankruptcy Court’s “gatekeeping orders” to create arguments invoking the statute of

limitations. Although HMIT offered to enter tolling agreements with each of the

Respondents, this offer was either rejected or ignored. Accordingly, this Motion has

become necessary. Expedited consideration of the Emergency Motion is needed to protect

and preserve the rights of the Reorganized Debtor, the Highland Claimant Trust, and

HMIT. HMIT is seeking to bring its claims individually and derivatively on behalf of the

Reorganized Debtor and the Highland Claimant Trust. The Bankruptcy Court, however,

has denied any expedited consideration.

       WHEREFORE, Hunter Mountain Investment Trust, as Movant, respectfully

requests this Court (i) grant this Moton for Expedited Briefing Schedule, (ii) providing

that any response or cross-appeal related to the Emergency Motion be filed by Monday,

April 10, 2023, and (iii) grant such other and further relief as is just and proper.

DATED: April 6, 2023

                                                   Respectfully Submitted,

                                                   PARSONS MCENTIRE MCCLEARY
                                                   PLLC

                                                   By: _/s/ Sawnie A. McEntire
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                                             [3]
                                                                                   Appx_0886
       Case: 23-10376   Document: 5 Page: 891 Date Filed: 04/12/2023
    Case 3:23-cv-00737-N Document 4 Filed 04/06/23 Page 4 of 5 PageID 51



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                                                    Attorneys for Hunter Mountain
                                                    Investment Trust



                          CERTIFICATE OF CONFERENCE

        Counsel for Mr. Seery, who also claims to represent the Reorganized Debtor, and
the Highland Claimant Trust states that he is opposed to the expedited consideration of
the Emergency Motion and this appeal. In light of the nature of the proposed
proceedings, whereby HMIT proposes to represent the Reorganized Debtor and the
Highland Claimant Trust derivatively, HMIT does not agree with (and does not admit)
the propriety of, the substantive content of, or any procedural need for Mr. Morris’s
request to be identified as counsel for the Reorganized Debtor and the Highland Capital
Trust, but HMIT is filing this certificate solely to accommodate Mr. Morris’s request.
Although we specifically conferred with counsel for all other Respondents on April 3,
2023, they have not confirmed their position related to the Emergency Motion or this
appeal. We, therefore, assume they are opposed. A renewed attempt to confer was made
to all Respondents’ counsel on April 6, 2023, but no counsel responded to the inquiry.
Accordingly, it is once against assumed that all Respondents are opposed to this Motion.

                                                _/s/ Sawnie A. McEntire
                                                Sawnie A. McEntire




                                          [4]
                                                                                Appx_0887
       Case: 23-10376   Document: 5 Page: 892 Date Filed: 04/12/2023
    Case 3:23-cv-00737-N Document 4 Filed 04/06/23 Page 5 of 5 PageID 52



                              CERTIFICATE OF SERVICE

       I certify that on the 6th day of April 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                          _ /s/ Sawnie A. McEntire___________________
                                          Sawnie A. McEntire




                                            [5]
                                                                                  Appx_0888
       Case: 23-10376   Document: 5 Page: 893 Date Filed: 04/12/2023
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                 IN THE UNITED STATES DISTRICT COURT
                  IN THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION
 HUNTER MOUNTAIN                   §
 INVESTMENT TRUST                  §
                                   §
      Appellant,                   §
                                   § Case No. 3:23-cv-00737-N
 MUCK HOLDINGS, LLC, et al         §
                                   §
      Appellees.                   §

       ORDER GRANTING MOTION FOR EXPEDITED BRIEFING SCHEDULE

        Upon review of Hunter Mountain Investment Trust’s Motion for Expedited Briefing

Schedule (“Motion”), the Court finds that the Motion is meritorious and should be GRANTED. It

is therefore:

        ORDERED that the Motion is GRANTED; and

        IT IS FURTHER ORDERED that the response, if any, to the Emergency Motion for

Leave to File Interlocutory Appeal shall be filed no later than Monday, April 10, 2023.



 _______________________________                 _______________________________
 DATE                                            PRESIDING JUDGE




                                               [1]
                                                                                          Appx_0889
       Case: 23-10376   Document: 5 Page: 894 Date Filed: 04/12/2023
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Counsel for Hunter Mountain Investment Trust




                                               [2]
                                                                   Appx_0890
            Case: 23-10376
   Case 19-34054-sgj11        Document:
                       Doc 1943          5 Page:
                                Filed 02/22/21    895 02/22/21
                                               Entered Date Filed: 04/12/2023
                                                               16:48:16   Page 1 of 161
                                                                                           Docket #1943 Date Filed: 02/22/2021




The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 22, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                       )
         In re:                                                        )   Chapter 11
                                                                       )
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          )   Case No. 19-34054-sgj11
                                                                       )
                                          Debtor.                      )

                    ORDER (I) CONFIRMING THE FIFTH AMENDED
                  PLAN OF REORGANIZATION OF HIGHLAND CAPITAL
           MANAGEMENT, L.P. (AS MODIFIED) AND (II) GRANTING RELATED RELIEF


                  The Bankruptcy Court 2 having:
                  a.    entered, on November 24, 2020, the Order (A) Approving the Adequacy of the
                        Disclosure Statement, (B) Scheduling A Hearing to Confirm the Fifth Amended
                        Plan of Reorganization (C) Establishing Deadline for Filing Objections to
                        Confirmation of Plan, (D) Approving Form of Ballots, Voting Deadline and
                        Solicitation Procedures, and (E) Approving Form and Manner of Notice [Docket
                        No. 1476] (the “Disclosure Statement Order”), pursuant to which the Bankruptcy
                        Court approved the adequacy of the Disclosure Statement Relating to the Fifth

     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
     2
      Capitalized terms used but not otherwise defined herein have the meanings given to them in the Plan (as defined
     below). The rules of interpretation set forth in Article I of the Plan apply to this Confirmation Order.



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                                                                                     1934054210222000000000018 Appx_0891
         Case: 23-10376
Case 19-34054-sgj11        Document:
                    Doc 1943          5 Page:
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                                            Entered Date Filed: 04/12/2023
                                                            16:48:16   Page 2 of 161




                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1473] (the “Disclosure Statement”) under section 1125 of the Bankruptcy Code
                    and authorized solicitation of the Disclosure Statement;

           b.       set January 5, 2021, at 5:00 p.m. prevailing Central Time (the “Objection
                    Deadline”), as the deadline for filing objections to confirmation of the Fifth
                    Amended Plan of Reorganization of Highland Capital Management, L.P. (As
                    Modified) [Docket No. 1808] (as amended, supplemented or modified, the “Plan”);

           c.       set January 5, 2021, at 5:00 p.m. prevailing Central Time, as the deadline for voting
                    on the Plan (the “Voting Deadline”) in accordance with the Disclosure Statement
                    Order;

           d.       initially set January 13, 2021, at 9:30 a.m. prevailing Central Time, as the date and
                    time to commence the hearing to consider confirmation of the Plan pursuant to
                    Bankruptcy Rules 3017 and 3018, sections 1126, 1128, and 1129 of the Bankruptcy
                    Code, and the Disclosure Statement Order, which hearing was continued to January
                    26, 2021, at 9:30 a.m. prevailing Central Time and further continued to February 2,
                    2021;

           e.       reviewed: (i) the Plan; (ii) the Disclosure Statement; and (iii) Notice of (I) Entry of
                    Order Approving Disclosure Statement; (II) Hearing to Confirm; and (III) Related
                    Important Dates (the “Confirmation Hearing Notice”), the form of which is
                    attached as Exhibit 1-B to the Disclosure Statement Order;

           f.       reviewed: (i) the Debtor’s Notice of Filing of Plan Supplement for the Third
                    Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket
                    No. 1389] filed November 13, 2020; (ii) Debtor’s Notice of Filing of Plan
                    Supplement for the Fifth Amended Plan of Reorganization of Highland Capital
                    Management, L.P. [Docket No. 1606] filed on December 18, 2020; (iii) the
                    Debtor’s Notice of Filing of Plan Supplement for the Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1656] filed on
                    January 4, 2021; (iv) Notice of Filing Plan Supplement to the Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. (with Technical
                    Modifications)t dated January 22, 2021 [Docket No. 1811]; and (v) Debtor’s Notice
                    of Filing of Plan Supplement to the Fifth Amended Plan of Reorganization of
                    Highland of Highland Capital Management, L.P. (As Modified) on February 1,
                    2021 [Docket No. 1875]; (collectively, the documents listed in (i) through (v) of
                    this paragraph, the “Plan Supplements”);

           g.       reviewed: (i) the Notice of (I) Executory Contracts and Unexpired Leases to be
                    Assumed by the Debtor Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if
                    Any, and (III) Related Procedures in Connection Therewith filed on December 30,
                    2020 [Docket No. 1648]; (ii) the Second Notice of (I) Executory Contracts and

                                                      2
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                                                                                                  Appx_0892
         Case: 23-10376
Case 19-34054-sgj11        Document:
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                                            Entered Date Filed: 04/12/2023
                                                            16:48:16   Page 3 of 161




                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended
                    Plan, (II) Cure Amounts, if Any, and (III) Related Procedures in Connection
                    Therewith filed on January 11, 2021 [Docket No.1719]; (iii) the Third Notice of
                    (I) Executory Contracts and Unexpired Leases to be Assumed by the Debtor
                    Pursuant to the Fifth Amended Plan, (II) Cure Amounts, if Any, and (III) Related
                    Procedures in Connection Therewith filed on January 15, 2021 [Docket No. 1749];
                    (iv) the Notice of Withdrawal of Certain Executory Contracts and Unexpired
                    Leases from List of Executory Contracts and Unexpired Leases to be Assumed by
                    the Debtor Pursuant to the Fifth Amended Plan [Docket No. 1791]; (v) the Fourth
                    Notice of (I) Executory Contracts and Unexpired Leases to be Assumed by the
                    Debtor Pursuant to the Fifth Amended Plan (II) Cure Amounts, if Any, and (III)
                    Released Procedures in Connection Therewith filed on January 27, 2021 [Docket
                    No. 1847]; (vi) the Notice of Hearing on Agreed Motion to (I) Assume
                    Nonresidential Real Property Lease with Crescent TC Investors, L.P. Upon
                    Confirmation of Plan and (II) Extend Assumption Deadline filed on January 28,
                    2021 [Docket No. 1857]; and (vii) the Fifth Notice of (I) Executory Contracts and
                    Unexpired Leases to be Assumed by the Debtor Pursuant to the Fifth Amended Plan
                    (II) Cure Amounts, if Any, and (III) Released Procedures in Connection Therewith
                    filed on February 1, 2021 [Docket No. 1873] (collectively, the documents referred
                    to in (i) to (vii) are referred to as “List of Assumed Contracts”);

           h.       reviewed: (i) the Debtor’s Memorandum of Law in Support of Confirmation of the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1814] (the “Confirmation Brief”); (ii) the Debtor’s Omnibus Reply to
                    Objections to Confirmation of the Fifth Amended Chapter 11 Plan of
                    Reorganization of Highland Capital Management; [Docket No. 1807]; and (iii) the
                    Certification of Patrick M. Leathem With Respect to the Tabulation of Votes on the
                    Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Docket No. 1772] and Supplemental Certification of Patrick M. Leathem With
                    Respect to the Tabulation of Votes on the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1887] filed on February 3, 2021
                    (together, the “Voting Certifications”).

           i.       reviewed: (i) the Notice of Affidavit of Publication dated December 3, 2020 [Docket
                    No. 1505]; (ii) the Certificate of Service dated December 23, 2020 [Docket No.
                    1630]; (iii) the Supplemental Certificate of Service dated December 24, 2020
                    [Docket No. 1637]; (iv) the Second Supplemental Certificate of Service dated
                    December 31, 2020 [Docket No. 1653]; (v) the Certificate of Service dated
                    December 23, 2020 [Docket No. 1627]; (vi) the Certificate of Service dated January
                    6, 2021 [Docket No. 1696]; (vii) the Certificate of Service dated January 7, 2021
                    [Docket No. 1699]; (viii) the Certificate of Service dated January 7, 2021 [Docket
                    No 1700]; (ix) the Certificate of Service dated January 15, 2021 [Docket No. 1761];
                    (x) the Certificate of Service dated January 19, 2021 [Docket No. 1775]; (xi) the


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                    Certificate of Service dated January 20, 2021 [Docket No. 1787]; (xii) the
                    Certificate of Service dated January 26, 2021[Docket No. 1844]; (xiii) the
                    Certificate of Service dated January 27, 2021 [Docket No. 1854]; (xiv) the
                    Certificate of Service dated February 1, 2021 [Docket No. 1879]; (xv) the
                    Certificates of Service dated February 3, 2021 [Docket No. 1891 and 1893]; and
                    (xvi) the Certificates of Service dated February 5, 2021 [Docket Nos. 1906, 1907,
                    1908 and 1909] (collectively, the “Affidavits of Service and Publication”);

           j.       reviewed all filed 3 pleadings, exhibits, statements, and comments regarding
                    approval of the Disclosure Statement and confirmation of the Plan, including all
                    objections, statements, and reservations of rights;

           k.       conducted a hearing to consider confirmation of the Plan, which commenced on
                    February 2, 2021, at 9:30 a.m. prevailing Central Time and concluded on February
                    3, 2021, and issued its oral ruling on February 8, 2021 (collectively, the
                    “Confirmation Hearing);

           l.       heard the statements and arguments made by counsel in respect of confirmation of
                    the Plan and having considered the record of this Chapter 11 Case and taken judicial
                    notice of all papers and pleadings filed in this Chapter 11 Case; and

           m.       considered all oral representations, testimony, documents, filings, and other
                    evidence regarding confirmation of the Plan, including (a) all of the exhibits
                    admitted into evidence; 4 (b) the sworn testimony of (i) James P. Seery, Jr., the
                    Debtor’s Chief Executive Officer and Chief Restructuring Officer and a member of
                    the Board of Directors of Strand Advisors, Inc. (“Strand”), the Debtor’s general
                    partner; (ii) John S. Dubel, a member of the Board of Strand; (iii) Marc Tauber, a
                    Vice President at Aon Financial Services; and (iv) Robert Jason Post, the Chief
                    Compliance Officer of NexPoint Advisors, LP (collectively, the “Witnesses”); (c)
                    the credibility of the Witnesses; and (d) the Voting Certifications.

           NOW, THEREFORE, after due deliberation thereon and good cause appearing therefor,

  the Bankruptcy Court hereby makes and issues the following findings of fact and conclusions of

  law:



  3
   Unless otherwise indicated, use of the term “filed” herein refers also to the service of the applicable document filed
  on the docket in this Chapter 11 Case, as applicable.
  4
    The Court admitted the following exhibits into evidence: (a) all of the Debtor’s exhibits lodged at Docket No. 1822
  (except TTTTT, which was withdrawn by the Debtor); (b) all of the Debtor’s exhibits lodged at Docket No. 1866; (c)
  all of the Debtor’s exhibits lodged at Docket No. 1877; (d) all of the Debtor’s exhibits lodged at Docket No. 1895;
  and (e) Exhibits 6-12 and 15-17 offered by Mr. James Dondero and lodged at Docket No. 1874.


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                         FINDINGS OF FACT AND CONCLUSIONS OF LAW

                    1.          Findings of Fact and Conclusions of Law. The findings and conclusions

  set forth herein, together with the findings of fact and conclusions of law set forth in the record

  during the Confirmation Hearing, constitute the Bankruptcy Court’s findings of fact and

  conclusions of law pursuant to Federal Rule of Civil Procedure 52, made applicable to this

  proceeding pursuant to Bankruptcy Rules 7052 and 9014. To the extent any of the following

  findings of fact constitute conclusions of law, they are adopted as such. To the extent that any of

  the following conclusions of law constitute findings of fact, they are adopted as such.

                    2.          Introduction and Summary of the Plan. Prior to addressing the specific

  requirements under the Bankruptcy Code and Bankruptcy Rules with respect to the confirmation

  of the Plan, the Bankruptcy Court believes it would be useful to first provide the following

  background of the Debtor’s Chapter 11 Case, the parties involved therewith, and some of the major

  events that have transpired culminating in the filing and solicitation of the Plan of this very unusual

  case. Before the Bankruptcy Court is the Debtor’s Fifth Amended Plan of Reorganization of

  Highland Capital Management, L.P., filed on November 24, 2020, as modified on January 22,

  2021 and again on February 1, 2021. The parties have repeatedly referred to the Plan as an “asset

  monetization plan” because it involves the orderly wind-down of the Debtor’s estate, including the

  sale of assets and certain of its funds over time, with the Reorganized Debtor continuing to manage

  certain other funds, subject to the oversight of the Claimant Trust Oversight Board. The Plan

  provides for a Claimant Trust to, among other things, manage and monetize the Claimant Trust

  Assets for the benefit of the Debtor’s economic stakeholders. The Claimant Trustee is responsible



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  for this process, among other duties specified in the Plan’s Claimant Trust Agreement. There is

  also anticipated to be a Litigation Sub-trust established for the purpose of pursuing certain

  avoidance or other causes of action for the benefit of the Debtor’s economic constituents.

                    3.          Confirmation Requirements Satisfied. The Plan is supported by the

  Committee and all claimants with Convenience Claims (i.e., general unsecured claims under $1

  million) who voted in Class 7. Claimants with Class 8 General Unsecured Claims, however, voted

  to reject the Plan because, although the Plan was accepted by 99.8% of the amount of Claims in

  that class, only 17 claimants voted to accept the Plan while 27 claimants voted to reject the Plan.

  As a result of such votes, and because Mr. Dondero and the Dondero Related Entities (as defined

  below) objected to the Plan on a variety of grounds primarily relating to the Plan’s release,

  exculpation and injunction provisions, the Bankruptcy Court heard two full days of evidence on

  February 2 and 3, 2021, and considered testimony from five witnesses and thousands of pages of

  documentary evidence in determining whether the Plan satisfies the confirmation standards

  required under the Bankruptcy Code. The Bankruptcy Court finds and concludes that the Plan

  meets all of the relevant requirements of sections 1123, 1124, and 1129, and other applicable

  provisions of the Bankruptcy Code, as more fully set forth below with respect to each of the

  applicable confirmation requirements.

                    4.          Not Your Garden Variety Debtor. The Debtor’s case is not a garden

  variety chapter 11 case. The Debtor is a multibillion-dollar global investment adviser registered

  with the SEC, pursuant to the Investment Advisers Act of 1940. It was founded in 1993 by James

  Dondero and Mark Okada. Mark Okada resigned from his role with Highland prior to the



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  bankruptcy case being filed on October 16, 2019 (the “Petition Date”). Mr. Dondero controlled

  the Debtor as of the Petition Date but agreed to relinquish control of it on or about January 9, 2020,

  pursuant to an agreement reached with the Committee, as described below. Although Mr. Dondero

  remained with the Debtor as an unpaid employee/portfolio manager after January 9, 2020, his

  employment with the Debtor terminated on October 9, 2020. Mr. Dondero continues to work for

  and/or control numerous non-debtor entities in the complex Highland enterprise.

                    5.          The Debtor. The Debtor is headquartered in Dallas, Texas. As of the

  Petition Date, the Debtor employed approximately 76 employees. The Debtor is privately-owned:

  (a) 99.5% by the Hunter Mountain Investment Trust; (b) 0.1866% by The Dugaboy Investment

  Trust, a trust created to manage the assets of Mr. Dondero and his family; (c) 0.0627% by Mark

  Okada, personally and through family trusts; and (d) 0.25% by Strand, the Debtor’s general

  partner.

                    6.          The Highland Enterprise. Pursuant to various contractual arrangements,

  the Debtor provides money management and advisory services for billions of dollars of assets,

  including collateralized loan obligation vehicles (“CLOs”), and other investments. Some of these

  assets are managed by the Debtor pursuant to shared services agreements with certain affiliated

  entities, including other affiliated registered investment advisors. In fact, there are approximately

  2,000 entities in the byzantine complex of entities under the Highland umbrella. None of these

  affiliated entities filed for chapter 11 protection. Most, but not all, of these entities are not

  subsidiaries (direct or indirect) of the Debtor. Many of the Debtor’s affiliated companies are




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  offshore entities, organized in jurisdictions such as the Cayman Islands and Guernsey. See

  Disclosure Statement, at 17-18.

                    7.          Debtor’s Operational History. The Debtor’s primary means of generating

  revenue has historically been from fees collected for the management and advisory services

  provided to funds that it manages, plus fees generated for services provided to its affiliates. For

  additional liquidity, the Debtor, prior to the Petition Date, would sell liquid securities in the

  ordinary course, primarily through a brokerage account at Jefferies, LLC. The Debtor would also,

  from time to time, sell assets at non-Debtor subsidiaries and cause those proceeds to be distributed

  to the Debtor in the ordinary course of business. The Debtor’s current Chief Executive Officer,

  James P. Seery, Jr., credibly testified at the Confirmation Hearing that the Debtor was “run at a

  deficit for a long time and then would sell assets or defer employee compensation to cover its

  deficits.” The Bankruptcy Court cannot help but wonder if that was necessitated because of

  enormous litigation fees and expenses incurred by the Debtor due to its culture of litigation—as

  further addressed below.

                    8.          Not Your Garden Variety Creditor’s Committee. The Debtor and this

  chapter 11 case are not garden variety for so many reasons. One of the most obvious standouts in

  this case is the creditor constituency. The Debtor did not file for bankruptcy because of any of the

  typical reasons that large companies file chapter 11. For example, the Debtor did not have a large,

  asset-based secured lender with whom it was in default; it only had relatively insignificant secured

  indebtedness owing to Jeffries, with whom it had a brokerage account, and one other entity,

  Frontier State Bank. The Debtor also did not have problems with its trade vendors or landlords.



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  The Debtor also did not suffer any type of catastrophic business calamity. In fact, the Debtor filed

  for Chapter 11 protection six months before the onset of the COVID-19 pandemic. Rather, the

  Debtor filed for Chapter 11 protection due to a myriad of massive, unrelated, business litigation

  claims that it faced—many of which had finally become liquidated (or were about to become

  liquidated) after a decade or more of contentious litigation in multiple forums all over the world.

  The Committee in this case has referred to the Debtor—under its former chief executive, Mr.

  Dondero—as a “serial litigator.” The Bankruptcy Court agrees with that description. By way of

  example, the members of the Committee (and their history of litigation with the Debtor and others

  in the Highland complex) are as follows:

           a.       The Redeemer Committee of the Highland Crusader Fund (the “Redeemer
                    Committee”). This Committee member obtained an arbitration award against the
                    Debtor in the amount of $190,824,557, inclusive of interest, approximately five
                    months before the Petition Date, from a panel of the American Arbitration
                    Association. It was on the verge of having that award confirmed by the Delaware
                    Chancery Court immediately prior to the Petition Date, after years of disputes that
                    started in late 2008 (and included legal proceedings in Bermuda). This creditor’s
                    claim was settled during this Chapter 11 Case in the amount of approximately
                    $137,696,610 (subject to other adjustments and details not relevant for this
                    purpose).

           b.       Acis Capital Management, L.P., and Acis Capital Management GP, LLC
                    (“Acis”). Acis was formerly in the Highland complex of companies, but was not
                    affiliated with Highland as of the Petition Date. This Committee member and its
                    now-owner, Joshua Terry, were involved in litigation with the Debtor dating back
                    to 2016. Acis was forced by Mr. Terry (who was a former Highland portfolio
                    manager) into an involuntary chapter 11 bankruptcy in the Bankruptcy Court for
                    the Northern District of Texas, Dallas Division before the Bankruptcy Court in
                    2018, after Mr. Terry obtained an approximately $8 million arbitration award and
                    judgment against Acis. Mr. Terry ultimately was awarded the equity ownership of
                    Acis by the Bankruptcy Court in the Acis bankruptcy case. Acis subsequently
                    asserted a multi-million dollar claim against Highland in the Bankruptcy Court for
                    Highland’s alleged denuding of Acis to defraud its creditors—primarily Mr. Terry.
                    The litigation involving Acis and Mr. Terry dates back to mid-2016 and has


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                    continued on with numerous appeals of Bankruptcy Court orders, including one
                    appeal still pending at the Fifth Circuit Court of Appeals. There was also litigation
                    involving Mr. Terry and Acis in the Royal Court of the Island of Guernsey and in
                    a state court in New York. The Acis claim was settled during this Chapter 11 Case,
                    in Bankruptcy Court-ordered mediation, for approximately $23 million (subject to
                    other details not relevant for this purpose), and is the subject of an appeal being
                    pursued by Mr. Dondero.

           c.       UBS Securities LLC and UBS AG London Branch (“UBS”). UBS is a
                    Committee member that filed a proof of claim in the amount of $1,039,957,799.40
                    in this Chapter 11 Case. The UBS Claim was based on a judgment that UBS
                    received from a New York state court in 2020. The underlying decision was issued
                    in November 2019, after a multi-week bench trial (which had occurred many
                    months earlier) on a breach of contract claim against non-Debtor entities in the
                    Highland complex. The UBS litigation related to activities that occurred in 2008
                    and 2009. The litigation involving UBS and Highland and affiliates was pending
                    for more than a decade (there having been numerous interlocutory appeals during
                    its history). The Debtor and UBS recently announced an agreement in principle for
                    a settlement of the UBS claim (which came a few months after Bankruptcy Court-
                    ordered mediation) which will be subject to a 9019 motion to be filed with the
                    Bankruptcy Court on a future date.

           d.       Meta-E Discovery (“Meta-E”). Meta-E is a Committee member that is a vendor
                    who happened to supply litigation and discovery-related services to the Debtor over
                    the years. It had unpaid invoices on the Petition Date of more than $779,000.

  It is fair to say that the members of the Committee in this case all have wills of steel. They fought

  hard before and during this Chapter 11 Case. The members of the Committee, all of whom have

  volunteered to serve on the Claimant Trust Oversight Board post-confirmation, are highly

  sophisticated and have had highly sophisticated professionals representing them. They have

  represented their constituency in this case as fiduciaries extremely well.

                    9.          Other Key Creditor Constituents. In addition to the Committee members

  who were all embroiled in years of litigation with Debtor and its affiliates in various ways, the

  Debtor has been in litigation with Patrick Daugherty, a former limited partner and employee of the

  Debtor, for many years in both Delaware and Texas state courts. Mr. Daugherty filed an amended


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  proof of claim in this Chapter 11 Case for $40,710,819.42 relating to alleged breaches of

  employment-related agreements and for defamation arising from a 2017 press release posted by

  the Debtor. The Debtor and Mr. Daugherty recently announced a settlement of Mr. Daugherty’s

  claim pursuant to which he will receive $750,000 in cash on the Effective Date of the Plan, an

  $8.25 million general unsecured claim, and a $2.75 million subordinated claim (subject to other

  details not relevant for this purpose). Additionally, entities collectively known as “HarbourVest”

  invested more than $70 million with an entity in the Highland complex and asserted a $300 million

  proof of claim against the Debtor in this case, alleging, among other things, fraud and RICO

  violations. HarbourVest’s claim was settled during the bankruptcy case for a $45 million general

  unsecured claim and a $35 million subordinated claim, and that settlement is also being appealed

  by a Dondero Entity.

                    10.         Other Claims Asserted. Other than the Claims just described, most of the

  other Claims in this Chapter 11 Case are Claims asserted against the Debtor by: (a) entities in the

  Highland complex—most of which entities the Bankruptcy Court finds to be controlled by Mr.

  Dondero; (b) employees who contend that are entitled to large bonuses or other types of deferred

  compensation; and (c) numerous law firms that worked for the Debtor prior to the Petition Date

  and had outstanding amounts due for their prepetition services.

                    11.         Not Your Garden Variety Post-Petition Corporate Governance

  Structure. Yet another reason this is not your garden variety chapter 11 case is its post-petition

  corporate governance structure. Immediately from its appointment, the Committee’s relationship

  with the Debtor was contentious at best. First, the Committee moved for a change of venue from



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  Delaware to Dallas. Second, the Committee (and later, the United States Trustee) expressed its

  then-desire for the appointment of a chapter 11 trustee due to its concerns over and distrust of Mr.

  Dondero, his numerous conflicts of interest, and his history of alleged mismanagement (and

  perhaps worse).

                    12.         Post-Petition Corporate Governance Settlement with Committee. After

  spending many weeks under the threat of the potential appointment of a trustee, the Debtor and

  Committee engaged in substantial and lengthy negotiations resulting in a corporate governance

  settlement approved by the Bankruptcy Court on January 9, 2020. 5 As a result of this settlement,

  among other things, Mr. Dondero relinquished control of the Debtor and resigned his positions as

  an officer or director of the Debtor and its general partner, Strand. As noted above, Mr. Dondero

  agreed to this settlement pursuant a stipulation he executed, 6 and he also agreed not to cause any

  Related Entity (as defined in the Settlement Motion) to terminate any agreements with the Debtor.

  The January 9 Order also (a) required that the Bankruptcy Court serve as “gatekeeper” prior to the

  commencement of any litigation against the three independent board members appointed to

  oversee and lead the Debtor’s restructuring in lieu of Mr. Dondero and (b) provided for the

  exculpation of those board members by limiting claims subject to the “gatekeeper” provision to

  those alleging willful misconduct and gross negligence.



  5
   This order is hereinafter referred to as the “January 9 Order” and was entered by the Court on January 9, 2020
  [Docket No. 339] pursuant to the Motion of the Debtor to Approve Settlement with Official Committee of Unsecured
  Creditors Regarding the Governance of the Debtor and Procedures for Operation in the Ordinary Course [Docket
  No. 281] (the “Settlement Motion”).
  6
    See Stipulation in Support of Motion of the Debtor for Approval of Settlement With the Official Committee of
  Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in Ordinary Course
  [Docket No. 338] (the “Stipulation”).


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                    13.         Appointment of Independent Directors. As part of the Bankruptcy

  Court-approved settlement, three eminently qualified independent directors were chosen to lead

  Highland through its Chapter 11 Case. They are: James P. Seery, Jr., John S. Dubel (each chosen

  by the Committee), and Retired Bankruptcy Judge Russell Nelms. These three individuals are

  each technically independent directors of Strand (Mr. Dondero had previously been the sole

  director of Strand and, thus, the sole person in ultimate control of the Debtor). The three

  independent board members’ resumes are in evidence. The Bankruptcy Court later approved Mr.

  Seery’s appointment as the Debtor’s Chief Executive Officer, Chief Restructuring Officer, and

  Foreign Representative.          Suffice it to say that this settlement and the appointment of the

  independent directors changed the entire trajectory of the case and saved the Debtor from the

  appointment of a trustee. The Bankruptcy Court and the Committee each trusted the independent

  directors. They were the right solution at the right time. Because of the unique character of the

  Debtor’s business, the Bankruptcy Court believed the appointment of three qualified independent

  directors was a far better outcome for creditors than the appointment of a conventional chapter 11

  trustee. Each of the independent directors brought unique qualities to the table. Mr. Seery, in

  particular, knew and had vast experience at prominent firms with high-yield and distressed

  investing similar to the Debtor’s business. Mr. Dubel had 40 years of experience restructuring

  large complex businesses and serving on boards in this context. And Retired Judge Nelms had not

  only vast bankruptcy experience but seemed particularly well-suited to help the Debtor maneuver

  through conflicts and ethical quandaries. By way of comparison, in the chapter 11 case of Acis,

  the former affiliate of Highland that the Bankruptcy Court presided over and which company was



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  much smaller in size and scope than Highland (managing only 5-6 CLOs), the creditors elected a

  chapter 11 trustee who was not on the normal trustee rotation panel in this district but, rather, was

  a nationally known bankruptcy attorney with more than 45 years of large chapter 11 experience.

  While the Acis chapter 11 trustee performed valiantly, he was sued by entities in the Highland

  complex shortly after he was appointed (which the Bankruptcy Court had to address). The Acis

  trustee was also unable to persuade the Debtor and its affiliates to agree to any actions taken in the

  case, and he finally obtained confirmation of Acis’ chapter 11 plan over the objections of the

  Debtor and its affiliates on his fourth attempt (which confirmation was promptly appealed).

                    14.         Conditions Required by Independent Directors. Given the experiences

  in Acis and the Debtor’s culture of constant litigation, it was not as easy to get such highly qualified

  persons to serve as independent board members and, later, as the Debtor’s Chief Executive Officer,

  as it would be in an ordinary chapter 11 case. The independent board members were stepping into

  a morass of problems. Naturally, they were worried about getting sued no matter how defensible

  their efforts—given the litigation culture that enveloped Highland historically. Based on the

  record of this Case and the proceedings in the Acis chapter 11 case, it seemed as though everything

  always ended in litigation at Highland. The Bankruptcy Court heard credible testimony that none

  of the independent directors would have taken on the role of independent director without (1) an

  adequate directors and officers’ (“D&O”) insurance policy protecting them; (2) indemnification

  from Strand that would be guaranteed by the Debtor; (3) exculpation for mere negligence claims;

  and (4) a gatekeeper provision prohibiting the commencement of litigation against the independent

  directors without the Bankruptcy Court’s prior authority. This gatekeeper provision was also



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  included in the Bankruptcy Court’s order authorizing the appointment of Mr. Seery as the Debtor’s

  Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative entered on

  July 16, 2020. 7 The gatekeeper provisions in both the January 9 Order and July 16 Order are

  precisely analogous to what bankruptcy trustees have pursuant to the so-called “Barton Doctrine”

  (first articulated in an old Supreme Court case captioned Barton v. Barbour, 104 U.S. 126 (1881)).

  The Bankruptcy Court approved all of these protections in the January 9 Order and the July 16

  Order, and no one appealed either of those orders. As noted above, Mr. Dondero signed the

  Stipulation that led to the settlement that was approved by the January 9 Order. The Bankruptcy

  Court finds that, like the Committee, the independent board members have been resilient and

  unwavering in their efforts to get the enormous problems in this case solved. They seem to have

  at all times negotiated hard and in good faith, which culminated in the proposal of the Plan

  currently before the Bankruptcy Court. As noted previously, they completely changed the

  trajectory of this case.

                    15.         Not Your Garden Variety Mediators. And still another reason why this

  was not your garden variety case was the mediation effort. In the summer of 2020, roughly nine

  months into the chapter 11 case, the Bankruptcy Court ordered mediation among the Debtor, Acis,

  UBS, the Redeemer Committee, and Mr. Dondero. The Bankruptcy Court selected co-mediators

  because mediation among these parties seemed like such a Herculean task—especially during

  COVID-19 where people could not all be in the same room. Those co-mediators were: Retired



  7
   See Order Approving the Debtor’s Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing
  Retention of James P. Seery, Jr., as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative
  Nunc Pro Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 (the “July 16 Order”)


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  Bankruptcy Judge Alan Gropper from the Southern District of New York, who had a distinguished

  career presiding over complex chapter 11 cases, and Ms. Sylvia Mayer, who likewise has had a

  distinguished career, first as a partner at a preeminent law firm working on complex chapter 11

  cases, and subsequently as a mediator and arbitrator in Houston, Texas. As noted earlier, the

  Redeemer Committee and Acis claims were settled during the mediation—which seemed nothing

  short of a miracle to the Bankruptcy Court—and the UBS claim was settled several months later

  and the Bankruptcy Court believes the ground work for that ultimate settlement was laid, or at

  least helped, through the mediation. And, as earlier noted, other significant claims have been

  settled during this case, including those of HarbourVest (who asserted a $300 million claim) and

  Patrick Daugherty (who asserted a $40 million claim). The Bankruptcy Court cannot stress

  strongly enough that the resolution of these enormous claims—and the acceptance by all of these

  creditors of the Plan that is now before the Bankruptcy Court—seems nothing short of a miracle.

  It was more than a year in the making.

                    16.         Not Your Garden Variety Plan Objectors (That Is, Those That

  Remain). Finally, a word about the current, remaining objectors to the Plan before the Bankruptcy

  Court. Once again, the Bankruptcy Court will use the phrase “not your garden variety”, which

  phrase applies to this case for many reasons. Originally, there were over a dozen objections filed

  to the Plan. The Debtor then made certain amendments or modifications to the Plan to address

  some of these objections, none of which require further solicitation of the Plan for reasons set forth

  in more detail below. The only objectors to the Plan left at the time of the Confirmation Hearing




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  were Mr. Dondero [Docket No. 1661] and entities that the Bankruptcy Court finds are owned

  and/or controlled by him and that filed the following objections:

           a.       Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization
                    (filed by Get Good Trust and The Dugaboy Investment Trust) [Docket No. 1667];

           b.       Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
                    Capital Management, L.P. (filed by Highland Capital Management Fund Advisors,
                    L.P., Highland Fixed Income Fund, Highland Funds I and its series, Highland
                    Funds II and its series, Highland Global Allocation Fund, Highland Healthcare
                    Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund,
                    Highland Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland
                    Socially Responsible Equity Fund, Highland Total Return Fund, Highland/iBoxx
                    Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc., NexPoint Real
                    Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No.
                    1670];

           c.       A Joinder to the Objection filed at 1670 by: NexPoint Real Estate Finance Inc.,
                    NexPoint Real Estate Capital, LLC, NexPoint Residential Trust, Inc., NexPoint
                    Hospitality Trust, NexPoint Real Estate Partners, LLC, NexPoint Multifamily
                    Capital Trust, Inc., VineBrook Homes Trust, Inc., NexPoint Real Estate Advisors,
                    L.P., NexPoint Real Estate Advisors II, L.P., NexPoint Real Estate Advisors III,
                    L.P., NexPoint Real Estate Advisors IV, L.P., NexPoint Real Estate Advisors V,
                    L.P., NexPoint Real Estate Advisors VI, L.P., NexPoint Real Estate Advisors VII,
                    L.P., NexPoint Real Estate Advisors VIII, L.P., and any funds advised by the
                    foregoing [Docket No. 1677];

           d.       NexPoint Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan
                    of Reorganization (filed by NexPoint Real Estate Partners LLC f/k/a HCRE
                    Partners LLC) [Docket No. 1673]; and

           e.       NexBank’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by
                    NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and
                    NexBank) [Docket No. 1676]. The entities referred to in (i) through (v) of this
                    paragraph are hereinafter referred to as the “Dondero Related Entities”).

                    17.         Questionability of Good Faith as to Outstanding Confirmation

  Objections. Mr. Dondero and the Dondero Related Entities technically have standing to object to

  the Plan, but the remoteness of their economic interests is noteworthy, and the Bankruptcy Court



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  questions the good faith of Mr. Dondero’s and the Dondero Related Entities’ objections. In fact,

  the Bankruptcy Court has good reason to believe that these parties are not objecting to protect

  economic interests they have in the Debtor but to be disruptors. Mr. Dondero wants his company

  back. This is understandable, but it is not a good faith basis to lob objections to the Plan. As

  detailed below, the Bankruptcy Court has slowed down plan confirmation multiple times and urged

  the parties to talk to Mr. Dondero in an attempt to arrive at what the parties have repeatedly referred

  to as a “grand bargain,” the ultimate goal to resolve the Debtor’s restructuring. The Debtor and

  the Committee represent that they have communicated with Mr. Dondero regarding a grand

  bargain settlement, and the Bankruptcy Court believes that they have.

                    18.         Remote Interest of Outstanding Confirmation Objectors. To be specific

  about the remoteness of Mr. Dondero’s and the Dondero Related Entities’ interests, the Bankruptcy

  Court will address them each separately. First, Mr. Dondero has a pending objection to the Plan.

  Mr. Dondero’s only economic interest with regard to the Debtor is an unliquidated indemnification

  claim (and, based on everything the Bankruptcy Court has heard, his indemnification claims would

  be highly questionable at this juncture). Mr. Dondero owns no equity in the Debtor directly. Mr.

  Dondero owns the Debtor’s general partner, Strand, which in turn owns a quarter percent of the

  total equity in the Debtor. Second, a joint objection has been filed by The Dugaboy Trust

  (“Dugaboy”) and the Get Good Trust (“Get Good”). The Dugaboy Trust was created to manage

  the assets of Mr. Dondero and his family and owns a 0.1866% limited partnership interest in the

  Debtor. See Disclosure Statement at 7, n.3. The Bankruptcy Court is not clear what economic

  interest the Get Good Trust has, but it likewise seems to be related to Mr. Dondero. Get Good



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  filed three proofs of claim relating to a pending federal tax audit of the Debtor’s 2008 return, which

  the Debtor believes arise from Get Good’s equity security interests and are subject to subordination

  as set forth in its Confirmation Brief. Dugaboy filed three claims against the Debtor: (a) an

  administrative claim relating to the Debtor’s alleged postpetition management of Multi-Strat

  Credit Fund, L.P., (b) a prepetition claim against a subsidiary of the Debtor for which it seeks to

  pierce the corporate veil, each of which the Debtor maintains are frivolous in the Confirmation

  Brief, and (c) a claim arising from its equity security interest in the Debtor, which the Debtor

  asserts should be subordinated. Another group of objectors that has joined together in one

  objection is what the Bankruptcy Court will refer to as the “Highland Advisors and Funds.” See

  Docket No. 1863. The Bankruptcy Court understands they assert disputed administrative expense

  claims against the estate that were filed shortly before the Confirmation Hearing on January 23,

  2021 [Docket No. 1826], and during the Confirmation Hearing on February 3, 2021 [Docket No.

  1888]. At the Confirmation Hearing, Mr. Post testified on behalf of the Highland Advisors and

  Funds that the Funds have independent board members that run the Funds, but the Bankruptcy

  Court was not convinced of their independence from Mr. Dondero because none of the so-called

  independent board members have ever testified before the Bankruptcy Court and all have been

  engaged with the Highland complex for many years. Notably, the Court questions Mr. Post’s

  credibility because, after more than 12 years of service, he abruptly resigned from the Debtor in

  October 2020 at the exact same time that Mr. Dondero resigned at the Board of Directors’ request,

  and he is currently employed by Mr. Dondero. Moreover, Dustin Norris, a witness in a prior

  proceeding (whose testimony was made part of the record at the Confirmation Hearing), recently



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  testified on behalf of the Highland Advisors and Funds in another proceeding that Mr. Dondero

  owned and/or controlled these entities. Finally, various NexBank entities objected to the Plan.

  The Bankruptcy Court does not believe they have liquidated claims against the Debtor. Mr.

  Dondero appears to be in control of these entities as well.

                    19.         Background Regarding Dondero Objecting Parties. To be clear, the

  Bankruptcy Court has allowed all these objectors to fully present arguments and evidence in

  opposition to confirmation, even though their economic interests in the Debtor appear to be

  extremely remote and the Bankruptcy Court questions their good faith.              Specifically, the

  Bankruptcy Court considers them all to be marching pursuant to the orders of Mr. Dondero. In

  the recent past, Mr. Dondero has been subject to a temporary restraining order and preliminary

  injunction by the Bankruptcy Court for interfering with Mr. Seery’s management of the Debtor in

  specific ways that were supported by evidence. Around the time that this all came to light and the

  Bankruptcy Court began setting hearings on the alleged interference, Mr. Dondero’s company

  phone, which he had been asked to turn in to Highland, mysteriously went missing. The

  Bankruptcy Court merely mentions this in this context as one of many reasons that the Bankruptcy

  Court has to question the good faith of Mr. Dondero and his affiliates in raising objections to

  confirmation of the Plan.

                    20.         Other Confirmation Objections. Other than the objections filed by Mr.

  Dondero and the Dondero Related Entities, the only other pending objection to the Plan is the

  United States Trustee’s Limited Objection to Confirmation of Debtor’s Fifth Amended Plan of

  Reorganization [Docket No. 1671], which objected to the Plan’s exculpation, injunction, and



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  Debtor release provisions. In juxtaposition, to these pending objections, the Bankruptcy Court

  notes that the Debtor resolved the following objections to the Plan:

           a.       CLO Holdco, Ltd.’s Joinder to Objection to Confirmation of Fifth Amended Plan
                    of Reorganization of Highland Capital Management, L.P. and Supplemental
                    Objections to Plan Confirmation [Docket No. 1675]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    VV of the Confirmation Order;

           b.       Objection of Dallas County, City of Allen, Allen ISD, City of Richardson, and
                    Kaufman County to Confirmation of the Fifth Amended Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 1662]. This Objection has been
                    resolved pursuant to mutually agreed language by the parties set forth in paragraph
                    QQ of the Confirmation Order;

           c.       Senior Employees’ Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse,
                    Isaac Leventon) [Docket No. 1669]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraph 82 and paragraphs
                    RR and SS of the Confirmation Order;

           d.       Limited Objection of Jack Yang and Brad Borud to Fifth Amended Plan of
                    Reorganization of Highland Capital Management, L.P. [Docket No. 1666] and the
                    amended joinder filed by Davis Deadman, Paul Kauffman and Todd Travers
                    [Docket No. 1679]. This Objection and the amended joinder were resolved by
                    agreement of the parties pursuant to modifications to the Plan filed by the Debtor;

           e.       United States’ (IRS) Limited Objection to Debtor’s Fifth Amended Plan of
                    Reorganization [Docket No. 1668]. This Objection has been resolved pursuant to
                    mutually agreed language by the parties set forth in paragraphs TT and UU of the
                    Confirmation Order; and

           f.       Patrick Hagaman Daugherty’s Objection to Confirmation of Fifth Amended Plan
                    of Reorganization [Docket No. 1678]. This objection was resolved by the parties
                    pursuant to the settlement of Mr. Daugherty’s claim announced on the record of the
                    Confirmation Hearing.

                    21.         Capitalized Terms. Capitalized terms used herein, but not defined herein,

  shall have the respective meanings attributed to such terms in the Plan and the Disclosure

  Statement, as applicable.


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                    22.         Jurisdiction and Venue. The Bankruptcy Court has jurisdiction over the

  Debtor’s Chapter 11 Case pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

  pursuant to 28 U.S.C. § 157(b)(2). Venue of this proceeding and this Chapter 11 Case is proper

  in this district and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                    23.         Chapter 11 Petition. On the Petition Date, the Debtor commenced a

  voluntary case under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

  for the District of Delaware, which case was transferred to the Bankruptcy Court on December 19,

  2019. The Debtor continues to operate its business and manage its property as debtor in possession

  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been

  appointed in this Chapter 11 Case. The Office of the United States Trustee appointed the

  Committee on October 29, 2019.

                    24.         Judicial Notice. The Bankruptcy Court takes judicial notice of the docket

  in this Chapter 11 Case maintained by the clerk of the Bankruptcy Court and the court-appointed

  claims agent, Kurtzman Carson Consultants LLC (“KCC”), including, without limitation, all

  pleadings, notices, and other documents filed, all orders entered, and all evidence and arguments

  made, proffered or adduced at the hearings held before the Bankruptcy Court during this Chapter

  11 Case, including, without limitation, the hearing to consider the adequacy of the Disclosure

  Statement and the Confirmation Hearing, as well as all pleadings, notices, and other documents

  filed, all orders entered, and all evidence and arguments made, proffered, or adduced at hearings

  held before the Bankruptcy Court or the District Court for the Northern District of Texas in




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  connection with an adversary proceeding or appellate proceeding, respectively, related to this

  Chapter 11 Case.

                    25.         Plan Supplement Documents. Prior to the Confirmation Hearing, the

  Debtor filed each of the Plan Supplements.           The Plan Supplements contain, among other

  documents, the Retained Causes of Action, the Claimant Trust Agreement, the Litigation Sub-

  Trust Agreement, the Senior Employee Stipulation, the Related Entity List, the Schedule of

  Employees, the Reorganized Limited Partnership Agreement, supplements to the Liquidation

  Analysis/Financial Projections, the Schedule of Contracts and Leases to be Assumed, and the other

  Plan Documents set forth therein (collectively, the “Plan Supplement Documents”).

                    26.         Retained Causes of Action Adequately Preserved. The Bankruptcy

  Court finds that the list of Retained Causes of Action included in the Plan Supplements sufficiently

  describes all potential Retained Causes of Action, provides all persons with adequate notice of any

  Causes of Action regardless of whether any specific claim to be brought in the future is listed

  therein or whether any specific potential defendant or other party is listed therein, and satisfies

  applicable law in all respects to preserve all of the Retained Causes of Action. The definition of

  the Causes of Action and Schedule of Retained Causes of Action, and their inclusion in the Plan,

  specifically and unequivocally preserve the Causes of Action for the benefit of the Reorganized

  Debtor, the Claimant Trust, or the Litigation Sub-Trust, as applicable.

                    27.         Plan Modifications Are Non-Material.        In addition to the Plan

  Supplements, the Debtor made certain non-material modifications to the Plan, which are reflected

  in (i) the Redline of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.



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  (as Modified) filed on January 22, 2021 [Docket No. 1809], and (ii) Exhibit B to the Debtor’s

  Notice of Filing of Plan Supplement to Fifth Amended Plan of Reorganization of Highland Capital

  Management, L.P. (as Modified) filed on February 1, 2021 [Docket No. 1875] (collectively, the

  “Plan Modifications”). Section 1127(a) of the Bankruptcy Code provides that a plan proponent

  may modify its plan at any time before confirmation so long as such modified plan meets the

  requirements of sections 1122 and 1123 of the Bankruptcy Code. None of the modifications set

  forth in the Plan Supplements or the Plan Modifications require any further solicitation pursuant

  to sections 1125, 1126, or 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, because,

  among other things, they do not materially adversely change the treatment of the claims of any

  creditors or interest holders who have not accepted, in writing, such supplements and

  modifications. Among other things, there were changes to the projections that the Debtor filed

  shortly before the Confirmation Hearing (which included projected distributions to creditors and

  a comparison of projected distributions under the Plan to potential distributions under a

  hypothetical chapter 7 liquidation). The Plan Supplements and Plan Modifications did not mislead

  or prejudice any creditors or interest holders nor do they require that Holders of Claims or Equity

  Interests be afforded an opportunity to change previously cast votes to accept or reject the Plan.

  Specifically, the Amended Liquidation Analysis/Financial Projections filed on February 1, 2021

  [Docket No. 1875] do not constitute any material adverse change to the treatment of any creditors

  or interest holders but, rather, simply update the estimated distributions based on Claims that were

  settled in the interim and provide updated financial data. The filing and notice of the Plan

  Supplements and Plan Modifications were appropriate and complied with the requirements of



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  section 1127(a) of the Bankruptcy Code and the Bankruptcy Rules, and no other solicitation or

  disclosure or further notice is or shall be required. The Plan Supplements and Plan Modifications

  each became part of the Plan pursuant section 1127(a) of the Bankruptcy Code. The Debtor or

  Reorganized Debtor, as applicable, is authorized to modify the Plan or Plan Supplement

  Documents following entry of this Confirmation Order in a manner consistent with section 1127(b)

  of the Bankruptcy Code, the Plan, and, if applicable, the terms of the applicable Plan Supplement

  Document.

                    28.         Notice of Transmittal, Mailing and Publication of Materials. As is

  evidenced by the Voting Certifications and the Affidavits of Service and Publication, the

  transmittal and service of the Plan, the Disclosure Statement, Ballots, and Confirmation Hearing

  Notice were adequate and sufficient under the circumstances, and all parties required to be given

  notice of the Confirmation Hearing (including the deadline for filing and serving objections to the

  confirmation of the Plan) have been given due, proper, timely, and adequate notice in accordance

  with the Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy

  Rules, the Local Rules, and applicable non-bankruptcy law, and such parties have had an

  opportunity to appear and be heard with respect thereto. No other or further notice is required.

  The publication of the Confirmation Hearing Notice, as set forth in the Notice of Affidavit of

  Publication dated December 3, 2020 [Docket No. 1505], complied with the Disclosure Statement

  Order.

                    29.         Voting. The Bankruptcy Court has reviewed and considered the Voting

  Certifications. The procedures by which the Ballots for acceptance or rejection of the Plan were



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  distributed and tabulated, including the tabulation as subsequently amended to reflect the

  settlement of certain Claims to be Allowed in Class 7, were fairly and properly conducted and

  complied with the Disclosure Statement Order, the Bankruptcy Code, the Bankruptcy Rules, and

  the Local Rules.

                    30.         Bankruptcy Rule 3016(a). In accordance with Bankruptcy Rule 3016(a),

  the Plan is dated and identifies the Debtor as the proponent of the Plan.

                    31.         Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). As

  set forth below, the Plan complies with all of the applicable provisions of the Bankruptcy Code,

  thereby satisfying section 1129(a)(1) of the Bankruptcy Code.

                    32.         Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). Section 1122 of

  the Bankruptcy Code provides that a plan may place a claim or interest in a particular class only if

  such claim or interest is substantially similar to the other claims or interest of such class. The

  Claims and Equity Interests placed in each Class are substantially similar to other Claims and

  Equity Interests, as the case may be, in each such Class. Valid business, factual, and legal reasons

  exist for separately classifying the various Classes of Claims and Equity Interests created under

  the Plan, and such Classes do not unfairly discriminate between Holders of Claims and Equity

  Interests.

                    33.         Classification of Secured Claims. Class 1 (Jefferies Secured Claim) and

  Class 2 (Frontier Secured Claim) each constitute separate secured claims held by Jefferies LLC

  and Frontier State Bank, respectively, and it is proper and consistent with section 1122 of the

  Bankruptcy Code to separately classify the claims of these secured creditors. Class 3 (Other



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  Secured Claims) consists of other secured claims (to the extent any exist) against the Debtor, are

  not substantially similar to the Secured Claims in Class 1 or Class 2, and are also properly

  separately classified.

                    34.         Classification of Priority Claims. Class 4 (Priority Non-Tax Claims)

  consists of Claims entitled to priority under section 507(a), other than Priority Tax Claims, and are

  properly separately classified from non-priority unsecured claims. Class 5 (Retained Employee

  Claims) consists of the potential claims of employees who may be retained by the Debtor on the

  Effective Date, which claims will be Reinstated under the Plan, are not substantially similar to

  other Claims against the Debtor, and are properly classified.

                    35.         Classification of Unsecured Claims. Class 6 (PTO Claims) consists solely

  of the claims of the Debtor’s employees for unpaid paid time off in excess of the $13,650 statutory

  cap amount under sections 507(a)(4) and (a)(5) of the Bankruptcy Code and are dissimilar from

  other unsecured claims in Class 7 and Class 8. Class 7 (Convenience Claims) allows holders of

  eligible and liquidated Claims (below a certain threshold dollar amount) to receive a cash payout

  of the lesser of 85% of the Allowed amount of the creditor’s Claim or such holder’s pro rata share

  of the Convenience Claims Cash Pool. Class 7 (Convenience Claims) are provided for

  administrative convenience purposes in order to allow creditors, most of whom are either trade

  creditors or holders of professional claims, to receive treatment provided under Class 7 in lieu of

  the treatment of Class 8 (General Unsecured Claims). The Plan also provides for reciprocal “opt

  out” mechanisms to allow holders of Class 7 Claims to elect to receive the treatment for Class 8

  Claims. Class 8 creditors primarily constitute the litigation claims of the Debtor. Class 8 Creditors



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  will receive Claimant Trust Interests which will be satisfied pursuant to the terms of the Plan.

  Class 8 also contains an “opt out” mechanism to allow holders of liquidated Class 8 Claims at or

  below a $1 million threshold to elect to receive the treatment of Class 7 Convenience Claims. The

  Claims in Class 7 (primarily trade and professional Claims against the Debtor) are not substantially

  similar to the Claims in Class 8 (primarily the litigation Claims against the Debtor), and are

  appropriately separately classified. Valid business reasons also exist to classify creditors in Class

  7 separately from creditors in Class 8. Class 7 creditors largely consist of liquidated trade or

  service providers to the Debtor. In addition, the Claims of Class 7 creditors are small relative to

  the large litigation claims in Class 8. Furthermore, the Class 8 Claims were overwhelmingly

  unliquidated when the Plan was filed. The nature of the Class 7 Claims as being largely liquidated

  created an expectation of expedited payment relative to the largely unliquidated Claims in Class

  8, which consists in large part of parties who have been engaged in years, and in some cases over

  a decade of litigation with the Debtor. Separate classification of Class 7 and Class 8 creditors was

  the subject of substantial arm’s-length negotiations between the Debtor and the Committee to

  appropriately reflect these relative differences.

                    36.         Classification of Equity Interests. The Plan properly separately classifies

  the Equity Interests in Class 10 (Class B/C Limited Partnership Interests) from the Equity Interests

  in Class 11 (Class A Limited Partnership Interests) because they represent different types of equity

  security interests in the Debtor and different payment priorities.

                    37.         Elimination of Vacant Classes. Section III.C of the Plan provides for the

  elimination of Classes that do not have at least one holder of a Claim or Equity Interest that is



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  Allowed in an amount greater than zero for purposes of voting to accept or reject the Plan, and are

  disregarded for purposes of determining whether the Plan satisfies section 1129(a)(8) of the

  Bankruptcy Code with respect to such Class. The purpose of this provision is to provide that a

  Class that does not have voting members shall not be included in the tabulation of whether that

  Class has accepted or rejected the Plan. Pursuant to the Voting Certifications, the only voting

  Class of Claims or Equity Interests that did not have any members is Class 5 (Retained

  Employees). As noted above, Class 5 does not have any voting members because any potential

  Claims in Class 5 would not arise, except on account of any current employees of the Debtor who

  may be employed as of the Effective Date, which is currently unknown. Thus, the elimination of

  vacant Classes provided in Article III.C of the Plan does not violate section 1122 of the Bankruptcy

  Code. Class 5 is properly disregarded for purposes of determining whether or not the Plan has

  been accepted under Bankruptcy Code section 1129(a)(8) because there are no members in that

  Class. However, the Plan properly provides for the treatment of any Claims that may potentially

  become members of Class 5 as of the Effective Date in accordance with the terms of the Plan. The

  Plan therefore satisfies section 1122 of the Bankruptcy Code.

                    38.         Classification of Claims and Designation of Non-Classified Claims (11

  U.S.C. §§ 1122, 1123(a)(1)). Section 1123(a)(1) of the Bankruptcy Code requires that the Plan

  specify the classification of claims and equity security interests pursuant to section 1122 of the

  Bankruptcy Code, other than claims specified in sections 507(a)(2), 507(a)(3), or 507(a)(8) of the

  Bankruptcy Code. In addition to Administrative Claims, Professional Fee Claims, and Priority

  Tax Claims, each of which need not be classified pursuant to section 1123(a)(1) of the Bankruptcy



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  Code, the Plan designates eleven (11) Classes of Claims and Equity Interests. The Plan satisfies

  sections 1122 and 1123(a)(1) of the Bankruptcy Code.

                    39.         Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III

  of the Plan specifies that each of Class 1 (Jefferies Secured Claim), Class 3 (Other Secured

  Claims), Class 4 (Priority Non-Tax Claims), Class 5 (Retained Employee Claims), and Class 6

  (PTO Claims) are Unimpaired under the Plan. Thus, the requirement of section 1123(a)(2) of the

  Bankruptcy Code is satisfied.

                    40.         Specification of Treatment of Impaired Classes (11 U.S.C. §

  1123(a)(3)). Article III of the Plan designates each of Class 2 (Frontier Secured Claim), Class 7

  (Convenience Claims), Class 8 (General Unsecured Claims), Class 9 (Subordinated Claims), Class

  10 (Class B/C Limited Partnership Interests), and Class 11 (Class A Limited Partnership Interests)

  as Impaired and specifies the treatment of Claims and Equity Interests in such Classes. Thus, the

  requirement of section 1123(a)(3) of the Bankruptcy Code is satisfied.

                    41.         No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for the

  same treatment by the Plan proponent for each Claim or Equity Interest in each respective Class

  unless the Holder of a particular Claim or Equity Interest has agreed to a less favorable treatment

  of such Claim or Equity Interest. The Plan satisfies this requirement because Holders of Allowed

  Claims or Equity Interests in each Class will receive the same rights and treatment as other Holders

  of Allowed Claims or Equity Interests within such holder’s respective class, subject only to the

  voluntary “opt out” options afforded to members of Class 7 and Class 8 in accordance with the

  terms of the Plan. Thus, the requirement of section 1123(a)(4) of the Bankruptcy Code is satisfied.



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                    42.         Implementation of the Plan (11 U.S.C. § 1123(a)(5)). Article IV of the

  Plan sets forth the means for implementation of the Plan which includes, but is not limited to, the

  establishment of: (i) the Claimant Trust; (ii) the Litigation Sub-Trust; (iii) the Reorganized Debtor;

  and (iv) New GP LLC, in the manner set forth in the Plan Documents, the forms of which are

  included in the Plan Supplements.

           a.       The Claimant Trust. The Claimant Trust Agreement provides for the
                    management of the Claimant Trust, as well as the Reorganized Debtor with the
                    Claimant Trust serving as the managing member of New GP LLC (a wholly-owned
                    subsidiary of the Claimant Trust that will manage the Reorganized Debtor as its
                    general partner). The Claimant Trust, the Claimant Trustee, the management and
                    monetization of the Claimant Trust Assets, and the management of the Reorganized
                    Debtor (through the Claimant Trust’s role as managing member of New GP LLC)
                    and the Litigation Sub-Trust will all be managed and overseen by the Claimant
                    Trust Oversight Committee. Additionally, the Plan provides for the transfer to the
                    Claimant Trust of all of the Debtor’s rights, title, and interest in and to all of the
                    Claimant Trust Assets in accordance with section 1141 of the Bankruptcy Code and
                    for the Claimant Trust Assets to automatically vest in the Claimant Trust free and
                    clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
                    Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant
                    Trust Agreement. The Claimant Trust will administer the Claimant Trust Assets as
                    provided under the Plan and the Claimant Trust Agreement contained in the Plan
                    Supplements.

           b.       The Litigation Sub-Trust. The Plan and the Litigation Sub-Trust Agreement
                    provide for the transfer to the Litigation Sub-Trust all of the Claimant Trust’s rights,
                    title, and interest in and to all of the Estate Claims (as transferred to the Claimant
                    Trust by the Debtor) in accordance with section 1141 of the Bankruptcy Code and
                    for the Estate Claims to automatically vest in the Litigation Sub-Trust free and clear
                    of all Claims, Liens, encumbrances, or interests subject only to the Litigation Sub-
                    Trust Interests and the Litigation Sub-Trust Expenses, as provided for in the
                    Litigation Sub-Trust Agreement. The Litigation Trustee is charged with
                    investigating, pursuing, and otherwise resolving any Estate Claims (including those
                    with respect to which the Committee has standing to pursue prior to the Effective
                    Date pursuant to the January 9 Order) pursuant to the terms of the Litigation Sub-
                    Trust Agreement and the Plan, regardless of whether any litigation with respect to
                    any Estate Claim was commenced by the Debtor or the Committee prior to the
                    Effective Date.


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           c.       The Reorganized Debtor. The Reorganized Debtor will administer the
                    Reorganized Debtor Assets, which includes managing the wind down of the
                    Managed Funds.

  The precise terms governing the execution of these restructuring transactions are set forth in greater

  detail in the applicable definitive documents included in the Plan Supplements, including the

  Claimant Trust Agreement, the Litigation Sub-Trust Agreement, and the Schedule of Retained

  Causes of Action. The Plan, together with the documents and forms of agreement included in the

  Plan Supplements, provides a detailed blueprint for the transactions contemplated by the Plan. The

  Plan’s various mechanisms provide for the Debtor’s continued management of its business as it

  seeks to liquidate the Debtor’s assets, wind down its affairs, and pay the Claims of the Debtor’s

  creditors. Upon full payment of Allowed Claims, plus interest as provided in the Plan, any residual

  value would then flow to the holders of Class 10 (Class B/C Limited Partnership Interests), and

  Class 11 (Class A Limited Partnership Interests). Finally, Mr. Seery testified that the Debtor

  engaged in substantial and arm’s length negotiations with the Committee regarding the Debtor’s

  post-Effective Date corporate governance, as reflected in the Plan. Mr. Seery testified that he

  believes the selection of the Claimant Trustee, Litigation Trustee, and members of the Claimant

  Trust Oversight Board are in the best interests of the Debtor’s economic constituents. Thus, the

  requirements of section 1123(a)(5) of the Bankruptcy Code are satisfied.

                    43.         Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The Debtor is

  not a corporation and the charter documents filed in the Plan Supplements otherwise comply with

  section 1123(a)(6) of the Bankruptcy Code. Therefore, the requirement of section 1123(a)(6) of

  the Bankruptcy Code is satisfied.




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                    44.         Selection of Officers and Directors (11 U.S.C. § 1123(a)(7)). Article IV

  of the Plan provides for the Claimant Trust to be governed and administered by the Claimant

  Trustee. The Claimant Trust, the management of the Reorganized Debtor, and the management

  and monetization of the Claimant Trust Assets and the Litigation Sub-Trust will be managed by

  the Claimant Trust Oversight Board. The Claimant Trust Oversight Board will consist of: (1) Eric

  Felton, as representative of the Redeemer Committee; (2) Joshua Terry, as representative of Acis;

  (3) Elizabeth Kozlowski, as representative of UBS; (4) Paul McVoy, as representative of Meta-E

  Discovery; and (5) David Pauker.             Four of the members of the Claimant Trust Oversight

  Committee are the holders of several of the largest Claims against the Debtor and/or are current

  members of the Committee. Each of these creditors has actively participated in the Debtor’s case,

  both through their fiduciary roles as Committee members and in their individual capacities as

  creditors. They are therefore intimately familiar with the Debtor, its business, and assets. The

  fifth member of the Claimant Trustee Oversight Board, David Pauker, is a disinterested

  restructuring advisor and turnaround manager with more than 25 years of experience advising

  public and private companies and their investors, and he has substantial experience overseeing,

  advising or investigating troubled companies in the financial services industry and has advised or

  managed such companies on behalf of boards or directors, court-appointed trustees, examiners and

  special masters, government agencies, and private investor parties. The members of the Claimant

  Trust Oversight Board will serve without compensation, except for Mr. Pauker, who will receive

  payment of $250,000 for his first year of service, and $150,000 for subsequent years.




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                    45.         Selection of Trustees. The Plan Supplements disclose that Mr. Seery will

  serve as the Claimant Trustee and Marc Kirschner will serve as the Litigation Trustee. As noted

  above, Mr. Seery has served as an Independent Board member since January 2020, and as the

  Chief Executive Officer and Chief Restructuring Officer since July 2020, and he has extensive

  management and restructuring experience, as evidenced from his curriculum vitae which is part of

  the record.      The evidence shows that Mr. Seery is intimately familiar with the Debtor’s

  organizational structure, business, and assets, as well as how Claims will be treated under the Plan.

  Accordingly, it is reasonable and in the Estate’s best interests to continue Mr. Seery’s employment

  post-emergence as the Claimant Trustee. Mr. Seery, upon consultation with the Committee,

  testified that he intends to employ approximately 10 of the Debtor’s employees to enable him to

  manage the Debtor’s business until the Claimant Trust effectively monetizes its remaining assets,

  instead of hiring a sub-servicer to accomplish those tasks. Mr. Seery testified that he believes that

  the Debtor’s post-confirmation business can most efficiently and cost-effectively be supported by

  a sub-set of the Debtor’s current employees, who will be managed internally. Mr. Seery shall

  initially be paid $150,000 per month for services rendered after the Effective Date as Claimant

  Trustee; however, Mr. Seery’s long-term salary as Claimant Trustee and the terms of any bonuses

  and severance are subject to further negotiation by Mr. Seery and the Claimant Trust Oversight

  Board within forty-five (45) days after the Effective Date. The Bankruptcy Court has also

  reviewed Mr. Kirschner’s curriculum vitae. Mr. Kirschner has been practicing law since 1967 and

  has substantial experience in bankruptcy litigation matters, particularly with respect to his prior

  experience as a litigation trustee for several litigation trusts, as set forth on the record of the



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  Confirmation Hearing and in the Confirmation Brief. Mr. Kirschner shall be paid $40,000 per

  month for the first three months and $20,000 per month thereafter, plus a success fee related to

  litigation recoveries. The Committee and the Debtor had arm’s lengths negotiations regarding the

  post-Effective Date corporate governance structure of the Reorganized Debtor and believe that the

  selection of the Claimant Trustee, the Litigation Trustee, and the Claimant Trust Oversight

  Committee are in the best interests of the Debtor’s economic stakeholders. Section 1123(a)(7) of

  the Bankruptcy Code is satisfied.

                    46.         Debtor’s Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

  Pursuant to section 1129(a)(2) of the Bankruptcy Code, the Debtor has complied with the

  applicable provisions of the Bankruptcy Code, including sections 1122, 1123, 1124, 1125, and

  1126 of the Bankruptcy Code, the Bankruptcy Rules, and the Disclosure Statement Order

  governing notice, disclosure, and solicitation in connection with the Plan, the Disclosure

  Statement, the Plan Supplements, and all other matters considered by the Bankruptcy Court in

  connection with this Chapter 11 Case.

                    47.         Debtor’s Solicitation Complied with Bankruptcy Code and Disclosure

  Statement Order. Before the Debtor solicited votes on the Plan, the Bankruptcy Court entered

  the Disclosure Statement Order. In accordance with the Disclosure Statement Order and evidenced

  by the Affidavits of Service and Publication, the Debtor appropriately served (i) the Solicitation

  Packages (as defined in the Disclosure Statement Order) on the Holders of Claims in Classes 2, 7,

  8 and 9 and Holders of Equity Interests in Classes 10 and 11 who were entitled to vote on the Plan;

  and (ii) the Notice of Nonvoting Status (as defined in the Disclosure Statement Order) and the



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  Confirmation Hearing Notice to the Holders of Claims in Classes 1, 3, 4, 5 and 6, who were not

  entitled to vote on the Plan pursuant to the Disclosure Statement Order. The Disclosure Statement

  Order approved the contents of the Solicitation Packages provided to Holders of Claims and Equity

  Interests entitled to vote on the Plan, the notices provided to parties not entitled to vote on the Plan,

  and the deadlines for voting on and objecting to the Plan. The Debtor and KCC each complied

  with the content and delivery requirements of the Disclosure Statement Order, thereby satisfying

  sections 1125(a) and (b) of the Bankruptcy Code, as evidenced by the Affidavits of Service and

  Publication. The Debtor also satisfied section 1125(c) of the Bankruptcy Code, which provides

  that the same disclosure statement must be transmitted to each holder of a claim or interest in a

  particular class. The Debtor caused the same Disclosure Statement to be transmitted to all holders

  of Claims and Equity Interests entitled to vote on the Plan. The Debtor has complied in all respects

  with the solicitation requirements of section 1125 of the Bankruptcy Code and the Disclosure

  Statement Order. The Bankruptcy Court rejects the arguments of the Mr. Dondero and certain

  Dondero Related Entities that the changes made to certain assumptions and projections from the

  Liquidation Analysis annexed as Exhibit C to the Disclosure Statement (the “Liquidation

  Analysis”) to the Amended Liquidation Analysis/Financial Projections require resolicitation of the

  Plan. The Bankruptcy Court heard credible testimony from Mr. Seery regarding the changes to

  the Liquidation Analysis as reflected in the Amended Liquidation Analysis/Financial Projections.

  Based on the record, including the testimony of Mr. Seery, the Bankruptcy Court finds that the

  changes between the Liquidation Analysis and the Amended Liquidation Analysis/Financial

  Projections do not constitute materially adverse change to the treatment of Claims or Equity



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  Interests. Instead, the changes served to update the projected distributions based on Claims that

  were settled after the approval of the Disclosure Statement and to otherwise incorporate more

  recent financial data.          Such changes were entirely foreseeable given the large amount of

  unliquidated Claims at the time the Disclosure Statement was approved and the nature of the

  Debtor’s assets. The Bankruptcy Court therefore finds that holders of Claims and Equity Interests

  were not misled or prejudiced by the Amended Liquidation Analysis/Financial Projections and the

  Plan does not need to be resolicited.

                    48.         Plan Proposed in Good Faith and Not by Means Forbidden by Law (11

  U.S.C. § 1129(a)(3)). The Debtor has proposed the Plan in good faith and not by any means

  forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining

  that the Plan has been proposed in good faith, the Bankruptcy Court has examined the totality of

  the circumstances surrounding the filing of this Chapter 11 Case, the Plan itself, and the extensive,

  unrebutted testimony of Mr. Seery in which he described the process leading to Plan’s formulation.

  Based on the totality of the circumstances and Mr. Seery’s testimony, the Bankruptcy Court finds

  that the Plan is the result of extensive arm’s-length negotiations among the Debtor, the Committee,

  and key stakeholders, and promotes the objectives and purposes of the Bankruptcy Code.

  Specifically, the Debtor’s good faith in proposing the Plan is supported by the following facts

  adduced by Mr. Seery:

           a.       The Independent Board determined that it should consider all potential
                    restructuring alternatives, including pursuit of a traditional restructuring and the
                    continuation of the Debtor’s business, a potential sale of the Debtor’s assets in one
                    or more transactions, an asset monetization plan similar to that described in the
                    Plan, and a so-called “grand bargain” plan that would involve Mr. Dondero’s
                    sponsorship of a plan with a substantial equity infusion.

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           b.       The Debtor subsequently engaged in arm’s-length, good faith negotiations with the
                    Committee over an asset monetization Plan commencing in June 2020, which
                    negotiations occurred over the next several months.

           c.       Negotiations between the Debtor and the Committee were often contentious over
                    disputes, including, but not limited to, the post-confirmation corporate governance
                    structure and the scope of releases contemplated by the Plan.

           d.       While negotiations with the Committee progressed, the Independent Board engaged
                    in discussions with Mr. Dondero regarding a potential “grand bargain” plan which
                    contemplated a significant equity infusion by Mr. Dondero, and which Mr. Seery
                    personally spent hundreds of hours pursuing over many months.

           e.       On August 3, 2020, the Bankruptcy Court entered the Order Directing Mediation
                    [Docket No. 912] pursuant to which the Bankruptcy Court ordered the Debtor, the
                    Committee, UBS, Acis, the Redeemer Committee, and Mr. Dondero into
                    mediation. As a result of this mediation, the Debtor negotiated the settlement of
                    the claims of Acis and Mr. Terry, which the Bankruptcy Court approved on October
                    28, 2020 [Docket No. 1302].

           f.       On August 12, 2020, the Debtor filed its Chapter 11 Plan of Reorganization of
                    Highland Capital Management, L.P. [Docket No. 944] (the “Initial Plan”) and
                    related disclosure statement (the “Initial Disclosure Statement”) which were not
                    supported by either the Committee or Mr. Dondero. The Independent Board filed
                    the Initial Plan and Initial Disclosure Statement in order to act as a catalyst for
                    continued discussions with the Committee while it simultaneously worked with Mr.
                    Dondero on the “grand bargain” plan.

           g.       The Bankruptcy Court conducted a contested hearing on the Initial Disclosure
                    Statement on October 27, 2020. The Committee and other parties objected to
                    approval of the Disclosure Statement at the Initial Disclosure Statement hearing,
                    which was eventually continued to November 23, 2020.

           h.       Following the Initial Disclosure Statement hearing, the Debtor continued to
                    negotiate with the Committee and ultimately resolved the remaining material
                    disputes and led to the Bankruptcy Court’s approval of the Disclosure Statement on
                    November 23, 2020.

           i.       Even after obtaining the Bankruptcy Court’s approval of the Disclosure Statement,
                    the Debtor and the Committee continued to negotiate with Mr. Dondero and the
                    Committee over a potential “pot plan” as an alternative to the Plan on file with the
                    Bankruptcy Court, but such efforts were unsuccessful. This history conclusively
                    demonstrates that the Plan is being proposed in good faith within the meaning of
                    section 1129(a)(3).


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                    49.         Payments for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

  Article II.B of the Plan provides that Professionals will file all final requests for payment of

  Professional Fee Claims no later than 60 days after the Effective Date, thereby providing an

  adequate period of time for interested parties to review such claims. The procedures set forth in

  the Plan for the Bankruptcy Court’s approval of the fees, costs, and expenses to be paid in

  connection with this chapter 11 Case, or in connection with the Plan and incident to this Chapter

  11 Case, satisfy the objectives of and are in compliance with section 1129(a)(4) of the Bankruptcy

  Code.

                    50.         Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). Article IV.B

  of the Plan provides for the appointment of the Claimant Trustee, Litigation Trustee, and the

  Claimant Trust Oversight Committee and the members thereto. For the reasons more fully

  explained in paragraphs 44-45 of this Confirmation Order with respect to the requirement of

  section 1123(a)(7) of the Bankruptcy Code, the Debtor has disclosed the nature of compensation

  of any insider to be employed or retained by the Reorganized Debtor, if applicable, and

  compensation for any such insider. The appointment of such individuals is consistent with the

  interests of Claims and Equity Interests and with public policy. Thus, the Plan satisfies section

  1129(a)(5) of the Bankruptcy Code.

                    51.         No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for

  any rate change that requires regulatory approval. Section 1129(a)(6) of the Bankruptcy Code is

  thus not applicable.




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                    52.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). The “best interests”

  test is satisfied as to all Impaired Classes under the Plan, as each Holder of a Claim or Equity

  Interest in such Impaired Classes will receive or retain property of a value, as of the Effective Date

  of the Plan, that is not less than the amount that such Holder would so receive or retain if the

  Debtor were liquidated under chapter 7 of the Bankruptcy Code. On October 15, 2020, the Debtor

  filed the Liquidation Analysis [Docket 1173], as prepared by the Debtor with the assistance of its

  advisors and which was attached as Exhibit C to the Disclosure Statement. On January 29, 2021,

  in advance of Mr. Seery’s deposition in connection with confirmation of the Plan, the Debtor

  provided an updated version of the Liquidation Analysis to the then-objectors of the Plan,

  including Mr. Dondero and the Dondero Related Entities. On February 1, 2021, the Debtor filed

  the Amended Liquidation Analysis/Financial Projections.                   The Amended Liquidation

  Analysis/Financial Projections included updates to the Debtor’s projected asset values, revenues,

  and expenses to reflect: (1) the acquisition of an interest in an entity known as “HCLOF” that the

  Debtor will acquire as part of its court-approved settlement with HarbourVest and that was valued

  at $22.5 million; (2) an increase in the value of certain of the Debtor’s assets due to changes in

  market conditions and other factors; (3) expected revenues and expenses arising in connection with

  the Debtor’s continued management of the CLOs pursuant to management agreements that the

  Debtor decided to retain; (4) increases in projected expenses for headcount (in addition to adding

  two or three employees to assist in the management of the CLOs, the Debtor also increased

  modestly the projected headcount as a result of its decision not to engage a Sub-Servicer) and

  professional fees; and (5) an increase in projected recoveries on notes resulting from the



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  acceleration of term notes owed to the Debtor by the following Dondero Related Entities:

  NexPoint Advisors, L.P.; Highland Capital Management Services, Inc.; and HCRE Partners, LLC

  (n/k/a NexPoint Real Estate Partners, LLC). Under the Plan, as of the Confirmation Date, (a) Class

  7 General Unsecured Creditors are projected to receive 85% on account of their claims; and (b)

  Class 8 General Unsecured Creditors are projected to receive at least approximately 71% on

  account of their Claims. Under a hypothetical chapter 7 liquidation, all general unsecured creditors

  are projected to receive approximately 55% on account of their Claims. The Bankruptcy Court

  finds that the distributions that Class 7 and 8 General Unsecured Creditors are projected to receive

  under the Plan substantially exceeds that which they would receive under a chapter 7 liquidation

  based on Mr. Seery’s testimony, including the following credible reasons he posited, among

  others:

            a.      The nature of the Debtor’s assets is complex. Certain assets relate to complicated
                    real estate structures and private equity investments in operating businesses. Mr.
                    Seery’s extensive experience with the Debtor during the thirteen months since his
                    appointment as an Independent Director and later Chief Executive Officer and
                    Chief Restructuring Officer, provides him with a substantial learning curve in
                    connection with the disposition of the Debtor’s assets and are reasonably expected
                    to result in him being able to realize tens of millions of dollars more value than
                    would a chapter 7 trustee.

            b.      Assuming that a hypothetical chapter 7 trustee could even operate the Debtor’s
                    business under chapter 7 of the Bankruptcy Code and hire the necessary personnel
                    with the relevant knowledge and experience to assist him or her in selling the
                    Debtor’s assets, a chapter 7 trustee would likely seek to dispose of the Debtor’s
                    assets in a forced sale liquidation which would generate substantially less value for
                    the Debtor’s creditors than the asset monetization plan contemplated by the Plan.

            c.      A chapter 7 trustee would be unlikely to retain the Debtor’s existing professionals
                    to assist in its efforts to monetize assets, resulting in delays, increased expenses,
                    and reduced asset yields for the chapter 7 estate.



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           d.       The chapter 7 estate would be unlikely to maximize value as compared to the asset
                    monetization process contemplated by the Plan because potential buyers are likely
                    to perceive a chapter 7 trustee as engaging in a quick, forced “fire sale” of assets;
                    and

           e.       The Debtor’s employees, who are vital to its efforts to maximum value and
                    recoveries for stakeholders, may be unwilling to provide services to a chapter 7
                    trustee.

  Finally, there is no evidence to support the objectors’ argument that the Claimant Trust

  Agreement’s disclaimed liability for ordinary negligence by the Claimant Trustee compared to a

  chapter 7 trustee’s liability has any relevance to creditor recoveries in a hypothetical chapter 7

  liquidation. Thus, section 1129(a)(7) of the Bankruptcy Code is satisfied.

                    53.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Classes 1, 3, 4,

  5 and 6 are Unimpaired under the Plan. Class 2 (Frontier Secured Claim), Class 7 (Convenience

  Claims), and Class 9 (Subordinated Claims) have each voted to accept the Plan in accordance with

  the Bankruptcy Code, thereby satisfying section 1129(a)(8) as to those Classes. However, Class

  8 (General Unsecured Claims), Class 10 (Class B/C Limited Partnership Interests), and Class 11

  (Class A Limited Partnership Interests) have not accepted the Plan.              Accordingly, section

  1129(a)(8) of the Bankruptcy Code has not been satisfied. The Plan, however, is still confirmable

  because it satisfies the nonconsensual confirmation provisions of section 1129(b), as set forth

  below.

                    54.         Treatment of Administrative, Priority, Priority Tax Claims, and

  Professional Fee Claims (11 U.S.C. § 1129(a)(9)). The treatment of Administrative Claims,

  Priority Claims, and Professional Fee Claims pursuant to Article III of the Plan, and as set forth

  below with respect to the resolution of the objections filed by the Internal Revenue Service and



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  certain Texas taxing authorities satisfies the requirements of sections 1129(a)(9) of the Bankruptcy

  Code.

                    55.         Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)).           Class 2

  (Frontier Secured Claims) and Class 7 (Convenience Claims) are each Impaired Classes of Claims

  that voted to accept the Plan, determined without including any acceptance of the Plan by any

  insider. Therefore, the requirement of section 1129(a)(10) of the Bankruptcy Code is satisfied.

                    56.         Feasibility (11 U.S.C. § 1129(a)(11)). Article IV of the Plan provides for

  the implementation of the Plan through the Claimant Trust, the Litigation Sub-Trust, and the

  Reorganized Debtor. The Plan provides that the Claimant Trust, among other things, will monetize

  and distribute the Debtor’s remaining assets. The Disclosure Statement, the Amended Liquidation

  Analysis/Financial Projections, and the other evidence presented at the Confirmation Hearing

  provide a reasonable probability of success that the Debtor will be able to effectuate the provisions

  of the Plan. The Plan contemplates the establishment of the Claimant Trust upon the Effective

  Date, which will monetize the Estate’s assets for the benefit of creditors. Mr. Seery testified that

  the Class 2 Frontier Secured Claim will be paid over time pursuant to the terms of the New Frontier

  Note and the Reorganized Debtor will have sufficient assets to satisfy its obligations under this

  note. The Claims of the Holders of Class 7 Claims (as well as those Class 8 creditors who validly

  opted to receive the treatment of Class 7 Claims) are expected to be satisfied shortly after the

  Effective Date. Holders of Class 8 Claims (including any holders of Class 7 Claims who opted to

  receive the treatment provided to Class 8 Claims) are not guaranteed any recovery and will




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  periodically receive pro rata distributions as assets are monetized pursuant to the Plan and the

  Claimant Trust Agreement. Thus, section 1129(a)(11) of the Bankruptcy Code is satisfied.

                    57.         Payment of Fees (11 U.S.C. § 1129(a)(12)). All fees payable under 28

  U.S.C. § 1930 have been paid or will be paid on or before the Effective Date pursuant to Article

  XII.A of the Plan, thus satisfying the requirement of section 1129(a)(12) of the Bankruptcy Code.

  The Debtor has agreed that the Reorganized Debtor, the Claimant Trust, and the Litigation Sub-

  Trust shall be jointly and severally liable for payment of quarterly fees to the Office of the United

  States Trustee pursuant to 28 U.S.C. § 1930 through the entry of the Final Decree for the Debtor

  or the dismissal or conversion of the Chapter 11 Case.

                    58.         Retiree Benefits. The Plan provides for the assumption of the Pension Plan

  (to the extent such Pension Plan provides “retiree benefits” and is governed by section 1114 of the

  Bankruptcy Code). Thus, the Plan complies with section 1129(a)(13) of the Bankruptcy Code, to

  the extent applicable.

                    59.         Miscellaneous Provisions (11 U.S.C. §§ 1129(a)(14)-(16)).        Sections

  1129(a)(14)-(16) of the Bankruptcy Code are inapplicable as the Debtor (i) has no domestic

  support obligations (section 1129(a)(14)), (ii) is not an individual (section 1129(a)(15)), and (iii)

  is not a nonprofit corporation (section 1129(a)(16)).

                    60.         No Unfair Discrimination; Fair and Equitable Treatment (11 U.S.C. §

  1129(b)). The classification and treatment of Claims and Equity Interests in Classes 8, 10 and 11,

  which have not accepted the Plan, is proper pursuant to section 1122 of the Bankruptcy Code, does




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  not discriminate unfairly, and is fair and equitable pursuant to section 1129(b)(1) of the Bankruptcy

  Code.

            a.      Class 8. The Plan is fair and equitable with respect to Class 8 General Unsecured
                    Claims. While Equity Interests in Class 10 and Class 11 will receive a contingent
                    interest in the Claimant Trust under the Plan (the “Contingent Interests”), the
                    Contingent Interests will not vest unless and until holders of Class 8 General
                    Unsecured Claims and Class 9 Subordinated Claims receive distributions equal to
                    100% of the amount of their Allowed Claims plus interest as provided under the
                    Plan and Claimant Trust Agreement. Accordingly, as the holders of Equity
                    Interests that are junior to the Claims in Class 8 and Class 9 will not receive or
                    retain under the Plan on account of such junior claim interest any property unless
                    and until the Claims in Class 8 and Class 9 are paid in full plus applicable interest,
                    the Plan is fair and equitable with respect to holders of Class 8 General Unsecured
                    Claims pursuant to section 1129(b)(2)(B) of the Bankruptcy Code and the reasoning
                    of In re Introgen Therapuetics 429 B.R 570 (Bankr. W.D. Tex. 2010).

            b.      Class 10 and Class 11. There are no Claims or Equity Interests junior to the Equity
                    Interests in Class 10 and Class 11. Equity Interests in Class 10 and 11 will neither
                    receive nor retain any property under the Plan unless Allowed Claims in Class 8
                    and Class 9 are paid in full plus applicable interest pursuant to the terms of the Plan
                    and Claimant Trust Agreement. Thus, the Plan does not violate the absolute priority
                    rule with respect to Classes 10 and 11 pursuant to Bankruptcy Code section
                    1129(b)(2)(C). The Plan does not discriminate unfairly as to Equity Interests. As
                    noted above, separate classification of the Class B/C Partnership Interests from the
                    Class A Partnerships Interests is appropriate because they constitute different
                    classes of equity security interests in the Debtor, and each are appropriately
                    separately classified and treated.


  Accordingly, the Plan does not violate the absolute priority rule, does not discriminate unfairly,

  and is fair and equitable with respect to each Class that has rejected the Plan. Thus, the Plan

  satisfies the requirements of section 1129(b) of the Bankruptcy Code with respect to Classes 8, 10,

  and 11.




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                    61.         Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only chapter 11 plan

  confirmed in this Chapter 11 Case, and the requirements of section 1129(c) of the Bankruptcy

  Code are therefore satisfied.

                    62.         Principal Purpose (11 U.S.C. § 1129(d)). Mr. Seery testified that the

  principal purpose of the Plan is neither the avoidance of taxes nor the avoidance of the application

  of section 5 of the Securities Act of 1933, and no governmental unit has objected to the

  confirmation of the Plan on any such grounds. Accordingly, section 1129(d) of the Bankruptcy

  Code is inapplicable.

                    63.         Satisfaction of Confirmation Requirements. Based upon the foregoing,

  the Plan satisfies the requirements for confirmation set forth in section 1129 of the Bankruptcy

  Code and should be confirmed.

                    64.         Good Faith Solicitation (11 U.S.C. § 1125(e)).         The Debtor, the

  Independent Directors, and the Debtor’s employees, advisors, Professionals, and agents have acted

  in good faith within the meaning of section 1125(e) of the Bankruptcy Code and in compliance

  with the applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

  all of their respective activities relating to the solicitation of acceptances of the Plan and their

  participation in the activities described in section 1125 of the Bankruptcy Code, and they are

  entitled to the protections afforded by section 1125(e) of the Bankruptcy Code.

                    65.         Discharge (11 U.S.C. § 1141(d)(3)). The Debtor is entitled to a discharge

  of debts pursuant to section 1141(d)(3)(B) of the Bankruptcy Code. Under the Plan, the Claimant

  Trust or Reorganized Debtor, as applicable, will continue to manage funds and conduct business



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  in the same manner as the Debtor did prior to Plan confirmation, which includes the management

  of the CLOs, Multi-Strat, Restoration Capital, the Select Fund and the Korea Fund. Although the

  Plan projects that it will take approximately two years to monetize the Debtor’s assets for fair

  value, Mr. Seery testified that while the Reorganized Debtor and Claimant Trust will be

  monetizing their assets, there is no specified time frame by which this process must conclude. Mr.

  Seery’s credible testimony demonstrates that the Debtor will continue to engage in business after

  consummation of the Plan, within the meaning of Section 1141(d)(3)(b) and that the Debtor is

  entitled to a discharge pursuant to section 1141(d)(1) of the Bankruptcy Code.

                    66.         Retention of Jurisdiction. The Bankruptcy Court may properly retain

  jurisdiction over the matters set forth in Article XI of the Plan and/or section 1142 of the

  Bankruptcy Code to the maximum extent under applicable law.

                    67.         Additional Plan Provisions (11 U.S.C. § 1123(b)). The Plan’s provisions

  are appropriate, in the best interests of the Debtor and its Estate, and consistent with the applicable

  provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                    68.         Executory Contracts and Unexpired Leases (11 U.S.C. § 1123(b)(2)).

  The Debtor has exercised reasonable business judgment with respect to the rejection of the

  Executory Contracts and Unexpired Leases pursuant the terms of the Plan and this Confirmation

  Order, and such rejections are justified and appropriate in this Chapter 11 Case. The Debtor also

  filed the List of Assumed Contracts, which contain notices to the applicable counterparties to the

  contracts set forth on Exhibit “FF” to Plan Supplement filed on February 1, 2021 [Docket No.

  1875] and which exhibit sets forth the list of executory contracts and unexpired leases to be



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  assumed by the Debtor pursuant to the Plan (collectively, the “Assumed Contracts”). With respect

  to the Assumed Contracts, only one party objected to the assumption of any of the Assumed

  Contracts, but that objection was withdrawn. 8 Any modifications, amendments, supplements, and

  restatements to the Assumed Contracts that may have been executed by the Debtor during the

  Chapter 11 Case shall not be deemed to alter the prepetition nature of the Assumed Contracts or

  the validity, priority, or amount of any Claims that may arise in connection therewith. Assumption

  of any Assumed Contract pursuant to the Plan and full payment of any applicable Cure pursuant

  to the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition or other bankruptcy-related defaults, arising under any assumed

  Executory Contract or Unexpired Lease at any time prior to the effective date of assumption.

                    69.         Compromises and Settlements Under and in Connection with the Plan

  (11 U.S.C. § 1123(b)(3)). All of the settlements and compromises pursuant to and in connection

  with the Plan, comply with the requirements of section 1123(b)(3) of the Bankruptcy Code and

  Bankruptcy Rule 9019.

                    70.         Debtor Release, Exculpation and Injunctions (11 U.S.C. § 1123(b)). The

  Debtor Release, Exculpation, and Injunction provisions provided in the Plan (i) are within the

  jurisdiction of the Bankruptcy Court under 28 U.S.C. § 1334; (ii) are integral elements of the

  transactions incorporated into the Plan, and inextricably bound with the other provisions of the

  Plan; (iii) confer material benefit on, and are in the best interests of, the Debtor, its Estate, and its

  8
    See Notice of Withdrawal of James Dondero’s Objection Debtor’s Proposed Assumption of Contracts and Cure
  Amounts Proposed in Connection Therewith [Docket No. 1876]


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  creditors; (iv) are fair, equitable, and reasonable; (v) are given and made after due notice and

  opportunity for hearing; (vi) satisfy the requirements of Bankruptcy Rule 9019; and (vii) are

  consistent with the Bankruptcy Code and other applicable law, and as set forth below.

                    71.         Debtor Release. Section IX.D of the Plan provides for the Debtor’s release

  of the Debtor’s and Estate’s claims against the Released Parties. Releases by a debtor are

  discretionary and can be provided by a debtor to persons who have provided consideration to the

  Debtor and its estate pursuant to section 1123(b)(3)(A) of the Bankruptcy Code. Contrary to the

  objections raised by Mr. Dondero and certain of the Dondero Related Entities, the Debtor Release

  is appropriately limited to release claims held by the Debtor and does not purport to release the

  claims held by the Claimant Trust, Litigation Sub-Trust, or other third parties. The Plan does not

  purport to release any claims held by third parties and the Bankruptcy Court finds that the Debtor

  Release is not a “disguised” release of any third party claims as asserted by certain objecting

  parties. The limited scope of the Debtor Release in the Plan was extensively negotiated with the

  Committee, particularly with the respect to the Debtor’s conditional release of claims against

  employees, as identified in the Plan, and the Plan’s conditions and terms of such releases. The

  Plan does not release (i) any obligations of any party under the Plan or any document, instrument,

  or agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under

  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual



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  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction. The Debtor Release also contains

  conditions to such releases as set forth in Article X.D of the Plan with respect to employees (the

  “Release Conditions”). Until the an employee satisfies the Release Conditions or the Release

  Conditions otherwise terminate, any claims against such employee will be tolled so that if the

  Release Conditions are not met the Litigation Trustee may pursue claims against an employee at a

  later date. The evidence before the Bankruptcy Court, including, but not limited to Mr. Seery’s

  testimony, demonstrates that the Debtor is not aware of any claims against any of the Released

  Parties, that the Released Parties have been instrumental in assisting the Debtor’s efforts toward

  confirmation of the Plan and that, therefore, the releases are a quid pro quo for the Released

  Parties’ significant contributions to a highly complex and contentious restructuring.           The

  Committee, whose members hold approximately $200 million in claims against the Estate, is

  highly sophisticated and is represented by highly sophisticated professionals, and has actively and

  vigorously negotiated the terms of the Debtor Release, which was the subject of significant

  controversy at the Initial Disclosure Statement hearing held by the Bankruptcy Court on October

  27, 2020.

                    72.         Exculpation. Section IX.C of the Plan provides for the exculpation of

  certain Exculpated Parties to the extent provided therein (the “Exculpation Provision”). As

  explained below, the Exculpation Provision is appropriate under the unique circumstances of this

  litigious Chapter 11 Case and consistent with applicable Fifth Circuit precedent. First, with respect

  to the Independent Directors, their agents, and their advisors, including any employees acting at



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  their direction, the Bankruptcy Court finds and concludes that it has already exculpated these

  parties for acts other than willful misconduct and gross negligence pursuant to the January 9 Order.

  The January 9 Order was specifically agreed to by Mr. Dondero, who was in control of the Debtor

  up until entry of the January 9 Order. The January 9 Order was not appealed. In addition to the

  appointment of the Independent Directors in an already contentious and litigious case, the January

  9 Order set the standard of care for the Independent Directors and specifically exculpated them for

  negligence. Mr. Seery and Mr. Dubel each testified that they had input into the contents of the

  January 9 Order and would not have agreed to their appointment as Independent Directors if the

  January 9 Order did not include the protections set forth in paragraph 10 of the January 9 Order.

  Paragraph 10 of the January 9 Order (1) requires that parties wishing to sue the Independent

  Directors or their agents and advisors must first seek approval from the Bankruptcy Court before

  doing so; (2) sets the standard of care for the Independent Directors during the Chapter 11 Case

  and exculpated the Independent Directors for acts other than willful misconduct or gross

  negligence; (3) only permits suits against the Independent Directors to proceed for colorable claims

  of willful misconduct and gross negligence upon order of the Bankruptcy Court; and (4) does not

  expire by its terms.

                    73.         Existing Exculpation of Independent Directors. The Bankruptcy Court

  also finds and concludes that it has already exculpated Mr. Seery acting in the capacity as Chief

  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order. The Bankruptcy

  Court concludes its previous approval of the exculpation of the Independent Directors, their agents,

  advisors and employees working at their direction pursuant to the January 9 Order, and the Chief



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  Executive Officer and Chief Restructuring Officer pursuant to the July 16 Order constitutes the

  law of this case and are res judicata pursuant to In re Republic Supply Co. v. Shoaf, 815 F.2d 1046

  (5th Cir.1987). The January 9 Order and July 16 Order cannot be collaterally attacked based on

  the objectors’ objection to the exculpation of the Independent Directors, their agents, and advisors,

  including any employees acting at their direction, as well as the Chief Executive Officer and Chief

  Restructuring Officer, that the Bankruptcy Court already approved pursuant to the January 9 Order

  and the July 16 Order.

                    74.         The Exculpation Provision Complies with Applicable Law. Separate

  and apart from the res judicata effect of the January 9 Order and the July 16 Order, the Bankruptcy

  Court also finds and concludes that the Exculpation Provision is consistent with applicable law,

  including In re Pacific Lumber Co., 584 F.3d 229 (5th Cir. 2009), for several reasons:

           a.       First, the statutory basis for Pacific Lumber’s denial of exculpation for certain
                    parties other than a creditors’ committee and its members is that section 524(e) of
                    the Bankruptcy Code “only releases the debtor, not co-liable third parties.” Pacific
                    Lumber, 253 F.3d. at 253. However, Pacific Lumber does not prohibit all
                    exculpations under the Bankruptcy Code and the court in such case specifically
                    approved the exculpations of a creditors’ committee and its members on the
                    grounds that “11 U.S.C. § 1103(c), which lists the creditors’ committee’s powers,
                    implies committee members have qualified immunity for actions within the scope
                    of their duties…. [I]f members of the committee can be sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case, it will be extremely difficult to find members to serve on an official
                    committee.” Pacific Lumber, 253 F.3d at 253 (quoting Lawrence P. King, et al,
                    Collier on Bankruptcy, ¶ 1103.05[4][b] (15th Ed. 2008]). Pacific Lumber’s
                    rationale for permitted exculpation of creditors’ committees and their members
                    (which was clearly policy-based and based on a creditors’ committee qualified
                    immunity flowing from their duties under section 1103(c) of the Bankruptcy Code
                    and their disinterestedness and importance in chapter 11 cases) does not preclude
                    exculpation to other parties in a particular chapter 11 case that perform similar roles
                    to a creditors’ committee and its members. The Independent Directors, and by
                    extension the Chief Executive Officer and Chief Restructuring Officer, were not

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                    part of the Debtor’s enterprise prior to their appointment by the Bankruptcy Court
                    under the January 9 Order. The Bankruptcy Court appointed the Independent
                    Directors in lieu of a chapter 11 trustee to address what the Bankruptcy Court
                    perceived as serious conflicts of interest and fiduciary duty concerns with the then-
                    existing management prior to January 9, 2020, as identified by the Committee. In
                    addition, the Bankruptcy Court finds that the Independent Directors expected to be
                    exculpated from claims of negligence, and would likely have been unwilling to
                    serve in contentious cases absent exculpation. The uncontroverted testimony of
                    Mr. Seery and Mr. Dubel demonstrates that the Independent Directors would not
                    have agreed to accept their roles without the exculpation and gatekeeper provision
                    in the January 9 Order. Mr. Dubel also testified as to the increasing important role
                    that independent directors are playing in complex chapter 11 restructurings and that
                    unless independent directors could be assured of exculpation for simple negligence
                    in contentious bankruptcy cases they would be reluctant to accept appointment in
                    chapter 11 cases which would adversely affect the chapter 11 restructuring process.
                    The Bankruptcy Court concludes that the Independent Directors were appointed
                    under the January 9 Order in order to avoid the appointment of a chapter 11 trustee
                    and are analogous to a creditors’ committee rather than an incumbent board of
                    directors. The Bankruptcy Court also concludes that if independent directors
                    cannot be assured of exculpation for simple negligence in contentious bankruptcy
                    cases, they may not be willing to serve in that capacity. Based upon the foregoing,
                    the Bankruptcy Court concludes that Pacific Lumber’s policy of exculpating
                    creditors’ committees and their members from “being sued by persons unhappy
                    with the committee’s performance during the case or unhappy with the outcome of
                    the case” is applicable to the Independent Directors in this Chapter 11 Case. 9

           b.       Second, the Bankruptcy Court also concludes that Pacific Lumber does not
                    preclude the exculpation of parties if there is a showing that “costs [that] the
                    released parties might incur defending against such suits alleging such negligence
                    are likely to swamp either the Exculpated Parties or the reorganization.” Pacific
                    Lumber, 584 F.3d at 252. If ever there was a risk of that happening in a chapter 11
                    reorganization, it is this one. Mr. Seery credibly testified that Mr. Dondero stated
                    outside the courtroom that if Mr. Dondero’s pot plan does not get approved, that
                    Mr. Dondero will “burn the place down.” The Bankruptcy Court can easily expect
                    that the proposed Exculpated Parties might expect to incur costs that could swamp
                    them and the reorganization based on the prior litigious conduct of Mr. Dondero
                    and his controlled entities that justify their inclusion in the Exculpation Provision.




  9
    The same reasoning applies to the inclusion of Strand in the Exculpation Provision because Strand is the general
  partner of the Debtor through which each of the Independent Board members act.


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                    75.         Injunction. Section IX.D of the Plan provides for a Plan inunction to

  implement and enforce the Plan’s release, discharge and release provisions (the “Injunction

  Provision”). The Injunction Provision is necessary to implement the provisions in the Plan. Mr.

  Seery testified that the Claimant Trustee will monetize the Debtor’s assets in order to maximize

  their value. In order to accomplish this goal, the Claimant Trustee needs to be able to pursue this

  objective without the interference and harassment of Mr. Dondero and his related entities,

  including the Dondero Related Entities. Mr. Seery also testified that if the Claimant Trust was

  subject to interference by Mr. Dondero, it would take additional time to monetize the Debtor’s

  assets and those assets could be monetized for less money to the detriment of the Debtor’s

  creditors. The Bankruptcy Court finds and concludes that the Injunction Provision is consistent

  with and permissible under Bankruptcy Code sections 1123(a), 1123(a)(6), 1141(a) and (c), and

  1142. The Bankruptcy Court rejects assertions by certain objecting parties that the Injunction

  Provision constitutes a “third-party release.” The Injunction Provision is appropriate under the

  circumstances of this Chapter 11 Case and complies with applicable bankruptcy law. The

  Bankruptcy Court also concludes that the terms “implementation” and “consummation” are neither

  vague nor ambiguous

                    76.         Gatekeeper Provision. Section IX.F of the Plan contains a provision

  contained in paragraph AA of this Confirmation Order and which the Debtor has referred to as a

  gatekeeper provision (the “Gatekeeper Provision”). The Gatekeeper Provision requires that

  Enjoined Parties first seek approval of the Bankruptcy Court before they may commence an action

  against Protected Parties. Thereafter, if the Bankruptcy Court determines that the action is



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  colorable, the Bankruptcy Court may, if it has jurisdiction, adjudicate the action. The Bankruptcy

  Court finds that the inclusion of the Gatekeeper Provision is critical to the effective and efficient

  administration, implementation, and consummation of the Plan. The Bankruptcy Court also

  concludes that the Bankruptcy Court has the statutory authority as set forth below to approve the

  Gatekeeper Provision.

                    77.         Factual Support for Gatekeeper Provision. The facts supporting the need

  for the Gatekeeper Provision are as follows. As discussed earlier in this Confirmation Order, prior

  to the commencement of the Debtor’s bankruptcy case, and while under the direction of Mr.

  Dondero, the Debtor had been involved in a myriad of litigation, some of which had gone on for

  years and, in some cases, over a decade. Substantially all of the creditors in this case are either

  parties who were engaged in litigation with the Debtor, parties who represented the Debtor in

  connection with such litigation and had not been paid, or trade creditors who provided litigation-

  related services to the Debtor. During the last several months, Mr. Dondero and the Dondero

  Related Entities have harassed the Debtor, which has resulted in further substantial, costly, and

  time-consuming litigation for the Debtor. Such litigation includes: (i) entry of a temporary

  restraining order and preliminary injunction against Mr. Dondero [Adv. Proc. No. 20-03190

  Docket No. 10 and 59] because of, among other things, his harassment of Mr. Seery and employees

  and interference with the Debtor’s business operations; (ii) a contempt motion against Mr.

  Dondero for violation of the temporary restraining order, which motion is still pending before the

  Bankruptcy Court [Adv. Proc. No. 20-03190 Docket No. 48]; (iii) a motion by Mr. Dondero’s

  controlled investors in certain CLOs managed by the Debtor that the Bankruptcy Court referred to



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  as frivolous and a waste of the Bankruptcy Court’s time [Docket No. 1528] which was denied by

  the Court [Docket No. 1605]; (iv) multiple plan confirmation objections focused on ensuring the

  Dondero Related Entities be able to continue their litigation against the Debtor and its successors

  post-confirmation [Docket Nos. 1661, 1667, 1670, 1673, 1676, 1677 and 1868]; (v) objections to

  the approval of the Debtor’s settlements with Acis and HarbourVest and subsequent appeals of the

  Bankruptcy Court’s order approving each of those settlements [Docket Nos. 1347 and 1870]; and

  (vi) a complaint and injunction sought against Mr. Dondero’s affiliated entities to prevent them

  from violating the January 9 Order and entry of a restraining order against those entities [Adv Proc.

  No. 21-03000 Docket No 1] (collectively, the “Dondero Post-Petition Litigation”).

                    78.         Findings Regarding Dondero Post-Petition Litigation. The Bankruptcy

  Court finds that the Dondero Post-Petition Litigation was a result of Mr. Dondero failing to obtain

  creditor support for his plan proposal and consistent with his comments, as set forth in Mr. Seery’s

  credible testimony, that if Mr. Dondero’s plan proposal was not accepted, he would “burn down

  the place.” The Bankruptcy Court concludes that without appropriate protections in place, in the

  form of the Gatekeeper Provision, Mr. Dondero and his related entities will likely commence

  litigation against the Protected Parties after the Effective Date and do so in jurisdictions other than

  the Bankruptcy Court in an effort to obtain a forum which Mr. Dondero perceives will be more

  hospitable to his claims. The Bankruptcy Court also finds, based upon Mr. Seery’s testimony, that

  the threat of continued litigation by Mr, Dondero and his related entities after the Effective Date

  will impede efforts by the Claimant Trust to monetize assets for the benefit of creditors and result




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  in lower distributions to creditors because of costs and distraction such litigation or the threats of

  such litigation would cause.

                    79.         Necessity of Gatekeeper Provision. The Bankruptcy Court further finds

  that unless the Bankruptcy Court approves the Gatekeeper Provision, the Claimant Trustee and the

  Claimant Trust Oversight Board will not be able to obtain D&O insurance, the absence of which

  will present unacceptable risks to parties currently willing to serve in such roles. The Bankruptcy

  Court heard testimony from Mark Tauber, a Vice President with AON Financial Services, the

  Debtor’s insurance broker (“AON”), regarding his efforts to obtain D&O insurance. Mr. Tauber

  credibly testified that of all the insurance carriers that AON approached to provide D&O insurance

  coverage after the Effective Date, the only one willing to do so without an exclusion for claims

  asserted by Mr. Dondero and his affiliates otherwise requires that this Order approve the

  Gatekeeper Provision. Based on the foregoing, the Bankruptcy Court finds that the Gatekeeper

  Provision is necessary and appropriate in light of the history of the continued litigiousness of Mr.

  Dondero and his related entities in this Chapter 11 Case and necessary to the effective and efficient

  administration, implementation and consummation of the Plan and is appropriate pursuant to

  Carroll v. Abide (In re Carroll) 850 F.3d 811 (5th Cir. 2017). Approval of the Gatekeeper

  Provision will prevent baseless litigation designed merely to harass the post-confirmation entities

  charged with monetizing the Debtor’s assets for the benefit of its economic constituents, will avoid

  abuse of the court system and preempt the use of judicial time that properly could be used to

  consider the meritorious claims of other litigants. Any suit against a Protected Party would

  effectively be a suit against the Debtor, and the Debtor may be required to indemnify the Protected



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  Parties under the Limited Partnership Agreement, which will remain in effect through the Effective

  Date, or those certain Indemnification and Guaranty Agreements, dated January 9, 2020, between

  Strand, the Debtor, and each Independent Director, following the Confirmation Date as each such

  agreement will be assumed pursuant to 11 U.S.C. § 365 pursuant to the Plan.

                    80.         Statutory Authority to Approve Gatekeeper Provision.               The

  Bankruptcy Court finds it has the statutory authority to approve the Gatekeeper Provision under

  sections 1123(a)(5), 1123(b)(6), 1141, 1142(b), and 105(a). The Gatekeeper Provision is also

  within the spirit of the Supreme Court’s “Barton Doctrine.” Barton v. Barbour, 104 U.S. 126

  (1881). The Gatekeeper Provision is also consistent with the notion of a prefiling injunction to

  deter vexatious litigants, that has been approved by the Fifth Circuit in such cases as Baum v. Blue

  Moon Ventures, LLC, 513 F.3d 181, 189 (5th Cir. 2008), and In re Carroll, 850 F.3d 811 (5th Cir.

  2017).

                    81.         Jurisdiction to Implement Gatekeeper Provision. The Bankruptcy Court

  finds that it will have jurisdiction after the Effective Date to implement the Gatekeeper Provision

  as post-confirmation bankruptcy court jurisdiction has been interpreted by the Fifth Circuit under

  United States Brass Corp. v. Travelers Ins. Group, Inc. (In re United States Brass Corp.), 301 F.3d

  296 (5th Cir. 2002) and EOP-Colonnade of Dallas Ltd. P’Ship v. Faulkner (In re Stonebridge

  Techs., Inc.), 430 F.3d 260 (5th Cir. 2005). Based upon the rationale of the Fifth Circuit in Villegas

  v. Schmidt, 788 F.3d 156, 158-59 (5th Cir. 2015), the Bankruptcy Court’s jurisdiction to act as a

  gatekeeper does not violate Stern v. Marshall. The Bankruptcy Court’s determination of whether




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  a claim is colorable, which the Bankruptcy Court has jurisdiction to determine, is distinct from

  whether the Bankruptcy Court would have jurisdiction to adjudicate any claim it finds colorable.

                    82.         Resolution of Objections of Scott Ellington and Isaac Leventon. Each

  of Scott Ellington (“Mr. Ellington”) and Isaac Leventon (“Mr. Leventon”) (each, a “Senior

  Employee Claimant”) has asserted certain claims for liquidated but unpaid bonus amounts for the

  following periods: 2016, 2017, and 2018, as set forth in Exhibit A to that certain Senior Employees’

  Limited Objection to Debtor’s Fifth Amended Plan of Reorganization [Docket No. 1669] (the

  “Senior Employees’ Objection”) (for each of Mr. Ellington and Mr. Leventon, the “Liquidated

  Bonus Claims”).

           a.       Mr. Ellington has asserted Liquidated Bonus Claims in the aggregate amount of
                    $1,367,197.00, and Mr. Leventon has asserted Liquidated Bonus Claims in the
                    aggregate amount of $598,198.00. Mr. Ellington received two Ballots 10 – a Ballot
                    for Class 7 of the Plan and a Ballot for Class 8 of the Plan. Mr. Ellington completed
                    and timely returned both of such Ballots, voted to reject the Plan, and elected to
                    have his Class 8 Liquidated Bonus Claims treated under Class 7 of the Plan, subject
                    to the objections and reservations of rights set forth in the Senior Employees’
                    Objection. If Mr. Ellington is permitted to elect Class 7 treatment for his Liquidated
                    Bonus Claims, then the maximum amount of his Liquidated Bonus Claims will be
                    $1,000,000.

           b.       Mr. Leventon received two Ballots—a Ballot for Class 7 of the Plan and a Ballot
                    for Class 8 of the Plan. Mr. Leventon completed and timely returned both of such
                    Ballots and voted each such Ballots to rejected the Plan.

           c.       The Senior Employees’ Objection, among other things, objects to the Plan on the
                    grounds that the Debtor improperly disputes the right of Mr. Ellington to elect Class
                    7 treatment for his Liquidated Bonus Claims and Mr. Leventon’s entitlement to
                    receive Class 7 Convenience Class treatment for his Liquidated Bonus Claims. The
                    Debtor contended that neither Mr. Ellington or Mr. Leventon were entitled to elect
                    to receive Class 7 Convenience Class treatment on account of their Liquidated


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    As defined in the Plan, “Ballot” means the forms(s) distributed to holders of Impaired Claims or Equity Interests
  entitled to vote on the Plan on which to indicate their acceptance or rejection of the Plan.


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                    Bonus Claims under the terms of the Plan, the Disclosure Statement Order or
                    applicable law.

           d.       The Debtor and Mr. Ellington and Mr. Leventon negotiated at arms’ length in an
                    effort to resolve all issues raised in the Senior Employee’s Objection, including
                    whether or not Mr. Ellington and Mr. Leventon were entitled to Class 7
                    Convenience Class treatment of their Liquidated Bonus Claims. As a result of such
                    negotiation, the Debtor, Mr. Ellington, and Mr. Leventon have agreed to the
                    settlement described in paragraphs 82(e) through 82(k) below and approved and
                    effectuated pursuant to decretal paragraphs RR through SS (the “Senior Employees'
                    Settlement”).

           e.       Under the terms of the Senior Employees' Settlement, the Debtor has the right to
                    elect one of two treatments of the Liquidated Bonus Claims for a Senior Employee
                    Claimant. Under the first treatment option (“Option A”), the Liquidated Bonus
                    Claims will be entitled to be treated in Class 7 of the Plan, and the Liquidated Bonus
                    Claims will be entitled to receive payment in an amount equal to 70.125% of the
                    Class 7 amount of the Liquidated Bonus Claims, subject to the Liquidated Bonus
                    Claims becoming Allowed Claims under the terms of the Plan. Under this
                    calculation, Mr. Ellington would be entitled to receive $701,250.00 on account of
                    his Class 7 Convenience Class Claim when and as Allowed under the Plan, and Mr.
                    Leventon would be entitled to receive $413,175.10 on account of his Class 7
                    Convenience Class Claim when and as Allowed under the Plan. If, however, any
                    party in interest objects to the allowance of the Senior Employee Claimant's
                    Liquidated Bonus Claims and does not prevail in such objection, then such Senior
                    Employee Claimant will be entitled to a payment in an amount equal to 85% of his
                    Allowed Liquidated Bonus Claims (subject, in the case of Mr. Ellington, to the cap
                    imposed on Class 7 Claims). In addition, under Option A, each of Mr. Ellington
                    and Mr. Leventon would retain their respective rights to assert that the Liquidated
                    Bonus Claims are entitled to be treated as Administrative Expense Claims, as
                    defined in Article I.B.2. of the Plan, in which case the holder of such Liquidated
                    Bonus Claims would be entitled to payment in full of the Allowed Liquidated
                    Bonus Claims. Under Option A, parties in interest would retain the right to object
                    to any motion seeking payment of the Liquidated Bonus Amounts as
                    Administrative Expenses.

           f.       Under the second treatment option (“Option B”), the Debtor would agree that the
                    Senior Employee Claimant has Allowed Liquidated Bonus Claims, no longer
                    subject to objection by any party in interest, in the amounts of the Liquidated Bonus
                    Claims (subject, in the case of Mr. Ellington, to the cap imposed by Class 7). If the
                    Debtor elects Option B as to a Senior Employee Claimant, then such Senior
                    Employee Claimant would be entitled to a payment on account of his Allowed
                    Liquidated Bonus Claims in an amount equal to 60% of the amount of the


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                    Liquidated Bonus Claims (which, in Mr. Ellington’s case, would be $600,000 and
                    in Mr. Leventon’s case, would be $358,918.80), and such payment would be the
                    sole recovery on account of such Allowed Liquidated Bonus Claims.

           g.       The Debtor may, with the consent of the Committee, elect Option B with respect to
                    a Senior Employee Claimant at any time prior to the occurrence of the Effective
                    Date. If the Debtor does not make an election, then Option A will apply.

           h.       Under either Option A or Option B, Mr. Ellington and Mr. Leventon will retain all
                    their rights with respect to all Claims other than the Liquidated Bonus Amounts,
                    including, but not limited to, their Class 6 PTO Claims, other claims asserted as
                    Class 8 General Unsecured Claims, the Senior Employees’ claims for
                    indemnification against the Debtor, and any other claims that they may assert
                    constitute Administrative Expense Claims, and any other such Claims are subject
                    to the rights of any party in interest to object to such Claims, and the Debtor reserves
                    any all of its rights and defenses in connection therewith.

           i.       Subject to entry of this Confirmation Order and as set forth and announced on the
                    record at the hearing on confirmation of the Plan and no party objecting thereto,
                    Mr. Ellington and Mr. Leventon agreed to change the votes in their respective
                    Ballots from rejection to acceptance of the Plan and to withdraw the Senior
                    Employees’ Objection.

           j.       The Senior Employees’ Settlement represents a valid exercise of the Debtor’s
                    business judgment and satisfies the requirements for a compromise under
                    Bankruptcy Rule 9019(a).

           k.       For the avoidance of doubt, neither Mr. Leventon nor Mr. Ellington shall be a
                    Released Party under the Plan regardless of how the Senior Employee Claimants’
                    Claims are to be treated hereunder.

           Based upon the foregoing findings, and upon the record made before the Bankruptcy Court

  at the Confirmation Hearing, and good and sufficient cause appearing therefor, it is hereby

  ORDERED, ADJUDGED AND DECREED THAT:

                    A.          Confirmation of the Plan. The Plan is approved in its entirety and

  CONFIRMED under section 1129 of the Bankruptcy Code. The terms of the Plan, including the




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  Plan Supplements and Plan Modifications, are incorporated by reference into and are an integral

  part of this Confirmation Order. 11

                      B.        Findings of Fact and Conclusions of Law. The findings of fact and the

  conclusions of law set forth in this Confirmation Order and on the record of the Confirmation

  Hearing constitute findings of fact and conclusions of law in accordance with Bankruptcy Rule

  7052, made applicable to this proceeding by Bankruptcy Rule 9014. All findings of fact and

  conclusion of law announced by the Bankruptcy Court at the Confirmation Hearing in relation to

  confirmation of the Plan are hereby incorporated into this Confirmation Order. To the extent that

  any of the following constitutes findings of fact or conclusions of law, they are adopted as such.

  To the extent any findings of fact or conclusions of law set forth in this Confirmation Order

  (including any findings of fact or conclusions of law announced by the Bankruptcy Court at the

  Confirmation Hearing and incorporated herein) constitutes an order of the Bankruptcy Court, and

  is adopted as such.

                      C.        Objections. Any resolution or disposition of objections to confirmation of

  the Plan or otherwise ruled upon by the Bankruptcy Court on the record of the Confirmation

  Hearing is hereby incorporated by reference.               All objections and all reservations of rights

  pertaining to confirmation of the Plan that have not been withdrawn, waived or settled are

  overruled on the merits, except as otherwise specifically provided in this Confirmation Order.

                      D.        Plan Supplements and Plan Modifications.             The filing with the

  Bankruptcy Court of the Plan Supplements and the Plan Modifications constitutes due and


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       The Plan is attached hereto as Exhibit A.


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  sufficient notice thereof. Accordingly, pursuant to section 1127(a) of the Bankruptcy Code and

  Bankruptcy Rule 3019, the Plan Modifications and the Plan Supplements do not require additional

  disclosure under section 1125 of the Bankruptcy Code or resolicitation of votes under section 1126

  of the Bankruptcy Code, nor do they require that Holders of Claims or Equity Interests be afforded

  an opportunity to change previously cast acceptances or rejections of the Plan.         The Plan

  Modifications and the Plan Supplements constitute the Plan pursuant to section 1127(a) of the

  Bankruptcy Code. Accordingly, the Plan, as modified, is properly before the Bankruptcy Court

  and all votes cast with respect to the Plan prior to such modification shall be binding and shall

  apply with respect to the Plan.

                    E.          Deemed Acceptance of Plan. In accordance with section 1127 of the

  Bankruptcy Code and Bankruptcy Rule 3019, all Holders of Claims and Equity Interests who voted

  to accept the Plan (or whom are conclusively presumed to accept the Plan) are deemed to have

  accepted the Plan as modified by the Plan Modifications. No holder of a Claim shall be permitted

  to change its vote as a consequence of the Plan Modifications.

                    F.          Vesting of Assets in the Reorganized Debtor.   Except as otherwise

  provided in the Plan or this Confirmation Order, on or after the Effective Date, all Reorganized

  Debtor Assets will vest in the Reorganized Debtor, free and clear of all Liens, Claims, charges or

  other encumbrances pursuant to section 1141(c) of the Bankruptcy Code, except with respect to

  such Liens, Claims, charges, and other encumbrances that are specifically preserved under the Plan

  upon the Effective Date. The Reorganized Debtor shall be the exclusive trustee of the Reorganized

  Debtor Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the



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  representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code

  with respect to the Reorganized Debtor Assets.

                    G.          Effectiveness of All Actions.   All actions contemplated by the Plan,

  including all actions in connection with the Claimant Trust Agreement, the Senior Employee

  Stipulation, the New GP LLC Documents, the New Frontier Note, the Reorganized Limited

  Partnership Agreement, the Litigation Sub-Trust Agreement, and the other Plan Documents, are

  authorized to be taken on, prior to, or after the Effective Date, as applicable, under this

  Confirmation Order, without further application to or order of the Bankruptcy Court, or further

  action by the directors, managers, officers or partners of the Debtor or the Reorganized Debtor and

  with the effect that such actions had been taken by unanimous action of such parties.

                    H.          Restructuring Transactions.     The Debtor or Reorganized Debtor, as

  applicable, are authorized to enter into and effectuate the Restructuring provided under the Plan,

  including, without limitation, the entry into and consummation of the transactions contemplated

  by the Claimant Trust Agreement, the Senior Employee Stipulation, the New GP LLC Documents,

  the New Frontier Note, the Reorganized Limited Partnership Agreement, the Litigation Sub-Trust

  Agreement, and the other Plan Documents, and may take any actions as may be necessary or

  appropriate to effect a corporate restructuring of its business or a corporate restructuring of the

  overall corporate structure of the Reorganized Debtor, as and to the extent provided in the Plan.

  Any transfers of assets or equity interests effected or any obligations incurred through the

  Restructuring pursuant to the Plan are hereby approved and shall not constitute fraudulent

  conveyances or fraudulent transfers or otherwise be subject to avoidance.



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                    I.          Preservation of Causes of Action. Unless a Cause of Action against a

  Holder of a Claim or an Equity Interest or other Entity is expressly waived, relinquished, released,

  compromised or settled in the Plan or any Final Order (including, without limitation, this

  Confirmation Order), such Cause of Action is expressly reserved for later adjudication by the

  Reorganized Debtor, the Litigation Sub-Trust, or the Claimant Trust, as applicable (including,

  without limitation, Causes of Action not specifically identified or of which the Debtor may

  presently be unaware or that may arise or exist by reason of additional facts or circumstances

  unknown to the Debtor at this time or facts or circumstances that may change or be different from

  those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without

  limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,

  waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as

  a consequence of the confirmation, effectiveness, or consummation of the Plan based on the

  Disclosure Statement, the Plan, or this Confirmation Order, except where such Causes of Action

  have been expressly released in the Plan or any other Final Order (including, without limitation,

  this Confirmation Order). In addition, the right of the Reorganized Debtor, the Claimant Trust, or

  the Litigation Sub-Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor

  is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the

  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

                    J.          Independent Board of Directors of Strand. The terms of the current

  Independent Directors shall expire on the Effective Date without the need for any further or other

  action by any of the Independent Directors. For avoidance of doubt, the Assumed Contracts



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  include the Indemnification and Guaranty Agreement between Highland Capital Management,

  Strand Advisors, Inc. and James Seery; the Indemnification and Guaranty Agreement between

  Highland Capital Management, Strand Advisors, Inc. and John Dubel and Indemnification and

  Guaranty Agreement between Highland Capital Management, Strand Advisors, Inc. and Russell

  Nelms and shall each remain in full force and effect notwithstanding the expiration of the terms of

  any Independent Directors.

                    K.          Cancellation of Equity Interests and Issuance of New Partnership

  Interests. On the Effective Date, all Class A Limited Partnership Interests, including the Class A

  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited

  Partnerships in the Debtor will be deemed cancelled, and all obligations or debts owed by, or

  Claims against, the Debtor on account of, or based upon, such Class A Limited Partnership

  Interests and Class B/C Limited Partnership Interests shall be deemed as cancelled, released, and

  discharged, including all obligations or duties by the Debtor relating to the Equity Interests in any

  of the Debtor’s formation documents, including the Limited Partnership Agreement. As of the

  Effective Date and pursuant to the Plan, new Class A Limited Partnership Interests in the

  Reorganized Debtor will be issued to the Claimant Trust and New GP LLC. The Claimant Trust,

  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized

  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized

  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as

  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited

  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current Limited



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  Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be managed

  consistent with the terms of the Reorganized Limited Partnership Agreement by New GP LLC.

  The sole managing member of New GP LLC will be the Claimant Trust, and the Claimant Trustee

  will be the sole officer of New GP LLC on the Effective Date.

                    L.          Transfer of Assets to Claimant Trust. On or prior to the Effective Date,

  the Debtor shall irrevocably transfer and shall be deemed to have irrevocably transferred to the

  Claimant Trust all of its rights, title, and interest in and to all of the Claimant Trust Assets, and in

  accordance with section 1141 of the Bankruptcy Code, the Claimant Trust Assets shall

  automatically vest in the Claimant Trust free and clear of all Claims, Liens, encumbrances, or

  interests subject only to the Claimant Trust Interests and the Claimant Trust Expenses, as provided

  for in the Claimant Trust Agreement, and such transfer shall be exempt from any stamp, real estate

  transfer, mortgage from any stamp, transfer, reporting, sales, use, or other similar tax. Following

  the Effective Date, the Claimant Trust will administer the Claimant Trust Assets pursuant to the

  Plan and the Claimant Trust Agreement.

                    M.          Transfer of Estate Claims to Litigation Sub-Trust. On or prior to the

  Effective Date, the Claimant Trust shall irrevocably transfer and shall be deemed to have

  irrevocably transferred to the Litigation Sub-Trust all of the Claimant Trust’s rights, title, and

  interest in and to all of the Estate Claims as successor in interest to the Debtor, and in accordance

  with section 1141 of the Bankruptcy Code, the Estate Claims shall automatically vest in the

  Litigation Sub-Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to

  the Litigation Sub-Trust Interests and Litigation Sub-Trust Expenses. The Litigation Trustee will



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  be authorized to investigate, pursue, and otherwise resolve the Estate Claims pursuant to the terms

  of the Litigation Sub-Trust Agreement and the Plan, including as successor in interest to the Debtor

  or Committee, as applicable, in any litigation commenced prior to the Effective Date in which

  Estate Claims are asserted.

                    N.          Compromise of Controversies. In consideration for the distributions and

  other benefits, including releases, provided under the Plan, the provisions of the Plan constitute a

  good faith compromise and settlement of all Claims, Equity Interests, and controversies resolved

  under the Plan and the entry of this Confirmation Order constitutes approval of such compromise

  and settlement under Bankruptcy Rule 9019.

                    O.          Objections to Claims. The Claims Objection Deadline shall be the date

  that is 180 days after the Effective Date, provided, however, that the Claims Objection Deadline

  may be extended by the Bankruptcy Court upon a motion by the Claimant Trustee and as otherwise

  provided under the Plan.

                    P.          Assumption of Contracts and Leases. Effective as of the date of this

  Confirmation Order, each of the Assumed Contacts shall be assumed by the Debtor without the

  need for any further notice to or action, order, or approval of the Bankruptcy Court, under section

  365 of the Bankruptcy Code and the payment of Cures, if any, shall be paid in accordance with the

  Plan.    Each Assumed Contract shall include all modifications, amendments, supplements,

  restatements, or other agreements related thereto, and all rights related thereto, if any, including

  all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and

  any other interests. Modifications, amendments, supplements, and restatements to any of the



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  Assumed Contracts that have been executed by the Debtor during the Chapter 11 Case shall not

  be deemed to alter the prepetition nature of such Assumed Contracts or the validity, priority, or

  amount of any Claims that may arise in connection therewith. Assumption of the Assumed

  Contracts pursuant to Article V.A of the Plan and full payment of any applicable Cure pursuant to

  the Plan shall result in the full release and satisfaction of any Cures, Claims, or defaults, whether

  monetary or nonmonetary, including defaults of provisions restricting the change in control or

  ownership interest composition, or other bankruptcy-related defaults, arising under any Assumed

  Contracts.

                    Q.          Rejection of Contracts and Leases. Unless previously assumed during the

  pendency of the Chapter 11 Case or pursuant to the Plan, all other Executory Contracts and

  Unexpired Leases are rejected as of the date of the entry of this Confirmation Order and pursuant

  to the terms of the Plan. To the extent that any party asserts any damages resulting from the

  rejection of any Executory Contract or Unexpired Lease, such claim must be filed within thirty

  (30) days following entry of this Confirmation Order, or such claim will be forever barred and

  disallowed against the Reorganized Debtor.

                    R.          Assumption of Issuer Executory Contracts. On the Confirmation Date,

  the Debtor will assume the agreements set forth on Exhibit B hereto (collectively, the “Issuer

  Executory Contracts”) pursuant to section 365 of the Bankruptcy Code and Article V of the Plan.

  In full and complete satisfaction of its obligation to cure outstanding defaults under section

  365(b)(1) of the Bankruptcy Code, the Debtor or, as applicable, any successor manager under the




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  Issuer Executory Contracts (collectively, the “Portfolio Manager”) will pay to the Issuers 12 a

  cumulative amount of $525,000 (the “Cure Amount”) as follows:

           a.       $200,000 in cash on the date that is five business days from the Effective Date, with
                    such payment paid directly to Schulte Roth & Zabel LLP (“SRZ”) in the amount of
                    $85,714.29, Jones Walker LLP (“JW”) in the amount of $72,380.95, and Maples
                    Group (“Maples” and collectively with SRZ and JW, the “Issuers’ Counsel”) in the
                    amount of $41,904.76 as reimbursement for the attorney’s fees and other legal
                    expenses incurred by the Issuers in connection with the Debtor’s bankruptcy case;
                    and

           b.       $325,000 in four equal quarterly payments of $81,250.00 (each, a “Payment”),
                    which amounts shall be paid to SRZ in the amount of $34,821.43, JW in the amount
                    of $29,404.76, and Maples in the amount of $17,023.81 as additional
                    reimbursement for the attorney’s fees and other legal expenses incurred by the
                    Issuers in connection with the Debtor’s bankruptcy case (i) from any management
                    fees actually paid to the Portfolio Manager under the Issuer Executory Contracts
                    (the “Management Fees”), and (ii) on the date(s) Management Fees are required to
                    be paid under the Issuer Executory Contracts (the “Payment Dates”), and such
                    obligation shall be considered an irrevocable direction from the Debtor and the
                    Bankruptcy Court to the relevant CLO Trustee to pay, on each Payment Date, the
                    Payment to Issuers’ Counsel, allocated in the proportion set forth in such
                    agreement; provided, however, that (x) if the Management Fees are insufficient to
                    make any Payment in full on a Payment Date, such shortfall, in addition to any
                    other amounts due hereunder, shall be paid out of the Management Fees owed on
                    the following Payment Date, and (y) nothing herein shall limit either Debtor’s
                    liability to pay the amounts set forth herein, nor the recourse of the Issuers or
                    Issuers’ Counsel to the Debtor, in the event of any failure to make any Payment.

                    S.          Release of Issuer Claims. Effective as of the Confirmation Date, and to

  the maximum extent permitted by law, each Issuer on behalf of itself and each of its current and

  former advisors, trustees, directors, officers, managers, members, partners, employees,

  beneficiaries, shareholders, agents, participants, subsidiaries, parents, successors, designees, and

  12
    The “Issuers” are: Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland CLO 2018-1,
  Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd., Highland Park CDO I, Ltd., Pam Capital Funding
  LP, Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO Ltd., Westchester CLO, Ltd.,
  Aberdeen Loan Funding, Ltd., Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities CDO Ltd.,
  Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd., Red River CLO, Ltd., Valhalla CLO, Ltd.


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  assigns hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,

  remises, and exonerates, and covenants never to sue, (i) the Debtor and (ii) the Professionals

  retained by the Debtor and the Committee in the Chapter 11 Case, the Independent Directors, the

  CEO/CRO, and with respect to the Persons listed in this subsection (ii), such Person’s Related

  Persons (collectively, the “Debtor Released Parties”), for and from any and all claims, debts,

  liabilities, demands, obligations, promises, acts, agreements, liens, losses, costs and expenses

  (including, without limitation, attorney’s fees and related costs), damages, injuries, suits, actions,

  and causes of action of whatever kind or nature, whether known or unknown, suspected or

  unsuspected, matured or unmatured, liquidated or unliquidated, contingent or fixed, at law or in

  equity, statutory or otherwise, including, without limitation, any claims, defenses, and affirmative

  defenses, whether known or unknown, including, without limitation, those which were or could

  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively, the

  “Issuer Released Claims”).

                    T.          Release of Debtor Claims against Issuer Released Parties. Upon entry

  of this Order, and to the maximum extent permitted by law, the Debtor hereby forever, finally,

  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and

  covenants never to sue [(i) each Issuer and (ii) Wendy Ebanks, (iii) Yun Zheng, (iv) Laura

  Chisholm, (v) Mora Goddard, (vi) Stacy Bodden, (vii) Suzan Merren (viii) Scott Dakers, (ix) Samit

  Ghosh, (x) Inderjit Singh, (xi) Ellen Christian, (xii) Andrew Dean, (xiii) Betsy Mortel, (xiv) David

  Hogan, (xv) Cleveland Stewart, (xvi) Rachael Rankin, (xvii) Otelia Scott, (xviii) Martin Couch,

  (xx) Ferona Bartley-Davis, (xxi) Charlotte Cloete, (xxii) Christina McLean, (xxiii) Karen Ellerbe,



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  (xxiv) Gennie Kay Bigord, (xxv) Evert Brunekreef, (xxvii) Evan Charles Burtton (collectively,

  the “Issuer Released Parties”),] for and from any and all claims, debts, liabilities, demands,

  obligations, promises, acts, agreements, liens, losses, costs and expenses (including, without

  limitation, attorney’s fees and related costs), damages, injuries, suits, actions, and causes of action

  of whatever kind or nature, whether known or unknown, suspected or unsuspected, matured or

  unmatured, liquidated or unliquidated, contingent or fixed, at law or in equity, statutory or

  otherwise, including, without limitation, any claims, defenses, and affirmative defenses, whether

  known or unknown, which were or could have been asserted in, in connection with, or with respect

  to the Bankruptcy Case (collectively, the “Debtor Released Claims”); provided, however, that

  notwithstanding anything herein to the contrary, the release contained herein will apply to the

  Issuer Released Parties set forth in subsection (ii) above only with respect to Debtor Released

  Claims arising from or relating to the Issuer Executory Contracts. Notwithstanding anything in

  this Order to the contrary, the releases set forth in paragraphs S and T hereof will not apply with

  respect to the duties, rights, or obligations of the Debtor or any Issuer hereunder.

                    U.          Authorization to Consummate. The Debtor is authorized to consummate

  the Plan after the entry of this Confirmation Order subject to satisfaction or waiver of the

  conditions precedent to the Effective Date of the Plan set forth in Article VIII.A of the Plan. The

  Plan shall not become effective unless and until the conditions set forth in Article VIII.A of the

  Plan have been satisfied, or otherwise waived pursuant to Article VIII.B of the Plan.

                    V.          Professional Compensation. All requests for payment of Professional Fee

  Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date



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  must be filed no later than sixty (60) days after the Effective Date. The Bankruptcy Court shall

  determine the Allowed amounts of such Professional Fee Claims after notice and an opportunity

  for hearing in accordance with the procedures established by the Bankruptcy Code and the

  Bankruptcy Court. The Debtor shall fund the Professional Fee Reserve as provided under the Plan.

  The Reorganized Debtor shall pay Professional Fee Claims in Cash in the amounts the Bankruptcy

  Court allows. The Debtor is authorized to pay the pre-Effective Date fees and expenses of all

  ordinary course professionals in the ordinary course of business without the need for further

  Bankruptcy Court order or approval. From and after the Effective Date, any requirement that

  Professionals comply with sections 327 through 331 and 1103 (if applicable) of the Bankruptcy

  Code in seeking retention or compensation for services rendered after such date shall terminate,

  and the Reorganized Debtor or Claimant Trustee, as applicable, may employ and pay any

  Professional or Entity employed in the ordinary course of the Debtor’s business without any further

  notice to or action, order, or approval of the Bankruptcy Court.

                    W.          Release, Exculpation, Discharge, and Injunction Provisions.        The

  following release, exculpation, discharge, and injunction provisions set forth in the Plan are

  approved and authorized in their entirety, and such provisions are effective and binding on

  all parties and Entities to the extent provided therein.

                    X.          Discharge of Claims and Termination of Interests. To the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code,

  except as otherwise expressly provided by the Plan or this Confirmation Order, all consideration

  distributed under the Plan will be in exchange for, and in complete satisfaction, settlement,



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  discharge, and release of, all Claims and Equity Interests of any kind or nature whatsoever against

  the Debtor or any of its Assets or properties, and regardless of whether any property will have been

  distributed or retained pursuant to the Plan on account of such Claims or Equity Interests. Except

  as otherwise expressly provided by the Plan or this Confirmation Order, upon the Effective Date,

  the Debtor and its Estate will be deemed discharged and released under and to the fullest extent

  provided under section 1141(d)(1)(A) and other applicable provisions of the Bankruptcy Code

  from any and all Claims and Equity Interests of any kind or nature whatsoever, including, but not

  limited to, demands and liabilities that arose before the Confirmation Date, and all debts of the

  kind specified in section 502(g), 502(h), or 502(i) of the Bankruptcy Code.

                    Y.          Exculpation. Subject in all respects to Article XII.D of the Plan, to the

  maximum extent permitted by applicable law, no Exculpated Party will have or incur, and each

  Exculpated Party is hereby exculpated from, any claim, obligation, suit, judgment, damage,

  demand, debt, right, Cause of Action, remedy, loss, and liability for conduct occurring on or after

  the Petition Date in connection with or arising out of (i) the filing and administration of the Chapter

  11 Case; (ii) the negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation

  of votes for, or confirmation of, the Plan; (iii) the funding or consummation of the Plan (including

  the Plan Supplement) or any related agreements, instruments, or other documents, the solicitation

  of votes on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be

  issued pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan

  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any

  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(v);



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  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated Party

  arising out of or related to acts or omissions that constitute bad faith, fraud, gross negligence,

  criminal misconduct, or willful misconduct or (b) Strand or any Employee other than with respect

  to actions taken by such Entities from the date of appointment of the Independent Directors through

  the Effective Date. The Plan’s exculpation shall be in addition to, and not in limitation of, all other

  releases, indemnities, exculpations, any other applicable law or rules, or any other provisions of

  the Plan, including Article IV.C.2 of the Plan, protecting such Exculpated Parties from liability.

                    Z.          Releases by the Debtor. On and after the Effective Date, each Released

  Party is deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably, and forever

  released and discharged by the Debtor and the Estate, in each case on behalf of themselves and

  their respective successors, assigns, and representatives, including, but not limited to, the Claimant

  Trust and the Litigation Sub-Trust from any and all Causes of Action, including any derivative

  claims, asserted on behalf of the Debtor, whether known or unknown, foreseen or unforeseen,

  matured or unmatured, existing or hereafter arising, in law, equity, contract, tort or otherwise, that

  the Debtor or the Estate would have been legally entitled to assert in their own right (whether

  individually or collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor

  or other Person. Notwithstanding anything contained herein to the contrary, the foregoing release

  does not release: (i) any obligations of any party under the Plan or any document, instrument, or

  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee

  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect

  to any confidentiality provisions or covenants restricting competition in favor of the Debtor under



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  any employment agreement with a current or former employee of the Debtor, (iv) any Avoidance

  Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual

  fraud, or gross negligence of such applicable Released Party as determined by Final Order of the

  Bankruptcy Court or any other court of competent jurisdiction.

                    AA.         Injunction.   Upon entry of this Confirmation Order, all Enjoined

  Parties are and shall be permanently enjoined, on and after the Effective Date, from taking

  any actions to interfere with the implementation or consummation of the Plan. Except as

  expressly provided in the Plan, this Confirmation Order, or a separate order of the

  Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and after

  the Effective Date, with respect to any Claims and Equity Interests, from directly or

  indirectly (i) commencing, conducting, or continuing in any manner, any suit, action, or

  other proceeding of any kind (including any proceeding in a judicial, arbitral, administrative

  or other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,

  levying, attaching (including any prejudgment attachment), collecting, or otherwise

  recovering, enforcing, or attempting to recover or enforce, by any manner or means, any

  judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)

  creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or

  encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any

  right of setoff, directly or indirectly, against any obligation due to the Debtor or against

  property or interests in property of the Debtor, except to the limited extent permitted under

  Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,



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  in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

  The injunctions set forth in the Plan and this Confirmation Order shall extend to, and apply

  to any act of the type set forth in any of clauses (i)-(v) of the immediately preceding

  paragraph against any successors of the Debtor, including, but not limited to, the

  Reorganized Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective

  property and interests in property. Subject in all respects to Article XII.D of the Plan, no

  Enjoined Party may commence or pursue a claim or cause of action of any kind against any

  Protected Party that arose or arises from or is related to the Chapter 11 Case, the negotiation

  of the Plan, the administration of the Plan or property to be distributed under the Plan, the

  wind down of the business of the Debtor or Reorganized Debtor, the administration of the

  Claimant Trust or the Litigation Sub-Trust, or the transactions in furtherance of the

  foregoing without the Bankruptcy Court (i) first determining, after notice and a hearing,

  that such claim or cause of action represents a colorable claim of any kind, including, but

  not limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross

  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party to

  bring such claim or cause of action against any such Protected Party; provided, however, the

  foregoing will not apply to a claim or cause of action against Strand or against any Employee

  other than with respect to actions taken, respectively, by Strand or by such Employee from

  the date of appointment of the Independent Directors through the Effective Date. The

  Bankruptcy Court will have sole and exclusive jurisdiction to determine whether a claim or

  cause of action is colorable and, only to the extent legally permissible and as provided for in



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  Article XI of the Plan, shall have jurisdiction to adjudicate the underlying colorable claim or

  cause of action.

                    BB.         Duration of Injunction and Stays. Unless otherwise provided in the

  Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, (i) all

  injunctions and stays entered during the Chapter 11 Case and in existence on the

  Confirmation Date, shall remain in full force and effect in accordance with their terms; and

  (ii) the automatic stay arising under section 362 of the Bankruptcy Code shall remain in full

  force and effect subject to Section 362(c) of the Bankruptcy Code, and to the extent necessary

  if the Debtor does not receive a discharge, the Bankruptcy Court will enter an equivalent

  order under Section 105.

                    CC.         Continuance of January 9 Order and July 16 Order. Unless otherwise

  provided in the Plan, in this Confirmation Order, or in a Final Order of the Bankruptcy Court, each

  of the Order Approving Settlement with Official Committee of Unsecured Creditors Regarding

  Governance of the Debtor and Procedures for Operations in the Ordinary Course, entered by the

  Bankruptcy Court on January 9, 2020 [Docket No. 339] and Order Approving the Debtor’s Motion

  Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James P. Seery, Jr.,

  as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc Pro

  Tunc to March 15, 2020 [Docket No. 854] entered on July 16, 2020 shall remain in full force and

  effect from the Confirmation Date and following the Effective Date.

                    DD.         No Governmental Releases. Nothing in this Confirmation Order or the

  Plan shall effect a release of any claim by the United States Government or any of its agencies or



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  any state and local authority whatsoever, including without limitation any claim arising under the

  Internal Revenue Code, the environmental laws or any criminal laws of the United States or any

  state and local authority against any party or person, nor shall anything in this Confirmation Order

  or the Plan enjoin the United States or any state or local authority from bringing any claim, suit,

  action, or other proceedings against any party or person for any liability of such persons whatever,

  including without limitation any claim, suit, or action arising under the Internal Revenue Code,

  the environmental laws or any criminal laws of the United States or any state and local authority

  against such persons, nor shall anything in this Confirmation Order or the Plan exculpate any party

  or person from any liability to the United States Government or any of its agencies or any state

  and local authority whatsoever, including any liabilities arising under the Internal Revenue Code,

  the environmental laws, or any criminal laws of the United States or any state and local authority

  against any party or person.

                    EE.         Exemption from Transfer Taxes. Pursuant to section 1146(a) of the

  Bankruptcy Code, any transfers (whether from the Debtor to the Reorganized Debtor or to any

  other Person) of property under the Plan or pursuant to: (a) the issuance, distribution, transfer, or

  exchange of any debt, equity security, or other interest in the Debtor or the Reorganized Debtor;

  (b) the Restructuring transactions pursuant to the Plan; (c) the creation, modification,

  consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other

  security interest, or the securing of additional indebtedness by such or other means; (d) the making,

  assignment, or recording of any lease or sublease; or (e) the making, delivery, or recording of any

  deed or other instrument of transfer under, in furtherance of, or in connection with, the Plan,



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  including any deeds, bills of sale, assignments, or other instrument of transfer executed in

  connection with any transaction arising out of, contemplated by, or in any way related to the Plan,

  shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or

  similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial

  Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental

  assessment to the fullest extent contemplated by section 1146(a) of the Bankruptcy Code, and upon

  entry of this Confirmation Order, the appropriate state or local governmental officials or agents

  shall forego the collection of any such tax or governmental assessment and accept for filing and

  recordation of any of the foregoing instruments or other documents without the payment of any

  such tax, recordation fee, or governmental assessment.

                    FF.         Cancellation of Notes, Certificates and Instruments. Except for the

  purpose of evidencing a right to a distribution under the Plan and except as otherwise set forth in

  the Plan or as otherwise provided in this Confirmation Order, on the Effective Date, all agreements,

  instruments, Securities and other documents evidencing any prepetition Claim or Equity Interest

  and any rights of any Holder in respect thereof shall be deemed cancelled, discharged, and of no

  force or effect. The holders of or parties to such cancelled instruments, Securities, and other

  documentation will have no rights arising from or related to such instruments, Securities, or other

  documentation or the cancellation thereof, except the rights provided for pursuant to the Plan, and

  the obligations of the Debtor thereunder or in any way related thereto will be fully released,

  terminated, extinguished and discharged, in each case without further notice to or order of the




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  Bankruptcy Court, act or action under applicable law, regulation, order, or rule or any requirement

  of further action, vote or other approval or authorization by any Person.

                    GG.         Documents, Mortgages, and Instruments.            Each federal, state,

  commonwealth, local, foreign, or other governmental agency is authorized to accept any and all

  documents, mortgages, and instruments necessary or appropriate to effectuate, implement, or

  consummate the Plan, including the Restructuring transactions contemplated under the Plan, and

  this Confirmation Order.

                    HH.         Post-Confirmation Modifications.     Subject section 1127(b) of the

  Bankruptcy Code and the Plan, the Debtor and the Reorganized Debtor expressly reserve their

  rights to revoke or withdraw, or to alter, amend, or modify materially the Plan, one or more times

  after Confirmation and, to the extent necessary, may initiate proceedings in the Bankruptcy Court

  to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any

  inconsistencies in the Plan or this Confirmation Order, in such manner as may be necessary to

  carry out the purposes and intent of the Plan. Any such modification or supplement shall be

  considered a modification of the Plan and shall be made in accordance with Article XII.B of the

  Plan.

                    II.         Applicable Nonbankruptcy Law. The provisions of this Confirmation

  Order, the Plan and related documents, or any amendments or modifications thereto, shall apply

  and be enforceable notwithstanding any otherwise applicable nonbankruptcy law.

                    JJ.         Governmental Approvals Not Required. This Confirmation Order shall

  constitute all approvals and consents required, if any, by the laws, rules, or regulations of any state,



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  federal, or other governmental authority with respect to the dissemination, implementation, or

  consummation of the Plan and the Disclosure Statement, any certifications, documents,

  instruments or agreements, and any amendments or modifications thereto, and any other acts

  referred to in, or contemplated by, the Plan and the Disclosure Statement.

                    KK.         Notice of Effective Date. As soon as reasonably practicable after the

  Effective Date, the Reorganized Debtor shall file notice of the Effective Date and shall serve a

  copy of the same on all Holders of Claims and Equity Interests, and all parties who have filed with

  the Bankruptcy Court requests to receive notices in accordance with Bankruptcy Rules 2002 and

  3020(c). Notwithstanding the above, no notice of Confirmation or Consummation or service of

  any kind shall be required to be mailed or made upon any Entity to whom the Debtor mailed notice

  of the Confirmation Hearing, but received such notice returned marked “undeliverable as

  addressed,” “moved, left no forwarding address” or “forwarding order expired,” or similar reason,

  unless the Debtor has been informed in writing by such Entity, or is otherwise aware, of that

  Entity’s new address. The above-referenced notices are adequate under the particular

  circumstances of this Chapter 11 Case and no other or further notice is necessary.

                    LL.         Substantial Consummation. On the Effective Date, the Plan shall be

  deemed to be substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

                    MM. Waiver of Stay. For good cause shown, the stay of this Confirmation Order

  provided by any Bankruptcy Rule is waived, and this Confirmation Order shall be effective and

  enforceable immediately upon its entry by the Bankruptcy Court.




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                    NN.         References to and Omissions of Plan Provisions. References to articles,

  sections, and provisions of the Plan are inserted for convenience of reference only and are not

  intended to be a part of or to affect the interpretation of the Plan. The failure to specifically include

  or to refer to any particular article, section, or provision of the Plan in this Confirmation Order

  shall not diminish or impair the effectiveness of such article, section, or provision, it being the

  intent of the Bankruptcy Court that the Plan be confirmed in its entirety, except as expressly

  modified herein, and incorporated herein by this reference.

                    OO.         Headings. Headings utilized herein are for convenience and reference only,

  and do not constitute a part of the Plan or this Confirmation Order for any other purpose.

                    PP.         Effect of Conflict. This Confirmation Order supersedes any Bankruptcy

  Court order issued prior to the Confirmation Date that may be inconsistent with this Confirmation

  Order.    If there is any inconsistency between the terms of the Plan and the terms of this

  Confirmation Order, the terms of this Confirmation Order govern and control. If there is any

  inconsistency between the terms of this Confirmation Order and the terms of a final, executed Plan

  Supplement Document, the terms of the final, executed Plan Supplement Document will govern

  and control.

                    QQ.         Resolution of Objection of Texas Taxing Authorities. Dallas County,

  Kaufman County, City of Allen, Allen ISD and City of Richardson (collectively, the “Tax

  Authorities”) assert that they are the holders of prepetition and administrative expense claims for

  2019, 2020 and 2021 ad valorem real and business personal property taxes. The ad valorem

  property taxes for tax year 2020 shall be paid in accordance with and to the extent required under



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  applicable nonbankruptcy law. In the event the 2020 taxes are paid after February 1, 2021, the

  Tax Authorities may assert any rights and amounts they claim are owed with respect to penalties

  and interest that have accrued through the date of payment and the Debtor and Reorganized Debtor

  reserve any all rights and defenses in connection therewith.

           a.       The Debtor/Reorganized Debtor shall pay all amounts owed to the Tax Authorities
                    for tax year 2021 in accordance with and to the extent required under applicable
                    nonbankruptcy law. The Tax Authorities shall not be required to file and serve an
                    administrative expense claim and request for payment as a condition of allowance
                    of their administrative expense claims pursuant to 11 U.S.C. Section 503(b)(1)(D).
                    With regard to year 2019 ad valorem property taxes, the Tax Authorities will
                    receive payment of their prepetition claims within 30 days of the Effective Date of
                    the Plan. The payment will include interest from the Petition Date through the
                    Effective Date and from the Effective Date through payment in full at the state
                    statutory rate pursuant to 11 U.S.C. Sections 506(b), 511, and 1129, if applicable,
                    subject to all of the Debtor’s and Reorganized Debtor’s rights and defenses in
                    connection therewith. Notwithstanding any other provision in the Plan, the Tax
                    Authorities shall (i) retain the liens that secure all prepetition and postpetition
                    amounts ultimately owed to them, if any, as well as (ii) the state law priority of
                    those liens until the claims are paid in full.

           b.       The Tax Authorities’ prepetition claims and their administrative expense claims
                    shall not be discharged until such time as the amounts owed are paid in full. In the
                    event of a default asserted by the Taxing Authorities, the Tax Authorities shall
                    provide notice Debtor or Reorganized Debtor, as applicable, and may demand cure
                    of any such asserted default. Subject to all of its rights and defenses, the Debtor or
                    Reorganized Debtor shall have fifteen (15) days from the date of the notice to cure
                    the default. If the alleged default is not cured, the Tax Authorities may exercise
                    any of their respective rights under applicable law and pursue collection of all
                    amounts owed pursuant to state law outside of the Bankruptcy Court, subject in all
                    respects to the Debtor’s and Reorganized Debtor’s applicable rights and defenses.
                    The Debtor/Reorganized Debtor shall be entitled to any notices of default required
                    under applicable nonbankruptcy law and each of the Taxing Authorities, the Debtor
                    and the Reorganized Debtor reserve any and all of their respective rights and
                    defenses in connection therewith. The Debtor’s and Reorganized Debtor’s rights
                    and defenses under Texas Law and the Bankruptcy Code with respect to this
                    provision of the Confirmation Order, including their right to dispute or object to the
                    Tax Authorities’ Claims and liens, are fully preserved.



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                    RR.         Resolution of Objections of Scott Ellington and Isaac Leventon.

  Pursuant to Bankruptcy Rule 9019(a), the Senior Employees’ Settlement is approved in all

  respects. The Debtor may, only with the consent of the Committee, elect Option B for a Senior

  Employee Claimant by written notice to such Senior Employee Claimant on or before the

  occurrence of the Effective Date. If the Debtor does not elect Option B, then Option A will govern

  the treatment of the Liquidated Bonus Claims.

           a.       Notwithstanding any language in the Plan, the Disclosure Statement, or this
                    Confirmation Order to the contrary, if Option A applies to the Liquidated Bonus
                    Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims of such
                    Senior Employee Claimant will receive the treatment described in paragraph 82(e)
                    hereof, and if the Debtor timely elects Option B with respect to the Liquidated
                    Bonus Claims of a Senior Employee Claimant, then the Liquidated Bonus Claims
                    of such Senior Employee will receive the treatment described in paragraph 82(f)
                    hereof.

           b.       The Senior Employees’ Settlement is hereby approved, without prejudice to the
                    respective rights of Mr. Ellington and Mr. Leventon to assert all their remaining
                    Claims against the Debtor’s estate, including, but not limited to, their Class 6 PTO
                    Claims, their remaining Class 8 General Unsecured Claims, any indemnification
                    claims, and any Administrative Expense Claims that they may assert and is without
                    prejudice to the rights of any party in interest to object to any such Claims.

           c.       Pursuant to Bankruptcy Rule 3018(a), Mr. Ellington and Mr. Leventon were
                    permitted to change their votes on the Plan. Accordingly, Mr. Ellington’s votes on
                    his Ballots in Class 7 and Class 8 of the Plan were changed from a rejection of the
                    Plan to acceptance of the Plan, and Mr. Leventon’s votes on his Ballots in Class 7
                    and Class 8 of the Plan were, changed from rejections of the Plan to acceptances of
                    the Plan.

           d.       The Senior Employees’ Objection is deemed withdrawn.

                    SS.         No Release of Claims Against Senior Employee Claimants. For the

  avoidance of doubt, the Senior Employees’ Settlement, as approved herein, shall not, and shall not

  be deemed to, release any Claims or Causes of Action held by the Debtor against either Senior


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  Employee Claimant nor shall either Senior Employee Claimant be, or be deemed to be, a “Released

  Party” under the Plan.

                    TT.         Resolution of Objection of Internal Revenue Service. Notwithstanding

  any other provision or term of the Plan or Confirmation Order, the following Default Provision

  shall control as to the United States of America, Internal Revenue Service (“IRS”) and all of its

  claims, including any administrative claim (the “IRS Claim”):

           (a) Notwithstanding any other provision in the Plan, if the Debtor, the Reorganized Debtor,
           or any successor in interest fails to pay when due any payment required to be made on
           federal taxes, the IRS Claim, or other payment required to be made to the IRS under the
           terms and provisions of this Plan, the Confirmation Order, or the Internal Revenue Code
           (26 U.S.C.), or fails to timely file any required federal tax return, or if any other event of
           default as set forth in the Plan occurs, the IRS shall be entitled to give the Debtor, the
           Reorganized Debtor and/or any successor in interest and their counsel of record, by United
           States Certified Mail, written notice of the failure and/or default with demand that it be
           cured, and if the failure and/or default is not cured within 14 days of the date of said notice
           and demand, then the following shall apply to the IRS:

                        (1) The administrative collection powers and the rights of the IRS shall
                    be reinstated as they existed prior to the filing of the bankruptcy petition,
                    including, but not limited to, the assessment of taxes, the filing of a notice
                    of Federal tax lien and the powers of levy, seizure, and collection as
                    provided under the Internal Revenue Code;

                        (2) The automatic stay of 11 U.S.C. § 362 and any injunction of the
                    Plan or in the Confirmation Order shall, with regard to the IRS only, lift or
                    terminate without further notice or hearing by the Bankruptcy Court, and
                    the entire prepetition liability owed to the IRS, together with any unpaid
                    postpetition tax liabilities, may become due and payable immediately; and

                        (3) The IRS shall have the right to proceed to collect from the Debtor,
                    the Reorganized Debtor or any successor in interest any of the prepetition
                    tax liabilities and related penalties and interest through administrative or
                    judicial collection procedures available under the United States Code as if
                    no bankruptcy petition had been filed and as if no plan had been confirmed.

           (b) If the IRS declares the Debtor, the Reorganized Debtor, or any successor-in-interest to
           be in default of the Debtor’s, the Reorganized Debtor’s and/ or any successor- in-interest’s
           obligations under the Plan, then entire prepetition liability of an IRS’ Allowed Claim,
           together with any unpaid postpetition tax liabilities shall become due and payable

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           immediately upon written demand to the Debtor, Reorganized Debtor and/or any
           successor-in-interest. Failure of the IRS to declare a failure and/or default does not
           constitute a waiver by the United States or its agency the IRS of the right to declare that
           the Debtor, Reorganized Debtor, and/or any successor in interest is in default.

           (c) The IRS shall only be required to send two notices of failure and/or default, and upon
           the third event of a failure and/or default, the IRS shall be entitled to proceed as set out in
           paragraphs (1), (2), and/or (3) herein above without further notice to the Debtor, the
           Reorganized Debtor, or any successor in interest, or its counsel. The collection statute
           expiration date for all unpaid federal tax liabilities shall be extended pursuant to non-
           bankruptcy law.

           (d) The Internal Revenue Service shall not be bound by any release provisions in the Plan
           that would release any liability of the responsible persons of the Debtor, the Reorganized
           Debtor, and/or any successor in interest to the IRS. The Internal Revenue Service may
           take such actions as it deems necessary to assess any liability that may be due and owing
           by the responsible persons of the Debtor, the Reorganized Debtor and/or any successor in
           interest to the Internal Revenue Service.

           (e) Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver
           or relinquishment of any rights, claims, causes of action, rights of setoff or recoupment,
           rights to appeal tax assessments, or other legal or equitable defenses that the Debtor or
           Reorganized Debtor have under non-bankruptcy law in connection with any claim, liability
           or cause of action of the United States and its agency the Internal Revenue Service.

           (f) The term “any payment required to be made on federal taxes,” as used herein above, is
           defined as: any payment or deposit required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full. The term “any required tax return,” as used herein above, is
           defined as: any tax return or report required by the Internal Revenue Code to be made by
           the Debtor from and after the Confirmation Date, or the Reorganized Debtor and/or any
           successor in interest from and after the Effective Date, to the date the IRS Claim is together
           with interest paid in full.

                    UU.         IRS Proof of Claim. Notwithstanding anything in the Plan or in this

  Confirmation Order, until all required tax returns are filed with and processed by the IRS, the IRS’s

  proof of claim will not be deemed fixed for purposes of Section 502 of the Bankruptcy Code and

  may be amended in order to reflect the IRS’ assessment of the Debtor’s unpaid priority and general

  unsecured taxes, penalties and interest.




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                    VV.         CLO Holdco, Ltd. Settlement        Notwithstanding anything contained

  herein to the contrary, nothing in this Order is or is intended to supersede the rights and obligations

  of either the Debtor or CLO Holdco contained in that certain Settlement Agreement between CLO

  Holdco, Ltd., and Highland Capital Management, L.P., dated January 25,2021 [Docket No. 1838-

  1] (the “CLOH Settlement Agreement”). In the event of any conflict between the terms of this

  Order and the terms of the CLOH Settlement Agreement, the terms of the CLOH Settlement

  Agreement will govern.

                    WW. Retention of Jurisdiction. The Bankruptcy Court may properly, and upon

  the Effective Date shall, to the maximum extent permitted under applicable law, retain jurisdiction

  over all matters arising out of, and related to, this Chapter 11 Case, including the matters set forth

  in Article XI of the Plan and section 1142 of the Bankruptcy Code.

                    XX.         Payment of Statutory Fees; Filing of Quarterly Reports.         All fees

  payable pursuant to 28 U.S.C. § 1930 shall be paid on or before the Effective Date. The

  Reorganized Debtor, the Claimant Trust, and the Litigation Sub-Trust shall be jointly and severally

  liable for payment of quarterly fees to the Office of the United States Trustee pursuant to 28 U.S.C.

  § 1930 through the entry of the Final Decree for the Debtor or the dismissal or conversion of the

  Chapter 11 Case. Notwithstanding anything to the contrary in the Plan, the U.S. Trustee shall not

  be required to file any proofs of claim with respect to quarterly fees payable pursuant to 28 U.S.C.

  § 1930.

                    YY.         Dissolution of the Committee. On the Effective Date, the Committee will

  dissolve, and the members of the Committee and the Committee’s Professionals will cease to have



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  any role arising from or relating to the Chapter 11 Case, except in connection with final fee

  applications of Professionals for services rendered prior to the Effective Date (including the right

  to object thereto). Notwithstanding the foregoing, any Committee member or Professional may

  serve following the Effective Date with respect to the Claimant Trust Oversight Board or Litigation

  Sub-Trust. The Professionals retained by the Committee and the members thereof will not be

  entitled to assert any fee claims for any services rendered to the Committee or expenses incurred

  in the service of the Committee after the Effective Date, except for reasonable fees for services

  rendered, and actual and necessary costs incurred, in connection with any applications for

  allowance of Professional Fees pending on the Effective Date or filed and served after the Effective

  Date pursuant to the Plan. Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or

  Committee’s Professionals to represent either of the Trustees or to be compensated or reimbursed

  per the Plan, the Claimant Trust Agreement, and/or Litigation Sub-Trust in connection with such

  representation.

                    ZZ.         Miscellaneous.   After the Effective Date, the Debtor or Reorganized

  Debtor, as applicable, shall have no obligation to file with the Bankruptcy Court or serve on any

  parties reports that the Debtor or Reorganized Debtor, as applicable, were obligated to file under

  the Bankruptcy Code or a court order, including monthly operating reports (even for those periods

  for which a monthly operating report was not filed before the Effective Date), ordinary course

  professional reports, reports to any parties otherwise required under the “first” and “second” day

  orders entered in this Chapter 11 Case (including any cash collateral financing orders entered in

  this Chapter 11 Case) and monthly or quarterly reports for Professionals; provided, however, that



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  the Debtor or Reorganized Debtor, as applicable, will comply with the U.S. Trustee’s post

  confirmation reporting requirements.

                                   ###END OF ORDER###




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                                           Exhibit A

                                Fifth Amended Plan (as Modified)




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                                     )
      In re:                                                         )   Chapter 11
                                                                     )
      HIGHLAND CAPITAL MANAGEMENT, L.P., 1                           )   Case No. 19-34054-sgj11
                                                                     )
                                       Debtor.                       )
                                                                     )

               FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                      CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

  PACHULSKI STANG ZIEHL & JONES LLP                              HAYWARD & ASSOCIATES PLLC
  Jeffrey N. Pomerantz (CA Bar No.143717)                        Melissa S. Hayward (TX Bar No. 24044908)
  Ira D. Kharasch (CA Bar No. 109084)                            Zachery Z. Annable (TX Bar No. 24053075)
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  Email: jpomerantz@pszjlaw.com                                          ZAnnable@HaywardFirm.com:
          ikharasch@pszjlaw.com
          gdemo@pszjlaw.com

                               Counsel for the Debtor and Debtor-in-Possession




  1
    The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
  for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


          HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in the
  above-captioned case (the “Debtor”), proposes the following chapter 11 plan of reorganization (the
  “Plan”) for, among other things, the resolution of the outstanding Claims against, and Equity
  Interests in, the Debtor. Unless otherwise noted, capitalized terms used in this Plan have the
  meanings set forth in Article I of this Plan. The Debtor is the proponent of this Plan within the
  meaning of section 1129 of the Bankruptcy Code.

          Reference is made to the Disclosure Statement (as such term is defined herein and
  distributed contemporaneously herewith) for a discussion of the Debtor’s history, business, results
  of operations, historical financial information, projections and assets, and for a summary and
  analysis of this Plan and the treatment provided for herein. There also are other agreements and
  documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or the
  Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan Documents are
  incorporated into and are a part of this Plan as if set forth in full herein. Subject to the other
  provisions of this Plan, and in accordance with the requirements set forth in section 1127 of the
  Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to alter, amend, modify,
  revoke, or withdraw this Plan prior to the Effective Date.

          If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
  this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

  A.     Rules of Interpretation, Computation of Time and Governing Law

           For purposes hereof: (a) in the appropriate context, each term, whether stated in the
  singular or the plural, shall include both the singular and the plural, and pronouns stated in the
  masculine, feminine or neuter gender shall include the masculine, feminine and the neuter gender;
  (b) any reference herein to a contract, lease, instrument, release, indenture or other agreement or
  document being in a particular form or on particular terms and conditions means that the referenced
  document, as previously amended, modified or supplemented, if applicable, shall be substantially
  in that form or substantially on those terms and conditions; (c) any reference herein to an existing
  document or exhibit having been Filed or to be Filed shall mean that document or exhibit, as it
  may thereafter be amended, modified or supplemented in accordance with its terms; (d) unless
  otherwise specified, all references herein to “Articles,” “Sections,” “Exhibits” and “Plan
  Documents” are references to Articles, Sections, Exhibits and Plan Documents hereof or hereto;
  (e) unless otherwise stated, the words “herein,” “hereof,” “hereunder” and “hereto” refer to this
  Plan in its entirety rather than to a particular portion of this Plan; (f) captions and headings to
  Articles and Sections are inserted for convenience of reference only and are not intended to be a
  part of or to affect the interpretation hereof; (g) any reference to an Entity as a Holder of a Claim
  or Equity Interest includes such Entity’s successors and assigns; (h) the rules of construction set



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  forth in section 102 of the Bankruptcy Code shall apply; (i) any term used in capitalized form
  herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
  Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
  Rules, as the case may be; and (j) “$” or “dollars” means Dollars in lawful currency of the United
  States of America. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any
  period of time prescribed or allowed herein.

  B.     Defined Terms

        Unless the context otherwise requires, the following terms shall have the following
  meanings when used in capitalized form herein:

              1.    “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                 2.      “Administrative Expense Claim” means any Claim for costs and expenses
  of administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
  507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
  necessary costs and expenses incurred after the Petition Date and through the Effective Date of
  preserving the Estate and operating the business of the Debtor; and (b) all fees and charges assessed
  against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United
  States Code, and that have not already been paid by the Debtor during the Chapter 11 Case and a
  Professional Fee Claim.

                 3.      “Administrative Expense Claims Bar Date” means, with respect to any
  Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
  the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
  the Effective Date.

                4.      “Administrative Expense Claims Objection Deadline” means, with respect
  to any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
  (b) sixty (60) days after the timely Filing of the applicable request for payment of such
  Administrative Expense Claim; provided, however, that the Administrative Expense Claims
  Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
  Trustee.

                   5.     “Affiliate” of any Person means any Entity that, with respect to such Person,
  either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
  “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
  through one or more intermediaries, controls, is controlled by, or is under common control with,
  such Person. For the purposes of this definition, the term “control” (including, without limitation,
  the terms “controlled by” and “under common control with”) means the possession, directly or
  indirectly, of the power to direct or cause the direction in any respect of the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise.

                  6.     “Allowed” means, with respect to any Claim, except as otherwise provided
  in the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
  Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy


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 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not unliquidated,
 and not disputed and for which no Proof of Claim has been timely filed; (c) a Claim Allowed
 pursuant to the Plan or an order of the Bankruptcy Court that is not stayed pending appeal; or (d)
 a Claim that is not Disputed (including for which a Proof of Claim has been timely filed in a
 liquidated and noncontingent amount that has not been objected to by the Claims Objection
 Deadline or as to which any such objection has been overruled by Final Order); provided, however,
 that with respect to a Claim described in clauses (a) and (b) above, such Claim shall be considered
 Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
 thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy
 Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is so interposed and
 the Claim shall have been Allowed as set forth above.

                 7.     “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of
 the type that has been Allowed.

               8.      “Assets” means all of the rights, titles, and interest of the Debtor,
 Reorganized Debtor, or Claimant Trust, in and to property of whatever type or nature, including,
 without limitation, real, personal, mixed, intellectual, tangible, and intangible property, the
 Debtor’s books and records, and the Causes of Action.

                 9.     “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the sole
 discretion of the Claimant Trustee.

                 10.     “Avoidance Actions” means any and all avoidance, recovery, subordination
 or other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or under
 similar state or federal statutes and common law, including fraudulent transfer laws

                11.      “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12.   “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13.    “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and
 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for
 the Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.




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                 15.     “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
 the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which deadlines
 may be or have been extended for certain Claimants by order of the Bankruptcy Court.

               16.     “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
 Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                17.     “Business Day” means any day, other than a Saturday, Sunday or “legal
 holiday” (as defined in Bankruptcy Rule 9006(a)).

                18.     “Cash” means the legal tender of the United States of America or the
 equivalent thereof.

                 19.      “Causes of Action” means any action, claim, cross-claim, third-party claim,
 cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
 obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
 license and franchise of any kind or character whatsoever, in each case whether known, unknown,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
 unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
 secured or unsecured, assertable directly or derivatively (including, without limitation, under alter
 ego theories), whether arising before, on, or after the Petition Date, in contract or in tort, in law or
 in equity or pursuant to any other theory of law. For the avoidance of doubt, Cause of Action
 includes, without limitation,: (a) any right of setoff, counterclaim or recoupment and any claim for
 breach of contract or for breach of duties imposed by law or in equity; (b) the right to object to
 Claims or Equity Interests; (c) any claim pursuant to section 362 or chapter 5 of the Bankruptcy
 Code; (d) any claim or defense including fraud, mistake, duress and usury, and any other defenses
 set forth in section 558 of the Bankruptcy Code; (e) any claims under any state or foreign law,
 including, without limitation, any fraudulent transfer or similar claims; (f) the Avoidance Actions,
 and (g) the Estate Claims. The Causes of Action include, without limitation, the Causes of Action
 belonging to the Debtor’s Estate listed on the schedule of Causes of Action to be filed with the
 Plan Supplement.

                 20.    “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
 and chief restructuring officer.

                21.    “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
 Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
 transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
 Management, L.P., Case No. 19-34054-sgj-11.

               22.    “Claim” means any “claim” against the Debtor as defined in section 101(5)
 of the Bankruptcy Code.

              23.     “Claims Objection Deadline” means the date that is 180 days after the
 Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
 Bankruptcy Court upon a motion by the Claimant Trustee.




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               24.    “Claimant Trust” means the trust established for the benefit of the Claimant
 Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
 Claimant Trust Agreement.

              25.      “Claimant Trust Agreement” means the agreement Filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                 26.     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
 Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
 but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
 such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
 from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
 or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
 (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
 that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
 Reorganized Debtor Assets.

                 27.    “Claimant Trust Beneficiaries” means the Holders of Allowed General
 Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
 Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
 following the Effective Date, and, only upon certification by the Claimant Trustee that the Holders
 of such Claims have been paid indefeasibly in full plus, to the extent all Allowed unsecured Claims,
 excluding Subordinated Claims, have been paid in full, post-petition interest from the Petition Date
 at the Federal Judgment Rate in accordance with the terms and conditions set forth in the Claimant
 Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been resolved, Holders of
 Allowed Class B/C Limited Partnership Interests, and Holders of Allowed Class A Limited
 Partnership Interests.

                  28.    “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
 officer and chief restructuring officer, or such other Person identified in the Plan Supplement who
 will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation Order,
 and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance with)
 the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among other things,
 monetizing the Estate’s investment assets, resolving Claims (other than those Claims assigned to
 the Litigation Sub-Trust for resolution), and, as the sole officer of New GP LLC, winding down
 the Reorganized Debtor’s business operations.

                29.     “Claimant Trust Expenses” means all reasonable legal and other reasonable
 professional fees, costs, and expenses incurred by the Trustees on account of administration of the
 Claimant Trust, including any reasonable administrative fees and expenses, reasonable attorneys’
 fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and other
 expenses.

               30.     “Claimant Trust Interests” means the non-transferable interests in the
 Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan; provided,
 however, Holders of Class A Limited Partnership Interests, Class B Limited Partnership Interests,
 and Class C Limited Partnership Interests will not be deemed to hold Claimant Trust Interests



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 unless and until the Contingent Claimant Trust Interests distributed to such Holders vest in
 accordance with the terms of this Plan and the Claimant Trust Agreement.

               31.      “Claimant Trust Oversight Committee” means the committee of five
 Persons established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s
 performance of its duties and otherwise serve the functions described in this Plan and the Claimant
 Trust Agreement.

               32.    “Class” means a category of Holders of Claims or Equity Interests as set
 forth in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                33.    “Class A Limited Partnership Interest” means the Class A Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by The Dugaboy
 Investment Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela
 Okada – Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                34.     “Class B Limited Partnership Interest” means the Class B Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

               35.     “Class B/C Limited Partnership Interests” means, collectively, the Class B
 Limited Partnership and Class C Limited Partnership Interests.

                36.     “Class C Limited Partnership Interest” means the Class C Limited
 Partnership Interests as defined in the Limited Partnership Agreement held by Hunter Mountain
 Investment Trust.

                37.      “Committee” means the Official Committee of Unsecured Creditors
 appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
 consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
 (iii) UBS, and (iv) Acis.

                38.    “Confirmation Date” means the date on which the clerk of the Bankruptcy
 Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                39.    “Confirmation Hearing” means the hearing held by the Bankruptcy Court
 pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
 hearing may be adjourned or continued from time to time.

                40.     “Confirmation Order” means the order of the Bankruptcy Court confirming
 this Plan pursuant to section 1129 of the Bankruptcy Code.

               41.     “Convenience Claim” means any prepetition, liquidated, and unsecured
 Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
 any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
 doubt, the Reduced Employee Claims will be Convenience Claims.




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                 42.     “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
 available upon the Effective Date for distribution to Holders of Convenience Claims under the
 Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all distributions
 on account of Convenience Claims have been made will be transferred to the Claimant Trust and
 administered as a Claimant Trust Asset.

                 43.    “Convenience Class Election” means the option provided to each Holder of
 a General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
 to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
 Claims.

                 44.      “Contingent Claimant Trust Interests” means the contingent Claimant Trust
 Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
 Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in accordance
 with this Plan, the rights of which shall not vest, and consequently convert to Claimant Trust
 Interests, unless and until the Claimant Trustee Files a certification that all holders of Allowed
 General Unsecured Claims have been paid indefeasibly in full, plus, to the extent all Allowed
 unsecured Claims, excluding Subordinated Claims, have been paid in full, all accrued and unpaid
 post-petition interest from the Petition Date at the Federal Judgment Rate and all Disputed Claims
 in Class 8 and Class 9 have been resolved. As set forth in the Claimant Trust Agreement, the
 Contingent Claimant Trust Interests distributed to the Holders of Class A Limited Partnership
 Interests will be subordinated to the Contingent Claimant Trust Interests distributed to the Holders
 of Class B/C Limited Partnership Interests.

               45.     “Debtor” means Highland Capital Management, L.P. in its capacity as
 debtor and debtor in possession in the Chapter 11 Case.

                 46.     “Delaware Bankruptcy Court” means the United States Bankruptcy Court
 for the District of Delaware.

                47.      “Disclosure Statement” means that certain Disclosure Statement for
 Debtor’s Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or
 modified from time to time, which describes this Plan, including all exhibits and schedules thereto
 and references therein that relate to this Plan.

                48.      “Disputed” means with respect to any Claim or Equity Interest, any Claim
 or Equity Interest that is not yet Allowed.

                49.    “Disputed Claims Reserve” means the appropriate reserve(s) or account(s)
 to be established on the Initial Distribution Date and maintained by the Claimant Trustee for
 distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

               50.     “Disputed Claims Reserve Amount” means, for purposes of determining the
 Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
 Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
 The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
 be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
 the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or Reorganized


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 Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters an order
 disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the Bankruptcy
 Court, including an order estimating the Disputed Claim.

               51.     “Distribution Agent” means the Claimant Trustee, or any party designated
 by the Claimant Trustee to serve as distribution agent under this Plan.

                 52.     “Distribution Date” means the date or dates determined by the Reorganized
 Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon which
 the Distribution Agent shall make distributions to holders of Allowed Claims and Interests entitled
 to receive distributions under the Plan.

                53.     “Distribution Record Date” means the date for determining which Holders
 of Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
 the Effective Date or such later date determined by the Bankruptcy Court.

                54.   “Effective Date” means the Business Day that this Plan becomes effective
 as provided in ARTICLE VIII hereof.

                55.     “Employees” means the employees of the Debtor set forth in the Plan
 Supplement.

                 56.     “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
 Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
 voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
 James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion, objection,
 or other pleading in this Chapter 11 Case regardless of the capacity in which such Entity appeared
 and any other party in interest, (iv) any Related Entity, and (v) the Related Persons of each of the
 foregoing.

               57.    “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
 Code and also includes any Person or any other entity.

                 58.     “Equity Interest” means any Equity Security in the Debtor, including,
 without limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of
 stock or limited company interests, the Class A Limited Partnership Interests, the Class B Limited
 Partnership Interests, and the Class C Limited Partnership Interests.

               59.    “Equity Security” means an “equity security” as defined in section 101(16)
 of the Bankruptcy Code.

                60.    “Estate” means the bankruptcy estate of the Debtor created by virtue of
 section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

               61.     “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
 Final Term Sheet [D.I. 354].




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                 62.     “Exculpated Parties” means, collectively, (i) the Debtor and its successors
 and assigns, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee,
 (vi) the members of the Committee (in their official capacities), (vii) the Professionals retained by
 the Debtor and the Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related
 Persons of each of the parties listed in (iv) through (viii); provided, however, that, for the avoidance
 of doubt, none of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its
 subsidiaries and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
 subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd.
 (and any of its subsidiaries, members, and managed entities), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
 subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
 Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
 term “Exculpated Party.”

                 63.    “Executory Contract” means a contract to which the Debtor is a party that
 is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                64.     “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement
 (as such exhibits are amended, modified or otherwise supplemented from time to time), which are
 incorporated by reference herein.

               65.     “Federal Judgment Rate” means the post-judgment interest rate set forth in
 28 U.S.C. § 1961 as of the Effective Date.

                 66.    “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
 Court or its authorized designee in the Chapter 11 Case.

                  67.     “Final Order” means an order or judgment of the Bankruptcy Court, which
 is in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
 new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
 or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
 any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
 waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or the
 Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
 reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
 been determined by the highest court to which such order was appealed, or certiorari, new trial,
 reargument or rehearing shall have been denied and the time to take any further appeal, petition
 for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
 however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
 or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
 not preclude such order from being a Final Order.

                68.     “Frontier Secured Claim” means the loan from Frontier State Bank to the
 Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended and
 Restated Loan Agreement, dated March 29, 2018.




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                69.     “General Partner Interest” means the Class A Limited Partnership Interest
 held by Strand, as the Debtor’s general partner.

                 70.    “General Unsecured Claim” means any prepetition Claim against the
 Debtor that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
 Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

               71.      “Governmental Unit” means a “governmental unit” as defined in
 section 101(27) of the Bankruptcy Code.

              72.    “GUC Election” means the option provided to each Holder of a
 Convenience Claim on their Ballot to elect to receive the treatment provided to General Unsecured
 Claims.

                73.    “Holder” means an Entity holding a Claim against, or Equity Interest in, the
 Debtor.

               74.    “Impaired” means, when used in reference to a Claim or Equity Interest, a
 Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
 Code.

                75.    “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
 Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
 additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
 Effective Date.

               76.     “Initial Distribution Date” means, subject to the “Treatment” sections in
 ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
 Date, when distributions under this Plan shall commence to Holders of Allowed Claims and Equity
 Interests.

                 77.    “Insurance Policies” means all insurance policies maintained by the Debtor
 as of the Petition Date.

                78.     “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC,
 arising under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between
 the Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
 brokerage account created by such Prime Brokerage Customer Agreement.

                 79.     “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
 and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
 security interest or other encumbrance of any kind, or any other type of preferential arrangement
 that has the practical effect of creating a security interest, in respect of such asset.

              80.     “Limited Partnership Agreement” means that certain Fourth Amended and
 Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
 December 24, 2015, as amended.




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                81.     “Litigation Sub-Trust” means the sub-trust established within the Claimant
 Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
 in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
 Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
 Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

              82.     “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
 Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                 83.     “Litigation Trustee” means the trustee appointed by the Committee and
 reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
 settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
 conditions set forth in the Litigation Sub-Trust Agreement.

               84.     “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
 Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
 Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

               85.     “New Frontier Note” means that promissory note to be provided to the
 Allowed Holders of Class 2 Claims under this Plan and any other documents or security
 agreements securing the obligations thereunder.

              86.    “New GP LLC” means a limited liability company incorporated in the State
 of Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
 Reorganized Debtor on the Effective Date.

                87.    “New GP LLC Documents” means the charter, operating agreement, and
 other formational documents of New GP LLC.

                88.    “Ordinary Course Professionals Order” means that certain Order Pursuant
 to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
 Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
 [D.I. 176].

                89.     “Other Unsecured Claim” means any Secured Claim other than the
 Jefferies Secured Claim and the Frontier Secured Claim.

                 90.    “Person” means a “person” as defined in section 101(41) of the Bankruptcy
 Code and also includes any natural person, individual, corporation, company, general or limited
 partnership, limited liability company, unincorporated organization firm, trust, estate, business
 trust, association, joint stock company, joint venture, government, governmental agency,
 Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
 whether acting in an individual, fiduciary or other capacity.

               91.      “Petition Date” means October 16, 2019.

               92.     “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
 Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,


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 and schedules thereto, either in its present form or as the same may be altered, amended, modified
 or otherwise supplemented from time to time.

               93.    “Plan Distribution” means the payment or distribution of consideration to
 Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                94.    “Plan Documents” means any of the documents, other than this Plan, but
 including, without limitation, the documents to be filed with the Plan Supplement, to be executed,
 delivered, assumed, or performed in connection with the occurrence of the Effective Date, and as
 may be modified consistent with the terms hereof with the consent of the Committee.

                 95.    “Plan Supplement” means the ancillary documents necessary for the
 implementation and effectuation of the Plan, including, without limitation, (i) the form of Claimant
 Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of Reorganized Limited
 Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable), (v) the identity of the
 initial members of the Claimant Trust Oversight Committee, (vi) the form of Litigation Sub-Trust
 Agreement; (vii) the schedule of retained Causes of Action; (viii) the New Frontier Note, (ix) the
 schedule of Employees; (x) the form of Senior Employee Stipulation,; and (xi) the schedule of
 Executory Contracts and Unexpired Leases to be assumed pursuant to this Plan, which, in each
 case, will be in form and substance reasonably acceptable to the Debtor and the Committee.

                96.     “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
 section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to priority
 under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
 Administrative Claim.

                97.     “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
 Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
 Equity Interests in such Class.

                98.     “Professional” means (a) any Entity employed in the Chapter 11 Case
 pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
 seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
 pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy Code.

                  99.    “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
 363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
 compensation for services rendered or reimbursement of costs, expenses or other charges incurred
 after the Petition Date and prior to and including the Effective Date.

               100. “Professional Fee Claims Bar Date” means with respect to Professional Fee
 Claims, the Business Day which is sixty (60) days after the Effective Date or such other date as
 approved by order of the Bankruptcy Court.

               101. “Professional Fee Claims Objection Deadline” means, with respect to any
 Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
 payment of such Professional Fee Claim.



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                102. “Professional Fee Reserve” means the reserve established and funded by
 the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid Allowed
 Professional Fee Claims.

                103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
 against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
 specified in section 507(a)(8) of the Bankruptcy Code.

                 105. “Protected Parties” means, collectively, (i) the Debtor and its successors
 and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
 Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
 Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
 Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
 members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
 LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
 (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through (xv);
 provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
 NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
 Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
 entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
 entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
 Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain Investment
 Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any trustee acting for
 the trust), or Grant Scott is included in the term “Protected Party.”

                106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
 employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
 507(a)(4) of the Bankruptcy Code.

                107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                  108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
 leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
 of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
 notwithstanding any contractual provision or applicable law that entitles the Holder of such Claim
 or Equity Interest to demand or receive accelerated payment of such Claim or Equity Interest after
 the occurrence of a default: (i) curing any such default that occurred before or after the Petition
 Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy Code or of a
 kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be cured; (ii)
 reinstating the maturity of such Claim or Equity Interest as such maturity existed before such
 default; (iii) compensating the Holder of such Claim or Equity Interest for any damages incurred
 as a result of any reasonable reliance by such Holder on such contractual provision or such
 applicable law; (iv) if such Claim or Equity Interest arises from any failure to perform a
 nonmonetary obligation, other than a default arising from failure to operate a non-residential real
 property lease subject to section 365(b)(1)(A) of the Bankruptcy Code, compensating the Holder



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 of such Claim or Equity Interest (other than any Debtor or an insider of any Debtor) for any actual
 pecuniary loss incurred by such Holder as a result of such failure; and (v) not otherwise altering
 the legal, equitable, or contractual rights to which such Claim entitles the Holder of such Claim.

                 109. “Rejection Claim” means any Claim for monetary damages as a result of
 the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                  110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
 (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
 was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
 Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
 insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
 Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including, without
 limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust and any of
 its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of its direct or
 indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on the Related
 Entity List.

                111.    “Related Entity List” means that list of Entities filed with the Plan
 Supplement.

                112. “Related Persons” means, with respect to any Person, such Person’s
 predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
 respective present, future, or former officers, directors, employees, managers, managing members,
 members, financial advisors, attorneys, accountants, investment bankers, consultants,
 professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
 companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
 Strand (solely from the date of the appointment of the Independent Directors through the Effective
 Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in their official
 capacities), (vi) the Professionals retained by the Debtor and the Committee in the Chapter 11
 Case; and (vii) the Employees.

                114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
 Plan on and after the Effective Date.

                 115. “Reorganized Debtor Assets” means any limited and general partnership
 interests held by the Debtor, the management of the Managed Funds and those Causes of Action
 (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
 capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
 Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
 but does not include the underlying portfolio assets held by the Managed Funds.

                116. “Reorganized Limited Partnership Agreement” means that certain Fifth
 Amended and Restated Agreement of Limited Partnership of Highland Capital Management, L.P.,
 by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner, Filed
 with the Plan Supplement.


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                117. “Restructuring” means the restructuring of the Debtor, the principal terms
 of which are set forth in this Plan and the Disclosure Statement.

                118. “Retained Employee Claim” means any Claim filed by a current employee
 of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                119. “Schedules” means the schedules of Assets and liabilities, statements of
 financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
 supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
 property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
 enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject
 to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s
 interest in the interest of the Debtor’s Estate in such property or to the extent of the amount subject
 to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code or (b)
 Allowed pursuant to the Plan as a Secured Claim.

               121. “Security” or “security” means any security as such term is defined in
 section 101(49) of the Bankruptcy Code.

              122.      “Senior Employees” means the senior employees of the Debtor Filed in the
 Plan Supplement.

              123. “Senior Employee Stipulation” means the agreements filed in the Plan
 Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
 property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
 transaction privilege tax (including, without limitation, such taxes on prime contracting and owner-
 builder sales), privilege taxes (including, without limitation, privilege taxes on construction
 contracting with regard to speculative builders and owner builders), and other similar taxes
 imposed or assessed by any Governmental Unit.

                125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
 service or sub-service the Reorganized Debtor Assets.

                128. “Sub-Servicer Agreement” means the agreement that may be entered into
 providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                129. “Subordinated Claim” means any Claim that is subordinated to the
 Convenience Claims and General Unsecured Claims pursuant to an order entered by the
 Bankruptcy Court (including any other court having jurisdiction over the Chapter 11 Case) after
 notice and a hearing.



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                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust Interests
 to be distributed to Holders of Allowed Subordinated Claims under the Plan, which such interests
 shall be subordinated in right and priority to the Claimant Trust Interests distributed to Holders of
 Allowed General Unsecured Claims as provided in the Claimant Trust Agreement.

               131. “Trust Distribution” means the transfer of Cash or other property by the
 Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
 Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
 Branch.

                134. “Unexpired Lease” means a lease to which the Debtor is a party that is
 subject to assumption or rejection under section 365 of the Bankruptcy Code.

                 135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
 that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                136. “Voting Deadline” means the date and time by which all Ballots to accept
 or reject the Plan must be received in order to be counted under the under the Order of the
 Bankruptcy Court approving the Disclosure Statement as containing adequate information
 pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
 acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

 A.     Administrative Expense Claims

         On the later of the Effective Date or the date on which an Administrative Expense Claim
 becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
 thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional Fee
 Claims) will receive, in full satisfaction, settlement, discharge and release of, and in exchange for,
 such Allowed Administrative Expense Claim either (i) payment in full in Available Cash for the
 unpaid portion of such Allowed Administrative Expense Claim; or (ii) such other less favorable
 treatment as agreed to in writing by the Debtor or the Reorganized Debtor, as applicable, and such
 Holder; provided, however, that Administrative Expense Claims incurred by the Debtor in the
 ordinary course of business may be paid in the ordinary course of business in the discretion of the
 Debtor in accordance with such applicable terms and conditions relating thereto without further
 notice to or order of the Bankruptcy Court. All statutory fees payable under 28 U.S.C. § 1930(a)
 shall be paid as such fees become due.

        If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
 the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File, on


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 or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
 Reorganized Debtor, as applicable, and such other Entities who are designated by the Bankruptcy
 Rules, the Confirmation Order or other order of the Bankruptcy Court, an application for allowance
 and payment of such Administrative Expense Claim.

         Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
 must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
 asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
 Deadline.

 B.     Professional Fee Claims

         Professionals or other Entities asserting a Professional Fee Claim for services rendered
 through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
 503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
 granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in full
 to the extent provided in such order.

         Professionals or other Entities asserting a Professional Fee Claim for services rendered on
 or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
 serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
 designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
 order of the Bankruptcy Court, an application for final allowance of such Professional Fee Claim.

         Objections to any Professional Fee Claim must be Filed and served on the Debtor or
 Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
 Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
 will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
 Days of entry of the order approving such Allowed Professional Fee Claim.

         On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
 The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
 Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant Trust
 shall fund the Professional Fee Reserve on the Effective Date in an estimated amount determined
 by the Debtor in good faith prior to the Confirmation Date and that approximates the total projected
 amount of unpaid Professional Fee Claims on the Effective Date. Following the payment of all
 Allowed Professional Fee Claims, any excess funds in the Professional Fee Reserve shall be
 released to the Claimant Trust to be used for other purposes consistent with the Plan and the
 Claimant Trust Agreement.

 C.     Priority Tax Claims

         On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
 such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
 on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
 Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
 and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
 an amount of a total value as of the Effective Date of the Plan equal to the amount of such Allowed


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 Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code, or (b) if
 paid over time, payment of such Allowed Priority Tax Claim in accordance with section
 1129(a)(9)(C) of the Bankruptcy Code; or (c) such other less favorable treatment as agreed to in
 writing by the Debtor and such Holder. Payment of statutory fees due pursuant to 28 U.S.C. §
 1930(a)(6) will be made at all appropriate times until the entry of a final decree; provided, however,
 that the Debtor may prepay any or all such Claims at any time, without premium or penalty.

                                     ARTICLE III.
                          CLASSIFICATION AND TREATMENT OF
                        CLASSIFIED CLAIMS AND EQUITY INTERESTS

 A.       Summary

         All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
 Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of the
 Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
 classified.

         The categories of Claims and Equity Interests listed below classify Claims and Equity
 Interests for all purposes including, without limitation, confirmation and distribution pursuant to
 the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
 a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim or
 Equity Interest qualifies within the description of that Class and will be deemed classified in a
 different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
 the description of such different Class. A Claim or Equity Interest is in a particular Class only to
 the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
 released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the Effective
 Date.

 B.       Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class     Claim                                             Status          Voting Rights
  1         Jefferies Secured Claim                           Unimpaired      Deemed to Accept
  2         Frontier Secured Claim                            Impaired        Entitled to Vote
  3         Other Secured Claims                              Unimpaired      Deemed to Accept
  4         Priority Non-Tax Claim                            Unimpaired      Deemed to Accept
  5         Retained Employee Claim                           Unimpaired      Deemed to Accept
  6         PTO Claims                                        Unimpaired      Deemed to Accept
  7         Convenience Claims                                Impaired        Entitled to Vote
  8         General Unsecured Claims                          Impaired        Entitled to Vote
  9         Subordinated Claims                               Impaired        Entitled to Vote
  10        Class B/C Limited Partnership Interests           Impaired        Entitled to Vote
  11        Class A Limited Partnership Interests             Impaired        Entitled to Vote




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 C.     Elimination of Vacant Classes

         Any Class that, as of the commencement of the Confirmation Hearing, does not have at
 least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
 voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
 voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
 satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

 D.     Impaired/Voting Classes

        Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
 Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
 accept or reject the Plan.

 E.     Unimpaired/Non-Voting Classes

        Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
 Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

 F.     Impaired/Non-Voting Classes

        There are no Classes under the Plan that will not receive or retain any property and no
 Classes are deemed to reject the Plan.

 G.     Cramdown

         If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
 accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
 Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
 Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
 class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
 hearing, determine such controversy on or before the Confirmation Date.

 H.     Classification and Treatment of Claims and Equity Interests

        1.      Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective Date,
                        each Holder of an Allowed Class 1 Claim will receive in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Allowed
                        Class 1 Claim, at the election of the Debtor: (A) Cash equal to the amount
                        of such Allowed Class 1 Claim; (B) such other less favorable treatment as
                        to which the Debtor and the Holder of such Allowed Class 1 Claim will
                        have agreed upon in writing; or (C) such other treatment rendering such
                        Claim Unimpaired. Each Holder of an Allowed Class 1 Claim will retain
                        the Liens securing its Allowed Class 1 Claim as of the Effective Date until



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                    full and final payment of such Allowed Class 1 Claim is made as provided
                    herein.

             •      Impairment and Voting: Class 1 is Unimpaired, and the Holders of Class 1
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 1
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       2.    Class 2 – Frontier Secured Claim

             •      Classification: Class 2 consists of the Frontier Secured Claim.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 2 Claim will receive in full satisfaction,
                    settlement, discharge and release of, and in exchange for, such Allowed
                    Class 2 Claim: (A) Cash in an amount equal to all accrued but unpaid
                    interest on the Frontier Claim through and including the Effective Date and
                    (B) the New Frontier Note. The Holder of an Allowed Class 2 Claim will
                    retain the Liens securing its Allowed Class 2 Claim as of the Effective Date
                    until full and final payment of such Allowed Class 2 Claim is made as
                    provided herein.

             •      Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                    Claims are entitled to vote to accept or reject this Plan.

       3.    Class 3 – Other Secured Claims

             •      Classification: Class 3 consists of the Other Secured Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 3 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 3 Claim becomes an
                    Allowed Class 3 Claim, each Holder of an Allowed Class 3 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 3 Claim, at the option of the Debtor, or
                    following the Effective Date, the Reorganized Debtor or Claimant Trustee,
                    as applicable, (i) Cash equal to such Allowed Other Secured Claim, (ii) the
                    collateral securing its Allowed Other Secured Claim, plus postpetition
                    interest to the extent required under Bankruptcy Code Section 506(b), or
                    (iii) such other treatment rendering such Claim Unimpaired.

             •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class 3
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.



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       4.    Class 4 – Priority Non-Tax Claims

             •      Classification: Class 4 consists of the Priority Non-Tax Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 4 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 4 Claim becomes an
                    Allowed Class 4 Claim, each Holder of an Allowed Class 4 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 4 Claim Cash equal to the amount of such
                    Allowed Class 4 Claim.

             •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class 4
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       5.    Class 5 – Retained Employee Claims

             •      Classification: Class 5 consists of the Retained Employee Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    Effective Date, each Allowed Class 5 Claim will be Reinstated.

             •      Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class 5
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

       6.    Class 6 – PTO Claims

             •      Classification: Class 6 consists of the PTO Claims.

             •      Allowance and Treatment: On or as soon as reasonably practicable after the
                    later of (i) the Initial Distribution Date if such Class 6 Claim is Allowed on
                    the Effective Date or (ii) the date on which such Class 6 Claim becomes an
                    Allowed Class 6 Claim, each Holder of an Allowed Class 6 Claim will
                    receive in full satisfaction, settlement, discharge and release of, and in
                    exchange for, its Allowed Claim 6 Claim Cash equal to the amount of such
                    Allowed Class 6 Claim.

             •      Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class 6
                    Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6




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                   Claims are not entitled to vote to accept or reject this Plan and will not be
                   solicited.

       7.    Class 7 – Convenience Claims

             •     Classification: Class 7 consists of the Convenience Claims.

             •     Allowance and Treatment: On or as soon as reasonably practicable after the
                   later of (i) the Initial Distribution Date if such Class 7 Claim is Allowed on
                   the Effective Date or (ii) the date on which such Class 7 Claim becomes an
                   Allowed Class 7 Claim, each Holder of an Allowed Class 7 Claim will
                   receive in full satisfaction, settlement, discharge and release of, and in
                   exchange for, its Allowed Class 7 Claim (1) the treatment provided to
                   Allowed Holders of Class 8 General Unsecured Claims if the Holder of such
                   Class 7 Claim makes the GUC Election or (2) an amount in Cash equal to
                   the lesser of (a) 85% of the Allowed amount of such Holder’s Class 7 Claim
                   or (b) such Holder’s Pro Rata share of the Convenience Claims Cash Pool.

             •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                   Claims are entitled to vote to accept or reject this Plan.

       8.    Class 8 – General Unsecured Claims

             •     Classification: Class 8 consists of the General Unsecured Claims.

             •     Treatment: On or as soon as reasonably practicable after the Effective Date,
                   each Holder of an Allowed Class 8 Claim, in full satisfaction, settlement,
                   discharge and release of, and in exchange for, such Claim shall receive (i)
                   its Pro Rata share of the Claimant Trust Interests, (ii) such other less
                   favorable treatment as to which such Holder and the Claimant Trustee shall
                   have agreed upon in writing, or (iii) the treatment provided to Allowed
                   Holders of Class 7 Convenience Claims if the Holder of such Class 8
                   General Unsecured Claim is eligible and makes a valid Convenience Class
                   Election.

                   Notwithstanding anything to the contrary herein, after the Effective Date
                   and subject to the other provisions of this Plan, the Debtor, the Reorganized
                   Debtor, and the Claimant Trust, as applicable, will have and will retain any
                   and all rights and defenses under bankruptcy or nonbankruptcy law that the
                   Debtor had with respect to any General Unsecured Claim, except with
                   respect to any General Unsecured Claim Allowed by Final Order of the
                   Bankruptcy Court.

             •     Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                   Claims are entitled to vote to accept or reject this Plan.




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       9.    Class 9 – Subordinated Claims

             •      Classification: Class 9 consists of the Subordinated Claims.

                    Treatment: On the Effective Date, Holders of Subordinated Claims shall
                    receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                    Interests or, (ii) such other less favorable treatment as to which such Holder
                    and the Claimant Trustee may agree upon in writing.


                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Subordinated Claim, except with respect to
                    any Subordinated Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                    Claims are entitled to vote to accept or reject this Plan.

       10.   Class 10 – Class B/C Limited Partnership Interests

             •      Classification: Class 10 consists of the Class B/C Limited Partnership
                    Interests.

             •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                    each Holder of an Allowed Class 10 Claim, in full satisfaction, settlement,
                    discharge and release of, and in exchange for, such Claim shall receive (i)
                    its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                    other less favorable treatment as to which such Holder and the Claimant
                    Trustee shall have agreed upon in writing.

                    Notwithstanding anything to the contrary herein, after the Effective Date
                    and subject to the other provisions of this Plan, the Debtor, the Reorganized
                    Debtor, and the Claimant Trust, as applicable, will have and will retain any
                    and all rights and defenses under bankruptcy or nonbankruptcy law that the
                    Debtor had with respect to any Class B/C Limited Partnership Interest
                    Claim, except with respect to any Class B/C Limited Partnership Interest
                    Claim Allowed by Final Order of the Bankruptcy Court.

             •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                    Claims are entitled to vote to accept or reject this Plan.

       11.   Class 11 – Class A Limited Partnership Interests

             •      Classification:   Class 11 consists of the Class A Limited Partnership
                    Interests.



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                •      Treatment: On or as soon as reasonably practicable after the Effective Date,
                       each Holder of an Allowed Class 11 Claim, in full satisfaction, settlement,
                       discharge and release of, and in exchange for, such Claim shall receive (i)
                       its Pro Rata share of the Contingent Claimant Trust Interests or (ii) such
                       other less favorable treatment as to which such Holder and the Claimant
                       Trustee shall have agreed upon in writing.

                       Notwithstanding anything to the contrary herein, after the Effective Date
                       and subject to the other provisions of this Plan, the Debtor, the Reorganized
                       Debtor, and the Claimant Trust, as applicable, will have and will retain any
                       and all rights and defenses under bankruptcy or nonbankruptcy law that the
                       Debtor had with respect to any Class A Limited Partnership Interest, except
                       with respect to any Class A Limited Partnership Interest Allowed by Final
                       Order of the Bankruptcy Court.

                •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                       Claims are entitled to vote to accept or reject this Plan.

 I.     Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
 rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
 legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

 J.     Subordinated Claims

        The allowance, classification, and treatment of all Claims under the Plan shall take into
 account and conform to the contractual, legal, and equitable subordination rights relating thereto,
 whether arising under general principles of equitable subordination, section 510(b) of the
 Bankruptcy Code, or otherwise. Upon written notice and hearing, the Debtor the Reorganized
 Debtor, and the Claimant Trustee reserve the right to seek entry of an order by the Bankruptcy
 Court to re-classify or to subordinate any Claim in accordance with any contractual, legal, or
 equitable subordination relating thereto, and the treatment afforded any Claim under the Plan that
 becomes a subordinated Claim at any time shall be modified to reflect such subordination.

                                   ARTICLE IV.
                       MEANS FOR IMPLEMENTATION OF THIS PLAN

 A.     Summary

       As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
 Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

         On the Effective Date, all Class A Limited Partnership Interests, including the Class A
 Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
 Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in the
 Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-chartered
 limited liability company wholly-owned by the Claimant Trust. The Claimant Trust, as limited


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 partner, will ratify New GP LLC’s appointment as general partner of the Reorganized Debtor, and
 on and following the Effective Date, the Claimant Trust will be the Reorganized Debtor’s limited
 partner and New GP LLC will be its general partner. The Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement,
 which will amend and restate, in all respects, the Debtor’s current Limited Partnership Agreement.
 Following the Effective Date, the Reorganized Debtor will be managed consistent with the terms
 of the Reorganized Limited Partnership Agreement by New GP LLC. The sole managing member
 of New GP LLC will be the Claimant Trust, and the Claimant Trustee will be the sole officer of
 New GP LLC on the Effective Date.

          Following the Effective Date, the Claimant Trust will administer the Claimant Trust Assets
 pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will pursue, if
 applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust Agreement and the
 Plan. The Reorganized Debtor will administer the Reorganized Debtor Assets and, if needed, with
 the utilization of a Sub-Servicer, which administration will include, among other things, managing
 the wind down of the Managed Funds.

         Although the Reorganized Debtor will manage the wind down of the Managed Funds, it is
 currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume or
 assume and assign the contracts between the Debtor and certain Related Entities pursuant to which
 the Debtor provides shared services and sub-advisory services to those Related Entities. The
 Debtor believes that the continued provision of the services under such contracts will not be cost
 effective.

         The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
 Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
 with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds of
 the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as set
 forth in this Plan and the Claimant Trust Agreement.

 B.      The Claimant Trust 2

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

          On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
 Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
 the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
 Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
 transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its rights,
 title, and interest in and to all of the Claimant Trust Assets, and in accordance with section 1141
 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant Trust
 free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant Trust
 Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust Agreement, and


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  In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and the
 Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust Agreement,
 as applicable, shall control.



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 such transfer shall be exempt from any stamp, real estate transfer, mortgage from any stamp,
 transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets, excluding
 the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect to the Estate
 Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as
 the representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy
 Code with respect to the Claimant Trust Assets. The Claimant Trustee shall also be responsible
 for resolving all Claims and Equity Interests in Class 8 through Class 11, under the supervision of
 the Claimant Trust Oversight Committee.

         On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
 Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
 Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably transfer
 and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be governed
 by the Claimant Trust Agreement and administered by the Claimant Trustee. The powers, rights,
 and responsibilities of the Claimant Trustee shall be specified in the Claimant Trust Agreement
 and shall include the authority and responsibility to, among other things, take the actions set forth
 in this ARTICLE IV, subject to any required reporting to the Claimant Trust Oversight Committee
 as may be set forth in the Claimant Trust Agreement. The Claimant Trust shall hold and distribute
 the Claimant Trust Assets (including the proceeds from the Estate Claims, if any) in accordance
 with the provisions of the Plan and the Claimant Trust Agreement; provided that the Claimant
 Trust Oversight Committee may direct the Claimant Trust to reserve Cash from distributions as
 necessary to fund the Claimant Trust and Litigation Sub-Trust. Other rights and duties of the
 Claimant Trustee and the Claimant Trust Beneficiaries shall be as set forth in the Claimant Trust
 Agreement. After the Effective Date, neither the Debtor nor the Reorganized Debtor shall have
 any interest in the Claimant Trust Assets.

         The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
 administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
 Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
 and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
 to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The Litigation
 Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in accordance
 with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall distribute the
 proceeds therefrom to the Claimant Trust for distribution. Other rights and duties of the Litigation
 Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

        2.      Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
 Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
 Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be overseen
 by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust Agreement
 and the Litigation Sub-Trust Agreement, as applicable.




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         The Claimant Trust Oversight Committee will initially consist of five members. Four of
 the five members will be representatives of the members of the Committee: (i) the Redeemer
 Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The fifth
 member will be an independent, natural Person chosen by the Committee and reasonably
 acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
 replaced as set forth in the Claimant Trust Agreement. The identity of the members of the Claimant
 Trust Oversight Committee will be disclosed in the Plan Supplement.

        As set forth in the Claimant Trust Agreement, in no event will any member of the Claimant
 Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine, or otherwise
 be involved in any matters related to such member’s Claim.

         The independent member(s) of the Claimant Trust Oversight Committee may be entitled
 to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
 the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
 set forth in the Claimant Trust Agreement.

        3.      Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
 the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the oversight
 of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and holding the
 limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole member and
 manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its capacity as the sole
 member and manager of New GP LLC, overseeing the management and monetization of the
 Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited Partnership
 Agreement; and (v) administering the Disputed Claims Reserve and serving as Distribution Agent
 with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile and
 object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited Partnership
 Interests, and Class A Limited Partnership Interests, as provided for in this Plan and the Claimant
 Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries in accordance
 with Treasury Regulation section 301.7701-4(d), with no objective to continue or engage in the
 conduct of a trade or business.

        The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

        4.      Purpose of the Litigation Sub-Trust.

         The Litigation Sub-Trust shall be established for the purpose of investigating, prosecuting,
 settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be distributed by
 the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries
 pursuant to the terms of the Claimant Trust Agreement.

        5.      Claimant Trust Agreement and Litigation Sub-Trust Agreement.

        The Claimant Trust Agreement generally will provide for, among other things:


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            (i)     the payment of the Claimant Trust Expenses;

            (ii)    the payment of other reasonable expenses of the Claimant Trust;

            (iii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation;

            (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
 including those specified in the Plan;

            (v)     the orderly monetization of the Claimant Trust Assets;

            (vi)    litigation of any Causes of Action, which may include the prosecution,
 settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
 oversight by the Claimant Trust Oversight Committee;

             (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
 subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be made
 therefrom; and

            (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
 Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
 be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust Agreement.
 The Claimant Trustee may establish a reserve for the payment of Claimant Trust Expense
 (including, without limitation, any reserve for potential indemnification claims as authorized and
 provided under the Claimant Trust Agreement), and shall periodically replenish such reserve, as
 necessary.

         In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
 Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
 Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
 Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
 to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
 (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
 objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
 without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
 Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
 the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
 resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
 of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
 other things:

            (i)     the payment of other reasonable expenses of the Litigation Sub-Trust;




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            (ii)    the retention of employees, counsel, accountants, financial advisors, or other
 professionals and the payment of their reasonable compensation; and

            (iii) the investigation and prosecution of Estate Claims, which may include the
 prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to reporting
 and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable, may
 each employ, without further order of the Bankruptcy Court, employees and other professionals
 (including those previously retained by the Debtor and the Committee) to assist in carrying out the
 Trustees’ duties hereunder and may compensate and reimburse the reasonable expenses of these
 professionals without further Order of the Bankruptcy Court from the Claimant Trust Assets in
 accordance with the Plan and the Claimant Trust Agreement.

         The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
 reasonable and customary provisions that allow for indemnification by the Claimant Trust in favor
 of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee. Any
 such indemnification shall be the sole responsibility of the Claimant Trust and payable solely from
 the Claimant Trust Assets.

        6.      Compensation and Duties of Trustees.

       The salient terms of each Trustee’s employment, including such Trustee’s duties and
 compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust
 Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
 amount consistent with that of similar functionaries in similar types of bankruptcy cases.

        7.      Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
 of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
 Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
 and Reorganized Debtor’s documents, information, and work product relating to the Claimant
 Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall reasonably
 cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their prosecution of
 Causes of Action and in providing the Claimant Trustee and Litigation Trustee with copies of
 documents and information in the Debtor’s possession, custody, or control on the Effective Date
 that either Trustee indicates relates to the Estate Claims or other Causes of Action.

          The Debtor and Reorganized Debtor shall preserve all records, documents or work product
 (including all electronic records, documents, or work product) related to the Claims and Causes of
 Action, including Estate Claims, until the earlier of (a) the dissolution of the Reorganized Debtor
 or (b) termination of the Claimant Trust and Litigation Sub-Trust.

        8.      United States Federal Income Tax Treatment of the Claimant Trust.

         Unless the IRS requires otherwise, for all United States federal income tax purposes, the
 parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a transfer


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 of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims Reserve, if
 the Claimant Trustee makes the election described in Section 7 below) directly to the applicable
 Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust Beneficiaries
 to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant Trust Interests.
 Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for United States federal
 income tax purposes as the grantors and owners of their respective share of the Claimant Trust
 Assets. The foregoing treatment shall also apply, to the extent permitted by applicable law, for
 state and local income tax purposes.

        9.      Tax Reporting.

         (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the Claimant
 Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The Claimant Trustee
 may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims
 Reserve as a disputed ownership fund, in which case the Claimant Trustee will file federal income
 tax returns and pay taxes for the Disputed Claims Reserve as a separate taxable entity.

         (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
 Assets, of any taxes imposed on the Claimant Trust or its assets.

         (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust Assets
 as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such valuation,
 and such valuation shall be used consistently for all federal income tax purposes.

        (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
 Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

        10.     Claimant Trust Assets.

         The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
 institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
 Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without any
 further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive right, on
 behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust Assets,
 except as otherwise provided in this Plan or in the Claimant Trust Agreement, without any further
 order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the Litigation
 Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon, settle,
 compromise, release, or withdraw any and all Estate Claims included in the Claimant Trust Assets
 without any further order of the Bankruptcy Court.

         From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3) and
 (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
 representative of the Estate with respect to any and all Claimant Trust Assets, including the Causes
 of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a) commence,
 pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action in any court
 or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust Assets.




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        11.     Claimant Trust Expenses.

        From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
 business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
 professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
 professionals retained by such parties and entities from the Claimant Trust Assets, except as
 otherwise provided in the Claimant Trust Agreement.

        12.     Trust Distributions to Claimant Trust Beneficiaries.

        The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant Trust
 Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof, provided that
 such Trust Distributions or use is otherwise permitted under the terms of the Plan, the Claimant
 Trust Agreement, and applicable law.

        13.     Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
 invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
 the terms of the Claimant Trust Agreement; provided, however, that such investments are
 investments permitted to be made by a “liquidating trust” within the meaning of Treasury
 Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings
 or other controlling authorities.

        14.     Dissolution of the Claimant Trust and Litigation Sub-Trust.

         The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
 dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the pursuit
 of Estate Claims is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of Action (other
 than Estate Claims) is not likely to yield sufficient additional proceeds to justify further pursuit of
 such Causes of Action, (c) the Clamant Trustee determines that the pursuit of sales of other
 Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify further pursuit
 of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and Equity Interests
 are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions required to be
 made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan have been made,
 but in no event shall the Claimant Trust be dissolved later than three years from the Effective Date
 unless the Bankruptcy Court, upon motion made within the six-month period before such third
 anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon motion
 made at least six months before the end of the preceding extension), determines that a fixed period
 extension (not to exceed two years, together with any prior extensions, without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets; provided, however, that each extension must be approved, upon a finding that the
 extension is necessary to facilitate or complete the recovery on, and liquidation of the Claimant
 Trust Assets, by the Bankruptcy Court within 6 months of the beginning of the extended term and



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 no extension, together with any prior extensions, shall exceed three years without a favorable letter
 ruling from the Internal Revenue Service or an opinion of counsel that any further extension would
 not adversely affect the status of the Claimant Trust as a liquidating trust for federal income tax
 purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
 any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
 will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders
 of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

 C.     The Reorganized Debtor

        1.      Corporate Existence

        The Debtor will continue to exist after the Effective Date, with all of the powers of
 partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
 Limited Partnership Agreement.

        2.      Cancellation of Equity Interests and Release

         On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
 Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
 canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of, or
 based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
 obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s formation
 documents, including the Limited Partnership Agreement.

        3.      Issuance of New Partnership Interests

        On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue new
 Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii) New
 GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of the
 Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor. The
 Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner of
 the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner, and
 New GP LLC, as general partner, will execute the Reorganized Limited Partnership Agreement
 and receive partnership interests in the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement.

         The Reorganized Limited Partnership Agreement does not provide for, and specifically
 disclaims, the indemnification obligations under the Limited Partnership Agreement, including
 any such indemnification obligations that accrued or arose or could have been brought prior to the
 Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
 accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
 Claims resolution process provided that a Claim is properly filed in accordance with the
 Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
 the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
 indemnification Claims.


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        4.      Management of the Reorganized Debtor

          Subject to and consistent with the terms of the Reorganized Limited Partnership
 Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
 initial officers and employees of the Reorganized Debtor shall be selected by the Claimant Trustee.
 The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to or in lieu
 of the retention of officers and employees.

         As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will receive
 a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited liability
 company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New GP LLC
 (and any taxable income attributable to it) will be subject to corporate income taxation on a
 standalone basis, which may reduce the return to Claimants.

        5.      Vesting of Assets in the Reorganized Debtor

         Except as otherwise provided in this Plan or the Confirmation Order, on or after the
 Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
 of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the Bankruptcy
 Code except with respect to such Liens, Claims, charges and other encumbrances that are
 specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
 for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
 the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to the
 Reorganized Debtor Assets.

        6.      Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
 Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall include,
 for the avoidance of doubt, serving as the investment manager of the Managed Funds) and may
 use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any Claims
 with respect to the Reorganized Debtor Assets without supervision or approval by the Bankruptcy
 Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The Reorganized
 Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

         Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
 after the Effective Date for Professionals’ fees, disbursements, expenses or related support services
 (including reasonable fees relating to the preparation of Professional fee applications) in the
 ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

        7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                Reorganized Debtor Assets

         Any proceeds received by the Reorganized Debtor will be distributed to the Claimant Trust,
 as limited partner, and New GP LLC, as general partner, in the manner set forth in the Reorganized
 Limited Partnership Agreement. As set forth in the Reorganized Limited Partnership Agreement,


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 the Reorganized Debtor may, from time to time distribute Reorganized Debtor Assets to the
 Claimant Trust either in Cash or in-kind, including to institute the wind-down and dissolution of
 the Reorganized Debtor. Any assets distributed to the Claimant Trust will be (i) deemed
 transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant Trust Assets, and
 (iii) administered as Claimant Trust Assets.

 D.      Company Action

         Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take any
 and all actions to execute, deliver, File or record such contracts, instruments, releases and other
 agreements or documents and take such actions as may be necessary or appropriate to effectuate
 and implement the provisions of this Plan, the Claimant Trust Agreement, the Reorganized Limited
 Partnership Agreement, or the New GP LLC Documents, as applicable, in the name of and on
 behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable, and in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or any requirement of further action, vote or other approval or
 authorization by the security holders, officers, or directors of the Debtor or the Reorganized
 Debtor, as applicable, or by any other Person.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
 to this Plan that would otherwise require approval of the stockholders, partners, directors,
 managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
 the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
 after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
 of further action by the stockholders, partners, directors, managers or members of such Persons,
 or the need for any approvals, authorizations, actions or consents of any Person.

         All matters provided for in this Plan involving the legal or corporate structure of the Debtor,
 the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate action
 required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in connection
 with this Plan, will be deemed to have occurred and will be in full force and effect in all respects,
 in each case without further notice to or order of the Bankruptcy Court, act or action under
 applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by the security holders, partners, directors, managers, or members of the
 Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person. On
 the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
 applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
 transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
 consents, securities, certificates, resolutions and instruments contemplated by or described in this
 Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
 Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
 Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing actions.




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 E.     Release of Liens, Claims and Equity Interests

         Except as otherwise provided in the Plan or in any contract, instrument, release or other
 agreement or document entered into or delivered in connection with the Plan, from and after the
 Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
 Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
 property of the Estate will be fully released, terminated, extinguished and discharged, in each case
 without further notice to or order of the Bankruptcy Court, act or action under applicable law,
 regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any Entity
 holding such Liens or Equity Interests extinguished pursuant to the prior sentence will, pursuant
 to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor, the
 Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
 release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by the
 Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
 doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

 F.     Cancellation of Notes, Certificates and Instruments

         Except for the purpose of evidencing a right to a distribution under this Plan and except as
 otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities and
 other documents evidencing any prepetition Claim or Equity Interest and any rights of any Holder
 in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The holders of
 or parties to such cancelled instruments, Securities, and other documentation will have no rights
 arising from or related to such instruments, Securities, or other documentation or the cancellation
 thereof, except the rights provided for pursuant to this Plan, and the obligations of the Debtor
 thereunder or in any way related thereto will be fully released, terminated, extinguished and
 discharged, in each case without further notice to or order of the Bankruptcy Court, act or action
 under applicable law, regulation, order, or rule or any requirement of further action, vote or other
 approval or authorization by any Person. For the avoidance of doubt, this section is in addition to,
 and shall not be read to limit in any respects, ARTICLE IV.C.2.

 G.     Cancellation of Existing Instruments Governing Security Interests

         Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
 promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver to
 the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or other
 property of the Debtor held by such Holder, together with any termination statements, instruments
 of satisfaction, or releases of all security interests with respect to its Allowed Class 1 or Allowed
 Class 2 Claim that may be reasonably required to terminate any related financing statements,
 mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

 H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the Claimant
 Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized Limited
 Partnership Agreement, this Plan shall control.




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 I.     Treatment of Vacant Classes

        Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
 Plan shall receive no Plan Distributions.

 J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any documents
 filed with the Plan Supplement, and any amendments, restatements, supplements, or other
 modifications to such documents, and any consents, waivers, or other deviations under or from
 any such documents, shall be incorporated herein by this reference (including to the applicable
 definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

         The Debtor and the Committee are currently working to finalize the forms of certain of the
 Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
 Committee cannot agree as to the form and content of such Plan Documents, they intend to submit
 the issue to non-binding mediation pursuant to the Order Directing Mediation entered on August
 3, 2020 [D.I. 912].

 K.     Highland Capital Management, L.P. Retirement Plan and Trust

         The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
 single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
 Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
 the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
 members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
 1301(a)(13), (14) with respect to the Pension Plan.

        Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
 Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
 Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
 standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
 premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan in
 accordance with its terms and the provisions of ERISA and the IRC. In the event that the Pension
 Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that the
 Reorganized Debtor and each of its controlled group members will be responsible for the liabilities
 imposed by Title IV of ERISA.

         Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
 Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order, or
 the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
 Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
 responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
 regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
 enforcing such liability or responsibility against any person or entity as a result of any of the
 provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves the
 right to contest any such liability or responsibility.



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                             ARTICLE V.
         TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired Leases

         Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or rejected
 by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously expired or
 terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the subject of a
 motion to assume filed by the Debtor on or before the Confirmation Date; (iv) contains a change
 of control or similar provision that would be triggered by the Chapter 11 Case (unless such
 provision has been irrevocably waived); or (v) is specifically designated as a contract or lease to
 be assumed in the Plan or the Plan Supplement, on the Confirmation Date, each Executory Contract
 and Unexpired Lease shall be deemed rejected pursuant to section 365 of the Bankruptcy Code,
 without the need for any further notice to or action, order, or approval of the Bankruptcy Court,
 unless such Executory Contract or Unexpired Lease is listed in the Plan Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
 Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
 or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as determined
 by the Debtor in consultation with the Committee, or the Reorganized Debtor, as applicable.

         The Confirmation Order will constitute an order of the Bankruptcy Court approving the
 above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
 provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
 Executory Contract or Unexpired Lease shall include all modifications, amendments, supplements,
 restatements, or other agreements related thereto, and all rights related thereto. Modifications,
 amendments, supplements, and restatements to prepetition Executory Contracts and Unexpired
 Leases that have been executed by the Debtor during the Chapter 11 Case shall not be deemed to
 alter the prepetition nature of the Executory Contract or Unexpired Lease or the validity, priority,
 or amount of any Claims that may arise in connection therewith. To the extent applicable, no
 change of control (or similar provision) will be deemed to occur under any such Executory
 Contract or Unexpired Lease.

         If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
 Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that such
 counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed pursuant to
 the Plan are severable agreements that are not integrated with those Executory Contracts and/or
 Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking to contest this
 finding with respect to their Executory Contracts and/or Unexpired Leases must file a timely
 objection to the Plan on the grounds that their agreements are integrated and not severable, and
 any such dispute shall be resolved by the Bankruptcy Court at the Confirmation Hearing (to the
 extent not resolved by the parties prior to the Confirmation Hearing).

         Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
 certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
 headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
 accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),



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 as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
 Unexpired Nonresidential Real Property Lease [Docket No. 1122].

 B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

         Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
 Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
 asserting a Rejection Claim shall File a proof of claim within thirty days of the Confirmation Date.
 Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed
 and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
 objection to any Rejection Claim.

        Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
 accordance with ARTICLE III of this Plan.

 C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
        Leases

        Any monetary amounts by which any Executory Contract or Unexpired Lease to be
 assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
 Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the default
 amount in Cash as and when due in the ordinary course or on such other terms as the parties to
 such Executory Contracts may otherwise agree. The Debtor may serve a notice on the Committee
 and parties to Executory Contracts or Unexpired Leases to be assumed or assigned reflecting the
 Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory Contract or
 Unexpired Lease in connection with this Plan and setting forth the proposed cure amount (if any).

        If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
 the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
 performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
 Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
 assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
 Code will be made following the entry of a Final Order or orders resolving the dispute and
 approving the assumption or assignment.

         Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE V.C
 shall result in the full release and satisfaction of any cure amounts, Claims, or defaults, whether
 monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed or
 assigned Executory Contract or Unexpired Lease at any time prior to the effective date of
 assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts or
 Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including pursuant
 to the Confirmation Order, and for which any cure amounts have been fully paid pursuant to this
 ARTICLE V.C, shall be deemed disallowed and expunged as of the Confirmation Date without
 the need for any objection thereto or any further notice to or action, order, or approval of the
 Bankruptcy Court.



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                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

 A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
 practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
 Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity Interest,
 or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Equity
 Interest against the Debtor shall receive the full amount of the distributions that this Plan provides
 for Allowed Claims or Allowed Equity Interests in the applicable Class and in the manner provided
 herein. If any payment or act under this Plan is required to be made or performed on a date that is
 not on a Business Day, then the making of such payment or the performance of such act may be
 completed on the next succeeding Business Day, but shall be deemed to have been completed as
 of the required date. If and to the extent there are Disputed Claims or Equity Interests, distributions
 on account of any such Disputed Claims or Equity Interests shall be made pursuant to the
 provisions provided in this Plan. Except as otherwise provided in this Plan, Holders of Claims and
 Equity Interests shall not be entitled to interest, dividends or accruals on the distributions provided
 for therein, regardless of whether distributions are delivered on or at any time after the Effective
 Date.

         Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be deemed
 fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor, or the
 Claimant Trust will have liability on account of any Claims or Equity Interests except as set forth
 in this Plan and in the Confirmation Order. All payments and all distributions made by the
 Distribution Agent under this Plan shall be in full and final satisfaction, settlement and release of
 all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

         At the close of business on the Distribution Record Date, the transfer ledgers for the Claims
 against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall be no
 further changes in the record holders of such Claims and Equity Interests. The Debtor, the
 Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective agents,
 successors, and assigns shall have no obligation to recognize the transfer of any Claims against the
 Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date and shall be
 entitled instead to recognize and deal for all purposes hereunder with only those record holders
 stated on the transfer ledgers as of the close of business on the Distribution Record Date
 irrespective of the number of distributions to be made under this Plan to such Persons or the date
 of such distributions.

 B.     Distribution Agent

        Except as provided herein, all distributions under this Plan shall be made by the Claimant
 Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
 Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
 Distribution Agent with respect to Claims in Class 1 through Class 7.




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        The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
 Distribution Agent, shall not be required to give any bond or surety or other security for the
 performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
 Court.

        The Distribution Agent shall be empowered to (a) effect all actions and execute all
 agreements, instruments, and other documents necessary to perform its duties under this Plan;
 (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
 respect to its responsibilities; and (d) exercise such other powers as may be vested in the
 Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
 Distribution Agent to be necessary and proper to implement the provisions hereof.

         The Distribution Agent shall not have any obligation to make a particular distribution to a
 specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

 C.     Cash Distributions

        Distributions of Cash may be made by wire transfer from a domestic bank, except that Cash
 payments made to foreign creditors may be made in such funds and by such means as the
 Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

 D.     Disputed Claims Reserve

        On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
 maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts on
 account of any Disputed Claims.

 E.     Distributions from the Disputed Claims Reserve

         The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
 Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
 pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
 becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall distribute
 from the Disputed Claims Reserve to the Holder thereof any prior distributions, in Cash, that would
 have been made to such Allowed Claim if it had been Allowed as of the Effective Date. For the
 avoidance of doubt, each Holder of a Disputed Claim that subsequently becomes an Allowed
 Claim will also receive its Pro Rata share of the Claimant Trust Interests. If, upon the resolution
 of all Disputed Claims any Cash remains in the Disputed Claims Reserve, such Cash shall be
 transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

 F.     Rounding of Payments

         Whenever this Plan would otherwise call for, with respect to a particular Person, payment
 of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such fraction
 to the nearest whole dollar (up or down), with half dollars being rounded down. To the extent that
 Cash to be distributed under this Plan remains undistributed as a result of the aforementioned
 rounding, such Cash or stock shall be treated as “Unclaimed Property” under this Plan.



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 G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
 the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
 Distributions with a value of less than $100, unless a written request therefor is received by the
 Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
 within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
 Allowed Claim. De minimis distributions for which no such request is timely received shall revert
 to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim on
 account of missed distributions) shall be automatically deemed satisfied, discharged and forever
 barred, notwithstanding any federal or state escheat laws to the contrary.

 H.     Distributions on Account of Allowed Claims

          Except as otherwise agreed by the Holder of a particular Claim or as provided in this Plan,
 all distributions shall be made pursuant to the terms of this Plan and the Confirmation Order.
 Except as otherwise provided in this Plan, distributions to any Holder of an Allowed Claim shall,
 to the extent applicable, be allocated first to the principal amount of any such Allowed Claim, as
 determined for U.S. federal income tax purposes and then, to the extent the consideration exceeds
 such amount, to the remainder of such Claim comprising accrued but unpaid interest, if any (but
 solely to the extent that interest is an allowable portion of such Allowed Claim).

 I.     General Distribution Procedures

         The Distribution Agent shall make all distributions of Cash or other property required
 under this Plan, unless this Plan specifically provides otherwise. All Cash and other property held
 by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
 distribution under this Plan shall not be subject to any claim by any Person.

 J.     Address for Delivery of Distributions

         Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
 shall be made (1) at the addresses set forth in any written notices of address change delivered to
 the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed by
 such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3) at
 the addresses in the Debtor’s books and records.

         If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
 the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
 the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

 K.     Undeliverable Distributions and Unclaimed Property

         If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
 Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such Holder,
 and Distribution Agent shall not have any obligation to make any further distribution to the Holder,
 unless and until the Distribution Agent is notified in writing of such Holder’s then current address.



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         Any Entity that fails to claim any Cash within six months from the date upon which a
 distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
 and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
 purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
 whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
 any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.

 L.     Withholding Taxes

         In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
 with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
 and all distributions made pursuant to this Plan shall be subject to such withholding and reporting
 requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state or local
 withholding taxes from any Cash payments made with respect to Allowed Claims, as appropriate.
 As a condition to receiving any distribution under this Plan, the Distribution Agent may require
 that the Holder of an Allowed Claim entitled to receive a distribution pursuant to this Plan provide
 such Holder’s taxpayer identification number and such other information and certification as may
 be deemed necessary for the Distribution Agent to comply with applicable tax reporting and
 withholding laws. If a Holder fails to comply with such a request within one year, such distribution
 shall be deemed an unclaimed distribution. Any amounts withheld pursuant hereto shall be deemed
 to have been distributed to and received by the applicable recipient for all purposes of this Plan.

 M.     Setoffs

         The Distribution Agent may, to the extent permitted under applicable law, set off against
 any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
 Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
 Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed Claim
 that are not otherwise waived, released or compromised in accordance with this Plan; provided,
 however, that neither such a setoff nor the allowance of any Claim hereunder shall constitute a
 waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of any such
 claims, rights and causes of action that the Debtor, the Reorganized Debtor, or Claimant Trustee
 possesses against such Holder. Any Holder of an Allowed Claim subject to such setoff reserves
 the right to challenge any such setoff in the Bankruptcy Court or any other court with jurisdiction
 with respect to such challenge.

 N.     Surrender of Cancelled Instruments or Securities

        As a condition precedent to receiving any distribution pursuant to this Plan on account of
 an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
 ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
 instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
 negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
 have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.




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 O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
 Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
 mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required by
 this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the Distribution
 Agent of such loss, theft, mutilation, or destruction; and (ii) such security or indemnity as may be
 required by the Distribution Agent to hold such party harmless from any damages, liabilities, or
 costs incurred in treating such individual as a Holder of an Allowed Claim or Equity Interest.
 Upon compliance with ARTICLE VI.O of this Plan as determined by the Distribution Agent, by a
 Holder of a Claim evidenced by a security or note, such Holder will, for all purposes under this
 Plan, be deemed to have surrendered such security or note to the Distribution Agent.

                                   ARTICLE VII.
                        PROCEDURES FOR RESOLVING CONTINGENT,
                          UNLIQUIDATED AND DISPUTED CLAIMS

 A.     Filing of Proofs of Claim

        Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
 unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
 required to file a Proof of Claim on or prior to the Bar Date.

 B.     Disputed Claims

         Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
 applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
 Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
 Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to the
 foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor or
 Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further order
 of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
 Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw any
 objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
 without further notice to creditors (other than the Entity holding such Disputed Claim or Disputed
 Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or Equity
 Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount compromised
 for purposes of this Plan.

 C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

         No payment or other distribution or treatment shall be made on account of a Disputed
 Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity Interest
 becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim or Equity
 Interest, as applicable, is determined by order of the Bankruptcy Court or by stipulation between
 the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of the Claim or Equity
 Interest.



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 D.     Allowance of Claims and Equity Interests

         Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
 Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
 distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.

        1.      Allowance of Claims

         After the Effective Date and subject to the other provisions of this Plan, the Reorganized
 Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
 defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
 Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
 the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
 Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
 Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
 entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
 allowing such Claim or Equity Interest.

        2.      Estimation

          Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and the
 Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at any
 time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
 Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
 unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the
 Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157 and
 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or unliquidated
 Claim, including during the litigation concerning any objection to any Claim or Equity Interest or
 during the pendency of any appeal relating to any such objection. All of the aforementioned
 objection, estimation and resolution procedures are cumulative and not exclusive of one another.
 Claims or Equity Interests may be estimated and subsequently compromised, settled, withdrawn
 or resolved by any mechanism approved by the Bankruptcy Court. The rights and objections of
 all parties are reserved in connection with any such estimation proceeding.

        3.      Disallowance of Claims

         Any Claims or Equity Interests held by Entities from which property is recoverable under
 sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
 avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
 Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders
 of such Claims or Interests may not receive any distributions on account of such Claims or Interests
 until such time as such Causes of Action against that Entity have been settled or a Bankruptcy
 Court Order with respect thereto has been entered and all sums due, if any, to the Reorganized
 Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or paid to the
 Reorganized Debtor or the Claimant Trust, as applicable.

     EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
 DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,


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 ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
 DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
 WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
 THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
 RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH
 LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL ORDER.

                                     ARTICLE VIII.
                                EFFECTIVENESS OF THIS PLAN

 A.     Conditions Precedent to the Effective Date

        The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
 Debtor (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
 ARTICLE VIII.B of this Plan of the following:

        •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
            Reorganized Limited Partnership Agreement, and all schedules, documents,
            supplements and exhibits to this Plan shall have been Filed in form and substance
            reasonably acceptable to the Debtor and the Committee.

        •   The Confirmation Order shall have become a Final Order and shall be in form and
            substance reasonably acceptable to the Debtor and the Committee. The Confirmation
            Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
            the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
            necessary or appropriate to effectuate and consummate this Plan, including, without
            limitation, (a) entering into, implementing, effectuating, and consummating the
            contracts, instruments, releases, and other agreements or documents created in
            connection with or described in this Plan, (b) assuming the Executory Contracts and
            Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
            issuances as required under this Plan; and (d) entering into any transactions as set forth
            in the Plan Documents; (ii) the provisions of the Confirmation Order and this Plan are
            nonseverable and mutually dependent; (iii) the implementation of this Plan in
            accordance with its terms is authorized; (iv) pursuant to section 1146 of the Bankruptcy
            Code, the delivery of any deed or other instrument or transfer order, in furtherance of,
            or in connection with this Plan, including any deeds, bills of sale, or assignments
            executed in connection with any disposition or transfer of Assets contemplated under
            this Plan, shall not be subject to any Stamp or Similar Tax; and (v) the vesting of the
            Claimant Trust Assets in the Claimant Trust and the Reorganized Debtor Assets in the
            Reorganized Debtor, in each case as of the Effective Date free and clear of liens and
            claims to the fullest extent permissible under applicable law pursuant to section 1141(c)
            of the Bankruptcy Code except with respect to such Liens, Claims, charges and other
            encumbrances that are specifically preserved under this Plan upon the Effective Date.

        •   All documents and agreements necessary to implement this Plan, including without
            limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust



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            Agreement, and the New GP LLC Documents, in each case in form and substance
            reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
            for delivery, and (b) been effected by, executed by, or otherwise deemed binding upon,
            all Entities party thereto and shall be in full force and effect. All conditions precedent
            to such documents and agreements shall have been satisfied or waived pursuant to the
            terms of such documents or agreements.

        •   All authorizations, consents, actions, documents, approvals (including any
            governmental approvals), certificates and agreements necessary to implement this Plan,
            including, without limitation, the Reorganized Limited Partnership Agreement, the
            Claimant Trust Agreement, and the New GP LLC Documents, shall have been
            obtained, effected or executed and delivered to the required parties and, to the extent
            required, filed with the applicable governmental units in accordance with applicable
            laws and any applicable waiting periods shall have expired without any action being
            taken or threatened by any competent authority that would restrain or prevent
            effectiveness or consummation of the Restructuring.

        •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
            that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
            Committee, the Claimant Trustee and the Litigation Trustee.

        •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
            determined by the Debtor in good faith.

 B.     Waiver of Conditions

         The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than that
 the Confirmation Order shall have been entered) may be waived in whole or in part by the Debtor
 (and, to the extent such condition requires the consent of the Committee, the consent of the
 Committee), without notice, leave or order of the Bankruptcy Court or any formal action other
 than proceeding to confirm or effectuate this Plan. The failure to satisfy or waive a condition to
 the Effective Date may be asserted by the Debtor regardless of the circumstances giving rise to the
 failure of such condition to be satisfied. The failure of the Debtor to exercise any of the foregoing
 rights will not be deemed a waiver of any other rights, and each right will be deemed an ongoing
 right that may be asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant
 Trust, as applicable.

 C.     Dissolution of the Committee

         On the Effective Date, the Committee will dissolve, and the members of the Committee
 and the Committee’s Professionals will cease to have any role arising from or relating to the
 Chapter 11 Case, except in connection with final fee applications of Professionals for services
 rendered prior to the Effective Date (including the right to object thereto). The Professionals
 retained by the Committee and the members thereof will not be entitled to assert any fee claims
 for any services rendered to the Committee or expenses incurred in the service of the Committee
 after the Effective Date, except for reasonable fees for services rendered, and actual and necessary
 costs incurred, in connection with any applications for allowance of Professional Fees pending on



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 the Effective Date or filed and served after the Effective Date pursuant to the Plan. Nothing in the
 Plan shall prohibit or limit the ability of the Debtor’s or Committee’s Professionals to represent
 either of the Trustees or to be compensated or reimbursed per the Plan and the Claimant Trust
 Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

 A.     General

         Notwithstanding anything contained in the Plan to the contrary, the allowance,
 classification and treatment of all Allowed Claims and Equity Interests and their respective
 distributions and treatments under the Plan shall take into account the relative priority and rights
 of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
 equitable subordination rights relating thereto whether arising under general principles of equitable
 subordination, section 510 of the Bankruptcy Code, or otherwise.

 B.     Discharge of Claims

         To the fullest extent provided under section 1141(d)(1)(A) and other applicable provisions
 of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the Confirmation
 Order, all consideration distributed under this Plan will be in exchange for, and in complete
 satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of any kind or
 nature whatsoever against the Debtor or any of its Assets or properties, and regardless of whether
 any property will have been distributed or retained pursuant to this Plan on account of such Claims
 or Equity Interests. Except as otherwise expressly provided by this Plan or the Confirmation
 Order, upon the Effective Date, the Debtor and its Estate will be deemed discharged and released
 under and to the fullest extent provided under section 1141(d)(1)(A) and other applicable
 provisions of the Bankruptcy Code from any and all Claims and Equity Interests of any kind or
 nature whatsoever, including, but not limited to, demands and liabilities that arose before the
 Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or 502(i) of the
 Bankruptcy Code.

 C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
 by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
 exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
 Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in connection
 with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
 and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or confirmation
 of, the Plan; (iii) the funding or consummation of the Plan (including the Plan Supplement) or any
 related agreements, instruments, or other documents, the solicitation of votes on the Plan, the offer,
 issuance, and Plan Distribution of any securities issued or to be issued pursuant to the Plan,
 including the Claimant Trust Interests, whether or not such Plan Distributions occur following the
 Effective Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions, and
 documentation in connection with the foregoing clauses (i)-(iv); provided, however, the foregoing



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 will not apply to (a) any acts or omissions of an Exculpated Party arising out of or related to acts
 or omissions that constitute bad faith, fraud, gross negligence, criminal misconduct, or willful
 misconduct or (b) Strand or any Employee other than with respect to actions taken by such Entities
 from the date of appointment of the Independent Directors through the Effective Date. This
 exculpation shall be in addition to, and not in limitation of, all other releases, indemnities,
 exculpations, any other applicable law or rules, or any other provisions of this Plan, including
 ARTICLE IV.C.2, protecting such Exculpated Parties from liability.

 D.     Releases by the Debtor

         On and after the Effective Date, each Released Party is deemed to be, hereby conclusively,
 absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtor and
 the Estate, in each case on behalf of themselves and their respective successors, assigns, and
 representatives, including, but not limited to, the Claimant Trust and the Litigation Sub-Trust from
 any and all Causes of Action, including any derivative claims, asserted on behalf of the Debtor,
 whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
 arising, in law, equity, contract, tort or otherwise, that the Debtor or the Estate would have been
 legally entitled to assert in their own right (whether individually or collectively) or on behalf of
 the holder of any Claim against, or Interest in, a Debtor or other Person.

         Notwithstanding anything contained herein to the contrary, the foregoing release does not
 release: (i) any obligations of any party under the Plan or any document, instrument, or agreement
 executed to implement the Plan, (ii) the rights or obligations of any current employee of the Debtor
 under any employment agreement or plan, (iii) the rights of the Debtor with respect to any
 confidentiality provisions or covenants restricting competition in favor of the Debtor under any
 employment agreement with a current or former employee of the Debtor, (iv) any Avoidance
 Actions, or (v) any Causes of Action arising from willful misconduct, criminal misconduct, actual
 fraud, or gross negligence of such applicable Released Party as determined by Final Order of the
 Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
 ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
 Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
 (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
 Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any Employee,
 including a Senior Employee, shall be deemed null and void and of no force and effect (1) if there
 is more than one member of the Claimant Trust Oversight Committee who does not represent
 entities holding a Disputed or Allowed Claim (the “Independent Members”), the Claimant Trustee
 and the Independent Members by majority vote determine or (2) if there is only one Independent
 Member, the Independent Member after discussion with the Claimant Trustee, determines (in each
 case after discussing with the full Claimant Trust Oversight Committee) that such Employee
 (regardless of whether the Employee is then currently employed by the Debtor, the Reorganized
 Debtor, or the Claimant Trustee):

        •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
            attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation




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             Sub-Trust, or any of their respective employees or agents, or any Released Party on or
             in connection with any claim or cause of action arising prior to the Effective Date,

        •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
             the Reorganized Debtor Assets, or

        •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable assistance
             in good faith to the Claimant Trustee or the Reorganized Debtor with respect to (1) the
             monetization of the Claimant Trust Assets or Reorganized Debtor Assets, as applicable,
             or (2) the resolution of Claims, or (y) has taken any action that impedes or frustrates
             the Claimant Trustee or the Reorganized Debtor with respect to any of the foregoing.

 Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
 Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
 release has not been deemed null and void and of no force and effect on or prior to the date that is
 the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

       By executing the Senior Employee Stipulation embodying this release, each Senior
 Employee acknowledges and agrees, without limitation, to the terms of this release and the tolling
 agreement contained in the Senior Employee Stipulation.

        The provisions of this release and the execution of a Senior Employee Stipulation will not
 in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
 Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought against
 the Employee by a third party, or (iii) assisting other persons in defending themselves from any
 Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims brought
 by the Litigation Trustee and not collection or other actions brought by the Claimant Trustee).

 E.     Preservation of Rights of Action

        1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized Debtor
 or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as appropriate,
 any and all Causes of Action included in the Reorganized Debtor Assets or Claimant Trust Assets,
 as applicable, whether existing as of the Petition Date or thereafter arising, in any court or other
 tribunal including, without limitation, in an adversary proceeding Filed in the Chapter 11 Case
 and, as the successors in interest to the Debtor and the Estate, may, and will have the exclusive
 right to, enforce, sue on, settle, compromise, transfer or assign (or decline to do any of the
 foregoing) any or all of the Causes of Action without notice to or approval from the Bankruptcy
 Court.

        2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
 is expressly waived, relinquished, released, compromised or settled in this Plan or any Final Order
 (including, without limitation, the Confirmation Order), such Cause of Action is expressly reserved
 for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable (including,


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 without limitation, Causes of Action not specifically identified or of which the Debtor may
 presently be unaware or that may arise or exist by reason of additional facts or circumstances
 unknown to the Debtor at this time or facts or circumstances that may change or be different from
 those the Debtor now believes to exist) and, therefore, no preclusion doctrine, including, without
 limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
 waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such Causes of Action as
 a consequence of the confirmation, effectiveness, or consummation of this Plan based on the
 Disclosure Statement, this Plan or the Confirmation Order, except where such Causes of Action
 have been expressly released in this Plan or any other Final Order (including, without limitation,
 the Confirmation Order). In addition, the right of the Reorganized Debtor or the Claimant Trust
 to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a plaintiff, defendant
 or an interested party, against any Entity, including, without limitation, the plaintiffs or co-
 defendants in such lawsuits, is expressly reserved.

 F.     Injunction

        Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
 permanently enjoined, on and after the Effective Date, from taking any actions to interfere
 with the implementation or consummation of the Plan.

         Except as expressly provided in the Plan, the Confirmation Order, or a separate order
 of the Bankruptcy Court, all Enjoined Parties are and shall be permanently enjoined, on and
 after the Effective Date, with respect to any Claims and Equity Interests, from directly or
 indirectly (i) commencing, conducting, or continuing in any manner any suit, action, or other
 proceeding of any kind (including any proceeding in a judicial, arbitral, administrative or
 other forum) against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
 levying, attaching (including any prejudgment attachment), collecting, or otherwise
 recovering, enforcing, or attempting to recover or enforce, by any manner or means, any
 judgment, award, decree, or order against the Debtor or the property of the Debtor, (iii)
 creating, perfecting, or otherwise enforcing in any manner, any security interest, lien or
 encumbrance of any kind against the Debtor or the property of the Debtor, (iv) asserting any
 right of setoff, directly or indirectly, against any obligation due to the Debtor or against
 property or interests in property of the Debtor, except to the limited extent permitted under
 Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or proceeding in any manner,
 in any place whatsoever, that does not conform to or comply with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
 forth in any of clauses (i)-(v) of the immediately preceding paragraph against any successors
 of the Debtor, including, but not limited to, the Reorganized Debtor, the Litigation Sub-
 Trust, and the Claimant Trust and their respective property and interests in property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
 pursue a claim or cause of action of any kind against any Protected Party that arose or arises
 from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration of
 the Plan or property to be distributed under the Plan, the wind down of the business of the
 Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation
 Sub-Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court



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 (i) first determining, after notice and a hearing, that such claim or cause of action represents
 a colorable claim of any kind, including, but not limited to, negligence, bad faith, criminal
 misconduct, willful misconduct, fraud, or gross negligence against a Protected Party and (ii)
 specifically authorizing such Enjoined Party to bring such claim or cause of action against
 any such Protected Party; provided, however, the foregoing will not apply to a claim or cause
 of action against Strand or against any Employee other than with respect to actions taken,
 respectively, by Strand or by such Employee from the date of appointment of the
 Independent Directors through the Effective Date. The Bankruptcy Court will have sole and
 exclusive jurisdiction to determine whether a claim or cause of action is colorable and, only
 to the extent legally permissible and as provided for in ARTICLE XI, shall have jurisdiction
 to adjudicate the underlying colorable claim or cause of action.

 G.     Duration of Injunctions and Stays

         ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
 in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
 Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
 effect in accordance with their terms; and (ii) the automatic stay arising under section 362
 of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
 Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge, the
 Court will enter an equivalent order under Section 105.

 H.     Continuance of January 9 Order

        Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
 the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
 Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
 and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
 January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                        ARTICLE X.
                                   BINDING NATURE OF PLAN

         On the Effective Date, and effective as of the Effective Date, the Plan, including, without
 limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all Holders
 of Claims against and Equity Interests in the Debtor and such Holder’s respective successors and
 assigns, to the maximum extent permitted by applicable law, notwithstanding whether or not such
 Holder will receive or retain any property or interest in property under the Plan. All Claims and
 Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also bind any taxing
 authority, recorder of deeds, or similar official for any county, state, Governmental Unit or parish
 in which any instrument related to the Plan or related to any transaction contemplated thereby is
 to be recorded with respect to nay taxes of the kind specified in Bankruptcy Code section 1146(a).




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                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

         Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
 of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
 after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
 respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
 and this Plan to the maximum extent legally permissible, including, without limitation, jurisdiction
 to:

        •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
            secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
            without limitation, the resolution of any request for payment of any Administrative
            Expense Claim and the resolution of any and all objections to the allowance or priority
            of any Claim or Equity Interest;

        •   grant or deny any applications for allowance of compensation or reimbursement of
            expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
            on or before the Effective Date; provided, however, that, from and after the Effective
            Date, the Reorganized Debtor shall pay Professionals in the ordinary course of business
            for any work performed after the Effective Date subject to the terms of this Plan and
            the Confirmation Order, and such payment shall not be subject to the approval of the
            Bankruptcy Court;

        •   resolve any matters related to the assumption, assignment or rejection of any Executory
            Contract or Unexpired Lease to which the Debtor is party or with respect to which the
            Debtor, Reorganized Debtor, or Claimant Trust may be liable and to adjudicate and, if
            necessary, liquidate, any Claims arising therefrom, including, without limitation, any
            dispute regarding whether a contract or lease is or was executory or expired;

        •   make any determination with respect to a claim or cause of action against a Protected
            Party as set forth in ARTICLE IX;

        •   resolve any claim or cause of action against an Exculpated Party or Protected Party
            arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
            administration of the Plan or property to be distributed under the Plan, the wind down
            of the business of the Debtor or Reorganized Debtor, or the transactions in furtherance
            of the foregoing;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any sale, disposition, assignment or other transfer of the Reorganized Debtor
            Assets or Claimant Trust Assets, including any break-up compensation or expense
            reimbursement that may be requested by a purchaser thereof; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
            authority or approval from the Bankruptcy Court unless otherwise specifically required
            by this Plan or the Confirmation Order;




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       •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
           and allow any borrowing or the incurrence of indebtedness, whether secured or
           unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
           neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek such
           authority or approval from the Bankruptcy Court unless otherwise specifically required
           by this Plan or the Confirmation Order;

       •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

       •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
           are accomplished pursuant to the provisions of this Plan;

       •   decide or resolve any motions, adversary proceedings, contested or litigated matters
           and any other Causes of Action (including Estate Claims) that are pending as of the
           Effective Date or that may be commenced in the future, including approval of any
           settlements, compromises, or other resolutions as may be requested by the Debtor, the
           Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
           Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
           Debtor that may be pending on the Effective Date or instituted by the Reorganized
           Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
           that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
           reserve the right to commence actions in all appropriate forums and jurisdictions;

       •   enter such orders as may be necessary or appropriate to implement, effectuate, or
           consummate the provisions of this Plan, the Plan Documents, and all other contracts,
           instruments, releases, and other agreements or documents adopted in connection with
           this Plan, the Plan Documents, or the Disclosure Statement;

       •   resolve any cases, controversies, suits or disputes that may arise in connection with the
           implementation, effectiveness, consummation, interpretation, or enforcement of this
           Plan or any Entity’s obligations incurred in connection with this Plan;

       •   issue injunctions and enforce them, enter and implement other orders or take such other
           actions as may be necessary or appropriate to restrain interference by any Entity with
           implementation, effectiveness, consummation, or enforcement of this Plan, except as
           otherwise provided in this Plan;

       •   enforce the terms and conditions of this Plan and the Confirmation Order;

       •   resolve any cases, controversies, suits or disputes with respect to the release,
           exculpation, indemnification, and other provisions contained herein and enter such
           orders or take such others actions as may be necessary or appropriate to implement or
           enforce all such releases, injunctions and other provisions;

       •   enter and implement such orders or take such others actions as may be necessary or
           appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
           vacated;



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        •   resolve any other matters that may arise in connection with or relate to this Plan, the
            Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
            instrument, release, indenture or other agreement or document adopted in connection
            with this Plan or the Disclosure Statement; and

        •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                      ARTICLE XII.
                                 MISCELLANEOUS PROVISIONS

 A.     Payment of Statutory Fees and Filing of Reports

         All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
 and all such fees that become due and payable, after the Effective Date shall be paid by the
 Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
 closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
 the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
 After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
 reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
 Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S. Trustee
 until the earliest of the Debtor’s case being closed, dismissed, or converted to a case under chapter
 7 of the Bankruptcy Code.

 B.     Modification of Plan

         Effective as of the date hereof and subject to the limitations and rights contained in this
 Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
 Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order with
 the consent of the Committee, such consent not to be unreasonably withheld; and (b) after the entry
 of the Confirmation Order, the Debtor may, after notice and hearing and entry of an order of the
 Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of the
 Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this Plan in
 such manner as may be necessary to carry out the purpose and intent of this Plan.

 C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
 Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
 revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null and
 void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
 Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
 executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
 order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall: (a) constitute
 a waiver or release of any Claims by or against, or any Equity Interests in, the Debtor or any other
 Entity; (b) prejudice in any manner the rights of the Debtor or any other Entity; or (c) constitute
 an admission, acknowledgement, offer or undertaking of any sort by the Debtor or any other Entity.




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 D.     Obligations Not Changed

         Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
 otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
 obligations, including any contractual and indemnification obligations, to the Debtor, the
 Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

 E.     Entire Agreement

        Except as otherwise described herein, this Plan supersedes all previous and
 contemporaneous negotiations, promises, covenants, agreements, understandings, and
 representations on such subjects, all of which have become merged and integrated into this Plan.

 F.     Closing of Chapter 11 Case

        The Claimant Trustee shall, after the Effective Date and promptly after the full
 administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
 Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
 Case.

 G.     Successors and Assigns

         This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
 and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee. The
 rights, benefits, and obligations of any Person or Entity named or referred to in this Plan shall be
 binding on, and shall inure to the benefit of, any heir, executor, administrator, successor, or assign
 of such Person or Entity.

 H.     Reservation of Rights

         Except as expressly set forth herein, this Plan shall have no force or effect unless and until
 the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither the
 filing of this Plan, any statement or provision contained herein, nor the taking of any action by the
 Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to this Plan
 shall be or shall be deemed to be an admission or waiver of any rights of: (1) the Debtor, the
 Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims or Equity
 Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to
 the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
 schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this Plan,
 will constitute an admission by the Debtor that any such contract or lease is or is not an executory
 contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or their
 respective Affiliates has any liability thereunder.

        Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
 diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the




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 Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
 contract.

        Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
 responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, under any executory or non-executory contract or lease.

         If there is a dispute regarding whether a contract or lease is or was executory at the time of
 its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
 applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute to
 alter their treatment of such contract.

 I.     Further Assurances

         The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders of
 Claims and Equity Interests receiving distributions hereunder, and all other Entities shall, from
 time to time, prepare, execute and deliver any agreements or documents and take any other actions
 as may be necessary or advisable to effectuate the provisions and intent of this Plan or the
 Confirmation Order. On or before the Effective Date, the Debtor shall File with the Bankruptcy
 Court all agreements and other documents that may be necessary or appropriate to effectuate and
 further evidence the terms and conditions hereof.

 J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
 Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the power
 to alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void,
 or unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
 provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
 or invalidated by such holding, alteration, or interpretation. The Confirmation Order will
 constitute a judicial determination and will provide that each term and provision of this Plan, as it
 may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
 pursuant to its terms.

 K.     Service of Documents

         All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
 Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
 herein, shall be deemed to have been duly given or made when actually delivered addressed as
 follows:

                If to the Claimant Trust:

                Highland Claimant Trust
                c/o Highland Capital Management, L.P.
                300 Crescent Court, Suite 700


                                                  56                                          Appx_1043
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                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                If to the Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.

                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Telephone: (310) 277-6910
                Facsimile: (310) 201-0760
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

                If to the Reorganized Debtor:

                Highland Capital Management, L.P.
                300 Crescent Court, Suite 700
                Dallas, Texas 75201
                Attention: James P. Seery, Jr.
                with copies to:

                Pachulski Stang Ziehl & Jones LLP
                10100 Santa Monica Blvd., 13th Floor
                Los Angeles, CA 90067
                Attn: Jeffrey N. Pomerantz, Esq.
                       Ira D. Kharasch, Esq.
                       Gregory V. Demo, Esq.

 L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
        Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
 Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
 or governmental assessment in the United States, and the Confirmation Order shall direct the
 appropriate federal, state or local governmental officials or agents or taxing authority to forego the
 collection of any such Stamp or Similar Tax or governmental assessment and to accept for filing
 and recordation instruments or other documents pursuant to such transfers of property without the
 payment of any such Stamp or Similar Tax or governmental assessment. Such exemption
 specifically applies, without limitation, to (i) all actions, agreements and documents necessary to



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 evidence and implement the provisions of and the distributions to be made under this Plan; (ii) the
 maintenance or creation of security or any Lien as contemplated by this Plan; and (iii) assignments,
 sales, or transfers executed in connection with any transaction occurring under this Plan.

 M.     Governing Law

          Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
  law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise, the
  rights and obligations arising under this Plan shall be governed by, and construed and enforced
  in accordance with, the laws of Texas, without giving effect to the principles of conflicts of law
  of such jurisdiction; provided, however, that corporate governance matters relating to the
  Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as applicable, shall be
  governed by the laws of the state of organization of the Debtor, the Reorganized Debtor, New
  GP LLC, or the Claimant Trustee, as applicable.

 N.     Tax Reporting and Compliance

         The Debtor is hereby authorized to request an expedited determination under
 section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
 ending after the Petition Date through, and including, the Effective Date.

 O.     Exhibits and Schedules

      All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
 Documents, are incorporated and are a part of this Plan as if set forth in full herein.

 P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
 created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
 Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan Document,
 on the one hand, and of the Confirmation Order, on the other hand, shall be construed in a manner
 consistent with each other so as to effectuate the purposes of each; provided, however, that if there
 is determined to be any inconsistency between any provision of this Plan, the Disclosure
 Statement, and any Plan Document, on the one hand, and any provision of the Confirmation Order,
 on the other hand, that cannot be so reconciled, then, solely to the extent of such inconsistency,
 the provisions of the Confirmation Order shall govern, and any such provisions of the
 Confirmation Order shall be deemed a modification of this Plan, the Disclosure Statement, and the
 Plan Documents, as applicable.

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                                     Exhibit B
     Schedule of CLO Management Agreements and Related Contracts to Be Assumed




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           Schedule of CLO Management Agreements and Related Contracts to Be Assumed

 1.      Servicing Agreement, dated December 20, 2007, by and among Greenbriar CLO, Ltd.,
         and Highland Capital Management, L.P.
 2.      Investment Management Agreement, dated November 1, 2007, by and between Longhorn
         Credit Funding, LLC, and Highland Capital Management, L.P. (as amended)
 3.      Reference Portfolio Management Agreement, dated August 1, 2016, by and between
         Highland Capital Management, L.P., and Valhalla CLO, Ltd.
 4.      Collateral Servicing Agreement, dated December 20, 2006, by and among Highland Park
         CDO I, Ltd., and Highland Capital Management, L.P.
 5.      Portfolio Management Agreement, dated March 15, 2005, by and among Southfork CLO
         Ltd., and Highland Capital Management, L.P.
 6.      Amended and Restated Portfolio Management Agreement, dated November 30, 2005, by
         and among Jaspar CLO Ltd., and Highland Capital Management, L.P.
 7.      Servicing Agreement, dated May 31, 2007, by and among Westchester CLO, Ltd., and
         Highland Capital Management, L.P.
 8.      Servicing Agreement, dated May 10, 2006, by and among Rockwall CDO Ltd. and
         Highland Capital Management, L.P. (as amended)
 9.      Portfolio Management Agreement, dated December 8, 2005, by and between Liberty
         CLO, Ltd., and Highland Capital Management, L.P.
 10.     Servicing Agreement, dated March 27, 2008, by and among Aberdeen Loan Funding,
         Ltd., and Highland Capital Management, L.P.
 11.     Servicing Agreement, dated May 9, 2007, by and among Rockwall CDO II Ltd. and
         Highland Capital Management, L.P.
 12.     Collateral Management Agreement, by and between, Highland Loan Funding V Ltd. and
         Highland Capital Management, L.P., dated August 1, 2001.
 13.     Collateral Management Agreement, dated August 18, 1999, by and between Highland
         Legacy Limited and Highland Capital Management, L.P.
 14.     Servicing Agreement, dated November 30, 2006, by and among Grayson CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 15.     Servicing Agreement, dated October 25, 2007, by and among Stratford CLO Ltd., and
         Highland Capital Management, L.P.
 16.     Servicing Agreement, dated August 3, 2006, by and among Red River CLO Ltd., and
         Highland Capital Management, L.P. (as amended)
 17.     Servicing Agreement, dated December 21, 2006, by and among Brentwood CLO, Ltd.,
         and Highland Capital Management, L.P.
 18.     Servicing Agreement, dated March 13, 2007, by and among Eastland CLO Ltd., and
         Highland Capital Management, L.P.



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 19.     Portfolio Management, Agreement, dated October 13, 2005, by and among Gleneagles
         CLO, Ltd., and Highland Capital Management, L.P.
 20.     Members’ Agreement and Amendment, dated November 15, 2017, by and between
         Highland CLO Funding, Ltd. and Highland Capital Management, L.P.
 21.     Collateral Management Agreement, dated May 19, 1998, by and between Pam Capital
         Funding LP, Ranger Asset Mgt LP and Highland Capital Management, L.P.
 22.     Collateral Management Agreement, dated August 6, 1997, by and between Pamco
         Cayman Ltd., Ranger Asset Mgt LP and Highland Capital Management, L.P.
 23.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Red River CLO Ltd. et al
 24.     Interim Collateral Management Agreement, June 15, 2005, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 25.     Amendment No. 1 to Servicing Agreement, October 2, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd
 26.     Collateral Servicing Agreement dated December 20, 2006, between Highland Capital
         Management, L.P. and Highland Park CDO I, Ltd.; The Bank of New York Trust
         Company, National Association
 27.     Representations and Warranties Agreement, dated December 20, 2006, between Highland
         Capital Management, L.P. and Highland Park CDO I, Ltd.
 28.     Collateral Administration Agreement, dated March 27, 2008, between Highland Capital
         Management, L.P. and Aberdeen Loan Funding, Ltd.; State Street Bank and Trust
         Company
 29.     Collateral Administration Agreement, dated December 20, 2007, between Highland
         Capital Management, L.P. and Greenbriar CLO, Ltd.; State Street Bank and Trust
         Company
 30.     Collateral Acquisition Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd
 31.     Collateral Administration Agreement, dated March 13, 2007, between Highland Capital
         Management, L.P. and Eastland CLO, Ltd. and Investors Bank and Trust Company
 32.     Collateral Administration Agreement, dated October 13, 2005, between Highland Capital
         Management, L.P. and Gleneagles CLO, Ltd.; JPMorgan Chase Bank, National
         Association
 33.     Collateral Acquisition Agreement, dated November 30, 2006, between Highland Capital
         Management, L.P. and Grayson CLO, Ltd.
 34.     Collateral Administration Agreement, dated November 30, 2006, between Highland
         Capital Management, L.P. and Grayson CLO, Ltd.; Investors Bank & Trust Company
 35.     Collateral Acquisition Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.



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 36.     Collateral Administration Agreement, dated August 3, 2006, between Highland Capital
         Management, L.P. and Red River CLO, Ltd.; U.S. Bank National Association
 37.     Master Warehousing and Participation Agreement, dated April 19, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; Highland Special
         Opportunities Holding Company
 38.     Master Warehousing and Participation Agreement, dated February 2, 2006, between
         Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5 Funding, LLC;
         IXIS Financial Products Inc.
 39.     Master Warehousing and Participation Agreement (Amendment No. 2), dated May 5,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 40.     Master Warehousing and Participation Agreement (Amendment No. 1), dated April 12,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 41.     Master Warehousing and Participation Agreement (Amendment No. 3), dated June 22,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 42.     Master Warehousing and Participation Agreement (Amendment No. 4), dated July 17,
         2006, between Highland Capital Management, L.P. and Red River CLO Ltd.; MMP-5
         Funding, LLC; IXIS Financial Products Inc.
 43.     Collateral Administration Agreement, dated February 2, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; U.S. Bank National Association; IXIS
         Financial Products Inc.
 44.     Collateral Administration Agreement, dated April 18, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Highland Special Opportunities Holding
         Company; U.S. Bank National Association
 45.     Master Participation Agreement, dated June 5, 2006, between Highland Capital
         Management, L.P. and Red River CLO Ltd.; Grand Central Asset Trust
 46.     A&R Asset Acquisition Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Smith Barney Inc.; Highland Loan Funding V Ltd.
 47.     A&R Master Participation Agreement, dated July 18, 2001, between Highland Capital
         Management, L.P. and Salomon Brothers Holding Company; Highland Loan Funding V
         Ltd.
 48.     Collateral Acquisition Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.
 49.     Collateral Administration Agreement, dated June 29, 2005, between Highland Capital
         Management, L.P. and Jasper CLO Ltd.; JPMorgan Chase Bank, National Association
 50.     Master Warehousing and Participation Agreement, dated March 24, 2005, between
         Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5 Funding, LLC; and
         IXIS Financial Products Inc.


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 51.     Master Warehousing and Participation Agreement (Amendment No. 1), dated May 16,
         2005, between Highland Capital Management, L.P. and Jasper CLO Ltd; MMP-5
         Funding, LLC; and IXIS Financial Products Inc.
 52.     Collateral Administration Agreement, dated December 8, 2005, between Highland
         Capital Management, L.P. and Liberty CLO Ltd.
 53.     Collateral Administration Agreement, dated May 10, 2006, between Highland Capital
         Management, L.P. and Rockwall CDO Ltd; JPMorgan Chase Bank, National Association
 54.     Collateral Administration Agreement, dated May 9, 2007, between Highland Capital
         Management, L.P. and Rockwall CDO II, Ltd.; Investors Bank & Trust Company
 55.     Collateral Administration Agreement, dated March 15, 2005, between Highland Capital
         Management, L.P. and Southfork CLO Ltd.; JPMorgan Chase Bank, National
         Association
 56.     Collateral Administration Agreement, dated October 25, 2007, between Highland Capital
         Management, L.P. and Stratford CLO Ltd.; State Street
 57.     Collateral Administration Agreement, dated August 18, 2004, between Highland Capital
         Management, L.P. and Valhalla CLO, Ltd.; JPMorgan Chase Bank
 58.     Collateral Acquisition Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.
 59.     Collateral Administration Agreement, dated May 31, 2007, between Highland Capital
         Management, L.P. and Westchester CLO, Ltd.; Investors Bank & Trust Company
 60.     Collateral Administration Agreement, dated December 21, 2006, between Highland
         Capital Management, L.P. and Brentwood CLO, Ltd.; Investors Bank & Trust Company




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                                                                                             EXECUTION VERSION


                                      CLAIMANT TRUST AGREEMENT

         This Claimant Trust Agreement, effective as of August 11, 2021 (as may be amended,
  supplemented, or otherwise modified in accordance with the terms hereof, this “Agreement”), by
  and among Highland Capital Management, L.P. (as debtor and debtor-in-possession, the
  “Debtor”), as settlor, and James P. Seery, Jr., as trustee (the “Claimant Trustee”), and Wilmington
  Trust, National Association, a national banking association (“WTNA”), as Delaware trustee (in
  such capacity hereunder, and not in its individual capacity, the “Delaware Trustee,” and together
  with the Debtor and the Claimant Trustee, the “Parties”) for the benefit of the Claimant Trust
  Beneficiaries entitled to the Claimant Trust Assets.

                                                       RECITALS

         WHEREAS, on October 16, 2019, Highland Capital Management, L.P. filed with the
  United States Bankruptcy Court for the District of Delaware, a voluntary petition for relief under
  chapter 11 of the Bankruptcy Code, which case was subsequently transferred to the Bankruptcy
  Court for the Northern District of Texas, Dallas Division (the “Bankruptcy Court”) and captioned
  In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (the “Chapter 11 Case”);

         WHEREAS, on November 24, 2020, the Debtor filed the Fifth Amended Plan of
  Reorganization of Highland Capital Management, L.P. [Docket No. 1472] (as may be amended,
  supplemented, or otherwise modified from time to time, the “Plan”),1 which was confirmed by the
  Bankruptcy Court on February 22, 2021, pursuant to the Findings of Fact and Order Confirming
  Plan of Reorganization for the Debtor [Docket No. 1943] (the “Confirmation Order”);

           WHEREAS, this Agreement, including all exhibits hereto, is the “Claimant Trust
  Agreement” described in the Plan and shall be executed on or before the Effective Date in order
  to facilitate implementation of the Plan; and

          WHEREAS, pursuant to the Plan and Confirmation Order, the Claimant Trust Assets are
  to be transferred to the Claimant Trust (each as defined herein) created and evidenced by this
  Agreement so that (i) the Claimant Trust Assets can be held in a trust for the benefit of the Claimant
  Trust Beneficiaries entitled thereto in accordance with Treasury Regulation Section 301.7701-4(d)
  for the objectives and purposes set forth herein and in the Plan; (ii) the Claimant Trust Assets can
  be monetized; (iii) the Claimant Trust will transfer Estate Claims to the Litigation Sub-Trust to be
  prosecuted, settled, abandoned, or resolved as may be determined by the Litigation Trustee in
  accordance with the terms of the Litigation Sub-Trust Agreement, for the benefit of the Claimant
  Trust; (iv) proceeds of the Claimant Trust Assets, including Estate Claims, may be distributed to
  the Claimant Trust Beneficiaries2 in accordance with the Plan; (v) the Claimant Trustee can resolve

  1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Plan.
  The confirmed Plan included certain amendments filed on February 1, 2021. See Debtor’s Notice of Filing of Plan
  Supplement to the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as Modified),
  Docket No. 1875, Exh. B.
  2
    For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and Class
  B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the Claimant Trustee
  that the Holders of such Claims have been paid indefeasibly in full plus, to the extent applicable, post-petition interest
  in accordance with the terms and conditions set forth herein and in the Plan.


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  Disputed Claims as set forth herein and in the Plan; and (vi) administrative services relating to the
  activities of the Claimant Trust and relating to the implementation of the Plan can be performed
  by the Claimant Trustee.

                                        DECLARATION OF TRUST

         NOW, THEREFORE, in order to declare the terms and conditions hereof, and in
  consideration of the premises and mutual agreements herein contained, the confirmation of the
  Plan and of other good and valuable consideration, the receipt and sufficiency of which are hereby
  acknowledged, the Debtor, the Claimant Trustee, and the Delaware Trustee have executed this
  Agreement for the benefit of the Claimant Trust Beneficiaries entitled to share in the Claimant
  Trust Assets and, at the direction of such Claimant Trust Beneficiaries as provided for in the Plan.

          TO HAVE AND TO HOLD unto the Claimant Trustee and his successors or assigns in
  trust, under and subject to the terms and conditions set forth herein and for the benefit of the
  Claimant Trust Beneficiaries, and for the performance of and compliance with the terms hereof
  and of the Plan; provided, however, that upon termination of the Claimant Trust in accordance
  with Article IX hereof, this Claimant Trust Agreement shall cease, terminate, and be of no further
  force and effect, unless otherwise specifically provided for herein.

           IT IS FURTHER COVENANTED AND DECLARED that the Claimant Trust Assets are
  to be strictly held and applied by the Claimant Trustee subject to the specific terms set forth below.


                                        DEFINITION AND TERMS

          1.1    Certain Definitions. Unless the context shall otherwise require and except as
  contained in this Section 1.1 or as otherwise defined herein, the capitalized terms used herein shall
  have the respective meanings assigned thereto in the “Definitions,” Section 1.1 of the Plan or if
  not defined therein, shall have the meanings assigned thereto in the applicable Section of the Plan.
  For all purposes of this Agreement, the following terms shall have the following meanings:

              (a)   “Acis” means collectively, Acis Capital Management, L.P. and Acis Capital
  Management GP, LLP.

                      (b)     “Bankruptcy Court” has the meaning set forth in the Recitals hereof.

                  (c)     “Cause” means (i) a Person’s willful failure to perform his material duties
  hereunder (which material duties shall include, without limitation, with respect to a Member, or to
  the extent applicable, the Claimant Trustee, regular attendance at regularly scheduled meetings of
  the Oversight Board), which is not remedied within 30 days of notice; (ii) a Person’s commission
  of an act of fraud, theft, or embezzlement during the performance of his or her duties hereunder;
  (iii) a Person’s conviction of a felony (other than a felony that does not involve fraud, theft,
  embezzlement, or jail time) with all appeals having been exhausted or appeal periods lapsed; or
  (iv) a Person’s gross negligence, bad faith, willful misconduct, or knowing violation of law in the
  performance of his or her duties hereunder.

                      (d)     “Claimant Trust Agreement” means this Agreement.

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                (e)     “Claimant Trustee” means James P. Seery, Jr., as the initial “Claimant
  Trustee” hereunder and as defined in the Plan, and any successor Claimant Trustee that may be
  appointed pursuant to the terms of this Agreement.

                  (f)   “Claimant Trust” means the “Highland Claimant Trust” established in
  accordance with the Delaware Statutory Trust Act and Treasury Regulation Section 301.7701-4(d)
  pursuant to this Agreement.

                  (g)     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
  Assets (which are expressly excluded from this definition), all other Assets of the Estate, including,
  but not limited to, all Causes of Action, Available Cash, any proceeds realized or received from
  such Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
  from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
  or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
  (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
  that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
  Reorganized Debtor Assets.

                 (h)     “Claimant Trust Beneficiaries” means the Holders of Allowed General
  Unsecured Claims, Holders of Allowed Subordinated Claims, and, only upon certification by the
  Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the
  extent applicable, post-petition interest at the federal judgment rate in accordance with the terms
  and conditions set forth herein, Holders of Allowed Class B/C Limited Partnership Interests, and
  Holders of Allowed Class A Limited Partnership Interests.

                 (i)    “Claimant Trust Expense Cash Reserve” means $[•] million in Cash to be
  funded pursuant to the Plan into a bank account of the Claimant Trust on or before the Effective
  Date for the purpose of paying Claimant Trust Expenses in accordance herewith.

                 (j)      “Claimant Trust Expenses” means the costs, expenses, liabilities and
  obligations incurred by the Claimant Trust and/or the Claimant Trustee in administering and
  conducting the affairs of the Claimant Trust, and otherwise carrying out the terms of the Claimant
  Trust and the Plan on behalf of the Claimant Trust, including without any limitation, any taxes
  owed by the Claimant Trust, and the fees and expenses of the Claimant Trustee and professional
  persons retained by the Claimant Trust or Claimant Trustee in accordance with this Agreement.

                (k)     “Committee Member” means a Member who is/was also a member of the
  Creditors’ Committee.

                      (l)     “Conflicted Member” has the meaning set forth in Section 4.6(c) hereof.

                  (m)     “Contingent Trust Interests” means the contingent interests in the Claimant
  Trust to be distributed to Holders of Class A Limited Partnership Interests and Class B/C Limited
  Partnership Interests in accordance with the Plan.

                (n)    “Creditors’ Committee” means the Official Committee of Unsecured
  Creditors appointed pursuant to section 1102 of the Bankruptcy Code in the Chapter 11 Case,
  comprised of Acis, Meta-e Discovery, the Redeemer Committee and UBS.

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                (o)      “Delaware Statutory Trust Act” means the Delaware Statutory Trust Act 12
  Del C. §3801, et seq. as amended from time to time.

                      (p)     “Delaware Trustee” has the meaning set forth in the introduction hereof.

                 (q)    “Disability” means as a result of the Claimant Trustee’s or a Member’s
  incapacity due to physical or mental illness as determined by an accredited physician or
  psychologist, as applicable, selected by the Claimant Trustee or the Member, as applicable, the
  Claimant Trustee or such Member has been substantially unable to perform his or her duties
  hereunder for three (3) consecutive months or for an aggregate of 180 days during any period of
  twelve (12) consecutive months.

                      (r)     “Disinterested Members” has the meaning set forth in Section 4.1 hereof.

                 (s)    “Disputed Claims Reserve” means the reserve account to be opened by the
  Claimant Trust on or after the Effective Date and funded in an initial amount determined by the
  Claimant Trustee [(in a manner consistent with the Plan and with the consent of a simple majority
  of the Oversight Board)] to be sufficient to pay Disputed Claims under the Plan.

                      (t)     “Employees” means the employees of the Debtor set forth in the Plan
  Supplement.

                  (u)    “Employee Claims” means any General Unsecured Claim held by an
  Employee other than the Claims of the Senior Employees subject to stipulations (provided such
  stipulations are executed by any such Senior Employee of the Debtor prior to the Effective Date).

                (v)    “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [Docket No. 354].

                      (w)     “Equity Trust Interests” has the meaning given to it in Section 5.1(c) hereof.

                      (x)     “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                (y)     “General Unsecured Claim Trust Interests” means interests in the Claimant
  Trust to be distributed to Holders of Allowed Class 8 General Unsecured Claims (including
  Disputed General Unsecured Claims that are subsequently Allowed) in accordance with the Plan.

               (z)    “GUC Beneficiaries” means the Claimant Trust Beneficiaries who hold
  General Unsecured Claim Trust Interests.

                      (aa)    “GUC Payment Certification” has the meaning given to it in Section 5.1(c)
  hereof.

                 (bb) “HarbourVest” means, collectively, HarbourVest 2017 Global Fund, L.P.,
  HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment, L.P., HV
  International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners,
  L.P.



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                      (cc)    “Investment Advisers Act” means the Investment Advisers Act of 1940, as
  amended.

                      (dd)    “Investment Company Act” means the Investment Company Act of 1940,
  as amended.

                 (ee) “Litigation Sub-Trust” means the sub-trust created pursuant to the
  Litigation Sub-Trust Agreement, which shall hold the Claimant Trust Assets that are Estate Claims
  and investigate, litigate, and/or settle the Estate Claims for the benefit of the Claimant Trust.

                  (ff)    “Litigation Sub-Trust Agreement” means the litigation sub-trust agreement
  to be entered into by and between the Claimant Trustee and Litigation Trustee establishing and
  setting forth the terms and conditions of the Litigation Sub-Trust and governing the rights and
  responsibilities of the Litigation Trustee.

                 (gg) “Litigation Trustee” means Marc S. Kirschner, and any successor Litigation
  Trustee that may be appointed pursuant to the terms of the Litigation Sub-Trust Agreement, who
  shall be responsible for investigating, litigating, and settling the Estate Claims for the benefit of
  the Claimant Trust in accordance with the terms and conditions set forth in the Litigation Sub-
  Trust Agreement.

                (hh) “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
  Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
  Debtor pursuant to an Executory Contract assumed pursuant to the Plan; provided, however, that
  the Highland Select Equity Fund, L.P. (and its direct and indirect subsidiaries) will not be
  considered a Managed Fund for purposes hereof.

                (ii)    “Material Claims” means the Claims asserted by UBS, Patrick Hagaman
  Daugherty, Integrated Financial Associates, Inc., and the Employees.

                      (jj)    “Member” means a Person that is member of the Oversight Board.

                      (kk)    “New GP LLC” means the general partner of the Reorganized Debtor.

                  (ll)   “Oversight Board” means the board comprised of five (5) Members
  established pursuant to the Plan and Article III of this Agreement to oversee the Claimant Trustee’s
  performance of his duties and otherwise serve the functions set forth in this Agreement and those
  of the “Claimant Trust Oversight Committee” described in the Plan. Subject to the terms of this
  Agreement, the initial Members of the Oversight Board shall be: (i) Eric Felton, as representative
  of the Redeemer Committee; (ii) Josh Terry, as representative of Acis; (iii) Elizabeth Kozlowski,
  as representative of UBS; (iv) Paul McVoy, as representative of Meta-e Discovery; and (v) David
  Pauker.

                      (mm) “Plan” has the meaning set forth in the Recitals hereof.

                 (nn) “Privileges” means the Debtor’s rights, title and interests in and to any
  privilege or immunity attaching to any documents or communications (whether written or oral)
  associated with any of the Estate Claims or Employee Claims, including, without limitation, to,

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  attorney-client privilege and work-product privilege as defined in Rule 502(g) of the Federal Rules
  of Evidence; provided, however, that “Privileges” shall not include the work-product privilege of
  any non-Employee attorney or attorneys that has not been previously shared with the Debtor or
  any of its employees and the work-product privilege shall remain with the non-Employee attorney
  or attorneys who created such work product so long as it has not been previously shared with the
  Debtor or any of its employees, or otherwise waived.

                      (oo)    “PSZJ” means Pachulski Stang Ziehl & Jones LLP.

               (pp)           “Redeemer Committee” means the Redeemer Committee of the Highland
  Crusader Fund.

                      (qq)    “Registrar” has the meaning given to it in Section 5.3(a) hereof.

                  (rr)   “Reorganized Debtor Assets” means any limited and general partnership
  interests held by the Debtor, the management of the Managed Funds and those Causes of Action
  (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
  capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
  Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
  but does not include the underlying portfolio assets held by the Managed Funds.

                      (ss)    “Securities Act” means the Securities Act of 1933, as amended.

                (tt)   “Subordinated Beneficiaries” means the Claimant Trust Beneficiaries who
  hold Subordinated Claim Trust Interests.

                (uu) “Subordinated Claim Trust Interests” means the subordinated interests in
  the Claimant Trust to be distributed to Holders of Allowed Class 9 Subordinated Claims in
  accordance with the Plan.

                      (vv)    “TIA” means the Trust Indenture Act of 1939, as amended.

                 (ww) “Trust Interests” means collectively the General Unsecured Claim Trust
  Interests, Subordinated Claim Trust Interests, and Equity Trust Interests.

                      (xx)    “Trust Register” has the meaning given to it in Section 5.4(b) hereof.

                   (yy) “Trustees” means collectively the Claimant Trustee and Delaware Trustee,
  however, it is expressly understood and agreed that the Delaware Trustee shall have none of the
  duties or liabilities of the Claimant Trustee.

                      (zz)    “UBS” means collectively UBS Securities LLC and UBS AG London
  Branch.

                      (aaa)   “WilmerHale” Wilmer Cutler Pickering Hale & Dorr LLP.

         1.2    General Construction. As used in this Agreement, the masculine, feminine and
  neuter genders, and the plural and singular numbers shall be deemed to include the others in all


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  cases where they would apply. “Includes” and “including” are not limiting and “or” is not
  exclusive. References to “Articles,” “Sections” and other subdivisions, unless referring
  specifically to the Plan or provisions of the Bankruptcy Code, the Bankruptcy Rules, or other law,
  statute or regulation, refer to the corresponding Articles, Sections and other subdivisions of this
  Agreement, and the words “herein,” “hereafter” and words of similar import refer to this
  Agreement as a whole and not to any particular Article, Section, or subdivision of this Agreement.
  Amounts expressed in dollars or following the symbol “$” shall be deemed to be in United States
  dollars. References to agreements or instruments shall be deemed to refer to such agreements or
  instruments as the same may be amended, supplemented, or otherwise modified in accordance
  with the terms thereof.

         1.3    Incorporation of the Plan. The Plan is hereby incorporated into this Agreement and
  made a part hereof by this reference.


                              ESTABLISHMENT OF THE CLAIMANT TRUST

            2.1       Creation of Name of Trust.

                 (a)    The Claimant Trust is hereby created as a statutory trust under the Delaware
  Statutory Trust Act and shall be called the “Highland Claimant Trust.” The Claimant Trustee shall
  be empowered to conduct all business and hold all property constituting the Claimant Trust Assets
  in such name in accordance with the terms and conditions set forth herein.

                  (b)     The Trustees shall cause to be executed and filed in the office of the
  Secretary of State of the State of Delaware the Certificate of Trust and agree to execute, acting
  solely in their capacity as Trustees, such certificates as may from time to time be required under
  the Delaware Statutory Trust Act or any other Delaware law.

            2.2       Objectives.

                  (a)     The Claimant Trust is established for the purpose of satisfying Allowed
  General Unsecured Claims and Allowed Subordinated Claims (and only to the extent provided
  herein, Allowed Class A Limited Partnership Interests and Class B/C Limited Partnership
  Interests) under the Plan, by monetizing the Claimant Trust Assets transferred to it and making
  distributions to the Claimant Trust Beneficiaries. The Claimant Trust shall not continue or engage
  in any trade or business except to the extent reasonably necessary to monetize and distribute the
  Claimant Trust Assets consistent with this Agreement and the Plan and act as sole member and
  manager of New GP LLC. The Claimant Trust shall provide a mechanism for (i) the monetization
  of the Claimant Trust Assets and (ii) the distribution of the proceeds thereof, net of all claims,
  expenses, charges, liabilities, and obligations of the Claimant Trust, to the Claimant Trust
  Beneficiaries in accordance with the Plan. In furtherance of this distribution objective, the
  Claimant Trust will, from time to time, prosecute and resolve objections to certain Claims and
  Interests as provided herein and in the Plan.

                (b)     It is intended that the Claimant Trust be classified for federal income tax
  purposes as a “liquidating trust” within the meaning of section 301.7701-4(d) of the Treasury
  Regulations. In furtherance of this objective, the Claimant Trustee shall, in his business judgment,

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  make continuing best efforts to (i) dispose of or monetize the Claimant Trust Assets and resolve
  Claims, (ii) make timely distributions, and (iii) not unduly prolong the duration of the Claimant
  Trust, in each case in accordance with this Agreement.

            2.3       Nature and Purposes of the Claimant Trust.

                  (a)    The Claimant Trust is organized and established as a trust for the purpose
  of monetizing the Claimant Trust Assets and making distributions to Claimant Trust Beneficiaries
  in a manner consistent with “liquidating trust” status under Treasury Regulation Section 301.7701-
  4(d). The Claimant Trust shall retain all rights to commence and pursue all Causes of Action of
  the Debtor other than (i) Estate Claims, which shall be assigned to and commenced and pursued
  by the Litigation Trustee pursuant to the terms of the Litigation Sub-Trust Agreement, and (ii)
  Causes of Action constituting Reorganized Debtor Assets, if any, which shall be commenced and
  pursued by the Reorganized Debtor at the direction of the Claimant Trust as sole member of New
  GP LLC pursuant to the terms of the Reorganized Limited Partnership Agreement. The Claimant
  Trust and Claimant Trustee shall have and retain, and, as applicable, assign and transfer to the
  Litigation Sub-Trust and Litigation Trustee, any and all rights, defenses, cross-claims and counter-
  claims held by the Debtor with respect to any Claim as of the Petition Date. On and after the date
  hereof, in accordance with and subject to the Plan, the Claimant Trustee shall have the authority
  to (i) compromise, settle or otherwise resolve, or withdraw any objections to Claims against the
  Debtor, provided, however, the Claimant Trustee shall only have the authority to compromise or
  settle any Employee Claim with the unanimous consent of the Oversight Board and in the absence
  of unanimous consent, any such Employee Claim shall be transferred to the Litigation Sub-Trust
  and be litigated, comprised, settled, or otherwise resolved exclusively by the Litigation Trustee
  and (ii) compromise, settle, or otherwise resolve any Disputed Claims without approval of the
  Bankruptcy Court, which authority may be shared with or transferred to the Litigation Trustee in
  accordance with the terms of the Litigation Sub-Trust Agreement. For the avoidance of doubt, the
  Claimant Trust, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state
  trust law, is appointed as the successor-in-interest to, and representative of, the Debtor and its
  Estate for the retention, enforcement, settlement, and adjustment of all Claims other than Estate
  Claims, the Employee Claims, and those Claims constituting Reorganized Debtor Assets.

                (b)     The Claimant Trust shall be administered by the Claimant Trustee, in
  accordance with this Agreement, for the following purposes:

                       (i)     to manage and monetize the Claimant Trust Assets in an expeditious
  but orderly manner with a view towards maximizing value within a reasonable time period;

                         (ii)    to litigate and settle Claims in Class 8 and Class 9 (other than the
  Employee Claims, which shall be litigated and/or settled by the Litigation Trustee if the Oversight
  Board does not unanimously approve of any proposed settlement of such Employee Claim by the
  Claimant Trustee) and any of the Causes of Action included in the Claimant Trust Assets
  (including any cross-claims and counter-claims); provided, however, that Estate Claims
  transferred to the Litigation Sub-Trust shall be litigated and settled by the Litigation Trustee
  pursuant to the terms of the Litigation Sub-Trust Agreement;




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                      (iii)    to distribute net proceeds of the Claimant Trust Assets to the
 Claimant Trust Beneficiaries;

                          (iv)  to distribute funds from the Disputed Claims Reserve to Holders of
 Trust Interests or to the Reorganized Debtor for distribution to Holders of Disputed Claims in each
 case in accordance with the Plan from time to time as any such Holder’s Disputed Claim becomes
 an Allowed Claim under the Plan;

                             (v)   to distribute funds to the Litigation Sub-Trust at the direction the
 Oversight Board;

                         (vi)   to serve as the limited partner of, and to hold the limited partnership
 interests in, the Reorganized Debtor;

                      (vii) to serve as the sole member and manager of New GP LLC, the
 Reorganized Debtor’s general partner;

                       (viii) to oversee the management and monetization of the Reorganized
 Debtor Assets pursuant to the terms of the Reorganized Limited Partnership Agreement, in its
 capacity as the sole member and manager of New GP LLC pursuant to the terms of the New GP
 LLC Documents, all with a view toward maximizing value in a reasonable time in a manner
 consistent with the Reorganized Debtor’s fiduciary duties as investment adviser to the Managed
 Funds; and

                       (ix)   to perform any other functions and take any other actions provided
 for or permitted by this Agreement and the Plan, and in any other agreement executed by the
 Claimant Trustee.

           2.4       Transfer of Assets and Rights to the Claimant Trust; Litigation Sub-Trust.

                 (a)     On the Effective Date, pursuant to the Plan, the Debtor shall irrevocably
 transfer, assign, and deliver, and shall be deemed to have transferred, assigned, and delivered, all
 Claimant Trust Assets and related Privileges held by the Debtor to the Claimant Trust free and
 clear of all Claims, Interests, Liens, and other encumbrances, and liabilities, except as provided in
 the Plan and this Agreement. To the extent certain assets comprising the Claimant Trust Assets,
 because of their nature or because such assets will accrue or become transferable subsequent to the
 Effective Date, and cannot be transferred to, vested in, and assumed by the Claimant Trust on such
 date, such assets shall be considered Reorganized Debtor Assets, which may be subsequently
 transferred to the Claimant Trust by the Reorganized Debtor consistent with the terms of the
 Reorganized Limited Partnership Agreement after such date.

                  (b)     On or as soon as practicable after the Effective Date, the Claimant Trust
 shall irrevocably transfer, assign, and deliver, and shall be deemed to have transferred, assigned,
 and delivered, all Estate Claims and related Privileges held by the Claimant Trust to the Litigation
 Sub-Trust Trust free and clear of all Claims, Interests, Liens, and other encumbrances, and
 liabilities, except as provided in the Plan, this Agreement, and the Litigation Sub-Trust Agreement.
 Following the transfer of such Privileges, the Litigation Trustee shall have the power to waive the
 Privileges being so assigned and transferred.

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                  (c)    On or before the Effective Date, and continuing thereafter, the Debtor or
 Reorganized Debtor, as applicable, shall provide (i) for the Claimant Trustee’s and Litigation
 Trustee’s reasonable access to all records and information in the Debtor’s and Reorganized
 Debtor’s possession, custody or control, (ii) that all Privileges related to the Claimant Trust Assets
 shall transfer to and vest exclusively in the Claimant Trust (except for those Privileges that will be
 transferred and assigned to the Litigation Sub-Trust in respect of the Estate Claims), and (iii)
 subject to Section 3.12(c), the Debtor and Reorganized Debtor shall preserve all records and
 documents (including all electronic records or documents), including, but not limited to, the
 Debtor’s file server, email server, email archiving system, master journal, SharePoint, Oracle E-
 Business Suite, Advent Geneva, Siepe database, Bloomberg chat data, and any backups of the
 foregoing, until such time as the Claimant Trustee, with the consent of the Oversight Board and,
 if pertaining to any of the Estate Claims, the Litigation Trustee, directs the Reorganized Debtor,
 as sole member of its general partner, that such records are no longer required to be preserved. For
 the purposes of transfer of documents, the Claimant Trust or Litigation Sub-Trust, as applicable,
 is an assignee and successor to the Debtor in respect of the Claimant Trust Assets and Estate
 Claims, respectively, and shall be treated as such in any review of confidentiality restrictions in
 requested documents.

                  (d)    Until the Claimant Trust terminates pursuant to the terms hereof, legal title
 to the Claimant Trust Assets (other than Estate Claims) and all property contained therein shall be
 vested at all times in the Claimant Trust as a separate legal entity, except where applicable law in
 any jurisdiction requires title to any part of the Claimant Trust Assets to be vested in the Claimant
 Trustee, in which case title shall be deemed to be vested in the Claimant Trustee, solely in his
 capacity as Claimant Trustee. For purposes of such jurisdictions, the term Claimant Trust, as used
 herein, shall be read to mean the Claimant Trustee.

        2.5    Principal Office. The principal office of the Claimant Trust shall be maintained by
 the Claimant Trustee at the following address: 100 Crescent Court, Suite 1850, Dallas, Texas
 75201.

        2.6      Acceptance. The Claimant Trustee accepts the Claimant Trust imposed by this
 Agreement and agrees to observe and perform that Claimant Trust, on and subject to the terms and
 conditions set forth herein and in the Plan.

         2.7    Further Assurances. The Debtor, Reorganized Debtor, and any successors thereof
 will, upon reasonable request of the Claimant Trustee, execute, acknowledge and deliver such
 further instruments and do such further acts as may be necessary or proper to transfer to the
 Claimant Trustee any portion of the Claimant Trust Assets intended to be conveyed hereby and in
 the Plan in the form and manner provided for hereby and in the Plan and to vest in the Claimant
 Trustee the powers, instruments or funds in trust hereunder.

        2.8     Incidents of Ownership. The Claimant Trust Beneficiaries shall be the sole
 beneficiaries of the Claimant Trust and the Claimant Trustee shall retain only such incidents of
 ownership as are necessary to undertake the actions and transactions authorized herein.




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                                          THE TRUSTEES

         3.1     Role. In furtherance of and consistent with the purpose of the Claimant Trust, the
 Plan, and this Agreement, the Claimant Trustee, subject to the terms and conditions contained
 herein, in the Plan, and in the Confirmation Order, shall serve as Claimant Trustee with respect to
 the Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries and maintain,
 manage, and take action on behalf of the Claimant Trust.

           3.2       Authority.

                (a)    In connection with the administration of the Claimant Trust, in addition to
 any and all of the powers enumerated elsewhere herein, the Claimant Trustee shall, in an
 expeditious but orderly manner, monetize the Claimant Trust Assets, make timely distributions
 and not unduly prolong the duration of the Claimant Trust. The Claimant Trustee shall have the
 power and authority and is authorized to perform any and all acts necessary and desirable to
 accomplish the purposes of this Agreement and the provisions of the Plan and the Confirmation
 Order relating to the Claimant Trust, within the bounds of this Agreement, the Plan, the
 Confirmation Order, and applicable law. The Claimant Trustee will monetize the Claimant Trust
 Assets with a view toward maximizing value in a reasonable time.

                 (b)    The Claimant Trustee, subject to the limitations set forth in Section 3.3 of
 this Agreement shall have the right to prosecute, defend, compromise, adjust, arbitrate, abandon,
 estimate, or otherwise deal with and settle any and all Claims and Causes of Action that are part
 of the Claimant Trust Assets, other than the Estate Claims transferred to the Litigation Sub-Trust,
 as the Claimant Trustee determines is in the best interests of the Claimant Trust; provided,
 however, that if the Claimant Trustee proposes a settlement of an Employee Claim and does not
 obtain unanimous consent of the Oversight Board of such settlement, such Employee Claim shall
 be transferred to the Litigation Sub-Trust for the Litigation Trustee to litigate. To the extent that
 any action has been taken to prosecute, defend, compromise, adjust, arbitrate, abandon, or
 otherwise deal with and settle any such Claims and Causes of Action prior to the Effective Date,
 on the Effective Date the Claimant Trustee shall be substituted for the Debtor in connection
 therewith in accordance with Rule 25 of the Federal Rules of Civil Procedure, made applicable by
 Rule 7025 of the Federal Rules of Bankruptcy Procedure, and the caption with respect to such
 pending action shall be changed to the following “[Claimant Trustee], not individually but solely
 as Claimant Trustee for the Claimant Trust, et al. v. [Defendant]”.

                 (c)     Subject in all cases to any limitations contained herein, in the Confirmation
 Order, or in the Plan, the Claimant Trustee shall have the power and authority to:

                         (i)     solely as required by Section 2.4(d), hold legal title to any and all
 rights of the Claimant Trust and Beneficiaries in or arising from the Claimant Trust Assets,
 including collecting and receiving any and all money and other property belonging to the Claimant
 Trust and the right to vote or exercise any other right with respect to any claim or interest relating
 to the Claimant Trust Assets in any case under the Bankruptcy Code and receive any distribution
 with respect thereto;



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                      (ii)    open accounts for the Claimant Trust and make distributions of
 Claimant Trust Assets in accordance herewith;

                        (iii)   as set forth in Section 3.11, exercise and perform the rights, powers,
 and duties held by the Debtor with respect to the Claimant Trust Assets (other than Estate Claims),
 including the authority under section 1123(b)(3) of the Bankruptcy Code, and shall be deemed to
 be acting as a representative of the Debtor’s Estate with respect to the Claimant Trust Assets,
 including with respect to the sale, transfer, or other disposition of the Claimant Trust Assets;

                      (iv)   settle or resolve any Claims in Class 8 and Class 9 other than the
 Material Claims and any Equity Interests;

                        (v)    sell or otherwise monetize any publicly-traded asset for which there
 is a marketplace and any other assets (other than the Other Assets (as defined below)) valued less
 than or equal to $3,000,000 (over a thirty-day period);

                        (vi)   upon the direction of the Oversight Board, fund the Litigation Sub-
 Trust on the Effective Date and as necessary thereafter;

                       (vii) exercise and perform the rights, powers, and duties arising from the
 Claimant Trust’s role as sole member of New GP LLC, and the role of New GP LLC, as general
 partner of the Reorganized Debtor, including the management of the Managed Funds;

                      (viii) protect and enforce the rights to the Claimant Trust Assets by any
 method deemed appropriate, including by judicial proceedings or pursuant to any applicable
 bankruptcy, insolvency, moratorium or similar law and general principles of equity;

                        (ix)    obtain reasonable insurance coverage with respect to any liabilities
 and obligations of the Trustees, Litigation Trustee, and the Members of the Oversight Board solely
 in their capacities as such, in the form of fiduciary liability insurance, a directors and officers
 policy, an errors and omissions policy, or otherwise. The cost of any such insurance shall be a
 Claimant Trust Expense and paid by the Claimant Trustee from the Claimant Trust Assets;

                        (x)     without further order of the Bankruptcy Court, but subject to the
 terms of this Agreement, employ various consultants, third-party service providers, and other
 professionals, including counsel, tax advisors, consultants, brokers, investment bankers, valuation
 counselors, and financial advisors, as the Claimant Trustee deems necessary to aid him in fulfilling
 his obligations under this Agreement; such consultants, third-party service providers, and other
 professionals shall be retained pursuant to whatever fee arrangement the Claimant Trustee deems
 appropriate, including contingency fee arrangements and any fees and expenses incurred by such
 professionals engaged by the Claimant Trustee shall be Claimant Trust Expenses and paid by the
 Claimant Trustee from the Claimant Trust Assets;

                        (xi)   retain and approve compensation arrangements of an independent
 public accounting firm to perform such reviews and/or audits of the financial books and records
 of the Claimant Trust as may be required by this Agreement, the Plan, the Confirmation Order,
 and applicable laws and as may be reasonably and appropriate in Claimant Trustee’s discretion.
 Subject to the foregoing, the Claimant Trustee may commit the Claimant Trust to, and shall pay,

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 such independent public accounting firm reasonable compensation for services rendered and
 reasonable and documented out-of-pocket expenses incurred, and all such compensation and
 reimbursement shall be paid by the Claimant Trustee from Claimant Trust Assets;

                        (xii) prepare and file (A) tax returns for the Claimant Trust treating the
 Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a), (B) an
 election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims Reserve as a
 disputed ownership fund, in which case the Claimant Trustee will file federal income tax returns
 and pay taxes for the Disputed Claim Reserve as a separate taxable entity, or (C) any periodic or
 current reports that may be required under applicable law;

                         (xiii) prepare and send annually to the Beneficiaries, in accordance with
 the tax laws, a separate statement stating a Beneficiary’s interest in the Claimant Trust and its share
 of the Claimant Trust’s income, gain, loss, deduction or credit, and to instruct all such Beneficiaries
 to report such items on their federal tax returns;

                        (xiv) to the extent applicable, assert, enforce, release, or waive any
 attorney-client communication, attorney work product or other Privilege or defense on behalf of
 the Claimant Trust (including as to any Privilege that the Debtor held prior to the Effective Date),
 including to provide any information to insurance carriers that the Claimant Trustee deems
 necessary to utilize applicable insurance coverage for any Claim or Claims;

                       (xv) subject to Section 3.4, invest the proceeds of the Claimant Trust
 Assets and all income earned by the Claimant Trust, pending any distributions in short-term
 certificates of deposit, in banks or other savings institutions, or other temporary, liquid
 investments, such as Treasury bills;

                       (xvi) request any appropriate tax determination with respect to the
 Claimant Trust, including a determination pursuant to section 505 of the Bankruptcy Code;

                      (xvii) take or refrain from taking any and all actions the Claimant Trustee
 reasonably deems necessary for the continuation, protection, and maximization of the value of the
 Claimant Trust Assets consistent with purposes hereof;

                        (xviii) take all steps and execute all instruments and documents necessary
 to effectuate the purpose of the Claimant Trust and the activities contemplated herein and in the
 Confirmation Order and the Plan, and take all actions necessary to comply with the Confirmation
 Order, the Plan, and this Agreement and the obligations thereunder and hereunder;

                     (xix) exercise such other powers and authority as may be vested in or
 assumed by the Claimant Trustee by any Final Order;

                       (xx) evaluate and determine strategy with respect to the Claimant Trust
 Assets, and hold, pursue, prosecute, adjust, arbitrate, compromise, release, settle or abandon the
 Claimant Trust Assets on behalf of the Claimant Trust; and

                       (xxi) with respect to the Claimant Trust Beneficiaries, perform all duties
 and functions of the Distribution Agent as set forth in the Plan, including distributing Cash from

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 the Disputed Claims Reserve, solely on account of Disputed Class 1 through Class 7 Claims that
 were Disputed as of the Effective Date, but become Allowed, to the Reorganization Debtor such
 that the Reorganized Debtor can satisfy its duties and functions as Distribution Agent with respect
 to Claims in Class 1 through Class 7 (the foregoing subparagraphs (i)-(xxi) being collectively, the
 “Authorized Acts”).

               (d)     The Claimant Trustee and the Oversight Committee will enter into an
 agreement as soon as practicable after the Effective Date concerning the Claimant Trustee’s
 authority with respect to certain other assets, including certain portfolio company assets (the
 “Other Assets”).

                (e)     The Claimant Trustee has the power and authority to act as trustee of the
 Claimant Trust and perform the Authorized Acts through the date such Claimant Trustee resigns,
 is removed, or is otherwise unable to serve for any reason.

           3.3       Limitation of Authority.

                (a)     Notwithstanding anything herein to the contrary, the Claimant Trust and the
 Claimant Trustee shall not (i) be authorized to engage in any trade or business, (ii) take any actions
 inconsistent with the management of the Claimant Trust Assets as are required or contemplated by
 applicable law, the Confirmation Order, the Plan, and this Agreement, (iii) take any action in
 contravention of the Confirmation Order, the Plan, or this Agreement, or (iv) cause New GP LLC
 to cause the Reorganized Debtor to take any action in contravention of the Plan, Plan Documents
 or the Confirmation Order.

                (b)     Notwithstanding anything herein to the contrary, and in no way limiting the
 terms of the Plan, the Claimant Trustee must receive the consent by vote of a simple majority of
 the Oversight Board pursuant to the notice and quorum requirements set forth in Section 4.5 herein,
 in order to:

                             (i)    terminate or extend the term of the Claimant Trust;

                             (ii)   prosecute, litigate, settle or otherwise resolve any of the Material
 Claims;

                        (iii)  except otherwise set forth herein, sell or otherwise monetize any
 assets that are not Other Assets, including Reorganized Debtor Assets (other than with respect to
 the Managed Funds), that are valued greater than $3,000,000 (over a thirty-day period);

                         (iv) except for cash distributions made in accordance with the terms of
 this Agreement, make any cash distributions to Claimant Trust Beneficiaries in accordance with
 Article IV of the Plan;

                       (v)     except for any distributions made in accordance with the terms of
 this Agreement, make any distributions from the Disputed Claims Reserve to Holders of Disputed
 Claims after such time that such Holder’s Claim becomes an Allowed Claim under the Plan;



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                       (vi)    reserve or retain any cash or cash equivalents in an amount
 reasonably necessary to meet claims and contingent liabilities (including Disputed Claims and any
 indemnification obligations that may arise under Section 8.2 of this Agreement), to maintain the
 value of the Claimant Trust Assets, or to fund ongoing operations and administration of the
 Litigation Sub-Trust;

                             (vii)   borrow as may be necessary to fund activities of the Claimant Trust;

                     (viii) determine whether the conditions under Section 5.1(c) of this
 Agreement have been satisfied such that a certification should be filed with the Bankruptcy Court;

                     (ix)   invest the Claimant Trust Assets, proceeds thereof, or any income
 earned by the Claimant Trust (for the avoidance of doubt, this shall not apply to investment
 decisions made by the Reorganized Debtor or its subsidiaries solely with respect to Managed
 Funds);

                             (x)     change the compensation of the Claimant Trustee;

                         (xi)   subject to ARTICLE X, make structural changes to the Claimant
 Trust or take other actions to minimize any tax on the Claimant Trust Assets; and

                         (xii) retain counsel, experts, advisors, or any other professionals;
 provided, however, the Claimant Trustee shall not be required to obtain the consent of the
 Oversight Board for the retention of (i) PSZJ, WilmerHale, or Development Specialists, Inc. and
 (ii) any other professional whose expected fees and expenses are estimated at less than or equal to
 $200,000.

                     (c)     [Reserved.]

         3.4     Investment of Cash. The right and power of the Claimant Trustee to invest the
 Claimant Trust Assets, the proceeds thereof, or any income earned by the Claimant Trust, with
 majority approval of the Oversight Board, shall be limited to the right and power to invest in such
 Claimant Trust Assets only in Cash and U.S. Government securities as defined in section 29(a)(16)
 of the Investment Company Act; provided, however that (a) the scope of any such permissible
 investments shall be further limited to include only those investments that a “liquidating trust”
 within the meaning of Treasury Regulation Section 301.7701-4(d), may be permitted to hold,
 pursuant to the Treasury Regulations, or any modification in the Internal Revenue Service (“IRS”)
 guidelines, whether set forth in IRS rulings, other IRS pronouncements, or otherwise, (b) the
 Claimant Trustee may retain any Claimant Trust Assets received that are not Cash only for so long
 as may be required for the prompt and orderly monetization or other disposition of such assets,
 and (c) the Claimant Trustee may expend the assets of the Claimant Trust (i) as reasonably
 necessary to meet contingent liabilities (including indemnification and similar obligations) and
 maintain the value of the assets of the Claimant Trust during the pendency of this Claimant Trust,
 (ii) to pay Claimant Trust Expenses (including, but not limited to, any taxes imposed on the
 Claimant Trust and reasonable attorneys’ fees and expenses in connection with litigation), and (iii)
 to satisfy other liabilities incurred or assumed by the Claimant Trust (or to which the assets are
 otherwise subject) in accordance with the Plan or this Agreement).


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        3.5    Binding Nature of Actions. All actions taken and determinations made by the
 Claimant Trustee in accordance with the provisions of this Agreement shall be final and binding
 upon any and all Beneficiaries.

        3.6     Term of Service. The Claimant Trustee shall serve as the Claimant Trustee for the
 duration of the Claimant Trust, subject to death, resignation or removal.

          3.7     Resignation. The Claimant Trustee may resign as Claimant Trustee of the Claimant
 Trust by an instrument in writing delivered to the Bankruptcy Court and Oversight Board at least
 thirty (30) days before the proposed effective date of resignation. The Claimant Trustee shall
 continue to serve as Claimant Trustee after delivery of the Claimant Trustee’s resignation until the
 proposed effective date of such resignation, unless the Claimant Trustee and a simple majority of
 the Oversight Board consent to an earlier effective date, which earlier effective date shall be no
 earlier than the date of appointment of a successor Claimant Trustee in accordance with Section 3.9
 hereof becomes effective.

           3.8       Removal.

                 (a)     The Claimant Trustee may be removed by a simple majority vote of the
 Oversight Board for Cause for Cause immediately upon notice thereof, or without Cause upon 60
 days’ prior written notice. Upon the removal of the Claimant Trustee pursuant hereto, the Claimant
 Trustee will resign, or be deemed to have resigned, from any role or position he or she may have
 at New GP LLC or the Reorganized Debtor effective upon the expiration of the foregoing 60 day
 period unless the Claimant Trustee and a simple majority of the Oversight Board agree otherwise.

                (b)    To the extent there is any dispute regarding the removal of a Claimant
 Trustee (including any dispute relating to any compensation or expense reimbursement due under
 this Agreement) the Bankruptcy Court shall retain jurisdiction to consider and adjudicate such
 dispute. Notwithstanding the foregoing, the Claimant Trustee will continue to serve as the
 Claimant Trustee after his removal until the earlier of (i) the time when a successor Claimant
 Trustee will become effective in accordance with Section 3.9 of this Agreement or (ii) such date
 as the Bankruptcy Court otherwise orders.

           3.9       Appointment of Successor.

                 (a)     Appointment of Successor. In the event of a vacancy by reason of the death
 or Disability (in the case of a Claimant Trustee that is a natural person), dissolution (in the case of
 a Claimant Trustee that is not a natural person), or removal of the Claimant Trustee, or prospective
 vacancy by reason of resignation, a successor Claimant Trustee shall be selected by a simple
 majority vote of the Oversight Board. If Members of the Oversight Board are unable to secure a
 majority vote, the Bankruptcy Court will determine the successor Claimant Trustee on motion of
 the Members. If a final decree has been entered closing the Chapter 11 Case, the Claimant Trustee
 may seek to reopen the Chapter 11 Case for the limited purpose of determining the successor
 Claimant Trustee, and the costs for such motion and costs related to re-opening the Chapter 11
 Case shall be paid by the Claimant Trust. The successor Claimant Trustee shall be appointed as
 soon as practicable, but in any event no later than sixty (60) days after the occurrence of the



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 vacancy or, in the case of resignation, on the effective date of the resignation of the then acting
 Claimant Trustee.

                  (b)    Vesting or Rights in Successor Claimant Trustee. Every successor
 Claimant Trustee appointed hereunder shall execute, acknowledge, and deliver to the Claimant
 Trust, the exiting Claimant Trustee, the Oversight Board, and file with the Bankruptcy Court, an
 instrument accepting such appointment subject to the terms and provisions hereof. The successor
 Claimant Trustee, without any further act, deed, or conveyance shall become vested with all the
 rights, powers, trusts and duties of the exiting Claimant Trustee, except that the successor Claimant
 Trustee shall not be liable for the acts or omissions of the retiring Claimant Trustee. In no event
 shall the retiring Claimant Trustee be liable for the acts or omissions of the successor Claimant
 Trustee.

                (c)     Interim Claimant Trustee. During any period in which there is a vacancy in
 the position of Claimant Trustee, the Oversight Board shall appoint one of its Members to serve
 as the interim Claimant Trustee (the “Interim Trustee”) until a successor Claimant Trustee is
 appointed pursuant to Section 3.9(a). The Interim Trustee shall be subject to all the terms and
 conditions applicable to a Claimant Trustee hereunder. Such Interim Trustee shall not be limited
 in any manner from exercising any rights or powers as a Member of the Oversight Board merely
 by such Person’s appointment as Interim Trustee.

         3.10 Continuance of Claimant Trust. The death, resignation, or removal of the Claimant
 Trustee shall not operate to terminate the Claimant Trust created by this Agreement or to revoke
 any existing agency (other than any agency of the Claimant Trustee as the Claimant Trustee)
 created pursuant to the terms of this Agreement or invalidate any action taken by the Claimant
 Trustee. In the event of the resignation or removal of the Claimant Trustee, the Claimant Trustee
 shall promptly (i) execute and deliver, by the effective date of resignation or removal, such
 documents, instruments, records, and other writings as may be reasonably requested by his
 successor to effect termination of the exiting Claimant Trustee’s capacity under this Agreement
 and the conveyance of the Claimant Trust Assets then held by the exiting Claimant Trustee to the
 successor Claimant Trustee; (ii) deliver to the successor Claimant Trustee all non-privileged
 documents, instruments, records, and other writings relating to the Claimant Trust as may be in
 the possession or under the control of the exiting Claimant Trustee, provided, the exiting Claimant
 Trustee shall have the right to make and retain copies of such documents, instruments, records and
 other writings delivered to the successor Claimant Trustee and the cost of making such copies shall
 be a Claimant Trust Expense to be paid by the Claimant Trust; and (iii) otherwise assist and
 cooperate in effecting the assumption of the exiting Claimant Trustee’s obligations and functions
 by his successor, provided the fees and expenses of such assistance and cooperation shall be paid
 to the exiting Claimant Trustee by the Claimant Trust. The exiting Claimant Trustee shall
 irrevocably appoint the successor Claimant Trustee as his attorney-in-fact and agent with full
 power of substitution for it and its name, place and stead to do any and all acts that such exiting
 Claimant Trustee is obligated to perform under this Section 3.10.

        3.11 Claimant Trustee as “Estate Representative”. The Claimant Trustee will be the
 exclusive trustee of the Claimant Trust Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C.
 § 6012(b)(3), as well as the representative of the Estate appointed pursuant to section
 1123(b)(3)(B) of the Bankruptcy Code (the “Estate Representative”) with respect to the Claimant

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 Trust Assets, with all rights and powers attendant thereto, in addition to all rights and powers
 granted in the Plan and in this Agreement; provided that all rights and powers as representative of
 the Estate pursuant to section 1123(b)(3)(B) shall be transferred to the Litigation Trustee in respect
 of the Estate Claims and the Employee Claims. The Claimant Trustee will be the successor-in-
 interest to the Debtor with respect to any action pertaining to the Claimant Trust Assets, which
 was or could have been commenced by the Debtor prior to the Effective Date, except as otherwise
 provided in the Plan or Confirmation Order. All actions, claims, rights or interest constituting
 Claimant Trust Assets are preserved and retained and may be enforced, or assignable to the
 Litigation Sub-Trust, by the Claimant Trustee as an Estate Representative.

           3.12      Books and Records.

                (a)     The Claimant Trustee shall maintain in respect of the Claimant Trust and
 the Claimant Trust Beneficiaries books and records reflecting Claimant Trust Assets in its
 possession and the income of the Claimant Trust and payment of expenses, liabilities, and claims
 against or assumed by the Claimant Trust in such detail and for such period of time as may be
 necessary to enable it to make full and proper accounting in respect thereof. Such books and
 records shall be maintained as reasonably necessary to facilitate compliance with the tax reporting
 requirements of the Claimant Trust and the requirements of Article VII herein. Except as otherwise
 provided herein, nothing in this Agreement requires the Claimant Trustee to file any accounting
 or seek approval of any court with respect to the administration of the Claimant Trust, or as a
 condition for managing any payment or distribution out of the Claimant Trust Assets.

                 (b)      The Claimant Trustee shall provide quarterly reporting to the Oversight
 Board and Claimant Trust Beneficiaries of (i) the status of the Claimant Trust Assets, (ii) the
 balance of Cash held by the Claimant Trust (including in each of the Claimant Trust Expense
 Reserve and Disputed Claim Reserve), (iii) the determination and any re-determination, as
 applicable, of the total amount allocated to the Disputed Claim Reserve, (iv) the status of Disputed
 Claims and any resolutions thereof, (v) the status of any litigation, including the pursuit of the
 Causes of Action, (vi) the Reorganized Debtor’s performance, and (vii) operating expenses;
 provided, however, that the Claimant Trustee may, with respect to any Member of the Oversight
 Board or Claimant Trust Beneficiary, redact any portion of such reports that relate to such Entity’s
 Claim or Equity Interest, as applicable and any reporting provided to Claimant Trust Beneficiaries
 may be subject to such Claimant Trust Beneficiary’s agreement to maintain confidentiality with
 respect to any non-public information.

                (c)     The Claimant Trustee may dispose some or all of the books and records
 maintained by the Claimant Trustee at the later of (i) such time as the Claimant Trustee determines,
 with the unanimous consent of the Oversight Board, that the continued possession or maintenance
 of such books and records is no longer necessary for the benefit of the Claimant Trust, or (ii) upon
 the termination and winding up of the Claimant Trust under Article IX of this Agreement;
 provided, however, the Claimant Trustee shall not dispose of any books and records related to the
 Estate Claims or Employee Claims without the consent of the Litigation Trustee. Notwithstanding
 the foregoing, the Claimant Trustee shall cause the Reorganized Debtor and its subsidiaries to
 retain such books and records, and for such periods, as are required to be retained pursuant to
 Section 204-2 of the Investment Advisers Act or any other applicable laws, rules, or regulations.



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           3.13      Compensation and Reimbursement; Engagement of Professionals.

                     (a)     Compensation and Expenses.

                         (i)     Compensation. As compensation for any services rendered by the
 Claimant Trustee in connection with this Agreement, the Claimant Trustee shall receive
 compensation of $150,000 per month (the “Base Salary”). Within the first forty-five days
 following the Confirmation Date, the Claimant Trustee, on the one hand, and the Committee, if
 prior to the Effective Date, or the Oversight Board, if on or after the Effective Date, on the other,
 will negotiate go-forward compensation for the Claimant Trustee which will include (a) the Base
 Salary, (b) a success fee, and (c) severance.

                       (ii)    Expense Reimbursements. All reasonable out-of-pocket expenses
 of the Claimant Trustee in the performance of his or her duties hereunder, shall be reimbursed as
 Claimant Trust Expenses paid by the Claimant Trust.

                     (b)     Professionals.

                         (i)     Engagement of Professionals. The Claimant Trustee shall engage
 professionals from time to time in conjunction with the services provided hereunder. The Claimant
 Trustee’s engagement of such professionals shall be approved by a majority of the Oversight Board
 as set forth in Section 3.3(b) hereof.

                       (ii)   Fees and Expenses of Professionals. The Claimant Trustee shall pay
 the reasonable fees and expenses of any retained professionals as Claimant Trust Expenses.

         3.14 Reliance by Claimant Trustee. Except as otherwise provided herein, the Claimant
 Trustee may rely, and shall be fully protected in acting or refraining from acting, on any resolution,
 statement, certificate, instrument, opinion, report, notice, request, consent, order or other
 instrument or document that the Claimant Trustee has no reason to believe to be other than genuine
 and to have been signed or presented by the proper party or parties or, in the case of facsimiles, to
 have been sent by the proper party or parties, and the Claimant Trustee may conclusively rely as
 to the truth of the statements and correctness of the opinions or direction expressed therein. The
 Claimant Trustee may consult with counsel and other professionals, and any advice of such counsel
 or other professionals shall constitute full and complete authorization and protection in respect of
 any action taken or not taken by the Claimant Trustee in accordance therewith. The Claimant
 Trustee shall have the right at any time to seek instructions from the Bankruptcy Court, or any
 other court of competent jurisdiction concerning the Claimant Trust Assets, this Agreement, the
 Plan, or any other document executed in connection therewith, and any such instructions given
 shall be full and complete authorization in respect of any action taken or not taken by the Claimant
 Trustee in accordance therewith. The Claimant Trust shall have the right to seek Orders from the
 Bankruptcy Court as set forth in Article IX of the Plan.

         3.15 Commingling of Claimant Trust Assets. The Claimant Trustee shall not commingle
 any of the Claimant Trust Assets with his or her own property or the property of any other Person.




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           3.16      Delaware Trustee.

                  (a)      The Delaware Trustee shall have the limited power and authority, and is
 hereby authorized and empowered, to (i) accept legal process served on the Claimant Trust in the
 State of Delaware; and (ii) execute any certificates that are required to be executed under the
 Delaware Statutory Trust Act and file such certificates in the office of the Secretary of State of the
 State of Delaware, and take such action or refrain from taking such action under this Agreement,
 in either case as may be directed in a writing delivered to the Delaware Trustee by the Claimant
 Trustee and upon which the Delaware Trustee shall be entitled to conclusively and exclusively
 rely; provided, however, that the Delaware Trustee shall not be required to take or to refrain from
 taking any such action if the Delaware Trustee shall believe, or shall have been advised by counsel,
 that such performance is likely to involve the Delaware Trustee in personal liability or to result in
 personal liability to the Delaware Trustee, or is contrary to the terms of this Agreement or of any
 document contemplated hereby to which the Claimant Trust or the Delaware Trustee is or becomes
 a party or is otherwise contrary to law. The Parties agree not to instruct the Delaware Trustee to
 take any action or to refrain from taking any action that is contrary to the terms of this Agreement
 or of any document contemplated hereby to which the Claimant Trust or the Delaware Trustee is
 or becomes party or that is otherwise contrary to law. Other than as expressly provided for in this
 Agreement, the Delaware Trustee shall have no duty or power to take any action for or on behalf
 of the Claimant Trust. For the avoidance of doubt, the Delaware Trustee will only have such rights
 and obligations as expressly provided by reference to the Delaware Trustee hereunder. The
 Delaware Trustee shall not be entitled to exercise any powers, nor shall the Delaware Trustee have
 any of the duties and responsibilities, of the Claimant Trustee set forth herein. The Delaware
 Trustee shall be one of the trustees of the Claimant Trust for the sole and limited purpose of
 fulfilling the requirements of Section 3807 of the Delaware Statutory Trust Act and for taking such
 actions as are required to be taken by a Delaware Trustee under the Delaware Statutory Trust Act.
 The duties (including fiduciary duties), liabilities and obligations of the Delaware Trustee shall be
 limited to those expressly set forth in this Section 3.16 and there shall be no other duties (including
 fiduciary duties) or obligations, express or implied, at law or in equity, of the Delaware Trustee.
 To the extent that, at law or in equity, the Delaware Trustee has duties (including fiduciary duties)
 and liabilities relating thereto to the Claimant Trust, the other parties hereto or any beneficiary of
 the Claimant Trust, it is hereby understood and agreed by the other parties hereto that such duties
 and liabilities are replaced by the duties and liabilities of the Delaware Trustee expressly set forth
 in this Agreement.

                (b)     The Delaware Trustee shall serve until such time as the Claimant Trustee
 removes the Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee
 is appointed by the Claimant Trustee in accordance with the terms hereof. The Delaware Trustee
 may resign at any time upon the giving of at least thirty (30) days’ advance written notice to the
 Claimant Trustee; provided, that such resignation shall not become effective unless and until a
 successor Delaware Trustee shall have been appointed by the Claimant Trustee in accordance with
 the terms hereof. If the Claimant Trustee does not act within such thirty (30) day period, the
 Delaware Trustee may apply to the Court of Chancery of the State of Delaware for the appointment
 of a successor Delaware Trustee.

                (c)    Upon the resignation or removal of the Delaware Trustee, the Claimant
 Trustee shall appoint a successor Delaware Trustee by delivering a written instrument to the

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 outgoing Delaware Trustee. Any successor Delaware Trustee must satisfy the requirements of
 Section 3807 of the Delaware Statutory Trust Act. Any resignation or removal of the Delaware
 Trustee and appointment of a successor Delaware Trustee shall not become effective until a written
 acceptance of appointment is delivered by the successor Delaware Trustee to the outgoing
 Delaware Trustee and the Claimant Trustee and any undisputed fees, expenses and indemnity due
 to the outgoing Delaware Trustee are paid. Following compliance with the preceding sentence,
 the successor Delaware Trustee shall become fully vested with all of the rights, powers, duties and
 obligations of the outgoing Delaware Trustee under this Agreement, with like effect as if originally
 named as Delaware Trustee, and the outgoing Delaware Trustee shall be discharged of its duties
 and obligations under this Agreement.

                 (d)    The Delaware Trustee shall be paid such compensation as agreed to
 pursuant to a separate fee agreement. The Claimant Trust shall promptly advance and reimburse
 the Delaware Trustee for all reasonable out-of-pocket costs and expenses (including reasonable
 legal fees and expenses) incurred by the Delaware Trustee in connection with the performance of
 its duties hereunder.

                 (e)    WTNA shall not be responsible or liable for any failure or delay in the
 performance of its obligations under this Agreement arising out of or caused, directly or indirectly,
 by circumstances beyond its control, including without limitation, any act or provision of any
 present or future law or regulation or governmental authority; acts of God; earthquakes; fires;
 floods; wars; terrorism; civil or military disturbances; sabotage; epidemics; riots; interruptions,
 loss or malfunctions of utilities, computer (hardware or software) or communications service;
 accidents; labor disputes; acts of civil or military authority or governmental actions; or the
 unavailability of the Federal Reserve Bank wire or telex or other wire or communication facility.

                (f)      Any corporation or association into which WTNA may be converted or
 merged, or with which it may be consolidated, or to which it may sell or transfer all or substantially
 all of its corporate trust business and assets as a whole or substantially as a whole, or any
 corporation or association resulting from any such conversion, sale, merger, consolidation or
 transfer to which the Delaware Trustee is a party, will be and become the successor Delaware
 Trustee under this Agreement and will have and succeed to the rights, powers, duties, immunities
 and privileges as its predecessor, without the execution or filing of any instrument or paper or the
 performance of any further act.


                                   THE OVERSIGHT BOARD

        4.1     Oversight Board Members. The Oversight Board will be comprised of five (5)
 Members appointed to serve as the board of managers of the Claimant Trust, at least two (2) of
 which shall be disinterested Members selected by the Creditors’ Committee (such disinterested
 members, the “Disinterested Members”). The initial Members of the Oversight Board will be
 representatives of Acis, the Redeemer Committee, Meta-e Discovery, UBS, and David Pauker.
 David Pauker and Paul McVoy, the representative of Meta-e Discovery, shall serve as the initial
 Disinterested Board Members; provided, however, that if the Plan is confirmed with the
 Convenience Class or any other convenience class supported by the Creditors’ Committee, Meta-



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 E Discovery and its representative will resign on the Effective Date or as soon as practicable
 thereafter and be replaced in accordance with Section 4.10 hereof..

           4.2       Authority and Responsibilities.

                (a)     The Oversight Board shall, as and when requested by either of the Claimant
 Trustee and Litigation Trustee, or when the Members otherwise deem it to be appropriate or as is
 otherwise required under the Plan, the Confirmation Order, or this Agreement, consult with and
 advise the Claimant Trustee and Litigation Trustee as to the administration and management of
 the Claimant Trust and the Litigation Sub-Trust, as applicable, in accordance with the Plan, the
 Confirmation Order, this Agreement, and Litigation Sub-Trust Agreement (as applicable) and shall
 have the other responsibilities and powers as set forth herein. As set forth in the Plan, the
 Confirmation Order, and herein, the Oversight Board shall have the authority and responsibility to
 oversee, review, and govern the activities of the Claimant Trust, including the Litigation Sub-
 Trust, and the performance of the Claimant Trustee and Litigation Trustee, and shall have the
 authority to remove the Claimant Trustee in accordance with Section 3.8 hereof or the Litigation
 Trustee in accordance with the terms of the Litigation Sub-Trust Agreement; provided, however,
 that the Oversight Board may not direct either Claimant Trustee and Litigation Trustee to act
 inconsistently with their respective duties under this Agreement (including without limitation as
 set in Section 4.2(e) below), the Litigation Sub-Trust Agreement, the Plan, the Confirmation
 Order, or applicable law.

                 (b)     The Oversight Board shall also (i) monitor and oversee the administration
 of the Claimant Trust and the Claimant Trustee’s performance of his or her responsibilities under
 this Agreement, (ii) as more fully set forth in the Litigation Sub-Trust Agreement, approve funding
 to the Litigation Sub-Trust, monitor and oversee the administration of the Litigation Sub-Trust and
 the Litigation Trustee’s performance of his responsibilities under the Litigation Sub-Trust
 Agreement, and (iii) perform such other tasks as are set forth herein, in the Litigation Sub-Trust
 Agreement, and in the Plan.

               (c)     The Claimant Trustee shall consult with and provide information to the
 Oversight Board in accordance with and pursuant to the terms of the Plan, the Confirmation Order,
 and this Agreement to enable the Oversight Board to meet its obligations hereunder.

                 (d)    Notwithstanding any provision of this Agreement to the contrary, the
 Claimant Trustee shall not be required to (i) obtain the approval of any action by the Oversight
 Board to the extent that the Claimant Trustee, in good faith, reasonably determines, based on the
 advice of legal counsel, that such action is required to be taken by applicable law, the Plan, the
 Confirmation Order, or this Agreement or (ii) follow the directions of the Oversight Board to take
 any action the extent that the Claimant Trustee, in good faith, reasonably determines, based on the
 advice of legal counsel, that such action is prohibited by applicable law the Plan, the Confirmation
 Order, or this Agreement.

                  (e)      Notwithstanding provision of this Agreement to the contrary, with respect
 to the activities of the Reorganized Debtor in its capacity as an investment adviser (and subsidiaries
 of the Reorganized Debtor that serve as general partner or in an equivalent capacity) to any
 Managed Funds, the Oversight Board shall not make investment decisions or otherwise participate


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 in the investment decision making process relating to any such Managed Funds, nor shall the
 Oversight Board or any member thereof serve as a fiduciary to any such Managed Funds. It is
 agreed and understood that investment decisions made by the Reorganized Debtor (or its
 subsidiary entities) with respect to Managed Funds shall be made by the Claimant Trustee in his
 capacity as an officer of the Reorganized Debtor and New GP LLC and/or such persons who serve
 as investment personnel of the Reorganized Debtor from time to time, and shall be subject to the
 fiduciary duties applicable to such entities and persons as investment adviser to such Managed
 Funds.

         4.3     Fiduciary Duties. The Oversight Board (and each Member in its capacity as such)
 shall have fiduciary duties to the Claimant Trust Beneficiaries consistent with the fiduciary duties
 that the members of the Creditors’ Committee have to unsecured creditors and shall exercise its
 responsibilities accordingly; provided, however, that the Oversight Board shall not owe fiduciary
 obligations to any Holders of Class A Limited Partnership Interests or Class B/C Limited
 Partnership Interests until such Holders become Claimant Trust Beneficiaries in accordance with
 Section 5.1(c) hereof; provided, further, that the Oversight Board shall not owe fiduciary
 obligations to a Holder of an Equity Trust Interest if such Holder is named as a defendant in any
 of the Causes of Action, including Estate Claims, in their capacities as such, it being the intent that
 the Oversight Board’s fiduciary duties are to maximize the value of the Claimant Trust Assets,
 including the Causes of Action. In all circumstances, the Oversight Board shall act in the best
 interests of the Claimant Trust Beneficiaries and in furtherance of the purpose of the Claimant
 Trust. Notwithstanding anything to the contrary contained in this Agreement, the foregoing shall
 not eliminate the implied contractual covenant of good faith and fair dealing.

         4.4     Meetings of the Oversight Board. Meetings of the Oversight Board are to be held
 as necessary to ensure the operation of the Claimant Trust but in no event less often than quarterly.
 Special meetings of the Oversight Board may be held whenever and wherever called for by the
 Claimant Trustee or any Member; provided, however, that notice of any such meeting shall be
 duly given in writing no less than 48 hours prior to such meeting (such notice requirement being
 subject to any waiver by the Members in the minutes, if any, or other transcript, if any, of
 proceedings of the Oversight Board). Unless the Oversight Board decides otherwise (which
 decision shall rest in the reasonable discretion of the Oversight Board), the Claimant Trustee, and
 each of the Claimant Trustee’s designated advisors may, but are not required to, attend meetings
 of the Oversight Board.

         4.5    Unanimous Written Consent. Any action required or permitted to be taken by the
 Oversight Board in a meeting may be taken without a meeting if the action is taken by unanimous
 written consents describing the actions taken, signed by all Members and recorded. If any Member
 informs the Claimant Trustee (via e-mail or otherwise) that he or she objects to the decision,
 determination, action, or inaction proposed to be made by unanimous written consent, the Claimant
 Trustee must use reasonable good faith efforts to schedule a meeting on the issue to be set within
 48 hours of the request or as soon thereafter as possible on which all members of the Oversight
 Board are available in person or by telephone. Such decision, determination, action, or inaction
 must then be made pursuant to the meeting protocols set forth herein.




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           4.6       Manner of Acting.

                 (a)    A quorum for the transaction of business at any meeting of the Oversight
 Board shall consist of at least three Members (including no less than one (1) Disinterested
 Member); provided that if the transaction of business at a meeting would constitute a direct or
 indirect conflict of interest for the Redeemer Committee, Acis, and/or UBS, at least two
 Disinterested Members must be present for there to be a quorum. Except as set otherwise forth
 herein, the majority vote of the Members present at a duly called meeting at which a quorum is
 present throughout shall be the act of the Oversight Board except as otherwise required by law or
 as provided in this Agreement. Any or all of the Members may participate in a regular or special
 meeting by, or conduct the meeting through the use of, conference telephone, video conference, or
 similar communications equipment by means of which all Persons participating in the meeting
 may hear each other, in which case any required notice of such meeting may generally describe
 the arrangements (rather than or in addition of the place) for the holding hereof. Any Member
 participating in a meeting by this means is deemed to be present in person at the meeting. Voting
 (including on negative notice) may be conducted by electronic mail or individual communications
 by the applicable Trustee and each Member.

                 (b)     Any Member who is present and entitled to vote at a meeting of the
 Oversight Board when action is taken is deemed to have assented to the action taken, subject to
 the requisite vote of the Oversight Board, unless (i) such Member objects at the beginning of the
 meeting (or promptly upon his/her arrival) to holding or transacting business at the meeting; (ii)
 his/her dissent or abstention from the action taken is entered in the minutes of the meeting; or (iii)
 he/she delivers written notice (including by electronic or facsimile transmission) of his/her dissent
 or abstention to the Oversight Board before its adjournment. The right of dissent or abstention is
 not available to any Member of the Oversight Board who votes in favor of the action taken.

                 (c)     Prior to a vote on any matter or issue or the taking of any action with respect
 to any matter or issue, each Member shall report to the Oversight Board any conflict of interest
 such Member has or may have with respect to the matter or issue at hand and fully disclose the
 nature of such conflict or potential conflict (including, without limitation, disclosing any and all
 financial or other pecuniary interests that such Member may have with respect to or in connection
 with such matter or issue, other than solely as a holder of Trust Interests). A Member who, with
 respect to a matter or issue, has or who may have a conflict of interest whereby such Member’s
 interests are adverse to the interests of the Claimant Trust shall be deemed a “Conflicted Member”
 who shall not be entitled to vote or take part in any action with respect to such matter or issue. In
 the event of a Conflicted Member, the vote or action with respect to such matter or issue giving
 rise to such conflict shall be undertaken only by Members who are not Conflicted Members and,
 notwithstanding anything contained herein to the contrary, the affirmative vote of only a majority
 of the Members who are not Conflicted Members shall be required to approve of such matter or
 issue and the same shall be the act of the Oversight Board.

                (d)    Each of Acis, the Redeemer Committee, and UBS shall be deemed
 “Conflicted Members” with respect to any matter or issue related to or otherwise affecting any of
 their respective Claim(s) (a “Committee Member Claim Matter”). A unanimous vote of the
 Disinterested Members shall be required to approve of or otherwise take action with respect to any



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 Committee Member Claim Matter and, notwithstanding anything herein to the contrary, the same
 shall be the act of the Oversight Board.

         4.7    Tenure of the Members of the Oversight Board. The authority of the Members of
 the Oversight Board will be effective as of the Effective Date and will remain and continue in full
 force and effect until the Claimant Trust is terminated in accordance with Article IX hereof. The
 Members of the Oversight Board will serve until such Member’s successor is duly appointed or
 until such Member’s earlier death or resignation pursuant to Section 4.8 below, or removal
 pursuant to Section 4.9 below.

          4.8    Resignation. A Member of the Oversight Board may resign by giving prior written
 notice thereof to the Claimant Trustee and other Members. Such resignation shall become
 effective on the earlier to occur of (i) the day that is 90 days following the delivery of such notice,
 (ii) the appointment of a successor in accordance with Section 4.10 below, and (iii) such other date
 as may be agreed to by the Claimant Trustee and the non-resigning Members of the Oversight
 Board.

         4.9     Removal. A majority of the Oversight Board may remove any Member for Cause
 or Disability. If any Committee Member has its Claim disallowed in its entirety the representative
 of such entity will immediately be removed as a Member without the requirement for a vote and a
 successor will be appointed in the manner set forth herein. Notwithstanding the foregoing, upon
 the termination of the Claimant Trust, any or all of the Members shall be deemed to have resigned.

           4.10      Appointment of a Successor Member.

                 (a)    In the event of a vacancy on the Oversight Board (whether by removal,
 death, or resignation), a new Member may be appointed to fill such position by the remaining
 Members acting unanimously; provided, however, that any vacancy resulting from the removal,
 resignation, or death of a Disinterested Member may only be filled by a disinterested Person
 unaffiliated with any Claimant or constituency in the Chapter 11 Case; provided, further, that if an
 individual serving as the representative of a Committee Member resigns from its role as
 representative, such resignation shall not be deemed resignation of the Committee Member itself
 and such Committee Member shall have the exclusive right to designate its replacement
 representative for the Oversight Board. The appointment of a successor Member will be further
 evidenced by the Claimant Trustee’s filing with the Bankruptcy Court (to the extent a final decree
 has not been entered) and posting on the Claimant Trustee’s website a notice of appointment, at
 the direction of the Oversight Board, which notice will include the name, address, and telephone
 number of the successor Member.

                (b)     Immediately upon the appointment of any successor Member, the successor
 Member shall assume all rights, powers, duties, authority, and privileges of a Member hereunder
 and such rights and privileges will be vested in and undertaken by the successor Member without
 any further act. A successor Member will not be liable personally for any act or omission of a
 predecessor Member.

                 (c)    Every successor Member appointed hereunder shall execute, acknowledge,
 and deliver to the Claimant Trustee and other Members an instrument accepting the appointment


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 under this Agreement and agreeing to be bound thereto, and thereupon the successor Member
 without any further act, deed, or conveyance, shall become vested with all rights, powers, trusts,
 and duties of a Member hereunder.

         4.11 Compensation and Reimbursement of Expenses. Unless determined by the
 Oversight Board, no Member shall be entitled to compensation in connection with his or her
 service to the Oversight Board; provided, however, that a Disinterested Member shall be
 compensated in a manner and amount initially set by the other Members and as thereafter amended
 from time to time by agreement between the Oversight Board and the Disinterested Member.
 Notwithstanding the foregoing, the Claimant Trustee will reimburse the Members for all
 reasonable and documented out-of-pocket expenses incurred by the Members in connection with
 the performance of their duties hereunder (which shall not include fees, costs, and expenses of
 legal counsel).

         4.12 Confidentiality. Each Member shall, during the period that such Member serves as
 a Member under this Agreement and following the termination of this Agreement or following
 such Member’s removal or resignation, hold strictly confidential and not use for personal gain any
 material, non-public information of or pertaining to any Person to which any of the Claimant Trust
 Assets relates or of which such Member has become aware in the Member’s capacity as a Member
 (“Confidential Trust Information”), except as otherwise required by law. For the avoidance of
 doubt, a Member’s Affiliates, employer, and employer’s Affiliates (and collectively with such
 Persons’ directors, officers, partners, principals and employees, “Member Affiliates”) shall not be
 deemed to have received Confidential Trust Information solely due to the fact that a Member has
 received Confidential Trust Information in his or her capacity as a Member of the Oversight Board
 and to the extent that (a) a Member does not disclose any Confidential Trust Information to a
 Member Affiliate, (b) the business activities of such Member Affiliates are conducted without
 reference to, and without use of, Confidential Trust Information, and (c) no Member Affiliate is
 otherwise directed to take, or takes on behalf of a Member or Member Affiliate, any actions that
 are contrary to the terms of this Section 4.12.


                                           TRUST INTERESTS

           5.1       Claimant Trust Interests.

                (a)    General Unsecured Claim Trust Interests. On the date hereof, or on the date
 such Claim becomes Allowed under the Plan, the Claimant Trust shall issue General Unsecured
 Claim Trust Interests to Holders of Allowed Class 8 General Unsecured Claims (the “GUC
 Beneficiaries”). The Claimant Trustee shall allocate to each Holder of an Allowed Class 8 General
 Unsecured Claim a General Unsecured Claim Trust Interest equal to the ratio that the amount of
 each Holder’s Allowed Class 8 Claim bears to the total amount of the Allowed Class 8 Claims.
 The General Unsecured Claim Trust Interests shall be entitled to distributions from the Claimant
 Trust Assets in accordance with the terms of the Plan and this Agreement.

                (b)    Subordinated Claim Trust Interests. On the date hereof, or on the date such
 Claim becomes Allowed under the Plan, the Claimant Trust shall issue Subordinated Claim Trust
 Interests to Holders of Class 9 Subordinated Claims (the “Subordinated Beneficiaries”). The


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 Claimant Trustee shall allocate to each Holder of an Allowed Class 9 Subordinated Claim a
 Subordinated Claim Trust Interest equal to the ratio that the amount of each Holder’s Allowed
 Class 9 Claim bears to the total of amount of the Allowed Class 9. The Subordinated Trust
 Interests shall be subordinated in right and priority to the General Unsecured Claim Trust Interests.
 The Subordinated Beneficiaries shall only be entitled to distributions from the Claimant Trust
 Assets after each GUC Beneficiary has been repaid in full with applicable interest on account of
 such GUC Beneficiary’s Allowed General Unsecured Claim, and all Disputed General Unsecured
 Claims have been resolved, in accordance with the terms of the Plan and this Agreement.

                 (c)      Contingent Trust Interests. On the date hereof, or on the date such Interest
 becomes Allowed under the Plan, the Claimant Trust shall issue Contingent Interests to Holders
 of Allowed Class 10 Class B/C Limited Partnership Interests and Holders of Allowed Class 11
 Class A Limited Partnership Interests (collectively, the “Equity Holders”). The Claimant Trustee
 shall allocate to each Holder of Allowed Class 10 Class B/C Limited Partnership Interests and
 each Holder of Allowed Class 11 Class A Limited Partnership Interests a Contingent Trust Interest
 equal to the ratio that the amount of each Holder’s Allowed Class 10 or Class 11 Interest bears to
 the total amount of the Allowed Class 10 or Class 11 Interests, as applicable, under the Plan.
 Contingent Trust Interests shall not vest, and the Equity Holders shall not have any rights under
 this Agreement, unless and until the Claimant Trustee files with the Bankruptcy Court a
 certification that all GUC Beneficiaries have been paid indefeasibly in full, including, to the extent
 applicable, all accrued and unpaid post-petition interest consistent with the Plan and all Disputed
 Claims have been resolved (the “GUC Payment Certification”). Equity Holders will only be
 deemed “Beneficiaries” under this Agreement upon the filing of a GUC Payment Certification
 with the Bankruptcy Court, at which time the Contingent Trust Interests will vest and be deemed
 “Equity Trust Interests.” The Equity Trust Interests shall be subordinated in right and priority to
 Subordinated Trust Interests, and distributions on account thereof shall only be made if and when
 Subordinated Beneficiaries have been repaid in full on account of such Subordinated Beneficiary’s
 Allowed Subordinated Claim, in accordance with the terms of the Plan, the Confirmation Order,
 and this Agreement. The Equity Trust Interests distributed to Allowed Holders of Class A Limited
 Partnership Interests shall be subordinated to the Equity Trust Interests distributed to Allowed
 Holders of Class B/C Limited Partnership Interests.

         5.2     Interests Beneficial Only. The ownership of the beneficial interests in the Claimant
 Trust shall not entitle the Claimant Trust Beneficiaries to any title in or to the Claimant Trust
 Assets (which title shall be vested in the Claimant Trust) or to any right to call for a partition or
 division of the Claimant Trust Assets or to require an accounting. No Claimant Trust Beneficiary
 shall have any governance right or other wright to direct Claimant Trust activities.

         5.3     Transferability of Trust Interests. No transfer, assignment, pledge, hypothecation,
 or other disposition of a Trust Interest may be effected until (i) such action is unanimously
 approved by the Oversight Board, (ii) the Claimant Trustee and Oversight Board have received
 such legal advice or other information that they, in their sole and absolute discretion, deem
 necessary to assure that any such disposition shall not cause the Claimant Trust to be subject to
 entity-level taxation for U.S. federal income tax purposes, and (iii) either (x) the Claimant Trustee
 and Oversight Board, acting unanimously, have received such legal advice or other information
 that they, in their sole and absolute discretion, deem necessary or appropriate to assure that any
 such disposition shall not (a) require the Claimant Trust to comply with the registration and/or

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 reporting requirements of the Securities Act, the Exchange Act, the TIA, or the Investment
 Company Act or (b) cause any adverse effect under the Investment Advisers Act, or (y) the
 Oversight Board, acting unanimously, has determined, in its sole and absolute discretion, to cause
 the Claimant Trust to become a public reporting company and/or make periodic reports under the
 Exchange Act (provided that it is not required to register under the Investment Company Act or
 register its securities under the Securities Act) to enable such disposition to be made. In the event
 that any such disposition is allowed, the Oversight Board and the Claimant Trustee may add such
 restrictions upon such disposition and other terms of this Agreement as are deemed necessary or
 appropriate by the Claimant Trustee, with the advice of counsel, to permit or facilitate such
 disposition under applicable securities and other laws.

           5.4       Registry of Trust Interests.

               (a)      Registrar. The Claimant Trustee shall appoint a registrar, which may be the
 Claimant Trustee (the “Registrar”), for the purpose of recording ownership of the Trust Interests
 as provided herein. The Registrar, if other than the Claimant Trustee, shall be an institution or
 person acceptable to the Oversight Board. For its services hereunder, the Registrar, unless it is the
 Claimant Trustee, shall be entitled to receive reasonable compensation from the Claimant Trust as
 a Claimant Trust Expense.

                 (b)     Trust Register. The Claimant Trustee shall cause to be kept at the office of
 the Registrar, or at such other place or places as shall be designated by the Registrar from time to
 time, a registry of the Claimant Trust Beneficiaries and the Equity Holders (the “Trust Register”),
 which shall be maintained pursuant to such reasonable regulations as the Claimant Trustee and the
 Registrar may prescribe.

                 (c)    Access to Register by Beneficiaries. The Claimant Trust Beneficiaries and
 their duly authorized representatives shall have the right, upon reasonable prior written notice to
 the Claimant Trustee, and in accordance with reasonable regulations prescribed by the Claimant
 Trustee, to inspect and, at the expense of the Claimant Trust Beneficiary make copies of the Trust
 Register, in each case for a purpose reasonable and related to such Claimant Trust Beneficiary’s
 Trust Interest.

         5.5     Exemption from Registration. The Parties hereto intend that the rights of the
 Claimant Trust Beneficiaries arising under this Claimant Trust shall not be “securities” under
 applicable laws, but none of the Parties represent or warrant that such rights shall not be securities
 or shall not be entitled to exemption from registration under the applicable securities laws. The
 Oversight Board, acting unanimously, and Claimant Trustee may amend this Agreement in
 accordance with Article IX hereof to make such changes as are deemed necessary or appropriate
 with the advice of counsel, to ensure that the Claimant Trust is not subject to registration and/or
 reporting requirements of the Securities Act, the Exchange Act, the TIA, or the Investment
 Company Act. The Trust Interests shall not have consent or voting rights or otherwise confer on
 the Claimant Trust Beneficiaries any rights similar to the rights of a shareholder of a corporation
 in respect of any actions taken or to be taken, or decisions made or to be made, by the Oversight
 Board and/or the Claimant Trustee under this Agreement.




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          5.6    Absolute Owners. The Claimant Trustee may deem and treat the Claimant Trust
 Beneficiary of record as determined pursuant to this Article 5 as the absolute owner of such Trust
 Interests for the purpose of receiving distributions and payment thereon or on account thereof and
 for all other purposes whatsoever.

        5.7     Effect of Death, Incapacity, or Bankruptcy. The death, incapacity, or bankruptcy
 of any Claimant Trust Beneficiary during the term of the Claimant Trust shall not (i) entitle the
 representatives or creditors of the deceased Beneficiary to any additional rights under this
 Agreement, or (ii) otherwise affect the rights and obligations of any of other Claimant Trust
 Beneficiary under this Agreement.

         5.8     Change of Address. Any Claimant Trust Beneficiary may, after the Effective Date,
 select an alternative distribution address by providing notice to the Claimant Trustee identifying
 such alternative distribution address. Such notification shall be effective only upon receipt by the
 Claimant Trustee. Absent actual receipt of such notice by the Claimant Trustee, the Claimant
 Trustee shall not recognize any such change of distribution address.

        5.9     Standing. No Claimant Trust Beneficiary shall have standing to direct the Claimant
 Trustee to do or not to do any act or to institute any action or proceeding at law or in equity against
 any party upon or with respect to the Claimant Trust Assets. No Claimant Trust Beneficiary shall
 have any direct interest in or to any of the Claimant Trust Assets.

           5.10      Limitations on Rights of Claimant Trust Beneficiaries.

                (a)   The Claimant Trust Beneficiaries shall have no rights other than those set
 forth in this Agreement, the Confirmation Order, or the Plan (including any Plan Supplement
 documents incorporated therein).

                (b)     In any action taken by a Claimant Trust Beneficiary against the Claimant
 Trust, a current or former Trustee, or a current or former Member, in their capacity as such, the
 prevailing party will be entitled to reimbursement of attorneys’ fees and other costs; provided,
 however, that any fees and costs shall be borne by the Claimant Trust on behalf of any such Trustee
 or Member, as set forth herein.

                (c)     A Claimant Trust Beneficiary who brings any action against the Claimant
 Trust, a current or former Trustee, or a current or former Member, in their capacity as such, may
 be required by order of the Bankruptcy Court to post a bond ensuring that the full costs of a legal
 defense can be reimbursed. A request for such bond can be made by the Claimant Trust or by
 Claimant Trust Beneficiaries constituting in the aggregate at least 50% of the most senior class of
 Claimant Trust Interests.

                (d)   Any action brought by a Claimant Trust Beneficiary must be brought in the
 United States Bankruptcy Court for the Northern District of Texas. Claimant Trust Beneficiaries
 are deemed to have waived any right to a trial by jury

                 (e)    The rights of Claimant Trust Beneficiaries to bring any action against the
 Claimant Trust, a current or former Trustee, or current or former Member, in their capacity as
 such, shall not survive the final distribution by the Claimant Trust.

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                                         DISTRIBUTIONS

           6.1       Distributions.

                 (a)     Notwithstanding anything to the contrary contained herein, the Claimant
 Trustee shall distribute to holders of Trust Interests at least annually the Cash on hand net of any
 amounts that (a) are reasonably necessary to maintain the value of the Claimant Trust Assets
 pending their monetization or other disposition during the term of the Claimant Trust, (b) are
 necessary to pay or reserve for reasonably incurred or anticipated Claimant Trust Expenses and
 any other expenses incurred by the Claimant Trust (including, but not limited to, any taxes imposed
 on or payable by the Claimant Trustee with respect to the Claimant Trust Assets), (c) are necessary
 to pay or reserve for the anticipated costs and expenses of the Litigation Sub-Trust, (d) are
 necessary to satisfy or reserve for other liabilities incurred or anticipated by the Claimant Trustee
 in accordance with the Plan and this Agreement (including, but not limited to, indemnification
 obligations and similar expenses in such amounts and for such period of time as the Claimant
 Trustee determines, in good faith, may be necessary and appropriate, which determination shall
 not be subject to consent of the Oversight Board, may not be modified without the express written
 consent of the Claimant Trustee, and shall survive termination of the Claimant Trustee), (e) are
 necessary to maintain the Disputed Claims Reserve, and (f) are necessary to pay Allowed Claims
 in Class 1 through Class 7. Notwithstanding anything to the contrary contained in this paragraph,
 the Claimant Trustee shall exercise reasonable efforts to make initial distributions within six
 months of the Effective Date, and the Oversight Board may not prevent such initial distributions
 unless upon a unanimous vote of the Oversight Board. The Claimant Trustee may otherwise
 distribute all Claimant Trust Assets on behalf of the Claimant Trust in accordance with this
 Agreement and the Plan at such time or times as the Claimant Trustee is directed by the Oversight
 Board.

               (b)     At the request of the Reorganized Debtor, subject in all respects to the
 provisions of this Agreement, the Claimant Trustee shall distribute Cash to the Reorganized
 Debtor, as Distribution Agent with respect to Claims in Class 1 through 7, sufficient to satisfy
 Allowed Claims in Class 1 through Class 7.

                (c)     All proceeds of Claimant Trust Assets shall be distributed in accordance
 with the Plan and this Agreement.

        6.2     Manner of Payment or Distribution. All distributions made by the Claimant Trustee
 on behalf of the Claimant Trust to the Claimant Trust Beneficiaries shall be payable by the
 Claimant Trustee directly to the Claimant Trust Beneficiaries of record as of the twentieth (20th)
 day prior to the date scheduled for the distribution, unless such day is not a Business Day, then
 such date or the distribution shall be the following Business Day, but such distribution shall be
 deemed to have been completed as of the required date.

         6.3      Delivery of Distributions. All distributions under this Agreement to any Claimant
 Trust Beneficiary shall be made, as applicable, at the address of such Claimant Trust Beneficiary
 (a) as set forth on the Schedules filed with the Bankruptcy Court or (b) on the books and records



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 of the Debtor or their agents, as applicable, unless the Claimant Trustee has been notified in writing
 of a change of address pursuant to Section 5.6 hereof.

         6.4    Disputed Claims Reserves. There will be no distributions under this Agreement or
 the Plan on account of Disputed Claims pending Allowance. The Claimant Trustee will maintain
 a Disputed Claims Reserve as set forth in the Plan and will make distributions from the Disputed
 Claims Reserve as set forth in the Plan.

         6.5     Undeliverable Distributions and Unclaimed Property.             All undeliverable
 distributions and unclaimed property shall be treated in the manner set forth in the Plan.

         6.6     De Minimis Distributions. Distributions with a value of less than $100 will be
 treated in accordance with the Plan.

        6.7     United States Claimant Trustee Fees and Reports. After the Effective Date, the
 Claimant Trust shall pay as a Claimant Trust Expense, all fees incurred under 28 U.S.C.
 § 1930(a)(6) by reason of the Claimant Trust’s disbursements until the Chapter 11 Case is
 closed. After the Effective Date, the Claimant Trust shall prepare and serve on the Office of
 the United States Trustee such quarterly disbursement reports for the Claimant Trust as
 required by the Office of the United States Trustee Office for as long as the Chapter 11 Case
 remains open.


                                           TAX MATTERS

           7.1       Tax Treatment and Tax Returns.

                 (a)     It is intended for the initial transfer of the Claimant Trust Assets to the
 Claimant Trust to be treated as a grantor trust for federal income tax purposes (and foreign, state,
 and local income tax purposes where applicable) as if the Debtor transferred the Claimant Trust
 Assets (other than the amounts set aside in the Disputed Claim Reserve, if the Claimant Trustee
 makes the election described below) to the Claimant Trust Beneficiaries and then, immediately
 thereafter, the Claimant Trust Beneficiaries transferred the Claimant Trust Assets to the Claimant
 Trust. Consistent with such treatment, (i) it is intended that the Claimant Trust will be treated as
 a grantor trust for federal income tax purposes (and foreign, state, and local income tax purposes
 where applicable), (ii) it is intended that the Claimant Trust Beneficiaries will be treated as the
 grantors of the Claimant Trust and owners of their respective share of the Claimant Trust Assets
 for federal income tax purposes (and foreign, state, and local income tax purposes where
 applicable). The Claimant Trustee shall file all federal income tax returns (and foreign, state, and
 local income tax returns where applicable) for the Claimant Trust as a grantor trust pursuant to
 Treasury Regulation Section 1.671-4(a).

                (b)     The Claimant Trustee shall determine the fair market value of the Claimant
 Trust Assets as of the Effective Date and notify the applicable Beneficiaries of such valuation, and
 such valuation shall be used consistently by all parties for all federal income tax purposes.

                (c)     The Claimant Trustee may file an election pursuant to Treasury Regulation
 1.468B-9(c) to treat the Disputed Claims Reserve as a disputed ownership fund, in which case the

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 Claimant Trustee will file federal income tax returns and pay taxes for the Disputed Claim Reserve
 as a separate taxable entity.

         7.2    Withholding. The Claimant Trustee may withhold from any amount distributed
 from the Claimant Trust to any Claimant Trust Beneficiary such sum or sums as are required to be
 withheld under the income tax laws of the United States or of any state or political subdivision
 thereof. Any amounts withheld pursuant hereto shall be deemed to have been distributed to and
 received by the applicable Beneficiary. As a condition to receiving any distribution from the
 Claimant Trust, the Claimant Trustee may require that the Beneficiary provide such holder’s
 taxpayer identification number and such other information and certification as may be deemed
 necessary for the Claimant Trustee to comply with applicable tax reporting and withholding laws.
 If a Beneficiary fails to comply with such a request within one year, such distribution shall be
 deemed an unclaimed distribution and treated in accordance with Section 6.5(b) of this Agreement.


                             STANDARD OF CARE AND INDEMNIFICATION

         8.1      Standard of Care. None of the Claimant Trustee, acting in his capacity as the
 Claimant Trustee or in any other capacity contemplated by this Agreement or the Plan, the
 Delaware Trustee, acting in its capacity as Delaware Trustee, the Oversight Board, or any current
 or any individual Member, solely in their capacity as Members of the Oversight Board, shall be
 personally liable to the Claimant Trust or to any Person (including any Claimant Trust Beneficiary)
 in connection with the affairs of the Claimant Trust, unless it is ultimately determined by order of
 the Bankruptcy Court or, if the Bankruptcy Court either declines to exercise jurisdiction over such
 action, or cannot exercise jurisdiction over such action, such other court of competent jurisdiction
 that the acts or omissions of any such Claimant Trustee, Delaware Trustee, Oversight Board, or
 Member constituted fraud, willful misconduct, or gross negligence. The employees, agents and
 professionals retained by the Claimant Trust, the Claimant Trustee, Delaware Trustee, Oversight
 Board, or individual Member shall not be personally liable to the Claimant Trust or any other
 Person in connection with the affairs of the Claimant Trust, unless it is ultimately determined by
 order of the Bankruptcy Court or, if the Bankruptcy Court either declines to exercise jurisdiction
 over such action, or cannot exercise jurisdiction over such action, such other court of competent
 jurisdiction that such acts or omissions by such employee, agent, or professional constituted willful
 fraud, willful misconduct or gross negligence. None of the Claimant Trustee, Delaware Trustee,
 Oversight Board, or any Member shall be personally liable to the Claimant Trust or to any Person
 for the acts or omissions of any employee, agent or professional of the Claimant Trust or Claimant
 Trustee taken or not taken in good faith reliance on the advice of professionals or, as applicable,
 with the approval of the Bankruptcy Court, unless it is ultimately determined by order of the
 Bankruptcy Court or, if the Bankruptcy Court either declines to exercise jurisdiction over such
 action, or cannot exercise jurisdiction over such action, such other court of competent jurisdiction
 that the Claimant Trustee, Delaware Trustee, Oversight Board, or Member acted with gross
 negligence or willful misconduct in the selection, retention, or supervision of such employee, agent
 or professional of the Claimant Trust.

        8.2   Indemnification. The Claimant Trustee (including each former Claimant Trustee),
 WTNA in its individual capacity and as Delaware Trustee, the Oversight Board, and all past and
 present Members (collectively, in their capacities as such, the “Indemnified Parties”) shall be

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 indemnified by the Claimant Trust against and held harmless by the Claimant Trust from any
 losses, claims, damages, liabilities or expenses (including, without limitation, attorneys’ fees,
 disbursements, and related expenses) to which the Indemnified Parties may become subject in
 connection with any action, suit, proceeding or investigation brought or threatened against any of
 the Indemnified Parties in their capacity as Claimant Trustee, Delaware Trustee, Oversight Board,
 or Member, or in connection with any matter arising out of or related to the Plan, this Agreement,
 or the affairs of the Claimant Trust, unless it is ultimately determined by order of the Bankruptcy
 Court or other court of competent jurisdiction that the Indemnified Party’s acts or omissions
 constituted willful fraud, willful misconduct, or gross negligence. If the Indemnified Party
 becomes involved in any action, proceeding, or investigation in connection with any matter arising
 out of or in connection with the Plan, this Agreement or the affairs of the Claimant Trust for which
 an indemnification obligation could arise, the Indemnified Party shall promptly notify the Claimant
 Trustee and/or Oversight Board, as applicable; provided, however, that the failure of an
 Indemnified Party to promptly notify the Claimant Trustee and/or Oversight Board of an
 indemnification obligation will not excuse the Claimant Trust from indemnifying the Indemnified
 Party unless such delay has caused the Claimant Trust material harm. The Claimant Trust shall
 pay, advance or otherwise reimburse on demand of an Indemnified Party the Indemnified Party’s
 reasonable legal and other defense expenses (including, without limitation, the cost of any
 investigation and preparation and attorney fees, disbursements, and other expenses related to any
 claim that has been brought or threatened to be brought) incurred in connection therewith or in
 connection with enforcing his or her rights under this Section 8.2 as a Claimant Trust Expense,
 and the Claimant Trust shall not refuse to make any payments to the Indemnified Party on the
 assertion that the Indemnified Party engaged in willful misconduct or acted in bad faith; provided
 that the Indemnified Party shall be required to repay promptly to the Claimant Trust the amount
 of any such advanced or reimbursed expenses paid to the Indemnified Party to the extent that it
 shall be ultimately determined by Final Order that the Indemnified Party engaged in willful fraud,
 willful misconduct, or gross negligence in connection with the affairs of the Claimant Trust with
 respect to which such expenses were paid; provided, further, that any such repayment obligation
 shall be unsecured and interest free. The Claimant Trust shall indemnify and hold harmless the
 employees, agents and professionals of the Claimant Trust and Indemnified Parties to the same
 extent as provided in this Section 8.2 for the Indemnified Parties. For the avoidance of doubt, the
 provisions of this Section 8.2 shall remain available to any former Claimant Trustee, WTNA in its
 individual capacity and as Delaware Trustee, or Member or the estate of any decedent Claimant
 Trustee or Member, solely in their capacities as such. The indemnification provided hereby shall
 be a Claimant Trust Expense and shall not be deemed exclusive of any other rights to which the
 Indemnified Party may now or in the future be entitled to under the Plan or any applicable
 insurance policy. The failure of the Claimant Trust to pay or reimburse an Indemnified Party as
 required under this Section 8.2 shall constitute irreparable harm to the Indemnified Party and such
 Indemnified Party shall be entitled to specific performance of the obligations herein. The terms of
 this Section 8.2 shall survive the termination of this Agreement and the resignation or removal of
 any Indemnified Party.

          8.3    No Personal Liability. Except as otherwise provided herein, neither of the Trustees
 nor Members of the Oversight Board shall be subject to any personal liability whatsoever, whether
 in tort, contract, or otherwise, to any Person in connection with the affairs of the Claimant Trust
 to the fullest extent provided under Section 3803 of the Delaware Statutory Trust Act, and all
 Persons asserting claims against the Claimant Trustee, Litigation Trustee, or any Members, or

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 otherwise asserting claims of any nature in connection with the affairs of the Claimant Trust, shall
 look solely to the Claimant Trust Assets for satisfaction of any such claims.

        8.4     Other Protections. To the extent applicable and not otherwise addressed herein, the
 provisions and protections set forth in Article IX of the Plan will apply to the Claimant Trust, the
 Claimant Trustee, the Litigation Trustee, and the Members.


                                           TERMINATION

         9.1      Duration. The Trustees, the Claimant Trust, and the Oversight Board shall be
 discharged or dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines
 that the pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
 pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
 Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
 further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
 sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
 further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
 Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all Distributions
 required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries under the Plan
 have been made, but in no event shall the Claimant Trust be dissolved later than three years from
 the Effective Date unless the Bankruptcy Court, upon motion made within the six-month period
 before such third anniversary (and, in the event of further extension, by order of the Bankruptcy
 Court, upon motion made at least six months before the end of the preceding extension),
 determines that a fixed period extension (not to exceed two years, together with any prior
 extensions) is necessary to facilitate or complete the recovery on, and liquidation of, the Claimant
 Trust Assets.

         9.2     Distributions in Kind. Upon dissolution of the Claimant Trust, any remaining
 Claimant Trust Assets that exceed the amounts required to be paid under the Plan will be
 transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders of the
 Claimant Trust Interests as provided in the Claimant Trust Agreement.

         9.3     Continuance of the Claimant Trustee for Winding Up. After dissolution of the
 Claimant Trust and for purpose of liquidating and winding up the affairs of the Claimant Trust,
 the Claimant Trustee shall continue to act as such until the Claimant Trustee’s duties have been
 fully performed. Prior to the final distribution of all remaining Claimant Trust Assets, the Claimant
 Trustee shall be entitled to reserve from such assets any and all amounts required to provide for
 the Claimant Trustee’s own costs and expenses, including a reserve to fund any potential
 indemnification or similar obligations of the Claimant Trust, until such time as the winding up of
 the Claimant Trust is completed. Upon the dissolution of the Claimant Trust and completion of
 the winding up of the assets, liabilities and affairs of the Claimant Trust pursuant to the Delaware
 Statutory Trust Act, the Claimant Trustee shall prepare, execute and file a certificate of
 cancellation with the State of Delaware to terminate the Claimant Trust pursuant to Section 3810
 of the Delaware Statutory Trust Act (such date upon which the certificate of cancellation is filed
 shall be referred to as the “Termination Date”). If the Delaware Trustee’s signature is required for
 purposes of filing such certificate of cancellation, the Claimant Trustee shall provide the Delaware


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 Trustee with written direction to execute such certificate of cancellation, and the Delaware Trustee
 shall be entitled to conclusively and exclusively rely upon such written direction without further
 inquiry. Upon the Termination date, the Claimant Trustee shall retain for a period of two (2) years,
 as a Claimant Trust Expense, the books, records, Claimant Trust Beneficiary lists, and certificated
 and other documents and files that have been delivered to or created by the Claimant Trustee. At
 the Claimant Trustee’s discretion, all of such records and documents may, but need not, be
 destroyed at any time after two (2) years from the Termination Date.

       9.4    Termination of Duties. Except as otherwise specifically provided herein, upon the
 Termination Date of the Claimant Trust, the Claimant Trustee, the Oversight Board and its
 Members shall have no further duties or obligations hereunder.

        9.5    No Survival. The rights of Claimant Trust Beneficiaries hereunder shall not survive
 the Termination Date, provided that such Claimant Trust Beneficiaries are provided with notice of
 such Termination Date.


                                AMENDMENTS AND WAIVER

         The Claimant Trustee, with the consent of a simple majority of the Oversight Board, may
 amend this Agreement to correct or clarify any non-material provisions. This Agreement may not
 otherwise be amended, supplemented, otherwise modified, or waived in any respect except by an
 instrument in writing signed by the Claimant Trustee and with the unanimous approval of the
 Oversight Board, and the approval of the Bankruptcy Court, after notice and a hearing; provided
 that the Claimant Trustee must provide the Oversight Board with prior written notice of any non-
 material amendments, supplements, modifications, or waivers of this Agreement. No amendment
 or waiver of this Agreement that adversely affects the Delaware Trustee shall be effective unless
 the Delaware Trustee has consented thereto in writing in its sole and absolute discretion.


                                       MISCELLANEOUS

        11.1 Trust Irrevocable. Except as set forth in this Agreement, establishment of the
 Claimant Trust by this Agreement shall be irrevocable and shall not be subject to revocation,
 cancellation or rescission by the Claimant Trust Beneficiaries.

        11.2 Bankruptcy of Claimant Trust Beneficiaries. The dissolution, termination,
 bankruptcy, insolvency or other similar incapacity of any Claimant Trust Beneficiary shall not
 permit any creditor, trustee, or any other Claimant Trust Beneficiary to obtain possession of, or
 exercise legal or equitable remedies with respect to, the Claimant Trust Assets.

       11.3 Claimant Trust Beneficiaries have No Legal Title to Claimant Trust Assets. No
 Claimant Trust Beneficiary shall have legal title to any part of the Claimant Trust Assets.

        11.4 Agreement for Benefit of Parties Only. Nothing herein, whether expressed or
 implied, shall be construed to give any Person other than the Claimant Trustee, Oversight Board,
 and the Claimant Trust Beneficiaries any legal or equitable right, remedy or claim under or in


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 respect of this Agreement. The Claimant Trust Assets shall be held for the sole and exclusive
 benefit of the Claimant Trust Beneficiaries.

         11.5 Notices. All notices, directions, instructions, confirmations, consents and requests
 required or permitted by the terms hereof shall, unless otherwise specifically provided herein, be
 in writing and shall be sent by first class mail, facsimile, overnight mail or in the case of mailing
 to a non-United States address, air mail, postage prepaid, addressed to:

                     (a)     If to the Claimant Trustee:

                                    Claimant Trustee
                                    c/o Highland Capital Management, L.P.
                                    100 Crescent Court, Suite 1850
                                    Dallas, Texas 75201

                     With a copy to:

                                    Pachulski Stang Ziehl & Jones LLP
                                    10100 Santa Monica Blvd, 13th Floor
                                    Los Angeles, CA 90067
                                    Attn: Jeffrey Pomerantz (jpomerantz@pszjlaw.com)
                                           Ira Kharasch (ikharasch@pszjlaw.com)
                                           Gregory Demo (gdemo@pszjlaw.com)

                     (b)     If to the Delaware Trustee:

                                    Wilmington Trust, National Association
                                    1100 North Market Street
                                    Wilmington, DE 19890
                                    Attn: Corporate Trust Administration/David Young
                                    Email: nmarlett@wilmingtontrust.com
                                    Phone: (302) 636-6728
                                    Fax: (302) 636-4145

 Notice mailed shall be effective on the date mailed or sent. Any Person may change the address
 at which it is to receive notices under this Agreement by furnishing written notice pursuant to the
 provisions of this Section 11.5 to the entity to be charged with knowledge of such change.

         11.6 Severability. Any provision hereof which is prohibited or unenforceable in any
 jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or
 unenforceability without invalidating the remaining provisions hereof, and any such prohibition or
 unenforceability in any jurisdiction shall not invalidate or render unenforceable such provisions in
 another jurisdiction.

        11.7 Counterparts. This Agreement may be executed by the parties hereto in separate
 counterparts, each of which when so executed and delivered shall be an original, but all such
 counterparts shall together constitute but one and the same instrument.


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        11.8 Binding Effect, etc. All covenants and agreements contained herein shall be
 binding upon, and inure to the benefit of, the Claimant Trust, the Claimant Trustee, and the
 Claimant Trust Beneficiaries, and their respective successors and assigns. Any notice, direction,
 consent, waiver or other instrument or action by any Claimant Trust Beneficiary shall bind its
 successors and assigns.

       11.9 Headings; References. The headings of the various Sections herein are for
 convenience of reference only and shall not define or limit any of the terms or provisions hereof.

        11.10 Governing Law. This Agreement shall in all respects be governed by, and
 construed in accordance with the laws of the State of Delaware, including all matters of
 constructions, validity and performance.

         11.11 Consent to Jurisdiction. Each of the parties hereto, each Member (solely in their
 capacity as Members of the Oversight Board), and each Claimant Trust Beneficiary consents and
 submits to the exclusive jurisdiction of the Bankruptcy Court for any action or proceeding
 instituted for the enforcement and construction of any right, remedy, obligation, or liability arising
 under or by reason of this Agreement, the Plan or any act or omission of the Claimant Trustee
 (acting in his capacity as the Claimant Trustee or in any other capacity contemplated by this
 Agreement or the Plan), Litigation Trustee (acting in his capacity as the Litigation Trustee or in
 any other capacity contemplated by this Agreement or the Plan), the Oversight Board. or any
 individual Member (solely in their capacity as Members of the Oversight Board); provided,
 however, that if the Bankruptcy Court either declines to exercise jurisdiction over such action or
 cannot exercise jurisdiction over such action, such action may be brought in the state or federal
 courts located in the Northern District of Texas.

          11.12 Transferee Liabilities. The Claimant Trust shall have no liability for, and the
 Claimant Trust Assets shall not be subject to, any claim arising by, through or under the Debtor
 except as expressly set forth in the Plan or in this Agreement. In no event shall the Claimant
 Trustee or the Claimant Trust Beneficiaries have any personal liability for such claims. If any
 liability shall be asserted against the Claimant Trust or the Claimant Trustee as the transferee of
 the Claimant Trust Assets on account of any claimed liability of, through or under the Debtor or
 Reorganized Debtor, the Claimant Trustee may use such part of the Claimant Trust Assets as may
 be necessary to contest any such claimed liability and to pay, compromise, settle or discharge same
 on terms reasonably satisfactory to the Claimant Trustee as a Claimant Trust Expense.

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         IN WITNESS HEREOF, the parties hereto have caused this Claimant Trust Agreement to
 be duly executed by their respective officers thereunto duly authorized on the day and year first
 written above.

                                             Highland Capital Management, L.P.



                                             By:
                                                     James P. Seery, Jr.
                                                     Chief Executive Officer and
                                                     Chief Restructuring Officer

                                             Claimant Trustee


                                             By:
                                                     James P. Seery, Jr., not individually but
                                             solely in his capacity as the Claimant Trustee




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 Wilmington Trust, National Association,
 as Delaware Trustee




 By:_____________________________
 Name: Neumann Marlett
 Title: Bank Officer




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COUNSEL TO MUCK HOLDINGS, LLC,
JESSUP HOLDINGS LLC,
FARALLON CAPITAL MANAGEMENT, L.L.C., AND
STONEHILL CAPITAL MANAGEMENT LLC

                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 In re:

 Highland Capital Management, L.P.

                       Debtor.

 Hunter Mountain Investment Trust                           Civil Case No. 3:23-cv-00737-N

                       Appellant,
                v.

 Highland Capital Management, L.P.; James P. Seery,
 Jr., solely in his capacities as Chief Executive Officer
 of HCMLP and the Claimant Trustee; Muck Holdings,
 LLC; Jessup Holdings LLC; Farallon Capital
 Management, L.L.C.; and Stonehill Capital
 Management LLC

                       Appellees.


   CLAIM PURCHASERS’ OBJECTION TO HUNTER MOUNTAIN INVESTMENT
    TRUST’S OPPOSED MOTION FOR EXPEDITED BRIEFING SCHEDULE ON
                MOTION FOR INTERLOCUTORY APPEAL




                                                                                      Appx_1091
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        Muck Holdings, LLC (“Muck”), Jessup Holdings LLC (“Jessup”), Farallon Capital

Management, L.L.C. (“Farallon”), and Stonehill Capital Management LLC (“Stonehill”, and

collectively, with Muck, Jessup, and Farallon, the “Claims Purchasers”) file this objection to the

motion of Hunter Mountain Investment Trust (“HMIT”) for an expedited briefing schedule on its

motion for interlocutory appeal.1 In support, the Claims Purchasers respectfully state as follows:

                                             OBJECTION

        1.      As the Bankruptcy Court recognized in its Order Denying Application for

Expedited Hearing [Bankruptcy Dkt. No. 3713] (the “Denial Order”), “no emergency or other

good cause exists [to expedite HMIT’s Emergency Motion for Leave to Filed Verified Adversary

Proceeding], pursuant to Fed. R. Bankr. Proc. 9006 . . . .” Denial Order, p. 2. “While Movant,

HMIT, has alleged that it may be facing a statute of limitations defense as to some claims after

April 16, 2023, it appears that Movant has known about the conduct underlying the desired lawsuit

for well over a year, based on activity that has occurred in the bankruptcy court. Thus, the need

for an emergency hearing is dubious.” Denial Order, p. 3 (internal citations omitted).

        2.      A bankruptcy court’s determination regarding the shortening of time under FED. R.

BANKR. P. 9006(c)(1) is reviewed for an abuse of discretion. See, e.g., FED. R. BANKR. P.

9006(c)(1) (a bankruptcy court may shorten notice periods “for cause shown … in its discretion.”);

In re Foster, 435 B.R. 650, 655 (B.A.P. 9th Cir. 2010) (“We review the bankruptcy court’s decision

to shorten the notice period on a motion for summary judgment for an abuse of discretion.”)

(abrogated on other grounds); In re Trans World Airlines, Inc., No. 92-115, 1993 WL 559245, at


    1
         HMIT filed its Emergency Motion for Leave to File Interlocutory Appeal [Dkt. No. 3718] (the
“Motion to Appeal”) on April 4, 2023. HMIT then filed its Opposed Motion for Expedited Briefing Schedule
on Motion for Interlocutory Appeal [Civil Dkt. No. 4] (the “Motion to Expedite Appeal”). This objection
is limited to the Motion to Expedite Appeal and does not address in detail the substantive issues raised in
the Motion to Appeal. Rather, as explained below, the Claims Purchasers should have a reasonable period
of time, on a normal briefing schedule, to fully address the Motion for Leave.


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*7 (D. Del. June 22, 1993) (reviewing the denial of a motion to shorten time using the “abuse of

discretion” standard); In re CJ Holding Co., 597 B.R. 597, 604 (S.D. Tex. 2019) (“Matters within

a bankruptcy judge’s discretion are reviewed for abuse of discretion.”) (citing In re Gandy, 299

F.3d 489, 494 (5th Cir. 2002)). “A bankruptcy court abuses its discretion when it applies an

improper legal standard or bases its decision on clearly erroneous findings of fact.” In re Crager,

691 F.3d 671, 675 (5th Cir. 2012). Here, the Bankruptcy Court did not abuse its discretion, and

HMIT has not shown otherwise. The Bankruptcy Court found that “no emergency or other good

cause exist[ed]” that warranted granting the Motion to Expedite Complaint (as defined below),

and identified specific facts and circumstances underpinning its holding. See, e.g., Denial Motion

at p. 2, 3. HMIT has not shown that the Bankruptcy Court applied an improper legal standard or

that the Bankruptcy Court based its decision on clearly erroneous findings of fact. For this reason

alone, this Court should deny the Motion to Expedite Appeal.

       3.      In any event, the stated emergency facing HMIT is that “one or more of the

Proposed Defendants will argue, depending upon choice of law, that the statute of limitations

may bar some of the common law claims…” Motion to Appeal, ¶ 18 (emphasis added). HMIT

does not state that any of its claims will be time barred, only that certain defendants will argue that

certain causes of action may be time barred. Id. HMIT indicates that any statute of limitations

defense depends on the outcome of a choice of law analysis. Id. Yet, HMIT takes no position on

what law would apply, whether the claims would actually be time-barred, and in fact, does not

even identify what claims are potentially time-barred. Such information is vital to allow this Court

to determine first, whether an actual emergency exists or whether HMIT brings only a hypothetical

problem to the Court, and second, if there is an actual emergency, whether it exists for legitimate

reasons or due only to HMIT’s lack of good faith and/or diligence.




                                                  3
                                                                                           Appx_1093
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       4.      Moreover, it is HMIT’s lack of diligence and its attempts to avoid the Bankruptcy

Court, that place HMIT in the position in which it now finds itself. Rather than pursue pre-suit

discovery under FED. R. BANKR. P. 2004, James Dondero2 made the strategic decision in July 2021

to pursue pre-suit discovery under TEX. R. CIV. P. 202 (“Rule 202”), targeting Farallon and Alvarez

& Marsal, in the 95th Judicial District Court of Dallas County Texas (the “First 202”). See In Re:

James Dondero, Cause No. DC-21-09534 in the 95th Judicial District Court of Dallas County

Texas. Farallon and Alvarez & Marsal removed the case to the Bankruptcy Court given the subject

matter of the requested discovery. After extensive briefing and a hearing, due to misalignment of

the caselaw to the uniqueness of a Rule 202 proceeding as applied to a bankruptcy case, the Court

remanded the First 202 to the Texas state court “with grave misgivings.” Dondero v. Alvarez &

Marsal CRF Mgmt., LLC, Adv. No. 21-03051, 2022 Bankr. LEXIS 5, *31-32 (Bankr. N.D. Tex.

2022) (Jernigan, J.). The state court ultimately denied and dismissed the First 202 on June 1, 2022.

       5.      Rather than seek pre-suit discovery under Rule 2004 in the Bankruptcy Court,

Dondero waited more than six months and, on January 20, 2023, filed a new Rule 202 petition

through HMIT—raising the same issues related to claims trading as in the First 202, based on the

same allegations of misconduct by Seery—but now in a different Texas state court: In re: Hunter

Mountain Investment Trust, Cause No. DC-23-01004, in the 191st Judicial District of Dallas

County Texas (the “Second 202”). The target of the Second 202 was once again Farallon, with the

addition of Stonehill. HMIT, undeterred by the dismissal of the First 202, carefully avoided not

only the Bankruptcy Court (through a proper request for discovery under Rule 2004), but also the

95th Judicial District Court that dismissed the First 202, and sought to convince yet another state




   2
       Upon information and belief Mr. Dondero is an insider and/or affiliate of HMIT.


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                                                                                         Appx_1094
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court judge that it had a valid basis to “investigate” claims purchases in a bankruptcy proceeding.

The Second 202 met the same fate as the first: it was denied and dismissed on March 8, 2023.

       6.      It is against this backdrop that HMIT requested that the Bankruptcy Court treat its

Emergency Motion for Leave to Filed Verified Adversary Proceeding [Dkt. No. 3699] (“Motion

to File Complaint”) as an emergency. See HMIT’s Opposed Application for Expedited Hearing on

Emergency Motion for Leave to File Verified Adversary Proceeding [Dkt. No. 3700] (“Motion to

Expedite Complaint”). It simply was not, and the Bankruptcy Court determined as much.

       7.      Dissatisfied with the determination of the Bankruptcy Court, HMIT now seeks to

appeal the denial of its Motion to Expedite Complaint, and expedite the briefing on such appeal,

requesting any responses to the Motion to Appeal be filed on two business-days’ notice, during

Passover and over Easter Weekend—which the Court has obviously not granted at this point.

HMIT’s request is simply unreasonable, and the Motion to Expedite Appeal should be denied for

many of the same reasons that the Motion to Expedite Complaint was denied.

       8.      First, the Motion to Appeal raises several new issues that were not raised in the

original Motion to Expedite Complaint—which is the subject of this appeal—including what can

only be described as asking for an advisory opinion on whether the filing of the Motion to File

Complaint tolls any statute of limitations on claims HMIT seeks to assert. Motion to Appeal, ¶ 12

(“[Issue Presented:] Does Newby v. Enron Corp., 542 F.3d 463, 470 (5th Cir. 2008) require a

finding by the Honorable District Court that the filing of the Motion for Leave tolled the applicable

statutes of limitations so that (i) the date of the Bankruptcy Court’s scheduled hearing on the

Emergency Motion for Leave is irrelevant and (ii) therefore, this Emergency Motion for leave to

appeal should be denied?”). The Claims Purchasers are entitled to a reasonable opportunity to

analyze and respond to the issues raised on a normal briefing schedule.




                                                 5
                                                                                          Appx_1095
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        9.      Second, the claimed emergency warranting the expedited appeal is an emergency

of HMIT’s own making. HMIT was dilatory in filing the Motion to File Complaint, and now

claims that absent expedited relief, its claims could potentially be time-barred. HMIT has known

about the facts and circumstances underlying its proposed complaint for at least a year. See Denial

Order, ¶ 3 (“[I]t appears that Movant has known about the conduct underlying the desired lawsuit

for well over a year…”). The Claim Purchasers should not be prejudiced by an unreasonable

response deadline because of HMIT’s own conduct and lack of action. If time really was of the

essence, as HMIT now claims, HMIT should have acted like it before now.

        10.     Finally, HMIT is apparently of the belief that no emergency exists, as it recently

“has become aware of authority holding that the filing of the Emergency Motion for Leave, with

the attached proposed Adversary Proceeding, likely tolls the applicable statutes of limitations as

to at least one of the Proposed Defendants, so that the hearing date set by the Bankruptcy Court

may be irrelevant…” Motion to Appeal, ¶ 8. Despite asserting that the date of a hearing on the

Motion to File Complaint is potentially irrelevant, HMIT still seeks to prejudice the Claims

Purchasers by seeking to overturn the Denial Order through an expedited appeal, and it still seeks

to have the Court and the Claims Purchasers drop everything else to deal with this Motion to

Expedite Appeal. The Claims Purchasers are entitled to a reasonable time, on a normal briefing

schedule, to respond to the Motion to Appeal, especially given that HMIT is of the belief that an

emergency may no longer exist. Accordingly, the Motion to Expedite Appeal should be denied.3


    3
        While not technically at issue in the Motion to Expedite Appeal, an interlocutory appeal of a motion
to expedite a hearing is inappropriate under binding precedent. As this court has held, an interlocutory
appeal requires three elements: (1) a controlling issue of law must be involved; (2) the question must be
one where there is substantial ground for difference of opinion; and (3) an immediate appeal must materially
advance the ultimate termination of the litigation. See, e.g., Spencer ad hoc Equity Comm. v. Idearc, Inc.,
No. 09-CV-2315-F888, at *2 (N.D. Tex. May 14, 2010). Here, none of these three elements is met. HMIT
is appealing the denial of a motion to expedite a hearing on a 37-page motion with 350 pages of attachments,
which hearing was sought on three (3) days’ notice. A bankruptcy court may only shorten required notice


                                                     6
                                                                                                Appx_1096
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          WHEREFORE, the Claims Purchasers respectfully request that the Court deny the Motion

to Expedite Appeal and grant the Claims Purchasers such other and further relief as is just and

proper.


Dated: April 10, 2023                             HOLLAND & KNIGHT LLP

                                                  By: /s/ Christopher A. Bailey
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periods under rule 9006(c)(1) “for cause shown.” FED. R. BANKR. P. 9006(c)(1). The Bankruptcy Court
applied this standard. See Denial Order, p. 2 (“The Court has determined that no emergency or other good
cause exists.”). HMIT does not dispute that the “for cause shown” standard applies under the circumstances,
but only disputes whether the factual underpinnings of the Motion to Expedite Complaint warranted
granting its motion. Accordingly, HMIT’s appeal is based upon factual determinations, not controlling
issues of law, and thus the first element is not met. Further, the Bankruptcy Court found that the legal
theories asserted “are novel in the bankruptcy claims trading context,” and found that it would need to
“analyze whether such claims are ‘colorable’ such that leave to sue should be granted.” Denial Order, p. 2.
There is little ground for difference of opinion that three days is not enough time for a reasoned analysis
and response to the Motion to File Complaint to take place. Finally, an immediate appeal would not
materially advance the ultimate termination of the litigation. Per the Motion to Expedite Appeal, “[g]ood
cause exists because of a fast-approaching date (April 16, 2023) that at least one of the Proposed Defendants
will argue, depending on choice of law, that the statute of limitations may bar some of the common law
claims.” Motion to Expedite Appeal, ¶ 4 (emphasis added). Regardless of the outcome on appeal, HMIT
represents that only some, but not all, of the claims could be affected, and thus litigation would continue.
Therefore, the termination of litigation would not be materially advanced.


                                                     7
                                                                                                 Appx_1097
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was electronically filed with the Clerk

of Court using the CM/ECF system, and served upon all parties receiving notice pursuant to the

CM/ECF system on this the 10th day of April, 2023.


                                                    /s/ Christopher Bailey
                                                    Christopher Bailey




                                                8
                                                                                       Appx_1098
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                 IN THE UNITED STATES DISTRICT COURT
                  IN THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION
 HUNTER MOUNTAIN                   §
 INVESTMENT TRUST                  §
                                   §
      Appellant,                   § Case No. 3:23-cv-00737-N
                                   §
 MUCK HOLDINGS, LLC, et al         §
                                   §
      Appellees.                   §

    HUNTER MOUNTAIN INVESTMENT TRUST’S COMBINED RESPONSE
  TO (1) THE “HIGHLAND PARTIES’” OBJECTION TO HUNTER MOUNTAIN
   INVESTMENT TRUST’S OPPOSED MOTION FOR EXPEDITED BRIEFING
  SCHEDULE ON MOTION FOR INTERLOCUTORY APPEAL, AND (2) CLAIM
 PURCHASERS’ OBJECTION TO HUNTER MOUNTAIN INVESTMENT TRUST’S




                                            [1]
                                                                  Appx_1099
      Case: 23-10376   Document: 5 Page: 1104 Date Filed: 04/12/2023
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OPPOSED MOTION FOR EXPEDITED BRIEFING SCHEDULE ON MOTION FOR
                   INTERLOCUTORY APPEAL

       Hunter Mountain Investment Trust (“HMIT” or “Movant”), submits its

Combined Response (“Response”) to (1) The “Highland Parties’” Objection to Hunter

Mountain Investment Trust’s Opposed Motion for Expedited Briefing Schedule on

Motion for Interlocutory Appeal [Doc. 6] (the “Seery Parties’ Objection”), and (2) Claim

Purchasers’ Objection to Hunter Mountain Investment Trust’s Opposed Motion for

Expedited Briefing Schedule on Motion For Interlocutory Appeal [Doc. 8] (“Claim

Purchasers’ Objection”) (the Seery Parties’ Objection and the Claims Purchasers’

Objection are collectively referred to as the “Objections”). For same, Movant respectfully

states the following:

       1.     The Objections are transparent and lack merit. They reflect an unfair effort

to run out the clock and seek to deprive HMIT of a remedy on some of its proposed

claims. Both Objections request that Movant’s Opposed Motion for Expedited Briefing

Schedule on Motion for Interlocutory Appeal [Document No. 4] (the “Motion to

Expedite”) be denied. The Seery Parties’ Objection proposes to file their substantive

response to the underlying interlocutory appeal by 5:00 p.m. on Thursday, April 13, and

requests that any reply be filed by noon on April 14 (or as otherwise determined by this

Court). Clearly, this is calculated to further delay any final ruling on Hunter Mountain

Investment Trust’s Emergency Motion for Leave to File Interlocutory Appeal [Doc. 1-1]




                                           [2]
                                                                                Appx_1100
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(“Emergency Motion”) – and by extension, any ruling on the underlying Emergency

Motion for Leave to File Verified Adversary Proceeding [Doc. 3699] (“Adversary

Motion”) 1 – until after April 16, 2023. This is a date that at least one of the Proposed

Defendants 2 will argue is a limitations deadline for one or more of HMIT’s proposed

claims. 3 Under this suggested timeframe, it would be impossible for this Court to grant

the interlocutory appeal, remand the proceedings to the Bankruptcy Court for further

consideration, and provide HMIT an opportunity to appeal the Bankruptcy Court’s

decision, if necessary, and to file the Proposed Adversary Proceeding before April 16,

2023.

        2.       The Objections also rely on factually unsupported and legally irrelevant

arguments attempting to lump HMIT with Mr. James Dondero and other entities. Movant

is a separate and distinct legal entity, and any arguments otherwise are intended as

distractions that are not appropriate for consideration here.

        3.       Furthermore, HMIT has a right to file its claims (and claims on behalf of the

Reorganized Debtor and the Claimant Trust) before any potential limitations deadline,


1 Doc. 3699 in the Debtor’s bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
2 Muck Holdings, LLC (“Muck”), Jessup Holdings, LLC (“Jessup”), Farallon Capital Management, LLC
(“Farallon”), Stonehill Capital Management, LLC (“Stonehill”), James P. Seery, Jr. (“Seery”), and John Doe
Defendant Nos. 1-10 are collectively referred to in this response as the “Proposed Defendants.”
3 See The Highland Parties’ Objection to Hunter Mountain Investment Trust’s Opposed Application for

Expedited Hearing on Emergency Motion for Leave to File Verified Adversary Proceeding, Doc. 3707, in
the Debtor’s bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.). Curiously, this Objection
is purportedly filed on behalf of the so-called “Highland Parties,” which ostensibly includes the
Reorganized Debtor and the Highland Claimant Trust. Yet, HMIT is seeking to represent these entities in
a derivative action that would benefit these entities. Therefore, the Objection is contrary to the best interests
of both the Reorganized Debtor and the Highland Claimant Trust.


                                                       [3]
                                                                                                    Appx_1101
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and this right should be recognized and protected, regardless of when HMIT purportedly

may have been on notice of any such claims. The Objections offer no legal authority to

the contrary.

       4.       One of the Objections also raises the issue of equitable tolling. While HMIT

believes that equitable tolling will be available as to one or more of the Proposed

Defendants, it is clear that none of the Respondents, as Proposed Defendants, have agreed

that equitable tolling is available to HMIT as to any of the Proposed Defendants, much

less all of the Proposed Defendants. 4 Therefore, the Respondents seek to impose the risk

of a future judicial determination concerning equitable tolling on HMIT. This is

inappropriate because HMIT timely filed its Motion for Leave within any potential

statute of limitations, seeking permission from the Bankruptcy Court to proceed under

its gatekeeping orders—almost two (2) weeks ago. It is the Respondents’ delay tactics,

together with the Bankruptcy Court’s erroneous Order, which has created the current

procedural obstacles.

       5.       The Claims Purchasers’ Objections also argues that HMIT has not

established that April 16, 2023, is a limitations deadline. However, it is abundantly clear

that James P. Seery, Jr., one of the Proposed Defendants, is arguing that this is an




4The record also shows that none of the Proposed Defendants agreed to a tolling agreement even though
requested to do so. See Hunter Mountain Investment Trust’s Emergency Motion for Leave to File
Interlocutory Appeal, Doc. 1-1, Exhibits 2-3, attached thereto (e-mails requesting tolling agreements).


                                                  [4]
                                                                                           Appx_1102
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imminently “ripening” limitations deadline. 5 Indeed, Seery encouraged the Bankruptcy

Court to not intervene stating:

               It is hard to imagine a greater prejudice that could be imposed on a
               putative defendant than a court intervening to thwart a complete
               and valid affirmative defense that is on the cusp of ripening.... 6

This statement confirms the risks that the Respondents are seeking to impose upon HMIT

while they offer no authority to support their requests for delay.

       6.      HMIT respectfully submits that the Objections should be denied. HMIT also

reserves the right to seek mandamus relief in the appropriate forum, and given the time

constraints involved, HMIT believes it may be necessary to pursue mandamus in the

event appropriate relief is not granted by approximately 3:00 P.M. (Central) on Tuesday,

April 11, 2023. This would allow HMIT to take additional action on April 11, 2023, if

necessary.

       WHEREFORE, Hunter Mountain Investment Trust, as Movant, respectfully

requests this Court grant the Emergency Motion, or, alternatively, such other and further

relief to which it may be justly entitled.

DATED: April 10, 2023




5  The Highland Parties’ Objection to Hunter Mountain Investment Trust’s Opposed Application for
Expedited Hearing on Emergency Motion for Leave to File Verified Adversary Proceeding, Doc. 3707, in
the Debtor’s bankruptcy proceedings (Case No. 19-34054-sgj11 (Bankr. N.D. Tex.).
6 Id. at ¶ 17.




                                                [5]
                                                                                         Appx_1103
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                                                   Respectfully Submitted,

                                                   PARSONS MCENTIRE MCCLEARY
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                                                       Attorneys for Hunter Mountain
                                                       Investment Trust



                              CERTIFICATE OF SERVICE

       I certify that on the 10th day of April 2023, a true and correct copy of the foregoing
Motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                          _ /s/ Sawnie A. McEntire___________________
                                          Sawnie A. McEntire




                                             [6]
                                                                                   Appx_1104
        Case: 23-10376    Document: 5 Page: 1109 Date Filed: 04/12/2023
     Case 3:23-cv-00737-N Document 10 Filed 04/11/23 Page 1 of 2 PageID 691



                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

HUNTER MOUNTAIN                              §
INVESTMENT TRUST,                            §
                                             §
        Appellant,                           §
                                             §
v.                                           §          Civil Action No. 3:23-CV-737-N
                                             §
MUCK HOLDINGS, et al.,                       §
                                             §
        Appellees.                           §

                                         ORDER

        This Order addresses Appellant Hunter Mountain Investment Trust’s (“Hunter

Mountain”) Emergency Motion for Leave to File Interlocutory Appeal [1-1].         Because

Hunter Mountain has not satisfied the 28 U.S.C. § 1292(b) standard for interlocutory

appeals, the Court denies the motion.

        The decision to grant an interlocutory appeal is firmly within the district court’s

discretion. Ryan v. Flowserve Corp., 444 F. Supp. 2d. 718, 722 (N.D. Tex. 2006) (internal

citation omitted). Courts in the Fifth Circuit apply the standard from 28 U.S.C. § 1292(b)

governing interlocutory appeals generally to decide whether to grant leave for an appeal

from interlocutory orders of a bankruptcy court. In re Hallwood Energy, L.P., 2013 WL

524418, at *2 (N.D. Tex. 2013) (internal citations omitted). Section 1292(b) appeals are

limited to “controlling question[s] of law as to which there is substantial ground for

difference of opinion and that an immediate appeal from the order may materially advance

the ultimate termination of the litigation.” Id. (quoting 28 U.S.C. § 1292(b)) (internal


ORDER – PAGE 1

                                                                                 Appx_1105
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quotation marks omitted). Interlocutory appeals are appropriate only in “exceptional”

circumstances. Id.

       Here, Hunter Mountain asks the Court for leave to file an interlocutory appeal to

contest the hearing date set by the bankruptcy court. But Hunter Mountain has not shown

that an immediate appeal prior to the hearing, as opposed to an appeal after the Bankruptcy

Court rules on the applicability of any limitations defenses, will materially advance the

ultimate termination of the litigation. Moreover, interfering with routine scheduling

matters in the bankruptcy court does not rise to the level of exceptional circumstances, and

accordingly, the Court denies Hunter Mountain leave to file an interlocutory appeal.1



       Signed April 11, 2023.

                                                        ___________________________
                                                               David C. Godbey
                                                        Chief United States District Judge




1
 The Motion for Expedited Briefing Schedule on Motion for Interlocutory Appeal [4] is
denied as moot.
ORDER – PAGE 2

                                                                                  Appx_1106
